   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 1 of 3128




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MICHAEL ABNER, JAMES ABRAMS,
LATASHA ABRAMS, LISA ADAMS,               No.
RICHARD ADAMS, AARON ADDIE,
TERENCE AGEE, RANDY ALLEN, PAUL
ALLISON, BRITTANY ANDREWS,                ELECTRONICALLY FILED
QUENTHIA AUSTIN, FRANCISTONY              DOCUMENT
AXELL, RICHARD BAGGETT, RAMAADE
BAILEY, SHONTE BALTES, DEREK
BARBER, JASMINE BARGE, VICKIE             JURY DEMANDED
BARLOW, JARIS BARNER, JESSA BARNES,
JODIE BARNETT, AARON BARRON,
DARRON BARRY, ZACKARY BATES,
TRACY BEARDEN, BRITTNI BEGGS,
TIMOTHY BEGGS, DAVID BENTLEY,
SHERICKO BILLINGSLEY, JOHN
BIRDSONG, TRACEY BISHOP, RANDALL
BLACKMON, JAMES BLANCHARD,
FREDERICK BOYKIN, KELVIN BRADFORD
JR , APRIL BRADLEY, ANTHONY BRAND,
ANGELA BRANNON, HEATHER
BRANNON, EDWIN BROWN, AALIYAH
BROWN, SHANNON BROWN, CALEB
BROWN, TRAVIS BROWN, TREVOR
BRYANT, SHARDAE BRYANT, JASON
BRYANT, COREY BRYANT, CHANETRICE
BULLOCK, ROWLAND BURRELL,
LAVEETA BURT, TIFFANY BUSH,
PLUSHETTE CALDWELL, LARRY
CALHOUN, AARON CANNON JR.,
MELISSA CARR , DELRICO CARTER,
DEMOND CARTER, ORENTHAL NANCE,
SHERIKA CARROLL, KYRA CHASTANG,
MARCUS CHESTER, WILLIE CHRISTFUL,
DESHAWN CLAY, RYAN COBURN,
ZACHARY COCHRAN, MARVIN
COLEMAN, RICHARD KRAL, JAY COOPER,
JASON CORBIN, DORINE COUSINS,
JENIFER COVERDALE, BRANDI COWAN,
JASMINE CRENSHAW, SHANCHEVA
CULPEPPER, SANTEE CUMMINGS,
DREYLEM CUNNINGHAM, TABITHA
CUPP, EDWARD DAUGHERTY, HANNAH
DAVIDSON, CARL DAVIDSON, RODERICK


                                   1
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 2 of 3128




DAVIS, DEANGELO DAVIS, JORDAN
DAVIS, GEORGE DAVIS JR, CHARLES
DAVIS JR., CHRISTINE DEAN, CHARLES
DENT, DANIEL DILLARD, JACQUICE
DISMUKE, DEWAYNE DONALDSON,
LEANDREW DORSEY, JAMEISHA DRAKE,
JOHNQUELL DRAKE, ALEXANDER
DRYER, KAEVON DUNN, RICHARD DUNN,
BILLY DURM, MATHEW EDOSOMWAN,
JOEL ENGLISH, CARYN FARLEY, TONY
FIGGIN, BRANDY FITCH, THOMAS
FITZPATRICK, SJONDA FLETCHER,
TIKITA FLOYD, ERWIN FORTSON, KHARY
FOSTER, JUSTIN FRANCIS, CARLEE
FROOM, QUEENA FUQUA, CHRISTOPHER
GALLOPS, LINDSAY GAMBILL, MELVINA
GAMBLE, TERRY GARNER, MATEJA
GILCHRIST, THOMAS GOOCH, DANTE
GOODEN, JULIAN GRAMMER, WESLEY
GRANT, RODNEY GREGORY, BRIAN
GRIFFIN, TIFFANY BROWN, JEMARQUS
BROWN, LEE GRIFFIN, ROOSEVELT
GULLEY, ADAM HALL, BRITTANI HALL,
KENNY HAMM, VERONICA HAMPTON,
STACEY HARDY, MR HARRIS, ROBIN
HARRISON, WESLEY HAWKINS,
AHNATHEA HAWKINS, HOLLY
HAZELWOOD, WESLEY HICKMAN, SVEN
HOBBY, GLYNIS HOLIFIELD, FRANK
HOLLIS, TRAYVONE HONEYCUTT,
JEFRESHA HOOD, CORTNI HORN, ERIC
HOUK, OLLIS HOWARD, TERRY HUDSON,
DARVAN HUDSON, DANIELLE HUGHES,
BRANDI HUMPHREY, DERRELL HURNS,
RACHEL HUTTO, STACY ISAAC, LACEY
JACKSON, RODERICK JACKSON,
TERRANCE JAMES, DEANGELIO
JOHNSON, JOSHUA JOHNSON, JAMAL
JONES, RANDI JONES, DAVID JONES,
FREDDIE JONES, LYLE JONES, ANTHONY
JONES , DAMEION KENNEDY, FORREST
KIMBROUGH, CHANDRA KIRKMAN,
ALAN KIRSCHBAUM, WESLEY KYSER,
JOSEPH LAUDANO, RANDY LAURIMORE,
AKAMIEE LEE, SHOME LEWIS, DENNIS
LITTLE, URSHELA LYNCH, SYLVESTER


                                   2
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 3 of 3128




LYONS JR, GEORGE MACK, GIOVANNI
MAGNOLIA, TASHUNDA LACEY,
NATRECIA MARSHALL, JEREL
MARSHALL, WILLIAM MARSHALL JR.,
DECARDIUS MARTIN, TAMMEAKA
MASON, CORREY MAYE, SUZAN
MCCALL, SHARNISE MCCONICO, JOSHUA
MCDANIEL, ANGENA MCDOLE, DAVE
MCGHEE, ANTHONY MCGINTY,
DEWAYNE MCKINSTRY, JOSEPH
MCLAUGHLIN, LARREKA MCLEAN,
TAMEKA MCMILLAN, ANDREA MCNEIL,
KAYLA MCNEIL, LOUIS MCTERRY,
MARCEL MENEFEE, VINCENT MITCHELL,
COREY MITCHELL, KIRTEASHA MOODY,
ROGER MOORE, ERRICA MOORE,
REBECCA MOORE, CORINTHIANS
MOORE, MICHAEL MORGAN, MICHAEL
MORGAN, MATTHEW MURRAH, PATRICK
MURRY, KENYAL NEAL, LEWIS NEELEY,
JARVARIS NELSON, SUMPTER NEWMAN,
APRIL NICKENS, BREONNA NILES,
DAKUS NIXON, KYLE NORRIS, ALEX
NOWLIN, CATAUDE OLIVER, ERIC
OROZCO, CEDRIC ORR, ANTHONY
OWENS, JOEY OYERVIDEZ, ASHLEY
PARKER, PHILLIP PARKER, RENESHIA
PARNELL , DANNY PAYNE, JOEY POE,
LARRY POMPEY , DONNIIE POPHAM,
CLARENCE PORTER, FRANK POWELL,
KIMBERLY PRINCE, ALISA PRUITT,
ELLISON RAMBO, JAMES RANKIN,
MARQUES RAY, TYLER RICHARDSON,
DOREIN ROBBINS, DERIC ROBINSON,
DAVID ROBINSON, KEVIN ROBINSON,
JOEL ROPER, TARAMECIA ROSS,
CHICQUITA ROSS DOUGLASS, CLARENCE
RUDOLPH, RAYETTA RUSSELL, THOMAS
RUSSELL, WILLIAM SADLER, ADRIENNE
SALERY, THOMAS SALIMENO, TODD
SCHARWATH, TABITHA SCHNITTJER,
TAMMIE SELF ZEGARELLI, CODY
SENTELLE, KENNETH SERMONS,
TIFFANY SHIPLET, KAREEM SHOULDERS,
AMY SHULER, WILLIAM SIMPKINS,
KEITH SIMS, JOSEPH SKELTON, CHESTER


                                   3
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 4 of 3128




SMITH, CLENSEY SMITH, ANTONIO
SMITH, STACEY SMITH, VALMETRICA
SMOOT, ANDERSON SQUARE, ARENTHAL
SPEARS, DEAN ST PIERRE, ORRIN
STANTON, TIMOTHY STEGER, DENADRIC
STEVENSON, JONATHAN STEWART,
DAVID STILLWELL, LATOYA SULLIVAN,
SAVANNAH SYKES-WHITT, JOHNATHAN
TAYLOR, SHAMEKA TAYLOR, WILLIAM
THACKER, JAQUARIUS THOMAS,
KENNETH THOMAS, TERRY THOMPKINS,
BRIAN THOMPSON, COURTNEY
THOMPSON, MARQUARIUS THORNTON,
MARK TILLIS, JUSTIN TISDALE,
MARTERRIUS TUCKER, KENNETH
TURNER, CORY TURNER, RICARDO TYES,
ANDRE TYSON JR. , FRANCISCO VEGEA,
MICHAEL VILLARREAL, JAMES WADE,
JASON WALLS, JUSTIN WALTER, JASON
WALTON, JASHAYDREA WARD, LETITIA
WASHINGTON, BRITTANY WATKINS,
LADARRIAN WATKINS, RON WEAVER,
MALCOLM WESTRY, CAROL WHITE,
LUFREIDA WHITE, SHAREE WHITE,
ARTHUR WILDER, CHARLIE WILKINS,
JASMINE WILLIAMS, APRIL WILLIAMS,
LATRECIA WILLIAMS, EBONY WILLIAMS,
DANIEL WILLIAMS, JACQUELINE
WILLIAMS, TIMOTHY WILLIAMS,
CHARLES WILLIAMS, BRIA WILSON,
TRISTIAN WILSON, SHARONDA WILSON,
JOHN WILSON, LINDA WOODS, TIFFANY
WOODS, ERIC WRIGHT, JOHN WRIGHT,
TINA WRIGHT, MARK WRUBLEWSKI JR,
PATRICK YATES JR., RANDAL ZAPATA,
BEN ZEGARELLI, ESTEBAN CORTES
ACEVEDO, BRUCE DAVIDS, FRED
DESIENA, TRACY GASKIN, SINGINN
LAWSON, CODY MOTT, GEORGE
RINKEVAGE, SEAN SANDVIK, ADRIAN
AGUIRRE, HATEM ALHURMUZI, ETON
ALMUGTADIR, NORMA ALONZO, TROY
ANDERSON, MARK ARELLANO, RYAN
ASPLIN, CHRISTYN BALL, ROMAN
BANEZ, BENJAMIN BARNES, CESAR
BARRAZA, FLAVIO BELTRAN, SEAN


                                   4
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 5 of 3128




BIDAK, DAVID BINDON, JOSEPH
BOISEAU, MICHAEL BOUCOS, NICHOLAS
BRONSON, DOUGLAS BROWN, PAUL
BRYAN, JOSHUA BULL, JULIO CAJIGAS,
CHRISTOPHER CALHOUN, DARRYL
CARLISLE, JORGE CASTILLO, EFREN
COLCHADO RUIZ III, DANIEL COLLINS,
JASON DAVIS, MICHAEL DAVIS,
CHRISTOPHER DAY, JOHN DE LA CRUZ,
KIRK DEAN, GORDON DILL, CYNTHIA
DOMINGUEZ, FRED ELEM, MARCUS
ELLIS, JOY EPPERT, ANTHONY ESPINOZA,
JESSIE ESQUIVEL, ERNIE FLORES, JOHN
FONTAINE, JAMES FRUM, ABIMAEL
GASTELUM, CARLOS GIM, ISAAC
GINYARD, CHAS GOOD, JESUS
GRANADOS, ANDREW HAHN, BRIANNE
HEATH, DAVID HENDERSON, CARLOS
HERNANDEZ, ORLANDO HIGUERA,
BRANDON HILL, JONATHAN HUFFMAN,
DOUGLAS JETT, CHRISTIAN JONES,
RONALD JONES, PHILLLIP KAISER,
ZOLTAN KOSZEGI, MIKE LA ROSE,
CALEB LAWSON, ELIJAH LEE , JUAN
LIZARRAGA, AARON LONGHOUSE,
ADRIAN LOPEZ, JACK LOPEZ, BRIAN
LUCKE, JASON LUTZ, JOSE MACIAS,
NATHAN MARAS, ANTHONY MARINELLI,
VOJIN MARINKOVIC, JOSHUA MARTINEZ,
ANGEL MARTIR-ESTRELLA, KERRIE
MAXAM, NATHAN MAYERS, EMANUEL
MCCARTY, EDWARD MCCLENDON,
FRANCISCO MENDEZ, DELBERT MILLER,
MONTRELL MILUM, STACY MITCHELL,
JESUS MORALES, MIGUEL MORALES,
JUAN MORENO, CHRISTOPHER MORRIS,
ERIC MORROW, MICHAEL MUNOZ,
WALTER NEITZEL, COLLEEN NELSON,
DESERAE NEMETH, KRISTEN NICHOLS,
PAUL ORTON, TIMOTHY OVERSTAKE,
ROBERT PACHECO, ELIAS PEREZ, TONI
PEREZ, JOSE PEREZ RAMIREZ, MICHAEL
PETRUZZELLI, MICHAEL PINEDA,
KENNETH SMITH, CLARENCE POLLARD,
ROBERT PULLIAM, JERRY REIDHEAD,
STEVAN RIOJAS, RANDALL RIVERA,


                                   5
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 6 of 3128




ALEXANDER RIVERO, NICHOLAS
ROBERTSON, SERGIO ROCHA, FERNIE
RODRIGUEZ, VALENTIN RODRIGUEZ,
JESUS RODRIGUEZ, LUIS RODRIGUEZ,
CHRISTOPHER ROOS, DENNIS ROOSE,
ISRAEL ROSAS, MICHAEL ROSE, JACOB
ROYER, CARLOS RUIZ, FRANCISCO RUIZ,
NINO RUSSO, MICHAEL SANCHEZ,
CARLOS SANCHEZ, TIMOTHY SESSION,
DENNIS SHARKEY, BRANDON SHEETS,
ROJELIO SIFUENTES III, LARRY SLUSSER,
ALBERT SMITH, RICHARD SMITH, CHAD
SMITH, JACOB SMITH, FRANCISCO
SOLORZANO, CASEY SPEAR, REGINALD
SPENCER, SHANE STANSELL, GORDON
STARKEY, JADE SULLIVAN, SETH
SWARTOUT, ADAM SWEENEY, JESUS
TAPIA, ERIC TARVER, MATTHEW TEICH,
AARON THOMAS, JUSTIN THORNTON,
JOHN THORNTON, JOHN TOPA, JACOB
TOWNSLEY, HEBER VALENZUELA,
MARCO VALLE, ZACHARY VARGAS,
GERARDOJERRY VARGAS, ANDREA
VASQUEZ, MANUEL VILLA, BRYAN
WALKER, KAVONTE WASHINGTON,
HARLAN WASHINGTON JR., ALEXIS
WATSON, FRANK WEST, STEVEN
WHEELER, STEVEN WHITE, JAMES
WHITE, MICHAEL WILLIAMS, ANTHONY
WILLIAMSON, RYAN WOODS, ERIC
ZAVALA, JOHN ZELASNEY,
CHRISTERPHER ZIGLAR, CHRISTOPHER
ADKINS, LANCE ALEXANDER, CHRIS
ALMAZAN, NASTESEA ANDERSON,
AMANDA BALDWIN, VINCE BARNES,
JAMES BARRON, JUSTIN BASS, MARK
BEASLEY, JOHN BOAZ, DOROTHY
BRIGHT , JULIAN BRITO, ANDRE BROOKS,
PATRICK BROOKS, CHARLES BROOKS,
DAVID BROWN, JONATHAN BROWN,
JOSH BROWN, WILLIAM BURNS, GEORGE
BYNUM, RAYMOND BYRD, JOSEPH
CABALAR, BEVERLY CAMERON, SCOTT
CAMPBELL, WILLIE CANDLEY, BRUCE
CANERDAY, DANIEL CANTWELL,
STEVEN CHAMNESS, ANDREA CHAVIS ,


                                   6
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 7 of 3128




SHELBY CHEATHAM, SHAWN
ANDERSON, STACY CONLEY, ANDREW
COOK, JEFFERY CRIBBS, JOHN CURRY,
BRIAN DAILEY, JARYD DANIEL, SHERIKA
DANIELS, PHILLIP DAVIDSON, KELLY
DAVIDSON, SEDRICK DAVIS, JAKQUN
DAVIS, JEFFREY DENGLER, MARCUS
DICKSON, RICHARD DIXON, TYRONZA
DOBBINS, SAMUEL DUNN, ROBERT
EVANS, KERRY FALLS, MICHAEL
FANCHER, STEVE FERRELL, DAVID
FILLMORE, TONY GOFORTH, ANGEL
GOMEZ, CHRISTINE GOSSETT, SEAN
GREEN, DANNY GRIMMETT, ADRIANNE
GULLEY, ASHLEY HALL-ROBINSON,
CASEY HARRIS, TAYLOR HARVEY,
MICHAEL HAWKINS, JANAE HAYES,
LACOLLIS HAYES, JOSHUA HICKS,
DOYLE HILL, COURTNEY HILLIS, CASSIO
HOLLY, SHAWN HOSKINS, LANCE HULL,
JONATHAN HULL, ELLIOT JACKSON,
ADRIANNE JACKSON, JIMMIE JEWELL,
GABRIEL JIMENEZ, DESHAUN JOHNSON,
SHACARA JONES, DEYONTA JONES,
TODD JONES, DAVID KEELING, JOSHUA
LANDON, PERRY LANGLEY, ANDRE
LASTER, DAVID LEE, KAREN LETSON,
SHAWN LOOPER, ERVIN LOVETT,
TOMMY MARSHALL, RABON MARSHALL,
TINA MARTIN, DANIEL MASTERS,
MICHAEL MAXWELL, MICHAEL
MCCARTAN, NATHANIEL MCELROY,
CLIFTON MCGILL, JAMES MCLAIN, BEAU
MEDSKER, BRAD MELTON, DERRICK
MERRITT, RANDY MILLER, MICHAEL
MILLER, WILLIAM MILLER, TAYLOR
MILLER, TERRI MILLER, JUSTIN MINOR,
JEROME MITCHELL, CASSY MORGAN-
RUSSELL, NITA MOUSER, JOHN MURPHY,
DENNIS NELSON, CHAD NOEL,
CASHAUNDEE OWENS, ASHLEE PARKER,
SHAWN PEEL, MARK PERRIN, ALEXIS
PETERS, ARTHUR PETERSON, RACHEL
PITTS, CURTIS RASOOL, JASON REEDY,
WADE RIEKEN, LIONEL RUEDA,
NICHOLES SAMPLEY, STEVEN SANDERS,


                                   7
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 8 of 3128




JOHNNY SCHULTZ, DARRON SEALS,
BRUCE SEFERS, AGUSTIN SERVIN, PEARL
SHARIF, MORGAN SHRADER, REGINA
SHUTES, JESSICA SIMS, RAY SMART,
SHAWN SMITH, JAMES SPENCER,
CHRISTOPHER STILL, ANGELA SWECKER,
ISDR TAYLOR, JOHNATHAN THACKER,
DAVID THOMPSON, KELYON TIMMINS,
ROBERT TUCKER, PAUL TUCKER, KEVIN
TURNER, JOSEPH UNRUH, ADRIAN
VALLEJOS, AUSTIN VANCE, RACHELL
VANCE, CAMERON WALLACE, IAN
WALTERS, BRYAN WASHINGTON, GREG
WEBB, RANDY WHEELER, FREDRICK
WILLIAMS, MICHAEL WILLIAMS, IVERY
WILLIAMS III, BENJAMIN WILLIS III,
JEFFERY WILSON, MICHAEL WOMACK,
JUSTIN WRIGHT, JOHN WRIGHT, VICTOR
WYNN, TREVEL YOUNG, RAMIRO
ARRIOLA SERRANO, EDWIN ABESAMIS,
JORGE ABURTO, JOSE ACEVEDO, OSCAR
ADAMS, JOSEPH ADDISON, FRANCIS
AGANON, JORGE AGUILAR, ROBERTO
AGUILAR, GUSTAVO AGUILAR
MARTINEZ, SAMUEL AGUILERA, SERGIO
AGUILERA, HECTOR AGUILERA, ADRIAN
AGUIRRE, JOSE AGUIRRE, JOVANI
AGUIRRE, EFREN AGUIRRE, JAIME
AGUIRRE, WILLIAM AGUIRRE, AMER
AHMED, DOUGLAS AHMED, RYAN
AIELLO, ANTONIO ALAMILLO, EDGAR
ALARCON, MONIQUE ALARCON, LUIS
ALCALA, LUIS ALCANTAR, MICHAEL
ALCANTAR, IVAN ALCANTAR, FELIPE
ALCOCER, ALEJANDRO ALEJANDRO,
VICTOR ALFARO, RICARDO ALFARO,
WILLIAM ALFARO, SHAUKAT ALI, SHAIF
ALI, SCOTT ALLEN, RICHARD ALLEN IV,
MIGUEL ALPUCHE, CESAR ALTAMIRANO,
CHRISTOPHER ALVARADO, DAVID
ALVAREZ, SESAR ALVAREZ, CHRISTIAN
ALVAREZ, JOSE ALVAREZ, ERNESTO
ALVAREZ JR., LUIS ALVAREZ OROZCO,
GREGORIO ALVIAR, ALFONSO ALVISO,
ARAFINE AMATHOLLVY, GARY AMAYA,
ROSENDO AMEZCUA, STEPHEN ANCAR,


                                   8
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 9 of 3128




GREG ANDERSON, CHRISTIAN ANDRADE,
EDUARDO ANDRADE, JORGE ANDRADE,
PHILLIP ANGULO, MARCOS ANTON,
ARTHUR APCAR, CRISTIAN ARAGON,
ARIEL ARAMBULA, RUBEN ARANDA,
CHRISTIAN ARAUJO, ANTHONY
AREBALO, URIEL ARECHIGA, NESTOR
ARELLANO, MIGUEL ARIAS, JAUN ARIAS,
CARLOS ARIAS BONILLA, CESARIO
ARMAS, JASON ARMENDARIZ, MARCO
ARMIENTA, ROBERT ARMISTEAD,
MYRNA ARREDONDO, RAFAEL
ARREGUIN, ALEXIS ARREOLA,
STEPHANIE ARREOLA, CARLOS
ARROLIGA, IGNACIO ARROYO, STEVEN
ARTOLA, RALPH ASHTON JR., KENNETH
ASSENG, CARLOS ASTORGA, HARPREET
AUJLA, DWAYNE AUSTIN, DEONNA
AUTREY, JOSE AVALOS, CARLOS
AVALOS-LAZARO, JUAN AVILA, CARLOS
AVILA, NIPSY AVONCE, JOSE AYALA, JOE
BACHMAN, SAMUEL BAEZ, ARBI
BAGHDASARIAN, CARMEN BAHENA,
CARLOS BAHENA GARCIA, CHENIKA
BAILEY, ART BAILLY, RYAN BAJLO, ADE
BAKARI, MICHAEL BAKER,
CHRISTOPHER BALDONADO, JEMY
BALICANTA, NICHOLAS BANKS,
MATTHEW BANUELOS, RAFAEL
BANUELOS, MOISES BANUELOS, GEORGE
BANUELOS, ALFONSO BANUELOS,
SAMUEL BARBOSA, JOSE BARRAGAN,
JUAN BARRERA, LUIS BARRERA
SOLARES, ISAAC BARRETO, KAMERON
BASS, DANIEL BASTIDAS, AARON BATES,
JOSE BAUTISTA, CHRISTOPHER BAYER,
CHERI BEARD, RICHARD BECERRA,
JAMAR BELCHER, MICHAEL BELL,
MANUEL BELLORIN, MICHAEL BELTRAN,
CARLO BELTRAN, URIEL BELTRAN,
ALEJANDRO BELTRAN, PEDRO BELTRAN,
SETH BENDER, FERNANDO BENITEZ,
ANTHONY BERRY, TERRENCE
BESSELLIEU, MARTIN BETTERTON,
TRAVIS BEVINGTON, FRANCISCO
BIRRUETA, RONNIE BISHOP, BENJAMIN


                                   9
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 10 of 3128




BIVENS, DEON BLAKLEY, PAUL BLANCO,
ANTWI BOASIAKO, GERMAN
BOCANEGRA, RIAD BOJEH, CESAR
BONILLA, JOSEPH BONILLA JR JR, IZEAH
BORGES-GATES, ISAAC BORJA, MICHAEL
BRACAMONTES, PERELL BRADLEY,
PATRICK BRANTLEY, BRANDON BRIGHT,
JOEL BRILEY, PAOLO BRILLANTES,
SIDNEY BROOKS, DAMIAN BROUSSARD,
BRANDON BROWN, LANCE BROWN,
DARREN BROWN, NICHOLAS BROWN,
DONALD BROWN, VINCENT BROWN,
STEPHANIE BROWN, JAMELL
BROWNRIDGE, CRYSTAL BRUNSON,
JONATHIN BRYANT, RAYMOND BUCK,
GEORGE BUENROSTRO, ALLAN BUHAIN,
ANTHONY BURGOS, JEFFREY CABEZAS,
WILVER CAJANDING, DAVID CALDERON,
BLANCA CALIX, FABIAN CALOCA, OMAR
CAMACHO, GILBERT CAMACHO,
RICARDO CAMBEROS, JOSE CANAS,
ANGELITO CANLAS, KENNETH
CANNEDY, DAREK CAPPELLO, NELSON
CARABALLO, BERNARDO CARCUS
LOPEZ, MATTHEW CARDENAS, JAMES
CARDENAS, JUAN CARDIEL CARRILLO,
LUIS CARLOS, JUSTIN CARPENTER,
AARON CARRANZA, JOSE CARRANZA,
PEDRO REYES, ELIAS CARREON,
ALEJANDRO CARRERA, FELIX CARRILLO,
MICHAEL KILLOUGH, CHARLIE CARTER,
JUAN CARVAJAL, JULIO CASAS, RICK
CASASSA, JUAN CASTANEDA, ROBERT
CASTANEDA, RUDY CASTANEDA, DAVID
CASTANEDA, JESUS CASTILLEJA,
LORENA CASTILLO, STEPHEN CASTILLO,
CHRISTOPHER CASTILLO, DAVID
CASTILLO JR., LUIS CASTILLO MEZA,
MICHAEL CASTRO, ADRIAN CASTRO,
CHRISTINA CASTRO, JESUS CASTRO
RODRIGUEZ, JAIME CEJA, DOMINIQUE
CENTERS, ANTHONY CERVANTES, JOSE
CERVANTES, STEVE CHACE, JORDAN
CHAGOYA, ANTONIO CHAIDEZ, RENE
CHAIDEZ, MARVIN CHAVARRIA,
RICHARD CHAVEZ, JOSE CHAVEZ,


                                   10
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 11 of 3128




CASSANDRA CHAVEZ, WILLIAM
CHAVEZ, KEVIN CHAVEZ, ANDY
CHAVEZ, MARK CHAVEZ, ALEJANDRO
CHAVEZ-NAPOLES, GEORGE CHEN, PAUL
CHERVINKO, JOHNNY CHHEA, SAMBATH
CHHIN, SALVADOR CHIGUILA SANTOS,
KEVIN CHILDRESS, TOLA CHIN, JUAN
CHOJOLAN, JOHN CHURCHWELL,
STEVEN CIPRIAN, EUSTORGIO CISNEROS,
SHARLENA CLARK, ANTON MELNYKOV,
LUIS MALFAVON, SALVADOR CARRILLO,
GERALD CLINGERMAN, KEVIN
CLINSCALES, JUSTIN COCA, JONATHAN
COELLO ZAVALA, AMIR COLEMAN,
JOSHUA COLEMAN, ISSAC COLEMAN,
LOUIE COLIN, JARVIS COLLIER, JEFFREY
COLVIN, CHRISTIAN COMPOSIBO, JAIME
CONDE, BLANCA CONSTANZA,
ANTHONY COOPER, EARNEST COOPER,
ROOSEVELT COPELAND III , JEREMY
CORDOVA, TIMOTHY CORPUS, MANUEL
CORREA, CARLOS CORTEZ, VINCENT
CORTEZ, JUAN CORTEZ, SHANTY
CORTEZ, JUSTIN COX, PAUL CRAIG,
EVAN CRAYTON, MARCELLA CRESPO,
JESUS CRISANTOS, COREY CRISCOE,
JEFFREY CROCKER, ROBERT CROSBY,
EDGAR CRUZ, JOSE CRUZ, GABRIELA
CRUZ, JESUS CUEVAS, CHRISTOPHER
CUNNINGHAM, GUILHERME DA
SILVEIRA, THOMAS DAGGETT, MICHAEL
DAMICO, THOMAS DAMICO, RAZMIK
DAMLAMANAYAN, MARWAN DAOUD,
GRIFFIN DAVENPORT, KEVIN DAVIS,
JOHNNIE DAVIS, ANDRE DAVIS, FRANK
DAVISON, ROCIO DE ALBA, ADSON DE
CARVALHO, JONALD DE DOTE, RICHARD
DE LA TORRE, EDGAR DE LA TORRE,
RICARDO DE PAULA PEREIRA, BRYAN DE
VERA, RICHARD DECENA, WILLIE DEE,
ANTHONY DEES, PEDRO DEHARO,
AMIRREZA DEHGHANI, OSCAR DEL
ANGEL, MARIO DEL RIO, EMILIO DELA
CRUZ, ARMONDO DELACRUZ, JESUS
DELFIN, ANTHONY DELGADILLO,
MIGUEL DELGADO, STEVEN DELGADO,


                                   11
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 12 of 3128




JOSE DELGADO-GONZALEZ, JEFFREY
DELOS REYES, RYAN DELUCA, SABRINA
DENNIS, AAKASHVEER DEOL, SAMUEL
DEROULET, JASON DEWITT, HARDEEP
DHALIWAL, CARLOS DIAZ, SAMUEL
DIAZ, LAURA DIAZ, EFRAIN DIAZ, JAVIER
DIAZ, FERNANDO DIAZ, ANGEL DIAZ,
BAYRON DIAZ, ANDY DIAZ, MICHAEL
DIAZ, BEVERLY DILLARD, AMANDA
DIMODICA, JAMES DOCK, EMMITT DODD
III, GEOMAR DRAAIBAAR, CHRISTOPHER
DUARTE, JOSE DUENAS JR., WILLIAM
DUNLAP, CHRISTIAN DURAN, DANIEL
DURAN, LUIS DURAN, BIRIDIANA
DURAN, JORGE DURAN GONZALEZ,
MICHAEL DUVENARY, COREY DWEH,
MARLON DYER, HOMAYOUN EBTESAM,
CARLOS ECHEVERRI, AHMED EDHAH,
TREVOR EDWARDS, MARODIN
ELESHAPOUR, DAVID ELGRABLY, JUAN
ELIZARRARAZ, BRANDON ELLINGTON,
MAURICE ELLIOTT, FRANCISCUS EMAN,
CHRISTOPHER ENGLISH, DORA ENGLISH,
TAASHAUN ENGLISH, JOSE ERIBES, TIM
ERICKSON, JOHN ESCALANTE,
CHRISTOPHER ESCALANTE, ANDRES
ESCOBAR, CARLOS ESCOBAR, MIGUEL
ESCOBAR, FRANCISCO ESCOBAR GOMEZ,
JOHN ESCOTO, DANIEL ESKELSON,
RONNIE ESPARZA, JOSE ESPINOZA,
EDUARDO ESPINOZA, SALOMON
ESPINOZA, MARCO ESPOSO, SAMANTHA
ESQUIVEL, JAVIER ESTRADA, BRYANT
ESTRADA, RAMON ESTRADA, MICHAEL
EUSEBIO, SHAKURI EVANS, N F,
ESTEBAN FALCON, JEREMY FARAONE,
STEVEN FARRELL, JESSE FERGEL, JOSE
FERNANDEZ, HUGO FERNANDEZ,
MIGUEL FERNANDEZ, KELLIEANN
FERREIRA, MICHAEL FERREYRA,
BRADLEY FEUCHT, TIMOTHY FIELD,
EDGAR FIGUEROA, VICTOR FIGUEROA,
JACOB FINEANGANOFO, JOHN FISHER,
MATTHEW FITZGERALD, JUSTIN FLAVEL,
LESTER FLORES, HECTOR FLORES,
DAVID FLORES, CHRISTIAN FLORES,


                                   12
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 13 of 3128




FREDDY FLORES MARTINEZ, ERNESTO
FLORES-PALACIOS, IAN FOLMAR, JAMIE
FONG, JOHN FORTNEY, CHRISTOPHER
FOUNTAIN, ANTOINE FOWLER, ROBERT
FRANK, CHRISTOPHER FRANKLIN, TIANA
FRANKS, JOSEPH FRAZIER, JOSHUA
FREDERICK, WAYNE FREEMAN, ANDREW
FREY, LOUIS FRONTINO, WEIJIA FU,
CARLOS FUENTES, ESTEBAN FUENTES,
SAUL FUENTES, ANTONYETTE FULLER,
STEVEN FUNES, GABRIEL GABRIEL E
RUIZ, RENE GALINDO, ANDRES
GALINDO, ELGAR GALINDO, JUAN
GALINDO, VINCENT GALLEGOS, JOSE
GAMA, JETH GANUELAS, ANTHONY
GAONA, DOUG GARAMONI, GUILLERMO
GARCIA, JAIRO GARCIA, SANTANA
GARCIA, NESTOR GARCIA, ERICK
GARCIA, RAUL GARCIA, ROBERT
GARCIA, ROBERTO GARCIA, JOHN
GARCIA, PABLO GARCIA, VINCENT
GARCIA, JASON GARCIA, FIDEL GARCIA,
DENNIS GARCIA, RICARDO GARCIA,
EDGAR GARCIA, DAVID GARCIA,
IGNACIO GARCIA AYALA, ALEJANDRO
GARCIA III, ALVARO GARCIA MEJIA,
ARMANDO GARDEA, NICOLE GAREWAL,
ASHLEY GAREWAL, MARC GARNICA JR,
MICHAEL GARRETT, MICHAEL GARVIN,
ROGER GASCON, MICHAEL GATTUSO,
ANDREA GIL, TERELLE GILBERT, JANICE
GILMORE, NESSA GLASS, ANTHONY
GLOVER, ALEXIS GODINA, RICHARD
GODINEZ, MIGUEL GOMEZ, CHRISTINA
GOMEZ, IGNACIO GOMEZ, RICHARD
GOMEZ, BOBBY GOMEZ, HECTOR
GOMEZ, JOSEPH GONSALVES, DIANA
GONZALES, JUAN GONZALEZ, FABIAN
GONZALEZ, ALFREDO GONZALEZ,
MIGUEL GONZALEZ, THOMAS
GONZALEZ, JACOB GONZALEZ, ALBERTO
GONZALEZ, SEBASTIAN GONZALEZ,
JESUS GONZALEZ, LEONARD GONZALEZ,
MARTIN GONZALEZ, DAVID GONZALEZ,
JERARDO GONZALEZ, RANDY
GONZALEZ, GABINO GONZALEZ, MOISES


                                   13
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 14 of 3128




GONZALEZ, JAVIER GONZALEZ
BALVANEDA, EDUARDO GONZALEZ
NAPOLES, RICARDO GONZALEZ
VELAZCO, CALEB GOODMAN, CHESTER
GOUDEAU, MATTHEW GOULAMANIAN,
RONALD GOUNDER, MARISSA GRECU,
TYRELL GREEN, JASON GRICE, DAVID
GRIEGO, VIRGIL GRIFFIN, SR., JOSEPH
GRIJALVA, JOSEPH GUARDANAPO,
MARCO GUERRA, GONZALO GUERRA,
ANTHONY GUIJARRO, MAYARA
GUISSONI, JUAN GUTIERREZ, RALPH
GUTIERREZ, SERGIO GUTIERREZ, JESSE
GUTIERREZ, OMAR GUTIERREZ, LUIS
GUZMAN, ANDRES GUZMAN, HENRY
GUZMAN GUIMARAES, FRANCISCO
GUZMAN-ESTRADA, SAMUEL
HABTEGEORGIS, DAWIT HAILEMARIAM,
BEHROUZ HAJIALIAN, NATHAN HALL,
SCOTT HANNA, RANI HAOEL, ROBERT
HARMON, MONICA HARO, ERIC HARPER,
JUSTIN HARPER, ELIJAH HARRIS,
DAONTE HARRIS, DOMINIQUE HARTON,
JACOB HATCHER, LETICIA HAYNES,
ANDREW HAYS, JACOB HEDRICK, LORI
HENLEY, CESAR HERNANDEZ, CELINA
HERNANDEZ, ANNER HERNANDEZ, SETH
HERNANDEZ, NELSON HERNANDEZ,
ANNY HERNANDEZ, ISMAEL
HERNANDEZ, CHRISTOFER HERNANDEZ,
REFUGIO HERNANDEZ, EDWARD
HERNANDEZ, EDUARDO HERNANDEZ,
JONATHAN HERNANDEZ, FIDEL
HERNANDEZ, CARLOS HERNANDEZ,
MATHEW HERNANDEZ, JOSE
HERNANDEZ, JOSE HERNANDEZ,
DAMIAN HERNANDEZ, BENITO
HERNANDEZ JR., JAMES HERRERA,
RANDY HERRERA, RAUL HERRERA,
HERIBERTO HERRERA, SIMON HERRERA,
EDWIN HERRERA, STEVEN HICKEY,
CARLOS HIDALGO, DIEGO HIDALGO,
PATRICK HIEB, MARCUS HILGEN,
ROBERT HILLIARD, RODOLFO HIRALES,
HOWARD HIROKANE, RICK HOEFEL, ERIC
HOGAN, JASHUA HOGUE, KEITH


                                   14
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 15 of 3128




HOLIDAY, HORACIO HORACIO, RHONDA
HOWARD, BRIAN HOWELL, RICKEY
HUGHES, DEWAYNE HUNTER, ANTHONY
HURLBERT, LERAHN HUTCHINSON, TRI
HUYNH, ANTHONY IBARRA, WALTER
IBARRA, NARAI IBARRA, JOHN
INTHAPASEUTH, ASAD ISMAIL, KELVIN
PICKERING, JUA JACKSON, TERRIN
JACKSON, ANDRE JACKSON, ROBERTO
JACOBO, LUIS JASSO, JAMES JEFFERSON,
KWAME JENKINS, GUSS JENNINGS,
BHUPINDER JHANJAR, GUOBO JIANG,
JULIAN JIMENEZ, JORGE JIMENEZ, JORGE
JIMENEZ, CARLOS JIMENEZ, THOMAS
JIMENEZ, TRINIDAD JIMENEZ, OSCAR
JIMENEZ GALINDO, GREGORY JOHNSON,
LATOYA JOHNSON, KENDRA JOHNSON,
SHANESHA JOHNSON, NATOSHA
JOHNSON, DAVID JOHNSON, BUFFIE
JOHNSON, RUSSELL JONES, VICTOR
JONES, DERAYNE JONES, JASON JONES,
CANDY JONES, GARY JORDAN, JOSE
JUAREZ, CARLOS JUAREZ, RICHARD
JUAREZ, MICHAEL JUAREZ, LIZETTE
JUAREZ, JAMELLA JULES, JULIO JULIO
MENDOZA, JON JUSTADO CALISA,
CHRISTOPHER KAHAPEA, JORDAN
KEARNEY, JUSTIN KEITH, MICHAEL
KELVIE, JONATHAN KENDRICK, EYAD
KHAL, STEVE KHOTH, RICHARD KIM,
RYAN KLINE, DOMINIQUE KNOWLES,
JOELINO KO, TAYLOR KOH, KOMPHEAK
KOUN, CHRIS KRIKOR, BRENDAN KUBO,
BRIAN KULAS, EDWARD KWAN, JOHN LA
COMPTE, ROUSHAN LACHMAN,
GILBERTO LANDEROS, MICHAEL
LANIER, ANTONIO LARA, JESSE LARA,
URIEL LARA ROJAS, MARC LASZCZ,
STEVEN LAURANSON, TRAVIS LAZZARO,
JESSE LEANDRO, ANTHONY LEE, YEE
LEE, STANLEY LEIGHTON, WILLIAM
LEIS, TYSON LEMAN, HECTOR LEMUS,
CESAR LEMUS, ATTILA LENART, HUGO
LEON, LUIS LEON DE LOS RIOS, BRAYAN
LEON GUERRERO, JORGE LEPLEY,
JOSEPH LEVESQUE, KIMLANG LEWIS,


                                   15
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 16 of 3128




BRIAN LIBERTA, CYNTHIA LIMON,
RICHARD LIMON, CHRISTOPHER
LINNELL, FABIO LIRA, ALEJANDRO
LIZARRAGA, ALBERT LLAMAS, ADAM
LOPEZ, EDGARDO LOPEZ, JOANTHON
LOPEZ, MICHAEL LOPEZ, EDUARDO
LOPEZ, CHRIS LOPEZ, JOSE LOPEZ,
HORACIO LOPEZ, EDUARDO LOPEZ,
LESTER LOPEZ, SAMUEL LOPEZ, ROBERT
LOPEZ, ROBERT LOPEZ, CARLOS LOPEZ,
FRANCISCO LOPEZ PEREZ, HECTOR
LOPEZ-BERNARDO, EEVIL LOUIS,
DOMINIC LOWERY BOWEN, DOMINIC
LOZANO, JAMEE LUCAS, GEORGE
LUCERO, MARK LUCERO, JUAN LUCIO,
MARCUS LUGO, SERGIO LUJAN, NOEL
LUNA, RICHARD LUNA JR., GREGORY
LUPIEN, YVES PONTEFRACT, MARK M
PACION, SANNY MACAGBA, STEVE
MACIAS, MARCO MACIAS RUIZ,
ARMANDO MADDY, JASON MADISON,
DAVID MADRID, ANTHONY MADRIGAL,
SALVADOR MAGALLON, EFREN
MAGANA, DEREK MAGEE, BRANDON
MALALUAN, WENNER MALDONADO DE
LEON, CARLOS MANCIA, EUGENE
MANCIAS, ALVARO MANZO,
CHARMAINE MANZO, LORENZO SMITH,
RICHARD MARES, GINA MARIE, JORGE
MARIN, ALDO MARIN, HUGO MARIZ,
ESTEBAN MARQUEZ, ROY MARSHALL,
JAQUELINE MARTINEZ, RICHARD
MARTINEZ, CARLOS MARTINEZ,
GONZALO MARTINEZ, ROBERT
MARTINEZ, JUAN MARTINEZ, RAFAEL
MARTINEZ, DANIEL MARTINEZ, MARIA
MARTINEZ, JOSE MARTINEZ, PHILIP
MARTINEZ, EDWIN MARTINEZ,
AMARILDO MARTINS, ARTHUR MARX,
FRANCISCO MATA, RICARDO MATA,
CHRISTOPHER MATTOS, LORENZO
MAYNEZ, KIRUAN MAYO, SHEENA MC
CLAIN, KIERRA MCCAA, TIMOTHY
MCCORKHILL, ANDREW MCCOY, ERWIN
MCDONALD, JEFF MCGEE, JARED
MCGEE, CAMERON MCGREGGOR, SEAN


                                   16
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 17 of 3128




MCHALE, TERRENCE MCKINNIE, ROBERT
MCKINSTRY, MATTHEW MCLAUGHLIN,
RYAN MCMILLAN, JAISOHN MEADORS,
CHRISTOPHER MEALY, DANIEL MEDINA,
HAMILTON MEDINA, JOAQUIN MEDINA,
DINO MEDINA MARTINEZ, ERIC MEJIA,
JORDAN MEJIA, ANTONIO MELO, HERBER
MEMBRENO, DANIEL MENCHACA,
MARIO MENDEZ, JONATHON MENDIOLA,
JESUS MENDOZA, JEFF MENDOZA,
GUADALUPE MENDOZA, OCTAVIO
MENDOZA - LIZARRAGA, TOMAS
MENDOZA ARECHIGA, XAVIER
MENJIVAR, DANIEL MEP, JAIME
MERCADO, MATHEW MIHALUS, CURT
MILLER, JHOJITT MINIANO, LOUIS
MISCHEAUX, BRETT MISELL, DALTON
MITCHELL, PHILLIP MITCHELL, WILLIAM
MITCHELL, VICTOR MOLINA, MICHAEL
MONDELLO, JOSE MONDRAGON,
TANNER MONTANO, MANUEL
MONTEPEQUE, ISAAC MONTES, DOMINIC
MONTGOMERY, MICHAEL MOORE,
STEVEN MOORE, JEFFERY MOORE,
EDUARDO MORA, JOSE MORALES, DIEGO
MORALES, VICTOR MORAN, EDWIN
MORAN, DANNY MORATAYA, GARY
MOREAU, HECTOR MORENO, ELOY
MORENO, MARTIN MORENO, VICENTE
MORENO, MARK MORGADO, MATTHEW
MORO, BRANDON MORRIS, CHARLES
MOSBY, MARCUS MOSLEY, RONNIE
MOSQUEDA, ZACHARY MOSTAD, FRANK
MUNOZ, JESUS MUNOZ, ATANACIO
MUNOZ, MICHAEL MUNOZ, RODOLFO
MUNOZ-NORIEGA, JOHN MURARO,
STEVEN MURRAY, PRAVEEN NAIDU,
EDUARDO NAJERA, REN NAKANOTE,
MARIO NARANJO, RAFAEL NASCIMENTO,
JOSELITO NATNAT, ROGER NAVA, JOSE
NAVARRETE MIRANDA, SUMEET
NEIGAH, JOSHUA NEWMAN, TRAN NGO,
NHAT NGO, THIEN NGO, TUNG NGUYEN,
VY NGUYEN, THOM NGUYEN, ANTONIO
NGUYEN, FEDERICO NIETO, DAVID
NIETO, JOSE NIETO, MELISSA NIETO,


                                   17
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 18 of 3128




MYRON NOVAK, SHAUN NUMERA,
NARCIS NUMIC, CINTHIA NUNEZ, JOSE
NUNEZ, JOSEPH OBORNY, RAYMOND
OBRADOR, TERRENCE OBRIEN, CRISTIAN
OCAMPO, SAMUEL OCHOA, JEREMY
OFARRELL, CEDRIC OGAMBA,
SHANEQUA OKRAY, JAVIER OLAGUE,
VANESSA OLIVER, DONTEY OLLIE,
MIGUEL OLLOQUE, BRAD OLSON,
SAMUEL ORCINE JR, MAURICE
ORELLANA, KRISTIAN ORELLANA,
FLORENCIO ORENDAIN, DAMIAN
OROSCO, RICKY OROZCO, VICTOR
OROZCO ROJAS, KEVIN ORTEGA, PEDRO
ORTEGA LOPEZ, JORGE ORTEGA
ORTEGA, DAVID ORTH, FRANCISCO
ORTIZ, DANIEL ORTIZ, LUIS ORTIZ, JOSE
ORTIZ COVARRUBIAS, RODRIGO OSORIO,
DAVID OSUNA, RICARDO PACHECO,
ENRIQUE PACHECO, HELIX PADILLA,
EDUARDO PADILLA, ARMANDO
PADILLA, ROBERT PALACIOS, JOSEPH
PALAU, REGGIE PALMER, JUAN
PANIAGUA, KEVIN PANNTHAY, JORGE
PANTOJA, ARTIS PARKER, FREDDIE
PARRA, MARWIN PARRA, DARRYL
PASCHEL, ALLISON PASCOE-SALINAS,
ERICK PASTRAN, MOREY PAUL, DAMON
PAZ, KENNETH PEFFER, LUIS PENA, JOSE
PENA, BRYAN PENDLETON, EDRIS
PERALES, ERICK PEREZ, CARLOS PEREZ,
EMANUEL PEREZ, ROBERTO PEREZ, LUIS
PEREZ, EDUARDO PEREZ, JOSE PEREZ,
JOSE PEREZ, ULISSES PEREZ, LUIGUI
PEREZ-MARTINEZ, ANDREW PERKINS,
CHRISTOPHER PERRY, BLAINE PERRY,
WILLIAM PHU, AARON PICKETT, JANELL
PIERRE, PEDRO PINA, RYAN PINEDA,
GENARO MEDINA, DANIEL PINON,
SCOTTY PINUELAS, TAPIA PISENO,
ANTHONY POPE, BRIAN PORRAS,
RONALD PORTILLO, SANTIAGO
PORTILLO, JONAS PORTILLO, HENERY
POSADA, IOANE POUMELE, EDUARDO
POZO, DAINA PRESIDENT, JORGE
QUEZADA, ALEJANDRO QUIJAS, DAVID


                                   18
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 19 of 3128




QUINONES, CARLOS QUINTANILLA,
APOLONIO QUINTANILLA, CHARLES
QUINTANILLA, ERICK QUINTANILLA,
HUMBERTO QUINTERO, BENJAMIN
QUITUGUA, ANTHONY RABENA, JESUS
RADILLO, JORDAN RADOC, JOSEPH
RAFFERTY, GURJEET RAI, HARDEV RAI,
IVAN RAIGOZA, DAVID RAMIREZ, DAVID
RAMIREZ, MANUEL RAMIREZ, FEDERICO
RAMIREZ, HERIBERTO RAMIREZ,
FRANCISCO RAMIREZ, NICHOLAS
RAMIREZ, LUIS RAMIREZ, EMMANUEL
RAMIREZ PATINO, MARK RAMOS, PABLO
RAMOS, MICHAEL RAMOS, GEORGE
GONZALES, JOSE RAMOS, CARLOS
RANGEL, BRANDON RAPOSA, DEREK
RAY, MARYJOANN RAYFORD , OCTAVIO
RAYMUNDO, AMIR RAZAVI, ANTONIO
RAZON, KEITH REAGAN, OTIS REDD,
AMBER REIFERS, JOHN RELIFORD,
RONALD REMMIE, JOVANY RESENDIZ,
NATHAN REVELES, CHRISTIAN REYES,
JERRY REYES, ANTHONY REYES,
AUGUSTINE REYES, VIKTOR REZNIK ,
JUSTIN RIBEIRA, AMEER RICHMOND,
JOSE RICO HARO, JORGE RIOS, ISRAEL
RIOS, BERNARDO RIOS, TITO RIVAS,
BERTHA RIVAS, JORGE RIVAS, GILBERT
RIVAS, GERBER RIVAS TEXIN, LISSETH
RIVERA JUAREZ, TRENT ROBBINS, MARK
ROBERSON, ELI ROBINSON, ALEXANDER
ROBINSON-MEZA, BENJAMIN ROBLEDO,
ESTEVAN ROBLES, KEVIN RODRIGUEZ,
ADOLFO RODRIGUEZ, ISABEL
RODRIGUEZ, JORGE RODRIGUEZ,
MIGUEL RODRIGUEZ, ALEJANDRO
RODRIGUEZ, DIEGO RODRIGUEZ, JAVIER
RODRIGUEZ, RENE RODRIGUEZ, ANGEL
RODRIGUEZ, RAFAEL RODRIGUEZ,
MATIAS RODRIGUEZ, GENARO
RODRIGUEZ, KEVIN RODRIGUEZ,
FRANCISCO RODRIGUEZ, JOSE
RODRIGUEZ CANTELLANO JR,
ILDEFONSO RODRIGUEZ GARCIA,
NICHOLS ROESLER, ISAIAS ROJAS,
FERMIN ROJAS, RIGOBERTO ROMERO,


                                   19
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 20 of 3128




JULIO ROMERO, RAMON ROMERO, JUAN
ROMERO AVILA, CARLOS ROSAS, BENNIE
ROSEBURR, SAEID ROSHANMANESH,
ESBIN ROSSEL, CURT ROY JR., LORENZO
RUBALCAVA, CHRISTIAN RUBI,
ANTONIO RUFINO, FERNANDO RUIZ,
MIGUEL RUIZ, JOEL RUIZ, IGNACIO RUIZ,
MARIO RUIZ, ULISES RUIZ, ELIZABETH
RUIZ, EDGAR RUIZ-LOPEZ, CALVIN
RUSH, YAO SAECHAO, MICHAEL
SAECHAO, NAI SAECHAO, ANDREW
SAFARIK, LOUDA SALAIS, SAMMY
SALAS, ANTHONY SALAZAR, ALAN
SALGADO, HECTOR SALGADO, CARLOS
SANCHEZ, JACOB SANCHEZ, ALAN
SANCHEZ, CHRISTIAN SANCHEZ, PEDRO
SANCHEZ, RICARDO SANCHEZ,
JONATHAN SANDERS CASTELLANOS,
DAVID SANFORD, TOMAS SANTILLAN
JR., ERIC SANTOS, ARIESTOTLE SANTOS,
MANUEL SANTOYO, DAVID SANTOYO,
JASON SAO, SOPHAN SAR, ZACHARY
SARGENT, JOSE SAUCEDO, KYLE
SCHILLING, PAUL SCIULLI, ANTHONY
SCOTT, ALI SCOTT, EDWARD SCOTT III,
JEFFREY SCULL, MICHILE SEALS, CARL
SEATS, MARCO SEGOVIANO, ELIZABETH
SEGURA SALVATIERRA, TRAVIS SELLE,
ROBERT SENA, GEORGE
SENGRASAPHON, FREDERICK SEQUEIRA,
MELISSA SERNA, JASON SEUTH, ALFONO
SHABAZZ, RICKY SHARMA, ERIC
SHREWSBURY, AARON SHUSTER, DANNY
SIBOUNHEUANG, DIMAS SIBRIAN
GALDAMEZ, DANIEL SILVA, CLAUDIO
SILVA, GUSTAVO SILVA, ANTONIO
SILVA, RYAN SILVAS, JEAN SIMON
CHABAN , LAKEISHA SIMS, RASHPAL
SINGH, SUKHJIT SINGH, PARVINDER
SINGH, RAJWINDER SINGH, COREY
SKILLMAN VIDULICH, JORDAN SMITH,
RONALD SMITH, CONGA SMITH,
CHRISTOPHER SMITH, SAM SMITH,
THOMAS SMITH, DILLON SMITH, BEN
SNODDERLY, ERIC SNOWDEN, JORGE
SOLARES, STEVEN SOLIS, JESUS SOLIS,


                                   20
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 21 of 3128




MAYRA SOLORIO, SOVANNA SOPHAL,
STANELY SOTELO, JORGE SOTO JR, LUIS
SOTO ZEPEDA, ALEX SPENCER, PRESTON
SPENDLEY, DEANTE SPRUILL, JOSSUE
RICO, SOPHORN SREY, KENNETH
STEMMLER, ROY STEPHENS, JUSTIN
STEVENS, SEAN STEVENSON, ROBERTO
MARISCAL, AVERILL STOKES, SR., LEWIS
STOKES, JAMES STONE, EMANUEL
STROZIER, RICHARD STRUTHERS, DAVID
SULLIVAN, SOPHAL SUN, ALAM SUNER,
TOMI SUPSIC, CODY SUTTON, SEAN
SWAFFORD, MANDINKA SYESS, JOSEPH
SZUPELLO, TUYEN TA, ALFONSO
TACDOL JR, RAYAN TAJADDOD
GALAVAN, PREMJEET TAKHAR,
ANTHONY TALAVERA, JESSE TAMAYO,
MICHAEL TAMORO, VINCENTE TAPIA,
HUGO TAPIA CALDERON, LEONARDO
TAVAREZ, ROB DOUANGPRACHANH,
KENNETH TAYLOR, ROMINICA TAYLOR,
TOMEKICA TAYLOR TWILLIE, ALEX TEC,
MEHARI TEKLE, DAVID TELLO, TRICIA
TENNEY, KHALIL TFAILY, DAMARCUS
THOMAS, DAMADRE THOMPSON, JESSE
THOMPSON, KENNETH THOMPSON,
JABARI THOMPSON, JOEL THOMSON,
LUCKY THONGKHAMVILAY, TODD
TIETJEN, GREGORY TILLER, EDDIE
TINOCO, RORY TISBY, RUBEN
TISCARENO, PEDRO TIZNADO, LUIS
TOBAR, CHRISTOPHER TODD, JERRY
TOLIVER, MICHAEL TOLLIVER, DILLON
TOLLIVER, UIKI TOOMATA, ALEJANDRO
TOPETE, JAIME TORO, SANTIAGO
TORRES, JAVIER TORRES, LISA TORRES,
FELIPE TORRES, ARTHUR TORRES,
VICTOR TORRES CALDERON, JUSTIN
TOUVELL, ERIC TOVAR, TREYVONE
TOWNS, KEVIN TRAHAN, ADAN
TRINIDAD, MARK TRONCOSO, SON
TRUONG, WILLIAM TUCKER, ANN TUNG,
RICARDO TURINCIO, AARON TURNER,
TEDDY TURNER, TYRONE TURNER,
TANISHA TURNER, DENNIS TYLER, TASI
UA, VINCENT UBALDO, JULIO-RAPHAEL


                                   21
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 22 of 3128




UGAS, EHSAN ULLAH, MATTHEW ULLOA,
JASON URBANSKI, LOMBARDO URBINA,
CHRISTOPHER URZUA, ALEJANDRO
VACA, BRIAN VALDEZ, CARLOS
VALENCIA, EMILIO VALENCIA, PAUL
VALENTINE, FRANK VALENZUELA,
ZACHARY VALENZUELA, JAMES
VALENZUELA, RICKY VALENZUELA,
JORGE VALENZUELA, EDWIN
VALLADARES, RICHARD VALLEJO,
ALBERT VANLUE, RAYMOND VARELLA,
JASON VARGAS, LIGIA VARGAS, HUGO
VARGAS, JEFFREY VARGAS, DANIEL
VARGAS, ENRIQUE VARGAS CAMACHO,
CESAR VASQUEZ, ALEJANDRO VASQUEZ,
MICHAEL VASQUEZ, JUANCARLOS
VASQUEZ, IVAN VASQUEZ AGUILAR,
HUGO VASQUEZ SOTO, IRVING
VAZQUEZ, CHRISTIAN VAZQUEZ,
ROBERT VAZQUEZ, ROGELIO VEGA,
HUGO VEGA, ROBERTO VELA, RAYMOND
VENEGAS, TONY VICTORINO, MARIO
VIDACA, GUILLERMO VIDALES, RUBEN
VIGIL, JOSE VILLAGRANA, DENNIS
VILLALOBOS, ANTHONY VILLALVAZO,
CAMELO VILLAMOR, RAFAEL
VILLANUEVA, FRANCISCO VILLANUEVA,
LUIS VILLAVICENCIO, JORGE VINALAY,
HUNG VU, FARHAD WALI, TYREE
WALKER, BILL WALLS, HONGHAO
WANG, MR WANTAREGH, DANIEL WARD,
HEWAD WARDAK, ERIC WARREN,
DASEAN WASCHUCK, ELZY
WASHINGTON III, MYZIL WATERS,
ANDREW WATKINS, BRADLY WATSON,
ZACHARY WATT, ANDREW WEIGNER,
KENNETH WELI, JON WESTON, LONNIE
WHALEY, KELI WHITE, JOSEPH WHITT,
DAVON WIGGINS, PHILLIP VELASQUEZ,
JOHNIE WILLIAMS, ANDREW WILLIAMS,
BRANDON WILLIAMS, TREVONTE
WILLIAMS, CHRISTOPHER WILLIAMS,
SHARELL WILLIAMS, LEYLAN
WILLIAMS, ANTHONY WILLIAMSON,
NOEL WILSON, TOMMY WILSON, MIKE
WILSON, CRAIG WILSON, DAMONDRE


                                   22
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 23 of 3128




WILSON, JENNIFER WOLFE, ERON WOOD,
DONALD WRIGHT, HAIFENG WU, ABI
WURTZ, JONATHAN XIONG, JULMER
YANEZ, SI YANG, HERBERT YBARRA,
PAUL YBARRA JR., VOEUN YIN, EDWARD
YORBA, SEK YUEN, EDGAR ZAFARALLA,
MOHAMMAD ZAHORY, SERGIO ZAMORA,
JASON ZANELLI, JUAN ZARAGOZA, NEIL
ZARATE, GERARDO ZARCO, ROJEH
ZAROUKIAN, ALEX ZAVALA, ELVIS
ZAZUETA, MELVIN ZELAYA VASQUEZ,
JOSE ZERMENO, MAYRA ZERMENO, JUNJI
ZHOU, SERGIO ZUNIGA, CHARLES
ADAMS, RILEY AITKEN, GORDON ALLEN,
ANTHONY ALSTON II, VALENTINO
ALVARADO, KAWANA ANDERSON, PAUL
ANDERSON, DAVID ANDERSON,
REGINALD AUSLER, JESSE AUTOBEE,
ANDREW BACHANOV, RUSTY BAKER,
SCOTT BAPTIST, DWAYNE BELL, RUSS
BERRY, ERIC BETTIS, GREGORY BIRELY,
DANIEL BOGGS, WILLIAM BONILLA,
CHRIS BOYER, GORDON BRAGG, DANIEL
BRAVO, TRAVIS BROWN, REECE BROWN,
BRADY BURKETT, SADIE CAPUCHINO-
HERNANDEZ, BENJAMIN CARTER,
ALBERTO CASTRO, MICHAEL
CHILDRESS, MICHAEL CLINCH, ALAN
CONNELLY, NIKKIE COOPER, CHRISTIAN
COSTELLO, REIGAN CUEVAS, CARRIE
CUPOLO, JOSHUA CURFMAN, STEPHEN
CUSICK, KIERSTIN DARROW, GARRETT
DEBOER, THOMAS DECOURCEY,
DOMINIK DIBLASI, ANDRE DISMUKE,
DEXTINE DRAGON, RAYMOND DYSON,
RICHARD EISENREICH , GARY ELLYSON,
NATNAEL ENGDASHET, KEVIN ERISMAN,
ALBERT FERGUSON, DAVID FISHER,
ROBERT FORMHALS, BENJAMIN GABRIO,
ERNEST GARCIA, DANA GARDNER, JOHN
GARDUNO, DELANO GLENN, BRAD
GOLOJUCH, CASEY GOOD, SAMUEL
GRANADOS, KOEHLER GRAY, JOHN
GREEN, STEVE GUERRERO, MATTHEW
GUIDRY, FRANKLIN GUZMAN, WILLIAM
HALL, SHELIA HAMILTON, DIANA


                                   23
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 24 of 3128




HAYES, VANESSA HEBB, SUZANNE HEIN,
WILLIAM HELMS, LENONARD
HENDERSON, AUSTIN HERBECK, KAREN
HERNANDEZ ARTIGA, GABRIELA
HERRERA, CORY HETRICK, SETH HILL,
DENNIS HUGHES, PAULA JAMES,
ADOLPH JARAMILLO, JASON JERNEGAN,
JOSHUA JETT, SAFAA JEWAD, FIDEL
JIMENEZ, LEON JIRON, MICHAEL
JOHNSON, ISAAC JOHNSON, PATRICK
JONES, KATHIE KEELER, PATIENCE
KINZIE, COREY KLEINHENZ, CAMILLE
KURZ, BARON LANDINGHAM, TIMOTHY
LAWRENE, ALMA LEAL, RALPH LEE,
DENNIS LEVINGS, KEVIN LOLE, JOHN
LONERGAN, PAUL LUCERO, VINCE
LUCIANO, KELSEY LYNN/ YOUNG,
KEYANDREA MACKLIN, JOSEPH
MADRID, JESSE MADRIL, JAMES
DELAGARDELLE, DENNIS MARTIN,
LOGAN MARTIN, DARRYL MARTIN, FRED
MARTINEZ, ANITA MARTINEZ, TIMOTHY
MARTINEZ, RYAN MATTINGLEY,
GEORGE MC DONOUGH, DONALD
MCCULLOCH, STEPHEN MCHALE, RUBEN
MEDINA, FREDERICK MEDINA,
JONATHAN MERRELL, JUSTIN MICHELS,
PAUL MILLER, PAUL MILLS, STEVE
MONELL, RITA MOORE, DAWAUN
MOREHEAD, GLEN MUSTIAN,
CHRISTOPHER NAPOLITANO, LARRY
NAZARENUS II, JOSH NELSON, MICHAEL
NEWMAN, MATTHEW NEWMAN,
ADRIENNE NEWTON, JASON NOVAL,
SIERRA OAKLEY, MERIN OAKLEY JR.,
GEORGE ODAR, TODD OHAVER, JAMES
PADILLA, REYNA PADILLA,
CHRISTOPHER PALACIOS, CHRISOPHER
PARKER, SHERRY PEREZ MARTINEZ,
HUNTER PERRY, ROSE PETERS, TIMOTHY
PINEDA, RON PORTER, SAMANTHA
POTTS, LUIS PROVENCIO, MELISSA REES,
BERT ELLIS, WILLIAM RHODES, JOSEPH
RICO, KENT RIDDELL, WILLIAM
ROBERTS, CHRISTOPHER ROBINSON,
KIMBERLY ROCHA, RALPH ROMERO,


                                   24
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 25 of 3128




ANTHONY RUSSO, NATHAN RYDALCH,
TIERRE SAMS, JOE SANCHEZ, RICKY
SANDOVAL, PAULETTA SANDOVAL ,
TIMOTHY SCHEVE, RICHARD SCHRADER,
DAMON SCHULTZ, JAMAL SCOTT, BRIEN
SEARCY, MITCHELL SECUNDA, MELISSA
SEGURA, ZACHARIAH SHEPPARD,
DOUGLAS SHINOFIELD, JEFFREY
SITZMANN, KARIN SLACK, LATRICE
SMITH, CODY SMITH, JAE SO, DONALD
STANLEY, ZECHARIAH STANSBURY,
JAMES STONGLE, ANGELO STROCK, AVIS
STUBBS, ANDY SWENSON, ZACHARY
TAYLOR, AIDEN TAYLOR, THOMAS
TENCICK, RICHARD THOMAS, BRIAN
TORRES, DAVID TREVIZO, JOHN
TRUJILLO, RUSSELL TRUJILLO, TOMMY
TRUJILLO, CONNER UDELL, JESSE
VALDEZ, WILLIAM VANCE, RACHELE
VARGAS, ERIC VIGIL, CARTER
WASHINGTON, WILLIAM WAYLAND,
WILLIAM WENDELL, DANIEL
WHITEMAN, WILLIAM WHITMORE,
DAKOTA WILKINSON, JASON WILLIAMS,
ARNOLD WILSON, TERI WOODWARD,
JAZZMIN WYATT, DAN YATES, AHMED
ZAKI, TAMER ABDALLAH, ASHLEY
ACEVEDO, JENIFFER ALCANTARA
CALISE, LOUBERT ANTOINE, JUSTIN
BANOS, MICHAEL BARNABY, WILLIAM
BARNETT, ANTHONY BARTHOLOMEW,
ROAN BELL, VICTOR BENITEZ, KENNETH
BENNETT, XHEVAT BEQIRAJ,
EMMANUEL BERROUET, WILLIAM
BIBBER III I, KYLIE BIKE, IESHA BLAKE,
RODNEY BLAKE, SHAWN BOSWELL,
ERICA BOYCE, DION BRITTON, KIRK
BRODIE, CHETAYEN BROWN, LEMONTE
BROWN, WILLIAM BUGBEE, ANDREA
BURKHARD, SHANE BYRNES, GLENN
CABA MOREL, JUAN CARRASQUILLIO,
ERIC SULLIVAN, ROBERT CHASE, DAVID
CHAUVIN, ANGEL CINTRON, JONATHAN
COHEN, JOSE COLON, ANTONIO CORREA,
RANDALL CRAWFORD, NATE CRUZ, ERIC
DAITCH, NICHOLAS DAVILA, JEFFERY


                                   25
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 26 of 3128




DEFEO, THOMAS DIMARIA, GERALD
DOBUZINSKY, STEVEN DUBEL, DANIEL
DUFFY, CARL FAHLBECK, DESMOND
FLETCHER, VICENTE FLORES, MARY
FLORKOSKI, OWEN FRANCIS, ELISHA
FUENTES , CLARENCE GASKINS,
ANTHONY GONYEA, ONEIL GREGORY,
JAMES GRZESIAK, FLOR GUZMAN,
RONNIE HAZARD, JOSE HERNANDEZ
CARRASQUILLO, LEON HOOK. JR,
JONATHAN HORZEPA, SHAWN
HOVATTER, HALIM ILGU, BRANDEN
JACKSON, GEORGE JARA, POREE
JARMAN, DAVID JORDAN, WILLIAM
KANE, JOHN KEARNS, HENRY LANIER,
CARL LEWIS, STEPHEN LIVINGSTON,
ALEXIS LLANOS, JORGE MAISONET,
THEODORE MCCOLLOUGH, JEFFREY
MCKNIGHT, DARYEL MCROREY, ROBERT
MCSWEENEY, JOHNNECIA MEEKINS,
KAYLA MENDEZ, TY MIDDLETON,
CHRISTOPHER MOORE, PHILLIP MORRIS,
ZULEYKA MULERO, ABE NELSON,
CHRISTIAN OLIVO, TAHSHEM PARIS,
MICHEAL PARISE, CASEY PARKER, LUIS
PASTRANA, MARGARO PENA, STEVEN
PEREZ, RANDOLPH PETTWAY, NICHOL
PHELAN, MICHAEL PIASECKI, ANTHONY
PICCOLO, LUIS PICHEN AZABACHE,
NESNY PIERCIN, TAREK RAJEH,
HOTRADAT RAMLALL, WESLLY RIVERA,
JOSE RIVERA, MICHAEL ROLLINS,
CARLOS SANTIAGO, JOSE SEMINO,
PATRICK SERINO, JOHN SIMKO,
CHRISTOPHER SMITH, CATHERINE
STEBBINS, HIROMICHI SUZUKI, MARCUS
TOLSON, JAMES TORTI, GARFIELD
TULLY, CHRISTOPHER VANCE, LUIS
VAZQUEZ, CHRISTOPHER VENESS,
RICHARD VILLANUEVA, KEON WALTON,
ROBERT WERBESKY, THOMAS WHIFFEN,
MICHAEL WILLIAMS, DONAVON
WILLIAMS, ANDREW WILLIAMS,
MATTHEW WILLSON, WESLEY WIMES,
DIANE ZAPATKA, KEN BAILEY, JAMES
BAYNUM, PATRICE BRADLEY, EARL


                                   26
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 27 of 3128




BRITTINGHAM, RICHARD BUTLER,
MICHAEL DEMPSEY, DEBORA
DEVINCENT, JAMES DICARLANTONIO,
MATTHEW DUNHAM, TYRON FINNEY,
PAUL FRAZIER, DERRICK GLASCO,
PHILIP GRASSO, REECE HALES, JEROME
HARRIS, AARON HARRIS, DEWAYNE
HOLLOMAN, EDGAR HURLEY, KERSON
ISRAEL, SHAKEEL JEFFCOAT, EDWARD
JENKINS, CURSTIN JOHNSON, SHAWN
JOHNSON, JOHN LAYNE, GEORGE LUJAN,
MELISSA MATTHEWS, LORI MCKAMEY,
CHANTAY MITCHELL, CHRISTIAN OTT,
PAUL PIPER, JOSEPH PROSCENO, WESLEY
REYNOLDS, LETISHA ROBINSON, DYLAN
ROPER, TERRY SETH, ALLEN SIBLEY,
TYRON SIMS, ERIC SKINNER, REGINA
SMITH, SHERELL SMOTHERS, STACY
SUHR, SHAWN WALLOP, BRANDON
WARD, DAESHA WATERS, TIFFANY
WHITEMAN-RADCLIFFE, ANDREA
WILLIAMS, DEXTER WISE, SR., JOSEPH
ZIMMARO, CHRIS ZINNEL, TIMOTHY
BAILEY, KAREEM WILLIAMS, MOSHE
ACEVEDO, DKWON ADETOKUNBO,
CARLOS AGUIAR, JORGE AGUIRRE,
CHRIS ALDANA, EDWARD ALLBRITTON,
MICHAEL ALLEN, XAVIER ALLEN JR,
AUBREY ALMAGUER, CARLOS
ALMONTE, MAURICE ALTO, FABIAN
ALVAREZ, REOL ALVAREZ POMPA,
WILLIAM AMADEO, ARMANDO AMAYA
GALLEGOS, JANICE AMES, ARCHIBALD
AMORY, ALEXANDER ANGELES, DANE
ANGRAM, MICHELE ANTHONY, CHARLES
ANTICH, HUGO ARANGO, RAIMUNDO
ARAUJO NAVA, EDWARD ARIAS, ERIC
ARNOLD, CHRISTOPHER ARSENAULT,
ENGIN ARSLAN, JASON AUNSPAUGH,
KENT AUSTIN, JOHN AUSTIN, KEVAN
AZEVEDO, DANYELLE BAKER, TERYNCE
BAKER, DANIEL BALLARD, DIETRICH
BARKER, KEDRIC BARNES, DAVA
BARNHART, ARMANDO BARRERO
FIGUEREDO, SR, CHRISTOPHER
BARRETT, JOSHUA BARRIENTOS,


                                   27
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 28 of 3128




SANTIAGO BARTIS, BRANDON BASISTA,
WALTER BASKIN, SYDNEY BASTAIN,
KENNETH BATTON, TODD BEADLE,
CARRIE BELL, STERVENSON BENJAMIN,
ROBERT BENNETT, JOHNATHON
BENTLEY, MICHAEL BERTA, PHILLIP
BETTIS, GABRIEL BIVENS, KENNETH
BLACKBURN JR, JACQUELINE
BLACKHURST, ALIN BLANCO, RONALD
BLOOM, KEYON BOATWRIGHT, NELSON
BOBADILLA, RAYMOND BOBO, PAUL
BOCAN, EDGARD BOCIO, MICHAEL
BOGLIOLE, RICAURTE BOLANOS, SHAWN
BONENBERGER, ROBERT BONILLA,
JERMIAH BORDEN, JONATHON BORS-
KOEFOED, JAMES BOUFFARD, JASON
BOUTWELL, PAUL BRACE, DONTREL
BRADLEY, EARNEST BRAGGS, JOSHUA
BRIGGS, JOHN BRINKERHOFF, TREVOR
BRIVET, MATTHEW BROCKMAN,
AKESKIA BROOKS, MATTHEW BROOKS,
BRANDON BROOKS, DWAYNE BROWN,
JOSEPH BROWN, CHRISTOPHER BROWN,
DAVID BROWN, ANDRE BRYANT, KEITH
BRYANT, BRUCE BUCZYNSKI, MICHAEL
BUJNOWSKI, WILLIAM BURKETT, CAROL
BURKETT, MICHAEL BURNETT, MORGAN
BURNHAM, KENROY BURRICKS, KEITH
BURSEY, FELIX BUSTABAD, RAYNIER
CABREJA, WAYNE CAENERS, SAMIR
CALDERO YASSIN, MARIANO CALERO,
TIMOTHY CALNIN, YERANDY CALVO,
MARK CAMACHO, UPERT CAMPBELL,
TIMOTHY CAPEAU, PHILIP CAPPS,
JAMBER CARBAJAL, GILBERTO
CARDENAS, JEFFERSON CARDOSO,
RANDY CARROLL, CHESTER CASH, JOSE
CASILLAS, JOSE CASTRO, CHRISTOPHER
CATHEY, STENVENS CENATUS, KATHY
CHAFE, CODY CHAMBERS, SHERLOT
CHARITE, JETHRO CHARLESTON,
MICHAEL CHENEY, GARY CHERON,
VERDUN CHERY, THOMAS CHEVALIER,
DANIEL CHILDERS, CLIFTON CHIN, ERIC
CHITTARATH, MELVIN CHRISTOPHER,
BILLY CLARK, JULIO CLAVIJO CHAVEZ,


                                   28
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 29 of 3128




PAUL CLELLAND, GARY COLLERA,
ETHAN COLON, ANGEL COLON, MICHAEL
CONE, JERRY CONSTANCE, LAWRENCE
COOK, ARVEL COPELAND, MARCOS
CORDOVA, JESUS CORTES, ALEXANDER
COSTA, MAURICE COUCH, ROBERT
CRAMER, LARRY CROMER, RAFAEL
CRUEL, CHERYL CRUIKSHANK, GORDON
CRUSON, LUIS CRUZ, TRAVIS CULP,
DARIAN CUSHION, GEORGE DAHL,
LARRY DAVIS, PATRICK DAVIS, JANE
DAVIS, ISRAEL DE LA ROSA, WILLIAM
SCOTT, CHRISTOPHER DEATH, ISAAC
DEJESUS, PHYLLIS DELAINE, ALBERTO
DELGADO, GERARDO DELGADO,
HAROLD DELVA, SAMUEL DELVALLE,
JEAN DESIR, JOSEPH DIAS, JORGE DIAZ,
CARMEN DIAZ, EDDIE DIAZ, DONOVAN
DIXON, VESHEIA DIXON, CARLOS
DOMINGUEZ, ASHLEY DOMKOSKI,
TANIQUA DONALD, RAYMOND DORAN,
ERIC DOSS, STEVE DOSS, JUSTIN
DRAPER, BASIL DUNBAR, ROBERT
DUNNE, AUBREY E SHEATS, JASON
EARLE, LUIS ECHEVERRIA, WILGUINS
EDMOND, MELTONIA EDWARDS-
LAWSON, BARBARA ELLERBUSH,
BENJAMIN ELLIS, MATTHEW ERICKSON,
ANGELO ESCANO, JESUS ESCOTO,
MICHAEL EVANS, TIMOTHY EVANS,
ELMOSTAFA EZZAHHAF, ERIC FADELY,
SHADE FALANA, JAVIN FENTON,
DRAYTON FERGUSON, JOHN
FERNANDEZ, RICHARD FERRO, CHARLES
FINCH, JENNIFER FINCH, JERRY FISHER,
DOMINIQUE FITZHUGH, ANTHONY
FLECHAS, JAIME FLORES, DENNIS
FLORIAN, DENNIS FONTE, DEAN FOOTE,
KYRI FORD, JAMES FORD III, JEFFREY
FOREHAND, DESMOND FORREST,
FREDDY FORTICH, JESSE FOX, JUAN
FRANCO, GASHMARV FRANCOIS,
JHIBARR FRANKLIN, MICHELE
FRANKLIN-EHMRY, RALPH FRANZESE,
TRAVIS FREDERICKSON, JOHN
FREEMAN, YENMYS FRENES, ARTHUR


                                   29
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 30 of 3128




FROEMKE, DAVID FRYE, ALEXANDER
FUGATE, CHARLES FULTON, RANDALL
GABBARD, DANIEL GAINES, ZACHARY
GALLITZ, RICKY GAMBLE, FEDERICO
GAMERO, ALBANIE GANT, ALEXANDER
GARCIA, DAVID GARCIA, DAN GARTLEY,
EDGAR GATES, ERVIN GAY,
CHRISTOPHER GEARHART, JAMES GEIER
JR., GREGORY GIBBS, JOHN GIGANTE,
RONALD GILLIS, WILLIAM GOFF,
JENNIFER GOLDFARB- FRONTERA, KIM
GOLDSTEIN, RICHARD GOLSON,
FERNANDO GOMEZ, TOMAS GONZALEZ,
HECTOR GONZALEZ, EDDIE GONZALEZ,
REINIER GONZALEZ, LUIS GONZALEZ,
KENDRA GORDON, FRANK GOSIER,
ISAAC GOU, JEREMY GOURDINE, GLENN
GRAHL, LUIS GRANADO, EDWIN GRAU,
JESSE GRAU, CHARLENE GRAY, STEPHEN
GREENHORN, RAPHAEL GREY, GREGORY
HANNAH, JUSTIN GRIFFITH, JOSE
GUERRA, SERGIO GUERRERO, GERARD
GUILLOT, PATRICIA GUINTA, JUSTIN
GUNWALDSEN, ROMMEL GUTIERREZ,
MICHAEL HADLEY, JOSHUA HALL,
EDWARD HALL, TIMOTHY HAMULA,
CECIL HANCOCK, BLAKE HAND,
WILLIAM HANNAH, MICHAEL
HANTZIDIAMANTIS, CHIRKRA HARRELL,
TIMOTHY HARRIS, MICHAEL HARRIS,
CLYDE HARRIS III, DANNY HARRISON,
DAVE HARVEY, KATESHIA HAWKINS,
TURQUOISE HAYNES, RONALD HAYNES,
DENZEL HECK, ANTOINE HELOU, WAYNE
HENRY, DIOSDI HERNANDEZ, JORGE
HERNANDEZ, DAVID HERNANDEZ,
ENRIQUE HERNANDEZ, ROBERTO
HERNANDEZ, LEONARDO HERNANDEZ-
NIEVES, DANDRE HERRING, KEVIN
HERRING, TKEYA HICKS, ANTWAN HILL,
BRIAN HINES, ROBERT HISERMAN,
CHRISTOPHER HOAGLUND, TAKELIA
HOLMES, ALBERT HOSTETTER, BRYANT
HOWELL, GARY HUDSON, ALESIA
HUDSON, CAMREN HUDSON, JUAWANDA
HUGGINS, NICHOLAS HULT,


                                   30
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 31 of 3128




CHRISTOPHER HUMPERT, ROBERT HUNT,
SEAN HYMAN, JASPER I MAHAN, SOKOL
IBISHI, MIGUEL ISAAC POLLOCK,
MITSURU ISHII, DARYL ISOM, EDDIE J
VARGAS, ALFONZO JACKSON, RONALD
JACKSON, PATRICE JACKSON, JOSE
JARAMILLO, SHAWN JARRETT, KEITH
JENKINS, FREDERICK JENKINS, JEFFREY
JENKINS, CORA JENNETT, ROGER
JIMENEZ, DERRICK JONES, DWAIMEON
JORDAN, MICHAEL KAELER, ERIC
KAETZEL, KYALO KAMWELE, LEONARD
KANSERSKI, TRAVIS KEITH, THEODORE
KELLY, STEPHEN KELLY, DEREK
KENDRICK, DELBERT KENNEDY,
JEFFREY KERNS, ERIC KEY, KEITH KHAN,
JAIME KINCKINER, CHRISTOPHER
KINNEY, FREDERICK KINSLER, JASON
KIRKALND, BRANDON KNIGHT, CHASE
KNOWLTON, MATTHEW KNUDSEN,
RONNIE KONCZ, JOHN KOSITCH,
BASILIOS KOUMANIDIS, MIKE KRAMER,
DAVE KRAUS, JOSHUA KUBIK, LISA
KYLLINGSTAD, JOSEPH LAFLASH,
MICHAEL LAFRAMBOISE, CLINTON
LAGRONE, DANIEL LAMARQUE, ROBERT
LANGE, MARK LARUE, JOHN LAUPERT,
DUFF LAW, ENOS LAWRENCE, JEROME
LEETE, DAISY LEON, WILLIAM LESTER,
TIEANNACA LEWIS, NATHANIEL LEWIS,
LISULO LINDUNDA, ANTHONY
LOGRASSO, RICHARD LOLAGNE, JASON
LONDON, CAROLINE LOPEZ, JORGE
LOPEZ, JUAN LOPEZ, EDDY LOPEZ,
LIANA LUCAS, JULIO LUGO, EBBONI
MADRY, CARLISLE MANNHEIM, JOSUE
MARADIAGA, CASEMY MARCELIN,
DAVID MAROTTA, RAMESIS MARRERO,
JEFFERY MARTIN, ELLA MARTIN, FRED
MARTIN, GERALD MARTIN, ANGEL
MARTINEZ, ALEJANDRO MARTIR, KEN
MASTROMARINO, CELINE MATHESON,
ROBERTO MATTEI, NATHANIEL
MAXWELL, DOMINICK MAYBANK,
JULIUS MAYES, NASH MCBRIDGE,
OCEAN MCCALL, CEDRIC MCDOUGAL,


                                   31
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 32 of 3128




MARK MCGRAW, RANDY MCGUIRE,
CLIFF MCINTOSH, TIMOTHY MCLANE,
JOSHUA MCPHERSON, VICTOR MEJIA,
MICHAEL MEJIA, ARNALDO MENDOZA,
ALBERTO MERCADO, SCOTT MERCURIO,
JEFFREY MEYER, KEVIN MILLER,
DWAYNE MILLER, THADDOEUS MILLS,
KAREN MISHLER, TOYIN MOHAMMED,
ANTHONY MONICA, RODNEY MOORE,
CALVIN MOORE, JUSTIN MOORE, SERGIO
MORALES, JESUS MORALES, FRANCISCO
MORALES, SERGI MORALES, WILLIAM
MORALES, WILLIAM MORAN, BRANDON
MORENO, ROBERT MORGAN, ROBERT
MORGAN, LARISNER MORIN, ONEL
MORISSET JR., FREEMAN MORRIS, JOHN
MORRIS, RANDA MORRIS, ROBERT
MORRISON, IAN MOTES, MARCUS
MOTON, DONALD MOUILLESEAUX,
TRAYVIUS MOUNT, LUIS MUNOZ,
MATTHEW MUNRO, JASON MURILLO,
TERRELL MUSHATT, BRADLEY NANCE,
EDGARDO NAVA LUDOVIC, DUSTIN
NEACE, WILLIAM NEIL, MICHAEL
NELSON, ASHLEY NESBITT, JAVIER
NEYRA, JESUS NIETO, IGOR NIETO,
DENNIS NOBLES, HOWARD NOEL, WILMA
NOEL, NELSON NORIEGA, RYAN
OCONNOR, MICHAEL OGDEN JR, JASON
OLACIO, ALESSANDRO OLIVEIRA, JOANN
ORANGE, GABRIEL OROZCO, DANIEL
ORTEGA, CARLOS ORTIZ, RICK OSTROM,
ENOVIA OUTTEN, FELIX PABON,
ALEJANDRO PACHECO, BRANDON
PALMER, FRANK PANGALLO, TIMOTHY
PANNELL, BRIAN PAPKE, JEFFREY PELTZ,
BRIAN PENNINGTON, BARON PEREIRA,
ISLENY PEREZ, IVEANT PEREZ,
YUDANIEL PEREZ, JAMES PEREZ,
RICHARD PEREZ, RICARDO PEROZO,
KERI PERRY, SAYSS PERSAUD, RANDY
PERSINGER, KEVIN PETERSON, CLAUDE
PHIDORME, ASHLEY PHILLIPS,
ELLINGTON PICHARDO, JOSEPH PIERRE,
LIRIO PIERRESAINT, JAMES PINCKNEY,
SAMUEL PINERO, LEBARRON PLENTY,


                                   32
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 33 of 3128




EDWARD PLUMMER, WAYNE WILLIAMS,
JASON POLLIDORE, LISA PORTER, JESSE
POUNSBERRY, LARRY POWELL,
KENNEDY POWNALL, NEIL PRESSWOOD,
DIDEROT PRINCIVIL, FRANK QUINTERO
JR, JOSE RADESCA, PAUL RAGONE,
EMMANUEL RAMIREZ, FERNANDO
RAMOS, WILLIE RAMP, ELLIS
RAMPERSADSINGH, NEKIA RANDOLPH,
ALLEN RANSOM, JEFFSON RAPHAEL,
DAVID RAY, ORESTES REANO,
SHALAKEE REDDING, BRESHUN REED,
EDGARDO REYES, SAVANNA RHODEN,
WILLIE RILES, JOSEPH RITTER, SR., JOSE
RIVERON BATISTA JR, STEVEN ROBERTS,
BRANDY ROBINSON, JOHN ROBINSON,
FREDRICK ROBINSON, JAMES ROBINSON,
IRVIN ROBLES, MIGUEL ROBLES, JANA
ROCHELLE, JUAN RODRIGUEZ, OSCAR
RODRIGUEZ, CHARLES RODRIGUEZ,
YVONNE RODRIGUEZ, EDWIN
RODRIGUEZ, RANDY RODRIGUEZ,
RICHARD RODRIGUEZ, SIXTO
RODRIGUEZ, RAUL RODRIGUEZ, ALVARO
ROJAS, JOSE ROJAS, ANDREW ROMERO,
EDWIN ROMERO, HOLLIE RONCARATI,
ALDO ROQUE, FRANK ROSALES, ASLEY
ROSELL, SHARON RUFUS, BENITO
SANTIAGO, NICHOLAS RUHTER,
MICHAEL RUIZ, DEVON RUSSELL,
DARIUS RUSSELL, ARETHA SALEH, TODD
SALISBURY, PATRICE SAMPEUR, CESAR
SANCHEZ, GONZALO SANCHEZ,
SALVATORE SANCHEZ, EDWARD
SANDER, JOHN SANOW, VICTOR
SANTANA, DIORGI SANTANA, GILBERTO
SANTIAGO, JONATHAN SANTIAGO,
CHRISTIAN SANTIAGO, HONARI SANTOS,
FRANCO SCAGLIONE, PAULO SCHEER,
DANIEL SCHELL, CRAIG SCHICKLER,
LEEANN SCLAFANI, SASHUS SCONIERS,
MAURICE SCOTT, MICHAEL SEDA,
DARIEL SERRANO CAMACHO, CALVIN
SESSIONS, MINDY SHELTON, DARREL
SHEPPARD, JASON SHORTT, DONALD
SHUGART, DUSTIN SIEBENALER,


                                   33
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 34 of 3128




LEONARD SIMMONS, MALCOLM SIMON,
BIDNEY SINFLORANT, SUMMER
SKROVANEK, MICHAEL SMITH, JERRELL
SMITH, JAMARI SMITH, JACOB SMITH,
FREDERICK SMITH, DANIEL SMITH,
JENNIFER SMITH, ANTONIO SMITH,
JERMAINE SMITH, WARREN SMITH,
TIMOTHY SMITH, BENJAMIN SMITH,
TEZNISHA SOLOMON, EDWARD SOSA,
RONI SOSA, JEFFREY SOTO, ESDRA SOTO,
FRANCO SOTO, ALEJANDRO SOTO,
PORNCHAI SOUVANNASY, DOMINIC
STABILITO, ASHLEY STALEY, CHARLES
STANLEY, LARRY STARR, ALEXIS
STEPHENS, SCOTT STEPHENS, KAYLA
STERMAN, JACK STEVENSON, TRAVIS
STEWART, TERRY STOVER, MICHAEL
STRASBAUGH, BRYCE STREET, ALBERT
SUAREZ, DARSHANAN SUKHNANDAN,
YANCY SUMES, KEVIN SURA, CALIXTO
SVELTI, ALICIA SYKES, ELIZABETH
TARLTON, CHARLES TARVER, KELVIN
TAVAREZ, JOSHUA TEAGUE, JAVIER
TERRY, LAKISHA THOMAS, SHIRLEY
THOMAS, RAMON THOMAS, CARI
THOMAS, ALEX THOMAS JR., HAMILTON
TIMMER, RANDY THOMPSON, ALEIMO
THOMPSON JR., GEORGE THORSEN,
WILLIAM TIJERINO, HERBERT TIMS,
ELIZABETH TOBIN, ANTHONY TONEY,
MIGUEL TORAL, EDGAR TORRES,
ERNESTO TORRES, ANGEL TORRES,
AGUSTIN TORRES GARCIA, WILLIAM
TRENT, ROBERT TRICE, ELVIS TROCHEZ
CRUZ, BRYAN TUCKER, EZEKIEL
TURNER, ERIBERUTO UEHARA, GARY
VAL, CARLOS VALLES, FERNANDO
VALVERDE, KENNETH VAQUERO SILVA,
WILFREDO VARGAS, LOUIS VARGAS,
KENNETH VARIPAPA, WILFREDO
VASQUEZ, BRIAN VEREEN, JESUS
VERGARA, TAQUIDA VICKERS, ENRIQUE
VILA, KATHY VILLA, GERMAN
VILLAFANE, JOSE VILLANUEVA, RAFAEL
VILLAR, HECTOR VINETAS REYES, PAUL
WADE, TONY WALDON, BRANDON


                                   34
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 35 of 3128




WALKER, GREGORY WALKER, TOM
WALLER, THOMAS WALTERS, ROBERT
WARENSFORD, BENNIE WATKINS,
TANNETTA WATSON, JULIAN WATSON,
JAMES WEBSTER, LATRACY WELLS,
BILLIE WHALEY, CRYSTAL WHEELER,
KYLE WHEELER, DOUGLAS WHITE,
FELICIA WHITTLESEY, RONNELL
WIGGINS, JUSTIN WILLIAMS, TERRYN
WILLIAMS, JAMES WILLIAMS, JAMES
WILLIAMS, WARREN WILLIAMS, DAMON
WILLIAMS, MICHAEL WILLIAMS, JEANA
WILLIAMS, JAMES WILLIAMS, MICHAEL
WILLIAMS, ROYCE WILLIAMSON, TRACY
WILLS, JUSTIN WOMACK, MONICA
WURTZEL, JUSTIN WURTZEL, JOSE
YAPOR, RICHARD YARKIN, RICHARD
YOUNG, MARCUS YOUNG, KIMBERLY
YOUNG, NICHOLAS YOUNGHAUS, JOHN
YUNEK, JOHAN ZAVALA, ARCHIE
ABRAMS, JERRY AGEE, COREY
AHLQUIST, NADEEM AHMAD, DEBORA
AIKENS, VINCENT ALEXANDER,
RODERICK ALEXANDER, CHRISTOPHER
ALLEN, BRANDON ALLEN, JEREMY
ALLEN, MATRIC ALLEN-BROWN,
BRANDON ALSTON, LINDREW ALSTON,
MAX ANDERSON, TRACY ANDERSON,
SHANDRINA ANDERSON, LYNDA
ARRENDALE, TIMIKA ASKEW, MONDY
AZETA AITOYA, GINGER BAGLEY,
ABDOURAHMANE BAH, JASON BAILEY,
NATHANIEL BAILEY, ROBERT BAKER,
MATTHEW BAKER, MATTHEW BAKER,
KENNETH BAKER, DONTA BAKER,
TAVARSE BALDWIN, TIFFENEY BALL,
JOSEPH BALTZELL, JABARI BANKS,
KEVIN BARB, RICK BARBER, DENNIS
BARLOW, TAMIKA BARNES, CAROL
BARRON, CONROY BEAN, TERESA BECK,
SCOTTY BECK, NATHANIAL BECKMAN,
TRINISHA BELL, BRYAN BELLEW, SEAN
BENNETT, ADRIAN BENTON, ASIA
BERRIDGE, LINDA BLACKFORD,
RICHARD BLAKE, JAQUALA BLOCKER,
JAY BOATWRIGHT, JOSHUA BOEHNLEIN,


                                   35
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 36 of 3128




ANDREW BOGLIONE, CURTIS BOGUE,
KAIZEN BONE, JAWANN BOOKER, TRACY
BRADLEY, MICHAEL BRAWNER, ERIN
BRIGHTWELL, EVELYN BROOKS,
ASHLEY BROOKS, KEVIN BROWN,
RAVION BROWN, ROBERT BROWN,
LARRY BROWN JR., JESSE BRYANT,
CORNEILITA BUCHANAN, CLIFTON
BUCKSON, DEMOND BURCH, DAVID
BURCH, EUGENE BURNETT III, BREANNA
BURTON, SHONDA BURTON, TELISA
BUTLER, GENIES BUTTS, JUAN CABRERA,
JODY CAGLE, KEMP CALHOUN, BEVERLY
CALHOUN, STEVEN CAMP, BRETT
CAMPBELL, ANITA CANNON-STEVENS,
GRANDISON CARNER, RODNEY CARR,
DANNY CARR, SAMANTHA CARROLL,
KAYLA CARTER, REBECCA CERCOPELY,
JANICE CHAI, BARRY CHAMBERS,
DONALD CHAMPION, CARLTON
CHANDLER, PATRICK CHAPPELL,
CHARLES CHARLES, SHAMAR CHILES,
JASON CLANTON, ERIC CLARK, ANTONIO
CLARK, QUANTAVIOUS CLAY, JARED
CLEMENTS, BRYAN CLEMONS, KARL
CLEMONS, SR., ACHELIN CLEOPHAT,
LATOYA CODY PERSON, CECILIA
COLBERT, OMAR COLE, SHEENA COLE,
KIP COLEMAN, ALEXIS COLEMAN,
CATRISE COLEMAN TURNER, ADRIAN
COLLINS, JONATHON COLLINS, ANTONIO
COOPER, LATORIA COX, DEMETRIUS
CRAWFORD, ANTWAIN CROCKETT,
LANITTRA CUMBERLANDER-WILLIS,
BRITTANY CUMMINGS, SCOTT
CUNNINGHAM, NELSON CURRY,
PATRICK DANIELS, ANTONIA DANIELS,
BRENDA DARBY, MARCUS DAVIS, RALPH
DAVIS, BRADFORD DAVIS, TIM DAVIS,
MELISSA DAVIS, MAKEISHA DAVIS,
THOMAS DAVISON, DARWIN DEAMER,
MARY DEAN, RONALD DENIS, DOMINICK
DIBARI, DEMONTE DOCK, LENEAL DOE,
JESUS DOMINGUEZ, MONTONIO
DOUGLAS, BRITTNEY DOZIER, BRANDI
DUDLEY, CRYSTAL DYE, JOHN EASON,


                                   36
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 37 of 3128




BERTRAM EDMOND, MARCUS EDWARDS,
SHMIKA ELDER, TERRILL ELLIS, COREY
ELLIS, DAMIEN ELLISON, BRETT
ELMORE, LOUIS ERCOLANO, JOEL
ETHRIDGE, LAMONTA EVANS, GARY
FAREED, TIMOTHY FAULKS, WILLIAM
FIELDS, DEREK FIGUEROA, VICTOR
FILLION, AUDREAUS FINKLEA, ARIEL
FINLEY, MICHAEL FISHER, SABRINA
FLINT, DANIEL FLINT, MICHAEL FORBS,
DALAN FOSTER, MARK FRANCIS, NICOLE
FRANCIS, ADAM FRAZIER, DANIEL
FREEMAN II, ROBY FULLER, WALTINA
GAINES, ALVIN GAINES, AMBER GAINES,
RICO GARY, PAPA GAYE, JAREKA GEAR,
LOREN GEER, WESLEY GILMORE,
CORNELIUS GILYARD, NEFRITERIA
GLASS, ERIC GLAZE, ARCHIE GLEASON,
VERLANDO GLOVER, DANIEL GOODWIN,
RALPH GORDON, PATRICIA GRAHAM,
THERA GRAHAM, MARKIA GRANT,
CHARLES GRANT, JULIAN GRAY,
MONJENA GREEN, MARION GRESHAM
JR., AUBREY GRIER, ISHMEAL GRIER,
DALSON GUNTER, LUIS GUTIERREZ,
TAYLORANN HAILES, CHRISTOPHER
HALEY, KEVIN HALL, ROBERT HALL JR.,
DONTARIUS HAMMONDS, NIKALE
HANDSPIKE, MARCUS HANNA, ANNETTE
HARDMAN, RONALD HARGRO, WILLIAM
HARMON, DEVANTE HARPER, GREGORY
HARRELSON, KAYLA HARRIS, CHARLES
HARRIS, KEENAN HARRIS, MICHAEL
HARRISON, AVA HARVEY, SAMUEL
HARVEY, PEGGY HARVISON, RICHARD
HAWK, TRACEY HAWKES, JR HAWKINS,
FRANK HAWKINS, JAMAR HAYES,
SHENARD HAYES, MICHAEL HAYES,
COURTNEY HAYNES, VALERIE
HAYWOOD, COLEMAN HENDERSON,
MARCEL HENINGBURG, JARELL
HENSLEY, ROBERT HENSON, DANA
HERRINGTON, SABRINA HICKSON,
CHARLES HILL, CHELSEY HILL, DARYL
HILL, LAVIN HILLIARD, BARBARA HINES,
SEAN HODGES, LAKESHIA HODGES,


                                   37
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 38 of 3128




ROBERT HODNETT, KENNY HOGAN,
ELLIS HOGGES, DAREIN HOLMES, JOHN
HOLT, AHMAD HOLTON, SCOTT HOOD,
BRYON HORNER, ROBERT HORTON,
KRISTINA HOUSTON, KAREN HOWARD,
ROBERT HUBBARD, ROSALIND HUDSON,
CLINTON HUDSON, ITRAVEROUS HUFF,
STEVEN HUGHES, CHRISTOPHER
HUGHES, TONQUEZ HUGHES, SHAQUILLE
HURD, ANGELA HURST, PAUL
HUTCHENS, HARLAN INGRAM,
GARFIELD ISAACS-HEYLIGER, APRIL
IVIE, DARIUS JACKSON, DERRICK
JACKSON, FELICIA JACKSON, LARRY
JACKSON, ACHILLES JACKSON, FRANK
JACKSON, THOMAS JACKSON, LAKISHA
JACKSON , HEATH JANDIK, JOE
JEFFERIES, PHILLIPS JEFFREY,
NATHANIEL JEMISON, MICHAEL
JENKINS, JACQUELINE JENKINS, SAMUEL
JENKINS, MALISSA JOHNSON, ZIANA
JOHNSON, AUSHA JOHNSON, LATOYIA
JOHNSON, CORNELIUS JOHNSON,
SHATAVIA JOHNSON, JOSHUA JOHNSON,
TORENA JOHNSON, GARY JOHNSON,
TYRONE JOHNSON, DARIUS JOHNSON,
NIKITA JOHNSON, JUSTIN JOHNSON,
QUINTIN JONES, PATRICE JONES, DANIEL
JONES, RYAN JONES, CHRISTOPHER
JONES, JEROME JONES, MORIAH JORDAN,
RAHEEM JORDAN, LUTHER JUDE, PETER
KANUMI, DEANA KAY, WESLEY KAYE-
MANU, KEITH KELLY, KADEEJAH KELLY,
MARCUS KING, AMANDA KIRBY,
CYNTHIA KITHOME, KEONTRAE KNIGHT,
CORRI LACABE, GINA LANHAM, CRAIG
LANKFORD, ASHLEY LEAPER, JASPER
LEAVELL, KEVIN LECKIE, ALFORNIA
LEONARD, DARRIUS LESTER, RICHARD
LEWIS, WHITNEY LEWIS, TIMOTHY
LEWIS, TYREDRUS LITTLE, PHILLIP
LITTLE, JOSHUA LONBERG, ANDRE
LONDON, LYLLIETH LOPEZ, RAHIEAM
LOTSON, CORNELIUS LOVE, ROBERT
LOVE, TONY LUKE, DAVID LUNDY,
FELECIA LUNSFORD, LYNWOOD


                                   38
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 39 of 3128




LYNWOOD O GILBERT, ELLIS LYONS,
KISHARI MACKEY, TRAVIS MADDOX,
JADE MAGELUND, CHARLES MALONE,
MICHAEL MANIGO, ANTONIO MANN,
CONSTANT MANTEY, ARIFAHA MARKS,
JESSE MARSHALL, KEYSHAUN MARTIN,
MICHAEL MARTIN, JERMAINE MARTIN II,
CHARLIE MARTIN III, SHANNON MATHIS,
RAY MCARTHUR, CELESTE MCCALL,
ASHLEY MCCOMMONS, SIERRA MCCOY,
JELISHA MCCRAE, JAANDRE MCCRAY,
THEO MCDOUGALD, MARSHALL
MCFADDEN, ACENDRICK MCWHORTER,
CHARLES MCWILLIAMS, LAQUAN
MEDLIN, VERONICA MERCER, TORII
MIDDLETON, SR., DANIEL MIDDLETON,
HOWARD MILLER, NICOLE MINEFIELD,
ADARIUS MINGO, JAVONTAVEIOUS
MITCHELL, DAMANI MITCHELL,
MONTRAVIS MITCHELL, ADRIAN
MONDAY, CHRISTERRIUS MONTOYA,
SHANIKQUA MOORE, TASHAIRA MOORE,
CHRISTY MOORE, ROBERT MORATO,
LATARSHA MORRIS, MICHAEL MORTON,
TERRY MOSER, KEMP MOSLEY, XAVIER
MOSS, MARQUISE MUMPHERY, THOMAS
MUNSON, MICHAEL MURPHY,
DEANGELO NANCE, AARON NEAL,
TERRY NELSON, LESHONA NEVILLE,
DANIELLE NEWRY, LAMIN NJIE, KIARA
NOBLE, ROBERT NORFLEET, ORIALA
NYENGIWARI, ANASTASIA ODOM,
MICHAEL ODUM, ABRAHAM OGOJIAKU,
MELODY OKOH, PAULETTE OLIVER,
HOWARD OSBOURNE, VERNON OSGOOD,
GRANT OWUSU, ELVIS BRUMFIELD,
SHAUNTA PARKER, CURTIS PARKS,
REGINALD PATRICK, LESLIE PEAKS,
JESSICA PENHOLLOW, STEVE
PENNINGTON, DELRICO PERKINS,
ANTHONY PERKINS, JEMELIAH PERRY,
GEORGIA PERRY, MAYA PERRYMAN,
KENTAVIUS PETERSON, MATTHEW
PIERCE, TERRANCE POLLARD, KEVIN
PONDER, KEVIN PORTER, SONYA PRATT,
RASHAD PRICE , EDDIE PUGH, JAMOSKI


                                   39
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 40 of 3128




RACHEL, CHRISTOPHER RADFORD,
LASHAUNTE RAMOS, WILLIE RAMSEY,
JANET RANDALL, TRACEY RANDELL,
FRANK RAVELO, ANDRA RAY, BILLY
RAZOR, KEENAN READY, TELVIN
DENTON, JONTRELL RHODES, GRAYSON
RHODES, JAHI RICHARDSON, JEAN
RICHELIEU, JAMARI ROBERSON, RJ
ROBERTS, ROY ROBINSON, ANTWON
ROBINSON, JOSIAH ROCKEFELLER,
GUSTAVO RODRIGUEZ, MARQUIZA
ROKER, DEANEL ROLLE, ARIEL ROSA,
CALVIN ROSS, SHAMELA RUPERT,
FORREST SAILOR, RICKY SAMPSON,
TORY SANDERS, KEN SANDERS, LUKE
SCHELLHASE, CHAD SCOTT, WILLIE
SCOTT, TABATHA SCOTT, MCARTHUR
SCOTT, TARIM SCOTT, LAWRENCE
SCOTT, TIMOTHY SELF, ALFRED
SETALSINGH, GRADY SHAW, ASHLY
SHEAROUSE, JEREMY SHEATS, KEVIN
SHELTON, TIANITHA SHERMAN,
MORGAN SHIVER IV, KENSON SIMEON,
RODERICK SIMMONS, SCHAUKA
SIMMONS, KENDRELL SIMPSON,
RAYMOND SIMS, CHARLES SIMS, OMAR
SKINNER, RICHARD SMALL, DERYCK
SMILEY, JEREMIAH SMITH, ERIC SMITH,
DARRELL SMITH, KATHY SMITH, JOSHUA
SMITH, CRAIG SMITH, LASHANDA SOLIN,
DEREK SPENCER, EDWARD SPENCER,
MARK SPRUILL, STEVEN STANLEY,
SIERRA STARLINGS, STANDRICK
STEPHENS, THADDEUS STEWART,
DILLON STOKES, DEMOND STOVALL,
SHELLEY STROTHER, JIMMIE STURGES
JR., ROBERT SULLIVAN, JIM SUTTON,
JOSHUA SWANN, LARRY SWINDELL,
BRADFORD SYMONETTE, JORDAN
TAYLOR, GEORGE TAYLOR, LEONARD
TAYLOR JR, MANANNA TERRELL,
ROBERT THOMAS, MICHELLE THOMAS,
BARUTI THOMAS, ROMALD THOMAS,
COREY THOMAS, SHUNTEL THOMAS,
TERRY THOMAS, JAMAL THOMAS,
DEMETRIUS THOMAS, SYDNEY


                                   40
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 41 of 3128




THOMPSON, CARLOS THOMPSON,
DONTRAY THOMPSON, AMIRRAH
THORNLEY, SHELDON THRIFT, CURTIS
TRAWICK, SHAWN TRIBBLE JR,
BRANDON TRUESDELL, EMMANUEL
TWUM, JOSHUA TYSON, GINO VITERI,
WILLIE WADDELL, RODNEY WALKER,
KEANDRA WALKER, MISTY WALKER,
STEPHEN WALTER, LISA WALTHALL,
VALLERIE WALTON, MELVIN WALTON,
CANANDAS WARE, JETHEL WARE,
ANTHONY WARREN, JASON WARREN,
THABAZZ WARRINGTON, GARY WASH
JR., NEVADA WASHINGTON, KELVIN
WASHINGTON, NICHOLAS WASHINGTON,
TOMMY WATERS, SHAWANNA WATSON,
CHRISTOPHER WELCH, JEROME WELLS,
LORI WHISNANT, ROBERT WHITE,
TAMARA WILKENSON, ONITARA
WILLIAMS, AUBREY WILLIAMS,
KIRKLAND WILLIAMS, KEENAN
WILLIAMS, BRIAN WILLIAMS, HEYWARD
WILLIAMS, JULIETTE WILLIAMS, SATORI
WILLIAMS, SHERMAN WILLIAMS, JUSTIN
WILLIAMS, LAMENTHA WILLIAMS,
DERRICK WILLIAMS, FRANKLIN
WILLIAMS JR., KARL WILSON, TONYA
WILSON, TERRY WILSON, REGINALD
WILSON, TIFFANY WINGO, CALVIN WISE,
SHARTICE WISE-TURNER, KEVIN WOOD,
TERRY WOODARD, JOSEPH WRIGHT,
JERMAINE WRIGHT, MYLES YATES,
FRAZIER YEARBY, CARLTON YOUNG III,
ALYSSA BACON, ALEXANDER ESTRADA,
MICHAEL SEXTON, JOHN TOLEDO, SCOTT
ACKLIN, JAMES BAKER, TYLER BARRY,
KAREN BRAUN, ANDREW BURCH, JOSE
CASTANEDA, JORDAN CLARK, DUSTIN
CLAY, TIM DAWSON, MICHAEL
DELATORRE, CHRISTOPHER EDWARDS,
AUSTIN EMRY, ANDREW FARNES,
JACQUELINE FERREE, SCOTT GARNER,
NICHOLAS HIEB, STORM HUAUTE, JAMES
HUML, TYLER JOHNSON, RYAN
JOHNSON, SARA KAPSIMALIS, WILLIAM
KERR, JAMES KLUSS, DANIEL LENZ,


                                   41
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 42 of 3128




IVAN MAMULA, SHAWN MAW, ISAAC
MILLER, TODD MILLS, ERIC NEELY,
GABRIELLE NILSON, JARED RASOR,
STEVEN ROBINETTE, HOPE ROVIG,
SHELBY SHADE, STEVE SPINDLER, TRACI
SWANSON, CHRISTI TEDDER, JUAN
TENA, MANUEL VELASQUEZ, TIM
WEBER, CRISTOPHER WOLF, BRAIDEN
WRIGHT, JIM ZAHIRALIS, DAVID
ABBOTT, ABDON ABRIL CUELLAR,
LAURIE ACUFF, JOSH ADAMS, BERNARD
ADAMS IV, RICK ADDIS, PATRICIA
ADKINS, SYED AHMED, ABIODUN
AKANDE, ALI ALABBOODI, JESSE
ALCALA, JAY ALLABAUGH, JAKE ALLEN,
JERMAINE ALLEN, FREDERICK ANSAH,
PATRICK ARMSTRONG, TARIQ ASHKAR,
NATASHA AUSMUS, ANDREA AUSTIN,
TALONA AVANT, BRIANA AVANT,
EDGAR AVELAR, MARTIN AVILA,
SECILLY AVILES, STEVEN BAKER, PENNY
BALE, TED BARABAS, JUAN BARCENAS,
CRISTIAN BARRAZA, WESLEY BELL, ERIC
BELL, QUENTIN BELL, AUSTIN BILL,
JUSTIN BLACK, MICHAEL BLAIR, NELSON
BLANCO, BRADLEY BOGARD, JAPHUS
BONDURANT, SHANNON BORTNER, LEE
BOSCACCI, PAGE BOULDIN, WALTER
BOWMAN, DEMOUN BOYKIN, LEVI
BRIDGES, JEFFREYO BRITTEN, SHAWN
KNIELING, RASHAUN GRIFFIN, SHATARA
BROOKS, KIWAND BROWN, GABRIEL
BROWN, FREDA BROWN, JEREMY
BROWN, OPHELIA BROWN, MONIQUE
BYRD, LORENZO CABELLO, ADAM
CALABRESE, ADAM CALLARD, DEBORAH
CAMPBELL, ALBERT CANSINO, JOSE
CARILLO, DANIEL CARINI, LATRICE
CARR, JESSICA SHUPE, CLARENCE
WILLIAMS JR., CARTRESE CARSWELL,
TENNILLE HARDY, JORGE CASIANO,
JOEL CAZAREZ, JEREMY CEASAR,
DANIEL CELSKE, JOHN CENOBIO,
GRISELDA CERVANTES, FATIMA
CHAMPION, BRIAN CHAPA, TY
CHASTEEN, CHRISTOS CHOOCHKEH,


                                   42
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 43 of 3128




FAHAD CHOUDHRY, MARCIN CHYNEK,
IAN CLARK, ARWON CLARK, RASHAAD
CLARK, MATTHEW CLAUDIO, MARTY
CLEMENTS, DEVRUND CLEVELAND,
MATTHEW COLEMAN, TROY COLLINS,
RHONDA COLLINS, BRITTENY COOK,
AARON COONEY, MICHELLE COOPER,
JORDAN COOPER, DONELL COTTON,
DINELL COTTON, PERRY CRAWFORE,
KRISTI CROSBY, RYAN CROWELL,
CHRISTOPHER CRUZ, LUTRELL CURTIS,
SIERRA DAVIS, JAYLIN DAVIS, DEVIN
DAVIS, OCTAVIA DAVIS, CHRISTOPHER
DAVIS, DURELL DAWSON, YOLANDA
DELEO, COREY DENNY, ZACHARY
DERER, JOSH DILL, JARRELL DILLARD,
KENNY DILLON, JEREMY DIXON,
CHARLES DOBBS, TIMOTHY DOLAN,
DONRE DOMIO, EMANUEL DONDLE,
RUTHIE DONSON, ANDREA DRYOEL
BAKER, RAESHEL DUCKWORTH,
KRZYSZTOF DUDA, HAROLD DUNIGAN,
BRADLEY EASTON, CRAIG EKLUND,
GEORGE ENCHEV, JOHN EPPERSON,
MIQUEL EVANS, JEFFREY FABRIZIO,
MARK FARMER, LAMONT FERGUSON,
ALBERT FIGURA, IVORY FINLEY,
RODGER FLEMING, CHRISTOPHER
FOXWORTH, BRYANT FRANKLIN, JOHN
FRAZIER, JOHN FRIEDMAN,
CHRISTOPHER FRIEDRICH, ROMELL
FUNCHES, PAUL FUNOVITS, TREY
GARLAND, TAMARA GELSINGER,
DEANTE GEORGE, DARREN GERBER,
DANIEL GESELL, JASON GIESE, ANDREW
GILES, TERRANCE GILLESPIE, SAMUEL
GILLY, GORANCO GJEORGIEVSKI, DIXIE
GOERINGER, OMARI GOLDEN, NOEL
GONZALEZ, RYAN GRAND, KEVIN GRAY,
LYVELL GRAYS, DEVI GREER, MARCUS
GREER, THOMAS GREGORY, MARTIN
BROWN, COREY GRIFFIN, LARRY GRUHN,
ALBERT GRZYB, GEORGE GUERRERO,
DEON HALL, TAYSEER HAMDAN, SIDNEY
HARDY, DENNIS HARLAN, BODI
HARMAN, YULONDA HARRELL, DANIEL


                                   43
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 44 of 3128




HARRIS, TASHAYIA HARRIS, STACEY
HASIL, SUSAN HAYDEN, BRENNAN
HAYES, KIMBERLY HAYMON, EDWARD
HEIL, CHARLES HELMICK, CHRISTOPHER
HENDERSON, MICHAEL HERBOLD,
JAVIER HERNANDEZ, DARRYL HERRING,
MICHAEL HEUMANN, TIMOTHY HICKS,
RACHEAL HICKS, RECO HILL, HERSEY
HILL, ERIC HINES, KAMERYN HODGEST,
DANTE HOFFMAN, BRANDON HOLLAND,
JAY HOLLIS, LETICIA HOLMES, KEMON
HOLMES, MICHAEL HOLMES, SARAH
HOLTKAMP, ANDREW HOSICK, COREY
HOWARD, ROBERT HOWE, JAVON
HUBBARD, JESSICA HUPP, DALTON
ILBERY, LEON JACKSON, LORENZO
JACKSON, JOHN JACKSON, LASHON
JACKSON, BRETT JARKA, RAMON
JENKINS, HAROLD JOHNSON, RENENA
JOHNSON, ROBERT JOHNSON, WAYNE
JOHNSON, MICHAEL JONES, GARY JONES,
LEEMARCUS JONES, ANTWON JONES,
JENNIFER JONES, ERIN JORDAN, PABLO
JUAREZ, CHRISTY KACYNSKI, JAMES
KAMPE, THOMAS KEMP, WILLIAM
KENNEBREW, MICHAEL KENNEDY,
DANIEL KIESOW, DENNIS KINKADE,
STEPHAN KITT, TREVOR KLETT,
KLODEEN KLOW, ROBERT KNAPP,
TERRENCE KNIGHT, DANIEL KOESTER,
PAUL KOSSIFOLOGOS, MARIUSZ
KOWALSKI, ROBBIN KRUTSINGER,
EDGAR LAMBINO, DAVID LAMZ, JAYSON
LAND, TIMOTHY LANDRY, CARLOS
LANE, GARRETT LANG, EASTER
LARAMORE, EDDIE LARRY, GREGORY
LASKY, ALFRED LEATO, RICHARD LEE,
TIM LEISTEN, FABIAN LEMA, OSCAR
LEMA, SERGIO LEON JR JR, RENIKA
LEWIS, JONATHAN LEWIS, DEBRA LEWIS,
PEDRO LEYVA, JESSICA LEYVA, LUKE
LINDER, MARCUS LITTLE, MIECKO
LLOYD, WILLIAM LOFTON, KELLY
LOPEZ, LUIS LOPEZ, ESHAWNIAL
LOWRY, DAKOTA LUELLEN, JAMES
LYNCH, ANWAR MAALI, JOHN MACHNIK,


                                   44
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 45 of 3128




OSCAR MALDONADO, LOUIA MALLEY,
ROBERT MANNING, KYLE MARSAGLIA,
CLYDE MARSHALL, TIANA MARTIN,
JOHNI MASHU, VENTSISLAV MASLARSKI,
KENDRA MASON, JASON MATHEWS,
JOSHUA MATSON, CHRISTA MAUBACH,
HEATHER MAYHAUS, MATTHEW
MCALLISTER, SR., ANDREW MCCARRON,
ERIKA MCCASKILL, MICHAEL
MCCAULEY JR., MIKEL MCCLARY,
MARCUS MCCORMICK, WILLSTEPNORM
MCCOY, ANTHONY MCDONALD, DANIEL
MCFATE, JEFF MCKINLEY, DERRRICK
MCKINNEY, DAVID MEDINA, OSCAR
MENDOZA, JANIE MERRELL, DENNIS
MCDERMOTT, MICHEAL MILLER,
MALIKA MILLER, JEFFERY MILLER,
CASSANDRA MILLER, VINCENT MILLER,
TYLER MILLS, AIMEE MIRANDA,
MARKUS MOORE, AARON MOORE, JOSEF
MOORE, DONALD MOORE, DAVE
MOOYIN, NIKIA MORGAN, JOSEPH
MORMINO, EBONI MORRISON, TALISHA
MOSLEY, NICOLAS MOYER, ROSENDO
MUNOZ, ZACHARY MURRAY, MASON
MURRY, MARTIN NAJA, TREVON NASH,
MARIO NECHEV, ROBERT NELSON,
DELEONI NELSON, ERNEST NEWTON,
ROBB NIPPA, DONALD OCONNER,
MONTEZ OGLESBY, RICHARD OHLUND,
ERIC OLAN, PAUL OSIPAVICIUS,
ANDREW OSTRANDER, MOHSIN PATEL,
DERRICK PATTERSON, STEVEN
PATTERSON, JUNISHA PAYTON,
DEWAYNE PEDERSEN-DAVIS, JOSHUA
PEREZ, JAY PEREZ, NATHAN PERKINS,
BILLY PHILLIPS, FABIAN PINTOR, NOEL
POPPE, TANESHA POR, LORI POTENZIANI,
MANASSEH POWELL, DWAYNE POWELL,
SAMUEL PUTMAN, GERARD PYNCKEL,
JONATHANJONATHN RACE, KYLE
RICHARDSON, HOLLIS RIGGINS, IGNACIO
RIVERA, STEPHANIE ROBERTS, KEVIN
ROBINSON, ROBERT ROCCAFORTE,
GABRIEL RODRIGUEZ, ALAN
RODRIGUEZ, JORGE RODRIGUEZ, DEVON


                                   45
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 46 of 3128




ROGERS, BRENNEN ROMPA, JACKIE
ROSS, THERESA RUCKER, JUSTIN
RUSSELL, DESHAUN RUTLEDGE, NOLAN
RYAN, JONATHAN SANDER, AZAEL
SANDOVAL, NICHOLAS SANSONE,
LARRY SANTORSKI II, JENNIFER
SCHERER, TOM SCHMERSE, ROBERT
SCHMIDT, BLAINE SCHNITKER, BROOKE
SCHWARTZ, LISA SCHWARTZ, TIMOTHY
SCOTT, JOHN SEESALA, FELIX SERRANO,
LACEY SHADOWENS, MICHAEL
SHANNON, KENNETH SHANNON,
EUGENE SHELBY, LISA SIMMONS,
EDWARD SIMONSON, ANTOINE
SINGLETON, MARION SKILLINGS, CHRIS
SKIRMONT, DOREEN SKRIVER, STEPHEN
SMILEY, JOYCE SMITH, KYLE SMITH,
CRYSTAL SMYLES, JAIME SOLANO,
DAVID SPANN, JACK STANISZEWSKI,
MATTHEW STAPLETON, DALBERT
STEELE, MITCHELL STEPANEK, JEFF
STEPP, KENNETH STEVENS, JOHN
STEWARD, CORY STOLBERG, LARRY
STRAHAN, HEATHER SWAN, ANDREW
SWANSON, RYAN SWANSON, BRANDON
SWENSON, TAVARES TANKERSLEY,
SCOTT TAYLOR, YOLANDA TAYLOR,
ROBERT TEVIS, NASHAUN THOMAS,
TIAJUANA THOMAS, MATTHEW
THOMPSON, IRA SANDIFER, WILSON
TIDWELL, DONALD TILLERY, MICHAEL
TIMBERSON, DERRICK TOLBERT JR.,
DONNIE TOLCH, ERIC TONEY, WILLIAM
TORRES, JONATHAN TORRES, JR
TOWNER, JOSHUA TOWNSEND, STEVEN
TUBBS, DAVID TUCKER, TAYLOR
UPSHAW, NEMANJA VARAGIC, DAVID
VAUGHN, WANKEE VEAL, DAVID VELA,
MANUEL VELAZQUEZ, DILAILA VELEZ,
DEVONTE VIVIANS, SCOTT VOLK, JAMES
VOLPENTESTA, DAVID VOYTOVICK,
BOBBY WALKER, SCOTT WARD, MATT
WARDLOW, TIMKITA WARFIELD
TAYLOR, BRADLEY WARNER, FREDDIE
WARREN, TERRANCE WAUGH, NICOLE
WEEKLEY, DANIEL WEICKDIDO,


                                   46
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 47 of 3128




JOSAPHINE WESTENDORF, EDWARD
WESTON, ASHLEY WHEATLEY, OTIS
WHITTAKER, PIERRE WILDER, SR.,
KESHA WILLIAMS, MICHAEL WILLIAMS,
KHALIL WILLIAMS, TOSHIA WILLIAMS,
DARIUS WILLIAMS, KHALIL WILLIAMS,
KEVIN WILLIAMS, DIANA WILLIAMS,
KELBY WILLIAMS, MARLENE WILSON,
CARYN WILSON, DARENA WILSON,
DOUGLAS WINSLOW, TYLER WINSLOW,
TRACY WINSTON, MELISA WOKER,
JUSTINE WOOD, JERMARI WORDLAW,
SHANNON WRIGHT, NAIYMA WRIGHT,
REGGIE WYNNE, TYRON YANCY, LARRY
YOUNG, MARIUSZ ZABOROWSKI,
RICARDO ZARAGOZA, JAMES ADAMSON,
SHANE ADKINS, BRIAN AGEE, ANDREW
ALCOCK, DENNIS ALEXANDER, MICHAEL
ALL, MELISSA ALLEN, KALEB ALVEY,
MALAVAY ANDERSON, ANDREA ARTIS,
APRIL ARVEN, ANDREA ATTERBERRY
BLOEBAUM , MALDEN BAASCH, ANDREA
BAIRD, RONNIE BANKS, RICK BARKER,
DANIEL BARNETT, ERICA BRAYLOCK,
JERRY BATES, CODY BEALE, JANELLE
BECKOM, ANDREW BEHELER, JUSTIN
BERGMAN, INNOCENT BIZIMANA,
JONATHAN BLEDSON, MICHAEL BLINE,
JAMIE BOWMAN, DAVID BROCKHOUSE,
TOM BROOKS, CORY BROWN, JORDAN
BUCKHOY, MICHAEL BUEHLER, ASIA
BUFORD, WES BUGG, JASON BURKS,
GERALD BURNS, BRIAN BURTON, MARIO
CAMPERO, VICTORIA CARLSON,
DANIELLE CARSTENSEN, SANDRA
CARSTENSEN, TOMORROW CARSWELL,
CROSBY CASTRO, ERIC CHALK, JARRETT
CHEATHAM, ADAM CHRISTOPHER,
TERRY CLARK, BERNARD COCKERELL,
ROBERT COFFMAN, JASMINE COIT,
DAMIEN COLEMAN, STEVE CONLEY,
BRYANT CONWAY, JAMES COOK,
BRADEN COX, MICHAEL DAILY,
RICHARD DALE, CURTIS DAVIS, JERRY
DECKARD, DAVID DENNEY, ERIN
DEVAULT, GREGORY DICKERT, JACOB


                                   47
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 48 of 3128




DOAN, CLIFFORD DOANE, JEFF DOLL,
DONALD DOWDEN, DARRENN DRAY,
ALVIN DUKES, WILLIAM DUNKLEY,
KENT EARLES, MICHAEL EASLER,
MERRILL EGGLESTON, ADAM ELLIS,
DALTON FAUGHN, THOMAS FISHER,
MELANIE FLOYD, JASON FORTE, BRIAN
FREENEY, JORDAN FREON, DWAYNE
FYFFE, LAURIE GIBSON, DORIS
GILLESPIE, DAWAN GLENN, TANILLEYA
GLENN, SHARON GLOVER, JEFFREY
GOINS, AUSTIN GONZALES, JORDAN
GONZALEZ, LABORDE GRAHAM, RYAN
GREEN, CARLSTON GREEN, NOEL
GUERRA JR, TONY GUFFEY, WILLIAM
GUY, DONEARL HARDY, PAUL HARPER,
JACQUELINE HARRIS, BRITTANY
HARRISON, REXIE HARRY, DANIEL
HAWKINS, JACQUE HAYES, ROBERT
HELFERT, SHANE HEMRICH, PAUL
HENRICH, KRIS HILT, MARTINA HOBBS,
BRUCE HOBBS, JARED HOPF, STEVEN
HOPKINS, JORDAN HOSTETLER, KEITH
HOWARD, LAWRENCE HOWELL, JERRY
HUDSON, RICHARD HUFFMAN,
NICHOLAS HUGHBANKS, TAMARA IVY,
ANTIWAN JACKSON, GARY JEFFERIES,
JEROME JENKINS, TERRY JOHNSON,
TRENT JOHNSON, DAVID JOHNSON,
DARALICE JOHNSON, ANATALIE
JOHNSON, EUGENE JOHNSON, BRYAN
JOHNSON, JERMAINE JOHNSON, JAMES
JOHNSTON, CASEY JONES, MICHAEL
JONES, COREY JONES, ALLAN JORDAN,
JEFF JOSLIN, JESSICA KAYROUZ, KYLE
KEGERIS, AHKIEM KELLEY, KYLE
KESSLER, MELODY KITAKIS, ERIKA
KLIESSENDORFF, MICHELLE KNOSE-
PARTIN, ROY KUHN, MICHAEL
LAWHEAD, RONALD LEE, BRANDY
LEPIRD, ASHLEY LINDSEY, BERNADETTE
LOFTON, JESSE LOSCH, TREVIN LOTTIE,
LANESSIA LOVE, MATTHEW MACKLIN,
LAWRENCE MACON, FRANCISCO
MALDONADO, JOSHUA MANN,
DONOVAN MANN, NICHOLAS MARPLE,


                                   48
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 49 of 3128




MARK MARSH, CHRIS MARTIN, CRAIG
MASENGALE, ERIC MAUS, ANGELA
MAYFIELD, JONTE MCBRIDE, BRANDON
MCDONALD, TERRENCE MCGREW,
MICHAEL MCINTYRE JR, AARON
MCKILLIP, PATRICK MCNAMARA,
SHELDON MCNARY, DAVID MCQUEEN,
SCOTT MERIWETHER, JOSEPH MILLER,
SARA MISKELL, JASON BEBLEY, JEFFREY
MOLDEN, KEVIN MOODY, LERA MOORE,
EDWARD MUIR, ERIC MULLINS, DUSTIN
MUSGROVE, ANTON NETTER, MARK
NETTINGA, MATTHEW NEUMANN,
PHUOC NGO, RYAN NICHOLSON, JOHN
NOERENBERG, AZMAR NORTHINGTON,
JIM NUNGESTER, KIEL NUNN, ELIJAH
NYLES, GERALD OLSON, JACKIE ORI,
CHRISTOPHER OWENS, KEITH PALMER,
MARK PALMER, MICHAEL PALMER,
ANTHONY PARKER, WILLIAM PARTEE,
ROBERT PATTENGALE, ERIC PAUL, SARA
PEGG, ANTHONY PERRY, MARK PETERS,
KELLY PETTY, TODD PHILLIPS,
BRITTANY PHILLIPS, HANNAH PICKETT,
WALTER PIECH, GREG PINKSTON, DAVID
PLAISS, BRENTON MOTT, WILLIAM
MOUNTS, JOSEPH PRICE, JHIRMON PRICE,
LAWRENCE QUILL, CORY RADCLIFFE,
MARK RAGSDALE, IDRIS RAHMAAN,
COREY RAZER, SHAWN RHYMER, TRAVIS
RICHARDS, CORY RIDENOUR, MARK
RIDGEWAY, KEVIN RIOS, BILL RITTER,
JESSE ROBERTS, MARCUS ROBERTSON,
MICHEAL ROBINSON, THURMAN
ROGERS, JARED ROSE, STEVE RUCKMAN,
ROBERT SALINAS, BENJAMIN SALYER,
STEPHEN SANDERS, RICHARD
SANOGUET, DANIEL SAVAGE, MICHAEL
SCHORR, BRITTON SCHULTZ, DERRICK
SCONIERS, WILLIAM SCOTT, WILLIAM
SEIBERT, ERIC SELLERS, LISA SHARP,
JIMMY SHEESE, GREGORY SHERROW,
ROSALIND SHOCKLEY, CHRISTOPHER
SIMONS, CALEB SIMS, JEFFREY SINDER,
JEFFERSON SLATON, KEENAN SMITH,
BRION SMITH, DAVID SMITH, PATRICK


                                   49
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 50 of 3128




SMITH JR., PATRICK SNAY, AARON
SNYDER, KYLE SPARKMAN, CODY
SPRINKLE, GEORGE BARRE, PEARL
STAALENBURG, JULIAN STEANS, RICHY
STEELE, ERIN STEINWAY, TOMIKA
STEWART, LYNDSEY STROUSE, JEFFERY
STUCKEY, THOMAS SWANSON, AMBER
TEPE, ANTHONY THEVENOT, KENNETH
THOMPSON, SAMUEL THOMPSON,
MICHAEL THOMPSON, BOBBY TINSLEY,
MARCUS TROTTER, MARILYNN TUCKER,
RYAN URBAIN, JAMES VAN TILBURG,
SHAUN WALLACE, AMANDA WALLACE,
RICKY WALTON, JERRY WARD, DARRELL
WATSON, JONATHAN WAYLAND,
GREGORY WEATHERS, JESSICA WEBB,
WAYNE WEBB, KEVIN WEST, RAYMOND
WESTMORELAND, WALTER WHITE,
JAMES WHITE, ADAM WHITLEDGE ,
JASON WHITNEY, KEVIN WILBURN,
BRITTANY WILLIAMS, LADONNA
WILLIAMS, ANTONIO WILLIAMS,
RASHEEDAH WILLIAMS, HENRY
WILLIAMS, JEDIDIAH WILLIAMS, STEVEN
WIRE, GREGORY WOLF, TERI WOODARD,
LOGAN WORDEN, TQUAN YELVINGTON,
JON YODER, TERRI YOUNG, KHALID
ZIADAT, KEITH ASLESOM, SHANE
BAILEY, BRIAN BALAK, SCOTT BELL,
DANIEL BELLILE, DRACY BENDER,
WILLIAM BIRCH, AISHA BUSH, KERRY
BUSSAN, JONATHAN CARDOSO, DEVIN
COLLINS, RYAN CUMMINGS, DAVID
DAVIDSON, MATTHEW DAVIS, GERARD
DENSMORE, CAMERON DERRY, JACIEL
ACEVEDO, TERRY EDWARDS JR, RUSTY
EILERS, EDWARD ENYARD, TROY GILL,
MICHAEL GROH, TROY HOWARD, TROY
HUERTA, JONATHAN HUITINK, MIKE
JEFFERSON, EDWARD JIRKA, OWEN
KELLEY, RICHARD KEMP, SHAWN
KIERAN, CHRISTOFER KINGREY, JOE
KOMAREK, JOSHUA LOFTUS, DANA
MARSHALL, ISAIAH MARTIN, DARWIN
MCCLEISH, ERIC MCDONALD, ROBERT
MCGREGOR, MICHELLE MITCHELL,


                                   50
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 51 of 3128




NICOLOS MOFFITT, TYLER NEUHAUS,
THERESA NOSLEY, JIM OCONNOR,
GRANT OGLE, BRADLEY OGLES, DARREN
OLLOM, SALVADOR ORTIZ JR., MORRIS
PARSON, SAMUEL PETERSEN, PERRY
PORTER, MICHAEL QUEEN, BILLY
ROBINSON, BRAD ROSS, DENNIS ROSS,
DAVID SCHULZ, JOHN SHEARER,
SHANNON SIRES, BRIAN SORENSON,
BRENT STREEKS, JAY STUMP, ANDREW
TIBBOTT, JAMES TILLMAN, JASON TRIPP,
TRAVIS TRUEBLOOD, CHRIS VAN
BLARICOME, RAYMOND VARNER,
MATTHEW WALLACE, KIRK WARNER-
TALBOTT, ANTHONY WEATHERMAN,
JOSHUA WELLS, IAN WILBER, EMMETT
STATZER, THOMAS WOODS, GREGORY
WYMORE, BRAD YAKISH, BRIAN
YAKISH, ADRIAN AGUILAR, JIMMY
AINESWORTH, ALEX ALDAPE, RANDY
ALEXANDER, CHRISTOPHER
ALEXANDER, KURTIS ANDERSON, EMILY
AZAMI, TIMOTHY BENNETT, NATHANIEL
BLAKLEY JR, DONNIE BRENNAN, KYLE
FRASIER, LUKE BROWN, CHARLIE
BROWN, HANK BURCH, BRANDON
BUTLER, DARIN CAMPBELL, ZACHARY
CANNADY, JEFFREY CARLTON, LARRY
METZDORF, JR CHAMBERLIN, KIRK
CHASTAIN, SUSAN CHILDERS, MATTHEW
CHRISTIAN, MARIAH CLAAR, AMBER
COMER, KYLE COOPER, WILLIAM
CREASON, CHAD CROUSE, SHELBY
DEAN, TYLER DIRKS, THOMAS EHRLICH,
AMBER EMERY, CODY ERWIN, TRACIE
ESKEW, DAVID FLINN, ROBERT FORBES,
CEYONA FORD, NATHAN GABEL, DAVID
GORLEY, JOHN GOULD, NANCY GOVERO,
DOMINIC GRANT, RAYMOND
GUTIERREZ, JASON GUYLE, DAKOTA
HAAG, JONATHAN HAGANS, PAUL
HAMM, ERIK HANSEN, JACOB
HARRYMAN, MATTHEW HAVENS, TED
HEBERLING, RANDY HEITHOFF, EMILIO
HERNANDEZ, MARK HOLDEN, ROBERT
HON, DARCELL HOWARD, BRANDON


                                   51
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 52 of 3128




JAMES, SHAWNDA JANSEN, JAREA
JARRELL, MARK JENKINS, ZACHARY
JOHNSON, KIMBERLY JOHNSON, JAMEY
JONES, THOMAS JONES, JAMES
KIRKWOOD, MARSHALL LARSON, JESSE
LEMASTER, CONNER LILLESTON,
DAMIEN LOEWEN, DANIEL LONG,
ANGELA LOONEY, CURTISS MARLOWE
JR, DYLON MATHEWS, DAVID MCCABE,
DUSTY MINER, KEVIN MOHLER, JOSHUA
MOORE, CHAD MORFORD, RAYMOND
MORRIS, JAMES MOYER, BRANDON
MUEHLER, LARRY NEAL, TOMMY
NGUYEN, SHANE NICHOLS, RICO
NIMROD, TIMOTHY PACELLO, ESTASAR
PACHECO, HEATHER PAGE, JOSEPH
PARKS, RANDAL PAULSON, YAMILKA
PEREIRA, JASON PERRAULT, PHILIP
PLUNKETT, JARED POHL, AMY PONTE,
TYLER PRESTON, CLIFFORD PRICHARD,
SANDRA PROFFITT, ZACKARY
RANDOLPH, TAYLOR RILEY, DANIEL
ROBBEN, BRIAN ROBERTS, KIMBERLY
ROGERS, SHAWN ROSS, MATTHEW RUSH,
SHANE RUSSO, PHILLIP SAUBER,
CHADWICK SCOTT, SPENCER SHAVER,
MICHAEL SIEBEL, TERRY SMEDLEY,
MICHAEL SMITH, JASON SMITH, LYNN
STEWART, MARVIN TAVIS, RYAN
TAYLOR, TERESA THURMAN, ROBBIN
TROMPETER, MICHAEL WAGNER,
JEFFERY WELTMER, STEVEN WENDT,
BRENT WILLIAMS, GREGORY WILSON,
JIMMY WOLF, CHAUNCEY WYANT,
ROBERT ADAMS, EDWARD AMOS, NOAH
ASHCRAFT, BENJAMN AULPH, JOSHUA
BAILEY, MICHAEL BAKER, KENTRELL
BANKS, ELVIS BIKIC, THOMAS BLACK,
JAMES BOONE, JERRY BOWLIN,
GEOFFREY BRICENO, DAVID BRINLEY,
CHRISTOPHER BROWN, DAVINSON
CARMONA, MICHAEL CARTER,
MARYELLEN DAVIS, SHAWN CLINE,
ALFIS COLEMAN, JAMES CONNER,
VERKISHA COOK, ROGER COOPER,
DEBRA CUNDIFF, SHANE DAVIDSON,


                                   52
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 53 of 3128




ERICA DEAN, CLARENCE DUNCAN,
KENNETH EARLS, WILLIAM EDWARDS,
JONATHAN ENGLAND, BRANDON EVANS,
KEVIN FIELDS, ROBERT FLOYD, HAZEN
FRICK, KENNETH GARLAND, LECARDO
GAY, SAMUEL GEORGE, DESIREE GREEN,
GREG GRIMES, BRANDEN GRIMES,
JEFFREY GROSS, ALICIA GRUBB,
MICHAEL HADLEY, WALLACE
HALCOMB, THARREN HART, BARRY
HOUSE, SETH HUMPHRIES, DUSTIN
JOHNSON, MATT CARIUS, KENYETTA
JOHNSON, THOMAS KANE, BRIAN KELLY,
HUGH KEMP, GREGORY KOHLER,
JEREMY LACEY, ETHEL LANCASTER,
DWAYNE LANCASTER, BARRIE LAPHAM,
ROLANDO LAPINELL PANEQUE,
KENNETH LATHERY, DARRYL LAWES,
ROBERT LEET, NORMAN LEGETTE,
DIEGO LEYVA, JEREMY LOCKARD,
JOHNNY MALONE, STEPHEN MARKS, SR.,
CHRISTOPHER MCALISTER, CARRIE
MCCALL, ANTOINNE MILES, BRIAN
MOORE, JESSIE MORRIS, CYNTHIA
NAJDZION, TERRY NEAGLE, JESSICA
OLSON, ALVIN PALMER, ROBERT PARRY,
CODY PHILLIPS, YENNY PINO BRICENO,
JUSTIN PRATT, MICHAEL RAMSEY,
STACY RICE, SCOTT RISNER, EUGENE
ROBINSON, MICHAEL RODGERS JR.,
TIFFANY ROGERS, MICHAEL ROOT,
LAWRENCE RUSHING, KEVIN
SACKSTEDER, KRYSTAL SCOGGINS,
MICHAEL SEARP, GREG SHEARER, BRIAN
SMIROLDO, YOLONDA SMITH, BRYAN
SMITH, TIMOTHY SOUTH, BOBBY
STAGGS, ERICA STARKS, CHRISTOPHER
STEPHENS, ROBERT STINSON, JONATHON
TILLMAN, JOSHUA TUCKER, JASON
TURNER, JOSHUA UPTON, MARTIN
WADDELL III, CALEB WALSH, CEDRIC
WARE, CORDELL WATTS, CARL WEBB,
ZACHARY WEST, JENNIFER WHITE,
BRYCE WOOSLEY, ANDREW WORTHEN,
JOSHUA YOUNG, MELISSA ZIPPERLEIN,
DANIELLE ABSHIRE, BIANCA ADAMS,


                                   53
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 54 of 3128




MARSAILLA ADAMS, MEGAN ALBERT,
JUSTIN ALFORD, MICHAEL ALLARD,
KIMBERLY ALLEN, ROSE ALLEN, DEJUAN
ARMELIN, BRITLEY ARMSTRONG, DAVID
ARVIE, JEROMY AUGUST, SHERMAN
BADIE, ELGIN BAILEY, BOBBY BAILEY,
MICHAEL BARBER, MATTHEW BARNES,
DURAN BATTIE, JENNIFER BAUMAN,
MARVIN BECNEL, GREGSBY BELL,
ROOSEVELT BELL, SILAS BELL,
DEONDRAE BELLARD, HARRIS BELLARD,
MADONNA BELTON, FELICIA BENJAMIN,
MICKEY BERGERON, EVAN BERGGREN,
TINA BERZAS, CHAD BLANCHARD,
SHAUN BLOOMER, DENNA BLY,
CORNELL BOLDEN, DARRELL
BOUDREAUX, KANDRA BREAUX,
TYBRIEL BROCK, JASPER BROOKS,
DENNIS BROUSSARD, SHAJI BROWN,
STANLEY BROWN, CHARLES BROWN JR.,
KRISTIN BUMGARDEN, LEONARD
BURRELL, TAMIKA CALHOUN, ASHONNA
CALHOUN, KRYSTALLAND CAMPBELL,
MICHAEL CARLISLE, TEJEAN CARROLL,
CLARENCE CARTER, BASHON CASMIER,
SR., JERMAINE CELESTINE, KRISTY
CHESSON-VASALLE, GERALD CHOPLIN,
DERICK CLARK, DAVID CLEMMENS,
MONICA CLOYD, JUSTIN COCKERHAM,
LLYODELL COFFEY, ARSENIO COFIELD,
RICKEY COLLIGAN, PATRICK COLLINS,
ANTONIO COX, JERRY COX, ARTASHA
CRAWFORD, BRIAN CRAWFORD, TREVOR
CRIER, COREY CRUMEDY, CLARENCE
DARTEZ, CARSANDRA DAVENPORT,
CLAUDE DAVIS, EDWARD DAVIS,
LESHOWN DAVIS, JOSEPH DAVIS , ROY
DAWSON, MARCUS DAWSON,
CHRISTELLA DEMOUY, JESSIE DEVALL,
DEDRIC DIXSON, STEVEN DO, JACOB
DRESSEL, HALEY DUBROC, THOMAS
DUHON, ROBBIE DUNN, SAMUEL DUNN,
TRAVIS DUPREE, CHAD DUPUIS,
DOMINQUE DURGIN, MARCUS
DURISSEAU, BAYLEIGH EASLEY,
JASMINE ELAIRE, STEVHAN EPPINETTE,


                                   54
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 55 of 3128




MICAH ERNESTINE, KEDRICK ETHRIDGE,
AUSTIN FAIRCHILD, CHAD FAUST,
AARON FERGUSON, ADAM FIELDS,
CEDRIC FIGARO, VERNETTA FINISTER,
SHANNON FLETCHER, LATASHA
FLOWERSMCADAMS, TYLER FONTENOT,
HERMAN FORD, PAMELA FRANCIS,
KEVIN FRANK, DEMETRIOUS FRAZIER,
DANIEL GAETA, JERMAINE GALLOW,
LEWIS GOODWIN, DAVID GRANT,
JUANETTA GRAY, CARLUS GREEN,
KEVIN GREEN, JENNIFER GRIFFIN,
KEVAN GRIFFITH, JEREMY GRIMES,
GLENN GUIDRY, ADAM GUILBEAU,
LARISKA GUILLORY, BRANDON
HAGGERTY, LARRY HALL, RICK HALL
JR., NEDRA HAMILTON, THOMAS HANDY,
SHANNON HARRIS, CRYSTAL HARRISON,
WALTER HASTY, SHANENDOAH
HATHAWAY, GIRAUD HAWKINS,
LAKEISHA HAYES, CHARLES HAYWARD,
GLENN HEARD, SHAVEL HEARY,
MICHAEL HENDERSON, ERIKESIA
HENRY, RAYSHELL HITCHENS, JACKLYN
HOLLINS, MANDAN HOLLOWAY, DREW
HOPKINS, DEVON HUBBERT, KELLY
HUTSLAR, REGINALD JACKSON, SUAN
JACKSON, IVORY JACOBS, RODNEY
JETER, JAMES JOHNSON, STEVEN
JOHNSON, TIFFANY JOHNSON, KIARA
JOHNSON, CORTEZ JOHNSON, TREMAINE
JOHNSON, JUSTIN JOHNSON, DWAYNE
JOHNSON, JAVARIA JONES, MARIO
JONES, DESHANNON JONES, JEREMIAH
JONES, GEORGE JONES, LATOYA JONES,
EUNICE JOYCE, CHRISTOPHER KELLEY,
GREGORY KELLY, KENCHEDRE KESSEE,
VALERIE KNIGHT, JOSHUA LAIR,
ALONZO LANDRY, KHRISSANTHUS
LASALLE, DARIUS LAWDEN, MICHAEL
LAWRENCE, HENDRICK LEDAY,
ROOSEVELT LEE, KYLE LEE, JULISA
LEWIS, BARNEY LEWIS, GREGORY
LIVINGSTON, JEREMY LONG, HEATHER
LOWE, BRANDON LOYD, DEMOND
HUTTON, ALTON LYONS, SR, RENAIDO


                                   55
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 56 of 3128




MACK, KARL MACKEY JR, LEO MADISON,
TYRONE MARSHALL, NAQUELLAR
MARTIN, LASHONDA MATTHEWS,
WILLIE MATTHEWS, DELASTA MAY,
COREY MAYWEATHER, LAKITHA
MCGHEE, ASHANTI MCHENRY, JOSEPH
MCKENZIE, WILLIE MCRAE, JEANNETTE
MELTON, ASHLEIGH MENSIA, TAYLOR
MILLER, KIRK MILLER, WESLEY MILLS,
RICKY MITCHELL, SR., KCEE MITCHELL,
RAYQUAN MOORE, MARK MOREL,
DERON MOSLEY, MERCEDES MOUTON,
DOREEN MOUTON, KELEN MURPHY,
DONALD NELSON, GLEN NORMAN,
CHRISTOPHER PACKWOOD, SR., JORDAN
PAGE, DAMIEN PATTERSON, LANCE
PATTUM, SYRONDA PAUL, DEJUAN
PAYNE, KYITANYA PAYNE, TELIAH
PERKINS, DAFFANY PERRY, WILLIS
PERRY, PERRY PETITE, DYLAN PICKENS,
SHERITA PINKINS, ANEJA PITTMAN,
ANGEL PITTS, BEVERLY POLITE, DEREK
POLK, CYNTHIA POWELL, JOSEPH PRICE,
TIMOTHY WILLIAMSON, PHAEDRA
PUGH, DEBRA RABY, ALFRED RAYFORD,
BRYAN REED, LAWANZA RICHARDSON,
SANETRA RICHARDSON, GERALD
ROBINSON, LAURA ROJAS, HERBERT
ROY, TRENE SALVANT, BILL SAMPY,
DANNON SAWYER, LORETTA SEABERRY,
LAREGUE SHEPARD, TERRI SHREEVES,
JAMAR SIMMONS, ISAAC SIMON, HENRY
SIMPSON, ELIJAH SLEDGE, SHELDON
SMITH, JEREMY SMITH, BILLY SMITH,
GREGORY SMITH, ARLENZIA SMITH,
JONATHAN SMITH, MACEO SMITH,
DONJA SMITH, SHELTON SNEED, TAMMY
SOILEAU, LANINDA SPARKS, ANTERRIA
SPEED, CANDICE SPENCER, TASHEKA
STEWART, DERIONNE STEWART,
CHRISTOPHER STITH, DONNIE STURGIS,
MACK SUTTON, JAMES TANNEHILL,
DAVIE JOHNSON, JOHN TELLIS,
CHRISTOPHER THOMAS, CHANTEL
THOMAS, COREY THOMAS, STEVE
THOMAS, CORNELIUS THOMAS, JAMIE


                                   56
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 57 of 3128




THOMAS, ZIKITERAN THOMAS, WILLIE
THOMAS, JAMES THOMPSON, RAPHAEL
THOMPSON, KEYANNA THORNTON,
CARLTONLYNN TURNER, KEITH
TURNER, LATONYA VESSEL, JOYCELEN
WADE, CLIFTON WADE, RAYCHELL
WALDON, CARLITA WALKER, RICKY
WASHINGTON, ERIKA WASHINGTON,
BIANCA WASHINGTON, TERRY WATSON,
FRANK WATSON, LANCE WHEELER,
COREY WHITAKER, ASIA WHITE,
TELISHA EDWARDS, ERICA WILLAIMS,
PATTIE WILLIAMS, DARIEAL WILLIAMS,
WALTER WILLIAMS, ERIC WILLIAMS,
TIQUITA WILLIAMS, MATTHEW
WILLIAMS, TERRENCE WILLIS, CHRISTEN
WILMORE, RYAN WILSON, HUGH
WILSON, CARLTON WILSON, ERIC
WINFIELD, TAMALIA WINFREY, ERIC
WISE, KAAMAL WOODS, APRIL WRIGHT,
DEMOND WRIGHT, QUANTINA WROTEN,
DAVID BELL, GERRY BILLINGS, DARYL
BLEDSOE, JONATHAN BONILLA, JOSHUA
CHAMBERS, DANA DELORME, JOSEPH
DORAIS, DANIEL DUBOIS, NICHOLAS
FERNALD, ROBERT FOSTER, WILLIAM
FREEMAN, MILES GRAY, CHARLES
HAMEL, BRIAN HEFFERNAN, JASON
HOLT, JOE JACKSON, ADRIENNE
JENNINGS, GERARD JOCHEMS, KENNETH
LADD, JIM LANCTOT, MICHAEL
LHEUREUX, WADE MANDEVILLE,
AUSTIN MANK, DINO MARZULLA, KARY
MAYO, PATRICK OCHIEANO, BRUCE
OUELLETTE, ROGER RICKER, BRANDON
SCOVIL, WAYNE SCOVIL, JON SIMONDS,
STEVEN SIMPSON, JEFFREY SMALL,
DOUGLAS TAYLOR, GLENN THERIAULT,
RICHARD TOMPKINS, JARED WHEELER,
SCOTT WILSON, ARTHUR WOOD,
JAHKEEM ABRAMSON, JUAN ABREU,
SHAYNE ADAMS, FAWN ADAMS,
CHIGOZIE AKUJUOBI, MARQUI
ALEXANDER, DAMON ALLEN, KAIRI
ALSTON, JOHN AMIHERE, TAOFIK
AMINU, FELICIA ARRINGTON, GEORGE


                                   57
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 58 of 3128




ASIEDU, ROLAND ATTAMAH, MIYAH
BABB, RAMON BAEZ, MAJU BAH,
MELVIN BALL JR JR, DEON BANKS,
RICHARD BARBER, EDWARD BARLOW,
STEVEN BARNER, CIEARRA BAZEMORE,
MICHAEL BEAUFORD, ANGEL BENITEZ,
DARNELL BENSON-JACKSON, RUSSELL
BERRY, DERRICK BEST, JAWAAN BIVINS,
JAMES BLUE, CESAR BOLANOS, SEGUN
BOLUFEMI, KYLE BOLYARD, FRANK
BONSU, LARRY BOYD JR., ANTHONY
BRANDON, ERNST BRAUN, BRANDON
BRAXTON, JAMES BRICE III, STEPHEN
BRIGGS, DIONNE BROOKS, GUY BROOKS,
GEORGE BROOKS, HARALD BROWN,
NICHOLAS BRYANT, SHAW BUCKNER,
EDWARD BUDKA, MARQUIS BURDEN,
SHADE BURRELL, ANITA BUSH,
CHRISTOPHER BUTLER, JUSTIN
CALDWELL, ELMER CANALES, DAMIEN
CANNON, RODNEY CASLOW, DANIEL
CHAPPELL, CJETT CHAVIS, SHELDON
CHILDS, YVONNE CLARK, STEVEN
CLARK, DALONTA CLARKE, CHELSEY
COATES, MARGARET COLBERT, DEREK
COLE, HARVEY COMBEST, DAJUAN
CONCEPCION, CARL CRUMP, RICHARD
CUNNINGHAM, MITZI DANIELS, MARIE
DATTILIO, TEAIRA DAUGHTRY,
TAYQWON DAVIS, TYREN DAY, PHILIP
DELGADO, CODY DEMONTAGNAC,
SEYDOU DIALLO, CLIFTON DIAZ,
WILLIAM DIAZ JR., ANTOIN DINGUALL,
TIFFANY DONALDSON, CINNAMON
DORSEY, AUBREY DORSEY, ZACHARY
EARNEST, KEVIN EDWARDS, RONALD
EPPS, COREY EPPS, JERMEL ESCALERA,
JOHN FELDER, TYRONE FIELDS,
MICHAEL FLETCHER, FIDEL FORTALEZA,
GRAFTON FRANCIS, DONTE FUTRELL,
DIXIE GARCIA, BRUCE GARDNER,
FRANCK GBANE, THEODORE GELLER,
MALEEK GEORGE, JAMAR GIBBS,
DAMON GIBSON, COREY GILL, DARRELL
GILLIAM, CARLTON GILMORE, ASHTON
GLASGOW, ELIJAH GOLPHIN, ADRIAN


                                   58
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 59 of 3128




GORDY, PATRICE GRANT, JEROME
GREAR, DEONTE GREEN, LAUREN
GRIBBIN, ROBERT HALL, ERIC HALL,
TAKIAYA HALL, BRADLEY HAMILTON,
TAVON HARGIS, WALTER HARRELL,
TIARA HARRELL, SHANNON HARRIS,
WAYNE HARRIS, EDWARD HARRISON,
MARKEITH HARROD, FRANKLIN HART,
DARIUS HARVEY, JAVONN HENDERSON,
JAMES HENDERSON III, CLAYTON
HIGGINBOTHAM, JASON HILL, DEONTA
HILL, LANITA HINES, RONALD HOLMES,
NICKEELA HOLSTON, CHANAY HOPKINS,
CREANNA HORTON, MICHAEL HOWELL,
SHAI HUGHES, JOHN INSHAIWAT,
DARRELL JACKSON, WAYNE JACKSON,
MARVIN JACKSON, MICHAEL JACKSON,
JAMES JACKSON, CARLEA JAMES, KEITH
JAMES, AARON JENNINGS, NOELLE
JOHNSON, ANTWANE JOHNSON, ERNEST
JOHNSON, ANDREA JOHNSON, MELVA
JOHNSON, KEVIN JOHNSON, JAY JONES,
DARRELL JONES, TYRELL JONES, DARIUS
JONES, JERRELL JONES, MARIO JONFIAH,
KIWAN JORDAN, ANTHONY
KIRKPATRICK, DWAYNE KNIGHT, KEVIN
LAW, VAUGHN LEAK, LATROD
LEONARD, LESHAE LILLY, SHANDELL
LITTLE, GEORGE LOGAN, ALLAN LULE,
KAYLA LYLES, DEVIN MAINOR, PETER
MANGLES, LUCIA MARANGONI, LATON
MARSHALL, LIONEL MARSHALL, ONIEL
MARTIN, STEVEN MARTIN, GARY
MASON, ROBERT MASON, DEKEISHA
MATHIS, JALIL MCALLISTER, DOMINIC
MCCLOUD, DWIGHT MCCLUNG, MIRIAM
MCKENZIE, CRAIG MCLAURIN, DAVON
MCLAURIN, JAMAAL MCLEAN,
REGINALD MCNEILL, DAVONTE
MCWAYNE, JOHN MEDLEY, MICHAEL
MEGGINSON, ANGELA MELLOTT, GARY
METZ, KSHAWN MICKENS, LEON
MIDGETTE, JERMAINE MILES, TERESA
MILES, JOVAN MILLER, DOUGLAS
MILLER, DONTE MILLER-LOMAX,
LOUTRICIA MITCHELL, AVA


                                   59
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 60 of 3128




MONTGOMERY, ADAM MONTGOMERY,
ANGEL MOODY, MARCUS MOORE,
CHRISTOPHER GREEN, ADAM MORGAN,
MIKAIL MOSBY, GERRETT MOSBY,
LARRY MUIR, RICHARD MURPHY, JOHN
MURPHY, FOREST NAYLOR, DAMON
NELSON, GERALD NEMBHARD,
MATTHEW NEWMAN, GIOVANNI
NEWMAN JR, KIAH NORRIS, JOHN
ODONNELL, ZACHARY O'NEILL,
CHUKWUEMEKA ORAKA, ANTHONY
OWENS, DYANDRE OWENS, STEPHEN
PALMBOS, CHARLES PARKER, MICHAEL
PARKER, JAMES PATTERSON, JAMES
PAYTON, REINALDO PEREZ JR, SEAN
PHILLIPS, PATRICK PIERRE, JAMES
PINKNEY, CHARLES PITTMAN, GEORGE
PLEINES, SHEAN POOLE, RODNEY
PRATCHER, ANTHONY PRATT, DIMITRI
PRATT, ANTHONY PRESTON, JASMINE
RAGLER, RODOLFO RAMOS, ZACHARY
RANSOM, CARISSA RATCLIFF, DANIEL
REYNOLDS, JONATHAN RICHARDSON,
MATTHEW RIGGS, MARC RILEY,
LASHEKA ROBINSON, DASHAUN
ROBINSON, JONATHAN ROBINSON, JOSE
RODAS, ROSA RODAS-MENJIVAR, PEDRO
RODRIGUEZ, JONATHAN RUDD, LATARA
RUSS, IBRAHIM SAMASSEKOU, JABARI
SAMPSON, BRIAN SANDERS, EDUARDO
SANTOS, BRANDON SAUNDERS, WADE
SAVAGE, COREY SEEGER, MARCUS
SHACKELFORD, DUSTIN SHADWELL,
TENISHA SHERMAN, HAMANE SIDY,
TAJH SIMMONS, KENNETH SIMMS,
JEFFREY SIMON, CHRISTINE SMITH,
TEJON SMITH, QUINCY SPARMAN,
DOROTHY STELLABOTTA, LUCAS
STEVENS, RENARD STEVENS, HAKEEM
STEWART, LEONARD STINE, LYLYDIA
STOKES, MICHELLE STREET, ROBERT
SURRATT, HAROLD SWETT, KYLE
SYMONETTE, WARRACE TEEL, CLAUDE
THEISEN, ARRINGTON THOMAS,
TERRANCE THOMAS, JEFFREY THOMAS,
CHAD THOMAS, DARRYL THOMAS,


                                   60
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 61 of 3128




MARLON THOMPSON, SR., JACOB TILLER,
MARK TITUS, KEATON TRENTLER,
NICHOLAS TROMBLEY, KIRA TUBMAN,
LAMARR TUCKER, QUEENIQUE TYLER,
ALEX WAGNER, DAVID WAGONER,
DANIEL WALL, RAYMOND WALLS,
PAULA WARRREN, SHEHZAD WASEEM,
ESCEO WEBB, DENNIS WELCH, ANTHONY
WELLS, TYRISHA WHITE, MONIQUE
WHITE, JESSICA WHITESIDE, JOSEPH
WIGGINS, JOSEPH WILCZEK, JERMAINE
WILKERSON, ALTIMONT WILKS, MARCO
WILLIAMS, LEANNE WILLIAMS,
ANTHONY WILLIAMS, DOMINIQUE
WILLIAMS, AMBER WILLIAMS, TIMOTHY
WILSON, DEVRON WORLEY, ADAM
WRIGHT, KERINE YOUNG, JASON ZAIS,
TAMMY AARON, NAEL ABUHAMAD,
ROBERT AINSWORTH, JALAL AL
JAWHARI, SAMUEL ALDIS, ANGELA
ALMEIDA-GRISDALE, AHMED
ALSHAREJY, JOE ANDERSON, ROBERT
ANKNEY, SHAWN ANTHONY, THOMAS
ARMETTA, JODY ARMSTRONG,
ANTHONY ARTHMIRE, LAMONT AYERS,
ROBERT AYOTTE, STUART BAKER,
JASON BANAS, KRISSIE BARNES, MARK
BEAUCHAMP, PAUL BECK, JEFFREY
BENNETT, HUSSIEN BEYDOUN, RICHARD
BILLIN, DEONDRA BLACKMON, MATT
BLANK, ERIC BLEECKER, STEVEN
BOTTRELL, MARCUS BRADFORD,
MICHAEL BRADLEY, DAVID
BROCKLEHURST, CODY BROWN,
DEMARIO BROWN, WILLIAM BROWN,
CHRISTOPHER BROWN, MICHAEL
BRUMLEY, RAYLEON BRYSON,
COSTANTINO BUFFA, TREVIS BULLOCK,
ROGER BURGESS, SHAWN BURHANS,
CRYSTAL BUSH, DARIOUS BUSSELL,
DANIEL CANAFAX, KYLE CARBIENER,
DOUGLAS CARVER JR., DAVID CASH,
ERIC CASPER, JOHNATHAN CATOR,
JORDAN CHAMBERS, BRYAN
CHAMBLISS, RONALD CIFOLELLI, GIM
CIPRIANO, MARVIN CISCHKE, JEFFREY


                                   61
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 62 of 3128




CLEMENCE, TROY COLEY, JENNA
SCHILLMAN, MARCELLUS CONNER,
KENNETH COOMBS, JAMEL COOPER,
BOYD COTTRELL JR , DANIEL COULTER,
PATRICIA COY, ERNEST CRAWFORD,
KAREEM CROWLEY, JAMES CROWTHER,
WAYNE CUSTER, JASON CZENKUS,
KASSEM DABAJEH, DEANDRE DAVIS,
TIFFINEE DAVIS, DYLAN DEATSMAN,
JOHN DEETER, CALEB DEROUSSE, DEREK
DIBELLA, COLTON DICKERSON,
DAMEICOS DICKSON, DAVID DIEHL, SR.,
FONDA DORSEY, JACOB DRAPER,
MOLLOY DUMAS, TAUREAN EALY,
CHRISTOPHER EASLEY, JAMES
EDWARDS, FREDERICK EVANS, ROBERT
FABIAN, KYLE FAHLER, ANNA FAIR,
BRYCE FAIRCHILD- CLARK, PATRICK
FEENEY, KATHERINE FLETCHER,
BENJAMIN FOREMAN, CHRISTOPHER
FOSTER, MAURICE FRANK, CURTIS
GARLAND, BRANDON GARRISON, ERIC
GEORGE JR., SHAUN GOOD, ALEXANDER
GOODSON-CHILDS, KYLE GRANT, JOHN
GRAWEY, EDWIN GROMEK, JEFFERY
GUETHLEIN, AARON HALSTEAD,
TIMOTHY HAMDEN, CHARLES
HAMMONS, COREY HARDY, ANDRE
HARRIS, PREAZELL HARRIS, MICHAEL
HARRISON, RICK HART, SHEREN
HARVEY, BRENT HAVARD, MARK
HAVENS, ADRIAN HAWKINS, DEAN
HAWKINS, SCOTT HAYES, TIFFANIE
HEAD, STEVEN HERRMANN, THOMAS
HESLIN III, ROBERT HOLLER, JACKLYN
HOPPER, JONATHON HORNE, RYAN
HUBBS, EVAN HUIZAR, ART HULME,
RYAN HUSH, MICHAEL IRVINE, CHRIS
ISAAC, DAVID JAMES, JOHN JEFFERSON,
GAYLON JEFFERSON, JAMES JENKS,
DANIEL JENKS, PAUL JOHNSON, DANIEL
JONES, ROBERT JONES, MYAMIKA
JORDAN, GERQUINN JOSHUA, KAREN
JUILLERAT, JOSHUA KANDAL, ANDREW
KAPUSTA, BRIAN KEATING,
CHRISTOPHER KELLER, JAWARA


                                   62
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 63 of 3128




KENYATTE, MARK KIEFFER, MAURICE
KING, TIMOTHY KOOP, DAWN
KOWALSKE, JAMES KUZMA, DARRELL
LAFORD, STEVEN LALONE,
CHRISTOPHER LAMPHERE, KENNETH
LAWLESS, TINA LAWRENCE, JASON
LEWIS, MARK LONDON, TATE LOVELY,
MATT MANCE, MICHAEL MANCE,
JONATHEN MANDYCZ, ANTHONY
MARBURY, SR., ANTHONY MARTIN,
MICHAEL MARTIN, ERIC MARTIN, COREY
MASON, KEVIN MCDONALD, TERRY
MCDONNELL, CHAD MCFARLIN,
SPENSER MCKEE, STEVEN MCKENZIE,
DAVID MCLELLAN, CHAD MCNABB,
CHELSEA MEANS, KENITA
MERRIWEATHER, JAY MICOU, NATHAN
BEMIS, GORDON MILES, NICHOLAS
MILLER, CHRISTOPHER MILLS,
KYANNDA MITCHELL, ANTHONY
MITCHELL, KEVIN MOORE, JAJUAN
MOORE, JESSE MOORE, ROY MORENO,
TRAVIS MORRIS, RAY MOSLEY, COREY
MOSLEY, TIMOTHY MOSS, KELLY
MULLINS, SEAN MUNSON, SHAUN
MURPHY, CHIZIA MWILA, MARLON
NABORS, MOHAMAD NAURA, MARK
NEAR, WENDY NEUHARDT, PATTI
OLIVARES, BRANDON OTTO, ADUL
OWENS, JUAN PABON, COREY PADGETT,
ROBIN PAPENDIK, SHERYL PARKER,
ANTONIO PASSALACQUA, HAROLD
PEAGLER, JOSEPH PERAULT, LISA
PERRY, STEVE PHILLIPS, BRIAN
PHILLIPS, JEFFREY PIASECKI, JOSEPH
SWANSON, JEREMY POTEREK, DAVID
PRAY, CHRISTIAN PYE, BRADLEY
PRUZZO, JESSE RAE, DUANE MAYFIELD,
JAMES RAY, EDDIE RENDER JR.,
BRANDON RIDER, JOSEPH RISEK,
JONATHAN RITZLER, KYLE ROARK,
RYAN ROARK, MICHELE ROBINSON,
WILLIAM RODRIGUEZ, AARON ROSS,
JOSEPH SARE, ROBERT SAUP, DENNIS
SAWYER, JUSTIN SCHATZER, SUSAN
SCHEID, PETER SCHEID, MICHAEL


                                   63
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 64 of 3128




SCHINCO, ADAM SCHUSTER, LARRY
SCHUTZE, MELANIE SHELDON,
GREGORY SHIELDS, TIMOTHY SHILLING,
WILLIE SHORTER, MELISSA SIEGEL,
RONALD SIMPSON, JOHNATHON
SIMPSON, KARL SIMS, ROBERT
SMAGGHE, MATTHEW SMITH-
DOUGHERTY, ALEC SMYTHE, MATTHEW
SNAREY, CLAYTON SNIDER, GEORGE
SPASOVSKI, CHRISTOPHER SPREEMAN,
KATHLEEN STEFFENS, NICHOLAS
STEPHENS, JUSTIN STEPHENSON,
CHARLES STEWART, DWAIN STIERS, JOE
STILES, FRANK STRICKLAND, JULIAN
SUERO, ROMELLO SUITER, JASON
SWART, SIMONE TALTON, DANIEL
TAVOULARIS, NATHANIEL TAYLOR,
JASMINE TAYLOR, ASHLEE THAYER,
BRANDON THOMAS, PATRICK
THOMPSON, TREVOR TIMMRECK,
JOSHUA TINES, COLE TOMLINSON,
DAMARIOUS TRIPLETT, BRIAN TURNER,
JOHN UMFLEET, LUCAS VALKEMA,
DAVID VANN, KELLY VEENSTRA,
CHRISTOPHER WALKER, JASON
WARNER, JOSEPH WARNOCK, DAVID
WASHINGTON, LAWRENCE WATKINS,
APRIL WELLS, SHAYNE WESLEY, TYLER
WHITE, RICARDO WHITE, STEVEN
WHITEHEAD, JENIFER WIINAMAKI-
CARVER, MARYEILEEN WILKEWITZ,
DAVE WILLIAMS, LARRY WILLIAMS, JAY
WILLIAMS, RICCI WILLIAMS, MYCHAL
WILLIAMS, RAY WILLIAMSON, PAUL
WILSON, TROY WINCHEL, KEVIN
WRIGHT, CHRISTOPHER YORK,
ARMANDO ZAMORA, MICHAEL AASE,
AMJAD AHMED, JOSE AMADOR, JOSH
ANDERSON, JOHN ARMENDARIZ,
MICHAEL AUSTIN, EDMOND AWAIJANE,
RYAN BACHAND, MARK BARROWS,
JASON BLACKFORD, IAN BOYD,
ANTHONY BRADLEY, TYLER
BROCKWAY, NURI BRYTOWSKI, MARK
BUGNI, HECTOR CALVO CAMACHO,
TROY CARLSON, NATHANIAL CAZA,


                                   64
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 65 of 3128




STEVEN COLE, STEVEN COLLAZO,
ANTONIO COLLODORO, JAY CRAMER,
TYLER CULLEN, JOHN DAVIS, DUSTIN
DORR, JOSEPH DUEVEL, MATTHIAS
DUEVEL, EBEN DUNDAS, FAHAD
DUNKAL, TAMIKA DYER, LUTHER
EHLENZ, REDA ELSAYED, MATTHEW
ENGEBOS, TEVIN FAIR, RODRIGO
FERNANDEZ, ANTHONY FRICH, ALI
GIBRIL, JUSTIN GOLDEN, JOHN GONYEA,
ERIC GORDON, ROGER GRADINE, JAMIE
GRANING, BRETT GUIDRY, ANDREW
HEMMELGARN, DENNIS HEMMINGER,
ERIK HITE, TODD HOLMES, JAMES
HOULEHAN, KENNETH HOUSER, JOSHUA
HOUSTON, DARRIS HOWARD, ERCAN
INTEPE, JESSIE JACOBSON, BENJAMIN
JOHNSON, LAYE KABA, CURTIS KING-JR,
ANDREW KODET, NICHOLAS KOSKELA,
WILLIAM KRAUSE, RYAN KUEPERS,
JERRETT LAMPLEY-FOSTER,
CHRISTOPHER LAPOSKY, ANDREW
LARSON, ANDREW LEISHMAN,
MARGARET LICHY, CURTIS LOUKS,
WALTER LUBINSKI, GHETRO LUCIEN,
MARK MACCALLUM, PATRICK MARTIN,
RENE MARTINEZ, DARION MCDOWELL,
GERALD MCKENNA, JONATAN MEDINA,
DANIEL MICHAUD, RICO MILES, SCOTT
MOORE, MATTHEW MOUA, BENJAMIN
NEIBAUR, CHAD NELSON, AARON
NORDBY, APNY OMOL, JAMES PAVEL,
BREK PERRY, THONGLITH
PHOUTHAVONGSAY, BRUCE PIERSON,
AUSTIN POLLOCK, CHRISTOPHER
POWELL, RANDY RAMSDELL, DAVID
REGAN, FERDINAND RIECK, MANUEL
RIERA VELEZ JR, KENT ROTH, STEVEN
SANDTORF, JAMIE SARGENT, TRAVIS
SCEPANIAK, THEODORE SCHOTZKO,
SHANE SCOTT, PAUL SISTAD, BARRY
SLAGTER, MOHAMED SOUMAH, DONALD
STAFKI, SHAWN STEGNER, PAUL
STEWART, MIKE STIPE, BROCK STOUT,
BRIAN SWANSON, LARRY THIEMAN,
PATRICK TIERNEY, CHRISTOPHER


                                   65
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 66 of 3128




TIKALSKY, STEVEN TRIEBERNIG,
BATSAIKHAN USUKH, MENG VANG, TINA
VARCHMINN, ALEXANDER VASKO,
JEFFREY VONASEK, KERRY WARD, KYLE
WERNER, DEREK WONSMOS, AARON
WROBEL, CHUEFING XIONG, LIA YANG,
ARNOLD YANG, XANG YANG, AROLA
YANG, DZMITRYI ZIMNITSKI, JAMAAL
ADAMS, RICHARD ADAMS, RALEIGH
AINSWORTH, JIMMIE AKINS, ERIC
ALFORD, SHANNITA ALLEN, KOURTKNIE
AMILLIDREEM , SHERMAN AMOS,
JOSEPH ARABSHAHI, JASMINE AYTCH,
DENEICE BAILEY, KEVIN BAKER,
KIMBERLIN BALTHAZAR, JARVIS
BARDELY, KENDRICK KING, CARY
HAWKINS, FREDERICK BARRETT,
KEDRIC BARRON, TYREACCUS
BATEASTE, ALEXIA BATES, JAQUITA
BENARD, JASON BENDALL, CEDRIC
BENNETT, EVELYN BETHEA, WILLIE
BISHOP, KRISTOPHER BITTLE, CLEMMIE
BOLTON, IRISHMA BOWIE, TINO
BOWMAN, ANTONIA BOX, FREDERICK
BOYD, KEVIN BOYD, CARI BRACKETT,
GREGORY BRAY, KEVIN BROWN, KRISTY
BROWN, VICTORIA BROWN,
DVONYOTTO BROWN, LEONARD
BROWN, WENDY BUCKLEY, MITCHELL
BULLOCK, MATTHEW BURKE, ASHLEY
BURNETT, DERRICK CAIN, LAZARUS
CALDWELL, RANIER CALDWELL,
DARRION CALDWELL, JEREMY
CALDWELL, ANTHONY CALDWELL,
LEROY CALVERT, STEPHEN CARLISLE,
RODERICK WILLINGHAM, SHAMEIKA
CARTER, DERRICK CHAPMAN, TYRA
CLARDY/ TURNER , CORTNEY CLARK,
CARLA CLARK MCKENZIE , PAUL
CLAVET, JOSEPH CLIFTON, RONNIE
COLLINS, ROBIN CONNER, SHIRLEY
CRAYTON, WILL CRENSHAW, JENNIFER
CREWS, SID DAVIS, JAMES DAWSON,
TYSON SEALS, BRYAN DELONG, JOSEPH
DILLARD, HEATHER DILLON, MAUREEN
DUPRE, VASHAUN DYKES, JOSHUA


                                   66
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 67 of 3128




EASTERLING, ANTWIN EDWARDS,
TAMBRIA EDWARDS, GARY ENIS, AVERY
EVANS, WIAKILA FERGUSON, ANITA
FERNANDEZ, J FINLEY, TUSHA FLOYD,
MICHAEL FLYNT, ROBIN FORD,
NATASHA FOULKS, JAY FREEMYER,
HELEN GABLE, CARY GADDY, LINDSEY
GOOLSBY, ALFRED GRANGER III, JUSTIN
GRAY, DARRIO GREEN, M GRIFFITH,
ALLEN GUIDRY, DAVID HALL, KEVIN
HARGROVE, BRONDON HARPER, JERALD
HARRIS, KENNETH HARRIS, YAKIMIA
HARRIS, DEVIN HAWKINS, TONY
HAWTHORN, LEO HAYSLETT, ROSHELL
HENDERSON, SEBRINA HENRY, LITISA
HILL, JOSHUA HILL, KENNETH HILL,
NATHAN HOBSON, ERIC HODGES,
MARCUS HOMAN, CLYDE HOOD,
PERSEPHINEY HOPKINS, MARK
HOUSTON, AUSTIN HOWELL, TYRONE
JEFFERSON, CEDRICK JOHNSON,
LAKENDRICK JONES, LARRY JONES,
COTASHA JONES, BOBBIE JONES,
LASHONDA JORDAN, ALLEN JOYNES,
MILTON KENDRICK, KASEY KENNEDY,
ERWIN KEYS, GEORGE LACEY, CYNTHIA
LAMASTER, JAMES LAWRENCE, RICKY
LEE, LATUNJA LEFLORE-DAVIS , LINDA
LENOIR, TOMMY LESTER, JUWANNA
LEWIS, ERNEST LOGAN, ANTOINE
LOMAX, QUINTARIUS LOVETT, DAVID
LYONS, RAHEEM MAGEE, STEPHEN
MANGUM, MARY MARION, CRISTY
MARSALIS, JOHN MARTIN, TANISHA
MARTIN, KENYATTA MAYES, NORMAN
MCCARTY, STEVEN MCEWEN, MICHAEL
MCINTOSH, KENDRICS MCKENZIE,
BRYSTAN MCKINNIS, SHARNICE
MCLEMORE, EDGAR MILLER, MICHAEL
MILLER, ADAM MILLER, RICARDO
MCDONALD, ALICIA MITCHELL,
DONOVAN MITCHELL, JESSE MORACE,
MATTHEW MORRIS, ROGER MORRIS,
TEMEKA MORRIS, KENTWAIN MOSLEY,
LEROY MURRAY, VALISHA NEAL, JOHN
NETTERVILLE, SAMUEL NEWTON, APRL


                                   67
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 68 of 3128




ORMOND, DARREN ORR, HOWARD
PARISH, MATTHEW PARKER, RODERICK
PARKER, JAMES PARKER, SHUNDERRICK
PARKER, PACALL PARKS, DEANTHONY
PARROTT, JAMES PATTERSON, FREDRICK
PEETE, MAISHA PERNELL, MELISSA
PETTY, JOSEPH PHILLIPS, JUSTIN
PHILLIPS, DOUGLAS PIGFORD, JAMARIO
PIPPINS, GRANT PISANI JR, SONYA
POOLE, VIERRE PORTER, CASSANDRA
POWELL, KENNY PRATCHER, SHARAY
RANSOM, KIRAN RAWAL, JUAN REID,
BENJAMIN RHODES, LAKIESHA RIAS,
CHRISTOPHER RICE, ANGELA ROBINSON,
SHARITA ROGERS, CRAIG ROSS, COREY
ROWELL, EARNEST SANDERS, MARCUS
SCOTT, MARQUAVIOUS SEALS, LORENZO
SHEAD, SHERYL SHIRLEY, JASIME
SIMEONA SLOUGHTER, BOBBY SIMS,
CREIGHTON SISTRUNK, JANICE
SLAUGHTER, MALCOLM SLAY, JEROME
SMITH, CASEY SMITH, RODRICK SMITH,
GARY SMITH, LASANDRA SMITH,
ROBERT SMITH, PRISCILLA SMITH, ISAAC
SMITH III, NORBERTO SOLIS, RANEKA
FELDER, CHRISTOPHER STEVENS,
ASHLEY STEVENS, SIERRA STOKES,
ROSA TATE, YOLANDA TATE,
FERNANDAS TAYLOR, BRUCE TAYLOR,
JONATHAN THIGPEN, DAVID THIGPEN,
VICTOR THOMAS, TARNCE THOMAS,
DEREK THOMPSON, PARKER THORNTON,
ERIC TILLMAN, TEVIN TOBIAS, JARVIS
TOWNSEND, DOUGLAS TRIPLETT, JAMES
TRIPLETT, KEVIN TUBBS, CEDRICK
VANCE, KATRENA VARNADO, TERNISHA
WALKER, JEFFORY WALLACE,
LAWANDA WALTON LANE, VERNISE
WANSLEY, DEQUINN WARD, BENSON
WARNSLEY, HARLEY WARREN, ALICIA
WASHINGTON, JAMEKA WATKINS,
JEREMY WATTS, TERRY WATTS,
CHANDRA WEATHERSBY, CHRISTOPHER
WEBB, HILARY WELLS, QUINCY WEST,
CHESTER WHITE, DANNY WILLIAMS,
TREVEON WILLIAMS, CHRISTOPHER


                                   68
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 69 of 3128




WILLIAMS, ISAIAH WILLIAMS, SHANDEL
WILLIAMS, MILTON WILLIAMS, CODY
WILLIAMS, LAWRENCE WILLIAMS,
MATTHEW WILSON, JOSEPH WINTERS,
RONALD WINTERS, IRANICA WOODRUFF,
WILLIAM WOOTEN, CHARLIE WREN,
DANNY WRIGHT, ROBIN YORK, ALLEN
YOUNG, JOSHUA ADAMS, FREDRICK
ALLEN, LAMARION ALLEN, JAYONA
ALMON, CAMESE ANDERSON, DEREK
ANDERSON, JEROLD ARCISZ, BRIAN
ARGUELLO, RICHARD ARMSTRONG,
KENNETH ARTHUR, JOHN BANGERTER,
WILLIAM BANKS, RYAN BARBER,
RANDALL BARBOUR, KERRI BARCLAY,
RAPHAEL BATES, DAVID BATY, JAMES
BECKETT, GLENN BEEKS, DANIEL
BENNETT, TRAVIS BENNETT, KYLE
BESAW, JEFFERY BEULLENS, JOHN
BIGELOW, VINCENT BINION-MOSS,
CONNOR BLOSS, MARK BOLIN, CRISSY
BOONE, DWAINE BOONE, PERCY
BOWMAN, ROBERT BOYCE, RODRICK
BRANSON, LEONARD BRATON, JERRY
BRAUN, BILLY BRESEE, REBECCA
BROOKS, GREGORY BROOKS, RICKIE
BRYAN, KYLE BURBRIDGE, JOSEPH
BURKS, DAJUAN BURNETT, PATRICK
BURNS JR , MITCHELL BUSHNELL-
CHAMNESS, PAMELA CAREY, MELISSA
CARLTON, CHRISTOPHER CARR II,
DERRELL CARRUTH, JOSHUA CARTER,
MALCOLM CHANDLER, JASON
CHASTAIN, DARWIN CHATMAN, RASHAD
COHNS, KORTEZ COLLINS, MICHAEL
CONRAD, NATHAN COOK, CAYLAH
COPAS, KEVIN COPELAND, MARK COPEN,
TED COTHRAN, MARK COX, KENNETH
COX, SARAH CRAFT, ROLF CROCKETT,
BRENT CROSS, DUSTIN CRUSE,
ETHELIND CYPRIAN, MICHAEL DAVIS,
DENNIS DAVIS, ANDREW DAVISON,
JASON DEWEESE, THOMAS DIERS, DAN
DONAHUE, GARY DOUGLAS, NATHAN
DOWNES, JAMES DUNCAN, LATISHA
EARL, ROGER EGGLESTON, JON ELFRINK,


                                   69
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 70 of 3128




LARRY EMORY, GREGORY ENNIS, JUSTIN
ESLINGER, HEATH ESTES, CHASITY
ESTES, KENNETH FORD, TRINETTA
FRANKS, SEAN FRYE, LEMESHAY
FURLOW, ANDY GAUME, ARIC
GAZAWAY, BRANDON GIBBS, GARY
GIESELMAN, JULIANA GILLOTI, ROYCE
GILYARD, PAUL GMOSER, ALANA
GOODMAN, KYLE GOODNO, JOSHUA
GOULD, RANDY GRADY, BRANDON
GRAHAM, CHERETTA GRAYER, RONALD
GREEN, GEORGE GREEN, RICHARD
GRIFFES, PRESTON HALE, WILLIAM
HALL, CRYSTAL HARRIS, DARRYL
HARRIS, NICHOLAS HARRISON, WALTER
HARRISON, CODY HARTER, FLOYD
HARVILL, DANNY HAYS, PETER
HAZELTON, ROGER HEART, THOMAS
HICKS, ALI HILL, SYLVESTER HILL,
MICHAEL HILZER, THOMAS HOLLEY,
WILLIAM HOLLEY, TREVION HOLMES,
JAMES HOLT, BRIAN HUBBARD, JEROME
HUDSON, DESERATA HUGHES-HARLAN,
KEITH HUMPHREY, CHRISTOPHER
JACKSON, MICHAEL JACKSON, CHARLES
JACKSON III, ERROL JEFFERSON, QUINCY
JENKINS, KARL JOHNSON, JOHN
JOHNSON, DEMETRIUS JOHNSON, AARON
JOHNSON, JASMINE JOHNSON, ERNEST
JONES, ASHTON KELL, JAMES KELLY,
JUSTIN KEYS, MICHAEL KREMPER, JOSH
KRONE, DAVID KUELKER, JASON
LAFFLER, KENNETH LAMBERT, JOHN
LEGANO, ADRIAN LEVY, ANDREW
LEWIS, LINDA LITTLE, JASON LONG,
BRIDGET LOVERA, DUSTIN LOWE,
DESMOND MABRY, TIMOTHY
MACNAUGHTON, ROBERT MANUEL III,
RYAN MARCH, CHARLES MATTHEWS JR.,
BRETT MATZENBACHER, FIDEL
MAXWELL, LAUREN MAY, DENA
MCCARTY, CODY MCCASLIN, JAMES
MCDANIEL, BRYANNA MCDANIEL-
BOCKES, GERALD MCDONALD, JOSEPH
MCKITTRICK, ABRAHAN MEDINA,
DARIUS MEEKS, JAMES MESTER,


                                   70
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 71 of 3128




MATTHEW MEYERS, NICK TEDRICK,
CHRISTOPHER MILLER, JAMISON
MILLER-HAGLER, TRAVIS MILSAP,
JORDAN MITCHELL, JEREMY MOORE,
LAKEDRA MOORE, ROBERT MOORE,
REGINALD MOORE, DAWN MOORE,
BRIAN MORGAN, BRIAN NABER,
RICHARD NANO, CORNELL NICHOLS,
PAMELA NORMAN, DAVID NORMAN,
RHETT NORRIS, KEVIN NOVAK, RYAN
NUNES, DEBORAH OATES, DAIMEN
OWENS, ANTONIO PAROTT, CHRISTIAN
PEGUES, MICHAEL PERKINS, DANIEL
PERRICONE, JABAR PERRY, SHANE
PETTY, STEPHEN PIENING, JAMES
PIERCE, BILLY PORTER, JIMMY RANDLE,
PAUL REAVES, ADAM REESE, KEVIN
REEVES, ROGER RENFRO, MATTHEW
RICHARDS, CLINT RILEY, EUGENE RITZ,
SHANNON ROBERTSON, MICHAEL
ROBINSON, ROBERT ROBINSON, PHILLIP
ROYBAL, BRANDON RUDISILL, RANDOL
RUSSELL, ROGER SCOTT, GERVON
SCOTT, KEVIN SEBOURN, DAVID
SHARON, AARON SHEAHAN, LAKEISHA
SHERMAN, GREGORY SHERRY II,
KEATON SIEBENALER, LAVELL
SIMINGTON, KYLE SIMMONS, THOMAS
SKUNDRICH, SHAWN SLATON, IAN
SMITH, SABRINA SMITH, KELLY SMITH,
RODDRICK SMITH, CLARISSA SMITH,
ERIC SMITH II II, JEREMY STARKEY,
CHRISTOPHER STEPHENS, PIERRE
STEWARD, CANEKA STEWART, CARMEN
STRAUGHN, CASEY STRIBLIN, KEVIN
STRONG, STEPHEN STURM, DANIEL
SUMMERS, BRANDON SUTTLES, DUSTIN
SYKES, KYRA TAPP, KRISTA
TARWATERS, LEWIS TAYLOR, LARRY
TAYLOR, RAYMOND TAYLOR, JOEY
TAYLOR, STEVEN TERRELL, MATTHEW
THIRY, JAMES THOMAS, ALICIA
THOMAS, RONALD THOMAS, ELGIN
THROWER, RONALD TILLMON, DAVID
TINDALL, NATHAN TRUSSONI, ALICIA
TRUSTEE, SHEILA TUBBS, REIF TUCKER,


                                   71
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 72 of 3128




BRIAN USSERY, EVAN VAN OSTRAN,
WILLIAM VEIT, ROBERT VINES, SHANE
VLADEFF, RYAN WAGENER, BRETT
WALLEN, LAMONT WARD, TIMOTHY
WARD, MARCEL WASHINGTON,
DONOVAN WATSON, DAKOTA
WELBURN, ORLANDO WESTBROOK,
JASON WHITTINGHAM, MICHAEL
WIENTGE, LEO WILLIAMS, DAWNIELLE
WILLIAMSON, GEORGE WILLIS, LAMONT
WILSON, WALTER WILSON, JOSHUA
WILSON, SCOTT WOODS, ZACKARY
YOAKUM, JOE YORK, NATHAN YOUNG,
RUSSELL BARROWS, MICHAEL
BURMEISTER, JESSE CHITTY, MICHAEL
COOK, CODY COOPER, THOMAS DARKO
JR, JOYCE ESTERBY, GARY FOECHTERLE,
DANIEL GOMEZ , TYLER HAGEMAN,
MARY HAMILTON, BRITTNEY HUFF,
DARREL KRAMLICH, CONOR LYNCH,
JASON MILLER, BRANT PALMER,
MORGAN RAPP, GREG ROLL, STEVEN
SCHAAK, IVAN VANDER ESCH, ADAM
VYLASEK, BRAD WAGNER, DAVID
WOOD, TERRESA BARNES, JAMES
BATMAN, KATHY CABBAGE, SAUL
CACERES, KENT FITZGERALD, DEANNA
GALVAN, CHARLES HARDIN, TIMOTHY
HAUGHTON, KENNETH JOHNSON,
WILLIAM KOUMA, KODI LESLIE, JEFFERY
LOSCHEN, JEFF LUSCHEN, DUSTIN MAUL,
DOUGLAS MORRIS, KASEY NACHTMAN,
SAM NUNCIO, MONTE OMAN,
ALEXANDER ORTIZ, DANIEL ROBISON,
SAM RYSTROM, TINA SPRADLEY, ROGER
STANDER, ERIC SVIK, KATELYN
TOBIASSON, DUSTIN VETROVSKY,
DANNY WALLACE, KENNETH WINTER,
STEFAN ALGER, ANGELO ANCHETA,
JOSHUA ANDRADE, BRANDI
BARNEYRODRIGUEZ, TONY BASS, JUAN
BAUTISTA, CHRISTOPHER BURDETTE,
DANTE CASH, GABRIEL CHANDLER,
MICHAEL DEALE, RICHARD DEL TORO,
DAMION DICKENS, OSCAR DURAN,
JASON ELWELL, SERGIO ENRIQUEZ,


                                   72
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 73 of 3128




JOHN FELIX, DEREK FIERRO, WILLIAM
FISHER, ALLEN FLOM, STEVEN FLORES,
KARRI FLOUD, VICTOR GAXIOLA,
JONATHAN GOEPNER, PHILLIP GRIEGO,
ALEX GUTIERREZ, TORRY HALL, TERESA
HARRELL, EDDIE HAYWOOD, ANDRE
HOOD, LOI IEREMIA, MATTHEW IRLAND,
RUBEN JERONIMO, JAMES JONES JR.,
DALLAS KESTER, JACOB LEONARD,
ROBERT LEVENE, ERIN LOONEY, ANGEL
LOPEZ, DANIEL MAFFEI, JULIUS MILLER,
JOSEPH MINER, AARON MORENO, MARK
MOULLET, LUCAS MUDLOFF, NOAH
MUNOZ, ANTHONY MUNOZ, BARRY
NELSON, VINCENT NELSON, DAVID
NIELSON, VONTORIA NORWOOD, ALEX O
HEIDELBERG, RUBEN PANGILINAN,
ANTWAN PATTERSON, RAYMOND
PATTERSON, BRIAN POWELL, RENE
QUINTERO, TYLER RACINE, JUAN
RAMIREZ, JASON RAND, DUSTIN
ROBINSON, MATTHEW ROBINSON,
AARON ROMERO, MARC SCHIFF,
JOHNNIE SEVERSON, CHRISTIAN
SHEARER, JAMES SNYDER, JEFFERSON
STACY DUANE, OSHALYEE THOMAS,
DAMON THOMAS, THOMAS TURENNE,
TONY VALDEZ, YOLANDA VALDEZ,
DMARSHAE VANN, MIKE RODRIGUEZ,
RUSSELL ADAMS, DAVID BALLOU,
BENJAMIN BOISVERT, DERRICK BOUMIL,
MICHAEL CARNES, MAKAYLA
COLEMAN, SEAN COUGHLIN, KEVIN
DELLA GROTTE, ANTHONY DELMASTO,
ALEX DREW, TREVOR DREW, DAVID
DUATO, FRANK ENGLISH, GARY FULLER,
GERMAN GOLDUS, JOHN GONYER, ADAM
GRIJALVA, JAMES HAFFORD, MICHAEL
HAIGLER, QUINTIN HUNTER, ROBERT
JANTTI, BARRY JONES, WILLIAM KELLY,
ARSENIY KLIMOV, WILLARD LARAWAY,
LEONARD LEBRUN, WAYNE LOMBARDO,
STEVEN LORNITZO, KARYNE MAINES,
THOMAS MANFREDI, JAMES
MANOUKIAN, MICHAEL MENDES,
EDWARD MORLEY, ERIK MOYER,


                                   73
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 74 of 3128




ANGELO NAVARRO, JUSTIN NICHOLAS,
DIANA OUELLETTE, LAURENCE
OUELLETTE, BRIAN PEACE, STEVEN
PISCITELLI, DYLAN RICHARDSON,
JONATHAN ROBERTS, BRUCE RODMAN,
MICHAEL SPECK, THOMAS SURRIDGE,
LYNN VAILLANCOURT, DAVID WIDNER,
HOWARD WILLIAMS, RONALD WILLIS,
IHAB ABDOU, ALIM AFROOZ, ORLIN
AGUILAR SANDOVAL V, DARWIN ALBA,
DAIMON ALLEN, JOHN ALMODOVAR,
YOELY ALMONTE, AARON ANDERSON,
TERRY ANDERSON, DEMARCO
ANTHONY, FRANCISCO ARIAS, RICHARD
ARROWOOD, JOHN ARSHED, ANTHONY
ATTANASIO, MOHAMED BADR, WILLIAM
BALDWIN, VICTOR BARRERA-ALVAREZ,
DIONTE BECKETT, RICHARD BEDNARSKI,
HARRY BENANCHIETTI, SIMRANJIT
BHULLAR, JARRED BIANCHINI, WILLIE
BILLINGSLEY, ANTHONY BOGGIANO,
WALTER BORIA, IAN BROMFIELD,
JOSEPH BROOKS, DUNCAN BROWN,
CHARLES BYNUM, GODFRY CAMPBELL,
EDWARD CARABALLO, JOHN CARPIO,
RICHARD CARTER, CARLEMITO
CARVALHO, ANTHONY CASIANO, JORGE
CEDRES, SANVIUS CELAMY, DOMINIC
CERRONE JR, MIROSLAW CHELCHOWSKI,
VLADISLAV CHERNOV, STEFANO
CHIARIZA, KENNETH CLARK, ANTHONY
COCCIOLONE, OLYNTHEA COLVIN,
SHAWN CONCANNON, LUIS
CONCEPCION, EOIN CONNELLY, DELVIS
CONSUEGRA, GARY CORDI, ANTONIO
CORIA, LAFAYETTE CRAWFORD,
LEONARDO CUEVAS, KRISTIAN CULLINS,
VINCENT CUTRO, JOHN DAIDONE,
DARRYL DAMBROSIO, MICHAEL DANTE,
FRANKLIN DE LA CRUZ BUENO, JUAN
DELA CRUZ, EUSEBIO DELACRUZ,
GERARD DELON, VINCENT DELUCA,
MICHAEL DEMATO, CARMINE VELEZ,
JOSE DIAZ, TYLER DILL, JAMES DOAN,
CHANELLE DOKES, MOUSTAPHA
DOUMBIA, LAKISHA DOYLE,


                                   74
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 75 of 3128




ALEXANDRIA DRAKE, JALEN DUNN,
TAREL DUNN, STEVEN DUNNE, BRIAN
DUNSTER, TOMASZ DZIENISIK,
SHANNICUA EDWARD, SARAH
EDWARDS, ROBERT EKNESS, DALE
ENGLISH, PAUL FERRANDINO, TAYLOR
FORD, STEVEN FORMAN, ARTHUR
FOSTER, KEVIN FRANKLILN, EDGAR
GARCIA, RANDIX GARCIA, MARK
GENCARELLI, KWADWO GENFI, THOMAS
GIVENS, DOMINIC GLIOTTONE, BENITO
GONZALEZ, JAIME GONZALEZ,
ANTHONY GOODWYN, JOEL GORDON,
KEITH GORESH, MIKE GORGA, JAMES
GRANT, GERALD GREEN, JOHN GREY,
THOMAS GRILLO, VINCENT GUARDIOLA,
STEPHANE GUILLAUME, JERRY
GUTIERREZ, DEREK HARDEN, SAIQUAN
HARRIS, TIMOTHY HAWKINS, LARRY
HENDERSON, JOSE HERNANDEZ,
TEODORO HERRERA, KEITH HINTON,
HOWARD HOAGLAND, CLIFTON HOGUE,
LAWRENCE IANNUZZI, CHUVANO
IRIZARRY, BRENTON IRVINE, SUBANIE
JAIKARAN, MANTIRONI JEAN, KINSON
JEAN, JEAN JEROME, YOLANDA
JOHNSON, CARL JOSEPH, DAVID JOSEPH,
ANDREW JULIA, KELLY KANE, SERGE
KANGA, YEVGENIY KARPENKO, GEORGE
KLESH, ZBIGNIEW KOZLOWSKI, RONALD
LANDY, STEVEN LARSEN, DAVID
LASCIO, MICHAEL LASSITER, KOREY
LAWS, ZORAN LAZOROSKI, RAYDOLPH
LEARY, MICHAEL LECKOW, JOHN LETTS,
ANDREW LOCKMAN, PABLO LOPEZ,
MICHAEL LOSCALZO JR , MICHAEL
LOSCHIAVO, ERIC LOZADA, ARMOND
LUCAS, JOSEPH MACENAT, TOMASZ
MAKOWSKI, DUSTIN MARRONE,
THOMAS MARSHALL, JAMES MARTIN,
RALPH MASTRANGELI, JUAN CARDENAS,
PETER MCCAFFREY, ERIC MCCLAIN,
TROY MCCLINTON, RODERICK
MCDOUGAL, TAMIKA MCGRIFF, KENT
MCRAE, PHILIP MEANY, ANTHONY
MENDEZ, ANTHONY MIDDLETON,


                                   75
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 76 of 3128




SHAWN MILLER, FRANCESCO
MONGELLI, FRANKLYN MORA, JOSEPH
SPELLS, LUIS MORAN GALVEZ,
YOHANNA MORENO, LUCIANO MUNIZ,
WILFREDO NAVARRO, LESHAWN NEAL,
BRIAN NEGREY, ROBERT NELSON,
STEPHANIE NICHOLAS, DORIS NOVAK,
MIKE NOVAK, JOSE NUNEZ VENTURA,
NELSON OLIVAS, MIKELIN OLIVER,
JORGE ORMENO, KENNETH ORNER, LUIS
ORTIZ, JOSE OSORIO, TONY
OUTERBRIDGE, KWANE OUTRAM,
ANTHONY PALOVICK, CHRISTOPHER
PANELLI, JARMAR PARKER, NELSON
PENA, CHRISTINA PENDER, JAIME
PERERO, SERAFIN PEREZ, ISAAC PEREZ,
JUAN PINEDA-TORRES, JAMES PINNEY,
DARRYL PIPES, SANDY PLACENCIA,
WILLIAM PLUMMER, THOMAS POLERA,
JAMAR PORTER, BRIAN PRICE, RAGY
RADWAN, THERESA RAKEBRANDT,
FRANCISCO RAMIREZ, JOSE RAMOS,
STEVEN RAMOS, PASTOR RAMOS III,
JEROME RIVERA, JOSEPH RIZZO,
ANTONIO ROMAN, BRANDON ROMAN,
AMELVIN ROSARIO, ELVIS ROSARIO,
ALEXIS ROSARIO, VICTORIA ROSCOE,
BRIAN RUIZ, VERDELL RUSSELL, PAUL
SABIA, WEDNER SAINTELMY,
NICKOLAOS SAKALIS, SANTOS
SALAMAN, MILTON SALGADO, ELCID
SALJOOKI, HENRY SANCHEZ, WANDA
SANCHEZ, DANIELLE SANCHEZ,
LEONARDO SANTIAGO, RAPHAEL
SANTOS, RICHARD SAVAR, CARLON
SCHAFFER, MICHAEL SCHOETTLER,
VINCENZO SCOTTO DABUSCO, JOHN
SEIDITO, JASON SHAVER, ROBERT
SHERWOOD, JOHN SIAW, ANTONIO
SIERRA JR., ROBERT SIX, FRANK SMITH,
TRISTAN SMITH, RICHARD SNYDER,
NABIL SROUJI, JAMAL ST LOUIS, CRAIG
STANAWAY, DEREK STAPLES, OLIVER
STEVANOSKI, KEVIN STOKES,
CHRISTOPHER STOSKO, CLIFFORD
STREATER, LARENZ SUGGS, FRANK


                                   76
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 77 of 3128




SUGLIA, MOHAMMED SWARAY, JOSEPH
SWEAT, WAYNE TALLY, SONNY
TELEMAQUE, VINCENT TENPENNY,
WAYNE THOMAS, INDIA THOMAS,
RANDOLPH THOMPSON, RAMON
TIBURCIO, RYAN TOMASZEWICZ,
NELSON TORRES, PLACIDO TORRES-
RODRIGUEZ, PHILIP TOSTI, STEPHEN
TUCKER, JAVIER URREGO, MOSES
VALENTIN, PETER VAN NAME, VAHAN
VARJABEDIAN, GREGOREY VAZQUEZ,
JOHN VENDITTI, ANGEL VIDAL,
MAURICE WALKER, RICHARD WILKINS,
MARCO ZAMBONINO, OMAR ACOSTA,
TRAVIS ANDERSON, RAMON ANDRADE,
CARLOS APODACA, MAX ARCHIBEQUE,
DOMINIQUE ARCHULETA, BRENTON
BAKER, CHANCE BARNES, MATTHEW
BARRANCA, KYLIE CARAHER, CHRIS
CARRASCO NEW MEXICO, JOSHUA
CHAVEZ, JOHNATHON CORDOVA,
MICHAEL CORDOVA, MYKEL DORSEY,
CRAIG DURAN, VINCENT GARCIA, ABAD
GARCIA, MICHAEL GARCIA, ERIC
GARCIA, MARTIN GARCILAZO, CECILIO
GONZALES, GEORGE GRAHAM,
MILAGROS GUZMAN, KEEGAN HAYES,
LUCAS HERNANDEZ, ANASTASIA
IVERSON, MICHAEL JARAMILLO,
CHRISTOPHER JEANTETE, JOSHUA
LEDESMA, JOSE MARCO, ALEXANDRIA
MARKS, MICHAEL MARTINEZ, JOSE
MERCADO, MICHAEL NAVA, ESTEVAN
ORTEGA, JORGE PEREZ SALAZAR,
ANTONIO QUEZADA JR., MATEO RAEL,
CHRIS RAETZ, FRANCISCO SAIZ, HECTOR
SANTOS, DONOVAN SIKES, DOMENICA
SMITH, GREGORY STOVER, HEATHER
TELKAMP, KYLE THOMPSON, STEVEN
TOMASELLO, JEFFERY TSOSIE,
ANTHONY VALDEZ, KEVIN WATSON,
PETER ABEE, ANTHONY ABREU, RAMON
ABREU, IRVING ACEVEDO, KENNETH
ADSIT, EGHOSA AGHO, FAIZ AHMED,
NURADIN ALAMIN, JOSEPH ALBA,
ENRIQUE ALDABA, EDWARD ALDRIDGE,


                                   77
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 78 of 3128




STEVEN ALDRIDGE, CHE ALEXANDER,
LIONEL ALEXIS, KEVIN ALLEN, MYLES
ALLEYNE, ESTEVAN ALMONTE,
WILLIAM ALTHAUSEN, JOSE ALVAREZ,
FRANCISCO ALVAREZ, ANTONIO ALVES,
VICTOR ALVIA, JUAN AMAYA RIVIERA,
CRAIG ANDERSON, HENRY ANGELES,
DAVE ANGELICO, JOSEPH ANTOINE,
CHRIS ANTOINE JOSEPH, JUAN ARACENA
JR., JORGE ARAGONEZ, CHRISTOPHER
ARBER, FRANK ARDUINI, EDWIN ARIAS,
MICHAEL ARMSTRONG, VICTOR
ARROYO, DIXON ASENCIO,
KONSTANTINOS ATHERINIS, DARRYL
ATKINS, OBNERE AUGUSTIN, JEAN AVIN,
DAVID AYALA, KEVIN AYOUB, HOWARD
AYRES, JOHN BAGNARA, KENNETH
BAILEY, JESSICA BAKER-MACMILLEN,
JOANNA BALDWIN, JAMES BALKAM,
ANGUS BAPTISTE, STERSON BAPTISTE,
MITCHEL BARBER, JEFFERY BARNETT,
YENIFER BARRETO RIVAS, ISABELLE
BARTTER, WILLIAM BAUMAN, JASON
BEAUDROT, JAMES BEAVER, JOHN
BEDARD, LESTER BELL, STEFHON
BENJAMIN, KELLY BENNETT, SPENCER
BENNETT, WAYNE BENNETT, RANDY
BENNETT, SHAVONNA BENTLEY, FRANK
BERDINE III, CHRISTOPHER BERG,
BRANDON BIANCHI, DANA BIDWELL,
ORHAN BILER, AMANDA BILLIPS,
AMANDA BIRMINGHAM, KEVIN BLAIR,
JOSHUA BLAISE, COLLIN BLAKE, JOHN
BLOOM, LUIS BOLANOS, JOHN BOLL III,
ANTOINE BOLTON, JASON BOND, JORGE
BONILLA, ANTHONY BOOKER, MICHAEL
BOSSO, ROBERTO BOU, JENNIFER
BOUZIDANE, TERRENCE BOWEN, AKEEM
BOWEN, MICHAEL BOYD, ADAM BOYER,
KYLE BRACKETT, VINCE BRADLEY, ERIC
BRENNAN, RYAN BRILLIANT, ROBERT
BRISCOE, MALKEYAH BROADUS, ONICA
BROOKS, GEORGE BROOKS, SR., SHAUN
BROWN, ARDEN BROWN, RICHARD
BROWN, ABDUR BROWN, ANGELA
BRUNELLE, TAYRON BRYANT, AMBER


                                   78
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 79 of 3128




BUNDY, DONALD BURDEK, ANTHONY
BURGHEZI, JOE BURKE, ALEXANDER
BURROWS, DARIN BYNUM, EDWARDT
CABRAL, JONATHAN CABRERA, RAFAEL
CABRERA, FRANCISCO CACERES JR.,
ANGELO CAGGIANO, ELI CALERO,
BRANDEN CAMERON, VINCENZO
CAMPANELLA, ORVILLE CAMPBELL,
ROBENSON CANDIO, STEVE
CARABALLO, RICHARD CARBALLO,
JOSEPH CARLINO, JAMES CARRIG,
RICHARD CARROLL, ZACHARY COLLINS,
ONEJA CARUTH, JUAN CASANOVA,
ANTHONY CASSISI, MICHAEL CASTILLO,
IVAN CASTILLO, KEVIN CASTOIRE,
JOHANAN CASTRO, SAMUEL CEPHAS,
WALTER CHAMORRO, BARTHOLOMEW
CHARLES, SPENSER CHARLES, CRAIG
CHENAILLE, SYLWESTER CHOCHOREK,
HYON CHUNG, JOONY CINTO, MIGUEL
CIPRIAN, MARIO CLARKE, URIAH
CLARKE, JONATHAN CLAUDIO, JOSE
CLAUSELL, CHESTER COBB, COLE
COGHILL, ALEXANDER COLE, KASEY
COLEMAN, FRANK COLEMAN, YOVAN
COLLADO, ERIC COLLINS, RONALD
COLLISON, DAVID COLLVER, DANE
COLMENARES, ANDREW COLOMBOS,
JULIAN COLON, SEAN CONDE, DONALD
CONGDON, JAMES CONKLIN, JESSE
CONKLIN, LEONARD CORAZZA, LUIS
CORDERO, MARVIN CORDOVA, SAMUEL
CORNISH, JUAN CORTES, DAVID COSME,
JOEL COSS, ROBERT COUBALL, HAROLD
COUSAR, CHRISTINA COVINGTON, PHILIP
CRONIN, TARON CRUTE, JUAN CRUZ,
JOSE CRUZ, YECSON CRUZ REYES,
JOSEPH CUCCI, YONATAN CUEVAS,
ANTHONY CURCI, DAVID CUZA,
ROCKENSY DAUPHIN, RICKY DAVIES,
ANDRE DAVIS, MICHAEL DAVIS,
TAVAUN DAVIS, RICHARD DAWES,
MANUEL DE LA CRUZ III, MISAEL DE LA
PAZ SOLER, ALEX MARTINEZ, LUIGGI DE
LEON, SR., THOMAS DECEMBER, MARIA
DEGIORGIO, JONATHAN DEJESUS, SEAN


                                   79
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 80 of 3128




DELANEY, ANDREW DELCASTILLO,
ALEXANDER DELEON, JOSEPH
DELLARIPA III, MICHAEL DELO,
SIGMUND DERKOWSKI, JOHN DERUSCIO,
TIFFANY DESOUZA, RUBENS DESTRA,
DAMASO DIAZ, MICHAEL DICANIO,
MICHAEL DIEGELMAN, IVAYLO
DIMITROV, SCOTT DISBROW, KEVIN
DOBSON, ANTHONY DOMINGUEZ, MARK
DONHOLT, MARKCSON DORISMA,
MANOACH DORISME, JOHN
DOROZYNSKI, MARC-HENRY
DORSAINVIL, JONATHAN DOUGHERTY,
JESSE DOYLE, EVERTON DRAKES,
GREGORY DUNN, CORY DUQUETTE,
SCOTT E SAMSOE, JONATHAN EARL,
ANTOINE EASTON, PAUL EGGLESTON,
PAUL EHNLE, MOHAMED ELAGAMI,
MARQUISE ELLIS, PATRICK ELLIS,
DANIEL EMMA, ROBERT EMMANUEL-
LYNCH, WILBER ESPINAL, EDWIN
ESPINAL, RONNIE ESPINAL, ANDRIO
ESTRADA, DEVON ESTRADA, ADDISON
ESTRELLA, PATRICK EVEILLARD, CHRIS
FABRIZI, JAIME FANA APONTE, THOMAS
FANIZZI, JESSE FAXAS, RAMON
FERNANDEZ, BEYERLIZ FERNANDEZ,
LEONARDO FERNANDEZ, CHRISTIAN
FICO, JASON FIGUEIREDO, ULSON
FILOCSAINT, NICHOLAS FINN, MARK
FISCHER, ALONZO FITCH, EDMOND
FLANAGAN, CURTIS FLOYD,
JACQUELINE FONTAINE, ALBERTO
FONTANEZ, MARK FORAN, BRANDON
FOX, DARION FRANCIS, KEVIN FRANK,
HAKEEM FRANKLIN, KIARON FRAZIER,
MARLON FREDERICK, JORDAN
FRIEDLANDER, JUAN FUENTES-
MARTINEZ, MARQUISE FULMORE,
MONIQUE GADLEY, FRANK GALLO,
EDWARD GARCIA, ERIC GARCIA, MARK
GARCIA, RAYMOND GARCIA, KELVIN
GARCIA, BERNY GARCIA - ORTIZ, JAMES
GARROW, CARLEMILE GAY, MICHAEL
GEE, ELADIO GIL JR I, ANGEL GIL
MONTESINO, WAYNE GILL, ANTHONY


                                   80
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 81 of 3128




GILMORE, MICHAEL GLEDHILL, WAYNE
GLEESON, NICHOLAS GOBAN, CARLOS
GOMEZ, MICHAEL GONZALEZ, ANIBAL
GONZALEZ, TIMOTHY GOOD, RICHARD
GOODWIN, VINCENT GORDON, SHANDA
GORDON, KEVIN GORDON, JASON
GORDON, STEPHEN GORZYNSKI,
STEPHEN GRAHAM, RYAN GRATTON,
DARIK GREAVES, BRANDY GREEN, BRAD
GREEN, GEORGE GREEN, PIOTR
GREGORCZUK, GEUSEPPE GRIMALDI,
COLLIN GROGAN, MICHAEL GROOVER,
ANDREW GROSSO, BRYAN GROUNDS,
MARIO GUERRERO, BRANDON GUEST,
CHARLES GUILIANO, MOSELY GUITY,
BRETT GURNICK, ANTHONY GUTIERREZ,
JOSE GUZMAN, JERRY GUZMAN, MAZEN
HAMDAN, ANTOINE HANBERRY, FOREST
HANCOCK, BARBARA HARGROVE,
HOSEA HARRIS, RYAN HARRIS, JERRY
HARRISON, STEPHEN HARRY, KHALIF
HART, ANTHONY HARTWELL, ERIC
HAWLEY, AURELIA HAYDUKE, JACKSON
HAYES, JOSEPH HAYES, WILLIS
HAYSLETT, MOSHE HAZAN, MICHAEL
HELWIG, JOHN HEMMY, JONATHAN
HENDERSON, JASON HENNIG, YOMIBEL
HERERRA SILVESTRE, SHANE HERR,
KADDIER HERRANS PAGAB,
BARRINGTON HHUNTER, ARKEM HICKS,
ANTHONY HIDALGO, JONATHAN HILL,
SCOTT HINES, BRETT HOFFAY, DAVID
HOGAN, CRAIG HORZEMPA, MICHELLE
HOUGH, CHRISTOPHER HOWARD,
YASMINE HOWELL, DEXTER HOYTE,
BRENDAN HUBBARD, RONALD
HUBBELL, CALVIN HUDSON, JAMES
HUGHES, EUGENE HUGUENS, NICHOL
IACOBAZZI, SPENCER INGRAM, BRYAN
ISBELL, SHAWN JARRETT, WENDY JEAN-
LOUIS, REGINALD JENKINS, PAUL
JIMENEZ, JEREMY JOCK, RICHIE
JODHARAM, JOHN JOHNSON, EZRA
JOHNSON, DANNY JOHNSON, KEITH
JOHNSON II, SCOTT JOHNTRY, VINSON
JONES, EQUAN JONES, ALLAN JOSEPH,


                                   81
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 82 of 3128




KEHVYN JOSLYN, ROBERT JURBALA,
DANIEL KANT, SHYRENE KASHMERICK,
ROBERT KASSEL, ALFRED KELLEY,
CHRISTOPHER KELLY, EDWARD KELLY,
SEUNG KIM, JOHANCY KING, MICHAEL
KIRKLAND, BORIS KITAYCHIK, JACOB
KLEIN, KRISTINA KNAPP, KENNETH
KNICKERBOCKER, MATTHEW KNOWLES,
JAMES KONTAK, JOHN KOSINSKY,
DEREK KOSZUTA, JEREMY KRAUSS,
YURIY KUPETSKYY, TOMAS KUZMA,
BODWIN KWANDA, SHANE LAFOUNTAIN,
JAMIE LAFOUNTAIN, ADRIAN
LAMBERTY, JOHN LAMBROSE, ANTHONY
LAMONICA, JOSHUA LANA, LAMONT
LANHAM, MARDOCHEE LAVALAS,
KAREEM LAWRENCE, ALLAN LEANDRE,
JAMIE LEBLANC, KELVIN LEE, BRANDON
LEE, RANDOLPH LEIDL, TAMIKA
LEMONIOUS CAMPBELL, SHARIEFF
LENIHAN, KYLE LENT, WILLIAM
LEONICK, LOUIS LERCARA, QUAN-TEZ
LEWIS, MIKE LICATA, DANIEL LINDSEY,
JESUS LIRIANO GUZMAN, JAMEL LLOYD,
GAVIN LLOYD, JOSEPH LOGAN, JOHN
LOGAN, CARLOS LONDONO, FREDDIE
LOPEZ, JULIAN LOPEZ CORONEL,
ROBERT LORINI, LANCE LOSAPIO, KEVIN
LOVELL, SPENCHELLE LOWERY, LUIS
LOZANO PADIERNA, RICHARD LUBECKI,
VICTOR LUM, LUIS LUNA, ALEX LUNA-
GARCIA, VALENTIN LUZON, DALTON
LYONS, JOHN LYONS, SHAWN
MACLORRAIN, ANTHONY MAGGIO JR,
RAJENDRA MAHADEO, LISA MAHONEY,
KENNETH MAILHOT, LARRY MALLETT,
PATRICK MALONE, DEREK MALTESE,
LEONARD MANGINELLI, VINNY MANNO,
JUAN MANON, DOUGLAS MARCHELOS,
KEVIN MARQUEZ, CLAYTON MARTE,
FRANYERD MARTI, EDUARDO
MARTIINEZ, JASON MARTINEZ,
DIOMEDES MARTINEZ, SILVIO
MARTINEZ, JOSEPH MARTINS, ASHLEY
MARVIN, JONATHAN MATA, GERALDO
MATEO, MANUEL MATEO, TRISTAN


                                   82
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 83 of 3128




MATTHEWS, DAVID MAURER, EDGAR
MAYS, ALI MAZEH, ROBERT
MCCAFFREY, PENNY MCCARTHY, JOHN
MCCORMICK, DENISE MCDONALD,
GEORGE MCELROY, NICHOLAS
MCGOVERN, JOHN MCGRAW, RYAN
MCKINNEY, KENNETH MCNALLY,
CHARLENE MEHNERT, PAUL MEIKLE,
GABRIEL MEJIAS, DAMIAN MELENDEZ,
MARTIN MENA, HECTOR MENDEZ,
RAFAEL MENDEZ, STARLIN MENDEZ
NUNEZ, CHRISTIAN MERCADO, ROBERTO
MERINO, MARC MERRILL, MARAT MESH,
WILLIAM MEYER, KYLE MICKENS,
RICHARD MIKULSKI, MATTHEW MILDE,
JOHN MILLER, TIM MILLER, STANLEY
MILLER, MARK MINASI, JOSUE MINAYA,
JOHN MINER, JAMES MINER, JEROME
MINER II, CARL MIOSI, CHARLES MISSOH,
MIKE MOBUS, FRANK MONSON,
CRISTIAN MONTANO, ANDREW
MONTEVERDE, DU-WAYNE MOODY,
SCOTT MOON, THOMAS MORABITO,
KENNETH MORAN, EMANUEL MORENO,
MARCUS MORGAN, ROHON MORGAN,
NAKITA MORGAN, JOSEPH MORRIS,
CHARLES MOSS, JAMES MUELLER, AKIEL
MULGRAVE, ALEXANDRIA MURO,
GEORGE MURPHY, STEVEN MYRICK,
JOSEPH MYRTIL, VLADIMIR NEBRAT,
MARTIN NOBLES, WILLIAM NORMAN,
LUIS NUNEZ, OKECHUKWU NWOFOR,
JOHNNY OCASIO, JEFFRI OLIVO,
GARFIELD OLLIVER, DANIEL OLMO,
JOHN OLSEN, JULIO ONOFRE, VADYM
ONYSHCHENKO, JEAN ORISMA, JELEAL
OSBOURNE, JOHN OSTUNE, DALE
OUTTRIM, GEORGE PACHECO, JASON
CHISHOLM, PEDRO PADOVANI, JORGE
PAEZ, ERNY PAGAN, KADDIER PAGAN,
JAMES PAIGO JR., RICKY PALMER, CRAIG
PANZICA, ALEXANDER PAREDES, ALBAN
PARLLAKU, CHERYL PARTON, ANGEL
PASCASIO, CHRISTOPHER PAULINO,
JERITSON PAULINO, CARLOS PEDROSA,
JOHNNY PEGUERO, KURT PELTIER,


                                   83
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 84 of 3128




EDUARD PENA SANTANA, JUSTIN
PERALTA, MARKUS PEREZ, JOSE PEREZ,
FERDINAND PEREZ, FABIAN PERLAZA
BALGAZAR, VINCENT PERRI ,
CHRISTOPHER PETERSON, DMITRI
PETREANU, KYLE PETTIT, JOSH
PICKREIGN, WILLIAM PIECHOCKI, FRED
PIPERATA, SHAWN PITTS, PAUL PIZZO,
PHILIP PLUNKETT, FRANKLIN POLANCO,
FELIX POLANCO, SR., NOELFI POLANCO
BONILLA, SR., DANIEL POREDA, JAMARL
POULSON, CHRISTOPHER POWELL,
BRIAN POWERS, BARRY POWERS,
ANTHONY PRENTICE, DENNIS PROFITT,
WESLEY PUCCI, ROBERT PUTMAN, DIRK
RADNAI, KEVIN RAGNAUTH, ARIEL
RAMIREZ, THOMAS STARRO, RAFAEL
RAMOS, RICARDO RAMOS, ROBERTO
RAMOS, JUSTIN RANDT, FRANKLIN
RAUCH, COREY RAVENEL, FAYYAD
REDA, RAMEL REED, ZACHARY REESE,
MARK REEVES, CRYSTAL REID, KEVIN
REITZ, RAYMOND RENNIE, THOMAS
REYNOLDS, AMAURY REYNOSO, PIERRE
RICHARD, THOMAS RILEY, MARIO
RINCON, KEVIN RIOS, SANDRA RIOS,
DAVID SCHIFF, ALBERTO RIVERA,
CARLOS RIVERA, JOSE RIVERAS,
RONALD RIZZO, PAUL ROACH, ALBERT
ROBERTS, JOSEPH ROBERTSON, KEITH
ROBINSON, ANDRE ROBLES, RICHARD
RODRIGUEZ, YADELIS RODRIGUEZ,
MICHAEL RODRIGUEZ, JOEL RODRIGUEZ,
JOSE RODRIGUEZ, ANWAR RODRIGUEZ,
PAUL RODRIGUEZ, STEVENS RODRIGUEZ
IV, DANIEL ROGERS, JOE ROMAN,
JONATHAN ROSADO FELICIANO, JOHN
ROSARIO, TYLER ROSLER, MICHAEL
ROYSTER, JARRETT ROYSTER, BRIAN
RUDOW, MIGUEL RUEDA, BRANDON
RUGGIERO, MICHAEL RUSCIANO,
FRANCISCO SALINAS CAZARES, CODY
SANFORD, SALVATORE SANGENITI, ROB
SANTA INES, JOSE SANTANA, RYAN
SANTELLI, JEANCARLO SANTI, MARTIN
SANTIAGO, J SANTIAGOCASTILLO,


                                   84
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 85 of 3128




ROBERT SANTINI, HECTOR SARAVIA,
RONALD SARAVIA, MAYA SAUBERMAN,
ANTHONY SAUNDERS, SCOTT SAVAGE,
RYAN SCARISBRICK, WILLIAM SCHARP,
BRYAN SCHEFFERINE, ANTHONY
SCHMIDT, BRIAN SEMLER, SCOTT
SENDER, JONATHAN SESSA, JAMES
SHARKEY, BRANDON SHAVER,
RASHAWN SHAW, AVERY SHELMIDINE,
TONY SHELTON, JOSEPH SHEPPARD,
JULIO SHICAY, DAKOTA SHULTIS,
MICHAEL SICILIANO, ANDRES SILVA,
CHARLES SIMMONS, GAOUSSOU
SISSOKO, COREY SMITH, CEDAIN SMITH,
ADRIENE SMITH, CODY SMITH, RONALD
SNELL, NICOLE SNYDER, JAMES SNYDER,
STEVEN SODERSTROM, ALEJANDRO
SOLIS, DIAMONDS SOMMERVILLE,
JOSHUA SOTO, PRINCELLI SOTO,
PRINCELLI SOTO, TAMMY SPARLING,
JABNEEL SPRINGER, JOHN STAFFORD,
ROBERT STAHL, DANIEL STANKOVSKIY,
NICOLAS STASSI, JAMES STAUDLE,
EMMANUEL STEWART, CARLOS
STEWART, ADAN SUERO, DERECK
SUKHU, SYMON SUMNER, JULIO SURIEL,
SHAWN SWEET, JOHN SWIFT, BEGZOD
TAKHIRDJANOV, NORMAN TALMADGE,
BURAK TAVACIOGLU, RAFAEL
TAVERAS, ROSS TAYLOR, PATRICK
TAYLOR, ROBERT TAYLOR, CHRIS
TAYLOR, JOEL TAYLOR, GEORGE
TAYLOR, STEVEN TAYLOR, CHRISTIAN
TEJADA, JIMMYJIMMY TEJADA, DELROY
THOMAS, JOHNATHAN THOMPSON,
JOSEPH THOMPSON, JAMES THORNTON,
AZELL THRASHER, JEROME THRASHER,
RONALD TINNEY, DARRICK TISDALE,
GRAYDON TOKKE, ANDREW TOLPA,
MARK TOMPKINS, JOHN TRAPP,
RACHELLE TREAT, HALIEGH TRESCOTT-
HARRINGTON, JAVIER TROCHE, PATRICK
TULLIS, SERHIY TYSHYK, MICHAEL
ULES, DARIEL URENA, EMANUEL
VARGAS, MICHAEL VARGAS, HECTOR
VARGAS, JAVON VASSEL, EDWIN VEGA


                                   85
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 86 of 3128




JR., JOSEPH VERNEY, MICHAEL VETRINO,
JEFFREY VORHOLZER, BRANDON
WADDEL, LANCE WAITHE, NORRIS
WALKER, DERRON WALTERS, DALTON
WALTERS, JAMES WARD, EDWARD
WARD, EDWARD WARNER, LOUIS
WASHINGTON, JARET WASHINGTON,
STEVEN WEATHERLY, ASHLEY
WEATHERWALKS, SAMUEL WEAVER,
BRYAN WEBER, KERSHMA WEBSTER,
BRANDON WEBSTER, JOHN WEIDNER,
COLLEEN WEST, FRANCIS WHEELER,
ALEXANDER ESPINAL CHECO,
MARIANNE WOODBREY, JUSTIN
WORRELL, GEORGE YANCEY, WILLIAM
YETTO, MUSSIE ABRAHA, AALIYAH
ADAMS, BRIAN AGUILAR, TRAVIS
AGURS, LAURA ANDERSON, ALAN
ANDERSON, PHILIP ANNAS, NICHOLAS
ARCHIBLE, BRINT ARGALL, CYRELLE
ARMSTRONG, CORNELL ARTIS, BETH
ASH, NEAMIA BAKER, BENJAMIN
BALLARD, LEONARD BARBER III, LARRY
BARNES, BETHANY BARNES, OLIVE
BARRETT, JOEY BARTON, KARAN BATES,
LARRY BEARDIN, JAMES BECK, ANDREW
BEEMAN, ERIC BELK, GABRIELLE
BENITEZ, NICHOLAS BENNETT, JENNY
BENNETT, HICHAM BERRAHO, JERRY
BETHEA, DENISE BISHOP, LISA BISSETT -
LEVINER, CHRISTIAN BLACKMIRE, JUAN
BLOOMFIELD, TERRY BLOUNT, ERIC
BOND, JONATHAN BOONE, MARQUIS
BOSTON, DUSTIN BOWERS, RONYEL
BOYD, GERALD BOZARTH, RICHARD
BRADY, MARKESHIA BRANCH, DAKOTA
BREWER, MELANEY BRIDGES, JANELLE
BRIGHT, DAVID BRIL, DON BROOKS,
MAYA BROOKS, DONALD BROWN,
ANTHONY BROWN, VASHTI BROWN,
TRAVIS BROWN, YVETTE BROWN,
NICOLE BRYANT, ANTHONY BRYANT,
RICHARD BUFFALO, TEIRA BULLOCK,
CATHY BUNTIC, ROBERT BURNETT,
MARVEL BURTON, JEFFREY BYRD,
ROBERT CAGGIANO, ALICIA CAGLE,


                                   86
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 87 of 3128




DAKOTA CAGLE, JUSTIN CALDWELL,
MARC CAMPBELL, MATTHEW
CARPENTER, TERRENCE CARR, DARREN
CARROLL, EDWARD CARUGNO, TERRY
CARVER, AZAEL CASTANEDA, BRIAN
CENCERE, CHRISTOPHER CHAMBERLAIN
, DONTERIO CHERRY, PATRICK CHIA,
GIOVONNI CHRISTIAN, NATHAN CLARK,
MCDAYNE CLAY, NOAH CLAYTON,
CHRISTOPHER CLEAVER, THOMAS
COCHRAN, DONALD COFIELD, MARIA
COFIELD, JAMAAL COLEMAN, MITICA
COLEMAN, EMORY COLEMAN,
CHRISTOPHER COLEY, ROBERT
CONSELYEA, LAWANDA COOPER,
SHANNISE CORBETT, TYRONE
CORPENING, DANIEL COSTNER, ALBERT
CRADDOCK, JANEE CRAIG, BRENT
CROCKETT, FREDERICK CROOMS, FRED
CROWELL, JAMES CRUSE II, KEJUAN
CUMMINGS, NIEVES CUNNINGHAM,
BILLY CURRIE, ANTOINE DAVIS, ERIC
MCDUFFIFE, GEORGE DEON, CONNOR
DILL, DERRICK DOBBINS, BRADLEY
DOLCE, DALLAS DOMAGALA, TYRONE
DOUGLAS, ANTHONY DRAKE, CLAY
DRIESSEN, LATASHA DUBLIN,
CHARLTON EASON, ERICA EASTERLING,
RICHARD EATON, JAMIE EBERT, JAMES
EDMOND III, KENNETH ELKIE, CHRISTY
ELLINGER, RITA ELLIOTT, JIMMY ELLIS,
LANGSTON FAIR, NICK FARMER, ALICIA
FARRIOR, MARTY FARTHING, LUIS
FERRARA, ERNEST FIELDS, ANGELA
FORD, BLAKE FRENETTE, JOHNNY
FULLER, RODNEY GAITHER, PAUL
GAITHER, ALEXANDER GALLUZZO,
THEORPHEUS GAMBLE, KENNETH
GAMBOA, ANTHONY GARRETT, AARON
GARROW, LLOYD GATLING, MATTHEW
GATTIS, MITCHELL GAULDEN, SHAKEDA
GIBBS, BRIAN GILLENTINE, SHARON
GILLESPIE, JOHN GILLIAM, PETER
GLENN, WENDELL GLOVER, NATHANIEL
GLOVER, VICKIE GODLEY , JEFFREY
GODWIN, RACHAEL GRAHAM, ERICK


                                   87
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 88 of 3128




GRANT, JAMES GRAVES, CHARLES
GREEN, KRISTFER GREGORY, RAKEEM
GRIMES, JOHN GRISSOM III, KEITH
GUARINO, BRYON GUILFORD, DAPHNE
GUILLORY, TRAVARUS GUNTER,
DONALD HADDOCK, ROBERT HAGER,
FRANZ HAIDEGGER, JEFFERY HALL,
KAYLA HALL, KAREN HALL, HAROLD
HALL, CHRISTOPHER HALL, XAVIER
HAMBRICK, DARIO HAMILTON, JESSICA
HARDIN, RICKY HARDIN, BOBBY HARE,
WILLIAM HARRINGTON, KIA HARRIS,
DEQUANN HARRIS, JASON HARRIS,
RAYMOND HARRISON, TYRONE
HAWKINS, CUBERATE HAWKINS,
MITCHELL HAYDEN, JOAN HAYES,
MICHAEL HEATH, JAMES HENDERSON
JR., ANDREW HENLEY, ALDRIN
HERNANDEZ, GREGORY HERRING,
DAVID HILDEBRANDT, DAMETRI HILL,
JAMES HINES, SARAH HINES, ANTHONY
HOGAN, RICHARD HOLLAR, DARLENE
HOLLEY, JERMAINE HOLLEY, DENISE
HOLLINGSWORTH, TOMMY
HOLLINGSWORTH, PATRICK HOLLIS,
CHARLES HOLLOWAY, SHAWN HOODYE,
MALIK HORTON, AMI HOUSE, KEDRICK
HOUSTON, RON HOWARD, DWAYNE
HYMAN, CARLOS IRVING, STEVEN
JACKSON, CRYSTAL JACKSON
FORMERLY HICKMAN , RICHARD JAMES,
JOEL JARVIS, AMANDA JENKINS, KEVIN
JENNINGS, DUSTIN JETT, JAMES
JOHNSON, ANDERA JOHNSON, KISZY
JOHNSON, RICKY JOHNSON, LUCIUS
JOHNSON, CHRISTOPHER JOHNSON,
CAMERON JOHNSON, KAMERON
JOHNSON, KEVIN JONES, LATESHA
JONES, JERMEY JONES, TRACY JOSEPH,
DICKIE KALLAM, MELISSA KELLY,
JASON KINCAID, DANIELLE KING,
RICHARD KING, JOSHUA KIRK, JARRED
KNIGHT, THOMAS KNOTT, GABRIEL
KUEL, JUSTIN LACKEY, ERIC LARUE,
JARRIOUS LASSITER III, DERRICK
LAWRENCE, SANDRA LAXTON, JERRY


                                   88
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 89 of 3128




LEATHERS, JAMES LEDFORD, JUSTIN
LEE, SEAN LEE, BONITA LEWIS, JERRY
LEWIS, DAVID LEWIS, JAMES LEWIS JR.,
DARRELL LILES, STEVE LIZAK,
TALMADGE LOCKE, DARRIS LONG,
SARAH LORIA, MICHAEL LOUGHLIN,
INNOCENT LOUKOUTOU, CHARLES
LOWE, MICHAEL LOWE, CYNTHIA
LOWERY, ANUAR LUNA TAVERA, JOSEPH
LUNNERMAN, RISHARDA LYLES, IAN
MACK, RYAN MAKI, JAMES MALLOY,
ANDRES MANGUAL, HERMAN MANLEY,
FERRELL MARCUS, JOHN MARTIN, KARI
MARTIN, DONNA MARTIN, JUANCARLOS
MARTINEZ, MELVIN MAYO, BRANDON
MAYS, MOMODOU MBYE, JAWON
MCBRYDE, BRONSON MCCAIN, TABITHA
MCCARTHY, EDDIE MCCOY, JOSHUA
MCGREW, GLENNIS MCILWAIN, PATRICK
MCKEITHAN, GARRY MCMILLAN,
CHERYL MEASMER, DANNY MEDLIN,
BERNARD MENSAH, BRANDON
METCALF, KEITH MILLER, ANTONIO
MILLER, MANEKIA MILLER, DARIUS
MILLER, JOSEPH MILLER, JACOB
MINGUS, BRIAN MITCHELL, GARY
MITCHELL, ANTONIO MITCHELL, AHMED
MOHAMED, CANDACE MONTGOMERY,
RAMIEL MOORE, DARECE MOORE,
MALCOLM MOORE, SHIRLEY MOREAU,
GEORGE MORGAN, CARLOS MORRIS,
KENYA MORRIS, ROBERT MORRIS,
KEISHA MURPHY, JOSEPH MURPHY,
GARY MURPHY, DONALD MURRY,
ANTHONY MUSCARELLA, MATTHEW
NAGLE, KENNETH NELSON, TERRY
NICHOLS, KEENAN NORMAN, BENJAMIN
OAKLEY, JIMMY OATES, QUAOWU OHIN,
RAHSAAN ONEAL, ORLANDO ORTEGA,
DARLEEN OUTLAW, BARON OWENS,
JONATHAN BOOKER, JOSE PADILLA,
RISHAUN PAGE, MICHAEL PARKER,
BRITTANY PARSONS, SHAWN PATILLO,
CHARLES PATTESON, NATHAN PEGRAM,
SCOTT PEMBERTON, ALONA PEPPER,
LUCERO PERDOMO, RANDIE PERRY,


                                   89
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 90 of 3128




MAJOR PERRY, REGINALD PIPER,
CHRISTOPHER PIPPA, WILLIAM PITTMAN,
CHARISMA PITTMAN, STEVEN
CHISHOLM, RUSSELL POPPE, MALIK
POWELL, VIRGINIA POWELL, LAKISHA
POWELL, DAVID POWERS, JEFFERY
PRICHARD, SR, SCOTT PRIME, KEVIN
PRINCE, MATTHEW PRUITT, CARL
PURVIS, JODI PURVIS, ANTHONY
QUATTLEBAUM, DOUGLAS RAIFORD,
CHARLES RAINEY, NATHAN RAINS,
PAMELA STOREY, ANTHONY REAGAN,
TERRY REAVES, ADAM REEBEL,
DERRICK REED, ROBERT REID, WALTER
REID, MICHAEL REIVES, PATRICK
RETORT, ANTHONY RHODES, RONALD
RICKS, PHILLIP RIGGS, JAMES
ROBERSON, LAJAMEIA ROBERSON,
JENNIFER ROBERTS, GLENWOOD
ROBINSON, RUBEN ROBLES, DELRIO
ROGERS-DAVIS, DAVID ROMAN,
ANTONIO ROUNDTREE, AARON RUNION,
ISRAEL SALAZAR, WALTER SALISBURY
II, ANDREZ SAMUELS, NELSON SANCHEZ,
PARIS SAUNDERS, TANYA SAVAGE,
JACKIE SAYE, STEVEN SCARLETT, KEN
SCHLIEWE, BRENT SCOTT, JYMELL
SCOTT, PAVEL SEDLAK, SHAUNDA
SHANE, ALBERTA SHARPE, RONALD
SHAUB, DAVID SIGLER, RICHARD
SINCLAIR, DONALD SISK, MICHEAL
SISTARE, BRAXTON SMITH, THOMAS
SMITH, WILLIS SMITH, BRONWYN SMITH,
QUINTON SMITH, BREWSTER SMITH,
JALISA SMITH, ANTOINIO SMITH, JAN
SNIPES, HAROLD SOCKRITER JR.,
FRANKLIN SOTO, GREGORY SPENCER JR,
FREDERICK STANFORD, JOSHUA
STEPHENS, GREGORY STOMIEROSKY,
GERALD STUBBS, MONICA SULLINS,
RICHARD SUMMERS, GREG SVEDEK,
PERRY TANKARD, CHRISTINE TARLTON,
MICHAEL TAYLOR, JEFFREY TAYLOR,
WILLIAM TAYLOR, CHARLES THOMAS,
JERMAINE THOMPSON, BENJAMIN
THOMPSON, JOSEPH THORLEY, PARKER


                                   90
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 91 of 3128




TIGHE, STEPHEN TILLMAN, MICHAEL
TROLLINGER, TRACY TRUETT, CHRIS
TURNER, CHONSETTA TYLER, CARLA
TYNER, KENDRICK TYSON, RUDOLF
ULRICH III, STEVEN VANOVER, EDWIN
VIVAS, RONALD WALDROUP, MICHAEL
WALKER, SANDOR WALKUP, ANITA
WALLACE, TARESA WALTON, DANIEL
WARD, MICHAEL WEATHERSBE, KARL
WELLS, SEAN WHEELER, ANTONIO
WORRELLS, CHAD WRIGHT, DONQUEL
YANCY, DAVID BAUMGART, RONALD
BODINE, PEGGI BORK, FLOYD CMELA,
CHRISTIAN CREECH, ROBERT DICKSON,
AARON DYE, AMANDA EBERLY,
QUENNON ECHOLS, MARK ENDERS,
TONY ERICKSON, ALEXANDER FISCHER,
JESSICA GORES, ROGER GULLICKSON,
ABDIKARIM HASSAN, BENJAMIN HILSEN,
ALEXANDER KAUFFMAN, STEVEN
KNUDSON, NICK KRAFT, JERRY LANTZ,
BRUCE LEISS, RANDELL MARTIN,
JEFFREY MATTERN, AARON MCCANN,
MAMBU MOMO, JUSTIN MONDRY, GREG
MOSER, NATHANIEL MOSES, MATTHEW
QUIGGLE, NATHANIAL SEIFERT, KYLE
SHELDREW, TANYA SILVER, JAMEY
SUMMERS, SHANE TAHRAN, JASON
THACKER, CHRISTOPHER THIELKE, TOM
TREHUS, JULIE ULBERG, MARLON
WALTERS, DALE WEILER, DARLENE
SIGNORACCI, MAHMOUD ABUEID, JOHN
ADAMS, SHELIA ADKINS, AKILEY
AGAMBILLA, SAMEH AHMAD, THOMAS
ALLEN, WENDELL ALLEN JR., MEGHAN
ALLWINE, JEFFREY ALLY, BILL
ANDERSON, SELLICK ANDERSON, BOB
ANDERSON, NICOLAS APPELHANS,
JIMMY ARAGON, JUSTIN ARGO, PHILIP
AYERS, TIMOTHY BAKER, JASON BAKER,
RICKY BALL, CHRISTOPHER BARGAINER,
TALMADGE BARKER, ERIC BAUMGART,
PAUL BAUMHAUER, TIMOTHY BEAM,
CARLOS BEASLEY, MARSHALL BENSON,
DIONDRE BERRY, JEFF BICKNELL,
ANTHONY BICKNELL, DANIEL BITNER,


                                   91
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 92 of 3128




TAMMY BLACK, JOSEPH BLAEDE,
CERANO BLASINGAME, MATTHEW
BLAUGRUND, RANDIN BOLIN, SCOTT
BOOSO, ROBERT BOURNE, JOHN
BOWMAN, ROBERT BOWMAN, ANGELA
BOWMAN, SHAWN BOYD, BRETT
BRADEN, BRUCE BRENT, JUSTIN BROWN,
FREDERICK BROWN, AMYERE BROWN,
JOHN BRUNNER, JORDAN BURNETT,
ROBERT CAIRO, BRENDA CANADY,
JACOB CAREY, MATTHEW CHAMBERS,
ROBERT CHAPLINE, ANTHONY CHINN,
ANDREW CHRISMAN, JARVIS CHRISTIAN,
KAI CLARK, KIM CLARKE, DUSTIN
CLAYPOOL, DAVID CLEMONS, ROBIN
CLINE, CHRISTOPHER CLOUD, JEFFERY
COBB, ANTOINE COLLINS, SR., PIERRE
CONLEY, MEGAN CONLEY, KEVIN CONTI,
BEVERLY COOK, DANIEL COOPER,
BRUCE CORDY, JARED COX, ROBERT
CRISWELL, MICHAEL CROCKETT,
STEVEN CROSS, JOSHUA CULBERTSON,
DANIEL CUNNINGHAM, MICHAEL
CUNNINGHAM, JOSHUA CUSICK,
WALTER CZARNECKI, CRAIG DANIELS,
DEANDRE DANIELS, SAYVON DANIELS,
DAVID DARIO, ADAM DAVIS, KATRINA
DAVIS, MITCHELL DEATON, KEVIN
DEMARCO, CY JETER, VICTORIA DEWS,
BRANDON LEWIS, JOSHUA DOBBINS,
TIMBERLY DOLAN, PAUL DOTSON, DION
DRAKEFORD, CHANA DRAYTON, JOHN
DUNNING, BRANDON DURIO, TAUREAN
EARLE, JUDY EILAND-STAPLETON,
BETHRAND EKEANYANWU, AHMED EL
HAMSS, RACHEL ELLISON, LESLIE
ELSTON, DAVID EMERSON, RAYMOND
ENGRAM, PETER FANCHER, DAKOTA
FANNIN, TARIQ FARES, ERIC FARMER,
FAYYAD FAROONEA, ANDRE FAVORS,
CHRIS FAY, CHAD FERGUSON, MATTHEW
FIELDING, KEVIN FINFROCK, MICHAEL
FLETCHER, XAVIER FORD, KENNETH
FORTUNATO, RICKIE FOSTER, THOMAS
FREPPON, JUSTIN FRYER, DUSTIN FULTZ,
PIETRO GANDRA, GREGORY GARLAND,


                                   92
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 93 of 3128




MARY GARLICK, NATAIYA GARNER, TIM
GASTON, KYLE GIBBS, BARETTA
GILLIAM, SAMANTHA GILLISON,
JENNIFER GLAUB, KYLE GLOMB,
DARNELL GLOVER, CEDRIC GOODE,
TYLER GORDON, MICHAEL GREEN JR.,
PAUL GREENE, JASON GRIFFIN,
RAYMOND GRIFFIN, ULESS GRIMES,
JORDON HAFNER, SETH HAHLEN,
ALONZO HAIRSTON, ANTHONY HALL-
JONES, ZACKERY HAMERICK, MICHAEL
HAMONS, AARON HANES, MICHAEL
HARPER, BRITTNEY HARRISON, NATHAN
HARTLEY, BATRUDIN HASSAN, THOMAS
HASTY, SHAHIDAH HAWKINS, STEVEN
HAYDEN JR., ANDRE HAYGOOD, LISA
HAZELWOOD, MATTHEW HEDGES, RICK
HENDRICKS, FRANK HENRY, LEROY
HICKS, CHRIS HILL, RICHARD
HINERMAN, AYRAMIS HOBBS, ANDREW
HOFFMAN, CEDRIC HOLLOWAY,
MICHAEL HOLLOWNICZKY, MALISSA
HOPKINS, JARROD HORTON, CHAD
HOUGLAND, SHAWN HOUPT, CORNELL
HOWARD, NATHAN HOWARD, MATTHEW
HOWES, DEANNA HOWES, THOMAS
HUGHES, BRANDON HUTCHINSON,
GREGORY HUTH, LOUISE INGRAM,
TYLER ISH, TROY JANASHAK, JEFFERY
JARVIS, BRENDAN JEFFERSON, JOSHUA
JENKINS, SCOTT JENNINGS, JEREMIAH
JOHNSON, LEE JOHNSON, DARYL
JOHNSON, CHRISTOPHER JOHNSON,
ADRIAN JOHNSON, KYLE JOHNSON,
TERRENCE JOHNSON, SHAWN JOHNSON,
BRANDON JONES, DEONANDRE JONES,
TRAVONTE JUNIUS, PATRICK JURASIN,
KEITH KAGE, MICHAEL KEATING, CHAZ
KEELING, JAMAL KELLER, EVERETT
KERNS, JOE KERSEY, JOVON
KIMBROUGH, KENNIC KIRK, JASON
KISTLER, ANAROSE KNIGHT, STEVEN
KNIGHT, JOSEPH KNIPP, CARL KOGER,
ROBERTA KRISE, MICHAEL KRONICK,
KURTIS KRUEGER, MATSON LANCE,
JAMES LANE, JONATHAN LAW, TIMOTHY


                                   93
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 94 of 3128




LAWSON, JUSTIN LAY, TERESA LAYNE,
ERIC LEE, MIZELL LEE, SHALLAH LENTZ,
RICHARD LEONTI, RICHARD LEPORE,
KALEB LEWIS, BARRY LIEGHLEY,
STEVEN LINTON, BRIAN LONG, DENIS
LOPEZ, DARRELL LORE, JASON LUFF,
TIMOTHY LUGINBUHL, VINCENT
GEORGE, KENNEDY MADISON, MATT
MADUNICKY, DANIEL MAHONEY,
JEREMY MALANEY, CHRISTOPHER
MARTIN, NICHOLAS MARTINI, KAREN
MASLUK, THOMAS MASSARI, CLINTON
MASTERS, DAVIN MCALPINE,
NATHANIEL MCCALLEY, PHIL MCCARTY,
JAMES MCCONKEY, KATLYNN
MCGAFFICK, JOHNNIE MCKINNEY,
DENNIS MCMILLEN, MICHAEL MESSIAH,
JERRY MILEY, AUGUSTUS MILLER,
HOLLEY MILLER, DERRICK MILLER,
KAYLA MILLER, MAXINE MILNER, DANA
MITCHELL, TYLER MITCHELL, LISA
MOORE, ROBERT MOORE, COLIN MORAN,
CARMELLA MORGAN, LOREN MORGAN,
DUSTIN MORRIS, DOUGLAS MUGLER,
TROY MULHALL, GAYLORD MURRAY,
EDWARD MURRAY, NIKOLAS NATALI,
BARBIE NEFF, JAXON NEWSOME, JASON
NICKLE, DANIEL NIEZGODA, DAN
OBLINGER, MICHAEL OFFORD,
MARIANNE OHARA, CHRISTIN ONEIL,
JASON OWEN, DANIEL OWENS, DASHAN
PACE, MICHAEL PACHOLEC, TIMOTHY
PARKER, JUSTIN PARKER, MARCIA
PARSONS, ANTONIO PEEPLES, RUBEN
PEREZ, LESLIE PERRY-FYFFE, AMBER
PETERSON, TRAVIS PHILLIPS, JEFFREY
PHILLIPS, JOEL PICIACCHIO, ROBERT
PINKERMAN, SR., KEVIN POINDEXTER,
SABRINA PORTER, DARAIN PORTER-
RACE II, JOEL PREISLER, JAMES DANIELS,
NAVARRO RAFAELL EVANS, SARAH
RAMON, JUSTINE RAMSEY, DAVID
REPKO II, CLAY RHINEHART, SR., DAVID
RHOADES, DARIN RINICELLA, ANNELISE
RISER, SARAH ROBINSON, TRAVUS
ROLLAND, JOSHUA ROLLER, ROMAN


                                   94
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 95 of 3128




ROMAN C GIVENS, LAWRENCE ROSE,
CHRIS SACKRIDER, DONALD SAGER,
JAMES SAGSTETTER, GARY SANDLER,
JUSTIN SCHAEFFER, DARLENE SCHENCK,
ROBERT SCHIEBER, JESSICA SCHINDLER,
PETER SCHUTZ, CHEREEN SCOTT,
BRANDON SCOTT, MICHAEL SCOTT,
PAMLETTE SCOTT, ROSE SHALOSKY,
JARED SHANK, WALID SHEHADEH, ELISA
SHUFELT, TROY SINGER, VITO
SINISGALLI, BRAD SMITH, RYAN SMITH,
KENNETH SMITH, KAREN SMITH,
STEPHEN SMITH, ADAM SMITH, JA0COB
SMITH, MARLEY SMOCK, SCOTT
SNYDER, TONIA SORRELL, TERRENCE
SPENCER, RYAN SPENCER, RICHARD
SPICER, ANTHONY SPIRITO, JOSEPH
SPITZER, JASON SPRINGER, DANIEL
STAIMPEL, DANIEL STAMM, JUSTIN
STARKEY, TIMOTHY STEPHENS, BRIAN
STERLING, JAMES STEVENS, KRYSTAL
STEVENS, THOMAS STUPI, DANIELLE
SUTTON, SCOTT SWISSHELM, DENES
SZABO, CYNTHIA TAYLOR, JOSEPH
THEIBERT, ROBERT THEIL, DANNY
THOMAS, JOSHUA THOMAS, MELISSA
THOMAS-RECKER, GREGORY
THOMPSON, MARTIN THOMPSON,
ANTHONY TIPPETT, PATRICK
TOURNOUX, ROBERT TRENT, RICHARD
TURNER, GARY TURNER, CARL UHER,
DARIA VENABLE, ROBERT VOKAC,
DUANE WAGNER, WHIT WALKER, MARIO
WARDELL, NATHANIEL WASHINGTON,
THEODORE WATKINS, JANAY WEBB,
MATTHEW WEISSENBERGER, THOMAS
WENZLICK, JESSE WESOLOWSKI,
JEREMY WHEELER, JEROMY WHITE,
SARENDA WHITTED, PATRICK WILBURN,
DEMITRIUS WILLIAMS, MARTEZ
WILLIAMS, CHESTER WILSON, DALE
WILSON, NICHOLAS WOJCIK, LANDER
WOODS, REBECCA WORKMAN,
JONATHAN WORTHINGTON, JORDAN
WRIGHT, THOMAS YOHO, ANTHONY
YOUNG, ALEESHA ADKINS, BRIAN


                                   95
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 96 of 3128




ALFORD, ERIK ALLEN, CANDICE
ALMEIDA, DUSTIN AYERS, JARET BAKER,
MARCELO BALDEON, DIMARCO BARNES,
JWAN BARNHARDT, GARY BECKETT,
STEPHEN BILLINGSLEA, MICHAEL BLAIR,
PHILLIP BRUCE, COURTNEY BUCHANAN,
JOHN BURNS II, DANI BUTCHER, LUCAS
CABLE, BASIL CAMPBELL, BENJAMIN
CANBY, RICHARD CARR, TANARA
CHERRY, WILLIAM CHEUVRONT, RANE
CHRISTENSEN PETERSON, CLIFTON
COCHRAN, DONALD COFFMAN, DONALD
COFFMAN, JONATHAN COOPER,
CLAYTON COPPIN, TREVOR COX,
JAVARIS DAVIS, DANA DELONEY,
CAMRON DENSON, STEVEN DODD,
LLOYD DOWLER, CHAUNCEY DUMAS,
JOWANNA ECHOLS, SAMANTHA FORD,
BRIANNA GALIPEAU, GARCIA-SIGALA
GAMALIEL, JIMMY GARCIA, WENDELL
GLISSON, SCOTT GODWIN, HOLLIS
GRIFFIN, HENRY GUZMAN, TRAVIS
HANEY, STEPHON HAWTHORNE,
STEPHEN HENRY, MICHELLE HIBBETTS,
GABRIEL HIGHT, JESSICA HILTON,
CHRISTINA HOLT, KEVIN HOPPER,
MICHAEL JACKSON, KENNETH JACKSON,
KENDELL JANES, TYLER JEZIK, WAYNE
JONES, JERRY KAHN, JOHN KEEL,
SABRINA LEE, JOHN LEVONITIS,
DEANTWON LEWIS, DAVID LEWIS, BILLY
MADDOX, MATTHEW MARTIN, TAYLOR
MCBRIDE, DIAMONTE MCCLELLAN,
JOSHUA MCGILL, KENDALL MCKERNAN,
RICHARD MENDOZA, ROBERT MOLINA,
MICHAEL MORGAN, CHARLES NOVEY,
NERY ORTIZ, JOE OWENS, DEVUN
PARKER, DERRICK REGAN, MICHAEL
RUBALCAVA, EVAN RUBRIGHT, JUANITA
SEALS, JAMES SHAW, BRANDON
SHELTON, JIMMY SHIPLEY, RUSSELL
SHIPLEY, JULIA SILVA, JOSHUA SMITH,
SETH SMITH, JIMMY SPARKS, CASSIE
SPENCE, ROGER STOKES, DELBERT
SWISHER, JEFFREY TREAGESSER, JACOB
WASHINGTON, TRICIA WATTS-KOCH,


                                   96
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 97 of 3128




TRICIA WEBB, STEVEN WEST, PAUL
WHITE, HAROLD WILLARD, JUSTIN
WILLIAMS, BILLY WILSON, ROY WILSON
JR., CARISSA WYBLE, JAKE ADAMS,
CAMERON ALEX, CLYDE ANDERSON,
JON ANDERSON, AJ ANDREWS, JASON
ARNOLD, JON BAKER, JORGE BAROCIO,
DALE BELL, TREVOR BENNETT,
CRYSTAL BINGENHEIMER, SHANE
BISBING, JOIE BODDA, MICHELLE
BROMAGEM, KAILEN BRONSON,
MATTHEW BRUHNS, NICHOLAS BUREN,
SAMANTHA CALDERON, SCOTT
CARPENTER, ANDY CHASE,
CHRISTOFFER CHRISTENSEN, GAVIN
CHRISTENSON, BRIAN CHRISTIE, CODY
CLOUGH, ERIC COLE, NENAD CURCIN,
RYAN DALKE, LANCE DEAL, HANK
DERKA, DREW DUFFY, DONALD
DUNHAM, CARLTON DUPREE, EARL
EDGELL, ALEXANDER EGGLESTON,
MICHAEL EHLERT, GARY EHLERT,
PATRICIA ELLIOTT, MIGUEL ESCALONA,
MICHAEL ESTEP, BOB EYMAN, BRAYDEN
EYMAN, LAMAR FAIRLEY-MINTHORN,
ALTON FALETOI, WILLIAM
FARNSWORTH, JEREMY FIGUEROA,
ROBERT FLORES, RYAN FOSS, ANISSA
FOSTER, GREGORY FRASER, TEODULO
GARCIA, SERGII GOLOVNOV, SCOTT
GRAY, COREY HAGGARD, STEVEN HALL,
ANDREW HANSEN, KIM HARRISON,
DANIEL HAWKINS, ENRIQUE
HERNANDEZ, NATHAN HINKLE, LOREN
HROMEK, THOMAS HUBENTHAL,
STEPHANIE HUFF, DAVID HUNT,
MORGAN HUTCHENS, GILBERT IVERSON,
STACY JAYCOX, KALAVINA JOHNSON,
ROBERT JOHNSON, CHAD KEEBLER, JILL
KENT, TONYA KRIZMAN, JOSHUAH
LASSEN, ROBERT LAURIE, GREGORY
LEDET, DAVID LEE, SCOTT LEWIS,
LEONDRE LINCOLN, JOSHUA LOPEZ,
ANDRE MAGANA, BRENT MARR,
DANIELLE MCCALMON, KRIS
MCCALMON, JOSHUA MCCARTY,


                                   97
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 98 of 3128




MARCELINO MENDOZA, LYNN MIDKIFF,
ADAM MILLER, ERIC MINNEY, GABRIEL
MISCHKE, JERIN RATLEDGE, BRADLEY
MONSON, ELIZABETH MONTAGUE, RICCI
MONTOGMERY, TREY MORGAN, DAVID
MORRIS, KELLY MORRISON, FERNANDO
NOLASCO JR., KEVIN NORTH, STEVEN
NYBROTEN, NICOLE PALUMBO, KRISTI
PATTERSON, J. PERALTA, RHONDA
PIERSON, ALAN ROCHE, FELIX ROLDAN,
JAMES ROSWELL, BRIAN SALVEY,
FRANCISCO SANCHEZ, SANTIAGO
SANCHEZ, JESUS SAPIEN, RYAN
SCHMUTZER, ROSCOE SHOREY, CHRIS
SIMMS, PAUL SMITH, RUSSELL SMITH,
CODY SMITH, ERNESTO DIAZ, WESLEY
STANLEY, MIKALE STEWART, ZACHERY
STOBEL, CURTIS LARSON, RANDALL
STRUB, RICHARD SURREY, KEYVAN
TAHMASEB, JASON TAVERNIA,
MATTHEW TAYLOR, JOSEPH TERRY,
ANDREW TKACH, KEITH VEGA, BRANDY
VICARI, JORDAN VILLAMOR, ERICK
WARREN, TIMOTHY WARREN, EDWARD
WEST, RENE WIFFIN, BRYAN WILEY,
ROBERT WILSON, DARIN WOODS, IAN
WOODS, HANI ABDEL-KARIM, HUSSEIN
ABDUL-WAHHAB, SOM ACHARYA,
BENJAMIN ACORS, DONOVAN
ADAMSON, STEVEN ALOIA, SHAKEERA
ALSTON, PRINCE ALSTON, ESTEBAN
ALVAREZ, JOSHUA ANTHONY, THOMAS
ANTON, LISA ARNDT, BERNIE
ASHENFELTER, JOEVAN ATWOOD, JOSE
AVILES JR., DERREK AYERS,
CHRISTOPHER BABCOCK, CHRISTOPHER
BAILEY, ERICA BAILEY, ASIF BAKSH,
MARK BALCERZAK, TRAVIS BALLARD,
TYREE BALLARD, DAVID BALLEW,
EUGENE BANKS, ROBERT BARNES,
RALPH BARTLETT, MATTHEW BEAVERS,
EVAN BEESON, THOMAS BERARDI,
RICHARD BERNARD, SCOTTY BERNARD,
STEVEN BIGGS, KEVIN BOOKER, SALAHU
BOURAIMA, PAMELA BOUVY, BILLIE
BOWERY, STEWART BOYES, BETH


                                   98
   Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 99 of 3128




BRADY, STEVEN BRANDSTATTER,
ROBERT BRETZ, JOSHUA BRIANCESCO,
THEODORE BROCIOUS, SHERINE BROWN,
JERROD BROWN, ZACKERY BROWN,
NIYA BROWN, BRIAN BROWN, CHANEL
BRUMMELL, MICHAEL BURKE, STEPHEN
BURKHARDT, KEITH BURRELL, SEAN
BYRNE, JOSE CABA COLON, DANIEL
CABRERA, LINDON CAESAR, BRANDON
CAGEY, JAMES CALLAHAN, DAVID
CAMPBELL, ROBERT CANCEL, PHILLIP
CAREY, DENNIS CARIDI, CHIMAR
CARLISLE-RODGERS, MITCH CASSATA,
LEONARDO CASTILLO, PAUL
CAVALIERE, CRAIG CECCACCI, JOSHUA
CHAMBERS, SIRENA CHAPLIN, TIMOTHY
CHERRY, MATTHEW CHESSON, GEORGE
CHINCHAY, JIM-VAR CHURCHVILLE,
KEEGAN CICCOZZI, DAVID CID, BRUCE
CLARK, TAMEKA CLEVELAND, DANIEL
CLOHESSEY, AMIR COLDER, MATTHEW
COLE, JAMES COLLINS, PHILIP CONRAD,
MARIAN CONTI, NICHOLAS CORCORAN,
CHRISTOPHER CORDOVANO, BRYON
COSENTINE, JESSE CRAWFORD, TRACY
CULBERT, ERIC CULLINS, JAMAL
CUMMINGS, KENNETH CUNNINGHAM,
DENNIS CUPP, TYRONE DALE, WILLIAM
DANKWA, DONALD DAVIES, ERICK
DAVILA, JASON DAVIS, JARED DAVIS,
TERRELL DAVIS, MARK DAVIS, KEVIN
DAWSON, MICHAEL DAY, BRIAN
DECKER, SCOTT DELANEY, MANUEL
DELVALLE, JASON DERAMO, DE DEVINE,
ROBERT DIDOMENICO, MATTHEW DIETZ,
WILLIAM DILLON, SARINA DIXON,
GREGORY DIXON, DOUGLAS DOLAN,
MARK DOMBECK, COLIN DOUGHERTY,
WILLIAM DRISCOLL, DOUGLAS DRWAL,
BRANDON DUNCAN, JAMES DUNDAS,
ANDERSON DURAN, JENDERSON DURAN,
RENEE DURANTE, DANIEL DURSO, ERICA
DUVALL, JALEEL EDWARDS, DENNIS
EGAN, JAMES EGGLINGER, KENNETH
ELEAM, PRINCE ELLIS, DEEN ERSIN,
MINA ESSA, PAIGE EVANS, JOHANAN


                                   99
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 100 of 3128




FABIAN VICIOSO, MARC FALCO,
DUWAYNE FARRAR, BRIAN FEINBERG,
MANUEL FELIZ, MICHAEL FELTMAN,
IRVIN FEREBEE, DILLON FORINGER, ERIK
FORTSON, ROBERT FOWLER, RITA FOX,
TODD FREY, JAMES FULLER, BRYNN
GABLE, STEPHEN GAFFORD, THOMAS
GALONSKY, WILLIAM GARDNER,
MICHAEL GAZICA, MATT GEARHART,
ALINA GERLICZ, MATTHEW GIBBONS,
JOSHUA GIBBS, FRANK GOLDCAMP,
NEHEMIAS GONZALEZ, NICHOLES
GONZALEZ, DOUGLAS GOODWIN,
DASHAN GORDON, ANDREW
GORZYNSKI, JAIRIUS GRANT, CUAN
GRANT, MIKE GRESSLEY, EFFON WILSON
JR., BRENDAN GRIFFIN, ED GRIM,
EDWARD GUY, H HALL, GEORGE
HAMMER, JOHN HANNA, KEVIN
HANNAHS, WILLIAM HANZELY, ROBERT
HARRIS, RICH HARRISON, RYAN
HARTUNG, EVAN HASLEY, LEIGHTON
HAWKINS, LISA HEETER , TIMOTHY HEIL,
TROY HEITZENRATER, BRANDON
HEMELGARN, ANDREW HENDERSON,
ROBERT HENRY, MICHAEL HENRY,
ANDRE HENRY, MICHAEL HENRY,
AUSTIN HIGH, ROBERT HILLEGAS,
RICHARD HOAG, CAITLIN HOBAN,
JOHNATHAN HODGES, CODY HOLTZ,
TIMOTHY HOWLEY, STEPHEN HRICIK,
DUANE HUCKSTEP, CHRISTOPHER HUDY,
LONNIE HUNSICKER, CHRISTOPHER
HUNTER, THOMAS HURLEY, GREGORY
HURLEY, DANA HUSKINS, EDWARD
HYATT JR, YOUSEF IFRAIWAN, DANIEL
ISAJIW, ROMAN ISAYEV, ROBERT
JACKSON, TIMOTHY JACKSON, JAMES
JACKSON, CHRISTOPHER JACQUES,
RYAN JAGEL, MICHAEL JAMES,
ANTHONY JASKULSKI, RAYMOND
JELLEY, ROBIN JENKINS, JERMEL
JENKINS, JUAN JIMENEZ, KEVIN JOHNS,
DANA JOHNSON, SR., ERIC JOHNSON,
DANIELLE JOHNSON, ADAM JOHNSTON,
DONOVAN JONES, ROBERT JONES,


                                  100
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 101 of 3128




SHABORN JONES-WINGATE, FRANK
KAMINE, ERIC KANE, KENNETH
KANOUFF, EIAD KASSIS, THOMAS
KELLY, DONALD KEMMERLING,
RICHARD KENNEDY, BRADLEY
KETTERMAN, KUMAR KHAREL, JUSTIN
KIMBROUGH, GORDON KING, DONALD
KING, JOHN KIRCHER, JOHN KITCHIN JR.,
ANTHONY KLEMUNES, JOEL
KLINEDINST, RYAN KNOWLTON,
WILLIAM KNUTH, BARRY KOEHLER,
EDIS KOSTIC, ALMALIK LABOO,
MICHAEL LAMBERT, RONALD LANDON,
JOSEPH LASSICK, BRANDON LATHAM,
NICOLE LAVERY, DARYL LAWRENCE,
LAWRENCE LAWS, PATRICIA LAWS,
TIMOTHY LEACH, TAKARA LEATH,
ROSEANNE LEE, MARY LEICHER, RUDDY
LEONOR SEVERINO, ANNA LEVIER,
MARY LEWIS, JAMES LINEY, GEORGE
LIPTAK JR., BRIAN LOMBARDI, ORLANDO
LOPEZ, ROSANA LOPEZ, ROBERT LOPEZ,
ANDREW LUCAS, RICHARD LUCE,
DANIEL LUGO DEJESUS, ELIZABETH
LYNOTT, IOURI LYSSENKO, DENNIS
MACHUCA, TIM MACKOWSKI, GERARDO
MALDONADO PEREZ, DAVID
MALICKSON, PATRICK MALLOY,
STEPHEN MALONE, ANTHONY
MANGANARO, DAVID MANKEY, TYLER
MILLER, DANIELLE MARINAKIES,
MILJAN MARKOVIC, JASON MARTIN,
KYLE MAYAN, MICHAEL MCCLAIN,
DALE MCCOY, KAREEM MCFARLANE,
JOHN MCLEAN, JOHN MCNUTT, MARK
MEAS, RONALD MEHALCO, JESUS
MENDEZ, NATHAN MICHAELS, GARY
MIELNIK, DALE MIKOLACZYK, DUANE
MILLER, SHAWN MILLER, MARK MILLER,
TYLER MILLER, STEVEN MINER, SOUOD
MOHAMMAD-HAMMAD, DANIEL
MOLETZ, ROBERT MONTGOMERY,
PATRICK SUSZYNSKI, DENNIS MORGAN,
RICHARD MOSKOLA, JABRIL MOTES,
ROBERT MULDOWNEY JR., WILLIAM
MULHERN, JEROME MULLEN, ROBERT


                                  101
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 102 of 3128




NAGY, JAHNE NANGLE, JULIO NAVARRO,
KATELYN NAVARRO, JOSEPH NELLIGAN,
DANIEL NELSON, DARKO NIKOLIC,
WYATT NIPER, JOSHUA NOLAN, TYRESE
NORRIS, CHRISTOPHER NOVAK, SUE
OBERG, RANDY ORLANDO, BARRY
OROURKE, SHAWN OSHEA, BILLY
OVERTON, ROBERT OWENS, JAMES
OWENS, TONY PACE, KAREN PALLIST,
JOE PALOMBI, MELANIE PAPPASERGI,
GERALD PARNELL, RICHARD
PASQUALLE, PATRICK PATRICK,
CHRISTOPHER PATTON, DANIEL
PAULTON, COREY PENTZ, NEFTALY
PERALES, DAVID PEREZ, CHRISTOPHER
PESOTINE, JOSEPH PETERMAN, DAVID
PETERS, JACKLINN PETERS, THOMAS
PETERSEN, GLENN PEW, KELLY PHARR,
ERIC PIERCE, DAEVON PINNIX, KEVIN
PLETZ, JARED PODROSKEY, BRIAN
AGOSTO, DONOVAN PURCELL, PATRICIA
QUARATO, PHILIP QUINLAN, CARLOS
QUINONES, CHASTITY QUINONES-
VEANUS, ROSEMARY RANSOM, BRIAN
RATHOSKY, NATHAN RAUDABAUGH,
THOMAS REARICK, ZACH REICHL,
STEPHEN RICE, CHAD RICHARDS,
QUINCY RICHARDSON, RONALD
RICHBURG, KEVIN RICHIE, ALEXIS
RIDER, RANDALL RIGGS, WILLIAM COX,
NATHAN RITTER, DAVID ROBERSON,
GEORGE ROBERTS, SHAWN ROBINSON,
TYLER ROBINSON, ALVIN RODGERS,
CHRISTOPHER RODRIGUES, NICHOLAS
RODRIGUES, MICHAEL RODRIGUEZ, LUIS
RODRIGUEZ, LEON ROHRMANN,
ALEXANDER ROOT, RYAN ROPRAZ, LUIS
ROSADO, VICTORIA ROSARIO, JIM
ROUDA, MICHAEL ROY, UTKIR ROZIKOV,
ROBERT ROZNIATA, JUSTIN RUPP, REECE
RUSCELLA, DAUDA SACCOH, RICHARD
SAKOSKY, ANTHONY SALVIO, NIKOLA
SAMARDZIJA, VIRGINIA SANDERSON,
EDWARD SANFORD, RAYMOND
SANFORD, MOHAMMAD SARWAR,
DONALD SAVIC, ANTHONY SAWH,


                                  102
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 103 of 3128




OLIVER SAYRE, CHRISTOPHER
SCHIBLER, DREW SCHIFINO, ANTHONY
SCIPIONE, CRAIG SCOTT, EDDY SHAFER,
PIERRE SHAKIF, BRADY SHEFFER,
ASHLEE SHIRLEY, JEFFREY SHOTTS,
BRIAN SHREVE, BRIAN SHUNK, DAVID
SHUSTER, BRYCE SIMMONS, ANDREW
SIMON, DAMON SISCO, GARY SLABODA,
BRIAN SLABODA, ZACHERY SMITH,
KHALIL SMITH, JESSICA SMITH,
ALEXANDER SMITH, JACOB SMITH,
JASON SMITH JR., SHANE SNOWDEN,
ERIC SNYDER, DOUGLAS SNYDER,
CHRISTOPHER SOFIA, RICK SOULLIARD,
ALICIA SPANGLER, MARVIN SPARKS JR,
JOSEPH SPIVEY, JOSHUA SPRINGER,
JAMES STAGGERS, DAVID STAMPO,
STEVEN STEAD, TIMOTHY STEVENS,
DOMINIC STINNETT, ALFRED
STODDARD, ANTONIO STONE, DANIEL
STONE, JAMIL STRICKLAND, TIMOTHY
STRITZINGER, TYASIA STRIVER, SCOTT
SUMMERS, NICHOLAS SURFIELD, SHAWN
SUTER, MALIKAH SUTTON, LIAM
SWANSON, JAMES TAKACS, DANIEL
TASSONE, KELVIN TAVAREZ GONZALEZ,
SR., RALPHIE TEMARANTZ, JEFFREY
THOMAS, JEREMY MCDONALD, DENISHA
TODD, CORY TOMSIC, THOMAS
TORRANCE, JEFFREY TRAINOR, JOSHUA
TRAVITZ, DANIEL TROUT, BRIAN TUOHY,
JOHN TURNER, LESTER VAN HORN,
DANIEL VEST, LESLEY VINEYARD,
CAMERON WARD, DERIC WARE, FRANCIS
WARNER IV, GREGORY WARREN,
LATEEF WATSON, KENNETH WEAVER,
KIMBERLY WEAVER, KYLE WEBB,
LEONARD WEBB II, RYAN WELLMAN,
NATHAN WENRICH, STEPHEN WERTZ,
EDWARD WEST, SHERRI WHITMAN,
JAMES WHITTEN, MARK HORST,
BENJAMIN WILK, NICHOLAS WILKINS,
DAVID WILLIAMS, CLINT WILT,
JONATHAN WILTRAUT, CHARLES
WOLFE, DONALD WOMBACKER JR., LEVI
WORTHINGTON, JAMIR WRIGHT, JUSTIN


                                  103
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 104 of 3128




WRIGHT, MOLLY YEAGER, JEFFREY
YEARICK, MATT ZECH, GEORGE
ZOECKLER, NICKOLAS ABRANTES,
KEITH ANDREWS, ANTONIO BAPTISTA,
LUIS BATISTA, KENNY BORGES,
ABRAHAN CANARIO, ADONIS COLLADO,
NELSON COSTA, KEVIN DEMELLO,
ROGER DOMINGUEZ, JOSEPH ESPOSITO,
VARLINDO ESTRELA, ANIBAL FONSECA,
SHANE GILBERT, JONATHAN GILL,
RONALD GILLIARD, DMARTINIOUS
GOODEN, NATHAN GRANDCHAMP,
WILLIAM HARPIN, ROBERT
MANCHESTER, ANDREW OBRION, EDSON
REYES, JONATHAN ROBERTSON, CRAIG
SEWALL, SANDRA SMITH, ARTHUR ST.
PIERRE, ANTONIO TORRES, KELLY
WILSON, EUGENE A VIRUET, ANDRE
ADAMS, KELLY ADAMS, JACOB ALLEN,
ELIZABETH ALLEN, DAEROL ANCRUM,
TAKISHA ANDERSON, DARIUS
ANDERSON, JOSEPH ARMOOGAM,
KOUASSI ASSIE, LEE AZEVEDO,
RAYMOND BAGNATO, ANTHONY
BALLENGER, WENDELL BALLEW, BRETT
BANCHERO, CORY BARROW, TODD
BASTIAN, ROBERT BEERS, LUTHER
BELLS, SANTONIA BENNETT, NATHAN
BENNETT, SHAWN BETHEA, BI BIA,
RECARDO BLAKNEY, MARCUS BLAND,
TRANSON BOOKERT, MICHAEL BOOZER,
VENDIE BORDEN, BRENT BOUTON,
CHRISTOPHER BOYD, JEFFREY
BRADBERRY, CHIQUITA BRANNON,
DEBRA BRIGMAN, TRARHONDA BRITT,
WALTER BROCK, TIO BROOKS, ARIC
BROWN, CHRISTIAN BROWN, JERMAINE
BROWN-YOUNG, ROXIE BURTS, JALESA
BYRD, SHALANA CAMP, MALCOLM
CANTEY, KEVIN CANTY, TREVOR
CARMAN, DAVID CHACON, WILLIAM
CHAVIS, KELLI CHAVIS, FELICIA
CHERRY, BRIAN CLARK, MAE
CLEMMONS, WALKER COBB, JOSEPH
COBBS, TILMAN COLE, CAVIN COLEMAN,
ADRIAN CONYERS, KEVIN CONYERS,


                                  104
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 105 of 3128




BRANDON COX, ONEZEAN CRAWFORD,
MILLICENT CROCKETT, LISA CROSBY,
ALEXIS CROWDER, JACKSON CURTIS,
RONALD DAVIS, CLARENCE DAVIS,
MARCUS DAWKINS, PATRICK DEATON,
BRANDON DEESE, DEMETRIUS DENNIS,
CHRISTOPHER DEVITO, MATTHEW
DIFILIPPO, COURTNEY DIX, DOREEN
DOLLISON, ARTIS DOZIER, DEAQUALIN
DRAYTON, JEFFREY DRIGGERS,
REESHEMA EADDY, GWENDOLYN
EASTERNWASHINGTON, BRYANT
EDWARDS, WILLIAM ELM, RONALD
EVINS, PATRICE FELDER, CHARLES
FIELDS, DANIELLE FIORILLO, SHAUN
FITCH, TODD FLOYD, JOE FORD, JOE
FORD III, MARK FOSTER, LEAVITRIX
FRAYER, MICHAEL FRAZIER, ERNESTINE
GABE, DEMETRIUS GAMBLE, JEFFREY
GECEK, JON GIBSON, MICHAEL GLOVER,
KAREN GODWIN, DUSTIN GOODMAN,
MARQUIS GYANT, MICHAEL HAIR,
JONATHON HAMLET, JESSICA
HANNAALSTON, SHEILA HANNAH,
TYEISHA HARMON, STANLEY HARPER,
SHANNON HARRIS, MICHAEL HARRIS,
DANTE HATFIELD, JAMIE HEADEN,
CHRISTOPHER HINTON, BOBBY
HOLBROOKS, CHARLESSA HOLLEY,
ANTONIO HOLLIS, TONY HOUSE,
CLARENCE HOWARD, PATRICK HUFF,
CHRISTOPHER HUSEONICA, JAMES
HUTCHINSON, SHAKENIAH IRBY,
SAMUEL ISAAC, KIMBERLIE ISOM,
ANTQUON JACKSON, CHRISTOPHER
JACKSON, KAYLA JACKSON, NIKKI
JAMES, ANDREA JAMES, BRANDON
JERRY, JORDAN JINKS, JAMES JOHNSON
JR., TARRANCE JONES, MARVIN JONES,
HERBERT JONES, CHARLES JONES, RYAN
KACZMARZ, SHAKAIL KEITH, JEREMIAH
KENNEDY, AUSTIN KEVERETT, RICHARD
LAMBERT, CHANELL LASANE CANTY ,
RODRIGUES LEVERETTE, RICHARD
LEWIS, EDWARD LEWIS, TRAVIS
LIPSCOMB, SHERRY LITTLE, LIONEL


                                  105
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 106 of 3128




LUCKETT, JOHN LUTZ, ERICA MARTIN,
JASON M ROSS, KENDALL MADISON,
JAMIE NORTON, CHRISTOPHER MARKEY,
MATTHEW MARTINEZ, CHRISTOPHER
MATTHEWS, GARRETT MCAFEE, PAUL
MCCLELLAN, E. MCGREGOR, ADRIAN
MCLELLAN, KIERAN MCLEOD, GEORGE
MCNEALY II, ANTHONY MCNEIL,
THOMAS MEILINGER, ROGER METZE,
REGINALD MIDDLETON, SEAN MILLER,
BENJAMIN MILLER, ROBERT MILLS,
KEVIN MILLS, WILLIAM MILTON,
SHANNON MITHCELL, ROBERT MORRIS,
MICHELLE MORTON, RYAN MUMPER,
KWASI MUNUFIE, WILLIAM MYERS,
PORSHIA NASH, TYIESHA NATHANIEL,
DONTA PACK, SHANA PAIGE, DERRICK
PAPPAS, ROBYN PAVLAKOVICH, ERICA
PENDERGRASS, JEROMIE PHILLIPS,
RONALD PIETRAMALA, MARCUS POLITE,
TIMOTHY PONDS, JACKIE PROFIT,
ANDREW RAMBO, LULA RAMSEY,
THOMAS RATLIFF, JAMES RENNICK,
PAUL REYNOLDS, LARRY RHODES,
WILLIE RICHARDSON, DASHAWN RICKS,
CURTIS ROACH, CLEVE ROBERTS,
AYANNAH ROBINSON, JUAN ROSADO,
TONYA ROWLAND, SHACORIA RUSSELL,
OMEGATRON SAMUEL, CHRISTOPHER
SAMUEL, RUTH SANCHEZ, TYLER
SCHUMACHER, SEAN SELLARS, JAMIE
SHERMAN, DAMEION SIMON, ROBERT
SINGLETARY, LAVONDA SINGLETARY,
DAMONT SLAY, CICELY SMALLS,
DANIEL SMITH, CHRISTOPHER SMITH,
CHARLES SMITH, RHONDA STAPLETON-
MARTIN, WILLIE STEED, LAYMAN
STEPHENS, JIMMY STEVENS, CASEY
STONE, DANIEL STRICKLAND, JEROME
SWINTON, LARRY TATE, STEFANIE
TAYLOR, ANNA TELLMAN, BRYAN
TERRY, JOSHUA THOMAS, KAREL
THOMAS, ROBERT THOMAS, ROBBY
TIMMONS, DAVID TIMMONS, KATHRYN
TINDAL, ALLIE TORONGEAU, HECTOR
TRUJILLO-ESPARZA, TERESA


                                  106
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 107 of 3128




VANDERHALL, RENEE WALKER, TRAVIS
WARD, BRIANNE WASHINGTON, TIMMY
WATKINS, TINA WAY, EDWARD WEBER,
JEREMIAH WESTON, KEENAN WHITE,
VERONDA WHITE, CAROL WHITE, JEREE
WILDER, KATHY WILKIE, GREGORY
WILLIAMS, JONATHAN WILLIAMS,
HAROLD WILLIAMS, GERALD WOODS,
WILLIE WRIGHT, JEFFERY YOUNG,
KEETRA YOUNG, STEPHEN ZADROZNY,
TELIS ZECOPOULOS, STACY
ZIMMERMAN, BYRON CARTER, BRIAN
CUSTER, SHELDON DICKSON, AUSTIN
ELMORE, MICHAEL FETTER, RICK
FORNWALD, MICHAEL FOX, JORDAN
FULLER, JAMES GODFREY, GREGORY
HANSMANN, JEFFREY HART, BRIAN LEE,
JAY MARTIN, JACOB MILLER, CHELSEA
OLSON, SUSAN OSLUND, DUSTIN
PARMLEY, TERRY PLIMPTON, KENNETH
RUSTEN, CAMERON STUTESMAN, AARON
TOWNSEND, TYRONE WARNE, RANDY
ZASKE, MARCUS ADAMS, TYESHIA
ALLEN, RODNEY ALLISON, ANDREW
AMBUHL, GLENN ANDERSON, KEVIN
ANDERSON, JAMES ANDERSON, JULIUS
ANDERSON, GARY ANDERSON JR.,
BUFFFY ANDIES, JOHN ANGLIN, ANDREW
APPLETON, AHMED ARKAWAZI, VICKI
ARNOLD, DEVIN ARTHUR, HARRISON
ASHLEY, DEVIN ATHA, GRADY AUSTIN,
TERESA AUTRY, KYLE AXLEY, LORI
BAILEY, ALAN BALKO, SUSAN
BANKHEAD, TIMOTHY BARFIELD,
DANIELLE BATES, HARRISON BATSON,
LACY BEARD, MICHAEL BECTON, CHASE
BEGUE, KEVIN BERGMANN, BRIAN
BERKON, ROGER BERNARD, ZACKARY
BILLENSTEIN, CASSIE BIRDWELL,
LOUWANNA BLAKE, JOHNATHON
BLANKENSHIP, CHRISTOPHER
BLODGETT, CYNTHIA BOLDIN, RYAN
BONNER, JAMES BOONE, PTOSHA
BORNER, DERRICK BOWERS, TRACY
BRANNER, DAVID BRASFIELD, DUSTIN
BREEDLOVE, JEFFREY BRIGHT, RONNIE


                                  107
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 108 of 3128




BROCK, SHERRY BROOKS, SHERRY
BROOKSHER, JOSEPH BROWN, ROBERT
BROWN, TAMMY BRUNDIGE, AUSTIN
BUHL, GORDON BURNAM, MICHAEL
BUTTS, JAMES CABLE, JONATHAN
CAMPBELL, GREGORY CARR, JOHN
CARROLL, ELLIOT CARTER, MARK
CARTER, DEREK CARTOZZO, TC
CASSIDY, STEPHEN CASTLE, KEVIN
CASTRO, MATTHEW CHALMERS,
DEVONTE CHAMBERLAIN, LARRY CHAN,
CORY CHEESMAN, CHAZ CHUPP,
GLADYS CLARK, WILLIAM CLARK, AMY
CLARK, CANDACE CLARKE, CHARLES
CLOSE, WILLIAM COFFMAN, BRANDON
COFFMAN, JAMES COFFMAN, SHAREE
COLE, BRYAN COLEMAN, WILLIAM
COLEMAN, RONALD COLEMAN,
GRAHAM COLLINS, NAOMI COLLINS,
MATT COLWELL, ROXANNE CONDON-
LODEWEGEN, DEMARIO CONNER,
CASSANDRA CRAVENS, MICHAEL
CRAYTON, DARIAN CRISP, ANDREW
CUMBERBATCH, CRYSTAL DAUGHERTY,
JON DAVIS, VENUS DAVIS, CHARLES
DAVIS, LEONORA DAWSON, AUSTIN
DEATON, DELORES DEGRAW, RICHARD
DESPAIN, DENNIS DIECKHOFF, HOMER
DINKINS, KARLTON DIXON, ASHLEY
DOKES, TYLER DONEY, CHARLES DOSS,
JOSHUA DOUGLAS, TIMOTHY DOUGLAS,
TAVARUS DOUGLAS, CARREN DOWNEY,
JUSTIN DREHER, ANDREA ELDER, CARL
ESTEP, JOSHUA ETTERS, NINA EVANS,
STEPHEN FERGUSON, CASSANDRA
FISHER, CARY FLATT, ANTHONY
FOISTER, LANCE FORD, JAMES FORD,
TIMOTHY FORD JR, GREG FOULKS,
ADAM FOUNTAIN, LYDALE FOUTCH,
TEDD FRENCH, MATTHEW FRENTZEL,
STEVIE FRIERSON, RALEIGH GARDNER,
GRANT GARRETT, DAVE GILLIAM, JOSH
GLASS, DERRICK GLEAVES, LISA
GLOVER, STEVEN GOINS, AMBER GOLEY,
SHARON GOOCH, RICHARD GOODYEAR,
PATTY GRAY, STEVEN GREEN, ANTONIO


                                  108
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 109 of 3128




GREER, AMANDA GREGORY, MITCHELL
GREUB, DAWN GRIFFIN, ANGELA
GRIFFIN, TRAVIS GRIFFIN, JAMES
GRIGSBY, JOY GROVES, ROBERT GRYL,
LUKE GULCZYNSKI, NEONILA GUSAR,
KIYA GUYE, KORY HALEY, CHARLES
HALL, TERRY HALL, MATTHEW
HAMMOND, JOHNATHAN HARDIN,
ANTONIO HARPER, JOSHUA HARPER,
SAM HARRIS, JOHN HARRIS, JEFFREY
HARRIS, SHANNON HARRISON, KRISTI
HAYES, RICHARD HAYNES, JOHN
HEATHINGTON, JOHN HELM, RICK
HENDRIX, ERVIN HERRON, RICKY
HEWITT, DONALD HICKS, MATTHEW
HOAG, THOMAS HOFFMAN, RYAN
HOLLOWAY, ISAAC HOPKINS,
JACQUELINE HOPKINS, WILLIAM
HORINEK, RANDY HUGHES, DELANO
HUGHLEY, CHRISTOPHER HUNT, JASON
HUNTER, THOMAS HURST JR., NICHOLAS
INGLE, JAMIE IRWIN, KAMAL RAI,
MARVIN JONES, MARCELL JACKSON,
ANTHONY JACKSON, TONY JACKSON,
STEVEN JAMISON, MILTON JENNINGS,
EMILY JOBE, FELIX JOHNSON, MITCH
JOHNSON, ZACHARY JOHNSON, KYANNA
JOHNSON, ROKWESHA JONES, LANCE
JONES, TOM JONES, JACOB JORDAN,
TIMOTHY JOY, DREW KAIROT, BRIANNA
KAYLER, KELLY KEEBLER, TODD
KEELING, TREVONN KELLER, CRAIG
KELLER, WILL KENNEDY, RICHARD
KENNEDY, CYNTHIA KETRON, JEREMY
KILPATRICK, CHRISTIAN KIMBLE,
RENALDO KINNARD, HALLEY KNOTT,
MICHAEL KNOWLES, CHARON KRAMER,
DAVID LAFEVER, JOEL LAWRENCE,
TIMOTHY LAWSON, RICKEY LAWSON,
WILLIAM LAYNE, DANIEL LEHMKUHL,
CHARITY LESTER, MARK LEVASSEUR,
EBONY LEVELSTON, BILLY LEWALLEN,
DEWEY LEWIS, CHRIS LIEBER, CHAD
LONG, DYLAN LONG, TERRELL
LOWDERMILK, ASHLEY LOWE, MAX
LUEGGE, DARRELL LYONS, RYAN


                                  109
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 110 of 3128




MALICOAT, JOSHUA MANN, MICHAEL
MANN, DAJUAN MANNING, GUY
MARTIN, CHARLES MARTIN, MATT
MASON, JEFF MAXWELL, DANA MAYES,
ROSHAWN MAYS, CALEB FUSON, CINDY
MCCANN, DUSTIN MCCARLEY, JEFFREY
MCCARTER, TRACY MCCOY, MARTIN
MCLEMORE, CECIL MCLERRAN, ROBERT
MCMAHON III, RANDI MCNEELY,
RAYMOND MEADOWS, FRANCISCO
MEYER, BRIAN MILLER, JASON MILLER,
EMILY MINNICK, MICHAEL MIXSON,
LEJERRITH MOONEY, BARRY MOORE,
AUBERY MOORE, BRITNI MORGAN,
JANICE MORGAN, MICHAEL MORROW,
KENDRA MURPHY, ADAM MUSE, JACK
MYERS, EVAN NEEDHAM, FRANK NEELY,
MICHAEL NEWBERN, QUANEAL NIXON,
CHRISTOPHER NOLEN, CASEY NORRIS,
KRISTEN OBIE, LEDARIUS OSBORNE,
MARK OUELLETTE, WESLY OWENS,
STEPHEN OWENS, MITCHELL PAINTER,
TONY PALMER, KERI PARKER-LEE,
DOUGLAS PATTERSON, JAMES PATTON,
PHILIP PATTON, AMANDA PEAVLEY,
JEFFREY PEELE, CHRIS PERDUE, CARLOS
PERRY, KENNETH PETTY, ROBERT
PHANEUF, SEAN PHARRIS, JOHN
PHILLIPS JR., EDWARD ERVIN, ROBERT
POPE, KENNETH PORTER, ANDREW
POTEETE, BRANDON POTTER, MARCUS
PRICE, TENNISHA PUCKETT, ADRAM
PUCKETT, CORY PULASKI, JACOB
PULFORD, KRISTIE PUTNAM, BRYAN
QUALLS, ANDREW QUINN, NICHOLAS
RAINEY, JAMES RANSOM, ERNEST
RAYFIELD, MARK REAGAN, MICHAEL
REECE, JOSEPH REED, DARNELL REEL,
KIMBERLY REID, JASON RESZKA,
SANTIAGO REYNA JR., JOHN REYNOLDS,
NATHAN REYNOLDS, LATONYA
RICHARDSON, CHRIS ROBERSON,
DANIEL ROBERTS, SHERRIE ROSS,
DANIEL RUTLEDGE, WILLIAM SAMPSON,
HOPE SANDERS, KENDRICK SANDERS,
WILLIAM SCARBERRY, THOMAS


                                  110
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 111 of 3128




SCHUBERT, STEPHEN SHEEHAN, TYLOR
SHERIDAN, THOMAS SILK, JASON
SIMMONS, DAVID SMILEY, AMBER
SMILEY, RACHEL SMITH, CHARLES
SMITH, ASHLEY SMITH, ZACH SMITH,
QUINTEN SMITH, CHARLES SMITH,
GREGORY SMITH, BRANDON SMITH,
RONNIE SMITH JR., JASON SPANN,
JEFFREY SPICER, PORTER STADAKER,
BRANDEN STAFFORD, CHAD STEELMAN,
JACOB STEPHENS, TODD STEPHENS,
DANDRA STEPHENSON, TABITHA STOCK,
JEFFREY SUMMERS, TERRY SUMNER,
TRENTON SWEATMAN, MINDY
SWEATMAN, TERRY SYKES, MARTHA
TANNER, NATHAN TAYLOR, JOYCE
TAYLOR, DANA TEEPLE, JUANITA
TERRY, ROBERT THOMAS, SHELTON
THOMAS, MARVIN THOMAS, ANGLIUS
THOMPSON, MATT THOMPSON, CALAN
TINCH, GARY TITINGTON, WILL TOMB,
JESSICA TOWNSEND, THOMAS TRIPLETT,
HAROLD TURPIN, LOGAN UNDERHILL,
SHANE VAUGHN, KEVIN VAUGHN,
BRYANT VOLZ, BRANDI WADE,
BRANDON WALD, MICHAELA WALKER,
RHONDA WALKER, JOE WALKER,
ARIDTH WARD, FRANKIE WARRINGTON,
SHAWN WARTA, JUAN WASHINGTON,
MARKETTA WATKINS, JOSH WATSON,
QUINTON WATSON, DERRICK WEBB,
CARL WEHNER, RICHARD WELCH,
JEFFREY WEST, LAMARDO
WESTERFIELD, DAVID WHITE, BRITTANY
WHITTINGTON, MATTHEW WIDNER,
MARK WILLIAMS, TYEISHA WILLIAMS,
JON WILLIAMS, LARRY WILLIFORD,
TERESA WINDUM, KENYATTA
WOODARD, DANTE WOODS, JOHN YOST,
DAWN YOUNT, RICHARD ZACK, LARRY
ZIPLER II, OSCAR ABREGO, OTIS ADAMS,
KENNARD ADAMS, JEFFREY ADCOCK,
BRODERICK ADDISON, MOSHOOD
ADEKOLA, OLUWAFEMI ADEKUNLE,
MARWAN AL NASSER, GINA ALBERT,
CHARLES ALBERT, KENDALL


                                  111
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 112 of 3128




ALEXANDER, JERRY ALEXANDER,
DEVANTE ALLEN, ERWIN ALLEN, EMILIO
ALMANZA, PETER ALSING, JOSE
ALVARADO, JUAN ALVARADO, JAKEIST
AMBROSE, MUHAMMAD AMIN, JIMMY
ANDERSON, ROBIN ANDERSON, URSULA
ANDRES, ANTHONY ANNINO, INNOCENT
ANYE, CLARENCE APPLING, EDUARDO
ARANA, TEVIN ARCHANGEL, VICTOR
ARCIVA, STEPHANIE ARELLANO, MAYRA
ARELLANO, JULIAN ARMENDARIZ,
COURTNEY ARMSTRONG, DOMINIC
ARMSTRONG, JOSHUA ARNOLD,
PRECIOUS ARON, PAUL ARREDONDO,
JUAN AVILA, TAMIKA AWEL, MICHAEL
BAILEY, ALONZO BAILEY, ANTHONY
BAILEY, RODERICK BAKER, JENNIFER
BAKER, RON BAKKEN, UBALDO
BAKLUDA, ANTHONY BALE, DENNASHI
BALL, TONYA BALLARD, HOLLIS
BALLOM, ALEXANDRA BANDA, CALVIN
BANKS, SAMMY BARAKAT, BRANDON
BARNES, DUSTIN BARNETT, JOSE
BARRERA RAMOS, AMANDA BARRETT,
TIMMARICK BATES, DERRON BATTLE,
ALFRED BAUTISTA, FAUSTINO
BAUTISTA, WILLIAM BEAUDOIN, PHILLIP
BEAVER II, DALTON BECK, RODERICK
BELL, COREY BELL, JESSE BELMAREZ,
JUAN BENAVIDES, ROBERT BENAVIDES,
DOMINIQUE BENNETT, ALEXUS
BENNETT, HOWARD BENTLEY, MARK
BENTLEY, DONNA BERRY-DAVIS, JOSEPH
BIRTON, JAMIE BISOR-BACON, ERIC
BLACK, DABRYAN BLANTON, DAVID
BLASQUEZ, MICHAEL BLASSINGAME,
ASHLEA BLUMENBERG, RANDALL
BOHANNAN, JARED BONNER, GARY
BONNER, GERARDO BOTELLO,
LAKENDRA BOUTTE, JEFFREY BOYD,
DAREN BRADFORD, ADREIN BRADLEY,
KENYA BRADLEY, CAMERON BREAUX,
ANDREW BRENNAN, ARCHIE BREWER,
MIGUEL BRIEVA, CHRISTINI BRIGGS,
SHELBY BRITTAIN, JON BROOKS,
NICHOLAS BROOKS, JEFFERY BROWN,


                                  112
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 113 of 3128




ARTHAVIEA BROWN, TRAVON BROWN,
CURTIS BROWN, KARL BROWN, JAQUE
BROWN, RILEY BRUNSON JR., DAVID
BURGESS, BEVERLY BURKE, MYKESHIA
BURRELL, JOE BUSTOS, ANTHONY
CALDERON, JAVIER CALDERON, HONEST
CALLIGAN, TAM CAO, HUNG CAO,
CHASEN CAPEHART, ROBERT
CARPENTER, BRIAN CARR, JONATHAN
CARRADINE, ALFONSO CARRANZA,
RODRIGO CARRASCO, DAVID
CARRASCO, SR., LUIS CARRASCO, NINA
CARTER, NAJEE CARTER, PATRICK
CARTER, SR., AURTHA CARTER, XAVIER
CARY, EDWARD NEWELL, FRANCISCO
CASTANEDA, DAVID CASTILLO, RAUL
CASTILLO, ANTHONY CASTLOO, IVAN
CASTRO, CRAIG CATAPANO, LAYCE
CATES, RAUL CEDILLO JR., JASON
CHAGOYA, LAVONDA CHAMBERS,
ROBERT CHANCELLOR, JUAN CHAVEZ,
SARA CHAVEZ, JOHN CHRISTNER, RAUL
CISNEROS, ALBERT CLARK, SHEILA
CLARK, JOE CLARK, ISH CLEMENT,
MARIO CMET, DENNIS COLE, JEFFERY
COLEMAN, DAVID COLLIER, KENNETH
COLLINSWORTH, CORY COLSTON,
FRANK CONDE III, DEREK CONLEY,
DARIAN CONNER, JESSICA CONTRERAS,
LINDA COOKS, HOLLY COPELAND, VLAD
CORNEANU, HECTOR CORONADO,
MIGUEL CORONADO JR, JORGE CORTES,
ISAIAS COVARRUBIAS, KEVIN COX,
JASON CRIDER, TIFFANY CROFF, LEEROY
CRUZ, SEAN CUNNINGHAM, RICHARD DA
ROSA, DONDRICO DADE, SANDI DAILEY,
CHRISTINA DALFREY, KISHA DANCY,
CARLOS DANIEL, TEVIN DANIELS,
JOSEPH DANIELS, JOYNESHIA DARBY,
MELISSA DAVIDSON, SAMMY DAVILA,
LEONARD DAVIS, ERICKA DAVIS, CRAIG
DAVIS, LATONYA DAVIS, XAVIER DAVIS,
LARNETTE DAVIS-LEBLANC,
SHAUNDRELLE DAW, SEBASTIAN DE
JESUS, CANDACE CONNOLLY, VIRGINIA
DEANDA, KAI DEBAUN, SAVAUGHNA


                                  113
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 114 of 3128




DEERE, EMILIO DELEON, SAMUEL
DELEON, JEREMY DEMPS, PHILLIP
DEMPS, BRUCE DENNIS, SCOTT DIBBLE,
SILVAIN DOMEN, LEWIS DOMINGUEZ,
NICHOLAS DONNELL, JORDAN
DOREMUS, QUENTIN DOUGLAS, JESSICA
DOYEL, ELROY DOZIER, ANTHONY
DRUMGOOLE, SONNY DUCKWORTH,
ASHLYNNE DUCKWORTH, LARRY
DUKES, ROBBY DUNCAN, DESMOND
DUPREE, ROMAN DURAN, ANGEL
EARVIN, ADAM EDINGTON, RUDOLFO
ELIZONDO, LYNNET ELLIOTT-WHITE,
DEMARCUS EMANUEL, MARVIN
ENGLISH, LUIS ENRIQUEZ, JONATHAN
ERLING, JONATHAN ERVIN, JOSEPH
ESPARZA, MANUEL ESPITIA, DARIAN
EUBANKS, MICHAEL EVANS,
CHRISTOPHER FAISON JR., DANIEL
FALCON, ANGEL FARIAS, MARVIN FAZ,
ROBERT FERNANDEZ, MARCIA FERRER,
JASMINE FISHER, SHAWN FISHER,
DIMITRI FISHER, SHARONDA FISHER,
MICHAEL FITCH, JOHN FLEMING,
RAFAEL FLORES, JUAN FLORES, JUSTIN
FLORES, JOE FLORES, RUBEN FLORES,
RICKY FLOREZ, JAMAL FOFANAH,
ANTHONY FONTENOT, KEVON FORE,
TYNISHA FORREST, BRANDON FORSTER,
AMANDA FORTIN-EISEMANN, TINA
FOSTER, PRESTON FRAKES, MICHAEL
FRANCIS, DEREK FRANCIS JR, KAMILLE
FRANCISCO, LARRY FRIDAY, MARCIAL
FUENTES, OSCAR FUENTES, IRINEO
FUENTES, VINCENT GABRIEL,
GERMARLIN GAINES, ORVIN GANESH,
JAVIER GARCIA, SANTANA GARCIA,
ALFONSO GARCIA, RAUL GARCIA, DAVID
GARCIA, JACOB GARCIA, MARTY
GARCIA, HIPOLITO GARCIA, EFRAIN
GARCIA, RICHARD GARCIA, JERRY
GARCIA, JASON GARCIA, ROMMEL
GARCIA-ARROLIGA, RAUL GARCIA-
OGANDO, OSCAR GARZA, VALARIE
GARZA, JAMES GARZA, LISA GEGNER,
GAGE GERNENTZ, GARRISON GERSHON,


                                  114
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 115 of 3128




TIMOTHY GIBSON, AUSBY GILBERT,
ANTHONY GILBERT, ROBERT GILES,
JALEN GILFORD, TIFFANY GILMORE,
ASHLEY GILMORE, YARANN GLENN,
ANTHONY GODFREY, JOE-ANTHONY
GODINA, CHADWICK GODINE, ASHLEY
GOFFNEY, PAULA GOLDSBY,
GUADALUPE GOMEZ, JUAN GONZALES,
MARCELINA GONZALEZ, SHAREEFAH
GONZALEZ, DAMIAN GONZALEZ,
GLORIA GONZALEZ, JOSE GONZALEZ,
JUSTIN GONZALEZ, RAMON GONZALEZ,
MARIO GONZALEZ, DANIEL GONZALEZ-
LOPEZ, DOROTHY GOODJOINT,
DOROTHY GOODJOINT, JAMARCUS
GREEN, ANTHONY GREEN, WILLIA-MAE
GREEN-JONES, DAMON GREER, RICHARD
GRISSOM, RICHARD GRUWELL, FRANCES
GUERRA, THOMAS GUERRA, GABRIEL
GUERRERO, RODRIGUEZ GUILLERMO,
MATTHEW GURULE, LUIS GUTIERREZ,
BRANDON GUTIERREZ, JUAN
GUTIERREZ, FREDDY GUZMAN,
KIMBERLEY GUZMAN-GARZA, DERUS
HAGGERTY, DERRICK HAILEY,
ANTHONY HALL, GERALD HALL,
CORREE HALL, EFFIE HALLMAN,
SPURGEON HAM, JOE HAMILTON, DAVID
HAMILTON, MARLIN HAMMONS,
CLINTON HANBY, WILLIEB HARDEMAN,
DANIELLE HARDEMAN, MAURICE
HARPER, ADRIEN HARRIS, DESIDRE
HARRIS, STEVEN HARRIS, BOBBY
HARRIS, WALTER HARRISON, JAMES
HARVEY, AHMED HASSAN, LORIE
HAYES, ROBERT HAYES, ANTHONY
HAYES, DAMON HAYES, TAMMIE
HAYNES, THADDEUS HEADE, TYWANNA
HEARD, SANDON HELM, DERRICK
HENDERSON, L HENRY, JR., ROBERT
HERER, ELISEO HERNANDEZ, SIMON
HERNANDEZ, BUDDY HERNANDEZ,
EDUARDO HERRERA, GEORGE HERRERA,
MATTHEW HERRERA, GEORGE HERRERS,
JORDAN HESS, SHYNITRA HICKS,
FELTON HICKS, STEPHEN HICKS,


                                  115
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 116 of 3128




KIMBLEY HILL, EMMA HILL, DAVID
HILLIARD, ANTHONY HINES, BRANDON
HODGES, KENNETH HOLDEN, JOHN
HOLGUIN, RYAN HOLLERMAN, CHARLES
HOLLIE, CALVIN HOLMES, DARRIN
HOME, STEVEN HOWARD, TOM
HOWLAND, TEVIN HUBBARD, DONALD
HUBBARD, CHRISTOPHER HUDEK, LACY
HUDSON, COREY HUGHES, HEATHER
HUNT, DELPHINE HUNT, RASHAD HURD,
SYED HUSSAIN, ALEKSANDAR ILIC,
WARREN JACKSON, DAMAIN JACKSON,
GREGORY JACKSON, JOHNNY JACKSON,
CANDICE JACKSON, ERIC JACKSON,
JEROME JACKSON, WANESSA JACKSON-
BANKS, MARY JEFFRIES, MICHAEL
JENNINGS, DUSTY JOHANSEN, DONYA
JOHNSON, GWYNDOLYN JOHNSON, JILL
JOHNSON, JARRED JOHNSON, REGINALD
JOHNSON, REGINALD JOHNSON,
VALENCIA JOHNSON, ELDENT JOHNSON,
CHAKA JOHNSON, RANDY JOHNSON,
BOBBY JOHNSON, TREMENDOUS
JOHNSON, CALVIN JOHNSON III,
ANTHONY JONES, JAVON JONES, TYWON
JONES, ALICIA JONES, BRANDON JONES,
SHARON JONES, STEVEN JONES,
ANTONIO JONES, MICHAEL JONES, TONY
JOSEPH, MICHAEL JOYCE, MICHELLE
JUAREZ, TROY JUPITER, NIKOLAS
JURADO, GEOFFREY KARCHER,
QUENDON KEELS, FREDA KELLEY,
SHARON KELLY , ONEAL KENNON,
TIBOR KEYA, KEYDREPRINCE
KEYDREPRINCE LUNA, DANIEL KIM,
LADONNA KIMSEY, REBECCA KIPHEN-
NEWSOME, SHANDREA KIRBY, KRISTIAN
KLEINERT, HAROLD KNIGHTSHED,
DARRYL KOWALSKI, KARY KRAFVE,
OLIVER LACOSTA, KARRON LALANDE,
EVAN LANGE, JOLANCA LASALLE, TITUS
LATHEN, APRIL LATTIMORE, JUAN LEAL,
ALFREDO LEBLANC, DEVON LECOMPTE,
CHRISTOPHER LEDESMA, LAWHALEN
LEE, LABRIDGETT LEWIS, SHEARON
LEWIS, LE LINDSEY, STEVE LIOMNES,


                                  116
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 117 of 3128




BRYANT LIVINGSTON, NIKEYIA LOCKE,
EDWARD LOREDO, EMILE LOWE, LUIS
LOZA, JUAN LOZADA GONZALEZ,
MALACHI LUEVANO, ERIC LUGO,
CLAYTON LUNDELL, DASI LYNCH, KYLE
LYNCH, KIMBERLY LYNCH, DONNY
LYONS, KOMLAN M AGBALEVON,
ALLYSON MACKEY, EDWARD MADIGAN,
JOHN MAINA, JACOB MARIN, KEARSTEN
MARION, IVAN MARTE, SHEMICA
MARTIN, STEVEN MARTIN, JOSE
MARTINEZ, DEREK MARTINEZ, OZIEL
MARTINEZ, SAMUEL MARTINEZ,
FRANCISCO MARTINEZ, JUAN MARTNEZ,
CRYSTAL MASCORRO, JONATHAN
MASON, ROBERT MATTES, JACK MAUPIN
JR , DAVID MAYNARD, ARTHUR MAYO,
NOEL MC CUE, RODNEY REYES,
GETUREMAE MCBRIDE/NWARISI , ETHAN
MCCLUNG, CHAVIS MCCOLLISTER,
LARRY MCCOWIN, DALE MCCRAW,
CHARLES MCCRAY, HENDRIC
MCDANIEL, OMAR MCDOWELL, KEITH
MCFARLAND, ROBERT MCFARLAND,
ARTHUR MCGOWEN, ANDRE MCMILLON,
JULIE MCMULLEN, LANCE MEDINA,
ARQUIMEDES MELENDEZ, JAVIER
MENCHACA, ANDREA MENDOZA,
ANTONIO MENEFEE, CORDERRO
MENFIELD, ANTONIO MERCARDO,
ANTHONY MESA, ADAM MEZA, ERMONT
MILES, HAYLI MILLER, MEAGAN MILLER,
JEREMY MILLER, ALLEN MILLER,
JOSHUA MILLER, MARIAN MITCHELL,
SHANE MITCHELL, JARRETT MOBLEY,
DANIEL MONJARAZ, JAVIER MONTANEZ,
JACKSON MONTILLA ALTAMAR,
RONALD MOORE, DENISE MOORE
WALTON, ROMEO MOOREJ, REYNALDO
MORA, PAULA MORALES, CARLOS
MORALES, REMINGTON HUGHES,
HENDRIK MORALES, SR., TROY MORGAN,
LAKERMIT MORGAN, ALEC MORMAN,
RAQUEL MORTON, HAILE MOSES,
EDWARD MOTA, ROMELL MOUTON,
KEVIN MUHAMMAD, MANUEL MUKES ,


                                  117
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 118 of 3128




ANNETTE MUMPHREY, ADRIAN MUNOS,
EDWARD MUNOZ, GERARDO MUNOZ,
LAQUISHA MURPHY, LEE MURPHY III,
LAURENCE MURTAGH, RASHAD MYERS,
LALITA MYRICK, GUADALUPE NARANJO
III, RAQUEL NAVARRETE, BRENDEN
NEIDHART, JAMAL NEWTON, RUBY
NIETO, DAWN NOBLES, JANA NOTLEY,
VICTOR NUNEZ, NATHAN NUNN, KEVIN
ODOMS, ADEMOLA OLADERU, FRANKY
OLIVAREZ, CARLOS OLLER TAMAYO,
LARRY OMDAHL, CONOR OREILLY, LUIS
ORTIZ, KATANYA OSBORNE, KAMELIA
OSBORNE, ADEDAYO OTOKITI, ARTURO
OVALLE, JACLYNNE OZUNA, JOHN
PADGETT, RUDY PADILLA, ADRIAN
PADILLA, LAURIE PADRON, EDDY
PALMER, JASON PANTOHAN, LATRESEL
PATTERSON / JOHNSON, CARL PEARSON,
BARRY PEARSON, JAVIER PEDROZA,
MARQUIS PELLAM, NORMAN PELLETIER,
TEVIN PELZER, HECTOR PENA, EDUARDO
PERCIA, DIEGO PEREZ, JOSEPH PEREZ,
STEVEN PEREZ, ABIMELEC PEREZ
KUILAN, QUINTON PERKINS, SHAUNTE
PERRY, DUSTY PHIPPS, MIGUEL
PICCOLO, GERALD PICKETT, ADRIAN
PIERRE, EUGENE PIKE, WARREN POILE,
GIANCARLO POMAR, DAVID POOL,
DARIOUS PORTER, GEROMEY PORTER,
CHRIS PORTWOOD, SHIANN POSTELL,
DAVID POUNCY, CHRISTOPHER POUNCY,
JONATHAN POWELL, BILLY PRADIA,
DANIEL PRADO, ERIC PRENDEZ, DEREK
PRICE, CRYSTAL PRIESTLY, TIMOTHY
PRINCE, LAURA PRUITT, HEATHER PUES,
DEMARRIO PYATT, ABEL QUEZADA,
TRACY RADLEY, JACOB RAMIREZ, JOEL
RAMIREZ, ALEXIS RAMIREZ, ANDERSON
RAMIREZ, JORDAN RAMIREZ, JAKE
RAMIREZ, BOBBY RAMON, SCOTT
RAMOS, CARLTON RAND, SHANE
RANDALL, TIMOTHY RANDLE, JON
RANGEL, AARON RAY, STEPHEN
RECCHIA, RUSSELL REED, KADARIUS
REEDER, ELTONTE REESE, JORGE


                                  118
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 119 of 3128




REGALADO, THIERRY RENE, PETE
REYES, JASON REYNA, LATISHA
BELLVIN, EDDIE RHONE, GIOVANNI
RICCIARDI, AMY RICH, TROY
RICHARDSON, NICOLE RICHARDSON,
VERNON RICHARDSON, CLEMENT
RICHARDSON, ISAAC RICHARDSON,
ANGEL RICO, KEVIN RIOS, ADAM RIOS,
KEVIN RIOS RIVERA, CHRISTOPHER
RIVAS, LUIS RIVERA, ANTONIO RIVERA,
RAMON RIVERA CRUZ, RICARDO RIVERA
JR., WILLIAM ROBERTSON, SHANNON
ROBINSON, NATASHA ROBINSON, JULIUS
ROBINSON, RICHARD ROCHA, JORGE
RODRIGUEZ, ERIK RODRIGUEZ,
GERARDO RODRIGUEZ, DENISE
RODRIGUEZ, DANIELLE RODRIGUEZ-
CHAVEZ, LUIS RODRIGUEZRUIZ, ISAAC
ROMANKO, JOHNNY ROMERO, SAMUEL
ROSA, AURELIO ROSALES, GREGORY
ROSE, JASON ROY, JOSHUA RUBIO,
CHARLES WALKER, CHRISTOPHER
RUGGLES, SR, MARQUEL RUSSELL,
MIGUEL SALAS, PEDRO SALAS, JUAN
SALAS, ADAM SALAZAR, ROBERT
SALAZAR, CHRISTOPHER SALAZAR,
JORGE SALAZAR, DAVE SALDANA,
ANTHONY SALDIVAR, ROBERT
SALGADO, JOSE SALINAS, JERRY
SALLEE, JEREMIAH SAM-KPAKRA,
MICHAEL SAMUELS, ANDREW SANCHEZ,
NATHANIEL SANCHEZ, FREDERICK
SANDERS, AGUSTIN SANDOVAL,
EDUARDO SANTANA, VICTOR SARACHO,
ALEK SCHOTT, RANDY SCOTT, GLENN
SCOTT JR., MARCO SEGOVIANO, ROBERT
SEGURA, DEQUINCE SELLS, MARCO
SERRATO, MATT SETHI, JOHN SHERIDAN,
GWENDELYN SHERMAN, MISTI
SHOWALTER, JORDANIS SIERRA
MARTINEZ, ANDREW SIFUENTES,
THEODORE SIMMONS, NINEDAVONE
SIMPRASEUTH, ROKETTE SIMPSON,
COLBY SIMPSON, TIMOTHY SIMS,
KARAMBIR SINGH, KAIKHAM
SISOMPHANE, JOEY SITAL, LEE SMALL,


                                  119
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 120 of 3128




RICHARD SMART, JERRY SMART JR,
RODWICK SMITH, DAVID SMITH, LYNN
SMITH, TYLER SMITH, JOHN SMITH,
LUKE SMITH, DONALD SMITH,
DAMAREON SMITH, FREDA SMITH
BAKER , RANDY SON, OSMAN SORIANO,
XAVIER SOTO, LOUCIANO SOTO, JORIAH
SOTO, SERGIO SOTO, ROBYN SOWASH,
EVELYN SOZA, ANDREW SPENCER,
COREY WRIGHT, CARL STALEY, DARIUS
STARKES, TRACIE STEANS, KHRYSTALLE
STEBER, MICHAEL STERLING, MICHAEL
STEWART, BRANDON STEWART, JUSTIN
NUNN, LARONDA STOKES, HANS
STORSBERG, LYNDI STOUT, JERAMEE
STRAIN, LUIS SUAZA, LAWRENCE
SUITERS, SENA SULLIVAN, MICHAEL
SUMLAR, RANDY SURATT, DON SWINEY,
PINGAPHONG SYKINGKEO, NICKARA
TALBERT, DYLAN TAMBURRO, ANDRE
TATE, JUAN TAVAREZ, LAPORSCHE
TAYLOR, CANDICE TAYLOR, JECHONIAS
TAYLOR, SORIE TEJAN, RUBEN TELLEZ,
DAVID TELLO , BEN TEMPLETON, ANDRE
TENNARD, AMANUEL TESFAY,
CHRISTOPHER THOMAS, EMANUEL
THOMAS, CALVIN THOMAS, LATOYA
THOMAS, JEFFREY THOMAS, DARIUS
THOMPSON, CURRY THOMPSON,
KENNETH THORNE, WESLEY
THORNSBERRY, CARL TINDLE, ERIN
TOBIN, MARK TORRES, ERIC TORRES,
JAIMELL TORRES GONZALEZ, KEVIN
TRUONG, MATTHEW TUCKER, DARRYL
TUCKER, VAN TURNER, DEREK TUTSON,
REGINALD TUTT, GLEN TYLER,
EMERSON UMANA, PATRICK VANEGAS,
GONZALO VARGAS, GABRIEL VEAZIA,
ROGELIO VELASQUEZ, JOSE VELASQUEZ,
MICAELO VELASQUEZ, LARRY VESS,
NETHANEEL VIERA, BEATRIZ VILCHIS,
JESSICA VILLANUEVA, RICHARD
VILLARREAL, ANDRE VILLASANA,
ORLANDO VINCENTE, JAMES
VINOVRSKI, JAMES VIVERETTE, TUNG
VO, CAMILLE WAKEFIELD, DAMARCUS


                                  120
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 121 of 3128




WALDRUP, OMAR WALKER, CORNELIUS
WALKER, JOHNETTA WALKER, KENETRA
WALLACE, BRODERICK WALTON,
WAQUEENNA WALTON, SHAWN
WARFIELD, SHAWNTA WASHINGTON,
MONTERRELL WASHINGTON, JARRETT
WASHINGTON, MICHAEL WATKINS,
JONATHAN WATSON, DUCHESS WATTS,
JAMES WEIS, JAMES WELDON, DESMOND
WELLS, SUSAN WENNINGER, WAYLON
WERNETTE, DARIN WESLEY, DEMARCUS
WESTBROOK, JOHNATHAN WHITAKER,
CARL WHITE, DAIVEN WHITEMON,
JAMES WHITFIELD, WADE WIGGINS,
GEORGE WILLIAMS, ANTHONY
WILLIAMS, KENYATTA WILLIAMS,
JAMES WILLIAMS, SIERRA WILLIAMS,
SHERWON WILLIAMS, TAHISHA
WILLIAMS, JONTEL WILLIAMS, KYLE
WILLIAMS, CURTIS WILLIAMS, DONYIEL
WILLIAMS, EMERY WILLIAMS,
MARSHALL WILLIAMS, TAZA WILLIAMS,
ARTHUR WILLIAMS III , TODD WILSON,
JENITA WISE, RONALD WISEMAN, MARC
WISSMAN, JASMINE WOODS, PHILBRICK
WOODSON, STUART WRIGHT, ERIK
YARBOROUGH, ANTHONY YOUNG,
JESSICA YOUNG, ANGELA YOUNG,
DEMEIRON YOUNG, RAYMOND YOUNG,
PATSY YOUNG, ADRIAN ZAMORA,
BOBBY ZAMORA, JOSE ZAVALA,
TRISTAN ADAMS, PEHRSON ALLEN,
JAMES AUSTRENG, CHARLES BERNAL,
ADAM BILLINGS, CORY BOWMAN,
ANTHONY BRINKLEY, OLEG
BROADBENT, PAUL BUKOSKI, RANDY
CARSTENSEN, BRAD CARTER, TYLER
CHAPMAN, ISRYEL COOK, JOSEPH
DEGOLYER, ROBERT DYER, JULIE EARL,
STEVE ECHAVARRIA, BYRON ELLIOTT,
KRYSTAL ETSITTY, RUSSELL EVANS,
ABRAHAM FALATEA, CAMERON
FARNES, ERIC FRY, STEVEN GARZA,
AUSTIN GRAYBILL, BRANDON GUYMON,
WYATT HART, JOSHUA HIGBEE,
JONATHAN HUERTA, RONALD HUGHES,


                                  121
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 122 of 3128




JARED HULL, CHRISTOPHER JACKSON,
CRAYTON JOHNSON, ROY KINGSBURY,
TIOTALA LEIATAUA, AUSTIN LESUEUR,
ZACH LOFTIN, GABRIEL TOR,
ALEJANDRO MARTINEZ, CHRISTOPHER
MCINDOE, JAMES MONTGOMERY,
MITCHELL OLIPHANT, NATHAN OLSEN,
ROY PEARSON, JAMES PRIOR, TRACY
PYMM, HEATHER PYPER, JUAN RAMOS,
SR., JUSTIN RANDOLPH, LANCE REED,
JACKSON RICH, TREVOR ROMIJN, TRENT
ROSENKRANTZ, JAMES RUYBAL,
WILLIAM SABIN, DANIEL SADLER,
PHILLIP SANCHEZ, CHRIS SAVILLE,
RYAN SHAW, TYLER SHEARER, CHARLES
SIMMONS, ZACHARY SIMPSON, MICHEAL
SLAMA, ZACH SMITH, THOMAS
STEGGELL, ROBERT STEPHENSON,
DAVID STEWART, BILLY TAKAI, BEN
TANNER, WENDY TAYLOR, CHAD
THOMPSON, TOMY TIBURCIO, SOSAIA
TUUHETAUFA, EDUARDO UMANA
ALVARADO, MICHAEL VAIDULAS, LUIS
VALENZUELA, NICHOLAS WARNER,
JAMES WEBB, TROY WIES, STEVE
ZIPPRO, SHANNON BROWN, SEAN
COUCH, ROBERT FRIEND, THOMAS
HEATHER, TYSON HUNTLEY, ANTHONY
KING, ALEX SCIALDONE, RYAN
SELLECK, JESSICA STURTEVANT,
RONALD SWENOR, JOHN TANIS, DEREK
THURAIAIYAH, VLADIMIR TIRON,
BENJAMIN TRUDELL, SHEPERD WARD,
TIMOTHY WHEELOCK, LARRY ABNEY,
HOWARD ADKINS, DAVID ALDRIDGE,
LARHONDA ALEXCEE, TERRY
ALLAMONG, FESHONE ALLEN, DANIEL
ALSTON, STANLEY ANSELL, CHRISTIAN
ANTWI, MOHAMMED ARKAWI, ISAIAH
ARNOLD, TIMOTHY ASBELL, BYRON
AUGUSTINE, RUTH AUSTIN, ABDULSAMI
AZIMI, MICHAEL BAILEY, LYNNELLE
BANKS, FELTON BANKS II, TABITHA
BARBER, SEAN BARENTINE, ADAM
BEAHM, DAPHNE BELL, MIA
BENNINGTON, DONDELL BEST, RICHARD


                                  122
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 123 of 3128




BEURER, TIYA BIBBS, ALEXANDER
BILLUPS, ROBERT BLANCH, WILLIAM
BLOCKER, PATRICK BOAKYE, TONNEY
BOAN, JERMAINE BOATNER, JOHN BOISE,
BRANDON BOND, MARVIN BOOKER,
CHRISTOPHER BOONE, BRIAN BOYCE,
WAYNE BRANN, SABRINA BRILL,
MONICA BROADNAX, JEFFERY BROOKS,
MICHAEL FERGUSON, RENADO BROWN,
JAMEZE BROWN, KENNETH BROWN,
TERRENCE BROWN, JAYVON BROWNLEE,
DEREK BRUMFIELD, ANTHONY BRYANT,
MICHAEL BUCHANAN, DAVID BULLOCK,
LEVAR BUTLER, MARK CALANO, JACOB
CASAS, ROBERT CHANDLER, BOUNLAY
CHANYAY, REBEKAH CHILDS, DEREK
CICHESKIE, ROBERT CLARK, JOHN
CLENDENIN, CASSANDRA CLEVELAND,
ALICIA CLINTON, TRAVIS COLLINS, REED
COOK, CORY COOPER, THEODORE COX
JR, MARKELL CREDLE, JOHN CRINER,
NATHAN CROSBY, DENNIS CROSON,
DANIEL CUNNANE, DARON CURETON,
WILLIAM DAILEY, IRVIN DAVIS,
BRADLEY DAVIS, AARON DAVIS,
ROBERT DAWKINS, CRAIG CAMPBELL,
DAVID DICKERSON, SHAVON THOMAS,
KIMBERLY DIXON, ROBERT DONALD,
BILLY DONLEY, JONATHAN DOUCHETTE,
DONNELL DOUGLAS, RYAN DRISKELL,
DARREL DUGGINS, KENNETH DYSON,
JAMAL EBANKS SMITH, LAWANDA
EDWARDS, ADRIAN ELLIS, JOHN ELLIS,
SCOTT ENGELKE, NIKIA EVANS,
VALENTINE FARLAND, JARRID
FAUNTLEROY, LYNN FAXON-GOSS,
MICHAEL FENWICK, BRANDY
FITZGERALD, NICOLE FLOWERS,
EUGENE FRIMPONG, WESLEY GADSON,
JOSEPH GANGI-SCHMIDT, PATRICK
GANNON, JOHN GANT, TAYLOR
GARLICK, ANDRE GARNER, PAUL
GAUTHIER, WALTER GAVIDIA,
CHRISTOPHER GILLESPIE, JAVONTE
GILLIS, MARGARET GILLUS, SERGIO
GOMEZ, DARIAN GOODE, TYRE


                                  123
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 124 of 3128




GOODMAN, WILLIE GOODWYN, CHANICE
GORDON, JARLESHIA GOVAN, JEREMY
GOWERS, ROY GRAVES, DEVITA
GRAVES, MICHAEL GRAY, JOSEPH
GREEN, TAWANA GREENE, KURT GREER,
DANIEL GRINNELL, JOHN GUINN, ROSS
HAITH, WILLIAM HALLUMS, ERIC
HAMILL, PAUL HAMILTON, ROBERT
HAMPTON, MIQUITTA HARGROVE, TINA
HARGROVE, CHRISTOPHER HARRIS,
RONEE HARRIS, DONNELL HARRIS,
DAMIEN HARRIS, MALCOM HARWOOD,
DIANA HAWKINS, PERRY HAWLEY,
GREGORY HEASTER, SHARILYN
HENDERSHOT, SCOTT HENDRICKS,
DEREK HENNETT, DYRELL HEWLETT,
ANTHONY HICKS, DANIEL HITE, REDZO
HODZIC, ROBERT HOFFMAN, DEBORAH
HOLLINS, DONALD HOLMES III,
GREGORY HOOD, RICHARD HOOD, KEVIN
HOOGHKIRK, KENDRICK HOPSON,
HARRY HOWERY, JAMES HRIBAR, COREY
HYMAN, MOHAMMED IBRAHIM, EDDIE
IRIZARRY, LARRY JACKSON, DAKOTA
JACKSON, RENEE JACKSON, LEONARD
JACKSON IV, ALBERT JACOBS, MARCEL
JAMES, DENNIS JEMISON, CARL JENKINS,
JAMES JOHNSON, RALPH JONES,
MICHAEL JONES, COREY JONES, GAIL
JONES, TYWAN KEENE, HAWOONG KIM,
STANLEY KIRKWOOD, TIERRA KNOX,
SHAWN LAMBERT, MARVIN LASSITER,
BRENT LEASE, COCO LEEMKUIL,
DEMARIO LEWIS, RICHARD LEWIS,
THOMAS LLOYD, SIDNEY LOGAN,
MARCUS LOGAN, DONATELLO LUCAS,
MICHAEL LYDAY, LA-ANTWOINETTE
LYNCH, FELIX MAOGA, BRADLEY
MARTIN, RICARDO MARTINEZ, DUANE
MATTHEWS, KAYLA MATTHEWS,
SYLVIA MAYFIELD-JACKSON, CARTIAS
MAZONGE, DAVID MCBRIDE, LEROY
MCBRIDE, IRENE MCCABE, FRANK
MCCLAIN, ADAM MCCLENNEY, DAVID
MCCORMICK, TERESA MCLELLAN,
MARIO MCMORRIS, NATASHA


                                  124
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 125 of 3128




MEADOWS, VICTOR MEADOWS, JOYCE
MELTON, JAMES MEREDITH, PAUL
MILBERRY, SANTINO MILES, DAVID
MILES, STEVEN MILLER, TYSON MILLER,
JERRY MOBLEY, KEVIN MOFFATT,
MICHAEL MONROE, WILLIAM MONROE
IV, NICHOLAS MOODY, KELCEY MOORE,
RONALD SHOUGH, JAY MORGAN,
MICHAEL MORGAN, TYRONE MOSLEY,
KENNETH MULLENS, ROGER MUNFORD,
STEPHEN MUNRO, LIRIDON MUSLIU,
MATTHEW MYERS, ROLANDO NASH,
BRYANT NEW, WILLIAM NEWBY JR,
AARYN NEWCOMB, DAVID NICHOLS JR.,
PETER NUGENT, BOBBY OQUINN,
RANGEL OTERO, JAMES OTWCHEY,
PHILLIP OWENS, MIGNON PARKER,
LINDSEY PARSONS, IAN PATTERSON,
RONALD PAYNE, MARK PEARSON,
MICHAEL PEGGS, TAMEISHA
PENNINGTON, MICHAEL PERRY, TRAVIS
PHILLIPS, MIKA POMALES, ANTHONY
POWERS, PAUL PROFIT, ANDREA
RAHALL, MOHAMMAD RAHMAN,
RODGER RAMSEY, ARCHIE RANDALL,
JOVAN RAY, USMAN RAZZAQ, JORDAN
REID, KEANDRE JETT, ANDRE RICKETTS,
MARCUS RILEY, CAROLYN RILEY,
SHANEKQUA RIVERA, ZACHARIAH
ROBERTSON, MICHAEL ROBINSON,
DOMINICK RODOLIS, ZACHARY ROGERS,
ROBERT ROOTES, GINA ROWE, VINCENT
RUSSO, MOHAMMED SADEK, GERALD
SAMUELS IV, ADOLPH SATOSKI,
CHRISTOPHER SAUM, SAMUEL SEWARD,
JON SHANNON, TAHIB SHELTON,
CHRISTOPHER SHELTON, LARRY
SHILLING, MICHAEL SHIPP, MARIE
SHORT, JUSTIN SIMMONS, GEOFFREY
SMITH, LENISE SMITH, BRAD SMITH,
TERRENCE SMITH, JOSHUA SMITH ,
SANDY SNELLINGS, BRIAN SNODDY,
CARLOS SOLIZ, CHARLENA
SOMERVILLE, ANTHONY SOWAN,
DANIEL SPELLMAN, JOVON SPURLOCK,
TISHA STAHL, GARY STANSBURY, BRIAN


                                  125
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 126 of 3128




STEVENS, SEAN STEVENSON, JOHNNIE
STOUT, RUSSELL STRICKLER III,
SHAWNA SULLIVAN, CEDRIC SWAN,
GLENN TALBERT, JACOB TAYLOR,
TREVON TAYLOR, BRANDY TAYLOR,
MARQUIS TAYLOR, SHONICA TERRY,
GREGORY THOMAS, EDWARD ROBERTS,
BRAD THOMPSON, KRISTIN THRASHER,
TERRY TOMLIN-VAUGHAN, ANTONIO
TOUSSAINT, DARRELL TOWLES JR,
STANLEY TOWNES, KELLEY TURNER,
ANDRE TURNER, MICHAEL TWEEDY,
EDWARD UGARTE, STEVEN VALENTINE,
JEREMY VANCE, JOSHUA VAZQUEZ,
THOMAS VER SCHNEIDER, DARON
WADDY, JOSEPH WAINWRIGHT, RAVAN
WALKER, PATRICIA WALLACE,
RASHAUN WALLACE, CHARMAINE
WALLACE, SOLOMON WALLER, DAVID
WALLS, LAMAR WALTERS, LORI
WASHINGTON, JESSE WASHINGTON,
CHRISTINE WASHINGTON, RHAPHEL
WATKINS, DAVID WEATHERLY, TRAVIS
WHETZEL, GUY WHISNER, APRIL WHITE,
JAMES WHITE, MICHAEL WHITE, TRAVIS
WILLIAMS, CRYSTAL WILLIAMS,
BERNARD WILLIAMS, JR., ERIC
WILLOUGHBY, EDWARD WILSON,
LORETTA WILSON, ERIK WILSON, KIRK
WILSON, DEANDRE WIMLEY, KENNETH
WIX, JONATHAN WOMACK, YVETTE
WOODLEY, TERRY WOODS JR, ANDRE
WRIGHT, CLARA WRIGHT, NATHANIEL
ADAMS, COREY AKERS, HAYDIR AL
ROBAYI, MICKIE ALLEN, AUBREY
ALLEN, PERRY ALOFOE, MICHAEL
ALTENBURG, JOHN AMUNDSEN, CALVIN
ANDERSON, CRAIG APFELBECK, ANDRES
AYALA, HAMED AZAD, JERRY
BALLINGER, JUAN BARRETO, MICHAEL
BAXTER, MARK BECKLUND, JERAMY
BEDARD, THOMAS BIEBER, RICHARD
BIRNEL, JOHANN BISBING, ALREACE
BOLAR, NICOLE BOND, MATTHEW
BONDS, CHRISTOPHER BOU, CURTIS
BOYD, STEVEN BRAUN, NICOLE


                                  126
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 127 of 3128




BRIDGES, DANIEL BROWNING,
GLENDORIA BRUMIDGE, JOSHUA
BRYANT, VALENTIN BUDIMIR, FRANCOIS
BUKASA, CLINTON BURNHAM, JOSHUA
BURRESS, JOHN BURRITT, KEVIN
BUTLER, TSERENDAGVA BYAMBADAA,
JUSTIN CABRERA, JAMES CALDER,
RODRIGO CARSON, RODOLFO
CASTANEDA, CELINA CASTILLO, DANIEL
CATALAN, JUAN CEVALLOS ROBLETTO,
TERRANCE CHAN, SAMOEUN CHAN,
PHILIP CHAN, RYAN CHASE, TUAN CHAU,
OSCAR CHAVEZ, SAROEUN CHEA, KEVIN
CHILDRESS, JOSEPH CHIOCCA, YONG
CHOE, WILLIAM CLAY, MATTHEW
CLINES, MARLIN CLOY, BRUCE COFFEY,
ANTHONY COFFMAN, GREGORY COOTS,
TREVOR CORCORAN, RONALD COX,
DAWN COZZOLINO, WALTER CRUZ
CARO, RHONDA DAGAIS, RANDY
DAVIDSON, DWAYNE DAVIS, TERRY
DAY, KEVIN DEAN, KEENAN DEMELLO,
BRANDON DOLQUIST, MICHAEL DOVE,
PAUL DOYLE, CHARLES DUNGAN, JOHN
EASTWOOD, SCOTT ELLER, DANIEL
ESGET, ISIDRO ESPINOZA JR., MICHAEL
EXCELL, ANNETTE FALETOGO, DANIEL
FARAGE, TED FEENSTRA, ABRAHAM
FERRELL-LOGAN, AMI FILIMAUA,
DENNIS FISCHER, SHANE FISHER,
MIGUEL FLORES, DEVIN FLUDD,
JASMINE FOSTER, JOSHUA FREEMAN,
SHANNON FREEMAN, KELLY FRITZ,
HUBERT FULMER III, NICHOLAS
GALASSO-MUNOZ, TODD GAMACHE,
GARY GANO, BREYLON GARLAND,
LENNY GARRISON, STEVEN GARTNER,
CORY GOETZ, DARRIN GRAHAM, NOAH
GROSS, RAFAEL GUAJARDO, JOVY GUAN,
SAMANTHA GUTHRIE, KAVIK HAHN,
ANDREW HALEY, JAMES HALLBERG,
JERRY HARAI, STEVEN HARRINGTON,
SHARMAN HASSAN, JENNIFER HEBERT,
DONALD HEDGLIN, TIFFANIE HEDMAN,
YURIA HERNANDEZ, KYLE HIGMAN,
YOUNGWOON HILLS, LAZERRICK


                                  127
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 128 of 3128




HOLIDAY, JOHN HOLL, SUN HONG, KARL
HORN, WENDELL HORTON, JARED HOWE,
MATTHEW HUCK, STEVEN HUNT,
MARVIN IM, BONNIE JANSSEN, PAULRY
JEAN FRANCOIS, VLADIMYR JEAN-
ROSEMOND, BRENDA JOHNSON, KEVIN
JONES, ALLEN JONES, JOSHUA JONES,
BRIAN JORN, SHEILA JOY, TIMOTHY
KALLAM, NICHOLAS KENT, JASON
KEOSIAN, MIN KIM, EUNG KIM, MICHAEL
KIRWAN, BRETT KITE, ERIC KOLB,
STEPHEN KONONOVICH, CHARLES
LAMAIRE, JEROMY LAWSON, MIGUEL
LAYGO, JONGSANG LEE, JITU LEECH,
RYAN LEFFMAN, TODD LEISER, JOSE
LEON, EDUARDO LEZAMA, BRANDON
LINDGREN, ZACHARY LONG, TRAVIS
LONGENECKER, HARRY LOVE IV,
VINCENT LUKE, CARIE LUSTIG,
ROCHELLE M BASS, EFREN MARFIL, ERIC
MARTIN, PAVLO MARUSETSKYY, JAMIE
MASON, ERIC MATHEWS, LUKE MAVES,
JORELL MCAULIFFE, GABRIEL
MCFARLAND, KRISTEN MCKENZIE,
DARRELL MCLAURIN, TERRY
MCNAMARA, JEREMY MENDEZ, KELLY
METZLER, TERRANCE MILLER, SR.,
ELVESTER MILLER, CLAYTON MINCEY,
RAYMOND MINGMING, JAMES
MIRAGLIA, JACK MOLINE JR , JUAN
MORENO GOMEZ JR, JAVIER MUNOZ,
MOHAMMAD NABIZADA, ROMMEL
NATERAS, VITALIY NAZARCHUK,
CHRISTOPHER NELSON, PHUONG
NGUYEN, KYLE NORRIS, MARK NUZUM,
KRISTOFFER OCAMPO, TOMMY OLIVER,
BRIAN OLSON, PAIGE OMALLEY, JASON
OWENS, ALEX PADILLA, SALINA
PARKER, RYAN PAWLOSKI, ANGEL PAZ,
STEVEN PECKHAM, SEQUITA PEGRAM,
KAREN PEREZ, CHRISTIAN PERFECTO,
ANTHONY PERRY, CLINT KLEVESAHL,
SVETLANA POLISHCHUK, JABRIEL
PUMAREJO, JAMES QUAYLE, LAURA
RAND, ANDRES REYES SOTO, ANTHONY
RHODES, RAY RHONE, AMBER RICE,


                                  128
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 129 of 3128




DANIEL RICHARDSON, NICHOLAS RIOS,
RODNEY ROBBINS, LAKE ROBERTS,
DONTE ROBERTS, YURIRIA RODRIGUEZ,
JOHN ROGERS JR, HERIBERTO ROSADO,
MICHELLE ROWE, MAHYAR SAJADI,
RAFAEL SANTOYO CORTES, JEAN
SCHAAF, ZACK SCHAFER, KEVIN
SCHLEWITZ, SAMUEL SCHULLER, ADI
SENILOLI, GARY SHAFER, ANDREY
SHVETS, RENEE SIMPKINS, NATHANIEL
SLATTERY, JOSHUA SLAUGHTER,
DONALD SLY, MIKE SNELLGROVE,
LILIAN SOCHIRCA, MAKENNA SOLBERG,
PEGGY SOLVER, BRANDY SOLVER,
CHRISTOPHER SOUERS, BRIAN STANLEY,
APRIL STEELE , RETTEN STEINCIPHER,
COLE STEPHEN, SETH STEWART, BLAKE
STOKES, JOHN STROBEL, ALEXANDRU
TABUNSCIC, SOLIALOFI TALI, BINYAM
TILAHUN, NIAN TAYLOR, TERRY
TAYLOR, JOE TELMETANG, SARA
TEMPLETON-KINTNER, DAVID
TJULANDER, DARIN TOGNAZZINI,
STEVEN TOWLE, NGHIA TRAN, DUYET
TRINH, TIMBER TURNER, ASHLEY
TWITTY, MARQUES TYSON,
KHATANBAATAR UGTAKHBAYAR, JESSE
URBINA SALAZAR, JONATHAN UTU,
OSCAR VILLASANA, DEREK VON AHN,
ROBERT WATTS, KEITH WELCH,
BRENNEN WEST, BRIAN WEST, KYLE
WICHERN, EDDIE WILLIAMS, LARRY
WILMEY, JAMALH WILSON, CHARLES
WITTNER, ANTHONY WRIGHT,
CHANGHYUN YUM, JERRY ZAN, KALEB
ZAVALA, SCOTT A AKERS, TIMOTHY
ADKINS, JESSICA BAILEY, BOBBY
BROCK, JAMES BURGESS, MICHAEL
CAIN, CHRISTOPHER CALVERT, RANDY
CAMPBELL, JERRY CHASTEEN, JUSTIN
COLE, RONALD COLEMAN, TYSON
COLVIN, STEVEN CRESS, RICK CUTLIP,
LARRY DANIELS, STEPHEN DAWSON,
PAUL DINGESS, RICHARD EASTMAN,
RANDY EATON, MATTHEW FERRELL,
HERMAN GIBSON, LUKE GOMMER,


                                  129
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 130 of 3128




RUDOLPH GRIFFITHS, JESSICA HADEN,
BRIAN HALL, GERALD
HANDSCHUMACHER, ANTHONY HELMS,
JESSICA HELMS, ROBERT HIXON,
CHRISTOPHER HOLLOBAUGH, SHANE
HOLSTINE, ROBERT JEFFREY JR., ALAN
JOHNSON, RACHAEL JOHNSON,
KENNETH KAYSER, JIMMY KIRBY,
PATRICIA KYER, JOHN LEFTWICH,
ANDREW MARTIN, HEATHER MCDANIEL,
JAMES MILLER, JOSHUA MURRAY, SETH
NESTOR, ERIC ODEN, CHRISTOPHER
PARKER, DENNIS PENNINGTON , JOHN
PUTMAN, MARK RASCHELLA,
JOHNATHON RIFE, LARRY ROWAN II,
THOMAS SASTRAM JR., RONDAL
SHINGLETON, BILL SHREVE, FAITH
SMITH, KRYSTION STOVER, CHERIE
SUMMERS, JAMES SUTHERLAND,
CAMERON TOWLES, DUSTIN UDELL,
DUANE VICKERS, AMY VINSON/CREASY,
SHERRI WEBB, JEREMY WILLIAMS, CHAD
WILLIAMS, CHRISTOPHER WILLIAMS,
BRANT WORKMAN, JASON YANKIE,
DENNIS AHOLA, JOHN ANDERSON JR.,
MICHELLE ANGLEMYER, NICHOLAS
BANCROFT, BRADFORD BARR, DAVID
BASACKER, NATHANIEL BEAMAN,
KENNETH BITTORF, BRETT BLINDAUER,
JORDAN BLOY, CARDELL BONSLATER,
ERIC BOWERS, WAYNE BOYLES, BRIAN
BREMER, JAMES BRITTON, ROMAN
BUNDY, CASSANDRA BURGEN NOW ST.
JOHN, JOHN CANTRELL, VANDOLA
CHAMBERS, JEREMY CHAPMAN, SHEILA
CHESTER, ANTHONY CHRISTIANSON, TY
CLINTON, LISA CONN, RONALD CORN,
CAROLYN CRENSHAW, PRESTON CROOK,
SETRIC CURTIS, NICOLE DAHLVIG,
BRIDGET DANIELS, SCOTT DAWSON,
TYREL DESROSIER, DANIEL DEWITT,
DANIEL DOEDENS, JAIR DOSSER,
TIMOTHY DRINKA, TAMMY DVORAK,
JESSICA EBERL, ANDREW EISLER, LOREN
EKERN, DAVID ELLIOUS, GERALD
ERICKSON, STERLING EVERT,


                                  130
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 131 of 3128




CHRISTOPHER FAHRBACH, MARK
FELDKAMP, JESSE FERKINGSTAD, TAMI
FISHER, ANDRE FLEMING, SETH
FREEMAN, DONALD GALLENBERGER,
GREGORY GIVENS, KEANNA GOCHET,
TYLER GOLLAKNER, DREW GOODE,
SARA GRANDI, STEPHEN GRAY, BRETT
HAGGERTY, ANGELA HANSEN, BRIAN
HANSON, SHARLISSA HARRIS, RANDALL
HASS, JAMES HASSELL, PAUL HASSLER,
TY HAUDEN, ANDREW HAUKE, TYLER
HENDRICKSON, DARRELL HESTER,
JAMES HIGGINS, TERRANCE HILSON,
MICKEY HOLLAND, DEVONTE HUBBARD,
SCOTT HUFFMAN, TROY HUGHES,
ANGELITA INGRAM, BRIAN INSTENESS,
AMANDA JAEGER, TERESE JANSSEN,
ILYAS JEELANI, DON JENSEN, PHILLIP
JOHNSON, NICHOLAS JOHNSON, TREKIEL
JOHNSON, TYISHA JONES, DANIEL JOSKI,
JOSHUA JURANITCH, GREG KANE,
ALLISON KARAU, RODNEY KEENAN,
MARK KEEPERS, AMY KEEPERS, DAVID
KLUTH, VASILIS KOLINTZAS,
CHRISTOPHER KOMOROWSKI, HEATHER
LABREC, NADIA LAID, CATHERINE
LANDERS, BLIA LEE, RICHARD LEE,
BRANDON LEE, RENEE LEISGANG,
DUSTIN LENTZ, JEFFREY LEPINSKI,
PABLO LIRA, NICHOLAS LOPEZ, SCOTT
LUDWIG, PAUL LUNDQUIST,
CHRISTOPHER KIEL, MATTHEW
MARCHINOWSKI, KATHLEEN
BEMBENEK, PATRICK MATUSZEWSKI,
MICHAEL MATYSHAK, JAMES
MEOMARTINO, JUSTIN MERRIWETHER,
ZACHERY MIELKE, MARTIN MILDREN,
TRACY MILES, DRAGAN MILISAV,
MICHELE MILLER, ROLVAUNGHA
MOLETT, JOSE MUNGUIA, JERMAINE
NAPPER, ARNOLD NAQELLARI,
JEREMIAH NEUMANN, SHANNON NUFER,
MIKE OBRIEN, MICHAEL OCONNELL,
KEVIN OIMOEN, PAUL OJANEN, ERIC
PAYETTE, ADRIAN PAYNE, GERALD
PELT, ROBERT PENIGAR, BRYAN PEREZ,


                                  131
  Case 2:24-cv-01129-RJC   Document 1   Filed 08/06/24   Page 132 of 3128




SCOTT PERGOLSKI, CLAYTON
PERZINSKI, JAMES PETERS, KENNETH
PETERSON, DONALD PLANT, ADAM
POLDEN, VERNOE POPE, SEAN PORTER,
BRIAN PRITULA, MICHAEL PRZLOMSKI,
RAYMOND PUGH, TIMOTHY RADATZ,
STEVEN RADOSEVIC, WILLIAM RAMOS
JR., DAREN REDLIN, JASON REIGER,
LYNNE REILLY, DIANE REINDERS, PAUL
RICCHIO, ALONTE RICHARDSON, JASON
RIPP, CHRISTOPHER ROBINSON, CHAD
ROELKE, KEVIN ROTHMEYER, KIP
RUBENZER, MIRANDA RUDE, JAMES
BOLGER, RANDOLPH SARNOWSKI, CORY
SCHAEFER, VALINDA SCHMALFELDT,
IAN SCHNEIDER, KENNETH SCHROEDER,
DEAN SCHROEDER, DANETTE SCHUTTE,
ANTHONY SCIUTO, ROBERT SELL, SCOTT
SHILL, DOUGLAS SHINKER, MARCHON
SKILLOM-TATE, JAMES SKINNER,
TAYLOR SLABACK, CHRISTOPHER
SORENSON, DAVID SPENCER, LORI
STELLAR, KEITH STELLOH, RICHARD
SUNDSTROM, MAURKES SWARN, JASON
TANK, EDGAR TAYLOR, TRAVIS
TENKLEY, BRANDON THOMAS, RYAN
THOMPSON, JEREMIAH THOMPSON,
REGGIE THOMPSON, BAMBI TISCHER,
JOSEPH TJADER, SEAN TOBIN, RUSSELL
TOCK, ROSS TOLLGAARD, JUSTIN
TORRES, ANTHONY TORRUELLA,
TAMICKA TRAWICK, JUSTIN
TRETHEWEY, PATRICK TSCHIMPERLE,
WILLIAM VANDEHEI, LUCAS
VANDENDRIES, LIA VILLARREAL, PAUL
VIND, JAMES VOGEL, KAMAURI
WALLACE, ANTHONY WASHINGTON,
ANTHONY WHITE, MARK WIDMAR,
AMANI WILBORN, JOSEPH WILKE, LORI
WILLACKER, HEATHER WILLIAMS,
MORRIS WILSON, LAVONNE WINGER,
JAMI WOZNIAK, ANTHONY WRIGHT,
JAMES WUERL, JONATHON WYLIE, SEAN
ZEZNANSKI, DAVID ANDERSON,
TIMOTHY BENSON, ERIC CHILDRESS,
CHRIS CORDOVA, CARMI DEPARASIS,


                                  132
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 133 of 3128




 JERRY HERBIN, JULIUS JOHNSON, EARL
 KEITH, SEAN MATOON, JASON MEINZ,
 JEFFREY MERRY, DALE SHEETS,
 MICHAEL SMITH, JAMES TOLLE,
 CHELSEA VALLEE, and LARRY YOUNG

                Plaintiffs,

         v.

 FEDEX GROUND PACKAGE SYSTEM, INC.
 and FEDEX CORPORATION

                Defendants.


                                        COMPLAINT

        Plaintiffs bring this action against Defendants FedEx Ground Package System, Inc. and

FedEx Corporation (collectively, “FedEx”) for violations of the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §§ 201, et seq., as well as under the laws of Alaska, California, Colorado,

the District of Columbia, Hawaii, New Mexico, New York, and Washington.

                               JURISDICTION AND VENUE

        1.     Jurisdiction is proper under 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

        2.     Venue in proper under 28 U.S.C. § 1391(b)(2).

                                           PARTIES

        3.     Plaintiff Michael Abner is an individual residing in Alabama. Abner worked as a

delivery driver for FedEx in Alabama from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Abner has been

eligible to receive overtime pay under the FLSA because Abner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              133
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 134 of 3128




        4.    Plaintiff James Abrams is an individual residing in Alabama. Abrams worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Abrams has been eligible to receive overtime pay

under the FLSA because Abrams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5.    Plaintiff Latasha Abrams is an individual residing in Alabama. Abrams worked as

a delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Abrams has been

eligible to receive overtime pay under the FLSA because Abrams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6.    Plaintiff Lisa Adams is an individual residing in Alabama. Adams worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7.    Plaintiff Richard Adams is an individual residing in Texas. Adams worked as a

delivery driver for FedEx in Alabama from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             134
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 135 of 3128




        8.    Plaintiff Aaron Addie is an individual residing in Alabama. Addie worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Addie has been

eligible to receive overtime pay under the FLSA because Addie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9.    Plaintiff Terence Agee is an individual residing in Alabama. Agee worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Agee has been eligible to receive overtime pay under

the FLSA because Agee has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10.   Plaintiff Randy Allen is an individual residing in Alabama. Allen worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11.   Plaintiff Paul Allison is an individual residing in Alabama. Allison worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Allison has been

eligible to receive overtime pay under the FLSA because Allison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              135
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 136 of 3128




        12.   Plaintiff Brittany Andrews is an individual residing in Alabama. Andrews worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Andrews has been

eligible to receive overtime pay under the FLSA because Andrews has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        13.   Plaintiff Quenthia Austin is an individual residing in Alabama. Austin worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Austin has been eligible to receive overtime pay

under the FLSA because Austin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        14.   Plaintiff Francistony Axell is an individual residing in Alabama. Axell worked as

a delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Axell has been

eligible to receive overtime pay under the FLSA because Axell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        15.   Plaintiff Richard Baggett is an individual residing in Texas. Baggett worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Baggett has been

eligible to receive overtime pay under the FLSA because Baggett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              136
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 137 of 3128




        16.   Plaintiff Ramaade Bailey is an individual residing in Alabama. Bailey worked as

a delivery driver for FedEx in Alabama from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        17.   Plaintiff Shonte Baltes is an individual residing in Alabama. Baltes worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Baltes has been

eligible to receive overtime pay under the FLSA because Baltes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        18.   Plaintiff Derek Barber is an individual residing in Alabama. Barber worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Barber has been

eligible to receive overtime pay under the FLSA because Barber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        19.   Plaintiff Jasmine Barge is an individual residing in Alabama. Barge worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Barge has been

eligible to receive overtime pay under the FLSA because Barge has driven a vehicle weighing




                                              137
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 138 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        20.   Plaintiff Vickie Barlow is an individual residing in Alabama. Barlow worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Barlow has been eligible to receive overtime pay

under the FLSA because Barlow has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        21.   Plaintiff Jaris Barner is an individual residing in Alabama. Barner worked as a

delivery driver for FedEx in Alabama from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Barner has been

eligible to receive overtime pay under the FLSA because Barner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        22.   Plaintiff Jessa Barnes is an individual residing in Alabama. Barnes worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been

eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        23.   Plaintiff Jodie Barnett is an individual residing in Alabama. Barnett worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Barnett has been eligible to receive overtime pay




                                              138
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 139 of 3128




under the FLSA because Barnett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        24.   Plaintiff Aaron Barron is an individual residing in Alabama. Barron worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Barron has been

eligible to receive overtime pay under the FLSA because Barron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        25.   Plaintiff Darron Barry is an individual residing in Alabama. Barry worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Barry has been

eligible to receive overtime pay under the FLSA because Barry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        26.   Plaintiff Zackary Bates is an individual residing in Alabama. Bates worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Bates has been

eligible to receive overtime pay under the FLSA because Bates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        27.   Plaintiff Tracy Bearden is an individual residing in Alabama. Bearden worked as

a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bearden has been



                                              139
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 140 of 3128




eligible to receive overtime pay under the FLSA because Bearden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        28.   Plaintiff Brittni Beggs is an individual residing in Alabama. Beggs worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Beggs has been

eligible to receive overtime pay under the FLSA because Beggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        29.   Plaintiff Timothy Beggs is an individual residing in Alabama. Beggs worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Beggs has been

eligible to receive overtime pay under the FLSA because Beggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        30.   Plaintiff David Bentley is an individual residing in Alabama. Bentley worked as a

delivery driver for FedEx in Alabama from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bentley has been

eligible to receive overtime pay under the FLSA because Bentley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        31.   Plaintiff Shericko Billingsley is an individual residing in Alabama. Billingsley

worked as a delivery driver for FedEx in Alabama from approximately 2015 to 2024 but was



                                              140
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 141 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Billingsley has been eligible to receive overtime pay under the FLSA because Billingsley has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        32.   Plaintiff John Birdsong is an individual residing in Alabama. Birdsong worked as

a delivery driver for FedEx in Alabama from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Birdsong has been

eligible to receive overtime pay under the FLSA because Birdsong has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        33.   Plaintiff Tracey Bishop is an individual residing in Alabama. Bishop worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bishop has been

eligible to receive overtime pay under the FLSA because Bishop has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        34.   Plaintiff Randall Blackmon is an individual residing in Alabama. Blackmon

worked as a delivery driver for FedEx in Alabama from approximately 2012 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Blackmon has been eligible to receive overtime pay under the FLSA because Blackmon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              141
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 142 of 3128




        35.   Plaintiff James Blanchard is an individual residing in Georgia. Blanchard worked

as a delivery driver for FedEx in Alabama from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Blanchard has been

eligible to receive overtime pay under the FLSA because Blanchard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        36.   Plaintiff Frederick Boykin is an individual residing in Alabama. Boykin worked

as a delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Boykin has been

eligible to receive overtime pay under the FLSA because Boykin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        37.   Plaintiff Kelvin Bradford Jr is an individual residing in Alabama. Bradford Jr

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bradford

Jr has been eligible to receive overtime pay under the FLSA because Bradford Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        38.   Plaintiff April Bradley is an individual residing in Alabama. Bradley worked as a

delivery driver for FedEx in Alabama from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bradley has been

eligible to receive overtime pay under the FLSA because Bradley has driven a vehicle weighing




                                              142
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 143 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        39.   Plaintiff Anthony Brand is an individual residing in Alabama. Brand worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Brand has been

eligible to receive overtime pay under the FLSA because Brand has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        40.   Plaintiff Angela Brannon is an individual residing in Alabama. Brannon worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Brannon has been eligible to receive overtime pay

under the FLSA because Brannon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        41.   Plaintiff Heather Brannon is an individual residing in Alabama. Brannon worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brannon has been

eligible to receive overtime pay under the FLSA because Brannon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        42.   Plaintiff Edwin Brown is an individual residing in Georgia. Brown worked as a

delivery driver for FedEx in Alabama from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing



                                              143
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 144 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        43.   Plaintiff Aaliyah Brown is an individual residing in Alabama. Brown worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        44.   Plaintiff Shannon Brown is an individual residing in Alabama. Brown worked as

a delivery driver for FedEx in Alabama from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        45.   Plaintiff Caleb Brown is an individual residing in Alabama. Brown worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        46.   Plaintiff Travis Brown is an individual residing in Alabama. Brown worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been



                                              144
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 145 of 3128




eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        47.   Plaintiff Trevor Bryant is an individual residing in Florida. Bryant worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        48.   Plaintiff Shardae Bryant is an individual residing in Alabama. Bryant worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        49.   Plaintiff Jason Bryant is an individual residing in Alabama. Bryant worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        50.   Plaintiff Corey Bryant is an individual residing in Alabama. Bryant worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed



                                              145
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 146 of 3128




through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        51.    Plaintiff Chanetrice Bullock is an individual residing in Alabama. Bullock worked

as a delivery driver for FedEx in Alabama from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bullock has been

eligible to receive overtime pay under the FLSA because Bullock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        52.    Plaintiff Rowland Burrell is an individual residing in Alabama. Burrell worked as

a delivery driver for FedEx in Alabama from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Burrell has been

eligible to receive overtime pay under the FLSA because Burrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        53.    Plaintiff Laveeta Burt is an individual residing in Alabama. Burt worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Burt has been eligible to receive overtime pay under

the FLSA because Burt has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        54.    Plaintiff Tiffany Bush is an individual residing in Alabama. Bush worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2024 but was employed



                                              146
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 147 of 3128




through intermediary entities that FedEx calls independent service providers. Bush has been

eligible to receive overtime pay under the FLSA because Bush has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        55.   Plaintiff Plushette Caldwell is an individual residing in Alabama. Caldwell

worked as a delivery driver for FedEx in Alabama from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Caldwell

has been eligible to receive overtime pay under the FLSA because Caldwell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        56.   Plaintiff Larry Calhoun is an individual residing in Alabama. Calhoun worked as

a delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Calhoun has been

eligible to receive overtime pay under the FLSA because Calhoun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        57.   Plaintiff Aaron Cannon Jr. is an individual residing in Alabama. Cannon Jr.

worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Cannon

Jr. has been eligible to receive overtime pay under the FLSA because Cannon Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              147
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 148 of 3128




        58.   Plaintiff Melissa Carr is an individual residing in Virginia. Carr worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carr   has been

eligible to receive overtime pay under the FLSA because Carr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        59.   Plaintiff Delrico Carter is an individual residing in Alabama. Carter worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        60.   Plaintiff Demond Carter is an individual residing in Alabama. Carter worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        61.   Plaintiff Orenthal Nance is an individual residing in Alabama. Casmier worked as

a delivery driver for FedEx in Alabama from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Casmier has been

eligible to receive overtime pay under the FLSA because Casmier has driven a vehicle weighing




                                              148
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 149 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        62.    Plaintiff Sherika Carroll is an individual residing in Alabama. Casmier worked as

a delivery driver for FedEx in Alabama from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Casmier has been

eligible to receive overtime pay under the FLSA because Casmier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        63.    Plaintiff Kyra Chastang is an individual residing in Alabama. Chastang worked as

a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chastang has been

eligible to receive overtime pay under the FLSA because Chastang has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        64.    Plaintiff Marcus Chester is an individual residing in Alabama. Chester worked as

a delivery driver for FedEx in Alabama from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chester has been

eligible to receive overtime pay under the FLSA because Chester has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        65.    Plaintiff Willie Christful is an individual residing in Alabama. Christful worked as

a delivery driver for FedEx in Alabama from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Christful has been



                                               149
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 150 of 3128




eligible to receive overtime pay under the FLSA because Christful has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        66.   Plaintiff Deshawn Clay is an individual residing in Alabama. Clay worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Clay has been

eligible to receive overtime pay under the FLSA because Clay has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        67.   Plaintiff Ryan Coburn is an individual residing in Alabama. Coburn worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Coburn has been

eligible to receive overtime pay under the FLSA because Coburn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        68.   Plaintiff Zachary Cochran is an individual residing in Alabama. Cochran worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Cochran has been eligible to receive overtime pay

under the FLSA because Cochran has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        69.   Plaintiff Marvin Coleman is an individual residing in Alabama. Coleman worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been



                                              150
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 151 of 3128




eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        70.   Plaintiff Richard Kral is an individual residing in Alabama. Collins worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        71.   Plaintiff Jay Cooper is an individual residing in Alabama. Cooper worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        72.   Plaintiff Jason Corbin is an individual residing in Alabama. Corbin worked as a

delivery driver for FedEx in Alabama from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Corbin has been

eligible to receive overtime pay under the FLSA because Corbin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        73.   Plaintiff Dorine Cousins is an individual residing in Alabama. Cousins worked as

a delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was employed



                                              151
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 152 of 3128




through intermediary entities that FedEx calls independent service providers. Cousins has been

eligible to receive overtime pay under the FLSA because Cousins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        74.   Plaintiff Jenifer Coverdale is an individual residing in Alabama. Coverdale

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Coverdale has been eligible to receive overtime pay under the FLSA because Coverdale has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        75.   Plaintiff Brandi Cowan is an individual residing in Alabama. Cowan worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cowan has been

eligible to receive overtime pay under the FLSA because Cowan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        76.   Plaintiff Jasmine Crenshaw is an individual residing in Alabama. Crenshaw

worked as a delivery driver for FedEx in Alabama from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Crenshaw has been eligible to receive overtime pay under the FLSA because Crenshaw has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              152
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 153 of 3128




        77.    Plaintiff Shancheva Culpepper is an individual residing in Alabama. Culpepper

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Culpepper has been eligible to receive

overtime pay under the FLSA because Culpepper has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        78.    Plaintiff Santee Cummings is an individual residing in Alabama. Cummings

worked as a delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Cummings has been eligible to receive overtime pay under the FLSA because Cummings has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        79.    Plaintiff Dreylem Cunningham is an individual residing in Alabama. Cunningham

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Cunningham has been eligible to receive overtime pay under the FLSA because Cunningham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        80.    Plaintiff Tabitha Cupp is an individual residing in Alabama. Cupp worked as a

delivery driver for FedEx in Alabama from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cupp has been

eligible to receive overtime pay under the FLSA because Cupp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               153
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 154 of 3128




       81.    Plaintiff Edward Daugherty is an individual residing in Alabama. Daugherty

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Daugherty has been eligible to receive overtime pay under the FLSA because Daugherty has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       82.    Plaintiff Hannah Davidson is an individual residing in Alabama. Davidson

worked as a delivery driver for FedEx in Alabama from approximately 2012 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Davidson has been eligible to receive overtime pay under the FLSA because Davidson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       83.    Plaintiff Carl Davidson is an individual residing in Alabama. Davidson worked as

a delivery driver for FedEx in Alabama from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davidson has been

eligible to receive overtime pay under the FLSA because Davidson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       84.    Plaintiff Roderick Davis is an individual residing in Alabama. Davis worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              154
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 155 of 3128




        85.    Plaintiff Deangelo Davis is an individual residing in Alabama. Davis worked as a

delivery driver for FedEx in Alabama from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        86.    Plaintiff Jordan Davis is an individual residing in Alabama. Davis worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        87.    Plaintiff George Davis Jr is an individual residing in Alabama. Davis Jr worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Davis Jr has been eligible to receive overtime pay

under the FLSA because Davis Jr has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        88.    Plaintiff Charles Davis Jr. is an individual residing in Alabama. Davis Jr. worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Davis Jr. has been

eligible to receive overtime pay under the FLSA because Davis Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               155
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 156 of 3128




        89.    Plaintiff Christine Dean is an individual residing in Alabama. Dean worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Dean has been eligible to receive overtime pay under

the FLSA because Dean has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        90.    Plaintiff Charles Dent is an individual residing in Alabama. Dent worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Dent has been eligible to receive overtime pay under

the FLSA because Dent has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        91.    Plaintiff Daniel Dillard is an individual residing in Alabama. Dillard worked as a

delivery driver for FedEx in Alabama from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dillard has been

eligible to receive overtime pay under the FLSA because Dillard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        92.    Plaintiff Jacquice Dismuke is an individual residing in Alabama. Dismuke worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dismuke has been

eligible to receive overtime pay under the FLSA because Dismuke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               156
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 157 of 3128




        93.   Plaintiff Dewayne Donaldson is an individual residing in Alabama. Donaldson

worked as a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Donaldson has been eligible to receive overtime pay under the FLSA because Donaldson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        94.   Plaintiff Leandrew Dorsey is an individual residing in Alabama. Dorsey worked

as a delivery driver for FedEx in Alabama from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dorsey has been

eligible to receive overtime pay under the FLSA because Dorsey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        95.   Plaintiff Jameisha Drake is an individual residing in Alabama. Drake worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Drake has been

eligible to receive overtime pay under the FLSA because Drake has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        96.   Plaintiff Johnquell Drake is an individual residing in Alabama. Drake worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Drake has been eligible to receive overtime pay

under the FLSA because Drake has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              157
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 158 of 3128




        97.    Plaintiff Alexander Dryer is an individual residing in Alabama. Dryer worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Dryer has been eligible to receive overtime pay under

the FLSA because Dryer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        98.    Plaintiff Kaevon Dunn is an individual residing in Alabama. Dunn worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dunn has been

eligible to receive overtime pay under the FLSA because Dunn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        99.    Plaintiff Richard Dunn is an individual residing in Alabama. Dunn worked as a

delivery driver for FedEx in Alabama from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dunn has been

eligible to receive overtime pay under the FLSA because Dunn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        100.   Plaintiff Billy Durm is an individual residing in Tennessee. Durm worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Durm has been

eligible to receive overtime pay under the FLSA because Durm has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              158
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 159 of 3128




        101.   Plaintiff Mathew Edosomwan is an individual residing in Alabama. Edosomwan

worked as a delivery driver for FedEx in Alabama from approximately 1987 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Edosomwan has been eligible to receive overtime pay under the FLSA because Edosomwan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        102.   Plaintiff Joel English is an individual residing in Alabama. English worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. English has been

eligible to receive overtime pay under the FLSA because English has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        103.   Plaintiff Caryn Farley is an individual residing in Alabama. Farley worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Farley has been

eligible to receive overtime pay under the FLSA because Farley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        104.   Plaintiff Tony Figgin is an individual residing in Alabama. Figgin worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Figgin has been

eligible to receive overtime pay under the FLSA because Figgin has driven a vehicle weighing




                                               159
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 160 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        105.   Plaintiff Brandy Fitch is an individual residing in Tennessee. Fitch worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fitch has been

eligible to receive overtime pay under the FLSA because Fitch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        106.   Plaintiff Thomas Fitzpatrick is an individual residing in Alabama. Fitzpatrick

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Fitzpatrick has been eligible to receive overtime pay under the FLSA because Fitzpatrick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        107.   Plaintiff Sjonda Fletcher is an individual residing in Alabama. Fletcher worked as

a delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fletcher has been

eligible to receive overtime pay under the FLSA because Fletcher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        108.   Plaintiff Tikita Floyd is an individual residing in Alabama. Floyd worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Floyd has been



                                               160
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 161 of 3128




eligible to receive overtime pay under the FLSA because Floyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        109.   Plaintiff Erwin Fortson is an individual residing in Alabama. Fortson worked as a

delivery driver for FedEx in Alabama from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Fortson has been

eligible to receive overtime pay under the FLSA because Fortson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        110.   Plaintiff Khary Foster is an individual residing in Alabama. Foster worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Foster has been

eligible to receive overtime pay under the FLSA because Foster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        111.   Plaintiff Justin Francis is an individual residing in Alabama. Francis worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Francis has been eligible to receive overtime pay

under the FLSA because Francis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        112.   Plaintiff Carlee Froom is an individual residing in Alabama. Froom worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Froom has been eligible to receive overtime pay



                                               161
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 162 of 3128




under the FLSA because Froom has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        113.   Plaintiff Queena Fuqua is an individual residing in Alabama. Fuqua worked as a

delivery driver for FedEx in Alabama from approximately 2007 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fuqua has been

eligible to receive overtime pay under the FLSA because Fuqua has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        114.   Plaintiff Christopher Gallops is an individual residing in Alabama. Gallops

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Gallops has been eligible to receive

overtime pay under the FLSA because Gallops has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        115.   Plaintiff Lindsay Gambill is an individual residing in Alabama. Gambill worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Gambill has been eligible to receive overtime pay

under the FLSA because Gambill has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        116.   Plaintiff Melvina Gamble is an individual residing in Alabama. Gamble worked

as a delivery driver for FedEx in Alabama from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gamble has been

eligible to receive overtime pay under the FLSA because Gamble has driven a vehicle weighing




                                               162
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 163 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        117.   Plaintiff Terry Garner is an individual residing in Alabama. Garner worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Garner has been eligible to receive overtime pay

under the FLSA because Garner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        118.   Plaintiff Mateja Gilchrist is an individual residing in Alabama. Gilchrist worked

as a delivery driver for FedEx in Alabama from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gilchrist has been

eligible to receive overtime pay under the FLSA because Gilchrist has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        119.   Plaintiff Thomas Gooch is an individual residing in Alabama. Gooch worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Gooch has been eligible to receive overtime pay

under the FLSA because Gooch has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        120.   Plaintiff Dante Gooden is an individual residing in Alabama. Gooden worked as a

delivery driver for FedEx in Alabama from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gooden has been

eligible to receive overtime pay under the FLSA because Gooden has driven a vehicle weighing




                                               163
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 164 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        121.   Plaintiff Julian Grammer is an individual residing in Alabama. Grammer worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Grammer has been

eligible to receive overtime pay under the FLSA because Grammer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        122.   Plaintiff Wesley Grant is an individual residing in Alabama. Grant worked as a

delivery driver for FedEx in Alabama from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        123.   Plaintiff Rodney Gregory is an individual residing in Alabama. Gregory worked

as a delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gregory has been

eligible to receive overtime pay under the FLSA because Gregory has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        124.   Plaintiff Brian Griffin is an individual residing in Alabama. Griffin worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Griffin has been eligible to receive overtime pay



                                               164
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 165 of 3128




under the FLSA because Griffin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        125.   Plaintiff Tiffany Brown is an individual residing in Alabama. Griffin worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        126.   Plaintiff Jemarqus Brown is an individual residing in Alabama. Griffin worked as

a delivery driver for FedEx in Alabama from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        127.   Plaintiff Lee Griffin is an individual residing in Alabama. Griffin worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Griffin has been eligible to receive overtime pay

under the FLSA because Griffin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        128.   Plaintiff Roosevelt Gulley is an individual residing in Alabama. Gulley worked as

a delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gulley has been

eligible to receive overtime pay under the FLSA because Gulley has driven a vehicle weighing



                                               165
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 166 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        129.   Plaintiff Adam Hall is an individual residing in Tennessee. Hall worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        130.   Plaintiff Brittani Hall is an individual residing in Alabama. Hall worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        131.   Plaintiff Kenny Hamm is an individual residing in Florida. Hamm worked as a

delivery driver for FedEx in Alabama from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hamm has been

eligible to receive overtime pay under the FLSA because Hamm has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        132.   Plaintiff Veronica Hampton is an individual residing in Alabama. Hampton

worked as a delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hampton



                                               166
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 167 of 3128




has been eligible to receive overtime pay under the FLSA because Hampton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        133.   Plaintiff Stacey Hardy is an individual residing in Alabama. Hardy worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hardy has been

eligible to receive overtime pay under the FLSA because Hardy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        134.   Plaintiff Mr Harris is an individual residing in Alabama. Harris worked as a

delivery driver for FedEx in Alabama from approximately 2009 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        135.   Plaintiff Robin Harrison is an individual residing in Alabama. Harrison worked as

a delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        136.   Plaintiff Wesley Hawkins is an individual residing in Alabama. Hawkins worked

as a delivery driver for FedEx in Alabama from approximately 2009 to 2024 but was employed



                                               167
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 168 of 3128




through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        137.   Plaintiff Ahnathea Hawkins is an individual residing in Alabama. Hawkins

worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Hawkins

has been eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        138.   Plaintiff Holly Hazelwood is an individual residing in Alabama. Hazelwood

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Hazelwood has been eligible to receive

overtime pay under the FLSA because Hazelwood has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        139.   Plaintiff Wesley Hickman is an individual residing in Alabama. Hickman worked

as a delivery driver for FedEx in Alabama from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hickman has been

eligible to receive overtime pay under the FLSA because Hickman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        140.   Plaintiff Sven Hobby is an individual residing in Alabama. Hobby worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed



                                              168
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 169 of 3128




through intermediary entities that FedEx calls independent service providers. Hobby has been

eligible to receive overtime pay under the FLSA because Hobby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        141.   Plaintiff Glynis Holifield is an individual residing in Alabama. Holifield worked

as a delivery driver for FedEx in Alabama from approximately 2007 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Holifield has been

eligible to receive overtime pay under the FLSA because Holifield has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        142.   Plaintiff Frank Hollis is an individual residing in Alabama. Hollis worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hollis has been

eligible to receive overtime pay under the FLSA because Hollis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        143.   Plaintiff Trayvone Honeycutt is an individual residing in Alabama. Honeycutt

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Honeycutt has been eligible to receive overtime pay under the FLSA because Honeycutt has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               169
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 170 of 3128




        144.   Plaintiff Jefresha Hood is an individual residing in Alabama. Hood worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hood has been

eligible to receive overtime pay under the FLSA because Hood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        145.   Plaintiff Cortni Horn is an individual residing in Alabama. Horn worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Horn has been

eligible to receive overtime pay under the FLSA because Horn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        146.   Plaintiff Eric Houk is an individual residing in Alabama. Houk worked as a

delivery driver for FedEx in Alabama and Tennessee from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Houk

has been eligible to receive overtime pay under the FLSA because Houk has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        147.   Plaintiff Ollis Howard is an individual residing in Alabama. Howard worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Howard has been

eligible to receive overtime pay under the FLSA because Howard has driven a vehicle weighing




                                              170
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 171 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        148.   Plaintiff Terry Hudson is an individual residing in Alabama. Hudson worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been

eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        149.   Plaintiff Darvan Hudson is an individual residing in Texas. Hudson worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been

eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        150.   Plaintiff Danielle Hughes is an individual residing in Alabama. Hughes worked as

a delivery driver for FedEx in Alabama from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        151.   Plaintiff Brandi Humphrey is an individual residing in Alabama. Humphrey

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              171
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 172 of 3128




Humphrey has been eligible to receive overtime pay under the FLSA because Humphrey has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        152.   Plaintiff Derrell Hurns is an individual residing in New Jersey. Hurns worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hurns has been

eligible to receive overtime pay under the FLSA because Hurns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        153.   Plaintiff Rachel Hutto is an individual residing in Alabama. Hutto worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hutto has been

eligible to receive overtime pay under the FLSA because Hutto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        154.   Plaintiff Stacy Isaac is an individual residing in Alabama. Isaac worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Isaac has been

eligible to receive overtime pay under the FLSA because Isaac has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        155.   Plaintiff Lacey Jackson is an individual residing in Alabama. Jackson worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed



                                               172
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 173 of 3128




through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        156.   Plaintiff Roderick Jackson is an individual residing in Alabama. Jackson worked

as a delivery driver for FedEx in Alabama from approximately 2005 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        157.   Plaintiff Terrance James is an individual residing in Alabama. James worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. James has been

eligible to receive overtime pay under the FLSA because James has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        158.   Plaintiff Deangelio Johnson is an individual residing in Alabama. Johnson worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        159.   Plaintiff Joshua Johnson is an individual residing in Alabama. Johnson worked as

a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed



                                              173
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 174 of 3128




through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        160.   Plaintiff Jamal Jones is an individual residing in Alabama. Jones worked as a

delivery driver for FedEx in Alabama from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        161.   Plaintiff Randi Jones is an individual residing in Alabama. Jones worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        162.   Plaintiff David Jones is an individual residing in Idaho. Jones worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               174
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 175 of 3128




        163.   Plaintiff Freddie Jones is an individual residing in Alabama. Jones worked as a

delivery driver for FedEx in Alabama from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        164.   Plaintiff Lyle Jones is an individual residing in Alabama. Jones worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        165.   Plaintiff Anthony Jones is an individual residing in Mississippi. Jones worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay

under the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        166.   Plaintiff Dameion Kennedy is an individual residing in Alabama. Kennedy

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Kennedy

has been eligible to receive overtime pay under the FLSA because Kennedy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              175
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 176 of 3128




        167.   Plaintiff Forrest Kimbrough is an individual residing in Alabama. Kimbrough

worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Kimbrough has been eligible to receive overtime pay under the FLSA because Kimbrough has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        168.   Plaintiff Chandra Kirkman is an individual residing in Alabama. Kirkman worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Kirkman has been eligible to receive overtime pay

under the FLSA because Kirkman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        169.   Plaintiff Alan Kirschbaum is an individual residing in Alabama. Kirschbaum

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Kirschbaum has been eligible to receive

overtime pay under the FLSA because Kirschbaum has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        170.   Plaintiff Wesley Kyser is an individual residing in Alabama. Kyser worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Kyser has been

eligible to receive overtime pay under the FLSA because Kyser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              176
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 177 of 3128




        171.   Plaintiff Joseph Laudano is an individual residing in Alabama. Laudano worked

as a delivery driver for FedEx in Alabama from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Laudano has been

eligible to receive overtime pay under the FLSA because Laudano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        172.   Plaintiff Randy Laurimore is an individual residing in Alabama. Laurimore

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Laurimore has been eligible to receive overtime pay under the FLSA because Laurimore has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        173.   Plaintiff Akamiee Lee is an individual residing in Alabama. Lee worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        174.   Plaintiff Shome Lewis is an individual residing in Alabama. Lewis worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Lewis has been eligible to receive overtime pay

under the FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              177
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 178 of 3128




        175.   Plaintiff Dennis Little is an individual residing in Alabama. Little worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Little has been

eligible to receive overtime pay under the FLSA because Little has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        176.   Plaintiff Urshela Lynch is an individual residing in Alabama. Lynch worked as a

delivery driver for FedEx in Alabama from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lynch has been

eligible to receive overtime pay under the FLSA because Lynch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        177.   Plaintiff Sylvester Lyons Jr is an individual residing in Alabama. Lyons Jr worked

as a delivery driver for FedEx in Alabama from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons Jr has been

eligible to receive overtime pay under the FLSA because Lyons Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        178.   Plaintiff George Mack is an individual residing in Alabama. Mack worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mack has been

eligible to receive overtime pay under the FLSA because Mack has driven a vehicle weighing




                                               178
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 179 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        179.   Plaintiff Giovanni Magnolia is an individual residing in Alabama. Magnolia

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Magnolia has been eligible to receive overtime pay under the FLSA because Magnolia has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        180.   Plaintiff Tashunda Lacey is an individual residing in Alabama. Marks worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Marks has been

eligible to receive overtime pay under the FLSA because Marks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        181.   Plaintiff Natrecia Marshall is an individual residing in Alabama. Marshall worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Marshall has been

eligible to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        182.   Plaintiff Jerel Marshall is an individual residing in Alabama. Marshall worked as

a delivery driver for FedEx in Alabama from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Marshall has been



                                              179
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 180 of 3128




eligible to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        183.   Plaintiff William Marshall Jr. is an individual residing in Alabama. Marshall Jr.

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Marshall

Jr. has been eligible to receive overtime pay under the FLSA because Marshall Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        184.   Plaintiff Decardius Martin is an individual residing in Alabama. Martin worked as

a delivery driver for FedEx in Alabama from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        185.   Plaintiff Tammeaka Mason is an individual residing in Alabama. Mason worked

as a delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mason has been

eligible to receive overtime pay under the FLSA because Mason has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        186.   Plaintiff Correy Maye is an individual residing in Alabama. Maye worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed



                                               180
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 181 of 3128




through intermediary entities that FedEx calls independent service providers. Maye has been

eligible to receive overtime pay under the FLSA because Maye has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        187.   Plaintiff Suzan Mccall is an individual residing in Alabama. Mccall worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Mccall has been eligible to receive overtime pay

under the FLSA because Mccall has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        188.   Plaintiff Sharnise Mcconico is an individual residing in Alabama. Mcconico

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcconico has been eligible to receive overtime pay under the FLSA because Mcconico has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        189.   Plaintiff Joshua Mcdaniel is an individual residing in Alabama. Mcdaniel worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Mcdaniel has been eligible to receive overtime pay

under the FLSA because Mcdaniel has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        190.   Plaintiff Angena Mcdole is an individual residing in Alabama. Mcdole worked as

a delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mcdole has been



                                              181
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 182 of 3128




eligible to receive overtime pay under the FLSA because Mcdole has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        191.   Plaintiff Dave Mcghee is an individual residing in Alabama. Mcghee worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Mcghee has been eligible to receive overtime pay

under the FLSA because Mcghee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        192.   Plaintiff Anthony Mcginty is an individual residing in Alabama. Mcginty worked

as a delivery driver for FedEx in Alabama from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mcginty has been

eligible to receive overtime pay under the FLSA because Mcginty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        193.   Plaintiff Dewayne Mckinstry is an individual residing in Alabama. Mckinstry

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckinstry has been eligible to receive overtime pay under the FLSA because Mckinstry has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        194.   Plaintiff Joseph Mclaughlin is an individual residing in Alabama. Mclaughlin

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              182
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 183 of 3128




Mclaughlin has been eligible to receive overtime pay under the FLSA because Mclaughlin has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        195.   Plaintiff Larreka Mclean is an individual residing in Alabama. Mclean worked as

a delivery driver for FedEx in Alabama from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mclean has been

eligible to receive overtime pay under the FLSA because Mclean has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        196.   Plaintiff Tameka Mcmillan is an individual residing in Alabama. Mcmillan

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcmillan has been eligible to receive overtime pay under the FLSA because Mcmillan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        197.   Plaintiff Andrea Mcneil is an individual residing in Alabama. Mcneil worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mcneil has been

eligible to receive overtime pay under the FLSA because Mcneil has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        198.   Plaintiff Kayla Mcneil is an individual residing in Texas. Mcneil worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed



                                              183
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 184 of 3128




through intermediary entities that FedEx calls independent service providers. Mcneil has been

eligible to receive overtime pay under the FLSA because Mcneil has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        199.   Plaintiff Louis Mcterry is an individual residing in Alabama. Mcterry worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mcterry has been

eligible to receive overtime pay under the FLSA because Mcterry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        200.   Plaintiff Marcel Menefee is an individual residing in Alabama. Menefee worked

as a delivery driver for FedEx in Alabama from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Menefee has been

eligible to receive overtime pay under the FLSA because Menefee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        201.   Plaintiff Vincent Mitchell is an individual residing in Alabama. Mitchell worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Mitchell has been eligible to receive overtime pay

under the FLSA because Mitchell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        202.   Plaintiff Corey Mitchell is an individual residing in Alabama. Mitchell worked as

a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed



                                              184
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 185 of 3128




through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        203.   Plaintiff Kirteasha Moody is an individual residing in Alabama. Moody worked as

a delivery driver for FedEx in Alabama from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Moody has been

eligible to receive overtime pay under the FLSA because Moody has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        204.   Plaintiff Roger Moore is an individual residing in Alabama. Moore worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        205.   Plaintiff Errica Moore is an individual residing in Alabama. Moore worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Moore has been eligible to receive overtime pay

under the FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        206.   Plaintiff Rebecca Moore is an individual residing in Alabama. Moore worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2021 but was employed



                                              185
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 186 of 3128




through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        207.   Plaintiff Corinthians Moore is an individual residing in Alabama. Moore worked

as a delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        208.   Plaintiff Michael Morgan is an individual residing in Alabama. Morgan worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Morgan has been eligible to receive overtime pay

under the FLSA because Morgan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        209.   Plaintiff Michael Morgan is an individual residing in Alabama. Morgan worked as

a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        210.   Plaintiff Matthew Murrah is an individual residing in Alabama. Murrah worked as

a delivery driver for FedEx in Alabama from approximately 2018 to 2023 but was employed



                                              186
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 187 of 3128




through intermediary entities that FedEx calls independent service providers. Murrah has been

eligible to receive overtime pay under the FLSA because Murrah has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        211.   Plaintiff Patrick Murry is an individual residing in Alabama. Murry worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Murry has been

eligible to receive overtime pay under the FLSA because Murry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        212.   Plaintiff Kenyal Neal is an individual residing in Alabama. Neal worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Neal has been

eligible to receive overtime pay under the FLSA because Neal has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        213.   Plaintiff Lewis Neeley is an individual residing in Alabama. Neeley worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Neeley has been

eligible to receive overtime pay under the FLSA because Neeley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              187
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 188 of 3128




        214.   Plaintiff Jarvaris Nelson is an individual residing in Alabama. Nelson worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        215.   Plaintiff Sumpter Newman is an individual residing in Alabama. Newman worked

as a delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Newman has been

eligible to receive overtime pay under the FLSA because Newman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        216.   Plaintiff April Nickens is an individual residing in Alabama. Nickens worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Nickens has been

eligible to receive overtime pay under the FLSA because Nickens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        217.   Plaintiff Breonna Niles is an individual residing in Alabama. Niles worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Niles has been

eligible to receive overtime pay under the FLSA because Niles has driven a vehicle weighing




                                              188
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 189 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        218.   Plaintiff Dakus Nixon is an individual residing in Alabama. Nixon worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Nixon has been eligible to receive overtime pay

under the FLSA because Nixon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        219.   Plaintiff Kyle Norris is an individual residing in Alabama. Norris worked as a

delivery driver for FedEx in Alabama from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Norris has been

eligible to receive overtime pay under the FLSA because Norris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        220.   Plaintiff Alex Nowlin is an individual residing in Alabama. Nowlin worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nowlin has been

eligible to receive overtime pay under the FLSA because Nowlin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        221.   Plaintiff Cataude Oliver is an individual residing in Alabama. Oliver worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Oliver has been eligible to receive overtime pay




                                              189
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 190 of 3128




under the FLSA because Oliver has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        222.   Plaintiff Eric Orozco is an individual residing in Alabama. Orozco worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Orozco has been eligible to receive overtime pay

under the FLSA because Orozco has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        223.   Plaintiff Cedric Orr is an individual residing in Alabama. Orr worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Orr has been eligible to receive overtime pay under

the FLSA because Orr has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        224.   Plaintiff Anthony Owens is an individual residing in Alabama. Owens worked as

a delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        225.   Plaintiff Joey Oyervidez is an individual residing in Alabama. Oyervidez worked

as a delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Oyervidez has been

eligible to receive overtime pay under the FLSA because Oyervidez has driven a vehicle




                                              190
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 191 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        226.   Plaintiff Ashley Parker is an individual residing in Mississippi. Parker worked as

a delivery driver for FedEx in Alabama from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        227.   Plaintiff Phillip Parker is an individual residing in Alabama. Parker worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        228.   Plaintiff Reneshia Parnell is an individual residing in Alabama. Parnell worked

as a delivery driver for FedEx in Alabama from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Parnell has been

eligible to receive overtime pay under the FLSA because Parnell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        229.   Plaintiff Danny Payne is an individual residing in Tennessee. Payne worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Payne has been



                                               191
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 192 of 3128




eligible to receive overtime pay under the FLSA because Payne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        230.   Plaintiff Joey Poe is an individual residing in Alabama. Poe worked as a delivery

driver for FedEx in Alabama from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Poe has been eligible to

receive overtime pay under the FLSA because Poe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        231.   Plaintiff Larry Pompey is an individual residing in Alabama. Pompey worked as

a delivery driver for FedEx in Alabama from approximately 2000 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Pompey has been

eligible to receive overtime pay under the FLSA because Pompey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        232.   Plaintiff Donniie Popham is an individual residing in Alabama. Popham worked

as a delivery driver for FedEx in Alabama from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Popham has been

eligible to receive overtime pay under the FLSA because Popham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        233.   Plaintiff Clarence Porter is an individual residing in Alabama. Porter worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Porter has been eligible to receive overtime pay



                                               192
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 193 of 3128




under the FLSA because Porter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        234.   Plaintiff Frank Powell is an individual residing in Alabama. Powell worked as a

delivery driver for FedEx in Alabama from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Powell has been

eligible to receive overtime pay under the FLSA because Powell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        235.   Plaintiff Kimberly Prince is an individual residing in Alabama. Prince worked as

a delivery driver for FedEx in Alabama from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Prince has been

eligible to receive overtime pay under the FLSA because Prince has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        236.   Plaintiff Alisa Pruitt is an individual residing in Alabama. Pruitt worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Pruitt has been

eligible to receive overtime pay under the FLSA because Pruitt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        237.   Plaintiff Ellison Rambo is an individual residing in Alabama. Rambo worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rambo has been



                                               193
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 194 of 3128




eligible to receive overtime pay under the FLSA because Rambo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        238.   Plaintiff James Rankin is an individual residing in Alabama. Rankin worked as a

delivery driver for FedEx in Alabama from approximately 1999 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rankin has been

eligible to receive overtime pay under the FLSA because Rankin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        239.   Plaintiff Marques Ray is an individual residing in Alabama. Ray worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ray has been

eligible to receive overtime pay under the FLSA because Ray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        240.   Plaintiff Tyler Richardson is an individual residing in Alabama. Richardson

worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        241.   Plaintiff Dorein Robbins is an individual residing in Alabama. Robbins worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that



                                              194
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 195 of 3128




FedEx calls independent service providers. Robbins has been eligible to receive overtime pay

under the FLSA because Robbins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       242.   Plaintiff Deric Robinson is an individual residing in Alabama. Robinson worked

as a delivery driver for FedEx in Alabama from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       243.   Plaintiff David Robinson is an individual residing in Alabama. Robinson worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       244.   Plaintiff Kevin Robinson is an individual residing in Alabama. Robinson worked

as a delivery driver for FedEx in Alabama from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       245.   Plaintiff Joel Roper is an individual residing in Alabama. Roper worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that



                                              195
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 196 of 3128




FedEx calls independent service providers. Roper has been eligible to receive overtime pay

under the FLSA because Roper has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        246.   Plaintiff Taramecia Ross is an individual residing in Alabama. Ross worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ross has been

eligible to receive overtime pay under the FLSA because Ross has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        247.   Plaintiff Chicquita Ross Douglass is an individual residing in Alabama. Ross

Douglass worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2022

but was employed through intermediary entities that FedEx calls independent service providers.

Ross Douglass has been eligible to receive overtime pay under the FLSA because Ross Douglass

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        248.   Plaintiff Clarence Rudolph is an individual residing in Alabama. Rudolph worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Rudolph has been eligible to receive overtime pay

under the FLSA because Rudolph has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        249.   Plaintiff Rayetta Russell is an individual residing in Alabama. Russell worked as

a delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Russell has been



                                              196
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 197 of 3128




eligible to receive overtime pay under the FLSA because Russell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        250.   Plaintiff Thomas Russell is an individual residing in Alabama. Russell worked as

a delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Russell has been

eligible to receive overtime pay under the FLSA because Russell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        251.   Plaintiff William Sadler is an individual residing in Alabama. Sadler worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Sadler has been

eligible to receive overtime pay under the FLSA because Sadler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        252.   Plaintiff Adrienne Salery is an individual residing in Alabama. Salery worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Salery has been

eligible to receive overtime pay under the FLSA because Salery has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        253.   Plaintiff Thomas Salimeno is an individual residing in Alabama. Salimeno

worked as a delivery driver for FedEx in Alabama from approximately 2020 to 2022 but was



                                              197
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 198 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Salimeno has been eligible to receive overtime pay under the FLSA because Salimeno has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       254.    Plaintiff Todd Scharwath is an individual residing in Oregon. Scharwath worked

as a delivery driver for FedEx in Alabama from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Scharwath has been

eligible to receive overtime pay under the FLSA because Scharwath has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       255.    Plaintiff Tabitha Schnittjer is an individual residing in Iowa. Schnittjer worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Schnittjer has been eligible to receive overtime pay

under the FLSA because Schnittjer has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       256.    Plaintiff Tammie Self Zegarelli is an individual residing in Alabama. Self

Zegarelli worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Self Zegarelli has been eligible to receive overtime pay under the FLSA because Self Zegarelli

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       257.    Plaintiff Cody Sentelle is an individual residing in Alabama. Sentelle worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed



                                               198
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 199 of 3128




through intermediary entities that FedEx calls independent service providers. Sentelle has been

eligible to receive overtime pay under the FLSA because Sentelle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        258.   Plaintiff Kenneth Sermons is an individual residing in Alabama. Sermons worked

as a delivery driver for FedEx in Alabama from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sermons has been

eligible to receive overtime pay under the FLSA because Sermons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        259.   Plaintiff Tiffany Shiplet is an individual residing in Alabama. Shiplet worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shiplet has been

eligible to receive overtime pay under the FLSA because Shiplet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        260.   Plaintiff Kareem Shoulders is an individual residing in Alabama. Shoulders

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Shoulders has been eligible to receive

overtime pay under the FLSA because Shoulders has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        261.   Plaintiff Amy Shuler is an individual residing in Alabama. Shuler worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed



                                               199
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 200 of 3128




through intermediary entities that FedEx calls independent service providers. Shuler has been

eligible to receive overtime pay under the FLSA because Shuler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        262.   Plaintiff William Simpkins is an individual residing in Alabama. Simpkins

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Simpkins has been eligible to receive overtime pay under the FLSA because Simpkins has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        263.   Plaintiff Keith Sims is an individual residing in Alabama. Sims worked as a

delivery driver for FedEx in Alabama from approximately 2001 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        264.   Plaintiff Joseph Skelton is an individual residing in Alabama. Skelton worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Skelton has been

eligible to receive overtime pay under the FLSA because Skelton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              200
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 201 of 3128




        265.   Plaintiff Chester Smith is an individual residing in Alabama. Smith worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        266.   Plaintiff Clensey Smith is an individual residing in Alabama. Smith worked as a

delivery driver for FedEx in Alabama from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        267.   Plaintiff Antonio Smith is an individual residing in Alabama. Smith worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        268.   Plaintiff Stacey Smith is an individual residing in Alabama. Smith worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              201
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 202 of 3128




        269.   Plaintiff Valmetrica Smoot is an individual residing in Alabama. Smoot worked

as a delivery driver for FedEx in Alabama from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smoot has been

eligible to receive overtime pay under the FLSA because Smoot has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        270.   Plaintiff Anderson Square is an individual residing in Alabama. Square worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Square has been eligible to receive overtime pay

under the FLSA because Square has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        271.   Plaintiff Arenthal Spears is an individual residing in Alabama. Srouji worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Srouji has been

eligible to receive overtime pay under the FLSA because Srouji has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        272.   Plaintiff Dean St Pierre is an individual residing in Alabama. St Pierre worked as

a delivery driver for FedEx in Alabama from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. St Pierre has been

eligible to receive overtime pay under the FLSA because St Pierre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               202
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 203 of 3128




        273.   Plaintiff Orrin Stanton is an individual residing in Alabama. Stanton worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Stanton has been

eligible to receive overtime pay under the FLSA because Stanton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        274.   Plaintiff Timothy Steger is an individual residing in Alabama. Steger worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Steger has been

eligible to receive overtime pay under the FLSA because Steger has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        275.   Plaintiff Denadric Stevenson is an individual residing in Alabama. Stevenson

worked as a delivery driver for FedEx in Alabama from approximately 2011 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Stevenson has been eligible to receive overtime pay under the FLSA because Stevenson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        276.   Plaintiff Jonathan Stewart is an individual residing in Alabama. Stewart worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Stewart has been eligible to receive overtime pay

under the FLSA because Stewart has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              203
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 204 of 3128




        277.   Plaintiff David Stillwell is an individual residing in Alabama. Stillwell worked as

a delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Stillwell has been

eligible to receive overtime pay under the FLSA because Stillwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        278.   Plaintiff Latoya Sullivan is an individual residing in Alabama. Sullivan worked as

a delivery driver for FedEx in Alabama from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sullivan has been

eligible to receive overtime pay under the FLSA because Sullivan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        279.   Plaintiff Savannah Sykes-Whitt is an individual residing in Tennessee. Sykes-

Whitt worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Sykes-Whitt has been eligible to receive overtime pay under the FLSA because Sykes-Whitt has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        280.   Plaintiff Johnathan Taylor is an individual residing in Alabama. Taylor worked as

a delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing




                                               204
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 205 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        281.   Plaintiff Shameka Taylor is an individual residing in Alabama. Taylor worked as

a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        282.   Plaintiff William Thacker is an individual residing in Tennessee. Thacker worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thacker has been

eligible to receive overtime pay under the FLSA because Thacker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        283.   Plaintiff Jaquarius Thomas is an individual residing in Alabama. Thomas worked

as a delivery driver for FedEx in Alabama from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        284.   Plaintiff Kenneth Thomas is an individual residing in Alabama. Thomas worked

as a delivery driver for FedEx in Alabama from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been



                                              205
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 206 of 3128




eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        285.   Plaintiff Terry Thompkins is an individual residing in Alabama. Thompkins

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Thompkins has been eligible to receive

overtime pay under the FLSA because Thompkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        286.   Plaintiff Brian Thompson is an individual residing in Alabama. Thompson

worked as a delivery driver for FedEx in Alabama from approximately 2010 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        287.   Plaintiff Courtney Thompson is an individual residing in Alabama. Thompson

worked as a delivery driver for FedEx in Alabama from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        288.   Plaintiff Marquarius Thornton is an individual residing in Alabama. Thornton

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Thornton has been eligible to receive



                                               206
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 207 of 3128




overtime pay under the FLSA because Thornton has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        289.   Plaintiff Mark Tillis is an individual residing in Alabama. Tillis worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tillis has been

eligible to receive overtime pay under the FLSA because Tillis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        290.   Plaintiff Justin Tisdale is an individual residing in Alabama. Tisdale worked as a

delivery driver for FedEx in Alabama from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Tisdale has been

eligible to receive overtime pay under the FLSA because Tisdale has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        291.   Plaintiff Marterrius Tucker is an individual residing in Alabama. Tucker worked

as a delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Tucker has been

eligible to receive overtime pay under the FLSA because Tucker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        292.   Plaintiff Kenneth Turner is an individual residing in Alabama. Turner worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been



                                               207
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 208 of 3128




eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        293.   Plaintiff Cory Turner is an individual residing in Alabama. Turner worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Turner has been eligible to receive overtime pay

under the FLSA because Turner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        294.   Plaintiff Ricardo Tyes is an individual residing in Alabama. Tyes worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tyes has been

eligible to receive overtime pay under the FLSA because Tyes has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        295.   Plaintiff Andre Tyson Jr. is an individual residing in Alabama. Tyson Jr. worked

as a delivery driver for FedEx in Alabama from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Tyson Jr. has been

eligible to receive overtime pay under the FLSA because Tyson Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        296.   Plaintiff Francisco Vegea is an individual residing in Alabama. Vegea worked as

a delivery driver for FedEx in Alabama from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Vegea has been



                                              208
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 209 of 3128




eligible to receive overtime pay under the FLSA because Vegea has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        297.   Plaintiff Michael Villarreal is an individual residing in Alabama. Villarreal

worked as a delivery driver for FedEx in Alabama but was employed through intermediary

entities that FedEx calls independent service providers. Villarreal has been eligible to receive

overtime pay under the FLSA because Villarreal has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        298.   Plaintiff James Wade is an individual residing in Florida. Wade worked as a

delivery driver for FedEx in Alabama from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wade has been

eligible to receive overtime pay under the FLSA because Wade has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        299.   Plaintiff Jason Walls is an individual residing in Alabama. Walls worked as a

delivery driver for FedEx in Alabama from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Walls has been

eligible to receive overtime pay under the FLSA because Walls has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        300.   Plaintiff Justin Walter is an individual residing in Alabama. Walter worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Walter has been



                                                209
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 210 of 3128




eligible to receive overtime pay under the FLSA because Walter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        301.   Plaintiff Jason Walton is an individual residing in Alabama. Walton worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Walton has been

eligible to receive overtime pay under the FLSA because Walton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        302.   Plaintiff Jashaydrea Ward is an individual residing in Alabama. Ward worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        303.   Plaintiff Letitia Washington is an individual residing in Alabama. Washington

worked as a delivery driver for FedEx in Alabama from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        304.   Plaintiff Brittany Watkins is an individual residing in Alabama. Watkins worked

as a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed



                                              210
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 211 of 3128




through intermediary entities that FedEx calls independent service providers. Watkins has been

eligible to receive overtime pay under the FLSA because Watkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        305.   Plaintiff Ladarrian Watkins is an individual residing in Alabama. Watkins worked

as a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Watkins has been

eligible to receive overtime pay under the FLSA because Watkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        306.   Plaintiff Ron Weaver is an individual residing in Alabama. Weaver worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Weaver has been

eligible to receive overtime pay under the FLSA because Weaver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        307.   Plaintiff Malcolm Westry is an individual residing in Alabama. Westry worked as

a delivery driver for FedEx in Alabama from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Westry has been

eligible to receive overtime pay under the FLSA because Westry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              211
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 212 of 3128




        308.   Plaintiff Carol White is an individual residing in Alabama. White worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        309.   Plaintiff Lufreida White is an individual residing in Alabama. White worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        310.   Plaintiff Sharee White is an individual residing in Tennessee. White worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        311.   Plaintiff Arthur Wilder is an individual residing in Alabama. Wilder worked as a

delivery driver for FedEx in Alabama from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wilder has been

eligible to receive overtime pay under the FLSA because Wilder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              212
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 213 of 3128




        312.   Plaintiff Charlie Wilkins is an individual residing in Alabama. Wilkins worked as

a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Wilkins has been eligible to receive overtime pay

under the FLSA because Wilkins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        313.   Plaintiff Jasmine Williams is an individual residing in Alabama. Williams worked

as a delivery driver for FedEx in Alabama from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        314.   Plaintiff April Williams is an individual residing in Alabama. Williams worked as

a delivery driver for FedEx in Alabama from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        315.   Plaintiff Latrecia Williams is an individual residing in Alabama. Williams worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              213
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 214 of 3128




        316.   Plaintiff Ebony Williams is an individual residing in Alabama. Williams worked

as a delivery driver for FedEx in Alabama from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        317.   Plaintiff Daniel Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        318.   Plaintiff Jacqueline Williams is an individual residing in Alabama. Williams

worked as a delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        319.   Plaintiff Timothy Williams is an individual residing in Alabama. Williams

worked as a delivery driver for FedEx in Alabama from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle




                                              214
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 215 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        320.   Plaintiff Charles Williams is an individual residing in Alabama. Williams worked

as a delivery driver for FedEx in Alabama from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        321.   Plaintiff Bria Wilson is an individual residing in Alabama. Wilson worked as a

delivery driver for FedEx in Alabama from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        322.   Plaintiff Tristian Wilson is an individual residing in Alabama. Wilson worked as a

delivery driver for FedEx in Alabama from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        323.   Plaintiff Sharonda Wilson is an individual residing in Florida. Wilson worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been



                                              215
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 216 of 3128




eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        324.   Plaintiff John Wilson is an individual residing in Texas. Wilson worked as a

delivery driver for FedEx in Alabama from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        325.   Plaintiff Linda Woods is an individual residing in Alabama. Woods worked as a

delivery driver for FedEx in Alabama from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        326.   Plaintiff Tiffany Woods is an individual residing in Alabama. Woods worked as a

delivery driver for FedEx in Alabama from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        327.   Plaintiff Eric Wright is an individual residing in Alabama. Wright worked as a

delivery driver for FedEx in Alabama from approximately 2007 to 2019 but was employed



                                              216
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 217 of 3128




through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        328.   Plaintiff John Wright is an individual residing in Alabama. Wright worked as a

delivery driver for FedEx in Alabama from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        329.   Plaintiff Tina Wright is an individual residing in Alabama. Wright worked as a

delivery driver for FedEx in Alabama from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        330.   Plaintiff Mark Wrublewski Jr is an individual residing in Alabama. Wrublewski Jr

worked as a delivery driver for FedEx in Alabama from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Wrublewski Jr has been eligible to receive overtime pay under the FLSA because Wrublewski Jr

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.




                                              217
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 218 of 3128




        331.   Plaintiff Patrick Yates Jr. is an individual residing in Kentucky. Yates Jr. worked

as a delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Yates Jr. has been eligible to receive overtime pay

under the FLSA because Yates Jr. has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        332.   Plaintiff Randal Zapata is an individual residing in Alabama. Zapata worked as a

delivery driver for FedEx in Alabama but was employed through intermediary entities that

FedEx calls independent service providers. Zapata has been eligible to receive overtime pay

under the FLSA because Zapata has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        333.   Plaintiff Ben Zegarelli is an individual residing in Alabama. Zegarelli worked as a

delivery driver for FedEx in Alabama from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Zegarelli has been

eligible to receive overtime pay under the FLSA because Zegarelli has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        334.   Plaintiff Esteban Cortes Acevedo is an individual residing in Florida. Cortes

Acevedo worked as a delivery driver for FedEx in Alaska but was employed through

intermediary entities that FedEx calls independent service providers. Cortes Acevedo has been

eligible to receive overtime pay under the FLSA because Cortes Acevedo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               218
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 219 of 3128




       335.    Plaintiff Bruce Davids is an individual residing in Alaska. Davids worked as a

delivery driver for FedEx in Alaska from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Davids has been eligible to

receive overtime pay under the FLSA because Davids has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       336.    Plaintiff Fred Desiena is an individual residing in Alaska. Desiena worked as a

delivery driver for FedEx in Alaska from approximately 2000 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Desiena has been eligible to

receive overtime pay under the FLSA because Desiena has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       337.    Plaintiff Tracy Gaskin is an individual residing in Alabama. Gaskin worked as a

delivery driver for FedEx in Alaska from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gaskin has been eligible to

receive overtime pay under the FLSA because Gaskin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       338.    Plaintiff Singinn Lawson is an individual residing in Alaska. Lawson worked as a

delivery driver for FedEx in Alaska from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Lawson has been eligible to

receive overtime pay under the FLSA because Lawson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       339.    Plaintiff Cody Mott is an individual residing in Texas. Mott worked as a delivery

driver for FedEx in Alaska from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Mott has been eligible to



                                               219
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 220 of 3128




receive overtime pay under the FLSA because Mott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        340.   Plaintiff George Rinkevage is an individual residing in Alaska. Rinkevage worked

as a delivery driver for FedEx in Alaska from approximately 1900 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rinkevage has

been eligible to receive overtime pay under the FLSA because Rinkevage has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        341.   Plaintiff Sean Sandvik is an individual residing in Alaska. Sandvik worked as a

delivery driver for FedEx in Alaska from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sandvik has been eligible to

receive overtime pay under the FLSA because Sandvik has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        342.   Plaintiff Adrian Aguirre is an individual residing in Arizona. Aguirre worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        343.   Plaintiff Hatem Alhurmuzi is an individual residing in Arizona. Alhurmuzi

worked as a delivery driver for FedEx in Arizona from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Alhurmuzi has been eligible to receive overtime pay under the FLSA because Alhurmuzi has



                                               220
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 221 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       344.   Plaintiff Eton Almugtadir is an individual residing in Arizona. Almugtadir

worked as a delivery driver for FedEx in Arizona from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Almugtadir has been eligible to receive overtime pay under the FLSA because Almugtadir has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       345.   Plaintiff Norma Alonzo is an individual residing in Arizona. Alonzo worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Alonzo has been eligible to receive overtime pay under the

FLSA because Alonzo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       346.   Plaintiff Troy Anderson is an individual residing in Arizona. Anderson worked as

a delivery driver for FedEx in Arizona from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       347.   Plaintiff Mark Arellano is an individual residing in Arizona. Arellano worked as a

delivery driver for FedEx in Arizona from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Arellano has been

eligible to receive overtime pay under the FLSA because Arellano has driven a vehicle weighing



                                              221
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 222 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        348.   Plaintiff Ryan Asplin is an individual residing in Arizona. Asplin worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Asplin has been eligible to receive overtime pay under the

FLSA because Asplin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        349.   Plaintiff Christyn Ball is an individual residing in Arizona. Ball worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Ball has been eligible to receive overtime pay under the

FLSA because Ball has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        350.   Plaintiff Roman Banez is an individual residing in Arizona. Banez worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Banez has been eligible to receive overtime pay under the

FLSA because Banez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        351.   Plaintiff Benjamin Barnes is an individual residing in California. Barnes worked

as a delivery driver for FedEx in Arizona from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been

eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               222
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 223 of 3128




        352.   Plaintiff Cesar Barraza is an individual residing in Arizona. Barraza worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Barraza has been

eligible to receive overtime pay under the FLSA because Barraza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        353.   Plaintiff Flavio Beltran is an individual residing in Arizona. Beltran worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Beltran has been eligible to receive overtime pay under the

FLSA because Beltran has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        354.   Plaintiff Sean Bidak is an individual residing in Arizona. Bidak worked as a

delivery driver for FedEx in Arizona from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bidak has been

eligible to receive overtime pay under the FLSA because Bidak has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        355.   Plaintiff David Bindon is an individual residing in Arizona. Bindon worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bindon has been

eligible to receive overtime pay under the FLSA because Bindon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               223
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 224 of 3128




        356.   Plaintiff Joseph Boiseau is an individual residing in Arizona. Boiseau worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Boiseau has been eligible to receive overtime pay under the

FLSA because Boiseau has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        357.   Plaintiff Michael Boucos is an individual residing in Arizona. Boucos worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Boucos has been eligible to receive overtime pay under the

FLSA because Boucos has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        358.   Plaintiff Nicholas Bronson is an individual residing in Arizona. Bronson worked

as a delivery driver for FedEx in Arizona from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bronson has been

eligible to receive overtime pay under the FLSA because Bronson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        359.   Plaintiff Douglas Brown is an individual residing in Arizona. Brown worked as a

delivery driver for FedEx in Arizona from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              224
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 225 of 3128




        360.   Plaintiff Paul Bryan is an individual residing in Arizona. Bryan worked as a

delivery driver for FedEx in Arizona from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bryan has been

eligible to receive overtime pay under the FLSA because Bryan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        361.   Plaintiff Joshua Bull is an individual residing in Arizona. Bull worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Bull has been eligible to receive overtime pay under the

FLSA because Bull has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        362.   Plaintiff Julio Cajigas is an individual residing in Arizona. Cajigas worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cajigas has been

eligible to receive overtime pay under the FLSA because Cajigas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        363.   Plaintiff Christopher Calhoun is an individual residing in Arizona. Calhoun

worked as a delivery driver for FedEx in Arizona from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Calhoun

has been eligible to receive overtime pay under the FLSA because Calhoun has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               225
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24       Page 226 of 3128




        364.   Plaintiff Darryl Carlisle is an individual residing in Illinois. Carlisle worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carlisle has been

eligible to receive overtime pay under the FLSA because Carlisle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        365.   Plaintiff Jorge Castillo is an individual residing in Arizona. Castillo worked as a

delivery driver for FedEx in Arizona from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Castillo has been

eligible to receive overtime pay under the FLSA because Castillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        366.   Plaintiff Efren Colchado Ruiz Iii is an individual residing in Arizona. Colchado

Ruiz Iii worked as a delivery driver for FedEx in Arizona from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Colchado Ruiz Iii has been eligible to receive overtime pay under the FLSA because Colchado

Ruiz Iii has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        367.   Plaintiff Daniel Collins is an individual residing in Arizona. Collins worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing




                                                226
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 227 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        368.   Plaintiff Jason Davis is an individual residing in Arizona. Davis worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        369.   Plaintiff Michael Davis is an individual residing in Arizona. Davis worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        370.   Plaintiff Christopher Day is an individual residing in Arizona. Day worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Day has been

eligible to receive overtime pay under the FLSA because Day has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        371.   Plaintiff John De La Cruz is an individual residing in Arizona. De La Cruz

worked as a delivery driver for FedEx in Arizona from approximately 2010 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. De La

Cruz has been eligible to receive overtime pay under the FLSA because De La Cruz has driven a



                                               227
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 228 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        372.   Plaintiff Kirk Dean is an individual residing in Arizona. Dean worked as a

delivery driver for FedEx in Arizona from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dean has been

eligible to receive overtime pay under the FLSA because Dean has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        373.   Plaintiff Gordon Dill is an individual residing in Arizona. Dill worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dill has been

eligible to receive overtime pay under the FLSA because Dill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        374.   Plaintiff Cynthia Dominguez is an individual residing in Arizona. Dominguez

worked as a delivery driver for FedEx in Arizona but was employed through intermediary

entities that FedEx calls independent service providers. Dominguez has been eligible to receive

overtime pay under the FLSA because Dominguez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        375.   Plaintiff Fred Elem is an individual residing in Arizona. Elem worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Elem has been

eligible to receive overtime pay under the FLSA because Elem has driven a vehicle weighing



                                               228
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 229 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        376.   Plaintiff Marcus Ellis is an individual residing in Arizona. Ellis worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ellis has been

eligible to receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        377.   Plaintiff Joy Eppert is an individual residing in Arizona. Eppert worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Eppert has been

eligible to receive overtime pay under the FLSA because Eppert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        378.   Plaintiff Anthony Espinoza is an individual residing in Arizona. Espinoza worked

as a delivery driver for FedEx in Arizona from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Espinoza has been

eligible to receive overtime pay under the FLSA because Espinoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        379.   Plaintiff Jessie Esquivel is an individual residing in Arizona. Esquivel worked as

a delivery driver for FedEx in Arizona from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Esquivel has been



                                               229
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 230 of 3128




eligible to receive overtime pay under the FLSA because Esquivel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        380.   Plaintiff Ernie Flores is an individual residing in Arizona. Flores worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        381.   Plaintiff John Fontaine is an individual residing in Arizona. Fontaine worked as a

delivery driver for FedEx in Arizona from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fontaine has been

eligible to receive overtime pay under the FLSA because Fontaine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        382.   Plaintiff James Frum is an individual residing in Arizona. Frum worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Frum has been

eligible to receive overtime pay under the FLSA because Frum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        383.   Plaintiff Abimael Gastelum is an individual residing in Arizona. Gastelum

worked as a delivery driver for FedEx in Arizona from approximately 2015 to 2018 but was



                                               230
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 231 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Gastelum has been eligible to receive overtime pay under the FLSA because Gastelum has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        384.   Plaintiff Carlos Gim is an individual residing in Arizona. Gim worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gim has been

eligible to receive overtime pay under the FLSA because Gim has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        385.   Plaintiff Isaac Ginyard is an individual residing in Arizona. Ginyard worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ginyard has been

eligible to receive overtime pay under the FLSA because Ginyard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        386.   Plaintiff Chas Good is an individual residing in Arizona. Good worked as a

delivery driver for FedEx in Arizona from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Good has been

eligible to receive overtime pay under the FLSA because Good has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              231
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 232 of 3128




        387.   Plaintiff Jesus Granados is an individual residing in Arizona. Granados worked as

a delivery driver for FedEx in Arizona from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Granados has been

eligible to receive overtime pay under the FLSA because Granados has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        388.   Plaintiff Andrew Hahn is an individual residing in Arizona. Hahn worked as a

delivery driver for FedEx in Arizona from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hahn has been

eligible to receive overtime pay under the FLSA because Hahn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        389.   Plaintiff Brianne Heath is an individual residing in Arizona. Heath worked as a

delivery driver for FedEx in Arizona from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Heath has been

eligible to receive overtime pay under the FLSA because Heath has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        390.   Plaintiff David Henderson is an individual residing in Arizona. Henderson

worked as a delivery driver for FedEx in Arizona from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has




                                              232
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 233 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        391.   Plaintiff Carlos Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in Arizona and California from approximately 2008 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Hernandez has been eligible to receive overtime pay under the FLSA because

Hernandez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        392.   Plaintiff Orlando Higuera is an individual residing in Arizona. Higuera worked as

a delivery driver for FedEx in Arizona from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Higuera has been

eligible to receive overtime pay under the FLSA because Higuera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        393.   Plaintiff Brandon Hill is an individual residing in Kansas. Hill worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Hill has been eligible to receive overtime pay under the

FLSA because Hill has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        394.   Plaintiff Jonathan Huffman is an individual residing in Arizona. Huffman worked

as a delivery driver for FedEx in Arizona from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Huffman has been

eligible to receive overtime pay under the FLSA because Huffman has driven a vehicle weighing



                                               233
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 234 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        395.   Plaintiff Douglas Jett is an individual residing in Arizona. Jett worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Jett has been eligible to receive overtime pay under the

FLSA because Jett has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        396.   Plaintiff Christian Jones is an individual residing in Arizona. Jones worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        397.   Plaintiff Ronald Jones is an individual residing in Arizona. Jones worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        398.   Plaintiff Philllip Kaiser is an individual residing in Arizona. Kaiser worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Kaiser has been eligible to receive overtime pay under the




                                               234
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 235 of 3128




FLSA because Kaiser has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        399.   Plaintiff Zoltan Koszegi is an individual residing in Arizona. Koszegi worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Koszegi has been eligible to receive overtime pay under the

FLSA because Koszegi has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        400.   Plaintiff Mike La Rose is an individual residing in Arizona. La Rose worked as a

delivery driver for FedEx in Arizona from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. La Rose has been

eligible to receive overtime pay under the FLSA because La Rose has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        401.   Plaintiff Caleb Lawson is an individual residing in Arizona. Lawson worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lawson has been

eligible to receive overtime pay under the FLSA because Lawson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        402.   Plaintiff Elijah Lee is an individual residing in Arizona. Lee worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less



                                              235
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 236 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        403.   Plaintiff Juan Lizarraga is an individual residing in Arizona. Lizarraga worked as

a delivery driver for FedEx in Arizona from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lizarraga has been

eligible to receive overtime pay under the FLSA because Lizarraga has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        404.   Plaintiff Aaron Longhouse is an individual residing in New York. Longhouse

worked as a delivery driver for FedEx in Arizona from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Longhouse has been eligible to receive overtime pay under the FLSA because Longhouse has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        405.   Plaintiff Adrian Lopez is an individual residing in Arizona. Lopez worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Lopez has been eligible to receive overtime pay under the

FLSA because Lopez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        406.   Plaintiff Jack Lopez is an individual residing in Arizona. Lopez worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing



                                               236
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 237 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        407.   Plaintiff Brian Lucke is an individual residing in Arizona. Lucke worked as a

delivery driver for FedEx in Arizona from approximately 1998 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lucke has been

eligible to receive overtime pay under the FLSA because Lucke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        408.   Plaintiff Jason Lutz is an individual residing in Arizona. Lutz worked as a

delivery driver for FedEx in Arizona from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lutz has been

eligible to receive overtime pay under the FLSA because Lutz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        409.   Plaintiff Jose Macias is an individual residing in Arizona. Macias worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Macias has been eligible to receive overtime pay under the

FLSA because Macias has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        410.   Plaintiff Nathan Maras is an individual residing in South Dakota. Maras worked

as a delivery driver for FedEx in Arizona and South Dakota from approximately 2015 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Maras has been eligible to receive overtime pay under the FLSA because Maras has driven a



                                               237
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 238 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        411.   Plaintiff Anthony Marinelli is an individual residing in Arizona. Marinelli worked

as a delivery driver for FedEx in Arizona from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Marinelli has been

eligible to receive overtime pay under the FLSA because Marinelli has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        412.   Plaintiff Vojin Marinkovic is an individual residing in Wisconsin. Marinkovic

worked as a delivery driver for FedEx in Arizona from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Marinkovic has been eligible to receive overtime pay under the FLSA because Marinkovic has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        413.   Plaintiff Joshua Martinez is an individual residing in Arizona. Martinez worked as

a delivery driver for FedEx in Arizona from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        414.   Plaintiff Angel Martir-Estrella is an individual residing in Arizona. Martir-Estrella

worked as a delivery driver for FedEx in Arizona from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Martir-



                                               238
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 239 of 3128




Estrella has been eligible to receive overtime pay under the FLSA because Martir-Estrella has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        415.   Plaintiff Kerrie Maxam is an individual residing in Arizona. Maxam worked as a

delivery driver for FedEx in Arizona from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Maxam has been

eligible to receive overtime pay under the FLSA because Maxam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        416.   Plaintiff Nathan Mayers is an individual residing in Arizona. Mayers worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mayers has been

eligible to receive overtime pay under the FLSA because Mayers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        417.   Plaintiff Emanuel Mccarty is an individual residing in Arizona. Mccarty worked

as a delivery driver for FedEx in Arizona from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mccarty has been

eligible to receive overtime pay under the FLSA because Mccarty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        418.   Plaintiff Edward Mcclendon is an individual residing in Arizona. Mcclendon

worked as a delivery driver for FedEx in Arizona from approximately 2016 to 2018 but was



                                              239
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 240 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Mcclendon has been eligible to receive overtime pay under the FLSA because Mcclendon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        419.   Plaintiff Francisco Mendez is an individual residing in Arizona. Mendez worked

as a delivery driver for FedEx in Arizona from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mendez has been

eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        420.   Plaintiff Delbert Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        421.   Plaintiff Montrell Milum is an individual residing in Arizona. Milum worked as a

delivery driver for FedEx in Arizona from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Milum has been

eligible to receive overtime pay under the FLSA because Milum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               240
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 241 of 3128




        422.   Plaintiff Stacy Mitchell is an individual residing in North Dakota. Mitchell

worked as a delivery driver for FedEx in Arizona but was employed through intermediary

entities that FedEx calls independent service providers. Mitchell has been eligible to receive

overtime pay under the FLSA because Mitchell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        423.   Plaintiff Jesus Morales is an individual residing in Arizona. Morales worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        424.   Plaintiff Miguel Morales is an individual residing in Arizona. Morales worked as

a delivery driver for FedEx in Arizona from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        425.   Plaintiff Juan Moreno is an individual residing in Arizona. Moreno worked as a

delivery driver for FedEx in Arizona from approximately 2002 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               241
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 242 of 3128




        426.   Plaintiff Christopher Morris is an individual residing in Arizona. Morris worked

as a delivery driver for FedEx in Arizona from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        427.   Plaintiff Eric Morrow is an individual residing in Arizona. Morrow worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Morrow has been eligible to receive overtime pay under the

FLSA because Morrow has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        428.   Plaintiff Michael Munoz is an individual residing in Arizona. Munoz worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Munoz has been

eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        429.   Plaintiff Walter Neitzel is an individual residing in Arizona. Neitzel worked as a

delivery driver for FedEx in Arizona from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Neitzel has been

eligible to receive overtime pay under the FLSA because Neitzel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               242
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 243 of 3128




        430.   Plaintiff Colleen Nelson is an individual residing in Arizona. Nelson worked as a

delivery driver for FedEx in Arizona from approximately 1998 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        431.   Plaintiff Deserae Nemeth is an individual residing in Arizona. Nemeth worked as

a delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nemeth has been

eligible to receive overtime pay under the FLSA because Nemeth has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        432.   Plaintiff Kristen Nichols is an individual residing in Florida. Nichols worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Nichols has been

eligible to receive overtime pay under the FLSA because Nichols has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        433.   Plaintiff Paul Orton is an individual residing in Arizona. Orton worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Orton has been eligible to receive overtime pay under the

FLSA because Orton has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                               243
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 244 of 3128




        434.   Plaintiff Timothy Overstake is an individual residing in Arizona. Overstake

worked as a delivery driver for FedEx in Arizona from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Overstake has been eligible to receive overtime pay under the FLSA because Overstake has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        435.   Plaintiff Robert Pacheco is an individual residing in Arizona. Pacheco worked as

a delivery driver for FedEx in Arizona from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pacheco has been

eligible to receive overtime pay under the FLSA because Pacheco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        436.   Plaintiff Elias Perez is an individual residing in Arizona. Perez worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        437.   Plaintiff Toni Perez is an individual residing in Arizona. Perez worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing




                                               244
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 245 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        438.   Plaintiff Jose Perez Ramirez is an individual residing in Arizona. Perez Ramirez

worked as a delivery driver for FedEx in Arizona from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Perez

Ramirez has been eligible to receive overtime pay under the FLSA because Perez Ramirez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        439.   Plaintiff Michael Petruzzelli is an individual residing in Arizona. Petruzzelli

worked as a delivery driver for FedEx in Arizona from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Petruzzelli has been eligible to receive overtime pay under the FLSA because Petruzzelli has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        440.   Plaintiff Michael Pineda is an individual residing in Arizona. Pineda worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pineda has been

eligible to receive overtime pay under the FLSA because Pineda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        441.   Plaintiff Kenneth Smith is an individual residing in Arizona. Pinkerman worked

as a delivery driver for FedEx in Arizona but was employed through intermediary entities that

FedEx calls independent service providers. Pinkerman has been eligible to receive overtime pay



                                                245
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 246 of 3128




under the FLSA because Pinkerman has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        442.   Plaintiff Clarence Pollard is an individual residing in Arizona. Pollard worked as

a delivery driver for FedEx in Arizona but was employed through intermediary entities that

FedEx calls independent service providers. Pollard has been eligible to receive overtime pay

under the FLSA because Pollard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        443.   Plaintiff Robert Pulliam is an individual residing in Arizona. Pulliam worked as a

delivery driver for FedEx in Arizona from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pulliam has been

eligible to receive overtime pay under the FLSA because Pulliam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        444.   Plaintiff Jerry Reidhead is an individual residing in Arizona. Reidhead worked as

a delivery driver for FedEx in Arizona but was employed through intermediary entities that

FedEx calls independent service providers. Reidhead has been eligible to receive overtime pay

under the FLSA because Reidhead has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        445.   Plaintiff Stevan Riojas is an individual residing in Arizona. Riojas worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Riojas has been

eligible to receive overtime pay under the FLSA because Riojas has driven a vehicle weighing




                                               246
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 247 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        446.   Plaintiff Randall Rivera is an individual residing in Arizona. Rivera worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been

eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        447.   Plaintiff Alexander Rivero is an individual residing in Arizona. Rivero worked as

a delivery driver for FedEx in Arizona from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rivero has been

eligible to receive overtime pay under the FLSA because Rivero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        448.   Plaintiff Nicholas Robertson is an individual residing in Arizona. Robertson

worked as a delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Robertson has been eligible to receive overtime pay under the FLSA because Robertson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        449.   Plaintiff Sergio Rocha is an individual residing in Arizona. Rocha worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rocha has been



                                               247
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 248 of 3128




eligible to receive overtime pay under the FLSA because Rocha has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        450.   Plaintiff Fernie Rodriguez is an individual residing in Arizona. Rodriguez worked

as a delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        451.   Plaintiff Valentin Rodriguez is an individual residing in Arizona. Rodriguez

worked as a delivery driver for FedEx in Arizona from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        452.   Plaintiff Jesus Rodriguez is an individual residing in Arizona. Rodriguez worked

as a delivery driver for FedEx in Arizona from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        453.   Plaintiff Luis Rodriguez is an individual residing in Arizona. Rodriguez worked

as a delivery driver for FedEx in Arizona from approximately 2016 to 2017 but was employed



                                              248
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 249 of 3128




through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        454.   Plaintiff Christopher Roos is an individual residing in Arizona. Roos worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Roos has been eligible to receive overtime pay under the

FLSA because Roos has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        455.   Plaintiff Dennis Roose is an individual residing in Arizona. Roose worked as a

delivery driver for FedEx in Arizona from approximately 1999 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Roose has been

eligible to receive overtime pay under the FLSA because Roose has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        456.   Plaintiff Israel Rosas is an individual residing in Arizona. Rosas worked as a

delivery driver for FedEx in Arizona from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rosas has been

eligible to receive overtime pay under the FLSA because Rosas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        457.   Plaintiff Michael Rose is an individual residing in Arizona. Rose worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx



                                               249
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 250 of 3128




calls independent service providers. Rose has been eligible to receive overtime pay under the

FLSA because Rose has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        458.   Plaintiff Jacob Royer is an individual residing in Arizona. Royer worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Royer has been

eligible to receive overtime pay under the FLSA because Royer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        459.   Plaintiff Carlos Ruiz is an individual residing in Arizona. Ruiz worked as a

delivery driver for FedEx in Arizona from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ruiz has been

eligible to receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        460.   Plaintiff Francisco Ruiz is an individual residing in Arizona. Ruiz worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Ruiz has been eligible to receive overtime pay under the

FLSA because Ruiz has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        461.   Plaintiff Nino Russo is an individual residing in Arizona. Russo worked as a

delivery driver for FedEx in Arizona from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Russo has been



                                               250
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 251 of 3128




eligible to receive overtime pay under the FLSA because Russo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        462.   Plaintiff Michael Sanchez is an individual residing in Arizona. Sanchez worked as

a delivery driver for FedEx in Arizona from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        463.   Plaintiff Carlos Sanchez is an individual residing in Arizona. Sanchez worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        464.   Plaintiff Timothy Session is an individual residing in Arizona. Session worked as

a delivery driver for FedEx in Arizona from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Session has been

eligible to receive overtime pay under the FLSA because Session has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        465.   Plaintiff Dennis Sharkey is an individual residing in Florida. Sharkey worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx



                                              251
    Case 2:24-cv-01129-RJC            Document 1        Filed 08/06/24      Page 252 of 3128




calls independent service providers. Sharkey has been eligible to receive overtime pay under the

FLSA because Sharkey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        466.   Plaintiff Brandon Sheets is an individual residing in Arizona. Sheets worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sheets has been

eligible to receive overtime pay under the FLSA because Sheets has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        467.   Plaintiff Rojelio Sifuentes Iii is an individual residing in California. Sifuentes Iii

worked as a delivery driver for FedEx in Arizona from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Sifuentes

Iii has been eligible to receive overtime pay under the FLSA because Sifuentes Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        468.   Plaintiff Larry Slusser is an individual residing in Arizona. Slusser worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Slusser has been eligible to receive overtime pay under the

FLSA because Slusser has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        469.   Plaintiff Albert Smith is an individual residing in Arizona. Smith worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been



                                                 252
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 253 of 3128




eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        470.   Plaintiff Richard Smith is an individual residing in Arizona. Smith worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        471.   Plaintiff Chad Smith is an individual residing in Arizona. Smith worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        472.   Plaintiff Jacob Smith is an individual residing in Arizona. Smith worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        473.   Plaintiff Francisco Solorzano is an individual residing in Arizona. Solorzano

worked as a delivery driver for FedEx in Arizona from approximately 2008 to 2016 but was



                                               253
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 254 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Solorzano has been eligible to receive overtime pay under the FLSA because Solorzano has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        474.   Plaintiff Casey Spear is an individual residing in Arizona. Spear worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Spear has been

eligible to receive overtime pay under the FLSA because Spear has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        475.   Plaintiff Reginald Spencer is an individual residing in Illinois. Spencer worked as

a delivery driver for FedEx in Arizona from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Spencer has been

eligible to receive overtime pay under the FLSA because Spencer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        476.   Plaintiff Shane Stansell is an individual residing in Arizona. Stansell worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Stansell has been

eligible to receive overtime pay under the FLSA because Stansell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               254
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 255 of 3128




        477.   Plaintiff Gordon Starkey is an individual residing in Arizona. Starkey worked as a

delivery driver for FedEx in Arizona from approximately 2001 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Starkey has been

eligible to receive overtime pay under the FLSA because Starkey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        478.   Plaintiff Jade Sullivan is an individual residing in Arizona. Sullivan worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sullivan has been

eligible to receive overtime pay under the FLSA because Sullivan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        479.   Plaintiff Seth Swartout is an individual residing in Arizona. Swartout worked as a

delivery driver for FedEx in Arizona from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Swartout has been

eligible to receive overtime pay under the FLSA because Swartout has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        480.   Plaintiff Adam Sweeney is an individual residing in Arizona. Sweeney worked as

a delivery driver for FedEx in Arizona from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sweeney has been

eligible to receive overtime pay under the FLSA because Sweeney has driven a vehicle weighing




                                               255
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 256 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        481.   Plaintiff Jesus Tapia is an individual residing in Arizona. Tapia worked as a

delivery driver for FedEx in Arizona from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Tapia has been

eligible to receive overtime pay under the FLSA because Tapia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        482.   Plaintiff Eric Tarver is an individual residing in Arizona. Tarver worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tarver has been

eligible to receive overtime pay under the FLSA because Tarver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        483.   Plaintiff Matthew Teich is an individual residing in Arizona. Teich worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Teich has been

eligible to receive overtime pay under the FLSA because Teich has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        484.   Plaintiff Aaron Thomas is an individual residing in Georgia. Thomas worked as a

delivery driver for FedEx in Arizona from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been



                                               256
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 257 of 3128




eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        485.   Plaintiff Justin Thornton is an individual residing in Arizona. Thornton worked as

a delivery driver for FedEx in Arizona from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thornton has been

eligible to receive overtime pay under the FLSA because Thornton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        486.   Plaintiff John Thornton is an individual residing in Arizona. Thornton worked as

a delivery driver for FedEx in Arizona from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thornton has been

eligible to receive overtime pay under the FLSA because Thornton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        487.   Plaintiff John Topa is an individual residing in West Virginia. Topa worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Topa has been eligible to receive overtime pay under the

FLSA because Topa has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        488.   Plaintiff Jacob Townsley is an individual residing in Arizona. Townsley worked

as a delivery driver for FedEx in Arizona from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Townsley has been



                                              257
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 258 of 3128




eligible to receive overtime pay under the FLSA because Townsley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        489.   Plaintiff Heber Valenzuela is an individual residing in Arizona. Valenzuela

worked as a delivery driver for FedEx in Arizona from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Valenzuela has been eligible to receive overtime pay under the FLSA because Valenzuela has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        490.   Plaintiff Marco Valle is an individual residing in Arizona. Valle worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Valle has been

eligible to receive overtime pay under the FLSA because Valle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        491.   Plaintiff Zachary Vargas is an individual residing in Arizona. Vargas worked as a

delivery driver for FedEx in Arizona from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        492.   Plaintiff Gerardojerry Vargas is an individual residing in Arizona. Vargas worked

as a delivery driver for FedEx in Arizona from approximately 2021 to 2024 but was employed



                                               258
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 259 of 3128




through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        493.   Plaintiff Andrea Vasquez is an individual residing in Arizona. Vasquez worked as

a delivery driver for FedEx in Arizona from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Vasquez has been

eligible to receive overtime pay under the FLSA because Vasquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        494.   Plaintiff Manuel Villa is an individual residing in Arizona. Villa worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Villa has been

eligible to receive overtime pay under the FLSA because Villa has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        495.   Plaintiff Bryan Walker is an individual residing in South Carolina. Walker

worked as a delivery driver for FedEx in Arizona from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Walker

has been eligible to receive overtime pay under the FLSA because Walker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               259
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 260 of 3128




        496.   Plaintiff Kavonte Washington is an individual residing in Arizona. Washington

worked as a delivery driver for FedEx in Arizona from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        497.   Plaintiff Harlan Washington Jr. is an individual residing in Arizona. Washington

Jr. worked as a delivery driver for FedEx in Arizona from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington Jr. has been eligible to receive overtime pay under the FLSA because Washington

Jr. has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        498.   Plaintiff Alexis Watson is an individual residing in Arizona. Watson worked as a

delivery driver for FedEx in Arizona but was employed through intermediary entities that FedEx

calls independent service providers. Watson has been eligible to receive overtime pay under the

FLSA because Watson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        499.   Plaintiff Frank West is an individual residing in Arizona. West worked as a

delivery driver for FedEx in Arizona from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              260
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 261 of 3128




        500.   Plaintiff Steven Wheeler is an individual residing in Arizona. Wheeler worked as

a delivery driver for FedEx in Arizona from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wheeler has been

eligible to receive overtime pay under the FLSA because Wheeler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        501.   Plaintiff Steven White is an individual residing in Arizona. White worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        502.   Plaintiff James White is an individual residing in Arizona. White worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        503.   Plaintiff Michael Williams is an individual residing in Arizona. Williams worked

as a delivery driver for FedEx in Arizona from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing




                                              261
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 262 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        504.   Plaintiff Anthony Williamson is an individual residing in Arizona. Williamson

worked as a delivery driver for FedEx in Arizona but was employed through intermediary

entities that FedEx calls independent service providers. Williamson has been eligible to receive

overtime pay under the FLSA because Williamson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        505.   Plaintiff Ryan Woods is an individual residing in Arizona. Woods worked as a

delivery driver for FedEx in Arizona from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        506.   Plaintiff Eric Zavala is an individual residing in Arizona. Zavala worked as a

delivery driver for FedEx in Arizona from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Zavala has been

eligible to receive overtime pay under the FLSA because Zavala has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        507.   Plaintiff John Zelasney is an individual residing in Arizona. Zelasney worked as a

delivery driver for FedEx in Arizona from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Zelasney has been

eligible to receive overtime pay under the FLSA because Zelasney has driven a vehicle weighing



                                               262
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 263 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        508.   Plaintiff Christerpher Ziglar is an individual residing in Arizona. Ziglar worked as

a delivery driver for FedEx in Arizona from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ziglar has been

eligible to receive overtime pay under the FLSA because Ziglar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        509.   Plaintiff Christopher Adkins is an individual residing in Arkansas. Adkins worked

as a delivery driver for FedEx in Arkansas from approximately 2004 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Adkins has been

eligible to receive overtime pay under the FLSA because Adkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        510.   Plaintiff Lance Alexander is an individual residing in Arkansas. Alexander

worked as a delivery driver for FedEx in Arkansas from approximately 2008 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Alexander has been eligible to receive overtime pay under the FLSA because Alexander has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        511.   Plaintiff Chris Almazan is an individual residing in Arkansas. Almazan worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Almazan has been eligible to receive overtime pay



                                               263
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 264 of 3128




under the FLSA because Almazan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        512.   Plaintiff Nastesea Anderson is an individual residing in Arkansas. Anderson

worked as a delivery driver for FedEx in Arkansas from approximately 2011 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        513.   Plaintiff Amanda Baldwin is an individual residing in Arkansas. Baldwin worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Baldwin has been eligible to receive overtime pay

under the FLSA because Baldwin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        514.   Plaintiff Vince Barnes is an individual residing in Arkansas. Barnes worked as a

delivery driver for FedEx in Arkansas from approximately 1997 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been

eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        515.   Plaintiff James Barron is an individual residing in Arkansas. Barron worked as a

delivery driver for FedEx in Arkansas from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Barron has been

eligible to receive overtime pay under the FLSA because Barron has driven a vehicle weighing



                                              264
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 265 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        516.   Plaintiff Justin Bass is an individual residing in Arkansas. Bass worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Bass has been eligible to receive overtime pay under

the FLSA because Bass has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        517.   Plaintiff Mark Beasley is an individual residing in Arkansas. Beasley worked as a

delivery driver for FedEx in Arkansas from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Beasley has been

eligible to receive overtime pay under the FLSA because Beasley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        518.   Plaintiff John Boaz is an individual residing in Arkansas. Boaz worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Boaz has been eligible to receive overtime pay under

the FLSA because Boaz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        519.   Plaintiff Dorothy Bright is an individual residing in Arkansas. Bright worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Bright has been eligible to receive overtime pay

under the FLSA because Bright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               265
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 266 of 3128




        520.   Plaintiff Julian Brito is an individual residing in Arkansas. Brito worked as a

delivery driver for FedEx in Arkansas from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Brito has been

eligible to receive overtime pay under the FLSA because Brito has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        521.   Plaintiff Andre Brooks is an individual residing in Arkansas. Brooks worked as a

delivery driver for FedEx in Arkansas from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        522.   Plaintiff Patrick Brooks is an individual residing in Texas. Brooks worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        523.   Plaintiff Charles Brooks is an individual residing in Arkansas. Brooks worked as

a delivery driver for FedEx in Arkansas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing




                                               266
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 267 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        524.   Plaintiff David Brown is an individual residing in Arkansas. Brown worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        525.   Plaintiff Jonathan Brown is an individual residing in Oklahoma. Brown worked as

a delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        526.   Plaintiff Josh Brown is an individual residing in Oklahoma. Brown worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        527.   Plaintiff William Burns is an individual residing in Arkansas. Burns worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Burns has been



                                              267
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 268 of 3128




eligible to receive overtime pay under the FLSA because Burns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        528.   Plaintiff George Bynum is an individual residing in Arkansas. Bynum worked as

a delivery driver for FedEx in Arkansas from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bynum has been

eligible to receive overtime pay under the FLSA because Bynum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        529.   Plaintiff Raymond Byrd is an individual residing in Arkansas. Byrd worked as a

delivery driver for FedEx in Arkansas from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Byrd has been

eligible to receive overtime pay under the FLSA because Byrd has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        530.   Plaintiff Joseph Cabalar is an individual residing in Arkansas. Cabalar worked as

a delivery driver for FedEx in Arkansas from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Cabalar has been

eligible to receive overtime pay under the FLSA because Cabalar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        531.   Plaintiff Beverly Cameron is an individual residing in Arkansas. Cameron worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that



                                              268
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 269 of 3128




FedEx calls independent service providers. Cameron has been eligible to receive overtime pay

under the FLSA because Cameron has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        532.   Plaintiff Scott Campbell is an individual residing in Arkansas. Campbell worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Campbell has been eligible to receive overtime pay

under the FLSA because Campbell has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        533.   Plaintiff Willie Candley is an individual residing in Arkansas. Candley worked as

a delivery driver for FedEx in Arkansas from approximately 2012 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Candley has been

eligible to receive overtime pay under the FLSA because Candley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        534.   Plaintiff Bruce Canerday is an individual residing in Texas. Canerday worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Canerday has been

eligible to receive overtime pay under the FLSA because Canerday has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        535.   Plaintiff Daniel Cantwell is an individual residing in Arkansas. Cantwell worked

as a delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cantwell has been



                                              269
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 270 of 3128




eligible to receive overtime pay under the FLSA because Cantwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        536.   Plaintiff Steven Chamness is an individual residing in Arkansas. Chamness

worked as a delivery driver for FedEx in Arkansas from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Chamness has been eligible to receive overtime pay under the FLSA because Chamness has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        537.   Plaintiff Andrea Chavis is an individual residing in Arkansas. Chavis worked as

a delivery driver for FedEx in Arkansas from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chavis has been

eligible to receive overtime pay under the FLSA because Chavis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        538.   Plaintiff Shelby Cheatham is an individual residing in Arkansas. Cheatham

worked as a delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Cheatham has been eligible to receive overtime pay under the FLSA because Cheatham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        539.   Plaintiff Shawn Anderson is an individual residing in Arkansas. Collins worked as

a delivery driver for FedEx in Arkansas from approximately 2008 to 2024 but was employed



                                              270
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 271 of 3128




through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        540.   Plaintiff Stacy Conley is an individual residing in Arkansas. Conley worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Conley has been

eligible to receive overtime pay under the FLSA because Conley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        541.   Plaintiff Andrew Cook is an individual residing in Arkansas. Cook worked as a

delivery driver for FedEx in Arkansas from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cook has been

eligible to receive overtime pay under the FLSA because Cook has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        542.   Plaintiff Jeffery Cribbs is an individual residing in Arkansas. Cribbs worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Cribbs has been eligible to receive overtime pay

under the FLSA because Cribbs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        543.   Plaintiff John Curry is an individual residing in Arkansas. Curry worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed



                                               271
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 272 of 3128




through intermediary entities that FedEx calls independent service providers. Curry has been

eligible to receive overtime pay under the FLSA because Curry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        544.   Plaintiff Brian Dailey is an individual residing in Arkansas. Dailey worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Dailey has been eligible to receive overtime pay

under the FLSA because Dailey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        545.   Plaintiff Jaryd Daniel is an individual residing in Arkansas. Daniel worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Daniel has been eligible to receive overtime pay

under the FLSA because Daniel has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        546.   Plaintiff Sherika Daniels is an individual residing in Arkansas. Daniels worked as

a delivery driver for FedEx in Arkansas from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Daniels has been

eligible to receive overtime pay under the FLSA because Daniels has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        547.   Plaintiff Phillip Davidson is an individual residing in Arkansas. Davidson worked

as a delivery driver for FedEx in Arkansas from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Davidson has been



                                               272
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 273 of 3128




eligible to receive overtime pay under the FLSA because Davidson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        548.   Plaintiff Kelly Davidson is an individual residing in Arkansas. Davidson worked

as a delivery driver for FedEx in Arkansas from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davidson has been

eligible to receive overtime pay under the FLSA because Davidson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        549.   Plaintiff Sedrick Davis is an individual residing in Arkansas. Davis worked as a

delivery driver for FedEx in Arkansas from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        550.   Plaintiff Jakqun Davis is an individual residing in Arkansas. Davis worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        551.   Plaintiff Jeffrey Dengler is an individual residing in Arkansas. Dengler worked as

a delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed



                                              273
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 274 of 3128




through intermediary entities that FedEx calls independent service providers. Dengler has been

eligible to receive overtime pay under the FLSA because Dengler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        552.   Plaintiff Marcus Dickson is an individual residing in Arkansas. Dickson worked

as a delivery driver for FedEx in Arkansas from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Dickson has been

eligible to receive overtime pay under the FLSA because Dickson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        553.   Plaintiff Richard Dixon is an individual residing in Arkansas. Dixon worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Dixon has been eligible to receive overtime pay

under the FLSA because Dixon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        554.   Plaintiff Tyronza Dobbins is an individual residing in Arkansas. Dobbins worked

as a delivery driver for FedEx in Arkansas from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dobbins has been

eligible to receive overtime pay under the FLSA because Dobbins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        555.   Plaintiff Samuel Dunn is an individual residing in Texas. Dunn worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that



                                              274
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 275 of 3128




FedEx calls independent service providers. Dunn has been eligible to receive overtime pay under

the FLSA because Dunn has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        556.   Plaintiff Robert Evans is an individual residing in Arkansas. Evans worked as a

delivery driver for FedEx in Arkansas from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        557.   Plaintiff Kerry Falls is an individual residing in Arkansas. Falls worked as a

delivery driver for FedEx in Arkansas from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Falls has been

eligible to receive overtime pay under the FLSA because Falls has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        558.   Plaintiff Michael Fancher is an individual residing in Arkansas. Fancher worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Fancher has been eligible to receive overtime pay

under the FLSA because Fancher has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        559.   Plaintiff Steve Ferrell is an individual residing in Missouri. Ferrell worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ferrell has been



                                                275
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 276 of 3128




eligible to receive overtime pay under the FLSA because Ferrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        560.   Plaintiff David Fillmore is an individual residing in Arkansas. Fillmore worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Fillmore has been eligible to receive overtime pay

under the FLSA because Fillmore has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        561.   Plaintiff Tony Goforth is an individual residing in Arkansas. Goforth worked as a

delivery driver for FedEx in Arkansas from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Goforth has been

eligible to receive overtime pay under the FLSA because Goforth has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        562.   Plaintiff Angel Gomez is an individual residing in Texas. Gomez worked as a

delivery driver for FedEx in Arkansas from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        563.   Plaintiff Christine Gossett is an individual residing in Arkansas. Gossett worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Gossett has been eligible to receive overtime pay



                                               276
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 277 of 3128




under the FLSA because Gossett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       564.   Plaintiff Sean Green is an individual residing in Arkansas. Green worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Green has been eligible to receive overtime pay

under the FLSA because Green has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       565.   Plaintiff Danny Grimmett is an individual residing in Arkansas. Grimmett worked

as a delivery driver for FedEx in Arkansas from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Grimmett has been

eligible to receive overtime pay under the FLSA because Grimmett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       566.   Plaintiff Adrianne Gulley is an individual residing in Arkansas. Gulley worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Gulley has been eligible to receive overtime pay

under the FLSA because Gulley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       567.   Plaintiff Ashley Hall-Robinson is an individual residing in Arkansas. Hall-

Robinson worked as a delivery driver for FedEx in Arkansas but was employed through

intermediary entities that FedEx calls independent service providers. Hall-Robinson has been

eligible to receive overtime pay under the FLSA because Hall-Robinson has driven a vehicle




                                              277
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 278 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        568.   Plaintiff Casey Harris is an individual residing in Arkansas. Harris worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        569.   Plaintiff Taylor Harvey is an individual residing in North Dakota. Harvey worked

as a delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Harvey has been

eligible to receive overtime pay under the FLSA because Harvey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        570.   Plaintiff Michael Hawkins is an individual residing in Arkansas. Hawkins worked

as a delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        571.   Plaintiff Janae Hayes is an individual residing in Arkansas. Hayes worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been



                                               278
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 279 of 3128




eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        572.   Plaintiff Lacollis Hayes is an individual residing in Arizona. Hayes worked as a

delivery driver for FedEx in Arkansas from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        573.   Plaintiff Joshua Hicks is an individual residing in Arkansas. Hicks worked as a

delivery driver for FedEx in Arkansas from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hicks has been

eligible to receive overtime pay under the FLSA because Hicks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        574.   Plaintiff Doyle Hill is an individual residing in Arkansas. Hill worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Hill has been eligible to receive overtime pay under

the FLSA because Hill has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        575.   Plaintiff Courtney Hillis is an individual residing in Arkansas. Hillis worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hillis has been



                                               279
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 280 of 3128




eligible to receive overtime pay under the FLSA because Hillis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        576.   Plaintiff Cassio Holly is an individual residing in Arkansas. Holly worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Holly has been eligible to receive overtime pay under

the FLSA because Holly has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        577.   Plaintiff Shawn Hoskins is an individual residing in Arkansas. Hoskins worked as

a delivery driver for FedEx in Arkansas from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hoskins has been

eligible to receive overtime pay under the FLSA because Hoskins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        578.   Plaintiff Lance Hull is an individual residing in Arkansas. Hull worked as a

delivery driver for FedEx in Arkansas from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hull has been

eligible to receive overtime pay under the FLSA because Hull has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        579.   Plaintiff Jonathan Hull is an individual residing in Arkansas. Hull worked as a

delivery driver for FedEx in Arkansas from approximately 2011 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hull has been



                                               280
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 281 of 3128




eligible to receive overtime pay under the FLSA because Hull has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        580.   Plaintiff Elliot Jackson is an individual residing in Arkansas. Jackson worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        581.   Plaintiff Adrianne Jackson is an individual residing in California. Jackson worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Jackson has been eligible to receive overtime pay

under the FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        582.   Plaintiff Jimmie Jewell is an individual residing in Arkansas. Jewell worked as a

delivery driver for FedEx in Arkansas from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jewell has been

eligible to receive overtime pay under the FLSA because Jewell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        583.   Plaintiff Gabriel Jimenez is an individual residing in Arkansas. Jimenez worked

as a delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been



                                               281
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 282 of 3128




eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        584.   Plaintiff Deshaun Johnson is an individual residing in Arkansas. Johnson worked

as a delivery driver for FedEx in Arkansas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        585.   Plaintiff Shacara Jones is an individual residing in Arkansas. Jones worked as a

delivery driver for FedEx in Arkansas from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        586.   Plaintiff Deyonta Jones is an individual residing in Arkansas. Jones worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        587.   Plaintiff Todd Jones is an individual residing in Arkansas. Jones worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed



                                               282
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 283 of 3128




through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        588.   Plaintiff David Keeling is an individual residing in Arkansas. Keeling worked as a

delivery driver for FedEx in Arkansas from approximately 2005 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Keeling has been

eligible to receive overtime pay under the FLSA because Keeling has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        589.   Plaintiff Joshua Landon is an individual residing in Arkansas. Landon worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Landon has been eligible to receive overtime pay

under the FLSA because Landon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        590.   Plaintiff Perry Langley is an individual residing in Arkansas. Langley worked as a

delivery driver for FedEx in Arkansas from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Langley has been

eligible to receive overtime pay under the FLSA because Langley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        591.   Plaintiff Andre Laster is an individual residing in Arkansas. Laster worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2021 but was employed



                                               283
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 284 of 3128




through intermediary entities that FedEx calls independent service providers. Laster has been

eligible to receive overtime pay under the FLSA because Laster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        592.   Plaintiff David Lee is an individual residing in Arkansas. Lee worked as a

delivery driver for FedEx in Arkansas from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        593.   Plaintiff Karen Letson is an individual residing in Arkansas. Letson worked as a

delivery driver for FedEx in Arkansas from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Letson has been

eligible to receive overtime pay under the FLSA because Letson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        594.   Plaintiff Shawn Looper is an individual residing in Arkansas. Looper worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Looper has been eligible to receive overtime pay

under the FLSA because Looper has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        595.   Plaintiff Ervin Lovett is an individual residing in Arkansas. Lovett worked as a

delivery driver for FedEx in Arkansas from approximately 2014 to 2024 but was employed



                                               284
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 285 of 3128




through intermediary entities that FedEx calls independent service providers. Lovett has been

eligible to receive overtime pay under the FLSA because Lovett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        596.   Plaintiff Tommy Marshall is an individual residing in Arkansas. Marshall worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Marshall has been eligible to receive overtime pay

under the FLSA because Marshall has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        597.   Plaintiff Rabon Marshall is an individual residing in Arkansas. Marshall worked

as a delivery driver for FedEx in Arkansas from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Marshall has been

eligible to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        598.   Plaintiff Tina Martin is an individual residing in Arkansas. Martin worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        599.   Plaintiff Daniel Masters is an individual residing in Arkansas. Masters worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that



                                               285
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 286 of 3128




FedEx calls independent service providers. Masters has been eligible to receive overtime pay

under the FLSA because Masters has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        600.   Plaintiff Michael Maxwell is an individual residing in Arkansas. Maxwell worked

as a delivery driver for FedEx in Arkansas from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Maxwell has been

eligible to receive overtime pay under the FLSA because Maxwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        601.   Plaintiff Michael Mccartan is an individual residing in Arkansas. Mccartan

worked as a delivery driver for FedEx in Arkansas from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Mccartan has been eligible to receive overtime pay under the FLSA because Mccartan has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        602.   Plaintiff Nathaniel Mcelroy is an individual residing in Arkansas. Mcelroy

worked as a delivery driver for FedEx in Arkansas from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Mcelroy

has been eligible to receive overtime pay under the FLSA because Mcelroy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        603.   Plaintiff Clifton Mcgill is an individual residing in Arkansas. Mcgill worked as a

delivery driver for FedEx in Arkansas from approximately 2012 to 2020 but was employed



                                               286
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 287 of 3128




through intermediary entities that FedEx calls independent service providers. Mcgill has been

eligible to receive overtime pay under the FLSA because Mcgill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        604.   Plaintiff James Mclain is an individual residing in Arkansas. Mclain worked as a

delivery driver for FedEx in Arkansas from approximately 2011 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mclain has been

eligible to receive overtime pay under the FLSA because Mclain has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        605.   Plaintiff Beau Medsker is an individual residing in Arkansas. Medsker worked as

a delivery driver for FedEx in Arkansas from approximately 2009 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Medsker has been

eligible to receive overtime pay under the FLSA because Medsker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        606.   Plaintiff Brad Melton is an individual residing in Arkansas. Melton worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Melton has been eligible to receive overtime pay

under the FLSA because Melton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        607.   Plaintiff Derrick Merritt is an individual residing in Arkansas. Merritt worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed



                                               287
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 288 of 3128




through intermediary entities that FedEx calls independent service providers. Merritt has been

eligible to receive overtime pay under the FLSA because Merritt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        608.   Plaintiff Randy Miller is an individual residing in Arkansas. Miller worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        609.   Plaintiff Michael Miller is an individual residing in Arkansas. Miller worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        610.   Plaintiff William Miller is an individual residing in Arkansas. Miller worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        611.   Plaintiff Taylor Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing



                                               288
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 289 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        612.   Plaintiff Terri Miller is an individual residing in Arkansas. Miller worked as a

delivery driver for FedEx in Arkansas from approximately 2004 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        613.   Plaintiff Justin Minor is an individual residing in Arkansas. Minor worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Minor has been

eligible to receive overtime pay under the FLSA because Minor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        614.   Plaintiff Jerome Mitchell is an individual residing in Arkansas. Mitchell worked

as a delivery driver for FedEx in Arkansas from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        615.   Plaintiff Cassy Morgan-Russell is an individual residing in Arkansas. Morgan-

Russell worked as a delivery driver for FedEx in Arkansas from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               289
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 290 of 3128




Morgan-Russell has been eligible to receive overtime pay under the FLSA because Morgan-

Russell has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        616.   Plaintiff Nita Mouser is an individual residing in Arkansas. Mouser worked as a

delivery driver for FedEx in Arkansas from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mouser has been

eligible to receive overtime pay under the FLSA because Mouser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        617.   Plaintiff John Murphy is an individual residing in Arkansas. Murphy worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Murphy has been eligible to receive overtime pay

under the FLSA because Murphy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        618.   Plaintiff Dennis Nelson is an individual residing in Arkansas. Nelson worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Nelson has been eligible to receive overtime pay

under the FLSA because Nelson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        619.   Plaintiff Chad Noel is an individual residing in Arkansas. Noel worked as a

delivery driver for FedEx in Arkansas from approximately 2005 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Noel has been

eligible to receive overtime pay under the FLSA because Noel has driven a vehicle weighing less



                                              290
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 291 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        620.   Plaintiff Cashaundee Owens is an individual residing in Arkansas. Owens worked

as a delivery driver for FedEx in Arkansas from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        621.   Plaintiff Ashlee Parker is an individual residing in Arkansas. Parker worked as a

delivery driver for FedEx in Arkansas from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        622.   Plaintiff Shawn Peel is an individual residing in Arkansas. Peel worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Peel has been eligible to receive overtime pay under

the FLSA because Peel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        623.   Plaintiff Mark Perrin is an individual residing in Arkansas. Perrin worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Perrin has been

eligible to receive overtime pay under the FLSA because Perrin has driven a vehicle weighing



                                               291
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 292 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        624.   Plaintiff Alexis Peters is an individual residing in Arkansas. Peters worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Peters has been

eligible to receive overtime pay under the FLSA because Peters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        625.   Plaintiff Arthur Peterson is an individual residing in Arkansas. Peterson worked

as a delivery driver for FedEx in Arkansas from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Peterson has been

eligible to receive overtime pay under the FLSA because Peterson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        626.   Plaintiff Rachel Pitts is an individual residing in Arkansas. Pitts worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Pitts has been eligible to receive overtime pay under

the FLSA because Pitts has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        627.   Plaintiff Curtis Rasool is an individual residing in Arkansas. Rasool worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rasool has been

eligible to receive overtime pay under the FLSA because Rasool has driven a vehicle weighing



                                                292
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 293 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        628.   Plaintiff Jason Reedy is an individual residing in Arkansas. Reedy worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Reedy has been

eligible to receive overtime pay under the FLSA because Reedy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        629.   Plaintiff Wade Rieken is an individual residing in Arkansas. Rieken worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rieken has been

eligible to receive overtime pay under the FLSA because Rieken has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        630.   Plaintiff Lionel Rueda is an individual residing in Arkansas. Rueda worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rueda has been

eligible to receive overtime pay under the FLSA because Rueda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        631.   Plaintiff Nicholes Sampley is an individual residing in Arkansas. Sampley worked

as a delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sampley has been



                                              293
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 294 of 3128




eligible to receive overtime pay under the FLSA because Sampley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        632.   Plaintiff Steven Sanders is an individual residing in Arkansas. Sanders worked as

a delivery driver for FedEx in Arkansas from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        633.   Plaintiff Johnny Schultz is an individual residing in Arkansas. Schultz worked as

a delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Schultz has been

eligible to receive overtime pay under the FLSA because Schultz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        634.   Plaintiff Darron Seals is an individual residing in Arkansas. Seals worked as a

delivery driver for FedEx in Arkansas from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Seals has been

eligible to receive overtime pay under the FLSA because Seals has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        635.   Plaintiff Bruce Sefers is an individual residing in Arkansas. Sefers worked as a

delivery driver for FedEx in Arkansas from approximately 2013 to 2018 but was employed



                                               294
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 295 of 3128




through intermediary entities that FedEx calls independent service providers. Sefers has been

eligible to receive overtime pay under the FLSA because Sefers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        636.   Plaintiff Agustin Servin is an individual residing in Arkansas. Servin worked as a

delivery driver for FedEx in Arkansas from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Servin has been

eligible to receive overtime pay under the FLSA because Servin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        637.   Plaintiff Pearl Sharif is an individual residing in Arkansas. Sharif worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sharif has been

eligible to receive overtime pay under the FLSA because Sharif has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        638.   Plaintiff Morgan Shrader is an individual residing in Arkansas. Shrader worked as

a delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Shrader has been

eligible to receive overtime pay under the FLSA because Shrader has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               295
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 296 of 3128




        639.   Plaintiff Regina Shutes is an individual residing in Arkansas. Shutes worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Shutes has been

eligible to receive overtime pay under the FLSA because Shutes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        640.   Plaintiff Jessica Sims is an individual residing in Arkansas. Sims worked as a

delivery driver for FedEx in Arkansas from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        641.   Plaintiff Ray Smart is an individual residing in Arkansas. Smart worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smart has been

eligible to receive overtime pay under the FLSA because Smart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        642.   Plaintiff Shawn Smith is an individual residing in Arkansas. Smith worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing




                                               296
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 297 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        643.   Plaintiff James Spencer is an individual residing in Arkansas. Spencer worked as

a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Spencer has been eligible to receive overtime pay

under the FLSA because Spencer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        644.   Plaintiff Christopher Still is an individual residing in Arkansas. Still worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Still has been

eligible to receive overtime pay under the FLSA because Still has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        645.   Plaintiff Angela Swecker is an individual residing in Arkansas. Swecker worked

as a delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Swecker has been eligible to receive overtime pay

under the FLSA because Swecker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        646.   Plaintiff Isdr Taylor is an individual residing in Arkansas. Taylor worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                                297
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 298 of 3128




        647.   Plaintiff Johnathan Thacker is an individual residing in Arkansas. Thacker

worked as a delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Thacker

has been eligible to receive overtime pay under the FLSA because Thacker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        648.   Plaintiff David Thompson is an individual residing in Arkansas. Thompson

worked as a delivery driver for FedEx in Arkansas but was employed through intermediary

entities that FedEx calls independent service providers. Thompson has been eligible to receive

overtime pay under the FLSA because Thompson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        649.   Plaintiff Kelyon Timmins is an individual residing in Arkansas. Timmins worked

as a delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Timmins has been

eligible to receive overtime pay under the FLSA because Timmins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        650.   Plaintiff Robert Tucker is an individual residing in Alabama. Tucker worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Tucker has been eligible to receive overtime pay

under the FLSA because Tucker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              298
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 299 of 3128




        651.   Plaintiff Paul Tucker is an individual residing in Arkansas. Tucker worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tucker has been

eligible to receive overtime pay under the FLSA because Tucker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        652.   Plaintiff Kevin Turner is an individual residing in Arkansas. Turner worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        653.   Plaintiff Joseph Unruh is an individual residing in Kansas. Unruh worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Unruh has been eligible to receive overtime pay

under the FLSA because Unruh has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        654.   Plaintiff Adrian Vallejos is an individual residing in Texas. Vallejos worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Vallejos has been

eligible to receive overtime pay under the FLSA because Vallejos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               299
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 300 of 3128




        655.   Plaintiff Austin Vance is an individual residing in Arkansas. Vance worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Vance has been

eligible to receive overtime pay under the FLSA because Vance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        656.   Plaintiff Rachell Vance is an individual residing in Arkansas. Vance worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vance has been

eligible to receive overtime pay under the FLSA because Vance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        657.   Plaintiff Cameron Wallace is an individual residing in Arkansas. Wallace worked

as a delivery driver for FedEx in Arkansas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        658.   Plaintiff Ian Walters is an individual residing in Arkansas. Walters worked as a

delivery driver for FedEx in Arkansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Walters has been

eligible to receive overtime pay under the FLSA because Walters has driven a vehicle weighing




                                               300
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 301 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        659.   Plaintiff Bryan Washington is an individual residing in Arkansas. Washington

worked as a delivery driver for FedEx in Arkansas from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        660.   Plaintiff Greg Webb is an individual residing in Arkansas. Webb worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        661.   Plaintiff Randy Wheeler is an individual residing in Arkansas. Wheeler worked as

a delivery driver for FedEx in Arkansas from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wheeler has been

eligible to receive overtime pay under the FLSA because Wheeler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        662.   Plaintiff Fredrick Williams is an individual residing in Arkansas. Williams

worked as a delivery driver for FedEx in Arkansas from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Williams



                                               301
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 302 of 3128




has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       663.    Plaintiff Michael Williams is an individual residing in Arkansas. Williams

worked as a delivery driver for FedEx in Arkansas but was employed through intermediary

entities that FedEx calls independent service providers. Williams has been eligible to receive

overtime pay under the FLSA because Williams has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       664.    Plaintiff Ivery Williams Iii is an individual residing in Indiana. Williams Iii

worked as a delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

Iii has been eligible to receive overtime pay under the FLSA because Williams Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       665.    Plaintiff Benjamin Willis Iii is an individual residing in Arkansas. Willis Iii

worked as a delivery driver for FedEx in Arkansas from approximately 2021 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Willis Iii

has been eligible to receive overtime pay under the FLSA because Willis Iii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       666.    Plaintiff Jeffery Wilson is an individual residing in Arkansas. Wilson worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been



                                                302
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 303 of 3128




eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        667.   Plaintiff Michael Womack is an individual residing in Arkansas. Womack worked

as a delivery driver for FedEx in Arkansas from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Womack has been

eligible to receive overtime pay under the FLSA because Womack has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        668.   Plaintiff Justin Wright is an individual residing in Arkansas. Wright worked as a

delivery driver for FedEx in Arkansas but was employed through intermediary entities that

FedEx calls independent service providers. Wright has been eligible to receive overtime pay

under the FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        669.   Plaintiff John Wright is an individual residing in Alabama. Wright worked as a

delivery driver for FedEx in Arkansas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        670.   Plaintiff Victor Wynn is an individual residing in Arkansas. Wynn worked as a

delivery driver for FedEx in Arkansas from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wynn has been



                                               303
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 304 of 3128




eligible to receive overtime pay under the FLSA because Wynn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        671.   Plaintiff Trevel Young is an individual residing in Arkansas. Young worked as a

delivery driver for FedEx in Arkansas from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Young has been

eligible to receive overtime pay under the FLSA because Young has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        672.   Plaintiff Ramiro Arriola Serrano is an individual residing in California. Arriola

Serrano worked as a delivery driver for FedEx in California from approximately 2008 to 2018

but was employed through intermediary entities that FedEx calls independent service providers.

Arriola Serrano has been eligible to receive overtime pay under the FLSA because Arriola

Serrano has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        673.   Plaintiff Edwin Abesamis is an individual residing in California. Abesamis

worked as a delivery driver for FedEx in California from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Abesamis has been eligible to receive overtime pay under the FLSA because Abesamis has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        674.   Plaintiff Jorge Aburto is an individual residing in California. Aburto worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                               304
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 305 of 3128




FedEx calls independent service providers. Aburto has been eligible to receive overtime pay

under the FLSA because Aburto has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        675.   Plaintiff Jose Acevedo is an individual residing in California. Acevedo worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Acevedo has been

eligible to receive overtime pay under the FLSA because Acevedo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        676.   Plaintiff Oscar Adams is an individual residing in California. Adams worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Adams has been eligible to receive overtime pay

under the FLSA because Adams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        677.   Plaintiff Joseph Addison is an individual residing in Washington. Addison

worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Addison

has been eligible to receive overtime pay under the FLSA because Addison has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        678.   Plaintiff Francis Aganon is an individual residing in California. Aganon worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Aganon has been eligible to receive overtime pay



                                              305
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 306 of 3128




under the FLSA because Aganon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        679.   Plaintiff Jorge Aguilar is an individual residing in California. Aguilar worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Aguilar has been

eligible to receive overtime pay under the FLSA because Aguilar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        680.   Plaintiff Roberto Aguilar is an individual residing in California. Aguilar worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Aguilar has been

eligible to receive overtime pay under the FLSA because Aguilar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        681.   Plaintiff Gustavo Aguilar Martinez is an individual residing in California. Aguilar

Martinez worked as a delivery driver for FedEx in California from approximately 2018 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Aguilar Martinez has been eligible to receive overtime pay under the FLSA because Aguilar

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        682.   Plaintiff Samuel Aguilera is an individual residing in California. Aguilera worked

as a delivery driver for FedEx in California from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Aguilera has been



                                               306
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 307 of 3128




eligible to receive overtime pay under the FLSA because Aguilera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        683.   Plaintiff Sergio Aguilera is an individual residing in California. Aguilera worked

as a delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Aguilera has been

eligible to receive overtime pay under the FLSA because Aguilera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        684.   Plaintiff Hector Aguilera is an individual residing in California. Aguilera worked

as a delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Aguilera has been

eligible to receive overtime pay under the FLSA because Aguilera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        685.   Plaintiff Adrian Aguirre is an individual residing in California. Aguirre worked as

a delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        686.   Plaintiff Jose Aguirre is an individual residing in California. Aguirre worked as a

delivery driver for FedEx in California from approximately 2017 to 2021 but was employed



                                               307
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 308 of 3128




through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        687.   Plaintiff Jovani Aguirre is an individual residing in California. Aguirre worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        688.   Plaintiff Efren Aguirre is an individual residing in California. Aguirre worked as a

delivery driver for FedEx in California from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        689.   Plaintiff Jaime Aguirre is an individual residing in California. Aguirre worked as

a delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               308
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 309 of 3128




        690.   Plaintiff William Aguirre is an individual residing in California. Aguirre worked

as a delivery driver for FedEx in California from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Aguirre has been

eligible to receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        691.   Plaintiff Amer Ahmed is an individual residing in California. Ahmed worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ahmed has been eligible to receive overtime pay

under the FLSA because Ahmed has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        692.   Plaintiff Douglas Ahmed is an individual residing in California. Ahmed worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ahmed has been eligible to receive overtime pay

under the FLSA because Ahmed has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        693.   Plaintiff Ryan Aiello is an individual residing in California. Aiello worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Aiello has been

eligible to receive overtime pay under the FLSA because Aiello has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               309
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 310 of 3128




        694.   Plaintiff Antonio Alamillo is an individual residing in California. Alamillo

worked as a delivery driver for FedEx in California from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Alamillo

has been eligible to receive overtime pay under the FLSA because Alamillo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        695.   Plaintiff Edgar Alarcon is an individual residing in California. Alarcon worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alarcon has been

eligible to receive overtime pay under the FLSA because Alarcon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        696.   Plaintiff Monique Alarcon is an individual residing in California. Alarcon worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alarcon has been

eligible to receive overtime pay under the FLSA because Alarcon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        697.   Plaintiff Luis Alcala is an individual residing in California. Alcala worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Alcala has been

eligible to receive overtime pay under the FLSA because Alcala has driven a vehicle weighing




                                               310
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 311 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        698.   Plaintiff Luis Alcantar is an individual residing in California. Alcantar worked as

a delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alcantar has been

eligible to receive overtime pay under the FLSA because Alcantar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        699.   Plaintiff Michael Alcantar is an individual residing in California. Alcantar worked

as a delivery driver for FedEx in California from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Alcantar has been

eligible to receive overtime pay under the FLSA because Alcantar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        700.   Plaintiff Ivan Alcantar is an individual residing in California. Alcantar worked as

a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alcantar has been

eligible to receive overtime pay under the FLSA because Alcantar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        701.   Plaintiff Felipe Alcocer is an individual residing in California. Alcocer worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Alcocer has been



                                               311
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 312 of 3128




eligible to receive overtime pay under the FLSA because Alcocer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        702.   Plaintiff Alejandro Alejandro is an individual residing in California. Alejandro

worked as a delivery driver for FedEx in California from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Alejandro has been eligible to receive overtime pay under the FLSA because Alejandro has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        703.   Plaintiff Victor Alfaro is an individual residing in California. Alfaro worked as a

delivery driver for FedEx in California from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Alfaro has been

eligible to receive overtime pay under the FLSA because Alfaro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        704.   Plaintiff Ricardo Alfaro is an individual residing in California. Alfaro worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alfaro has been

eligible to receive overtime pay under the FLSA because Alfaro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        705.   Plaintiff William Alfaro is an individual residing in California. Alfaro worked as

a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed



                                               312
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 313 of 3128




through intermediary entities that FedEx calls independent service providers. Alfaro has been

eligible to receive overtime pay under the FLSA because Alfaro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        706.   Plaintiff Shaukat Ali is an individual residing in California. Ali worked as a

delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ali has been

eligible to receive overtime pay under the FLSA because Ali has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        707.   Plaintiff Shaif Ali is an individual residing in California. Ali worked as a delivery

driver for FedEx in California from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ali has been eligible to

receive overtime pay under the FLSA because Ali has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        708.   Plaintiff Scott Allen is an individual residing in California. Allen worked as a

delivery driver for FedEx in California from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        709.   Plaintiff Richard Allen Iv is an individual residing in California. Allen Iv worked

as a delivery driver for FedEx in California from approximately 2017 to 2023 but was employed



                                                313
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 314 of 3128




through intermediary entities that FedEx calls independent service providers. Allen Iv has been

eligible to receive overtime pay under the FLSA because Allen Iv has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        710.   Plaintiff Miguel Alpuche is an individual residing in Texas. Alpuche worked as a

delivery driver for FedEx in California from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alpuche has been

eligible to receive overtime pay under the FLSA because Alpuche has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        711.   Plaintiff Cesar Altamirano is an individual residing in California. Altamirano

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Altamirano has been eligible to receive

overtime pay under the FLSA because Altamirano has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        712.   Plaintiff Christopher Alvarado is an individual residing in California. Alvarado

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Alvarado has been eligible to receive

overtime pay under the FLSA because Alvarado has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        713.   Plaintiff David Alvarez is an individual residing in California. Alvarez worked as

a delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alvarez has been



                                               314
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 315 of 3128




eligible to receive overtime pay under the FLSA because Alvarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        714.   Plaintiff Sesar Alvarez is an individual residing in California. Alvarez worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Alvarez has been

eligible to receive overtime pay under the FLSA because Alvarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        715.   Plaintiff Christian Alvarez is an individual residing in California. Alvarez worked

as a delivery driver for FedEx in California from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Alvarez has been

eligible to receive overtime pay under the FLSA because Alvarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        716.   Plaintiff Jose Alvarez is an individual residing in California. Alvarez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Alvarez has been eligible to receive overtime pay

under the FLSA because Alvarez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        717.   Plaintiff Ernesto Alvarez Jr. is an individual residing in California. Alvarez Jr.

worked as a delivery driver for FedEx in California from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Alvarez



                                                315
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 316 of 3128




Jr. has been eligible to receive overtime pay under the FLSA because Alvarez Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        718.   Plaintiff Luis Alvarez Orozco is an individual residing in California. Alvarez

Orozco worked as a delivery driver for FedEx in California from approximately 2018 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Alvarez Orozco has been eligible to receive overtime pay under the FLSA because Alvarez

Orozco has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        719.   Plaintiff Gregorio Alviar is an individual residing in California. Alviar worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Alviar has been

eligible to receive overtime pay under the FLSA because Alviar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        720.   Plaintiff Alfonso Alviso is an individual residing in California. Alviso worked as

a delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Alviso has been

eligible to receive overtime pay under the FLSA because Alviso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        721.   Plaintiff Arafine Amathollvy is an individual residing in California. Amathollvy

worked as a delivery driver for FedEx in California but was employed through intermediary



                                               316
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 317 of 3128




entities that FedEx calls independent service providers. Amathollvy has been eligible to receive

overtime pay under the FLSA because Amathollvy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        722.   Plaintiff Gary Amaya is an individual residing in California. Amaya worked as a

delivery driver for FedEx in California from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Amaya has been

eligible to receive overtime pay under the FLSA because Amaya has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        723.   Plaintiff Rosendo Amezcua is an individual residing in California. Amezcua

worked as a delivery driver for FedEx in California from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Amezcua has been eligible to receive overtime pay under the FLSA because Amezcua has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        724.   Plaintiff Stephen Ancar is an individual residing in California. Ancar worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ancar has been

eligible to receive overtime pay under the FLSA because Ancar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        725.   Plaintiff Greg Anderson is an individual residing in California. Anderson worked

as a delivery driver for FedEx in California from approximately 2011 to 2020 but was employed



                                               317
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 318 of 3128




through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        726.   Plaintiff Christian Andrade is an individual residing in California. Andrade

worked as a delivery driver for FedEx in California from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Andrade

has been eligible to receive overtime pay under the FLSA because Andrade has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        727.   Plaintiff Eduardo Andrade is an individual residing in California. Andrade

worked as a delivery driver for FedEx in California from approximately 2007 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Andrade

has been eligible to receive overtime pay under the FLSA because Andrade has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        728.   Plaintiff Jorge Andrade is an individual residing in California. Andrade worked as

a delivery driver for FedEx in California from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Andrade has been

eligible to receive overtime pay under the FLSA because Andrade has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               318
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 319 of 3128




        729.   Plaintiff Phillip Angulo is an individual residing in California. Angulo worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Angulo has been

eligible to receive overtime pay under the FLSA because Angulo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        730.   Plaintiff Marcos Anton is an individual residing in California. Anton worked as a

delivery driver for FedEx in California from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Anton has been

eligible to receive overtime pay under the FLSA because Anton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        731.   Plaintiff Arthur Apcar is an individual residing in California. Apcar worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Apcar has been

eligible to receive overtime pay under the FLSA because Apcar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        732.   Plaintiff Cristian Aragon is an individual residing in California. Aragon worked as

a delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Aragon has been

eligible to receive overtime pay under the FLSA because Aragon has driven a vehicle weighing




                                               319
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 320 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        733.   Plaintiff Ariel Arambula is an individual residing in California. Arambula worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Arambula has been

eligible to receive overtime pay under the FLSA because Arambula has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        734.   Plaintiff Ruben Aranda is an individual residing in California. Aranda worked as

a delivery driver for FedEx in California from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Aranda has been

eligible to receive overtime pay under the FLSA because Aranda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        735.   Plaintiff Christian Araujo is an individual residing in California. Araujo worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Araujo has been

eligible to receive overtime pay under the FLSA because Araujo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        736.   Plaintiff Anthony Arebalo is an individual residing in California. Arebalo worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Arebalo has been



                                               320
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 321 of 3128




eligible to receive overtime pay under the FLSA because Arebalo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        737.   Plaintiff Uriel Arechiga is an individual residing in California. Arechiga worked

as a delivery driver for FedEx in California from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Arechiga has been

eligible to receive overtime pay under the FLSA because Arechiga has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        738.   Plaintiff Nestor Arellano is an individual residing in California. Arellano worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Arellano has been eligible to receive overtime pay

under the FLSA because Arellano has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        739.   Plaintiff Miguel Arias is an individual residing in California. Arias worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Arias has been

eligible to receive overtime pay under the FLSA because Arias has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        740.   Plaintiff Jaun Arias is an individual residing in California. Arias worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Arias has been eligible to receive overtime pay under



                                               321
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 322 of 3128




the FLSA because Arias has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        741.   Plaintiff Carlos Arias Bonilla is an individual residing in California. Arias

Bonilla worked as a delivery driver for FedEx in California from approximately 1989 to 2021

but was employed through intermediary entities that FedEx calls independent service providers.

Arias Bonilla has been eligible to receive overtime pay under the FLSA because Arias Bonilla

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        742.   Plaintiff Cesario Armas is an individual residing in California. Armas worked as a

delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Armas has been

eligible to receive overtime pay under the FLSA because Armas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        743.   Plaintiff Jason Armendariz is an individual residing in California. Armendariz

worked as a delivery driver for FedEx in California from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Armendariz has been eligible to receive overtime pay under the FLSA because Armendariz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        744.   Plaintiff Marco Armienta is an individual residing in California. Armienta worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Armienta has been



                                               322
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 323 of 3128




eligible to receive overtime pay under the FLSA because Armienta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        745.   Plaintiff Robert Armistead is an individual residing in California. Armistead

worked as a delivery driver for FedEx in California from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Armistead has been eligible to receive overtime pay under the FLSA because Armistead has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        746.   Plaintiff Myrna Arredondo is an individual residing in California. Arredondo

worked as a delivery driver for FedEx in California from approximately 1997 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Arredondo has been eligible to receive overtime pay under the FLSA because Arredondo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        747.   Plaintiff Rafael Arreguin is an individual residing in California. Arreguin worked

as a delivery driver for FedEx in California from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Arreguin has been

eligible to receive overtime pay under the FLSA because Arreguin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        748.   Plaintiff Alexis Arreola is an individual residing in California. Arreola worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed



                                               323
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 324 of 3128




through intermediary entities that FedEx calls independent service providers. Arreola has been

eligible to receive overtime pay under the FLSA because Arreola has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        749.   Plaintiff Stephanie Arreola is an individual residing in California. Arreola worked

as a delivery driver for FedEx in California from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Arreola has been

eligible to receive overtime pay under the FLSA because Arreola has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        750.   Plaintiff Carlos Arroliga is an individual residing in California. Arroliga worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Arroliga has been

eligible to receive overtime pay under the FLSA because Arroliga has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        751.   Plaintiff Ignacio Arroyo is an individual residing in California. Arroyo worked as

a delivery driver for FedEx in California from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Arroyo has been

eligible to receive overtime pay under the FLSA because Arroyo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               324
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 325 of 3128




        752.   Plaintiff Steven Artola is an individual residing in California. Artola worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Artola has been

eligible to receive overtime pay under the FLSA because Artola has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        753.   Plaintiff Ralph Ashton Jr. is an individual residing in Maryland. Ashton Jr.

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Ashton Jr. has been eligible to receive

overtime pay under the FLSA because Ashton Jr. has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        754.   Plaintiff Kenneth Asseng is an individual residing in California. Asseng worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Asseng has been eligible to receive overtime pay

under the FLSA because Asseng has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        755.   Plaintiff Carlos Astorga is an individual residing in California. Astorga worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Astorga has been eligible to receive overtime pay

under the FLSA because Astorga has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        756.   Plaintiff Harpreet Aujla is an individual residing in California. Aujla worked as a

delivery driver for FedEx in California from approximately 2011 to 2017 but was employed



                                               325
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 326 of 3128




through intermediary entities that FedEx calls independent service providers. Aujla has been

eligible to receive overtime pay under the FLSA because Aujla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        757.   Plaintiff Dwayne Austin is an individual residing in California. Austin worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Austin has been

eligible to receive overtime pay under the FLSA because Austin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        758.   Plaintiff Deonna Autrey is an individual residing in California. Autrey worked as

a delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Autrey has been

eligible to receive overtime pay under the FLSA because Autrey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        759.   Plaintiff Jose Avalos is an individual residing in California. Avalos worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Avalos has been eligible to receive overtime pay

under the FLSA because Avalos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        760.   Plaintiff Carlos Avalos-Lazaro is an individual residing in California. Avalos-

Lazaro worked as a delivery driver for FedEx in California from approximately 2014 to 2019 but



                                               326
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 327 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Avalos-Lazaro has been eligible to receive overtime pay under the FLSA because Avalos-Lazaro

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        761.   Plaintiff Juan Avila is an individual residing in California. Avila worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Avila has been eligible to receive overtime pay under

the FLSA because Avila has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        762.   Plaintiff Carlos Avila is an individual residing in California. Avila worked as a

delivery driver for FedEx in California from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Avila has been

eligible to receive overtime pay under the FLSA because Avila has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        763.   Plaintiff Nipsy Avonce is an individual residing in California. Avonce worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Avonce has been eligible to receive overtime pay

under the FLSA because Avonce has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        764.   Plaintiff Jose Ayala is an individual residing in Indiana. Ayala worked as a

delivery driver for FedEx in California and Indiana but was employed through intermediary

entities that FedEx calls independent service providers. Ayala has been eligible to receive



                                               327
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 328 of 3128




overtime pay under the FLSA because Ayala has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        765.   Plaintiff Joe Bachman is an individual residing in California. Bachman worked as

a delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bachman has been

eligible to receive overtime pay under the FLSA because Bachman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        766.   Plaintiff Samuel Baez is an individual residing in California. Baez worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Baez has been

eligible to receive overtime pay under the FLSA because Baez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        767.   Plaintiff Arbi Baghdasarian is an individual residing in California. Baghdasarian

worked as a delivery driver for FedEx in California from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Baghdasarian has been eligible to receive overtime pay under the FLSA because Baghdasarian

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        768.   Plaintiff Carmen Bahena is an individual residing in California. Bahena worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Bahena has been eligible to receive overtime pay



                                               328
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 329 of 3128




under the FLSA because Bahena has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        769.   Plaintiff Carlos Bahena Garcia is an individual residing in California. Bahena

Garcia worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Bahena Garcia has been eligible to receive overtime pay under the FLSA because Bahena Garcia

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        770.   Plaintiff Chenika Bailey is an individual residing in California. Bailey worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        771.   Plaintiff Art Bailly is an individual residing in California. Bailly worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bailly has been

eligible to receive overtime pay under the FLSA because Bailly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        772.   Plaintiff Ryan Bajlo is an individual residing in California. Bajlo worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Bajlo has been eligible to receive overtime pay under



                                                329
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 330 of 3128




the FLSA because Bajlo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        773.   Plaintiff Ade Bakari is an individual residing in California. Bakari worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bakari has been

eligible to receive overtime pay under the FLSA because Bakari has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        774.   Plaintiff Michael Baker is an individual residing in California. Baker worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        775.   Plaintiff Christopher Baldonado is an individual residing in California. Baldonado

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Baldonado has been eligible to receive

overtime pay under the FLSA because Baldonado has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        776.   Plaintiff Jemy Balicanta is an individual residing in California. Balicanta worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Balicanta has been

eligible to receive overtime pay under the FLSA because Balicanta has driven a vehicle weighing



                                               330
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 331 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        777.   Plaintiff Nicholas Banks is an individual residing in Illinois. Banks worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Banks has been

eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        778.   Plaintiff Matthew Banuelos is an individual residing in California. Banuelos

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Banuelos has been eligible to receive

overtime pay under the FLSA because Banuelos has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        779.   Plaintiff Rafael Banuelos is an individual residing in California. Banuelos worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Banuelos has been eligible to receive overtime pay

under the FLSA because Banuelos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        780.   Plaintiff Moises Banuelos is an individual residing in California. Banuelos

worked as a delivery driver for FedEx in California from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Banuelos

has been eligible to receive overtime pay under the FLSA because Banuelos has driven a vehicle




                                               331
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 332 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        781.   Plaintiff George Banuelos is an individual residing in California. Banuelos

worked as a delivery driver for FedEx in California from approximately 2003 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Banuelos

has been eligible to receive overtime pay under the FLSA because Banuelos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        782.   Plaintiff Alfonso Banuelos is an individual residing in California. Banuelos

worked as a delivery driver for FedEx in California from approximately 2005 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Banuelos

has been eligible to receive overtime pay under the FLSA because Banuelos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        783.   Plaintiff Samuel Barbosa is an individual residing in California. Barbosa worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Barbosa has been

eligible to receive overtime pay under the FLSA because Barbosa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        784.   Plaintiff Jose Barragan is an individual residing in California. Barragan worked as

a delivery driver for FedEx in California from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Barragan has been



                                               332
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24       Page 333 of 3128




eligible to receive overtime pay under the FLSA because Barragan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        785.   Plaintiff Juan Barrera is an individual residing in California. Barrera worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Barrera has been

eligible to receive overtime pay under the FLSA because Barrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        786.   Plaintiff Luis Barrera Solares is an individual residing in California. Barrera

Solares worked as a delivery driver for FedEx in California from approximately 2015 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Barrera Solares has been eligible to receive overtime pay under the FLSA because Barrera

Solares has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        787.   Plaintiff Isaac Barreto is an individual residing in California. Barreto worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Barreto has been

eligible to receive overtime pay under the FLSA because Barreto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        788.   Plaintiff Kameron Bass is an individual residing in California. Bass worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed



                                                333
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 334 of 3128




through intermediary entities that FedEx calls independent service providers. Bass has been

eligible to receive overtime pay under the FLSA because Bass has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        789.   Plaintiff Daniel Bastidas is an individual residing in California. Bastidas worked

as a delivery driver for FedEx in California from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bastidas has been

eligible to receive overtime pay under the FLSA because Bastidas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        790.   Plaintiff Aaron Bates is an individual residing in California. Bates worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bates has been

eligible to receive overtime pay under the FLSA because Bates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        791.   Plaintiff Jose Bautista is an individual residing in California. Bautista worked as a

delivery driver for FedEx in California from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bautista has been

eligible to receive overtime pay under the FLSA because Bautista has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                                334
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 335 of 3128




        792.   Plaintiff Christopher Bayer is an individual residing in California. Bayer worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bayer has been

eligible to receive overtime pay under the FLSA because Bayer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        793.   Plaintiff Cheri Beard is an individual residing in California. Beard worked as a

delivery driver for FedEx in California from approximately 2009 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Beard has been

eligible to receive overtime pay under the FLSA because Beard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        794.   Plaintiff Richard Becerra is an individual residing in California. Becerra worked

as a delivery driver for FedEx in California from approximately 2003 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Becerra has been

eligible to receive overtime pay under the FLSA because Becerra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        795.   Plaintiff Jamar Belcher is an individual residing in California. Belcher worked as

a delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Belcher has been

eligible to receive overtime pay under the FLSA because Belcher has driven a vehicle weighing




                                               335
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 336 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        796.   Plaintiff Michael Bell is an individual residing in California. Bell worked as a

delivery driver for FedEx in California from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been

eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        797.   Plaintiff Manuel Bellorin is an individual residing in California. Bellorin worked

as a delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bellorin has been

eligible to receive overtime pay under the FLSA because Bellorin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        798.   Plaintiff Michael Beltran is an individual residing in California. Beltran worked as

a delivery driver for FedEx in California from approximately 2001 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Beltran has been

eligible to receive overtime pay under the FLSA because Beltran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        799.   Plaintiff Carlo Beltran is an individual residing in California. Beltran worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Beltran has been



                                               336
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 337 of 3128




eligible to receive overtime pay under the FLSA because Beltran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        800.   Plaintiff Uriel Beltran is an individual residing in California. Beltran worked as a

delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Beltran has been

eligible to receive overtime pay under the FLSA because Beltran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        801.   Plaintiff Alejandro Beltran is an individual residing in California. Beltran worked

as a delivery driver for FedEx in California from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Beltran has been

eligible to receive overtime pay under the FLSA because Beltran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        802.   Plaintiff Pedro Beltran is an individual residing in California. Beltran worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Beltran has been eligible to receive overtime pay

under the FLSA because Beltran has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        803.   Plaintiff Seth Bender is an individual residing in Nevada. Bender worked as a

delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bender has been



                                                337
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 338 of 3128




eligible to receive overtime pay under the FLSA because Bender has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        804.   Plaintiff Fernando Benitez is an individual residing in California. Benitez worked

as a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Benitez has been

eligible to receive overtime pay under the FLSA because Benitez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        805.   Plaintiff Anthony Berry is an individual residing in California. Berry worked as a

delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Berry has been

eligible to receive overtime pay under the FLSA because Berry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        806.   Plaintiff Terrence Bessellieu is an individual residing in California. Bessellieu

worked as a delivery driver for FedEx in California from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Bessellieu has been eligible to receive overtime pay under the FLSA because Bessellieu has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        807.   Plaintiff Martin Betterton is an individual residing in California. Betterton worked

as a delivery driver for FedEx in California but was employed through intermediary entities that



                                                338
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 339 of 3128




FedEx calls independent service providers. Betterton has been eligible to receive overtime pay

under the FLSA because Betterton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        808.   Plaintiff Travis Bevington is an individual residing in California. Bevington

worked as a delivery driver for FedEx in California from approximately 2006 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Bevington has been eligible to receive overtime pay under the FLSA because Bevington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        809.   Plaintiff Francisco Birrueta is an individual residing in California. Birrueta

worked as a delivery driver for FedEx in California from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Birrueta

has been eligible to receive overtime pay under the FLSA because Birrueta has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        810.   Plaintiff Ronnie Bishop is an individual residing in California. Bishop worked as

a delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bishop has been

eligible to receive overtime pay under the FLSA because Bishop has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        811.   Plaintiff Benjamin Bivens is an individual residing in California. Bivens worked

as a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed



                                                339
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 340 of 3128




through intermediary entities that FedEx calls independent service providers. Bivens has been

eligible to receive overtime pay under the FLSA because Bivens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        812.   Plaintiff Deon Blakley is an individual residing in California. Blakley worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Blakley has been

eligible to receive overtime pay under the FLSA because Blakley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        813.   Plaintiff Paul Blanco is an individual residing in California. Blanco worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Blanco has been

eligible to receive overtime pay under the FLSA because Blanco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        814.   Plaintiff Antwi Boasiako is an individual residing in Georgia. Boasiako worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Boasiako has been

eligible to receive overtime pay under the FLSA because Boasiako has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               340
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24       Page 341 of 3128




        815.   Plaintiff German Bocanegra is an individual residing in California. Bocanegra

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Bocanegra has been eligible to receive overtime pay under the FLSA because Bocanegra has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        816.   Plaintiff Riad Bojeh is an individual residing in California. Bojeh worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bojeh has been

eligible to receive overtime pay under the FLSA because Bojeh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        817.   Plaintiff Cesar Bonilla is an individual residing in California. Bonilla worked as a

delivery driver for FedEx in California from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bonilla has been

eligible to receive overtime pay under the FLSA because Bonilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        818.   Plaintiff Joseph Bonilla Jr Jr is an individual residing in California. Bonilla Jr Jr

worked as a delivery driver for FedEx in California from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Bonilla

Jr Jr has been eligible to receive overtime pay under the FLSA because Bonilla Jr Jr has driven a




                                                341
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 342 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        819.   Plaintiff Izeah Borges-Gates is an individual residing in California. Borges-Gates

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Borges-Gates has been eligible to receive

overtime pay under the FLSA because Borges-Gates has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        820.   Plaintiff Isaac Borja is an individual residing in California. Borja worked as a

delivery driver for FedEx in California from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Borja has been

eligible to receive overtime pay under the FLSA because Borja has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        821.   Plaintiff Michael Bracamontes is an individual residing in California.

Bracamontes worked as a delivery driver for FedEx in California from approximately 2015 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Bracamontes has been eligible to receive overtime pay under the FLSA because

Bracamontes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        822.   Plaintiff Perell Bradley is an individual residing in California. Bradley worked as

a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bradley has been

eligible to receive overtime pay under the FLSA because Bradley has driven a vehicle weighing



                                               342
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 343 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        823.   Plaintiff Patrick Brantley is an individual residing in California. Brantley worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brantley has been

eligible to receive overtime pay under the FLSA because Brantley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        824.   Plaintiff Brandon Bright is an individual residing in California. Bright worked as

a delivery driver for FedEx in California from approximately 2008 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bright has been

eligible to receive overtime pay under the FLSA because Bright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        825.   Plaintiff Joel Briley is an individual residing in California. Briley worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Briley has been eligible to receive overtime pay

under the FLSA because Briley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        826.   Plaintiff Paolo Brillantes is an individual residing in California. Brillantes worked

as a delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brillantes has been

eligible to receive overtime pay under the FLSA because Brillantes has driven a vehicle



                                                343
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 344 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        827.   Plaintiff Sidney Brooks is an individual residing in California. Brooks worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Brooks has been eligible to receive overtime pay

under the FLSA because Brooks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        828.   Plaintiff Damian Broussard is an individual residing in California. Broussard

worked as a delivery driver for FedEx in California from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Broussard has been eligible to receive overtime pay under the FLSA because Broussard has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        829.   Plaintiff Brandon Brown is an individual residing in California. Brown worked as

a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        830.   Plaintiff Lance Brown is an individual residing in Arizona. Brown worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing



                                              344
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 345 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        831.   Plaintiff Darren Brown is an individual residing in California. Brown worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        832.   Plaintiff Nicholas Brown is an individual residing in California. Brown worked as

a delivery driver for FedEx in California from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        833.   Plaintiff Donald Brown is an individual residing in California. Brown worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        834.   Plaintiff Vincent Brown is an individual residing in California. Brown worked as

a delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing



                                              345
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 346 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        835.   Plaintiff Stephanie Brown is an individual residing in California. Brown worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        836.   Plaintiff Jamell Brownridge is an individual residing in Nevada. Brownridge

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Brownridge has been eligible to receive overtime pay under the FLSA because Brownridge has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        837.   Plaintiff Crystal Brunson is an individual residing in California. Brunson worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brunson has been

eligible to receive overtime pay under the FLSA because Brunson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        838.   Plaintiff Jonathin Bryant is an individual residing in California. Bryant worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been



                                               346
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 347 of 3128




eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        839.   Plaintiff Raymond Buck is an individual residing in California. Buck worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Buck has been eligible to receive overtime pay under

the FLSA because Buck has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        840.   Plaintiff George Buenrostro is an individual residing in California. Buenrostro

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Buenrostro has been eligible to receive

overtime pay under the FLSA because Buenrostro has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        841.   Plaintiff Allan Buhain is an individual residing in California. Buhain worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Buhain has been

eligible to receive overtime pay under the FLSA because Buhain has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        842.   Plaintiff Anthony Burgos is an individual residing in California. Burgos worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Burgos has been eligible to receive overtime pay




                                               347
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 348 of 3128




under the FLSA because Burgos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        843.   Plaintiff Jeffrey Cabezas is an individual residing in California. Cabezas worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cabezas has been

eligible to receive overtime pay under the FLSA because Cabezas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        844.   Plaintiff Wilver Cajanding is an individual residing in California. Cajanding

worked as a delivery driver for FedEx in California from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Cajanding has been eligible to receive overtime pay under the FLSA because Cajanding has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        845.   Plaintiff David Calderon is an individual residing in California. Calderon worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Calderon has been eligible to receive overtime pay

under the FLSA because Calderon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        846.   Plaintiff Blanca Calix is an individual residing in California. Calix worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Calix has been eligible to receive overtime pay under




                                               348
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 349 of 3128




the FLSA because Calix has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        847.   Plaintiff Fabian Caloca is an individual residing in California. Caloca worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Caloca has been

eligible to receive overtime pay under the FLSA because Caloca has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        848.   Plaintiff Omar Camacho is an individual residing in California. Camacho worked

as a delivery driver for FedEx in California from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Camacho has been

eligible to receive overtime pay under the FLSA because Camacho has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        849.   Plaintiff Gilbert Camacho is an individual residing in California. Camacho

worked as a delivery driver for FedEx in California from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Camacho has been eligible to receive overtime pay under the FLSA because Camacho has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        850.   Plaintiff Ricardo Camberos is an individual residing in California. Camberos

worked as a delivery driver for FedEx in California from approximately 1998 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               349
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 350 of 3128




Camberos has been eligible to receive overtime pay under the FLSA because Camberos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        851.   Plaintiff Jose Canas is an individual residing in California. Canas worked as a

delivery driver for FedEx in California from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Canas has been

eligible to receive overtime pay under the FLSA because Canas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        852.   Plaintiff Angelito Canlas is an individual residing in California. Canlas worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Canlas has been

eligible to receive overtime pay under the FLSA because Canlas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        853.   Plaintiff Kenneth Cannedy is an individual residing in California. Cannedy

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Cannedy has been eligible to receive

overtime pay under the FLSA because Cannedy has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        854.   Plaintiff Darek Cappello is an individual residing in California. Cappello worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cappello has been



                                               350
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 351 of 3128




eligible to receive overtime pay under the FLSA because Cappello has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        855.   Plaintiff Nelson Caraballo is an individual residing in California. Caraballo

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Caraballo has been eligible to receive overtime pay under the FLSA because Caraballo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        856.   Plaintiff Bernardo Carcus Lopez is an individual residing in California. Carcus

Lopez worked as a delivery driver for FedEx in California from approximately 2015 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Carcus Lopez has been eligible to receive overtime pay under the FLSA because Carcus Lopez

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        857.   Plaintiff Matthew Cardenas is an individual residing in California. Cardenas

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Cardenas has been eligible to receive

overtime pay under the FLSA because Cardenas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        858.   Plaintiff James Cardenas is an individual residing in California. Cardenas worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Cardenas has been eligible to receive overtime pay



                                               351
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 352 of 3128




under the FLSA because Cardenas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       859.   Plaintiff Juan Cardiel Carrillo is an individual residing in California. Cardiel

Carrillo worked as a delivery driver for FedEx in California from approximately 2019 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Cardiel Carrillo has been eligible to receive overtime pay under the FLSA because Cardiel

Carrillo has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       860.   Plaintiff Luis Carlos is an individual residing in Arizona. Carlos worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Carlos has been eligible to receive overtime pay

under the FLSA because Carlos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       861.   Plaintiff Justin Carpenter is an individual residing in California. Carpenter worked

as a delivery driver for FedEx in California from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Carpenter has been

eligible to receive overtime pay under the FLSA because Carpenter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       862.   Plaintiff Aaron Carranza is an individual residing in California. Carranza worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carranza has been

eligible to receive overtime pay under the FLSA because Carranza has driven a vehicle weighing



                                               352
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 353 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        863.   Plaintiff Jose Carranza is an individual residing in California. Carranza worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carranza has been

eligible to receive overtime pay under the FLSA because Carranza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        864.   Plaintiff Pedro Reyes is an individual residing in California. Carrasco worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Carrasco has been

eligible to receive overtime pay under the FLSA because Carrasco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        865.   Plaintiff Elias Carreon is an individual residing in California. Carreon worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Carreon has been

eligible to receive overtime pay under the FLSA because Carreon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        866.   Plaintiff Alejandro Carrera is an individual residing in California. Carrera worked

as a delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carrera has been



                                               353
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 354 of 3128




eligible to receive overtime pay under the FLSA because Carrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        867.   Plaintiff Felix Carrillo is an individual residing in California. Carrillo worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Carrillo has been

eligible to receive overtime pay under the FLSA because Carrillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        868.   Plaintiff Michael Killough is an individual residing in Ohio. Carter worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Carter has been eligible to receive overtime pay

under the FLSA because Carter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        869.   Plaintiff Charlie Carter is an individual residing in California. Carter worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        870.   Plaintiff Juan Carvajal is an individual residing in California. Carvajal worked as

a delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Carvajal has been



                                                354
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 355 of 3128




eligible to receive overtime pay under the FLSA because Carvajal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        871.   Plaintiff Julio Casas is an individual residing in California. Casas worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Casas has been eligible to receive overtime pay under

the FLSA because Casas has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        872.   Plaintiff Rick Casassa is an individual residing in California. Casassa worked as a

delivery driver for FedEx in California from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Casassa has been

eligible to receive overtime pay under the FLSA because Casassa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        873.   Plaintiff Juan Castaneda is an individual residing in California. Castaneda worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Castaneda has been eligible to receive overtime pay

under the FLSA because Castaneda has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        874.   Plaintiff Robert Castaneda is an individual residing in California. Castaneda

worked as a delivery driver for FedEx in California from approximately 2007 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Castaneda has been eligible to receive overtime pay under the FLSA because Castaneda has



                                               355
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 356 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        875.   Plaintiff Rudy Castaneda is an individual residing in California. Castaneda

worked as a delivery driver for FedEx in California from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Castaneda has been eligible to receive overtime pay under the FLSA because Castaneda has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        876.   Plaintiff David Castaneda is an individual residing in California. Castaneda

worked as a delivery driver for FedEx in California from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Castaneda has been eligible to receive overtime pay under the FLSA because Castaneda has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        877.   Plaintiff Jesus Castilleja is an individual residing in California. Castilleja worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Castilleja has been

eligible to receive overtime pay under the FLSA because Castilleja has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        878.   Plaintiff Lorena Castillo is an individual residing in California. Castillo worked as

a delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Castillo has been



                                                356
     Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24       Page 357 of 3128




eligible to receive overtime pay under the FLSA because Castillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        879.   Plaintiff Stephen Castillo is an individual residing in Oklahoma. Castillo worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Castillo has been eligible to receive overtime pay

under the FLSA because Castillo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        880.   Plaintiff Christopher Castillo is an individual residing in California. Castillo

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Castillo

has been eligible to receive overtime pay under the FLSA because Castillo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        881.   Plaintiff David Castillo Jr. is an individual residing in California. Castillo Jr.

worked as a delivery driver for FedEx in California from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Castillo

Jr. has been eligible to receive overtime pay under the FLSA because Castillo Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        882.   Plaintiff Luis Castillo Meza is an individual residing in California. Castillo Meza

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Castillo Meza has been eligible to



                                                 357
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 358 of 3128




receive overtime pay under the FLSA because Castillo Meza has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        883.   Plaintiff Michael Castro is an individual residing in California. Castro worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Castro has been

eligible to receive overtime pay under the FLSA because Castro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        884.   Plaintiff Adrian Castro is an individual residing in California. Castro worked as a

delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Castro has been

eligible to receive overtime pay under the FLSA because Castro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        885.   Plaintiff Christina Castro is an individual residing in California. Castro worked as

a delivery driver for FedEx in California from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Castro has been

eligible to receive overtime pay under the FLSA because Castro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        886.   Plaintiff Jesus Castro Rodriguez is an individual residing in California. Castro

Rodriguez worked as a delivery driver for FedEx in California from approximately 2008 to 2022



                                               358
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 359 of 3128




but was employed through intermediary entities that FedEx calls independent service providers.

Castro Rodriguez has been eligible to receive overtime pay under the FLSA because Castro

Rodriguez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        887.   Plaintiff Jaime Ceja is an individual residing in California. Ceja worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ceja has been

eligible to receive overtime pay under the FLSA because Ceja has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        888.   Plaintiff Dominique Centers is an individual residing in California. Centers

worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Centers

has been eligible to receive overtime pay under the FLSA because Centers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        889.   Plaintiff Anthony Cervantes is an individual residing in California. Cervantes

worked as a delivery driver for FedEx in California from approximately 2012 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Cervantes has been eligible to receive overtime pay under the FLSA because Cervantes has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               359
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 360 of 3128




        890.   Plaintiff Jose Cervantes is an individual residing in California. Cervantes worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Cervantes has been eligible to receive overtime pay

under the FLSA because Cervantes has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        891.   Plaintiff Steve Chace is an individual residing in California. Chace worked as a

delivery driver for FedEx in California from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chace has been

eligible to receive overtime pay under the FLSA because Chace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        892.   Plaintiff Jordan Chagoya is an individual residing in California. Chagoya worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Chagoya has been

eligible to receive overtime pay under the FLSA because Chagoya has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        893.   Plaintiff Antonio Chaidez is an individual residing in California. Chaidez worked

as a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chaidez has been

eligible to receive overtime pay under the FLSA because Chaidez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               360
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 361 of 3128




        894.   Plaintiff Rene Chaidez is an individual residing in California. Chaidez worked as

a delivery driver for FedEx in California from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chaidez has been

eligible to receive overtime pay under the FLSA because Chaidez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        895.   Plaintiff Marvin Chavarria is an individual residing in California. Chavarria

worked as a delivery driver for FedEx in California from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Chavarria has been eligible to receive overtime pay under the FLSA because Chavarria has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        896.   Plaintiff Richard Chavez is an individual residing in California. Chavez worked as

a delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        897.   Plaintiff Jose Chavez is an individual residing in California. Chavez worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing




                                               361
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 362 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        898.   Plaintiff Cassandra Chavez is an individual residing in California. Chavez worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        899.   Plaintiff William Chavez is an individual residing in Oregon. Chavez worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        900.   Plaintiff Kevin Chavez is an individual residing in California. Chavez worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        901.   Plaintiff Andy Chavez is an individual residing in California. Chavez worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been



                                              362
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 363 of 3128




eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        902.   Plaintiff Mark Chavez is an individual residing in California. Chavez worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        903.   Plaintiff Alejandro Chavez-Napoles is an individual residing in California.

Chavez-Napoles worked as a delivery driver for FedEx in California from approximately 2014 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Chavez-Napoles has been eligible to receive overtime pay under the FLSA because

Chavez-Napoles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        904.   Plaintiff George Chen is an individual residing in California. Chen worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chen has been

eligible to receive overtime pay under the FLSA because Chen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        905.   Plaintiff Paul Chervinko is an individual residing in California. Chervinko worked

as a delivery driver for FedEx in California from approximately 2012 to 2019 but was employed



                                               363
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 364 of 3128




through intermediary entities that FedEx calls independent service providers. Chervinko has been

eligible to receive overtime pay under the FLSA because Chervinko has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        906.   Plaintiff Johnny Chhea is an individual residing in California. Chhea worked as a

delivery driver for FedEx in California from approximately 2021 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chhea has been

eligible to receive overtime pay under the FLSA because Chhea has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        907.   Plaintiff Sambath Chhin is an individual residing in California. Chhin worked as a

delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chhin has been

eligible to receive overtime pay under the FLSA because Chhin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        908.   Plaintiff Salvador Chiguila Santos is an individual residing in California. Chiguila

Santos worked as a delivery driver for FedEx in California from approximately 2016 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Chiguila Santos has been eligible to receive overtime pay under the FLSA because Chiguila

Santos has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.




                                               364
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 365 of 3128




        909.   Plaintiff Kevin Childress is an individual residing in California. Childress worked

as a delivery driver for FedEx in California from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Childress has been

eligible to receive overtime pay under the FLSA because Childress has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        910.   Plaintiff Tola Chin is an individual residing in California. Chin worked as a

delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chin has been

eligible to receive overtime pay under the FLSA because Chin has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        911.   Plaintiff Juan Chojolan is an individual residing in California. Chojolan worked as

a delivery driver for FedEx in California from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Chojolan has been

eligible to receive overtime pay under the FLSA because Chojolan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        912.   Plaintiff John Churchwell is an individual residing in California. Churchwell

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Churchwell has been eligible to receive

overtime pay under the FLSA because Churchwell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               365
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 366 of 3128




        913.   Plaintiff Steven Ciprian is an individual residing in California. Ciprian worked as

a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ciprian has been

eligible to receive overtime pay under the FLSA because Ciprian has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        914.   Plaintiff Eustorgio Cisneros is an individual residing in California. Cisneros

worked as a delivery driver for FedEx in California from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Cisneros

has been eligible to receive overtime pay under the FLSA because Cisneros has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        915.   Plaintiff Sharlena Clark is an individual residing in Texas. Clark worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        916.   Plaintiff Anton Melnykov is an individual residing in California. Clemons worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Clemons has been

eligible to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing




                                               366
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 367 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        917.   Plaintiff Luis Malfavon is an individual residing in California. Clemons worked

as a delivery driver for FedEx in California from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Clemons has been

eligible to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        918.   Plaintiff Salvador Carrillo is an individual residing in California. Clemons worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Clemons has been

eligible to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        919.   Plaintiff Gerald Clingerman is an individual residing in California. Clingerman

worked as a delivery driver for FedEx in California from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Clingerman has been eligible to receive overtime pay under the FLSA because Clingerman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        920.   Plaintiff Kevin Clinscales is an individual residing in California. Clinscales

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Clinscales has been eligible to receive



                                               367
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 368 of 3128




overtime pay under the FLSA because Clinscales has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        921.   Plaintiff Justin Coca is an individual residing in Oregon. Coca worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Coca has been eligible to receive overtime pay under

the FLSA because Coca has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        922.   Plaintiff Jonathan Coello Zavala is an individual residing in California. Coello

Zavala worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. Coello Zavala has been

eligible to receive overtime pay under the FLSA because Coello Zavala has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        923.   Plaintiff Amir Coleman is an individual residing in California. Coleman worked

as a delivery driver for FedEx in California from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        924.   Plaintiff Joshua Coleman is an individual residing in California. Coleman worked

as a delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing



                                               368
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 369 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        925.   Plaintiff Issac Coleman is an individual residing in California. Coleman worked

as a delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        926.   Plaintiff Louie Colin is an individual residing in California. Colin worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Colin has been eligible to receive overtime pay under

the FLSA because Colin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        927.   Plaintiff Jarvis Collier is an individual residing in Texas. Collier worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Collier has been

eligible to receive overtime pay under the FLSA because Collier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        928.   Plaintiff Jeffrey Colvin is an individual residing in California. Colvin worked as a

delivery driver for FedEx in California from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Colvin has been

eligible to receive overtime pay under the FLSA because Colvin has driven a vehicle weighing



                                                369
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 370 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        929.   Plaintiff Christian Composibo is an individual residing in California. Composibo

worked as a delivery driver for FedEx in California from approximately 2004 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Composibo has been eligible to receive overtime pay under the FLSA because Composibo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        930.   Plaintiff Jaime Conde is an individual residing in California. Conde worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Conde has been eligible to receive overtime pay

under the FLSA because Conde has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        931.   Plaintiff Blanca Constanza is an individual residing in California. Constanza

worked as a delivery driver for FedEx in California from approximately 2012 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Constanza has been eligible to receive overtime pay under the FLSA because Constanza has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        932.   Plaintiff Anthony Cooper is an individual residing in Georgia. Cooper worked as

a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing



                                               370
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 371 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        933.   Plaintiff Earnest Cooper is an individual residing in California. Cooper worked as

a delivery driver for FedEx in California from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        934.   Plaintiff Roosevelt Copeland Iii is an individual residing in California. Copeland

Iii worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Copeland Iii has been eligible to receive

overtime pay under the FLSA because Copeland Iii has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        935.   Plaintiff Jeremy Cordova is an individual residing in California. Cordova worked

as a delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cordova has been

eligible to receive overtime pay under the FLSA because Cordova has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        936.   Plaintiff Timothy Corpus is an individual residing in California. Corpus worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Corpus has been

eligible to receive overtime pay under the FLSA because Corpus has driven a vehicle weighing



                                               371
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 372 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        937.   Plaintiff Manuel Correa is an individual residing in California. Correa worked as

a delivery driver for FedEx in California from approximately 2008 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Correa has been

eligible to receive overtime pay under the FLSA because Correa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        938.   Plaintiff Carlos Cortez is an individual residing in California. Cortez worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cortez has been

eligible to receive overtime pay under the FLSA because Cortez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        939.   Plaintiff Vincent Cortez is an individual residing in California. Cortez worked as

a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cortez has been

eligible to receive overtime pay under the FLSA because Cortez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        940.   Plaintiff Juan Cortez is an individual residing in California. Cortez worked as a

delivery driver for FedEx in California from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cortez has been



                                               372
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 373 of 3128




eligible to receive overtime pay under the FLSA because Cortez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        941.   Plaintiff Shanty Cortez is an individual residing in California. Cortez worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cortez has been

eligible to receive overtime pay under the FLSA because Cortez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        942.   Plaintiff Justin Cox is an individual residing in California. Cox worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Cox has been eligible to receive overtime pay under

the FLSA because Cox has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        943.   Plaintiff Paul Craig is an individual residing in California. Craig worked as a

delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Craig has been

eligible to receive overtime pay under the FLSA because Craig has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        944.   Plaintiff Evan Crayton is an individual residing in California. Crayton worked as

a delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Crayton has been



                                               373
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 374 of 3128




eligible to receive overtime pay under the FLSA because Crayton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        945.   Plaintiff Marcella Crespo is an individual residing in California. Crespo worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Crespo has been

eligible to receive overtime pay under the FLSA because Crespo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        946.   Plaintiff Jesus Crisantos is an individual residing in California. Crisantos worked

as a delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Crisantos has been

eligible to receive overtime pay under the FLSA because Crisantos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        947.   Plaintiff Corey Criscoe is an individual residing in California. Criscoe worked as

a delivery driver for FedEx in California from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Criscoe has been

eligible to receive overtime pay under the FLSA because Criscoe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        948.   Plaintiff Jeffrey Crocker is an individual residing in California. Crocker worked

as a delivery driver for FedEx in California from approximately 2019 to 2023 but was employed



                                               374
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 375 of 3128




through intermediary entities that FedEx calls independent service providers. Crocker has been

eligible to receive overtime pay under the FLSA because Crocker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        949.   Plaintiff Robert Crosby is an individual residing in California. Crosby worked as

a delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Crosby has been

eligible to receive overtime pay under the FLSA because Crosby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        950.   Plaintiff Edgar Cruz is an individual residing in California. Cruz worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cruz has been

eligible to receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        951.   Plaintiff Jose Cruz is an individual residing in California. Cruz worked as a

delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cruz has been

eligible to receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               375
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 376 of 3128




        952.   Plaintiff Gabriela Cruz is an individual residing in California. Cruz worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cruz has been

eligible to receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        953.   Plaintiff Jesus Cuevas is an individual residing in California. Cuevas worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cuevas has been

eligible to receive overtime pay under the FLSA because Cuevas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        954.   Plaintiff Christopher Cunningham is an individual residing in California.

Cunningham worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. Cunningham has been

eligible to receive overtime pay under the FLSA because Cunningham has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        955.   Plaintiff Guilherme Da Silveira is an individual residing in California. Da Silveira

worked as a delivery driver for FedEx in California from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Da

Silveira has been eligible to receive overtime pay under the FLSA because Da Silveira has




                                               376
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 377 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        956.   Plaintiff Thomas Daggett is an individual residing in California. Daggett worked

as a delivery driver for FedEx in California from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Daggett has been

eligible to receive overtime pay under the FLSA because Daggett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        957.   Plaintiff Michael Damico is an individual residing in California. Damico worked

as a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Damico has been

eligible to receive overtime pay under the FLSA because Damico has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        958.   Plaintiff Thomas Damico is an individual residing in California. Damico worked

as a delivery driver for FedEx in California from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Damico has been

eligible to receive overtime pay under the FLSA because Damico has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        959.   Plaintiff Razmik Damlamanayan is an individual residing in California.

Damlamanayan worked as a delivery driver for FedEx in California from approximately 2016 to

2018 but was employed through intermediary entities that FedEx calls independent service



                                              377
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 378 of 3128




providers. Damlamanayan has been eligible to receive overtime pay under the FLSA because

Damlamanayan has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        960.   Plaintiff Marwan Daoud is an individual residing in California. Daoud worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Daoud has been

eligible to receive overtime pay under the FLSA because Daoud has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        961.   Plaintiff Griffin Davenport is an individual residing in Montana. Davenport

worked as a delivery driver for FedEx in California from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Davenport has been eligible to receive overtime pay under the FLSA because Davenport has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        962.   Plaintiff Kevin Davis is an individual residing in California. Davis worked as a

delivery driver for FedEx in California from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        963.   Plaintiff Johnnie Davis is an individual residing in California. Davis worked as a

delivery driver for FedEx in California from approximately 2008 to 2024 but was employed



                                               378
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 379 of 3128




through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        964.   Plaintiff Andre Davis is an individual residing in California. Davis worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        965.   Plaintiff Frank Davison is an individual residing in Iowa. Davison worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Davison has been

eligible to receive overtime pay under the FLSA because Davison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        966.   Plaintiff Rocio De Alba is an individual residing in California. De Alba worked as

a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. De Alba has been

eligible to receive overtime pay under the FLSA because De Alba has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               379
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 380 of 3128




        967.   Plaintiff Adson De Carvalho is an individual residing in California. De Carvalho

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. De Carvalho has been eligible to receive

overtime pay under the FLSA because De Carvalho has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        968.   Plaintiff Jonald De Dote is an individual residing in Alaska. De Dote worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. De Dote has been

eligible to receive overtime pay under the FLSA because De Dote has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        969.   Plaintiff Richard De La Torre is an individual residing in California. De La Torre

worked as a delivery driver for FedEx in California from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. De La

Torre has been eligible to receive overtime pay under the FLSA because De La Torre has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        970.   Plaintiff Edgar De La Torre is an individual residing in California. De La Torre

worked as a delivery driver for FedEx in California from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. De La

Torre has been eligible to receive overtime pay under the FLSA because De La Torre has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                               380
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 381 of 3128




        971.   Plaintiff Ricardo De Paula Pereira is an individual residing in California. De

Paula Pereira worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. De Paula Pereira has been

eligible to receive overtime pay under the FLSA because De Paula Pereira has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        972.   Plaintiff Bryan De Vera is an individual residing in California. De Vera worked as

a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. De Vera has been

eligible to receive overtime pay under the FLSA because De Vera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        973.   Plaintiff Richard Decena is an individual residing in California. Decena worked as

a delivery driver for FedEx in California from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Decena has been

eligible to receive overtime pay under the FLSA because Decena has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        974.   Plaintiff Willie Dee is an individual residing in California. Dee worked as a

delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dee has been

eligible to receive overtime pay under the FLSA because Dee has driven a vehicle weighing less




                                               381
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 382 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        975.   Plaintiff Anthony Dees is an individual residing in California. Dees worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dees has been

eligible to receive overtime pay under the FLSA because Dees has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        976.   Plaintiff Pedro Deharo is an individual residing in California. Deharo worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Deharo has been eligible to receive overtime pay

under the FLSA because Deharo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        977.   Plaintiff Amirreza Dehghani is an individual residing in California. Dehghani

worked as a delivery driver for FedEx in California from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Dehghani has been eligible to receive overtime pay under the FLSA because Dehghani has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        978.   Plaintiff Oscar Del Angel is an individual residing in California. Del Angel

worked as a delivery driver for FedEx in California from approximately 2014 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Del

Angel has been eligible to receive overtime pay under the FLSA because Del Angel has driven a



                                               382
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 383 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        979.   Plaintiff Mario Del Rio is an individual residing in California. Del Rio worked as

a delivery driver for FedEx in California from approximately 1999 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Del Rio has been

eligible to receive overtime pay under the FLSA because Del Rio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        980.   Plaintiff Emilio Dela Cruz is an individual residing in California. Dela Cruz

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Dela

Cruz has been eligible to receive overtime pay under the FLSA because Dela Cruz has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        981.   Plaintiff Armondo Delacruz is an individual residing in California. Delacruz

worked as a delivery driver for FedEx in California from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Delacruz

has been eligible to receive overtime pay under the FLSA because Delacruz has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        982.   Plaintiff Jesus Delfin is an individual residing in California. Delfin worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Delfin has been eligible to receive overtime pay



                                               383
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 384 of 3128




under the FLSA because Delfin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        983.   Plaintiff Anthony Delgadillo is an individual residing in California. Delgadillo

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Delgadillo has been eligible to receive

overtime pay under the FLSA because Delgadillo has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        984.   Plaintiff Miguel Delgado is an individual residing in California. Delgado worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Delgado has been eligible to receive overtime pay

under the FLSA because Delgado has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        985.   Plaintiff Steven Delgado is an individual residing in California. Delgado worked

as a delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Delgado has been

eligible to receive overtime pay under the FLSA because Delgado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        986.   Plaintiff Jose Delgado-Gonzalez is an individual residing in California. Delgado-

Gonzalez worked as a delivery driver for FedEx in California from approximately 2015 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Delgado-Gonzalez has been eligible to receive overtime pay under the FLSA because Delgado-




                                               384
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 385 of 3128




Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        987.   Plaintiff Jeffrey Delos Reyes is an individual residing in California. Delos Reyes

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Delos Reyes has been eligible to receive

overtime pay under the FLSA because Delos Reyes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        988.   Plaintiff Ryan Deluca is an individual residing in California. Deluca worked as a

delivery driver for FedEx in California from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Deluca has been

eligible to receive overtime pay under the FLSA because Deluca has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        989.   Plaintiff Sabrina Dennis is an individual residing in California. Dennis worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dennis has been

eligible to receive overtime pay under the FLSA because Dennis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        990.   Plaintiff Aakashveer Deol is an individual residing in California. Deol worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Deol has been eligible to receive overtime pay under




                                               385
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 386 of 3128




the FLSA because Deol has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       991.   Plaintiff Samuel Deroulet is an individual residing in California. Deroulet worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Deroulet has been eligible to receive overtime pay

under the FLSA because Deroulet has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       992.   Plaintiff Jason Dewitt is an individual residing in California. Dewitt worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Dewitt has been eligible to receive overtime pay

under the FLSA because Dewitt has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       993.   Plaintiff Hardeep Dhaliwal is an individual residing in California. Dhaliwal

worked as a delivery driver for FedEx in California from approximately 2001 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Dhaliwal

has been eligible to receive overtime pay under the FLSA because Dhaliwal has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       994.   Plaintiff Carlos Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less




                                              386
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 387 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        995.   Plaintiff Samuel Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        996.   Plaintiff Laura Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        997.   Plaintiff Efrain Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Diaz has been eligible to receive overtime pay under

the FLSA because Diaz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        998.   Plaintiff Javier Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less



                                               387
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 388 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        999.   Plaintiff Fernando Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Diaz has been eligible to receive overtime pay under

the FLSA because Diaz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1000. Plaintiff Angel Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1001. Plaintiff Bayron Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1002. Plaintiff Andy Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less



                                               388
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 389 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1003. Plaintiff Michael Diaz is an individual residing in California. Diaz worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Diaz has been eligible to receive overtime pay under

the FLSA because Diaz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1004. Plaintiff Beverly Dillard is an individual residing in California. Dillard worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Dillard has been eligible to receive overtime pay

under the FLSA because Dillard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1005. Plaintiff Amanda Dimodica is an individual residing in Arizona. Dimodica

worked as a delivery driver for FedEx in California from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Dimodica has been eligible to receive overtime pay under the FLSA because Dimodica has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1006. Plaintiff James Dock is an individual residing in California. Dock worked as a

delivery driver for FedEx in California from approximately 2003 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dock has been

eligible to receive overtime pay under the FLSA because Dock has driven a vehicle weighing




                                               389
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 390 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1007. Plaintiff Emmitt Dodd Iii is an individual residing in California. Dodd Iii worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dodd Iii has been

eligible to receive overtime pay under the FLSA because Dodd Iii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1008. Plaintiff Geomar Draaibaar is an individual residing in California. Draaibaar

worked as a delivery driver for FedEx in California from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Draaibaar has been eligible to receive overtime pay under the FLSA because Draaibaar has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1009. Plaintiff Christopher Duarte is an individual residing in California. Duarte worked

as a delivery driver for FedEx in California from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Duarte has been

eligible to receive overtime pay under the FLSA because Duarte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1010. Plaintiff Jose Duenas Jr. is an individual residing in California. Duenas Jr. worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Duenas Jr. has been



                                               390
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 391 of 3128




eligible to receive overtime pay under the FLSA because Duenas Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1011. Plaintiff William Dunlap is an individual residing in California. Dunlap worked as

a delivery driver for FedEx in California from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dunlap has been

eligible to receive overtime pay under the FLSA because Dunlap has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1012. Plaintiff Christian Duran is an individual residing in California. Duran worked as

a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Duran has been

eligible to receive overtime pay under the FLSA because Duran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1013. Plaintiff Daniel Duran is an individual residing in California. Duran worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Duran has been

eligible to receive overtime pay under the FLSA because Duran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1014. Plaintiff Luis Duran is an individual residing in California. Duran worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                               391
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 392 of 3128




FedEx calls independent service providers. Duran has been eligible to receive overtime pay

under the FLSA because Duran has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1015. Plaintiff Biridiana Duran is an individual residing in Arizona. Duran worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Duran has been

eligible to receive overtime pay under the FLSA because Duran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1016. Plaintiff Jorge Duran Gonzalez is an individual residing in California. Duran

Gonzalez worked as a delivery driver for FedEx in California from approximately 1997 to 2021

but was employed through intermediary entities that FedEx calls independent service providers.

Duran Gonzalez has been eligible to receive overtime pay under the FLSA because Duran

Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1017. Plaintiff Michael Duvenary is an individual residing in California. Duvenary

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Duvenary has been eligible to receive overtime pay under the FLSA because Duvenary has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1018. Plaintiff Corey Dweh is an individual residing in California. Dweh worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed



                                              392
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 393 of 3128




through intermediary entities that FedEx calls independent service providers. Dweh has been

eligible to receive overtime pay under the FLSA because Dweh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1019. Plaintiff Marlon Dyer is an individual residing in California. Dyer worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dyer has been

eligible to receive overtime pay under the FLSA because Dyer has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1020. Plaintiff Homayoun Ebtesam is an individual residing in California. Ebtesam

worked as a delivery driver for FedEx in California from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Ebtesam

has been eligible to receive overtime pay under the FLSA because Ebtesam has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1021. Plaintiff Carlos Echeverri is an individual residing in Florida. Echeverri worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Echeverri has been

eligible to receive overtime pay under the FLSA because Echeverri has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               393
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 394 of 3128




        1022. Plaintiff Ahmed Edhah is an individual residing in California. Edhah worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Edhah has been eligible to receive overtime pay

under the FLSA because Edhah has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1023. Plaintiff Trevor Edwards is an individual residing in California. Edwards worked

as a delivery driver for FedEx in California from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Edwards has been

eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1024. Plaintiff Marodin Eleshapour is an individual residing in California. Eleshapour

worked as a delivery driver for FedEx in California from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Eleshapour has been eligible to receive overtime pay under the FLSA because Eleshapour has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1025. Plaintiff David Elgrably is an individual residing in California. Elgrably worked

as a delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Elgrably has been

eligible to receive overtime pay under the FLSA because Elgrably has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               394
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 395 of 3128




        1026. Plaintiff Juan Elizarraraz is an individual residing in California. Elizarraraz

worked as a delivery driver for FedEx in California from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Elizarraraz has been eligible to receive overtime pay under the FLSA because Elizarraraz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1027. Plaintiff Brandon Ellington is an individual residing in California. Ellington

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Ellington has been eligible to receive

overtime pay under the FLSA because Ellington has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1028. Plaintiff Maurice Elliott is an individual residing in California. Elliott worked as a

delivery driver for FedEx in California from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Elliott has been

eligible to receive overtime pay under the FLSA because Elliott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1029. Plaintiff Franciscus Eman is an individual residing in California. Eman worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Eman has been eligible to receive overtime pay under

the FLSA because Eman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                                395
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 396 of 3128




        1030. Plaintiff Christopher English is an individual residing in California. English

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. English

has been eligible to receive overtime pay under the FLSA because English has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1031. Plaintiff Dora English is an individual residing in California. English worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. English has been

eligible to receive overtime pay under the FLSA because English has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1032. Plaintiff Taashaun English is an individual residing in California. English worked

as a delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. English has been

eligible to receive overtime pay under the FLSA because English has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1033. Plaintiff Jose Eribes is an individual residing in California. Eribes worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Eribes has been

eligible to receive overtime pay under the FLSA because Eribes has driven a vehicle weighing




                                               396
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 397 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1034. Plaintiff Tim Erickson is an individual residing in California. Erickson worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Erickson has been

eligible to receive overtime pay under the FLSA because Erickson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1035. Plaintiff John Escalante is an individual residing in California. Escalante worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Escalante has been

eligible to receive overtime pay under the FLSA because Escalante has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1036. Plaintiff Christopher Escalante is an individual residing in California. Escalante

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Escalante has been eligible to receive

overtime pay under the FLSA because Escalante has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1037. Plaintiff Andres Escobar is an individual residing in California. Escobar worked

as a delivery driver for FedEx in California from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Escobar has been

eligible to receive overtime pay under the FLSA because Escobar has driven a vehicle weighing



                                               397
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 398 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1038. Plaintiff Carlos Escobar is an individual residing in California. Escobar worked as

a delivery driver for FedEx in California from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Escobar has been

eligible to receive overtime pay under the FLSA because Escobar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1039. Plaintiff Miguel Escobar is an individual residing in California. Escobar worked

as a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Escobar has been

eligible to receive overtime pay under the FLSA because Escobar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1040. Plaintiff Francisco Escobar Gomez is an individual residing in California. Escobar

Gomez worked as a delivery driver for FedEx in California from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Escobar Gomez has been eligible to receive overtime pay under the FLSA because Escobar

Gomez has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        1041. Plaintiff John Escoto is an individual residing in California. Escoto worked as a

delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Escoto has been



                                               398
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 399 of 3128




eligible to receive overtime pay under the FLSA because Escoto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1042. Plaintiff Daniel Eskelson is an individual residing in California. Eskelson worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Eskelson has been

eligible to receive overtime pay under the FLSA because Eskelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1043. Plaintiff Ronnie Esparza is an individual residing in California. Esparza worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Esparza has been eligible to receive overtime pay

under the FLSA because Esparza has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1044. Plaintiff Jose Espinoza is an individual residing in California. Espinoza worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Espinoza has been

eligible to receive overtime pay under the FLSA because Espinoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1045. Plaintiff Eduardo Espinoza is an individual residing in Nevada. Espinoza worked

as a delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Espinoza has been



                                               399
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 400 of 3128




eligible to receive overtime pay under the FLSA because Espinoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1046. Plaintiff Salomon Espinoza is an individual residing in California. Espinoza

worked as a delivery driver for FedEx in California from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Espinoza

has been eligible to receive overtime pay under the FLSA because Espinoza has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1047. Plaintiff Marco Esposo is an individual residing in California. Esposo worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Esposo has been eligible to receive overtime pay

under the FLSA because Esposo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1048. Plaintiff Samantha Esquivel is an individual residing in California. Esquivel

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Esquivel has been eligible to receive

overtime pay under the FLSA because Esquivel has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1049. Plaintiff Javier Estrada is an individual residing in California. Estrada worked as a

delivery driver for FedEx in California from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Estrada has been

eligible to receive overtime pay under the FLSA because Estrada has driven a vehicle weighing



                                               400
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 401 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1050. Plaintiff Bryant Estrada is an individual residing in California. Estrada worked as

a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Estrada has been

eligible to receive overtime pay under the FLSA because Estrada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1051. Plaintiff Ramon Estrada is an individual residing in California. Estrada worked as

a delivery driver for FedEx in California from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Estrada has been

eligible to receive overtime pay under the FLSA because Estrada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1052. Plaintiff Michael Eusebio is an individual residing in California. Eusebio worked

as a delivery driver for FedEx in California from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Eusebio has been

eligible to receive overtime pay under the FLSA because Eusebio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1053. Plaintiff Shakuri Evans is an individual residing in California. Evans worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been



                                               401
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 402 of 3128




eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1054. Plaintiff N F is an individual residing in California. F worked as a delivery driver

for FedEx in California but was employed through intermediary entities that FedEx calls

independent service providers. F has been eligible to receive overtime pay under the FLSA

because F has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1055. Plaintiff Esteban Falcon is an individual residing in California. Falcon worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Falcon has been eligible to receive overtime pay

under the FLSA because Falcon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1056. Plaintiff Jeremy Faraone is an individual residing in Arizona. Faraone worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Faraone has been

eligible to receive overtime pay under the FLSA because Faraone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1057. Plaintiff Steven Farrell is an individual residing in Pennsylvania. Farrell worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Farrell has been

eligible to receive overtime pay under the FLSA because Farrell has driven a vehicle weighing



                                               402
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 403 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1058. Plaintiff Jesse Fergel is an individual residing in California. Fergel worked as a

delivery driver for FedEx in California from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Fergel has been

eligible to receive overtime pay under the FLSA because Fergel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1059. Plaintiff Jose Fernandez is an individual residing in California. Fernandez worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Fernandez has been

eligible to receive overtime pay under the FLSA because Fernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1060. Plaintiff Hugo Fernandez is an individual residing in California. Fernandez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Fernandez has been eligible to receive

overtime pay under the FLSA because Fernandez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1061. Plaintiff Miguel Fernandez is an individual residing in California. Fernandez

worked as a delivery driver for FedEx in California from approximately 2005 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Fernandez has been eligible to receive overtime pay under the FLSA because Fernandez has



                                               403
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 404 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1062. Plaintiff Kellieann Ferreira is an individual residing in California. Ferreira worked

as a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ferreira has been

eligible to receive overtime pay under the FLSA because Ferreira has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1063. Plaintiff Michael Ferreyra is an individual residing in California. Ferreyra worked

as a delivery driver for FedEx in California from approximately 2023 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ferreyra has been

eligible to receive overtime pay under the FLSA because Ferreyra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1064. Plaintiff Bradley Feucht is an individual residing in Michigan. Feucht worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Feucht has been

eligible to receive overtime pay under the FLSA because Feucht has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1065. Plaintiff Timothy Field is an individual residing in California. Field worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Field has been eligible to receive overtime pay under



                                               404
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 405 of 3128




the FLSA because Field has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       1066. Plaintiff Edgar Figueroa is an individual residing in California. Figueroa worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Figueroa has been eligible to receive overtime pay

under the FLSA because Figueroa has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       1067. Plaintiff Victor Figueroa is an individual residing in California. Figueroa worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Figueroa has been eligible to receive overtime pay

under the FLSA because Figueroa has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       1068. Plaintiff Jacob Fineanganofo is an individual residing in California. Fineanganofo

worked as a delivery driver for FedEx in California from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Fineanganofo has been eligible to receive overtime pay under the FLSA because Fineanganofo

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       1069. Plaintiff John Fisher is an individual residing in California. Fisher worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Fisher has been

eligible to receive overtime pay under the FLSA because Fisher has driven a vehicle weighing




                                              405
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 406 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1070. Plaintiff Matthew Fitzgerald is an individual residing in California. Fitzgerald

worked as a delivery driver for FedEx in California from approximately 2011 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Fitzgerald has been eligible to receive overtime pay under the FLSA because Fitzgerald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1071. Plaintiff Justin Flavel is an individual residing in California. Flavel worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Flavel has been

eligible to receive overtime pay under the FLSA because Flavel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1072. Plaintiff Lester Flores is an individual residing in California. Flores worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1073. Plaintiff Hector Flores is an individual residing in California. Flores worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been



                                                406
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 407 of 3128




eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1074. Plaintiff David Flores is an individual residing in California. Flores worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1075. Plaintiff Christian Flores is an individual residing in California. Flores worked as

a delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1076. Plaintiff Freddy Flores Martinez is an individual residing in California. Flores

Martinez worked as a delivery driver for FedEx in California from approximately 2019 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Flores Martinez has been eligible to receive overtime pay under the FLSA because Flores

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1077. Plaintiff Ernesto Flores-Palacios is an individual residing in California. Flores-

Palacios worked as a delivery driver for FedEx in California but was employed through



                                                407
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 408 of 3128




intermediary entities that FedEx calls independent service providers. Flores-Palacios has been

eligible to receive overtime pay under the FLSA because Flores-Palacios has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1078. Plaintiff Ian Folmar is an individual residing in California. Folmar worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Folmar has been

eligible to receive overtime pay under the FLSA because Folmar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1079. Plaintiff Jamie Fong is an individual residing in California. Fong worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Fong has been

eligible to receive overtime pay under the FLSA because Fong has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1080. Plaintiff John Fortney is an individual residing in Wisconsin. Fortney worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Fortney has been eligible to receive overtime pay

under the FLSA because Fortney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1081. Plaintiff Christopher Fountain is an individual residing in California. Fountain

worked as a delivery driver for FedEx in California from approximately 2015 to 2022 but was



                                               408
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 409 of 3128




employed through intermediary entities that FedEx calls independent service providers. Fountain

has been eligible to receive overtime pay under the FLSA because Fountain has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1082. Plaintiff Antoine Fowler is an individual residing in California. Fowler worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Fowler has been eligible to receive overtime pay

under the FLSA because Fowler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       1083. Plaintiff Robert Frank is an individual residing in California. Frank worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Frank has been eligible to receive overtime pay under

the FLSA because Frank has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       1084. Plaintiff Christopher Franklin is an individual residing in California. Franklin

worked as a delivery driver for FedEx in California from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Franklin

has been eligible to receive overtime pay under the FLSA because Franklin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1085. Plaintiff Tiana Franks is an individual residing in California. Franks worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Franks has been eligible to receive overtime pay



                                              409
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 410 of 3128




under the FLSA because Franks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1086. Plaintiff Joseph Frazier is an individual residing in California. Frazier worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Frazier has been eligible to receive overtime pay

under the FLSA because Frazier has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1087. Plaintiff Joshua Frederick is an individual residing in California. Frederick

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Frederick has been eligible to receive

overtime pay under the FLSA because Frederick has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1088. Plaintiff Wayne Freeman is an individual residing in California. Freeman worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Freeman has been eligible to receive overtime pay

under the FLSA because Freeman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1089. Plaintiff Andrew Frey is an individual residing in Nevada. Frey worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Frey has been

eligible to receive overtime pay under the FLSA because Frey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               410
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 411 of 3128




        1090. Plaintiff Louis Frontino is an individual residing in California. Frontino worked as

a delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Frontino has been

eligible to receive overtime pay under the FLSA because Frontino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1091. Plaintiff Weijia Fu is an individual residing in California. Fu worked as a delivery

driver for FedEx in California from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fu has been eligible to

receive overtime pay under the FLSA because Fu has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1092. Plaintiff Carlos Fuentes is an individual residing in California. Fuentes worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Fuentes has been

eligible to receive overtime pay under the FLSA because Fuentes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1093. Plaintiff Esteban Fuentes is an individual residing in California. Fuentes worked

as a delivery driver for FedEx in California from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Fuentes has been

eligible to receive overtime pay under the FLSA because Fuentes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               411
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 412 of 3128




        1094. Plaintiff Saul Fuentes is an individual residing in California. Fuentes worked as a

delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fuentes has been

eligible to receive overtime pay under the FLSA because Fuentes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1095. Plaintiff Antonyette Fuller is an individual residing in California. Fuller worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Fuller has been

eligible to receive overtime pay under the FLSA because Fuller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1096. Plaintiff Steven Funes is an individual residing in California. Funes worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Funes has been eligible to receive overtime pay under

the FLSA because Funes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1097. Plaintiff Gabriel Gabriel E Ruiz is an individual residing in California. Gabriel E

Ruiz worked as a delivery driver for FedEx in California from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Gabriel E Ruiz has been eligible to receive overtime pay under the FLSA because Gabriel E Ruiz

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.



                                               412
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 413 of 3128




        1098. Plaintiff Rene Galindo is an individual residing in California. Galindo worked as

a delivery driver for FedEx in California from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Galindo has been

eligible to receive overtime pay under the FLSA because Galindo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1099. Plaintiff Andres Galindo is an individual residing in California. Galindo worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Galindo has been eligible to receive overtime pay

under the FLSA because Galindo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1100. Plaintiff Elgar Galindo is an individual residing in California. Galindo worked as

a delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Galindo has been

eligible to receive overtime pay under the FLSA because Galindo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1101. Plaintiff Juan Galindo is an individual residing in California. Galindo worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Galindo has been

eligible to receive overtime pay under the FLSA because Galindo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               413
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 414 of 3128




        1102. Plaintiff Vincent Gallegos is an individual residing in California. Gallegos

worked as a delivery driver for FedEx in California from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Gallegos

has been eligible to receive overtime pay under the FLSA because Gallegos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1103. Plaintiff Jose Gama is an individual residing in California. Gama worked as a

delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gama has been

eligible to receive overtime pay under the FLSA because Gama has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1104. Plaintiff Jeth Ganuelas is an individual residing in California. Ganuelas worked as

a delivery driver for FedEx in California from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ganuelas has been

eligible to receive overtime pay under the FLSA because Ganuelas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1105. Plaintiff Anthony Gaona is an individual residing in California. Gaona worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gaona has been

eligible to receive overtime pay under the FLSA because Gaona has driven a vehicle weighing




                                               414
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 415 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1106. Plaintiff Doug Garamoni is an individual residing in California. Garamoni worked

as a delivery driver for FedEx in California from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Garamoni has been

eligible to receive overtime pay under the FLSA because Garamoni has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1107. Plaintiff Guillermo Garcia is an individual residing in California. Garcia worked

as a delivery driver for FedEx in California from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1108. Plaintiff Jairo Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1109. Plaintiff Santana Garcia is an individual residing in California. Garcia worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been



                                               415
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 416 of 3128




eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1110. Plaintiff Nestor Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Garcia has been eligible to receive overtime pay

under the FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1111. Plaintiff Erick Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1112. Plaintiff Raul Garcia is an individual residing in New York. Garcia worked as a

delivery driver for FedEx in California and New York from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Garcia

has been eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1113. Plaintiff Robert Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been



                                               416
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 417 of 3128




eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1114. Plaintiff Roberto Garcia is an individual residing in California. Garcia worked as

a delivery driver for FedEx in California from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1115. Plaintiff John Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1116. Plaintiff Pablo Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1117. Plaintiff Vincent Garcia is an individual residing in California. Garcia worked as

a delivery driver for FedEx in California but was employed through intermediary entities that



                                               417
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 418 of 3128




FedEx calls independent service providers. Garcia has been eligible to receive overtime pay

under the FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1118. Plaintiff Jason Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1119. Plaintiff Fidel Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Garcia has been eligible to receive overtime pay

under the FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1120. Plaintiff Dennis Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1121. Plaintiff Ricardo Garcia is an individual residing in California. Garcia worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Garcia has been eligible to receive overtime pay



                                               418
    Case 2:24-cv-01129-RJC            Document 1       Filed 08/06/24      Page 419 of 3128




under the FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1122. Plaintiff Edgar Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1123. Plaintiff David Garcia is an individual residing in California. Garcia worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1124. Plaintiff Ignacio Garcia Ayala is an individual residing in California. Garcia

Ayala worked as a delivery driver for FedEx in California from approximately 2006 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Garcia Ayala has been eligible to receive overtime pay under the FLSA because Garcia Ayala

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1125. Plaintiff Alejandro Garcia Iii is an individual residing in California. Garcia Iii

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Garcia



                                                419
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 420 of 3128




Iii has been eligible to receive overtime pay under the FLSA because Garcia Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1126. Plaintiff Alvaro Garcia Mejia is an individual residing in California. Garcia Mejia

worked as a delivery driver for FedEx in California from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Garcia

Mejia has been eligible to receive overtime pay under the FLSA because Garcia Mejia has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1127. Plaintiff Armando Gardea is an individual residing in California. Gardea worked

as a delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gardea has been

eligible to receive overtime pay under the FLSA because Gardea has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1128. Plaintiff Nicole Garewal is an individual residing in California. Garewal worked

as a delivery driver for FedEx in California from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Garewal has been

eligible to receive overtime pay under the FLSA because Garewal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1129. Plaintiff Ashley Garewal is an individual residing in California. Garewal worked

as a delivery driver for FedEx in California but was employed through intermediary entities that



                                               420
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 421 of 3128




FedEx calls independent service providers. Garewal has been eligible to receive overtime pay

under the FLSA because Garewal has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1130. Plaintiff Marc Garnica Jr is an individual residing in Arizona. Garnica Jr worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Garnica Jr has been

eligible to receive overtime pay under the FLSA because Garnica Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1131. Plaintiff Michael Garrett is an individual residing in California. Garrett worked as

a delivery driver for FedEx in California from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Garrett has been

eligible to receive overtime pay under the FLSA because Garrett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1132. Plaintiff Michael Garvin is an individual residing in California. Garvin worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Garvin has been eligible to receive overtime pay

under the FLSA because Garvin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1133. Plaintiff Roger Gascon is an individual residing in California. Gascon worked as a

delivery driver for FedEx in California from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gascon has been



                                               421
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 422 of 3128




eligible to receive overtime pay under the FLSA because Gascon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1134. Plaintiff Michael Gattuso is an individual residing in California. Gattuso worked

as a delivery driver for FedEx in California from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gattuso has been

eligible to receive overtime pay under the FLSA because Gattuso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1135. Plaintiff Andrea Gil is an individual residing in California. Gil worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gil has been

eligible to receive overtime pay under the FLSA because Gil has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1136. Plaintiff Terelle Gilbert is an individual residing in California. Gilbert worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gilbert has been

eligible to receive overtime pay under the FLSA because Gilbert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1137. Plaintiff Janice Gilmore is an individual residing in Louisiana. Gilmore worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed



                                                422
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 423 of 3128




through intermediary entities that FedEx calls independent service providers. Gilmore has been

eligible to receive overtime pay under the FLSA because Gilmore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1138. Plaintiff Nessa Glass is an individual residing in California. Glass worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Glass has been

eligible to receive overtime pay under the FLSA because Glass has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1139. Plaintiff Anthony Glover is an individual residing in California. Glover worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Glover has been eligible to receive overtime pay

under the FLSA because Glover has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1140. Plaintiff Alexis Godina is an individual residing in California. Godina worked as

a delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Godina has been

eligible to receive overtime pay under the FLSA because Godina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1141. Plaintiff Richard Godinez is an individual residing in California. Godinez worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed



                                               423
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 424 of 3128




through intermediary entities that FedEx calls independent service providers. Godinez has been

eligible to receive overtime pay under the FLSA because Godinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1142. Plaintiff Miguel Gomez is an individual residing in California. Gomez worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1143. Plaintiff Christina Gomez is an individual residing in California. Gomez worked

as a delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1144. Plaintiff Ignacio Gomez is an individual residing in California. Gomez worked as

a delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              424
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 425 of 3128




        1145. Plaintiff Richard Gomez is an individual residing in California. Gomez worked as

a delivery driver for FedEx in California from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1146. Plaintiff Bobby Gomez is an individual residing in California. Gomez worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1147. Plaintiff Hector Gomez is an individual residing in California. Gomez worked as

a delivery driver for FedEx in California from approximately 2009 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1148. Plaintiff Joseph Gonsalves is an individual residing in California. Gonsalves

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Gonsalves has been eligible to receive

overtime pay under the FLSA because Gonsalves has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               425
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 426 of 3128




        1149. Plaintiff Diana Gonzales is an individual residing in California. Gonzales worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzales has been

eligible to receive overtime pay under the FLSA because Gonzales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1150. Plaintiff Juan Gonzalez is an individual residing in California. Gonzalez worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1151. Plaintiff Fabian Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1152. Plaintiff Alfredo Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven




                                              426
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 427 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1153. Plaintiff Miguel Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1154. Plaintiff Thomas Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2021 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1155. Plaintiff Jacob Gonzalez is an individual residing in California. Gonzalez worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1156. Plaintiff Alberto Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Gonzalez has been eligible to receive



                                               427
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 428 of 3128




overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1157. Plaintiff Sebastian Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1158. Plaintiff Jesus Gonzalez is an individual residing in California. Gonzalez worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1159. Plaintiff Leonard Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1160. Plaintiff Martin Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               428
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 429 of 3128




Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1161. Plaintiff David Gonzalez is an individual residing in California. Gonzalez worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Gonzalez has been eligible to receive overtime pay

under the FLSA because Gonzalez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        1162. Plaintiff Jerardo Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2000 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1163. Plaintiff Randy Gonzalez is an individual residing in California. Gonzalez worked

as a delivery driver for FedEx in California from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1164. Plaintiff Gabino Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2004 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               429
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 430 of 3128




Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       1165. Plaintiff Moises Gonzalez is an individual residing in California. Gonzalez

worked as a delivery driver for FedEx in California from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       1166. Plaintiff Javier Gonzalez Balvaneda is an individual residing in California.

Gonzalez Balvaneda worked as a delivery driver for FedEx in California but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez

Balvaneda has been eligible to receive overtime pay under the FLSA because Gonzalez

Balvaneda has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       1167. Plaintiff Eduardo Gonzalez Napoles is an individual residing in California.

Gonzalez Napoles worked as a delivery driver for FedEx in California from approximately 2016

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Gonzalez Napoles has been eligible to receive overtime pay under the FLSA because

Gonzalez Napoles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       1168. Plaintiff Ricardo Gonzalez Velazco is an individual residing in California.

Gonzalez Velazco worked as a delivery driver for FedEx in California from approximately 2016



                                              430
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 431 of 3128




to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Gonzalez Velazco has been eligible to receive overtime pay under the FLSA because

Gonzalez Velazco has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       1169. Plaintiff Caleb Goodman is an individual residing in California. Goodman worked

as a delivery driver for FedEx in California from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Goodman has been

eligible to receive overtime pay under the FLSA because Goodman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1170. Plaintiff Chester Goudeau is an individual residing in California. Goudeau

worked as a delivery driver for FedEx in California from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Goudeau

has been eligible to receive overtime pay under the FLSA because Goudeau has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1171. Plaintiff Matthew Goulamanian is an individual residing in California.

Goulamanian worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. Goulamanian has been

eligible to receive overtime pay under the FLSA because Goulamanian has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             431
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 432 of 3128




        1172. Plaintiff Ronald Gounder is an individual residing in California. Gounder worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Gounder has been eligible to receive overtime pay

under the FLSA because Gounder has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1173. Plaintiff Marissa Grecu is an individual residing in California. Grecu worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Grecu has been

eligible to receive overtime pay under the FLSA because Grecu has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1174. Plaintiff Tyrell Green is an individual residing in California. Green worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Green has been eligible to receive overtime pay

under the FLSA because Green has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1175. Plaintiff Jason Grice is an individual residing in Idaho. Grice worked as a delivery

driver for FedEx in California but was employed through intermediary entities that FedEx calls

independent service providers. Grice has been eligible to receive overtime pay under the FLSA

because Grice has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1176. Plaintiff David Griego is an individual residing in Nevada. Griego worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                               432
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 433 of 3128




FedEx calls independent service providers. Griego has been eligible to receive overtime pay

under the FLSA because Griego has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1177. Plaintiff Virgil Griffin, Sr. is an individual residing in California. Griffin worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1178. Plaintiff Joseph Grijalva is an individual residing in California. Grijalva worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Grijalva has been

eligible to receive overtime pay under the FLSA because Grijalva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1179. Plaintiff Joseph Guardanapo is an individual residing in California. Guardanapo

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Guardanapo has been eligible to receive

overtime pay under the FLSA because Guardanapo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1180. Plaintiff Marco Guerra is an individual residing in California. Guerra worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Guerra has been eligible to receive overtime pay



                                                433
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 434 of 3128




under the FLSA because Guerra has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1181. Plaintiff Gonzalo Guerra is an individual residing in California. Guerra worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Guerra has been eligible to receive overtime pay

under the FLSA because Guerra has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1182. Plaintiff Anthony Guijarro is an individual residing in California. Guijarro

worked as a delivery driver for FedEx in California from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Guijarro

has been eligible to receive overtime pay under the FLSA because Guijarro has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1183. Plaintiff Mayara Guissoni is an individual residing in California. Guissoni worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Guissoni has been

eligible to receive overtime pay under the FLSA because Guissoni has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1184. Plaintiff Juan Gutierrez is an individual residing in California. Gutierrez worked

as a delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing



                                               434
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 435 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1185. Plaintiff Ralph Gutierrez is an individual residing in California. Gutierrez worked

as a delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1186. Plaintiff Sergio Gutierrez is an individual residing in California. Gutierrez worked

as a delivery driver for FedEx in California from approximately 2008 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1187. Plaintiff Jesse Gutierrez is an individual residing in California. Gutierrez worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1188. Plaintiff Omar Gutierrez is an individual residing in California. Gutierrez worked

as a delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been



                                               435
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 436 of 3128




eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1189. Plaintiff Luis Guzman is an individual residing in California. Guzman worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Guzman has been eligible to receive overtime pay

under the FLSA because Guzman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1190. Plaintiff Andres Guzman is an individual residing in California. Guzman worked

as a delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Guzman has been

eligible to receive overtime pay under the FLSA because Guzman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1191. Plaintiff Henry Guzman Guimaraes is an individual residing in California.

Guzman Guimaraes worked as a delivery driver for FedEx in California from approximately

2015 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Guzman Guimaraes has been eligible to receive overtime pay under the FLSA

because Guzman Guimaraes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1192. Plaintiff Francisco Guzman-Estrada is an individual residing in California.

Guzman-Estrada worked as a delivery driver for FedEx in California from approximately 2012

to 2018 but was employed through intermediary entities that FedEx calls independent service



                                              436
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 437 of 3128




providers. Guzman-Estrada has been eligible to receive overtime pay under the FLSA because

Guzman-Estrada has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1193. Plaintiff Samuel Habtegeorgis is an individual residing in California.

Habtegeorgis worked as a delivery driver for FedEx in California from approximately 2015 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Habtegeorgis has been eligible to receive overtime pay under the FLSA because

Habtegeorgis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1194. Plaintiff Dawit Hailemariam is an individual residing in California. Hailemariam

worked as a delivery driver for FedEx in California from approximately 2011 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Hailemariam has been eligible to receive overtime pay under the FLSA because Hailemariam

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1195. Plaintiff Behrouz Hajialian is an individual residing in Virginia. Hajialian worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hajialian has been

eligible to receive overtime pay under the FLSA because Hajialian has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1196. Plaintiff Nathan Hall is an individual residing in Colorado. Hall worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                               437
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 438 of 3128




FedEx calls independent service providers. Hall has been eligible to receive overtime pay under

the FLSA because Hall has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1197. Plaintiff Scott Hanna is an individual residing in California. Hanna worked as a

delivery driver for FedEx in California from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hanna has been

eligible to receive overtime pay under the FLSA because Hanna has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1198. Plaintiff Rani Haoel is an individual residing in California. Haoel worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Haoel has been

eligible to receive overtime pay under the FLSA because Haoel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1199. Plaintiff Robert Harmon is an individual residing in California. Harmon worked

as a delivery driver for FedEx in California from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Harmon has been

eligible to receive overtime pay under the FLSA because Harmon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1200. Plaintiff Monica Haro is an individual residing in Oregon. Haro worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed



                                               438
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 439 of 3128




through intermediary entities that FedEx calls independent service providers. Haro has been

eligible to receive overtime pay under the FLSA because Haro has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1201. Plaintiff Eric Harper is an individual residing in California. Harper worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Harper has been

eligible to receive overtime pay under the FLSA because Harper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1202. Plaintiff Justin Harper is an individual residing in California. Harper worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Harper has been

eligible to receive overtime pay under the FLSA because Harper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1203. Plaintiff Elijah Harris is an individual residing in California. Harris worked as a

delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                                439
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 440 of 3128




        1204. Plaintiff Daonte Harris is an individual residing in California. Harris worked as a

delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1205. Plaintiff Dominique Harton is an individual residing in California. Harton worked

as a delivery driver for FedEx in California from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Harton has been

eligible to receive overtime pay under the FLSA because Harton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1206. Plaintiff Jacob Hatcher is an individual residing in California. Hatcher worked as

a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hatcher has been

eligible to receive overtime pay under the FLSA because Hatcher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1207. Plaintiff Leticia Haynes is an individual residing in California. Haynes worked as

a delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Haynes has been

eligible to receive overtime pay under the FLSA because Haynes has driven a vehicle weighing




                                               440
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 441 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1208. Plaintiff Andrew Hays is an individual residing in California. Hays worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hays has been

eligible to receive overtime pay under the FLSA because Hays has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1209. Plaintiff Jacob Hedrick is an individual residing in California. Hedrick worked as

a delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hedrick has been

eligible to receive overtime pay under the FLSA because Hedrick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1210. Plaintiff Lori Henley is an individual residing in California. Henley worked as a

delivery driver for FedEx in California from approximately 1999 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Henley has been

eligible to receive overtime pay under the FLSA because Henley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1211. Plaintiff Cesar Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2006 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               441
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 442 of 3128




Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1212. Plaintiff Celina Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2001 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1213. Plaintiff Anner Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2011 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1214. Plaintiff Seth Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1215. Plaintiff Nelson Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2012 to 2019 but was



                                              442
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 443 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1216. Plaintiff Anny Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1217. Plaintiff Ismael Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Hernandez has been eligible to receive

overtime pay under the FLSA because Hernandez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1218. Plaintiff Christofer Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1219. Plaintiff Refugio Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 1999 to 2024 but was



                                               443
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 444 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1220. Plaintiff Edward Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2010 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1221. Plaintiff Eduardo Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1222. Plaintiff Jonathan Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Hernandez has been eligible to receive

overtime pay under the FLSA because Hernandez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1223. Plaintiff Fidel Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2012 to 2017 but was



                                               444
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 445 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1224. Plaintiff Carlos Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Hernandez has been eligible to receive

overtime pay under the FLSA because Hernandez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1225. Plaintiff Mathew Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1226. Plaintiff Jose Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1227. Plaintiff Jose Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2013 to 2018 but was



                                               445
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 446 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1228. Plaintiff Damian Hernandez is an individual residing in California. Hernandez

worked as a delivery driver for FedEx in California from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1229. Plaintiff Benito Hernandez Jr. is an individual residing in California. Hernandez

Jr. worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez Jr. has been eligible to receive overtime pay under the FLSA because Hernandez Jr.

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1230. Plaintiff James Herrera is an individual residing in California. Herrera worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               446
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 447 of 3128




        1231. Plaintiff Randy Herrera is an individual residing in California. Herrera worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Herrera has been eligible to receive overtime pay

under the FLSA because Herrera has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1232. Plaintiff Raul Herrera is an individual residing in Utah. Herrera worked as a

delivery driver for FedEx in California from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1233. Plaintiff Heriberto Herrera is an individual residing in California. Herrera worked

as a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1234. Plaintiff Simon Herrera is an individual residing in California. Herrera worked as

a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               447
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 448 of 3128




        1235. Plaintiff Edwin Herrera is an individual residing in California. Herrera worked as

a delivery driver for FedEx in California from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1236. Plaintiff Steven Hickey is an individual residing in California. Hickey worked as

a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hickey has been

eligible to receive overtime pay under the FLSA because Hickey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1237. Plaintiff Carlos Hidalgo is an individual residing in California. Hidalgo worked as

a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hidalgo has been

eligible to receive overtime pay under the FLSA because Hidalgo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1238. Plaintiff Diego Hidalgo is an individual residing in California. Hidalgo worked as

a delivery driver for FedEx in California from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hidalgo has been

eligible to receive overtime pay under the FLSA because Hidalgo has driven a vehicle weighing




                                               448
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 449 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1239. Plaintiff Patrick Hieb is an individual residing in California. Hieb worked as a

delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hieb has been

eligible to receive overtime pay under the FLSA because Hieb has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1240. Plaintiff Marcus Hilgen is an individual residing in California. Hilgen worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Hilgen has been eligible to receive overtime pay

under the FLSA because Hilgen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1241. Plaintiff Robert Hilliard is an individual residing in California. Hilliard worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Hilliard has been eligible to receive overtime pay

under the FLSA because Hilliard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1242. Plaintiff Rodolfo Hirales is an individual residing in California. Hirales worked as

a delivery driver for FedEx in California from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hirales has been

eligible to receive overtime pay under the FLSA because Hirales has driven a vehicle weighing




                                                449
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 450 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1243. Plaintiff Howard Hirokane is an individual residing in California. Hirokane

worked as a delivery driver for FedEx in California from approximately 2009 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Hirokane

has been eligible to receive overtime pay under the FLSA because Hirokane has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1244. Plaintiff Rick Hoefel is an individual residing in California. Hoefel worked as a

delivery driver for FedEx in California from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hoefel has been

eligible to receive overtime pay under the FLSA because Hoefel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1245. Plaintiff Eric Hogan is an individual residing in California. Hogan worked as a

delivery driver for FedEx in California from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hogan has been

eligible to receive overtime pay under the FLSA because Hogan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1246. Plaintiff Jashua Hogue is an individual residing in California. Hogue worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hogue has been



                                               450
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 451 of 3128




eligible to receive overtime pay under the FLSA because Hogue has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1247. Plaintiff Keith Holiday is an individual residing in California. Holiday worked as

a delivery driver for FedEx in California from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Holiday has been

eligible to receive overtime pay under the FLSA because Holiday has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1248. Plaintiff Horacio Horacio is an individual residing in California. Horacio worked

as a delivery driver for FedEx in California from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Horacio has been

eligible to receive overtime pay under the FLSA because Horacio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1249. Plaintiff Rhonda Howard is an individual residing in California. Howard worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Howard has been

eligible to receive overtime pay under the FLSA because Howard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1250. Plaintiff Brian Howell is an individual residing in California. Howell worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed



                                               451
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 452 of 3128




through intermediary entities that FedEx calls independent service providers. Howell has been

eligible to receive overtime pay under the FLSA because Howell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1251. Plaintiff Rickey Hughes is an individual residing in California. Hughes worked as

a delivery driver for FedEx in California from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1252. Plaintiff Dewayne Hunter is an individual residing in California. Hunter worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hunter has been

eligible to receive overtime pay under the FLSA because Hunter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1253. Plaintiff Anthony Hurlbert is an individual residing in California. Hurlbert

worked as a delivery driver for FedEx in California from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Hurlbert

has been eligible to receive overtime pay under the FLSA because Hurlbert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               452
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 453 of 3128




        1254. Plaintiff Lerahn Hutchinson is an individual residing in California. Hutchinson

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Hutchinson has been eligible to receive

overtime pay under the FLSA because Hutchinson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1255. Plaintiff Tri Huynh is an individual residing in California. Huynh worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Huynh has been eligible to receive overtime pay

under the FLSA because Huynh has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1256. Plaintiff Anthony Ibarra is an individual residing in California. Ibarra worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ibarra has been

eligible to receive overtime pay under the FLSA because Ibarra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1257. Plaintiff Walter Ibarra is an individual residing in California. Ibarra worked as a

delivery driver for FedEx in California from approximately 2004 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ibarra has been

eligible to receive overtime pay under the FLSA because Ibarra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                                453
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 454 of 3128




        1258. Plaintiff Narai Ibarra is an individual residing in California. Ibarra worked as a

delivery driver for FedEx in California from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ibarra has been

eligible to receive overtime pay under the FLSA because Ibarra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1259. Plaintiff John Inthapaseuth is an individual residing in California. Inthapaseuth

worked as a delivery driver for FedEx in California from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Inthapaseuth has been eligible to receive overtime pay under the FLSA because Inthapaseuth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1260. Plaintiff Asad Ismail is an individual residing in Texas. Ismail worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ismail has been

eligible to receive overtime pay under the FLSA because Ismail has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1261. Plaintiff Kelvin Pickering is an individual residing in California. Israel worked as

a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Israel has been

eligible to receive overtime pay under the FLSA because Israel has driven a vehicle weighing




                                                454
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 455 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1262. Plaintiff Jua Jackson is an individual residing in California. Jackson worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1263. Plaintiff Terrin Jackson is an individual residing in California. Jackson worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Jackson has been eligible to receive overtime pay

under the FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1264. Plaintiff Andre Jackson is an individual residing in South Dakota. Jackson worked

as a delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1265. Plaintiff Roberto Jacobo is an individual residing in California. Jacobo worked as

a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jacobo has been

eligible to receive overtime pay under the FLSA because Jacobo has driven a vehicle weighing



                                               455
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 456 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1266. Plaintiff Luis Jasso is an individual residing in California. Jasso worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Jasso has been eligible to receive overtime pay under

the FLSA because Jasso has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1267. Plaintiff James Jefferson is an individual residing in California. Jefferson worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jefferson has been

eligible to receive overtime pay under the FLSA because Jefferson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1268. Plaintiff Kwame Jenkins is an individual residing in California. Jenkins worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1269. Plaintiff Guss Jennings is an individual residing in California. Jennings worked as

a delivery driver for FedEx in California from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jennings has been

eligible to receive overtime pay under the FLSA because Jennings has driven a vehicle weighing



                                               456
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 457 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1270. Plaintiff Bhupinder Jhanjar is an individual residing in California. Jhanjar worked

as a delivery driver for FedEx in California from approximately 1993 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jhanjar has been

eligible to receive overtime pay under the FLSA because Jhanjar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1271. Plaintiff Guobo Jiang is an individual residing in California. Jiang worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Jiang has been eligible to receive overtime pay under

the FLSA because Jiang has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1272. Plaintiff Julian Jimenez is an individual residing in California. Jimenez worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Jimenez has been eligible to receive overtime pay

under the FLSA because Jimenez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1273. Plaintiff Jorge Jimenez is an individual residing in California. Jimenez worked as

a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been

eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing




                                               457
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 458 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1274. Plaintiff Jorge Jimenez is an individual residing in California. Jimenez worked as

a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been

eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1275. Plaintiff Carlos Jimenez is an individual residing in California. Jimenez worked as

a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been

eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1276. Plaintiff Thomas Jimenez is an individual residing in California. Jimenez worked

as a delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been

eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1277. Plaintiff Trinidad Jimenez is an individual residing in California. Jimenez worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been



                                               458
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 459 of 3128




eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1278. Plaintiff Oscar Jimenez Galindo is an individual residing in California. Jimenez

Galindo worked as a delivery driver for FedEx in California from approximately 2015 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Jimenez Galindo has been eligible to receive overtime pay under the FLSA because Jimenez

Galindo has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1279. Plaintiff Gregory Johnson is an individual residing in California. Johnson worked

as a delivery driver for FedEx in California from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1280. Plaintiff Latoya Johnson is an individual residing in California. Johnson worked

as a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1281. Plaintiff Kendra Johnson is an individual residing in Washington. Johnson

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was



                                              459
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 460 of 3128




employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1282. Plaintiff Shanesha Johnson is an individual residing in California. Johnson

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1283. Plaintiff Natosha Johnson is an individual residing in California. Johnson worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1284. Plaintiff David Johnson is an individual residing in Kentucky. Johnson worked as

a delivery driver for FedEx in California from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1285. Plaintiff Buffie Johnson is an individual residing in California. Johnson worked as

a delivery driver for FedEx in California from approximately 2012 to 2018 but was employed



                                               460
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 461 of 3128




through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1286. Plaintiff Russell Jones is an individual residing in California. Jones worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1287. Plaintiff Victor Jones is an individual residing in California. Jones worked as a

delivery driver for FedEx in California from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1288. Plaintiff Derayne Jones is an individual residing in California. Jones worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under

the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1289. Plaintiff Jason Jones is an individual residing in California. Jones worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed



                                               461
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 462 of 3128




through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1290. Plaintiff Candy Jones is an individual residing in Idaho. Jones worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1291. Plaintiff Gary Jordan is an individual residing in California. Jordan worked as a

delivery driver for FedEx in California from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jordan has been

eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1292. Plaintiff Jose Juarez is an individual residing in California. Juarez worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Juarez has been

eligible to receive overtime pay under the FLSA because Juarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               462
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 463 of 3128




        1293. Plaintiff Carlos Juarez is an individual residing in California. Juarez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Juarez has been eligible to receive overtime pay

under the FLSA because Juarez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1294. Plaintiff Richard Juarez is an individual residing in California. Juarez worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Juarez has been

eligible to receive overtime pay under the FLSA because Juarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1295. Plaintiff Michael Juarez is an individual residing in California. Juarez worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Juarez has been

eligible to receive overtime pay under the FLSA because Juarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1296. Plaintiff Lizette Juarez is an individual residing in California. Juarez worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Juarez has been

eligible to receive overtime pay under the FLSA because Juarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                                463
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 464 of 3128




       1297. Plaintiff Jamella Jules is an individual residing in California. Jules worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Jules has been eligible to receive overtime pay under

the FLSA because Jules has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       1298. Plaintiff Julio Julio Mendoza is an individual residing in California. Julio

Mendoza worked as a delivery driver for FedEx in California from approximately 2007 to 2022

but was employed through intermediary entities that FedEx calls independent service providers.

Julio Mendoza has been eligible to receive overtime pay under the FLSA because Julio Mendoza

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       1299. Plaintiff Jon Justado Calisa is an individual residing in California. Justado Calisa

worked as a delivery driver for FedEx in California from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Justado

Calisa has been eligible to receive overtime pay under the FLSA because Justado Calisa has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1300. Plaintiff Christopher Kahapea is an individual residing in California. Kahapea

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Kahapea has been eligible to receive

overtime pay under the FLSA because Kahapea has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               464
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 465 of 3128




        1301. Plaintiff Jordan Kearney is an individual residing in California. Kearney worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Kearney has been eligible to receive overtime pay

under the FLSA because Kearney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1302. Plaintiff Justin Keith is an individual residing in California. Keith worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Keith has been

eligible to receive overtime pay under the FLSA because Keith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1303. Plaintiff Michael Kelvie is an individual residing in California. Kelvie worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Kelvie has been eligible to receive overtime pay

under the FLSA because Kelvie has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1304. Plaintiff Jonathan Kendrick is an individual residing in California. Kendrick

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Kendrick has been eligible to receive

overtime pay under the FLSA because Kendrick has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1305. Plaintiff Eyad Khal is an individual residing in California. Khal worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed



                                               465
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 466 of 3128




through intermediary entities that FedEx calls independent service providers. Khal has been

eligible to receive overtime pay under the FLSA because Khal has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1306. Plaintiff Steve Khoth is an individual residing in California. Khoth worked as a

delivery driver for FedEx in California from approximately 2001 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Khoth has been

eligible to receive overtime pay under the FLSA because Khoth has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1307. Plaintiff Richard Kim is an individual residing in California. Kim worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kim has been

eligible to receive overtime pay under the FLSA because Kim has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1308. Plaintiff Ryan Kline is an individual residing in California. Kline worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kline has been

eligible to receive overtime pay under the FLSA because Kline has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               466
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 467 of 3128




        1309. Plaintiff Dominique Knowles is an individual residing in Arkansas. Knowles

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Knowles has been eligible to receive

overtime pay under the FLSA because Knowles has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1310. Plaintiff Joelino Ko is an individual residing in Colorado. Ko worked as a

delivery driver for FedEx in California from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ko has been

eligible to receive overtime pay under the FLSA because Ko has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1311. Plaintiff Taylor Koh is an individual residing in California. Koh worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Koh has been eligible to receive overtime pay under

the FLSA because Koh has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1312. Plaintiff Kompheak Koun is an individual residing in California. Koun worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Koun has been eligible to receive overtime pay under

the FLSA because Koun has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1313. Plaintiff Chris Krikor is an individual residing in California. Krikor worked as a

delivery driver for FedEx in California from approximately 2015 to 2020 but was employed



                                               467
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 468 of 3128




through intermediary entities that FedEx calls independent service providers. Krikor has been

eligible to receive overtime pay under the FLSA because Krikor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1314. Plaintiff Brendan Kubo is an individual residing in California. Kubo worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kubo has been

eligible to receive overtime pay under the FLSA because Kubo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1315. Plaintiff Brian Kulas is an individual residing in California. Kulas worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kulas has been

eligible to receive overtime pay under the FLSA because Kulas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1316. Plaintiff Edward Kwan is an individual residing in California. Kwan worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kwan has been

eligible to receive overtime pay under the FLSA because Kwan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               468
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 469 of 3128




        1317. Plaintiff John La Compte is an individual residing in California. La Compte

worked as a delivery driver for FedEx in California from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. La

Compte has been eligible to receive overtime pay under the FLSA because La Compte has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1318. Plaintiff Roushan Lachman is an individual residing in California. Lachman

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Lachman has been eligible to receive

overtime pay under the FLSA because Lachman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1319. Plaintiff Gilberto Landeros is an individual residing in California. Landeros

worked as a delivery driver for FedEx in California from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Landeros

has been eligible to receive overtime pay under the FLSA because Landeros has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1320. Plaintiff Michael Lanier is an individual residing in California. Lanier worked as

a delivery driver for FedEx in California from approximately 1999 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lanier has been

eligible to receive overtime pay under the FLSA because Lanier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               469
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 470 of 3128




        1321. Plaintiff Antonio Lara is an individual residing in California. Lara worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lara has been eligible to receive overtime pay under

the FLSA because Lara has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1322. Plaintiff Jesse Lara is an individual residing in California. Lara worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lara has been

eligible to receive overtime pay under the FLSA because Lara has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1323. Plaintiff Uriel Lara Rojas is an individual residing in California. Lara Rojas

worked as a delivery driver for FedEx in California from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Lara

Rojas has been eligible to receive overtime pay under the FLSA because Lara Rojas has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1324. Plaintiff Marc Laszcz is an individual residing in California. Laszcz worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Laszcz has been

eligible to receive overtime pay under the FLSA because Laszcz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               470
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 471 of 3128




        1325. Plaintiff Steven Lauranson is an individual residing in California. Lauranson

worked as a delivery driver for FedEx in California from approximately 2021 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Lauranson has been eligible to receive overtime pay under the FLSA because Lauranson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1326. Plaintiff Travis Lazzaro is an individual residing in California. Lazzaro worked as

a delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lazzaro has been

eligible to receive overtime pay under the FLSA because Lazzaro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1327. Plaintiff Jesse Leandro is an individual residing in California. Leandro worked as

a delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Leandro has been

eligible to receive overtime pay under the FLSA because Leandro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1328. Plaintiff Anthony Lee is an individual residing in California. Lee worked as a

delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less




                                               471
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 472 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1329. Plaintiff Yee Lee is an individual residing in California. Lee worked as a delivery

driver for FedEx in California but was employed through intermediary entities that FedEx calls

independent service providers. Lee has been eligible to receive overtime pay under the FLSA

because Lee has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1330. Plaintiff Stanley Leighton is an individual residing in California. Leighton worked

as a delivery driver for FedEx in California from approximately 2004 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Leighton has been

eligible to receive overtime pay under the FLSA because Leighton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1331. Plaintiff William Leis is an individual residing in California. Leis worked as a

delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Leis has been

eligible to receive overtime pay under the FLSA because Leis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1332. Plaintiff Tyson Leman is an individual residing in California. Leman worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Leman has been

eligible to receive overtime pay under the FLSA because Leman has driven a vehicle weighing



                                               472
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 473 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1333. Plaintiff Hector Lemus is an individual residing in California. Lemus worked as a

delivery driver for FedEx in California from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lemus has been

eligible to receive overtime pay under the FLSA because Lemus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1334. Plaintiff Cesar Lemus is an individual residing in California. Lemus worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lemus has been eligible to receive overtime pay

under the FLSA because Lemus has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1335. Plaintiff Attila Lenart is an individual residing in Arizona. Lenart worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lenart has been eligible to receive overtime pay

under the FLSA because Lenart has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1336. Plaintiff Hugo Leon is an individual residing in California. Leon worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Leon has been eligible to receive overtime pay under

the FLSA because Leon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               473
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 474 of 3128




        1337. Plaintiff Luis Leon De Los Rios is an individual residing in California. Leon De

Los Rios worked as a delivery driver for FedEx in California from approximately 2016 to 2018

but was employed through intermediary entities that FedEx calls independent service providers.

Leon De Los Rios has been eligible to receive overtime pay under the FLSA because Leon De

Los Rios has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1338. Plaintiff Brayan Leon Guerrero is an individual residing in Oregon. Leon

Guerrero worked as a delivery driver for FedEx in California from approximately 2019 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Leon Guerrero has been eligible to receive overtime pay under the FLSA because Leon Guerrero

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1339. Plaintiff Jorge Lepley is an individual residing in California. Lepley worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lepley has been

eligible to receive overtime pay under the FLSA because Lepley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1340. Plaintiff Joseph Levesque is an individual residing in California. Levesque

worked as a delivery driver for FedEx in California from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Levesque has been eligible to receive overtime pay under the FLSA because Levesque has




                                               474
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 475 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1341. Plaintiff Kimlang Lewis is an individual residing in California. Lewis worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1342. Plaintiff Brian Liberta is an individual residing in California. Liberta worked as a

delivery driver for FedEx in California from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Liberta has been

eligible to receive overtime pay under the FLSA because Liberta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1343. Plaintiff Cynthia Limon is an individual residing in California. Limon worked as

a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Limon has been

eligible to receive overtime pay under the FLSA because Limon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1344. Plaintiff Richard Limon is an individual residing in California. Limon worked as

a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Limon has been



                                               475
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 476 of 3128




eligible to receive overtime pay under the FLSA because Limon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1345. Plaintiff Christopher Linnell is an individual residing in California. Linnell

worked as a delivery driver for FedEx in California from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Linnell

has been eligible to receive overtime pay under the FLSA because Linnell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1346. Plaintiff Fabio Lira is an individual residing in California. Lira worked as a

delivery driver for FedEx in California from approximately 2003 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lira has been

eligible to receive overtime pay under the FLSA because Lira has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1347. Plaintiff Alejandro Lizarraga is an individual residing in California. Lizarraga

worked as a delivery driver for FedEx in California from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Lizarraga has been eligible to receive overtime pay under the FLSA because Lizarraga has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1348. Plaintiff Albert Llamas is an individual residing in California. Llamas worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed



                                                476
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 477 of 3128




through intermediary entities that FedEx calls independent service providers. Llamas has been

eligible to receive overtime pay under the FLSA because Llamas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1349. Plaintiff Adam Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lopez has been eligible to receive overtime pay

under the FLSA because Lopez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1350. Plaintiff Edgardo Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lopez has been eligible to receive overtime pay

under the FLSA because Lopez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1351. Plaintiff Joanthon Lopez is an individual residing in California. Lopez worked as

a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1352. Plaintiff Michael Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been



                                              477
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 478 of 3128




eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1353. Plaintiff Eduardo Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1354. Plaintiff Chris Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1355. Plaintiff Jose Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1356. Plaintiff Horacio Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2004 to 2016 but was employed



                                               478
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 479 of 3128




through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1357. Plaintiff Eduardo Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1358. Plaintiff Lester Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1359. Plaintiff Samuel Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lopez has been eligible to receive overtime pay

under the FLSA because Lopez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1360. Plaintiff Robert Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed



                                               479
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 480 of 3128




through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1361. Plaintiff Robert Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1362. Plaintiff Carlos Lopez is an individual residing in California. Lopez worked as a

delivery driver for FedEx in California from approximately 1990 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1363. Plaintiff Francisco Lopez Perez is an individual residing in California. Lopez

Perez worked as a delivery driver for FedEx in California from approximately 2013 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Lopez Perez has been eligible to receive overtime pay under the FLSA because Lopez Perez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               480
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 481 of 3128




        1364. Plaintiff Hector Lopez-Bernardo is an individual residing in California. Lopez-

Bernardo worked as a delivery driver for FedEx in California from approximately 2008 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Lopez-Bernardo has been eligible to receive overtime pay under the FLSA because Lopez-

Bernardo has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1365. Plaintiff Eevil Louis is an individual residing in California. Louis worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Louis has been

eligible to receive overtime pay under the FLSA because Louis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1366. Plaintiff Dominic Lowery Bowen is an individual residing in California. Lowery

Bowen worked as a delivery driver for FedEx in California from approximately 2013 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Lowery Bowen has been eligible to receive overtime pay under the FLSA because Lowery

Bowen has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        1367. Plaintiff Dominic Lozano is an individual residing in California. Lozano worked

as a delivery driver for FedEx in California from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lozano has been

eligible to receive overtime pay under the FLSA because Lozano has driven a vehicle weighing




                                               481
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 482 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1368. Plaintiff Jamee Lucas is an individual residing in Nevada. Lucas worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lucas has been

eligible to receive overtime pay under the FLSA because Lucas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1369. Plaintiff George Lucero is an individual residing in California. Lucero worked as

a delivery driver for FedEx in California from approximately 2004 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lucero has been

eligible to receive overtime pay under the FLSA because Lucero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1370. Plaintiff Mark Lucero is an individual residing in California. Lucero worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lucero has been eligible to receive overtime pay

under the FLSA because Lucero has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1371. Plaintiff Juan Lucio is an individual residing in California. Lucio worked as a

delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lucio has been

eligible to receive overtime pay under the FLSA because Lucio has driven a vehicle weighing



                                               482
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 483 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1372. Plaintiff Marcus Lugo is an individual residing in California. Lugo worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lugo has been

eligible to receive overtime pay under the FLSA because Lugo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1373. Plaintiff Sergio Lujan is an individual residing in California. Lujan worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lujan has been

eligible to receive overtime pay under the FLSA because Lujan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1374. Plaintiff Noel Luna is an individual residing in California. Luna worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Luna has been eligible to receive overtime pay under

the FLSA because Luna has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1375. Plaintiff Richard Luna Jr. is an individual residing in California. Luna Jr. worked

as a delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Luna Jr. has been

eligible to receive overtime pay under the FLSA because Luna Jr. has driven a vehicle weighing



                                               483
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 484 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1376. Plaintiff Gregory Lupien is an individual residing in Washington. Lupien worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Lupien has been eligible to receive overtime pay

under the FLSA because Lupien has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1377. Plaintiff Yves Pontefract is an individual residing in California. Lyons worked as

a delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1378. Plaintiff Mark M Pacion is an individual residing in California. M Pacion worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. M Pacion has been

eligible to receive overtime pay under the FLSA because M Pacion has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1379. Plaintiff Sanny Macagba is an individual residing in California. Macagba worked

as a delivery driver for FedEx in California from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Macagba has been

eligible to receive overtime pay under the FLSA because Macagba has driven a vehicle weighing



                                               484
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 485 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1380. Plaintiff Steve Macias is an individual residing in California. Macias worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Macias has been

eligible to receive overtime pay under the FLSA because Macias has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1381. Plaintiff Marco Macias Ruiz is an individual residing in California. Macias Ruiz

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Macias

Ruiz has been eligible to receive overtime pay under the FLSA because Macias Ruiz has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1382. Plaintiff Armando Maddy is an individual residing in California. Maddy worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Maddy has been

eligible to receive overtime pay under the FLSA because Maddy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1383. Plaintiff Jason Madison is an individual residing in California. Madison worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Madison has been



                                               485
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 486 of 3128




eligible to receive overtime pay under the FLSA because Madison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1384. Plaintiff David Madrid is an individual residing in California. Madrid worked as a

delivery driver for FedEx in California from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Madrid has been

eligible to receive overtime pay under the FLSA because Madrid has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1385. Plaintiff Anthony Madrigal is an individual residing in California. Madrigal

worked as a delivery driver for FedEx in California from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Madrigal

has been eligible to receive overtime pay under the FLSA because Madrigal has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1386. Plaintiff Salvador Magallon is an individual residing in California. Magallon

worked as a delivery driver for FedEx in California from approximately 2003 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Magallon has been eligible to receive overtime pay under the FLSA because Magallon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1387. Plaintiff Efren Magana is an individual residing in California. Magana worked as

a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed



                                              486
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 487 of 3128




through intermediary entities that FedEx calls independent service providers. Magana has been

eligible to receive overtime pay under the FLSA because Magana has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1388. Plaintiff Derek Magee is an individual residing in California. Magee worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Magee has been

eligible to receive overtime pay under the FLSA because Magee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1389. Plaintiff Brandon Malaluan is an individual residing in California. Malaluan

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Malaluan has been eligible to receive

overtime pay under the FLSA because Malaluan has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1390. Plaintiff Wenner Maldonado De Leon is an individual residing in California.

Maldonado De Leon worked as a delivery driver for FedEx in California from approximately

2015 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Maldonado De Leon has been eligible to receive overtime pay under the FLSA

because Maldonado De Leon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1391. Plaintiff Carlos Mancia is an individual residing in California. Mancia worked as

a delivery driver for FedEx in California but was employed through intermediary entities that



                                               487
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 488 of 3128




FedEx calls independent service providers. Mancia has been eligible to receive overtime pay

under the FLSA because Mancia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1392. Plaintiff Eugene Mancias is an individual residing in California. Mancias worked

as a delivery driver for FedEx in California from approximately 2010 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mancias has been

eligible to receive overtime pay under the FLSA because Mancias has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1393. Plaintiff Alvaro Manzo is an individual residing in California. Manzo worked as a

delivery driver for FedEx in California from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Manzo has been

eligible to receive overtime pay under the FLSA because Manzo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1394. Plaintiff Charmaine Manzo is an individual residing in California. Manzo worked

as a delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Manzo has been

eligible to receive overtime pay under the FLSA because Manzo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1395. Plaintiff Lorenzo Smith is an individual residing in California. Marbury worked

as a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed



                                              488
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 489 of 3128




through intermediary entities that FedEx calls independent service providers. Marbury has been

eligible to receive overtime pay under the FLSA because Marbury has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1396. Plaintiff Richard Mares is an individual residing in California. Mares worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mares has been

eligible to receive overtime pay under the FLSA because Mares has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1397. Plaintiff Gina Marie is an individual residing in California. Marie worked as a

delivery driver for FedEx in California from approximately 2004 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Marie has been

eligible to receive overtime pay under the FLSA because Marie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1398. Plaintiff Jorge Marin is an individual residing in California. Marin worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Marin has been

eligible to receive overtime pay under the FLSA because Marin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               489
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 490 of 3128




        1399. Plaintiff Aldo Marin is an individual residing in California. Marin worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Marin has been

eligible to receive overtime pay under the FLSA because Marin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1400. Plaintiff Hugo Mariz is an individual residing in California. Mariz worked as a

delivery driver for FedEx in California from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mariz has been

eligible to receive overtime pay under the FLSA because Mariz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1401. Plaintiff Esteban Marquez is an individual residing in California. Marquez

worked as a delivery driver for FedEx in California from approximately 1997 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Marquez

has been eligible to receive overtime pay under the FLSA because Marquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1402. Plaintiff Roy Marshall is an individual residing in California. Marshall worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Marshall has been

eligible to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing




                                              490
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 491 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1403. Plaintiff Jaqueline Martinez is an individual residing in Texas. Martinez worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1404. Plaintiff Richard Martinez is an individual residing in California. Martinez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Martinez has been eligible to receive

overtime pay under the FLSA because Martinez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1405. Plaintiff Carlos Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2001 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1406. Plaintiff Gonzalo Martinez is an individual residing in California. Martinez

worked as a delivery driver for FedEx in California from approximately 2004 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Martinez

has been eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle



                                               491
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 492 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1407. Plaintiff Robert Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1408. Plaintiff Juan Martinez is an individual residing in California. Martinez worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Martinez has been eligible to receive overtime pay

under the FLSA because Martinez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1409. Plaintiff Rafael Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1410. Plaintiff Daniel Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing



                                               492
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 493 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1411. Plaintiff Maria Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1412. Plaintiff Jose Martinez is an individual residing in California. Martinez worked as

a delivery driver for FedEx in California from approximately 1999 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1413. Plaintiff Philip Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1414. Plaintiff Edwin Martinez is an individual residing in California. Martinez worked

as a delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been



                                               493
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 494 of 3128




eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1415. Plaintiff Amarildo Martins is an individual residing in California. Martins worked

as a delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Martins has been

eligible to receive overtime pay under the FLSA because Martins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1416. Plaintiff Arthur Marx is an individual residing in California. Marx worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Marx has been

eligible to receive overtime pay under the FLSA because Marx has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1417. Plaintiff Francisco Mata is an individual residing in California. Mata worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mata has been

eligible to receive overtime pay under the FLSA because Mata has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1418. Plaintiff Ricardo Mata is an individual residing in California. Mata worked as a

delivery driver for FedEx in California from approximately 2008 to 2024 but was employed



                                               494
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 495 of 3128




through intermediary entities that FedEx calls independent service providers. Mata has been

eligible to receive overtime pay under the FLSA because Mata has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1419. Plaintiff Christopher Mattos is an individual residing in California. Mattos

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Mattos

has been eligible to receive overtime pay under the FLSA because Mattos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1420. Plaintiff Lorenzo Maynez is an individual residing in California. Maynez worked

as a delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Maynez has been

eligible to receive overtime pay under the FLSA because Maynez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1421. Plaintiff Kiruan Mayo is an individual residing in California. Mayo worked as a

delivery driver for FedEx in California from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mayo has been

eligible to receive overtime pay under the FLSA because Mayo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               495
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 496 of 3128




        1422. Plaintiff Sheena Mc Clain is an individual residing in California. Mc Clain

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Mc Clain has been eligible to receive

overtime pay under the FLSA because Mc Clain has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1423. Plaintiff Kierra Mccaa is an individual residing in California. Mccaa worked as a

delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mccaa has been

eligible to receive overtime pay under the FLSA because Mccaa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1424. Plaintiff Timothy Mccorkhill is an individual residing in California. Mccorkhill

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Mccorkhill has been eligible to receive

overtime pay under the FLSA because Mccorkhill has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1425. Plaintiff Andrew Mccoy is an individual residing in California. Mccoy worked as

a delivery driver for FedEx in California from approximately 2000 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mccoy has been

eligible to receive overtime pay under the FLSA because Mccoy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               496
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 497 of 3128




        1426. Plaintiff Erwin Mcdonald is an individual residing in California. Mcdonald

worked as a delivery driver for FedEx in California from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdonald has been eligible to receive overtime pay under the FLSA because Mcdonald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1427. Plaintiff Jeff Mcgee is an individual residing in California. Mcgee worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mcgee has been

eligible to receive overtime pay under the FLSA because Mcgee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1428. Plaintiff Jared Mcgee is an individual residing in California. Mcgee worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mcgee has been

eligible to receive overtime pay under the FLSA because Mcgee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1429. Plaintiff Cameron Mcgreggor is an individual residing in California. Mcgreggor

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcgreggor has been eligible to receive overtime pay under the FLSA because Mcgreggor has




                                              497
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 498 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1430. Plaintiff Sean Mchale is an individual residing in California. Mchale worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mchale has been

eligible to receive overtime pay under the FLSA because Mchale has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1431. Plaintiff Terrence Mckinnie is an individual residing in California. Mckinnie

worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckinnie has been eligible to receive overtime pay under the FLSA because Mckinnie has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1432. Plaintiff Robert Mckinstry is an individual residing in California. Mckinstry

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Mckinstry has been eligible to receive

overtime pay under the FLSA because Mckinstry has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1433. Plaintiff Matthew Mclaughlin is an individual residing in California. Mclaughlin

worked as a delivery driver for FedEx in California from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Mclaughlin has been eligible to receive overtime pay under the FLSA because Mclaughlin has



                                               498
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 499 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1434. Plaintiff Ryan Mcmillan is an individual residing in California. Mcmillan worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Mcmillan has been eligible to receive overtime pay

under the FLSA because Mcmillan has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        1435. Plaintiff Jaisohn Meadors is an individual residing in California. Meadors worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Meadors has been eligible to receive overtime pay

under the FLSA because Meadors has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1436. Plaintiff Christopher Mealy is an individual residing in California. Mealy worked

as a delivery driver for FedEx in California from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mealy has been

eligible to receive overtime pay under the FLSA because Mealy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1437. Plaintiff Daniel Medina is an individual residing in Arizona. Medina worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Medina has been

eligible to receive overtime pay under the FLSA because Medina has driven a vehicle weighing




                                              499
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 500 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1438. Plaintiff Hamilton Medina is an individual residing in California. Medina worked

as a delivery driver for FedEx in California from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Medina has been

eligible to receive overtime pay under the FLSA because Medina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1439. Plaintiff Joaquin Medina is an individual residing in California. Medina worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Medina has been eligible to receive overtime pay

under the FLSA because Medina has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1440. Plaintiff Dino Medina Martinez is an individual residing in California. Medina

Martinez worked as a delivery driver for FedEx in California from approximately 2005 to 2022

but was employed through intermediary entities that FedEx calls independent service providers.

Medina Martinez has been eligible to receive overtime pay under the FLSA because Medina

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1441. Plaintiff Eric Mejia is an individual residing in California. Mejia worked as a

delivery driver for FedEx in California from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mejia has been

eligible to receive overtime pay under the FLSA because Mejia has driven a vehicle weighing



                                               500
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 501 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1442. Plaintiff Jordan Mejia is an individual residing in California. Mejia worked as a

delivery driver for FedEx in California from approximately 2021 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mejia has been

eligible to receive overtime pay under the FLSA because Mejia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1443. Plaintiff Antonio Melo is an individual residing in California. Melo worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Melo has been

eligible to receive overtime pay under the FLSA because Melo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1444. Plaintiff Herber Membreno is an individual residing in California. Membreno

worked as a delivery driver for FedEx in California from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Membreno has been eligible to receive overtime pay under the FLSA because Membreno has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1445. Plaintiff Daniel Menchaca is an individual residing in California. Menchaca

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Menchaca has been eligible to receive



                                               501
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 502 of 3128




overtime pay under the FLSA because Menchaca has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1446. Plaintiff Mario Mendez is an individual residing in California. Mendez worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mendez has been

eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1447. Plaintiff Jonathon Mendiola is an individual residing in California. Mendiola

worked as a delivery driver for FedEx in California from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mendiola has been eligible to receive overtime pay under the FLSA because Mendiola has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1448. Plaintiff Jesus Mendoza is an individual residing in California. Mendoza worked

as a delivery driver for FedEx in California from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mendoza has been

eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1449. Plaintiff Jeff Mendoza is an individual residing in California. Mendoza worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mendoza has been



                                              502
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 503 of 3128




eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1450. Plaintiff Guadalupe Mendoza is an individual residing in California. Mendoza

worked as a delivery driver for FedEx in California from approximately 2002 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mendoza

has been eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1451. Plaintiff Octavio Mendoza - Lizarraga is an individual residing in California.

Mendoza - Lizarraga worked as a delivery driver for FedEx in California from approximately

2017 to 2018 but was employed through intermediary entities that FedEx calls independent

service providers. Mendoza - Lizarraga has been eligible to receive overtime pay under the

FLSA because Mendoza - Lizarraga has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        1452. Plaintiff Tomas Mendoza Arechiga is an individual residing in California.

Mendoza Arechiga worked as a delivery driver for FedEx in California from approximately 2015

to 2022 but was employed through intermediary entities that FedEx calls independent service

providers. Mendoza Arechiga has been eligible to receive overtime pay under the FLSA because

Mendoza Arechiga has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1453. Plaintiff Xavier Menjivar is an individual residing in California. Menjivar worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed



                                               503
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 504 of 3128




through intermediary entities that FedEx calls independent service providers. Menjivar has been

eligible to receive overtime pay under the FLSA because Menjivar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1454. Plaintiff Daniel Mep is an individual residing in California. Mep worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Mep has been eligible to receive overtime pay under

the FLSA because Mep has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1455. Plaintiff Jaime Mercado is an individual residing in California. Mercado worked

as a delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mercado has been

eligible to receive overtime pay under the FLSA because Mercado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1456. Plaintiff Mathew Mihalus is an individual residing in California. Mihalus worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mihalus has been

eligible to receive overtime pay under the FLSA because Mihalus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1457. Plaintiff Curt Miller is an individual residing in California. Miller worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                               504
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 505 of 3128




FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1458. Plaintiff Jhojitt Miniano is an individual residing in California. Miniano worked

as a delivery driver for FedEx in California from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Miniano has been

eligible to receive overtime pay under the FLSA because Miniano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1459. Plaintiff Louis Mischeaux is an individual residing in California. Mischeaux

worked as a delivery driver for FedEx in California from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mischeaux has been eligible to receive overtime pay under the FLSA because Mischeaux has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1460. Plaintiff Brett Misell is an individual residing in California. Misell worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Misell has been

eligible to receive overtime pay under the FLSA because Misell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1461. Plaintiff Dalton Mitchell is an individual residing in California. Mitchell worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed



                                                505
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 506 of 3128




through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1462. Plaintiff Phillip Mitchell is an individual residing in California. Mitchell worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1463. Plaintiff William Mitchell is an individual residing in California. Mitchell worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1464. Plaintiff Victor Molina is an individual residing in California. Molina worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Molina has been eligible to receive overtime pay

under the FLSA because Molina has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1465. Plaintiff Michael Mondello is an individual residing in California. Mondello

worked as a delivery driver for FedEx in California from approximately 2018 to 2021 but was



                                               506
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 507 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Mondello has been eligible to receive overtime pay under the FLSA because Mondello has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1466. Plaintiff Jose Mondragon is an individual residing in California. Mondragon

worked as a delivery driver for FedEx in California from approximately 2005 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Mondragon has been eligible to receive overtime pay under the FLSA because Mondragon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1467. Plaintiff Tanner Montano is an individual residing in California. Montano worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Montano has been

eligible to receive overtime pay under the FLSA because Montano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1468. Plaintiff Manuel Montepeque is an individual residing in California. Montepeque

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Montepeque has been eligible to receive

overtime pay under the FLSA because Montepeque has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1469. Plaintiff Isaac Montes is an individual residing in California. Montes worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed



                                              507
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 508 of 3128




through intermediary entities that FedEx calls independent service providers. Montes has been

eligible to receive overtime pay under the FLSA because Montes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1470. Plaintiff Dominic Montgomery is an individual residing in California.

Montgomery worked as a delivery driver for FedEx in California from approximately 2015 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Montgomery has been eligible to receive overtime pay under the FLSA because

Montgomery has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1471. Plaintiff Michael Moore is an individual residing in California. Moore worked as

a delivery driver for FedEx in California from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1472. Plaintiff Steven Moore is an individual residing in California. Moore worked as a

delivery driver for FedEx in California and Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Moore has been eligible to receive

overtime pay under the FLSA because Moore has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1473. Plaintiff Jeffery Moore is an individual residing in California. Moore worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed



                                               508
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 509 of 3128




through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1474. Plaintiff Eduardo Mora is an individual residing in California. Mora worked as a

delivery driver for FedEx in California from approximately 1996 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mora has been

eligible to receive overtime pay under the FLSA because Mora has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1475. Plaintiff Jose Morales is an individual residing in California. Morales worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1476. Plaintiff Diego Morales is an individual residing in California. Morales worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               509
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 510 of 3128




        1477. Plaintiff Victor Moran is an individual residing in California. Moran worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Moran has been eligible to receive overtime pay

under the FLSA because Moran has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1478. Plaintiff Edwin Moran is an individual residing in California. Moran worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moran has been

eligible to receive overtime pay under the FLSA because Moran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1479. Plaintiff Danny Morataya is an individual residing in California. Morataya

worked as a delivery driver for FedEx in California from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Morataya has been eligible to receive overtime pay under the FLSA because Morataya has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1480. Plaintiff Gary Moreau is an individual residing in California. Moreau worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Moreau has been eligible to receive overtime pay

under the FLSA because Moreau has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              510
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 511 of 3128




        1481. Plaintiff Hector Moreno is an individual residing in California. Moreno worked as

a delivery driver for FedEx in California from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1482. Plaintiff Eloy Moreno is an individual residing in California. Moreno worked as a

delivery driver for FedEx in California from approximately 2003 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1483. Plaintiff Martin Moreno is an individual residing in California. Moreno worked as

a delivery driver for FedEx in California from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1484. Plaintiff Vicente Moreno is an individual residing in California. Moreno worked

as a delivery driver for FedEx in California from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing




                                              511
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 512 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1485. Plaintiff Mark Morgado is an individual residing in California. Morgado worked

as a delivery driver for FedEx in California from approximately 1990 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Morgado has been

eligible to receive overtime pay under the FLSA because Morgado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1486. Plaintiff Matthew Moro is an individual residing in California. Moro worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moro has been

eligible to receive overtime pay under the FLSA because Moro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1487. Plaintiff Brandon Morris is an individual residing in California. Morris worked as

a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1488. Plaintiff Charles Mosby is an individual residing in California. Mosby worked as

a delivery driver for FedEx in California from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mosby has been



                                              512
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 513 of 3128




eligible to receive overtime pay under the FLSA because Mosby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1489. Plaintiff Marcus Mosley is an individual residing in California. Mosley worked as

a delivery driver for FedEx in California from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mosley has been

eligible to receive overtime pay under the FLSA because Mosley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1490. Plaintiff Ronnie Mosqueda is an individual residing in California. Mosqueda

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Mosqueda has been eligible to receive

overtime pay under the FLSA because Mosqueda has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1491. Plaintiff Zachary Mostad is an individual residing in California. Mostad worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mostad has been

eligible to receive overtime pay under the FLSA because Mostad has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1492. Plaintiff Frank Munoz is an individual residing in California. Munoz worked as a

delivery driver for FedEx in California from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Munoz has been



                                              513
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 514 of 3128




eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1493. Plaintiff Jesus Munoz is an individual residing in California. Munoz worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Munoz has been

eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1494. Plaintiff Atanacio Munoz is an individual residing in California. Munoz worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Munoz has been eligible to receive overtime pay

under the FLSA because Munoz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1495. Plaintiff Michael Munoz is an individual residing in California. Munoz worked as

a delivery driver for FedEx in California from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Munoz has been

eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1496. Plaintiff Rodolfo Munoz-Noriega is an individual residing in California. Munoz-

Noriega worked as a delivery driver for FedEx in California from approximately 2016 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.



                                              514
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 515 of 3128




Munoz-Noriega has been eligible to receive overtime pay under the FLSA because Munoz-

Noriega has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1497. Plaintiff John Muraro is an individual residing in California. Muraro worked as a

delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Muraro has been

eligible to receive overtime pay under the FLSA because Muraro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1498. Plaintiff Steven Murray is an individual residing in California. Murray worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Murray has been eligible to receive overtime pay

under the FLSA because Murray has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1499. Plaintiff Praveen Naidu is an individual residing in California. Naidu worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Naidu has been eligible to receive overtime pay

under the FLSA because Naidu has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1500. Plaintiff Eduardo Najera is an individual residing in California. Najera worked as

a delivery driver for FedEx in California from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Najera has been

eligible to receive overtime pay under the FLSA because Najera has driven a vehicle weighing



                                               515
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 516 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1501. Plaintiff Ren Nakanote is an individual residing in California. Nakanote worked

as a delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Nakanote has been

eligible to receive overtime pay under the FLSA because Nakanote has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1502. Plaintiff Mario Naranjo is an individual residing in California. Naranjo worked as

a delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Naranjo has been

eligible to receive overtime pay under the FLSA because Naranjo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1503. Plaintiff Rafael Nascimento is an individual residing in California. Nascimento

worked as a delivery driver for FedEx in California from approximately 2004 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Nascimento has been eligible to receive overtime pay under the FLSA because Nascimento has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1504. Plaintiff Joselito Natnat is an individual residing in California. Natnat worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Natnat has been eligible to receive overtime pay



                                               516
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 517 of 3128




under the FLSA because Natnat has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1505. Plaintiff Roger Nava is an individual residing in California. Nava worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Nava has been

eligible to receive overtime pay under the FLSA because Nava has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1506. Plaintiff Jose Navarrete Miranda is an individual residing in California. Navarrete

Miranda worked as a delivery driver for FedEx in California from approximately 2016 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Navarrete Miranda has been eligible to receive overtime pay under the FLSA because Navarrete

Miranda has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1507. Plaintiff Sumeet Neigah is an individual residing in Nevada. Neigah worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Neigah has been eligible to receive overtime pay

under the FLSA because Neigah has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1508. Plaintiff Joshua Newman is an individual residing in California. Newman worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Newman has been

eligible to receive overtime pay under the FLSA because Newman has driven a vehicle weighing



                                               517
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 518 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1509. Plaintiff Tran Ngo is an individual residing in California. Ngo worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ngo has been eligible to receive overtime pay under

the FLSA because Ngo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1510. Plaintiff Nhat Ngo is an individual residing in California. Ngo worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ngo has been eligible to receive overtime pay under

the FLSA because Ngo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1511. Plaintiff Thien Ngo is an individual residing in California. Ngo worked as a

delivery driver for FedEx in California from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ngo has been

eligible to receive overtime pay under the FLSA because Ngo has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1512. Plaintiff Tung Nguyen is an individual residing in California. Nguyen worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Nguyen has been

eligible to receive overtime pay under the FLSA because Nguyen has driven a vehicle weighing




                                              518
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 519 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1513. Plaintiff Vy Nguyen is an individual residing in California. Nguyen worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Nguyen has been

eligible to receive overtime pay under the FLSA because Nguyen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1514. Plaintiff Thom Nguyen is an individual residing in Texas. Nguyen worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Nguyen has been

eligible to receive overtime pay under the FLSA because Nguyen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1515. Plaintiff Antonio Nguyen is an individual residing in California. Nguyen worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Nguyen has been eligible to receive overtime pay

under the FLSA because Nguyen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1516. Plaintiff Federico Nieto is an individual residing in California. Nieto worked as a

delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Nieto has been

eligible to receive overtime pay under the FLSA because Nieto has driven a vehicle weighing



                                               519
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 520 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1517. Plaintiff David Nieto is an individual residing in Nevada. Nieto worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Nieto has been eligible to receive overtime pay under

the FLSA because Nieto has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1518. Plaintiff Jose Nieto is an individual residing in California. Nieto worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nieto has been

eligible to receive overtime pay under the FLSA because Nieto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1519. Plaintiff Melissa Nieto is an individual residing in California. Nieto worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Nieto has been

eligible to receive overtime pay under the FLSA because Nieto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1520. Plaintiff Myron Novak is an individual residing in California. Novak worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Novak has been eligible to receive overtime pay




                                               520
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 521 of 3128




under the FLSA because Novak has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1521. Plaintiff Shaun Numera is an individual residing in California. Numera worked as

a delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Numera has been

eligible to receive overtime pay under the FLSA because Numera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1522. Plaintiff Narcis Numic is an individual residing in California. Numic worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Numic has been

eligible to receive overtime pay under the FLSA because Numic has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1523. Plaintiff Cinthia Nunez is an individual residing in California. Nunez worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Nunez has been

eligible to receive overtime pay under the FLSA because Nunez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1524. Plaintiff Jose Nunez is an individual residing in California. Nunez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Nunez has been eligible to receive overtime pay



                                              521
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 522 of 3128




under the FLSA because Nunez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1525. Plaintiff Joseph Oborny is an individual residing in California. Oborny worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Oborny has been eligible to receive overtime pay

under the FLSA because Oborny has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1526. Plaintiff Raymond Obrador is an individual residing in California. Obrador

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Obrador

has been eligible to receive overtime pay under the FLSA because Obrador has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1527. Plaintiff Terrence Obrien is an individual residing in California. Obrien worked as

a delivery driver for FedEx in California from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Obrien has been

eligible to receive overtime pay under the FLSA because Obrien has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1528. Plaintiff Cristian Ocampo is an individual residing in California. Ocampo worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ocampo has been

eligible to receive overtime pay under the FLSA because Ocampo has driven a vehicle weighing



                                               522
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 523 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1529. Plaintiff Samuel Ochoa is an individual residing in California. Ochoa worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ochoa has been

eligible to receive overtime pay under the FLSA because Ochoa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1530. Plaintiff Jeremy Ofarrell is an individual residing in California. Ofarrell worked

as a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ofarrell has been

eligible to receive overtime pay under the FLSA because Ofarrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1531. Plaintiff Cedric Ogamba is an individual residing in California. Ogamba worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ogamba has been eligible to receive overtime pay

under the FLSA because Ogamba has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1532. Plaintiff Shanequa Okray is an individual residing in California. Okray worked as

a delivery driver for FedEx in California from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Okray has been

eligible to receive overtime pay under the FLSA because Okray has driven a vehicle weighing



                                               523
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 524 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1533. Plaintiff Javier Olague is an individual residing in California. Olague worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Olague has been eligible to receive overtime pay

under the FLSA because Olague has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1534. Plaintiff Vanessa Oliver is an individual residing in California. Oliver worked as a

delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Oliver has been

eligible to receive overtime pay under the FLSA because Oliver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1535. Plaintiff Dontey Ollie is an individual residing in California. Ollie worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ollie has been

eligible to receive overtime pay under the FLSA because Ollie has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1536. Plaintiff Miguel Olloque is an individual residing in California. Olloque worked

as a delivery driver for FedEx in California from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Olloque has been

eligible to receive overtime pay under the FLSA because Olloque has driven a vehicle weighing



                                               524
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 525 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1537. Plaintiff Brad Olson is an individual residing in California. Olson worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Olson has been

eligible to receive overtime pay under the FLSA because Olson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1538. Plaintiff Samuel Orcine Jr is an individual residing in California. Orcine Jr

worked as a delivery driver for FedEx in California from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Orcine Jr

has been eligible to receive overtime pay under the FLSA because Orcine Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1539. Plaintiff Maurice Orellana is an individual residing in California. Orellana worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Orellana has been

eligible to receive overtime pay under the FLSA because Orellana has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1540. Plaintiff Kristian Orellana is an individual residing in California. Orellana worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Orellana has been



                                               525
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 526 of 3128




eligible to receive overtime pay under the FLSA because Orellana has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1541. Plaintiff Florencio Orendain is an individual residing in California. Orendain

worked as a delivery driver for FedEx in California from approximately 2000 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Orendain

has been eligible to receive overtime pay under the FLSA because Orendain has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1542. Plaintiff Damian Orosco is an individual residing in California. Orosco worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Orosco has been

eligible to receive overtime pay under the FLSA because Orosco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1543. Plaintiff Ricky Orozco is an individual residing in California. Orozco worked as a

delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Orozco has been

eligible to receive overtime pay under the FLSA because Orozco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1544. Plaintiff Victor Orozco Rojas is an individual residing in California. Orozco Rojas

worked as a delivery driver for FedEx in California from approximately 2014 to 2024 but was



                                               526
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 527 of 3128




employed through intermediary entities that FedEx calls independent service providers. Orozco

Rojas has been eligible to receive overtime pay under the FLSA because Orozco Rojas has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1545. Plaintiff Kevin Ortega is an individual residing in California. Ortega worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ortega has been

eligible to receive overtime pay under the FLSA because Ortega has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1546. Plaintiff Pedro Ortega Lopez is an individual residing in California. Ortega Lopez

worked as a delivery driver for FedEx in California from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Ortega

Lopez has been eligible to receive overtime pay under the FLSA because Ortega Lopez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1547. Plaintiff Jorge Ortega Ortega is an individual residing in California. Ortega

Ortega worked as a delivery driver for FedEx in California from approximately 2013 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Ortega Ortega has been eligible to receive overtime pay under the FLSA because Ortega Ortega

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.




                                               527
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 528 of 3128




        1548. Plaintiff David Orth is an individual residing in California. Orth worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Orth has been

eligible to receive overtime pay under the FLSA because Orth has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1549. Plaintiff Francisco Ortiz is an individual residing in California. Ortiz worked as a

delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ortiz has been

eligible to receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1550. Plaintiff Daniel Ortiz is an individual residing in California. Ortiz worked as a

delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ortiz has been

eligible to receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1551. Plaintiff Luis Ortiz is an individual residing in California. Ortiz worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ortiz has been

eligible to receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing




                                                528
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 529 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1552. Plaintiff Jose Ortiz Covarrubias is an individual residing in California. Ortiz

Covarrubias worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. Ortiz Covarrubias has been

eligible to receive overtime pay under the FLSA because Ortiz Covarrubias has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1553. Plaintiff Rodrigo Osorio is an individual residing in California. Osorio worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Osorio has been

eligible to receive overtime pay under the FLSA because Osorio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1554. Plaintiff David Osuna is an individual residing in California. Osuna worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Osuna has been

eligible to receive overtime pay under the FLSA because Osuna has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1555. Plaintiff Ricardo Pacheco is an individual residing in California. Pacheco worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pacheco has been



                                                529
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 530 of 3128




eligible to receive overtime pay under the FLSA because Pacheco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1556. Plaintiff Enrique Pacheco is an individual residing in California. Pacheco worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Pacheco has been eligible to receive overtime pay

under the FLSA because Pacheco has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1557. Plaintiff Helix Padilla is an individual residing in California. Padilla worked as a

delivery driver for FedEx in California from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Padilla has been

eligible to receive overtime pay under the FLSA because Padilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1558. Plaintiff Eduardo Padilla is an individual residing in California. Padilla worked as

a delivery driver for FedEx in California from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Padilla has been

eligible to receive overtime pay under the FLSA because Padilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1559. Plaintiff Armando Padilla is an individual residing in California. Padilla worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Padilla has been eligible to receive overtime pay



                                                530
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 531 of 3128




under the FLSA because Padilla has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1560. Plaintiff Robert Palacios is an individual residing in Arizona. Palacios worked as

a delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Palacios has been

eligible to receive overtime pay under the FLSA because Palacios has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1561. Plaintiff Joseph Palau is an individual residing in California. Palau worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Palau has been eligible to receive overtime pay under

the FLSA because Palau has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1562. Plaintiff Reggie Palmer is an individual residing in California. Palmer worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Palmer has been eligible to receive overtime pay

under the FLSA because Palmer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1563. Plaintiff Juan Paniagua is an individual residing in California. Paniagua worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Paniagua has been

eligible to receive overtime pay under the FLSA because Paniagua has driven a vehicle weighing




                                               531
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 532 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1564. Plaintiff Kevin Pannthay is an individual residing in California. Pannthay worked

as a delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pannthay has been

eligible to receive overtime pay under the FLSA because Pannthay has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1565. Plaintiff Jorge Pantoja is an individual residing in California. Pantoja worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pantoja has been

eligible to receive overtime pay under the FLSA because Pantoja has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1566. Plaintiff Artis Parker is an individual residing in California. Parker worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1567. Plaintiff Freddie Parra is an individual residing in California. Parra worked as a

delivery driver for FedEx in California from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Parra has been



                                               532
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 533 of 3128




eligible to receive overtime pay under the FLSA because Parra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1568. Plaintiff Marwin Parra is an individual residing in California. Parra worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Parra has been

eligible to receive overtime pay under the FLSA because Parra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1569. Plaintiff Darryl Paschel is an individual residing in California. Paschel worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Paschel has been eligible to receive overtime pay

under the FLSA because Paschel has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1570. Plaintiff Allison Pascoe-Salinas is an individual residing in California. Pascoe-

Salinas worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Pascoe-Salinas has been eligible to receive overtime pay under the FLSA because Pascoe-Salinas

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1571. Plaintiff Erick Pastran is an individual residing in California. Pastran worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pastran has been



                                               533
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 534 of 3128




eligible to receive overtime pay under the FLSA because Pastran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1572. Plaintiff Morey Paul is an individual residing in California. Paul worked as a

delivery driver for FedEx in California from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Paul has been

eligible to receive overtime pay under the FLSA because Paul has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1573. Plaintiff Damon Paz is an individual residing in California. Paz worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Paz has been eligible to receive overtime pay under

the FLSA because Paz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1574. Plaintiff Kenneth Peffer is an individual residing in California. Peffer worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Peffer has been

eligible to receive overtime pay under the FLSA because Peffer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1575. Plaintiff Luis Pena is an individual residing in California. Pena worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pena has been



                                               534
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 535 of 3128




eligible to receive overtime pay under the FLSA because Pena has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1576. Plaintiff Jose Pena is an individual residing in California. Pena worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Pena has been

eligible to receive overtime pay under the FLSA because Pena has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1577. Plaintiff Bryan Pendleton is an individual residing in California. Pendleton

worked as a delivery driver for FedEx in California from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Pendleton has been eligible to receive overtime pay under the FLSA because Pendleton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1578. Plaintiff Edris Perales is an individual residing in California. Perales worked as a

delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Perales has been

eligible to receive overtime pay under the FLSA because Perales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1579. Plaintiff Erick Perez is an individual residing in Texas. Perez worked as a delivery

driver for FedEx in California from approximately 2017 to 2022 but was employed through



                                                535
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 536 of 3128




intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1580. Plaintiff Carlos Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 2010 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1581. Plaintiff Emanuel Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 1997 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1582. Plaintiff Roberto Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1583. Plaintiff Luis Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 2016 to 2018 but was employed



                                               536
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 537 of 3128




through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1584. Plaintiff Eduardo Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Perez has been eligible to receive overtime pay under

the FLSA because Perez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1585. Plaintiff Jose Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1586. Plaintiff Jose Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1587. Plaintiff Ulisses Perez is an individual residing in California. Perez worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed



                                               537
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 538 of 3128




through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1588. Plaintiff Luigui Perez-Martinez is an individual residing in California. Perez-

Martinez worked as a delivery driver for FedEx in California from approximately 2007 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Perez-Martinez has been eligible to receive overtime pay under the FLSA because Perez-

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1589. Plaintiff Andrew Perkins is an individual residing in Nevada. Perkins worked as a

delivery driver for FedEx in California from approximately 2000 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Perkins has been

eligible to receive overtime pay under the FLSA because Perkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1590. Plaintiff Christopher Perry is an individual residing in California. Perry worked as

a delivery driver for FedEx in California from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               538
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 539 of 3128




        1591. Plaintiff Blaine Perry is an individual residing in California. Perry worked as a

delivery driver for FedEx in California from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1592. Plaintiff William Phu is an individual residing in California. Phu worked as a

delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Phu has been

eligible to receive overtime pay under the FLSA because Phu has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1593. Plaintiff Aaron Pickett is an individual residing in California. Pickett worked as a

delivery driver for FedEx in California from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Pickett has been

eligible to receive overtime pay under the FLSA because Pickett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1594. Plaintiff Janell Pierre is an individual residing in California. Pierre worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Pierre has been eligible to receive overtime pay under

the FLSA because Pierre has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                                539
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 540 of 3128




        1595. Plaintiff Pedro Pina is an individual residing in California. Pina worked as a

delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pina has been

eligible to receive overtime pay under the FLSA because Pina has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1596. Plaintiff Ryan Pineda is an individual residing in California. Pineda worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pineda has been

eligible to receive overtime pay under the FLSA because Pineda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1597. Plaintiff Genaro Medina is an individual residing in California. Pinkerman

worked as a delivery driver for FedEx in California from approximately 2012 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Pinkerman has been eligible to receive overtime pay under the FLSA because Pinkerman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1598. Plaintiff Daniel Pinon is an individual residing in California. Pinon worked as a

delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pinon has been

eligible to receive overtime pay under the FLSA because Pinon has driven a vehicle weighing




                                               540
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 541 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1599. Plaintiff Scotty Pinuelas is an individual residing in California. Pinuelas worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pinuelas has been

eligible to receive overtime pay under the FLSA because Pinuelas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1600. Plaintiff Tapia Piseno is an individual residing in Colorado. Piseno worked as a

delivery driver for FedEx in California from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Piseno has been

eligible to receive overtime pay under the FLSA because Piseno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1601. Plaintiff Anthony Pope is an individual residing in California. Pope worked as a

delivery driver for FedEx in California from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Pope has been

eligible to receive overtime pay under the FLSA because Pope has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1602. Plaintiff Brian Porras is an individual residing in California. Porras worked as a

delivery driver for FedEx in California from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Porras has been



                                               541
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 542 of 3128




eligible to receive overtime pay under the FLSA because Porras has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1603. Plaintiff Ronald Portillo is an individual residing in California. Portillo worked as

a delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Portillo has been

eligible to receive overtime pay under the FLSA because Portillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1604. Plaintiff Santiago Portillo is an individual residing in California. Portillo worked

as a delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Portillo has been

eligible to receive overtime pay under the FLSA because Portillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1605. Plaintiff Jonas Portillo is an individual residing in South Carolina. Portillo worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Portillo has been eligible to receive overtime pay

under the FLSA because Portillo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1606. Plaintiff Henery Posada is an individual residing in California. Posada worked as

a delivery driver for FedEx in California from approximately 1998 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Posada has been



                                                542
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 543 of 3128




eligible to receive overtime pay under the FLSA because Posada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1607. Plaintiff Ioane Poumele is an individual residing in California. Poumele worked

as a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Poumele has been

eligible to receive overtime pay under the FLSA because Poumele has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1608. Plaintiff Eduardo Pozo is an individual residing in California. Pozo worked as a

delivery driver for FedEx in California from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pozo has been

eligible to receive overtime pay under the FLSA because Pozo has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1609. Plaintiff Daina President is an individual residing in California. President worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. President has been eligible to receive overtime pay

under the FLSA because President has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1610. Plaintiff Jorge Quezada is an individual residing in California. Quezada worked as

a delivery driver for FedEx in California from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Quezada has been



                                               543
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 544 of 3128




eligible to receive overtime pay under the FLSA because Quezada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1611. Plaintiff Alejandro Quijas is an individual residing in California. Quijas worked

as a delivery driver for FedEx in California from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Quijas has been

eligible to receive overtime pay under the FLSA because Quijas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1612. Plaintiff David Quinones is an individual residing in California. Quinones worked

as a delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Quinones has been

eligible to receive overtime pay under the FLSA because Quinones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1613. Plaintiff Carlos Quintanilla is an individual residing in Arizona. Quintanilla

worked as a delivery driver for FedEx in California from approximately 2012 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Quintanilla has been eligible to receive overtime pay under the FLSA because Quintanilla has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1614. Plaintiff Apolonio Quintanilla is an individual residing in California. Quintanilla

worked as a delivery driver for FedEx in California from approximately 2006 to 2020 but was



                                               544
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 545 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Quintanilla has been eligible to receive overtime pay under the FLSA because Quintanilla has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1615. Plaintiff Charles Quintanilla is an individual residing in California. Quintanilla

worked as a delivery driver for FedEx in California from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Quintanilla has been eligible to receive overtime pay under the FLSA because Quintanilla has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1616. Plaintiff Erick Quintanilla is an individual residing in California. Quintanilla

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Quintanilla has been eligible to receive overtime pay under the FLSA because Quintanilla has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1617. Plaintiff Humberto Quintero is an individual residing in California. Quintero

worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Quintero

has been eligible to receive overtime pay under the FLSA because Quintero has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               545
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 546 of 3128




        1618. Plaintiff Benjamin Quitugua is an individual residing in California. Quitugua

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Quitugua

has been eligible to receive overtime pay under the FLSA because Quitugua has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1619. Plaintiff Anthony Rabena is an individual residing in California. Rabena worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Rabena has been eligible to receive overtime pay

under the FLSA because Rabena has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1620. Plaintiff Jesus Radillo is an individual residing in California. Radillo worked as a

delivery driver for FedEx in California from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Radillo has been

eligible to receive overtime pay under the FLSA because Radillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1621. Plaintiff Jordan Radoc is an individual residing in California. Radoc worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Radoc has been eligible to receive overtime pay

under the FLSA because Radoc has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                               546
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 547 of 3128




        1622. Plaintiff Joseph Rafferty is an individual residing in California. Rafferty worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rafferty has been

eligible to receive overtime pay under the FLSA because Rafferty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1623. Plaintiff Gurjeet Rai is an individual residing in California. Rai worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rai has been

eligible to receive overtime pay under the FLSA because Rai has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1624. Plaintiff Hardev Rai is an individual residing in California. Rai worked as a

delivery driver for FedEx in California from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rai has been

eligible to receive overtime pay under the FLSA because Rai has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1625. Plaintiff Ivan Raigoza is an individual residing in California. Raigoza worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Raigoza has been

eligible to receive overtime pay under the FLSA because Raigoza has driven a vehicle weighing




                                               547
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 548 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1626. Plaintiff David Ramirez is an individual residing in California. Ramirez worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ramirez has been eligible to receive overtime pay

under the FLSA because Ramirez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1627. Plaintiff David Ramirez is an individual residing in California. Ramirez worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ramirez has been

eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1628. Plaintiff Manuel Ramirez is an individual residing in California. Ramirez worked

as a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ramirez has been

eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1629. Plaintiff Federico Ramirez is an individual residing in California. Ramirez

worked as a delivery driver for FedEx in California from approximately 2009 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Ramirez

has been eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle



                                              548
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 549 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1630. Plaintiff Heriberto Ramirez is an individual residing in California. Ramirez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Ramirez has been eligible to receive

overtime pay under the FLSA because Ramirez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1631. Plaintiff Francisco Ramirez is an individual residing in Michigan. Ramirez

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Ramirez

has been eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1632. Plaintiff Nicholas Ramirez is an individual residing in California. Ramirez

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Ramirez has been eligible to receive

overtime pay under the FLSA because Ramirez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1633. Plaintiff Luis Ramirez is an individual residing in California. Ramirez worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ramirez has been

eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing




                                               549
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 550 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1634. Plaintiff Emmanuel Ramirez Patino is an individual residing in California.

Ramirez Patino worked as a delivery driver for FedEx in California from approximately 2018 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Ramirez Patino has been eligible to receive overtime pay under the FLSA because

Ramirez Patino has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1635. Plaintiff Mark Ramos is an individual residing in California. Ramos worked as a

delivery driver for FedEx in California from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1636. Plaintiff Pablo Ramos is an individual residing in California. Ramos worked as a

delivery driver for FedEx in California from approximately 2008 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1637. Plaintiff Michael Ramos is an individual residing in California. Ramos worked as

a delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been



                                              550
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 551 of 3128




eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1638. Plaintiff George Gonzales is an individual residing in California. Ramos worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1639. Plaintiff Jose Ramos is an individual residing in California. Ramos worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ramos has been eligible to receive overtime pay

under the FLSA because Ramos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1640. Plaintiff Carlos Rangel is an individual residing in California. Rangel worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rangel has been

eligible to receive overtime pay under the FLSA because Rangel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1641. Plaintiff Brandon Raposa is an individual residing in California. Raposa worked

as a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Raposa has been



                                               551
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 552 of 3128




eligible to receive overtime pay under the FLSA because Raposa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1642. Plaintiff Derek Ray is an individual residing in California. Ray worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ray has been eligible to receive overtime pay under

the FLSA because Ray has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1643. Plaintiff Maryjoann Rayford is an individual residing in California. Rayford

worked as a delivery driver for FedEx in California from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Rayford

has been eligible to receive overtime pay under the FLSA because Rayford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1644. Plaintiff Octavio Raymundo is an individual residing in California. Raymundo

worked as a delivery driver for FedEx in California from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Raymundo has been eligible to receive overtime pay under the FLSA because Raymundo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1645. Plaintiff Amir Razavi is an individual residing in California. Razavi worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Razavi has been



                                              552
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 553 of 3128




eligible to receive overtime pay under the FLSA because Razavi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1646. Plaintiff Antonio Razon is an individual residing in California. Razon worked as a

delivery driver for FedEx in California from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Razon has been

eligible to receive overtime pay under the FLSA because Razon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1647. Plaintiff Keith Reagan is an individual residing in California. Reagan worked as a

delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Reagan has been

eligible to receive overtime pay under the FLSA because Reagan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1648. Plaintiff Otis Redd is an individual residing in California. Redd worked as a

delivery driver for FedEx in California from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Redd has been

eligible to receive overtime pay under the FLSA because Redd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1649. Plaintiff Amber Reifers is an individual residing in California. Reifers worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed



                                               553
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 554 of 3128




through intermediary entities that FedEx calls independent service providers. Reifers has been

eligible to receive overtime pay under the FLSA because Reifers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1650. Plaintiff John Reliford is an individual residing in California. Reliford worked as

a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Reliford has been

eligible to receive overtime pay under the FLSA because Reliford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1651. Plaintiff Ronald Remmie is an individual residing in California. Remmie worked

as a delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Remmie has been

eligible to receive overtime pay under the FLSA because Remmie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1652. Plaintiff Jovany Resendiz is an individual residing in California. Resendiz worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Resendiz has been eligible to receive overtime pay

under the FLSA because Resendiz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1653. Plaintiff Nathan Reveles is an individual residing in California. Reveles worked

as a delivery driver for FedEx in California from approximately 2013 to 2017 but was employed



                                               554
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 555 of 3128




through intermediary entities that FedEx calls independent service providers. Reveles has been

eligible to receive overtime pay under the FLSA because Reveles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1654. Plaintiff Christian Reyes is an individual residing in California. Reyes worked as

a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Reyes has been

eligible to receive overtime pay under the FLSA because Reyes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1655. Plaintiff Jerry Reyes is an individual residing in California. Reyes worked as a

delivery driver for FedEx in California from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Reyes has been

eligible to receive overtime pay under the FLSA because Reyes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1656. Plaintiff Anthony Reyes is an individual residing in California. Reyes worked as a

delivery driver for FedEx in California from approximately 2009 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Reyes has been

eligible to receive overtime pay under the FLSA because Reyes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               555
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 556 of 3128




        1657. Plaintiff Augustine Reyes is an individual residing in California. Reyes worked as

a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Reyes has been

eligible to receive overtime pay under the FLSA because Reyes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1658. Plaintiff Viktor Reznik is an individual residing in California. Reznik worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Reznik has been eligible to receive overtime pay

under the FLSA because Reznik has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1659. Plaintiff Justin Ribeira is an individual residing in California. Ribeira worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ribeira has been eligible to receive overtime pay

under the FLSA because Ribeira has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1660. Plaintiff Ameer Richmond is an individual residing in California. Richmond

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Richmond has been eligible to receive

overtime pay under the FLSA because Richmond has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1661. Plaintiff Jose Rico Haro is an individual residing in California. Rico Haro worked

as a delivery driver for FedEx in California from approximately 2014 to 2017 but was employed



                                                556
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 557 of 3128




through intermediary entities that FedEx calls independent service providers. Rico Haro has been

eligible to receive overtime pay under the FLSA because Rico Haro has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1662. Plaintiff Jorge Rios is an individual residing in California. Rios worked as a

delivery driver for FedEx in California from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rios has been

eligible to receive overtime pay under the FLSA because Rios has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1663. Plaintiff Israel Rios is an individual residing in California. Rios worked as a

delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rios has been

eligible to receive overtime pay under the FLSA because Rios has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1664. Plaintiff Bernardo Rios is an individual residing in California. Rios worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Rios has been eligible to receive overtime pay under

the FLSA because Rios has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1665. Plaintiff Tito Rivas is an individual residing in Massachusetts. Rivas worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                                557
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 558 of 3128




FedEx calls independent service providers. Rivas has been eligible to receive overtime pay under

the FLSA because Rivas has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1666. Plaintiff Bertha Rivas is an individual residing in California. Rivas worked as a

delivery driver for FedEx in California from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rivas has been

eligible to receive overtime pay under the FLSA because Rivas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1667. Plaintiff Jorge Rivas is an individual residing in California. Rivas worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Rivas has been eligible to receive overtime pay under

the FLSA because Rivas has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1668. Plaintiff Gilbert Rivas is an individual residing in California. Rivas worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rivas has been

eligible to receive overtime pay under the FLSA because Rivas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1669. Plaintiff Gerber Rivas Texin is an individual residing in California. Rivas Texin

worked as a delivery driver for FedEx in California from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rivas



                                               558
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 559 of 3128




Texin has been eligible to receive overtime pay under the FLSA because Rivas Texin has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       1670. Plaintiff Lisseth Rivera Juarez is an individual residing in California. Rivera

Juarez worked as a delivery driver for FedEx in California from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Rivera Juarez has been eligible to receive overtime pay under the FLSA because Rivera Juarez

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       1671. Plaintiff Trent Robbins is an individual residing in California. Robbins worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Robbins has been eligible to receive overtime pay

under the FLSA because Robbins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       1672. Plaintiff Mark Roberson is an individual residing in California. Roberson worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Roberson has been

eligible to receive overtime pay under the FLSA because Roberson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1673. Plaintiff Eli Robinson is an individual residing in California. Robinson worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been



                                              559
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 560 of 3128




eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1674. Plaintiff Alexander Robinson-Meza is an individual residing in California.

Robinson-Meza worked as a delivery driver for FedEx in California from approximately 2017 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Robinson-Meza has been eligible to receive overtime pay under the FLSA because

Robinson-Meza has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1675. Plaintiff Benjamin Robledo is an individual residing in California. Robledo

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Robledo

has been eligible to receive overtime pay under the FLSA because Robledo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1676. Plaintiff Estevan Robles is an individual residing in California. Robles worked as

a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Robles has been

eligible to receive overtime pay under the FLSA because Robles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1677. Plaintiff Kevin Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California but was employed through intermediary



                                               560
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 561 of 3128




entities that FedEx calls independent service providers. Rodriguez has been eligible to receive

overtime pay under the FLSA because Rodriguez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1678. Plaintiff Adolfo Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1679. Plaintiff Isabel Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1680. Plaintiff Jorge Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1681. Plaintiff Miguel Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2017 to 2021 but was



                                               561
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 562 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1682. Plaintiff Alejandro Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1683. Plaintiff Diego Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1684. Plaintiff Javier Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              562
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 563 of 3128




       1685. Plaintiff Rene Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1686. Plaintiff Angel Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2022 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1687. Plaintiff Rafael Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1688. Plaintiff Matias Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has




                                              563
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 564 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1689. Plaintiff Genaro Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1690. Plaintiff Kevin Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1691. Plaintiff Francisco Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in California from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1692. Plaintiff Jose Rodriguez Cantellano Jr is an individual residing in California.

Rodriguez Cantellano Jr worked as a delivery driver for FedEx in California from approximately

2017 to 2019 but was employed through intermediary entities that FedEx calls independent



                                              564
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 565 of 3128




service providers. Rodriguez Cantellano Jr has been eligible to receive overtime pay under the

FLSA because Rodriguez Cantellano Jr has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        1693. Plaintiff Ildefonso Rodriguez Garcia is an individual residing in California.

Rodriguez Garcia worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. Rodriguez Garcia has been

eligible to receive overtime pay under the FLSA because Rodriguez Garcia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1694. Plaintiff Nichols Roesler is an individual residing in California. Roesler worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Roesler has been eligible to receive overtime pay

under the FLSA because Roesler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1695. Plaintiff Isaias Rojas is an individual residing in California. Rojas worked as a

delivery driver for FedEx in California from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rojas has been

eligible to receive overtime pay under the FLSA because Rojas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1696. Plaintiff Fermin Rojas is an individual residing in California. Rojas worked as a

delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rojas has been



                                               565
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 566 of 3128




eligible to receive overtime pay under the FLSA because Rojas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1697. Plaintiff Rigoberto Romero is an individual residing in California. Romero

worked as a delivery driver for FedEx in California from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Romero

has been eligible to receive overtime pay under the FLSA because Romero has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1698. Plaintiff Julio Romero is an individual residing in California. Romero worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Romero has been eligible to receive overtime pay

under the FLSA because Romero has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1699. Plaintiff Ramon Romero is an individual residing in California. Romero worked

as a delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Romero has been

eligible to receive overtime pay under the FLSA because Romero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1700. Plaintiff Juan Romero Avila is an individual residing in California. Romero Avila

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Romero Avila has been eligible to



                                              566
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 567 of 3128




receive overtime pay under the FLSA because Romero Avila has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1701. Plaintiff Carlos Rosas is an individual residing in California. Rosas worked as a

delivery driver for FedEx in California from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rosas has been

eligible to receive overtime pay under the FLSA because Rosas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1702. Plaintiff Bennie Roseburr is an individual residing in California. Roseburr worked

as a delivery driver for FedEx in California from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Roseburr has been

eligible to receive overtime pay under the FLSA because Roseburr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1703. Plaintiff Saeid Roshanmanesh is an individual residing in California.

Roshanmanesh worked as a delivery driver for FedEx in California from approximately 2015 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Roshanmanesh has been eligible to receive overtime pay under the FLSA because

Roshanmanesh has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1704. Plaintiff Esbin Rossel is an individual residing in California. Rossel worked as a

delivery driver for FedEx in California from approximately 2004 to 2024 but was employed



                                               567
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 568 of 3128




through intermediary entities that FedEx calls independent service providers. Rossel has been

eligible to receive overtime pay under the FLSA because Rossel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1705. Plaintiff Curt Roy Jr. is an individual residing in California. Roy Jr. worked as a

delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Roy Jr. has been

eligible to receive overtime pay under the FLSA because Roy Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1706. Plaintiff Lorenzo Rubalcava is an individual residing in California. Rubalcava

worked as a delivery driver for FedEx in California from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Rubalcava has been eligible to receive overtime pay under the FLSA because Rubalcava has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1707. Plaintiff Christian Rubi is an individual residing in California. Rubi worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rubi has been

eligible to receive overtime pay under the FLSA because Rubi has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               568
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 569 of 3128




        1708. Plaintiff Antonio Rufino is an individual residing in California. Rufino worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rufino has been

eligible to receive overtime pay under the FLSA because Rufino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1709. Plaintiff Fernando Ruiz is an individual residing in Texas. Ruiz worked as a

delivery driver for FedEx in California from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ruiz has been

eligible to receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1710. Plaintiff Miguel Ruiz is an individual residing in California. Ruiz worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ruiz has been

eligible to receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1711. Plaintiff Joel Ruiz is an individual residing in California. Ruiz worked as a

delivery driver for FedEx in California from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ruiz has been

eligible to receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less




                                               569
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 570 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1712. Plaintiff Ignacio Ruiz is an individual residing in California. Ruiz worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ruiz has been

eligible to receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1713. Plaintiff Mario Ruiz is an individual residing in California. Ruiz worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ruiz has been eligible to receive overtime pay under

the FLSA because Ruiz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1714. Plaintiff Ulises Ruiz is an individual residing in California. Ruiz worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Ruiz has been eligible to receive overtime pay under

the FLSA because Ruiz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1715. Plaintiff Elizabeth Ruiz is an individual residing in Texas. Ruiz worked as a

delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ruiz has been

eligible to receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less




                                               570
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 571 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1716. Plaintiff Edgar Ruiz-Lopez is an individual residing in California. Ruiz-Lopez

worked as a delivery driver for FedEx in California from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ruiz-

Lopez has been eligible to receive overtime pay under the FLSA because Ruiz-Lopez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1717. Plaintiff Calvin Rush is an individual residing in California. Rush worked as a

delivery driver for FedEx in California from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rush has been

eligible to receive overtime pay under the FLSA because Rush has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1718. Plaintiff Yao Saechao is an individual residing in California. Saechao worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Saechao has been

eligible to receive overtime pay under the FLSA because Saechao has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1719. Plaintiff Michael Saechao is an individual residing in California. Saechao worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Saechao has been



                                               571
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 572 of 3128




eligible to receive overtime pay under the FLSA because Saechao has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1720. Plaintiff Nai Saechao is an individual residing in California. Saechao worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Saechao has been

eligible to receive overtime pay under the FLSA because Saechao has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1721. Plaintiff Andrew Safarik is an individual residing in California. Safarik worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Safarik has been eligible to receive overtime pay

under the FLSA because Safarik has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1722. Plaintiff Louda Salais is an individual residing in California. Salais worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Salais has been

eligible to receive overtime pay under the FLSA because Salais has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1723. Plaintiff Sammy Salas is an individual residing in California. Salas worked as a

delivery driver for FedEx in California from approximately 2010 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Salas has been



                                               572
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 573 of 3128




eligible to receive overtime pay under the FLSA because Salas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1724. Plaintiff Anthony Salazar is an individual residing in California. Salazar worked

as a delivery driver for FedEx in California from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Salazar has been

eligible to receive overtime pay under the FLSA because Salazar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1725. Plaintiff Alan Salgado is an individual residing in California. Salgado worked as a

delivery driver for FedEx in California from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Salgado has been

eligible to receive overtime pay under the FLSA because Salgado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1726. Plaintiff Hector Salgado is an individual residing in California. Salgado worked as

a delivery driver for FedEx in California from approximately 2010 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Salgado has been

eligible to receive overtime pay under the FLSA because Salgado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1727. Plaintiff Carlos Sanchez is an individual residing in California. Sanchez worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed



                                               573
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 574 of 3128




through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1728. Plaintiff Jacob Sanchez is an individual residing in California. Sanchez worked as

a delivery driver for FedEx in California from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1729. Plaintiff Alan Sanchez is an individual residing in California. Sanchez worked as

a delivery driver for FedEx in California from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1730. Plaintiff Christian Sanchez is an individual residing in California. Sanchez

worked as a delivery driver for FedEx in California from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Sanchez

has been eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               574
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 575 of 3128




        1731. Plaintiff Pedro Sanchez is an individual residing in California. Sanchez worked as

a delivery driver for FedEx in California from approximately 2012 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1732. Plaintiff Ricardo Sanchez is an individual residing in California. Sanchez worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1733. Plaintiff Jonathan Sanders Castellanos is an individual residing in California.

Sanders Castellanos worked as a delivery driver for FedEx in California but was employed

through intermediary entities that FedEx calls independent service providers. Sanders

Castellanos has been eligible to receive overtime pay under the FLSA because Sanders

Castellanos has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1734. Plaintiff David Sanford is an individual residing in California. Sanford worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Sanford has been eligible to receive overtime pay

under the FLSA because Sanford has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               575
    Case 2:24-cv-01129-RJC            Document 1       Filed 08/06/24      Page 576 of 3128




        1735. Plaintiff Tomas Santillan Jr. is an individual residing in California. Santillan Jr.

worked as a delivery driver for FedEx in California from approximately 2008 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Santillan

Jr. has been eligible to receive overtime pay under the FLSA because Santillan Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1736. Plaintiff Eric Santos is an individual residing in California. Santos worked as a

delivery driver for FedEx in California from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Santos has been

eligible to receive overtime pay under the FLSA because Santos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1737. Plaintiff Ariestotle Santos is an individual residing in California. Santos worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Santos has been

eligible to receive overtime pay under the FLSA because Santos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1738. Plaintiff Manuel Santoyo is an individual residing in California. Santoyo worked

as a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Santoyo has been

eligible to receive overtime pay under the FLSA because Santoyo has driven a vehicle weighing




                                                576
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 577 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1739. Plaintiff David Santoyo is an individual residing in California. Santoyo worked as

a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Santoyo has been

eligible to receive overtime pay under the FLSA because Santoyo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1740. Plaintiff Jason Sao is an individual residing in California. Sao worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sao has been

eligible to receive overtime pay under the FLSA because Sao has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1741. Plaintiff Sophan Sar is an individual residing in California. Sar worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Sar has been

eligible to receive overtime pay under the FLSA because Sar has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1742. Plaintiff Zachary Sargent is an individual residing in California. Sargent worked

as a delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sargent has been



                                               577
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 578 of 3128




eligible to receive overtime pay under the FLSA because Sargent has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1743. Plaintiff Jose Saucedo is an individual residing in California. Saucedo worked as

a delivery driver for FedEx in California from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Saucedo has been

eligible to receive overtime pay under the FLSA because Saucedo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1744. Plaintiff Kyle Schilling is an individual residing in California. Schilling worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Schilling has been eligible to receive overtime pay

under the FLSA because Schilling has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1745. Plaintiff Paul Sciulli is an individual residing in Pennsylvania. Sciulli worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sciulli has been

eligible to receive overtime pay under the FLSA because Sciulli has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1746. Plaintiff Anthony Scott is an individual residing in California. Scott worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Scott has been eligible to receive overtime pay under



                                                578
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 579 of 3128




the FLSA because Scott has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1747. Plaintiff Ali Scott is an individual residing in California. Scott worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Scott has been eligible to receive overtime pay under

the FLSA because Scott has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1748. Plaintiff Edward Scott Iii is an individual residing in California. Scott Iii worked

as a delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Scott Iii has been

eligible to receive overtime pay under the FLSA because Scott Iii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1749. Plaintiff Jeffrey Scull is an individual residing in California. Scull worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Scull has been eligible to receive overtime pay under

the FLSA because Scull has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1750. Plaintiff Michile Seals is an individual residing in California. Seals worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Seals has been

eligible to receive overtime pay under the FLSA because Seals has driven a vehicle weighing




                                                579
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 580 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1751. Plaintiff Carl Seats is an individual residing in California. Seats worked as a

delivery driver for FedEx in California from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Seats has been

eligible to receive overtime pay under the FLSA because Seats has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1752. Plaintiff Marco Segoviano is an individual residing in California. Segoviano

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Segoviano has been eligible to receive

overtime pay under the FLSA because Segoviano has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1753. Plaintiff Elizabeth Segura Salvatierra is an individual residing in California.

Segura Salvatierra worked as a delivery driver for FedEx in California but was employed

through intermediary entities that FedEx calls independent service providers. Segura Salvatierra

has been eligible to receive overtime pay under the FLSA because Segura Salvatierra has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1754. Plaintiff Travis Selle is an individual residing in California. Selle worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Selle has been

eligible to receive overtime pay under the FLSA because Selle has driven a vehicle weighing less



                                                580
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 581 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1755. Plaintiff Robert Sena is an individual residing in California. Sena worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sena has been

eligible to receive overtime pay under the FLSA because Sena has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1756. Plaintiff George Sengrasaphon is an individual residing in California.

Sengrasaphon worked as a delivery driver for FedEx in California but was employed through

intermediary entities that FedEx calls independent service providers. Sengrasaphon has been

eligible to receive overtime pay under the FLSA because Sengrasaphon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1757. Plaintiff Frederick Sequeira is an individual residing in California. Sequeira

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Sequeira has been eligible to receive

overtime pay under the FLSA because Sequeira has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1758. Plaintiff Melissa Serna is an individual residing in California. Serna worked as a

delivery driver for FedEx in California from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Serna has been

eligible to receive overtime pay under the FLSA because Serna has driven a vehicle weighing



                                               581
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 582 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1759. Plaintiff Jason Seuth is an individual residing in California. Seuth worked as a

delivery driver for FedEx in California from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Seuth has been

eligible to receive overtime pay under the FLSA because Seuth has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1760. Plaintiff Alfono Shabazz is an individual residing in California. Shabazz worked

as a delivery driver for FedEx in California from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Shabazz has been

eligible to receive overtime pay under the FLSA because Shabazz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1761. Plaintiff Ricky Sharma is an individual residing in California. Sharma worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Sharma has been eligible to receive overtime pay

under the FLSA because Sharma has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1762. Plaintiff Eric Shrewsbury is an individual residing in Illinois. Shrewsbury worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Shrewsbury has

been eligible to receive overtime pay under the FLSA because Shrewsbury has driven a vehicle



                                               582
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 583 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1763. Plaintiff Aaron Shuster is an individual residing in California. Shuster worked as

a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shuster has been

eligible to receive overtime pay under the FLSA because Shuster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1764. Plaintiff Danny Sibounheuang is an individual residing in California.

Sibounheuang worked as a delivery driver for FedEx in California from approximately 2014 to

2021 but was employed through intermediary entities that FedEx calls independent service

providers. Sibounheuang has been eligible to receive overtime pay under the FLSA because

Sibounheuang has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1765. Plaintiff Dimas Sibrian Galdamez is an individual residing in California. Sibrian

Galdamez worked as a delivery driver for FedEx in California from approximately 2018 to 2021

but was employed through intermediary entities that FedEx calls independent service providers.

Sibrian Galdamez has been eligible to receive overtime pay under the FLSA because Sibrian

Galdamez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1766. Plaintiff Daniel Silva is an individual residing in California. Silva worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Silva has been



                                               583
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 584 of 3128




eligible to receive overtime pay under the FLSA because Silva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1767. Plaintiff Claudio Silva is an individual residing in California. Silva worked as a

delivery driver for FedEx in California from approximately 2002 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Silva has been

eligible to receive overtime pay under the FLSA because Silva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1768. Plaintiff Gustavo Silva is an individual residing in California. Silva worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Silva has been

eligible to receive overtime pay under the FLSA because Silva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1769. Plaintiff Antonio Silva is an individual residing in California. Silva worked as a

delivery driver for FedEx in California from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Silva has been

eligible to receive overtime pay under the FLSA because Silva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1770. Plaintiff Ryan Silvas is an individual residing in California. Silvas worked as a

delivery driver for FedEx in California from approximately 2002 to 2024 but was employed



                                               584
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 585 of 3128




through intermediary entities that FedEx calls independent service providers. Silvas has been

eligible to receive overtime pay under the FLSA because Silvas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1771. Plaintiff Jean Simon Chaban is an individual residing in California. Simon

Chaban worked as a delivery driver for FedEx in California from approximately 2015 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Simon Chaban has been eligible to receive overtime pay under the FLSA because Simon

Chaban has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1772. Plaintiff Lakeisha Sims is an individual residing in California. Sims worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1773. Plaintiff Rashpal Singh is an individual residing in California. Singh worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Singh has been eligible to receive overtime pay under

the FLSA because Singh has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1774. Plaintiff Sukhjit Singh is an individual residing in California. Singh worked as a

delivery driver for FedEx in California but was employed through intermediary entities that



                                               585
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 586 of 3128




FedEx calls independent service providers. Singh has been eligible to receive overtime pay under

the FLSA because Singh has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1775. Plaintiff Parvinder Singh is an individual residing in California. Singh worked as

a delivery driver for FedEx in California from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Singh has been

eligible to receive overtime pay under the FLSA because Singh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1776. Plaintiff Rajwinder Singh is an individual residing in California. Singh worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Singh has been

eligible to receive overtime pay under the FLSA because Singh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1777. Plaintiff Corey Skillman Vidulich is an individual residing in Tennessee.

Skillman Vidulich worked as a delivery driver for FedEx in California from approximately 2016

to 2021 but was employed through intermediary entities that FedEx calls independent service

providers. Skillman Vidulich has been eligible to receive overtime pay under the FLSA because

Skillman Vidulich has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1778. Plaintiff Jordan Smith is an individual residing in California. Smith worked as a

delivery driver for FedEx in California from approximately 2022 to 2022 but was employed



                                               586
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 587 of 3128




through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1779. Plaintiff Ronald Smith is an individual residing in California. Smith worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1780. Plaintiff Conga Smith is an individual residing in California. Smith worked as a

delivery driver for FedEx in California from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1781. Plaintiff Christopher Smith is an individual residing in California. Smith worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1782. Plaintiff Sam Smith is an individual residing in California. Smith worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed



                                              587
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 588 of 3128




through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1783. Plaintiff Thomas Smith is an individual residing in California. Smith worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1784. Plaintiff Dillon Smith is an individual residing in California. Smith worked as a

delivery driver for FedEx in California from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1785. Plaintiff Ben Snodderly is an individual residing in Tennessee. Snodderly worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Snodderly has been

eligible to receive overtime pay under the FLSA because Snodderly has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               588
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 589 of 3128




        1786. Plaintiff Eric Snowden is an individual residing in California. Snowden worked as

a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Snowden has been

eligible to receive overtime pay under the FLSA because Snowden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1787. Plaintiff Jorge Solares is an individual residing in California. Solares worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Solares has been

eligible to receive overtime pay under the FLSA because Solares has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1788. Plaintiff Steven Solis is an individual residing in California. Solis worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Solis has been eligible to receive overtime pay under

the FLSA because Solis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1789. Plaintiff Jesus Solis is an individual residing in California. Solis worked as a

delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Solis has been

eligible to receive overtime pay under the FLSA because Solis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                                589
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 590 of 3128




        1790. Plaintiff Mayra Solorio is an individual residing in California. Solorio worked as

a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Solorio has been

eligible to receive overtime pay under the FLSA because Solorio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1791. Plaintiff Sovanna Sophal is an individual residing in California. Sophal worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Sophal has been eligible to receive overtime pay

under the FLSA because Sophal has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1792. Plaintiff Stanely Sotelo is an individual residing in California. Sotelo worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sotelo has been

eligible to receive overtime pay under the FLSA because Sotelo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1793. Plaintiff Jorge Soto Jr is an individual residing in California. Soto Jr worked as a

delivery driver for FedEx in California from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Soto Jr has been

eligible to receive overtime pay under the FLSA because Soto Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                                590
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 591 of 3128




        1794. Plaintiff Luis Soto Zepeda is an individual residing in California. Soto Zepeda

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Soto

Zepeda has been eligible to receive overtime pay under the FLSA because Soto Zepeda has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1795. Plaintiff Alex Spencer is an individual residing in California. Spencer worked as a

delivery driver for FedEx in California from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Spencer has been

eligible to receive overtime pay under the FLSA because Spencer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1796. Plaintiff Preston Spendley is an individual residing in California. Spendley

worked as a delivery driver for FedEx in California from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Spendley

has been eligible to receive overtime pay under the FLSA because Spendley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1797. Plaintiff Deante Spruill is an individual residing in California. Spruill worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Spruill has been

eligible to receive overtime pay under the FLSA because Spruill has driven a vehicle weighing




                                                591
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 592 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1798. Plaintiff Jossue Rico is an individual residing in California. Srey worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Srey has been

eligible to receive overtime pay under the FLSA because Srey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1799. Plaintiff Sophorn Srey is an individual residing in California. Srey worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Srey has been

eligible to receive overtime pay under the FLSA because Srey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1800. Plaintiff Kenneth Stemmler is an individual residing in Michigan. Stemmler

worked as a delivery driver for FedEx in California from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Stemmler has been eligible to receive overtime pay under the FLSA because Stemmler has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1801. Plaintiff Roy Stephens is an individual residing in California. Stephens worked as

a delivery driver for FedEx in California from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stephens has been



                                               592
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 593 of 3128




eligible to receive overtime pay under the FLSA because Stephens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1802. Plaintiff Justin Stevens is an individual residing in California. Stevens worked as

a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stevens has been

eligible to receive overtime pay under the FLSA because Stevens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1803. Plaintiff Sean Stevenson is an individual residing in Maryland. Stevenson worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Stevenson has been eligible to receive overtime pay

under the FLSA because Stevenson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        1804. Plaintiff Roberto Mariscal is an individual residing in California. Stokes worked

as a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been

eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1805. Plaintiff Averill Stokes, Sr. is an individual residing in California. Stokes worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been



                                               593
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 594 of 3128




eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1806. Plaintiff Lewis Stokes is an individual residing in California. Stokes worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Stokes has been eligible to receive overtime pay

under the FLSA because Stokes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1807. Plaintiff James Stone is an individual residing in California. Stone worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Stone has been eligible to receive overtime pay under

the FLSA because Stone has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1808. Plaintiff Emanuel Strozier is an individual residing in California. Strozier worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Strozier has been eligible to receive overtime pay

under the FLSA because Strozier has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1809. Plaintiff Richard Struthers is an individual residing in Tennessee. Struthers

worked as a delivery driver for FedEx in California from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Struthers

has been eligible to receive overtime pay under the FLSA because Struthers has driven a vehicle




                                               594
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 595 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1810. Plaintiff David Sullivan is an individual residing in Indiana. Sullivan worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Sullivan has been eligible to receive overtime pay

under the FLSA because Sullivan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1811. Plaintiff Sophal Sun is an individual residing in California. Sun worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sun has been

eligible to receive overtime pay under the FLSA because Sun has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1812. Plaintiff Alam Suner is an individual residing in California. Suner worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Suner has been eligible to receive overtime pay under

the FLSA because Suner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1813. Plaintiff Tomi Supsic is an individual residing in California. Supsic worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Supsic has been

eligible to receive overtime pay under the FLSA because Supsic has driven a vehicle weighing




                                               595
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 596 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1814. Plaintiff Cody Sutton is an individual residing in California. Sutton worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Sutton has been eligible to receive overtime pay

under the FLSA because Sutton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1815. Plaintiff Sean Swafford is an individual residing in California. Swafford worked

as a delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Swafford has been

eligible to receive overtime pay under the FLSA because Swafford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1816. Plaintiff Mandinka Syess is an individual residing in California. Syess worked as

a delivery driver for FedEx in California from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Syess has been

eligible to receive overtime pay under the FLSA because Syess has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1817. Plaintiff Joseph Szupello is an individual residing in California. Szupello worked

as a delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Szupello has been

eligible to receive overtime pay under the FLSA because Szupello has driven a vehicle weighing



                                               596
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 597 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1818. Plaintiff Tuyen Ta is an individual residing in California. Ta worked as a delivery

driver for FedEx in California but was employed through intermediary entities that FedEx calls

independent service providers. Ta has been eligible to receive overtime pay under the FLSA

because Ta has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1819. Plaintiff Alfonso Tacdol Jr is an individual residing in California. Tacdol Jr

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Tacdol Jr

has been eligible to receive overtime pay under the FLSA because Tacdol Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1820. Plaintiff Rayan Tajaddod Galavan is an individual residing in California.

Tajaddod Galavan worked as a delivery driver for FedEx in California from approximately 2018

to 2021 but was employed through intermediary entities that FedEx calls independent service

providers. Tajaddod Galavan has been eligible to receive overtime pay under the FLSA because

Tajaddod Galavan has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1821. Plaintiff Premjeet Takhar is an individual residing in California. Takhar worked

as a delivery driver for FedEx in California from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Takhar has been

eligible to receive overtime pay under the FLSA because Takhar has driven a vehicle weighing



                                               597
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 598 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1822. Plaintiff Anthony Talavera is an individual residing in California. Talavera

worked as a delivery driver for FedEx in California from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Talavera

has been eligible to receive overtime pay under the FLSA because Talavera has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1823. Plaintiff Jesse Tamayo is an individual residing in California. Tamayo worked as

a delivery driver for FedEx in California from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tamayo has been

eligible to receive overtime pay under the FLSA because Tamayo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1824. Plaintiff Michael Tamoro is an individual residing in California. Tamoro worked

as a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tamoro has been

eligible to receive overtime pay under the FLSA because Tamoro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1825. Plaintiff Vincente Tapia is an individual residing in California. Tapia worked as a

delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Tapia has been



                                               598
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 599 of 3128




eligible to receive overtime pay under the FLSA because Tapia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1826. Plaintiff Hugo Tapia Calderon is an individual residing in California. Tapia

Calderon worked as a delivery driver for FedEx in California from approximately 2012 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Tapia Calderon has been eligible to receive overtime pay under the FLSA because Tapia

Calderon has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1827. Plaintiff Leonardo Tavarez is an individual residing in California. Tavarez

worked as a delivery driver for FedEx in California from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Tavarez

has been eligible to receive overtime pay under the FLSA because Tavarez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1828. Plaintiff Rob Douangprachanh is an individual residing in California. Tavarez

Gonzalez worked as a delivery driver for FedEx in California from approximately 2015 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Tavarez Gonzalez has been eligible to receive overtime pay under the FLSA because Tavarez

Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1829. Plaintiff Kenneth Taylor is an individual residing in California. Taylor worked as

a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed



                                               599
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 600 of 3128




through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1830. Plaintiff Rominica Taylor is an individual residing in California. Taylor worked

as a delivery driver for FedEx in California from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1831. Plaintiff Tomekica Taylor Twillie is an individual residing in California. Taylor

Twillie worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Taylor Twillie has been eligible to receive overtime pay under the FLSA because Taylor Twillie

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1832. Plaintiff Alex Tec is an individual residing in California. Tec worked as a delivery

driver for FedEx in California from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tec has been eligible to

receive overtime pay under the FLSA because Tec has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1833. Plaintiff Mehari Tekle is an individual residing in California. Tekle worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed



                                               600
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 601 of 3128




through intermediary entities that FedEx calls independent service providers. Tekle has been

eligible to receive overtime pay under the FLSA because Tekle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1834. Plaintiff David Tello is an individual residing in California. Tello worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tello has been

eligible to receive overtime pay under the FLSA because Tello has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1835. Plaintiff Tricia Tenney is an individual residing in California. Tenney worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Tenney has been

eligible to receive overtime pay under the FLSA because Tenney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1836. Plaintiff Khalil Tfaily is an individual residing in California. Tfaily worked as a

delivery driver for FedEx in California from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tfaily has been

eligible to receive overtime pay under the FLSA because Tfaily has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                                601
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 602 of 3128




       1837. Plaintiff Damarcus Thomas is an individual residing in California. Thomas

worked as a delivery driver for FedEx in California from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Thomas

has been eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1838. Plaintiff Damadre Thompson is an individual residing in California. Thompson

worked as a delivery driver for FedEx in California from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1839. Plaintiff Jesse Thompson is an individual residing in California. Thompson

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1840. Plaintiff Kenneth Thompson is an individual residing in California. Thompson

worked as a delivery driver for FedEx in California from approximately 1998 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has




                                              602
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 603 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1841. Plaintiff Jabari Thompson is an individual residing in California. Thompson

worked as a delivery driver for FedEx in California from approximately 2011 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1842. Plaintiff Joel Thomson is an individual residing in California. Thomson worked as

a delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thomson has been

eligible to receive overtime pay under the FLSA because Thomson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1843. Plaintiff Lucky Thongkhamvilay is an individual residing in California.

Thongkhamvilay worked as a delivery driver for FedEx in California from approximately 2014

to 2021 but was employed through intermediary entities that FedEx calls independent service

providers. Thongkhamvilay has been eligible to receive overtime pay under the FLSA because

Thongkhamvilay has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        1844. Plaintiff Todd Tietjen is an individual residing in California. Tietjen worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Tietjen has been eligible to receive overtime pay



                                               603
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 604 of 3128




under the FLSA because Tietjen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1845. Plaintiff Gregory Tiller is an individual residing in California. Tiller worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Tiller has been eligible to receive overtime pay under

the FLSA because Tiller has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1846. Plaintiff Eddie Tinoco is an individual residing in California. Tinoco worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Tinoco has been eligible to receive overtime pay

under the FLSA because Tinoco has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1847. Plaintiff Rory Tisby is an individual residing in California. Tisby worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tisby has been

eligible to receive overtime pay under the FLSA because Tisby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1848. Plaintiff Ruben Tiscareno is an individual residing in California. Tiscareno

worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Tiscareno has been eligible to receive overtime pay under the FLSA because Tiscareno has




                                                604
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 605 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1849. Plaintiff Pedro Tiznado is an individual residing in California. Tiznado worked as

a delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tiznado has been

eligible to receive overtime pay under the FLSA because Tiznado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1850. Plaintiff Luis Tobar is an individual residing in California. Tobar worked as a

delivery driver for FedEx in California from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tobar has been

eligible to receive overtime pay under the FLSA because Tobar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1851. Plaintiff Christopher Todd is an individual residing in California. Todd worked as

a delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Todd has been

eligible to receive overtime pay under the FLSA because Todd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1852. Plaintiff Jerry Toliver is an individual residing in California. Toliver worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Toliver has been eligible to receive overtime pay



                                                605
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 606 of 3128




under the FLSA because Toliver has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1853. Plaintiff Michael Tolliver is an individual residing in California. Tolliver worked

as a delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tolliver has been

eligible to receive overtime pay under the FLSA because Tolliver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1854. Plaintiff Dillon Tolliver is an individual residing in Georgia. Tolliver worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Tolliver has been eligible to receive overtime pay

under the FLSA because Tolliver has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1855. Plaintiff Uiki Toomata is an individual residing in California. Toomata worked as

a delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Toomata has been

eligible to receive overtime pay under the FLSA because Toomata has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1856. Plaintiff Alejandro Topete is an individual residing in California. Topete worked

as a delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Topete has been

eligible to receive overtime pay under the FLSA because Topete has driven a vehicle weighing



                                               606
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 607 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1857. Plaintiff Jaime Toro is an individual residing in California. Toro worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Toro has been

eligible to receive overtime pay under the FLSA because Toro has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1858. Plaintiff Santiago Torres is an individual residing in California. Torres worked as

a delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Torres has been

eligible to receive overtime pay under the FLSA because Torres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1859. Plaintiff Javier Torres is an individual residing in Texas. Torres worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Torres has been

eligible to receive overtime pay under the FLSA because Torres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1860. Plaintiff Lisa Torres is an individual residing in California. Torres worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Torres has been eligible to receive overtime pay



                                               607
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 608 of 3128




under the FLSA because Torres has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1861. Plaintiff Felipe Torres is an individual residing in California. Torres worked as a

delivery driver for FedEx in California from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Torres has been

eligible to receive overtime pay under the FLSA because Torres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1862. Plaintiff Arthur Torres is an individual residing in California. Torres worked as a

delivery driver for FedEx in California from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Torres has been

eligible to receive overtime pay under the FLSA because Torres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1863. Plaintiff Victor Torres Calderon is an individual residing in California. Torres

Calderon worked as a delivery driver for FedEx in California from approximately 2007 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Torres Calderon has been eligible to receive overtime pay under the FLSA because Torres

Calderon has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1864. Plaintiff Justin Touvell is an individual residing in California. Touvell worked as

a delivery driver for FedEx in California from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Touvell has been



                                               608
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 609 of 3128




eligible to receive overtime pay under the FLSA because Touvell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1865. Plaintiff Eric Tovar is an individual residing in California. Tovar worked as a

delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tovar has been

eligible to receive overtime pay under the FLSA because Tovar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1866. Plaintiff Treyvone Towns is an individual residing in California. Towns worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Towns has been eligible to receive overtime pay

under the FLSA because Towns has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1867. Plaintiff Kevin Trahan is an individual residing in California. Trahan worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Trahan has been eligible to receive overtime pay

under the FLSA because Trahan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1868. Plaintiff Adan Trinidad is an individual residing in California. Trinidad worked as

a delivery driver for FedEx in California from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Trinidad has been

eligible to receive overtime pay under the FLSA because Trinidad has driven a vehicle weighing



                                               609
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 610 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1869. Plaintiff Mark Troncoso is an individual residing in California. Troncoso worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Troncoso has been eligible to receive overtime pay

under the FLSA because Troncoso has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        1870. Plaintiff Son Truong is an individual residing in California. Truong worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Truong has been

eligible to receive overtime pay under the FLSA because Truong has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1871. Plaintiff William Tucker is an individual residing in California. Tucker worked as

a delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tucker has been

eligible to receive overtime pay under the FLSA because Tucker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1872. Plaintiff Ann Tung is an individual residing in California. Tung worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Tung has been

eligible to receive overtime pay under the FLSA because Tung has driven a vehicle weighing



                                              610
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 611 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1873. Plaintiff Ricardo Turincio is an individual residing in California. Turincio worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Turincio has been

eligible to receive overtime pay under the FLSA because Turincio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1874. Plaintiff Aaron Turner is an individual residing in California. Turner worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1875. Plaintiff Teddy Turner is an individual residing in California. Turner worked as a

delivery driver for FedEx in California from approximately 2008 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1876. Plaintiff Tyrone Turner is an individual residing in California. Turner worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been



                                               611
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 612 of 3128




eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1877. Plaintiff Tanisha Turner is an individual residing in California. Turner worked as

a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1878. Plaintiff Dennis Tyler is an individual residing in California. Tyler worked as a

delivery driver for FedEx in California from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tyler has been

eligible to receive overtime pay under the FLSA because Tyler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1879. Plaintiff Tasi Ua is an individual residing in California. Ua worked as a delivery

driver for FedEx in California from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ua has been eligible to

receive overtime pay under the FLSA because Ua has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1880. Plaintiff Vincent Ubaldo is an individual residing in California. Ubaldo worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ubaldo has been



                                               612
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 613 of 3128




eligible to receive overtime pay under the FLSA because Ubaldo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1881. Plaintiff Julio-Raphael Ugas is an individual residing in California. Ugas worked

as a delivery driver for FedEx in California from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ugas has been

eligible to receive overtime pay under the FLSA because Ugas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1882. Plaintiff Ehsan Ullah is an individual residing in California. Ullah worked as a

delivery driver for FedEx in California from approximately 2021 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ullah has been

eligible to receive overtime pay under the FLSA because Ullah has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1883. Plaintiff Matthew Ulloa is an individual residing in California. Ulloa worked as a

delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ulloa has been

eligible to receive overtime pay under the FLSA because Ulloa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1884. Plaintiff Jason Urbanski is an individual residing in California. Urbanski worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed



                                               613
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 614 of 3128




through intermediary entities that FedEx calls independent service providers. Urbanski has been

eligible to receive overtime pay under the FLSA because Urbanski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1885. Plaintiff Lombardo Urbina is an individual residing in California. Urbina worked

as a delivery driver for FedEx in California from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Urbina has been

eligible to receive overtime pay under the FLSA because Urbina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1886. Plaintiff Christopher Urzua is an individual residing in California. Urzua worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Urzua has been

eligible to receive overtime pay under the FLSA because Urzua has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1887. Plaintiff Alejandro Vaca is an individual residing in California. Vaca worked as a

delivery driver for FedEx in California from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Vaca has been

eligible to receive overtime pay under the FLSA because Vaca has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              614
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 615 of 3128




        1888. Plaintiff Brian Valdez is an individual residing in California. Valdez worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Valdez has been eligible to receive overtime pay

under the FLSA because Valdez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1889. Plaintiff Carlos Valencia is an individual residing in California. Valencia worked

as a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Valencia has been

eligible to receive overtime pay under the FLSA because Valencia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1890. Plaintiff Emilio Valencia is an individual residing in California. Valencia worked

as a delivery driver for FedEx in California from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Valencia has been

eligible to receive overtime pay under the FLSA because Valencia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1891. Plaintiff Paul Valentine is an individual residing in California. Valentine worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Valentine has been eligible to receive overtime pay

under the FLSA because Valentine has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.




                                               615
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 616 of 3128




       1892. Plaintiff Frank Valenzuela is an individual residing in California. Valenzuela

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Valenzuela has been eligible to receive

overtime pay under the FLSA because Valenzuela has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       1893. Plaintiff Zachary Valenzuela is an individual residing in California. Valenzuela

worked as a delivery driver for FedEx in California from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Valenzuela has been eligible to receive overtime pay under the FLSA because Valenzuela has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1894. Plaintiff James Valenzuela is an individual residing in California. Valenzuela

worked as a delivery driver for FedEx in California from approximately 2006 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Valenzuela has been eligible to receive overtime pay under the FLSA because Valenzuela has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1895. Plaintiff Ricky Valenzuela is an individual residing in California. Valenzuela

worked as a delivery driver for FedEx in California from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Valenzuela has been eligible to receive overtime pay under the FLSA because Valenzuela has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               616
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 617 of 3128




        1896. Plaintiff Jorge Valenzuela is an individual residing in California. Valenzuela

worked as a delivery driver for FedEx in California from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Valenzuela has been eligible to receive overtime pay under the FLSA because Valenzuela has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1897. Plaintiff Edwin Valladares is an individual residing in California. Valladares

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Valladares has been eligible to receive overtime pay under the FLSA because Valladares has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1898. Plaintiff Richard Vallejo is an individual residing in California. Vallejo worked as

a delivery driver for FedEx in California from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Vallejo has been

eligible to receive overtime pay under the FLSA because Vallejo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1899. Plaintiff Albert Vanlue is an individual residing in California. Vanlue worked as a

delivery driver for FedEx in California from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Vanlue has been

eligible to receive overtime pay under the FLSA because Vanlue has driven a vehicle weighing




                                               617
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 618 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1900. Plaintiff Raymond Varella is an individual residing in California. Varella worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Varella has been

eligible to receive overtime pay under the FLSA because Varella has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1901. Plaintiff Jason Vargas is an individual residing in California. Vargas worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Vargas has been eligible to receive overtime pay

under the FLSA because Vargas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1902. Plaintiff Ligia Vargas is an individual residing in California. Vargas worked as a

delivery driver for FedEx in California from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1903. Plaintiff Hugo Vargas is an individual residing in California. Vargas worked as a

delivery driver for FedEx in California from approximately 2000 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing



                                               618
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 619 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1904. Plaintiff Jeffrey Vargas is an individual residing in California. Vargas worked as a

delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1905. Plaintiff Daniel Vargas is an individual residing in California. Vargas worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1906. Plaintiff Enrique Vargas Camacho is an individual residing in California. Vargas

Camacho worked as a delivery driver for FedEx in California from approximately 2019 to 2021

but was employed through intermediary entities that FedEx calls independent service providers.

Vargas Camacho has been eligible to receive overtime pay under the FLSA because Vargas

Camacho has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1907. Plaintiff Cesar Vasquez is an individual residing in California. Vasquez worked as

a delivery driver for FedEx in California from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Vasquez has been



                                               619
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 620 of 3128




eligible to receive overtime pay under the FLSA because Vasquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1908. Plaintiff Alejandro Vasquez is an individual residing in California. Vasquez

worked as a delivery driver for FedEx in California from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Vasquez

has been eligible to receive overtime pay under the FLSA because Vasquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1909. Plaintiff Michael Vasquez is an individual residing in California. Vasquez worked

as a delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Vasquez has been

eligible to receive overtime pay under the FLSA because Vasquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1910. Plaintiff Juancarlos Vasquez is an individual residing in California. Vasquez

worked as a delivery driver for FedEx in California from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Vasquez

has been eligible to receive overtime pay under the FLSA because Vasquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1911. Plaintiff Ivan Vasquez Aguilar is an individual residing in California. Vasquez

Aguilar worked as a delivery driver for FedEx in California from approximately 2010 to 2019



                                              620
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 621 of 3128




but was employed through intermediary entities that FedEx calls independent service providers.

Vasquez Aguilar has been eligible to receive overtime pay under the FLSA because Vasquez

Aguilar has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        1912. Plaintiff Hugo Vasquez Soto is an individual residing in California. Vasquez Soto

worked as a delivery driver for FedEx in California from approximately 2010 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Vasquez

Soto has been eligible to receive overtime pay under the FLSA because Vasquez Soto has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        1913. Plaintiff Irving Vazquez is an individual residing in California. Vazquez worked

as a delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Vazquez has been

eligible to receive overtime pay under the FLSA because Vazquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1914. Plaintiff Christian Vazquez is an individual residing in California. Vazquez

worked as a delivery driver for FedEx in California from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Vazquez

has been eligible to receive overtime pay under the FLSA because Vazquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              621
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 622 of 3128




        1915. Plaintiff Robert Vazquez is an individual residing in California. Vazquez worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Vazquez has been eligible to receive overtime pay

under the FLSA because Vazquez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1916. Plaintiff Rogelio Vega is an individual residing in California. Vega worked as a

delivery driver for FedEx in California from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Vega has been

eligible to receive overtime pay under the FLSA because Vega has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1917. Plaintiff Hugo Vega is an individual residing in California. Vega worked as a

delivery driver for FedEx in California from approximately 1997 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Vega has been

eligible to receive overtime pay under the FLSA because Vega has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1918. Plaintiff Roberto Vela is an individual residing in California. Vela worked as a

delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Vela has been

eligible to receive overtime pay under the FLSA because Vela has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               622
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 623 of 3128




        1919. Plaintiff Raymond Venegas is an individual residing in California. Venegas

worked as a delivery driver for FedEx in California but was employed through intermediary

entities that FedEx calls independent service providers. Venegas has been eligible to receive

overtime pay under the FLSA because Venegas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1920. Plaintiff Tony Victorino is an individual residing in California. Victorino worked

as a delivery driver for FedEx in California from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Victorino has been

eligible to receive overtime pay under the FLSA because Victorino has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1921. Plaintiff Mario Vidaca is an individual residing in California. Vidaca worked as a

delivery driver for FedEx in California from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vidaca has been

eligible to receive overtime pay under the FLSA because Vidaca has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1922. Plaintiff Guillermo Vidales is an individual residing in California. Vidales worked

as a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vidales has been

eligible to receive overtime pay under the FLSA because Vidales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               623
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 624 of 3128




        1923. Plaintiff Ruben Vigil is an individual residing in California. Vigil worked as a

delivery driver for FedEx in California from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vigil has been

eligible to receive overtime pay under the FLSA because Vigil has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1924. Plaintiff Jose Villagrana is an individual residing in California. Villagrana worked

as a delivery driver for FedEx in California from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Villagrana has been

eligible to receive overtime pay under the FLSA because Villagrana has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1925. Plaintiff Dennis Villalobos is an individual residing in California. Villalobos

worked as a delivery driver for FedEx in California from approximately 2003 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Villalobos has been eligible to receive overtime pay under the FLSA because Villalobos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1926. Plaintiff Anthony Villalvazo is an individual residing in California. Villalvazo

worked as a delivery driver for FedEx in California from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Villalvazo has been eligible to receive overtime pay under the FLSA because Villalvazo has




                                               624
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 625 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1927. Plaintiff Camelo Villamor is an individual residing in California. Villamor

worked as a delivery driver for FedEx in California from approximately 2005 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Villamor

has been eligible to receive overtime pay under the FLSA because Villamor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       1928. Plaintiff Rafael Villanueva is an individual residing in California. Villanueva

worked as a delivery driver for FedEx in California from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Villanueva has been eligible to receive overtime pay under the FLSA because Villanueva has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1929. Plaintiff Francisco Villanueva is an individual residing in California. Villanueva

worked as a delivery driver for FedEx in California from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Villanueva has been eligible to receive overtime pay under the FLSA because Villanueva has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       1930. Plaintiff Luis Villavicencio is an individual residing in California. Villavicencio

worked as a delivery driver for FedEx in California from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               625
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 626 of 3128




Villavicencio has been eligible to receive overtime pay under the FLSA because Villavicencio

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1931. Plaintiff Jorge Vinalay is an individual residing in California. Vinalay worked as

a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vinalay has been

eligible to receive overtime pay under the FLSA because Vinalay has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1932. Plaintiff Hung Vu is an individual residing in California. Vu worked as a delivery

driver for FedEx in California from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Vu has been eligible to

receive overtime pay under the FLSA because Vu has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        1933. Plaintiff Farhad Wali is an individual residing in California. Wali worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Wali has been eligible to receive overtime pay under

the FLSA because Wali has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1934. Plaintiff Tyree Walker is an individual residing in California. Walker worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing



                                               626
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 627 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1935. Plaintiff Bill Walls is an individual residing in California. Walls worked as a

delivery driver for FedEx in California from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Walls has been

eligible to receive overtime pay under the FLSA because Walls has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1936. Plaintiff Honghao Wang is an individual residing in California. Wang worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Wang has been eligible to receive overtime pay under

the FLSA because Wang has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1937. Plaintiff Mr Wantaregh is an individual residing in California. Wantaregh worked

as a delivery driver for FedEx in California from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wantaregh has

been eligible to receive overtime pay under the FLSA because Wantaregh has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1938. Plaintiff Daniel Ward is an individual residing in California. Ward worked as a

delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing



                                               627
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 628 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1939. Plaintiff Hewad Wardak is an individual residing in Indiana. Wardak worked as a

delivery driver for FedEx in California from approximately 2001 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wardak has been

eligible to receive overtime pay under the FLSA because Wardak has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1940. Plaintiff Eric Warren is an individual residing in California. Warren worked as a

delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Warren has been

eligible to receive overtime pay under the FLSA because Warren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1941. Plaintiff Dasean Waschuck is an individual residing in California. Waschuck

worked as a delivery driver for FedEx in California from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Waschuck has been eligible to receive overtime pay under the FLSA because Waschuck has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1942. Plaintiff Elzy Washington Iii is an individual residing in California. Washington

Iii worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               628
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 629 of 3128




Washington Iii has been eligible to receive overtime pay under the FLSA because Washington Iii

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        1943. Plaintiff Myzil Waters is an individual residing in California. Waters worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Waters has been eligible to receive overtime pay

under the FLSA because Waters has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1944. Plaintiff Andrew Watkins is an individual residing in California. Watkins worked

as a delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Watkins has been

eligible to receive overtime pay under the FLSA because Watkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1945. Plaintiff Bradly Watson is an individual residing in California. Watson worked as

a delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1946. Plaintiff Zachary Watt is an individual residing in California. Watt worked as a

delivery driver for FedEx in California from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Watt has been



                                               629
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 630 of 3128




eligible to receive overtime pay under the FLSA because Watt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1947. Plaintiff Andrew Weigner is an individual residing in California. Weigner worked

as a delivery driver for FedEx in California from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Weigner has been

eligible to receive overtime pay under the FLSA because Weigner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1948. Plaintiff Kenneth Weli is an individual residing in Georgia. Weli worked as a

delivery driver for FedEx in California from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Weli has been

eligible to receive overtime pay under the FLSA because Weli has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1949. Plaintiff Jon Weston is an individual residing in California. Weston worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Weston has been eligible to receive overtime pay

under the FLSA because Weston has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1950. Plaintiff Lonnie Whaley is an individual residing in California. Whaley worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Whaley has been eligible to receive overtime pay



                                              630
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 631 of 3128




under the FLSA because Whaley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1951. Plaintiff Keli White is an individual residing in Nevada. White worked as a

delivery driver for FedEx in California from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1952. Plaintiff Joseph Whitt is an individual residing in California. Whitt worked as a

delivery driver for FedEx in California from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Whitt has been

eligible to receive overtime pay under the FLSA because Whitt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1953. Plaintiff Davon Wiggins is an individual residing in California. Wiggins worked

as a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wiggins has been

eligible to receive overtime pay under the FLSA because Wiggins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1954. Plaintiff Phillip Velasquez is an individual residing in California. Wilder worked

as a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Wilder has been eligible to receive overtime pay



                                               631
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 632 of 3128




under the FLSA because Wilder has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1955. Plaintiff Johnie Williams is an individual residing in California. Williams worked

as a delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1956. Plaintiff Andrew Williams is an individual residing in California. Williams

worked as a delivery driver for FedEx in California from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1957. Plaintiff Brandon Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in California from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1958. Plaintiff Trevonte Williams is an individual residing in California. Williams

worked as a delivery driver for FedEx in California from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Williams



                                               632
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 633 of 3128




has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1959. Plaintiff Christopher Williams is an individual residing in California. Williams

worked as a delivery driver for FedEx in California from approximately 2008 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1960. Plaintiff Sharell Williams is an individual residing in California. Williams worked

as a delivery driver for FedEx in California from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1961. Plaintiff Leylan Williams is an individual residing in California. Williams worked

as a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1962. Plaintiff Anthony Williamson is an individual residing in California. Williamson

worked as a delivery driver for FedEx in California from approximately 2017 to 2024 but was



                                               633
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 634 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Williamson has been eligible to receive overtime pay under the FLSA because Williamson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1963. Plaintiff Noel Wilson is an individual residing in Alabama. Wilson worked as a

delivery driver for FedEx in California from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1964. Plaintiff Tommy Wilson is an individual residing in California. Wilson worked as

a delivery driver for FedEx in California from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1965. Plaintiff Mike Wilson is an individual residing in Missouri. Wilson worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Wilson has been eligible to receive overtime pay

under the FLSA because Wilson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1966. Plaintiff Craig Wilson is an individual residing in California. Wilson worked as a

delivery driver for FedEx in California from approximately 2011 to 2017 but was employed



                                               634
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 635 of 3128




through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1967. Plaintiff Damondre Wilson is an individual residing in California. Wilson worked

as a delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1968. Plaintiff Jennifer Wolfe is an individual residing in California. Wolfe worked as a

delivery driver for FedEx in California from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wolfe has been

eligible to receive overtime pay under the FLSA because Wolfe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1969. Plaintiff Eron Wood is an individual residing in California. Wood worked as a

delivery driver for FedEx in California from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wood has been

eligible to receive overtime pay under the FLSA because Wood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               635
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 636 of 3128




        1970. Plaintiff Donald Wright is an individual residing in California. Wright worked as

a delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Wright has been eligible to receive overtime pay

under the FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1971. Plaintiff Haifeng Wu is an individual residing in California. Wu worked as a

delivery driver for FedEx in California from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wu has been

eligible to receive overtime pay under the FLSA because Wu has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1972. Plaintiff Abi Wurtz is an individual residing in California. Wurtz worked as a

delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wurtz has been

eligible to receive overtime pay under the FLSA because Wurtz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1973. Plaintiff Jonathan Xiong is an individual residing in Florida. Xiong worked as a

delivery driver for FedEx in California from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Xiong has been

eligible to receive overtime pay under the FLSA because Xiong has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              636
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 637 of 3128




        1974. Plaintiff Julmer Yanez is an individual residing in California. Yanez worked as a

delivery driver for FedEx in California from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Yanez has been

eligible to receive overtime pay under the FLSA because Yanez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1975. Plaintiff Si Yang is an individual residing in California. Yang worked as a

delivery driver for FedEx in California from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Yang has been

eligible to receive overtime pay under the FLSA because Yang has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1976. Plaintiff Herbert Ybarra is an individual residing in California. Ybarra worked as

a delivery driver for FedEx in California from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ybarra has been

eligible to receive overtime pay under the FLSA because Ybarra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1977. Plaintiff Paul Ybarra Jr. is an individual residing in California. Ybarra Jr. worked

as a delivery driver for FedEx in California from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ybarra Jr. has been

eligible to receive overtime pay under the FLSA because Ybarra Jr. has driven a vehicle




                                               637
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 638 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1978. Plaintiff Voeun Yin is an individual residing in California. Yin worked as a

delivery driver for FedEx in California from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Yin has been

eligible to receive overtime pay under the FLSA because Yin has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1979. Plaintiff Edward Yorba is an individual residing in California. Yorba worked as a

delivery driver for FedEx in California from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Yorba has been

eligible to receive overtime pay under the FLSA because Yorba has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1980. Plaintiff Sek Yuen is an individual residing in California. Yuen worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Yuen has been eligible to receive overtime pay under

the FLSA because Yuen has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        1981. Plaintiff Edgar Zafaralla is an individual residing in California. Zafaralla worked

as a delivery driver for FedEx in California from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Zafaralla has been

eligible to receive overtime pay under the FLSA because Zafaralla has driven a vehicle weighing



                                               638
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 639 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1982. Plaintiff Mohammad Zahory is an individual residing in California. Zahory

worked as a delivery driver for FedEx in California from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Zahory

has been eligible to receive overtime pay under the FLSA because Zahory has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1983. Plaintiff Sergio Zamora is an individual residing in California. Zamora worked as

a delivery driver for FedEx in California from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Zamora has been

eligible to receive overtime pay under the FLSA because Zamora has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1984. Plaintiff Jason Zanelli is an individual residing in California. Zanelli worked as a

delivery driver for FedEx in California from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Zanelli has been

eligible to receive overtime pay under the FLSA because Zanelli has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1985. Plaintiff Juan Zaragoza is an individual residing in California. Zaragoza worked

as a delivery driver for FedEx in California from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Zaragoza has been



                                                639
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 640 of 3128




eligible to receive overtime pay under the FLSA because Zaragoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1986. Plaintiff Neil Zarate is an individual residing in California. Zarate worked as a

delivery driver for FedEx in California but was employed through intermediary entities that

FedEx calls independent service providers. Zarate has been eligible to receive overtime pay

under the FLSA because Zarate has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        1987. Plaintiff Gerardo Zarco is an individual residing in California. Zarco worked as a

delivery driver for FedEx in California from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Zarco has been

eligible to receive overtime pay under the FLSA because Zarco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1988. Plaintiff Rojeh Zaroukian is an individual residing in California. Zaroukian

worked as a delivery driver for FedEx in California from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Zaroukian has been eligible to receive overtime pay under the FLSA because Zaroukian has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        1989. Plaintiff Alex Zavala is an individual residing in California. Zavala worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Zavala has been



                                               640
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 641 of 3128




eligible to receive overtime pay under the FLSA because Zavala has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1990. Plaintiff Elvis Zazueta is an individual residing in California. Zazueta worked as a

delivery driver for FedEx in California from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Zazueta has been

eligible to receive overtime pay under the FLSA because Zazueta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1991. Plaintiff Melvin Zelaya Vasquez is an individual residing in California. Zelaya

Vasquez worked as a delivery driver for FedEx in California from approximately 2010 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Zelaya Vasquez has been eligible to receive overtime pay under the FLSA because Zelaya

Vasquez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        1992. Plaintiff Jose Zermeno is an individual residing in California. Zermeno worked as

a delivery driver for FedEx in California from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Zermeno has been

eligible to receive overtime pay under the FLSA because Zermeno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1993. Plaintiff Mayra Zermeno is an individual residing in California. Zermeno worked

as a delivery driver for FedEx in California from approximately 2020 to 2021 but was employed



                                               641
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 642 of 3128




through intermediary entities that FedEx calls independent service providers. Zermeno has been

eligible to receive overtime pay under the FLSA because Zermeno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1994. Plaintiff Junji Zhou is an individual residing in California. Zhou worked as a

delivery driver for FedEx in California from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Zhou has been

eligible to receive overtime pay under the FLSA because Zhou has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1995. Plaintiff Sergio Zuniga is an individual residing in California. Zuniga worked as a

delivery driver for FedEx in California from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Zuniga has been

eligible to receive overtime pay under the FLSA because Zuniga has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1996. Plaintiff Charles Adams is an individual residing in Colorado. Adams worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               642
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 643 of 3128




        1997. Plaintiff Riley Aitken is an individual residing in Colorado. Aitken worked as a

delivery driver for FedEx in Colorado and Oregon from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Aitken

has been eligible to receive overtime pay under the FLSA because Aitken has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        1998. Plaintiff Gordon Allen is an individual residing in Colorado. Allen worked as a

delivery driver for FedEx in Colorado from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        1999. Plaintiff Anthony Alston Ii is an individual residing in Colorado. Alston Ii worked

as a delivery driver for FedEx in Colorado from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Alston Ii has been

eligible to receive overtime pay under the FLSA because Alston Ii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2000. Plaintiff Valentino Alvarado is an individual residing in Colorado. Alvarado

worked as a delivery driver for FedEx in Colorado but was employed through intermediary

entities that FedEx calls independent service providers. Alvarado has been eligible to receive

overtime pay under the FLSA because Alvarado has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               643
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 644 of 3128




       2001. Plaintiff Kawana Anderson is an individual residing in Colorado. Anderson

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2002. Plaintiff Paul Anderson is an individual residing in Colorado. Anderson worked

as a delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2003. Plaintiff David Anderson is an individual residing in California. Anderson worked

as a delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2004. Plaintiff Reginald Ausler is an individual residing in Colorado. Ausler worked as

a delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ausler has been

eligible to receive overtime pay under the FLSA because Ausler has driven a vehicle weighing




                                              644
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 645 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2005. Plaintiff Jesse Autobee is an individual residing in Colorado. Autobee worked as

a delivery driver for FedEx in Colorado from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Autobee has been

eligible to receive overtime pay under the FLSA because Autobee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2006. Plaintiff Andrew Bachanov is an individual residing in Colorado. Bachanov

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Bachanov has been eligible to receive overtime pay under the FLSA because Bachanov has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2007. Plaintiff Rusty Baker is an individual residing in Colorado. Baker worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2008. Plaintiff Scott Baptist is an individual residing in Colorado. Baptist worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Baptist has been



                                               645
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 646 of 3128




eligible to receive overtime pay under the FLSA because Baptist has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2009. Plaintiff Dwayne Bell is an individual residing in Colorado. Bell worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Bell has been eligible to receive overtime pay under

the FLSA because Bell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2010. Plaintiff Russ Berry is an individual residing in Idaho. Berry worked as a delivery

driver for FedEx in Colorado from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Berry has been eligible to

receive overtime pay under the FLSA because Berry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2011. Plaintiff Eric Bettis is an individual residing in Colorado. Bettis worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Bettis has been eligible to receive overtime pay under

the FLSA because Bettis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2012. Plaintiff Gregory Birely is an individual residing in Colorado. Birely worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Birely has been

eligible to receive overtime pay under the FLSA because Birely has driven a vehicle weighing




                                               646
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 647 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2013. Plaintiff Daniel Boggs is an individual residing in Arizona. Boggs worked as a

delivery driver for FedEx in Colorado from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Boggs has been

eligible to receive overtime pay under the FLSA because Boggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2014. Plaintiff William Bonilla is an individual residing in Colorado. Bonilla worked as

a delivery driver for FedEx in Colorado from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bonilla has been

eligible to receive overtime pay under the FLSA because Bonilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2015. Plaintiff Chris Boyer is an individual residing in Colorado. Boyer worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Boyer has been eligible to receive overtime pay

under the FLSA because Boyer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2016. Plaintiff Gordon Bragg is an individual residing in Colorado. Bragg worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Bragg has been eligible to receive overtime pay




                                              647
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 648 of 3128




under the FLSA because Bragg has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2017. Plaintiff Daniel Bravo is an individual residing in Colorado. Bravo worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bravo has been

eligible to receive overtime pay under the FLSA because Bravo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2018. Plaintiff Travis Brown is an individual residing in Colorado. Brown worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2019. Plaintiff Reece Brown is an individual residing in Colorado. Brown worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2020. Plaintiff Brady Burkett is an individual residing in Colorado. Burkett worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Burkett has been

eligible to receive overtime pay under the FLSA because Burkett has driven a vehicle weighing



                                              648
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 649 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2021. Plaintiff Sadie Capuchino-Hernandez is an individual residing in Colorado.

Capuchino-Hernandez worked as a delivery driver for FedEx in Colorado from approximately

2017 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Capuchino-Hernandez has been eligible to receive overtime pay under the

FLSA because Capuchino-Hernandez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2022. Plaintiff Benjamin Carter is an individual residing in Colorado. Carter worked as

a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Carter has been eligible to receive overtime pay

under the FLSA because Carter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2023. Plaintiff Alberto Castro is an individual residing in Colorado. Castro worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Castro has been eligible to receive overtime pay

under the FLSA because Castro has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2024. Plaintiff Michael Childress is an individual residing in Colorado. Childress

worked as a delivery driver for FedEx in Colorado from approximately 2008 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Childress has been eligible to receive overtime pay under the FLSA because Childress has driven




                                               649
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 650 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2025. Plaintiff Michael Clinch is an individual residing in Nebraska. Clinch worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Clinch has been

eligible to receive overtime pay under the FLSA because Clinch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2026. Plaintiff Alan Connelly is an individual residing in Colorado. Connelly worked as

a delivery driver for FedEx in Colorado from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Connelly has been

eligible to receive overtime pay under the FLSA because Connelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2027. Plaintiff Nikkie Cooper is an individual residing in Colorado. Cooper worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2028. Plaintiff Christian Costello is an individual residing in Colorado. Costello worked

as a delivery driver for FedEx in Colorado from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Costello has been



                                               650
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 651 of 3128




eligible to receive overtime pay under the FLSA because Costello has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2029. Plaintiff Reigan Cuevas is an individual residing in Colorado. Cuevas worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cuevas has been

eligible to receive overtime pay under the FLSA because Cuevas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2030. Plaintiff Carrie Cupolo is an individual residing in Colorado. Cupolo worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Cupolo has been eligible to receive overtime pay

under the FLSA because Cupolo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2031. Plaintiff Joshua Curfman is an individual residing in Colorado. Curfman worked

as a delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Curfman has been

eligible to receive overtime pay under the FLSA because Curfman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2032. Plaintiff Stephen Cusick is an individual residing in Colorado. Cusick worked as a

delivery driver for FedEx in Colorado from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cusick has been



                                              651
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 652 of 3128




eligible to receive overtime pay under the FLSA because Cusick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2033. Plaintiff Kierstin Darrow is an individual residing in Colorado. Darrow worked as

a delivery driver for FedEx in Colorado from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Darrow has been

eligible to receive overtime pay under the FLSA because Darrow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2034. Plaintiff Garrett Deboer is an individual residing in Colorado. Deboer worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Deboer has been

eligible to receive overtime pay under the FLSA because Deboer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2035. Plaintiff Thomas Decourcey is an individual residing in New Jersey. Decourcey

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Decourcey has been eligible to receive overtime pay under the FLSA because Decourcey has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2036. Plaintiff Dominik Diblasi is an individual residing in New Jersey. Diblasi worked

as a delivery driver for FedEx in Colorado from approximately 2014 to 2017 but was employed



                                              652
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 653 of 3128




through intermediary entities that FedEx calls independent service providers. Diblasi has been

eligible to receive overtime pay under the FLSA because Diblasi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2037. Plaintiff Andre Dismuke is an individual residing in Colorado. Dismuke worked

as a delivery driver for FedEx in Colorado from approximately 2002 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dismuke has been

eligible to receive overtime pay under the FLSA because Dismuke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2038. Plaintiff Dextine Dragon is an individual residing in California. Dragon worked as

a delivery driver for FedEx in Colorado and California from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Dragon

has been eligible to receive overtime pay under the FLSA because Dragon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2039. Plaintiff Raymond Dyson is an individual residing in Texas. Dyson worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dyson has been

eligible to receive overtime pay under the FLSA because Dyson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              653
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 654 of 3128




        2040. Plaintiff Richard Eisenreich is an individual residing in Colorado. Eisenreich

worked as a delivery driver for FedEx in Colorado from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Eisenreich has been eligible to receive overtime pay under the FLSA because Eisenreich has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2041. Plaintiff Gary Ellyson is an individual residing in Colorado. Ellyson worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Ellyson has been eligible to receive overtime pay

under the FLSA because Ellyson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2042. Plaintiff Natnael Engdashet is an individual residing in Colorado. Engdashet

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Engdashet has been eligible to receive overtime pay under the FLSA because Engdashet has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2043. Plaintiff Kevin Erisman is an individual residing in Colorado. Erisman worked as

a delivery driver for FedEx in Colorado from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Erisman has been

eligible to receive overtime pay under the FLSA because Erisman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              654
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 655 of 3128




        2044. Plaintiff Albert Ferguson is an individual residing in Colorado. Ferguson worked

as a delivery driver for FedEx in Colorado from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ferguson has been

eligible to receive overtime pay under the FLSA because Ferguson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2045. Plaintiff David Fisher is an individual residing in Washington. Fisher worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fisher has been

eligible to receive overtime pay under the FLSA because Fisher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2046. Plaintiff Robert Formhals is an individual residing in Colorado. Formhals worked

as a delivery driver for FedEx in Colorado from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Formhals has been

eligible to receive overtime pay under the FLSA because Formhals has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2047. Plaintiff Benjamin Gabrio is an individual residing in Colorado. Gabrio worked as

a delivery driver for FedEx in Colorado from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gabrio has been

eligible to receive overtime pay under the FLSA because Gabrio has driven a vehicle weighing




                                              655
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 656 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2048. Plaintiff Ernest Garcia is an individual residing in Colorado. Garcia worked as a

delivery driver for FedEx in Colorado from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2049. Plaintiff Dana Gardner is an individual residing in Colorado. Gardner worked as a

delivery driver for FedEx in Colorado from approximately 2004 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gardner has been

eligible to receive overtime pay under the FLSA because Gardner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2050. Plaintiff John Garduno is an individual residing in Colorado. Garduno worked as

a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Garduno has been eligible to receive overtime pay

under the FLSA because Garduno has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2051. Plaintiff Delano Glenn is an individual residing in Colorado. Glenn worked as a

delivery driver for FedEx in Colorado from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Glenn has been

eligible to receive overtime pay under the FLSA because Glenn has driven a vehicle weighing



                                               656
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 657 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2052. Plaintiff Brad Golojuch is an individual residing in Colorado. Golojuch worked as

a delivery driver for FedEx in Colorado from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Golojuch has been

eligible to receive overtime pay under the FLSA because Golojuch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2053. Plaintiff Casey Good is an individual residing in Kansas. Good worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Good has been

eligible to receive overtime pay under the FLSA because Good has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2054. Plaintiff Samuel Granados is an individual residing in Colorado. Granados

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Granados has been eligible to receive overtime pay under the FLSA because Granados has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2055. Plaintiff Koehler Gray is an individual residing in Colorado. Gray worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Gray has been eligible to receive overtime pay under



                                              657
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 658 of 3128




the FLSA because Gray has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2056. Plaintiff John Green is an individual residing in Colorado. Green worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2057. Plaintiff Steve Guerrero is an individual residing in Colorado. Guerrero worked as

a delivery driver for FedEx in Colorado from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Guerrero has been

eligible to receive overtime pay under the FLSA because Guerrero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2058. Plaintiff Matthew Guidry is an individual residing in South Carolina. Guidry

worked as a delivery driver for FedEx in Colorado from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Guidry

has been eligible to receive overtime pay under the FLSA because Guidry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2059. Plaintiff Franklin Guzman is an individual residing in Colorado. Guzman worked

as a delivery driver for FedEx in Colorado from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Guzman has been



                                              658
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 659 of 3128




eligible to receive overtime pay under the FLSA because Guzman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2060. Plaintiff William Hall is an individual residing in Colorado. Hall worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2061. Plaintiff Shelia Hamilton is an individual residing in Tennessee. Hamilton worked

as a delivery driver for FedEx in Colorado from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hamilton has been

eligible to receive overtime pay under the FLSA because Hamilton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2062. Plaintiff Diana Hayes is an individual residing in Colorado. Hayes worked as a

delivery driver for FedEx in Colorado from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2063. Plaintiff Vanessa Hebb is an individual residing in Texas. Hebb worked as a

delivery driver for FedEx in Colorado from approximately 2006 to 2022 but was employed



                                               659
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 660 of 3128




through intermediary entities that FedEx calls independent service providers. Hebb has been

eligible to receive overtime pay under the FLSA because Hebb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2064. Plaintiff Suzanne Hein is an individual residing in Colorado. Hein worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hein has been

eligible to receive overtime pay under the FLSA because Hein has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2065. Plaintiff William Helms is an individual residing in Colorado. Helms worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Helms has been

eligible to receive overtime pay under the FLSA because Helms has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2066. Plaintiff Lenonard Henderson is an individual residing in Colorado. Henderson

worked as a delivery driver for FedEx in Colorado from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              660
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 661 of 3128




        2067. Plaintiff Austin Herbeck is an individual residing in Colorado. Herbeck worked as

a delivery driver for FedEx in Colorado from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Herbeck has been

eligible to receive overtime pay under the FLSA because Herbeck has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2068. Plaintiff Karen Hernandez Artiga is an individual residing in Colorado.

Hernandez Artiga worked as a delivery driver for FedEx in Colorado from approximately 2019

to 2021 but was employed through intermediary entities that FedEx calls independent service

providers. Hernandez Artiga has been eligible to receive overtime pay under the FLSA because

Hernandez Artiga has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2069. Plaintiff Gabriela Herrera is an individual residing in Colorado. Herrera worked

as a delivery driver for FedEx in Colorado from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2070. Plaintiff Cory Hetrick is an individual residing in Arizona. Hetrick worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hetrick has been

eligible to receive overtime pay under the FLSA because Hetrick has driven a vehicle weighing




                                               661
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 662 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2071. Plaintiff Seth Hill is an individual residing in Colorado. Hill worked as a delivery

driver for FedEx in Colorado but was employed through intermediary entities that FedEx calls

independent service providers. Hill has been eligible to receive overtime pay under the FLSA

because Hill has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2072. Plaintiff Dennis Hughes is an individual residing in North Carolina. Hughes

worked as a delivery driver for FedEx in Colorado but was employed through intermediary

entities that FedEx calls independent service providers. Hughes has been eligible to receive

overtime pay under the FLSA because Hughes has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2073. Plaintiff Paula James is an individual residing in Colorado. James worked as a

delivery driver for FedEx in Colorado from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. James has been

eligible to receive overtime pay under the FLSA because James has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2074. Plaintiff Adolph Jaramillo is an individual residing in Colorado. Jaramillo worked

as a delivery driver for FedEx in Colorado from approximately 2003 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jaramillo has been

eligible to receive overtime pay under the FLSA because Jaramillo has driven a vehicle weighing




                                               662
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 663 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2075. Plaintiff Jason Jernegan is an individual residing in Colorado. Jernegan worked as

a delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jernegan has been

eligible to receive overtime pay under the FLSA because Jernegan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2076. Plaintiff Joshua Jett is an individual residing in Florida. Jett worked as a delivery

driver for FedEx in Colorado from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Jett has been eligible to

receive overtime pay under the FLSA because Jett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2077. Plaintiff Safaa Jewad is an individual residing in Colorado. Jewad worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Jewad has been eligible to receive overtime pay

under the FLSA because Jewad has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2078. Plaintiff Fidel Jimenez is an individual residing in Colorado. Jimenez worked as a

delivery driver for FedEx in Colorado from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been

eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing




                                                663
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 664 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2079. Plaintiff Leon Jiron is an individual residing in Colorado. Jiron worked as a

delivery driver for FedEx in Colorado from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jiron has been

eligible to receive overtime pay under the FLSA because Jiron has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2080. Plaintiff Michael Johnson is an individual residing in Colorado. Johnson worked

as a delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2081. Plaintiff Isaac Johnson is an individual residing in Colorado. Johnson worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2082. Plaintiff Patrick Jones is an individual residing in Colorado. Jones worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under



                                               664
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 665 of 3128




the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2083. Plaintiff Kathie Keeler is an individual residing in Colorado. Keeler worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Keeler has been

eligible to receive overtime pay under the FLSA because Keeler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2084. Plaintiff Patience Kinzie is an individual residing in Colorado. Kinzie worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Kinzie has been eligible to receive overtime pay

under the FLSA because Kinzie has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2085. Plaintiff Corey Kleinhenz is an individual residing in Colorado. Kleinhenz

worked as a delivery driver for FedEx in Colorado but was employed through intermediary

entities that FedEx calls independent service providers. Kleinhenz has been eligible to receive

overtime pay under the FLSA because Kleinhenz has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2086. Plaintiff Camille Kurz is an individual residing in Idaho. Kurz worked as a

delivery driver for FedEx in Colorado from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Kurz has been

eligible to receive overtime pay under the FLSA because Kurz has driven a vehicle weighing less




                                               665
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 666 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2087. Plaintiff Baron Landingham is an individual residing in Colorado. Landingham

worked as a delivery driver for FedEx in Colorado from approximately 2006 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Landingham has been eligible to receive overtime pay under the FLSA because Landingham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2088. Plaintiff Timothy Lawrene is an individual residing in Colorado. Lawrene worked

as a delivery driver for FedEx in Colorado from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lawrene has been

eligible to receive overtime pay under the FLSA because Lawrene has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2089. Plaintiff Alma Leal is an individual residing in Colorado. Leal worked as a

delivery driver for FedEx in Colorado from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Leal has been

eligible to receive overtime pay under the FLSA because Leal has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2090. Plaintiff Ralph Lee is an individual residing in Colorado. Lee worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been



                                              666
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 667 of 3128




eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2091. Plaintiff Dennis Levings is an individual residing in Colorado. Levings worked as

a delivery driver for FedEx in Colorado from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Levings has been

eligible to receive overtime pay under the FLSA because Levings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2092. Plaintiff Kevin Lole is an individual residing in Colorado. Lole worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lole has been

eligible to receive overtime pay under the FLSA because Lole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2093. Plaintiff John Lonergan is an individual residing in California. Lonergan worked

as a delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lonergan has been

eligible to receive overtime pay under the FLSA because Lonergan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2094. Plaintiff Paul Lucero is an individual residing in Colorado. Lucero worked as a

delivery driver for FedEx in Colorado from approximately 2000 to 2016 but was employed



                                              667
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24      Page 668 of 3128




through intermediary entities that FedEx calls independent service providers. Lucero has been

eligible to receive overtime pay under the FLSA because Lucero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2095. Plaintiff Vince Luciano is an individual residing in Colorado. Luciano worked as

a delivery driver for FedEx in Colorado from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Luciano has been

eligible to receive overtime pay under the FLSA because Luciano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2096. Plaintiff Kelsey Lynn/ Young is an individual residing in Colorado. Lynn/ Young

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Lynn/

Young has been eligible to receive overtime pay under the FLSA because Lynn/ Young has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2097. Plaintiff Keyandrea Macklin is an individual residing in Colorado. Macklin

worked as a delivery driver for FedEx in Colorado from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Macklin

has been eligible to receive overtime pay under the FLSA because Macklin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              668
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 669 of 3128




        2098. Plaintiff Joseph Madrid is an individual residing in Texas. Madrid worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Madrid has been

eligible to receive overtime pay under the FLSA because Madrid has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2099. Plaintiff Jesse Madril is an individual residing in Colorado. Madril worked as a

delivery driver for FedEx in Colorado from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Madril has been

eligible to receive overtime pay under the FLSA because Madril has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2100. Plaintiff James Delagardelle is an individual residing in Arizona. Marks worked

as a delivery driver for FedEx in Colorado from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Marks has been

eligible to receive overtime pay under the FLSA because Marks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2101. Plaintiff Dennis Martin is an individual residing in Colorado. Martin worked as a

delivery driver for FedEx in Colorado from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing




                                               669
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 670 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2102. Plaintiff Logan Martin is an individual residing in Texas. Martin worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2103. Plaintiff Darryl Martin is an individual residing in Colorado. Martin worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Martin has been eligible to receive overtime pay

under the FLSA because Martin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2104. Plaintiff Fred Martinez is an individual residing in Colorado. Martinez worked as

a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Martinez has been eligible to receive overtime pay

under the FLSA because Martinez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2105. Plaintiff Anita Martinez is an individual residing in Colorado. Martinez worked as

a delivery driver for FedEx in Colorado from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing




                                              670
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 671 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2106. Plaintiff Timothy Martinez is an individual residing in Colorado. Martinez

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Martinez

has been eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2107. Plaintiff Ryan Mattingley is an individual residing in Texas. Mattingley worked

as a delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mattingley has

been eligible to receive overtime pay under the FLSA because Mattingley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2108. Plaintiff George Mc Donough is an individual residing in Colorado. Mc Donough

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Mc

Donough has been eligible to receive overtime pay under the FLSA because Mc Donough has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2109. Plaintiff Donald Mcculloch is an individual residing in Colorado. Mcculloch

worked as a delivery driver for FedEx in Colorado from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              671
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 672 of 3128




Mcculloch has been eligible to receive overtime pay under the FLSA because Mcculloch has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2110. Plaintiff Stephen Mchale is an individual residing in Colorado. Mchale worked as

a delivery driver for FedEx in Colorado from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mchale has been

eligible to receive overtime pay under the FLSA because Mchale has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2111. Plaintiff Ruben Medina is an individual residing in Colorado. Medina worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Medina has been

eligible to receive overtime pay under the FLSA because Medina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2112. Plaintiff Frederick Medina is an individual residing in Colorado. Medina worked

as a delivery driver for FedEx in Colorado from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Medina has been

eligible to receive overtime pay under the FLSA because Medina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2113. Plaintiff Jonathan Merrell is an individual residing in Colorado. Merrell worked

as a delivery driver for FedEx in Colorado from approximately 2013 to 2017 but was employed



                                              672
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 673 of 3128




through intermediary entities that FedEx calls independent service providers. Merrell has been

eligible to receive overtime pay under the FLSA because Merrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2114. Plaintiff Justin Michels is an individual residing in Colorado. Michels worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Michels has been eligible to receive overtime pay

under the FLSA because Michels has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2115. Plaintiff Paul Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2116. Plaintiff Paul Mills is an individual residing in Colorado. Mills worked as a

delivery driver for FedEx in Colorado from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mills has been

eligible to receive overtime pay under the FLSA because Mills has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2117. Plaintiff Steve Monell is an individual residing in Colorado. Monell worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Monell has been



                                               673
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 674 of 3128




eligible to receive overtime pay under the FLSA because Monell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2118. Plaintiff Rita Moore is an individual residing in Illinois. Moore worked as a

delivery driver for FedEx in Colorado from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2119. Plaintiff Dawaun Morehead is an individual residing in Georgia. Morehead

worked as a delivery driver for FedEx in Colorado from approximately 2010 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Morehead has been eligible to receive overtime pay under the FLSA because Morehead has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2120. Plaintiff Glen Mustian is an individual residing in Colorado. Mustian worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Mustian has been eligible to receive overtime pay

under the FLSA because Mustian has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2121. Plaintiff Christopher Napolitano is an individual residing in Colorado. Napolitano

worked as a delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               674
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 675 of 3128




Napolitano has been eligible to receive overtime pay under the FLSA because Napolitano has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2122. Plaintiff Larry Nazarenus Ii is an individual residing in Georgia. Nazarenus Ii

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Nazarenus Ii has been eligible to receive overtime pay under the FLSA because Nazarenus Ii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2123. Plaintiff Josh Nelson is an individual residing in Colorado. Nelson worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2124. Plaintiff Michael Newman is an individual residing in Colorado. Newman worked

as a delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Newman has been

eligible to receive overtime pay under the FLSA because Newman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2125. Plaintiff Matthew Newman is an individual residing in Colorado. Newman

worked as a delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was



                                               675
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 676 of 3128




employed through intermediary entities that FedEx calls independent service providers. Newman

has been eligible to receive overtime pay under the FLSA because Newman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2126. Plaintiff Adrienne Newton is an individual residing in Colorado. Newton worked

as a delivery driver for FedEx in Colorado from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Newton has been

eligible to receive overtime pay under the FLSA because Newton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2127. Plaintiff Jason Noval is an individual residing in Colorado. Noval worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Noval has been eligible to receive overtime pay

under the FLSA because Noval has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2128. Plaintiff Sierra Oakley is an individual residing in Colorado. Oakley worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Oakley has been

eligible to receive overtime pay under the FLSA because Oakley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2129. Plaintiff Merin Oakley Jr. is an individual residing in Colorado. Oakley Jr.

worked as a delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was



                                               676
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 677 of 3128




employed through intermediary entities that FedEx calls independent service providers. Oakley

Jr. has been eligible to receive overtime pay under the FLSA because Oakley Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2130. Plaintiff George Odar is an individual residing in California. Odar worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Odar has been eligible to receive overtime pay under

the FLSA because Odar has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2131. Plaintiff Todd Ohaver is an individual residing in Colorado. Ohaver worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ohaver has been

eligible to receive overtime pay under the FLSA because Ohaver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2132. Plaintiff James Padilla is an individual residing in Colorado. Padilla worked as a

delivery driver for FedEx in Colorado from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Padilla has been

eligible to receive overtime pay under the FLSA because Padilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2133. Plaintiff Reyna Padilla is an individual residing in Colorado. Padilla worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that



                                               677
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 678 of 3128




FedEx calls independent service providers. Padilla has been eligible to receive overtime pay

under the FLSA because Padilla has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2134. Plaintiff Christopher Palacios is an individual residing in Colorado. Palacios

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Palacios

has been eligible to receive overtime pay under the FLSA because Palacios has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2135. Plaintiff Chrisopher Parker is an individual residing in Colorado. Parker worked

as a delivery driver for FedEx in Colorado from approximately 1999 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2136. Plaintiff Sherry Perez Martinez is an individual residing in Colorado. Perez

Martinez worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Perez Martinez has been eligible to receive overtime pay under the FLSA because Perez

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        2137. Plaintiff Hunter Perry is an individual residing in Colorado. Perry worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2024 but was employed



                                               678
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 679 of 3128




through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2138. Plaintiff Rose Peters is an individual residing in Colorado. Peters worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Peters has been

eligible to receive overtime pay under the FLSA because Peters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2139. Plaintiff Timothy Pineda is an individual residing in Colorado. Pineda worked as

a delivery driver for FedEx in Colorado from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pineda has been

eligible to receive overtime pay under the FLSA because Pineda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2140. Plaintiff Ron Porter is an individual residing in Colorado. Porter worked as a

delivery driver for FedEx in Colorado from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Porter has been

eligible to receive overtime pay under the FLSA because Porter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               679
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 680 of 3128




        2141. Plaintiff Samantha Potts is an individual residing in Colorado. Potts worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Potts has been eligible to receive overtime pay under

the FLSA because Potts has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2142. Plaintiff Luis Provencio is an individual residing in Colorado. Provencio worked

as a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Provencio has been eligible to receive overtime pay

under the FLSA because Provencio has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2143. Plaintiff Melissa Rees is an individual residing in Colorado. Rees worked as a

delivery driver for FedEx in Colorado from approximately 2007 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rees has been

eligible to receive overtime pay under the FLSA because Rees has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2144. Plaintiff Bert Ellis is an individual residing in Colorado. Rhinehart worked as a

delivery driver for FedEx in Colorado from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rhinehart has been

eligible to receive overtime pay under the FLSA because Rhinehart has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               680
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 681 of 3128




        2145. Plaintiff William Rhodes is an individual residing in Pennsylvania. Rhodes

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Rhodes

has been eligible to receive overtime pay under the FLSA because Rhodes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2146. Plaintiff Joseph Rico is an individual residing in Colorado. Rico worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rico has been

eligible to receive overtime pay under the FLSA because Rico has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2147. Plaintiff Kent Riddell is an individual residing in Colorado. Riddell worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Riddell has been

eligible to receive overtime pay under the FLSA because Riddell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2148. Plaintiff William Roberts is an individual residing in Colorado. Roberts worked as

a delivery driver for FedEx in Colorado from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Roberts has been

eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle weighing




                                               681
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 682 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2149. Plaintiff Christopher Robinson is an individual residing in Wyoming. Robinson

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2150. Plaintiff Kimberly Rocha is an individual residing in Colorado. Rocha worked as

a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Rocha has been eligible to receive overtime pay

under the FLSA because Rocha has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2151. Plaintiff Ralph Romero is an individual residing in Colorado. Romero worked as

a delivery driver for FedEx in Colorado from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Romero has been

eligible to receive overtime pay under the FLSA because Romero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2152. Plaintiff Anthony Russo is an individual residing in Colorado. Russo worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Russo has been eligible to receive overtime pay




                                              682
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 683 of 3128




under the FLSA because Russo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2153. Plaintiff Nathan Rydalch is an individual residing in Colorado. Rydalch worked

as a delivery driver for FedEx in Colorado from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rydalch has been

eligible to receive overtime pay under the FLSA because Rydalch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2154. Plaintiff Tierre Sams is an individual residing in Texas. Sams worked as a

delivery driver for FedEx in Colorado from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sams has been

eligible to receive overtime pay under the FLSA because Sams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2155. Plaintiff Joe Sanchez is an individual residing in Colorado. Sanchez worked as a

delivery driver for FedEx in Colorado and Wyoming but was employed through intermediary

entities that FedEx calls independent service providers. Sanchez has been eligible to receive

overtime pay under the FLSA because Sanchez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2156. Plaintiff Ricky Sandoval is an individual residing in Colorado. Sandoval worked

as a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Sandoval has been eligible to receive overtime pay




                                               683
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 684 of 3128




under the FLSA because Sandoval has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2157. Plaintiff Pauletta Sandoval is an individual residing in Oklahoma. Sandoval

worked as a delivery driver for FedEx in Colorado from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Sandoval

has been eligible to receive overtime pay under the FLSA because Sandoval has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2158. Plaintiff Timothy Scheve is an individual residing in Colorado. Scheve worked as

a delivery driver for FedEx in Colorado from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Scheve has been

eligible to receive overtime pay under the FLSA because Scheve has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2159. Plaintiff Richard Schrader is an individual residing in Colorado. Schrader worked

as a delivery driver for FedEx in Colorado from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Schrader has been

eligible to receive overtime pay under the FLSA because Schrader has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2160. Plaintiff Damon Schultz is an individual residing in California. Schultz worked as

a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Schultz has been eligible to receive overtime pay



                                              684
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 685 of 3128




under the FLSA because Schultz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2161. Plaintiff Jamal Scott is an individual residing in Colorado. Scott worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2162. Plaintiff Brien Searcy is an individual residing in Colorado. Searcy worked as a

delivery driver for FedEx in Colorado from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Searcy has been

eligible to receive overtime pay under the FLSA because Searcy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2163. Plaintiff Mitchell Secunda is an individual residing in Michigan. Secunda worked

as a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Secunda has been eligible to receive overtime pay

under the FLSA because Secunda has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2164. Plaintiff Melissa Segura is an individual residing in Colorado. Segura worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Segura has been eligible to receive overtime pay




                                               685
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 686 of 3128




under the FLSA because Segura has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2165. Plaintiff Zachariah Sheppard is an individual residing in Colorado. Sheppard

worked as a delivery driver for FedEx in Colorado from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Sheppard has been eligible to receive overtime pay under the FLSA because Sheppard has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       2166. Plaintiff Douglas Shinofield is an individual residing in Colorado. Shinofield

worked as a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Shinofield has been eligible to receive overtime pay under the FLSA because Shinofield has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2167. Plaintiff Jeffrey Sitzmann is an individual residing in Colorado. Sitzmann worked

as a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Sitzmann has been eligible to receive overtime pay

under the FLSA because Sitzmann has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       2168. Plaintiff Karin Slack is an individual residing in Missouri. Slack worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Slack has been

eligible to receive overtime pay under the FLSA because Slack has driven a vehicle weighing



                                              686
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 687 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2169. Plaintiff Latrice Smith is an individual residing in Colorado. Smith worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2170. Plaintiff Cody Smith is an individual residing in Colorado. Smith worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2171. Plaintiff Jae So is an individual residing in Colorado. So worked as a delivery

driver for FedEx in Colorado from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. So has been eligible to

receive overtime pay under the FLSA because So has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2172. Plaintiff Donald Stanley is an individual residing in Colorado. Stanley worked as

a delivery driver for FedEx in Colorado from approximately 1993 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Stanley has been

eligible to receive overtime pay under the FLSA because Stanley has driven a vehicle weighing




                                               687
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 688 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2173. Plaintiff Zechariah Stansbury is an individual residing in Colorado. Stansbury

worked as a delivery driver for FedEx in Colorado but was employed through intermediary

entities that FedEx calls independent service providers. Stansbury has been eligible to receive

overtime pay under the FLSA because Stansbury has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2174. Plaintiff James Stongle is an individual residing in Colorado. Stongle worked as a

delivery driver for FedEx in Colorado from approximately 2001 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Stongle has been

eligible to receive overtime pay under the FLSA because Stongle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2175. Plaintiff Angelo Strock is an individual residing in Colorado. Strock worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Strock has been

eligible to receive overtime pay under the FLSA because Strock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2176. Plaintiff Avis Stubbs is an individual residing in Colorado. Stubbs worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stubbs has been

eligible to receive overtime pay under the FLSA because Stubbs has driven a vehicle weighing



                                               688
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 689 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2177. Plaintiff Andy Swenson is an individual residing in Colorado. Swenson worked as

a delivery driver for FedEx in Colorado from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Swenson has been

eligible to receive overtime pay under the FLSA because Swenson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2178. Plaintiff Zachary Taylor is an individual residing in Colorado. Taylor worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2179. Plaintiff Aiden Taylor is an individual residing in Texas. Taylor worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2180. Plaintiff Thomas Tencick is an individual residing in Colorado. Tencick worked

as a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Tencick has been eligible to receive overtime pay



                                              689
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 690 of 3128




under the FLSA because Tencick has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2181. Plaintiff Richard Thomas is an individual residing in Colorado. Thomas worked

as a delivery driver for FedEx in Colorado from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2182. Plaintiff Brian Torres is an individual residing in Colorado. Torres worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Torres has been eligible to receive overtime pay

under the FLSA because Torres has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2183. Plaintiff David Trevizo is an individual residing in Colorado. Trevizo worked as a

delivery driver for FedEx in Colorado from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Trevizo has been

eligible to receive overtime pay under the FLSA because Trevizo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2184. Plaintiff John Trujillo is an individual residing in Colorado. Trujillo worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Trujillo has been

eligible to receive overtime pay under the FLSA because Trujillo has driven a vehicle weighing



                                               690
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 691 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2185. Plaintiff Russell Trujillo is an individual residing in Colorado. Trujillo worked as

a delivery driver for FedEx in Colorado from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Trujillo has been

eligible to receive overtime pay under the FLSA because Trujillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2186. Plaintiff Tommy Trujillo is an individual residing in Colorado. Trujillo worked as

a delivery driver for FedEx in Colorado from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Trujillo has been

eligible to receive overtime pay under the FLSA because Trujillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2187. Plaintiff Conner Udell is an individual residing in Colorado. Udell worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Udell has been

eligible to receive overtime pay under the FLSA because Udell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2188. Plaintiff Jesse Valdez is an individual residing in Colorado. Valdez worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Valdez has been eligible to receive overtime pay



                                               691
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 692 of 3128




under the FLSA because Valdez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2189. Plaintiff William Vance is an individual residing in Colorado. Vance worked as a

delivery driver for FedEx in Colorado from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vance has been

eligible to receive overtime pay under the FLSA because Vance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2190. Plaintiff Rachele Vargas is an individual residing in Colorado. Vargas worked as

a delivery driver for FedEx in Colorado from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2191. Plaintiff Eric Vigil is an individual residing in Colorado. Vigil worked as a

delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Vigil has been eligible to receive overtime pay under

the FLSA because Vigil has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2192. Plaintiff Carter Washington is an individual residing in Colorado. Washington

worked as a delivery driver for FedEx in Colorado from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has



                                               692
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 693 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2193. Plaintiff William Wayland is an individual residing in Colorado. Wayland worked

as a delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wayland has been

eligible to receive overtime pay under the FLSA because Wayland has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2194. Plaintiff William Wendell is an individual residing in Wisconsin. Wendell worked

as a delivery driver for FedEx in Colorado and Florida but was employed through intermediary

entities that FedEx calls independent service providers. Wendell has been eligible to receive

overtime pay under the FLSA because Wendell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2195. Plaintiff Daniel Whiteman is an individual residing in Colorado. Whiteman

worked as a delivery driver for FedEx in Colorado from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Whiteman has been eligible to receive overtime pay under the FLSA because Whiteman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2196. Plaintiff William Whitmore is an individual residing in Arizona. Whitmore

worked as a delivery driver for FedEx in Colorado from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Whitmore has been eligible to receive overtime pay under the FLSA because Whitmore has



                                               693
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 694 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2197. Plaintiff Dakota Wilkinson is an individual residing in Colorado. Wilkinson

worked as a delivery driver for FedEx in Colorado from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Wilkinson has been eligible to receive overtime pay under the FLSA because Wilkinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2198. Plaintiff Jason Williams is an individual residing in Colorado. Williams worked

as a delivery driver for FedEx in Colorado but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2199. Plaintiff Arnold Wilson is an individual residing in Colorado. Wilson worked as a

delivery driver for FedEx in Colorado from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2200. Plaintiff Teri Woodward is an individual residing in Colorado. Woodward worked

as a delivery driver for FedEx in Colorado from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Woodward has

been eligible to receive overtime pay under the FLSA because Woodward has driven a vehicle



                                              694
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 695 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2201. Plaintiff Jazzmin Wyatt is an individual residing in Colorado. Wyatt worked as a

delivery driver for FedEx in Colorado from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wyatt has been

eligible to receive overtime pay under the FLSA because Wyatt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2202. Plaintiff Dan Yates is an individual residing in Colorado. Yates worked as a

delivery driver for FedEx in Colorado from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Yates has been

eligible to receive overtime pay under the FLSA because Yates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2203. Plaintiff Ahmed Zaki is an individual residing in Colorado. Zaki worked as a

delivery driver for FedEx in Colorado from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Zaki has been

eligible to receive overtime pay under the FLSA because Zaki has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2204. Plaintiff Tamer Abdallah is an individual residing in Connecticut. Abdallah

worked as a delivery driver for FedEx in Connecticut from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Abdallah



                                              695
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 696 of 3128




has been eligible to receive overtime pay under the FLSA because Abdallah has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2205. Plaintiff Ashley Acevedo is an individual residing in Connecticut. Acevedo

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Acevedo has been eligible to receive

overtime pay under the FLSA because Acevedo has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2206. Plaintiff Jeniffer Alcantara Calise is an individual residing in Connecticut.

Alcantara Calise worked as a delivery driver for FedEx in Connecticut from approximately 2016

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Alcantara Calise has been eligible to receive overtime pay under the FLSA because

Alcantara Calise has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2207. Plaintiff Loubert Antoine is an individual residing in Connecticut. Antoine

worked as a delivery driver for FedEx in Connecticut from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Antoine

has been eligible to receive overtime pay under the FLSA because Antoine has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2208. Plaintiff Justin Banos is an individual residing in Texas. Banos worked as a

delivery driver for FedEx in Connecticut from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Banos has been



                                               696
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 697 of 3128




eligible to receive overtime pay under the FLSA because Banos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2209. Plaintiff Michael Barnaby is an individual residing in Florida. Barnaby worked as

a delivery driver for FedEx in Connecticut from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Barnaby has been

eligible to receive overtime pay under the FLSA because Barnaby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2210. Plaintiff William Barnett is an individual residing in Connecticut. Barnett worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Barnett has been eligible to receive overtime pay

under the FLSA because Barnett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2211. Plaintiff Anthony Bartholomew is an individual residing in Connecticut.

Bartholomew worked as a delivery driver for FedEx in Connecticut from approximately 2012 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Bartholomew has been eligible to receive overtime pay under the FLSA because

Bartholomew has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2212. Plaintiff Roan Bell is an individual residing in Connecticut. Bell worked as a

delivery driver for FedEx in Connecticut from approximately 2010 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been



                                               697
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 698 of 3128




eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2213. Plaintiff Victor Benitez is an individual residing in Connecticut. Benitez worked

as a delivery driver for FedEx in Connecticut from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Benitez

has been eligible to receive overtime pay under the FLSA because Benitez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2214. Plaintiff Kenneth Bennett is an individual residing in Connecticut. Bennett

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Bennett has been eligible to receive

overtime pay under the FLSA because Bennett has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2215. Plaintiff Xhevat Beqiraj is an individual residing in Connecticut. Beqiraj worked

as a delivery driver for FedEx in Connecticut from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Beqiraj

has been eligible to receive overtime pay under the FLSA because Beqiraj has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2216. Plaintiff Emmanuel Berrouet is an individual residing in Connecticut. Berrouet

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Berrouet has been eligible to receive



                                               698
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 699 of 3128




overtime pay under the FLSA because Berrouet has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2217. Plaintiff William Bibber Iii I is an individual residing in Connecticut. Bibber Iii I

worked as a delivery driver for FedEx in Connecticut from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bibber

Iii I has been eligible to receive overtime pay under the FLSA because Bibber Iii I has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2218. Plaintiff Kylie Bike is an individual residing in Connecticut. Bike worked as a

delivery driver for FedEx in Connecticut from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bike has been

eligible to receive overtime pay under the FLSA because Bike has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2219. Plaintiff Iesha Blake is an individual residing in Connecticut. Blake worked as a

delivery driver for FedEx in Connecticut from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Blake has been

eligible to receive overtime pay under the FLSA because Blake has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2220. Plaintiff Rodney Blake is an individual residing in Connecticut. Blake worked as

a delivery driver for FedEx in Connecticut but was employed through intermediary entities that

FedEx calls independent service providers. Blake has been eligible to receive overtime pay under



                                                699
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 700 of 3128




the FLSA because Blake has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2221. Plaintiff Shawn Boswell is an individual residing in Connecticut. Boswell worked

as a delivery driver for FedEx in Connecticut from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Boswell

has been eligible to receive overtime pay under the FLSA because Boswell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2222. Plaintiff Erica Boyce is an individual residing in Connecticut. Boyce worked as a

delivery driver for FedEx in Connecticut but was employed through intermediary entities that

FedEx calls independent service providers. Boyce has been eligible to receive overtime pay

under the FLSA because Boyce has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2223. Plaintiff Dion Britton is an individual residing in Connecticut. Britton worked as a

delivery driver for FedEx in Connecticut from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Britton has been

eligible to receive overtime pay under the FLSA because Britton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2224. Plaintiff Kirk Brodie is an individual residing in Michigan. Brodie worked as a

delivery driver for FedEx in Connecticut from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brodie has been

eligible to receive overtime pay under the FLSA because Brodie has driven a vehicle weighing



                                               700
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 701 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2225. Plaintiff Chetayen Brown is an individual residing in Connecticut. Brown worked

as a delivery driver for FedEx in Connecticut from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2226. Plaintiff Lemonte Brown is an individual residing in Connecticut. Brown worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2227. Plaintiff William Bugbee is an individual residing in Connecticut. Bugbee worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Bugbee has been eligible to receive overtime pay

under the FLSA because Bugbee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2228. Plaintiff Andrea Burkhard is an individual residing in Massachusetts. Burkhard

worked as a delivery driver for FedEx in Connecticut and Massachusetts but was employed

through intermediary entities that FedEx calls independent service providers. Burkhard has been

eligible to receive overtime pay under the FLSA because Burkhard has driven a vehicle weighing




                                              701
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 702 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2229. Plaintiff Shane Byrnes is an individual residing in Connecticut. Byrnes worked as

a delivery driver for FedEx in Connecticut from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Byrnes has been

eligible to receive overtime pay under the FLSA because Byrnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2230. Plaintiff Glenn Caba Morel is an individual residing in Connecticut. Caba Morel

worked as a delivery driver for FedEx in Connecticut from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Caba

Morel has been eligible to receive overtime pay under the FLSA because Caba Morel has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2231. Plaintiff Juan Carrasquillio is an individual residing in Connecticut. Carrasquillio

worked as a delivery driver for FedEx in Connecticut from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Carrasquillio has been eligible to receive overtime pay under the FLSA because Carrasquillio

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        2232. Plaintiff Eric Sullivan is an individual residing in Connecticut. Casmier worked as

a delivery driver for FedEx in Connecticut from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Casmier has been



                                               702
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 703 of 3128




eligible to receive overtime pay under the FLSA because Casmier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2233. Plaintiff Robert Chase is an individual residing in Connecticut. Chase worked as a

delivery driver for FedEx in Connecticut from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chase has been

eligible to receive overtime pay under the FLSA because Chase has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2234. Plaintiff David Chauvin is an individual residing in Florida. Chauvin worked as a

delivery driver for FedEx in Connecticut from approximately 2002 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chauvin has been

eligible to receive overtime pay under the FLSA because Chauvin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2235. Plaintiff Angel Cintron is an individual residing in Connecticut. Cintron worked

as a delivery driver for FedEx in Connecticut from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Cintron

has been eligible to receive overtime pay under the FLSA because Cintron has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2236. Plaintiff Jonathan Cohen is an individual residing in Connecticut. Cohen worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities



                                              703
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 704 of 3128




that FedEx calls independent service providers. Cohen has been eligible to receive overtime pay

under the FLSA because Cohen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2237. Plaintiff Jose Colon is an individual residing in Connecticut. Colon worked as a

delivery driver for FedEx in Connecticut from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Colon has been

eligible to receive overtime pay under the FLSA because Colon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2238. Plaintiff Antonio Correa is an individual residing in Connecticut. Correa worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Correa has been eligible to receive overtime pay

under the FLSA because Correa has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2239. Plaintiff Randall Crawford is an individual residing in Connecticut. Crawford

worked as a delivery driver for FedEx in Connecticut from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Crawford has been eligible to receive overtime pay under the FLSA because Crawford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2240. Plaintiff Nate Cruz is an individual residing in Connecticut. Cruz worked as a

delivery driver for FedEx in Connecticut from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cruz has been



                                              704
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 705 of 3128




eligible to receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2241. Plaintiff Eric Daitch is an individual residing in Connecticut. Daitch worked as a

delivery driver for FedEx in Connecticut from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Daitch has been

eligible to receive overtime pay under the FLSA because Daitch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2242. Plaintiff Nicholas Davila is an individual residing in Connecticut. Davila worked

as a delivery driver for FedEx in Connecticut from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Davila

has been eligible to receive overtime pay under the FLSA because Davila has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2243. Plaintiff Jeffery Defeo is an individual residing in South Carolina. Defeo worked

as a delivery driver for FedEx in Connecticut from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Defeo

has been eligible to receive overtime pay under the FLSA because Defeo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2244. Plaintiff Thomas Dimaria is an individual residing in Connecticut. Dimaria

worked as a delivery driver for FedEx in Connecticut from approximately 2014 to 2017 but was



                                               705
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 706 of 3128




employed through intermediary entities that FedEx calls independent service providers. Dimaria

has been eligible to receive overtime pay under the FLSA because Dimaria has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2245. Plaintiff Gerald Dobuzinsky is an individual residing in Connecticut. Dobuzinsky

worked as a delivery driver for FedEx in Connecticut from approximately 1998 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Dobuzinsky has been eligible to receive overtime pay under the FLSA because Dobuzinsky has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2246. Plaintiff Steven Dubel is an individual residing in Connecticut. Dubel worked as a

delivery driver for FedEx in Connecticut from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dubel has been

eligible to receive overtime pay under the FLSA because Dubel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2247. Plaintiff Daniel Duffy is an individual residing in Connecticut. Duffy worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Duffy has been

eligible to receive overtime pay under the FLSA because Duffy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              706
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 707 of 3128




        2248. Plaintiff Carl Fahlbeck is an individual residing in Connecticut. Fahlbeck worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Fahlbeck has been eligible to receive overtime

pay under the FLSA because Fahlbeck has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        2249. Plaintiff Desmond Fletcher is an individual residing in Connecticut. Fletcher

worked as a delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Fletcher

has been eligible to receive overtime pay under the FLSA because Fletcher has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2250. Plaintiff Vicente Flores is an individual residing in Connecticut. Flores worked as

a delivery driver for FedEx in Connecticut from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2251. Plaintiff Mary Florkoski is an individual residing in Connecticut. Florkoski

worked as a delivery driver for FedEx in Connecticut from approximately 2000 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Florkoski has been eligible to receive overtime pay under the FLSA because Florkoski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               707
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 708 of 3128




        2252. Plaintiff Owen Francis is an individual residing in Connecticut. Francis worked as

a delivery driver for FedEx in Connecticut from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Francis has been

eligible to receive overtime pay under the FLSA because Francis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2253. Plaintiff Elisha Fuentes is an individual residing in Connecticut. Fuentes worked

as a delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Fuentes

has been eligible to receive overtime pay under the FLSA because Fuentes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2254. Plaintiff Clarence Gaskins is an individual residing in Connecticut. Gaskins

worked as a delivery driver for FedEx in Connecticut from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Gaskins

has been eligible to receive overtime pay under the FLSA because Gaskins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2255. Plaintiff Anthony Gonyea is an individual residing in Connecticut. Gonyea

worked as a delivery driver for FedEx in Connecticut from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Gonyea

has been eligible to receive overtime pay under the FLSA because Gonyea has driven a vehicle




                                              708
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 709 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2256. Plaintiff Oneil Gregory is an individual residing in Florida. Gregory worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gregory has been

eligible to receive overtime pay under the FLSA because Gregory has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2257. Plaintiff James Grzesiak is an individual residing in Connecticut. Grzesiak

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Grzesiak has been eligible to receive

overtime pay under the FLSA because Grzesiak has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2258. Plaintiff Flor Guzman is an individual residing in Connecticut. Guzman worked

as a delivery driver for FedEx in Connecticut from approximately 2009 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Guzman

has been eligible to receive overtime pay under the FLSA because Guzman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2259. Plaintiff Ronnie Hazard is an individual residing in Connecticut. Hazard worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Hazard has been eligible to receive overtime pay




                                               709
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 710 of 3128




under the FLSA because Hazard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2260. Plaintiff Jose Hernandez Carrasquillo is an individual residing in Connecticut.

Hernandez Carrasquillo worked as a delivery driver for FedEx in Connecticut from

approximately 2018 to 2020 but was employed through intermediary entities that FedEx calls

independent service providers. Hernandez Carrasquillo has been eligible to receive overtime pay

under the FLSA because Hernandez Carrasquillo has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2261. Plaintiff Leon Hook. Jr is an individual residing in Connecticut. Hook. Jr worked

as a delivery driver for FedEx in Connecticut from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Hook. Jr

has been eligible to receive overtime pay under the FLSA because Hook. Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2262. Plaintiff Jonathan Horzepa is an individual residing in Connecticut. Horzepa

worked as a delivery driver for FedEx in Connecticut from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Horzepa

has been eligible to receive overtime pay under the FLSA because Horzepa has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2263. Plaintiff Shawn Hovatter is an individual residing in Ohio. Hovatter worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hovatter has been



                                              710
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 711 of 3128




eligible to receive overtime pay under the FLSA because Hovatter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2264. Plaintiff Halim Ilgu is an individual residing in Connecticut. Ilgu worked as a

delivery driver for FedEx in Connecticut from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ilgu has been

eligible to receive overtime pay under the FLSA because Ilgu has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2265. Plaintiff Branden Jackson is an individual residing in Connecticut. Jackson

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Jackson has been eligible to receive

overtime pay under the FLSA because Jackson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2266. Plaintiff George Jara is an individual residing in New York. Jara worked as a

delivery driver for FedEx in Connecticut from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jara has been

eligible to receive overtime pay under the FLSA because Jara has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2267. Plaintiff Poree Jarman is an individual residing in Connecticut. Jarman worked as

a delivery driver for FedEx in Connecticut but was employed through intermediary entities that

FedEx calls independent service providers. Jarman has been eligible to receive overtime pay



                                               711
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 712 of 3128




under the FLSA because Jarman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2268. Plaintiff David Jordan is an individual residing in Connecticut. Jordan worked as

a delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jordan has been

eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2269. Plaintiff William Kane is an individual residing in Connecticut. Kane worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Kane has been

eligible to receive overtime pay under the FLSA because Kane has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2270. Plaintiff John Kearns is an individual residing in Connecticut. Kearns worked as a

delivery driver for FedEx in Connecticut from approximately 2010 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Kearns has been

eligible to receive overtime pay under the FLSA because Kearns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2271. Plaintiff Henry Lanier is an individual residing in Connecticut. Lanier worked as

a delivery driver for FedEx in Connecticut from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lanier has been



                                              712
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 713 of 3128




eligible to receive overtime pay under the FLSA because Lanier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2272. Plaintiff Carl Lewis is an individual residing in Connecticut. Lewis worked as a

delivery driver for FedEx in Connecticut from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2273. Plaintiff Stephen Livingston is an individual residing in Connecticut. Livingston

worked as a delivery driver for FedEx in Connecticut from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Livingston has been eligible to receive overtime pay under the FLSA because Livingston has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2274. Plaintiff Alexis Llanos is an individual residing in Connecticut. Llanos worked as

a delivery driver for FedEx in Connecticut from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Llanos has been

eligible to receive overtime pay under the FLSA because Llanos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2275. Plaintiff Jorge Maisonet is an individual residing in Florida. Maisonet worked as a

delivery driver for FedEx in Connecticut but was employed through intermediary entities that



                                              713
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 714 of 3128




FedEx calls independent service providers. Maisonet has been eligible to receive overtime pay

under the FLSA because Maisonet has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2276. Plaintiff Theodore Mccollough is an individual residing in Connecticut.

Mccollough worked as a delivery driver for FedEx in Connecticut from approximately 2013 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Mccollough has been eligible to receive overtime pay under the FLSA because

Mccollough has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       2277. Plaintiff Jeffrey Mcknight is an individual residing in Virginia. Mcknight worked

as a delivery driver for FedEx in Connecticut from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcknight has been eligible to receive overtime pay under the FLSA because Mcknight has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2278. Plaintiff Daryel Mcrorey is an individual residing in Connecticut. Mcrorey

worked as a delivery driver for FedEx in Connecticut from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Mcrorey

has been eligible to receive overtime pay under the FLSA because Mcrorey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2279. Plaintiff Robert Mcsweeney is an individual residing in Connecticut. Mcsweeney

worked as a delivery driver for FedEx in Connecticut from approximately 2015 to 2017 but was



                                              714
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 715 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Mcsweeney has been eligible to receive overtime pay under the FLSA because Mcsweeney has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2280. Plaintiff Johnnecia Meekins is an individual residing in South Carolina. Meekins

worked as a delivery driver for FedEx in Connecticut from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Meekins

has been eligible to receive overtime pay under the FLSA because Meekins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2281. Plaintiff Kayla Mendez is an individual residing in Florida. Mendez worked as a

delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mendez has been

eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2282. Plaintiff Ty Middleton is an individual residing in New York. Middleton worked

as a delivery driver for FedEx in Connecticut from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Middleton has been eligible to receive overtime pay under the FLSA because Middleton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              715
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 716 of 3128




        2283. Plaintiff Christopher Moore is an individual residing in Connecticut. Moore

worked as a delivery driver for FedEx in Connecticut from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Moore

has been eligible to receive overtime pay under the FLSA because Moore has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2284. Plaintiff Phillip Morris is an individual residing in Connecticut. Morris worked as

a delivery driver for FedEx in Connecticut from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2285. Plaintiff Zuleyka Mulero is an individual residing in Connecticut. Mulero worked

as a delivery driver for FedEx in Connecticut from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Mulero

has been eligible to receive overtime pay under the FLSA because Mulero has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2286. Plaintiff Abe Nelson is an individual residing in Connecticut. Nelson worked as a

delivery driver for FedEx in Connecticut from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing




                                               716
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 717 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2287. Plaintiff Christian Olivo is an individual residing in Connecticut. Olivo worked as

a delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Olivo has been

eligible to receive overtime pay under the FLSA because Olivo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2288. Plaintiff Tahshem Paris is an individual residing in Connecticut. Paris worked as a

delivery driver for FedEx in Connecticut from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Paris has been

eligible to receive overtime pay under the FLSA because Paris has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2289. Plaintiff Micheal Parise is an individual residing in Connecticut. Parise worked as

a delivery driver for FedEx in Connecticut but was employed through intermediary entities that

FedEx calls independent service providers. Parise has been eligible to receive overtime pay

under the FLSA because Parise has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2290. Plaintiff Casey Parker is an individual residing in Connecticut. Parker worked as a

delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing



                                               717
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 718 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2291. Plaintiff Luis Pastrana is an individual residing in Connecticut. Pastrana worked

as a delivery driver for FedEx in Connecticut from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Pastrana

has been eligible to receive overtime pay under the FLSA because Pastrana has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2292. Plaintiff Margaro Pena is an individual residing in Connecticut. Pena worked as a

delivery driver for FedEx in Connecticut from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pena has been

eligible to receive overtime pay under the FLSA because Pena has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2293. Plaintiff Steven Perez is an individual residing in Connecticut. Perez worked as a

delivery driver for FedEx in Connecticut from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2294. Plaintiff Randolph Pettway is an individual residing in Connecticut. Pettway

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Pettway has been eligible to receive



                                               718
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 719 of 3128




overtime pay under the FLSA because Pettway has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2295. Plaintiff Nichol Phelan is an individual residing in Connecticut. Phelan worked as

a delivery driver for FedEx in Connecticut but was employed through intermediary entities that

FedEx calls independent service providers. Phelan has been eligible to receive overtime pay

under the FLSA because Phelan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2296. Plaintiff Michael Piasecki is an individual residing in Connecticut. Piasecki

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Piasecki has been eligible to receive

overtime pay under the FLSA because Piasecki has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2297. Plaintiff Anthony Piccolo is an individual residing in Connecticut. Piccolo

worked as a delivery driver for FedEx in Connecticut from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Piccolo

has been eligible to receive overtime pay under the FLSA because Piccolo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2298. Plaintiff Luis Pichen Azabache is an individual residing in Connecticut. Pichen

Azabache worked as a delivery driver for FedEx in Connecticut from approximately 2018 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Pichen Azabache has been eligible to receive overtime pay under the FLSA because




                                               719
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 720 of 3128




Pichen Azabache has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2299. Plaintiff Nesny Piercin is an individual residing in Connecticut. Piercin worked as

a delivery driver for FedEx in Connecticut from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Piercin has been

eligible to receive overtime pay under the FLSA because Piercin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2300. Plaintiff Tarek Rajeh is an individual residing in Connecticut. Rajeh worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rajeh has been

eligible to receive overtime pay under the FLSA because Rajeh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2301. Plaintiff Hotradat Ramlall is an individual residing in Connecticut. Ramlall

worked as a delivery driver for FedEx in Connecticut from approximately 2005 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Ramlall

has been eligible to receive overtime pay under the FLSA because Ramlall has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2302. Plaintiff Weslly Rivera is an individual residing in Florida. Rivera worked as a

delivery driver for FedEx in Connecticut from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been



                                               720
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 721 of 3128




eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2303. Plaintiff Jose Rivera is an individual residing in Connecticut. Rivera worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been

eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2304. Plaintiff Michael Rollins is an individual residing in Connecticut. Rollins worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Rollins has been eligible to receive overtime pay

under the FLSA because Rollins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2305. Plaintiff Carlos Santiago is an individual residing in Connecticut. Santiago

worked as a delivery driver for FedEx in Connecticut from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Santiago

has been eligible to receive overtime pay under the FLSA because Santiago has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2306. Plaintiff Jose Semino is an individual residing in Connecticut. Semino worked as

a delivery driver for FedEx in Connecticut from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Semino has been



                                               721
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 722 of 3128




eligible to receive overtime pay under the FLSA because Semino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2307. Plaintiff Patrick Serino is an individual residing in Connecticut. Serino worked as

a delivery driver for FedEx in Connecticut from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Serino has been

eligible to receive overtime pay under the FLSA because Serino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2308. Plaintiff John Simko is an individual residing in Connecticut. Simko worked as a

delivery driver for FedEx in Connecticut from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Simko has been

eligible to receive overtime pay under the FLSA because Simko has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2309. Plaintiff Christopher Smith is an individual residing in Connecticut. Smith

worked as a delivery driver for FedEx in Connecticut from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2310. Plaintiff Catherine Stebbins is an individual residing in Connecticut. Stebbins

worked as a delivery driver for FedEx in Connecticut from approximately 2008 to 2020 but was



                                               722
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 723 of 3128




employed through intermediary entities that FedEx calls independent service providers. Stebbins

has been eligible to receive overtime pay under the FLSA because Stebbins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2311. Plaintiff Hiromichi Suzuki is an individual residing in New York. Suzuki worked

as a delivery driver for FedEx in Connecticut but was employed through intermediary entities

that FedEx calls independent service providers. Suzuki has been eligible to receive overtime pay

under the FLSA because Suzuki has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2312. Plaintiff Marcus Tolson is an individual residing in Connecticut. Tolson worked

as a delivery driver for FedEx in Connecticut from approximately 2008 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Tolson

has been eligible to receive overtime pay under the FLSA because Tolson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2313. Plaintiff James Torti is an individual residing in Connecticut. Torti worked as a

delivery driver for FedEx in Connecticut from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Torti has been

eligible to receive overtime pay under the FLSA because Torti has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2314. Plaintiff Garfield Tully is an individual residing in Connecticut. Tully worked as a

delivery driver for FedEx in Connecticut from approximately 2002 to 2024 but was employed



                                               723
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 724 of 3128




through intermediary entities that FedEx calls independent service providers. Tully has been

eligible to receive overtime pay under the FLSA because Tully has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2315. Plaintiff Christopher Vance is an individual residing in Connecticut. Vance

worked as a delivery driver for FedEx in Connecticut from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Vance

has been eligible to receive overtime pay under the FLSA because Vance has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2316. Plaintiff Luis Vazquez is an individual residing in Connecticut. Vazquez worked

as a delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Vazquez

has been eligible to receive overtime pay under the FLSA because Vazquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2317. Plaintiff Christopher Veness is an individual residing in Connecticut. Veness

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Veness has been eligible to receive

overtime pay under the FLSA because Veness has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2318. Plaintiff Richard Villanueva is an individual residing in Connecticut. Villanueva

worked as a delivery driver for FedEx in Connecticut but was employed through intermediary



                                               724
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 725 of 3128




entities that FedEx calls independent service providers. Villanueva has been eligible to receive

overtime pay under the FLSA because Villanueva has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2319. Plaintiff Keon Walton is an individual residing in Connecticut. Walton worked as

a delivery driver for FedEx in Connecticut from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Walton has been

eligible to receive overtime pay under the FLSA because Walton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2320. Plaintiff Robert Werbesky is an individual residing in Connecticut. Werbesky

worked as a delivery driver for FedEx in Connecticut from approximately 2007 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Werbesky has been eligible to receive overtime pay under the FLSA because Werbesky has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2321. Plaintiff Thomas Whiffen is an individual residing in Connecticut. Whiffen

worked as a delivery driver for FedEx in Connecticut from approximately 2008 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Whiffen

has been eligible to receive overtime pay under the FLSA because Whiffen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2322. Plaintiff Michael Williams is an individual residing in Connecticut. Williams

worked as a delivery driver for FedEx in Connecticut from approximately 2014 to 2017 but was



                                               725
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 726 of 3128




employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2323. Plaintiff Donavon Williams is an individual residing in Connecticut. Williams

worked as a delivery driver for FedEx in Connecticut from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2324. Plaintiff Andrew Williams is an individual residing in New York. Williams

worked as a delivery driver for FedEx in Connecticut from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2325. Plaintiff Matthew Willson is an individual residing in Connecticut. Willson

worked as a delivery driver for FedEx in Connecticut from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Willson

has been eligible to receive overtime pay under the FLSA because Willson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             726
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 727 of 3128




        2326. Plaintiff Wesley Wimes is an individual residing in Connecticut. Wimes worked

as a delivery driver for FedEx in Connecticut from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Wimes

has been eligible to receive overtime pay under the FLSA because Wimes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2327. Plaintiff Diane Zapatka is an individual residing in Maine. Zapatka worked as a

delivery driver for FedEx in Connecticut from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Zapatka has been

eligible to receive overtime pay under the FLSA because Zapatka has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2328. Plaintiff Ken Bailey is an individual residing in Maryland. Bailey worked as a

delivery driver for FedEx in Delaware from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2329. Plaintiff James Baynum is an individual residing in Delaware. Baynum worked as

a delivery driver for FedEx in Delaware from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Baynum has been

eligible to receive overtime pay under the FLSA because Baynum has driven a vehicle weighing




                                              727
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 728 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2330. Plaintiff Patrice Bradley is an individual residing in Maryland. Bradley worked as

a delivery driver for FedEx in Delaware from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bradley has been

eligible to receive overtime pay under the FLSA because Bradley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2331. Plaintiff Earl Brittingham is an individual residing in Delaware. Brittingham

worked as a delivery driver for FedEx in Delaware from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Brittingham has been eligible to receive overtime pay under the FLSA because Brittingham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2332. Plaintiff Richard Butler is an individual residing in Florida. Butler worked as a

delivery driver for FedEx in Delaware from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Butler has been

eligible to receive overtime pay under the FLSA because Butler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2333. Plaintiff Michael Dempsey is an individual residing in Delaware. Dempsey

worked as a delivery driver for FedEx in Delaware from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               728
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 729 of 3128




Dempsey has been eligible to receive overtime pay under the FLSA because Dempsey has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2334. Plaintiff Debora Devincent is an individual residing in Delaware. Devincent

worked as a delivery driver for FedEx in Delaware from approximately 2003 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Devincent has been eligible to receive overtime pay under the FLSA because Devincent has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2335. Plaintiff James Dicarlantonio is an individual residing in Delaware. Dicarlantonio

worked as a delivery driver for FedEx in Delaware and Pennsylvania but was employed through

intermediary entities that FedEx calls independent service providers. Dicarlantonio has been

eligible to receive overtime pay under the FLSA because Dicarlantonio has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2336. Plaintiff Matthew Dunham is an individual residing in Texas. Dunham worked as

a delivery driver for FedEx in Delaware from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Dunham has been

eligible to receive overtime pay under the FLSA because Dunham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2337. Plaintiff Tyron Finney is an individual residing in Maryland. Finney worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that



                                              729
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 730 of 3128




FedEx calls independent service providers. Finney has been eligible to receive overtime pay

under the FLSA because Finney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2338. Plaintiff Paul Frazier is an individual residing in Maryland. Frazier worked as a

delivery driver for FedEx in Delaware from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Frazier has been

eligible to receive overtime pay under the FLSA because Frazier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2339. Plaintiff Derrick Glasco is an individual residing in Delaware. Glasco worked as a

delivery driver for FedEx in Delaware from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Glasco has been

eligible to receive overtime pay under the FLSA because Glasco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2340. Plaintiff Philip Grasso is an individual residing in Delaware. Grasso worked as a

delivery driver for FedEx in Delaware from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Grasso has been

eligible to receive overtime pay under the FLSA because Grasso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2341. Plaintiff Reece Hales is an individual residing in Maryland. Hales worked as a

delivery driver for FedEx in Delaware from approximately 2014 to 2018 but was employed



                                               730
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 731 of 3128




through intermediary entities that FedEx calls independent service providers. Hales has been

eligible to receive overtime pay under the FLSA because Hales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2342. Plaintiff Jerome Harris is an individual residing in Maryland. Harris worked as a

delivery driver for FedEx in Delaware from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2343. Plaintiff Aaron Harris is an individual residing in Delaware. Harris worked as a

delivery driver for FedEx in Delaware from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2344. Plaintiff Dewayne Holloman is an individual residing in Delaware. Holloman

worked as a delivery driver for FedEx in Delaware from approximately 2013 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Holloman has been eligible to receive overtime pay under the FLSA because Holloman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              731
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 732 of 3128




        2345. Plaintiff Edgar Hurley is an individual residing in Delaware. Hurley worked as a

delivery driver for FedEx in Delaware from approximately 2009 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hurley has been

eligible to receive overtime pay under the FLSA because Hurley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2346. Plaintiff Kerson Israel is an individual residing in Delaware. Israel worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Israel has been eligible to receive overtime pay under

the FLSA because Israel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2347. Plaintiff Shakeel Jeffcoat is an individual residing in Delaware. Jeffcoat worked

as a delivery driver for FedEx in Delaware from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jeffcoat has been

eligible to receive overtime pay under the FLSA because Jeffcoat has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2348. Plaintiff Edward Jenkins is an individual residing in Maryland. Jenkins worked as

a delivery driver for FedEx in Delaware from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               732
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 733 of 3128




        2349. Plaintiff Curstin Johnson is an individual residing in Delaware. Johnson worked

as a delivery driver for FedEx in Delaware from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2350. Plaintiff Shawn Johnson is an individual residing in Maryland. Johnson worked as

a delivery driver for FedEx in Delaware from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2351. Plaintiff John Layne is an individual residing in Delaware. Layne worked as a

delivery driver for FedEx in Delaware from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Layne has been

eligible to receive overtime pay under the FLSA because Layne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2352. Plaintiff George Lujan is an individual residing in Delaware. Lujan worked as a

delivery driver for FedEx in Delaware from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lujan has been

eligible to receive overtime pay under the FLSA because Lujan has driven a vehicle weighing




                                              733
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 734 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2353. Plaintiff Melissa Matthews is an individual residing in Delaware. Matthews

worked as a delivery driver for FedEx in Delaware from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Matthews has been eligible to receive overtime pay under the FLSA because Matthews has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2354. Plaintiff Lori Mckamey is an individual residing in Delaware. Mckamey worked

as a delivery driver for FedEx in Delaware from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mckamey has been

eligible to receive overtime pay under the FLSA because Mckamey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2355. Plaintiff Chantay Mitchell is an individual residing in Maryland. Mitchell worked

as a delivery driver for FedEx in Delaware from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2356. Plaintiff Christian Ott is an individual residing in Delaware. Ott worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Ott has been eligible to receive overtime pay under



                                               734
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 735 of 3128




the FLSA because Ott has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2357. Plaintiff Paul Piper is an individual residing in Delaware. Piper worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Piper has been eligible to receive overtime pay under

the FLSA because Piper has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2358. Plaintiff Joseph Prosceno is an individual residing in California. Prosceno worked

as a delivery driver for FedEx in Delaware from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Prosceno has been

eligible to receive overtime pay under the FLSA because Prosceno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2359. Plaintiff Wesley Reynolds is an individual residing in Delaware. Reynolds

worked as a delivery driver for FedEx in Delaware from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Reynolds has been eligible to receive overtime pay under the FLSA because Reynolds has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2360. Plaintiff Letisha Robinson is an individual residing in Delaware. Robinson

worked as a delivery driver for FedEx in Delaware from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has



                                               735
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 736 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2361. Plaintiff Dylan Roper is an individual residing in Arizona. Roper worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Roper has been eligible to receive overtime pay

under the FLSA because Roper has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2362. Plaintiff Terry Seth is an individual residing in Delaware. Seth worked as a

delivery driver for FedEx in Delaware from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Seth has been

eligible to receive overtime pay under the FLSA because Seth has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2363. Plaintiff Allen Sibley is an individual residing in Delaware. Sibley worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Sibley has been eligible to receive overtime pay

under the FLSA because Sibley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2364. Plaintiff Tyron Sims is an individual residing in Maryland. Sims worked as a

delivery driver for FedEx in Delaware from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less




                                               736
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 737 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2365. Plaintiff Eric Skinner is an individual residing in Delaware. Skinner worked as a

delivery driver for FedEx in Delaware from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Skinner has been

eligible to receive overtime pay under the FLSA because Skinner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2366. Plaintiff Regina Smith is an individual residing in Delaware. Smith worked as a

delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2367. Plaintiff Sherell Smothers is an individual residing in North Carolina. Smothers

worked as a delivery driver for FedEx in Delaware but was employed through intermediary

entities that FedEx calls independent service providers. Smothers has been eligible to receive

overtime pay under the FLSA because Smothers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2368. Plaintiff Stacy Suhr is an individual residing in Delaware. Suhr worked as a

delivery driver for FedEx in Delaware from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Suhr has been

eligible to receive overtime pay under the FLSA because Suhr has driven a vehicle weighing less




                                               737
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 738 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2369. Plaintiff Shawn Wallop is an individual residing in Illinois. Wallop worked as a

delivery driver for FedEx in Delaware from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wallop has been

eligible to receive overtime pay under the FLSA because Wallop has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2370. Plaintiff Brandon Ward is an individual residing in Maryland. Ward worked as a

delivery driver for FedEx in Delaware from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2371. Plaintiff Daesha Waters is an individual residing in Delaware. Waters worked as a

delivery driver for FedEx in Delaware from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Waters has been

eligible to receive overtime pay under the FLSA because Waters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2372. Plaintiff Tiffany Whiteman-Radcliffe is an individual residing in Delaware.

Whiteman-Radcliffe worked as a delivery driver for FedEx in Delaware from approximately

2015 to 2016 but was employed through intermediary entities that FedEx calls independent



                                              738
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 739 of 3128




service providers. Whiteman-Radcliffe has been eligible to receive overtime pay under the FLSA

because Whiteman-Radcliffe has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2373. Plaintiff Andrea Williams is an individual residing in Delaware. Williams worked

as a delivery driver for FedEx in Delaware from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2374. Plaintiff Dexter Wise, Sr. is an individual residing in Delaware. Wise worked as a

delivery driver for FedEx in Delaware from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wise has been

eligible to receive overtime pay under the FLSA because Wise has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2375. Plaintiff Joseph Zimmaro is an individual residing in Delaware. Zimmaro worked

as a delivery driver for FedEx in Delaware but was employed through intermediary entities that

FedEx calls independent service providers. Zimmaro has been eligible to receive overtime pay

under the FLSA because Zimmaro has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2376. Plaintiff Chris Zinnel is an individual residing in Delaware. Zinnel worked as a

delivery driver for FedEx in Delaware from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Zinnel has been



                                               739
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 740 of 3128




eligible to receive overtime pay under the FLSA because Zinnel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2377. Plaintiff Timothy Bailey is an individual residing in Florida. Bailey worked as a

delivery driver for FedEx in District of Columbia but was employed through intermediary

entities that FedEx calls independent service providers. Bailey has been eligible to receive

overtime pay under the FLSA because Bailey has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2378. Plaintiff Kareem Williams is an individual residing in Indiana. Williams worked

as a delivery driver for FedEx in District of Columbia from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2379. Plaintiff Moshe Acevedo is an individual residing in Florida. Acevedo worked as

a delivery driver for FedEx in Florida from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Acevedo has been

eligible to receive overtime pay under the FLSA because Acevedo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2380. Plaintiff Dkwon Adetokunbo is an individual residing in Florida. Adetokunbo

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Adetokunbo has been eligible to receive



                                               740
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 741 of 3128




overtime pay under the FLSA because Adetokunbo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2381. Plaintiff Carlos Aguiar is an individual residing in Florida. Aguiar worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Aguiar has been eligible to receive overtime pay under the

FLSA because Aguiar has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2382. Plaintiff Jorge Aguirre is an individual residing in Florida. Aguirre worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Aguirre has been eligible to

receive overtime pay under the FLSA because Aguirre has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2383. Plaintiff Chris Aldana is an individual residing in Florida. Aldana worked as a

delivery driver for FedEx in Florida from approximately 1996 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Aldana has been eligible to

receive overtime pay under the FLSA because Aldana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2384. Plaintiff Edward Allbritton is an individual residing in North Carolina. Allbritton

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Allbritton has been eligible to receive overtime

pay under the FLSA because Allbritton has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.




                                               741
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 742 of 3128




       2385. Plaintiff Michael Allen is an individual residing in Florida. Allen worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Allen has been eligible to

receive overtime pay under the FLSA because Allen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2386. Plaintiff Xavier Allen Jr is an individual residing in Florida. Allen Jr worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Allen Jr has been eligible to

receive overtime pay under the FLSA because Allen Jr has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2387. Plaintiff Aubrey Almaguer is an individual residing in Florida. Almaguer worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Almaguer has been eligible to receive overtime pay

under the FLSA because Almaguer has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       2388. Plaintiff Carlos Almonte is an individual residing in Florida. Almonte worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Almonte has been eligible to receive overtime pay under the

FLSA because Almonte has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2389. Plaintiff Maurice Alto is an individual residing in Florida. Alto worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Alto has been eligible to receive overtime pay under the



                                               742
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 743 of 3128




FLSA because Alto has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2390. Plaintiff Fabian Alvarez is an individual residing in Florida. Alvarez worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Alvarez has been eligible to

receive overtime pay under the FLSA because Alvarez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2391. Plaintiff Reol Alvarez Pompa is an individual residing in Florida. Alvarez Pompa

worked as a delivery driver for FedEx in Florida from approximately 2023 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Alvarez

Pompa has been eligible to receive overtime pay under the FLSA because Alvarez Pompa has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2392. Plaintiff William Amadeo is an individual residing in Florida. Amadeo worked as

a delivery driver for FedEx in Florida from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Amadeo has been

eligible to receive overtime pay under the FLSA because Amadeo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2393. Plaintiff Armando Amaya Gallegos is an individual residing in Florida. Amaya

Gallegos worked as a delivery driver for FedEx in Florida from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Amaya Gallegos has been eligible to receive overtime pay under the FLSA because Amaya



                                               743
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 744 of 3128




Gallegos has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        2394. Plaintiff Janice Ames is an individual residing in Florida. Ames worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ames has been eligible to

receive overtime pay under the FLSA because Ames has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2395. Plaintiff Archibald Amory is an individual residing in Tennessee. Amory worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Amory has been

eligible to receive overtime pay under the FLSA because Amory has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2396. Plaintiff Alexander Angeles is an individual residing in Florida. Angeles worked

as a delivery driver for FedEx in Florida from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Angeles has been

eligible to receive overtime pay under the FLSA because Angeles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2397. Plaintiff Dane Angram is an individual residing in Florida. Angram worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Angram has been eligible to




                                              744
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 745 of 3128




receive overtime pay under the FLSA because Angram has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2398. Plaintiff Michele Anthony is an individual residing in Georgia. Anthony worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Anthony has been

eligible to receive overtime pay under the FLSA because Anthony has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2399. Plaintiff Charles Antich is an individual residing in Florida. Antich worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Antich has been eligible to

receive overtime pay under the FLSA because Antich has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2400. Plaintiff Hugo Arango is an individual residing in Florida. Arango worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Arango has been eligible to

receive overtime pay under the FLSA because Arango has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2401. Plaintiff Raimundo Araujo Nava is an individual residing in Florida. Araujo Nava

worked as a delivery driver for FedEx in Florida from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Araujo

Nava has been eligible to receive overtime pay under the FLSA because Araujo Nava has driven




                                               745
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 746 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       2402. Plaintiff Edward Arias is an individual residing in Florida. Arias worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Arias has been eligible to

receive overtime pay under the FLSA because Arias has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2403. Plaintiff Eric Arnold is an individual residing in Florida. Arnold worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Arnold has been eligible to

receive overtime pay under the FLSA because Arnold has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2404. Plaintiff Christopher Arsenault is an individual residing in Florida. Arsenault

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Arsenault has been eligible to receive overtime pay under the FLSA because Arsenault has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2405. Plaintiff Engin Arslan is an individual residing in Florida. Arslan worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Arslan has been eligible to

receive overtime pay under the FLSA because Arslan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               746
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 747 of 3128




        2406. Plaintiff Jason Aunspaugh is an individual residing in Florida. Aunspaugh worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Aunspaugh has been eligible to receive overtime pay

under the FLSA because Aunspaugh has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2407. Plaintiff Kent Austin is an individual residing in Florida. Austin worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Austin has been eligible to

receive overtime pay under the FLSA because Austin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2408. Plaintiff John Austin is an individual residing in Florida. Austin worked as a

delivery driver for FedEx in Florida from approximately 2007 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Austin has been eligible to

receive overtime pay under the FLSA because Austin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2409. Plaintiff Kevan Azevedo is an individual residing in Florida. Azevedo worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Azevedo has been

eligible to receive overtime pay under the FLSA because Azevedo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2410. Plaintiff Danyelle Baker is an individual residing in Florida. Baker worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through



                                               747
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 748 of 3128




intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2411. Plaintiff Terynce Baker is an individual residing in Florida. Baker worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2412. Plaintiff Daniel Ballard is an individual residing in Florida. Ballard worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ballard has been eligible to

receive overtime pay under the FLSA because Ballard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2413. Plaintiff Dietrich Barker is an individual residing in Florida. Barker worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Barker has been eligible to

receive overtime pay under the FLSA because Barker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2414. Plaintiff Kedric Barnes is an individual residing in Georgia. Barnes worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Barnes has been eligible to

receive overtime pay under the FLSA because Barnes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               748
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 749 of 3128




        2415. Plaintiff Dava Barnhart is an individual residing in Oklahoma. Barnhart worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Barnhart has been eligible to receive overtime pay

under the FLSA because Barnhart has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2416. Plaintiff Armando Barrero Figueredo, Sr is an individual residing in Florida.

Barrero Figueredo worked as a delivery driver for FedEx in Florida from approximately 2018 to

2021 but was employed through intermediary entities that FedEx calls independent service

providers. Barrero Figueredo has been eligible to receive overtime pay under the FLSA because

Barrero Figueredo has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2417. Plaintiff Christopher Barrett is an individual residing in Florida. Barrett worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Barrett has been

eligible to receive overtime pay under the FLSA because Barrett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2418. Plaintiff Joshua Barrientos is an individual residing in Florida. Barrientos worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Barrientos has been

eligible to receive overtime pay under the FLSA because Barrientos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               749
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 750 of 3128




       2419. Plaintiff Santiago Bartis is an individual residing in Florida. Bartis worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bartis has been eligible to

receive overtime pay under the FLSA because Bartis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2420. Plaintiff Brandon Basista is an individual residing in Florida. Basista worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Basista has been eligible to

receive overtime pay under the FLSA because Basista has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2421. Plaintiff Walter Baskin is an individual residing in Florida. Baskin worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Baskin has been eligible to

receive overtime pay under the FLSA because Baskin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2422. Plaintiff Sydney Bastain is an individual residing in Florida. Bastain worked as a

delivery driver for FedEx in Florida from approximately 1993 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Bastain has been eligible to

receive overtime pay under the FLSA because Bastain has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2423. Plaintiff Kenneth Batton is an individual residing in Florida. Batton worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Batton has been eligible to receive overtime pay under the



                                               750
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 751 of 3128




FLSA because Batton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2424. Plaintiff Todd Beadle is an individual residing in Wisconsin. Beadle worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Beadle has been eligible to

receive overtime pay under the FLSA because Beadle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2425. Plaintiff Carrie Bell is an individual residing in Florida. Bell worked as a delivery

driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bell has been eligible to

receive overtime pay under the FLSA because Bell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2426. Plaintiff Stervenson Benjamin is an individual residing in Florida. Benjamin

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Benjamin has been eligible to receive overtime pay under the FLSA because Benjamin has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2427. Plaintiff Robert Bennett is an individual residing in Florida. Bennett worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bennett has been eligible to

receive overtime pay under the FLSA because Bennett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               751
     Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 752 of 3128




        2428. Plaintiff Johnathon Bentley is an individual residing in Florida. Bentley worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bentley has been

eligible to receive overtime pay under the FLSA because Bentley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2429. Plaintiff Michael Berta is an individual residing in Florida. Berta worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Berta has been eligible to

receive overtime pay under the FLSA because Berta has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2430. Plaintiff Phillip Bettis is an individual residing in Florida. Bettis worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bettis has been eligible to

receive overtime pay under the FLSA because Bettis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2431. Plaintiff Gabriel Bivens is an individual residing in Florida. Bivens worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Bivens has been eligible to

receive overtime pay under the FLSA because Bivens has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2432. Plaintiff Kenneth Blackburn Jr is an individual residing in Georgia. Blackburn Jr

worked as a delivery driver for FedEx in Florida from approximately 2017 to 2020 but was



                                                752
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 753 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Blackburn Jr has been eligible to receive overtime pay under the FLSA because Blackburn Jr has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2433. Plaintiff Jacqueline Blackhurst is an individual residing in Florida. Blackhurst

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Blackhurst has been eligible to receive overtime pay under the FLSA because Blackhurst has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2434. Plaintiff Alin Blanco is an individual residing in Florida. Blanco worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Blanco has been eligible to

receive overtime pay under the FLSA because Blanco has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2435. Plaintiff Ronald Bloom is an individual residing in Florida. Bloom worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bloom has been eligible to

receive overtime pay under the FLSA because Bloom has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2436. Plaintiff Keyon Boatwright is an individual residing in Ohio. Boatwright worked

as a delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Boatwright has



                                               753
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 754 of 3128




been eligible to receive overtime pay under the FLSA because Boatwright has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2437. Plaintiff Nelson Bobadilla is an individual residing in Florida. Bobadilla worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Bobadilla has been eligible to receive overtime pay

under the FLSA because Bobadilla has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       2438. Plaintiff Raymond Bobo is an individual residing in Florida. Bobo worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Bobo has been eligible to

receive overtime pay under the FLSA because Bobo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2439. Plaintiff Paul Bocan is an individual residing in Florida. Bocan worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bocan has been eligible to

receive overtime pay under the FLSA because Bocan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2440. Plaintiff Edgard Bocio is an individual residing in Florida. Bocio worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Bocio has been eligible to receive overtime pay under the

FLSA because Bocio has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                               754
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 755 of 3128




        2441. Plaintiff Michael Bogliole is an individual residing in Florida. Bogliole worked as

a delivery driver for FedEx in Florida from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bogliole has been

eligible to receive overtime pay under the FLSA because Bogliole has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2442. Plaintiff Ricaurte Bolanos is an individual residing in Florida. Bolanos worked as

a delivery driver for FedEx in Florida from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bolanos has been

eligible to receive overtime pay under the FLSA because Bolanos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2443. Plaintiff Shawn Bonenberger is an individual residing in Florida. Bonenberger

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Bonenberger has been eligible to receive overtime pay under the FLSA because Bonenberger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2444. Plaintiff Robert Bonilla is an individual residing in Florida. Bonilla worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Bonilla has been eligible to receive overtime pay under the

FLSA because Bonilla has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               755
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 756 of 3128




        2445. Plaintiff Jermiah Borden is an individual residing in Florida. Borden worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Borden has been eligible to

receive overtime pay under the FLSA because Borden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2446. Plaintiff Jonathon Bors-Koefoed is an individual residing in Florida. Bors-

Koefoed worked as a delivery driver for FedEx in Florida from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Bors-Koefoed has been eligible to receive overtime pay under the FLSA because Bors-Koefoed

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        2447. Plaintiff James Bouffard is an individual residing in Florida. Bouffard worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bouffard has been

eligible to receive overtime pay under the FLSA because Bouffard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2448. Plaintiff Jason Boutwell is an individual residing in Tennessee. Boutwell worked

as a delivery driver for FedEx in Florida from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Boutwell has been

eligible to receive overtime pay under the FLSA because Boutwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               756
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 757 of 3128




       2449. Plaintiff Paul Brace is an individual residing in Florida. Brace worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Brace has been eligible to receive overtime pay under the

FLSA because Brace has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2450. Plaintiff Dontrel Bradley is an individual residing in Florida. Bradley worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bradley has been eligible to

receive overtime pay under the FLSA because Bradley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2451. Plaintiff Earnest Braggs is an individual residing in Florida. Braggs worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Braggs has been eligible to

receive overtime pay under the FLSA because Braggs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2452. Plaintiff Joshua Briggs is an individual residing in Florida. Briggs worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Briggs has been eligible to

receive overtime pay under the FLSA because Briggs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2453. Plaintiff John Brinkerhoff is an individual residing in Florida. Brinkerhoff worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brinkerhoff has



                                               757
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 758 of 3128




been eligible to receive overtime pay under the FLSA because Brinkerhoff has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2454. Plaintiff Trevor Brivet is an individual residing in Florida. Brivet worked as a

delivery driver for FedEx in Florida from approximately 2002 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Brivet has been eligible to

receive overtime pay under the FLSA because Brivet has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2455. Plaintiff Matthew Brockman is an individual residing in Florida. Brockman

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Brockman has been eligible to receive overtime pay under the FLSA because Brockman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2456. Plaintiff Akeskia Brooks is an individual residing in Georgia. Brooks worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2457. Plaintiff Matthew Brooks is an individual residing in Florida. Brooks worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to




                                               758
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 759 of 3128




receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2458. Plaintiff Brandon Brooks is an individual residing in Florida. Brooks worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Brooks has been eligible to receive overtime pay under the

FLSA because Brooks has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2459. Plaintiff Dwayne Brown is an individual residing in Florida. Brown worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2460. Plaintiff Joseph Brown is an individual residing in Georgia. Brown worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2461. Plaintiff Christopher Brown is an individual residing in Florida. Brown worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              759
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 760 of 3128




       2462. Plaintiff David Brown is an individual residing in Florida. Brown worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2463. Plaintiff Andre Bryant is an individual residing in Florida. Bryant worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bryant has been eligible to

receive overtime pay under the FLSA because Bryant has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2464. Plaintiff Keith Bryant is an individual residing in Florida. Bryant worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Bryant has been eligible to

receive overtime pay under the FLSA because Bryant has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2465. Plaintiff Bruce Buczynski is an individual residing in Florida. Buczynski worked

as a delivery driver for FedEx in Florida from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Buczynski has been

eligible to receive overtime pay under the FLSA because Buczynski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2466. Plaintiff Michael Bujnowski is an individual residing in Florida. Bujnowski

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2020 but was



                                               760
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 761 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Bujnowski has been eligible to receive overtime pay under the FLSA because Bujnowski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2467. Plaintiff William Burkett is an individual residing in Florida. Burkett worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Burkett has been eligible to

receive overtime pay under the FLSA because Burkett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2468. Plaintiff Carol Burkett is an individual residing in Florida. Burkett worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Burkett has been eligible to

receive overtime pay under the FLSA because Burkett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2469. Plaintiff Michael Burnett is an individual residing in Florida. Burnett worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Burnett has been eligible to

receive overtime pay under the FLSA because Burnett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2470. Plaintiff Morgan Burnham is an individual residing in Florida. Burnham worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Burnham has been

eligible to receive overtime pay under the FLSA because Burnham has driven a vehicle weighing



                                               761
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 762 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2471. Plaintiff Kenroy Burricks is an individual residing in Florida. Burricks worked as

a delivery driver for FedEx in Florida from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Burricks has been

eligible to receive overtime pay under the FLSA because Burricks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2472. Plaintiff Keith Bursey is an individual residing in Florida. Bursey worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Bursey has been eligible to

receive overtime pay under the FLSA because Bursey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2473. Plaintiff Felix Bustabad is an individual residing in Florida. Bustabad worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Bustabad has been eligible to receive overtime pay under the

FLSA because Bustabad has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2474. Plaintiff Raynier Cabreja is an individual residing in Florida. Cabreja worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Cabreja has been eligible to receive overtime pay under the

FLSA because Cabreja has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               762
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 763 of 3128




       2475. Plaintiff Wayne Caeners is an individual residing in Florida. Caeners worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Caeners has been eligible to receive overtime pay under the

FLSA because Caeners has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2476. Plaintiff Samir Caldero Yassin is an individual residing in Florida. Caldero Yassin

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Caldero

Yassin has been eligible to receive overtime pay under the FLSA because Caldero Yassin has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2477. Plaintiff Mariano Calero is an individual residing in Florida. Calero worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Calero has been eligible to

receive overtime pay under the FLSA because Calero has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2478. Plaintiff Timothy Calnin is an individual residing in Florida. Calnin worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Calnin has been eligible to

receive overtime pay under the FLSA because Calnin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2479. Plaintiff Yerandy Calvo is an individual residing in Florida. Calvo worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2017 but was employed through



                                               763
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 764 of 3128




intermediary entities that FedEx calls independent service providers. Calvo has been eligible to

receive overtime pay under the FLSA because Calvo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2480. Plaintiff Mark Camacho is an individual residing in Florida. Camacho worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Camacho has been eligible to receive overtime pay

under the FLSA because Camacho has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       2481. Plaintiff Upert Campbell is an individual residing in Florida. Campbell worked as

a delivery driver for FedEx in Florida from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Campbell has been

eligible to receive overtime pay under the FLSA because Campbell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2482. Plaintiff Timothy Capeau is an individual residing in Florida. Capeau worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Capeau has been eligible to receive overtime pay under the

FLSA because Capeau has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2483. Plaintiff Philip Capps is an individual residing in Florida. Capps worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Capps has been eligible to




                                               764
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 765 of 3128




receive overtime pay under the FLSA because Capps has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2484. Plaintiff Jamber Carbajal is an individual residing in Florida. Carbajal worked as

a delivery driver for FedEx in Florida from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Carbajal has been

eligible to receive overtime pay under the FLSA because Carbajal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2485. Plaintiff Gilberto Cardenas is an individual residing in Florida. Cardenas worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cardenas has been

eligible to receive overtime pay under the FLSA because Cardenas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2486. Plaintiff Jefferson Cardoso is an individual residing in Florida. Cardoso worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cardoso has been

eligible to receive overtime pay under the FLSA because Cardoso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2487. Plaintiff Randy Carroll is an individual residing in Iowa. Carroll worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Carroll has been eligible to



                                               765
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 766 of 3128




receive overtime pay under the FLSA because Carroll has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2488. Plaintiff Chester Cash is an individual residing in Florida. Cash worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Cash has been eligible to

receive overtime pay under the FLSA because Cash has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2489. Plaintiff Jose Casillas is an individual residing in Florida. Casillas worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Casillas has been eligible to receive overtime pay under the

FLSA because Casillas has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2490. Plaintiff Jose Castro is an individual residing in Florida. Castro worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Castro has been eligible to

receive overtime pay under the FLSA because Castro has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2491. Plaintiff Christopher Cathey is an individual residing in New York. Cathey

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Cathey has been eligible to receive overtime pay

under the FLSA because Cathey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                               766
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 767 of 3128




        2492. Plaintiff Stenvens Cenatus is an individual residing in Florida. Cenatus worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cenatus has been

eligible to receive overtime pay under the FLSA because Cenatus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2493. Plaintiff Kathy Chafe is an individual residing in Florida. Chafe worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Chafe has been eligible to

receive overtime pay under the FLSA because Chafe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2494. Plaintiff Cody Chambers is an individual residing in Florida. Chambers worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chambers has been

eligible to receive overtime pay under the FLSA because Chambers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2495. Plaintiff Sherlot Charite is an individual residing in Florida. Charite worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Charite has been eligible to

receive overtime pay under the FLSA because Charite has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               767
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 768 of 3128




       2496. Plaintiff Jethro Charleston is an individual residing in Florida. Charleston worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Charleston has

been eligible to receive overtime pay under the FLSA because Charleston has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2497. Plaintiff Michael Cheney is an individual residing in Florida. Cheney worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Cheney has been eligible to

receive overtime pay under the FLSA because Cheney has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2498. Plaintiff Gary Cheron is an individual residing in Florida. Cheron worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Cheron has been eligible to receive overtime pay under the

FLSA because Cheron has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2499. Plaintiff Verdun Chery is an individual residing in Florida. Chery worked as a

delivery driver for FedEx in Florida from approximately 2003 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Chery has been eligible to

receive overtime pay under the FLSA because Chery has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2500. Plaintiff Thomas Chevalier is an individual residing in Florida. Chevalier worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that



                                               768
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 769 of 3128




FedEx calls independent service providers. Chevalier has been eligible to receive overtime pay

under the FLSA because Chevalier has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2501. Plaintiff Daniel Childers is an individual residing in Florida. Childers worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Childers has been eligible

to receive overtime pay under the FLSA because Childers has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2502. Plaintiff Clifton Chin is an individual residing in Florida. Chin worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Chin has been eligible to

receive overtime pay under the FLSA because Chin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2503. Plaintiff Eric Chittarath is an individual residing in Florida. Chittarath worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chittarath has been

eligible to receive overtime pay under the FLSA because Chittarath has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2504. Plaintiff Melvin Christopher is an individual residing in Florida. Christopher

worked as a delivery driver for FedEx in Florida from approximately 2003 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                                769
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 770 of 3128




Christopher has been eligible to receive overtime pay under the FLSA because Christopher has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2505. Plaintiff Billy Clark is an individual residing in Florida. Clark worked as a

delivery driver for FedEx in Florida from approximately 1999 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2506. Plaintiff Julio Clavijo Chavez is an individual residing in Florida. Clavijo Chavez

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Clavijo

Chavez has been eligible to receive overtime pay under the FLSA because Clavijo Chavez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2507. Plaintiff Paul Clelland is an individual residing in Florida. Clelland worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Clelland has been eligible

to receive overtime pay under the FLSA because Clelland has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2508. Plaintiff Gary Collera is an individual residing in Florida. Collera worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Collera has been eligible to



                                               770
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 771 of 3128




receive overtime pay under the FLSA because Collera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2509. Plaintiff Ethan Colon is an individual residing in Florida. Colon worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Colon has been eligible to

receive overtime pay under the FLSA because Colon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2510. Plaintiff Angel Colon is an individual residing in Illinois. Colon worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Colon has been eligible to

receive overtime pay under the FLSA because Colon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2511. Plaintiff Michael Cone is an individual residing in Florida. Cone worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Cone has been eligible to

receive overtime pay under the FLSA because Cone has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2512. Plaintiff Jerry Constance is an individual residing in Florida. Constance worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Constance has been eligible to receive overtime pay

under the FLSA because Constance has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.




                                               771
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 772 of 3128




       2513. Plaintiff Lawrence Cook is an individual residing in Florida. Cook worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Cook has been eligible to

receive overtime pay under the FLSA because Cook has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2514. Plaintiff Arvel Copeland is an individual residing in Florida. Copeland worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Copeland has been

eligible to receive overtime pay under the FLSA because Copeland has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2515. Plaintiff Marcos Cordova is an individual residing in Florida. Cordova worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Cordova has been eligible to receive overtime pay

under the FLSA because Cordova has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2516. Plaintiff Jesus Cortes is an individual residing in Florida. Cortes worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Cortes has been eligible to receive overtime pay under the

FLSA because Cortes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2517. Plaintiff Alexander Costa is an individual residing in Florida. Costa worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through



                                               772
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 773 of 3128




intermediary entities that FedEx calls independent service providers. Costa has been eligible to

receive overtime pay under the FLSA because Costa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2518. Plaintiff Maurice Couch is an individual residing in Florida. Couch worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Couch has been eligible to receive overtime pay under the

FLSA because Couch has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2519. Plaintiff Robert Cramer is an individual residing in Florida. Cramer worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Cramer has been eligible to

receive overtime pay under the FLSA because Cramer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2520. Plaintiff Larry Cromer is an individual residing in Florida. Cromer worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cromer has been eligible to

receive overtime pay under the FLSA because Cromer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2521. Plaintiff Rafael Cruel is an individual residing in Florida. Cruel worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cruel has been eligible to

receive overtime pay under the FLSA because Cruel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               773
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 774 of 3128




       2522. Plaintiff Cheryl Cruikshank is an individual residing in Florida. Cruikshank

worked as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Cruikshank has been eligible to receive overtime pay under the FLSA because Cruikshank has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2523. Plaintiff Gordon Cruson is an individual residing in Florida. Cruson worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Cruson has been eligible to

receive overtime pay under the FLSA because Cruson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2524. Plaintiff Luis Cruz is an individual residing in Florida. Cruz worked as a delivery

driver for FedEx in Florida from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Cruz has been eligible to

receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2525. Plaintiff Travis Culp is an individual residing in Florida. Culp worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Culp has been eligible to receive overtime pay under the

FLSA because Culp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2526. Plaintiff Darian Cushion is an individual residing in Florida. Cushion worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through



                                               774
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 775 of 3128




intermediary entities that FedEx calls independent service providers. Cushion has been eligible

to receive overtime pay under the FLSA because Cushion has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2527. Plaintiff George Dahl is an individual residing in Florida. Dahl worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Dahl has been eligible to

receive overtime pay under the FLSA because Dahl has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2528. Plaintiff Larry Davis is an individual residing in Florida. Davis worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2529. Plaintiff Patrick Davis is an individual residing in Florida. Davis worked as a

delivery driver for FedEx in Florida from approximately 2009 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2530. Plaintiff Jane Davis is an individual residing in Florida. Davis worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to




                                               775
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 776 of 3128




receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2531. Plaintiff Israel De La Rosa is an individual residing in Florida. De La Rosa

worked as a delivery driver for FedEx in Florida from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. De La

Rosa has been eligible to receive overtime pay under the FLSA because De La Rosa has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2532. Plaintiff William Scott is an individual residing in Florida. De Leon worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. De Leon has been eligible

to receive overtime pay under the FLSA because De Leon has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2533. Plaintiff Christopher Death is an individual residing in Florida. Death worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Death has been eligible to

receive overtime pay under the FLSA because Death has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2534. Plaintiff Isaac Dejesus is an individual residing in Florida. Dejesus worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Dejesus has been eligible to




                                               776
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 777 of 3128




receive overtime pay under the FLSA because Dejesus has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2535. Plaintiff Phyllis Delaine is an individual residing in Florida. Delaine worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Delaine has been eligible to

receive overtime pay under the FLSA because Delaine has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2536. Plaintiff Alberto Delgado is an individual residing in Florida. Delgado worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Delgado has been

eligible to receive overtime pay under the FLSA because Delgado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2537. Plaintiff Gerardo Delgado is an individual residing in Florida. Delgado worked as

a delivery driver for FedEx in Florida from approximately 2001 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Delgado has been

eligible to receive overtime pay under the FLSA because Delgado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2538. Plaintiff Harold Delva is an individual residing in Florida. Delva worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Delva has been eligible to




                                               777
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 778 of 3128




receive overtime pay under the FLSA because Delva has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2539. Plaintiff Samuel Delvalle is an individual residing in Florida. Delvalle worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Delvalle has been

eligible to receive overtime pay under the FLSA because Delvalle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2540. Plaintiff Jean Desir is an individual residing in Florida. Desir worked as a delivery

driver for FedEx in Florida from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Desir has been eligible to

receive overtime pay under the FLSA because Desir has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2541. Plaintiff Joseph Dias is an individual residing in Florida. Dias worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Dias has been eligible to receive overtime pay under the

FLSA because Dias has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2542. Plaintiff Jorge Diaz is an individual residing in Florida. Diaz worked as a delivery

driver for FedEx in Florida from approximately 2012 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Diaz has been eligible to

receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               778
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 779 of 3128




       2543. Plaintiff Carmen Diaz is an individual residing in Pennsylvania. Diaz worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Diaz has been eligible to

receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2544. Plaintiff Eddie Diaz is an individual residing in Florida. Diaz worked as a delivery

driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Diaz has been eligible to

receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2545. Plaintiff Donovan Dixon is an individual residing in Florida. Dixon worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dixon has been eligible to

receive overtime pay under the FLSA because Dixon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2546. Plaintiff Vesheia Dixon is an individual residing in Florida. Dixon worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Dixon has been eligible to

receive overtime pay under the FLSA because Dixon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2547. Plaintiff Carlos Dominguez is an individual residing in Florida. Dominguez

worked as a delivery driver for FedEx in Florida from approximately 2012 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               779
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 780 of 3128




Dominguez has been eligible to receive overtime pay under the FLSA because Dominguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2548. Plaintiff Ashley Domkoski is an individual residing in Florida. Domkoski worked

as a delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Domkoski has been

eligible to receive overtime pay under the FLSA because Domkoski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2549. Plaintiff Taniqua Donald is an individual residing in Florida. Donald worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Donald has been eligible to

receive overtime pay under the FLSA because Donald has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2550. Plaintiff Raymond Doran is an individual residing in Florida. Doran worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Doran has been eligible to

receive overtime pay under the FLSA because Doran has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2551. Plaintiff Eric Doss is an individual residing in Florida. Doss worked as a delivery

driver for FedEx in Florida from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Doss has been eligible to




                                               780
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 781 of 3128




receive overtime pay under the FLSA because Doss has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2552. Plaintiff Steve Doss is an individual residing in Florida. Doss worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Doss has been eligible to

receive overtime pay under the FLSA because Doss has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2553. Plaintiff Justin Draper is an individual residing in Georgia. Draper worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Draper has been eligible to

receive overtime pay under the FLSA because Draper has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2554. Plaintiff Basil Dunbar is an individual residing in Florida. Dunbar worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dunbar has been eligible to

receive overtime pay under the FLSA because Dunbar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2555. Plaintiff Robert Dunne is an individual residing in Florida. Dunne worked as a

delivery driver for FedEx in Florida from approximately 2007 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Dunne has been eligible to

receive overtime pay under the FLSA because Dunne has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               781
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 782 of 3128




        2556. Plaintiff Aubrey E Sheats is an individual residing in Florida. E Sheats worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. E Sheats has been

eligible to receive overtime pay under the FLSA because E Sheats has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2557. Plaintiff Jason Earle is an individual residing in Florida. Earle worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Earle has been eligible to

receive overtime pay under the FLSA because Earle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2558. Plaintiff Luis Echeverria is an individual residing in Florida. Echeverria worked

as a delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Echeverria has

been eligible to receive overtime pay under the FLSA because Echeverria has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2559. Plaintiff Wilguins Edmond is an individual residing in Florida. Edmond worked

as a delivery driver for FedEx in Florida from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Edmond has been

eligible to receive overtime pay under the FLSA because Edmond has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               782
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 783 of 3128




        2560. Plaintiff Meltonia Edwards-Lawson is an individual residing in Florida. Edwards-

Lawson worked as a delivery driver for FedEx in Florida from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Edwards-Lawson has been eligible to receive overtime pay under the FLSA because Edwards-

Lawson has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        2561. Plaintiff Barbara Ellerbush is an individual residing in Florida. Ellerbush worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ellerbush has been

eligible to receive overtime pay under the FLSA because Ellerbush has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2562. Plaintiff Benjamin Ellis is an individual residing in Florida. Ellis worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ellis has been eligible to

receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2563. Plaintiff Matthew Erickson is an individual residing in Florida. Erickson worked

as a delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Erickson has been

eligible to receive overtime pay under the FLSA because Erickson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               783
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 784 of 3128




        2564. Plaintiff Angelo Escano is an individual residing in Florida. Escano worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Escano has been eligible to

receive overtime pay under the FLSA because Escano has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2565. Plaintiff Jesus Escoto is an individual residing in Florida. Escoto worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Escoto has been eligible to

receive overtime pay under the FLSA because Escoto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2566. Plaintiff Michael Evans is an individual residing in Connecticut. Evans worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2567. Plaintiff Timothy Evans is an individual residing in Florida. Evans worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Evans has been eligible to

receive overtime pay under the FLSA because Evans has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2568. Plaintiff Elmostafa Ezzahhaf is an individual residing in Florida. Ezzahhaf

worked as a delivery driver for FedEx in Florida from approximately 2001 to 2024 but was



                                               784
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 785 of 3128




employed through intermediary entities that FedEx calls independent service providers. Ezzahhaf

has been eligible to receive overtime pay under the FLSA because Ezzahhaf has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2569. Plaintiff Eric Fadely is an individual residing in Florida. Fadely worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fadely has been eligible to

receive overtime pay under the FLSA because Fadely has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2570. Plaintiff Shade Falana is an individual residing in Florida. Falana worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Falana has been eligible to

receive overtime pay under the FLSA because Falana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2571. Plaintiff Javin Fenton is an individual residing in Florida. Fenton worked as a

delivery driver for FedEx in Florida from approximately 2009 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fenton has been eligible to

receive overtime pay under the FLSA because Fenton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2572. Plaintiff Drayton Ferguson is an individual residing in Alabama. Ferguson

worked as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Ferguson

has been eligible to receive overtime pay under the FLSA because Ferguson has driven a vehicle



                                               785
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 786 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2573. Plaintiff John Fernandez is an individual residing in Florida. Fernandez worked as

a delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Fernandez has been

eligible to receive overtime pay under the FLSA because Fernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2574. Plaintiff Richard Ferro is an individual residing in Florida. Ferro worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Ferro has been eligible to receive overtime pay under the

FLSA because Ferro has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2575. Plaintiff Charles Finch is an individual residing in Florida. Finch worked as a

delivery driver for FedEx in Florida from approximately 2007 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Finch has been eligible to

receive overtime pay under the FLSA because Finch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2576. Plaintiff Jennifer Finch is an individual residing in Florida. Finch worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Finch has been eligible to

receive overtime pay under the FLSA because Finch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               786
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 787 of 3128




       2577. Plaintiff Jerry Fisher is an individual residing in Florida. Fisher worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Fisher has been eligible to

receive overtime pay under the FLSA because Fisher has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2578. Plaintiff Dominique Fitzhugh is an individual residing in Florida. Fitzhugh

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Fitzhugh

has been eligible to receive overtime pay under the FLSA because Fitzhugh has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2579. Plaintiff Anthony Flechas is an individual residing in Florida. Flechas worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Flechas has been eligible to

receive overtime pay under the FLSA because Flechas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2580. Plaintiff Jaime Flores is an individual residing in Florida. Flores worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Flores has been eligible to

receive overtime pay under the FLSA because Flores has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2581. Plaintiff Dennis Florian is an individual residing in Florida. Florian worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed through



                                               787
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 788 of 3128




intermediary entities that FedEx calls independent service providers. Florian has been eligible to

receive overtime pay under the FLSA because Florian has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2582. Plaintiff Dennis Fonte is an individual residing in Florida. Fonte worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Fonte has been eligible to

receive overtime pay under the FLSA because Fonte has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2583. Plaintiff Dean Foote is an individual residing in Florida. Foote worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Foote has been eligible to

receive overtime pay under the FLSA because Foote has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2584. Plaintiff Kyri Ford is an individual residing in Maryland. Ford worked as a

delivery driver for FedEx in Florida and Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Ford has been eligible to receive

overtime pay under the FLSA because Ford has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2585. Plaintiff James Ford Iii is an individual residing in Florida. Ford Iii worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Ford Iii has been eligible to receive overtime pay under the

FLSA because Ford Iii has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               788
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 789 of 3128




        2586. Plaintiff Jeffrey Forehand is an individual residing in Florida. Forehand worked as

a delivery driver for FedEx in Florida from approximately 2000 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Forehand has been

eligible to receive overtime pay under the FLSA because Forehand has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2587. Plaintiff Desmond Forrest is an individual residing in Florida. Forrest worked as a

delivery driver for FedEx in Florida from approximately 2007 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Forrest has been eligible to

receive overtime pay under the FLSA because Forrest has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2588. Plaintiff Freddy Fortich is an individual residing in Florida. Fortich worked as a

delivery driver for FedEx in Florida from approximately 2002 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Fortich has been eligible to

receive overtime pay under the FLSA because Fortich has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2589. Plaintiff Jesse Fox is an individual residing in Florida. Fox worked as a delivery

driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Fox has been eligible to

receive overtime pay under the FLSA because Fox has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2590. Plaintiff Juan Franco is an individual residing in Florida. Franco worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2019 but was employed through



                                               789
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 790 of 3128




intermediary entities that FedEx calls independent service providers. Franco has been eligible to

receive overtime pay under the FLSA because Franco has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2591. Plaintiff Gashmarv Francois is an individual residing in Florida. Francois worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Francois has been

eligible to receive overtime pay under the FLSA because Francois has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2592. Plaintiff Jhibarr Franklin is an individual residing in Virginia. Franklin worked as

a delivery driver for FedEx in Florida from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Franklin has been

eligible to receive overtime pay under the FLSA because Franklin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2593. Plaintiff Michele Franklin-Ehmry is an individual residing in Florida. Franklin-

Ehmry worked as a delivery driver for FedEx in Florida from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Franklin-Ehmry has been eligible to receive overtime pay under the FLSA because Franklin-

Ehmry has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        2594. Plaintiff Ralph Franzese is an individual residing in Florida. Franzese worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2022 but was employed through



                                               790
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 791 of 3128




intermediary entities that FedEx calls independent service providers. Franzese has been eligible

to receive overtime pay under the FLSA because Franzese has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2595. Plaintiff Travis Frederickson is an individual residing in Florida. Frederickson

worked as a delivery driver for FedEx in Florida from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Frederickson has been eligible to receive overtime pay under the FLSA because Frederickson

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        2596. Plaintiff John Freeman is an individual residing in Georgia. Freeman worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Freeman has been eligible to receive overtime pay under the

FLSA because Freeman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2597. Plaintiff Yenmys Frenes is an individual residing in Florida. Frenes worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Frenes has been eligible to

receive overtime pay under the FLSA because Frenes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2598. Plaintiff Arthur Froemke is an individual residing in Florida. Froemke worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Froemke has been



                                               791
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 792 of 3128




eligible to receive overtime pay under the FLSA because Froemke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2599. Plaintiff David Frye is an individual residing in Florida. Frye worked as a delivery

driver for FedEx in Florida but was employed through intermediary entities that FedEx calls

independent service providers. Frye has been eligible to receive overtime pay under the FLSA

because Frye has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2600. Plaintiff Alexander Fugate is an individual residing in Florida. Fugate worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Fugate has been eligible to

receive overtime pay under the FLSA because Fugate has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2601. Plaintiff Charles Fulton is an individual residing in Florida. Fulton worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Fulton has been eligible to

receive overtime pay under the FLSA because Fulton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2602. Plaintiff Randall Gabbard is an individual residing in Florida. Gabbard worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Gabbard has been eligible to receive overtime pay

under the FLSA because Gabbard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               792
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 793 of 3128




        2603. Plaintiff Daniel Gaines is an individual residing in Florida. Gaines worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gaines has been eligible to

receive overtime pay under the FLSA because Gaines has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2604. Plaintiff Zachary Gallitz is an individual residing in Ohio. Gallitz worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gallitz has been eligible to

receive overtime pay under the FLSA because Gallitz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2605. Plaintiff Ricky Gamble is an individual residing in Florida. Gamble worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gamble has been eligible to

receive overtime pay under the FLSA because Gamble has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2606. Plaintiff Federico Gamero is an individual residing in Florida. Gamero worked as

a delivery driver for FedEx in Florida from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gamero has been

eligible to receive overtime pay under the FLSA because Gamero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2607. Plaintiff Albanie Gant is an individual residing in Texas. Gant worked as a

delivery driver for FedEx in Florida and Texas from approximately 2014 to 2022 but was



                                               793
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 794 of 3128




employed through intermediary entities that FedEx calls independent service providers. Gant has

been eligible to receive overtime pay under the FLSA because Gant has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2608. Plaintiff Alexander Garcia is an individual residing in Florida. Garcia worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2609. Plaintiff David Garcia is an individual residing in North Carolina. Garcia worked

as a delivery driver for FedEx in Florida from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2610. Plaintiff Dan Gartley is an individual residing in Florida. Gartley worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Gartley has been eligible to

receive overtime pay under the FLSA because Gartley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2611. Plaintiff Edgar Gates is an individual residing in Florida. Gates worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Gates has been eligible to receive overtime pay under the



                                               794
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 795 of 3128




FLSA because Gates has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2612. Plaintiff Ervin Gay is an individual residing in Florida. Gay worked as a delivery

driver for FedEx in Florida from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gay has been eligible to

receive overtime pay under the FLSA because Gay has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2613. Plaintiff Christopher Gearhart is an individual residing in Tennessee. Gearhart

worked as a delivery driver for FedEx in Florida and Georgia from approximately 2006 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Gearhart has been eligible to receive overtime pay under the FLSA because Gearhart has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       2614. Plaintiff James Geier Jr. is an individual residing in Illinois. Geier Jr. worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Geier Jr. has been eligible to receive overtime pay under the

FLSA because Geier Jr. has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2615. Plaintiff Gregory Gibbs is an individual residing in North Carolina. Gibbs worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gibbs has been

eligible to receive overtime pay under the FLSA because Gibbs has driven a vehicle weighing




                                               795
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 796 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2616. Plaintiff John Gigante is an individual residing in Florida. Gigante worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Gigante has been eligible to

receive overtime pay under the FLSA because Gigante has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2617. Plaintiff Ronald Gillis is an individual residing in Florida. Gillis worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Gillis has been eligible to

receive overtime pay under the FLSA because Gillis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2618. Plaintiff William Goff is an individual residing in Florida. Goff worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Goff has been eligible to

receive overtime pay under the FLSA because Goff has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2619. Plaintiff Jennifer Goldfarb- Frontera is an individual residing in Florida.

Goldfarb- Frontera worked as a delivery driver for FedEx in Florida from approximately 2004 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Goldfarb- Frontera has been eligible to receive overtime pay under the FLSA because

Goldfarb- Frontera has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                                796
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 797 of 3128




        2620. Plaintiff Kim Goldstein is an individual residing in Florida. Goldstein worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Goldstein has been eligible

to receive overtime pay under the FLSA because Goldstein has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2621. Plaintiff Richard Golson is an individual residing in Florida. Golson worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Golson has been eligible to

receive overtime pay under the FLSA because Golson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2622. Plaintiff Fernando Gomez is an individual residing in North Carolina. Gomez

worked as a delivery driver for FedEx in Florida from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Gomez

has been eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2623. Plaintiff Tomas Gonzalez is an individual residing in Florida. Gonzalez worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               797
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 798 of 3128




        2624. Plaintiff Hector Gonzalez is an individual residing in Florida. Gonzalez worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2625. Plaintiff Eddie Gonzalez is an individual residing in Florida. Gonzalez worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2626. Plaintiff Reinier Gonzalez is an individual residing in Florida. Gonzalez worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2627. Plaintiff Luis Gonzalez is an individual residing in Florida. Gonzalez worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gonzalez has been eligible

to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less




                                              798
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 799 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2628. Plaintiff Kendra Gordon is an individual residing in Florida. Gordon worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Gordon has been eligible to

receive overtime pay under the FLSA because Gordon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2629. Plaintiff Frank Gosier is an individual residing in Florida. Gosier worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gosier has been eligible to

receive overtime pay under the FLSA because Gosier has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2630. Plaintiff Isaac Gou is an individual residing in Florida. Gou worked as a delivery

driver for FedEx in Florida from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gou has been eligible to

receive overtime pay under the FLSA because Gou has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2631. Plaintiff Jeremy Gourdine is an individual residing in Florida. Gourdine worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Gourdine has been

eligible to receive overtime pay under the FLSA because Gourdine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               799
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 800 of 3128




        2632. Plaintiff Glenn Grahl is an individual residing in Florida. Grahl worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Grahl has been eligible to

receive overtime pay under the FLSA because Grahl has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2633. Plaintiff Luis Granado is an individual residing in Florida. Granado worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Granado has been eligible

to receive overtime pay under the FLSA because Granado has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2634. Plaintiff Edwin Grau is an individual residing in Florida. Grau worked as a

delivery driver for FedEx in Florida from approximately 2000 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Grau has been eligible to

receive overtime pay under the FLSA because Grau has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2635. Plaintiff Jesse Grau is an individual residing in Florida. Grau worked as a delivery

driver for FedEx in Florida from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Grau has been eligible to

receive overtime pay under the FLSA because Grau has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2636. Plaintiff Charlene Gray is an individual residing in Florida. Gray worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through



                                               800
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 801 of 3128




intermediary entities that FedEx calls independent service providers. Gray has been eligible to

receive overtime pay under the FLSA because Gray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2637. Plaintiff Stephen Greenhorn is an individual residing in Florida. Greenhorn

worked as a delivery driver for FedEx in Florida from approximately 2011 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Greenhorn has been eligible to receive overtime pay under the FLSA because Greenhorn has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2638. Plaintiff Raphael Grey is an individual residing in Florida. Grey worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Grey has been eligible to

receive overtime pay under the FLSA because Grey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2639. Plaintiff Gregory Hannah is an individual residing in Florida. Griffin worked as a

delivery driver for FedEx in Florida from approximately 2005 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Griffin has been eligible to

receive overtime pay under the FLSA because Griffin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2640. Plaintiff Justin Griffith is an individual residing in Florida. Griffith worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Griffith has been eligible to




                                               801
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 802 of 3128




receive overtime pay under the FLSA because Griffith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2641. Plaintiff Jose Guerra is an individual residing in Florida. Guerra worked as a

delivery driver for FedEx in Florida and Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Guerra has been eligible to receive

overtime pay under the FLSA because Guerra has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2642. Plaintiff Sergio Guerrero is an individual residing in Florida. Guerrero worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Guerrero has been

eligible to receive overtime pay under the FLSA because Guerrero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2643. Plaintiff Gerard Guillot is an individual residing in Louisiana. Guillot worked as a

delivery driver for FedEx in Florida from approximately 1989 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Guillot has been eligible to

receive overtime pay under the FLSA because Guillot has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2644. Plaintiff Patricia Guinta is an individual residing in Florida. Guinta worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Guinta has been eligible to receive overtime pay under the

FLSA because Guinta has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               802
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 803 of 3128




        2645. Plaintiff Justin Gunwaldsen is an individual residing in New York. Gunwaldsen

worked as a delivery driver for FedEx in Florida from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Gunwaldsen has been eligible to receive overtime pay under the FLSA because Gunwaldsen has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2646. Plaintiff Rommel Gutierrez is an individual residing in Florida. Gutierrez worked

as a delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2647. Plaintiff Michael Hadley is an individual residing in Florida. Hadley worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hadley has been eligible to

receive overtime pay under the FLSA because Hadley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2648. Plaintiff Joshua Hall is an individual residing in Florida. Hall worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               803
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 804 of 3128




        2649. Plaintiff Edward Hall is an individual residing in Florida. Hall worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2650. Plaintiff Timothy Hamula is an individual residing in Florida. Hamula worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hamula has been

eligible to receive overtime pay under the FLSA because Hamula has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2651. Plaintiff Cecil Hancock is an individual residing in Florida. Hancock worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hancock has been eligible

to receive overtime pay under the FLSA because Hancock has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2652. Plaintiff Blake Hand is an individual residing in Florida. Hand worked as a

delivery driver for FedEx in Florida from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Hand has been eligible to

receive overtime pay under the FLSA because Hand has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               804
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 805 of 3128




       2653. Plaintiff William Hannah is an individual residing in Florida. Hannah worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Hannah has been eligible to receive overtime pay under the

FLSA because Hannah has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2654. Plaintiff Michael Hantzidiamantis is an individual residing in Florida.

Hantzidiamantis worked as a delivery driver for FedEx in Florida from approximately 2015 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Hantzidiamantis has been eligible to receive overtime pay under the FLSA because

Hantzidiamantis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2655. Plaintiff Chirkra Harrell is an individual residing in Georgia. Harrell worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Harrell has been eligible to

receive overtime pay under the FLSA because Harrell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2656. Plaintiff Timothy Harris is an individual residing in Florida. Harris worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2657. Plaintiff Michael Harris is an individual residing in Florida. Harris worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2023 but was employed through



                                               805
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 806 of 3128




intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2658. Plaintiff Clyde Harris Iii is an individual residing in Florida. Harris Iii worked as

a delivery driver for FedEx in Florida from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Harris Iii has been

eligible to receive overtime pay under the FLSA because Harris Iii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2659. Plaintiff Danny Harrison is an individual residing in District of Columbia.

Harrison worked as a delivery driver for FedEx in Florida from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Harrison has been eligible to receive overtime pay under the FLSA because Harrison has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        2660. Plaintiff Dave Harvey is an individual residing in Florida. Harvey worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Harvey has been eligible to

receive overtime pay under the FLSA because Harvey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2661. Plaintiff Kateshia Hawkins is an individual residing in Florida. Hawkins worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkins has been



                                                806
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 807 of 3128




eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2662. Plaintiff Turquoise Haynes is an individual residing in Florida. Haynes worked as

a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Haynes has been

eligible to receive overtime pay under the FLSA because Haynes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2663. Plaintiff Ronald Haynes is an individual residing in Florida. Haynes worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Haynes has been eligible to

receive overtime pay under the FLSA because Haynes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2664. Plaintiff Denzel Heck is an individual residing in Florida. Heck worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Heck has been eligible to

receive overtime pay under the FLSA because Heck has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2665. Plaintiff Antoine Helou is an individual residing in Florida. Helou worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Helou has been eligible to receive overtime pay under the




                                               807
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 808 of 3128




FLSA because Helou has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2666. Plaintiff Wayne Henry is an individual residing in Florida. Henry worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Henry has been eligible to

receive overtime pay under the FLSA because Henry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2667. Plaintiff Diosdi Hernandez is an individual residing in Florida. Hernandez worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hernandez has

been eligible to receive overtime pay under the FLSA because Hernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2668. Plaintiff Jorge Hernandez is an individual residing in Florida. Hernandez worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Hernandez has been eligible to receive overtime pay

under the FLSA because Hernandez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       2669. Plaintiff David Hernandez is an individual residing in Florida. Hernandez worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hernandez has

been eligible to receive overtime pay under the FLSA because Hernandez has driven a vehicle




                                               808
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 809 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2670. Plaintiff Enrique Hernandez is an individual residing in Florida. Hernandez

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Hernandez has been eligible to receive overtime

pay under the FLSA because Hernandez has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       2671. Plaintiff Roberto Hernandez is an individual residing in Florida. Hernandez

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2672. Plaintiff Leonardo Hernandez-Nieves is an individual residing in Florida.

Hernandez-Nieves worked as a delivery driver for FedEx in Florida from approximately 2018 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Hernandez-Nieves has been eligible to receive overtime pay under the FLSA because

Hernandez-Nieves has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2673. Plaintiff Dandre Herring is an individual residing in Florida. Herring worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Herring has been eligible to




                                               809
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 810 of 3128




receive overtime pay under the FLSA because Herring has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2674. Plaintiff Kevin Herring is an individual residing in Florida. Herring worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Herring has been eligible to

receive overtime pay under the FLSA because Herring has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2675. Plaintiff Tkeya Hicks is an individual residing in Florida. Hicks worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hicks has been eligible to

receive overtime pay under the FLSA because Hicks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2676. Plaintiff Antwan Hill is an individual residing in Florida. Hill worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2677. Plaintiff Brian Hines is an individual residing in Georgia. Hines worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hines has been eligible to

receive overtime pay under the FLSA because Hines has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               810
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 811 of 3128




        2678. Plaintiff Robert Hiserman is an individual residing in Texas. Hiserman worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hiserman has been

eligible to receive overtime pay under the FLSA because Hiserman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2679. Plaintiff Christopher Hoaglund is an individual residing in Florida. Hoaglund

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hoaglund has been eligible to receive overtime pay under the FLSA because Hoaglund has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2680. Plaintiff Takelia Holmes is an individual residing in Florida. Holmes worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Holmes has been eligible to

receive overtime pay under the FLSA because Holmes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2681. Plaintiff Albert Hostetter is an individual residing in Florida. Hostetter worked as

a delivery driver for FedEx in Florida from approximately 1986 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hostetter has been

eligible to receive overtime pay under the FLSA because Hostetter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               811
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 812 of 3128




       2682. Plaintiff Bryant Howell is an individual residing in Florida. Howell worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Howell has been eligible to

receive overtime pay under the FLSA because Howell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2683. Plaintiff Gary Hudson is an individual residing in Florida. Hudson worked as a

delivery driver for FedEx in Florida from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hudson has been eligible to

receive overtime pay under the FLSA because Hudson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2684. Plaintiff Alesia Hudson is an individual residing in Florida. Hudson worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hudson has been eligible to

receive overtime pay under the FLSA because Hudson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2685. Plaintiff Camren Hudson is an individual residing in Florida. Hudson worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Hudson has been eligible to

receive overtime pay under the FLSA because Hudson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2686. Plaintiff Juawanda Huggins is an individual residing in Florida. Huggins worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Huggins has been



                                               812
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 813 of 3128




eligible to receive overtime pay under the FLSA because Huggins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2687. Plaintiff Nicholas Hult is an individual residing in Florida. Hult worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hult has been eligible to

receive overtime pay under the FLSA because Hult has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2688. Plaintiff Christopher Humpert is an individual residing in Florida. Humpert

worked as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Humpert

has been eligible to receive overtime pay under the FLSA because Humpert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2689. Plaintiff Robert Hunt is an individual residing in Florida. Hunt worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hunt has been eligible to

receive overtime pay under the FLSA because Hunt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2690. Plaintiff Sean Hyman is an individual residing in Florida. Hyman worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hyman has been eligible to




                                               813
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 814 of 3128




receive overtime pay under the FLSA because Hyman has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2691. Plaintiff Jasper I Mahan is an individual residing in Florida. I Mahan worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. I Mahan has been eligible

to receive overtime pay under the FLSA because I Mahan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2692. Plaintiff Sokol Ibishi is an individual residing in Florida. Ibishi worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ibishi has been eligible to

receive overtime pay under the FLSA because Ibishi has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2693. Plaintiff Miguel Isaac Pollock is an individual residing in Florida. Isaac Pollock

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Isaac

Pollock has been eligible to receive overtime pay under the FLSA because Isaac Pollock has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2694. Plaintiff Mitsuru Ishii is an individual residing in Florida. Ishii worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ishii has been eligible to




                                                814
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 815 of 3128




receive overtime pay under the FLSA because Ishii has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2695. Plaintiff Daryl Isom is an individual residing in Florida. Isom worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Isom has been eligible to

receive overtime pay under the FLSA because Isom has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2696. Plaintiff Eddie J Vargas is an individual residing in Florida. J Vargas worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. J Vargas has been eligible

to receive overtime pay under the FLSA because J Vargas has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2697. Plaintiff Alfonzo Jackson is an individual residing in Florida. Jackson worked as a

delivery driver for FedEx in Florida from approximately 2005 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2698. Plaintiff Ronald Jackson is an individual residing in Florida. Jackson worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Jackson has been eligible to receive overtime pay under the

FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               815
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 816 of 3128




        2699. Plaintiff Patrice Jackson is an individual residing in Florida. Jackson worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2700. Plaintiff Jose Jaramillo is an individual residing in Florida. Jaramillo worked as a

delivery driver for FedEx in Florida from approximately 2001 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Jaramillo has been eligible

to receive overtime pay under the FLSA because Jaramillo has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2701. Plaintiff Shawn Jarrett is an individual residing in Florida. Jarrett worked as a

delivery driver for FedEx in Florida and New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Jarrett

has been eligible to receive overtime pay under the FLSA because Jarrett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2702. Plaintiff Keith Jenkins is an individual residing in Florida. Jenkins worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Jenkins has been eligible to receive overtime pay under the

FLSA because Jenkins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                                816
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 817 of 3128




        2703. Plaintiff Frederick Jenkins is an individual residing in Florida. Jenkins worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2704. Plaintiff Jeffrey Jenkins is an individual residing in Georgia. Jenkins worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Jenkins has been eligible to

receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2705. Plaintiff Cora Jennett is an individual residing in Florida. Jennett worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Jennett has been eligible to receive overtime pay under the

FLSA because Jennett has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2706. Plaintiff Roger Jimenez is an individual residing in Florida. Jimenez worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jimenez has been eligible to

receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2707. Plaintiff Derrick Jones is an individual residing in Tennessee. Jones worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2017 but was employed through



                                               817
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 818 of 3128




intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2708. Plaintiff Dwaimeon Jordan is an individual residing in Florida. Jordan worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jordan has been

eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2709. Plaintiff Michael Kaeler is an individual residing in Florida. Kaeler worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Kaeler has been eligible to receive overtime pay under the

FLSA because Kaeler has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2710. Plaintiff Eric Kaetzel is an individual residing in Florida. Kaetzel worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Kaetzel has been eligible to receive overtime pay under the

FLSA because Kaetzel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2711. Plaintiff Kyalo Kamwele is an individual residing in Florida. Kamwele worked as

a delivery driver for FedEx in Florida from approximately 2001 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kamwele has been

eligible to receive overtime pay under the FLSA because Kamwele has driven a vehicle



                                               818
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 819 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2712. Plaintiff Leonard Kanserski is an individual residing in Florida. Kanserski worked

as a delivery driver for FedEx in Florida from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kanserski has been

eligible to receive overtime pay under the FLSA because Kanserski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2713. Plaintiff Travis Keith is an individual residing in Florida. Keith worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Keith has been eligible to

receive overtime pay under the FLSA because Keith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2714. Plaintiff Theodore Kelly is an individual residing in Florida. Kelly worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Kelly has been eligible to

receive overtime pay under the FLSA because Kelly has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2715. Plaintiff Stephen Kelly is an individual residing in Florida. Kelly worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Kelly has been eligible to

receive overtime pay under the FLSA because Kelly has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               819
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 820 of 3128




       2716. Plaintiff Derek Kendrick is an individual residing in Florida. Kendrick worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Kendrick has been eligible to receive overtime pay

under the FLSA because Kendrick has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2717. Plaintiff Delbert Kennedy is an individual residing in North Carolina. Kennedy

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Kennedy

has been eligible to receive overtime pay under the FLSA because Kennedy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2718. Plaintiff Jeffrey Kerns is an individual residing in Florida. Kerns worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kerns has been eligible to

receive overtime pay under the FLSA because Kerns has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2719. Plaintiff Eric Key is an individual residing in Florida. Key worked as a delivery

driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Key has been eligible to

receive overtime pay under the FLSA because Key has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2720. Plaintiff Keith Khan is an individual residing in Florida. Khan worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx



                                               820
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 821 of 3128




calls independent service providers. Khan has been eligible to receive overtime pay under the

FLSA because Khan has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2721. Plaintiff Jaime Kinckiner is an individual residing in Florida. Kinckiner worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Kinckiner has been

eligible to receive overtime pay under the FLSA because Kinckiner has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2722. Plaintiff Christopher Kinney is an individual residing in North Carolina. Kinney

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Kinney

has been eligible to receive overtime pay under the FLSA because Kinney has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2723. Plaintiff Frederick Kinsler is an individual residing in Florida. Kinsler worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kinsler has been

eligible to receive overtime pay under the FLSA because Kinsler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2724. Plaintiff Jason Kirkalnd is an individual residing in Florida. Kirkalnd worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx



                                               821
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 822 of 3128




calls independent service providers. Kirkalnd has been eligible to receive overtime pay under the

FLSA because Kirkalnd has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2725. Plaintiff Brandon Knight is an individual residing in Florida. Knight worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Knight has been eligible to

receive overtime pay under the FLSA because Knight has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2726. Plaintiff Chase Knowlton is an individual residing in Florida. Knowlton worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Knowlton has been

eligible to receive overtime pay under the FLSA because Knowlton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2727. Plaintiff Matthew Knudsen is an individual residing in Florida. Knudsen worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Knudsen has been

eligible to receive overtime pay under the FLSA because Knudsen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2728. Plaintiff Ronnie Koncz is an individual residing in Florida. Koncz worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Koncz has been eligible to receive overtime pay under the



                                               822
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 823 of 3128




FLSA because Koncz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2729. Plaintiff John Kositch is an individual residing in Florida. Kositch worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kositch has been eligible to

receive overtime pay under the FLSA because Kositch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2730. Plaintiff Basilios Koumanidis is an individual residing in Florida. Koumanidis

worked as a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Koumanidis has been eligible to receive overtime pay under the FLSA because Koumanidis has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2731. Plaintiff Mike Kramer is an individual residing in Florida. Kramer worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Kramer has been eligible to

receive overtime pay under the FLSA because Kramer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2732. Plaintiff Dave Kraus is an individual residing in Florida. Kraus worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Kraus has been eligible to

receive overtime pay under the FLSA because Kraus has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               823
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 824 of 3128




       2733. Plaintiff Joshua Kubik is an individual residing in Florida. Kubik worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Kubik has been eligible to

receive overtime pay under the FLSA because Kubik has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2734. Plaintiff Lisa Kyllingstad is an individual residing in Florida. Kyllingstad worked

as a delivery driver for FedEx in Florida from approximately 2009 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Kyllingstad has

been eligible to receive overtime pay under the FLSA because Kyllingstad has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2735. Plaintiff Joseph Laflash is an individual residing in Ohio. Laflash worked as a

delivery driver for FedEx in Florida and Massachusetts from approximately 2010 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Laflash has been eligible to receive overtime pay under the FLSA because Laflash has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       2736. Plaintiff Michael Laframboise is an individual residing in Tennessee. Laframboise

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Laframboise has been eligible to receive overtime pay under the FLSA because Laframboise has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               824
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 825 of 3128




        2737. Plaintiff Clinton Lagrone is an individual residing in Florida. Lagrone worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lagrone has been

eligible to receive overtime pay under the FLSA because Lagrone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2738. Plaintiff Daniel Lamarque is an individual residing in Georgia. Lamarque worked

as a delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lamarque has been

eligible to receive overtime pay under the FLSA because Lamarque has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2739. Plaintiff Robert Lange is an individual residing in Florida. Lange worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lange has been eligible to

receive overtime pay under the FLSA because Lange has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2740. Plaintiff Mark Larue is an individual residing in Florida. Larue worked as a

delivery driver for FedEx in Florida from approximately 1992 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Larue has been eligible to

receive overtime pay under the FLSA because Larue has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               825
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 826 of 3128




       2741. Plaintiff John Laupert is an individual residing in Tennessee. Laupert worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Laupert has been eligible to receive overtime pay under the

FLSA because Laupert has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2742. Plaintiff Duff Law is an individual residing in Florida. Law worked as a delivery

driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Law has been eligible to

receive overtime pay under the FLSA because Law has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2743. Plaintiff Enos Lawrence is an individual residing in Florida. Lawrence worked as

a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lawrence has been

eligible to receive overtime pay under the FLSA because Lawrence has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2744. Plaintiff Jerome Leete is an individual residing in Florida. Leete worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Leete has been eligible to

receive overtime pay under the FLSA because Leete has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2745. Plaintiff Daisy Leon is an individual residing in Florida. Leon worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through



                                               826
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 827 of 3128




intermediary entities that FedEx calls independent service providers. Leon has been eligible to

receive overtime pay under the FLSA because Leon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2746. Plaintiff William Lester is an individual residing in Florida. Lester worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lester has been eligible to

receive overtime pay under the FLSA because Lester has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2747. Plaintiff Tieannaca Lewis is an individual residing in Florida. Lewis worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2748. Plaintiff Nathaniel Lewis is an individual residing in Florida. Lewis worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Lewis has been eligible to

receive overtime pay under the FLSA because Lewis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2749. Plaintiff Lisulo Lindunda is an individual residing in Florida. Lindunda worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Lindunda has been eligible to receive overtime pay

under the FLSA because Lindunda has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.



                                               827
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 828 of 3128




        2750. Plaintiff Anthony Lograsso is an individual residing in Florida. Lograsso worked

as a delivery driver for FedEx in Florida from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lograsso has been

eligible to receive overtime pay under the FLSA because Lograsso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2751. Plaintiff Richard Lolagne is an individual residing in Florida. Lolagne worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lolagne has been

eligible to receive overtime pay under the FLSA because Lolagne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2752. Plaintiff Jason London is an individual residing in Arkansas. London worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. London has been eligible to

receive overtime pay under the FLSA because London has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2753. Plaintiff Caroline Lopez is an individual residing in Florida. Lopez worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Lopez has been eligible to receive overtime pay under the

FLSA because Lopez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                              828
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 829 of 3128




       2754. Plaintiff Jorge Lopez is an individual residing in Florida. Lopez worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lopez has been eligible to

receive overtime pay under the FLSA because Lopez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2755. Plaintiff Juan Lopez is an individual residing in Florida. Lopez worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Lopez has been eligible to

receive overtime pay under the FLSA because Lopez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2756. Plaintiff Eddy Lopez is an individual residing in Florida. Lopez worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Lopez has been eligible to

receive overtime pay under the FLSA because Lopez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2757. Plaintiff Liana Lucas is an individual residing in Florida. Lucas worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Lucas has been eligible to

receive overtime pay under the FLSA because Lucas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2758. Plaintiff Julio Lugo is an individual residing in Florida. Lugo worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Lugo has been eligible to



                                               829
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 830 of 3128




receive overtime pay under the FLSA because Lugo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2759. Plaintiff Ebboni Madry is an individual residing in Florida. Madry worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Madry has been eligible to

receive overtime pay under the FLSA because Madry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2760. Plaintiff Carlisle Mannheim is an individual residing in Florida. Mannheim

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Mannheim has been eligible to receive overtime

pay under the FLSA because Mannheim has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       2761. Plaintiff Josue Maradiaga is an individual residing in Florida. Maradiaga worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Maradiaga has

been eligible to receive overtime pay under the FLSA because Maradiaga has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2762. Plaintiff Casemy Marcelin is an individual residing in Florida. Marcelin worked

as a delivery driver for FedEx in Florida from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Marcelin has been

eligible to receive overtime pay under the FLSA because Marcelin has driven a vehicle weighing




                                              830
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 831 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2763. Plaintiff David Marotta is an individual residing in Florida. Marotta worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Marotta has been eligible to

receive overtime pay under the FLSA because Marotta has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2764. Plaintiff Ramesis Marrero is an individual residing in Florida. Marrero worked as

a delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Marrero has been

eligible to receive overtime pay under the FLSA because Marrero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2765. Plaintiff Jeffery Martin is an individual residing in Florida. Martin worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2766. Plaintiff Ella Martin is an individual residing in Florida. Martin worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               831
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 832 of 3128




        2767. Plaintiff Fred Martin is an individual residing in Ohio. Martin worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2768. Plaintiff Gerald Martin is an individual residing in Indiana. Martin worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2769. Plaintiff Angel Martinez is an individual residing in Florida. Martinez worked as

a delivery driver for FedEx in Florida from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2770. Plaintiff Alejandro Martir is an individual residing in Florida. Martir worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Martir has been eligible to

receive overtime pay under the FLSA because Martir has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2771. Plaintiff Ken Mastromarino is an individual residing in Florida. Mastromarino

worked as a delivery driver for FedEx in Florida from approximately 1994 to 2024 but was



                                               832
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 833 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Mastromarino has been eligible to receive overtime pay under the FLSA because Mastromarino

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        2772. Plaintiff Celine Matheson is an individual residing in Florida. Matheson worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Matheson has been

eligible to receive overtime pay under the FLSA because Matheson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2773. Plaintiff Roberto Mattei is an individual residing in Florida. Mattei worked as a

delivery driver for FedEx in Florida from approximately 2000 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Mattei has been eligible to

receive overtime pay under the FLSA because Mattei has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2774. Plaintiff Nathaniel Maxwell is an individual residing in Florida. Maxwell worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Maxwell has been

eligible to receive overtime pay under the FLSA because Maxwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2775. Plaintiff Dominick Maybank is an individual residing in Florida. Maybank

worked as a delivery driver for FedEx in Florida from approximately 2016 to 2020 but was



                                               833
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 834 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Maybank has been eligible to receive overtime pay under the FLSA because Maybank has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       2776. Plaintiff Julius Mayes is an individual residing in Alabama. Mayes worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Mayes has been eligible to

receive overtime pay under the FLSA because Mayes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2777. Plaintiff Nash Mcbridge is an individual residing in Florida. Mcbridge worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mcbridge has been

eligible to receive overtime pay under the FLSA because Mcbridge has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2778. Plaintiff Ocean Mccall is an individual residing in Florida. Mccall worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mccall has been eligible to

receive overtime pay under the FLSA because Mccall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2779. Plaintiff Cedric Mcdougal is an individual residing in Florida. Mcdougal worked

as a delivery driver for FedEx in Florida from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mcdougal has been



                                               834
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 835 of 3128




eligible to receive overtime pay under the FLSA because Mcdougal has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2780. Plaintiff Mark Mcgraw is an individual residing in Florida. Mcgraw worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Mcgraw has been eligible

to receive overtime pay under the FLSA because Mcgraw has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2781. Plaintiff Randy Mcguire is an individual residing in Florida. Mcguire worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Mcguire has been eligible to receive overtime pay under the

FLSA because Mcguire has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2782. Plaintiff Cliff Mcintosh is an individual residing in Florida. Mcintosh worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Mcintosh has been eligible to receive overtime pay under the

FLSA because Mcintosh has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2783. Plaintiff Timothy Mclane is an individual residing in Florida. Mclane worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mclane has been eligible to




                                               835
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 836 of 3128




receive overtime pay under the FLSA because Mclane has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2784. Plaintiff Joshua Mcpherson is an individual residing in Florida. Mcpherson

worked as a delivery driver for FedEx in Florida from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcpherson has been eligible to receive overtime pay under the FLSA because Mcpherson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2785. Plaintiff Victor Mejia is an individual residing in Florida. Mejia worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mejia has been eligible to

receive overtime pay under the FLSA because Mejia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2786. Plaintiff Michael Mejia is an individual residing in Florida. Mejia worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Mejia has been eligible to

receive overtime pay under the FLSA because Mejia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2787. Plaintiff Arnaldo Mendoza is an individual residing in Florida. Mendoza worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mendoza has been

eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle weighing




                                               836
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 837 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2788. Plaintiff Alberto Mercado is an individual residing in Florida. Mercado worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mercado has been

eligible to receive overtime pay under the FLSA because Mercado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2789. Plaintiff Scott Mercurio is an individual residing in Florida. Mercurio worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mercurio has been eligible

to receive overtime pay under the FLSA because Mercurio has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2790. Plaintiff Jeffrey Meyer is an individual residing in Florida. Meyer worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Meyer has been eligible to

receive overtime pay under the FLSA because Meyer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2791. Plaintiff Kevin Miller is an individual residing in Florida. Miller worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to




                                               837
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 838 of 3128




receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2792. Plaintiff Dwayne Miller is an individual residing in Florida. Miller worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Miller has been eligible to receive overtime pay under the

FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2793. Plaintiff Thaddoeus Mills is an individual residing in Florida. Mills worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Mills has been eligible to

receive overtime pay under the FLSA because Mills has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2794. Plaintiff Karen Mishler is an individual residing in Indiana. Mishler worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Mishler has been eligible to

receive overtime pay under the FLSA because Mishler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2795. Plaintiff Toyin Mohammed is an individual residing in Florida. Mohammed

worked as a delivery driver for FedEx in Florida from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mohammed has been eligible to receive overtime pay under the FLSA because Mohammed has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               838
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 839 of 3128




       2796. Plaintiff Anthony Monica is an individual residing in Florida. Monica worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Monica has been eligible to

receive overtime pay under the FLSA because Monica has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2797. Plaintiff Rodney Moore is an individual residing in Florida. Moore worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2798. Plaintiff Calvin Moore is an individual residing in Florida. Moore worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2799. Plaintiff Justin Moore is an individual residing in Florida. Moore worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Moore has been eligible to receive overtime pay under the

FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2800. Plaintiff Sergio Morales is an individual residing in Florida. Morales worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Morales has been eligible to



                                               839
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 840 of 3128




receive overtime pay under the FLSA because Morales has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2801. Plaintiff Jesus Morales is an individual residing in Florida. Morales worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Morales has been eligible to receive overtime pay under the

FLSA because Morales has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2802. Plaintiff Francisco Morales is an individual residing in Florida. Morales worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2803. Plaintiff Sergi Morales is an individual residing in Florida. Morales worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Morales has been eligible to

receive overtime pay under the FLSA because Morales has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2804. Plaintiff William Morales is an individual residing in Florida. Morales worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing




                                               840
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 841 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2805. Plaintiff William Moran is an individual residing in Florida. Moran worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Moran has been eligible to

receive overtime pay under the FLSA because Moran has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2806. Plaintiff Brandon Moreno is an individual residing in Florida. Moreno worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2807. Plaintiff Robert Morgan is an individual residing in Florida. Morgan worked as a

delivery driver for FedEx in Florida from approximately 2002 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Morgan has been eligible to

receive overtime pay under the FLSA because Morgan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2808. Plaintiff Robert Morgan is an individual residing in Florida. Morgan worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Morgan has been eligible to receive overtime pay under the

FLSA because Morgan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              841
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 842 of 3128




       2809. Plaintiff Larisner Morin is an individual residing in Florida. Morin worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Morin has been eligible to

receive overtime pay under the FLSA because Morin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2810. Plaintiff Onel Morisset Jr. is an individual residing in Florida. Morisset Jr. worked

as a delivery driver for FedEx in Florida from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Morisset Jr. has

been eligible to receive overtime pay under the FLSA because Morisset Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2811. Plaintiff Freeman Morris is an individual residing in Georgia. Morris worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Morris has been eligible to

receive overtime pay under the FLSA because Morris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2812. Plaintiff John Morris is an individual residing in Florida. Morris worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Morris has been eligible to

receive overtime pay under the FLSA because Morris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2813. Plaintiff Randa Morris is an individual residing in Georgia. Morris worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed through



                                               842
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 843 of 3128




intermediary entities that FedEx calls independent service providers. Morris has been eligible to

receive overtime pay under the FLSA because Morris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2814. Plaintiff Robert Morrison is an individual residing in Florida. Morrison worked as

a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morrison has been

eligible to receive overtime pay under the FLSA because Morrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2815. Plaintiff Ian Motes is an individual residing in Florida. Motes worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Motes has been eligible to

receive overtime pay under the FLSA because Motes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2816. Plaintiff Marcus Moton is an individual residing in Florida. Moton worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Moton has been eligible to

receive overtime pay under the FLSA because Moton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2817. Plaintiff Donald Mouilleseaux is an individual residing in Florida. Mouilleseaux

worked as a delivery driver for FedEx in Florida from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mouilleseaux has been eligible to receive overtime pay under the FLSA because Mouilleseaux



                                               843
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 844 of 3128




has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       2818. Plaintiff Trayvius Mount is an individual residing in Alabama. Mount worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mount has been eligible to

receive overtime pay under the FLSA because Mount has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2819. Plaintiff Luis Munoz is an individual residing in Florida. Munoz worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Munoz has been eligible to

receive overtime pay under the FLSA because Munoz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2820. Plaintiff Matthew Munro is an individual residing in Florida. Munro worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Munro has been eligible to

receive overtime pay under the FLSA because Munro has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2821. Plaintiff Jason Murillo is an individual residing in Tennessee. Murillo worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Murillo has been eligible to

receive overtime pay under the FLSA because Murillo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               844
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 845 of 3128




       2822. Plaintiff Terrell Mushatt is an individual residing in Florida. Mushatt worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Mushatt has been eligible to

receive overtime pay under the FLSA because Mushatt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2823. Plaintiff Bradley Nance is an individual residing in Florida. Nance worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Nance has been eligible to

receive overtime pay under the FLSA because Nance has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2824. Plaintiff Edgardo Nava Ludovic is an individual residing in Florida. Nava

Ludovic worked as a delivery driver for FedEx in Florida from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Nava Ludovic has been eligible to receive overtime pay under the FLSA because Nava Ludovic

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       2825. Plaintiff Dustin Neace is an individual residing in Florida. Neace worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Neace has been eligible to

receive overtime pay under the FLSA because Neace has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2826. Plaintiff William Neil is an individual residing in Georgia. Neil worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through



                                               845
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 846 of 3128




intermediary entities that FedEx calls independent service providers. Neil has been eligible to

receive overtime pay under the FLSA because Neil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2827. Plaintiff Michael Nelson is an individual residing in Florida. Nelson worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Nelson has been eligible to

receive overtime pay under the FLSA because Nelson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2828. Plaintiff Ashley Nesbitt is an individual residing in Florida. Nesbitt worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Nesbitt has been eligible to

receive overtime pay under the FLSA because Nesbitt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2829. Plaintiff Javier Neyra is an individual residing in Florida. Neyra worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Neyra has been eligible to

receive overtime pay under the FLSA because Neyra has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2830. Plaintiff Jesus Nieto is an individual residing in Florida. Nieto worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Nieto has been eligible to

receive overtime pay under the FLSA because Nieto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               846
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 847 of 3128




       2831. Plaintiff Igor Nieto is an individual residing in Florida. Nieto worked as a delivery

driver for FedEx in Florida but was employed through intermediary entities that FedEx calls

independent service providers. Nieto has been eligible to receive overtime pay under the FLSA

because Nieto has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2832. Plaintiff Dennis Nobles is an individual residing in Florida. Nobles worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Nobles has been eligible to receive overtime pay under the

FLSA because Nobles has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2833. Plaintiff Howard Noel is an individual residing in Florida. Noel worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Noel has been eligible to

receive overtime pay under the FLSA because Noel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2834. Plaintiff Wilma Noel is an individual residing in Florida. Noel worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Noel has been eligible to

receive overtime pay under the FLSA because Noel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2835. Plaintiff Nelson Noriega is an individual residing in Florida. Noriega worked as a

delivery driver for FedEx in Florida from approximately 1998 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Noriega has been eligible to



                                               847
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 848 of 3128




receive overtime pay under the FLSA because Noriega has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2836. Plaintiff Ryan Oconnor is an individual residing in Florida. Oconnor worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Oconnor has been eligible

to receive overtime pay under the FLSA because Oconnor has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2837. Plaintiff Michael Ogden Jr is an individual residing in Florida. Ogden Jr worked

as a delivery driver for FedEx in Florida from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ogden Jr has been

eligible to receive overtime pay under the FLSA because Ogden Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2838. Plaintiff Jason Olacio is an individual residing in Florida. Olacio worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Olacio has been eligible to

receive overtime pay under the FLSA because Olacio has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2839. Plaintiff Alessandro Oliveira is an individual residing in Florida. Oliveira worked

as a delivery driver for FedEx in Florida from approximately 2005 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Oliveira has been

eligible to receive overtime pay under the FLSA because Oliveira has driven a vehicle weighing



                                               848
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 849 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2840. Plaintiff Joann Orange is an individual residing in Florida. Orange worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Orange has been eligible to

receive overtime pay under the FLSA because Orange has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2841. Plaintiff Gabriel Orozco is an individual residing in Florida. Orozco worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Orozco has been eligible to receive overtime pay under the

FLSA because Orozco has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2842. Plaintiff Daniel Ortega is an individual residing in Florida. Ortega worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ortega has been eligible to

receive overtime pay under the FLSA because Ortega has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2843. Plaintiff Carlos Ortiz is an individual residing in Florida. Ortiz worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Ortiz has been eligible to receive overtime pay under the

FLSA because Ortiz has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                                849
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 850 of 3128




       2844. Plaintiff Rick Ostrom is an individual residing in Florida. Ostrom worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Ostrom has been eligible to receive overtime pay under the

FLSA because Ostrom has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2845. Plaintiff Enovia Outten is an individual residing in Florida. Outten worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Outten has been eligible to

receive overtime pay under the FLSA because Outten has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2846. Plaintiff Felix Pabon is an individual residing in Florida. Pabon worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Pabon has been eligible to receive overtime pay under the

FLSA because Pabon has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2847. Plaintiff Alejandro Pacheco is an individual residing in New Mexico. Pacheco

worked as a delivery driver for FedEx in Florida from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Pacheco

has been eligible to receive overtime pay under the FLSA because Pacheco has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2848. Plaintiff Brandon Palmer is an individual residing in Florida. Palmer worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2020 but was employed through



                                               850
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 851 of 3128




intermediary entities that FedEx calls independent service providers. Palmer has been eligible to

receive overtime pay under the FLSA because Palmer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2849. Plaintiff Frank Pangallo is an individual residing in Florida. Pangallo worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Pangallo has been eligible

to receive overtime pay under the FLSA because Pangallo has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2850. Plaintiff Timothy Pannell is an individual residing in Florida. Pannell worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Pannell has been eligible to

receive overtime pay under the FLSA because Pannell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2851. Plaintiff Brian Papke is an individual residing in Florida. Papke worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Papke has been eligible to receive overtime pay under the

FLSA because Papke has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2852. Plaintiff Jeffrey Peltz is an individual residing in Florida. Peltz worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Peltz has been eligible to




                                                851
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 852 of 3128




receive overtime pay under the FLSA because Peltz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2853. Plaintiff Brian Pennington is an individual residing in Florida. Pennington worked

as a delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pennington has

been eligible to receive overtime pay under the FLSA because Pennington has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2854. Plaintiff Baron Pereira is an individual residing in Florida. Pereira worked as a

delivery driver for FedEx in Florida from approximately 2008 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Pereira has been eligible to

receive overtime pay under the FLSA because Pereira has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2855. Plaintiff Isleny Perez is an individual residing in Florida. Perez worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2856. Plaintiff Iveant Perez is an individual residing in Florida. Perez worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               852
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 853 of 3128




       2857. Plaintiff Yudaniel Perez is an individual residing in Florida. Perez worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2858. Plaintiff James Perez is an individual residing in Florida. Perez worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2859. Plaintiff Richard Perez is an individual residing in Florida. Perez worked as a

delivery driver for FedEx in Florida from approximately 2003 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2860. Plaintiff Ricardo Perozo is an individual residing in Massachusetts. Perozo

worked as a delivery driver for FedEx in Florida from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Perozo

has been eligible to receive overtime pay under the FLSA because Perozo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2861. Plaintiff Keri Perry is an individual residing in Florida. Perry worked as a delivery

driver for FedEx in Florida but was employed through intermediary entities that FedEx calls



                                               853
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 854 of 3128




independent service providers. Perry has been eligible to receive overtime pay under the FLSA

because Perry has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2862. Plaintiff Sayss Persaud is an individual residing in Florida. Persaud worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Persaud has been eligible to receive overtime pay under the

FLSA because Persaud has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2863. Plaintiff Randy Persinger is an individual residing in Florida. Persinger worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Persinger has been eligible to receive overtime pay

under the FLSA because Persinger has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2864. Plaintiff Kevin Peterson is an individual residing in Florida. Peterson worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Peterson has been eligible

to receive overtime pay under the FLSA because Peterson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2865. Plaintiff Claude Phidorme is an individual residing in Florida. Phidorme worked

as a delivery driver for FedEx in Florida from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Phidorme has been

eligible to receive overtime pay under the FLSA because Phidorme has driven a vehicle



                                               854
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 855 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2866. Plaintiff Ashley Phillips is an individual residing in Florida. Phillips worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Phillips has been eligible to

receive overtime pay under the FLSA because Phillips has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2867. Plaintiff Ellington Pichardo is an individual residing in Florida. Pichardo worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Pichardo has been

eligible to receive overtime pay under the FLSA because Pichardo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2868. Plaintiff Joseph Pierre is an individual residing in Florida. Pierre worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Pierre has been eligible to

receive overtime pay under the FLSA because Pierre has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2869. Plaintiff Lirio Pierresaint is an individual residing in Florida. Pierresaint worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pierresaint has

been eligible to receive overtime pay under the FLSA because Pierresaint has driven a vehicle




                                                855
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 856 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2870. Plaintiff James Pinckney is an individual residing in Florida. Pinckney worked as

a delivery driver for FedEx in Florida from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pinckney has been

eligible to receive overtime pay under the FLSA because Pinckney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2871. Plaintiff Samuel Pinero is an individual residing in Florida. Pinero worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Pinero has been eligible to receive overtime pay under the

FLSA because Pinero has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2872. Plaintiff Lebarron Plenty is an individual residing in Florida. Plenty worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Plenty has been eligible to

receive overtime pay under the FLSA because Plenty has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2873. Plaintiff Edward Plummer is an individual residing in Florida. Plummer worked

as a delivery driver for FedEx in Florida from approximately 1986 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Plummer has been

eligible to receive overtime pay under the FLSA because Plummer has driven a vehicle weighing




                                               856
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 857 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2874. Plaintiff Wayne Williams is an individual residing in Florida. Polanco worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Polanco has been eligible to receive overtime pay

under the FLSA because Polanco has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2875. Plaintiff Jason Pollidore is an individual residing in Florida. Pollidore worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Pollidore has been eligible

to receive overtime pay under the FLSA because Pollidore has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2876. Plaintiff Lisa Porter is an individual residing in Florida. Porter worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Porter has been eligible to

receive overtime pay under the FLSA because Porter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2877. Plaintiff Jesse Pounsberry is an individual residing in Florida. Pounsberry worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Pounsberry has been eligible to receive overtime pay

under the FLSA because Pounsberry has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.



                                                857
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 858 of 3128




       2878. Plaintiff Larry Powell is an individual residing in Florida. Powell worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Powell has been eligible to

receive overtime pay under the FLSA because Powell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2879. Plaintiff Kennedy Pownall is an individual residing in Florida. Pownall worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Pownall has been eligible to receive overtime pay

under the FLSA because Pownall has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2880. Plaintiff Neil Presswood is an individual residing in Florida. Presswood worked

as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Presswood has

been eligible to receive overtime pay under the FLSA because Presswood has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2881. Plaintiff Diderot Princivil is an individual residing in Florida. Princivil worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Princivil has been eligible to receive overtime pay

under the FLSA because Princivil has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2882. Plaintiff Frank Quintero Jr is an individual residing in Florida. Quintero Jr worked

as a delivery driver for FedEx in Florida from approximately 2011 to 2017 but was employed



                                               858
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 859 of 3128




through intermediary entities that FedEx calls independent service providers. Quintero Jr has

been eligible to receive overtime pay under the FLSA because Quintero Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2883. Plaintiff Jose Radesca is an individual residing in Florida. Radesca worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Radesca has been eligible

to receive overtime pay under the FLSA because Radesca has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2884. Plaintiff Paul Ragone is an individual residing in Florida. Ragone worked as a

delivery driver for FedEx in Florida from approximately 1996 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ragone has been eligible to

receive overtime pay under the FLSA because Ragone has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2885. Plaintiff Emmanuel Ramirez is an individual residing in Florida. Ramirez worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Ramirez has been eligible to receive overtime pay

under the FLSA because Ramirez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2886. Plaintiff Fernando Ramos is an individual residing in Florida. Ramos worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Ramos has been eligible to receive overtime pay under the



                                               859
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 860 of 3128




FLSA because Ramos has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2887. Plaintiff Willie Ramp is an individual residing in Florida. Ramp worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ramp has been eligible to

receive overtime pay under the FLSA because Ramp has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2888. Plaintiff Ellis Rampersadsingh is an individual residing in Florida.

Rampersadsingh worked as a delivery driver for FedEx in Florida from approximately 2014 to

2021 but was employed through intermediary entities that FedEx calls independent service

providers. Rampersadsingh has been eligible to receive overtime pay under the FLSA because

Rampersadsingh has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2889. Plaintiff Nekia Randolph is an individual residing in Florida. Randolph worked as

a delivery driver for FedEx in Florida from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Randolph has been

eligible to receive overtime pay under the FLSA because Randolph has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2890. Plaintiff Allen Ransom is an individual residing in Florida. Ransom worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ransom has been eligible to




                                              860
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 861 of 3128




receive overtime pay under the FLSA because Ransom has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2891. Plaintiff Jeffson Raphael is an individual residing in Florida. Raphael worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Raphael has been eligible to

receive overtime pay under the FLSA because Raphael has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2892. Plaintiff David Ray is an individual residing in Florida. Ray worked as a delivery

driver for FedEx in Florida from approximately 2007 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ray has been eligible to

receive overtime pay under the FLSA because Ray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2893. Plaintiff Orestes Reano is an individual residing in Florida. Reano worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Reano has been eligible to

receive overtime pay under the FLSA because Reano has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2894. Plaintiff Shalakee Redding is an individual residing in Florida. Redding worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Redding has been

eligible to receive overtime pay under the FLSA because Redding has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               861
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 862 of 3128




       2895. Plaintiff Breshun Reed is an individual residing in Florida. Reed worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Reed has been eligible to receive overtime pay under the

FLSA because Reed has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2896. Plaintiff Edgardo Reyes is an individual residing in Florida. Reyes worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Reyes has been eligible to

receive overtime pay under the FLSA because Reyes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2897. Plaintiff Savanna Rhoden is an individual residing in Florida. Rhoden worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rhoden has been eligible to

receive overtime pay under the FLSA because Rhoden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2898. Plaintiff Willie Riles is an individual residing in Florida. Riles worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Riles has been eligible to receive overtime pay under the

FLSA because Riles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2899. Plaintiff Joseph Ritter, Sr. is an individual residing in Georgia. Ritter worked as a

delivery driver for FedEx in Florida from approximately 2004 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Ritter has been eligible to



                                               862
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 863 of 3128




receive overtime pay under the FLSA because Ritter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2900. Plaintiff Jose Riveron Batista Jr is an individual residing in Florida. Riveron

Batista worked as a delivery driver for FedEx in Florida from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Riveron Batista has been eligible to receive overtime pay under the FLSA because Riveron

Batista has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       2901. Plaintiff Steven Roberts is an individual residing in Florida. Roberts worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Roberts has been eligible to

receive overtime pay under the FLSA because Roberts has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2902. Plaintiff Brandy Robinson is an individual residing in Florida. Robinson worked

as a delivery driver for FedEx in Florida from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2903. Plaintiff John Robinson is an individual residing in Florida. Robinson worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Robinson has been eligible

to receive overtime pay under the FLSA because Robinson has driven a vehicle weighing less



                                               863
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 864 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2904. Plaintiff Fredrick Robinson is an individual residing in Florida. Robinson worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Robinson has been eligible to receive overtime pay

under the FLSA because Robinson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2905. Plaintiff James Robinson is an individual residing in Florida. Robinson worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2906. Plaintiff Irvin Robles is an individual residing in Florida. Robles worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Robles has been eligible to

receive overtime pay under the FLSA because Robles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2907. Plaintiff Miguel Robles is an individual residing in Florida. Robles worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Robles has been eligible to

receive overtime pay under the FLSA because Robles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               864
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 865 of 3128




        2908. Plaintiff Jana Rochelle is an individual residing in Florida. Rochelle worked as a

delivery driver for FedEx in Florida from approximately 2008 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Rochelle has been eligible

to receive overtime pay under the FLSA because Rochelle has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2909. Plaintiff Juan Rodriguez is an individual residing in Florida. Rodriguez worked as

a delivery driver for FedEx in Florida from approximately 2005 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2910. Plaintiff Oscar Rodriguez is an individual residing in Colorado. Rodriguez

worked as a delivery driver for FedEx in Florida from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        2911. Plaintiff Charles Rodriguez is an individual residing in Florida. Rodriguez worked

as a delivery driver for FedEx in Florida from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle




                                               865
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 866 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2912. Plaintiff Yvonne Rodriguez is an individual residing in Florida. Rodriguez

worked as a delivery driver for FedEx in Florida from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2913. Plaintiff Edwin Rodriguez is an individual residing in Florida. Rodriguez worked

as a delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2914. Plaintiff Randy Rodriguez is an individual residing in Florida. Rodriguez worked

as a delivery driver for FedEx in Florida from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2915. Plaintiff Richard Rodriguez is an individual residing in Florida. Rodriguez

worked as a delivery driver for FedEx in Florida from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              866
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 867 of 3128




Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2916. Plaintiff Sixto Rodriguez is an individual residing in Georgia. Rodriguez worked

as a delivery driver for FedEx in Florida from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2917. Plaintiff Raul Rodriguez is an individual residing in Florida. Rodriguez worked as

a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2918. Plaintiff Alvaro Rojas is an individual residing in Florida. Rojas worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Rojas has been eligible to

receive overtime pay under the FLSA because Rojas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2919. Plaintiff Jose Rojas is an individual residing in Florida. Rojas worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Rojas has been eligible to



                                               867
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 868 of 3128




receive overtime pay under the FLSA because Rojas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2920. Plaintiff Andrew Romero is an individual residing in Florida. Romero worked as

a delivery driver for FedEx in Florida from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Romero has been

eligible to receive overtime pay under the FLSA because Romero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2921. Plaintiff Edwin Romero is an individual residing in Florida. Romero worked as a

delivery driver for FedEx in Florida from approximately 2022 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Romero has been eligible to

receive overtime pay under the FLSA because Romero has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2922. Plaintiff Hollie Roncarati is an individual residing in Florida. Roncarati worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Roncarati has been

eligible to receive overtime pay under the FLSA because Roncarati has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2923. Plaintiff Aldo Roque is an individual residing in Florida. Roque worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Roque has been eligible to receive overtime pay under the




                                               868
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 869 of 3128




FLSA because Roque has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2924. Plaintiff Frank Rosales is an individual residing in Florida. Rosales worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Rosales has been eligible to receive overtime pay under the

FLSA because Rosales has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2925. Plaintiff Asley Rosell is an individual residing in Nevada. Rosell worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Rosell has been eligible to receive overtime pay under the

FLSA because Rosell has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2926. Plaintiff Sharon Rufus is an individual residing in Florida. Rufus worked as a

delivery driver for FedEx in Florida from approximately 2008 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Rufus has been eligible to

receive overtime pay under the FLSA because Rufus has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2927. Plaintiff Benito Santiago is an individual residing in Florida. Ruggles worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Ruggles has been eligible to receive overtime pay under the

FLSA because Ruggles has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               869
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 870 of 3128




       2928. Plaintiff Nicholas Ruhter is an individual residing in Florida. Ruhter worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ruhter has been eligible to

receive overtime pay under the FLSA because Ruhter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2929. Plaintiff Michael Ruiz is an individual residing in Florida. Ruiz worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ruiz has been eligible to

receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2930. Plaintiff Devon Russell is an individual residing in Florida. Russell worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Russell has been eligible to receive overtime pay under the

FLSA because Russell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2931. Plaintiff Darius Russell is an individual residing in Florida. Russell worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Russell has been eligible to receive overtime pay under the

FLSA because Russell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       2932. Plaintiff Aretha Saleh is an individual residing in Florida. Saleh worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Saleh has been eligible to



                                               870
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 871 of 3128




receive overtime pay under the FLSA because Saleh has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2933. Plaintiff Todd Salisbury is an individual residing in Florida. Salisbury worked as

a delivery driver for FedEx in Florida from approximately 2003 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Salisbury has been

eligible to receive overtime pay under the FLSA because Salisbury has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2934. Plaintiff Patrice Sampeur is an individual residing in Florida. Sampeur worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sampeur has been

eligible to receive overtime pay under the FLSA because Sampeur has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2935. Plaintiff Cesar Sanchez is an individual residing in Florida. Sanchez worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Sanchez has been eligible

to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2936. Plaintiff Gonzalo Sanchez is an individual residing in Florida. Sanchez worked as

a delivery driver for FedEx in Florida from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been



                                               871
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 872 of 3128




eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2937. Plaintiff Salvatore Sanchez is an individual residing in Florida. Sanchez worked

as a delivery driver for FedEx in Florida from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2938. Plaintiff Edward Sander is an individual residing in Florida. Sander worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Sander has been eligible to receive overtime pay under the

FLSA because Sander has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2939. Plaintiff John Sanow is an individual residing in Washington. Sanow worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Sanow has been eligible to

receive overtime pay under the FLSA because Sanow has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2940. Plaintiff Victor Santana is an individual residing in Florida. Santana worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Santana has been eligible to




                                               872
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 873 of 3128




receive overtime pay under the FLSA because Santana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2941. Plaintiff Diorgi Santana is an individual residing in Florida. Santana worked as a

delivery driver for FedEx in Florida from approximately 2000 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Santana has been eligible to

receive overtime pay under the FLSA because Santana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2942. Plaintiff Gilberto Santiago is an individual residing in Florida. Santiago worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Santiago has been eligible to receive overtime pay

under the FLSA because Santiago has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2943. Plaintiff Jonathan Santiago is an individual residing in Florida. Santiago worked

as a delivery driver for FedEx in Florida from approximately 2004 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Santiago has been

eligible to receive overtime pay under the FLSA because Santiago has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2944. Plaintiff Christian Santiago is an individual residing in Florida. Santiago worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Santiago has been

eligible to receive overtime pay under the FLSA because Santiago has driven a vehicle weighing




                                               873
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 874 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2945. Plaintiff Honari Santos is an individual residing in Florida. Santos worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Santos has been eligible to

receive overtime pay under the FLSA because Santos has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2946. Plaintiff Franco Scaglione is an individual residing in Florida. Scaglione worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Scaglione has been

eligible to receive overtime pay under the FLSA because Scaglione has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        2947. Plaintiff Paulo Scheer is an individual residing in Florida. Scheer worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Scheer has been eligible to

receive overtime pay under the FLSA because Scheer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2948. Plaintiff Daniel Schell is an individual residing in Florida. Schell worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Schell has been eligible to

receive overtime pay under the FLSA because Schell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               874
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 875 of 3128




        2949. Plaintiff Craig Schickler is an individual residing in Florida. Schickler worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Schickler has been

eligible to receive overtime pay under the FLSA because Schickler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2950. Plaintiff Leeann Sclafani is an individual residing in Florida. Sclafani worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Sclafani has been eligible to

receive overtime pay under the FLSA because Sclafani has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2951. Plaintiff Sashus Sconiers is an individual residing in Florida. Sconiers worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sconiers has been

eligible to receive overtime pay under the FLSA because Sconiers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2952. Plaintiff Maurice Scott is an individual residing in Florida. Scott worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to

receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               875
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 876 of 3128




        2953. Plaintiff Michael Seda is an individual residing in Florida. Seda worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Seda has been eligible to receive overtime pay under the

FLSA because Seda has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        2954. Plaintiff Dariel Serrano Camacho is an individual residing in Florida. Serrano

Camacho worked as a delivery driver for FedEx in Florida from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Serrano Camacho has been eligible to receive overtime pay under the FLSA because Serrano

Camacho has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        2955. Plaintiff Calvin Sessions is an individual residing in Florida. Sessions worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Sessions has been eligible

to receive overtime pay under the FLSA because Sessions has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2956. Plaintiff Mindy Shelton is an individual residing in Florida. Shelton worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Shelton has been eligible to

receive overtime pay under the FLSA because Shelton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               876
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 877 of 3128




        2957. Plaintiff Darrel Sheppard is an individual residing in Florida. Sheppard worked as

a delivery driver for FedEx in Florida from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sheppard has been

eligible to receive overtime pay under the FLSA because Sheppard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2958. Plaintiff Jason Shortt is an individual residing in Florida. Shortt worked as a

delivery driver for FedEx in Florida from approximately 2004 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Shortt has been eligible to

receive overtime pay under the FLSA because Shortt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2959. Plaintiff Donald Shugart is an individual residing in Florida. Shugart worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Shugart has been eligible to receive overtime pay under the

FLSA because Shugart has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        2960. Plaintiff Dustin Siebenaler is an individual residing in Florida. Siebenaler worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Siebenaler has been

eligible to receive overtime pay under the FLSA because Siebenaler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                                877
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 878 of 3128




        2961. Plaintiff Leonard Simmons is an individual residing in Florida. Simmons worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Simmons has been

eligible to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2962. Plaintiff Malcolm Simon is an individual residing in Florida. Simon worked as a

delivery driver for FedEx in Florida from approximately 2001 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Simon has been eligible to

receive overtime pay under the FLSA because Simon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2963. Plaintiff Bidney Sinflorant is an individual residing in Florida. Sinflorant worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Sinflorant has been eligible to receive overtime pay

under the FLSA because Sinflorant has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        2964. Plaintiff Summer Skrovanek is an individual residing in Florida. Skrovanek

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Skrovanek has been eligible to receive overtime

pay under the FLSA because Skrovanek has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        2965. Plaintiff Michael Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2016 but was employed through



                                               878
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 879 of 3128




intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2966. Plaintiff Jerrell Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2967. Plaintiff Jamari Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2968. Plaintiff Jacob Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2969. Plaintiff Frederick Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               879
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 880 of 3128




       2970. Plaintiff Daniel Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2971. Plaintiff Jennifer Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Smith has been eligible to receive overtime pay under the

FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2972. Plaintiff Antonio Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2973. Plaintiff Jermaine Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2974. Plaintiff Warren Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to



                                               880
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 881 of 3128




receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2975. Plaintiff Timothy Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2976. Plaintiff Benjamin Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Smith has been eligible to receive overtime pay under the

FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       2977. Plaintiff Teznisha Solomon is an individual residing in Georgia. Solomon worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Solomon has been eligible to receive overtime pay

under the FLSA because Solomon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2978. Plaintiff Edward Sosa is an individual residing in Florida. Sosa worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Sosa has been eligible to

receive overtime pay under the FLSA because Sosa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               881
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 882 of 3128




       2979. Plaintiff Roni Sosa is an individual residing in Florida. Sosa worked as a delivery

driver for FedEx in Florida from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Sosa has been eligible to

receive overtime pay under the FLSA because Sosa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2980. Plaintiff Jeffrey Soto is an individual residing in Florida. Soto worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to

receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2981. Plaintiff Esdra Soto is an individual residing in Florida. Soto worked as a delivery

driver for FedEx in Florida from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to

receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2982. Plaintiff Franco Soto is an individual residing in Florida. Soto worked as a

delivery driver for FedEx in Florida from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to

receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2983. Plaintiff Alejandro Soto is an individual residing in Florida. Soto worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to



                                               882
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 883 of 3128




receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2984. Plaintiff Pornchai Souvannasy is an individual residing in Florida. Souvannasy

worked as a delivery driver for FedEx in Florida from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Souvannasy has been eligible to receive overtime pay under the FLSA because Souvannasy has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2985. Plaintiff Dominic Stabilito is an individual residing in Florida. Stabilito worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Stabilito has been eligible to receive overtime pay

under the FLSA because Stabilito has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       2986. Plaintiff Ashley Staley is an individual residing in Florida. Staley worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Staley has been eligible to

receive overtime pay under the FLSA because Staley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2987. Plaintiff Charles Stanley is an individual residing in Florida. Stanley worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Stanley has been eligible to

receive overtime pay under the FLSA because Stanley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               883
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 884 of 3128




        2988. Plaintiff Larry Starr is an individual residing in Florida. Starr worked as a delivery

driver for FedEx in Florida from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Starr has been eligible to

receive overtime pay under the FLSA because Starr has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        2989. Plaintiff Alexis Stephens is an individual residing in Florida. Stephens worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Stephens has been eligible to receive overtime pay

under the FLSA because Stephens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        2990. Plaintiff Scott Stephens is an individual residing in Florida. Stephens worked as a

delivery driver for FedEx in Florida from approximately 2002 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Stephens has been eligible

to receive overtime pay under the FLSA because Stephens has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        2991. Plaintiff Kayla Sterman is an individual residing in Florida. Sterman worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Sterman has been eligible

to receive overtime pay under the FLSA because Sterman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                                884
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 885 of 3128




       2992. Plaintiff Jack Stevenson is an individual residing in Florida. Stevenson worked as

a delivery driver for FedEx in Florida from approximately 1992 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stevenson has been

eligible to receive overtime pay under the FLSA because Stevenson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       2993. Plaintiff Travis Stewart is an individual residing in Florida. Stewart worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Stewart has been eligible to

receive overtime pay under the FLSA because Stewart has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2994. Plaintiff Terry Stover is an individual residing in Florida. Stover worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Stover has been eligible to

receive overtime pay under the FLSA because Stover has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2995. Plaintiff Michael Strasbaugh is an individual residing in Florida. Strasbaugh

worked as a delivery driver for FedEx in Florida from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Strasbaugh has been eligible to receive overtime pay under the FLSA because Strasbaugh has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               885
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 886 of 3128




       2996. Plaintiff Bryce Street is an individual residing in Florida. Street worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Street has been eligible to

receive overtime pay under the FLSA because Street has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2997. Plaintiff Albert Suarez is an individual residing in Florida. Suarez worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Suarez has been eligible to

receive overtime pay under the FLSA because Suarez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       2998. Plaintiff Darshanan Sukhnandan is an individual residing in Florida. Sukhnandan

worked as a delivery driver for FedEx in Florida from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Sukhnandan has been eligible to receive overtime pay under the FLSA because Sukhnandan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       2999. Plaintiff Yancy Sumes is an individual residing in Florida. Sumes worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Sumes has been eligible to

receive overtime pay under the FLSA because Sumes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3000. Plaintiff Kevin Sura is an individual residing in Florida. Sura worked as a delivery

driver for FedEx in Florida from approximately 2018 to 2019 but was employed through



                                               886
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 887 of 3128




intermediary entities that FedEx calls independent service providers. Sura has been eligible to

receive overtime pay under the FLSA because Sura has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3001. Plaintiff Calixto Svelti is an individual residing in Florida. Svelti worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Svelti has been eligible to

receive overtime pay under the FLSA because Svelti has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3002. Plaintiff Alicia Sykes is an individual residing in Florida. Sykes worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sykes has been eligible to

receive overtime pay under the FLSA because Sykes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3003. Plaintiff Elizabeth Tarlton is an individual residing in Florida. Tarlton worked as

a delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tarlton has been

eligible to receive overtime pay under the FLSA because Tarlton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3004. Plaintiff Charles Tarver is an individual residing in Florida. Tarver worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Tarver has been eligible to




                                                887
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 888 of 3128




receive overtime pay under the FLSA because Tarver has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3005. Plaintiff Kelvin Tavarez is an individual residing in Florida. Tavarez worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Tavarez has been eligible to

receive overtime pay under the FLSA because Tavarez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3006. Plaintiff Joshua Teague is an individual residing in Florida. Teague worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Teague has been eligible to

receive overtime pay under the FLSA because Teague has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3007. Plaintiff Javier Terry is an individual residing in Florida. Terry worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Terry has been eligible to

receive overtime pay under the FLSA because Terry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3008. Plaintiff Lakisha Thomas is an individual residing in Georgia. Thomas worked as

a delivery driver for FedEx in Florida from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               888
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 889 of 3128




       3009. Plaintiff Shirley Thomas is an individual residing in Florida. Thomas worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3010. Plaintiff Ramon Thomas is an individual residing in Florida. Thomas worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3011. Plaintiff Cari Thomas is an individual residing in Florida. Thomas worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3012. Plaintiff Alex Thomas Jr. is an individual residing in Georgia. Thomas Jr. worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Thomas Jr. has been eligible to receive overtime pay

under the FLSA because Thomas Jr. has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       3013. Plaintiff Hamilton Timmer is an individual residing in Florida. Thompson worked

as a delivery driver for FedEx in Florida from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thompson has



                                              889
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 890 of 3128




been eligible to receive overtime pay under the FLSA because Thompson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3014. Plaintiff Randy Thompson is an individual residing in Florida. Thompson worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Thompson has been eligible to receive overtime pay

under the FLSA because Thompson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       3015. Plaintiff Aleimo Thompson Jr. is an individual residing in Georgia. Thompson Jr.

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Thompson Jr. has been eligible to receive

overtime pay under the FLSA because Thompson Jr. has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3016. Plaintiff George Thorsen is an individual residing in Florida. Thorsen worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Thorsen has been eligible to

receive overtime pay under the FLSA because Thorsen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3017. Plaintiff William Tijerino is an individual residing in Florida. Tijerino worked as

a delivery driver for FedEx in Florida from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tijerino has been

eligible to receive overtime pay under the FLSA because Tijerino has driven a vehicle weighing




                                               890
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 891 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3018. Plaintiff Herbert Tims is an individual residing in Florida. Tims worked as a

delivery driver for FedEx in Florida from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tims has been eligible to

receive overtime pay under the FLSA because Tims has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3019. Plaintiff Elizabeth Tobin is an individual residing in Florida. Tobin worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tobin has been eligible to

receive overtime pay under the FLSA because Tobin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3020. Plaintiff Anthony Toney is an individual residing in Florida. Toney worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Toney has been eligible to

receive overtime pay under the FLSA because Toney has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3021. Plaintiff Miguel Toral is an individual residing in New Jersey. Toral worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Toral has been eligible to

receive overtime pay under the FLSA because Toral has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               891
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 892 of 3128




       3022. Plaintiff Edgar Torres is an individual residing in New Jersey. Torres worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Torres has been eligible to

receive overtime pay under the FLSA because Torres has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3023. Plaintiff Ernesto Torres is an individual residing in Florida. Torres worked as a

delivery driver for FedEx in Florida from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Torres has been eligible to

receive overtime pay under the FLSA because Torres has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3024. Plaintiff Angel Torres is an individual residing in Florida. Torres worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Torres has been eligible to

receive overtime pay under the FLSA because Torres has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3025. Plaintiff Agustin Torres Garcia is an individual residing in Florida. Torres Garcia

worked as a delivery driver for FedEx in Florida from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Torres

Garcia has been eligible to receive overtime pay under the FLSA because Torres Garcia has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3026. Plaintiff William Trent is an individual residing in Florida. Trent worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2018 but was employed through



                                               892
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 893 of 3128




intermediary entities that FedEx calls independent service providers. Trent has been eligible to

receive overtime pay under the FLSA because Trent has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3027. Plaintiff Robert Trice is an individual residing in Florida. Trice worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Trice has been eligible to receive overtime pay under the

FLSA because Trice has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3028. Plaintiff Elvis Trochez Cruz is an individual residing in Florida. Trochez Cruz

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Trochez Cruz has been eligible to receive

overtime pay under the FLSA because Trochez Cruz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3029. Plaintiff Bryan Tucker is an individual residing in Florida. Tucker worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Tucker has been eligible to

receive overtime pay under the FLSA because Tucker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3030. Plaintiff Ezekiel Turner is an individual residing in Florida. Turner worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Turner has been eligible to

receive overtime pay under the FLSA because Turner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               893
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 894 of 3128




        3031. Plaintiff Eriberuto Uehara is an individual residing in Florida. Uehara worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Uehara has been eligible to

receive overtime pay under the FLSA because Uehara has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3032. Plaintiff Gary Val is an individual residing in Florida. Val worked as a delivery

driver for FedEx in Florida from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Val has been eligible to

receive overtime pay under the FLSA because Val has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3033. Plaintiff Carlos Valles is an individual residing in Florida. Valles worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Valles has been eligible to

receive overtime pay under the FLSA because Valles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3034. Plaintiff Fernando Valverde is an individual residing in Florida. Valverde worked

as a delivery driver for FedEx in Florida from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Valverde has been

eligible to receive overtime pay under the FLSA because Valverde has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3035. Plaintiff Kenneth Vaquero Silva is an individual residing in Florida. Vaquero

Silva worked as a delivery driver for FedEx in Florida from approximately 2019 to 2023 but was



                                               894
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 895 of 3128




employed through intermediary entities that FedEx calls independent service providers. Vaquero

Silva has been eligible to receive overtime pay under the FLSA because Vaquero Silva has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3036. Plaintiff Wilfredo Vargas is an individual residing in Florida. Vargas worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Vargas has been eligible to

receive overtime pay under the FLSA because Vargas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3037. Plaintiff Louis Vargas is an individual residing in Florida. Vargas worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Vargas has been eligible to

receive overtime pay under the FLSA because Vargas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3038. Plaintiff Kenneth Varipapa is an individual residing in South Carolina. Varipapa

worked as a delivery driver for FedEx in Florida from approximately 2001 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Varipapa

has been eligible to receive overtime pay under the FLSA because Varipapa has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3039. Plaintiff Wilfredo Vasquez is an individual residing in Florida. Vasquez worked

as a delivery driver for FedEx in Florida from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Vasquez has been



                                               895
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 896 of 3128




eligible to receive overtime pay under the FLSA because Vasquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3040. Plaintiff Brian Vereen is an individual residing in Florida. Vereen worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Vereen has been eligible to

receive overtime pay under the FLSA because Vereen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3041. Plaintiff Jesus Vergara is an individual residing in Florida. Vergara worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Vergara has been eligible to

receive overtime pay under the FLSA because Vergara has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3042. Plaintiff Taquida Vickers is an individual residing in Florida. Vickers worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Vickers has been eligible to

receive overtime pay under the FLSA because Vickers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3043. Plaintiff Enrique Vila is an individual residing in Florida. Vila worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Vila has been eligible to

receive overtime pay under the FLSA because Vila has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               896
     Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 897 of 3128




        3044. Plaintiff Kathy Villa is an individual residing in Florida. Villa worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Villa has been eligible to

receive overtime pay under the FLSA because Villa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3045. Plaintiff German Villafane is an individual residing in Florida. Villafane worked

as a delivery driver for FedEx in Florida from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Villafane has been

eligible to receive overtime pay under the FLSA because Villafane has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3046. Plaintiff Jose Villanueva is an individual residing in New York. Villanueva

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Villanueva has been eligible to receive overtime

pay under the FLSA because Villanueva has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        3047. Plaintiff Rafael Villar is an individual residing in Florida. Villar worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Villar has been eligible to receive overtime pay under the

FLSA because Villar has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3048. Plaintiff Hector Vinetas Reyes is an individual residing in Tennessee. Vinetas

Reyes worked as a delivery driver for FedEx in Florida from approximately 2017 to 2018 but



                                                897
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 898 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Vinetas Reyes has been eligible to receive overtime pay under the FLSA because Vinetas Reyes

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       3049. Plaintiff Paul Wade is an individual residing in Missouri. Wade worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wade has been eligible to

receive overtime pay under the FLSA because Wade has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3050. Plaintiff Tony Waldon is an individual residing in Florida. Waldon worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Waldon has been eligible to

receive overtime pay under the FLSA because Waldon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3051. Plaintiff Brandon Walker is an individual residing in Florida. Walker worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Walker has been eligible to

receive overtime pay under the FLSA because Walker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3052. Plaintiff Gregory Walker is an individual residing in Florida. Walker worked as a

delivery driver for FedEx in Florida from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Walker has been eligible to




                                               898
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 899 of 3128




receive overtime pay under the FLSA because Walker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3053. Plaintiff Tom Waller is an individual residing in Florida. Waller worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Waller has been eligible to receive overtime pay under the

FLSA because Waller has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3054. Plaintiff Thomas Walters is an individual residing in Michigan. Walters worked

as a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Walters has been

eligible to receive overtime pay under the FLSA because Walters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3055. Plaintiff Robert Warensford is an individual residing in Florida. Warensford

worked as a delivery driver for FedEx in Florida from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Warensford has been eligible to receive overtime pay under the FLSA because Warensford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3056. Plaintiff Bennie Watkins is an individual residing in Florida. Watkins worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Watkins has been eligible

to receive overtime pay under the FLSA because Watkins has driven a vehicle weighing less



                                              899
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 900 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3057. Plaintiff Tannetta Watson is an individual residing in Florida. Watson worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Watson has been eligible to receive overtime pay under the

FLSA because Watson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3058. Plaintiff Julian Watson is an individual residing in Florida. Watson worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Watson has been eligible to receive overtime pay under the

FLSA because Watson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3059. Plaintiff James Webster is an individual residing in Florida. Webster worked as a

delivery driver for FedEx in Florida from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Webster has been eligible

to receive overtime pay under the FLSA because Webster has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3060. Plaintiff Latracy Wells is an individual residing in Florida. Wells worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Wells has been eligible to

receive overtime pay under the FLSA because Wells has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               900
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 901 of 3128




        3061. Plaintiff Billie Whaley is an individual residing in Tennessee. Whaley worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Whaley has been

eligible to receive overtime pay under the FLSA because Whaley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3062. Plaintiff Crystal Wheeler is an individual residing in Florida. Wheeler worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Wheeler has been eligible to receive overtime pay

under the FLSA because Wheeler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3063. Plaintiff Kyle Wheeler is an individual residing in Florida. Wheeler worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Wheeler has been eligible

to receive overtime pay under the FLSA because Wheeler has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3064. Plaintiff Douglas White is an individual residing in Florida. White worked as a

delivery driver for FedEx in Florida from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. White has been eligible to

receive overtime pay under the FLSA because White has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               901
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 902 of 3128




        3065. Plaintiff Felicia Whittlesey is an individual residing in Florida. Whittlesey worked

as a delivery driver for FedEx in Florida from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Whittlesey has

been eligible to receive overtime pay under the FLSA because Whittlesey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3066. Plaintiff Ronnell Wiggins is an individual residing in Florida. Wiggins worked as

a delivery driver for FedEx in Florida from approximately 2004 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wiggins has been

eligible to receive overtime pay under the FLSA because Wiggins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3067. Plaintiff Justin Williams is an individual residing in Florida. Williams worked as

a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3068. Plaintiff Terryn Williams is an individual residing in Florida. Williams worked as

a delivery driver for FedEx in Florida and Alabama from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               902
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 903 of 3128




        3069. Plaintiff James Williams is an individual residing in Florida. Williams worked as

a delivery driver for FedEx in Florida from approximately 1997 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3070. Plaintiff James Williams is an individual residing in Alabama. Williams worked

as a delivery driver for FedEx in Florida but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3071. Plaintiff Warren Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Florida from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3072. Plaintiff Damon Williams is an individual residing in Florida. Williams worked as

a delivery driver for FedEx in Florida from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              903
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 904 of 3128




        3073. Plaintiff Michael Williams is an individual residing in South Carolina. Williams

worked as a delivery driver for FedEx in Florida from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3074. Plaintiff Jeana Williams is an individual residing in Florida. Williams worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Williams has been eligible

to receive overtime pay under the FLSA because Williams has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3075. Plaintiff James Williams is an individual residing in Florida. Williams worked as

a delivery driver for FedEx in Florida from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3076. Plaintiff Michael Williams is an individual residing in Ohio. Williams worked as

a delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing




                                               904
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 905 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3077. Plaintiff Royce Williamson is an individual residing in Florida. Williamson

worked as a delivery driver for FedEx in Florida but was employed through intermediary entities

that FedEx calls independent service providers. Williamson has been eligible to receive overtime

pay under the FLSA because Williamson has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        3078. Plaintiff Tracy Wills is an individual residing in Florida. Wills worked as a

delivery driver for FedEx in Florida but was employed through intermediary entities that FedEx

calls independent service providers. Wills has been eligible to receive overtime pay under the

FLSA because Wills has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3079. Plaintiff Justin Womack is an individual residing in Florida. Womack worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Womack has been eligible

to receive overtime pay under the FLSA because Womack has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3080. Plaintiff Monica Wurtzel is an individual residing in Florida. Wurtzel worked as a

delivery driver for FedEx in Florida from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wurtzel has been eligible to

receive overtime pay under the FLSA because Wurtzel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               905
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 906 of 3128




       3081. Plaintiff Justin Wurtzel is an individual residing in Florida. Wurtzel worked as a

delivery driver for FedEx in Florida from approximately 2011 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wurtzel has been eligible to

receive overtime pay under the FLSA because Wurtzel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3082. Plaintiff Jose Yapor is an individual residing in Florida. Yapor worked as a

delivery driver for FedEx in Florida from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Yapor has been eligible to

receive overtime pay under the FLSA because Yapor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3083. Plaintiff Richard Yarkin is an individual residing in Florida. Yarkin worked as a

delivery driver for FedEx in Florida from approximately 2003 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Yarkin has been eligible to

receive overtime pay under the FLSA because Yarkin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3084. Plaintiff Richard Young is an individual residing in Florida. Young worked as a

delivery driver for FedEx in Florida from approximately 2019 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3085. Plaintiff Marcus Young is an individual residing in Florida. Young worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to



                                               906
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 907 of 3128




receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3086. Plaintiff Kimberly Young is an individual residing in Florida. Young worked as a

delivery driver for FedEx in Florida from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3087. Plaintiff Nicholas Younghaus is an individual residing in Florida. Younghaus

worked as a delivery driver for FedEx in Florida from approximately 2021 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Younghaus has been eligible to receive overtime pay under the FLSA because Younghaus has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3088. Plaintiff John Yunek is an individual residing in Georgia. Yunek worked as a

delivery driver for FedEx in Florida from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Yunek has been eligible to

receive overtime pay under the FLSA because Yunek has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3089. Plaintiff Johan Zavala is an individual residing in Florida. Zavala worked as a

delivery driver for FedEx in Florida from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Zavala has been eligible to

receive overtime pay under the FLSA because Zavala has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               907
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 908 of 3128




        3090. Plaintiff Archie Abrams is an individual residing in Georgia. Abrams worked as a

delivery driver for FedEx in Georgia from approximately 2004 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Abrams has been

eligible to receive overtime pay under the FLSA because Abrams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3091. Plaintiff Jerry Agee is an individual residing in Georgia. Agee worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Agee has been eligible to receive overtime pay under the

FLSA because Agee has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3092. Plaintiff Corey Ahlquist is an individual residing in Georgia. Ahlquist worked as

a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ahlquist has been

eligible to receive overtime pay under the FLSA because Ahlquist has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3093. Plaintiff Nadeem Ahmad is an individual residing in Georgia. Ahmad worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ahmad has been

eligible to receive overtime pay under the FLSA because Ahmad has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              908
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 909 of 3128




        3094. Plaintiff Debora Aikens is an individual residing in Georgia. Aikens worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Aikens has been eligible to receive overtime pay under the

FLSA because Aikens has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3095. Plaintiff Vincent Alexander is an individual residing in Georgia. Alexander

worked as a delivery driver for FedEx in Georgia from approximately 2004 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Alexander has been eligible to receive overtime pay under the FLSA because Alexander has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3096. Plaintiff Roderick Alexander is an individual residing in Georgia. Alexander

worked as a delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Alexander has been eligible to receive overtime pay under the FLSA because Alexander has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3097. Plaintiff Christopher Allen is an individual residing in Georgia. Allen worked as a

delivery driver for FedEx in Georgia from approximately 2023 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               909
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 910 of 3128




        3098. Plaintiff Brandon Allen is an individual residing in Georgia. Allen worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3099. Plaintiff Jeremy Allen is an individual residing in Georgia. Allen worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3100. Plaintiff Matric Allen-Brown is an individual residing in South Carolina. Allen-

Brown worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Allen-Brown has been eligible to receive overtime pay under the FLSA because Allen-Brown

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        3101. Plaintiff Brandon Alston is an individual residing in Georgia. Alston worked as a

delivery driver for FedEx in Georgia from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Alston has been

eligible to receive overtime pay under the FLSA because Alston has driven a vehicle weighing




                                              910
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 911 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3102. Plaintiff Lindrew Alston is an individual residing in Nevada. Alston worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Alston has been

eligible to receive overtime pay under the FLSA because Alston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3103. Plaintiff Max Anderson is an individual residing in Georgia. Anderson worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Anderson has been eligible to receive overtime pay

under the FLSA because Anderson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3104. Plaintiff Tracy Anderson is an individual residing in South Carolina. Anderson

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Anderson has been eligible to receive

overtime pay under the FLSA because Anderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3105. Plaintiff Shandrina Anderson is an individual residing in Georgia. Anderson

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has




                                               911
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 912 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3106. Plaintiff Lynda Arrendale is an individual residing in Georgia. Arrendale worked

as a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Arrendale has been

eligible to receive overtime pay under the FLSA because Arrendale has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3107. Plaintiff Timika Askew is an individual residing in Alabama. Askew worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Askew has been

eligible to receive overtime pay under the FLSA because Askew has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3108. Plaintiff Mondy Azeta Aitoya is an individual residing in Georgia. Azeta Aitoya

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Azeta Aitoya has been eligible to receive

overtime pay under the FLSA because Azeta Aitoya has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3109. Plaintiff Ginger Bagley is an individual residing in Georgia. Bagley worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Bagley has been eligible to receive overtime pay under the




                                               912
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 913 of 3128




FLSA because Bagley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3110. Plaintiff Abdourahmane Bah is an individual residing in Georgia. Bah worked as

a delivery driver for FedEx in Georgia from approximately 2007 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bah has been

eligible to receive overtime pay under the FLSA because Bah has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3111. Plaintiff Jason Bailey is an individual residing in Georgia. Bailey worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3112. Plaintiff Nathaniel Bailey is an individual residing in Georgia. Bailey worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3113. Plaintiff Robert Baker is an individual residing in Georgia. Baker worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been



                                               913
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 914 of 3128




eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3114. Plaintiff Matthew Baker is an individual residing in Georgia. Baker worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Baker has been eligible to receive overtime pay under the

FLSA because Baker has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3115. Plaintiff Matthew Baker is an individual residing in Georgia. Baker worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3116. Plaintiff Kenneth Baker is an individual residing in Georgia. Baker worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3117. Plaintiff Donta Baker is an individual residing in Georgia. Baker worked as a

delivery driver for FedEx in Georgia from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been



                                              914
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 915 of 3128




eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3118. Plaintiff Tavarse Baldwin is an individual residing in Georgia. Baldwin worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Baldwin has been eligible to receive overtime pay

under the FLSA because Baldwin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3119. Plaintiff Tiffeney Ball is an individual residing in Georgia. Ball worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ball has been

eligible to receive overtime pay under the FLSA because Ball has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3120. Plaintiff Joseph Baltzell is an individual residing in Georgia. Baltzell worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baltzell has been

eligible to receive overtime pay under the FLSA because Baltzell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3121. Plaintiff Jabari Banks is an individual residing in Georgia. Banks worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Banks has been



                                               915
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 916 of 3128




eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3122. Plaintiff Kevin Barb is an individual residing in Virginia. Barb worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Barb has been eligible to receive overtime pay under the

FLSA because Barb has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3123. Plaintiff Rick Barber is an individual residing in Georgia. Barber worked as a

delivery driver for FedEx in Georgia from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Barber has been

eligible to receive overtime pay under the FLSA because Barber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3124. Plaintiff Dennis Barlow is an individual residing in Georgia. Barlow worked as a

delivery driver for FedEx in Georgia from approximately 2001 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Barlow has been

eligible to receive overtime pay under the FLSA because Barlow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3125. Plaintiff Tamika Barnes is an individual residing in Georgia. Barnes worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Barnes has been eligible to receive overtime pay under the



                                              916
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 917 of 3128




FLSA because Barnes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3126. Plaintiff Carol Barron is an individual residing in Georgia. Barron worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Barron has been

eligible to receive overtime pay under the FLSA because Barron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3127. Plaintiff Conroy Bean is an individual residing in Georgia. Bean worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Bean has been eligible to receive overtime pay under the

FLSA because Bean has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3128. Plaintiff Teresa Beck is an individual residing in Georgia. Beck worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Beck has been eligible to receive overtime pay under the

FLSA because Beck has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3129. Plaintiff Scotty Beck is an individual residing in Georgia. Beck worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Beck has been eligible to receive overtime pay under the

FLSA because Beck has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              917
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 918 of 3128




        3130. Plaintiff Nathanial Beckman is an individual residing in Georgia. Beckman

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Beckman has been eligible to receive overtime pay under the FLSA because Beckman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3131. Plaintiff Trinisha Bell is an individual residing in Georgia. Bell worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been

eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3132. Plaintiff Bryan Bellew is an individual residing in Georgia. Bellew worked as a

delivery driver for FedEx in Georgia from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bellew has been

eligible to receive overtime pay under the FLSA because Bellew has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3133. Plaintiff Sean Bennett is an individual residing in Georgia. Bennett worked as a

delivery driver for FedEx in Georgia from approximately 2008 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing




                                               918
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 919 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3134. Plaintiff Adrian Benton is an individual residing in Georgia. Benton worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Benton has been

eligible to receive overtime pay under the FLSA because Benton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3135. Plaintiff Asia Berridge is an individual residing in Georgia. Berridge worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Berridge has been

eligible to receive overtime pay under the FLSA because Berridge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3136. Plaintiff Linda Blackford is an individual residing in Georgia. Blackford worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Blackford has been

eligible to receive overtime pay under the FLSA because Blackford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3137. Plaintiff Richard Blake is an individual residing in Georgia. Blake worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Blake has been



                                               919
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 920 of 3128




eligible to receive overtime pay under the FLSA because Blake has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3138. Plaintiff Jaquala Blocker is an individual residing in Georgia. Blocker worked as

a delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Blocker has been

eligible to receive overtime pay under the FLSA because Blocker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3139. Plaintiff Jay Boatwright is an individual residing in Georgia. Boatwright worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Boatwright has been eligible to receive overtime pay

under the FLSA because Boatwright has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3140. Plaintiff Joshua Boehnlein is an individual residing in Georgia. Boehnlein worked

as a delivery driver for FedEx in Georgia from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Boehnlein has been

eligible to receive overtime pay under the FLSA because Boehnlein has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3141. Plaintiff Andrew Boglione is an individual residing in Georgia. Boglione worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Boglione has been eligible to receive overtime pay



                                              920
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 921 of 3128




under the FLSA because Boglione has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3142. Plaintiff Curtis Bogue is an individual residing in Georgia. Bogue worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bogue has been

eligible to receive overtime pay under the FLSA because Bogue has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3143. Plaintiff Kaizen Bone is an individual residing in Georgia. Bone worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bone has been

eligible to receive overtime pay under the FLSA because Bone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3144. Plaintiff Jawann Booker is an individual residing in Alabama. Booker worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Booker has been eligible to receive overtime pay under the

FLSA because Booker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3145. Plaintiff Tracy Bradley is an individual residing in Georgia. Bradley worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bradley has been

eligible to receive overtime pay under the FLSA because Bradley has driven a vehicle weighing



                                              921
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 922 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3146. Plaintiff Michael Brawner is an individual residing in Georgia. Brawner worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Brawner has been eligible to receive overtime pay

under the FLSA because Brawner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3147. Plaintiff Erin Brightwell is an individual residing in Georgia. Brightwell worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Brightwell has been eligible to receive overtime pay

under the FLSA because Brightwell has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3148. Plaintiff Evelyn Brooks is an individual residing in Georgia. Brooks worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3149. Plaintiff Ashley Brooks is an individual residing in Georgia. Brooks worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing




                                              922
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 923 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3150. Plaintiff Kevin Brown is an individual residing in Georgia. Brown worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3151. Plaintiff Ravion Brown is an individual residing in Georgia. Brown worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3152. Plaintiff Robert Brown is an individual residing in Georgia. Brown worked as a

delivery driver for FedEx in Georgia from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3153. Plaintiff Larry Brown Jr. is an individual residing in Georgia. Brown Jr. worked

as a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Brown Jr. has been



                                              923
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 924 of 3128




eligible to receive overtime pay under the FLSA because Brown Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3154. Plaintiff Jesse Bryant is an individual residing in Georgia. Bryant worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3155. Plaintiff Corneilita Buchanan is an individual residing in Georgia. Buchanan

worked as a delivery driver for FedEx in Georgia from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Buchanan has been eligible to receive overtime pay under the FLSA because Buchanan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3156. Plaintiff Clifton Buckson is an individual residing in South Carolina. Buckson

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Buckson

has been eligible to receive overtime pay under the FLSA because Buckson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3157. Plaintiff Demond Burch is an individual residing in Georgia. Burch worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed



                                               924
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 925 of 3128




through intermediary entities that FedEx calls independent service providers. Burch has been

eligible to receive overtime pay under the FLSA because Burch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3158. Plaintiff David Burch is an individual residing in Georgia. Burch worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Burch has been

eligible to receive overtime pay under the FLSA because Burch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3159. Plaintiff Eugene Burnett Iii is an individual residing in Georgia. Burnett Iii

worked as a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Burnett

Iii has been eligible to receive overtime pay under the FLSA because Burnett Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3160. Plaintiff Breanna Burton is an individual residing in Georgia. Burton worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Burton has been

eligible to receive overtime pay under the FLSA because Burton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                                925
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 926 of 3128




        3161. Plaintiff Shonda Burton is an individual residing in Georgia. Burton worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Burton has been eligible to receive overtime pay under the

FLSA because Burton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3162. Plaintiff Telisa Butler is an individual residing in Georgia. Butler worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Butler has been

eligible to receive overtime pay under the FLSA because Butler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3163. Plaintiff Genies Butts is an individual residing in Georgia. Butts worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Butts has been eligible to receive overtime pay under the

FLSA because Butts has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3164. Plaintiff Juan Cabrera is an individual residing in Georgia. Cabrera worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Cabrera has been

eligible to receive overtime pay under the FLSA because Cabrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               926
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 927 of 3128




        3165. Plaintiff Jody Cagle is an individual residing in Georgia. Cagle worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cagle has been

eligible to receive overtime pay under the FLSA because Cagle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3166. Plaintiff Kemp Calhoun is an individual residing in Georgia. Calhoun worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Calhoun has been

eligible to receive overtime pay under the FLSA because Calhoun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3167. Plaintiff Beverly Calhoun is an individual residing in Georgia. Calhoun worked as

a delivery driver for FedEx in Georgia from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Calhoun has been

eligible to receive overtime pay under the FLSA because Calhoun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3168. Plaintiff Steven Camp is an individual residing in Georgia. Camp worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Camp has been eligible to receive overtime pay under the

FLSA because Camp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              927
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 928 of 3128




        3169. Plaintiff Brett Campbell is an individual residing in South Carolina. Campbell

worked as a delivery driver for FedEx in Georgia from approximately 2005 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Campbell has been eligible to receive overtime pay under the FLSA because Campbell has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3170. Plaintiff Anita Cannon-Stevens is an individual residing in Georgia. Cannon-

Stevens worked as a delivery driver for FedEx in Georgia from approximately 2014 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Cannon-Stevens has been eligible to receive overtime pay under the FLSA because Cannon-

Stevens has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        3171. Plaintiff Grandison Carner is an individual residing in Georgia. Carner worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Carner has been eligible to receive overtime pay

under the FLSA because Carner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3172. Plaintiff Rodney Carr is an individual residing in Georgia. Carr worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carr has been

eligible to receive overtime pay under the FLSA because Carr has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              928
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 929 of 3128




        3173. Plaintiff Danny Carr is an individual residing in Georgia. Carr worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Carr has been eligible to receive overtime pay under the

FLSA because Carr has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3174. Plaintiff Samantha Carroll is an individual residing in Georgia. Carroll worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carroll has been

eligible to receive overtime pay under the FLSA because Carroll has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3175. Plaintiff Kayla Carter is an individual residing in Georgia. Carter worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3176. Plaintiff Rebecca Cercopely is an individual residing in Georgia. Cercopely

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Cercopely has been eligible to receive overtime pay under the FLSA because Cercopely has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               929
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 930 of 3128




        3177. Plaintiff Janice Chai is an individual residing in Georgia. Chai worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Chai has been

eligible to receive overtime pay under the FLSA because Chai has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3178. Plaintiff Barry Chambers is an individual residing in Georgia. Chambers worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chambers has been

eligible to receive overtime pay under the FLSA because Chambers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3179. Plaintiff Donald Champion is an individual residing in Georgia. Champion

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Champion has been eligible to receive overtime pay under the FLSA because Champion has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3180. Plaintiff Carlton Chandler is an individual residing in Georgia. Chandler worked

as a delivery driver for FedEx in Georgia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chandler has been

eligible to receive overtime pay under the FLSA because Chandler has driven a vehicle weighing




                                               930
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 931 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3181. Plaintiff Patrick Chappell is an individual residing in Georgia. Chappell worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Chappell has been eligible to receive overtime pay

under the FLSA because Chappell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3182. Plaintiff Charles Charles is an individual residing in Georgia. Charles worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Charles has been

eligible to receive overtime pay under the FLSA because Charles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3183. Plaintiff Shamar Chiles is an individual residing in Georgia. Chiles worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chiles has been

eligible to receive overtime pay under the FLSA because Chiles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3184. Plaintiff Jason Clanton is an individual residing in Georgia. Clanton worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Clanton has been

eligible to receive overtime pay under the FLSA because Clanton has driven a vehicle weighing



                                               931
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 932 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3185. Plaintiff Eric Clark is an individual residing in Georgia. Clark worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3186. Plaintiff Antonio Clark is an individual residing in Georgia. Clark worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3187. Plaintiff Quantavious Clay is an individual residing in Georgia. Clay worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Clay has been

eligible to receive overtime pay under the FLSA because Clay has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3188. Plaintiff Jared Clements is an individual residing in Georgia. Clements worked as

a delivery driver for FedEx in Georgia from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Clements has been



                                               932
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 933 of 3128




eligible to receive overtime pay under the FLSA because Clements has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3189. Plaintiff Bryan Clemons is an individual residing in Georgia. Clemons worked as

a delivery driver for FedEx in Georgia from approximately 2007 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Clemons has been

eligible to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3190. Plaintiff Karl Clemons, Sr. is an individual residing in Georgia. Clemons worked

as a delivery driver for FedEx in Georgia from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Clemons has been

eligible to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3191. Plaintiff Achelin Cleophat is an individual residing in Georgia. Cleophat worked

as a delivery driver for FedEx in Georgia from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cleophat has been

eligible to receive overtime pay under the FLSA because Cleophat has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3192. Plaintiff Latoya Cody Person is an individual residing in Georgia. Cody Person

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was



                                              933
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 934 of 3128




employed through intermediary entities that FedEx calls independent service providers. Cody

Person has been eligible to receive overtime pay under the FLSA because Cody Person has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3193. Plaintiff Cecilia Colbert is an individual residing in Georgia. Colbert worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Colbert has been

eligible to receive overtime pay under the FLSA because Colbert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3194. Plaintiff Omar Cole is an individual residing in Georgia. Cole worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3195. Plaintiff Sheena Cole is an individual residing in Georgia. Cole worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               934
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 935 of 3128




        3196. Plaintiff Kip Coleman is an individual residing in Georgia. Coleman worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Coleman has been eligible to receive overtime pay under the

FLSA because Coleman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3197. Plaintiff Alexis Coleman is an individual residing in Georgia. Coleman worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3198. Plaintiff Catrise Coleman Turner is an individual residing in Georgia. Coleman

Turner worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Coleman Turner has been eligible to

receive overtime pay under the FLSA because Coleman Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3199. Plaintiff Adrian Collins is an individual residing in Georgia. Collins worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Collins has been eligible to receive overtime pay under the

FLSA because Collins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               935
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 936 of 3128




        3200. Plaintiff Jonathon Collins is an individual residing in Georgia. Collins worked as

a delivery driver for FedEx in Georgia from approximately 2009 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3201. Plaintiff Antonio Cooper is an individual residing in Georgia. Cooper worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Cooper has been eligible to receive overtime pay under the

FLSA because Cooper has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3202. Plaintiff Latoria Cox is an individual residing in Georgia. Cox worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Cox has been

eligible to receive overtime pay under the FLSA because Cox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3203. Plaintiff Demetrius Crawford is an individual residing in Georgia. Crawford

worked as a delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Crawford has been eligible to receive overtime pay under the FLSA because Crawford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               936
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 937 of 3128




        3204. Plaintiff Antwain Crockett is an individual residing in Georgia. Crockett worked

as a delivery driver for FedEx in Georgia from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Crockett has been

eligible to receive overtime pay under the FLSA because Crockett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3205. Plaintiff Lanittra Cumberlander-Willis is an individual residing in Georgia.

Cumberlander-Willis worked as a delivery driver for FedEx in Georgia from approximately 2012

to 2017 but was employed through intermediary entities that FedEx calls independent service

providers. Cumberlander-Willis has been eligible to receive overtime pay under the FLSA

because Cumberlander-Willis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3206. Plaintiff Brittany Cummings is an individual residing in Georgia. Cummings

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Cummings has been eligible to receive

overtime pay under the FLSA because Cummings has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3207. Plaintiff Scott Cunningham is an individual residing in Georgia. Cunningham

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Cunningham has been eligible to receive

overtime pay under the FLSA because Cunningham has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               937
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 938 of 3128




        3208. Plaintiff Nelson Curry is an individual residing in South Carolina. Curry worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Curry has been

eligible to receive overtime pay under the FLSA because Curry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3209. Plaintiff Patrick Daniels is an individual residing in Georgia. Daniels worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Daniels has been eligible to receive overtime pay under the

FLSA because Daniels has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3210. Plaintiff Antonia Daniels is an individual residing in Georgia. Daniels worked as

a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Daniels has been

eligible to receive overtime pay under the FLSA because Daniels has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3211. Plaintiff Brenda Darby is an individual residing in Georgia. Darby worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Darby has been

eligible to receive overtime pay under the FLSA because Darby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               938
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 939 of 3128




        3212. Plaintiff Marcus Davis is an individual residing in Georgia. Davis worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3213. Plaintiff Ralph Davis is an individual residing in Georgia. Davis worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3214. Plaintiff Bradford Davis is an individual residing in Georgia. Davis worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3215. Plaintiff Tim Davis is an individual residing in Alabama. Davis worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              939
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 940 of 3128




        3216. Plaintiff Melissa Davis is an individual residing in Georgia. Davis worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3217. Plaintiff Makeisha Davis is an individual residing in Georgia. Davis worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3218. Plaintiff Thomas Davison is an individual residing in Georgia. Davison worked as

a delivery driver for FedEx in Georgia from approximately 2008 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Davison has been

eligible to receive overtime pay under the FLSA because Davison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3219. Plaintiff Darwin Deamer is an individual residing in Georgia. Deamer worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Deamer has been eligible to receive overtime pay

under the FLSA because Deamer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              940
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 941 of 3128




        3220. Plaintiff Mary Dean is an individual residing in Georgia. Dean worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dean has been

eligible to receive overtime pay under the FLSA because Dean has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3221. Plaintiff Ronald Denis is an individual residing in Georgia. Denis worked as a

delivery driver for FedEx in Georgia from approximately 2000 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Denis has been

eligible to receive overtime pay under the FLSA because Denis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3222. Plaintiff Dominick Dibari is an individual residing in Georgia. Dibari worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dibari has been

eligible to receive overtime pay under the FLSA because Dibari has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3223. Plaintiff Demonte Dock is an individual residing in Georgia. Dock worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Dock has been

eligible to receive overtime pay under the FLSA because Dock has driven a vehicle weighing




                                              941
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 942 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3224. Plaintiff Leneal Doe is an individual residing in South Carolina. Doe worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Doe has been

eligible to receive overtime pay under the FLSA because Doe has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3225. Plaintiff Jesus Dominguez is an individual residing in Georgia. Dominguez

worked as a delivery driver for FedEx in Georgia from approximately 2002 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Dominguez has been eligible to receive overtime pay under the FLSA because Dominguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3226. Plaintiff Montonio Douglas is an individual residing in Georgia. Douglas worked

as a delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Douglas has been

eligible to receive overtime pay under the FLSA because Douglas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3227. Plaintiff Brittney Dozier is an individual residing in Georgia. Dozier worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Dozier has been eligible to receive overtime pay under the



                                               942
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 943 of 3128




FLSA because Dozier has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3228. Plaintiff Brandi Dudley is an individual residing in Georgia. Dudley worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dudley has been

eligible to receive overtime pay under the FLSA because Dudley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3229. Plaintiff Crystal Dye is an individual residing in Georgia. Dye worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dye has been

eligible to receive overtime pay under the FLSA because Dye has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3230. Plaintiff John Eason is an individual residing in Georgia. Eason worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Eason has been

eligible to receive overtime pay under the FLSA because Eason has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3231. Plaintiff Bertram Edmond is an individual residing in Georgia. Edmond worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Edmond has been



                                              943
     Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 944 of 3128




eligible to receive overtime pay under the FLSA because Edmond has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3232. Plaintiff Marcus Edwards is an individual residing in Georgia. Edwards worked as

a delivery driver for FedEx in Georgia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Edwards has been

eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3233. Plaintiff Shmika Elder is an individual residing in Georgia. Elder worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Elder has been

eligible to receive overtime pay under the FLSA because Elder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3234. Plaintiff Terrill Ellis is an individual residing in Georgia. Ellis worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Ellis has been eligible to receive overtime pay under the

FLSA because Ellis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3235. Plaintiff Corey Ellis is an individual residing in Georgia. Ellis worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Ellis has been eligible to receive overtime pay under the



                                                944
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 945 of 3128




FLSA because Ellis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3236. Plaintiff Damien Ellison is an individual residing in Georgia. Ellison worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ellison has been

eligible to receive overtime pay under the FLSA because Ellison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3237. Plaintiff Brett Elmore is an individual residing in Georgia. Elmore worked as a

delivery driver for FedEx in Georgia from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Elmore has been

eligible to receive overtime pay under the FLSA because Elmore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3238. Plaintiff Louis Ercolano is an individual residing in Georgia. Ercolano worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Ercolano has been eligible to receive overtime pay

under the FLSA because Ercolano has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3239. Plaintiff Joel Ethridge is an individual residing in Georgia. Ethridge worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ethridge has been

eligible to receive overtime pay under the FLSA because Ethridge has driven a vehicle weighing



                                               945
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 946 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3240. Plaintiff Lamonta Evans is an individual residing in Georgia. Evans worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3241. Plaintiff Gary Fareed is an individual residing in Georgia. Fareed worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fareed has been

eligible to receive overtime pay under the FLSA because Fareed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3242. Plaintiff Timothy Faulks is an individual residing in Georgia. Faulks worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Faulks has been

eligible to receive overtime pay under the FLSA because Faulks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3243. Plaintiff William Fields is an individual residing in Georgia. Fields worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fields has been



                                               946
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 947 of 3128




eligible to receive overtime pay under the FLSA because Fields has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3244. Plaintiff Derek Figueroa is an individual residing in Georgia. Figueroa worked as

a delivery driver for FedEx in Georgia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Figueroa has been

eligible to receive overtime pay under the FLSA because Figueroa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3245. Plaintiff Victor Fillion is an individual residing in Tennessee. Fillion worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fillion has been

eligible to receive overtime pay under the FLSA because Fillion has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3246. Plaintiff Audreaus Finklea is an individual residing in Georgia. Finklea worked as

a delivery driver for FedEx in Georgia from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Finklea has been

eligible to receive overtime pay under the FLSA because Finklea has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3247. Plaintiff Ariel Finley is an individual residing in Georgia. Finley worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed



                                               947
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 948 of 3128




through intermediary entities that FedEx calls independent service providers. Finley has been

eligible to receive overtime pay under the FLSA because Finley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3248. Plaintiff Michael Fisher is an individual residing in Georgia. Fisher worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Fisher has been

eligible to receive overtime pay under the FLSA because Fisher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3249. Plaintiff Sabrina Flint is an individual residing in Georgia. Flint worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Flint has been

eligible to receive overtime pay under the FLSA because Flint has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3250. Plaintiff Daniel Flint is an individual residing in Georgia. Flint worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Flint has been

eligible to receive overtime pay under the FLSA because Flint has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               948
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 949 of 3128




        3251. Plaintiff Michael Forbs is an individual residing in Georgia. Forbs worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Forbs has been

eligible to receive overtime pay under the FLSA because Forbs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3252. Plaintiff Dalan Foster is an individual residing in Georgia. Foster worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Foster has been eligible to receive overtime pay under the

FLSA because Foster has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3253. Plaintiff Mark Francis is an individual residing in Georgia. Francis worked as a

delivery driver for FedEx in Georgia from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Francis has been

eligible to receive overtime pay under the FLSA because Francis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3254. Plaintiff Nicole Francis is an individual residing in Georgia. Francis worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Francis has been

eligible to receive overtime pay under the FLSA because Francis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               949
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 950 of 3128




        3255. Plaintiff Adam Frazier is an individual residing in Georgia. Frazier worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Frazier has been

eligible to receive overtime pay under the FLSA because Frazier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3256. Plaintiff Daniel Freeman Ii is an individual residing in Georgia. Freeman Ii

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Freeman Ii has been eligible to receive

overtime pay under the FLSA because Freeman Ii has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3257. Plaintiff Roby Fuller is an individual residing in Georgia. Fuller worked as a

delivery driver for FedEx in Georgia from approximately 2006 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Fuller has been

eligible to receive overtime pay under the FLSA because Fuller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3258. Plaintiff Waltina Gaines is an individual residing in Georgia. Gaines worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Gaines has been eligible to receive overtime pay under the

FLSA because Gaines has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               950
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 951 of 3128




        3259. Plaintiff Alvin Gaines is an individual residing in Georgia. Gaines worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Gaines has been

eligible to receive overtime pay under the FLSA because Gaines has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3260. Plaintiff Amber Gaines is an individual residing in Georgia. Gaines worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gaines has been

eligible to receive overtime pay under the FLSA because Gaines has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3261. Plaintiff Rico Gary is an individual residing in Georgia. Gary worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gary has been

eligible to receive overtime pay under the FLSA because Gary has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3262. Plaintiff Papa Gaye is an individual residing in Georgia. Gaye worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gaye has been

eligible to receive overtime pay under the FLSA because Gaye has driven a vehicle weighing




                                              951
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 952 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3263. Plaintiff Jareka Gear is an individual residing in Georgia. Gear worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gear has been

eligible to receive overtime pay under the FLSA because Gear has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3264. Plaintiff Loren Geer is an individual residing in Georgia. Geer worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Geer has been

eligible to receive overtime pay under the FLSA because Geer has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3265. Plaintiff Wesley Gilmore is an individual residing in Georgia. Gilmore worked as

a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gilmore has been

eligible to receive overtime pay under the FLSA because Gilmore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3266. Plaintiff Cornelius Gilyard is an individual residing in Georgia. Gilyard worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Gilyard has been



                                              952
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 953 of 3128




eligible to receive overtime pay under the FLSA because Gilyard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3267. Plaintiff Nefriteria Glass is an individual residing in Georgia. Glass worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Glass has been

eligible to receive overtime pay under the FLSA because Glass has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3268. Plaintiff Eric Glaze is an individual residing in Georgia. Glaze worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Glaze has been

eligible to receive overtime pay under the FLSA because Glaze has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3269. Plaintiff Archie Gleason is an individual residing in South Carolina. Gleason

worked as a delivery driver for FedEx in Georgia from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Gleason

has been eligible to receive overtime pay under the FLSA because Gleason has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3270. Plaintiff Verlando Glover is an individual residing in Georgia. Glover worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed



                                               953
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 954 of 3128




through intermediary entities that FedEx calls independent service providers. Glover has been

eligible to receive overtime pay under the FLSA because Glover has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3271. Plaintiff Daniel Goodwin is an individual residing in Georgia. Goodwin worked

as a delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Goodwin has been

eligible to receive overtime pay under the FLSA because Goodwin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3272. Plaintiff Ralph Gordon is an individual residing in Georgia. Gordon worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3273. Plaintiff Patricia Graham is an individual residing in Georgia. Graham worked as

a delivery driver for FedEx in Georgia from approximately 1990 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Graham has been

eligible to receive overtime pay under the FLSA because Graham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              954
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 955 of 3128




        3274. Plaintiff Thera Graham is an individual residing in Georgia. Graham worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Graham has been eligible to receive overtime pay under the

FLSA because Graham has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3275. Plaintiff Markia Grant is an individual residing in Georgia. Grant worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3276. Plaintiff Charles Grant is an individual residing in Virginia. Grant worked as a

delivery driver for FedEx in Georgia from approximately 2002 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3277. Plaintiff Julian Gray is an individual residing in Georgia. Gray worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Gray has been eligible to receive overtime pay under the

FLSA because Gray has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                               955
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 956 of 3128




        3278. Plaintiff Monjena Green is an individual residing in Georgia. Green worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Green has been eligible to receive overtime pay under the

FLSA because Green has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3279. Plaintiff Marion Gresham Jr. is an individual residing in Georgia. Gresham Jr.

worked as a delivery driver for FedEx in Georgia from approximately 1997 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Gresham

Jr. has been eligible to receive overtime pay under the FLSA because Gresham Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3280. Plaintiff Aubrey Grier is an individual residing in Georgia. Grier worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Grier has been

eligible to receive overtime pay under the FLSA because Grier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3281. Plaintiff Ishmeal Grier is an individual residing in Georgia. Grier worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Grier has been eligible to receive overtime pay under the

FLSA because Grier has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                               956
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 957 of 3128




        3282. Plaintiff Dalson Gunter is an individual residing in Georgia. Gunter worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gunter has been

eligible to receive overtime pay under the FLSA because Gunter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3283. Plaintiff Luis Gutierrez is an individual residing in Georgia. Gutierrez worked as

a delivery driver for FedEx in Georgia from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3284. Plaintiff Taylorann Hailes is an individual residing in Georgia. Hailes worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Hailes has been eligible to receive overtime pay under the

FLSA because Hailes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3285. Plaintiff Christopher Haley is an individual residing in Georgia. Haley worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Haley has been eligible to receive overtime pay under

the FLSA because Haley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               957
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 958 of 3128




        3286. Plaintiff Kevin Hall is an individual residing in Georgia. Hall worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3287. Plaintiff Robert Hall Jr. is an individual residing in Georgia. Hall Jr. worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hall Jr. has been

eligible to receive overtime pay under the FLSA because Hall Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3288. Plaintiff Dontarius Hammonds is an individual residing in Georgia. Hammonds

worked as a delivery driver for FedEx in Georgia from approximately 2015 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Hammonds has been eligible to receive overtime pay under the FLSA because Hammonds has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3289. Plaintiff Nikale Handspike is an individual residing in Georgia. Handspike

worked as a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Handspike has been eligible to receive overtime pay under the FLSA because Handspike has




                                                958
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 959 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3290. Plaintiff Marcus Hanna is an individual residing in Georgia. Hanna worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hanna has been

eligible to receive overtime pay under the FLSA because Hanna has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3291. Plaintiff Annette Hardman is an individual residing in Georgia. Hardman worked

as a delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hardman has been

eligible to receive overtime pay under the FLSA because Hardman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3292. Plaintiff Ronald Hargro is an individual residing in Indiana. Hargro worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Hargro has been eligible to receive overtime pay under the

FLSA because Hargro has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3293. Plaintiff William Harmon is an individual residing in Georgia. Harmon worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harmon has been

eligible to receive overtime pay under the FLSA because Harmon has driven a vehicle weighing



                                              959
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 960 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3294. Plaintiff Devante Harper is an individual residing in Georgia. Harper worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harper has been

eligible to receive overtime pay under the FLSA because Harper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3295. Plaintiff Gregory Harrelson is an individual residing in Georgia. Harrelson

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Harrelson has been eligible to receive overtime pay under the FLSA because Harrelson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3296. Plaintiff Kayla Harris is an individual residing in Georgia. Harris worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3297. Plaintiff Charles Harris is an individual residing in Georgia. Harris worked as a

delivery driver for FedEx in Georgia and North Carolina from approximately 2014 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               960
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 961 of 3128




Harris has been eligible to receive overtime pay under the FLSA because Harris has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3298. Plaintiff Keenan Harris is an individual residing in Georgia. Harris worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3299. Plaintiff Michael Harrison is an individual residing in Georgia. Harrison worked

as a delivery driver for FedEx in Georgia from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3300. Plaintiff Ava Harvey is an individual residing in Georgia. Harvey worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harvey has been

eligible to receive overtime pay under the FLSA because Harvey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3301. Plaintiff Samuel Harvey is an individual residing in Georgia. Harvey worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx



                                               961
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 962 of 3128




calls independent service providers. Harvey has been eligible to receive overtime pay under the

FLSA because Harvey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3302. Plaintiff Peggy Harvison is an individual residing in Georgia. Harvison worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harvison has been

eligible to receive overtime pay under the FLSA because Harvison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3303. Plaintiff Richard Hawk is an individual residing in Georgia. Hawk worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hawk has been

eligible to receive overtime pay under the FLSA because Hawk has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3304. Plaintiff Tracey Hawkes is an individual residing in Georgia. Hawkes worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkes has been

eligible to receive overtime pay under the FLSA because Hawkes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3305. Plaintiff Jr Hawkins is an individual residing in Georgia. Hawkins worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed



                                              962
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 963 of 3128




through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3306. Plaintiff Frank Hawkins is an individual residing in Georgia. Hawkins worked as

a delivery driver for FedEx in Georgia from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3307. Plaintiff Jamar Hayes is an individual residing in Georgia. Hayes worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3308. Plaintiff Shenard Hayes is an individual residing in Georgia. Hayes worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              963
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 964 of 3128




        3309. Plaintiff Michael Hayes is an individual residing in Georgia. Hayes worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3310. Plaintiff Courtney Haynes is an individual residing in Georgia. Haynes worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Haynes has been

eligible to receive overtime pay under the FLSA because Haynes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3311. Plaintiff Valerie Haywood is an individual residing in Georgia. Haywood worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Haywood has been

eligible to receive overtime pay under the FLSA because Haywood has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3312. Plaintiff Coleman Henderson is an individual residing in Georgia. Henderson

worked as a delivery driver for FedEx in Georgia from approximately 2009 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has




                                              964
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 965 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3313. Plaintiff Marcel Heningburg is an individual residing in Georgia. Heningburg

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Heningburg has been eligible to receive overtime pay under the FLSA because Heningburg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3314. Plaintiff Jarell Hensley is an individual residing in Georgia. Hensley worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hensley has been

eligible to receive overtime pay under the FLSA because Hensley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3315. Plaintiff Robert Henson is an individual residing in Georgia. Henson worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Henson has been eligible to receive overtime pay under the

FLSA because Henson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3316. Plaintiff Dana Herrington is an individual residing in Georgia. Herrington worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Herrington has

been eligible to receive overtime pay under the FLSA because Herrington has driven a vehicle



                                               965
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 966 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3317. Plaintiff Sabrina Hickson is an individual residing in Georgia. Hickson worked as

a delivery driver for FedEx in Georgia from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hickson has been

eligible to receive overtime pay under the FLSA because Hickson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3318. Plaintiff Charles Hill is an individual residing in Georgia. Hill worked as a

delivery driver for FedEx in Georgia from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3319. Plaintiff Chelsey Hill is an individual residing in Georgia. Hill worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3320. Plaintiff Daryl Hill is an individual residing in Georgia. Hill worked as a delivery

driver for FedEx in Georgia from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to



                                               966
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 967 of 3128




receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3321. Plaintiff Lavin Hilliard is an individual residing in Georgia. Hilliard worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hilliard has been

eligible to receive overtime pay under the FLSA because Hilliard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3322. Plaintiff Barbara Hines is an individual residing in Georgia. Hines worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hines has been

eligible to receive overtime pay under the FLSA because Hines has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3323. Plaintiff Sean Hodges is an individual residing in Georgia. Hodges worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hodges has been

eligible to receive overtime pay under the FLSA because Hodges has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3324. Plaintiff Lakeshia Hodges is an individual residing in Georgia. Hodges worked as

a delivery driver for FedEx in Georgia from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hodges has been



                                               967
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 968 of 3128




eligible to receive overtime pay under the FLSA because Hodges has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3325. Plaintiff Robert Hodnett is an individual residing in Georgia. Hodnett worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Hodnett has been eligible to receive overtime pay under the

FLSA because Hodnett has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3326. Plaintiff Kenny Hogan is an individual residing in Georgia. Hogan worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hogan has been

eligible to receive overtime pay under the FLSA because Hogan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3327. Plaintiff Ellis Hogges is an individual residing in Georgia. Hogges worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hogges has been

eligible to receive overtime pay under the FLSA because Hogges has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3328. Plaintiff Darein Holmes is an individual residing in Georgia. Holmes worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Holmes has been



                                              968
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 969 of 3128




eligible to receive overtime pay under the FLSA because Holmes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3329. Plaintiff John Holt is an individual residing in Georgia. Holt worked as a delivery

driver for FedEx in Georgia from approximately 2008 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Holt has been eligible to

receive overtime pay under the FLSA because Holt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3330. Plaintiff Ahmad Holton is an individual residing in Georgia. Holton worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Holton has been

eligible to receive overtime pay under the FLSA because Holton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3331. Plaintiff Scott Hood is an individual residing in Florida. Hood worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Hood has been eligible to receive overtime pay under the

FLSA because Hood has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3332. Plaintiff Bryon Horner is an individual residing in South Carolina. Horner worked

as a delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Horner has been

eligible to receive overtime pay under the FLSA because Horner has driven a vehicle weighing



                                               969
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 970 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3333. Plaintiff Robert Horton is an individual residing in Georgia. Horton worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Horton has been eligible to receive overtime pay under the

FLSA because Horton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3334. Plaintiff Kristina Houston is an individual residing in Georgia. Houston worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Houston has been

eligible to receive overtime pay under the FLSA because Houston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3335. Plaintiff Karen Howard is an individual residing in Georgia. Howard worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Howard has been

eligible to receive overtime pay under the FLSA because Howard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3336. Plaintiff Robert Hubbard is an individual residing in Georgia. Hubbard worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hubbard has been

eligible to receive overtime pay under the FLSA because Hubbard has driven a vehicle weighing



                                              970
    Case 2:24-cv-01129-RJC           Document 1      Filed 08/06/24      Page 971 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3337. Plaintiff Rosalind Hudson is an individual residing in Georgia. Hudson worked as

a delivery driver for FedEx in Georgia from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been

eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3338. Plaintiff Clinton Hudson is an individual residing in Georgia. Hudson worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been

eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3339. Plaintiff Itraverous Huff is an individual residing in Georgia. Huff worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Huff has been

eligible to receive overtime pay under the FLSA because Huff has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3340. Plaintiff Steven Hughes is an individual residing in Georgia. Hughes worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been



                                               971
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 972 of 3128




eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3341. Plaintiff Christopher Hughes is an individual residing in Georgia. Hughes worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Hughes has been eligible to receive overtime pay

under the FLSA because Hughes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3342. Plaintiff Tonquez Hughes is an individual residing in Georgia. Hughes worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3343. Plaintiff Shaquille Hurd is an individual residing in Georgia. Hurd worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Hurd has been eligible to receive overtime pay under the

FLSA because Hurd has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3344. Plaintiff Angela Hurst is an individual residing in Georgia. Hurst worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Hurst has been eligible to receive overtime pay under the




                                               972
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 973 of 3128




FLSA because Hurst has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3345. Plaintiff Paul Hutchens is an individual residing in Georgia. Hutchens worked as

a delivery driver for FedEx in Georgia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hutchens has been

eligible to receive overtime pay under the FLSA because Hutchens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3346. Plaintiff Harlan Ingram is an individual residing in Georgia. Ingram worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ingram has been

eligible to receive overtime pay under the FLSA because Ingram has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3347. Plaintiff Garfield Isaacs-Heyliger is an individual residing in Georgia. Isaacs-

Heyliger worked as a delivery driver for FedEx in Georgia but was employed through

intermediary entities that FedEx calls independent service providers. Isaacs-Heyliger has been

eligible to receive overtime pay under the FLSA because Isaacs-Heyliger has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3348. Plaintiff April Ivie is an individual residing in Georgia. Ivie worked as a delivery

driver for FedEx in Georgia from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ivie has been eligible to



                                                973
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 974 of 3128




receive overtime pay under the FLSA because Ivie has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3349. Plaintiff Darius Jackson is an individual residing in Georgia. Jackson worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3350. Plaintiff Derrick Jackson is an individual residing in Georgia. Jackson worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3351. Plaintiff Felicia Jackson is an individual residing in Georgia. Jackson worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3352. Plaintiff Larry Jackson is an individual residing in Georgia. Jackson worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been



                                               974
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 975 of 3128




eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3353. Plaintiff Achilles Jackson is an individual residing in Georgia. Jackson worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Jackson has been eligible to receive overtime pay

under the FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3354. Plaintiff Frank Jackson is an individual residing in Georgia. Jackson worked as a

delivery driver for FedEx in Georgia from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3355. Plaintiff Thomas Jackson is an individual residing in Louisiana. Jackson worked

as a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3356. Plaintiff Lakisha Jackson is an individual residing in Georgia. Jackson worked as

a delivery driver for FedEx in Georgia from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been



                                              975
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 976 of 3128




eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3357. Plaintiff Heath Jandik is an individual residing in Georgia. Jandik worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jandik has been

eligible to receive overtime pay under the FLSA because Jandik has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3358. Plaintiff Joe Jefferies is an individual residing in Georgia. Jefferies worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jefferies has been

eligible to receive overtime pay under the FLSA because Jefferies has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3359. Plaintiff Phillips Jeffrey is an individual residing in South Carolina. Jeffrey

worked as a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Jeffrey

has been eligible to receive overtime pay under the FLSA because Jeffrey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3360. Plaintiff Nathaniel Jemison is an individual residing in Georgia. Jemison worked

as a delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed



                                                976
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 977 of 3128




through intermediary entities that FedEx calls independent service providers. Jemison has been

eligible to receive overtime pay under the FLSA because Jemison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3361. Plaintiff Michael Jenkins is an individual residing in South Carolina. Jenkins

worked as a delivery driver for FedEx in Georgia from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Jenkins

has been eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3362. Plaintiff Jacqueline Jenkins is an individual residing in Georgia. Jenkins worked

as a delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3363. Plaintiff Samuel Jenkins is an individual residing in Virginia. Jenkins worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               977
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 978 of 3128




        3364. Plaintiff Malissa Johnson is an individual residing in Mississippi. Johnson worked

as a delivery driver for FedEx in Georgia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3365. Plaintiff Ziana Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3366. Plaintiff Ausha Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3367. Plaintiff Latoyia Johnson is an individual residing in Georgia. Johnson worked as

a delivery driver for FedEx in Georgia from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing




                                              978
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 979 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3368. Plaintiff Cornelius Johnson is an individual residing in Florida. Johnson worked

as a delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3369. Plaintiff Shatavia Johnson is an individual residing in Georgia. Johnson worked as

a delivery driver for FedEx in Georgia from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3370. Plaintiff Joshua Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3371. Plaintiff Torena Johnson is an individual residing in Georgia. Johnson worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been



                                              979
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 980 of 3128




eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3372. Plaintiff Gary Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3373. Plaintiff Tyrone Johnson is an individual residing in Georgia. Johnson worked as

a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3374. Plaintiff Darius Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Johnson has been eligible to receive overtime pay under the

FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3375. Plaintiff Nikita Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been



                                              980
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 981 of 3128




eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3376. Plaintiff Justin Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Johnson has been eligible to receive overtime pay under the

FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3377. Plaintiff Quintin Jones is an individual residing in Alabama. Jones worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3378. Plaintiff Patrice Jones is an individual residing in Georgia. Jones worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Jones has been eligible to receive overtime pay under the

FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3379. Plaintiff Daniel Jones is an individual residing in Georgia. Jones worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing



                                               981
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 982 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3380. Plaintiff Ryan Jones is an individual residing in Georgia. Jones worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Jones has been eligible to receive overtime pay under the

FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3381. Plaintiff Christopher Jones is an individual residing in Georgia. Jones worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3382. Plaintiff Jerome Jones is an individual residing in Alabama. Jones worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3383. Plaintiff Moriah Jordan is an individual residing in Georgia. Jordan worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jordan has been

eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle weighing



                                               982
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 983 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3384. Plaintiff Raheem Jordan is an individual residing in Georgia. Jordan worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jordan has been

eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3385. Plaintiff Luther Jude is an individual residing in Georgia. Jude worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jude has been

eligible to receive overtime pay under the FLSA because Jude has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3386. Plaintiff Peter Kanumi is an individual residing in Georgia. Kanumi worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kanumi has been

eligible to receive overtime pay under the FLSA because Kanumi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3387. Plaintiff Deana Kay is an individual residing in Georgia. Kay worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Kay has been eligible to receive overtime pay under the



                                               983
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 984 of 3128




FLSA because Kay has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3388. Plaintiff Wesley Kaye-Manu is an individual residing in Georgia. Kaye-Manu

worked as a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Kaye-

Manu has been eligible to receive overtime pay under the FLSA because Kaye-Manu has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3389. Plaintiff Keith Kelly is an individual residing in Georgia. Kelly worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kelly has been

eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3390. Plaintiff Kadeejah Kelly is an individual residing in Georgia. Kelly worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Kelly has been

eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3391. Plaintiff Marcus King is an individual residing in Georgia. King worked as a

delivery driver for FedEx in Georgia from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. King has been



                                               984
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 985 of 3128




eligible to receive overtime pay under the FLSA because King has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3392. Plaintiff Amanda Kirby is an individual residing in Georgia. Kirby worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Kirby has been

eligible to receive overtime pay under the FLSA because Kirby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3393. Plaintiff Cynthia Kithome is an individual residing in Georgia. Kithome worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kithome has been

eligible to receive overtime pay under the FLSA because Kithome has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3394. Plaintiff Keontrae Knight is an individual residing in Georgia. Knight worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Knight has been

eligible to receive overtime pay under the FLSA because Knight has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3395. Plaintiff Corri Lacabe is an individual residing in Georgia. Lacabe worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed



                                              985
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 986 of 3128




through intermediary entities that FedEx calls independent service providers. Lacabe has been

eligible to receive overtime pay under the FLSA because Lacabe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3396. Plaintiff Gina Lanham is an individual residing in Georgia. Lanham worked as a

delivery driver for FedEx in Georgia from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lanham has been

eligible to receive overtime pay under the FLSA because Lanham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3397. Plaintiff Craig Lankford is an individual residing in Georgia. Lankford worked as

a delivery driver for FedEx in Georgia from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Lankford has been

eligible to receive overtime pay under the FLSA because Lankford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3398. Plaintiff Ashley Leaper is an individual residing in Georgia. Leaper worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Leaper has been

eligible to receive overtime pay under the FLSA because Leaper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              986
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 987 of 3128




        3399. Plaintiff Jasper Leavell is an individual residing in Georgia. Leavell worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Leavell has been

eligible to receive overtime pay under the FLSA because Leavell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3400. Plaintiff Kevin Leckie is an individual residing in Georgia. Leckie worked as a

delivery driver for FedEx in Georgia from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Leckie has been

eligible to receive overtime pay under the FLSA because Leckie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3401. Plaintiff Alfornia Leonard is an individual residing in Georgia. Leonard worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Leonard has been

eligible to receive overtime pay under the FLSA because Leonard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3402. Plaintiff Darrius Lester is an individual residing in Georgia. Lester worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lester has been

eligible to receive overtime pay under the FLSA because Lester has driven a vehicle weighing




                                               987
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 988 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3403. Plaintiff Richard Lewis is an individual residing in Georgia. Lewis worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3404. Plaintiff Whitney Lewis is an individual residing in Georgia. Lewis worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3405. Plaintiff Timothy Lewis is an individual residing in Georgia. Lewis worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3406. Plaintiff Tyredrus Little is an individual residing in Georgia. Little worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Little has been

eligible to receive overtime pay under the FLSA because Little has driven a vehicle weighing




                                                988
     Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 989 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3407. Plaintiff Phillip Little is an individual residing in Georgia. Little worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Little has been eligible to receive overtime pay under the

FLSA because Little has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3408. Plaintiff Joshua Lonberg is an individual residing in Georgia. Lonberg worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lonberg has been

eligible to receive overtime pay under the FLSA because Lonberg has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3409. Plaintiff Andre London is an individual residing in Georgia. London worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. London has been eligible to receive overtime pay under the

FLSA because London has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3410. Plaintiff Lyllieth Lopez is an individual residing in Georgia. Lopez worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing




                                                989
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 990 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3411. Plaintiff Rahieam Lotson is an individual residing in Georgia. Lotson worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lotson has been

eligible to receive overtime pay under the FLSA because Lotson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3412. Plaintiff Cornelius Love is an individual residing in Georgia. Love worked as a

delivery driver for FedEx in Georgia from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Love has been

eligible to receive overtime pay under the FLSA because Love has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3413. Plaintiff Robert Love is an individual residing in Georgia. Love worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Love has been

eligible to receive overtime pay under the FLSA because Love has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3414. Plaintiff Tony Luke is an individual residing in Georgia. Luke worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Luke has been



                                              990
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 991 of 3128




eligible to receive overtime pay under the FLSA because Luke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3415. Plaintiff David Lundy is an individual residing in Georgia. Lundy worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Lundy has been eligible to receive overtime pay under the

FLSA because Lundy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3416. Plaintiff Felecia Lunsford is an individual residing in Georgia. Lunsford worked

as a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lunsford has been

eligible to receive overtime pay under the FLSA because Lunsford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3417. Plaintiff Lynwood Lynwood O Gilbert is an individual residing in Georgia.

Lynwood O Gilbert worked as a delivery driver for FedEx in Georgia from approximately 2018

to 2020 but was employed through intermediary entities that FedEx calls independent service

providers. Lynwood O Gilbert has been eligible to receive overtime pay under the FLSA because

Lynwood O Gilbert has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3418. Plaintiff Ellis Lyons is an individual residing in Georgia. Lyons worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been



                                               991
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 992 of 3128




eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3419. Plaintiff Kishari Mackey is an individual residing in Georgia. Mackey worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mackey has been

eligible to receive overtime pay under the FLSA because Mackey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3420. Plaintiff Travis Maddox is an individual residing in Georgia. Maddox worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Maddox has been

eligible to receive overtime pay under the FLSA because Maddox has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3421. Plaintiff Jade Magelund is an individual residing in Georgia. Magelund worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Magelund has been eligible to receive overtime pay

under the FLSA because Magelund has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3422. Plaintiff Charles Malone is an individual residing in Georgia. Malone worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Malone has been



                                              992
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 993 of 3128




eligible to receive overtime pay under the FLSA because Malone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3423. Plaintiff Michael Manigo is an individual residing in Georgia. Manigo worked as

a delivery driver for FedEx in Georgia from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Manigo has been

eligible to receive overtime pay under the FLSA because Manigo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3424. Plaintiff Antonio Mann is an individual residing in Georgia. Mann worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Mann has been eligible to receive overtime pay under the

FLSA because Mann has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3425. Plaintiff Constant Mantey is an individual residing in Georgia. Mantey worked as

a delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mantey has been

eligible to receive overtime pay under the FLSA because Mantey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3426. Plaintiff Arifaha Marks is an individual residing in Georgia. Marks worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Marks has been



                                              993
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 994 of 3128




eligible to receive overtime pay under the FLSA because Marks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3427. Plaintiff Jesse Marshall is an individual residing in Georgia. Marshall worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Marshall has been

eligible to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3428. Plaintiff Keyshaun Martin is an individual residing in Georgia. Martin worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Martin has been eligible to receive overtime pay

under the FLSA because Martin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3429. Plaintiff Michael Martin is an individual residing in South Carolina. Martin

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Martin has been eligible to receive

overtime pay under the FLSA because Martin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3430. Plaintiff Jermaine Martin Ii is an individual residing in Georgia. Martin Ii worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martin Ii has been

eligible to receive overtime pay under the FLSA because Martin Ii has driven a vehicle weighing



                                               994
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 995 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3431. Plaintiff Charlie Martin Iii is an individual residing in South Carolina. Martin Iii

worked as a delivery driver for FedEx in Georgia from approximately 2008 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Martin

Iii has been eligible to receive overtime pay under the FLSA because Martin Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3432. Plaintiff Shannon Mathis is an individual residing in Georgia. Mathis worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mathis has been

eligible to receive overtime pay under the FLSA because Mathis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3433. Plaintiff Ray Mcarthur is an individual residing in Georgia. Mcarthur worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Mcarthur has been eligible to receive overtime pay under the

FLSA because Mcarthur has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3434. Plaintiff Celeste Mccall is an individual residing in Georgia. Mccall worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mccall has been

eligible to receive overtime pay under the FLSA because Mccall has driven a vehicle weighing



                                                995
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 996 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3435. Plaintiff Ashley Mccommons is an individual residing in Georgia. Mccommons

worked as a delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mccommons has been eligible to receive overtime pay under the FLSA because Mccommons

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        3436. Plaintiff Sierra Mccoy is an individual residing in Georgia. Mccoy worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mccoy has been

eligible to receive overtime pay under the FLSA because Mccoy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3437. Plaintiff Jelisha Mccrae is an individual residing in Georgia. Mccrae worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mccrae has been

eligible to receive overtime pay under the FLSA because Mccrae has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3438. Plaintiff Jaandre Mccray is an individual residing in Georgia. Mccray worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mccray has been



                                              996
    Case 2:24-cv-01129-RJC          Document 1      Filed 08/06/24     Page 997 of 3128




eligible to receive overtime pay under the FLSA because Mccray has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3439. Plaintiff Theo Mcdougald is an individual residing in Georgia. Mcdougald

worked as a delivery driver for FedEx in Georgia from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdougald has been eligible to receive overtime pay under the FLSA because Mcdougald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3440. Plaintiff Marshall Mcfadden is an individual residing in Georgia. Mcfadden

worked as a delivery driver for FedEx in Georgia from approximately 2021 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcfadden has been eligible to receive overtime pay under the FLSA because Mcfadden has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3441. Plaintiff Acendrick Mcwhorter is an individual residing in Georgia. Mcwhorter

worked as a delivery driver for FedEx in Georgia from approximately 2014 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcwhorter has been eligible to receive overtime pay under the FLSA because Mcwhorter has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3442. Plaintiff Charles Mcwilliams is an individual residing in Georgia. Mcwilliams

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was



                                              997
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 998 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Mcwilliams has been eligible to receive overtime pay under the FLSA because Mcwilliams has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3443. Plaintiff Laquan Medlin is an individual residing in Georgia. Medlin worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Medlin has been

eligible to receive overtime pay under the FLSA because Medlin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3444. Plaintiff Veronica Mercer is an individual residing in Georgia. Mercer worked as

a delivery driver for FedEx in Georgia from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mercer has been

eligible to receive overtime pay under the FLSA because Mercer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3445. Plaintiff Torii Middleton, Sr. is an individual residing in Georgia. Middleton

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Middleton has been eligible to receive overtime pay under the FLSA because Middleton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               998
     Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 999 of 3128




        3446. Plaintiff Daniel Middleton is an individual residing in Georgia. Middleton worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Middleton has been

eligible to receive overtime pay under the FLSA because Middleton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3447. Plaintiff Howard Miller is an individual residing in Georgia. Miller worked as a

delivery driver for FedEx in Georgia from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3448. Plaintiff Nicole Minefield is an individual residing in Michigan. Minefield

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Minefield has been eligible to receive

overtime pay under the FLSA because Minefield has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3449. Plaintiff Adarius Mingo is an individual residing in Georgia. Mingo worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mingo has been

eligible to receive overtime pay under the FLSA because Mingo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               999
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1000 of 3128




        3450. Plaintiff Javontaveious Mitchell is an individual residing in Georgia. Mitchell

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mitchell

has been eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3451. Plaintiff Damani Mitchell is an individual residing in Georgia. Mitchell worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3452. Plaintiff Montravis Mitchell is an individual residing in Georgia. Mitchell worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3453. Plaintiff Adrian Monday is an individual residing in Georgia. Monday worked as

a delivery driver for FedEx in Georgia from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Monday has been

eligible to receive overtime pay under the FLSA because Monday has driven a vehicle weighing




                                              1000
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1001 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3454. Plaintiff Christerrius Montoya is an individual residing in Georgia. Montoya

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Montoya

has been eligible to receive overtime pay under the FLSA because Montoya has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3455. Plaintiff Shanikqua Moore is an individual residing in Georgia. Moore worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3456. Plaintiff Tashaira Moore is an individual residing in Georgia. Moore worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3457. Plaintiff Christy Moore is an individual residing in Georgia. Moore worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been



                                             1001
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1002 of 3128




eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3458. Plaintiff Robert Morato is an individual residing in Georgia. Morato worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Morato has been eligible to receive overtime pay under the

FLSA because Morato has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3459. Plaintiff Latarsha Morris is an individual residing in Georgia. Morris worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3460. Plaintiff Michael Morton is an individual residing in Georgia. Morton worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Morton has been

eligible to receive overtime pay under the FLSA because Morton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3461. Plaintiff Terry Moser is an individual residing in Georgia. Moser worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moser has been



                                              1002
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1003 of 3128




eligible to receive overtime pay under the FLSA because Moser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3462. Plaintiff Kemp Mosley is an individual residing in Georgia. Mosley worked as a

delivery driver for FedEx in Georgia from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mosley has been

eligible to receive overtime pay under the FLSA because Mosley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3463. Plaintiff Xavier Moss is an individual residing in Georgia. Moss worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Moss has been eligible to receive overtime pay under the

FLSA because Moss has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3464. Plaintiff Marquise Mumphery is an individual residing in Georgia. Mumphery

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Mumphery has been eligible to receive

overtime pay under the FLSA because Mumphery has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3465. Plaintiff Thomas Munson is an individual residing in Georgia. Munson worked as

a delivery driver for FedEx in Georgia from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Munson has been

eligible to receive overtime pay under the FLSA because Munson has driven a vehicle weighing



                                              1003
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1004 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3466. Plaintiff Michael Murphy is an individual residing in Georgia. Murphy worked as

a delivery driver for FedEx in Georgia from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Murphy has been

eligible to receive overtime pay under the FLSA because Murphy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3467. Plaintiff Deangelo Nance is an individual residing in Georgia. Nance worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Nance has been

eligible to receive overtime pay under the FLSA because Nance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3468. Plaintiff Aaron Neal is an individual residing in Georgia. Neal worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Neal has been

eligible to receive overtime pay under the FLSA because Neal has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3469. Plaintiff Terry Nelson is an individual residing in Georgia. Nelson worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been



                                              1004
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1005 of 3128




eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3470. Plaintiff Leshona Neville is an individual residing in Georgia. Neville worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Neville has been

eligible to receive overtime pay under the FLSA because Neville has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3471. Plaintiff Danielle Newry is an individual residing in Georgia. Newry worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Newry has been

eligible to receive overtime pay under the FLSA because Newry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3472. Plaintiff Lamin Njie is an individual residing in Georgia. Njie worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Njie has been

eligible to receive overtime pay under the FLSA because Njie has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3473. Plaintiff Kiara Noble is an individual residing in Georgia. Noble worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed



                                              1005
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1006 of 3128




through intermediary entities that FedEx calls independent service providers. Noble has been

eligible to receive overtime pay under the FLSA because Noble has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3474. Plaintiff Robert Norfleet is an individual residing in Georgia. Norfleet worked as

a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Norfleet has been

eligible to receive overtime pay under the FLSA because Norfleet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3475. Plaintiff Oriala Nyengiwari is an individual residing in Georgia. Nyengiwari

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Nyengiwari has been eligible to receive overtime pay under the FLSA because Nyengiwari has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3476. Plaintiff Anastasia Odom is an individual residing in Georgia. Odom worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Odom has been

eligible to receive overtime pay under the FLSA because Odom has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1006
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1007 of 3128




        3477. Plaintiff Michael Odum is an individual residing in Georgia. Odum worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Odum has been

eligible to receive overtime pay under the FLSA because Odum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3478. Plaintiff Abraham Ogojiaku is an individual residing in Georgia. Ogojiaku

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Ogojiaku has been eligible to receive

overtime pay under the FLSA because Ogojiaku has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3479. Plaintiff Melody Okoh is an individual residing in Georgia. Okoh worked as a

delivery driver for FedEx in Georgia from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Okoh has been

eligible to receive overtime pay under the FLSA because Okoh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3480. Plaintiff Paulette Oliver is an individual residing in Georgia. Oliver worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Oliver has been

eligible to receive overtime pay under the FLSA because Oliver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1007
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1008 of 3128




        3481. Plaintiff Howard Osbourne is an individual residing in Georgia. Osbourne worked

as a delivery driver for FedEx in Georgia from approximately 2001 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Osbourne has been

eligible to receive overtime pay under the FLSA because Osbourne has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3482. Plaintiff Vernon Osgood is an individual residing in Georgia. Osgood worked as a

delivery driver for FedEx in Georgia from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Osgood has been

eligible to receive overtime pay under the FLSA because Osgood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3483. Plaintiff Grant Owusu is an individual residing in Georgia. Owusu worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Owusu has been eligible to receive overtime pay under the

FLSA because Owusu has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3484. Plaintiff Elvis Brumfield is an individual residing in Georgia. Packwood worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Packwood has been

eligible to receive overtime pay under the FLSA because Packwood has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             1008
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1009 of 3128




        3485. Plaintiff Shaunta Parker is an individual residing in Georgia. Parker worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3486. Plaintiff Curtis Parks is an individual residing in Georgia. Parks worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Parks has been

eligible to receive overtime pay under the FLSA because Parks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3487. Plaintiff Reginald Patrick is an individual residing in Georgia. Patrick worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Patrick has been

eligible to receive overtime pay under the FLSA because Patrick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3488. Plaintiff Leslie Peaks is an individual residing in Georgia. Peaks worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Peaks has been eligible to receive overtime pay under the

FLSA because Peaks has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              1009
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1010 of 3128




        3489. Plaintiff Jessica Penhollow is an individual residing in Georgia. Penhollow

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Penhollow has been eligible to receive overtime pay under the FLSA because Penhollow has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3490. Plaintiff Steve Pennington is an individual residing in Georgia. Pennington

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Pennington has been eligible to receive

overtime pay under the FLSA because Pennington has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3491. Plaintiff Delrico Perkins is an individual residing in Georgia. Perkins worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Perkins has been

eligible to receive overtime pay under the FLSA because Perkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3492. Plaintiff Anthony Perkins is an individual residing in Georgia. Perkins worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Perkins has been

eligible to receive overtime pay under the FLSA because Perkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1010
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1011 of 3128




        3493. Plaintiff Jemeliah Perry is an individual residing in Georgia. Perry worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3494. Plaintiff Georgia Perry is an individual residing in Mississippi. Perry worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3495. Plaintiff Maya Perryman is an individual residing in Georgia. Perryman worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perryman has been

eligible to receive overtime pay under the FLSA because Perryman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3496. Plaintiff Kentavius Peterson is an individual residing in Georgia. Peterson worked

as a delivery driver for FedEx in Georgia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Peterson has been

eligible to receive overtime pay under the FLSA because Peterson has driven a vehicle weighing




                                              1011
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1012 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3497. Plaintiff Matthew Pierce is an individual residing in Georgia. Pierce worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pierce has been

eligible to receive overtime pay under the FLSA because Pierce has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3498. Plaintiff Terrance Pollard is an individual residing in Georgia. Pollard worked as

a delivery driver for FedEx in Georgia from approximately 2000 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Pollard has been

eligible to receive overtime pay under the FLSA because Pollard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3499. Plaintiff Kevin Ponder is an individual residing in Georgia. Ponder worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ponder has been

eligible to receive overtime pay under the FLSA because Ponder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3500. Plaintiff Kevin Porter is an individual residing in Georgia. Porter worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Porter has been



                                              1012
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1013 of 3128




eligible to receive overtime pay under the FLSA because Porter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3501. Plaintiff Sonya Pratt is an individual residing in Georgia. Pratt worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pratt has been

eligible to receive overtime pay under the FLSA because Pratt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3502. Plaintiff Rashad Price is an individual residing in Georgia. Price worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Price has been eligible to receive overtime pay under the

FLSA because Price has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3503. Plaintiff Eddie Pugh is an individual residing in Alabama. Pugh worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pugh has been

eligible to receive overtime pay under the FLSA because Pugh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3504. Plaintiff Jamoski Rachel is an individual residing in Georgia. Rachel worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rachel has been



                                               1013
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1014 of 3128




eligible to receive overtime pay under the FLSA because Rachel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3505. Plaintiff Christopher Radford is an individual residing in Georgia. Radford

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Radford

has been eligible to receive overtime pay under the FLSA because Radford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3506. Plaintiff Lashaunte Ramos is an individual residing in Georgia. Ramos worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3507. Plaintiff Willie Ramsey is an individual residing in South Carolina. Ramsey

worked as a delivery driver for FedEx in Georgia from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Ramsey

has been eligible to receive overtime pay under the FLSA because Ramsey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3508. Plaintiff Janet Randall is an individual residing in Georgia. Randall worked as a

delivery driver for FedEx in Georgia from approximately 2020 to 2024 but was employed



                                              1014
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1015 of 3128




through intermediary entities that FedEx calls independent service providers. Randall has been

eligible to receive overtime pay under the FLSA because Randall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3509. Plaintiff Tracey Randell is an individual residing in Georgia. Randell worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Randell has been

eligible to receive overtime pay under the FLSA because Randell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3510. Plaintiff Frank Ravelo is an individual residing in Georgia. Ravelo worked as a

delivery driver for FedEx in Georgia from approximately 2001 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ravelo has been

eligible to receive overtime pay under the FLSA because Ravelo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3511. Plaintiff Andra Ray is an individual residing in Georgia. Ray worked as a delivery

driver for FedEx in Georgia but was employed through intermediary entities that FedEx calls

independent service providers. Ray has been eligible to receive overtime pay under the FLSA

because Ray has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3512. Plaintiff Billy Razor is an individual residing in Georgia. Razor worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2022 but was employed



                                              1015
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1016 of 3128




through intermediary entities that FedEx calls independent service providers. Razor has been

eligible to receive overtime pay under the FLSA because Razor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3513. Plaintiff Keenan Ready is an individual residing in Georgia. Ready worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Ready has been eligible to receive overtime pay under the

FLSA because Ready has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3514. Plaintiff Telvin Denton is an individual residing in Georgia. Rhinehart worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Rhinehart has been eligible to receive overtime pay

under the FLSA because Rhinehart has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3515. Plaintiff Jontrell Rhodes is an individual residing in Georgia. Rhodes worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rhodes has been

eligible to receive overtime pay under the FLSA because Rhodes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3516. Plaintiff Grayson Rhodes is an individual residing in Tennessee. Rhodes worked

as a delivery driver for FedEx in Georgia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rhodes has been



                                              1016
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1017 of 3128




eligible to receive overtime pay under the FLSA because Rhodes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3517. Plaintiff Jahi Richardson is an individual residing in Georgia. Richardson worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Richardson has

been eligible to receive overtime pay under the FLSA because Richardson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3518. Plaintiff Jean Richelieu is an individual residing in Alabama. Richelieu worked as

a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Richelieu has been

eligible to receive overtime pay under the FLSA because Richelieu has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3519. Plaintiff Jamari Roberson is an individual residing in Georgia. Roberson worked

as a delivery driver for FedEx in Georgia from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Roberson has been

eligible to receive overtime pay under the FLSA because Roberson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3520. Plaintiff Rj Roberts is an individual residing in Georgia. Roberts worked as a

delivery driver for FedEx in Georgia from approximately 2008 to 2024 but was employed



                                              1017
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1018 of 3128




through intermediary entities that FedEx calls independent service providers. Roberts has been

eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3521. Plaintiff Roy Robinson is an individual residing in Georgia. Robinson worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Robinson has been eligible to receive overtime pay

under the FLSA because Robinson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3522. Plaintiff Antwon Robinson is an individual residing in Nevada. Robinson worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3523. Plaintiff Josiah Rockefeller is an individual residing in Georgia. Rockefeller

worked as a delivery driver for FedEx in Georgia from approximately 2021 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Rockefeller has been eligible to receive overtime pay under the FLSA because Rockefeller has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3524. Plaintiff Gustavo Rodriguez is an individual residing in Georgia. Rodriguez

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was



                                              1018
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1019 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3525. Plaintiff Marquiza Roker is an individual residing in Georgia. Roker worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Roker has been

eligible to receive overtime pay under the FLSA because Roker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3526. Plaintiff Deanel Rolle is an individual residing in Georgia. Rolle worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Rolle has been eligible to receive overtime pay under the

FLSA because Rolle has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3527. Plaintiff Ariel Rosa is an individual residing in Georgia. Rosa worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Rosa has been

eligible to receive overtime pay under the FLSA because Rosa has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3528. Plaintiff Calvin Ross is an individual residing in Georgia. Ross worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed



                                              1019
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1020 of 3128




through intermediary entities that FedEx calls independent service providers. Ross has been

eligible to receive overtime pay under the FLSA because Ross has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3529. Plaintiff Shamela Rupert is an individual residing in Georgia. Rupert worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rupert has been

eligible to receive overtime pay under the FLSA because Rupert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3530. Plaintiff Forrest Sailor is an individual residing in Georgia. Sailor worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Sailor has been eligible to receive overtime pay under the

FLSA because Sailor has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3531. Plaintiff Ricky Sampson is an individual residing in Georgia. Sampson worked as

a delivery driver for FedEx in Georgia from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sampson has been

eligible to receive overtime pay under the FLSA because Sampson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3532. Plaintiff Tory Sanders is an individual residing in Georgia. Sanders worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed



                                               1020
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1021 of 3128




through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3533. Plaintiff Ken Sanders is an individual residing in Georgia. Sanders worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3534. Plaintiff Luke Schellhase is an individual residing in Pennsylvania. Schellhase

worked as a delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Schellhase has been eligible to receive overtime pay under the FLSA because Schellhase has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3535. Plaintiff Chad Scott is an individual residing in Florida. Scott worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1021
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1022 of 3128




        3536. Plaintiff Willie Scott is an individual residing in Georgia. Scott worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3537. Plaintiff Tabatha Scott is an individual residing in Georgia. Scott worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3538. Plaintiff Mcarthur Scott is an individual residing in Georgia. Scott worked as a

delivery driver for FedEx in Georgia from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3539. Plaintiff Tarim Scott is an individual residing in Georgia. Scott worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing




                                               1022
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1023 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3540. Plaintiff Lawrence Scott is an individual residing in Georgia. Scott worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3541. Plaintiff Timothy Self is an individual residing in Florida. Self worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Self has been

eligible to receive overtime pay under the FLSA because Self has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3542. Plaintiff Alfred Setalsingh is an individual residing in Massachusetts. Setalsingh

worked as a delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Setalsingh has been eligible to receive overtime pay under the FLSA because Setalsingh has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3543. Plaintiff Grady Shaw is an individual residing in Georgia. Shaw worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shaw has been



                                              1023
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1024 of 3128




eligible to receive overtime pay under the FLSA because Shaw has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3544. Plaintiff Ashly Shearouse is an individual residing in Georgia. Shearouse worked

as a delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shearouse has been

eligible to receive overtime pay under the FLSA because Shearouse has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3545. Plaintiff Jeremy Sheats is an individual residing in Georgia. Sheats worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sheats has been

eligible to receive overtime pay under the FLSA because Sheats has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3546. Plaintiff Kevin Shelton is an individual residing in Georgia. Shelton worked as a

delivery driver for FedEx in Georgia from approximately 1998 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Shelton has been

eligible to receive overtime pay under the FLSA because Shelton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3547. Plaintiff Tianitha Sherman is an individual residing in Georgia. Sherman worked

as a delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed



                                              1024
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1025 of 3128




through intermediary entities that FedEx calls independent service providers. Sherman has been

eligible to receive overtime pay under the FLSA because Sherman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3548. Plaintiff Morgan Shiver Iv is an individual residing in Georgia. Shiver Iv worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Shiver Iv has been

eligible to receive overtime pay under the FLSA because Shiver Iv has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3549. Plaintiff Kenson Simeon is an individual residing in Georgia. Simeon worked as a

delivery driver for FedEx in Georgia from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Simeon has been

eligible to receive overtime pay under the FLSA because Simeon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3550. Plaintiff Roderick Simmons is an individual residing in Georgia. Simmons

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Simmons has been eligible to receive overtime pay under the FLSA because Simmons has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              1025
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1026 of 3128




        3551. Plaintiff Schauka Simmons is an individual residing in Georgia. Simmons worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Simmons has been

eligible to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3552. Plaintiff Kendrell Simpson is an individual residing in Georgia. Simpson worked

as a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Simpson has been

eligible to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3553. Plaintiff Raymond Sims is an individual residing in Georgia. Sims worked as a

delivery driver for FedEx in Georgia from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3554. Plaintiff Charles Sims is an individual residing in Georgia. Sims worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less




                                              1026
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1027 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3555. Plaintiff Omar Skinner is an individual residing in Florida. Skinner worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Skinner has been eligible to receive overtime pay under the

FLSA because Skinner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3556. Plaintiff Richard Small is an individual residing in Georgia. Small worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Small has been

eligible to receive overtime pay under the FLSA because Small has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3557. Plaintiff Deryck Smiley is an individual residing in Georgia. Smiley worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smiley has been

eligible to receive overtime pay under the FLSA because Smiley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3558. Plaintiff Jeremiah Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                              1027
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1028 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3559. Plaintiff Eric Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3560. Plaintiff Darrell Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3561. Plaintiff Kathy Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3562. Plaintiff Joshua Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Georgia from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been



                                              1028
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1029 of 3128




eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3563. Plaintiff Craig Smith is an individual residing in Georgia. Smith worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3564. Plaintiff Lashanda Solin is an individual residing in Georgia. Solin worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Solin has been eligible to receive overtime pay under the

FLSA because Solin has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3565. Plaintiff Derek Spencer is an individual residing in Georgia. Spencer worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Spencer has been

eligible to receive overtime pay under the FLSA because Spencer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3566. Plaintiff Edward Spencer is an individual residing in South Carolina. Spencer

worked as a delivery driver for FedEx in Georgia from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Spencer



                                              1029
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1030 of 3128




has been eligible to receive overtime pay under the FLSA because Spencer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3567. Plaintiff Mark Spruill is an individual residing in Georgia. Spruill worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Spruill has been

eligible to receive overtime pay under the FLSA because Spruill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3568. Plaintiff Steven Stanley is an individual residing in Georgia. Stanley worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Stanley has been

eligible to receive overtime pay under the FLSA because Stanley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3569. Plaintiff Sierra Starlings is an individual residing in Georgia. Starlings worked as

a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Starlings has been

eligible to receive overtime pay under the FLSA because Starlings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3570. Plaintiff Standrick Stephens is an individual residing in Georgia. Stephens worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that



                                               1030
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1031 of 3128




FedEx calls independent service providers. Stephens has been eligible to receive overtime pay

under the FLSA because Stephens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3571. Plaintiff Thaddeus Stewart is an individual residing in Georgia. Stewart worked as

a delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3572. Plaintiff Dillon Stokes is an individual residing in Georgia. Stokes worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Stokes has been eligible to receive overtime pay under the

FLSA because Stokes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3573. Plaintiff Demond Stovall is an individual residing in Georgia. Stovall worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stovall has been

eligible to receive overtime pay under the FLSA because Stovall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3574. Plaintiff Shelley Strother is an individual residing in Georgia. Strother worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Strother has been eligible to receive overtime pay



                                              1031
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1032 of 3128




under the FLSA because Strother has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3575. Plaintiff Jimmie Sturges Jr. is an individual residing in Georgia. Sturges Jr.

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Sturges

Jr. has been eligible to receive overtime pay under the FLSA because Sturges Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3576. Plaintiff Robert Sullivan is an individual residing in Georgia. Sullivan worked as

a delivery driver for FedEx in Georgia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sullivan has been

eligible to receive overtime pay under the FLSA because Sullivan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3577. Plaintiff Jim Sutton is an individual residing in Tennessee. Sutton worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sutton has been

eligible to receive overtime pay under the FLSA because Sutton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3578. Plaintiff Joshua Swann is an individual residing in Georgia. Swann worked as a

delivery driver for FedEx in Georgia from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Swann has been



                                               1032
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1033 of 3128




eligible to receive overtime pay under the FLSA because Swann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3579. Plaintiff Larry Swindell is an individual residing in Georgia. Swindell worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Swindell has been eligible to receive overtime pay

under the FLSA because Swindell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3580. Plaintiff Bradford Symonette is an individual residing in Georgia. Symonette

worked as a delivery driver for FedEx in Georgia from approximately 2011 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Symonette has been eligible to receive overtime pay under the FLSA because Symonette has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3581. Plaintiff Jordan Taylor is an individual residing in Georgia. Taylor worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3582. Plaintiff George Taylor is an individual residing in Georgia. Taylor worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Taylor has been eligible to receive overtime pay under the



                                              1033
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1034 of 3128




FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3583. Plaintiff Leonard Taylor Jr is an individual residing in Georgia. Taylor Jr worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor Jr has been

eligible to receive overtime pay under the FLSA because Taylor Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3584. Plaintiff Mananna Terrell is an individual residing in Georgia. Terrell worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Terrell has been eligible to receive overtime pay under the

FLSA because Terrell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3585. Plaintiff Robert Thomas is an individual residing in Georgia. Thomas worked as a

delivery driver for FedEx in Georgia from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3586. Plaintiff Michelle Thomas is an individual residing in Georgia. Thomas worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing



                                              1034
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1035 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3587. Plaintiff Baruti Thomas is an individual residing in Georgia. Thomas worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3588. Plaintiff Romald Thomas is an individual residing in Georgia. Thomas worked as

a delivery driver for FedEx in Georgia and Florida from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Thomas

has been eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3589. Plaintiff Corey Thomas is an individual residing in Alabama. Thomas worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3590. Plaintiff Shuntel Thomas is an individual residing in Georgia. Thomas worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Thomas has been eligible to receive overtime pay



                                             1035
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1036 of 3128




under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3591. Plaintiff Terry Thomas is an individual residing in Georgia. Thomas worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3592. Plaintiff Jamal Thomas is an individual residing in Georgia. Thomas worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3593. Plaintiff Demetrius Thomas is an individual residing in Georgia. Thomas worked

as a delivery driver for FedEx in Georgia from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3594. Plaintiff Sydney Thompson is an individual residing in Georgia. Thompson

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             1036
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1037 of 3128




Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3595. Plaintiff Carlos Thompson is an individual residing in Georgia. Thompson

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3596. Plaintiff Dontray Thompson is an individual residing in Georgia. Thompson

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3597. Plaintiff Amirrah Thornley is an individual residing in Georgia. Thornley worked

as a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thornley has been

eligible to receive overtime pay under the FLSA because Thornley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3598. Plaintiff Sheldon Thrift is an individual residing in Georgia. Thrift worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx



                                              1037
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1038 of 3128




calls independent service providers. Thrift has been eligible to receive overtime pay under the

FLSA because Thrift has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3599. Plaintiff Curtis Trawick is an individual residing in Georgia. Trawick worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Trawick has been

eligible to receive overtime pay under the FLSA because Trawick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3600. Plaintiff Shawn Tribble Jr is an individual residing in Georgia. Tribble Jr worked

as a delivery driver for FedEx in Georgia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Tribble Jr has been

eligible to receive overtime pay under the FLSA because Tribble Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3601. Plaintiff Brandon Truesdell is an individual residing in Georgia. Truesdell worked

as a delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Truesdell has been

eligible to receive overtime pay under the FLSA because Truesdell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3602. Plaintiff Emmanuel Twum is an individual residing in Georgia. Twum worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that



                                              1038
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1039 of 3128




FedEx calls independent service providers. Twum has been eligible to receive overtime pay

under the FLSA because Twum has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3603. Plaintiff Joshua Tyson is an individual residing in Georgia. Tyson worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tyson has been

eligible to receive overtime pay under the FLSA because Tyson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3604. Plaintiff Gino Viteri is an individual residing in Florida. Viteri worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Viteri has been

eligible to receive overtime pay under the FLSA because Viteri has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3605. Plaintiff Willie Waddell is an individual residing in Georgia. Waddell worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Waddell has been

eligible to receive overtime pay under the FLSA because Waddell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3606. Plaintiff Rodney Walker is an individual residing in Georgia. Walker worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx



                                               1039
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1040 of 3128




calls independent service providers. Walker has been eligible to receive overtime pay under the

FLSA because Walker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3607. Plaintiff Keandra Walker is an individual residing in Georgia. Walker worked as a

delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3608. Plaintiff Misty Walker is an individual residing in Georgia. Walker worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3609. Plaintiff Stephen Walter is an individual residing in Georgia. Walter worked as a

delivery driver for FedEx in Georgia from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Walter has been

eligible to receive overtime pay under the FLSA because Walter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3610. Plaintiff Lisa Walthall is an individual residing in Georgia. Walthall worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed



                                              1040
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1041 of 3128




through intermediary entities that FedEx calls independent service providers. Walthall has been

eligible to receive overtime pay under the FLSA because Walthall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3611. Plaintiff Vallerie Walton is an individual residing in Georgia. Walton worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Walton has been eligible to receive overtime pay under the

FLSA because Walton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3612. Plaintiff Melvin Walton is an individual residing in Georgia. Walton worked as a

delivery driver for FedEx in Georgia from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Walton has been

eligible to receive overtime pay under the FLSA because Walton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3613. Plaintiff Canandas Ware is an individual residing in Georgia. Ware worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ware has been

eligible to receive overtime pay under the FLSA because Ware has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3614. Plaintiff Jethel Ware is an individual residing in Georgia. Ware worked as a

delivery driver for FedEx in Georgia from approximately 2002 to 2017 but was employed



                                              1041
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1042 of 3128




through intermediary entities that FedEx calls independent service providers. Ware has been

eligible to receive overtime pay under the FLSA because Ware has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3615. Plaintiff Anthony Warren is an individual residing in Georgia. Warren worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Warren has been

eligible to receive overtime pay under the FLSA because Warren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3616. Plaintiff Jason Warren is an individual residing in Alabama. Warren worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Warren has been

eligible to receive overtime pay under the FLSA because Warren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3617. Plaintiff Thabazz Warrington is an individual residing in Georgia. Warrington

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Warrington has been eligible to receive overtime pay under the FLSA because Warrington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             1042
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1043 of 3128




        3618. Plaintiff Gary Wash Jr. is an individual residing in Georgia. Wash Jr. worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wash Jr. has been

eligible to receive overtime pay under the FLSA because Wash Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3619. Plaintiff Nevada Washington is an individual residing in Georgia. Washington

worked as a delivery driver for FedEx in Georgia from approximately 2007 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3620. Plaintiff Kelvin Washington is an individual residing in Georgia. Washington

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3621. Plaintiff Nicholas Washington is an individual residing in Georgia. Washington

worked as a delivery driver for FedEx in Georgia from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has




                                              1043
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1044 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3622. Plaintiff Tommy Waters is an individual residing in Georgia. Waters worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Waters has been

eligible to receive overtime pay under the FLSA because Waters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3623. Plaintiff Shawanna Watson is an individual residing in Georgia. Watson worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3624. Plaintiff Christopher Welch is an individual residing in Georgia. Welch worked as

a delivery driver for FedEx in Georgia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Welch has been

eligible to receive overtime pay under the FLSA because Welch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3625. Plaintiff Jerome Wells is an individual residing in Georgia. Wells worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wells has been



                                              1044
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1045 of 3128




eligible to receive overtime pay under the FLSA because Wells has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3626. Plaintiff Lori Whisnant is an individual residing in Georgia. Whisnant worked as

a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Whisnant has been

eligible to receive overtime pay under the FLSA because Whisnant has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3627. Plaintiff Robert White is an individual residing in Georgia. White worked as a

delivery driver for FedEx in Georgia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3628. Plaintiff Tamara Wilkenson is an individual residing in Georgia. Wilkenson

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Wilkenson has been eligible to receive overtime pay under the FLSA because Wilkenson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3629. Plaintiff Onitara Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed



                                             1045
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1046 of 3128




through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3630. Plaintiff Aubrey Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia from approximately 1988 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3631. Plaintiff Kirkland Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3632. Plaintiff Keenan Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1046
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1047 of 3128




        3633. Plaintiff Brian Williams is an individual residing in Florida. Williams worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3634. Plaintiff Heyward Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3635. Plaintiff Juliette Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3636. Plaintiff Satori Williams is an individual residing in Georgia. Williams worked as

a delivery driver for FedEx in Georgia from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1047
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1048 of 3128




        3637. Plaintiff Sherman Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3638. Plaintiff Justin Williams is an individual residing in Georgia. Williams worked as

a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3639. Plaintiff Lamentha Williams is an individual residing in Georgia. Williams

worked as a delivery driver for FedEx in Georgia but was employed through intermediary

entities that FedEx calls independent service providers. Williams has been eligible to receive

overtime pay under the FLSA because Williams has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3640. Plaintiff Derrick Williams is an individual residing in Georgia. Williams worked

as a delivery driver for FedEx in Georgia but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3641. Plaintiff Franklin Williams Jr. is an individual residing in Georgia. Williams Jr.

worked as a delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was



                                               1048
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1049 of 3128




employed through intermediary entities that FedEx calls independent service providers. Williams

Jr. has been eligible to receive overtime pay under the FLSA because Williams Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        3642. Plaintiff Karl Wilson is an individual residing in Georgia. Wilson worked as a

delivery driver for FedEx in Georgia from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3643. Plaintiff Tonya Wilson is an individual residing in Georgia. Wilson worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3644. Plaintiff Terry Wilson is an individual residing in Georgia. Wilson worked as a

delivery driver for FedEx in Georgia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1049
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1050 of 3128




        3645. Plaintiff Reginald Wilson is an individual residing in Georgia. Wilson worked as

a delivery driver for FedEx in Georgia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3646. Plaintiff Tiffany Wingo is an individual residing in Georgia. Wingo worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wingo has been

eligible to receive overtime pay under the FLSA because Wingo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3647. Plaintiff Calvin Wise is an individual residing in Georgia. Wise worked as a

delivery driver for FedEx in Georgia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wise has been

eligible to receive overtime pay under the FLSA because Wise has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3648. Plaintiff Shartice Wise-Turner is an individual residing in Georgia. Wise-Turner

worked as a delivery driver for FedEx in Georgia from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Wise-

Turner has been eligible to receive overtime pay under the FLSA because Wise-Turner has




                                             1050
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1051 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3649. Plaintiff Kevin Wood is an individual residing in Georgia. Wood worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Wood has been eligible to receive overtime pay under the

FLSA because Wood has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3650. Plaintiff Terry Woodard is an individual residing in Texas. Woodard worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Woodard has been eligible to receive overtime pay under the

FLSA because Woodard has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3651. Plaintiff Joseph Wright is an individual residing in Georgia. Wright worked as a

delivery driver for FedEx in Georgia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3652. Plaintiff Jermaine Wright is an individual residing in Georgia. Wright worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Wright has been eligible to receive overtime pay under the

FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              1051
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1052 of 3128




        3653. Plaintiff Myles Yates is an individual residing in Georgia. Yates worked as a

delivery driver for FedEx in Georgia but was employed through intermediary entities that FedEx

calls independent service providers. Yates has been eligible to receive overtime pay under the

FLSA because Yates has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3654. Plaintiff Frazier Yearby is an individual residing in Georgia. Yearby worked as a

delivery driver for FedEx in Georgia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Yearby has been

eligible to receive overtime pay under the FLSA because Yearby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3655. Plaintiff Carlton Young Iii is an individual residing in Georgia. Young Iii worked

as a delivery driver for FedEx in Georgia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Young Iii has been

eligible to receive overtime pay under the FLSA because Young Iii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3656. Plaintiff Alyssa Bacon is an individual residing in Georgia. Bacon worked as a

delivery driver for FedEx in Guam from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bacon has been eligible to

receive overtime pay under the FLSA because Bacon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1052
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1053 of 3128




       3657. Plaintiff Alexander Estrada is an individual residing in Washington. Estrada

worked as a delivery driver for FedEx in Hawaii from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Estrada

has been eligible to receive overtime pay under the FLSA because Estrada has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3658. Plaintiff Michael Sexton is an individual residing in Arizona. Sexton worked as a

delivery driver for FedEx in Hawaii from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Sexton has been eligible to

receive overtime pay under the FLSA because Sexton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3659. Plaintiff John Toledo is an individual residing in Hawaii. Toledo worked as a

delivery driver for FedEx in Hawaii but was employed through intermediary entities that FedEx

calls independent service providers. Toledo has been eligible to receive overtime pay under the

FLSA because Toledo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3660. Plaintiff Scott Acklin is an individual residing in Idaho. Acklin worked as a

delivery driver for FedEx in Idaho from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Acklin has been eligible to

receive overtime pay under the FLSA because Acklin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3661. Plaintiff James Baker is an individual residing in Nevada. Baker worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx



                                              1053
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1054 of 3128




calls independent service providers. Baker has been eligible to receive overtime pay under the

FLSA because Baker has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3662. Plaintiff Tyler Barry is an individual residing in Idaho. Barry worked as a delivery

driver for FedEx in Idaho from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Barry has been eligible to

receive overtime pay under the FLSA because Barry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3663. Plaintiff Karen Braun is an individual residing in Idaho. Braun worked as a

delivery driver for FedEx in Idaho from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Braun has been eligible to

receive overtime pay under the FLSA because Braun has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3664. Plaintiff Andrew Burch is an individual residing in Idaho. Burch worked as a

delivery driver for FedEx in Idaho from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Burch has been eligible to

receive overtime pay under the FLSA because Burch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3665. Plaintiff Jose Castaneda is an individual residing in Idaho. Castaneda worked as a

delivery driver for FedEx in Idaho from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Castaneda has been eligible

to receive overtime pay under the FLSA because Castaneda has driven a vehicle weighing less




                                              1054
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1055 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3666. Plaintiff Jordan Clark is an individual residing in Idaho. Clark worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Clark has been eligible to receive overtime pay under the

FLSA because Clark has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3667. Plaintiff Dustin Clay is an individual residing in Idaho. Clay worked as a delivery

driver for FedEx in Idaho from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Clay has been eligible to

receive overtime pay under the FLSA because Clay has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3668. Plaintiff Tim Dawson is an individual residing in Idaho. Dawson worked as a

delivery driver for FedEx in Idaho and California but was employed through intermediary

entities that FedEx calls independent service providers. Dawson has been eligible to receive

overtime pay under the FLSA because Dawson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3669. Plaintiff Michael Delatorre is an individual residing in Ohio. Delatorre worked as

a delivery driver for FedEx in Idaho from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Delatorre has been

eligible to receive overtime pay under the FLSA because Delatorre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1055
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1056 of 3128




        3670. Plaintiff Christopher Edwards is an individual residing in Idaho. Edwards worked

as a delivery driver for FedEx in Idaho from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Edwards has been

eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3671. Plaintiff Austin Emry is an individual residing in Idaho. Emry worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Emry has been eligible to receive overtime pay under the

FLSA because Emry has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3672. Plaintiff Andrew Farnes is an individual residing in Idaho. Farnes worked as a

delivery driver for FedEx in Idaho from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Farnes has been eligible to

receive overtime pay under the FLSA because Farnes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3673. Plaintiff Jacqueline Ferree is an individual residing in Idaho. Ferree worked as a

delivery driver for FedEx in Idaho from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ferree has been eligible to

receive overtime pay under the FLSA because Ferree has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3674. Plaintiff Scott Garner is an individual residing in Idaho. Garner worked as a

delivery driver for FedEx in Idaho from approximately 2004 to 2019 but was employed through



                                              1056
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1057 of 3128




intermediary entities that FedEx calls independent service providers. Garner has been eligible to

receive overtime pay under the FLSA because Garner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3675. Plaintiff Nicholas Hieb is an individual residing in Idaho. Hieb worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Hieb has been eligible to receive overtime pay under the

FLSA because Hieb has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3676. Plaintiff Storm Huaute is an individual residing in Montana. Huaute worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Huaute has been eligible to receive overtime pay under the

FLSA because Huaute has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3677. Plaintiff James Huml is an individual residing in Idaho. Huml worked as a

delivery driver for FedEx in Idaho from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Huml has been eligible to

receive overtime pay under the FLSA because Huml has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3678. Plaintiff Tyler Johnson is an individual residing in Idaho. Johnson worked as a

delivery driver for FedEx in Idaho from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1057
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1058 of 3128




       3679. Plaintiff Ryan Johnson is an individual residing in Idaho. Johnson worked as a

delivery driver for FedEx in Idaho from approximately 2011 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3680. Plaintiff Sara Kapsimalis is an individual residing in Idaho. Kapsimalis worked as

a delivery driver for FedEx in Idaho from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kapsimalis has

been eligible to receive overtime pay under the FLSA because Kapsimalis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3681. Plaintiff William Kerr is an individual residing in Washington. Kerr worked as a

delivery driver for FedEx in Idaho from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kerr has been eligible to

receive overtime pay under the FLSA because Kerr has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3682. Plaintiff James Kluss is an individual residing in Idaho. Kluss worked as a

delivery driver for FedEx in Idaho from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Kluss has been eligible to

receive overtime pay under the FLSA because Kluss has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3683. Plaintiff Daniel Lenz is an individual residing in Idaho. Lenz worked as a delivery

driver for FedEx in Idaho from approximately 2017 to 2024 but was employed through



                                              1058
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1059 of 3128




intermediary entities that FedEx calls independent service providers. Lenz has been eligible to

receive overtime pay under the FLSA because Lenz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3684. Plaintiff Ivan Mamula is an individual residing in Idaho. Mamula worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Mamula has been eligible to receive overtime pay under the

FLSA because Mamula has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3685. Plaintiff Shawn Maw is an individual residing in Idaho. Maw worked as a

delivery driver for FedEx in Idaho from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Maw has been eligible to

receive overtime pay under the FLSA because Maw has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3686. Plaintiff Isaac Miller is an individual residing in Kansas. Miller worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Miller has been eligible to receive overtime pay under the

FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3687. Plaintiff Todd Mills is an individual residing in Michigan. Mills worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Mills has been eligible to receive overtime pay under the

FLSA because Mills has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              1059
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1060 of 3128




       3688. Plaintiff Eric Neely is an individual residing in Idaho. Neely worked as a delivery

driver for FedEx in Idaho from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Neely has been eligible to

receive overtime pay under the FLSA because Neely has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3689. Plaintiff Gabrielle Nilson is an individual residing in Idaho. Nilson worked as a

delivery driver for FedEx in Idaho from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Nilson has been eligible to

receive overtime pay under the FLSA because Nilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3690. Plaintiff Jared Rasor is an individual residing in Idaho. Rasor worked as a

delivery driver for FedEx in Idaho from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rasor has been eligible to

receive overtime pay under the FLSA because Rasor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3691. Plaintiff Steven Robinette is an individual residing in Idaho. Robinette worked as

a delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Robinette has been eligible to receive overtime pay under

the FLSA because Robinette has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3692. Plaintiff Hope Rovig is an individual residing in Idaho. Rovig worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Rovig has been eligible to receive overtime pay under the



                                              1060
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1061 of 3128




FLSA because Rovig has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3693. Plaintiff Shelby Shade is an individual residing in Idaho. Shade worked as a

delivery driver for FedEx in Idaho from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Shade has been eligible to

receive overtime pay under the FLSA because Shade has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3694. Plaintiff Steve Spindler is an individual residing in Idaho. Spindler worked as a

delivery driver for FedEx in Idaho from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Spindler has been eligible

to receive overtime pay under the FLSA because Spindler has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3695. Plaintiff Traci Swanson is an individual residing in Idaho. Swanson worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Swanson has been eligible to receive overtime pay under the

FLSA because Swanson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3696. Plaintiff Christi Tedder is an individual residing in Idaho. Tedder worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Tedder has been eligible to receive overtime pay under the

FLSA because Tedder has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              1061
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1062 of 3128




       3697. Plaintiff Juan Tena is an individual residing in Washington. Tena worked as a

delivery driver for FedEx in Idaho from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Tena has been eligible to

receive overtime pay under the FLSA because Tena has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3698. Plaintiff Manuel Velasquez is an individual residing in Idaho. Velasquez worked

as a delivery driver for FedEx in Idaho from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Velasquez has been

eligible to receive overtime pay under the FLSA because Velasquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3699. Plaintiff Tim Weber is an individual residing in Idaho. Weber worked as a

delivery driver for FedEx in Idaho from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Weber has been eligible to

receive overtime pay under the FLSA because Weber has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3700. Plaintiff Cristopher Wolf is an individual residing in Idaho. Wolf worked as a

delivery driver for FedEx in Idaho from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wolf has been eligible to

receive overtime pay under the FLSA because Wolf has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3701. Plaintiff Braiden Wright is an individual residing in Idaho. Wright worked as a

delivery driver for FedEx in Idaho from approximately 2013 to 2017 but was employed through



                                              1062
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1063 of 3128




intermediary entities that FedEx calls independent service providers. Wright has been eligible to

receive overtime pay under the FLSA because Wright has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3702. Plaintiff Jim Zahiralis is an individual residing in Idaho. Zahiralis worked as a

delivery driver for FedEx in Idaho but was employed through intermediary entities that FedEx

calls independent service providers. Zahiralis has been eligible to receive overtime pay under the

FLSA because Zahiralis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3703. Plaintiff David Abbott is an individual residing in Illinois. Abbott worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Abbott has been eligible to

receive overtime pay under the FLSA because Abbott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3704. Plaintiff Abdon Abril Cuellar is an individual residing in Illinois. Abril Cuellar

worked as a delivery driver for FedEx in Illinois but was employed through intermediary entities

that FedEx calls independent service providers. Abril Cuellar has been eligible to receive

overtime pay under the FLSA because Abril Cuellar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3705. Plaintiff Laurie Acuff is an individual residing in Illinois. Acuff worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Acuff has been eligible to receive overtime pay under the

FLSA because Acuff has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              1063
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1064 of 3128




       3706. Plaintiff Josh Adams is an individual residing in Illinois. Adams worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Adams has been eligible to

receive overtime pay under the FLSA because Adams has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3707. Plaintiff Bernard Adams Iv is an individual residing in Illinois. Adams Iv worked

as a delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Adams Iv has been

eligible to receive overtime pay under the FLSA because Adams Iv has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3708. Plaintiff Rick Addis is an individual residing in Illinois. Addis worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Addis has been eligible to receive overtime pay under the

FLSA because Addis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3709. Plaintiff Patricia Adkins is an individual residing in Illinois. Adkins worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Adkins has been eligible to

receive overtime pay under the FLSA because Adkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3710. Plaintiff Syed Ahmed is an individual residing in Illinois. Ahmed worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed through



                                              1064
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1065 of 3128




intermediary entities that FedEx calls independent service providers. Ahmed has been eligible to

receive overtime pay under the FLSA because Ahmed has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3711. Plaintiff Abiodun Akande is an individual residing in Illinois. Akande worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Akande has been eligible to receive overtime pay under the

FLSA because Akande has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3712. Plaintiff Ali Alabboodi is an individual residing in Illinois. Alabboodi worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alabboodi has been

eligible to receive overtime pay under the FLSA because Alabboodi has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3713. Plaintiff Jesse Alcala is an individual residing in Illinois. Alcala worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Alcala has been eligible to

receive overtime pay under the FLSA because Alcala has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3714. Plaintiff Jay Allabaugh is an individual residing in Illinois. Allabaugh worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Allabaugh has been eligible

to receive overtime pay under the FLSA because Allabaugh has driven a vehicle weighing less



                                              1065
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 1066 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3715. Plaintiff Jake Allen is an individual residing in Illinois. Allen worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Allen has been eligible to

receive overtime pay under the FLSA because Allen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3716. Plaintiff Jermaine Allen is an individual residing in Illinois. Allen worked as a

delivery driver for FedEx in Illinois from approximately 2002 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Allen has been eligible to

receive overtime pay under the FLSA because Allen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3717. Plaintiff Frederick Ansah is an individual residing in Illinois. Ansah worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ansah has been eligible to

receive overtime pay under the FLSA because Ansah has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3718. Plaintiff Patrick Armstrong is an individual residing in Illinois. Armstrong

worked as a delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Armstrong has been eligible to receive overtime pay under the FLSA because Armstrong has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               1066
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1067 of 3128




        3719. Plaintiff Tariq Ashkar is an individual residing in Illinois. Ashkar worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ashkar has been eligible to

receive overtime pay under the FLSA because Ashkar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3720. Plaintiff Natasha Ausmus is an individual residing in Wisconsin. Ausmus worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ausmus has been

eligible to receive overtime pay under the FLSA because Ausmus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3721. Plaintiff Andrea Austin is an individual residing in Illinois. Austin worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Austin has been eligible to receive overtime pay under the

FLSA because Austin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3722. Plaintiff Talona Avant is an individual residing in Illinois. Avant worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Avant has been eligible to

receive overtime pay under the FLSA because Avant has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3723. Plaintiff Briana Avant is an individual residing in Illinois. Avant worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed through



                                               1067
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1068 of 3128




intermediary entities that FedEx calls independent service providers. Avant has been eligible to

receive overtime pay under the FLSA because Avant has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3724. Plaintiff Edgar Avelar is an individual residing in Illinois. Avelar worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Avelar has been eligible to

receive overtime pay under the FLSA because Avelar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3725. Plaintiff Martin Avila is an individual residing in Illinois. Avila worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Avila has been eligible to

receive overtime pay under the FLSA because Avila has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3726. Plaintiff Secilly Aviles is an individual residing in Wisconsin. Aviles worked as a

delivery driver for FedEx in Illinois from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Aviles has been eligible to

receive overtime pay under the FLSA because Aviles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3727. Plaintiff Steven Baker is an individual residing in Illinois. Baker worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1068
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1069 of 3128




        3728. Plaintiff Penny Bale is an individual residing in Illinois. Bale worked as a delivery

driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bale has been eligible to

receive overtime pay under the FLSA because Bale has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3729. Plaintiff Ted Barabas is an individual residing in Illinois. Barabas worked as a

delivery driver for FedEx in Illinois from approximately 1997 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Barabas has been eligible to

receive overtime pay under the FLSA because Barabas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3730. Plaintiff Juan Barcenas is an individual residing in Illinois. Barcenas worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Barcenas has been eligible

to receive overtime pay under the FLSA because Barcenas has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3731. Plaintiff Cristian Barraza is an individual residing in Illinois. Barraza worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Barraza has been eligible to

receive overtime pay under the FLSA because Barraza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3732. Plaintiff Wesley Bell is an individual residing in Illinois. Bell worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2019 but was employed through



                                               1069
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 1070 of 3128




intermediary entities that FedEx calls independent service providers. Bell has been eligible to

receive overtime pay under the FLSA because Bell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3733. Plaintiff Eric Bell is an individual residing in Illinois. Bell worked as a delivery

driver for FedEx in Illinois from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Bell has been eligible to

receive overtime pay under the FLSA because Bell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3734. Plaintiff Quentin Bell is an individual residing in Illinois. Bell worked as a

delivery driver for FedEx in Illinois from approximately 2009 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Bell has been eligible to

receive overtime pay under the FLSA because Bell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3735. Plaintiff Austin Bill is an individual residing in Texas. Bill worked as a delivery

driver for FedEx in Illinois and Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bill has been

eligible to receive overtime pay under the FLSA because Bill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3736. Plaintiff Justin Black is an individual residing in Georgia. Black worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Black has been eligible to




                                                1070
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1071 of 3128




receive overtime pay under the FLSA because Black has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3737. Plaintiff Michael Blair is an individual residing in Illinois. Blair worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Blair has been eligible to

receive overtime pay under the FLSA because Blair has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3738. Plaintiff Nelson Blanco is an individual residing in Illinois. Blanco worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Blanco has been eligible to

receive overtime pay under the FLSA because Blanco has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3739. Plaintiff Bradley Bogard is an individual residing in Illinois. Bogard worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Bogard has been eligible to

receive overtime pay under the FLSA because Bogard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3740. Plaintiff Japhus Bondurant is an individual residing in Illinois. Bondurant worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bondurant has been

eligible to receive overtime pay under the FLSA because Bondurant has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               1071
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1072 of 3128




        3741. Plaintiff Shannon Bortner is an individual residing in Illinois. Bortner worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bortner has been eligible to

receive overtime pay under the FLSA because Bortner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3742. Plaintiff Lee Boscacci is an individual residing in Illinois. Boscacci worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Boscacci has been eligible to receive overtime pay under the

FLSA because Boscacci has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3743. Plaintiff Page Bouldin is an individual residing in Illinois. Bouldin worked as a

delivery driver for FedEx in Illinois from approximately 1992 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Bouldin has been eligible to

receive overtime pay under the FLSA because Bouldin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3744. Plaintiff Walter Bowman is an individual residing in Illinois. Bowman worked as

a delivery driver for FedEx in Illinois from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bowman has been

eligible to receive overtime pay under the FLSA because Bowman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3745. Plaintiff Demoun Boykin is an individual residing in Illinois. Boykin worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through



                                              1072
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1073 of 3128




intermediary entities that FedEx calls independent service providers. Boykin has been eligible to

receive overtime pay under the FLSA because Boykin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3746. Plaintiff Levi Bridges is an individual residing in Florida. Bridges worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bridges has been eligible to

receive overtime pay under the FLSA because Bridges has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3747. Plaintiff Jeffreyo Britten is an individual residing in Illinois. Britten worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Britten has been eligible to

receive overtime pay under the FLSA because Britten has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3748. Plaintiff Shawn Knieling is an individual residing in Illinois. Brooks worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3749. Plaintiff Rashaun Griffin is an individual residing in Illinois. Brooks worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               1073
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1074 of 3128




       3750. Plaintiff Shatara Brooks is an individual residing in Indiana. Brooks worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3751. Plaintiff Kiwand Brown is an individual residing in Illinois. Brown worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3752. Plaintiff Gabriel Brown is an individual residing in Missouri. Brown worked as a

delivery driver for FedEx in Illinois from approximately 2005 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3753. Plaintiff Freda Brown is an individual residing in Illinois. Brown worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3754. Plaintiff Jeremy Brown is an individual residing in Illinois. Brown worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Brown has been eligible to receive overtime pay under the



                                              1074
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1075 of 3128




FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3755. Plaintiff Ophelia Brown is an individual residing in Illinois. Brown worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3756. Plaintiff Monique Byrd is an individual residing in Illinois. Byrd worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Byrd has been eligible to

receive overtime pay under the FLSA because Byrd has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3757. Plaintiff Lorenzo Cabello is an individual residing in Illinois. Cabello worked as a

delivery driver for FedEx in Illinois from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Cabello has been eligible to

receive overtime pay under the FLSA because Cabello has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3758. Plaintiff Adam Calabrese is an individual residing in Iowa. Calabrese worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Calabrese has been eligible

to receive overtime pay under the FLSA because Calabrese has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1075
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1076 of 3128




       3759. Plaintiff Adam Callard is an individual residing in Colorado. Callard worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Callard has been eligible to

receive overtime pay under the FLSA because Callard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3760. Plaintiff Deborah Campbell is an individual residing in Illinois. Campbell worked

as a delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Campbell has been

eligible to receive overtime pay under the FLSA because Campbell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3761. Plaintiff Albert Cansino is an individual residing in Illinois. Cansino worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Cansino has been eligible to

receive overtime pay under the FLSA because Cansino has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3762. Plaintiff Jose Carillo is an individual residing in Illinois. Carillo worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Carillo has been eligible to

receive overtime pay under the FLSA because Carillo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3763. Plaintiff Daniel Carini is an individual residing in Illinois. Carini worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx



                                               1076
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1077 of 3128




calls independent service providers. Carini has been eligible to receive overtime pay under the

FLSA because Carini has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3764. Plaintiff Latrice Carr is an individual residing in Illinois. Carr worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Carr has been eligible to

receive overtime pay under the FLSA because Carr has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3765. Plaintiff Jessica Shupe is an individual residing in Illinois. Carrasco worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Carrasco has been eligible

to receive overtime pay under the FLSA because Carrasco has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3766. Plaintiff Clarence Williams Jr. is an individual residing in Illinois. Carrasco

worked as a delivery driver for FedEx in Illinois from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Carrasco

has been eligible to receive overtime pay under the FLSA because Carrasco has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3767. Plaintiff Cartrese Carswell is an individual residing in Illinois. Carswell worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Carswell has been eligible to receive overtime pay



                                               1077
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1078 of 3128




under the FLSA because Carswell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       3768. Plaintiff Tennille Hardy is an individual residing in Illinois. Carter worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Carter has been eligible to receive overtime pay under the

FLSA because Carter has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3769. Plaintiff Jorge Casiano is an individual residing in Illinois. Casiano worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Casiano has been eligible to

receive overtime pay under the FLSA because Casiano has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3770. Plaintiff Joel Cazarez is an individual residing in Illinois. Cazarez worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cazarez has been eligible to

receive overtime pay under the FLSA because Cazarez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3771. Plaintiff Jeremy Ceasar is an individual residing in Illinois. Ceasar worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ceasar has been eligible to

receive overtime pay under the FLSA because Ceasar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1078
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1079 of 3128




        3772. Plaintiff Daniel Celske is an individual residing in Illinois. Celske worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Celske has been eligible to

receive overtime pay under the FLSA because Celske has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3773. Plaintiff John Cenobio is an individual residing in Illinois. Cenobio worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Cenobio has been eligible

to receive overtime pay under the FLSA because Cenobio has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3774. Plaintiff Griselda Cervantes is an individual residing in Illinois. Cervantes worked

as a delivery driver for FedEx in Illinois from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cervantes has been

eligible to receive overtime pay under the FLSA because Cervantes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3775. Plaintiff Fatima Champion is an individual residing in Illinois. Champion worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Champion has been eligible to receive overtime pay

under the FLSA because Champion has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.




                                               1079
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1080 of 3128




       3776. Plaintiff Brian Chapa is an individual residing in Illinois. Chapa worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Chapa has been eligible to

receive overtime pay under the FLSA because Chapa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3777. Plaintiff Ty Chasteen is an individual residing in Illinois. Chasteen worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Chasteen has been eligible to receive overtime pay under the

FLSA because Chasteen has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3778. Plaintiff Christos Choochkeh is an individual residing in Illinois. Choochkeh

worked as a delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Choochkeh has been eligible to receive overtime pay under the FLSA because Choochkeh has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3779. Plaintiff Fahad Choudhry is an individual residing in Illinois. Choudhry worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Choudhry has been eligible to receive overtime pay

under the FLSA because Choudhry has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       3780. Plaintiff Marcin Chynek is an individual residing in Illinois. Chynek worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2018 but was employed through



                                              1080
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1081 of 3128




intermediary entities that FedEx calls independent service providers. Chynek has been eligible to

receive overtime pay under the FLSA because Chynek has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3781. Plaintiff Ian Clark is an individual residing in Texas. Clark worked as a delivery

driver for FedEx in Illinois but was employed through intermediary entities that FedEx calls

independent service providers. Clark has been eligible to receive overtime pay under the FLSA

because Clark has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3782. Plaintiff Arwon Clark is an individual residing in Indiana. Clark worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3783. Plaintiff Rashaad Clark is an individual residing in Illinois. Clark worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3784. Plaintiff Matthew Claudio is an individual residing in Illinois. Claudio worked as

a delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Claudio has been

eligible to receive overtime pay under the FLSA because Claudio has driven a vehicle weighing




                                              1081
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1082 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3785. Plaintiff Marty Clements is an individual residing in Missouri. Clements worked

as a delivery driver for FedEx in Illinois from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Clements has been

eligible to receive overtime pay under the FLSA because Clements has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3786. Plaintiff Devrund Cleveland is an individual residing in Illinois. Cleveland

worked as a delivery driver for FedEx in Illinois but was employed through intermediary entities

that FedEx calls independent service providers. Cleveland has been eligible to receive overtime

pay under the FLSA because Cleveland has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        3787. Plaintiff Matthew Coleman is an individual residing in Wisconsin. Coleman

worked as a delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Coleman

has been eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3788. Plaintiff Troy Collins is an individual residing in Illinois. Collins worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Collins has been eligible to




                                               1082
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1083 of 3128




receive overtime pay under the FLSA because Collins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3789. Plaintiff Rhonda Collins is an individual residing in Missouri. Collins worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Collins has been eligible to

receive overtime pay under the FLSA because Collins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3790. Plaintiff Britteny Cook is an individual residing in Illinois. Cook worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Cook has been eligible to

receive overtime pay under the FLSA because Cook has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3791. Plaintiff Aaron Cooney is an individual residing in Illinois. Cooney worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Cooney has been eligible to receive overtime pay under the

FLSA because Cooney has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3792. Plaintiff Michelle Cooper is an individual residing in Illinois. Cooper worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Cooper has been eligible to

receive overtime pay under the FLSA because Cooper has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1083
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1084 of 3128




       3793. Plaintiff Jordan Cooper is an individual residing in Illinois. Cooper worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Cooper has been eligible to

receive overtime pay under the FLSA because Cooper has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3794. Plaintiff Donell Cotton is an individual residing in Missouri. Cotton worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cotton has been eligible to

receive overtime pay under the FLSA because Cotton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3795. Plaintiff Dinell Cotton is an individual residing in Missouri. Cotton worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Cotton has been eligible to

receive overtime pay under the FLSA because Cotton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3796. Plaintiff Perry Crawfore is an individual residing in Missouri. Crawfore worked

as a delivery driver for FedEx in Illinois and Missouri but was employed through intermediary

entities that FedEx calls independent service providers. Crawfore has been eligible to receive

overtime pay under the FLSA because Crawfore has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3797. Plaintiff Kristi Crosby is an individual residing in Illinois. Crosby worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Crosby has been eligible to



                                              1084
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 1085 of 3128




receive overtime pay under the FLSA because Crosby has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3798. Plaintiff Ryan Crowell is an individual residing in Illinois. Crowell worked as a

delivery driver for FedEx in Illinois from approximately 2004 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Crowell has been eligible to

receive overtime pay under the FLSA because Crowell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3799. Plaintiff Christopher Cruz is an individual residing in Indiana. Cruz worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Cruz has been eligible to receive overtime pay under the

FLSA because Cruz has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3800. Plaintiff Lutrell Curtis is an individual residing in Illinois. Curtis worked as a

delivery driver for FedEx in Illinois from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Curtis has been eligible to

receive overtime pay under the FLSA because Curtis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3801. Plaintiff Sierra Davis is an individual residing in Illinois. Davis worked as a

delivery driver for FedEx in Illinois and Missouri from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Davis

has been eligible to receive overtime pay under the FLSA because Davis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               1085
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1086 of 3128




       3802. Plaintiff Jaylin Davis is an individual residing in Illinois. Davis worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3803. Plaintiff Devin Davis is an individual residing in Iowa. Davis worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3804. Plaintiff Octavia Davis is an individual residing in Illinois. Davis worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3805. Plaintiff Christopher Davis is an individual residing in Illinois. Davis worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3806. Plaintiff Durell Dawson is an individual residing in Illinois. Dawson worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Dawson has been eligible to receive overtime pay under the



                                              1086
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 1087 of 3128




FLSA because Dawson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3807. Plaintiff Yolanda Deleo is an individual residing in Illinois. Deleo worked as a

delivery driver for FedEx in Illinois from approximately 2004 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Deleo has been eligible to

receive overtime pay under the FLSA because Deleo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3808. Plaintiff Corey Denny is an individual residing in Illinois. Denny worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Denny has been eligible to receive overtime pay under the

FLSA because Denny has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3809. Plaintiff Zachary Derer is an individual residing in Illinois. Derer worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Derer has been eligible to

receive overtime pay under the FLSA because Derer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3810. Plaintiff Josh Dill is an individual residing in Illinois. Dill worked as a delivery

driver for FedEx in Illinois from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dill has been eligible to

receive overtime pay under the FLSA because Dill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1087
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 1088 of 3128




       3811. Plaintiff Jarrell Dillard is an individual residing in Illinois. Dillard worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Dillard has been eligible to

receive overtime pay under the FLSA because Dillard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3812. Plaintiff Kenny Dillon is an individual residing in Illinois. Dillon worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dillon has been eligible to

receive overtime pay under the FLSA because Dillon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3813. Plaintiff Jeremy Dixon is an individual residing in Illinois. Dixon worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dixon has been eligible to

receive overtime pay under the FLSA because Dixon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3814. Plaintiff Charles Dobbs is an individual residing in Illinois. Dobbs worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dobbs has been eligible to

receive overtime pay under the FLSA because Dobbs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3815. Plaintiff Timothy Dolan is an individual residing in Illinois. Dolan worked as a

delivery driver for FedEx in Illinois from approximately 2023 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dolan has been eligible to



                                               1088
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1089 of 3128




receive overtime pay under the FLSA because Dolan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3816. Plaintiff Donre Domio is an individual residing in Illinois. Domio worked as a

delivery driver for FedEx in Illinois from approximately 2010 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Domio has been eligible to

receive overtime pay under the FLSA because Domio has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3817. Plaintiff Emanuel Dondle is an individual residing in Indiana. Dondle worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Dondle has been eligible to receive overtime pay under the

FLSA because Dondle has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3818. Plaintiff Ruthie Donson is an individual residing in Illinois. Donson worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Donson has been eligible to

receive overtime pay under the FLSA because Donson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3819. Plaintiff Andrea Dryoel Baker is an individual residing in Iowa. Dryoel Baker

worked as a delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Dryoel

Baker has been eligible to receive overtime pay under the FLSA because Dryoel Baker has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1089
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1090 of 3128




        3820. Plaintiff Raeshel Duckworth is an individual residing in Illinois. Duckworth

worked as a delivery driver for FedEx in Illinois but was employed through intermediary entities

that FedEx calls independent service providers. Duckworth has been eligible to receive overtime

pay under the FLSA because Duckworth has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        3821. Plaintiff Krzysztof Duda is an individual residing in Illinois. Duda worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Duda has been eligible to

receive overtime pay under the FLSA because Duda has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3822. Plaintiff Harold Dunigan is an individual residing in Illinois. Dunigan worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dunigan has been eligible

to receive overtime pay under the FLSA because Dunigan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3823. Plaintiff Bradley Easton is an individual residing in Illinois. Easton worked as a

delivery driver for FedEx in Illinois from approximately 2006 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Easton has been eligible to

receive overtime pay under the FLSA because Easton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3824. Plaintiff Craig Eklund is an individual residing in Illinois. Eklund worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through



                                               1090
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1091 of 3128




intermediary entities that FedEx calls independent service providers. Eklund has been eligible to

receive overtime pay under the FLSA because Eklund has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3825. Plaintiff George Enchev is an individual residing in Illinois. Enchev worked as a

delivery driver for FedEx in Illinois from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Enchev has been eligible to

receive overtime pay under the FLSA because Enchev has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3826. Plaintiff John Epperson is an individual residing in Colorado. Epperson worked as

a delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Epperson has been

eligible to receive overtime pay under the FLSA because Epperson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3827. Plaintiff Miquel Evans is an individual residing in Illinois. Evans worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Evans has been eligible to receive overtime pay under the

FLSA because Evans has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3828. Plaintiff Jeffrey Fabrizio is an individual residing in Illinois. Fabrizio worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Fabrizio has been eligible

to receive overtime pay under the FLSA because Fabrizio has driven a vehicle weighing less



                                               1091
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1092 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3829. Plaintiff Mark Farmer is an individual residing in Illinois. Farmer worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Farmer has been eligible to

receive overtime pay under the FLSA because Farmer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3830. Plaintiff Lamont Ferguson is an individual residing in Illinois. Ferguson worked

as a delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ferguson has been

eligible to receive overtime pay under the FLSA because Ferguson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3831. Plaintiff Albert Figura is an individual residing in Illinois. Figura worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Figura has been eligible to receive overtime pay under the

FLSA because Figura has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3832. Plaintiff Ivory Finley is an individual residing in Illinois. Finley worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Finley has been eligible to

receive overtime pay under the FLSA because Finley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               1092
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1093 of 3128




        3833. Plaintiff Rodger Fleming is an individual residing in Illinois. Fleming worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Fleming has been eligible

to receive overtime pay under the FLSA because Fleming has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3834. Plaintiff Christopher Foxworth is an individual residing in Illinois. Foxworth

worked as a delivery driver for FedEx in Illinois and Missouri from approximately 2020 to 2023

but was employed through intermediary entities that FedEx calls independent service providers.

Foxworth has been eligible to receive overtime pay under the FLSA because Foxworth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3835. Plaintiff Bryant Franklin is an individual residing in Illinois. Franklin worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Franklin has been eligible to receive overtime pay under the

FLSA because Franklin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3836. Plaintiff John Frazier is an individual residing in Illinois. Frazier worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Frazier has been eligible to

receive overtime pay under the FLSA because Frazier has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1093
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 1094 of 3128




        3837. Plaintiff John Friedman is an individual residing in Illinois. Friedman worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Friedman has been eligible

to receive overtime pay under the FLSA because Friedman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3838. Plaintiff Christopher Friedrich is an individual residing in Illinois. Friedrich

worked as a delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Friedrich

has been eligible to receive overtime pay under the FLSA because Friedrich has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3839. Plaintiff Romell Funches is an individual residing in Illinois. Funches worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Funches has been eligible

to receive overtime pay under the FLSA because Funches has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3840. Plaintiff Paul Funovits is an individual residing in Illinois. Funovits worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Funovits has been eligible

to receive overtime pay under the FLSA because Funovits has driven a vehicle weighing less




                                                1094
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1095 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3841. Plaintiff Trey Garland is an individual residing in Illinois. Garland worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Garland has been eligible to receive overtime pay under the

FLSA because Garland has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3842. Plaintiff Tamara Gelsinger is an individual residing in Illinois. Gelsinger worked

as a delivery driver for FedEx in Illinois from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gelsinger has been

eligible to receive overtime pay under the FLSA because Gelsinger has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3843. Plaintiff Deante George is an individual residing in Illinois. George worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. George has been eligible to

receive overtime pay under the FLSA because George has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3844. Plaintiff Darren Gerber is an individual residing in Missouri. Gerber worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Gerber has been eligible to

receive overtime pay under the FLSA because Gerber has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1095
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1096 of 3128




        3845. Plaintiff Daniel Gesell is an individual residing in Illinois. Gesell worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Gesell has been eligible to

receive overtime pay under the FLSA because Gesell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3846. Plaintiff Jason Giese is an individual residing in Illinois. Giese worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Giese has been eligible to

receive overtime pay under the FLSA because Giese has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3847. Plaintiff Andrew Giles is an individual residing in Illinois. Giles worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Giles has been eligible to receive overtime pay under the

FLSA because Giles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3848. Plaintiff Terrance Gillespie is an individual residing in Illinois. Gillespie worked

as a delivery driver for FedEx in Illinois from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gillespie has been

eligible to receive overtime pay under the FLSA because Gillespie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3849. Plaintiff Samuel Gilly is an individual residing in Illinois. Gilly worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through



                                               1096
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1097 of 3128




intermediary entities that FedEx calls independent service providers. Gilly has been eligible to

receive overtime pay under the FLSA because Gilly has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3850. Plaintiff Goranco Gjeorgievski is an individual residing in Illinois. Gjeorgievski

worked as a delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Gjeorgievski has been eligible to receive overtime pay under the FLSA because Gjeorgievski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3851. Plaintiff Dixie Goeringer is an individual residing in Illinois. Goeringer worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Goeringer has been

eligible to receive overtime pay under the FLSA because Goeringer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3852. Plaintiff Omari Golden is an individual residing in Illinois. Golden worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Golden has been eligible to

receive overtime pay under the FLSA because Golden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3853. Plaintiff Noel Gonzalez is an individual residing in Illinois. Gonzalez worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Gonzalez has been eligible to receive overtime pay under the



                                               1097
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1098 of 3128




FLSA because Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3854. Plaintiff Ryan Grand is an individual residing in Illinois. Grand worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Grand has been eligible to

receive overtime pay under the FLSA because Grand has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3855. Plaintiff Kevin Gray is an individual residing in Illinois. Gray worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gray has been eligible to

receive overtime pay under the FLSA because Gray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3856. Plaintiff Lyvell Grays is an individual residing in Illinois. Grays worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Grays has been eligible to

receive overtime pay under the FLSA because Grays has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3857. Plaintiff Devi Greer is an individual residing in Illinois. Greer worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Greer has been eligible to

receive overtime pay under the FLSA because Greer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1098
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1099 of 3128




        3858. Plaintiff Marcus Greer is an individual residing in Illinois. Greer worked as a

delivery driver for FedEx in Illinois from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Greer has been eligible to

receive overtime pay under the FLSA because Greer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3859. Plaintiff Thomas Gregory is an individual residing in Illinois. Gregory worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gregory has been

eligible to receive overtime pay under the FLSA because Gregory has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3860. Plaintiff Martin Brown is an individual residing in Illinois. Griffin worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Griffin has been eligible to

receive overtime pay under the FLSA because Griffin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3861. Plaintiff Corey Griffin is an individual residing in Illinois. Griffin worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Griffin has been eligible to

receive overtime pay under the FLSA because Griffin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3862. Plaintiff Larry Gruhn is an individual residing in Illinois. Gruhn worked as a

delivery driver for FedEx in Illinois from approximately 2008 to 2016 but was employed through



                                               1099
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1100 of 3128




intermediary entities that FedEx calls independent service providers. Gruhn has been eligible to

receive overtime pay under the FLSA because Gruhn has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3863. Plaintiff Albert Grzyb is an individual residing in Illinois. Grzyb worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Grzyb has been eligible to

receive overtime pay under the FLSA because Grzyb has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3864. Plaintiff George Guerrero is an individual residing in Texas. Guerrero worked as

a delivery driver for FedEx in Illinois from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Guerrero has been

eligible to receive overtime pay under the FLSA because Guerrero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3865. Plaintiff Deon Hall is an individual residing in Illinois. Hall worked as a delivery

driver for FedEx in Illinois from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3866. Plaintiff Tayseer Hamdan is an individual residing in Illinois. Hamdan worked as

a delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hamdan has been

eligible to receive overtime pay under the FLSA because Hamdan has driven a vehicle weighing



                                               1100
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1101 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3867. Plaintiff Sidney Hardy is an individual residing in Iowa. Hardy worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hardy has been eligible to

receive overtime pay under the FLSA because Hardy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3868. Plaintiff Dennis Harlan is an individual residing in Illinois. Harlan worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Harlan has been eligible to receive overtime pay under the

FLSA because Harlan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3869. Plaintiff Bodi Harman is an individual residing in Illinois. Harman worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Harman has been eligible to receive overtime pay under the

FLSA because Harman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        3870. Plaintiff Yulonda Harrell is an individual residing in Illinois. Harrell worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Harrell has been eligible to

receive overtime pay under the FLSA because Harrell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1101
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1102 of 3128




       3871. Plaintiff Daniel Harris is an individual residing in Illinois. Harris worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3872. Plaintiff Tashayia Harris is an individual residing in Illinois. Harris worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3873. Plaintiff Stacey Hasil is an individual residing in Illinois. Hasil worked as a

delivery driver for FedEx in Illinois from approximately 2007 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hasil has been eligible to

receive overtime pay under the FLSA because Hasil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3874. Plaintiff Susan Hayden is an individual residing in Texas. Hayden worked as a

delivery driver for FedEx in Illinois from approximately 2012 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Hayden has been eligible to

receive overtime pay under the FLSA because Hayden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3875. Plaintiff Brennan Hayes is an individual residing in Illinois. Hayes worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Hayes has been eligible to receive overtime pay under the



                                               1102
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1103 of 3128




FLSA because Hayes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3876. Plaintiff Kimberly Haymon is an individual residing in Illinois. Haymon worked

as a delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Haymon has been

eligible to receive overtime pay under the FLSA because Haymon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3877. Plaintiff Edward Heil is an individual residing in Illinois. Heil worked as a

delivery driver for FedEx in Illinois from approximately 2010 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Heil has been eligible to

receive overtime pay under the FLSA because Heil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3878. Plaintiff Charles Helmick is an individual residing in Illinois. Helmick worked as

a delivery driver for FedEx in Illinois from approximately 1988 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Helmick has been

eligible to receive overtime pay under the FLSA because Helmick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3879. Plaintiff Christopher Henderson is an individual residing in Illinois. Henderson

worked as a delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has



                                               1103
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1104 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3880. Plaintiff Michael Herbold is an individual residing in Illinois. Herbold worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Herbold has been

eligible to receive overtime pay under the FLSA because Herbold has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3881. Plaintiff Javier Hernandez is an individual residing in Illinois. Hernandez worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hernandez has

been eligible to receive overtime pay under the FLSA because Hernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3882. Plaintiff Darryl Herring is an individual residing in Illinois. Herring worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Herring has been eligible to

receive overtime pay under the FLSA because Herring has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3883. Plaintiff Michael Heumann is an individual residing in Missouri. Heumann

worked as a delivery driver for FedEx in Illinois from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Heumann has been eligible to receive overtime pay under the FLSA because Heumann has



                                               1104
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1105 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3884. Plaintiff Timothy Hicks is an individual residing in Illinois. Hicks worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Hicks has been eligible to receive overtime pay under the

FLSA because Hicks has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3885. Plaintiff Racheal Hicks is an individual residing in Illinois. Hicks worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hicks has been eligible to

receive overtime pay under the FLSA because Hicks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3886. Plaintiff Reco Hill is an individual residing in Illinois. Hill worked as a delivery

driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3887. Plaintiff Hersey Hill is an individual residing in Arizona. Hill worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1105
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1106 of 3128




        3888. Plaintiff Eric Hines is an individual residing in Illinois. Hines worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hines has been eligible to

receive overtime pay under the FLSA because Hines has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3889. Plaintiff Kameryn Hodgest is an individual residing in Missouri. Hodgest worked

as a delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hodgest has been

eligible to receive overtime pay under the FLSA because Hodgest has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3890. Plaintiff Dante Hoffman is an individual residing in Illinois. Hoffman worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hoffman has been eligible

to receive overtime pay under the FLSA because Hoffman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3891. Plaintiff Brandon Holland is an individual residing in Illinois. Holland worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Holland has been

eligible to receive overtime pay under the FLSA because Holland has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1106
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1107 of 3128




       3892. Plaintiff Jay Hollis is an individual residing in Illinois. Hollis worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Hollis has been eligible to

receive overtime pay under the FLSA because Hollis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3893. Plaintiff Leticia Holmes is an individual residing in Illinois. Holmes worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Holmes has been eligible to

receive overtime pay under the FLSA because Holmes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3894. Plaintiff Kemon Holmes is an individual residing in Indiana. Holmes worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Holmes has been eligible to receive overtime pay under the

FLSA because Holmes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3895. Plaintiff Michael Holmes is an individual residing in Illinois. Holmes worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Holmes has been eligible to

receive overtime pay under the FLSA because Holmes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3896. Plaintiff Sarah Holtkamp is an individual residing in Illinois. Holtkamp worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Holtkamp has been eligible to receive overtime pay under



                                               1107
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1108 of 3128




the FLSA because Holtkamp has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3897. Plaintiff Andrew Hosick is an individual residing in Illinois. Hosick worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hosick has been eligible to

receive overtime pay under the FLSA because Hosick has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3898. Plaintiff Corey Howard is an individual residing in Illinois. Howard worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Howard has been eligible to

receive overtime pay under the FLSA because Howard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3899. Plaintiff Robert Howe is an individual residing in Illinois. Howe worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Howe has been eligible to

receive overtime pay under the FLSA because Howe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3900. Plaintiff Javon Hubbard is an individual residing in Texas. Hubbard worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Hubbard has been eligible to receive overtime pay under the

FLSA because Hubbard has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1108
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1109 of 3128




       3901. Plaintiff Jessica Hupp is an individual residing in Missouri. Hupp worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Hupp has been eligible to

receive overtime pay under the FLSA because Hupp has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3902. Plaintiff Dalton Ilbery is an individual residing in Illinois. Ilbery worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ilbery has been eligible to

receive overtime pay under the FLSA because Ilbery has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3903. Plaintiff Leon Jackson is an individual residing in Illinois. Jackson worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3904. Plaintiff Lorenzo Jackson is an individual residing in Illinois. Jackson worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3905. Plaintiff John Jackson is an individual residing in Illinois. Jackson worked as a

delivery driver for FedEx in Illinois from approximately 1994 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to



                                               1109
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1110 of 3128




receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3906. Plaintiff Lashon Jackson is an individual residing in Illinois. Jackson worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3907. Plaintiff Brett Jarka is an individual residing in Illinois. Jarka worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Jarka has been eligible to

receive overtime pay under the FLSA because Jarka has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3908. Plaintiff Ramon Jenkins is an individual residing in Illinois. Jenkins worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jenkins has been eligible to

receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3909. Plaintiff Harold Johnson is an individual residing in Illinois. Johnson worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Johnson has been eligible to receive overtime pay under the

FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               1110
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1111 of 3128




       3910. Plaintiff Renena Johnson is an individual residing in Illinois. Johnson worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3911. Plaintiff Robert Johnson is an individual residing in Illinois. Johnson worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3912. Plaintiff Wayne Johnson is an individual residing in Illinois. Johnson worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3913. Plaintiff Michael Jones is an individual residing in Illinois. Jones worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3914. Plaintiff Gary Jones is an individual residing in Illinois. Jones worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to



                                              1111
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1112 of 3128




receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3915. Plaintiff Leemarcus Jones is an individual residing in Illinois. Jones worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3916. Plaintiff Antwon Jones is an individual residing in Washington. Jones worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3917. Plaintiff Jennifer Jones is an individual residing in Indiana. Jones worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3918. Plaintiff Erin Jordan is an individual residing in Illinois. Jordan worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Jordan has been eligible to

receive overtime pay under the FLSA because Jordan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1112
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1113 of 3128




        3919. Plaintiff Pablo Juarez is an individual residing in Illinois. Juarez worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Juarez has been eligible to receive overtime pay under the

FLSA because Juarez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3920. Plaintiff Christy Kacynski is an individual residing in Illinois. Kacynski worked

as a delivery driver for FedEx in Illinois from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Kacynski has been

eligible to receive overtime pay under the FLSA because Kacynski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3921. Plaintiff James Kampe is an individual residing in Illinois. Kampe worked as a

delivery driver for FedEx in Illinois from approximately 2012 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Kampe has been eligible to

receive overtime pay under the FLSA because Kampe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3922. Plaintiff Thomas Kemp is an individual residing in Illinois. Kemp worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Kemp has been eligible to receive overtime pay under the

FLSA because Kemp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3923. Plaintiff William Kennebrew is an individual residing in Texas. Kennebrew

worked as a delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was



                                               1113
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1114 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Kennebrew has been eligible to receive overtime pay under the FLSA because Kennebrew has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3924. Plaintiff Michael Kennedy is an individual residing in Illinois. Kennedy worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Kennedy has been eligible to receive overtime pay

under the FLSA because Kennedy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        3925. Plaintiff Daniel Kiesow is an individual residing in Illinois. Kiesow worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Kiesow has been eligible to

receive overtime pay under the FLSA because Kiesow has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3926. Plaintiff Dennis Kinkade is an individual residing in Illinois. Kinkade worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kinkade has been eligible

to receive overtime pay under the FLSA because Kinkade has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3927. Plaintiff Stephan Kitt is an individual residing in Illinois. Kitt worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Kitt has been eligible to receive overtime pay under the



                                               1114
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1115 of 3128




FLSA because Kitt has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3928. Plaintiff Trevor Klett is an individual residing in Illinois. Klett worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Klett has been eligible to

receive overtime pay under the FLSA because Klett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3929. Plaintiff Klodeen Klow is an individual residing in Illinois. Klow worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Klow has been eligible to receive overtime pay under the

FLSA because Klow has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3930. Plaintiff Robert Knapp is an individual residing in Florida. Knapp worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Knapp has been eligible to

receive overtime pay under the FLSA because Knapp has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3931. Plaintiff Terrence Knight is an individual residing in Illinois. Knight worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Knight has been eligible to receive overtime pay under the

FLSA because Knight has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               1115
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1116 of 3128




       3932. Plaintiff Daniel Koester is an individual residing in Illinois. Koester worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Koester has been eligible to

receive overtime pay under the FLSA because Koester has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3933. Plaintiff Paul Kossifologos is an individual residing in Illinois. Kossifologos

worked as a delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Kossifologos has been eligible to receive overtime pay under the FLSA because Kossifologos

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       3934. Plaintiff Mariusz Kowalski is an individual residing in Illinois. Kowalski worked

as a delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kowalski has been

eligible to receive overtime pay under the FLSA because Kowalski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3935. Plaintiff Robbin Krutsinger is an individual residing in Illinois. Krutsinger

worked as a delivery driver for FedEx in Illinois from approximately 1994 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Krutsinger has been eligible to receive overtime pay under the FLSA because Krutsinger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1116
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1117 of 3128




        3936. Plaintiff Edgar Lambino is an individual residing in Illinois. Lambino worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lambino has been eligible

to receive overtime pay under the FLSA because Lambino has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3937. Plaintiff David Lamz is an individual residing in Michigan. Lamz worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Lamz has been eligible to receive overtime pay under the

FLSA because Lamz has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        3938. Plaintiff Jayson Land is an individual residing in Illinois. Land worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Land has been eligible to

receive overtime pay under the FLSA because Land has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3939. Plaintiff Timothy Landry is an individual residing in Illinois. Landry worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Landry has been eligible to

receive overtime pay under the FLSA because Landry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3940. Plaintiff Carlos Lane is an individual residing in Illinois. Lane worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed through



                                               1117
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1118 of 3128




intermediary entities that FedEx calls independent service providers. Lane has been eligible to

receive overtime pay under the FLSA because Lane has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3941. Plaintiff Garrett Lang is an individual residing in Illinois. Lang worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Lang has been eligible to receive overtime pay under the

FLSA because Lang has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3942. Plaintiff Easter Laramore is an individual residing in Illinois. Laramore worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Laramore has been eligible to receive overtime pay under

the FLSA because Laramore has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3943. Plaintiff Eddie Larry is an individual residing in Illinois. Larry worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Larry has been eligible to

receive overtime pay under the FLSA because Larry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3944. Plaintiff Gregory Lasky is an individual residing in Missouri. Lasky worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lasky has been eligible to

receive overtime pay under the FLSA because Lasky has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1118
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1119 of 3128




       3945. Plaintiff Alfred Leato is an individual residing in Illinois. Leato worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Leato has been eligible to

receive overtime pay under the FLSA because Leato has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3946. Plaintiff Richard Lee is an individual residing in California. Lee worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Lee has been eligible to

receive overtime pay under the FLSA because Lee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3947. Plaintiff Tim Leisten is an individual residing in Illinois. Leisten worked as a

delivery driver for FedEx in Illinois from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Leisten has been eligible to

receive overtime pay under the FLSA because Leisten has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3948. Plaintiff Fabian Lema is an individual residing in Illinois. Lema worked as a

delivery driver for FedEx in Illinois from approximately 1999 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Lema has been eligible to

receive overtime pay under the FLSA because Lema has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3949. Plaintiff Oscar Lema is an individual residing in Illinois. Lema worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lema has been eligible to



                                              1119
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1120 of 3128




receive overtime pay under the FLSA because Lema has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3950. Plaintiff Sergio Leon Jr Jr is an individual residing in Illinois. Leon Jr Jr worked

as a delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Leon Jr Jr has been

eligible to receive overtime pay under the FLSA because Leon Jr Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3951. Plaintiff Renika Lewis is an individual residing in Illinois. Lewis worked as a

delivery driver for FedEx in Illinois from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Lewis has been eligible to

receive overtime pay under the FLSA because Lewis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3952. Plaintiff Jonathan Lewis is an individual residing in Illinois. Lewis worked as a

delivery driver for FedEx in Illinois from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lewis has been eligible to

receive overtime pay under the FLSA because Lewis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3953. Plaintiff Debra Lewis is an individual residing in Illinois. Lewis worked as a

delivery driver for FedEx in Illinois from approximately 2004 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Lewis has been eligible to

receive overtime pay under the FLSA because Lewis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1120
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1121 of 3128




       3954. Plaintiff Pedro Leyva is an individual residing in Illinois. Leyva worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Leyva has been eligible to

receive overtime pay under the FLSA because Leyva has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3955. Plaintiff Jessica Leyva is an individual residing in Illinois. Leyva worked as a

delivery driver for FedEx in Illinois from approximately 2005 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Leyva has been eligible to

receive overtime pay under the FLSA because Leyva has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3956. Plaintiff Luke Linder is an individual residing in Missouri. Linder worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Linder has been eligible to receive overtime pay under the

FLSA because Linder has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       3957. Plaintiff Marcus Little is an individual residing in Illinois. Little worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Little has been eligible to receive overtime pay under the

FLSA because Little has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       3958. Plaintiff Miecko Lloyd is an individual residing in Illinois. Lloyd worked as a

delivery driver for FedEx in Illinois and Indiana from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Lloyd



                                               1121
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1122 of 3128




has been eligible to receive overtime pay under the FLSA because Lloyd has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3959. Plaintiff William Lofton is an individual residing in Illinois. Lofton worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Lofton has been eligible to

receive overtime pay under the FLSA because Lofton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3960. Plaintiff Kelly Lopez is an individual residing in Illinois. Lopez worked as a

delivery driver for FedEx in Illinois from approximately 2009 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lopez has been eligible to

receive overtime pay under the FLSA because Lopez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3961. Plaintiff Luis Lopez is an individual residing in Illinois. Lopez worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Lopez has been eligible to

receive overtime pay under the FLSA because Lopez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3962. Plaintiff Eshawnial Lowry is an individual residing in Illinois. Lowry worked as a

delivery driver for FedEx in Illinois from approximately 2007 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Lowry has been eligible to

receive overtime pay under the FLSA because Lowry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1122
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1123 of 3128




        3963. Plaintiff Dakota Luellen is an individual residing in Illinois. Luellen worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Luellen has been eligible to

receive overtime pay under the FLSA because Luellen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3964. Plaintiff James Lynch is an individual residing in Illinois. Lynch worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lynch has been eligible to

receive overtime pay under the FLSA because Lynch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3965. Plaintiff Anwar Maali is an individual residing in Illinois. Maali worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Maali has been eligible to

receive overtime pay under the FLSA because Maali has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3966. Plaintiff John Machnik is an individual residing in Florida. Machnik worked as a

delivery driver for FedEx in Illinois from approximately 1988 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Machnik has been eligible

to receive overtime pay under the FLSA because Machnik has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3967. Plaintiff Oscar Maldonado is an individual residing in Illinois. Maldonado worked

as a delivery driver for FedEx in Illinois from approximately 2011 to 2024 but was employed



                                               1123
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1124 of 3128




through intermediary entities that FedEx calls independent service providers. Maldonado has

been eligible to receive overtime pay under the FLSA because Maldonado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3968. Plaintiff Louia Malley is an individual residing in Illinois. Malley worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Malley has been eligible to

receive overtime pay under the FLSA because Malley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3969. Plaintiff Robert Manning is an individual residing in Illinois. Manning worked as

a delivery driver for FedEx in Illinois from approximately 1993 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Manning has been

eligible to receive overtime pay under the FLSA because Manning has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3970. Plaintiff Kyle Marsaglia is an individual residing in Illinois. Marsaglia worked as

a delivery driver for FedEx in Illinois from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Marsaglia has been

eligible to receive overtime pay under the FLSA because Marsaglia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3971. Plaintiff Clyde Marshall is an individual residing in Illinois. Marshall worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2016 but was employed through



                                              1124
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1125 of 3128




intermediary entities that FedEx calls independent service providers. Marshall has been eligible

to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3972. Plaintiff Tiana Martin is an individual residing in Ohio. Martin worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3973. Plaintiff Johni Mashu is an individual residing in Illinois. Mashu worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mashu has been eligible to

receive overtime pay under the FLSA because Mashu has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3974. Plaintiff Ventsislav Maslarski is an individual residing in Illinois. Maslarski

worked as a delivery driver for FedEx in Illinois from approximately 2004 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Maslarski has been eligible to receive overtime pay under the FLSA because Maslarski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3975. Plaintiff Kendra Mason is an individual residing in Illinois. Mason worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Mason has been eligible to



                                               1125
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1126 of 3128




receive overtime pay under the FLSA because Mason has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3976. Plaintiff Jason Mathews is an individual residing in Illinois. Mathews worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Mathews has been eligible

to receive overtime pay under the FLSA because Mathews has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3977. Plaintiff Joshua Matson is an individual residing in Wisconsin. Matson worked as

a delivery driver for FedEx in Illinois from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Matson has been

eligible to receive overtime pay under the FLSA because Matson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3978. Plaintiff Christa Maubach is an individual residing in Illinois. Maubach worked as

a delivery driver for FedEx in Illinois from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Maubach has been

eligible to receive overtime pay under the FLSA because Maubach has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3979. Plaintiff Heather Mayhaus is an individual residing in North Carolina. Mayhaus

worked as a delivery driver for FedEx in Illinois from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Mayhaus



                                              1126
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1127 of 3128




has been eligible to receive overtime pay under the FLSA because Mayhaus has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3980. Plaintiff Matthew Mcallister, Sr. is an individual residing in Illinois. Mcallister

worked as a delivery driver for FedEx in Illinois from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcallister has been eligible to receive overtime pay under the FLSA because Mcallister has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3981. Plaintiff Andrew Mccarron is an individual residing in Illinois. Mccarron worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mccarron has been

eligible to receive overtime pay under the FLSA because Mccarron has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3982. Plaintiff Erika Mccaskill is an individual residing in Illinois. Mccaskill worked as

a delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mccaskill has been

eligible to receive overtime pay under the FLSA because Mccaskill has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3983. Plaintiff Michael Mccauley Jr. is an individual residing in Illinois. Mccauley Jr.

worked as a delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was



                                              1127
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1128 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Mccauley Jr. has been eligible to receive overtime pay under the FLSA because Mccauley Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        3984. Plaintiff Mikel Mcclary is an individual residing in Illinois. Mcclary worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Mcclary has been eligible

to receive overtime pay under the FLSA because Mcclary has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3985. Plaintiff Marcus Mccormick is an individual residing in Illinois. Mccormick

worked as a delivery driver for FedEx in Illinois and Georgia but was employed through

intermediary entities that FedEx calls independent service providers. Mccormick has been

eligible to receive overtime pay under the FLSA because Mccormick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        3986. Plaintiff Willstepnorm Mccoy is an individual residing in Missouri. Mccoy

worked as a delivery driver for FedEx in Illinois from approximately 2020 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Mccoy

has been eligible to receive overtime pay under the FLSA because Mccoy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1128
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1129 of 3128




       3987. Plaintiff Anthony Mcdonald is an individual residing in Illinois. Mcdonald

worked as a delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdonald has been eligible to receive overtime pay under the FLSA because Mcdonald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       3988. Plaintiff Daniel Mcfate is an individual residing in Iowa. Mcfate worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Mcfate has been eligible to

receive overtime pay under the FLSA because Mcfate has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3989. Plaintiff Jeff Mckinley is an individual residing in Wisconsin. Mckinley worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mckinley has been

eligible to receive overtime pay under the FLSA because Mckinley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3990. Plaintiff Derrrick Mckinney is an individual residing in Illinois. Mckinney

worked as a delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckinney has been eligible to receive overtime pay under the FLSA because Mckinney has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1129
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1130 of 3128




        3991. Plaintiff David Medina is an individual residing in Texas. Medina worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Medina has been eligible to

receive overtime pay under the FLSA because Medina has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3992. Plaintiff Oscar Mendoza is an individual residing in Illinois. Mendoza worked as

a delivery driver for FedEx in Illinois from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mendoza has been

eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        3993. Plaintiff Janie Merrell is an individual residing in Illinois. Merrell worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Merrell has been eligible to

receive overtime pay under the FLSA because Merrell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        3994. Plaintiff Dennis Mcdermott is an individual residing in Illinois. Middleton worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Middleton has been eligible to receive overtime pay

under the FLSA because Middleton has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        3995. Plaintiff Micheal Miller is an individual residing in Illinois. Middleton worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2021 but was employed



                                               1130
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1131 of 3128




through intermediary entities that FedEx calls independent service providers. Middleton has been

eligible to receive overtime pay under the FLSA because Middleton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       3996. Plaintiff Malika Miller is an individual residing in Illinois. Miller worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3997. Plaintiff Jeffery Miller is an individual residing in Illinois. Miller worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3998. Plaintiff Cassandra Miller is an individual residing in Illinois. Miller worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       3999. Plaintiff Vincent Miller is an individual residing in Illinois. Miller worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to




                                               1131
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1132 of 3128




receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4000. Plaintiff Tyler Mills is an individual residing in Illinois. Mills worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mills has been eligible to

receive overtime pay under the FLSA because Mills has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4001. Plaintiff Aimee Miranda is an individual residing in Illinois. Miranda worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miranda has been eligible

to receive overtime pay under the FLSA because Miranda has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4002. Plaintiff Markus Moore is an individual residing in Illinois. Moore worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4003. Plaintiff Aaron Moore is an individual residing in Texas. Moore worked as a

delivery driver for FedEx in Illinois from approximately 2005 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               1132
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1133 of 3128




       4004. Plaintiff Josef Moore is an individual residing in Illinois. Moore worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4005. Plaintiff Donald Moore is an individual residing in Illinois. Moore worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Moore has been eligible to receive overtime pay under the

FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4006. Plaintiff Dave Mooyin is an individual residing in Texas. Mooyin worked as a

delivery driver for FedEx in Illinois from approximately 2005 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mooyin has been eligible to

receive overtime pay under the FLSA because Mooyin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4007. Plaintiff Nikia Morgan is an individual residing in Illinois. Morgan worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Morgan has been eligible to

receive overtime pay under the FLSA because Morgan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4008. Plaintiff Joseph Mormino is an individual residing in Missouri. Mormino worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Mormino has been eligible to receive overtime pay



                                              1133
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1134 of 3128




under the FLSA because Mormino has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       4009. Plaintiff Eboni Morrison is an individual residing in Illinois. Morrison worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Morrison has been eligible to receive overtime pay under the

FLSA because Morrison has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4010. Plaintiff Talisha Mosley is an individual residing in Illinois. Mosley worked as a

delivery driver for FedEx in Illinois from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Mosley has been eligible to

receive overtime pay under the FLSA because Mosley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4011. Plaintiff Nicolas Moyer is an individual residing in Illinois. Moyer worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Moyer has been eligible to

receive overtime pay under the FLSA because Moyer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4012. Plaintiff Rosendo Munoz is an individual residing in Illinois. Munoz worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Munoz has been eligible to

receive overtime pay under the FLSA because Munoz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1134
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1135 of 3128




       4013. Plaintiff Zachary Murray is an individual residing in Illinois. Murray worked as a

delivery driver for FedEx in Illinois from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Murray has been eligible to

receive overtime pay under the FLSA because Murray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4014. Plaintiff Mason Murry is an individual residing in Illinois. Murry worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Murry has been eligible to receive overtime pay under the

FLSA because Murry has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4015. Plaintiff Martin Naja is an individual residing in Illinois. Naja worked as a

delivery driver for FedEx in Illinois from approximately 2022 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Naja has been eligible to

receive overtime pay under the FLSA because Naja has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4016. Plaintiff Trevon Nash is an individual residing in Illinois. Nash worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Nash has been eligible to

receive overtime pay under the FLSA because Nash has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4017. Plaintiff Mario Nechev is an individual residing in Illinois. Nechev worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Nechev has been eligible to



                                              1135
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1136 of 3128




receive overtime pay under the FLSA because Nechev has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4018. Plaintiff Robert Nelson is an individual residing in Illinois. Nelson worked as a

delivery driver for FedEx in Illinois from approximately 1989 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Nelson has been eligible to

receive overtime pay under the FLSA because Nelson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4019. Plaintiff Deleoni Nelson is an individual residing in Illinois. Nelson worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Nelson has been eligible to receive overtime pay under the

FLSA because Nelson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4020. Plaintiff Ernest Newton is an individual residing in Illinois. Newton worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Newton has been eligible to

receive overtime pay under the FLSA because Newton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4021. Plaintiff Robb Nippa is an individual residing in Illinois. Nippa worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Nippa has been eligible to

receive overtime pay under the FLSA because Nippa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1136
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1137 of 3128




        4022. Plaintiff Donald Oconner is an individual residing in Illinois. Oconner worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Oconner has been

eligible to receive overtime pay under the FLSA because Oconner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4023. Plaintiff Montez Oglesby is an individual residing in Illinois. Oglesby worked as

a delivery driver for FedEx in Illinois from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Oglesby has been

eligible to receive overtime pay under the FLSA because Oglesby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4024. Plaintiff Richard Ohlund is an individual residing in Illinois. Ohlund worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ohlund has been eligible to

receive overtime pay under the FLSA because Ohlund has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4025. Plaintiff Eric Olan is an individual residing in Florida. Olan worked as a delivery

driver for FedEx in Illinois from approximately 2002 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Olan has been eligible to

receive overtime pay under the FLSA because Olan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1137
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1138 of 3128




        4026. Plaintiff Paul Osipavicius is an individual residing in Illinois. Osipavicius worked

as a delivery driver for FedEx in Illinois from approximately 2007 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Osipavicius has

been eligible to receive overtime pay under the FLSA because Osipavicius has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4027. Plaintiff Andrew Ostrander is an individual residing in Illinois. Ostrander worked

as a delivery driver for FedEx in Illinois from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ostrander has been

eligible to receive overtime pay under the FLSA because Ostrander has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4028. Plaintiff Mohsin Patel is an individual residing in Illinois. Patel worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Patel has been eligible to

receive overtime pay under the FLSA because Patel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4029. Plaintiff Derrick Patterson is an individual residing in Illinois. Patterson worked

as a delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Patterson has been

eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1138
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1139 of 3128




        4030. Plaintiff Steven Patterson is an individual residing in Illinois. Patterson worked as

a delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Patterson has been

eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4031. Plaintiff Junisha Payton is an individual residing in Illinois. Payton worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Payton has been eligible to receive overtime pay under the

FLSA because Payton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4032. Plaintiff Dewayne Pedersen-Davis is an individual residing in Illinois. Pedersen-

Davis worked as a delivery driver for FedEx in Illinois from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Pedersen-Davis has been eligible to receive overtime pay under the FLSA because Pedersen-

Davis has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        4033. Plaintiff Joshua Perez is an individual residing in Illinois. Perez worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1139
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 1140 of 3128




       4034. Plaintiff Jay Perez is an individual residing in Illinois. Perez worked as a delivery

driver for FedEx in Illinois but was employed through intermediary entities that FedEx calls

independent service providers. Perez has been eligible to receive overtime pay under the FLSA

because Perez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4035. Plaintiff Nathan Perkins is an individual residing in Iowa. Perkins worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Perkins has been eligible to

receive overtime pay under the FLSA because Perkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4036. Plaintiff Billy Phillips is an individual residing in Illinois. Phillips worked as a

delivery driver for FedEx in Illinois from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Phillips has been eligible to

receive overtime pay under the FLSA because Phillips has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4037. Plaintiff Fabian Pintor is an individual residing in Florida. Pintor worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Pintor has been eligible to

receive overtime pay under the FLSA because Pintor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4038. Plaintiff Noel Poppe is an individual residing in Illinois. Poppe worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Poppe has been eligible to



                                               1140
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1141 of 3128




receive overtime pay under the FLSA because Poppe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4039. Plaintiff Tanesha Por is an individual residing in Illinois. Por worked as a delivery

driver for FedEx in Illinois from approximately 2007 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Por has been eligible to

receive overtime pay under the FLSA because Por has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4040. Plaintiff Lori Potenziani is an individual residing in Illinois. Potenziani worked as

a delivery driver for FedEx in Illinois from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Potenziani has been

eligible to receive overtime pay under the FLSA because Potenziani has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4041. Plaintiff Manasseh Powell is an individual residing in Illinois. Powell worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Powell has been eligible to

receive overtime pay under the FLSA because Powell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4042. Plaintiff Dwayne Powell is an individual residing in Missouri. Powell worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Powell has been eligible to receive overtime pay under the

FLSA because Powell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              1141
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1142 of 3128




        4043. Plaintiff Samuel Putman is an individual residing in Illinois. Putman worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Putman has been eligible to

receive overtime pay under the FLSA because Putman has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4044. Plaintiff Gerard Pynckel is an individual residing in Illinois. Pynckel worked as a

delivery driver for FedEx in Illinois from approximately 2004 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Pynckel has been eligible to

receive overtime pay under the FLSA because Pynckel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4045. Plaintiff Jonathanjonathn Race is an individual residing in Illinois. Race worked

as a delivery driver for FedEx in Illinois from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Race has been

eligible to receive overtime pay under the FLSA because Race has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4046. Plaintiff Kyle Richardson is an individual residing in Illinois. Richardson worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Richardson has

been eligible to receive overtime pay under the FLSA because Richardson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1142
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1143 of 3128




       4047. Plaintiff Hollis Riggins is an individual residing in Illinois. Riggins worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Riggins has been eligible to

receive overtime pay under the FLSA because Riggins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4048. Plaintiff Ignacio Rivera is an individual residing in Illinois. Rivera worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Rivera has been eligible to

receive overtime pay under the FLSA because Rivera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4049. Plaintiff Stephanie Roberts is an individual residing in Illinois. Roberts worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Roberts has been eligible to receive overtime pay under the

FLSA because Roberts has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4050. Plaintiff Kevin Robinson is an individual residing in Illinois. Robinson worked as

a delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4051. Plaintiff Robert Roccaforte is an individual residing in Illinois. Roccaforte

worked as a delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was



                                              1143
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1144 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Roccaforte has been eligible to receive overtime pay under the FLSA because Roccaforte has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4052. Plaintiff Gabriel Rodriguez is an individual residing in California. Rodriguez

worked as a delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4053. Plaintiff Alan Rodriguez is an individual residing in Illinois. Rodriguez worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Rodriguez has been eligible to receive overtime pay under

the FLSA because Rodriguez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4054. Plaintiff Jorge Rodriguez is an individual residing in Illinois. Rodriguez worked

as a delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4055. Plaintiff Devon Rogers is an individual residing in Illinois. Rogers worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2024 but was employed through



                                              1144
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1145 of 3128




intermediary entities that FedEx calls independent service providers. Rogers has been eligible to

receive overtime pay under the FLSA because Rogers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4056. Plaintiff Brennen Rompa is an individual residing in Tennessee. Rompa worked

as a delivery driver for FedEx in Illinois and Tennessee from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Rompa has been eligible to receive overtime pay under the FLSA because Rompa has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       4057. Plaintiff Jackie Ross is an individual residing in Illinois. Ross worked as a

delivery driver for FedEx in Illinois from approximately 2003 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ross has been eligible to

receive overtime pay under the FLSA because Ross has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4058. Plaintiff Theresa Rucker is an individual residing in Illinois. Rucker worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Rucker has been eligible to

receive overtime pay under the FLSA because Rucker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4059. Plaintiff Justin Russell is an individual residing in Illinois. Russell worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Russell has been eligible to




                                              1145
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1146 of 3128




receive overtime pay under the FLSA because Russell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4060. Plaintiff Deshaun Rutledge is an individual residing in Illinois. Rutledge worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rutledge has been

eligible to receive overtime pay under the FLSA because Rutledge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4061. Plaintiff Nolan Ryan is an individual residing in Illinois. Ryan worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ryan has been eligible to

receive overtime pay under the FLSA because Ryan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4062. Plaintiff Jonathan Sander is an individual residing in Missouri. Sander worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sander has been

eligible to receive overtime pay under the FLSA because Sander has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4063. Plaintiff Azael Sandoval is an individual residing in Kansas. Sandoval worked as

a delivery driver for FedEx in Illinois from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Sandoval has been

eligible to receive overtime pay under the FLSA because Sandoval has driven a vehicle weighing



                                              1146
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1147 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4064. Plaintiff Nicholas Sansone is an individual residing in Missouri. Sansone worked

as a delivery driver for FedEx in Illinois from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sansone has been

eligible to receive overtime pay under the FLSA because Sansone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4065. Plaintiff Larry Santorski Ii is an individual residing in Missouri. Santorski Ii

worked as a delivery driver for FedEx in Illinois from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Santorski Ii has been eligible to receive overtime pay under the FLSA because Santorski Ii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4066. Plaintiff Jennifer Scherer is an individual residing in Illinois. Scherer worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Scherer has been eligible to receive overtime pay under the

FLSA because Scherer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4067. Plaintiff Tom Schmerse is an individual residing in Illinois. Schmerse worked as a

delivery driver for FedEx in Illinois from approximately 1998 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Schmerse has been eligible

to receive overtime pay under the FLSA because Schmerse has driven a vehicle weighing less



                                               1147
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1148 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4068. Plaintiff Robert Schmidt is an individual residing in Illinois. Schmidt worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Schmidt has been eligible to receive overtime pay under the

FLSA because Schmidt has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4069. Plaintiff Blaine Schnitker is an individual residing in Illinois. Schnitker worked as

a delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Schnitker has been eligible to receive overtime pay under

the FLSA because Schnitker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4070. Plaintiff Brooke Schwartz is an individual residing in Colorado. Schwartz worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Schwartz has been eligible to receive overtime pay

under the FLSA because Schwartz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4071. Plaintiff Lisa Schwartz is an individual residing in Illinois. Schwartz worked as a

delivery driver for FedEx in Illinois from approximately 2004 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Schwartz has been eligible

to receive overtime pay under the FLSA because Schwartz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1148
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1149 of 3128




       4072. Plaintiff Timothy Scott is an individual residing in Iowa. Scott worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to

receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4073. Plaintiff John Seesala is an individual residing in Illinois. Seesala worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Seesala has been eligible to

receive overtime pay under the FLSA because Seesala has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4074. Plaintiff Felix Serrano is an individual residing in Illinois. Serrano worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Serrano has been eligible to

receive overtime pay under the FLSA because Serrano has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4075. Plaintiff Lacey Shadowens is an individual residing in Illinois. Shadowens

worked as a delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Shadowens has been eligible to receive overtime pay under the FLSA because Shadowens has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4076. Plaintiff Michael Shannon is an individual residing in Mississippi. Shannon

worked as a delivery driver for FedEx in Illinois from approximately 2011 to 2016 but was



                                               1149
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1150 of 3128




employed through intermediary entities that FedEx calls independent service providers. Shannon

has been eligible to receive overtime pay under the FLSA because Shannon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4077. Plaintiff Kenneth Shannon is an individual residing in Missouri. Shannon worked

as a delivery driver for FedEx in Illinois from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Shannon has been

eligible to receive overtime pay under the FLSA because Shannon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4078. Plaintiff Eugene Shelby is an individual residing in Illinois. Shelby worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Shelby has been eligible to

receive overtime pay under the FLSA because Shelby has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4079. Plaintiff Lisa Simmons is an individual residing in Illinois. Simmons worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Simmons has been eligible

to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4080. Plaintiff Edward Simonson is an individual residing in Illinois. Simonson worked

as a delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed



                                              1150
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1151 of 3128




through intermediary entities that FedEx calls independent service providers. Simonson has been

eligible to receive overtime pay under the FLSA because Simonson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4081. Plaintiff Antoine Singleton is an individual residing in Illinois. Singleton worked

as a delivery driver for FedEx in Illinois from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Singleton has been

eligible to receive overtime pay under the FLSA because Singleton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4082. Plaintiff Marion Skillings is an individual residing in Illinois. Skillings worked as

a delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Skillings has been

eligible to receive overtime pay under the FLSA because Skillings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4083. Plaintiff Chris Skirmont is an individual residing in Illinois. Skirmont worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Skirmont has been eligible

to receive overtime pay under the FLSA because Skirmont has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1151
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1152 of 3128




       4084. Plaintiff Doreen Skriver is an individual residing in Illinois. Skriver worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Skriver has been eligible to receive overtime pay under the

FLSA because Skriver has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4085. Plaintiff Stephen Smiley is an individual residing in Illinois. Smiley worked as a

delivery driver for FedEx in Illinois from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smiley has been eligible to

receive overtime pay under the FLSA because Smiley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4086. Plaintiff Joyce Smith is an individual residing in Iowa. Smith worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4087. Plaintiff Kyle Smith is an individual residing in Illinois. Smith worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4088. Plaintiff Crystal Smyles is an individual residing in Illinois. Smyles worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smyles has been eligible to



                                              1152
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1153 of 3128




receive overtime pay under the FLSA because Smyles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4089. Plaintiff Jaime Solano is an individual residing in Illinois. Solano worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Solano has been eligible to receive overtime pay under the

FLSA because Solano has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4090. Plaintiff David Spann is an individual residing in Illinois. Spann worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Spann has been eligible to

receive overtime pay under the FLSA because Spann has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4091. Plaintiff Jack Staniszewski is an individual residing in Illinois. Staniszewski

worked as a delivery driver for FedEx in Illinois from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Staniszewski has been eligible to receive overtime pay under the FLSA because Staniszewski

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       4092. Plaintiff Matthew Stapleton is an individual residing in Illinois. Stapleton worked

as a delivery driver for FedEx in Illinois from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stapleton has been

eligible to receive overtime pay under the FLSA because Stapleton has driven a vehicle weighing




                                              1153
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1154 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4093. Plaintiff Dalbert Steele is an individual residing in Illinois. Steele worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Steele has been eligible to receive overtime pay under the

FLSA because Steele has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4094. Plaintiff Mitchell Stepanek is an individual residing in Illinois. Stepanek worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Stepanek has been eligible to receive overtime pay

under the FLSA because Stepanek has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4095. Plaintiff Jeff Stepp is an individual residing in Illinois. Stepp worked as a delivery

driver for FedEx in Illinois from approximately 1998 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Stepp has been eligible to

receive overtime pay under the FLSA because Stepp has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4096. Plaintiff Kenneth Stevens is an individual residing in Illinois. Stevens worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Stevens has been eligible to receive overtime pay under the

FLSA because Stevens has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               1154
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1155 of 3128




       4097. Plaintiff John Steward is an individual residing in Illinois. Steward worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Steward has been eligible to receive overtime pay under the

FLSA because Steward has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4098. Plaintiff Cory Stolberg is an individual residing in Illinois. Stolberg worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Stolberg has been eligible to receive overtime pay under the

FLSA because Stolberg has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4099. Plaintiff Larry Strahan is an individual residing in Illinois. Strahan worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Strahan has been eligible to receive overtime pay under the

FLSA because Strahan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4100. Plaintiff Heather Swan is an individual residing in Illinois. Swan worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Swan has been eligible to

receive overtime pay under the FLSA because Swan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4101. Plaintiff Andrew Swanson is an individual residing in Illinois. Swanson worked

as a delivery driver for FedEx in Illinois from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Swanson has been



                                              1155
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1156 of 3128




eligible to receive overtime pay under the FLSA because Swanson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4102. Plaintiff Ryan Swanson is an individual residing in Illinois. Swanson worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Swanson has been eligible to receive overtime pay under the

FLSA because Swanson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4103. Plaintiff Brandon Swenson is an individual residing in Illinois. Swenson worked

as a delivery driver for FedEx in Illinois but was employed through intermediary entities that

FedEx calls independent service providers. Swenson has been eligible to receive overtime pay

under the FLSA because Swenson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4104. Plaintiff Tavares Tankersley is an individual residing in Illinois. Tankersley

worked as a delivery driver for FedEx in Illinois but was employed through intermediary entities

that FedEx calls independent service providers. Tankersley has been eligible to receive overtime

pay under the FLSA because Tankersley has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        4105. Plaintiff Scott Taylor is an individual residing in Illinois. Taylor worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Taylor has been eligible to receive overtime pay under the

FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               1156
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1157 of 3128




        4106. Plaintiff Yolanda Taylor is an individual residing in Illinois. Taylor worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Taylor has been eligible to

receive overtime pay under the FLSA because Taylor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4107. Plaintiff Robert Tevis is an individual residing in Illinois. Tevis worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Tevis has been eligible to receive overtime pay under the

FLSA because Tevis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4108. Plaintiff Nashaun Thomas is an individual residing in Indiana. Thomas worked as

a delivery driver for FedEx in Illinois from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4109. Plaintiff Tiajuana Thomas is an individual residing in Illinois. Thomas worked as

a delivery driver for FedEx in Illinois from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1157
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1158 of 3128




       4110. Plaintiff Matthew Thompson is an individual residing in Illinois. Thompson

worked as a delivery driver for FedEx in Illinois but was employed through intermediary entities

that FedEx calls independent service providers. Thompson has been eligible to receive overtime

pay under the FLSA because Thompson has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       4111. Plaintiff Ira Sandifer is an individual residing in Illinois. Thompson worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Thompson has been eligible to receive overtime pay under

the FLSA because Thompson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4112. Plaintiff Wilson Tidwell is an individual residing in Illinois. Tidwell worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Tidwell has been eligible to

receive overtime pay under the FLSA because Tidwell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4113. Plaintiff Donald Tillery is an individual residing in Arizona. Tillery worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Tillery has been eligible to

receive overtime pay under the FLSA because Tillery has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4114. Plaintiff Michael Timberson is an individual residing in Illinois. Timberson

worked as a delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               1158
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1159 of 3128




Timberson has been eligible to receive overtime pay under the FLSA because Timberson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4115. Plaintiff Derrick Tolbert Jr. is an individual residing in Illinois. Tolbert Jr. worked

as a delivery driver for FedEx in Illinois from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Tolbert Jr. has been

eligible to receive overtime pay under the FLSA because Tolbert Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4116. Plaintiff Donnie Tolch is an individual residing in Illinois. Tolch worked as a

delivery driver for FedEx in Illinois from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tolch has been eligible to

receive overtime pay under the FLSA because Tolch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4117. Plaintiff Eric Toney is an individual residing in Illinois. Toney worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Toney has been eligible to receive overtime pay under the

FLSA because Toney has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4118. Plaintiff William Torres is an individual residing in Illinois. Torres worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Torres has been eligible to




                                               1159
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1160 of 3128




receive overtime pay under the FLSA because Torres has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4119. Plaintiff Jonathan Torres is an individual residing in Illinois. Torres worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Torres has been eligible to

receive overtime pay under the FLSA because Torres has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4120. Plaintiff Jr Towner is an individual residing in Illinois. Towner worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Towner has been eligible to

receive overtime pay under the FLSA because Towner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4121. Plaintiff Joshua Townsend is an individual residing in Illinois. Townsend worked

as a delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Townsend has been

eligible to receive overtime pay under the FLSA because Townsend has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4122. Plaintiff Steven Tubbs is an individual residing in Illinois. Tubbs worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tubbs has been eligible to

receive overtime pay under the FLSA because Tubbs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1160
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1161 of 3128




        4123. Plaintiff David Tucker is an individual residing in Missouri. Tucker worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Tucker has been eligible to

receive overtime pay under the FLSA because Tucker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4124. Plaintiff Taylor Upshaw is an individual residing in Illinois. Upshaw worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Upshaw has been eligible to

receive overtime pay under the FLSA because Upshaw has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4125. Plaintiff Nemanja Varagic is an individual residing in Illinois. Varagic worked as

a delivery driver for FedEx in Illinois from approximately 2000 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Varagic has been

eligible to receive overtime pay under the FLSA because Varagic has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4126. Plaintiff David Vaughn is an individual residing in Illinois. Vaughn worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Vaughn has been eligible to

receive overtime pay under the FLSA because Vaughn has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4127. Plaintiff Wankee Veal is an individual residing in Illinois. Veal worked as a

delivery driver for FedEx in Illinois from approximately 2013 to 2020 but was employed through



                                              1161
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1162 of 3128




intermediary entities that FedEx calls independent service providers. Veal has been eligible to

receive overtime pay under the FLSA because Veal has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4128. Plaintiff David Vela is an individual residing in Illinois. Vela worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Vela has been eligible to

receive overtime pay under the FLSA because Vela has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4129. Plaintiff Manuel Velazquez is an individual residing in Illinois. Velazquez

worked as a delivery driver for FedEx in Illinois and Florida from approximately 2011 to 2016

but was employed through intermediary entities that FedEx calls independent service providers.

Velazquez has been eligible to receive overtime pay under the FLSA because Velazquez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4130. Plaintiff Dilaila Velez is an individual residing in Illinois. Velez worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Velez has been eligible to receive overtime pay under the

FLSA because Velez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4131. Plaintiff Devonte Vivians is an individual residing in Illinois. Vivians worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Vivians has been eligible to




                                              1162
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1163 of 3128




receive overtime pay under the FLSA because Vivians has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4132. Plaintiff Scott Volk is an individual residing in Illinois. Volk worked as a delivery

driver for FedEx in Illinois and Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Volk has been

eligible to receive overtime pay under the FLSA because Volk has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4133. Plaintiff James Volpentesta is an individual residing in Illinois. Volpentesta

worked as a delivery driver for FedEx in Illinois but was employed through intermediary entities

that FedEx calls independent service providers. Volpentesta has been eligible to receive overtime

pay under the FLSA because Volpentesta has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        4134. Plaintiff David Voytovick is an individual residing in Illinois. Voytovick worked

as a delivery driver for FedEx in Illinois from approximately 2007 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Voytovick has been

eligible to receive overtime pay under the FLSA because Voytovick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4135. Plaintiff Bobby Walker is an individual residing in Illinois. Walker worked as a

delivery driver for FedEx in Illinois from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Walker has been eligible to




                                               1163
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1164 of 3128




receive overtime pay under the FLSA because Walker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4136. Plaintiff Scott Ward is an individual residing in Wisconsin. Ward worked as a

delivery driver for FedEx in Illinois from approximately 2009 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ward has been eligible to

receive overtime pay under the FLSA because Ward has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4137. Plaintiff Matt Wardlow is an individual residing in Illinois. Wardlow worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Wardlow has been eligible

to receive overtime pay under the FLSA because Wardlow has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4138. Plaintiff Timkita Warfield Taylor is an individual residing in Illinois. Warfield

Taylor worked as a delivery driver for FedEx in Illinois from approximately 2021 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Warfield Taylor has been eligible to receive overtime pay under the FLSA because Warfield

Taylor has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        4139. Plaintiff Bradley Warner is an individual residing in Illinois. Warner worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Warner has been eligible to




                                               1164
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1165 of 3128




receive overtime pay under the FLSA because Warner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4140. Plaintiff Freddie Warren is an individual residing in Missouri. Warren worked as

a delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Warren has been

eligible to receive overtime pay under the FLSA because Warren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4141. Plaintiff Terrance Waugh is an individual residing in Illinois. Waugh worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Waugh has been eligible to

receive overtime pay under the FLSA because Waugh has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4142. Plaintiff Nicole Weekley is an individual residing in Illinois. Weekley worked as

a delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Weekley has been

eligible to receive overtime pay under the FLSA because Weekley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4143. Plaintiff Daniel Weickdido is an individual residing in Illinois. Weickdido worked

as a delivery driver for FedEx in Illinois from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Weickdido has

been eligible to receive overtime pay under the FLSA because Weickdido has driven a vehicle



                                              1165
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1166 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4144. Plaintiff Josaphine Westendorf is an individual residing in Illinois. Westendorf

worked as a delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Westendorf has been eligible to receive overtime pay under the FLSA because Westendorf has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4145. Plaintiff Edward Weston is an individual residing in Illinois. Weston worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Weston has been eligible to

receive overtime pay under the FLSA because Weston has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4146. Plaintiff Ashley Wheatley is an individual residing in Illinois. Wheatley worked

as a delivery driver for FedEx in Illinois from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wheatley has been

eligible to receive overtime pay under the FLSA because Wheatley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4147. Plaintiff Otis Whittaker is an individual residing in Illinois. Whittaker worked as a

delivery driver for FedEx in Illinois from approximately 2009 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Whittaker has been eligible

to receive overtime pay under the FLSA because Whittaker has driven a vehicle weighing less



                                              1166
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1167 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4148. Plaintiff Pierre Wilder, Sr. is an individual residing in Illinois. Wilder worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Wilder has been eligible to

receive overtime pay under the FLSA because Wilder has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4149. Plaintiff Kesha Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4150. Plaintiff Michael Williams is an individual residing in Missouri. Williams worked

as a delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4151. Plaintiff Khalil Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing



                                               1167
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1168 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4152. Plaintiff Toshia Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4153. Plaintiff Darius Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4154. Plaintiff Khalil Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4155. Plaintiff Kevin Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been



                                              1168
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1169 of 3128




eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4156. Plaintiff Diana Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4157. Plaintiff Kelby Williams is an individual residing in Illinois. Williams worked as

a delivery driver for FedEx in Illinois from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4158. Plaintiff Marlene Wilson is an individual residing in Illinois. Wilson worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to

receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4159. Plaintiff Caryn Wilson is an individual residing in Illinois. Wilson worked as a

delivery driver for FedEx in Illinois but was employed through intermediary entities that FedEx

calls independent service providers. Wilson has been eligible to receive overtime pay under the



                                              1169
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1170 of 3128




FLSA because Wilson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4160. Plaintiff Darena Wilson is an individual residing in Illinois. Wilson worked as a

delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to

receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4161. Plaintiff Douglas Winslow is an individual residing in Illinois. Winslow worked

as a delivery driver for FedEx in Illinois from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Winslow has been

eligible to receive overtime pay under the FLSA because Winslow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4162. Plaintiff Tyler Winslow is an individual residing in Illinois. Winslow worked as a

delivery driver for FedEx in Illinois from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Winslow has been eligible

to receive overtime pay under the FLSA because Winslow has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4163. Plaintiff Tracy Winston is an individual residing in Illinois. Winston worked as a

delivery driver for FedEx in Illinois from approximately 2012 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Winston has been eligible

to receive overtime pay under the FLSA because Winston has driven a vehicle weighing less



                                              1170
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1171 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4164. Plaintiff Melisa Woker is an individual residing in Missouri. Woker worked as a

delivery driver for FedEx in Illinois from approximately 2008 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Woker has been eligible to

receive overtime pay under the FLSA because Woker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4165. Plaintiff Justine Wood is an individual residing in Illinois. Wood worked as a

delivery driver for FedEx in Illinois from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wood has been eligible to

receive overtime pay under the FLSA because Wood has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4166. Plaintiff Jermari Wordlaw is an individual residing in Illinois. Wordlaw worked

as a delivery driver for FedEx in Illinois from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wordlaw has been

eligible to receive overtime pay under the FLSA because Wordlaw has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4167. Plaintiff Shannon Wright is an individual residing in Illinois. Wright worked as a

delivery driver for FedEx in Illinois from approximately 2014 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Wright has been eligible to

receive overtime pay under the FLSA because Wright has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1171
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1172 of 3128




       4168. Plaintiff Naiyma Wright is an individual residing in Illinois. Wright worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Wright has been eligible to

receive overtime pay under the FLSA because Wright has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4169. Plaintiff Reggie Wynne is an individual residing in Illinois. Wynne worked as a

delivery driver for FedEx in Illinois from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Wynne has been eligible to

receive overtime pay under the FLSA because Wynne has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4170. Plaintiff Tyron Yancy is an individual residing in Illinois. Yancy worked as a

delivery driver for FedEx in Illinois from approximately 2011 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Yancy has been eligible to

receive overtime pay under the FLSA because Yancy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4171. Plaintiff Larry Young is an individual residing in Illinois. Young worked as a

delivery driver for FedEx in Illinois from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4172. Plaintiff Mariusz Zaborowski is an individual residing in Illinois. Zaborowski

worked as a delivery driver for FedEx in Illinois from approximately 2008 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1172
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1173 of 3128




Zaborowski has been eligible to receive overtime pay under the FLSA because Zaborowski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4173. Plaintiff Ricardo Zaragoza is an individual residing in Illinois. Zaragoza worked

as a delivery driver for FedEx in Illinois from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Zaragoza has been

eligible to receive overtime pay under the FLSA because Zaragoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4174. Plaintiff James Adamson is an individual residing in Indiana. Adamson worked as

a delivery driver for FedEx in Indiana from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Adamson has been

eligible to receive overtime pay under the FLSA because Adamson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4175. Plaintiff Shane Adkins is an individual residing in Indiana. Adkins worked as a

delivery driver for FedEx in Indiana and Georgia from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Adkins

has been eligible to receive overtime pay under the FLSA because Adkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4176. Plaintiff Brian Agee is an individual residing in Indiana. Agee worked as a

delivery driver for FedEx in Indiana from approximately 2013 to 2021 but was employed



                                              1173
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1174 of 3128




through intermediary entities that FedEx calls independent service providers. Agee has been

eligible to receive overtime pay under the FLSA because Agee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4177. Plaintiff Andrew Alcock is an individual residing in Indiana. Alcock worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Alcock has been eligible to receive overtime pay under the

FLSA because Alcock has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4178. Plaintiff Dennis Alexander is an individual residing in Indiana. Alexander worked

as a delivery driver for FedEx in Indiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alexander has been

eligible to receive overtime pay under the FLSA because Alexander has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4179. Plaintiff Michael All is an individual residing in Indiana. All worked as a delivery

driver for FedEx in Indiana from approximately 2009 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. All has been eligible to

receive overtime pay under the FLSA because All has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4180. Plaintiff Melissa Allen is an individual residing in Indiana. Allen worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Allen has been eligible to receive overtime pay under the



                                               1174
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1175 of 3128




FLSA because Allen has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4181. Plaintiff Kaleb Alvey is an individual residing in Indiana. Alvey worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alvey has been

eligible to receive overtime pay under the FLSA because Alvey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4182. Plaintiff Malavay Anderson is an individual residing in Indiana. Anderson worked

as a delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4183. Plaintiff Andrea Artis is an individual residing in Indiana. Artis worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Artis has been

eligible to receive overtime pay under the FLSA because Artis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4184. Plaintiff April Arven is an individual residing in Indiana. Arven worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Arven has been



                                              1175
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1176 of 3128




eligible to receive overtime pay under the FLSA because Arven has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4185. Plaintiff Andrea Atterberry Bloebaum is an individual residing in Indiana.

Atterberry Bloebaum worked as a delivery driver for FedEx in Indiana but was employed

through intermediary entities that FedEx calls independent service providers. Atterberry

Bloebaum has been eligible to receive overtime pay under the FLSA because Atterberry

Bloebaum has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        4186. Plaintiff Malden Baasch is an individual residing in Indiana. Baasch worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Baasch has been

eligible to receive overtime pay under the FLSA because Baasch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4187. Plaintiff Andrea Baird is an individual residing in Georgia. Baird worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baird has been

eligible to receive overtime pay under the FLSA because Baird has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4188. Plaintiff Ronnie Banks is an individual residing in Indiana. Banks worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2021 but was employed



                                              1176
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1177 of 3128




through intermediary entities that FedEx calls independent service providers. Banks has been

eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4189. Plaintiff Rick Barker is an individual residing in Florida. Barker worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Barker has been

eligible to receive overtime pay under the FLSA because Barker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4190. Plaintiff Daniel Barnett is an individual residing in Indiana. Barnett worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Barnett has been

eligible to receive overtime pay under the FLSA because Barnett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4191. Plaintiff Erica Braylock is an individual residing in Indiana. Barrero Figueredo

worked as a delivery driver for FedEx in Indiana from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Barrero

Figueredo has been eligible to receive overtime pay under the FLSA because Barrero Figueredo

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.




                                              1177
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1178 of 3128




        4192. Plaintiff Jerry Bates is an individual residing in Indiana. Bates worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bates has been

eligible to receive overtime pay under the FLSA because Bates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4193. Plaintiff Cody Beale is an individual residing in Indiana. Beale worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Beale has been

eligible to receive overtime pay under the FLSA because Beale has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4194. Plaintiff Janelle Beckom is an individual residing in Indiana. Beckom worked as a

delivery driver for FedEx in Indiana from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Beckom has been

eligible to receive overtime pay under the FLSA because Beckom has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4195. Plaintiff Andrew Beheler is an individual residing in Indiana. Beheler worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Beheler has been

eligible to receive overtime pay under the FLSA because Beheler has driven a vehicle weighing




                                               1178
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1179 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4196. Plaintiff Justin Bergman is an individual residing in Indiana. Bergman worked as

a delivery driver for FedEx in Indiana from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bergman has been

eligible to receive overtime pay under the FLSA because Bergman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4197. Plaintiff Innocent Bizimana is an individual residing in Indiana. Bizimana worked

as a delivery driver for FedEx in Indiana from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bizimana has been

eligible to receive overtime pay under the FLSA because Bizimana has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4198. Plaintiff Jonathan Bledson is an individual residing in Illinois. Bledson worked as

a delivery driver for FedEx in Indiana from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bledson has been

eligible to receive overtime pay under the FLSA because Bledson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4199. Plaintiff Michael Bline is an individual residing in Indiana. Bline worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bline has been



                                              1179
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1180 of 3128




eligible to receive overtime pay under the FLSA because Bline has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4200. Plaintiff Jamie Bowman is an individual residing in Indiana. Bowman worked as

a delivery driver for FedEx in Indiana from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bowman has been

eligible to receive overtime pay under the FLSA because Bowman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4201. Plaintiff David Brockhouse is an individual residing in Indiana. Brockhouse

worked as a delivery driver for FedEx in Indiana from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Brockhouse has been eligible to receive overtime pay under the FLSA because Brockhouse has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4202. Plaintiff Tom Brooks is an individual residing in Indiana. Brooks worked as a

delivery driver for FedEx in Indiana from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4203. Plaintiff Cory Brown is an individual residing in Indiana. Brown worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2019 but was employed



                                             1180
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1181 of 3128




through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4204. Plaintiff Jordan Buckhoy is an individual residing in Indiana. Buckhoy worked as

a delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Buckhoy has been

eligible to receive overtime pay under the FLSA because Buckhoy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4205. Plaintiff Michael Buehler is an individual residing in Indiana. Buehler worked as

a delivery driver for FedEx in Indiana from approximately 2002 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Buehler has been

eligible to receive overtime pay under the FLSA because Buehler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4206. Plaintiff Asia Buford is an individual residing in Indiana. Buford worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Buford has been eligible to receive overtime pay under the

FLSA because Buford has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4207. Plaintiff Wes Bugg is an individual residing in Kentucky. Bugg worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2024 but was employed



                                              1181
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1182 of 3128




through intermediary entities that FedEx calls independent service providers. Bugg has been

eligible to receive overtime pay under the FLSA because Bugg has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4208. Plaintiff Jason Burks is an individual residing in Indiana. Burks worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Burks has been

eligible to receive overtime pay under the FLSA because Burks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4209. Plaintiff Gerald Burns is an individual residing in Indiana. Burns worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Burns has been

eligible to receive overtime pay under the FLSA because Burns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4210. Plaintiff Brian Burton is an individual residing in Indiana. Burton worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Burton has been

eligible to receive overtime pay under the FLSA because Burton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1182
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1183 of 3128




        4211. Plaintiff Mario Campero is an individual residing in Florida. Campero worked as

a delivery driver for FedEx in Indiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Campero has been

eligible to receive overtime pay under the FLSA because Campero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4212. Plaintiff Victoria Carlson is an individual residing in Indiana. Carlson worked as a

delivery driver for FedEx in Indiana from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Carlson has been

eligible to receive overtime pay under the FLSA because Carlson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4213. Plaintiff Danielle Carstensen is an individual residing in Indiana. Carstensen

worked as a delivery driver for FedEx in Indiana from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Carstensen has been eligible to receive overtime pay under the FLSA because Carstensen has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4214. Plaintiff Sandra Carstensen is an individual residing in Indiana. Carstensen

worked as a delivery driver for FedEx in Indiana from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Carstensen has been eligible to receive overtime pay under the FLSA because Carstensen has




                                              1183
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1184 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4215. Plaintiff Tomorrow Carswell is an individual residing in Indiana. Carswell

worked as a delivery driver for FedEx in Indiana from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Carswell

has been eligible to receive overtime pay under the FLSA because Carswell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4216. Plaintiff Crosby Castro is an individual residing in Indiana. Castro worked as a

delivery driver for FedEx in Indiana from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Castro has been

eligible to receive overtime pay under the FLSA because Castro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4217. Plaintiff Eric Chalk is an individual residing in Indiana. Chalk worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chalk has been

eligible to receive overtime pay under the FLSA because Chalk has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4218. Plaintiff Jarrett Cheatham is an individual residing in Indiana. Cheatham worked

as a delivery driver for FedEx in Indiana from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Cheatham has been



                                              1184
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1185 of 3128




eligible to receive overtime pay under the FLSA because Cheatham has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4219. Plaintiff Adam Christopher is an individual residing in Indiana. Christopher

worked as a delivery driver for FedEx in Indiana from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Christopher has been eligible to receive overtime pay under the FLSA because Christopher has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4220. Plaintiff Terry Clark is an individual residing in Indiana. Clark worked as a

delivery driver for FedEx in Indiana from approximately 2006 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4221. Plaintiff Bernard Cockerell is an individual residing in Kentucky. Cockerell

worked as a delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Cockerell has been eligible to receive overtime pay under the FLSA because Cockerell has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4222. Plaintiff Robert Coffman is an individual residing in Indiana. Coffman worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that



                                              1185
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1186 of 3128




FedEx calls independent service providers. Coffman has been eligible to receive overtime pay

under the FLSA because Coffman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4223. Plaintiff Jasmine Coit is an individual residing in Indiana. Coit worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Coit has been

eligible to receive overtime pay under the FLSA because Coit has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4224. Plaintiff Damien Coleman is an individual residing in Indiana. Coleman worked

as a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4225. Plaintiff Steve Conley is an individual residing in Indiana. Conley worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Conley has been eligible to receive overtime pay under the

FLSA because Conley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4226. Plaintiff Bryant Conway is an individual residing in Indiana. Conway worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Conway has been eligible to receive overtime pay under the



                                              1186
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1187 of 3128




FLSA because Conway has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4227. Plaintiff James Cook is an individual residing in Indiana. Cook worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Cook has been

eligible to receive overtime pay under the FLSA because Cook has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4228. Plaintiff Braden Cox is an individual residing in Indiana. Cox worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cox has been

eligible to receive overtime pay under the FLSA because Cox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4229. Plaintiff Michael Daily is an individual residing in Indiana. Daily worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Daily has been

eligible to receive overtime pay under the FLSA because Daily has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4230. Plaintiff Richard Dale is an individual residing in Indiana. Dale worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Dale has been



                                              1187
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1188 of 3128




eligible to receive overtime pay under the FLSA because Dale has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4231. Plaintiff Curtis Davis is an individual residing in Illinois. Davis worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4232. Plaintiff Jerry Deckard is an individual residing in Indiana. Deckard worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Deckard has been

eligible to receive overtime pay under the FLSA because Deckard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4233. Plaintiff David Denney is an individual residing in Indiana. Denney worked as a

delivery driver for FedEx in Indiana from approximately 2000 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Denney has been

eligible to receive overtime pay under the FLSA because Denney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4234. Plaintiff Erin Devault is an individual residing in Kentucky. Devault worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2022 but was employed



                                               1188
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1189 of 3128




through intermediary entities that FedEx calls independent service providers. Devault has been

eligible to receive overtime pay under the FLSA because Devault has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4235. Plaintiff Gregory Dickert is an individual residing in Indiana. Dickert worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Dickert has been eligible to receive overtime pay under the

FLSA because Dickert has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4236. Plaintiff Jacob Doan is an individual residing in California. Doan worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Doan has been

eligible to receive overtime pay under the FLSA because Doan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4237. Plaintiff Clifford Doane is an individual residing in Indiana. Doane worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Doane has been

eligible to receive overtime pay under the FLSA because Doane has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4238. Plaintiff Jeff Doll is an individual residing in Indiana. Doll worked as a delivery

driver for FedEx in Indiana but was employed through intermediary entities that FedEx calls



                                               1189
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1190 of 3128




independent service providers. Doll has been eligible to receive overtime pay under the FLSA

because Doll has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4239. Plaintiff Donald Dowden is an individual residing in Indiana. Dowden worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Dowden has been eligible to receive overtime pay

under the FLSA because Dowden has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4240. Plaintiff Darrenn Dray is an individual residing in Indiana. Dray worked as a

delivery driver for FedEx in Indiana from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dray has been

eligible to receive overtime pay under the FLSA because Dray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4241. Plaintiff Alvin Dukes is an individual residing in Indiana. Dukes worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Dukes has been eligible to receive overtime pay under the

FLSA because Dukes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4242. Plaintiff William Dunkley is an individual residing in Indiana. Dunkley worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Dunkley has been eligible to receive overtime pay




                                              1190
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1191 of 3128




under the FLSA because Dunkley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4243. Plaintiff Kent Earles is an individual residing in Indiana. Earles worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Earles has been

eligible to receive overtime pay under the FLSA because Earles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4244. Plaintiff Michael Easler is an individual residing in Indiana. Easler worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Easler has been

eligible to receive overtime pay under the FLSA because Easler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4245. Plaintiff Merrill Eggleston is an individual residing in Indiana. Eggleston worked

as a delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Eggleston has been

eligible to receive overtime pay under the FLSA because Eggleston has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4246. Plaintiff Adam Ellis is an individual residing in Ohio. Ellis worked as a delivery

driver for FedEx in Indiana from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ellis has been eligible to



                                               1191
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1192 of 3128




receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4247. Plaintiff Dalton Faughn is an individual residing in Illinois. Faughn worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Faughn has been

eligible to receive overtime pay under the FLSA because Faughn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4248. Plaintiff Thomas Fisher is an individual residing in Indiana. Fisher worked as a

delivery driver for FedEx in Indiana from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fisher has been

eligible to receive overtime pay under the FLSA because Fisher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4249. Plaintiff Melanie Floyd is an individual residing in Indiana. Floyd worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Floyd has been

eligible to receive overtime pay under the FLSA because Floyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4250. Plaintiff Jason Forte is an individual residing in Indiana. Forte worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Forte has been



                                               1192
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1193 of 3128




eligible to receive overtime pay under the FLSA because Forte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4251. Plaintiff Brian Freeney is an individual residing in Illinois. Freeney worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Freeney has been

eligible to receive overtime pay under the FLSA because Freeney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4252. Plaintiff Jordan Freon is an individual residing in Indiana. Freon worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Freon has been eligible to receive overtime pay under the

FLSA because Freon has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4253. Plaintiff Dwayne Fyffe is an individual residing in Indiana. Fyffe worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fyffe has been

eligible to receive overtime pay under the FLSA because Fyffe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4254. Plaintiff Laurie Gibson is an individual residing in Kentucky. Gibson worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Gibson has been eligible to receive overtime pay under the



                                               1193
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1194 of 3128




FLSA because Gibson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4255. Plaintiff Doris Gillespie is an individual residing in Illinois. Gillespie worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gillespie has been

eligible to receive overtime pay under the FLSA because Gillespie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4256. Plaintiff Dawan Glenn is an individual residing in Indiana. Glenn worked as a

delivery driver for FedEx in Indiana from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Glenn has been

eligible to receive overtime pay under the FLSA because Glenn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4257. Plaintiff Tanilleya Glenn is an individual residing in Indiana. Glenn worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Glenn has been

eligible to receive overtime pay under the FLSA because Glenn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4258. Plaintiff Sharon Glover is an individual residing in Indiana. Glover worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Glover has been



                                               1194
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1195 of 3128




eligible to receive overtime pay under the FLSA because Glover has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4259. Plaintiff Jeffrey Goins is an individual residing in Kentucky. Goins worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Goins has been

eligible to receive overtime pay under the FLSA because Goins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4260. Plaintiff Austin Gonzales is an individual residing in Indiana. Gonzales worked as

a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzales has been

eligible to receive overtime pay under the FLSA because Gonzales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4261. Plaintiff Jordan Gonzalez is an individual residing in Indiana. Gonzalez worked as

a delivery driver for FedEx in Indiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4262. Plaintiff Laborde Graham is an individual residing in Indiana. Graham worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that



                                              1195
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1196 of 3128




FedEx calls independent service providers. Graham has been eligible to receive overtime pay

under the FLSA because Graham has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4263. Plaintiff Ryan Green is an individual residing in Indiana. Green worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4264. Plaintiff Carlston Green is an individual residing in Indiana. Green worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4265. Plaintiff Noel Guerra Jr is an individual residing in California. Guerra Jr worked

as a delivery driver for FedEx in Indiana from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Guerra Jr has been

eligible to receive overtime pay under the FLSA because Guerra Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4266. Plaintiff Tony Guffey is an individual residing in Indiana. Guffey worked as a

delivery driver for FedEx in Indiana from approximately 2013 to 2023 but was employed



                                              1196
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1197 of 3128




through intermediary entities that FedEx calls independent service providers. Guffey has been

eligible to receive overtime pay under the FLSA because Guffey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4267. Plaintiff William Guy is an individual residing in Indiana. Guy worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Guy has been

eligible to receive overtime pay under the FLSA because Guy has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4268. Plaintiff Donearl Hardy is an individual residing in Indiana. Hardy worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Hardy has been eligible to receive overtime pay under the

FLSA because Hardy has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4269. Plaintiff Paul Harper is an individual residing in Indiana. Harper worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Harper has been

eligible to receive overtime pay under the FLSA because Harper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4270. Plaintiff Jacqueline Harris is an individual residing in Indiana. Harris worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx



                                               1197
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1198 of 3128




calls independent service providers. Harris has been eligible to receive overtime pay under the

FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4271. Plaintiff Brittany Harrison is an individual residing in Illinois. Harrison worked as

a delivery driver for FedEx in Indiana from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4272. Plaintiff Rexie Harry is an individual residing in Illinois. Harry worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Harry has been eligible to receive overtime pay under the

FLSA because Harry has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4273. Plaintiff Daniel Hawkins is an individual residing in Indiana. Hawkins worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Hawkins has been eligible to receive overtime pay

under the FLSA because Hawkins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4274. Plaintiff Jacque Hayes is an individual residing in Indiana. Hayes worked as a

delivery driver for FedEx in Indiana from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing



                                               1198
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1199 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4275. Plaintiff Robert Helfert is an individual residing in Indiana. Helfert worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Helfert has been

eligible to receive overtime pay under the FLSA because Helfert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4276. Plaintiff Shane Hemrich is an individual residing in Indiana. Hemrich worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hemrich has been

eligible to receive overtime pay under the FLSA because Hemrich has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4277. Plaintiff Paul Henrich is an individual residing in Indiana. Henrich worked as a

delivery driver for FedEx in Indiana from approximately 2006 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Henrich has been

eligible to receive overtime pay under the FLSA because Henrich has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4278. Plaintiff Kris Hilt is an individual residing in Indiana. Hilt worked as a delivery

driver for FedEx in Indiana but was employed through intermediary entities that FedEx calls

independent service providers. Hilt has been eligible to receive overtime pay under the FLSA



                                               1199
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1200 of 3128




because Hilt has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4279. Plaintiff Martina Hobbs is an individual residing in Indiana. Hobbs worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Hobbs has been eligible to receive overtime pay under the

FLSA because Hobbs has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4280. Plaintiff Bruce Hobbs is an individual residing in Indiana. Hobbs worked as a

delivery driver for FedEx in Indiana from approximately 1998 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hobbs has been

eligible to receive overtime pay under the FLSA because Hobbs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4281. Plaintiff Jared Hopf is an individual residing in Indiana. Hopf worked as a

delivery driver for FedEx in Indiana from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hopf has been

eligible to receive overtime pay under the FLSA because Hopf has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4282. Plaintiff Steven Hopkins is an individual residing in Indiana. Hopkins worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Hopkins has been eligible to receive overtime pay under the




                                              1200
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1201 of 3128




FLSA because Hopkins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4283. Plaintiff Jordan Hostetler is an individual residing in Indiana. Hostetler worked as

a delivery driver for FedEx in Indiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hostetler has been

eligible to receive overtime pay under the FLSA because Hostetler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4284. Plaintiff Keith Howard is an individual residing in Indiana. Howard worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Howard has been eligible to receive overtime pay under the

FLSA because Howard has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4285. Plaintiff Lawrence Howell is an individual residing in Indiana. Howell worked as

a delivery driver for FedEx in Indiana from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Howell has been

eligible to receive overtime pay under the FLSA because Howell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4286. Plaintiff Jerry Hudson is an individual residing in Indiana. Hudson worked as a

delivery driver for FedEx in Indiana from approximately 1996 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been

eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing



                                               1201
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1202 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4287. Plaintiff Richard Huffman is an individual residing in Indiana. Huffman worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Huffman has been eligible to receive overtime pay

under the FLSA because Huffman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4288. Plaintiff Nicholas Hughbanks is an individual residing in Indiana. Hughbanks

worked as a delivery driver for FedEx in Indiana from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Hughbanks has been eligible to receive overtime pay under the FLSA because Hughbanks has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4289. Plaintiff Tamara Ivy is an individual residing in Illinois. Ivy worked as a delivery

driver for FedEx in Indiana from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Ivy has been eligible to

receive overtime pay under the FLSA because Ivy has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4290. Plaintiff Antiwan Jackson is an individual residing in Arizona. Jackson worked as

a delivery driver for FedEx in Indiana and California from approximately 2013 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Jackson

has been eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle




                                               1202
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1203 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4291. Plaintiff Gary Jefferies is an individual residing in Indiana. Jefferies worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jefferies has been

eligible to receive overtime pay under the FLSA because Jefferies has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4292. Plaintiff Jerome Jenkins is an individual residing in Illinois. Jenkins worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4293. Plaintiff Terry Johnson is an individual residing in Indiana. Johnson worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4294. Plaintiff Trent Johnson is an individual residing in Indiana. Johnson worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been



                                               1203
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1204 of 3128




eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4295. Plaintiff David Johnson is an individual residing in Indiana. Johnson worked as a

delivery driver for FedEx in Indiana from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4296. Plaintiff Daralice Johnson is an individual residing in Indiana. Johnson worked as

a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4297. Plaintiff Anatalie Johnson is an individual residing in Georgia. Johnson worked as

a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4298. Plaintiff Eugene Johnson is an individual residing in Indiana. Johnson worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that



                                              1204
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1205 of 3128




FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4299. Plaintiff Bryan Johnson is an individual residing in Indiana. Johnson worked as a

delivery driver for FedEx in Indiana from approximately 1995 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4300. Plaintiff Jermaine Johnson is an individual residing in Kentucky. Johnson worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4301. Plaintiff James Johnston is an individual residing in Indiana. Johnston worked as

a delivery driver for FedEx in Indiana from approximately 2002 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Johnston has been

eligible to receive overtime pay under the FLSA because Johnston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4302. Plaintiff Casey Jones is an individual residing in Indiana. Jones worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2020 but was employed



                                              1205
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1206 of 3128




through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4303. Plaintiff Michael Jones is an individual residing in Indiana. Jones worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4304. Plaintiff Corey Jones is an individual residing in Indiana. Jones worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4305. Plaintiff Allan Jordan is an individual residing in Illinois. Jordan worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jordan has been

eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1206
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1207 of 3128




        4306. Plaintiff Jeff Joslin is an individual residing in Indiana. Joslin worked as a

delivery driver for FedEx in Indiana from approximately 2004 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Joslin has been

eligible to receive overtime pay under the FLSA because Joslin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4307. Plaintiff Jessica Kayrouz is an individual residing in Indiana. Kayrouz worked as

a delivery driver for FedEx in Indiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kayrouz has been

eligible to receive overtime pay under the FLSA because Kayrouz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4308. Plaintiff Kyle Kegeris is an individual residing in Indiana. Kegeris worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kegeris has been

eligible to receive overtime pay under the FLSA because Kegeris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4309. Plaintiff Ahkiem Kelley is an individual residing in Indiana. Kelley worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Kelley has been eligible to receive overtime pay under the

FLSA because Kelley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               1207
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1208 of 3128




        4310. Plaintiff Kyle Kessler is an individual residing in Indiana. Kessler worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Kessler has been

eligible to receive overtime pay under the FLSA because Kessler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4311. Plaintiff Melody Kitakis is an individual residing in Illinois. Kitakis worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Kitakis has been eligible to receive overtime pay under the

FLSA because Kitakis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4312. Plaintiff Erika Kliessendorff is an individual residing in Indiana. Kliessendorff

worked as a delivery driver for FedEx in Indiana from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Kliessendorff has been eligible to receive overtime pay under the FLSA because Kliessendorff

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        4313. Plaintiff Michelle Knose-Partin is an individual residing in Indiana. Knose-Partin

worked as a delivery driver for FedEx in Indiana but was employed through intermediary entities

that FedEx calls independent service providers. Knose-Partin has been eligible to receive

overtime pay under the FLSA because Knose-Partin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1208
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1209 of 3128




        4314. Plaintiff Roy Kuhn is an individual residing in Indiana. Kuhn worked as a

delivery driver for FedEx in Indiana from approximately 2005 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Kuhn has been

eligible to receive overtime pay under the FLSA because Kuhn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4315. Plaintiff Michael Lawhead is an individual residing in Indiana. Lawhead worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Lawhead has been eligible to receive overtime pay

under the FLSA because Lawhead has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4316. Plaintiff Ronald Lee is an individual residing in Kentucky. Lee worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4317. Plaintiff Brandy Lepird is an individual residing in Indiana. Lepird worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lepird has been

eligible to receive overtime pay under the FLSA because Lepird has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1209
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1210 of 3128




        4318. Plaintiff Ashley Lindsey is an individual residing in Indiana. Lindsey worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Lindsey has been eligible to receive overtime pay under the

FLSA because Lindsey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4319. Plaintiff Bernadette Lofton is an individual residing in Illinois. Lofton worked as

a delivery driver for FedEx in Indiana from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lofton has been

eligible to receive overtime pay under the FLSA because Lofton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4320. Plaintiff Jesse Losch is an individual residing in Indiana. Losch worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Losch has been

eligible to receive overtime pay under the FLSA because Losch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4321. Plaintiff Trevin Lottie is an individual residing in Indiana. Lottie worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lottie has been

eligible to receive overtime pay under the FLSA because Lottie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1210
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1211 of 3128




        4322. Plaintiff Lanessia Love is an individual residing in Illinois. Love worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Love has been

eligible to receive overtime pay under the FLSA because Love has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4323. Plaintiff Matthew Macklin is an individual residing in Indiana. Macklin worked as

a delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Macklin has been

eligible to receive overtime pay under the FLSA because Macklin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4324. Plaintiff Lawrence Macon is an individual residing in Indiana. Macon worked as a

delivery driver for FedEx in Indiana from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Macon has been

eligible to receive overtime pay under the FLSA because Macon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4325. Plaintiff Francisco Maldonado is an individual residing in Indiana. Maldonado

worked as a delivery driver for FedEx in Indiana from approximately 2014 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Maldonado has been eligible to receive overtime pay under the FLSA because Maldonado has




                                              1211
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1212 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4326. Plaintiff Joshua Mann is an individual residing in Indiana. Mann worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mann has been

eligible to receive overtime pay under the FLSA because Mann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4327. Plaintiff Donovan Mann is an individual residing in Indiana. Mann worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Mann has been eligible to receive overtime pay under the

FLSA because Mann has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4328. Plaintiff Nicholas Marple is an individual residing in Indiana. Marple worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Marple has been

eligible to receive overtime pay under the FLSA because Marple has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4329. Plaintiff Mark Marsh is an individual residing in Indiana. Marsh worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Marsh has been

eligible to receive overtime pay under the FLSA because Marsh has driven a vehicle weighing



                                              1212
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1213 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4330. Plaintiff Chris Martin is an individual residing in Indiana. Martin worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4331. Plaintiff Craig Masengale is an individual residing in Indiana. Masengale worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Masengale has

been eligible to receive overtime pay under the FLSA because Masengale has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4332. Plaintiff Eric Maus is an individual residing in Indiana. Maus worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Maus has been

eligible to receive overtime pay under the FLSA because Maus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4333. Plaintiff Angela Mayfield is an individual residing in Indiana. Mayfield worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Mayfield has been eligible to receive overtime pay



                                              1213
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1214 of 3128




under the FLSA because Mayfield has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4334. Plaintiff Jonte Mcbride is an individual residing in Indiana. Mcbride worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mcbride has been

eligible to receive overtime pay under the FLSA because Mcbride has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4335. Plaintiff Brandon Mcdonald is an individual residing in Indiana. Mcdonald

worked as a delivery driver for FedEx in Indiana from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdonald has been eligible to receive overtime pay under the FLSA because Mcdonald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4336. Plaintiff Terrence Mcgrew is an individual residing in Texas. Mcgrew worked as

a delivery driver for FedEx in Indiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mcgrew has been

eligible to receive overtime pay under the FLSA because Mcgrew has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4337. Plaintiff Michael Mcintyre Jr is an individual residing in Indiana. Mcintyre Jr

worked as a delivery driver for FedEx in Indiana from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Mcintyre



                                              1214
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1215 of 3128




Jr has been eligible to receive overtime pay under the FLSA because Mcintyre Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        4338. Plaintiff Aaron Mckillip is an individual residing in Indiana. Mckillip worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mckillip has been

eligible to receive overtime pay under the FLSA because Mckillip has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4339. Plaintiff Patrick Mcnamara is an individual residing in Indiana. Mcnamara

worked as a delivery driver for FedEx in Indiana from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcnamara has been eligible to receive overtime pay under the FLSA because Mcnamara has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4340. Plaintiff Sheldon Mcnary is an individual residing in Indiana. Mcnary worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mcnary has been

eligible to receive overtime pay under the FLSA because Mcnary has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4341. Plaintiff David Mcqueen is an individual residing in Indiana. Mcqueen worked as

a delivery driver for FedEx in Indiana from approximately 2016 to 2018 but was employed



                                              1215
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1216 of 3128




through intermediary entities that FedEx calls independent service providers. Mcqueen has been

eligible to receive overtime pay under the FLSA because Mcqueen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4342. Plaintiff Scott Meriwether is an individual residing in Indiana. Meriwether

worked as a delivery driver for FedEx in Indiana from approximately 2003 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Meriwether has been eligible to receive overtime pay under the FLSA because Meriwether has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4343. Plaintiff Joseph Miller is an individual residing in Indiana. Miller worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Miller has been eligible to receive overtime pay under the

FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4344. Plaintiff Sara Miskell is an individual residing in Indiana. Miskell worked as a

delivery driver for FedEx in Indiana from approximately 2023 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Miskell has been

eligible to receive overtime pay under the FLSA because Miskell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4345. Plaintiff Jason Bebley is an individual residing in Indiana. Mitchell worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed



                                               1216
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1217 of 3128




through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4346. Plaintiff Jeffrey Molden is an individual residing in Indiana. Molden worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Molden has been

eligible to receive overtime pay under the FLSA because Molden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4347. Plaintiff Kevin Moody is an individual residing in Indiana. Moody worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Moody has been eligible to receive overtime pay under the

FLSA because Moody has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4348. Plaintiff Lera Moore is an individual residing in Illinois. Moore worked as a

delivery driver for FedEx in Indiana from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4349. Plaintiff Edward Muir is an individual residing in Indiana. Muir worked as a

delivery driver for FedEx in Indiana from approximately 2011 to 2019 but was employed



                                              1217
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1218 of 3128




through intermediary entities that FedEx calls independent service providers. Muir has been

eligible to receive overtime pay under the FLSA because Muir has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4350. Plaintiff Eric Mullins is an individual residing in Indiana. Mullins worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mullins has been

eligible to receive overtime pay under the FLSA because Mullins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4351. Plaintiff Dustin Musgrove is an individual residing in Indiana. Musgrove worked

as a delivery driver for FedEx in Indiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Musgrove has been

eligible to receive overtime pay under the FLSA because Musgrove has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4352. Plaintiff Anton Netter is an individual residing in Illinois. Netter worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Netter has been

eligible to receive overtime pay under the FLSA because Netter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1218
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1219 of 3128




       4353. Plaintiff Mark Nettinga is an individual residing in Indiana. Nettinga worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Nettinga has been eligible to receive overtime pay under the

FLSA because Nettinga has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4354. Plaintiff Matthew Neumann is an individual residing in Indiana. Neumann

worked as a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Neumann has been eligible to receive overtime pay under the FLSA because Neumann has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4355. Plaintiff Phuoc Ngo is an individual residing in Indiana. Ngo worked as a delivery

driver for FedEx in Indiana from approximately 2002 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ngo has been eligible to

receive overtime pay under the FLSA because Ngo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4356. Plaintiff Ryan Nicholson is an individual residing in Indiana. Nicholson worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Nicholson has been eligible to receive overtime pay

under the FLSA because Nicholson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       4357. Plaintiff John Noerenberg is an individual residing in Indiana. Noerenberg

worked as a delivery driver for FedEx in Indiana from approximately 2014 to 2018 but was



                                              1219
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1220 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Noerenberg has been eligible to receive overtime pay under the FLSA because Noerenberg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4358. Plaintiff Azmar Northington is an individual residing in Indiana. Northington

worked as a delivery driver for FedEx in Indiana from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Northington has been eligible to receive overtime pay under the FLSA because Northington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4359. Plaintiff Jim Nungester is an individual residing in Indiana. Nungester worked as

a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Nungester has been eligible to receive overtime pay

under the FLSA because Nungester has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        4360. Plaintiff Kiel Nunn is an individual residing in Indiana. Nunn worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nunn has been

eligible to receive overtime pay under the FLSA because Nunn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4361. Plaintiff Elijah Nyles is an individual residing in Indiana. Nyles worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed



                                              1220
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1221 of 3128




through intermediary entities that FedEx calls independent service providers. Nyles has been

eligible to receive overtime pay under the FLSA because Nyles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4362. Plaintiff Gerald Olson is an individual residing in Indiana. Olson worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Olson has been eligible to receive overtime pay under the

FLSA because Olson has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4363. Plaintiff Jackie Ori is an individual residing in Kentucky. Ori worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Ori has been eligible to receive overtime pay under the

FLSA because Ori has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4364. Plaintiff Christopher Owens is an individual residing in Indiana. Owens worked

as a delivery driver for FedEx in Indiana from approximately 1994 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4365. Plaintiff Keith Palmer is an individual residing in Indiana. Palmer worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Palmer has been



                                              1221
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1222 of 3128




eligible to receive overtime pay under the FLSA because Palmer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4366. Plaintiff Mark Palmer is an individual residing in Indiana. Palmer worked as a

delivery driver for FedEx in Indiana from approximately 2008 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Palmer has been

eligible to receive overtime pay under the FLSA because Palmer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4367. Plaintiff Michael Palmer is an individual residing in Indiana. Palmer worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Palmer has been

eligible to receive overtime pay under the FLSA because Palmer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4368. Plaintiff Anthony Parker is an individual residing in Indiana. Parker worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4369. Plaintiff William Partee is an individual residing in Indiana. Partee worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2021 but was employed



                                              1222
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1223 of 3128




through intermediary entities that FedEx calls independent service providers. Partee has been

eligible to receive overtime pay under the FLSA because Partee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4370. Plaintiff Robert Pattengale is an individual residing in Indiana. Pattengale worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Pattengale has been eligible to receive overtime pay

under the FLSA because Pattengale has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        4371. Plaintiff Eric Paul is an individual residing in Indiana. Paul worked as a delivery

driver for FedEx in Indiana from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Paul has been eligible to

receive overtime pay under the FLSA because Paul has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4372. Plaintiff Sara Pegg is an individual residing in Indiana. Pegg worked as a delivery

driver for FedEx in Indiana but was employed through intermediary entities that FedEx calls

independent service providers. Pegg has been eligible to receive overtime pay under the FLSA

because Pegg has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4373. Plaintiff Anthony Perry is an individual residing in Indiana. Perry worked as a

delivery driver for FedEx in Indiana from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing



                                               1223
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1224 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4374. Plaintiff Mark Peters is an individual residing in Indiana. Peters worked as a

delivery driver for FedEx in Indiana from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Peters has been

eligible to receive overtime pay under the FLSA because Peters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4375. Plaintiff Kelly Petty is an individual residing in Indiana. Petty worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Petty has been

eligible to receive overtime pay under the FLSA because Petty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4376. Plaintiff Todd Phillips is an individual residing in Indiana. Phillips worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been

eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4377. Plaintiff Brittany Phillips is an individual residing in Indiana. Phillips worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been



                                               1224
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1225 of 3128




eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4378. Plaintiff Hannah Pickett is an individual residing in Indiana. Pickett worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pickett has been

eligible to receive overtime pay under the FLSA because Pickett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4379. Plaintiff Walter Piech is an individual residing in Illinois. Piech worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Piech has been

eligible to receive overtime pay under the FLSA because Piech has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4380. Plaintiff Greg Pinkston is an individual residing in Indiana. Pinkston worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Pinkston has been eligible to receive overtime pay under the

FLSA because Pinkston has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4381. Plaintiff David Plaiss is an individual residing in Indiana. Plaiss worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Plaiss has been



                                               1225
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1226 of 3128




eligible to receive overtime pay under the FLSA because Plaiss has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4382. Plaintiff Brenton Mott is an individual residing in Indiana. Polanco worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Polanco has been eligible to receive overtime pay under the

FLSA because Polanco has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4383. Plaintiff William Mounts is an individual residing in Michigan. Polanco worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Polanco has been

eligible to receive overtime pay under the FLSA because Polanco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4384. Plaintiff Joseph Price is an individual residing in Indiana. Price worked as a

delivery driver for FedEx in Indiana from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Price has been

eligible to receive overtime pay under the FLSA because Price has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4385. Plaintiff Jhirmon Price is an individual residing in Indiana. Price worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Price has been



                                               1226
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1227 of 3128




eligible to receive overtime pay under the FLSA because Price has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4386. Plaintiff Lawrence Quill is an individual residing in Kentucky. Quill worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Quill has been

eligible to receive overtime pay under the FLSA because Quill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4387. Plaintiff Cory Radcliffe is an individual residing in Montana. Radcliffe worked as

a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Radcliffe has been

eligible to receive overtime pay under the FLSA because Radcliffe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4388. Plaintiff Mark Ragsdale is an individual residing in Indiana. Ragsdale worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ragsdale has been

eligible to receive overtime pay under the FLSA because Ragsdale has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4389. Plaintiff Idris Rahmaan is an individual residing in Indiana. Rahmaan worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed



                                              1227
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1228 of 3128




through intermediary entities that FedEx calls independent service providers. Rahmaan has been

eligible to receive overtime pay under the FLSA because Rahmaan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4390. Plaintiff Corey Razer is an individual residing in Indiana. Razer worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Razer has been eligible to receive overtime pay under the

FLSA because Razer has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4391. Plaintiff Shawn Rhymer is an individual residing in Indiana. Rhymer worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Rhymer has been

eligible to receive overtime pay under the FLSA because Rhymer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4392. Plaintiff Travis Richards is an individual residing in Indiana. Richards worked as

a delivery driver for FedEx in Indiana from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Richards has been

eligible to receive overtime pay under the FLSA because Richards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4393. Plaintiff Cory Ridenour is an individual residing in Indiana. Ridenour worked as a

delivery driver for FedEx in Indiana from approximately 2005 to 2021 but was employed



                                              1228
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 1229 of 3128




through intermediary entities that FedEx calls independent service providers. Ridenour has been

eligible to receive overtime pay under the FLSA because Ridenour has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4394. Plaintiff Mark Ridgeway is an individual residing in Indiana. Ridgeway worked

as a delivery driver for FedEx in Indiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ridgeway has been

eligible to receive overtime pay under the FLSA because Ridgeway has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4395. Plaintiff Kevin Rios is an individual residing in Illinois. Rios worked as a delivery

driver for FedEx in Indiana but was employed through intermediary entities that FedEx calls

independent service providers. Rios has been eligible to receive overtime pay under the FLSA

because Rios has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4396. Plaintiff Bill Ritter is an individual residing in Indiana. Ritter worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ritter has been

eligible to receive overtime pay under the FLSA because Ritter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4397. Plaintiff Jesse Roberts is an individual residing in Indiana. Roberts worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed



                                                1229
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1230 of 3128




through intermediary entities that FedEx calls independent service providers. Roberts has been

eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4398. Plaintiff Marcus Robertson is an individual residing in Illinois. Robertson worked

as a delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Robertson has been

eligible to receive overtime pay under the FLSA because Robertson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4399. Plaintiff Micheal Robinson is an individual residing in Indiana. Robinson worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4400. Plaintiff Thurman Rogers is an individual residing in Indiana. Rogers worked as a

delivery driver for FedEx in Indiana from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rogers has been

eligible to receive overtime pay under the FLSA because Rogers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1230
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1231 of 3128




        4401. Plaintiff Jared Rose is an individual residing in Indiana. Rose worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rose has been

eligible to receive overtime pay under the FLSA because Rose has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4402. Plaintiff Steve Ruckman is an individual residing in Alabama. Ruckman worked

as a delivery driver for FedEx in Indiana from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ruckman has been

eligible to receive overtime pay under the FLSA because Ruckman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4403. Plaintiff Robert Salinas is an individual residing in Indiana. Salinas worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Salinas has been eligible to receive overtime pay under the

FLSA because Salinas has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4404. Plaintiff Benjamin Salyer is an individual residing in Florida. Salyer worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Salyer has been

eligible to receive overtime pay under the FLSA because Salyer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1231
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1232 of 3128




        4405. Plaintiff Stephen Sanders is an individual residing in Indiana. Sanders worked as

a delivery driver for FedEx in Indiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4406. Plaintiff Richard Sanoguet is an individual residing in Illinois. Sanoguet worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sanoguet has been

eligible to receive overtime pay under the FLSA because Sanoguet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4407. Plaintiff Daniel Savage is an individual residing in Indiana. Savage worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Savage has been eligible to receive overtime pay under the

FLSA because Savage has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4408. Plaintiff Michael Schorr is an individual residing in South Carolina. Schorr

worked as a delivery driver for FedEx in Indiana and South Carolina from approximately 2021 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Schorr has been eligible to receive overtime pay under the FLSA because Schorr has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1232
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1233 of 3128




        4409. Plaintiff Britton Schultz is an individual residing in Indiana. Schultz worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Schultz has been

eligible to receive overtime pay under the FLSA because Schultz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4410. Plaintiff Derrick Sconiers is an individual residing in Illinois. Sconiers worked as

a delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sconiers has been

eligible to receive overtime pay under the FLSA because Sconiers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4411. Plaintiff William Scott is an individual residing in Illinois. Scott worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Scott has been eligible to receive overtime pay under the

FLSA because Scott has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4412. Plaintiff William Seibert is an individual residing in Indiana. Seibert worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Seibert has been

eligible to receive overtime pay under the FLSA because Seibert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1233
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1234 of 3128




        4413. Plaintiff Eric Sellers is an individual residing in Kentucky. Sellers worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sellers has been

eligible to receive overtime pay under the FLSA because Sellers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4414. Plaintiff Lisa Sharp is an individual residing in Indiana. Sharp worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sharp has been

eligible to receive overtime pay under the FLSA because Sharp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4415. Plaintiff Jimmy Sheese is an individual residing in Indiana. Sheese worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sheese has been

eligible to receive overtime pay under the FLSA because Sheese has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4416. Plaintiff Gregory Sherrow is an individual residing in Indiana. Sherrow worked as

a delivery driver for FedEx in Indiana from approximately 1992 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Sherrow has been

eligible to receive overtime pay under the FLSA because Sherrow has driven a vehicle weighing




                                               1234
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1235 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4417. Plaintiff Rosalind Shockley is an individual residing in Indiana. Shockley worked

as a delivery driver for FedEx in Indiana from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shockley has been

eligible to receive overtime pay under the FLSA because Shockley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4418. Plaintiff Christopher Simons is an individual residing in Arizona. Simons worked

as a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Simons has been

eligible to receive overtime pay under the FLSA because Simons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4419. Plaintiff Caleb Sims is an individual residing in Indiana. Sims worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Sims has been eligible to receive overtime pay under the

FLSA because Sims has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4420. Plaintiff Jeffrey Sinder is an individual residing in Indiana. Sinder worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Sinder has been eligible to receive overtime pay under the




                                               1235
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1236 of 3128




FLSA because Sinder has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4421. Plaintiff Jefferson Slaton is an individual residing in Kentucky. Slaton worked as

a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Slaton has been

eligible to receive overtime pay under the FLSA because Slaton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4422. Plaintiff Keenan Smith is an individual residing in Illinois. Smith worked as a

delivery driver for FedEx in Indiana from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4423. Plaintiff Brion Smith is an individual residing in Illinois. Smith worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Smith has been eligible to receive overtime pay under the

FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4424. Plaintiff David Smith is an individual residing in Indiana. Smith worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                               1236
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1237 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4425. Plaintiff Patrick Smith Jr. is an individual residing in Indiana. Smith Jr. worked as

a delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith Jr. has been

eligible to receive overtime pay under the FLSA because Smith Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4426. Plaintiff Patrick Snay is an individual residing in Indiana. Snay worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Snay has been eligible to receive overtime pay under the

FLSA because Snay has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4427. Plaintiff Aaron Snyder is an individual residing in Ohio. Snyder worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Snyder has been

eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4428. Plaintiff Kyle Sparkman is an individual residing in Indiana. Sparkman worked as

a delivery driver for FedEx in Indiana from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sparkman has been

eligible to receive overtime pay under the FLSA because Sparkman has driven a vehicle



                                               1237
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1238 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4429. Plaintiff Cody Sprinkle is an individual residing in Indiana. Sprinkle worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sprinkle has been

eligible to receive overtime pay under the FLSA because Sprinkle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4430. Plaintiff George Barre is an individual residing in Kentucky. Srouji worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Srouji has been

eligible to receive overtime pay under the FLSA because Srouji has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4431. Plaintiff Pearl Staalenburg is an individual residing in Indiana. Staalenburg

worked as a delivery driver for FedEx in Indiana from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Staalenburg has been eligible to receive overtime pay under the FLSA because Staalenburg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4432. Plaintiff Julian Steans is an individual residing in Indiana. Steans worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Steans has been eligible to receive overtime pay under the



                                               1238
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1239 of 3128




FLSA because Steans has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4433. Plaintiff Richy Steele is an individual residing in Ohio. Steele worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Steele has been

eligible to receive overtime pay under the FLSA because Steele has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4434. Plaintiff Erin Steinway is an individual residing in Indiana. Steinway worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Steinway has been

eligible to receive overtime pay under the FLSA because Steinway has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4435. Plaintiff Tomika Stewart is an individual residing in Illinois. Stewart worked as a

delivery driver for FedEx in Indiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4436. Plaintiff Lyndsey Strouse is an individual residing in Indiana. Strouse worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Strouse has been



                                              1239
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1240 of 3128




eligible to receive overtime pay under the FLSA because Strouse has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4437. Plaintiff Jeffery Stuckey is an individual residing in Indiana. Stuckey worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Stuckey has been

eligible to receive overtime pay under the FLSA because Stuckey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4438. Plaintiff Thomas Swanson is an individual residing in Kentucky. Swanson

worked as a delivery driver for FedEx in Indiana from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Swanson

has been eligible to receive overtime pay under the FLSA because Swanson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4439. Plaintiff Amber Tepe is an individual residing in Indiana. Tepe worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Tepe has been eligible to receive overtime pay under the

FLSA because Tepe has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4440. Plaintiff Anthony Thevenot is an individual residing in Indiana. Thevenot worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thevenot has been



                                              1240
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1241 of 3128




eligible to receive overtime pay under the FLSA because Thevenot has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4441. Plaintiff Kenneth Thompson is an individual residing in Indiana. Thompson

worked as a delivery driver for FedEx in Indiana from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4442. Plaintiff Samuel Thompson is an individual residing in Indiana. Thompson

worked as a delivery driver for FedEx in Indiana from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4443. Plaintiff Michael Thompson is an individual residing in Indiana. Thompson

worked as a delivery driver for FedEx in Indiana from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4444. Plaintiff Bobby Tinsley is an individual residing in Indiana. Tinsley worked as a

delivery driver for FedEx in Indiana from approximately 2021 to 2022 but was employed



                                              1241
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1242 of 3128




through intermediary entities that FedEx calls independent service providers. Tinsley has been

eligible to receive overtime pay under the FLSA because Tinsley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4445. Plaintiff Marcus Trotter is an individual residing in Illinois. Trotter worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Trotter has been eligible to receive overtime pay under the

FLSA because Trotter has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4446. Plaintiff Marilynn Tucker is an individual residing in Illinois. Tucker worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Tucker has been

eligible to receive overtime pay under the FLSA because Tucker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4447. Plaintiff Ryan Urbain is an individual residing in Indiana. Urbain worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Urbain has been eligible to receive overtime pay under the

FLSA because Urbain has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4448. Plaintiff James Van Tilburg is an individual residing in Indiana. Van Tilburg

worked as a delivery driver for FedEx in Indiana from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Van



                                               1242
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1243 of 3128




Tilburg has been eligible to receive overtime pay under the FLSA because Van Tilburg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4449. Plaintiff Shaun Wallace is an individual residing in Indiana. Wallace worked as a

delivery driver for FedEx in Indiana from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4450. Plaintiff Amanda Wallace is an individual residing in Indiana. Wallace worked as

a delivery driver for FedEx in Indiana from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4451. Plaintiff Ricky Walton is an individual residing in California. Walton worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Walton has been

eligible to receive overtime pay under the FLSA because Walton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4452. Plaintiff Jerry Ward is an individual residing in Illinois. Ward worked as a

delivery driver for FedEx in Indiana from approximately 2015 to 2020 but was employed



                                              1243
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1244 of 3128




through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4453. Plaintiff Darrell Watson is an individual residing in Indiana. Watson worked as a

delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4454. Plaintiff Jonathan Wayland is an individual residing in Indiana. Wayland worked

as a delivery driver for FedEx in Indiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wayland has been

eligible to receive overtime pay under the FLSA because Wayland has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4455. Plaintiff Gregory Weathers is an individual residing in Indiana. Weathers worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Weathers has been eligible to receive overtime pay

under the FLSA because Weathers has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        4456. Plaintiff Jessica Webb is an individual residing in Indiana. Webb worked as a

delivery driver for FedEx in Indiana from approximately 2019 to 2020 but was employed



                                              1244
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1245 of 3128




through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4457. Plaintiff Wayne Webb is an individual residing in Indiana. Webb worked as a

delivery driver for FedEx in Indiana from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4458. Plaintiff Kevin West is an individual residing in Indiana. West worked as a

delivery driver for FedEx in Indiana from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4459. Plaintiff Raymond Westmoreland is an individual residing in Indiana.

Westmoreland worked as a delivery driver for FedEx in Indiana but was employed through

intermediary entities that FedEx calls independent service providers. Westmoreland has been

eligible to receive overtime pay under the FLSA because Westmoreland has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1245
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1246 of 3128




        4460. Plaintiff Walter White is an individual residing in Illinois. White worked as a

delivery driver for FedEx in Indiana from approximately 2003 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4461. Plaintiff James White is an individual residing in Indiana. White worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. White has been eligible to receive overtime pay under the

FLSA because White has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4462. Plaintiff Adam Whitledge is an individual residing in Indiana. Whitledge worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Whitledge has

been eligible to receive overtime pay under the FLSA because Whitledge has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4463. Plaintiff Jason Whitney is an individual residing in Ohio. Whitney worked as a

delivery driver for FedEx in Indiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Whitney has been

eligible to receive overtime pay under the FLSA because Whitney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1246
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1247 of 3128




        4464. Plaintiff Kevin Wilburn is an individual residing in Indiana. Wilburn worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Wilburn has been eligible to receive overtime pay under the

FLSA because Wilburn has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4465. Plaintiff Brittany Williams is an individual residing in Indiana. Williams worked

as a delivery driver for FedEx in Indiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4466. Plaintiff Ladonna Williams is an individual residing in Indiana. Williams worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4467. Plaintiff Antonio Williams is an individual residing in Indiana. Williams worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4468. Plaintiff Rasheedah Williams is an individual residing in Illinois. Williams

worked as a delivery driver for FedEx in Indiana from approximately 2016 to 2018 but was



                                              1247
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1248 of 3128




employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4469. Plaintiff Henry Williams is an individual residing in Kentucky. Williams worked

as a delivery driver for FedEx in Indiana but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4470. Plaintiff Jedidiah Williams is an individual residing in Indiana. Williams worked

as a delivery driver for FedEx in Indiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4471. Plaintiff Steven Wire is an individual residing in Indiana. Wire worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Wire has been eligible to receive overtime pay under the

FLSA because Wire has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4472. Plaintiff Gregory Wolf is an individual residing in Indiana. Wolf worked as a

delivery driver for FedEx in Indiana from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wolf has been



                                              1248
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1249 of 3128




eligible to receive overtime pay under the FLSA because Wolf has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4473. Plaintiff Teri Woodard is an individual residing in Indiana. Woodard worked as a

delivery driver for FedEx in Indiana from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Woodard has been

eligible to receive overtime pay under the FLSA because Woodard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4474. Plaintiff Logan Worden is an individual residing in Indiana. Worden worked as a

delivery driver for FedEx in Indiana but was employed through intermediary entities that FedEx

calls independent service providers. Worden has been eligible to receive overtime pay under the

FLSA because Worden has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4475. Plaintiff Tquan Yelvington is an individual residing in Indiana. Yelvington

worked as a delivery driver for FedEx in Indiana from approximately 2021 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Yelvington has been eligible to receive overtime pay under the FLSA because Yelvington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4476. Plaintiff Jon Yoder is an individual residing in Indiana. Yoder worked as a

delivery driver for FedEx in Indiana from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Yoder has been



                                              1249
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1250 of 3128




eligible to receive overtime pay under the FLSA because Yoder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4477. Plaintiff Terri Young is an individual residing in Indiana. Young worked as a

delivery driver for FedEx in Indiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Young has been

eligible to receive overtime pay under the FLSA because Young has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4478. Plaintiff Khalid Ziadat is an individual residing in Illinois. Ziadat worked as a

delivery driver for FedEx in Indiana from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ziadat has been

eligible to receive overtime pay under the FLSA because Ziadat has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4479. Plaintiff Keith Aslesom is an individual residing in Iowa. Aslesom worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Aslesom has been eligible to receive overtime pay under the

FLSA because Aslesom has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4480. Plaintiff Shane Bailey is an individual residing in Iowa. Bailey worked as a

delivery driver for FedEx in Iowa from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Bailey has been eligible to



                                               1250
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1251 of 3128




receive overtime pay under the FLSA because Bailey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4481. Plaintiff Brian Balak is an individual residing in Iowa. Balak worked as a delivery

driver for FedEx in Iowa from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Balak has been eligible to

receive overtime pay under the FLSA because Balak has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4482. Plaintiff Scott Bell is an individual residing in Nebraska. Bell worked as a

delivery driver for FedEx in Iowa from approximately 1999 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Bell has been eligible to

receive overtime pay under the FLSA because Bell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4483. Plaintiff Daniel Bellile is an individual residing in Iowa. Bellile worked as a

delivery driver for FedEx in Iowa from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bellile has been eligible to

receive overtime pay under the FLSA because Bellile has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4484. Plaintiff Dracy Bender is an individual residing in Nebraska. Bender worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Bender has been eligible to

receive overtime pay under the FLSA because Bender has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1251
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1252 of 3128




        4485. Plaintiff William Birch is an individual residing in Iowa. Birch worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Birch has been eligible to

receive overtime pay under the FLSA because Birch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4486. Plaintiff Aisha Bush is an individual residing in Iowa. Bush worked as a delivery

driver for FedEx in Iowa from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Bush has been eligible to

receive overtime pay under the FLSA because Bush has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4487. Plaintiff Kerry Bussan is an individual residing in Wisconsin. Bussan worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Bussan has been eligible to receive overtime pay under the

FLSA because Bussan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4488. Plaintiff Jonathan Cardoso is an individual residing in Iowa. Cardoso worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Cardoso has been eligible

to receive overtime pay under the FLSA because Cardoso has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4489. Plaintiff Devin Collins is an individual residing in Iowa. Collins worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2021 but was employed through



                                              1252
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1253 of 3128




intermediary entities that FedEx calls independent service providers. Collins has been eligible to

receive overtime pay under the FLSA because Collins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4490. Plaintiff Ryan Cummings is an individual residing in Iowa. Cummings worked as

a delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Cummings has been eligible to receive overtime pay under

the FLSA because Cummings has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4491. Plaintiff David Davidson is an individual residing in Iowa. Davidson worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Davidson has been eligible

to receive overtime pay under the FLSA because Davidson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4492. Plaintiff Matthew Davis is an individual residing in Iowa. Davis worked as a

delivery driver for FedEx in Iowa from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4493. Plaintiff Gerard Densmore is an individual residing in Iowa. Densmore worked as

a delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Densmore has been eligible to receive overtime pay under




                                               1253
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1254 of 3128




the FLSA because Densmore has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4494. Plaintiff Cameron Derry is an individual residing in Nebraska. Derry worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Derry has been eligible to

receive overtime pay under the FLSA because Derry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4495. Plaintiff Jaciel Acevedo is an individual residing in Kansas. Diehl worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Diehl has been eligible to

receive overtime pay under the FLSA because Diehl has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4496. Plaintiff Terry Edwards Jr is an individual residing in Nebraska. Edwards Jr

worked as a delivery driver for FedEx in Iowa from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Edwards

Jr has been eligible to receive overtime pay under the FLSA because Edwards Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       4497. Plaintiff Rusty Eilers is an individual residing in Iowa. Eilers worked as a delivery

driver for FedEx in Iowa from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Eilers has been eligible to

receive overtime pay under the FLSA because Eilers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               1254
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1255 of 3128




       4498. Plaintiff Edward Enyard is an individual residing in Nebraska. Enyard worked as

a delivery driver for FedEx in Iowa from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Enyard has been eligible to

receive overtime pay under the FLSA because Enyard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4499. Plaintiff Troy Gill is an individual residing in Iowa. Gill worked as a delivery

driver for FedEx in Iowa from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gill has been eligible to

receive overtime pay under the FLSA because Gill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4500. Plaintiff Michael Groh is an individual residing in Iowa. Groh worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Groh has been eligible to

receive overtime pay under the FLSA because Groh has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4501. Plaintiff Troy Howard is an individual residing in Iowa. Howard worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Howard has been eligible to

receive overtime pay under the FLSA because Howard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4502. Plaintiff Troy Huerta is an individual residing in Nebraska. Huerta worked as a

delivery driver for FedEx in Iowa from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Huerta has been eligible to



                                               1255
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1256 of 3128




receive overtime pay under the FLSA because Huerta has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4503. Plaintiff Jonathan Huitink is an individual residing in Iowa. Huitink worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Huitink has been eligible to

receive overtime pay under the FLSA because Huitink has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4504. Plaintiff Mike Jefferson is an individual residing in Iowa. Jefferson worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Jefferson has been eligible

to receive overtime pay under the FLSA because Jefferson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4505. Plaintiff Edward Jirka is an individual residing in North Carolina. Jirka worked as

a delivery driver for FedEx in Iowa from approximately 2006 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Jirka has been eligible to

receive overtime pay under the FLSA because Jirka has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4506. Plaintiff Owen Kelley is an individual residing in Nebraska. Kelley worked as a

delivery driver for FedEx in Iowa from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Kelley has been eligible to

receive overtime pay under the FLSA because Kelley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               1256
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1257 of 3128




       4507. Plaintiff Richard Kemp is an individual residing in Iowa. Kemp worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Kemp has been eligible to receive overtime pay under the

FLSA because Kemp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4508. Plaintiff Shawn Kieran is an individual residing in Wisconsin. Kieran worked as a

delivery driver for FedEx in Iowa and Wisconsin from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Kieran

has been eligible to receive overtime pay under the FLSA because Kieran has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4509. Plaintiff Christofer Kingrey is an individual residing in Iowa. Kingrey worked as

a delivery driver for FedEx in Iowa from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kingrey has been eligible to

receive overtime pay under the FLSA because Kingrey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4510. Plaintiff Joe Komarek is an individual residing in Iowa. Komarek worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Komarek has been eligible to receive overtime pay under the

FLSA because Komarek has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4511. Plaintiff Joshua Loftus is an individual residing in Iowa. Loftus worked as a

delivery driver for FedEx in Iowa from approximately 2017 to 2020 but was employed through



                                              1257
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1258 of 3128




intermediary entities that FedEx calls independent service providers. Loftus has been eligible to

receive overtime pay under the FLSA because Loftus has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4512. Plaintiff Dana Marshall is an individual residing in Iowa. Marshall worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Marshall has been eligible

to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4513. Plaintiff Isaiah Martin is an individual residing in Iowa. Martin worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4514. Plaintiff Darwin Mccleish is an individual residing in Iowa. Mccleish worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Mccleish has been eligible to receive overtime pay under the

FLSA because Mccleish has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4515. Plaintiff Eric Mcdonald is an individual residing in Iowa. Mcdonald worked as a

delivery driver for FedEx in Iowa from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mcdonald has been eligible

to receive overtime pay under the FLSA because Mcdonald has driven a vehicle weighing less



                                              1258
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1259 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4516. Plaintiff Robert Mcgregor is an individual residing in Nebraska. Mcgregor

worked as a delivery driver for FedEx in Iowa from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcgregor has been eligible to receive overtime pay under the FLSA because Mcgregor has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4517. Plaintiff Michelle Mitchell is an individual residing in Iowa. Mitchell worked as a

delivery driver for FedEx in Iowa from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mitchell has been eligible

to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4518. Plaintiff Nicolos Moffitt is an individual residing in Indiana. Moffitt worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Moffitt has been eligible to

receive overtime pay under the FLSA because Moffitt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4519. Plaintiff Tyler Neuhaus is an individual residing in Iowa. Neuhaus worked as a

delivery driver for FedEx in Iowa from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Neuhaus has been eligible

to receive overtime pay under the FLSA because Neuhaus has driven a vehicle weighing less



                                               1259
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1260 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4520. Plaintiff Theresa Nosley is an individual residing in Iowa. Nosley worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Nosley has been eligible to

receive overtime pay under the FLSA because Nosley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4521. Plaintiff Jim Oconnor is an individual residing in Nebraska. Oconnor worked as a

delivery driver for FedEx in Iowa from approximately 1993 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Oconnor has been eligible

to receive overtime pay under the FLSA because Oconnor has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4522. Plaintiff Grant Ogle is an individual residing in Iowa. Ogle worked as a delivery

driver for FedEx in Iowa from approximately 2013 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Ogle has been eligible to

receive overtime pay under the FLSA because Ogle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4523. Plaintiff Bradley Ogles is an individual residing in Iowa. Ogles worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Ogles has been eligible to receive overtime pay under the

FLSA because Ogles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              1260
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1261 of 3128




        4524. Plaintiff Darren Ollom is an individual residing in Iowa. Ollom worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ollom has been eligible to

receive overtime pay under the FLSA because Ollom has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4525. Plaintiff Salvador Ortiz Jr. is an individual residing in Iowa. Ortiz Jr. worked as a

delivery driver for FedEx in Iowa from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ortiz Jr. has been eligible to

receive overtime pay under the FLSA because Ortiz Jr. has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4526. Plaintiff Morris Parson is an individual residing in Iowa. Parson worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Parson has been eligible to

receive overtime pay under the FLSA because Parson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4527. Plaintiff Samuel Petersen is an individual residing in Iowa. Petersen worked as a

delivery driver for FedEx in Iowa from approximately 2007 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Petersen has been eligible

to receive overtime pay under the FLSA because Petersen has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4528. Plaintiff Perry Porter is an individual residing in Iowa. Porter worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2021 but was employed through



                                               1261
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1262 of 3128




intermediary entities that FedEx calls independent service providers. Porter has been eligible to

receive overtime pay under the FLSA because Porter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4529. Plaintiff Michael Queen is an individual residing in Iowa. Queen worked as a

delivery driver for FedEx in Iowa from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Queen has been eligible to

receive overtime pay under the FLSA because Queen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4530. Plaintiff Billy Robinson is an individual residing in Nebraska. Robinson worked

as a delivery driver for FedEx in Iowa from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4531. Plaintiff Brad Ross is an individual residing in Iowa. Ross worked as a delivery

driver for FedEx in Iowa from approximately 2001 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ross has been eligible to

receive overtime pay under the FLSA because Ross has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4532. Plaintiff Dennis Ross is an individual residing in Iowa. Ross worked as a delivery

driver for FedEx in Iowa but was employed through intermediary entities that FedEx calls

independent service providers. Ross has been eligible to receive overtime pay under the FLSA




                                               1262
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1263 of 3128




because Ross has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4533. Plaintiff David Schulz is an individual residing in Iowa. Schulz worked as a

delivery driver for FedEx in Iowa from approximately 1996 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Schulz has been eligible to

receive overtime pay under the FLSA because Schulz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4534. Plaintiff John Shearer is an individual residing in Nebraska. Shearer worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Shearer has been eligible to receive overtime pay under the

FLSA because Shearer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4535. Plaintiff Shannon Sires is an individual residing in Iowa. Sires worked as a

delivery driver for FedEx in Iowa from approximately 2013 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Sires has been eligible to

receive overtime pay under the FLSA because Sires has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4536. Plaintiff Brian Sorenson is an individual residing in Iowa. Sorenson worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Sorenson has been eligible

to receive overtime pay under the FLSA because Sorenson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1263
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1264 of 3128




       4537. Plaintiff Brent Streeks is an individual residing in Nebraska. Streeks worked as a

delivery driver for FedEx in Iowa but was employed through intermediary entities that FedEx

calls independent service providers. Streeks has been eligible to receive overtime pay under the

FLSA because Streeks has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4538. Plaintiff Jay Stump is an individual residing in Iowa. Stump worked as a delivery

driver for FedEx in Iowa but was employed through intermediary entities that FedEx calls

independent service providers. Stump has been eligible to receive overtime pay under the FLSA

because Stump has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4539. Plaintiff Andrew Tibbott is an individual residing in Iowa. Tibbott worked as a

delivery driver for FedEx in Iowa from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tibbott has been eligible to

receive overtime pay under the FLSA because Tibbott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4540. Plaintiff James Tillman is an individual residing in Iowa. Tillman worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Tillman has been eligible to

receive overtime pay under the FLSA because Tillman has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4541. Plaintiff Jason Tripp is an individual residing in Iowa. Tripp worked as a delivery

driver for FedEx in Iowa from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Tripp has been eligible to



                                              1264
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1265 of 3128




receive overtime pay under the FLSA because Tripp has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4542. Plaintiff Travis Trueblood is an individual residing in Iowa. Trueblood worked as

a delivery driver for FedEx in Iowa from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Trueblood has been eligible

to receive overtime pay under the FLSA because Trueblood has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4543. Plaintiff Chris Van Blaricome is an individual residing in Iowa. Van Blaricome

worked as a delivery driver for FedEx in Iowa from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Van

Blaricome has been eligible to receive overtime pay under the FLSA because Van Blaricome has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4544. Plaintiff Raymond Varner is an individual residing in Iowa. Varner worked as a

delivery driver for FedEx in Iowa from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Varner has been eligible to

receive overtime pay under the FLSA because Varner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4545. Plaintiff Matthew Wallace is an individual residing in Iowa. Wallace worked as a

delivery driver for FedEx in Iowa from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Wallace has been eligible to




                                              1265
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1266 of 3128




receive overtime pay under the FLSA because Wallace has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4546. Plaintiff Kirk Warner-Talbott is an individual residing in Iowa. Warner-Talbott

worked as a delivery driver for FedEx in Iowa from approximately 2011 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Warner-

Talbott has been eligible to receive overtime pay under the FLSA because Warner-Talbott has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4547. Plaintiff Anthony Weatherman is an individual residing in Iowa. Weatherman

worked as a delivery driver for FedEx in Iowa from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Weatherman has been eligible to receive overtime pay under the FLSA because Weatherman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4548. Plaintiff Joshua Wells is an individual residing in Iowa. Wells worked as a

delivery driver for FedEx in Iowa from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Wells has been eligible to

receive overtime pay under the FLSA because Wells has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4549. Plaintiff Ian Wilber is an individual residing in Iowa. Wilber worked as a delivery

driver for FedEx in Iowa from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Wilber has been eligible to




                                              1266
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1267 of 3128




receive overtime pay under the FLSA because Wilber has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4550. Plaintiff Emmett Statzer is an individual residing in Kansas. Wise worked as a

delivery driver for FedEx in Iowa from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Wise has been eligible to

receive overtime pay under the FLSA because Wise has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4551. Plaintiff Thomas Woods is an individual residing in Illinois. Woods worked as a

delivery driver for FedEx in Iowa from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Woods has been eligible to

receive overtime pay under the FLSA because Woods has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4552. Plaintiff Gregory Wymore is an individual residing in Iowa. Wymore worked as a

delivery driver for FedEx in Iowa from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Wymore has been eligible

to receive overtime pay under the FLSA because Wymore has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4553. Plaintiff Brad Yakish is an individual residing in Iowa. Yakish worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Yakish has been eligible to

receive overtime pay under the FLSA because Yakish has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1267
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1268 of 3128




       4554. Plaintiff Brian Yakish is an individual residing in Iowa. Yakish worked as a

delivery driver for FedEx in Iowa from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Yakish has been eligible to

receive overtime pay under the FLSA because Yakish has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4555. Plaintiff Adrian Aguilar is an individual residing in Kansas. Aguilar worked as a

delivery driver for FedEx in Kansas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Aguilar has been eligible to

receive overtime pay under the FLSA because Aguilar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4556. Plaintiff Jimmy Ainesworth is an individual residing in Kansas. Ainesworth

worked as a delivery driver for FedEx in Kansas from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Ainesworth has been eligible to receive overtime pay under the FLSA because Ainesworth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       4557. Plaintiff Alex Aldape is an individual residing in Missouri. Aldape worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Aldape has been eligible to

receive overtime pay under the FLSA because Aldape has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4558. Plaintiff Randy Alexander is an individual residing in Kansas. Alexander worked

as a delivery driver for FedEx in Kansas but was employed through intermediary entities that



                                              1268
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1269 of 3128




FedEx calls independent service providers. Alexander has been eligible to receive overtime pay

under the FLSA because Alexander has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       4559. Plaintiff Christopher Alexander is an individual residing in Kansas. Alexander

worked as a delivery driver for FedEx in Kansas but was employed through intermediary entities

that FedEx calls independent service providers. Alexander has been eligible to receive overtime

pay under the FLSA because Alexander has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       4560. Plaintiff Kurtis Anderson is an individual residing in Kansas. Anderson worked as

a delivery driver for FedEx in Kansas from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4561. Plaintiff Emily Azami is an individual residing in Missouri. Azami worked as a

delivery driver for FedEx in Kansas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Azami has been eligible to

receive overtime pay under the FLSA because Azami has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4562. Plaintiff Timothy Bennett is an individual residing in Missouri. Bennett worked as

a delivery driver for FedEx in Kansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing



                                              1269
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1270 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4563. Plaintiff Nathaniel Blakley Jr is an individual residing in Missouri. Blakley Jr

worked as a delivery driver for FedEx in Kansas from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Blakley

Jr has been eligible to receive overtime pay under the FLSA because Blakley Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        4564. Plaintiff Donnie Brennan is an individual residing in Kansas. Brennan worked as

a delivery driver for FedEx in Kansas from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Brennan has been

eligible to receive overtime pay under the FLSA because Brennan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4565. Plaintiff Kyle Frasier is an individual residing in Kansas. Brooks worked as a

delivery driver for FedEx in Kansas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4566. Plaintiff Luke Brown is an individual residing in Kansas. Brown worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Brown has been eligible to receive overtime pay under the




                                               1270
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1271 of 3128




FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4567. Plaintiff Charlie Brown is an individual residing in Kansas. Brown worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4568. Plaintiff Hank Burch is an individual residing in Kansas. Burch worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Burch has been eligible to

receive overtime pay under the FLSA because Burch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4569. Plaintiff Brandon Butler is an individual residing in Missouri. Butler worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Butler has been eligible to

receive overtime pay under the FLSA because Butler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4570. Plaintiff Darin Campbell is an individual residing in Kansas. Campbell worked as

a delivery driver for FedEx in Kansas from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Campbell has been

eligible to receive overtime pay under the FLSA because Campbell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               1271
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1272 of 3128




        4571. Plaintiff Zachary Cannady is an individual residing in Kansas. Cannady worked

as a delivery driver for FedEx in Kansas but was employed through intermediary entities that

FedEx calls independent service providers. Cannady has been eligible to receive overtime pay

under the FLSA because Cannady has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4572. Plaintiff Jeffrey Carlton is an individual residing in Kansas. Carlton worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Carlton has been eligible to receive overtime pay under the

FLSA because Carlton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4573. Plaintiff Larry Metzdorf is an individual residing in Missouri. Casmier worked as

a delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Casmier has been

eligible to receive overtime pay under the FLSA because Casmier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4574. Plaintiff Jr Chamberlin is an individual residing in Florida. Chamberlin worked as

a delivery driver for FedEx in Kansas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chamberlin has

been eligible to receive overtime pay under the FLSA because Chamberlin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1272
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1273 of 3128




        4575. Plaintiff Kirk Chastain is an individual residing in Kansas. Chastain worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Chastain has been eligible to receive overtime pay under the

FLSA because Chastain has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4576. Plaintiff Susan Childers is an individual residing in Kansas. Childers worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Childers has been eligible to receive overtime pay under the

FLSA because Childers has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4577. Plaintiff Matthew Christian is an individual residing in Kansas. Christian worked

as a delivery driver for FedEx in Kansas from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Christian has been

eligible to receive overtime pay under the FLSA because Christian has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4578. Plaintiff Mariah Claar is an individual residing in Kansas. Claar worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Claar has been eligible to receive overtime pay under the

FLSA because Claar has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4579. Plaintiff Amber Comer is an individual residing in Kansas. Comer worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx



                                              1273
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1274 of 3128




calls independent service providers. Comer has been eligible to receive overtime pay under the

FLSA because Comer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4580. Plaintiff Kyle Cooper is an individual residing in Kansas. Cooper worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Cooper has been eligible to receive overtime pay under the

FLSA because Cooper has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4581. Plaintiff William Creason is an individual residing in Arizona. Creason worked as

a delivery driver for FedEx in Kansas from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Creason has been

eligible to receive overtime pay under the FLSA because Creason has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4582. Plaintiff Chad Crouse is an individual residing in Kansas. Crouse worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Crouse has been eligible to

receive overtime pay under the FLSA because Crouse has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4583. Plaintiff Shelby Dean is an individual residing in Kansas. Dean worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Dean has been eligible to receive overtime pay under the




                                              1274
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1275 of 3128




FLSA because Dean has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4584. Plaintiff Tyler Dirks is an individual residing in Kansas. Dirks worked as a

delivery driver for FedEx in Kansas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dirks has been eligible to

receive overtime pay under the FLSA because Dirks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4585. Plaintiff Thomas Ehrlich is an individual residing in Kansas. Ehrlich worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ehrlich has been eligible to

receive overtime pay under the FLSA because Ehrlich has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4586. Plaintiff Amber Emery is an individual residing in Kansas. Emery worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Emery has been eligible to receive overtime pay under the

FLSA because Emery has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4587. Plaintiff Cody Erwin is an individual residing in Kansas. Erwin worked as a

delivery driver for FedEx in Kansas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Erwin has been eligible to

receive overtime pay under the FLSA because Erwin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1275
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1276 of 3128




       4588. Plaintiff Tracie Eskew is an individual residing in Oklahoma. Eskew worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Eskew has been eligible to

receive overtime pay under the FLSA because Eskew has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4589. Plaintiff David Flinn is an individual residing in Kansas. Flinn worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Flinn has been eligible to receive overtime pay under the

FLSA because Flinn has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4590. Plaintiff Robert Forbes is an individual residing in Kansas. Forbes worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Forbes has been eligible to

receive overtime pay under the FLSA because Forbes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4591. Plaintiff Ceyona Ford is an individual residing in Missouri. Ford worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ford has been eligible to

receive overtime pay under the FLSA because Ford has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4592. Plaintiff Nathan Gabel is an individual residing in Kansas. Gabel worked as a

delivery driver for FedEx in Kansas from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gabel has been eligible to



                                              1276
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1277 of 3128




receive overtime pay under the FLSA because Gabel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4593. Plaintiff David Gorley is an individual residing in Kansas. Gorley worked as a

delivery driver for FedEx in Kansas from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gorley has been eligible to

receive overtime pay under the FLSA because Gorley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4594. Plaintiff John Gould is an individual residing in Kansas. Gould worked as a

delivery driver for FedEx in Kansas from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Gould has been eligible to

receive overtime pay under the FLSA because Gould has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4595. Plaintiff Nancy Govero is an individual residing in Kansas. Govero worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Govero has been eligible to

receive overtime pay under the FLSA because Govero has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4596. Plaintiff Dominic Grant is an individual residing in Kansas. Grant worked as a

delivery driver for FedEx in Kansas from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Grant has been eligible to

receive overtime pay under the FLSA because Grant has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1277
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1278 of 3128




       4597. Plaintiff Raymond Gutierrez is an individual residing in Kansas. Gutierrez

worked as a delivery driver for FedEx in Kansas from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Gutierrez has been eligible to receive overtime pay under the FLSA because Gutierrez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       4598. Plaintiff Jason Guyle is an individual residing in Kansas. Guyle worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Guyle has been eligible to

receive overtime pay under the FLSA because Guyle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4599. Plaintiff Dakota Haag is an individual residing in Kansas. Haag worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Haag has been eligible to

receive overtime pay under the FLSA because Haag has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4600. Plaintiff Jonathan Hagans is an individual residing in Kansas. Hagans worked as a

delivery driver for FedEx in Kansas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Hagans has been eligible to

receive overtime pay under the FLSA because Hagans has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4601. Plaintiff Paul Hamm is an individual residing in Kansas. Hamm worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx



                                              1278
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1279 of 3128




calls independent service providers. Hamm has been eligible to receive overtime pay under the

FLSA because Hamm has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4602. Plaintiff Erik Hansen is an individual residing in Kansas. Hansen worked as a

delivery driver for FedEx in Kansas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hansen has been eligible to

receive overtime pay under the FLSA because Hansen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4603. Plaintiff Jacob Harryman is an individual residing in Missouri. Harryman worked

as a delivery driver for FedEx in Kansas from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harryman has been

eligible to receive overtime pay under the FLSA because Harryman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       4604. Plaintiff Matthew Havens is an individual residing in Virginia. Havens worked as

a delivery driver for FedEx in Kansas but was employed through intermediary entities that

FedEx calls independent service providers. Havens has been eligible to receive overtime pay

under the FLSA because Havens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       4605. Plaintiff Ted Heberling is an individual residing in Kansas. Heberling worked as a

delivery driver for FedEx in Kansas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Heberling has been eligible

to receive overtime pay under the FLSA because Heberling has driven a vehicle weighing less



                                              1279
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1280 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4606. Plaintiff Randy Heithoff is an individual residing in Kansas. Heithoff worked as a

delivery driver for FedEx in Kansas from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Heithoff has been eligible

to receive overtime pay under the FLSA because Heithoff has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4607. Plaintiff Emilio Hernandez is an individual residing in Missouri. Hernandez

worked as a delivery driver for FedEx in Kansas from approximately 2021 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4608. Plaintiff Mark Holden is an individual residing in Kansas. Holden worked as a

delivery driver for FedEx in Kansas from approximately 2009 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Holden has been eligible to

receive overtime pay under the FLSA because Holden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4609. Plaintiff Robert Hon is an individual residing in Kansas. Hon worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Hon has been eligible to receive overtime pay under the




                                              1280
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1281 of 3128




FLSA because Hon has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4610. Plaintiff Darcell Howard is an individual residing in Kansas. Howard worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Howard has been eligible to receive overtime pay under the

FLSA because Howard has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4611. Plaintiff Brandon James is an individual residing in Missouri. James worked as a

delivery driver for FedEx in Kansas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. James has been eligible to

receive overtime pay under the FLSA because James has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4612. Plaintiff Shawnda Jansen is an individual residing in Oklahoma. Jansen worked as

a delivery driver for FedEx in Kansas but was employed through intermediary entities that

FedEx calls independent service providers. Jansen has been eligible to receive overtime pay

under the FLSA because Jansen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       4613. Plaintiff Jarea Jarrell is an individual residing in Kansas. Jarrell worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Jarrell has been eligible to receive overtime pay under the

FLSA because Jarrell has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                               1281
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1282 of 3128




        4614. Plaintiff Mark Jenkins is an individual residing in Kansas. Jenkins worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Jenkins has been eligible to receive overtime pay under the

FLSA because Jenkins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4615. Plaintiff Zachary Johnson is an individual residing in Kansas. Johnson worked as

a delivery driver for FedEx in Kansas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4616. Plaintiff Kimberly Johnson is an individual residing in Kansas. Johnson worked

as a delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4617. Plaintiff Jamey Jones is an individual residing in Iowa. Jones worked as a delivery

driver for FedEx in Kansas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1282
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1283 of 3128




        4618. Plaintiff Thomas Jones is an individual residing in Oklahoma. Jones worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Jones has been eligible to receive overtime pay under the

FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4619. Plaintiff James Kirkwood is an individual residing in Kansas. Kirkwood worked

as a delivery driver for FedEx in Kansas from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Kirkwood has been

eligible to receive overtime pay under the FLSA because Kirkwood has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4620. Plaintiff Marshall Larson is an individual residing in Kansas. Larson worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Larson has been eligible to

receive overtime pay under the FLSA because Larson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4621. Plaintiff Jesse Lemaster is an individual residing in Kansas. Lemaster worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lemaster has been eligible

to receive overtime pay under the FLSA because Lemaster has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1283
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1284 of 3128




        4622. Plaintiff Conner Lilleston is an individual residing in Kansas. Lilleston worked as

a delivery driver for FedEx in Kansas from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Lilleston has been

eligible to receive overtime pay under the FLSA because Lilleston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4623. Plaintiff Damien Loewen is an individual residing in Kansas. Loewen worked as a

delivery driver for FedEx in Kansas and Missouri from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Loewen

has been eligible to receive overtime pay under the FLSA because Loewen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4624. Plaintiff Daniel Long is an individual residing in Kansas. Long worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Long has been eligible to

receive overtime pay under the FLSA because Long has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4625. Plaintiff Angela Looney is an individual residing in Kansas. Looney worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Looney has been eligible to

receive overtime pay under the FLSA because Looney has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1284
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1285 of 3128




        4626. Plaintiff Curtiss Marlowe Jr is an individual residing in Texas. Marlowe Jr

worked as a delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Marlowe

Jr has been eligible to receive overtime pay under the FLSA because Marlowe Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        4627. Plaintiff Dylon Mathews is an individual residing in Kansas. Mathews worked as

a delivery driver for FedEx in Kansas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mathews has been

eligible to receive overtime pay under the FLSA because Mathews has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4628. Plaintiff David Mccabe is an individual residing in Kansas. Mccabe worked as a

delivery driver for FedEx in Kansas from approximately 2010 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Mccabe has been eligible to

receive overtime pay under the FLSA because Mccabe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4629. Plaintiff Dusty Miner is an individual residing in Kansas. Miner worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miner has been eligible to

receive overtime pay under the FLSA because Miner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1285
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1286 of 3128




        4630. Plaintiff Kevin Mohler is an individual residing in Kansas. Mohler worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Mohler has been eligible to

receive overtime pay under the FLSA because Mohler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4631. Plaintiff Joshua Moore is an individual residing in Kansas. Moore worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Moore has been eligible to receive overtime pay under the

FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4632. Plaintiff Chad Morford is an individual residing in Kansas. Morford worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Morford has been eligible

to receive overtime pay under the FLSA because Morford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4633. Plaintiff Raymond Morris is an individual residing in Kansas. Morris worked as a

delivery driver for FedEx in Kansas from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Morris has been eligible to

receive overtime pay under the FLSA because Morris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4634. Plaintiff James Moyer is an individual residing in Oklahoma. Moyer worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2020 but was employed through



                                              1286
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1287 of 3128




intermediary entities that FedEx calls independent service providers. Moyer has been eligible to

receive overtime pay under the FLSA because Moyer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4635. Plaintiff Brandon Muehler is an individual residing in Kansas. Muehler worked as

a delivery driver for FedEx in Kansas from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Muehler has been

eligible to receive overtime pay under the FLSA because Muehler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4636. Plaintiff Larry Neal is an individual residing in Kansas. Neal worked as a delivery

driver for FedEx in Kansas from approximately 2014 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Neal has been eligible to

receive overtime pay under the FLSA because Neal has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4637. Plaintiff Tommy Nguyen is an individual residing in Kansas. Nguyen worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Nguyen has been eligible to

receive overtime pay under the FLSA because Nguyen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4638. Plaintiff Shane Nichols is an individual residing in Kansas. Nichols worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Nichols has been eligible to




                                              1287
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1288 of 3128




receive overtime pay under the FLSA because Nichols has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4639. Plaintiff Rico Nimrod is an individual residing in Missouri. Nimrod worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Nimrod has been eligible to receive overtime pay under the

FLSA because Nimrod has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4640. Plaintiff Timothy Pacello is an individual residing in Kansas. Pacello worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pacello has been eligible to

receive overtime pay under the FLSA because Pacello has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4641. Plaintiff Estasar Pacheco is an individual residing in Kansas. Pacheco worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Pacheco has been eligible

to receive overtime pay under the FLSA because Pacheco has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4642. Plaintiff Heather Page is an individual residing in Kansas. Page worked as a

delivery driver for FedEx in Kansas from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Page has been eligible to

receive overtime pay under the FLSA because Page has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1288
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1289 of 3128




       4643. Plaintiff Joseph Parks is an individual residing in Kansas. Parks worked as a

delivery driver for FedEx in Kansas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Parks has been eligible to

receive overtime pay under the FLSA because Parks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4644. Plaintiff Randal Paulson is an individual residing in Kansas. Paulson worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Paulson has been eligible to

receive overtime pay under the FLSA because Paulson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4645. Plaintiff Yamilka Pereira is an individual residing in Kansas. Pereira worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Pereira has been eligible to

receive overtime pay under the FLSA because Pereira has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4646. Plaintiff Jason Perrault is an individual residing in Kansas. Perrault worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Perrault has been eligible to

receive overtime pay under the FLSA because Perrault has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4647. Plaintiff Philip Plunkett is an individual residing in Missouri. Plunkett worked as

a delivery driver for FedEx in Kansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Plunkett has been



                                               1289
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1290 of 3128




eligible to receive overtime pay under the FLSA because Plunkett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4648. Plaintiff Jared Pohl is an individual residing in Kansas. Pohl worked as a delivery

driver for FedEx in Kansas from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Pohl has been eligible to

receive overtime pay under the FLSA because Pohl has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4649. Plaintiff Amy Ponte is an individual residing in Kansas. Ponte worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ponte has been eligible to

receive overtime pay under the FLSA because Ponte has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4650. Plaintiff Tyler Preston is an individual residing in Kansas. Preston worked as a

delivery driver for FedEx in Kansas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Preston has been eligible to

receive overtime pay under the FLSA because Preston has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4651. Plaintiff Clifford Prichard is an individual residing in Oklahoma. Prichard worked

as a delivery driver for FedEx in Kansas from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Prichard has been

eligible to receive overtime pay under the FLSA because Prichard has driven a vehicle weighing




                                              1290
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 1291 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4652. Plaintiff Sandra Proffitt is an individual residing in Kansas. Proffitt worked as a

delivery driver for FedEx in Kansas from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Proffitt has been eligible to

receive overtime pay under the FLSA because Proffitt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4653. Plaintiff Zackary Randolph is an individual residing in Oklahoma. Randolph

worked as a delivery driver for FedEx in Kansas but was employed through intermediary entities

that FedEx calls independent service providers. Randolph has been eligible to receive overtime

pay under the FLSA because Randolph has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        4654. Plaintiff Taylor Riley is an individual residing in Kansas. Riley worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Riley has been eligible to

receive overtime pay under the FLSA because Riley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4655. Plaintiff Daniel Robben is an individual residing in Kansas. Robben worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Robben has been eligible to receive overtime pay under the

FLSA because Robben has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               1291
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1292 of 3128




       4656. Plaintiff Brian Roberts is an individual residing in Kansas. Roberts worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Roberts has been eligible to

receive overtime pay under the FLSA because Roberts has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4657. Plaintiff Kimberly Rogers is an individual residing in Kansas. Rogers worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rogers has been eligible to

receive overtime pay under the FLSA because Rogers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4658. Plaintiff Shawn Ross is an individual residing in Kansas. Ross worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Ross has been eligible to receive overtime pay under the

FLSA because Ross has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4659. Plaintiff Matthew Rush is an individual residing in Kansas. Rush worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rush has been eligible to

receive overtime pay under the FLSA because Rush has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4660. Plaintiff Shane Russo is an individual residing in Oklahoma. Russo worked as a

delivery driver for FedEx in Kansas from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Russo has been eligible to



                                              1292
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1293 of 3128




receive overtime pay under the FLSA because Russo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4661. Plaintiff Phillip Sauber is an individual residing in Kansas. Sauber worked as a

delivery driver for FedEx in Kansas from approximately 2008 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Sauber has been eligible to

receive overtime pay under the FLSA because Sauber has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       4662. Plaintiff Chadwick Scott is an individual residing in Kansas. Scott worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Scott has been eligible to receive overtime pay under the

FLSA because Scott has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       4663. Plaintiff Spencer Shaver is an individual residing in Kansas. Shaver worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Shaver has been eligible to receive overtime pay under the

FLSA because Shaver has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       4664. Plaintiff Michael Siebel is an individual residing in Missouri. Siebel worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Siebel has been eligible to receive overtime pay under the

FLSA because Siebel has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                              1293
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1294 of 3128




        4665. Plaintiff Terry Smedley is an individual residing in Kansas. Smedley worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smedley has been eligible

to receive overtime pay under the FLSA because Smedley has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4666. Plaintiff Michael Smith is an individual residing in Arkansas. Smith worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4667. Plaintiff Jason Smith is an individual residing in Kansas. Smith worked as a

delivery driver for FedEx in Kansas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4668. Plaintiff Lynn Stewart is an individual residing in Kansas. Stewart worked as a

delivery driver for FedEx in Kansas but was employed through intermediary entities that FedEx

calls independent service providers. Stewart has been eligible to receive overtime pay under the

FLSA because Stewart has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4669. Plaintiff Marvin Tavis is an individual residing in Kansas. Tavis worked as a

delivery driver for FedEx in Kansas from approximately 2013 to 2016 but was employed through



                                              1294
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1295 of 3128




intermediary entities that FedEx calls independent service providers. Tavis has been eligible to

receive overtime pay under the FLSA because Tavis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4670. Plaintiff Ryan Taylor is an individual residing in Kansas. Taylor worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Taylor has been eligible to

receive overtime pay under the FLSA because Taylor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4671. Plaintiff Teresa Thurman is an individual residing in Oklahoma. Thurman worked

as a delivery driver for FedEx in Kansas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thurman has been

eligible to receive overtime pay under the FLSA because Thurman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4672. Plaintiff Robbin Trompeter is an individual residing in Kansas. Trompeter worked

as a delivery driver for FedEx in Kansas from approximately 2005 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Trompeter has been

eligible to receive overtime pay under the FLSA because Trompeter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4673. Plaintiff Michael Wagner is an individual residing in Nebraska. Wagner worked

as a delivery driver for FedEx in Kansas from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wagner has been



                                              1295
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1296 of 3128




eligible to receive overtime pay under the FLSA because Wagner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4674. Plaintiff Jeffery Weltmer is an individual residing in Kansas. Weltmer worked as

a delivery driver for FedEx in Kansas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Weltmer has been

eligible to receive overtime pay under the FLSA because Weltmer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4675. Plaintiff Steven Wendt is an individual residing in Kansas. Wendt worked as a

delivery driver for FedEx in Kansas from approximately 2012 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Wendt has been eligible to

receive overtime pay under the FLSA because Wendt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4676. Plaintiff Brent Williams is an individual residing in Kansas. Williams worked as a

delivery driver for FedEx in Kansas from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Williams has been eligible

to receive overtime pay under the FLSA because Williams has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4677. Plaintiff Gregory Wilson is an individual residing in Kansas. Wilson worked as a

delivery driver for FedEx in Kansas from approximately 2021 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to



                                              1296
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1297 of 3128




receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4678. Plaintiff Jimmy Wolf is an individual residing in Kansas. Wolf worked as a

delivery driver for FedEx in Kansas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Wolf has been eligible to

receive overtime pay under the FLSA because Wolf has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4679. Plaintiff Chauncey Wyant is an individual residing in Kansas. Wyant worked as a

delivery driver for FedEx in Kansas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wyant has been eligible to

receive overtime pay under the FLSA because Wyant has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4680. Plaintiff Robert Adams is an individual residing in Kentucky. Adams worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Adams has been eligible to receive overtime pay

under the FLSA because Adams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4681. Plaintiff Edward Amos is an individual residing in Kentucky. Amos worked as a

delivery driver for FedEx in Kentucky from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Amos has been

eligible to receive overtime pay under the FLSA because Amos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1297
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1298 of 3128




        4682. Plaintiff Noah Ashcraft is an individual residing in Ohio. Ashcraft worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ashcraft has been

eligible to receive overtime pay under the FLSA because Ashcraft has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4683. Plaintiff Benjamn Aulph is an individual residing in Kentucky. Aulph worked as a

delivery driver for FedEx in Kentucky from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Aulph has been

eligible to receive overtime pay under the FLSA because Aulph has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4684. Plaintiff Joshua Bailey is an individual residing in Ohio. Bailey worked as a

delivery driver for FedEx in Kentucky and Ohio from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bailey

has been eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4685. Plaintiff Michael Baker is an individual residing in Kentucky. Baker worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing




                                              1298
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1299 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4686. Plaintiff Kentrell Banks is an individual residing in North Carolina. Banks worked

as a delivery driver for FedEx in Kentucky from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Banks has been

eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4687. Plaintiff Elvis Bikic is an individual residing in Kentucky. Bikic worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Bikic has been eligible to receive overtime pay under

the FLSA because Bikic has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4688. Plaintiff Thomas Black is an individual residing in Kentucky. Black worked as a

delivery driver for FedEx in Kentucky from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Black has been

eligible to receive overtime pay under the FLSA because Black has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4689. Plaintiff James Boone is an individual residing in Kentucky. Boone worked as a

delivery driver for FedEx in Kentucky from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Boone has been

eligible to receive overtime pay under the FLSA because Boone has driven a vehicle weighing



                                              1299
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1300 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4690. Plaintiff Jerry Bowlin is an individual residing in Tennessee. Bowlin worked as a

delivery driver for FedEx in Kentucky from approximately 1993 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bowlin has been

eligible to receive overtime pay under the FLSA because Bowlin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4691. Plaintiff Geoffrey Briceno is an individual residing in Indiana. Briceno worked as

a delivery driver for FedEx in Kentucky from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Briceno has been

eligible to receive overtime pay under the FLSA because Briceno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4692. Plaintiff David Brinley is an individual residing in Kentucky. Brinley worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brinley has been

eligible to receive overtime pay under the FLSA because Brinley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4693. Plaintiff Christopher Brown is an individual residing in Kentucky. Brown worked

as a delivery driver for FedEx in Kentucky from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been



                                              1300
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1301 of 3128




eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4694. Plaintiff Davinson Carmona is an individual residing in Kentucky. Carmona

worked as a delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Carmona

has been eligible to receive overtime pay under the FLSA because Carmona has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4695. Plaintiff Michael Carter is an individual residing in Kentucky. Carter worked as a

delivery driver for FedEx in Kentucky from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4696. Plaintiff Maryellen Davis is an individual residing in Kentucky. Clemons worked

as a delivery driver for FedEx in Kentucky from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Clemons has been

eligible to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4697. Plaintiff Shawn Cline is an individual residing in Kentucky. Cline worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2020 but was employed



                                              1301
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1302 of 3128




through intermediary entities that FedEx calls independent service providers. Cline has been

eligible to receive overtime pay under the FLSA because Cline has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4698. Plaintiff Alfis Coleman is an individual residing in Kentucky. Coleman worked as

a delivery driver for FedEx in Kentucky from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4699. Plaintiff James Conner is an individual residing in Kentucky. Conner worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Conner has been eligible to receive overtime pay

under the FLSA because Conner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4700. Plaintiff Verkisha Cook is an individual residing in Kentucky. Cook worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Cook has been eligible to receive overtime pay under

the FLSA because Cook has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4701. Plaintiff Roger Cooper is an individual residing in Kentucky. Cooper worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been



                                              1302
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1303 of 3128




eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4702. Plaintiff Debra Cundiff is an individual residing in Kentucky. Cundiff worked as

a delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cundiff has been

eligible to receive overtime pay under the FLSA because Cundiff has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4703. Plaintiff Shane Davidson is an individual residing in Kentucky. Davidson worked

as a delivery driver for FedEx in Kentucky from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Davidson has been

eligible to receive overtime pay under the FLSA because Davidson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4704. Plaintiff Erica Dean is an individual residing in Kentucky. Dean worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Dean has been eligible to receive overtime pay under

the FLSA because Dean has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4705. Plaintiff Clarence Duncan is an individual residing in Indiana. Duncan worked as

a delivery driver for FedEx in Kentucky and Indiana from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Duncan



                                             1303
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1304 of 3128




has been eligible to receive overtime pay under the FLSA because Duncan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4706. Plaintiff Kenneth Earls is an individual residing in Kentucky. Earls worked as a

delivery driver for FedEx in Kentucky from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Earls has been

eligible to receive overtime pay under the FLSA because Earls has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4707. Plaintiff William Edwards is an individual residing in Kentucky. Edwards worked

as a delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Edwards has been eligible to receive overtime pay

under the FLSA because Edwards has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4708. Plaintiff Jonathan England is an individual residing in Kentucky. England worked

as a delivery driver for FedEx in Kentucky from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. England has been

eligible to receive overtime pay under the FLSA because England has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4709. Plaintiff Brandon Evans is an individual residing in Illinois. Evans worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Evans has been eligible to receive overtime pay



                                              1304
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1305 of 3128




under the FLSA because Evans has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4710. Plaintiff Kevin Fields is an individual residing in Kentucky. Fields worked as a

delivery driver for FedEx in Kentucky from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Fields has been

eligible to receive overtime pay under the FLSA because Fields has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4711. Plaintiff Robert Floyd is an individual residing in Florida. Floyd worked as a

delivery driver for FedEx in Kentucky from approximately 2000 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Floyd has been

eligible to receive overtime pay under the FLSA because Floyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4712. Plaintiff Hazen Frick is an individual residing in Ohio. Frick worked as a delivery

driver for FedEx in Kentucky from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Frick has been eligible to

receive overtime pay under the FLSA because Frick has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4713. Plaintiff Kenneth Garland is an individual residing in Kentucky. Garland worked

as a delivery driver for FedEx in Kentucky from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Garland has been

eligible to receive overtime pay under the FLSA because Garland has driven a vehicle weighing



                                              1305
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1306 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4714. Plaintiff Lecardo Gay is an individual residing in Ohio. Gay worked as a delivery

driver for FedEx in Kentucky from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Gay has been eligible to

receive overtime pay under the FLSA because Gay has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4715. Plaintiff Samuel George is an individual residing in Kentucky. George worked as

a delivery driver for FedEx in Kentucky from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. George has been

eligible to receive overtime pay under the FLSA because George has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4716. Plaintiff Desiree Green is an individual residing in Kentucky. Green worked as a

delivery driver for FedEx in Kentucky from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4717. Plaintiff Greg Grimes is an individual residing in Kentucky. Grimes worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Grimes has been eligible to receive overtime pay




                                              1306
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1307 of 3128




under the FLSA because Grimes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4718. Plaintiff Branden Grimes is an individual residing in Kentucky. Grimes worked as

a delivery driver for FedEx in Kentucky from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Grimes has been

eligible to receive overtime pay under the FLSA because Grimes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4719. Plaintiff Jeffrey Gross is an individual residing in Kentucky. Gross worked as a

delivery driver for FedEx in Kentucky from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Gross has been

eligible to receive overtime pay under the FLSA because Gross has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4720. Plaintiff Alicia Grubb is an individual residing in Kentucky. Grubb worked as a

delivery driver for FedEx in Kentucky from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Grubb has been

eligible to receive overtime pay under the FLSA because Grubb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4721. Plaintiff Michael Hadley is an individual residing in Kentucky. Hadley worked as

a delivery driver for FedEx in Kentucky from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hadley has been



                                              1307
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1308 of 3128




eligible to receive overtime pay under the FLSA because Hadley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4722. Plaintiff Wallace Halcomb is an individual residing in Kentucky. Halcomb

worked as a delivery driver for FedEx in Kentucky from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Halcomb

has been eligible to receive overtime pay under the FLSA because Halcomb has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4723. Plaintiff Tharren Hart is an individual residing in Kentucky. Hart worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hart has been

eligible to receive overtime pay under the FLSA because Hart has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4724. Plaintiff Barry House is an individual residing in Kentucky. House worked as a

delivery driver for FedEx in Kentucky from approximately 1998 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. House has been

eligible to receive overtime pay under the FLSA because House has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4725. Plaintiff Seth Humphries is an individual residing in Kentucky. Humphries

worked as a delivery driver for FedEx in Kentucky from approximately 2015 to 2017 but was



                                              1308
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1309 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Humphries has been eligible to receive overtime pay under the FLSA because Humphries has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4726. Plaintiff Dustin Johnson is an individual residing in Kentucky. Johnson worked as

a delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4727. Plaintiff Matt Carius is an individual residing in Kentucky. Johnson worked as a

delivery driver for FedEx in Kentucky from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4728. Plaintiff Kenyetta Johnson is an individual residing in Kentucky. Johnson worked

as a delivery driver for FedEx in Kentucky from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1309
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1310 of 3128




        4729. Plaintiff Thomas Kane is an individual residing in Kentucky. Kane worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Kane has been eligible to receive overtime pay under

the FLSA because Kane has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4730. Plaintiff Brian Kelly is an individual residing in Kentucky. Kelly worked as a

delivery driver for FedEx in Kentucky from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kelly has been

eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4731. Plaintiff Hugh Kemp is an individual residing in Kentucky. Kemp worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kemp has been

eligible to receive overtime pay under the FLSA because Kemp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4732. Plaintiff Gregory Kohler is an individual residing in Kentucky. Kohler worked as

a delivery driver for FedEx in Kentucky from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kohler has been

eligible to receive overtime pay under the FLSA because Kohler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1310
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1311 of 3128




        4733. Plaintiff Jeremy Lacey is an individual residing in Ohio. Lacey worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lacey has been

eligible to receive overtime pay under the FLSA because Lacey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4734. Plaintiff Ethel Lancaster is an individual residing in Kentucky. Lancaster worked

as a delivery driver for FedEx in Kentucky from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lancaster has been

eligible to receive overtime pay under the FLSA because Lancaster has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4735. Plaintiff Dwayne Lancaster is an individual residing in Kentucky. Lancaster

worked as a delivery driver for FedEx in Kentucky from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Lancaster has been eligible to receive overtime pay under the FLSA because Lancaster has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4736. Plaintiff Barrie Lapham is an individual residing in Kentucky. Lapham worked as

a delivery driver for FedEx in Kentucky from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lapham has been

eligible to receive overtime pay under the FLSA because Lapham has driven a vehicle weighing




                                              1311
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1312 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4737. Plaintiff Rolando Lapinell Paneque is an individual residing in Kentucky.

Lapinell Paneque worked as a delivery driver for FedEx in Kentucky from approximately 2016

to 2017 but was employed through intermediary entities that FedEx calls independent service

providers. Lapinell Paneque has been eligible to receive overtime pay under the FLSA because

Lapinell Paneque has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4738. Plaintiff Kenneth Lathery is an individual residing in Kentucky. Lathery worked

as a delivery driver for FedEx in Kentucky from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lathery has been

eligible to receive overtime pay under the FLSA because Lathery has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4739. Plaintiff Darryl Lawes is an individual residing in Kentucky. Lawes worked as a

delivery driver for FedEx in Kentucky from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lawes has been

eligible to receive overtime pay under the FLSA because Lawes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4740. Plaintiff Robert Leet is an individual residing in Kentucky. Leet worked as a

delivery driver for FedEx in Kentucky from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Leet has been



                                              1312
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1313 of 3128




eligible to receive overtime pay under the FLSA because Leet has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4741. Plaintiff Norman Legette is an individual residing in Illinois. Legette worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Legette has been

eligible to receive overtime pay under the FLSA because Legette has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4742. Plaintiff Diego Leyva is an individual residing in Kentucky. Leyva worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Leyva has been

eligible to receive overtime pay under the FLSA because Leyva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4743. Plaintiff Jeremy Lockard is an individual residing in Indiana. Lockard worked as

a delivery driver for FedEx in Kentucky from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Lockard has been

eligible to receive overtime pay under the FLSA because Lockard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4744. Plaintiff Johnny Malone is an individual residing in Kentucky. Malone worked as

a delivery driver for FedEx in Kentucky but was employed through intermediary entities that



                                              1313
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1314 of 3128




FedEx calls independent service providers. Malone has been eligible to receive overtime pay

under the FLSA because Malone has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4745. Plaintiff Stephen Marks, Sr. is an individual residing in Indiana. Marks worked as

a delivery driver for FedEx in Kentucky from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Marks has been

eligible to receive overtime pay under the FLSA because Marks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4746. Plaintiff Christopher Mcalister is an individual residing in Kentucky. Mcalister

worked as a delivery driver for FedEx in Kentucky from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcalister has been eligible to receive overtime pay under the FLSA because Mcalister has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        4747. Plaintiff Carrie Mccall is an individual residing in Kentucky. Mccall worked as a

delivery driver for FedEx in Kentucky from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mccall has been

eligible to receive overtime pay under the FLSA because Mccall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4748. Plaintiff Antoinne Miles is an individual residing in Kentucky. Miles worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2021 but was employed



                                              1314
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1315 of 3128




through intermediary entities that FedEx calls independent service providers. Miles has been

eligible to receive overtime pay under the FLSA because Miles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4749. Plaintiff Brian Moore is an individual residing in Ohio. Moore worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4750. Plaintiff Jessie Morris is an individual residing in Indiana. Morris worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4751. Plaintiff Cynthia Najdzion is an individual residing in Pennsylvania. Najdzion

worked as a delivery driver for FedEx in Kentucky but was employed through intermediary

entities that FedEx calls independent service providers. Najdzion has been eligible to receive

overtime pay under the FLSA because Najdzion has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4752. Plaintiff Terry Neagle is an individual residing in Kentucky. Neagle worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed



                                              1315
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1316 of 3128




through intermediary entities that FedEx calls independent service providers. Neagle has been

eligible to receive overtime pay under the FLSA because Neagle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4753. Plaintiff Jessica Olson is an individual residing in Oregon. Olson worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Olson has been eligible to receive overtime pay under

the FLSA because Olson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4754. Plaintiff Alvin Palmer is an individual residing in Kentucky. Palmer worked as a

delivery driver for FedEx in Kentucky and Indiana from approximately 2014 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Palmer

has been eligible to receive overtime pay under the FLSA because Palmer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4755. Plaintiff Robert Parry is an individual residing in Kentucky. Parry worked as a

delivery driver for FedEx in Kentucky and Indiana but was employed through intermediary

entities that FedEx calls independent service providers. Parry has been eligible to receive

overtime pay under the FLSA because Parry has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4756. Plaintiff Cody Phillips is an individual residing in Ohio. Phillips worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been



                                               1316
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1317 of 3128




eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4757. Plaintiff Yenny Pino Briceno is an individual residing in Kentucky. Pino Briceno

worked as a delivery driver for FedEx in Kentucky from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Pino

Briceno has been eligible to receive overtime pay under the FLSA because Pino Briceno has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4758. Plaintiff Justin Pratt is an individual residing in Kentucky. Pratt worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Pratt has been eligible to receive overtime pay under

the FLSA because Pratt has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4759. Plaintiff Michael Ramsey is an individual residing in Kentucky. Ramsey worked

as a delivery driver for FedEx in Kentucky from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ramsey has been

eligible to receive overtime pay under the FLSA because Ramsey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4760. Plaintiff Stacy Rice is an individual residing in Kentucky. Rice worked as a

delivery driver for FedEx in Kentucky from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rice has been



                                               1317
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1318 of 3128




eligible to receive overtime pay under the FLSA because Rice has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4761. Plaintiff Scott Risner is an individual residing in Kentucky. Risner worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Risner has been eligible to receive overtime pay

under the FLSA because Risner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4762. Plaintiff Eugene Robinson is an individual residing in Kentucky. Robinson

worked as a delivery driver for FedEx in Kentucky but was employed through intermediary

entities that FedEx calls independent service providers. Robinson has been eligible to receive

overtime pay under the FLSA because Robinson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4763. Plaintiff Michael Rodgers Jr. is an individual residing in Ohio. Rodgers Jr.

worked as a delivery driver for FedEx in Kentucky from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Rodgers

Jr. has been eligible to receive overtime pay under the FLSA because Rodgers Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        4764. Plaintiff Tiffany Rogers is an individual residing in Kentucky. Rogers worked as

a delivery driver for FedEx in Kentucky from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rogers has been

eligible to receive overtime pay under the FLSA because Rogers has driven a vehicle weighing



                                              1318
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1319 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4765. Plaintiff Michael Root is an individual residing in Kentucky. Root worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Root has been

eligible to receive overtime pay under the FLSA because Root has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4766. Plaintiff Lawrence Rushing is an individual residing in Kentucky. Rushing

worked as a delivery driver for FedEx in Kentucky from approximately 1993 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Rushing

has been eligible to receive overtime pay under the FLSA because Rushing has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4767. Plaintiff Kevin Sacksteder is an individual residing in Kentucky. Sacksteder

worked as a delivery driver for FedEx in Kentucky from approximately 2020 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Sacksteder has been eligible to receive overtime pay under the FLSA because Sacksteder has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4768. Plaintiff Krystal Scoggins is an individual residing in Indiana. Scoggins worked

as a delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Scoggins has been eligible to receive overtime pay



                                              1319
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1320 of 3128




under the FLSA because Scoggins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4769. Plaintiff Michael Searp is an individual residing in Kentucky. Searp worked as a

delivery driver for FedEx in Kentucky from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Searp has been

eligible to receive overtime pay under the FLSA because Searp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4770. Plaintiff Greg Shearer is an individual residing in Ohio. Shearer worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Shearer has been eligible to receive overtime pay

under the FLSA because Shearer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4771. Plaintiff Brian Smiroldo is an individual residing in Kentucky. Smiroldo worked

as a delivery driver for FedEx in Kentucky from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smiroldo has been

eligible to receive overtime pay under the FLSA because Smiroldo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4772. Plaintiff Yolonda Smith is an individual residing in Kentucky. Smith worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                              1320
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1321 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4773. Plaintiff Bryan Smith is an individual residing in Kentucky. Smith worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4774. Plaintiff Timothy South is an individual residing in Tennessee. South worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. South has been

eligible to receive overtime pay under the FLSA because South has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4775. Plaintiff Bobby Staggs is an individual residing in Kentucky. Staggs worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Staggs has been

eligible to receive overtime pay under the FLSA because Staggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4776. Plaintiff Erica Starks is an individual residing in Kentucky. Starks worked as a

delivery driver for FedEx in Kentucky from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Starks has been



                                              1321
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1322 of 3128




eligible to receive overtime pay under the FLSA because Starks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4777. Plaintiff Christopher Stephens is an individual residing in Kentucky. Stephens

worked as a delivery driver for FedEx in Kentucky from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Stephens

has been eligible to receive overtime pay under the FLSA because Stephens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4778. Plaintiff Robert Stinson is an individual residing in Kentucky. Stinson worked as

a delivery driver for FedEx in Kentucky from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Stinson has been

eligible to receive overtime pay under the FLSA because Stinson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4779. Plaintiff Jonathon Tillman is an individual residing in Kentucky. Tillman worked

as a delivery driver for FedEx in Kentucky from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tillman has been

eligible to receive overtime pay under the FLSA because Tillman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4780. Plaintiff Joshua Tucker is an individual residing in Kentucky. Tucker worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2022 but was employed



                                              1322
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1323 of 3128




through intermediary entities that FedEx calls independent service providers. Tucker has been

eligible to receive overtime pay under the FLSA because Tucker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4781. Plaintiff Jason Turner is an individual residing in Kentucky. Turner worked as a

delivery driver for FedEx in Kentucky from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4782. Plaintiff Joshua Upton is an individual residing in Indiana. Upton worked as a

delivery driver for FedEx in Kentucky and Indiana but was employed through intermediary

entities that FedEx calls independent service providers. Upton has been eligible to receive

overtime pay under the FLSA because Upton has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4783. Plaintiff Martin Waddell Iii is an individual residing in Tennessee. Waddell Iii

worked as a delivery driver for FedEx in Kentucky but was employed through intermediary

entities that FedEx calls independent service providers. Waddell Iii has been eligible to receive

overtime pay under the FLSA because Waddell Iii has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4784. Plaintiff Caleb Walsh is an individual residing in Kentucky. Walsh worked as a

delivery driver for FedEx in Kentucky from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Walsh has been



                                               1323
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1324 of 3128




eligible to receive overtime pay under the FLSA because Walsh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4785. Plaintiff Cedric Ware is an individual residing in Kentucky. Ware worked as a

delivery driver for FedEx in Kentucky from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ware has been

eligible to receive overtime pay under the FLSA because Ware has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4786. Plaintiff Cordell Watts is an individual residing in Kentucky. Watts worked as a

delivery driver for FedEx in Kentucky but was employed through intermediary entities that

FedEx calls independent service providers. Watts has been eligible to receive overtime pay under

the FLSA because Watts has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4787. Plaintiff Carl Webb is an individual residing in Kentucky. Webb worked as a

delivery driver for FedEx in Kentucky from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4788. Plaintiff Zachary West is an individual residing in Kentucky. West worked as a

delivery driver for FedEx in Kentucky from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. West has been



                                              1324
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1325 of 3128




eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4789. Plaintiff Jennifer White is an individual residing in Kentucky. White worked as a

delivery driver for FedEx in Kentucky from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4790. Plaintiff Bryce Woosley is an individual residing in Kentucky. Woosley worked

as a delivery driver for FedEx in Kentucky from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Woosley has been

eligible to receive overtime pay under the FLSA because Woosley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4791. Plaintiff Andrew Worthen is an individual residing in Illinois. Worthen worked as

a delivery driver for FedEx in Kentucky from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Worthen has been

eligible to receive overtime pay under the FLSA because Worthen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4792. Plaintiff Joshua Young is an individual residing in Kentucky. Young worked as a

delivery driver for FedEx in Kentucky from approximately 2015 to 2017 but was employed



                                              1325
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1326 of 3128




through intermediary entities that FedEx calls independent service providers. Young has been

eligible to receive overtime pay under the FLSA because Young has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4793. Plaintiff Melissa Zipperlein is an individual residing in Kentucky. Zipperlein

worked as a delivery driver for FedEx in Kentucky from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Zipperlein has been eligible to receive overtime pay under the FLSA because Zipperlein has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4794. Plaintiff Danielle Abshire is an individual residing in Louisiana. Abshire worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Abshire has been

eligible to receive overtime pay under the FLSA because Abshire has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4795. Plaintiff Bianca Adams is an individual residing in Louisiana. Adams worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1326
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1327 of 3128




        4796. Plaintiff Marsailla Adams is an individual residing in Louisiana. Adams worked

as a delivery driver for FedEx in Louisiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4797. Plaintiff Megan Albert is an individual residing in Louisiana. Albert worked as a

delivery driver for FedEx in Louisiana from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Albert has been

eligible to receive overtime pay under the FLSA because Albert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4798. Plaintiff Justin Alford is an individual residing in Louisiana. Alford worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Alford has been

eligible to receive overtime pay under the FLSA because Alford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4799. Plaintiff Michael Allard is an individual residing in Louisiana. Allard worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Allard has been

eligible to receive overtime pay under the FLSA because Allard has driven a vehicle weighing




                                              1327
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1328 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4800. Plaintiff Kimberly Allen is an individual residing in Louisiana. Allen worked as a

delivery driver for FedEx in Louisiana from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4801. Plaintiff Rose Allen is an individual residing in Mississippi. Allen worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4802. Plaintiff Dejuan Armelin is an individual residing in Louisiana. Armelin worked

as a delivery driver for FedEx in Louisiana from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Armelin has been

eligible to receive overtime pay under the FLSA because Armelin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4803. Plaintiff Britley Armstrong is an individual residing in Louisiana. Armstrong

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1328
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1329 of 3128




Armstrong has been eligible to receive overtime pay under the FLSA because Armstrong has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4804. Plaintiff David Arvie is an individual residing in Texas. Arvie worked as a

delivery driver for FedEx in Louisiana from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Arvie has been

eligible to receive overtime pay under the FLSA because Arvie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4805. Plaintiff Jeromy August is an individual residing in Louisiana. August worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. August has been

eligible to receive overtime pay under the FLSA because August has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4806. Plaintiff Sherman Badie is an individual residing in Louisiana. Badie worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Badie has been eligible to receive overtime pay under

the FLSA because Badie has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4807. Plaintiff Elgin Bailey is an individual residing in Louisiana. Bailey worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been



                                              1329
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1330 of 3128




eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4808. Plaintiff Bobby Bailey is an individual residing in Louisiana. Bailey worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4809. Plaintiff Michael Barber is an individual residing in Louisiana. Barber worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Barber has been

eligible to receive overtime pay under the FLSA because Barber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4810. Plaintiff Matthew Barnes is an individual residing in Louisiana. Barnes worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been

eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4811. Plaintiff Duran Battie is an individual residing in Louisiana. Battie worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed



                                              1330
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1331 of 3128




through intermediary entities that FedEx calls independent service providers. Battie has been

eligible to receive overtime pay under the FLSA because Battie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4812. Plaintiff Jennifer Bauman is an individual residing in Louisiana. Bauman worked

as a delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bauman has been

eligible to receive overtime pay under the FLSA because Bauman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4813. Plaintiff Marvin Becnel is an individual residing in Louisiana. Becnel worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Becnel has been

eligible to receive overtime pay under the FLSA because Becnel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4814. Plaintiff Gregsby Bell is an individual residing in Louisiana. Bell worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been

eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1331
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1332 of 3128




        4815. Plaintiff Roosevelt Bell is an individual residing in Louisiana. Bell worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been

eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4816. Plaintiff Silas Bell is an individual residing in Louisiana. Bell worked as a

delivery driver for FedEx in Louisiana from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been

eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4817. Plaintiff Deondrae Bellard is an individual residing in Louisiana. Bellard worked

as a delivery driver for FedEx in Louisiana from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bellard has been

eligible to receive overtime pay under the FLSA because Bellard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4818. Plaintiff Harris Bellard is an individual residing in Louisiana. Bellard worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Bellard has been eligible to receive overtime pay

under the FLSA because Bellard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               1332
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1333 of 3128




        4819. Plaintiff Madonna Belton is an individual residing in Louisiana. Belton worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Belton has been

eligible to receive overtime pay under the FLSA because Belton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4820. Plaintiff Felicia Benjamin is an individual residing in Louisiana. Benjamin

worked as a delivery driver for FedEx in Louisiana but was employed through intermediary

entities that FedEx calls independent service providers. Benjamin has been eligible to receive

overtime pay under the FLSA because Benjamin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4821. Plaintiff Mickey Bergeron is an individual residing in Louisiana. Bergeron

worked as a delivery driver for FedEx in Louisiana but was employed through intermediary

entities that FedEx calls independent service providers. Bergeron has been eligible to receive

overtime pay under the FLSA because Bergeron has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4822. Plaintiff Evan Berggren is an individual residing in Alabama. Berggren worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Berggren has been eligible to receive overtime pay

under the FLSA because Berggren has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4823. Plaintiff Tina Berzas is an individual residing in Louisiana. Berzas worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that



                                              1333
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1334 of 3128




FedEx calls independent service providers. Berzas has been eligible to receive overtime pay

under the FLSA because Berzas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4824. Plaintiff Chad Blanchard is an individual residing in Louisiana. Blanchard worked

as a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Blanchard has been

eligible to receive overtime pay under the FLSA because Blanchard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4825. Plaintiff Shaun Bloomer is an individual residing in Louisiana. Bloomer worked

as a delivery driver for FedEx in Louisiana from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bloomer has been

eligible to receive overtime pay under the FLSA because Bloomer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4826. Plaintiff Denna Bly is an individual residing in Louisiana. Bly worked as a

delivery driver for FedEx in Louisiana from approximately 2003 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bly has been

eligible to receive overtime pay under the FLSA because Bly has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4827. Plaintiff Cornell Bolden is an individual residing in Louisiana. Bolden worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed



                                              1334
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1335 of 3128




through intermediary entities that FedEx calls independent service providers. Bolden has been

eligible to receive overtime pay under the FLSA because Bolden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4828. Plaintiff Darrell Boudreaux is an individual residing in Louisiana. Boudreaux

worked as a delivery driver for FedEx in Louisiana but was employed through intermediary

entities that FedEx calls independent service providers. Boudreaux has been eligible to receive

overtime pay under the FLSA because Boudreaux has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4829. Plaintiff Kandra Breaux is an individual residing in Louisiana. Breaux worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Breaux has been

eligible to receive overtime pay under the FLSA because Breaux has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4830. Plaintiff Tybriel Brock is an individual residing in Mississippi. Brock worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brock has been

eligible to receive overtime pay under the FLSA because Brock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4831. Plaintiff Jasper Brooks is an individual residing in Louisiana. Brooks worked as a

delivery driver for FedEx in Louisiana from approximately 2008 to 2022 but was employed



                                              1335
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1336 of 3128




through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4832. Plaintiff Dennis Broussard is an individual residing in Louisiana. Broussard

worked as a delivery driver for FedEx in Louisiana from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Broussard has been eligible to receive overtime pay under the FLSA because Broussard has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4833. Plaintiff Shaji Brown is an individual residing in Louisiana. Brown worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4834. Plaintiff Stanley Brown is an individual residing in Louisiana. Brown worked as a

delivery driver for FedEx in Louisiana from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4835. Plaintiff Charles Brown Jr. is an individual residing in Louisiana. Brown Jr.

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2022 but was



                                              1336
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1337 of 3128




employed through intermediary entities that FedEx calls independent service providers. Brown

Jr. has been eligible to receive overtime pay under the FLSA because Brown Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        4836. Plaintiff Kristin Bumgarden is an individual residing in Louisiana. Bumgarden

worked as a delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Bumgarden has been eligible to receive overtime pay under the FLSA because Bumgarden has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4837. Plaintiff Leonard Burrell is an individual residing in Louisiana. Burrell worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Burrell has been

eligible to receive overtime pay under the FLSA because Burrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4838. Plaintiff Tamika Calhoun is an individual residing in Louisiana. Calhoun worked

as a delivery driver for FedEx in Louisiana from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Calhoun has been

eligible to receive overtime pay under the FLSA because Calhoun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1337
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1338 of 3128




        4839. Plaintiff Ashonna Calhoun is an individual residing in Louisiana. Calhoun worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Calhoun has been

eligible to receive overtime pay under the FLSA because Calhoun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4840. Plaintiff Krystalland Campbell is an individual residing in Louisiana. Campbell

worked as a delivery driver for FedEx in Louisiana from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Campbell has been eligible to receive overtime pay under the FLSA because Campbell has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4841. Plaintiff Michael Carlisle is an individual residing in Louisiana. Carlisle worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Carlisle has been

eligible to receive overtime pay under the FLSA because Carlisle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4842. Plaintiff Tejean Carroll is an individual residing in Louisiana. Carroll worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carroll has been

eligible to receive overtime pay under the FLSA because Carroll has driven a vehicle weighing




                                              1338
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1339 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4843. Plaintiff Clarence Carter is an individual residing in Louisiana. Carter worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4844. Plaintiff Bashon Casmier, Sr. is an individual residing in Louisiana. Casmier

worked as a delivery driver for FedEx in Louisiana from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Casmier

has been eligible to receive overtime pay under the FLSA because Casmier has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4845. Plaintiff Jermaine Celestine is an individual residing in Louisiana. Celestine

worked as a delivery driver for FedEx in Louisiana but was employed through intermediary

entities that FedEx calls independent service providers. Celestine has been eligible to receive

overtime pay under the FLSA because Celestine has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4846. Plaintiff Kristy Chesson-Vasalle is an individual residing in Louisiana. Chesson-

Vasalle worked as a delivery driver for FedEx in Louisiana from approximately 2012 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Chesson-Vasalle has been eligible to receive overtime pay under the FLSA because Chesson-



                                               1339
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1340 of 3128




Vasalle has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        4847. Plaintiff Gerald Choplin is an individual residing in Louisiana. Choplin worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Choplin has been eligible to receive overtime pay

under the FLSA because Choplin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4848. Plaintiff Derick Clark is an individual residing in Louisiana. Clark worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4849. Plaintiff David Clemmens is an individual residing in Louisiana. Clemmens

worked as a delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Clemmens has been eligible to receive overtime pay under the FLSA because Clemmens has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4850. Plaintiff Monica Cloyd is an individual residing in Louisiana. Cloyd worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cloyd has been

eligible to receive overtime pay under the FLSA because Cloyd has driven a vehicle weighing



                                              1340
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1341 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4851. Plaintiff Justin Cockerham is an individual residing in Louisiana. Cockerham

worked as a delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Cockerham has been eligible to receive overtime pay under the FLSA because Cockerham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4852. Plaintiff Llyodell Coffey is an individual residing in Louisiana. Coffey worked as

a delivery driver for FedEx in Louisiana from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Coffey has been

eligible to receive overtime pay under the FLSA because Coffey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4853. Plaintiff Arsenio Cofield is an individual residing in Louisiana. Cofield worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cofield has been

eligible to receive overtime pay under the FLSA because Cofield has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4854. Plaintiff Rickey Colligan is an individual residing in Louisiana. Colligan worked

as a delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Colligan has been



                                              1341
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1342 of 3128




eligible to receive overtime pay under the FLSA because Colligan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4855. Plaintiff Patrick Collins is an individual residing in Mississippi. Collins worked as

a delivery driver for FedEx in Louisiana from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4856. Plaintiff Antonio Cox is an individual residing in Colorado. Cox worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cox has been

eligible to receive overtime pay under the FLSA because Cox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4857. Plaintiff Jerry Cox is an individual residing in Louisiana. Cox worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cox has been

eligible to receive overtime pay under the FLSA because Cox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4858. Plaintiff Artasha Crawford is an individual residing in Louisiana. Crawford

worked as a delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was



                                               1342
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1343 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Crawford has been eligible to receive overtime pay under the FLSA because Crawford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4859. Plaintiff Brian Crawford is an individual residing in Louisiana. Crawford worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Crawford has been

eligible to receive overtime pay under the FLSA because Crawford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4860. Plaintiff Trevor Crier is an individual residing in Louisiana. Crier worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Crier has been

eligible to receive overtime pay under the FLSA because Crier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4861. Plaintiff Corey Crumedy is an individual residing in Mississippi. Crumedy

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Crumedy

has been eligible to receive overtime pay under the FLSA because Crumedy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1343
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1344 of 3128




        4862. Plaintiff Clarence Dartez is an individual residing in Louisiana. Dartez worked as

a delivery driver for FedEx in Louisiana from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Dartez has been

eligible to receive overtime pay under the FLSA because Dartez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4863. Plaintiff Carsandra Davenport is an individual residing in Louisiana. Davenport

worked as a delivery driver for FedEx in Louisiana but was employed through intermediary

entities that FedEx calls independent service providers. Davenport has been eligible to receive

overtime pay under the FLSA because Davenport has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4864. Plaintiff Claude Davis is an individual residing in Louisiana. Davis worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4865. Plaintiff Edward Davis is an individual residing in Louisiana. Davis worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1344
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1345 of 3128




        4866. Plaintiff Leshown Davis is an individual residing in Louisiana. Davis worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4867. Plaintiff Joseph Davis is an individual residing in Louisiana. Davis worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4868. Plaintiff Roy Dawson is an individual residing in Louisiana. Dawson worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Dawson has been eligible to receive overtime pay

under the FLSA because Dawson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4869. Plaintiff Marcus Dawson is an individual residing in Louisiana. Dawson worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dawson has been

eligible to receive overtime pay under the FLSA because Dawson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             1345
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1346 of 3128




        4870. Plaintiff Christella Demouy is an individual residing in Texas. Demouy worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Demouy has been

eligible to receive overtime pay under the FLSA because Demouy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4871. Plaintiff Jessie Devall is an individual residing in Louisiana. Devall worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Devall has been

eligible to receive overtime pay under the FLSA because Devall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4872. Plaintiff Dedric Dixson is an individual residing in Louisiana. Dixson worked as a

delivery driver for FedEx in Louisiana from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dixson has been

eligible to receive overtime pay under the FLSA because Dixson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4873. Plaintiff Steven Do is an individual residing in Louisiana. Do worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Do has been

eligible to receive overtime pay under the FLSA because Do has driven a vehicle weighing less




                                              1346
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1347 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4874. Plaintiff Jacob Dressel is an individual residing in Louisiana. Dressel worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Dressel has been

eligible to receive overtime pay under the FLSA because Dressel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4875. Plaintiff Haley Dubroc is an individual residing in Louisiana. Dubroc worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Dubroc has been eligible to receive overtime pay

under the FLSA because Dubroc has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4876. Plaintiff Thomas Duhon is an individual residing in Louisiana. Duhon worked as

a delivery driver for FedEx in Louisiana from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Duhon has been

eligible to receive overtime pay under the FLSA because Duhon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4877. Plaintiff Robbie Dunn is an individual residing in Louisiana. Dunn worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dunn has been

eligible to receive overtime pay under the FLSA because Dunn has driven a vehicle weighing



                                              1347
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1348 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4878. Plaintiff Samuel Dunn is an individual residing in Louisiana. Dunn worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Dunn has been eligible to receive overtime pay under

the FLSA because Dunn has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4879. Plaintiff Travis Dupree is an individual residing in Louisiana. Dupree worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Dupree has been eligible to receive overtime pay

under the FLSA because Dupree has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4880. Plaintiff Chad Dupuis is an individual residing in Louisiana. Dupuis worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Dupuis has been

eligible to receive overtime pay under the FLSA because Dupuis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4881. Plaintiff Dominque Durgin is an individual residing in Wisconsin. Durgin worked

as a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Durgin has been

eligible to receive overtime pay under the FLSA because Durgin has driven a vehicle weighing




                                              1348
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1349 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4882. Plaintiff Marcus Durisseau is an individual residing in Louisiana. Durisseau

worked as a delivery driver for FedEx in Louisiana from approximately 2021 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Durisseau has been eligible to receive overtime pay under the FLSA because Durisseau has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4883. Plaintiff Bayleigh Easley is an individual residing in Louisiana. Easley worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Easley has been

eligible to receive overtime pay under the FLSA because Easley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4884. Plaintiff Jasmine Elaire is an individual residing in Louisiana. Elaire worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Elaire has been

eligible to receive overtime pay under the FLSA because Elaire has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4885. Plaintiff Stevhan Eppinette is an individual residing in Louisiana. Eppinette

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1349
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1350 of 3128




Eppinette has been eligible to receive overtime pay under the FLSA because Eppinette has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4886. Plaintiff Micah Ernestine is an individual residing in Louisiana. Ernestine worked

as a delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ernestine has been

eligible to receive overtime pay under the FLSA because Ernestine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4887. Plaintiff Kedrick Ethridge is an individual residing in Louisiana. Ethridge worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ethridge has been

eligible to receive overtime pay under the FLSA because Ethridge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4888. Plaintiff Austin Fairchild is an individual residing in Florida. Fairchild worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Fairchild has been

eligible to receive overtime pay under the FLSA because Fairchild has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4889. Plaintiff Chad Faust is an individual residing in Louisiana. Faust worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2016 but was employed



                                               1350
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1351 of 3128




through intermediary entities that FedEx calls independent service providers. Faust has been

eligible to receive overtime pay under the FLSA because Faust has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4890. Plaintiff Aaron Ferguson is an individual residing in Louisiana. Ferguson worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ferguson has been

eligible to receive overtime pay under the FLSA because Ferguson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4891. Plaintiff Adam Fields is an individual residing in Louisiana. Fields worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Fields has been eligible to receive overtime pay

under the FLSA because Fields has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4892. Plaintiff Cedric Figaro is an individual residing in Louisiana. Figaro worked as a

delivery driver for FedEx in Louisiana from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Figaro has been

eligible to receive overtime pay under the FLSA because Figaro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4893. Plaintiff Vernetta Finister is an individual residing in Louisiana. Finister worked

as a delivery driver for FedEx in Louisiana from approximately 2012 to 2016 but was employed



                                               1351
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1352 of 3128




through intermediary entities that FedEx calls independent service providers. Finister has been

eligible to receive overtime pay under the FLSA because Finister has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4894. Plaintiff Shannon Fletcher is an individual residing in Louisiana. Fletcher worked

as a delivery driver for FedEx in Louisiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fletcher has been

eligible to receive overtime pay under the FLSA because Fletcher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4895. Plaintiff Latasha Flowersmcadams is an individual residing in Louisiana.

Flowersmcadams worked as a delivery driver for FedEx in Louisiana from approximately 2017

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Flowersmcadams has been eligible to receive overtime pay under the FLSA because

Flowersmcadams has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4896. Plaintiff Tyler Fontenot is an individual residing in Louisiana. Fontenot worked as

a delivery driver for FedEx in Louisiana from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Fontenot has been

eligible to receive overtime pay under the FLSA because Fontenot has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1352
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1353 of 3128




        4897. Plaintiff Herman Ford is an individual residing in Louisiana. Ford worked as a

delivery driver for FedEx in Louisiana from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been

eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4898. Plaintiff Pamela Francis is an individual residing in Louisiana. Francis worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Francis has been

eligible to receive overtime pay under the FLSA because Francis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4899. Plaintiff Kevin Frank is an individual residing in Louisiana. Frank worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Frank has been

eligible to receive overtime pay under the FLSA because Frank has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4900. Plaintiff Demetrious Frazier is an individual residing in Louisiana. Frazier worked

as a delivery driver for FedEx in Louisiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Frazier has been

eligible to receive overtime pay under the FLSA because Frazier has driven a vehicle weighing




                                              1353
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1354 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4901. Plaintiff Daniel Gaeta is an individual residing in Louisiana. Gaeta worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Gaeta has been eligible to receive overtime pay under

the FLSA because Gaeta has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4902. Plaintiff Jermaine Gallow is an individual residing in Louisiana. Gallow worked

as a delivery driver for FedEx in Louisiana from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gallow has been

eligible to receive overtime pay under the FLSA because Gallow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4903. Plaintiff Lewis Goodwin is an individual residing in Louisiana. Goodwin worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Goodwin has been eligible to receive overtime pay

under the FLSA because Goodwin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4904. Plaintiff David Grant is an individual residing in Louisiana. Grant worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Grant has been eligible to receive overtime pay under

the FLSA because Grant has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              1354
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1355 of 3128




        4905. Plaintiff Juanetta Gray is an individual residing in Louisiana. Gray worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gray has been

eligible to receive overtime pay under the FLSA because Gray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4906. Plaintiff Carlus Green is an individual residing in Texas. Green worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4907. Plaintiff Kevin Green is an individual residing in Louisiana. Green worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4908. Plaintiff Jennifer Griffin is an individual residing in Louisiana. Griffin worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Griffin has been eligible to receive overtime pay

under the FLSA because Griffin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               1355
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1356 of 3128




        4909. Plaintiff Kevan Griffith is an individual residing in Louisiana. Griffith worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Griffith has been

eligible to receive overtime pay under the FLSA because Griffith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4910. Plaintiff Jeremy Grimes is an individual residing in Louisiana. Grimes worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Grimes has been

eligible to receive overtime pay under the FLSA because Grimes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4911. Plaintiff Glenn Guidry is an individual residing in Louisiana. Guidry worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Guidry has been

eligible to receive overtime pay under the FLSA because Guidry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4912. Plaintiff Adam Guilbeau is an individual residing in Louisiana. Guilbeau worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Guilbeau has been eligible to receive overtime pay

under the FLSA because Guilbeau has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1356
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1357 of 3128




        4913. Plaintiff Lariska Guillory is an individual residing in Louisiana. Guillory worked

as a delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Guillory has been

eligible to receive overtime pay under the FLSA because Guillory has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4914. Plaintiff Brandon Haggerty is an individual residing in Louisiana. Haggerty

worked as a delivery driver for FedEx in Louisiana from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Haggerty

has been eligible to receive overtime pay under the FLSA because Haggerty has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4915. Plaintiff Larry Hall is an individual residing in Louisiana. Hall worked as a

delivery driver for FedEx in Louisiana from approximately 2002 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4916. Plaintiff Rick Hall Jr. is an individual residing in Louisiana. Hall Jr. worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hall Jr. has been

eligible to receive overtime pay under the FLSA because Hall Jr. has driven a vehicle weighing




                                               1357
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1358 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4917. Plaintiff Nedra Hamilton is an individual residing in Louisiana. Hamilton worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hamilton has been

eligible to receive overtime pay under the FLSA because Hamilton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4918. Plaintiff Thomas Handy is an individual residing in Louisiana. Handy worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Handy has been

eligible to receive overtime pay under the FLSA because Handy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4919. Plaintiff Shannon Harris is an individual residing in Louisiana. Harris worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Harris has been eligible to receive overtime pay

under the FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4920. Plaintiff Crystal Harrison is an individual residing in Louisiana. Harrison worked

as a delivery driver for FedEx in Louisiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing



                                              1358
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1359 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4921. Plaintiff Walter Hasty is an individual residing in Louisiana. Hasty worked as a

delivery driver for FedEx in Louisiana from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hasty has been

eligible to receive overtime pay under the FLSA because Hasty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4922. Plaintiff Shanendoah Hathaway is an individual residing in Louisiana. Hathaway

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Hathaway has been eligible to receive overtime pay under the FLSA because Hathaway has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4923. Plaintiff Giraud Hawkins is an individual residing in Louisiana. Hawkins worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4924. Plaintiff Lakeisha Hayes is an individual residing in Louisiana. Hayes worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been



                                              1359
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1360 of 3128




eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4925. Plaintiff Charles Hayward is an individual residing in Louisiana. Hayward

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hayward

has been eligible to receive overtime pay under the FLSA because Hayward has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4926. Plaintiff Glenn Heard is an individual residing in Tennessee. Heard worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Heard has been

eligible to receive overtime pay under the FLSA because Heard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4927. Plaintiff Shavel Heary is an individual residing in Louisiana. Heary worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Heary has been

eligible to receive overtime pay under the FLSA because Heary has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4928. Plaintiff Michael Henderson is an individual residing in Louisiana. Henderson

worked as a delivery driver for FedEx in Louisiana from approximately 2013 to 2019 but was



                                              1360
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1361 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4929. Plaintiff Erikesia Henry is an individual residing in Louisiana. Henry worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Henry has been

eligible to receive overtime pay under the FLSA because Henry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4930. Plaintiff Rayshell Hitchens is an individual residing in Louisiana. Hitchens

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hitchens

has been eligible to receive overtime pay under the FLSA because Hitchens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4931. Plaintiff Jacklyn Hollins is an individual residing in Texas. Hollins worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Hollins has been eligible to receive overtime pay

under the FLSA because Hollins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4932. Plaintiff Mandan Holloway is an individual residing in Louisiana. Holloway

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was



                                              1361
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1362 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Holloway has been eligible to receive overtime pay under the FLSA because Holloway has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4933. Plaintiff Drew Hopkins is an individual residing in Louisiana. Hopkins worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hopkins has been

eligible to receive overtime pay under the FLSA because Hopkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4934. Plaintiff Devon Hubbert is an individual residing in Louisiana. Hubbert worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hubbert has been

eligible to receive overtime pay under the FLSA because Hubbert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4935. Plaintiff Kelly Hutslar is an individual residing in Louisiana. Hutslar worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hutslar has been

eligible to receive overtime pay under the FLSA because Hutslar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1362
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1363 of 3128




        4936. Plaintiff Reginald Jackson is an individual residing in Louisiana. Jackson worked

as a delivery driver for FedEx in Louisiana from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4937. Plaintiff Suan Jackson is an individual residing in Louisiana. Jackson worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4938. Plaintiff Ivory Jacobs is an individual residing in Louisiana. Jacobs worked as a

delivery driver for FedEx in Louisiana from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jacobs has been

eligible to receive overtime pay under the FLSA because Jacobs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4939. Plaintiff Rodney Jeter is an individual residing in Louisiana. Jeter worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jeter has been

eligible to receive overtime pay under the FLSA because Jeter has driven a vehicle weighing less




                                              1363
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1364 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4940. Plaintiff James Johnson is an individual residing in Louisiana. Johnson worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4941. Plaintiff Steven Johnson is an individual residing in Georgia. Johnson worked as a

delivery driver for FedEx in Louisiana from approximately 2003 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4942. Plaintiff Tiffany Johnson is an individual residing in Louisiana. Johnson worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4943. Plaintiff Kiara Johnson is an individual residing in Louisiana. Johnson worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing



                                              1364
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1365 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4944. Plaintiff Cortez Johnson is an individual residing in Louisiana. Johnson worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4945. Plaintiff Tremaine Johnson is an individual residing in Louisiana. Johnson

worked as a delivery driver for FedEx in Louisiana but was employed through intermediary

entities that FedEx calls independent service providers. Johnson has been eligible to receive

overtime pay under the FLSA because Johnson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4946. Plaintiff Justin Johnson is an individual residing in Louisiana. Johnson worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4947. Plaintiff Dwayne Johnson is an individual residing in Louisiana. Johnson worked

as a delivery driver for FedEx in Louisiana from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing



                                              1365
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1366 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4948. Plaintiff Javaria Jones is an individual residing in Louisiana. Jones worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4949. Plaintiff Mario Jones is an individual residing in Louisiana. Jones worked as a

delivery driver for FedEx in Louisiana from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4950. Plaintiff Deshannon Jones is an individual residing in Louisiana. Jones worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4951. Plaintiff Jeremiah Jones is an individual residing in Louisiana. Jones worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been



                                              1366
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1367 of 3128




eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4952. Plaintiff George Jones is an individual residing in Louisiana. Jones worked as a

delivery driver for FedEx in Louisiana from approximately 2012 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4953. Plaintiff Latoya Jones is an individual residing in Louisiana. Jones worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under

the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        4954. Plaintiff Eunice Joyce is an individual residing in Louisiana. Joyce worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Joyce has been

eligible to receive overtime pay under the FLSA because Joyce has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4955. Plaintiff Christopher Kelley is an individual residing in Louisiana. Kelley worked

as a delivery driver for FedEx in Louisiana from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Kelley has been



                                              1367
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1368 of 3128




eligible to receive overtime pay under the FLSA because Kelley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4956. Plaintiff Gregory Kelly is an individual residing in Louisiana. Kelly worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kelly has been

eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4957. Plaintiff Kenchedre Kessee is an individual residing in Texas. Kessee worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Kessee has been eligible to receive overtime pay

under the FLSA because Kessee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4958. Plaintiff Valerie Knight is an individual residing in Louisiana. Knight worked as a

delivery driver for FedEx in Louisiana from approximately 2005 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Knight has been

eligible to receive overtime pay under the FLSA because Knight has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4959. Plaintiff Joshua Lair is an individual residing in Texas. Lair worked as a delivery

driver for FedEx in Louisiana but was employed through intermediary entities that FedEx calls

independent service providers. Lair has been eligible to receive overtime pay under the FLSA



                                              1368
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1369 of 3128




because Lair has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        4960. Plaintiff Alonzo Landry is an individual residing in Louisiana. Landry worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Landry has been

eligible to receive overtime pay under the FLSA because Landry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4961. Plaintiff Khrissanthus Lasalle is an individual residing in Texas. Lasalle worked

as a delivery driver for FedEx in Louisiana from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lasalle has been

eligible to receive overtime pay under the FLSA because Lasalle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4962. Plaintiff Darius Lawden is an individual residing in Louisiana. Lawden worked as

a delivery driver for FedEx in Louisiana from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lawden has been

eligible to receive overtime pay under the FLSA because Lawden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4963. Plaintiff Michael Lawrence is an individual residing in Louisiana. Lawrence

worked as a delivery driver for FedEx in Louisiana from approximately 2001 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1369
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1370 of 3128




Lawrence has been eligible to receive overtime pay under the FLSA because Lawrence has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4964. Plaintiff Hendrick Leday is an individual residing in Louisiana. Leday worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Leday has been

eligible to receive overtime pay under the FLSA because Leday has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4965. Plaintiff Roosevelt Lee is an individual residing in Louisiana. Lee worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4966. Plaintiff Kyle Lee is an individual residing in Louisiana. Lee worked as a delivery

driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Lee has been eligible to

receive overtime pay under the FLSA because Lee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        4967. Plaintiff Julisa Lewis is an individual residing in Louisiana. Lewis worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been



                                              1370
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1371 of 3128




eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4968. Plaintiff Barney Lewis is an individual residing in Louisiana. Lewis worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4969. Plaintiff Gregory Livingston is an individual residing in Georgia. Livingston

worked as a delivery driver for FedEx in Louisiana from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Livingston has been eligible to receive overtime pay under the FLSA because Livingston has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4970. Plaintiff Jeremy Long is an individual residing in Louisiana. Long worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Long has been

eligible to receive overtime pay under the FLSA because Long has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4971. Plaintiff Heather Lowe is an individual residing in Louisiana. Lowe worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was employed



                                              1371
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1372 of 3128




through intermediary entities that FedEx calls independent service providers. Lowe has been

eligible to receive overtime pay under the FLSA because Lowe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4972. Plaintiff Brandon Loyd is an individual residing in Louisiana. Loyd worked as a

delivery driver for FedEx in Louisiana from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Loyd has been

eligible to receive overtime pay under the FLSA because Loyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4973. Plaintiff Demond Hutton is an individual residing in Louisiana. Lyons worked as

a delivery driver for FedEx in Louisiana from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4974. Plaintiff Alton Lyons, Sr is an individual residing in Louisiana. Lyons worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1372
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1373 of 3128




        4975. Plaintiff Renaido Mack is an individual residing in Texas. Mack worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mack has been

eligible to receive overtime pay under the FLSA because Mack has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4976. Plaintiff Karl Mackey Jr is an individual residing in Louisiana. Mackey worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mackey has been

eligible to receive overtime pay under the FLSA because Mackey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4977. Plaintiff Leo Madison is an individual residing in Louisiana. Madison worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Madison has been

eligible to receive overtime pay under the FLSA because Madison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4978. Plaintiff Tyrone Marshall is an individual residing in Louisiana. Marshall worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Marshall has been

eligible to receive overtime pay under the FLSA because Marshall has driven a vehicle weighing




                                             1373
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1374 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4979. Plaintiff Naquellar Martin is an individual residing in Louisiana. Martin worked

as a delivery driver for FedEx in Louisiana from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4980. Plaintiff Lashonda Matthews is an individual residing in Louisiana. Matthews

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Matthews has been eligible to receive overtime pay under the FLSA because Matthews has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4981. Plaintiff Willie Matthews is an individual residing in Louisiana. Matthews

worked as a delivery driver for FedEx in Louisiana from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Matthews has been eligible to receive overtime pay under the FLSA because Matthews has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4982. Plaintiff Delasta May is an individual residing in Louisiana. May worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. May has been



                                              1374
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1375 of 3128




eligible to receive overtime pay under the FLSA because May has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4983. Plaintiff Corey Mayweather is an individual residing in Louisiana. Mayweather

worked as a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mayweather has been eligible to receive overtime pay under the FLSA because Mayweather has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4984. Plaintiff Lakitha Mcghee is an individual residing in Louisiana. Mcghee worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Mcghee has been eligible to receive overtime pay

under the FLSA because Mcghee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4985. Plaintiff Ashanti Mchenry is an individual residing in Louisiana. Mchenry worked

as a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mchenry has been

eligible to receive overtime pay under the FLSA because Mchenry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4986. Plaintiff Joseph Mckenzie is an individual residing in Louisiana. Mckenzie

worked as a delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             1375
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1376 of 3128




Mckenzie has been eligible to receive overtime pay under the FLSA because Mckenzie has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        4987. Plaintiff Willie Mcrae is an individual residing in Louisiana. Mcrae worked as a

delivery driver for FedEx in Louisiana from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mcrae has been

eligible to receive overtime pay under the FLSA because Mcrae has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4988. Plaintiff Jeannette Melton is an individual residing in Texas. Melton worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Melton has been

eligible to receive overtime pay under the FLSA because Melton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4989. Plaintiff Ashleigh Mensia is an individual residing in Louisiana. Mensia worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mensia has been

eligible to receive overtime pay under the FLSA because Mensia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4990. Plaintiff Taylor Miller is an individual residing in Louisiana. Miller worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that



                                              1376
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1377 of 3128




FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        4991. Plaintiff Kirk Miller is an individual residing in Louisiana. Miller worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4992. Plaintiff Wesley Mills is an individual residing in Louisiana. Mills worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mills has been

eligible to receive overtime pay under the FLSA because Mills has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4993. Plaintiff Ricky Mitchell, Sr. is an individual residing in Louisiana. Mitchell

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mitchell

has been eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        4994. Plaintiff Kcee Mitchell is an individual residing in Louisiana. Mitchell worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed



                                               1377
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1378 of 3128




through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4995. Plaintiff Rayquan Moore is an individual residing in Louisiana. Moore worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4996. Plaintiff Mark Morel is an individual residing in Louisiana. Morel worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Morel has been

eligible to receive overtime pay under the FLSA because Morel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4997. Plaintiff Deron Mosley is an individual residing in Louisiana. Mosley worked as a

delivery driver for FedEx in Louisiana from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mosley has been

eligible to receive overtime pay under the FLSA because Mosley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1378
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1379 of 3128




        4998. Plaintiff Mercedes Mouton is an individual residing in Louisiana. Mouton worked

as a delivery driver for FedEx in Louisiana from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mouton has been

eligible to receive overtime pay under the FLSA because Mouton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        4999. Plaintiff Doreen Mouton is an individual residing in Louisiana. Mouton worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mouton has been

eligible to receive overtime pay under the FLSA because Mouton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5000. Plaintiff Kelen Murphy is an individual residing in Louisiana. Murphy worked as

a delivery driver for FedEx in Louisiana from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Murphy has been

eligible to receive overtime pay under the FLSA because Murphy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5001. Plaintiff Donald Nelson is an individual residing in Louisiana. Nelson worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing




                                             1379
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1380 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5002. Plaintiff Glen Norman is an individual residing in Louisiana. Norman worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Norman has been

eligible to receive overtime pay under the FLSA because Norman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5003. Plaintiff Christopher Packwood, Sr. is an individual residing in Louisiana.

Packwood worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Packwood has been eligible to receive overtime pay under the FLSA because Packwood has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5004. Plaintiff Jordan Page is an individual residing in Louisiana. Page worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Page has been

eligible to receive overtime pay under the FLSA because Page has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5005. Plaintiff Damien Patterson is an individual residing in Louisiana. Patterson

worked as a delivery driver for FedEx in Louisiana from approximately 2011 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Patterson



                                              1380
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1381 of 3128




has been eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5006. Plaintiff Lance Pattum is an individual residing in Louisiana. Pattum worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pattum has been

eligible to receive overtime pay under the FLSA because Pattum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5007. Plaintiff Syronda Paul is an individual residing in Louisiana. Paul worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Paul has been

eligible to receive overtime pay under the FLSA because Paul has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5008. Plaintiff Dejuan Payne is an individual residing in Louisiana. Payne worked as a

delivery driver for FedEx in Louisiana from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Payne has been

eligible to receive overtime pay under the FLSA because Payne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5009. Plaintiff Kyitanya Payne is an individual residing in Louisiana. Payne worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed



                                              1381
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1382 of 3128




through intermediary entities that FedEx calls independent service providers. Payne has been

eligible to receive overtime pay under the FLSA because Payne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5010. Plaintiff Teliah Perkins is an individual residing in Louisiana. Perkins worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Perkins has been

eligible to receive overtime pay under the FLSA because Perkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5011. Plaintiff Daffany Perry is an individual residing in Louisiana. Perry worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5012. Plaintiff Willis Perry is an individual residing in Louisiana. Perry worked as a

delivery driver for FedEx in Louisiana from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1382
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1383 of 3128




        5013. Plaintiff Perry Petite is an individual residing in Louisiana. Petite worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Petite has been

eligible to receive overtime pay under the FLSA because Petite has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5014. Plaintiff Dylan Pickens is an individual residing in Louisiana. Pickens worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pickens has been

eligible to receive overtime pay under the FLSA because Pickens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5015. Plaintiff Sherita Pinkins is an individual residing in Louisiana. Pinkins worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Pinkins has been eligible to receive overtime pay

under the FLSA because Pinkins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5016. Plaintiff Aneja Pittman is an individual residing in Louisiana. Pittman worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pittman has been

eligible to receive overtime pay under the FLSA because Pittman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1383
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1384 of 3128




        5017. Plaintiff Angel Pitts is an individual residing in Louisiana. Pitts worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pitts has been

eligible to receive overtime pay under the FLSA because Pitts has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5018. Plaintiff Beverly Polite is an individual residing in Louisiana. Polite worked as a

delivery driver for FedEx in Louisiana from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Polite has been

eligible to receive overtime pay under the FLSA because Polite has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5019. Plaintiff Derek Polk is an individual residing in Louisiana. Polk worked as a

delivery driver for FedEx in Louisiana from approximately 2009 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Polk has been

eligible to receive overtime pay under the FLSA because Polk has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5020. Plaintiff Cynthia Powell is an individual residing in Louisiana. Powell worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Powell has been

eligible to receive overtime pay under the FLSA because Powell has driven a vehicle weighing




                                               1384
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1385 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5021. Plaintiff Joseph Price is an individual residing in Louisiana. Price worked as a

delivery driver for FedEx in Louisiana from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Price has been

eligible to receive overtime pay under the FLSA because Price has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5022. Plaintiff Timothy Williamson is an individual residing in Louisiana. Prichard

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Prichard

has been eligible to receive overtime pay under the FLSA because Prichard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5023. Plaintiff Phaedra Pugh is an individual residing in Louisiana. Pugh worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pugh has been

eligible to receive overtime pay under the FLSA because Pugh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5024. Plaintiff Debra Raby is an individual residing in Louisiana. Raby worked as a

delivery driver for FedEx in Louisiana from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Raby has been



                                              1385
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1386 of 3128




eligible to receive overtime pay under the FLSA because Raby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5025. Plaintiff Alfred Rayford is an individual residing in Louisiana. Rayford worked as

a delivery driver for FedEx in Louisiana from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rayford has been

eligible to receive overtime pay under the FLSA because Rayford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5026. Plaintiff Bryan Reed is an individual residing in Louisiana. Reed worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Reed has been

eligible to receive overtime pay under the FLSA because Reed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5027. Plaintiff Lawanza Richardson is an individual residing in Louisiana. Richardson

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5028. Plaintiff Sanetra Richardson is an individual residing in Louisiana. Richardson

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2020 but was



                                              1386
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1387 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5029. Plaintiff Gerald Robinson is an individual residing in Louisiana. Robinson

worked as a delivery driver for FedEx in Louisiana from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5030. Plaintiff Laura Rojas is an individual residing in Louisiana. Rojas worked as a

delivery driver for FedEx in Louisiana from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rojas has been

eligible to receive overtime pay under the FLSA because Rojas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5031. Plaintiff Herbert Roy is an individual residing in Louisiana. Roy worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Roy has been

eligible to receive overtime pay under the FLSA because Roy has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1387
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1388 of 3128




        5032. Plaintiff Trene Salvant is an individual residing in Louisiana. Salvant worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Salvant has been

eligible to receive overtime pay under the FLSA because Salvant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5033. Plaintiff Bill Sampy is an individual residing in Louisiana. Sampy worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sampy has been

eligible to receive overtime pay under the FLSA because Sampy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5034. Plaintiff Dannon Sawyer is an individual residing in Louisiana. Sawyer worked as

a delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sawyer has been

eligible to receive overtime pay under the FLSA because Sawyer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5035. Plaintiff Loretta Seaberry is an individual residing in Louisiana. Seaberry worked

as a delivery driver for FedEx in Louisiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Seaberry has been

eligible to receive overtime pay under the FLSA because Seaberry has driven a vehicle weighing




                                              1388
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1389 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5036. Plaintiff Laregue Shepard is an individual residing in Louisiana. Shepard worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shepard has been

eligible to receive overtime pay under the FLSA because Shepard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5037. Plaintiff Terri Shreeves is an individual residing in Arkansas. Shreeves worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Shreeves has been

eligible to receive overtime pay under the FLSA because Shreeves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5038. Plaintiff Jamar Simmons is an individual residing in Louisiana. Simmons worked

as a delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Simmons has been

eligible to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5039. Plaintiff Isaac Simon is an individual residing in Louisiana. Simon worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Simon has been eligible to receive overtime pay



                                              1389
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1390 of 3128




under the FLSA because Simon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5040. Plaintiff Henry Simpson is an individual residing in Louisiana. Simpson worked

as a delivery driver for FedEx in Louisiana from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Simpson has been

eligible to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5041. Plaintiff Elijah Sledge is an individual residing in Louisiana. Sledge worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Sledge has been

eligible to receive overtime pay under the FLSA because Sledge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5042. Plaintiff Sheldon Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5043. Plaintiff Jeremy Smith is an individual residing in Pennsylvania. Smith worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been



                                              1390
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1391 of 3128




eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5044. Plaintiff Billy Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5045. Plaintiff Gregory Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5046. Plaintiff Arlenzia Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5047. Plaintiff Jonathan Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been



                                              1391
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1392 of 3128




eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5048. Plaintiff Maceo Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5049. Plaintiff Donja Smith is an individual residing in Louisiana. Smith worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5050. Plaintiff Shelton Sneed is an individual residing in Louisiana. Sneed worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sneed has been

eligible to receive overtime pay under the FLSA because Sneed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5051. Plaintiff Tammy Soileau is an individual residing in Louisiana. Soileau worked as

a delivery driver for FedEx in Louisiana from approximately 2015 to 2019 but was employed



                                              1392
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1393 of 3128




through intermediary entities that FedEx calls independent service providers. Soileau has been

eligible to receive overtime pay under the FLSA because Soileau has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5052. Plaintiff Laninda Sparks is an individual residing in Louisiana. Sparks worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Sparks has been eligible to receive overtime pay

under the FLSA because Sparks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5053. Plaintiff Anterria Speed is an individual residing in Louisiana. Speed worked as a

delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Speed has been

eligible to receive overtime pay under the FLSA because Speed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5054. Plaintiff Candice Spencer is an individual residing in Louisiana. Spencer worked

as a delivery driver for FedEx in Louisiana from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Spencer has been

eligible to receive overtime pay under the FLSA because Spencer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5055. Plaintiff Tasheka Stewart is an individual residing in Louisiana. Stewart worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that



                                              1393
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1394 of 3128




FedEx calls independent service providers. Stewart has been eligible to receive overtime pay

under the FLSA because Stewart has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5056. Plaintiff Derionne Stewart is an individual residing in Louisiana. Stewart worked

as a delivery driver for FedEx in Louisiana from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5057. Plaintiff Christopher Stith is an individual residing in Nevada. Stith worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Stith has been

eligible to receive overtime pay under the FLSA because Stith has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5058. Plaintiff Donnie Sturgis is an individual residing in Louisiana. Sturgis worked as

a delivery driver for FedEx in Louisiana from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sturgis has been

eligible to receive overtime pay under the FLSA because Sturgis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5059. Plaintiff Mack Sutton is an individual residing in Louisiana. Sutton worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed



                                              1394
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1395 of 3128




through intermediary entities that FedEx calls independent service providers. Sutton has been

eligible to receive overtime pay under the FLSA because Sutton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5060. Plaintiff James Tannehill is an individual residing in Louisiana. Tannehill worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Tannehill has been eligible to receive overtime pay

under the FLSA because Tannehill has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5061. Plaintiff Davie Johnson is an individual residing in Louisiana. Tavarez Gonzalez

worked as a delivery driver for FedEx in Louisiana from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Tavarez

Gonzalez has been eligible to receive overtime pay under the FLSA because Tavarez Gonzalez

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5062. Plaintiff John Tellis is an individual residing in Louisiana. Tellis worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Tellis has been eligible to receive overtime pay under

the FLSA because Tellis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5063. Plaintiff Christopher Thomas is an individual residing in Louisiana. Thomas

worked as a delivery driver for FedEx in Louisiana from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Thomas



                                               1395
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1396 of 3128




has been eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5064. Plaintiff Chantel Thomas is an individual residing in Louisiana. Thomas worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5065. Plaintiff Corey Thomas is an individual residing in Louisiana. Thomas worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Thomas has been eligible to receive overtime pay

under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5066. Plaintiff Steve Thomas is an individual residing in Louisiana. Thomas worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5067. Plaintiff Cornelius Thomas is an individual residing in Louisiana. Thomas worked

as a delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been



                                             1396
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1397 of 3128




eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5068. Plaintiff Jamie Thomas is an individual residing in Louisiana. Thomas worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5069. Plaintiff Zikiteran Thomas is an individual residing in Texas. Thomas worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5070. Plaintiff Willie Thomas is an individual residing in Louisiana. Thomas worked as

a delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5071. Plaintiff James Thompson is an individual residing in Louisiana. Thompson

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2019 but was



                                             1397
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1398 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       5072. Plaintiff Raphael Thompson is an individual residing in Mississippi. Thompson

worked as a delivery driver for FedEx in Louisiana from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       5073. Plaintiff Keyanna Thornton is an individual residing in Texas. Thornton worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Thornton has been eligible to receive overtime pay

under the FLSA because Thornton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       5074. Plaintiff Carltonlynn Turner is an individual residing in Louisiana. Turner worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Turner has been eligible to receive overtime pay

under the FLSA because Turner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       5075. Plaintiff Keith Turner is an individual residing in Louisiana. Turner worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been



                                             1398
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1399 of 3128




eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5076. Plaintiff Latonya Vessel is an individual residing in Louisiana. Vessel worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Vessel has been eligible to receive overtime pay

under the FLSA because Vessel has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5077. Plaintiff Joycelen Wade is an individual residing in Louisiana. Wade worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wade has been

eligible to receive overtime pay under the FLSA because Wade has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5078. Plaintiff Clifton Wade is an individual residing in Louisiana. Wade worked as a

delivery driver for FedEx in Louisiana from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wade has been

eligible to receive overtime pay under the FLSA because Wade has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5079. Plaintiff Raychell Waldon is an individual residing in Louisiana. Waldon worked

as a delivery driver for FedEx in Louisiana from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Waldon has been



                                              1399
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1400 of 3128




eligible to receive overtime pay under the FLSA because Waldon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5080. Plaintiff Carlita Walker is an individual residing in Louisiana. Walker worked as

a delivery driver for FedEx in Louisiana from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5081. Plaintiff Ricky Washington is an individual residing in Louisiana. Washington

worked as a delivery driver for FedEx in Louisiana from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5082. Plaintiff Erika Washington is an individual residing in Louisiana. Washington

worked as a delivery driver for FedEx in Louisiana from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5083. Plaintiff Bianca Washington is an individual residing in Louisiana. Washington

worked as a delivery driver for FedEx in Louisiana from approximately 2013 to 2016 but was



                                              1400
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1401 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5084. Plaintiff Terry Watson is an individual residing in Louisiana. Watson worked as a

delivery driver for FedEx in Louisiana from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5085. Plaintiff Frank Watson is an individual residing in Louisiana. Watson worked as a

delivery driver for FedEx in Louisiana from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5086. Plaintiff Lance Wheeler is an individual residing in Louisiana. Wheeler worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Wheeler has been eligible to receive overtime pay

under the FLSA because Wheeler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5087. Plaintiff Corey Whitaker is an individual residing in Louisiana. Whitaker worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that



                                             1401
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1402 of 3128




FedEx calls independent service providers. Whitaker has been eligible to receive overtime pay

under the FLSA because Whitaker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5088. Plaintiff Asia White is an individual residing in Louisiana. White worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5089. Plaintiff Telisha Edwards is an individual residing in Louisiana. Wilder worked as

a delivery driver for FedEx in Louisiana from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wilder has been

eligible to receive overtime pay under the FLSA because Wilder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5090. Plaintiff Erica Willaims is an individual residing in Louisiana. Willaims worked

as a delivery driver for FedEx in Louisiana from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Willaims has been

eligible to receive overtime pay under the FLSA because Willaims has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5091. Plaintiff Pattie Williams is an individual residing in Louisiana. Williams worked

as a delivery driver for FedEx in Louisiana but was employed through intermediary entities that



                                              1402
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1403 of 3128




FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5092. Plaintiff Darieal Williams is an individual residing in Louisiana. Williams worked

as a delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5093. Plaintiff Walter Williams is an individual residing in Louisiana. Williams worked

as a delivery driver for FedEx in Louisiana from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5094. Plaintiff Eric Williams is an individual residing in Louisiana. Williams worked as

a delivery driver for FedEx in Louisiana from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5095. Plaintiff Tiquita Williams is an individual residing in Louisiana. Williams worked

as a delivery driver for FedEx in Louisiana from approximately 2019 to 2020 but was employed



                                              1403
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1404 of 3128




through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5096. Plaintiff Matthew Williams is an individual residing in Louisiana. Williams

worked as a delivery driver for FedEx in Louisiana from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5097. Plaintiff Terrence Willis is an individual residing in Louisiana. Willis worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Willis has been

eligible to receive overtime pay under the FLSA because Willis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5098. Plaintiff Christen Wilmore is an individual residing in Louisiana. Wilmore

worked as a delivery driver for FedEx in Louisiana from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Wilmore

has been eligible to receive overtime pay under the FLSA because Wilmore has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1404
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1405 of 3128




        5099. Plaintiff Ryan Wilson is an individual residing in Louisiana. Wilson worked as a

delivery driver for FedEx in Louisiana from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5100. Plaintiff Hugh Wilson is an individual residing in Louisiana. Wilson worked as a

delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5101. Plaintiff Carlton Wilson is an individual residing in Louisiana. Wilson worked as

a delivery driver for FedEx in Louisiana from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5102. Plaintiff Eric Winfield is an individual residing in Louisiana. Winfield worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Winfield has been

eligible to receive overtime pay under the FLSA because Winfield has driven a vehicle weighing




                                              1405
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1406 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5103. Plaintiff Tamalia Winfrey is an individual residing in Louisiana. Winfrey worked

as a delivery driver for FedEx in Louisiana from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Winfrey has been

eligible to receive overtime pay under the FLSA because Winfrey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5104. Plaintiff Eric Wise is an individual residing in Texas. Wise worked as a delivery

driver for FedEx in Louisiana but was employed through intermediary entities that FedEx calls

independent service providers. Wise has been eligible to receive overtime pay under the FLSA

because Wise has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5105. Plaintiff Kaamal Woods is an individual residing in Louisiana. Woods worked as

a delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Woods has been eligible to receive overtime pay

under the FLSA because Woods has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5106. Plaintiff April Wright is an individual residing in Louisiana. Wright worked as a

delivery driver for FedEx in Louisiana but was employed through intermediary entities that

FedEx calls independent service providers. Wright has been eligible to receive overtime pay

under the FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1406
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1407 of 3128




        5107. Plaintiff Demond Wright is an individual residing in Louisiana. Wright worked as

a delivery driver for FedEx in Louisiana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5108. Plaintiff Quantina Wroten is an individual residing in Louisiana. Wroten worked

as a delivery driver for FedEx in Louisiana from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wroten has been

eligible to receive overtime pay under the FLSA because Wroten has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5109. Plaintiff David Bell is an individual residing in Maine. Bell worked as a delivery

driver for FedEx in Maine but was employed through intermediary entities that FedEx calls

independent service providers. Bell has been eligible to receive overtime pay under the FLSA

because Bell has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5110. Plaintiff Gerry Billings is an individual residing in Maine. Billings worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Billings has been eligible to receive overtime pay under the

FLSA because Billings has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1407
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1408 of 3128




       5111. Plaintiff Daryl Bledsoe is an individual residing in Maine. Bledsoe worked as a

delivery driver for FedEx in Maine from approximately 2011 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Bledsoe has been eligible to

receive overtime pay under the FLSA because Bledsoe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5112. Plaintiff Jonathan Bonilla is an individual residing in Maine. Bonilla worked as a

delivery driver for FedEx in Maine from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bonilla has been eligible to

receive overtime pay under the FLSA because Bonilla has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5113. Plaintiff Joshua Chambers is an individual residing in Maine. Chambers worked

as a delivery driver for FedEx in Maine from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chambers has been

eligible to receive overtime pay under the FLSA because Chambers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5114. Plaintiff Dana Delorme is an individual residing in Maine. Delorme worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Delorme has been eligible to receive overtime pay under the

FLSA because Delorme has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       5115. Plaintiff Joseph Dorais is an individual residing in Maine. Dorais worked as a

delivery driver for FedEx in Maine from approximately 2017 to 2022 but was employed through



                                              1408
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1409 of 3128




intermediary entities that FedEx calls independent service providers. Dorais has been eligible to

receive overtime pay under the FLSA because Dorais has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5116. Plaintiff Daniel Dubois is an individual residing in Maine. Dubois worked as a

delivery driver for FedEx in Maine from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Dubois has been eligible to

receive overtime pay under the FLSA because Dubois has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5117. Plaintiff Nicholas Fernald is an individual residing in Maine. Fernald worked as a

delivery driver for FedEx in Maine from approximately 2008 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fernald has been eligible to

receive overtime pay under the FLSA because Fernald has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5118. Plaintiff Robert Foster is an individual residing in Maine. Foster worked as a

delivery driver for FedEx in Maine from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Foster has been eligible to

receive overtime pay under the FLSA because Foster has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5119. Plaintiff William Freeman is an individual residing in Virginia. Freeman worked

as a delivery driver for FedEx in Maine but was employed through intermediary entities that

FedEx calls independent service providers. Freeman has been eligible to receive overtime pay

under the FLSA because Freeman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               1409
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1410 of 3128




       5120. Plaintiff Miles Gray is an individual residing in Maine. Gray worked as a delivery

driver for FedEx in Maine but was employed through intermediary entities that FedEx calls

independent service providers. Gray has been eligible to receive overtime pay under the FLSA

because Gray has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       5121. Plaintiff Charles Hamel is an individual residing in Maine. Hamel worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Hamel has been eligible to receive overtime pay under the

FLSA because Hamel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       5122. Plaintiff Brian Heffernan is an individual residing in Maine. Heffernan worked as

a delivery driver for FedEx in Maine from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Heffernan has been

eligible to receive overtime pay under the FLSA because Heffernan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5123. Plaintiff Jason Holt is an individual residing in Maine. Holt worked as a delivery

driver for FedEx in Maine from approximately 2010 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Holt has been eligible to

receive overtime pay under the FLSA because Holt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5124. Plaintiff Joe Jackson is an individual residing in Florida. Jackson worked as a

delivery driver for FedEx in Maine from approximately 2015 to 2017 but was employed through



                                              1410
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1411 of 3128




intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5125. Plaintiff Adrienne Jennings is an individual residing in Maine. Jennings worked

as a delivery driver for FedEx in Maine but was employed through intermediary entities that

FedEx calls independent service providers. Jennings has been eligible to receive overtime pay

under the FLSA because Jennings has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5126. Plaintiff Gerard Jochems is an individual residing in Maine. Jochems worked as a

delivery driver for FedEx in Maine from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Jochems has been eligible

to receive overtime pay under the FLSA because Jochems has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5127. Plaintiff Kenneth Ladd is an individual residing in Maine. Ladd worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Ladd has been eligible to receive overtime pay under the

FLSA because Ladd has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5128. Plaintiff Jim Lanctot is an individual residing in Maine. Lanctot worked as a

delivery driver for FedEx in Maine from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Lanctot has been eligible to




                                              1411
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1412 of 3128




receive overtime pay under the FLSA because Lanctot has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5129. Plaintiff Michael Lheureux is an individual residing in Maine. Lheureux worked

as a delivery driver for FedEx in Maine from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lheureux has been

eligible to receive overtime pay under the FLSA because Lheureux has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5130. Plaintiff Wade Mandeville is an individual residing in Maine. Mandeville worked

as a delivery driver for FedEx in Maine from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mandeville has

been eligible to receive overtime pay under the FLSA because Mandeville has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5131. Plaintiff Austin Mank is an individual residing in Maine. Mank worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Mank has been eligible to receive overtime pay under the

FLSA because Mank has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       5132. Plaintiff Dino Marzulla is an individual residing in Maine. Marzulla worked as a

delivery driver for FedEx in Maine from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Marzulla has been eligible

to receive overtime pay under the FLSA because Marzulla has driven a vehicle weighing less



                                              1412
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1413 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5133. Plaintiff Kary Mayo is an individual residing in Maine. Mayo worked as a

delivery driver for FedEx in Maine from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Mayo has been eligible to

receive overtime pay under the FLSA because Mayo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5134. Plaintiff Patrick Ochieano is an individual residing in California. Ochieano

worked as a delivery driver for FedEx in Maine but was employed through intermediary entities

that FedEx calls independent service providers. Ochieano has been eligible to receive overtime

pay under the FLSA because Ochieano has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        5135. Plaintiff Bruce Ouellette is an individual residing in Maine. Ouellette worked as a

delivery driver for FedEx in Maine from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ouellette has been eligible

to receive overtime pay under the FLSA because Ouellette has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5136. Plaintiff Roger Ricker is an individual residing in Maine. Ricker worked as a

delivery driver for FedEx in Maine from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ricker has been eligible to

receive overtime pay under the FLSA because Ricker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1413
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1414 of 3128




        5137. Plaintiff Brandon Scovil is an individual residing in Maine. Scovil worked as a

delivery driver for FedEx in Maine from approximately 2009 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Scovil has been eligible to

receive overtime pay under the FLSA because Scovil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5138. Plaintiff Wayne Scovil is an individual residing in Maine. Scovil worked as a

delivery driver for FedEx in Maine from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Scovil has been eligible to

receive overtime pay under the FLSA because Scovil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5139. Plaintiff Jon Simonds is an individual residing in Maine. Simonds worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Simonds has been eligible to receive overtime pay under the

FLSA because Simonds has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5140. Plaintiff Steven Simpson is an individual residing in Maine. Simpson worked as a

delivery driver for FedEx in Maine from approximately 2012 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Simpson has been eligible

to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5141. Plaintiff Jeffrey Small is an individual residing in Florida. Small worked as a

delivery driver for FedEx in Maine from approximately 2014 to 2024 but was employed through



                                               1414
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1415 of 3128




intermediary entities that FedEx calls independent service providers. Small has been eligible to

receive overtime pay under the FLSA because Small has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5142. Plaintiff Douglas Taylor is an individual residing in South Carolina. Taylor

worked as a delivery driver for FedEx in Maine from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Taylor

has been eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5143. Plaintiff Glenn Theriault is an individual residing in Maine. Theriault worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Theriault has been eligible to receive overtime pay under the

FLSA because Theriault has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       5144. Plaintiff Richard Tompkins is an individual residing in Maine. Tompkins worked

as a delivery driver for FedEx in Maine from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tompkins has been

eligible to receive overtime pay under the FLSA because Tompkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5145. Plaintiff Jared Wheeler is an individual residing in Texas. Wheeler worked as a

delivery driver for FedEx in Maine but was employed through intermediary entities that FedEx

calls independent service providers. Wheeler has been eligible to receive overtime pay under the



                                              1415
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1416 of 3128




FLSA because Wheeler has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       5146. Plaintiff Scott Wilson is an individual residing in Maine. Wilson worked as a

delivery driver for FedEx in Maine from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to

receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5147. Plaintiff Arthur Wood is an individual residing in Florida. Wood worked as a

delivery driver for FedEx in Maine from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Wood has been eligible to

receive overtime pay under the FLSA because Wood has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5148. Plaintiff Jahkeem Abramson is an individual residing in Maryland. Abramson

worked as a delivery driver for FedEx in Maryland from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Abramson has been eligible to receive overtime pay under the FLSA because Abramson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       5149. Plaintiff Juan Abreu is an individual residing in Maryland. Abreu worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Abreu has been

eligible to receive overtime pay under the FLSA because Abreu has driven a vehicle weighing




                                              1416
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1417 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5150. Plaintiff Shayne Adams is an individual residing in Maryland. Adams worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5151. Plaintiff Fawn Adams is an individual residing in North Carolina. Adams worked

as a delivery driver for FedEx in Maryland from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5152. Plaintiff Chigozie Akujuobi is an individual residing in Maryland. Akujuobi

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Akujuobi has been eligible to receive overtime pay under the FLSA because Akujuobi has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5153. Plaintiff Marqui Alexander is an individual residing in Maryland. Alexander

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             1417
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1418 of 3128




Alexander has been eligible to receive overtime pay under the FLSA because Alexander has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5154. Plaintiff Damon Allen is an individual residing in Maryland. Allen worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5155. Plaintiff Kairi Alston is an individual residing in Maryland. Alston worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alston has been

eligible to receive overtime pay under the FLSA because Alston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5156. Plaintiff John Amihere is an individual residing in Maryland. Amihere worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Amihere has been eligible to receive overtime pay

under the FLSA because Amihere has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5157. Plaintiff Taofik Aminu is an individual residing in Maryland. Aminu worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Aminu has been eligible to receive overtime pay



                                              1418
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1419 of 3128




under the FLSA because Aminu has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5158. Plaintiff Felicia Arrington is an individual residing in Maryland. Arrington

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Arrington has been eligible to receive overtime pay under the FLSA because Arrington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5159. Plaintiff George Asiedu is an individual residing in Maryland. Asiedu worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Asiedu has been

eligible to receive overtime pay under the FLSA because Asiedu has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5160. Plaintiff Roland Attamah is an individual residing in Maryland. Attamah worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Attamah has been eligible to receive overtime pay

under the FLSA because Attamah has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5161. Plaintiff Miyah Babb is an individual residing in Maryland. Babb worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Babb has been eligible to receive overtime pay under




                                              1419
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1420 of 3128




the FLSA because Babb has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5162. Plaintiff Ramon Baez is an individual residing in Maryland. Baez worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Baez has been

eligible to receive overtime pay under the FLSA because Baez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5163. Plaintiff Maju Bah is an individual residing in Maryland. Bah worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bah has been

eligible to receive overtime pay under the FLSA because Bah has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5164. Plaintiff Melvin Ball Jr Jr is an individual residing in Maryland. Ball Jr Jr worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Ball Jr Jr has been eligible to receive overtime pay

under the FLSA because Ball Jr Jr has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5165. Plaintiff Deon Banks is an individual residing in Maryland. Banks worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Banks has been

eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing



                                               1420
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1421 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5166. Plaintiff Richard Barber is an individual residing in Maryland. Barber worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Barber has been

eligible to receive overtime pay under the FLSA because Barber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5167. Plaintiff Edward Barlow is an individual residing in Maryland. Barlow worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Barlow has been eligible to receive overtime pay

under the FLSA because Barlow has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5168. Plaintiff Steven Barner is an individual residing in Maryland. Barner worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Barner has been

eligible to receive overtime pay under the FLSA because Barner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5169. Plaintiff Ciearra Bazemore is an individual residing in Maryland. Bazemore

worked as a delivery driver for FedEx in Maryland from approximately 2013 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Bazemore has been eligible to receive overtime pay under the FLSA because Bazemore has



                                             1421
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1422 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5170. Plaintiff Michael Beauford is an individual residing in Maryland. Beauford

worked as a delivery driver for FedEx in Maryland from approximately 2022 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Beauford

has been eligible to receive overtime pay under the FLSA because Beauford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5171. Plaintiff Angel Benitez is an individual residing in Maryland. Benitez worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Benitez has been

eligible to receive overtime pay under the FLSA because Benitez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5172. Plaintiff Darnell Benson-Jackson is an individual residing in Maryland. Benson-

Jackson worked as a delivery driver for FedEx in Maryland from approximately 2011 to 2016

but was employed through intermediary entities that FedEx calls independent service providers.

Benson-Jackson has been eligible to receive overtime pay under the FLSA because Benson-

Jackson has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        5173. Plaintiff Russell Berry is an individual residing in Pennsylvania. Berry worked as

a delivery driver for FedEx in Maryland from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Berry has been



                                              1422
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1423 of 3128




eligible to receive overtime pay under the FLSA because Berry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5174. Plaintiff Derrick Best is an individual residing in Maryland. Best worked as a

delivery driver for FedEx in Maryland from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Best has been

eligible to receive overtime pay under the FLSA because Best has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5175. Plaintiff Jawaan Bivins is an individual residing in Maryland. Bivins worked as a

delivery driver for FedEx in Maryland from approximately 2022 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bivins has been

eligible to receive overtime pay under the FLSA because Bivins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5176. Plaintiff James Blue is an individual residing in Maryland. Blue worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Blue has been

eligible to receive overtime pay under the FLSA because Blue has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5177. Plaintiff Cesar Bolanos is an individual residing in Maryland. Bolanos worked as

a delivery driver for FedEx in Maryland from approximately 2015 to 2024 but was employed



                                              1423
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1424 of 3128




through intermediary entities that FedEx calls independent service providers. Bolanos has been

eligible to receive overtime pay under the FLSA because Bolanos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5178. Plaintiff Segun Bolufemi is an individual residing in Maryland. Bolufemi worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Bolufemi has been eligible to receive overtime pay

under the FLSA because Bolufemi has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5179. Plaintiff Kyle Bolyard is an individual residing in Maryland. Bolyard worked as a

delivery driver for FedEx in Maryland from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bolyard has been

eligible to receive overtime pay under the FLSA because Bolyard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5180. Plaintiff Frank Bonsu is an individual residing in Maryland. Bonsu worked as a

delivery driver for FedEx in Maryland from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bonsu has been

eligible to receive overtime pay under the FLSA because Bonsu has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5181. Plaintiff Larry Boyd Jr. is an individual residing in Maryland. Boyd Jr. worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that



                                              1424
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1425 of 3128




FedEx calls independent service providers. Boyd Jr. has been eligible to receive overtime pay

under the FLSA because Boyd Jr. has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5182. Plaintiff Anthony Brandon is an individual residing in Maryland. Brandon worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Brandon has been eligible to receive overtime pay

under the FLSA because Brandon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5183. Plaintiff Ernst Braun is an individual residing in Maryland. Braun worked as a

delivery driver for FedEx in Maryland from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Braun has been

eligible to receive overtime pay under the FLSA because Braun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5184. Plaintiff Brandon Braxton is an individual residing in Maryland. Braxton worked

as a delivery driver for FedEx in Maryland from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Braxton has been

eligible to receive overtime pay under the FLSA because Braxton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5185. Plaintiff James Brice Iii is an individual residing in Maryland. Brice Iii worked as

a delivery driver for FedEx in Maryland from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brice Iii has been



                                               1425
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1426 of 3128




eligible to receive overtime pay under the FLSA because Brice Iii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5186. Plaintiff Stephen Briggs is an individual residing in Virginia. Briggs worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Briggs has been

eligible to receive overtime pay under the FLSA because Briggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5187. Plaintiff Dionne Brooks is an individual residing in Maryland. Brooks worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5188. Plaintiff Guy Brooks is an individual residing in Maryland. Brooks worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5189. Plaintiff George Brooks is an individual residing in Maryland. Brooks worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that



                                              1426
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1427 of 3128




FedEx calls independent service providers. Brooks has been eligible to receive overtime pay

under the FLSA because Brooks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5190. Plaintiff Harald Brown is an individual residing in Maryland. Brown worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5191. Plaintiff Nicholas Bryant is an individual residing in Georgia. Bryant worked as a

delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5192. Plaintiff Shaw Buckner is an individual residing in Maryland. Buckner worked as

a delivery driver for FedEx in Maryland from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Buckner has been

eligible to receive overtime pay under the FLSA because Buckner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5193. Plaintiff Edward Budka is an individual residing in Maryland. Budka worked as a

delivery driver for FedEx in Maryland from approximately 2010 to 2024 but was employed



                                              1427
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1428 of 3128




through intermediary entities that FedEx calls independent service providers. Budka has been

eligible to receive overtime pay under the FLSA because Budka has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5194. Plaintiff Marquis Burden is an individual residing in Maryland. Burden worked as

a delivery driver for FedEx in Maryland from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Burden has been

eligible to receive overtime pay under the FLSA because Burden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5195. Plaintiff Shade Burrell is an individual residing in Maryland. Burrell worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Burrell has been

eligible to receive overtime pay under the FLSA because Burrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5196. Plaintiff Anita Bush is an individual residing in Maryland. Bush worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bush has been

eligible to receive overtime pay under the FLSA because Bush has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1428
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1429 of 3128




        5197. Plaintiff Christopher Butler is an individual residing in Maryland. Butler worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Butler has been eligible to receive overtime pay

under the FLSA because Butler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5198. Plaintiff Justin Caldwell is an individual residing in Maryland. Caldwell worked

as a delivery driver for FedEx in Maryland from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Caldwell has been

eligible to receive overtime pay under the FLSA because Caldwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5199. Plaintiff Elmer Canales is an individual residing in Maryland. Canales worked as

a delivery driver for FedEx in Maryland from approximately 2001 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Canales has been

eligible to receive overtime pay under the FLSA because Canales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5200. Plaintiff Damien Cannon is an individual residing in Maryland. Cannon worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cannon has been

eligible to receive overtime pay under the FLSA because Cannon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1429
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1430 of 3128




        5201. Plaintiff Rodney Caslow is an individual residing in Maryland. Caslow worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Caslow has been eligible to receive overtime pay

under the FLSA because Caslow has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5202. Plaintiff Daniel Chappell is an individual residing in Maryland. Chappell worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chappell has been

eligible to receive overtime pay under the FLSA because Chappell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5203. Plaintiff Cjett Chavis is an individual residing in Maryland. Chavis worked as a

delivery driver for FedEx in Maryland from approximately 2005 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Chavis has been

eligible to receive overtime pay under the FLSA because Chavis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5204. Plaintiff Sheldon Childs is an individual residing in Maryland. Childs worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Childs has been eligible to receive overtime pay

under the FLSA because Childs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1430
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1431 of 3128




        5205. Plaintiff Yvonne Clark is an individual residing in Maryland. Clark worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5206. Plaintiff Steven Clark is an individual residing in Arizona. Clark worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Clark has been eligible to receive overtime pay under

the FLSA because Clark has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5207. Plaintiff Dalonta Clarke is an individual residing in Maryland. Clarke worked as a

delivery driver for FedEx in Maryland from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Clarke has been

eligible to receive overtime pay under the FLSA because Clarke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5208. Plaintiff Chelsey Coates is an individual residing in Maryland. Coates worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coates has been

eligible to receive overtime pay under the FLSA because Coates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1431
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1432 of 3128




        5209. Plaintiff Margaret Colbert is an individual residing in Maryland. Colbert worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Colbert has been

eligible to receive overtime pay under the FLSA because Colbert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5210. Plaintiff Derek Cole is an individual residing in Maryland. Cole worked as a

delivery driver for FedEx in Maryland from approximately 2004 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5211. Plaintiff Harvey Combest is an individual residing in Florida. Combest worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Combest has been

eligible to receive overtime pay under the FLSA because Combest has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5212. Plaintiff Dajuan Concepcion is an individual residing in Maryland. Concepcion

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Concepcion has been eligible to receive overtime pay under the FLSA because Concepcion has




                                              1432
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1433 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5213. Plaintiff Carl Crump is an individual residing in Maryland. Crump worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Crump has been eligible to receive overtime pay

under the FLSA because Crump has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5214. Plaintiff Richard Cunningham is an individual residing in Maryland. Cunningham

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Cunningham has been eligible to receive overtime pay under the FLSA because Cunningham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5215. Plaintiff Mitzi Daniels is an individual residing in Maryland. Daniels worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Daniels has been

eligible to receive overtime pay under the FLSA because Daniels has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5216. Plaintiff Marie Dattilio is an individual residing in Maryland. Dattilio worked as a

delivery driver for FedEx in Maryland from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Dattilio has been

eligible to receive overtime pay under the FLSA because Dattilio has driven a vehicle weighing



                                              1433
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1434 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5217. Plaintiff Teaira Daughtry is an individual residing in Maryland. Daughtry worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Daughtry has been

eligible to receive overtime pay under the FLSA because Daughtry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5218. Plaintiff Tayqwon Davis is an individual residing in Maryland. Davis worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5219. Plaintiff Tyren Day is an individual residing in Maryland. Day worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Day has been

eligible to receive overtime pay under the FLSA because Day has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5220. Plaintiff Philip Delgado is an individual residing in Maryland. Delgado worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Delgado has been

eligible to receive overtime pay under the FLSA because Delgado has driven a vehicle weighing



                                             1434
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1435 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5221. Plaintiff Cody Demontagnac is an individual residing in Maryland. Demontagnac

worked as a delivery driver for FedEx in Maryland from approximately 2012 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Demontagnac has been eligible to receive overtime pay under the FLSA because Demontagnac

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5222. Plaintiff Seydou Diallo is an individual residing in Maryland. Diallo worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Diallo has been

eligible to receive overtime pay under the FLSA because Diallo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5223. Plaintiff Clifton Diaz is an individual residing in Maryland. Diaz worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz has been

eligible to receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5224. Plaintiff William Diaz Jr. is an individual residing in Maryland. Diaz Jr. worked

as a delivery driver for FedEx in Maryland from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Diaz Jr. has been



                                              1435
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1436 of 3128




eligible to receive overtime pay under the FLSA because Diaz Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5225. Plaintiff Antoin Dinguall is an individual residing in Florida. Dinguall worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Dinguall has been eligible to receive overtime pay

under the FLSA because Dinguall has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5226. Plaintiff Tiffany Donaldson is an individual residing in Maryland. Donaldson

worked as a delivery driver for FedEx in Maryland from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Donaldson has been eligible to receive overtime pay under the FLSA because Donaldson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5227. Plaintiff Cinnamon Dorsey is an individual residing in Maryland. Dorsey worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dorsey has been

eligible to receive overtime pay under the FLSA because Dorsey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5228. Plaintiff Aubrey Dorsey is an individual residing in Maryland. Dorsey worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Dorsey has been eligible to receive overtime pay



                                              1436
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1437 of 3128




under the FLSA because Dorsey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5229. Plaintiff Zachary Earnest is an individual residing in Maryland. Earnest worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Earnest has been

eligible to receive overtime pay under the FLSA because Earnest has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5230. Plaintiff Kevin Edwards is an individual residing in Maryland. Edwards worked

as a delivery driver for FedEx in Maryland from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Edwards has been

eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5231. Plaintiff Ronald Epps is an individual residing in Maryland. Epps worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Epps has been

eligible to receive overtime pay under the FLSA because Epps has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5232. Plaintiff Corey Epps is an individual residing in Maryland. Epps worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Epps has been eligible to receive overtime pay under



                                              1437
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1438 of 3128




the FLSA because Epps has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5233. Plaintiff Jermel Escalera is an individual residing in Maryland. Escalera worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Escalera has been

eligible to receive overtime pay under the FLSA because Escalera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5234. Plaintiff John Felder is an individual residing in Maryland. Felder worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Felder has been

eligible to receive overtime pay under the FLSA because Felder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5235. Plaintiff Tyrone Fields is an individual residing in Maryland. Fields worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Fields has been

eligible to receive overtime pay under the FLSA because Fields has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5236. Plaintiff Michael Fletcher is an individual residing in Maryland. Fletcher worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Fletcher has been eligible to receive overtime pay



                                              1438
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1439 of 3128




under the FLSA because Fletcher has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5237. Plaintiff Fidel Fortaleza is an individual residing in Maryland. Fortaleza worked

as a delivery driver for FedEx in Maryland from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fortaleza has been

eligible to receive overtime pay under the FLSA because Fortaleza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5238. Plaintiff Grafton Francis is an individual residing in Maryland. Francis worked as

a delivery driver for FedEx in Maryland from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Francis has been

eligible to receive overtime pay under the FLSA because Francis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5239. Plaintiff Donte Futrell is an individual residing in Maryland. Futrell worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Futrell has been

eligible to receive overtime pay under the FLSA because Futrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5240. Plaintiff Dixie Garcia is an individual residing in Maryland. Garcia worked as a

delivery driver for FedEx in Maryland from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been



                                              1439
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1440 of 3128




eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5241. Plaintiff Bruce Gardner is an individual residing in Maryland. Gardner worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gardner has been

eligible to receive overtime pay under the FLSA because Gardner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5242. Plaintiff Franck Gbane is an individual residing in Maryland. Gbane worked as a

delivery driver for FedEx in Maryland from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gbane has been

eligible to receive overtime pay under the FLSA because Gbane has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5243. Plaintiff Theodore Geller is an individual residing in Maryland. Geller worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Geller has been eligible to receive overtime pay

under the FLSA because Geller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5244. Plaintiff Maleek George is an individual residing in Maryland. George worked as

a delivery driver for FedEx in Maryland from approximately 2002 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. George has been



                                              1440
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1441 of 3128




eligible to receive overtime pay under the FLSA because George has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5245. Plaintiff Jamar Gibbs is an individual residing in Maryland. Gibbs worked as a

delivery driver for FedEx in Maryland from approximately 2007 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gibbs has been

eligible to receive overtime pay under the FLSA because Gibbs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5246. Plaintiff Damon Gibson is an individual residing in Maryland. Gibson worked as

a delivery driver for FedEx in Maryland from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gibson has been

eligible to receive overtime pay under the FLSA because Gibson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5247. Plaintiff Corey Gill is an individual residing in Maryland. Gill worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Gill has been

eligible to receive overtime pay under the FLSA because Gill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5248. Plaintiff Darrell Gilliam is an individual residing in Maryland. Gilliam worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2020 but was employed



                                              1441
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1442 of 3128




through intermediary entities that FedEx calls independent service providers. Gilliam has been

eligible to receive overtime pay under the FLSA because Gilliam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5249. Plaintiff Carlton Gilmore is an individual residing in District of Columbia.

Gilmore worked as a delivery driver for FedEx in Maryland from approximately 2019 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Gilmore has been eligible to receive overtime pay under the FLSA because Gilmore has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5250. Plaintiff Ashton Glasgow is an individual residing in Maryland. Glasgow worked

as a delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Glasgow has been

eligible to receive overtime pay under the FLSA because Glasgow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5251. Plaintiff Elijah Golphin is an individual residing in Maryland. Golphin worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Golphin has been

eligible to receive overtime pay under the FLSA because Golphin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1442
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1443 of 3128




        5252. Plaintiff Adrian Gordy is an individual residing in District of Columbia. Gordy

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Gordy

has been eligible to receive overtime pay under the FLSA because Gordy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5253. Plaintiff Patrice Grant is an individual residing in Maryland. Grant worked as a

delivery driver for FedEx in Maryland from approximately 2009 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5254. Plaintiff Jerome Grear is an individual residing in Maryland. Grear worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Grear has been eligible to receive overtime pay under

the FLSA because Grear has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5255. Plaintiff Deonte Green is an individual residing in Maryland. Green worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1443
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1444 of 3128




        5256. Plaintiff Lauren Gribbin is an individual residing in Maryland. Gribbin worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Gribbin has been eligible to receive overtime pay

under the FLSA because Gribbin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5257. Plaintiff Robert Hall is an individual residing in Maryland. Hall worked as a

delivery driver for FedEx in Maryland from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5258. Plaintiff Eric Hall is an individual residing in Maryland. Hall worked as a delivery

driver for FedEx in Maryland from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5259. Plaintiff Takiaya Hall is an individual residing in Maryland. Hall worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1444
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1445 of 3128




        5260. Plaintiff Bradley Hamilton is an individual residing in Maryland. Hamilton

worked as a delivery driver for FedEx in Maryland from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Hamilton has been eligible to receive overtime pay under the FLSA because Hamilton has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5261. Plaintiff Tavon Hargis is an individual residing in Maryland. Hargis worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hargis has been

eligible to receive overtime pay under the FLSA because Hargis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5262. Plaintiff Walter Harrell is an individual residing in Maryland. Harrell worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Harrell has been eligible to receive overtime pay

under the FLSA because Harrell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5263. Plaintiff Tiara Harrell is an individual residing in Maryland. Harrell worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harrell has been

eligible to receive overtime pay under the FLSA because Harrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1445
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1446 of 3128




        5264. Plaintiff Shannon Harris is an individual residing in Maryland. Harris worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Harris has been eligible to receive overtime pay

under the FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5265. Plaintiff Wayne Harris is an individual residing in West Virginia. Harris worked

as a delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5266. Plaintiff Edward Harrison is an individual residing in Maryland. Harrison worked

as a delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5267. Plaintiff Markeith Harrod is an individual residing in Maryland. Harrod worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harrod has been

eligible to receive overtime pay under the FLSA because Harrod has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1446
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1447 of 3128




        5268. Plaintiff Franklin Hart is an individual residing in Maryland. Hart worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hart has been

eligible to receive overtime pay under the FLSA because Hart has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5269. Plaintiff Darius Harvey is an individual residing in Maryland. Harvey worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Harvey has been eligible to receive overtime pay

under the FLSA because Harvey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5270. Plaintiff Javonn Henderson is an individual residing in Maryland. Henderson

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5271. Plaintiff James Henderson Iii is an individual residing in Maryland. Henderson Iii

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson Iii has been eligible to receive overtime pay under the FLSA because Henderson Iii

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.



                                              1447
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1448 of 3128




        5272. Plaintiff Clayton Higginbotham is an individual residing in Maryland.

Higginbotham worked as a delivery driver for FedEx in Maryland from approximately 2017 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Higginbotham has been eligible to receive overtime pay under the FLSA because

Higginbotham has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5273. Plaintiff Jason Hill is an individual residing in Pennsylvania. Hill worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5274. Plaintiff Deonta Hill is an individual residing in Maryland. Hill worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5275. Plaintiff Lanita Hines is an individual residing in Maryland. Hines worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hines has been

eligible to receive overtime pay under the FLSA because Hines has driven a vehicle weighing




                                               1448
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1449 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5276. Plaintiff Ronald Holmes is an individual residing in Maryland. Holmes worked as

a delivery driver for FedEx in Maryland from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Holmes has been

eligible to receive overtime pay under the FLSA because Holmes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5277. Plaintiff Nickeela Holston is an individual residing in Maryland. Holston worked

as a delivery driver for FedEx in Maryland and Virginia from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Holston has been eligible to receive overtime pay under the FLSA because Holston has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5278. Plaintiff Chanay Hopkins is an individual residing in Maryland. Hopkins worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hopkins has been

eligible to receive overtime pay under the FLSA because Hopkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5279. Plaintiff Creanna Horton is an individual residing in Maryland. Horton worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Horton has been



                                             1449
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1450 of 3128




eligible to receive overtime pay under the FLSA because Horton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5280. Plaintiff Michael Howell is an individual residing in Maryland. Howell worked as

a delivery driver for FedEx in Maryland from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Howell has been

eligible to receive overtime pay under the FLSA because Howell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5281. Plaintiff Shai Hughes is an individual residing in Maryland. Hughes worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5282. Plaintiff John Inshaiwat is an individual residing in Maryland. Inshaiwat worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Inshaiwat has been

eligible to receive overtime pay under the FLSA because Inshaiwat has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5283. Plaintiff Darrell Jackson is an individual residing in Maryland. Jackson worked as

a delivery driver for FedEx in Maryland from approximately 2019 to 2021 but was employed



                                              1450
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1451 of 3128




through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5284. Plaintiff Wayne Jackson is an individual residing in Maryland. Jackson worked as

a delivery driver for FedEx in Maryland from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5285. Plaintiff Marvin Jackson is an individual residing in Maryland. Jackson worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5286. Plaintiff Michael Jackson is an individual residing in Maryland. Jackson worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Jackson has been eligible to receive overtime pay

under the FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5287. Plaintiff James Jackson is an individual residing in Maryland. Jackson worked as

a delivery driver for FedEx in Maryland from approximately 2002 to 2024 but was employed



                                             1451
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1452 of 3128




through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5288. Plaintiff Carlea James is an individual residing in Maryland. James worked as a

delivery driver for FedEx in Maryland from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. James has been

eligible to receive overtime pay under the FLSA because James has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5289. Plaintiff Keith James is an individual residing in Maryland. James worked as a

delivery driver for FedEx in Maryland from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. James has been

eligible to receive overtime pay under the FLSA because James has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5290. Plaintiff Aaron Jennings is an individual residing in Maryland. Jennings worked

as a delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Jennings has been

eligible to receive overtime pay under the FLSA because Jennings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1452
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1453 of 3128




        5291. Plaintiff Noelle Johnson is an individual residing in Maryland. Johnson worked as

a delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5292. Plaintiff Antwane Johnson is an individual residing in Maryland. Johnson worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5293. Plaintiff Ernest Johnson is an individual residing in Maryland. Johnson worked as

a delivery driver for FedEx in Maryland from approximately 2001 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5294. Plaintiff Andrea Johnson is an individual residing in Maryland. Johnson worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing




                                             1453
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1454 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5295. Plaintiff Melva Johnson is an individual residing in Maryland. Johnson worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5296. Plaintiff Kevin Johnson is an individual residing in Maryland. Johnson worked as

a delivery driver for FedEx in Maryland from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5297. Plaintiff Jay Jones is an individual residing in Maryland. Jones worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5298. Plaintiff Darrell Jones is an individual residing in Maryland. Jones worked as a

delivery driver for FedEx in Maryland from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been



                                              1454
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1455 of 3128




eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5299. Plaintiff Tyrell Jones is an individual residing in Maryland. Jones worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5300. Plaintiff Darius Jones is an individual residing in Maryland. Jones worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5301. Plaintiff Jerrell Jones is an individual residing in Maryland. Jones worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5302. Plaintiff Mario Jonfiah is an individual residing in Maryland. Jonfiah worked as a

delivery driver for FedEx in Maryland from approximately 2011 to 2024 but was employed



                                              1455
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1456 of 3128




through intermediary entities that FedEx calls independent service providers. Jonfiah has been

eligible to receive overtime pay under the FLSA because Jonfiah has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5303. Plaintiff Kiwan Jordan is an individual residing in Maryland. Jordan worked as a

delivery driver for FedEx in Maryland and Virginia from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Jordan

has been eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5304. Plaintiff Anthony Kirkpatrick is an individual residing in Maryland. Kirkpatrick

worked as a delivery driver for FedEx in Maryland from approximately 2011 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Kirkpatrick has been eligible to receive overtime pay under the FLSA because Kirkpatrick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5305. Plaintiff Dwayne Knight is an individual residing in Maryland. Knight worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Knight has been

eligible to receive overtime pay under the FLSA because Knight has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1456
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1457 of 3128




        5306. Plaintiff Kevin Law is an individual residing in Maryland. Law worked as a

delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Law has been

eligible to receive overtime pay under the FLSA because Law has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5307. Plaintiff Vaughn Leak is an individual residing in Maryland. Leak worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Leak has been eligible to receive overtime pay under

the FLSA because Leak has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5308. Plaintiff Latrod Leonard is an individual residing in Maryland. Leonard worked as

a delivery driver for FedEx in Maryland from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Leonard has been

eligible to receive overtime pay under the FLSA because Leonard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5309. Plaintiff Leshae Lilly is an individual residing in Maryland. Lilly worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lilly has been

eligible to receive overtime pay under the FLSA because Lilly has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1457
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1458 of 3128




        5310. Plaintiff Shandell Little is an individual residing in Maryland. Little worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Little has been

eligible to receive overtime pay under the FLSA because Little has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5311. Plaintiff George Logan is an individual residing in Maryland. Logan worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Logan has been

eligible to receive overtime pay under the FLSA because Logan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5312. Plaintiff Allan Lule is an individual residing in Maryland. Lule worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lule has been

eligible to receive overtime pay under the FLSA because Lule has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5313. Plaintiff Kayla Lyles is an individual residing in Maryland. Lyles worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lyles has been

eligible to receive overtime pay under the FLSA because Lyles has driven a vehicle weighing




                                               1458
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1459 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5314. Plaintiff Devin Mainor is an individual residing in Maryland. Mainor worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mainor has been

eligible to receive overtime pay under the FLSA because Mainor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5315. Plaintiff Peter Mangles is an individual residing in Maryland. Mangles worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mangles has been

eligible to receive overtime pay under the FLSA because Mangles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5316. Plaintiff Lucia Marangoni is an individual residing in Maryland. Marangoni

worked as a delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Marangoni has been eligible to receive overtime pay under the FLSA because Marangoni has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5317. Plaintiff Laton Marshall is an individual residing in District of Columbia.

Marshall worked as a delivery driver for FedEx in Maryland from approximately 2015 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.



                                              1459
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1460 of 3128




Marshall has been eligible to receive overtime pay under the FLSA because Marshall has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5318. Plaintiff Lionel Marshall is an individual residing in Maryland. Marshall worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Marshall has been eligible to receive overtime pay

under the FLSA because Marshall has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5319. Plaintiff Oniel Martin is an individual residing in Maryland. Martin worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5320. Plaintiff Steven Martin is an individual residing in Nevada. Martin worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Martin has been eligible to receive overtime pay

under the FLSA because Martin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5321. Plaintiff Gary Mason is an individual residing in Pennsylvania. Mason worked as

a delivery driver for FedEx in Maryland from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mason has been

eligible to receive overtime pay under the FLSA because Mason has driven a vehicle weighing



                                              1460
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1461 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5322. Plaintiff Robert Mason is an individual residing in Maryland. Mason worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Mason has been eligible to receive overtime pay

under the FLSA because Mason has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5323. Plaintiff Dekeisha Mathis is an individual residing in Maryland. Mathis worked as

a delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mathis has been

eligible to receive overtime pay under the FLSA because Mathis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5324. Plaintiff Jalil Mcallister is an individual residing in Maryland. Mcallister worked

as a delivery driver for FedEx in Maryland from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mcallister has been

eligible to receive overtime pay under the FLSA because Mcallister has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5325. Plaintiff Dominic Mccloud is an individual residing in Maryland. Mccloud

worked as a delivery driver for FedEx in Maryland from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Mccloud

has been eligible to receive overtime pay under the FLSA because Mccloud has driven a vehicle



                                               1461
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1462 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5326. Plaintiff Dwight Mcclung is an individual residing in Maryland. Mcclung worked

as a delivery driver for FedEx in Maryland from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mcclung has been

eligible to receive overtime pay under the FLSA because Mcclung has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5327. Plaintiff Miriam Mckenzie is an individual residing in Georgia. Mckenzie worked

as a delivery driver for FedEx in Maryland and Georgia from approximately 2015 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Mckenzie has been eligible to receive overtime pay under the FLSA because Mckenzie has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5328. Plaintiff Craig Mclaurin is an individual residing in Maryland. Mclaurin worked

as a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mclaurin has been

eligible to receive overtime pay under the FLSA because Mclaurin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5329. Plaintiff Davon Mclaurin is an individual residing in Maryland. Mclaurin worked

as a delivery driver for FedEx in Maryland from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mclaurin has been



                                             1462
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1463 of 3128




eligible to receive overtime pay under the FLSA because Mclaurin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5330. Plaintiff Jamaal Mclean is an individual residing in Maryland. Mclean worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mclean has been

eligible to receive overtime pay under the FLSA because Mclean has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5331. Plaintiff Reginald Mcneill is an individual residing in Maryland. Mcneill worked

as a delivery driver for FedEx in Maryland from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mcneill has been

eligible to receive overtime pay under the FLSA because Mcneill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5332. Plaintiff Davonte Mcwayne is an individual residing in Maryland. Mcwayne

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcwayne has been eligible to receive overtime pay under the FLSA because Mcwayne has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5333. Plaintiff John Medley is an individual residing in Maryland. Medley worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2020 but was employed



                                             1463
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1464 of 3128




through intermediary entities that FedEx calls independent service providers. Medley has been

eligible to receive overtime pay under the FLSA because Medley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5334. Plaintiff Michael Megginson is an individual residing in Maryland. Megginson

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Megginson has been eligible to receive

overtime pay under the FLSA because Megginson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5335. Plaintiff Angela Mellott is an individual residing in Pennsylvania. Mellott worked

as a delivery driver for FedEx in Maryland from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mellott has been

eligible to receive overtime pay under the FLSA because Mellott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5336. Plaintiff Gary Metz is an individual residing in Maryland. Metz worked as a

delivery driver for FedEx in Maryland from approximately 2002 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Metz has been

eligible to receive overtime pay under the FLSA because Metz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5337. Plaintiff Kshawn Mickens is an individual residing in Maryland. Mickens worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was employed



                                              1464
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1465 of 3128




through intermediary entities that FedEx calls independent service providers. Mickens has been

eligible to receive overtime pay under the FLSA because Mickens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5338. Plaintiff Leon Midgette is an individual residing in Maryland. Midgette worked as

a delivery driver for FedEx in Maryland from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Midgette has been

eligible to receive overtime pay under the FLSA because Midgette has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5339. Plaintiff Jermaine Miles is an individual residing in Maryland. Miles worked as a

delivery driver for FedEx in Maryland from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Miles has been

eligible to receive overtime pay under the FLSA because Miles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5340. Plaintiff Teresa Miles is an individual residing in Maryland. Miles worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miles has been

eligible to receive overtime pay under the FLSA because Miles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1465
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1466 of 3128




        5341. Plaintiff Jovan Miller is an individual residing in Maryland. Miller worked as a

delivery driver for FedEx in Maryland from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5342. Plaintiff Douglas Miller is an individual residing in Maryland. Miller worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5343. Plaintiff Donte Miller-Lomax is an individual residing in Maryland. Miller-

Lomax worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Miller-Lomax has been eligible to receive overtime pay under the FLSA because Miller-Lomax

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5344. Plaintiff Loutricia Mitchell is an individual residing in Maryland. Mitchell

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Mitchell has been eligible to receive

overtime pay under the FLSA because Mitchell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               1466
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1467 of 3128




        5345. Plaintiff Ava Montgomery is an individual residing in Maryland. Montgomery

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Montgomery has been eligible to receive overtime pay under the FLSA because Montgomery

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5346. Plaintiff Adam Montgomery is an individual residing in Maryland. Montgomery

worked as a delivery driver for FedEx in Maryland from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Montgomery has been eligible to receive overtime pay under the FLSA because Montgomery

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5347. Plaintiff Angel Moody is an individual residing in Maryland. Moody worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moody has been

eligible to receive overtime pay under the FLSA because Moody has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5348. Plaintiff Marcus Moore is an individual residing in Maryland. Moore worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing




                                             1467
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1468 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5349. Plaintiff Christopher Green is an individual residing in Maryland. Morales

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Morales has been eligible to receive

overtime pay under the FLSA because Morales has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5350. Plaintiff Adam Morgan is an individual residing in Maryland. Morgan worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5351. Plaintiff Mikail Mosby is an individual residing in Maryland. Mosby worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Mosby has been eligible to receive overtime pay

under the FLSA because Mosby has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5352. Plaintiff Gerrett Mosby is an individual residing in Maryland. Mosby worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mosby has been

eligible to receive overtime pay under the FLSA because Mosby has driven a vehicle weighing




                                              1468
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1469 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5353. Plaintiff Larry Muir is an individual residing in Maryland. Muir worked as a

delivery driver for FedEx in Maryland from approximately 2002 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Muir has been

eligible to receive overtime pay under the FLSA because Muir has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5354. Plaintiff Richard Murphy is an individual residing in Pennsylvania. Murphy

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Murphy has been eligible to receive

overtime pay under the FLSA because Murphy has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5355. Plaintiff John Murphy is an individual residing in New Jersey. Murphy worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Murphy has been eligible to receive overtime pay

under the FLSA because Murphy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5356. Plaintiff Forest Naylor is an individual residing in Maryland. Naylor worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Naylor has been

eligible to receive overtime pay under the FLSA because Naylor has driven a vehicle weighing




                                              1469
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1470 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5357. Plaintiff Damon Nelson is an individual residing in Maryland. Nelson worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Nelson has been eligible to receive overtime pay

under the FLSA because Nelson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5358. Plaintiff Gerald Nembhard is an individual residing in Maryland. Nembhard

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Nembhard has been eligible to receive

overtime pay under the FLSA because Nembhard has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5359. Plaintiff Matthew Newman is an individual residing in Maryland. Newman

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Newman

has been eligible to receive overtime pay under the FLSA because Newman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5360. Plaintiff Giovanni Newman Jr is an individual residing in Maryland. Newman Jr

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Newman

Jr has been eligible to receive overtime pay under the FLSA because Newman Jr has driven a




                                              1470
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1471 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5361. Plaintiff Kiah Norris is an individual residing in Maryland. Norris worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Norris has been

eligible to receive overtime pay under the FLSA because Norris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5362. Plaintiff John Odonnell is an individual residing in Maryland. Odonnell worked as

a delivery driver for FedEx in Maryland from approximately 1999 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Odonnell has been

eligible to receive overtime pay under the FLSA because Odonnell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5363. Plaintiff Zachary O'Neill is an individual residing in Maryland. O'Neill worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. O'Neill has been

eligible to receive overtime pay under the FLSA because O'Neill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5364. Plaintiff Chukwuemeka Oraka is an individual residing in Georgia. Oraka worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Oraka has been



                                              1471
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1472 of 3128




eligible to receive overtime pay under the FLSA because Oraka has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5365. Plaintiff Anthony Owens is an individual residing in Maryland. Owens worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5366. Plaintiff Dyandre Owens is an individual residing in Maryland. Owens worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Owens has been eligible to receive overtime pay

under the FLSA because Owens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5367. Plaintiff Stephen Palmbos is an individual residing in Tennessee. Palmbos worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Palmbos has been eligible to receive overtime pay

under the FLSA because Palmbos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5368. Plaintiff Charles Parker is an individual residing in Maryland. Parker worked as a

delivery driver for FedEx in Maryland from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing



                                              1472
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1473 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5369. Plaintiff Michael Parker is an individual residing in Maryland. Parker worked as a

delivery driver for FedEx in Maryland from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5370. Plaintiff James Patterson is an individual residing in Maryland. Patterson worked

as a delivery driver for FedEx in Maryland from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Patterson has been

eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5371. Plaintiff James Payton is an individual residing in Maryland. Payton worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Payton has been eligible to receive overtime pay

under the FLSA because Payton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5372. Plaintiff Reinaldo Perez Jr is an individual residing in West Virginia. Perez Jr

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Perez Jr

has been eligible to receive overtime pay under the FLSA because Perez Jr has driven a vehicle



                                               1473
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1474 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5373. Plaintiff Sean Phillips is an individual residing in Maryland. Phillips worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been

eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5374. Plaintiff Patrick Pierre is an individual residing in Maryland. Pierre worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pierre has been

eligible to receive overtime pay under the FLSA because Pierre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5375. Plaintiff James Pinkney is an individual residing in Maryland. Pinkney worked as

a delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pinkney has been

eligible to receive overtime pay under the FLSA because Pinkney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5376. Plaintiff Charles Pittman is an individual residing in Maryland. Pittman worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pittman has been



                                               1474
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1475 of 3128




eligible to receive overtime pay under the FLSA because Pittman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5377. Plaintiff George Pleines is an individual residing in Florida. Pleines worked as a

delivery driver for FedEx in Maryland from approximately 2008 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Pleines has been

eligible to receive overtime pay under the FLSA because Pleines has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5378. Plaintiff Shean Poole is an individual residing in Maryland. Poole worked as a

delivery driver for FedEx in Maryland from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Poole has been

eligible to receive overtime pay under the FLSA because Poole has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5379. Plaintiff Rodney Pratcher is an individual residing in Maryland. Pratcher worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pratcher has been

eligible to receive overtime pay under the FLSA because Pratcher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5380. Plaintiff Anthony Pratt is an individual residing in Maryland. Pratt worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed



                                              1475
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1476 of 3128




through intermediary entities that FedEx calls independent service providers. Pratt has been

eligible to receive overtime pay under the FLSA because Pratt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5381. Plaintiff Dimitri Pratt is an individual residing in Maryland. Pratt worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pratt has been

eligible to receive overtime pay under the FLSA because Pratt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5382. Plaintiff Anthony Preston is an individual residing in New York. Preston worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Preston has been

eligible to receive overtime pay under the FLSA because Preston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5383. Plaintiff Jasmine Ragler is an individual residing in Maryland. Ragler worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ragler has been

eligible to receive overtime pay under the FLSA because Ragler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1476
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1477 of 3128




        5384. Plaintiff Rodolfo Ramos is an individual residing in Maryland. Ramos worked as

a delivery driver for FedEx in Maryland from approximately 1999 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5385. Plaintiff Zachary Ransom is an individual residing in Maryland. Ransom worked

as a delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ransom has been

eligible to receive overtime pay under the FLSA because Ransom has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5386. Plaintiff Carissa Ratcliff is an individual residing in Maryland. Ratcliff worked as

a delivery driver for FedEx in Maryland from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ratcliff has been

eligible to receive overtime pay under the FLSA because Ratcliff has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5387. Plaintiff Daniel Reynolds is an individual residing in Delaware. Reynolds worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Reynolds has been eligible to receive overtime pay

under the FLSA because Reynolds has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.



                                               1477
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1478 of 3128




        5388. Plaintiff Jonathan Richardson is an individual residing in Maryland. Richardson

worked as a delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5389. Plaintiff Matthew Riggs is an individual residing in Maryland. Riggs worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Riggs has been

eligible to receive overtime pay under the FLSA because Riggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5390. Plaintiff Marc Riley is an individual residing in Maryland. Riley worked as a

delivery driver for FedEx in Maryland from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Riley has been

eligible to receive overtime pay under the FLSA because Riley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5391. Plaintiff Lasheka Robinson is an individual residing in Maryland. Robinson

worked as a delivery driver for FedEx in Maryland from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has




                                              1478
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1479 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5392. Plaintiff Dashaun Robinson is an individual residing in Maryland. Robinson

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Robinson has been eligible to receive

overtime pay under the FLSA because Robinson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5393. Plaintiff Jonathan Robinson is an individual residing in Maryland. Robinson

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5394. Plaintiff Jose Rodas is an individual residing in Maryland. Rodas worked as a

delivery driver for FedEx in Maryland from approximately 2005 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Rodas has been

eligible to receive overtime pay under the FLSA because Rodas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5395. Plaintiff Rosa Rodas-Menjivar is an individual residing in Maryland. Rodas-

Menjivar worked as a delivery driver for FedEx in Maryland from approximately 2010 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Rodas-Menjivar has been eligible to receive overtime pay under the FLSA because Rodas-



                                              1479
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1480 of 3128




Menjivar has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        5396. Plaintiff Pedro Rodriguez is an individual residing in Maryland. Rodriguez

worked as a delivery driver for FedEx in Maryland from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5397. Plaintiff Jonathan Rudd is an individual residing in Maryland. Rudd worked as a

delivery driver for FedEx in Maryland from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rudd has been

eligible to receive overtime pay under the FLSA because Rudd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5398. Plaintiff Latara Russ is an individual residing in Maryland. Russ worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Russ has been eligible to receive overtime pay under

the FLSA because Russ has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5399. Plaintiff Ibrahim Samassekou is an individual residing in Maryland. Samassekou

worked as a delivery driver for FedEx in Maryland from approximately 2021 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Samassekou has been eligible to receive overtime pay under the FLSA because Samassekou has



                                              1480
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1481 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5400. Plaintiff Jabari Sampson is an individual residing in Maryland. Sampson worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sampson has been

eligible to receive overtime pay under the FLSA because Sampson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5401. Plaintiff Brian Sanders is an individual residing in Maryland. Sanders worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5402. Plaintiff Eduardo Santos is an individual residing in Maryland. Santos worked as

a delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Santos has been

eligible to receive overtime pay under the FLSA because Santos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5403. Plaintiff Brandon Saunders is an individual residing in Maryland. Saunders

worked as a delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Saunders



                                              1481
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1482 of 3128




has been eligible to receive overtime pay under the FLSA because Saunders has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5404. Plaintiff Wade Savage is an individual residing in Maryland. Savage worked as a

delivery driver for FedEx in Maryland from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Savage has been

eligible to receive overtime pay under the FLSA because Savage has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5405. Plaintiff Corey Seeger is an individual residing in Maryland. Seeger worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Seeger has been

eligible to receive overtime pay under the FLSA because Seeger has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5406. Plaintiff Marcus Shackelford is an individual residing in Maryland. Shackelford

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Shackelford has been eligible to receive overtime pay under the FLSA because Shackelford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5407. Plaintiff Dustin Shadwell is an individual residing in Maryland. Shadwell worked

as a delivery driver for FedEx in Maryland from approximately 2019 to 2021 but was employed



                                             1482
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1483 of 3128




through intermediary entities that FedEx calls independent service providers. Shadwell has been

eligible to receive overtime pay under the FLSA because Shadwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5408. Plaintiff Tenisha Sherman is an individual residing in Maryland. Sherman worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sherman has been

eligible to receive overtime pay under the FLSA because Sherman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5409. Plaintiff Hamane Sidy is an individual residing in Maryland. Sidy worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Sidy has been eligible to receive overtime pay under

the FLSA because Sidy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5410. Plaintiff Tajh Simmons is an individual residing in Virginia. Simmons worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Simmons has been eligible to receive overtime pay

under the FLSA because Simmons has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5411. Plaintiff Kenneth Simms is an individual residing in Maryland. Simms worked as

a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Simms has been eligible to receive overtime pay



                                             1483
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1484 of 3128




under the FLSA because Simms has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5412. Plaintiff Jeffrey Simon is an individual residing in Maryland. Simon worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Simon has been

eligible to receive overtime pay under the FLSA because Simon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5413. Plaintiff Christine Smith is an individual residing in Maryland. Smith worked as a

delivery driver for FedEx in Maryland from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5414. Plaintiff Tejon Smith is an individual residing in Maryland. Smith worked as a

delivery driver for FedEx in Maryland from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5415. Plaintiff Quincy Sparman is an individual residing in Maryland. Sparman worked

as a delivery driver for FedEx in Maryland from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sparman has been



                                              1484
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1485 of 3128




eligible to receive overtime pay under the FLSA because Sparman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5416. Plaintiff Dorothy Stellabotta is an individual residing in Maryland. Stellabotta

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Stellabotta has been eligible to receive overtime pay under the FLSA because Stellabotta has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5417. Plaintiff Lucas Stevens is an individual residing in West Virginia. Stevens worked

as a delivery driver for FedEx in Maryland from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Stevens has been

eligible to receive overtime pay under the FLSA because Stevens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5418. Plaintiff Renard Stevens is an individual residing in Maryland. Stevens worked as

a delivery driver for FedEx in Maryland from approximately 1992 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stevens has been

eligible to receive overtime pay under the FLSA because Stevens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5419. Plaintiff Hakeem Stewart is an individual residing in Maryland. Stewart worked

as a delivery driver for FedEx in Maryland from approximately 2017 to 2024 but was employed



                                              1485
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1486 of 3128




through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5420. Plaintiff Leonard Stine is an individual residing in Pennsylvania. Stine worked as

a delivery driver for FedEx in Maryland from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Stine has been

eligible to receive overtime pay under the FLSA because Stine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5421. Plaintiff Lylydia Stokes is an individual residing in Maryland. Stokes worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Stokes has been eligible to receive overtime pay

under the FLSA because Stokes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5422. Plaintiff Michelle Street is an individual residing in Maryland. Street worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Street has been

eligible to receive overtime pay under the FLSA because Street has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5423. Plaintiff Robert Surratt is an individual residing in Maryland. Surratt worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that



                                              1486
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1487 of 3128




FedEx calls independent service providers. Surratt has been eligible to receive overtime pay

under the FLSA because Surratt has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5424. Plaintiff Harold Swett is an individual residing in Maryland. Swett worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Swett has been

eligible to receive overtime pay under the FLSA because Swett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5425. Plaintiff Kyle Symonette is an individual residing in Maryland. Symonette

worked as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Symonette has been eligible to receive overtime pay under the FLSA because Symonette has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5426. Plaintiff Warrace Teel is an individual residing in Maryland. Teel worked as a

delivery driver for FedEx in Maryland from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Teel has been

eligible to receive overtime pay under the FLSA because Teel has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5427. Plaintiff Claude Theisen is an individual residing in Maryland. Theisen worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2024 but was employed



                                              1487
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1488 of 3128




through intermediary entities that FedEx calls independent service providers. Theisen has been

eligible to receive overtime pay under the FLSA because Theisen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5428. Plaintiff Arrington Thomas is an individual residing in Maryland. Thomas worked

as a delivery driver for FedEx in Maryland from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5429. Plaintiff Terrance Thomas is an individual residing in Maryland. Thomas worked

as a delivery driver for FedEx in Maryland from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5430. Plaintiff Jeffrey Thomas is an individual residing in Maryland. Thomas worked as

a delivery driver for FedEx in Maryland from approximately 2005 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1488
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1489 of 3128




        5431. Plaintiff Chad Thomas is an individual residing in West Virginia. Thomas worked

as a delivery driver for FedEx in Maryland and Virginia from approximately 2001 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Thomas has been eligible to receive overtime pay under the FLSA because Thomas has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5432. Plaintiff Darryl Thomas is an individual residing in Maryland. Thomas worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5433. Plaintiff Marlon Thompson, Sr. is an individual residing in Maryland. Thompson

worked as a delivery driver for FedEx in Maryland from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5434. Plaintiff Jacob Tiller is an individual residing in Pennsylvania. Tiller worked as a

delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Tiller has been

eligible to receive overtime pay under the FLSA because Tiller has driven a vehicle weighing




                                               1489
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1490 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5435. Plaintiff Mark Titus is an individual residing in Maryland. Titus worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Titus has been eligible to receive overtime pay under

the FLSA because Titus has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5436. Plaintiff Keaton Trentler is an individual residing in Maryland. Trentler worked as

a delivery driver for FedEx in Maryland from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Trentler has been

eligible to receive overtime pay under the FLSA because Trentler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5437. Plaintiff Nicholas Trombley is an individual residing in Maryland. Trombley

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Trombley has been eligible to receive

overtime pay under the FLSA because Trombley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5438. Plaintiff Kira Tubman is an individual residing in Pennsylvania. Tubman worked

as a delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tubman has been

eligible to receive overtime pay under the FLSA because Tubman has driven a vehicle weighing




                                              1490
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1491 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5439. Plaintiff Lamarr Tucker is an individual residing in Maryland. Tucker worked as a

delivery driver for FedEx in Maryland from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tucker has been

eligible to receive overtime pay under the FLSA because Tucker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5440. Plaintiff Queenique Tyler is an individual residing in Maryland. Tyler worked as

a delivery driver for FedEx in Maryland from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Tyler has been

eligible to receive overtime pay under the FLSA because Tyler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5441. Plaintiff Alex Wagner is an individual residing in Arizona. Wagner worked as a

delivery driver for FedEx in Maryland from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wagner has been

eligible to receive overtime pay under the FLSA because Wagner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5442. Plaintiff David Wagoner is an individual residing in Maryland. Wagoner worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wagoner has been



                                              1491
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1492 of 3128




eligible to receive overtime pay under the FLSA because Wagoner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5443. Plaintiff Daniel Wall is an individual residing in West Virginia. Wall worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wall has been

eligible to receive overtime pay under the FLSA because Wall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5444. Plaintiff Raymond Walls is an individual residing in Georgia. Walls worked as a

delivery driver for FedEx in Maryland from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Walls has been

eligible to receive overtime pay under the FLSA because Walls has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5445. Plaintiff Paula Warrren is an individual residing in District of Columbia. Warrren

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Warrren has been eligible to receive

overtime pay under the FLSA because Warrren has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5446. Plaintiff Shehzad Waseem is an individual residing in Maryland. Waseem worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Waseem has been eligible to receive overtime pay



                                              1492
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1493 of 3128




under the FLSA because Waseem has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5447. Plaintiff Esceo Webb is an individual residing in Maryland. Webb worked as a

delivery driver for FedEx in Maryland from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5448. Plaintiff Dennis Welch is an individual residing in Maryland. Welch worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Welch has been eligible to receive overtime pay

under the FLSA because Welch has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5449. Plaintiff Anthony Wells is an individual residing in Maryland. Wells worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Wells has been eligible to receive overtime pay under

the FLSA because Wells has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5450. Plaintiff Tyrisha White is an individual residing in Maryland. White worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                             1493
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1494 of 3128




        5451. Plaintiff Monique White is an individual residing in Maryland. White worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5452. Plaintiff Jessica Whiteside is an individual residing in Maryland. Whiteside

worked as a delivery driver for FedEx in Maryland from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Whiteside has been eligible to receive overtime pay under the FLSA because Whiteside has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5453. Plaintiff Joseph Wiggins is an individual residing in Maryland. Wiggins worked

as a delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Wiggins has been eligible to receive overtime pay

under the FLSA because Wiggins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5454. Plaintiff Joseph Wilczek is an individual residing in Maryland. Wilczek worked

as a delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wilczek has been

eligible to receive overtime pay under the FLSA because Wilczek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1494
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1495 of 3128




        5455. Plaintiff Jermaine Wilkerson is an individual residing in Maryland. Wilkerson

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Wilkerson has been eligible to receive

overtime pay under the FLSA because Wilkerson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5456. Plaintiff Altimont Wilks is an individual residing in Maryland. Wilks worked as a

delivery driver for FedEx in Maryland from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wilks has been

eligible to receive overtime pay under the FLSA because Wilks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5457. Plaintiff Marco Williams is an individual residing in Maryland. Williams worked

as a delivery driver for FedEx in Maryland from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5458. Plaintiff Leanne Williams is an individual residing in Maryland. Williams worked

as a delivery driver for FedEx in Maryland from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1495
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1496 of 3128




        5459. Plaintiff Anthony Williams is an individual residing in Maryland. Williams

worked as a delivery driver for FedEx in Maryland from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5460. Plaintiff Dominique Williams is an individual residing in Maryland. Williams

worked as a delivery driver for FedEx in Maryland but was employed through intermediary

entities that FedEx calls independent service providers. Williams has been eligible to receive

overtime pay under the FLSA because Williams has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5461. Plaintiff Amber Williams is an individual residing in Maryland. Williams worked

as a delivery driver for FedEx in Maryland from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5462. Plaintiff Timothy Wilson is an individual residing in Maryland. Wilson worked as

a delivery driver for FedEx in Maryland from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1496
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1497 of 3128




        5463. Plaintiff Devron Worley is an individual residing in Maryland. Worley worked as

a delivery driver for FedEx in Maryland from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Worley has been

eligible to receive overtime pay under the FLSA because Worley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5464. Plaintiff Adam Wright is an individual residing in Maryland. Wright worked as a

delivery driver for FedEx in Maryland from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5465. Plaintiff Kerine Young is an individual residing in Maryland. Young worked as a

delivery driver for FedEx in Maryland from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Young has been

eligible to receive overtime pay under the FLSA because Young has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5466. Plaintiff Jason Zais is an individual residing in Maryland. Zais worked as a

delivery driver for FedEx in Maryland but was employed through intermediary entities that

FedEx calls independent service providers. Zais has been eligible to receive overtime pay under

the FLSA because Zais has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              1497
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1498 of 3128




        5467. Plaintiff Tammy Aaron is an individual residing in Michigan. Aaron worked as a

delivery driver for FedEx in Michigan from approximately 2024 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Aaron has been

eligible to receive overtime pay under the FLSA because Aaron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5468. Plaintiff Nael Abuhamad is an individual residing in Michigan. Abuhamad

worked as a delivery driver for FedEx in Michigan from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Abuhamad has been eligible to receive overtime pay under the FLSA because Abuhamad has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5469. Plaintiff Robert Ainsworth is an individual residing in Michigan. Ainsworth

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Ainsworth has been eligible to receive overtime pay under the FLSA because Ainsworth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5470. Plaintiff Jalal Al Jawhari is an individual residing in Michigan. Al Jawhari

worked as a delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Al

Jawhari has been eligible to receive overtime pay under the FLSA because Al Jawhari has driven




                                              1498
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1499 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5471. Plaintiff Samuel Aldis is an individual residing in Michigan. Aldis worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Aldis has been

eligible to receive overtime pay under the FLSA because Aldis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5472. Plaintiff Angela Almeida-Grisdale is an individual residing in Michigan.

Almeida-Grisdale worked as a delivery driver for FedEx in Michigan but was employed through

intermediary entities that FedEx calls independent service providers. Almeida-Grisdale has been

eligible to receive overtime pay under the FLSA because Almeida-Grisdale has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5473. Plaintiff Ahmed Alsharejy is an individual residing in Michigan. Alsharejy

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Alsharejy has been eligible to receive

overtime pay under the FLSA because Alsharejy has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5474. Plaintiff Joe Anderson is an individual residing in Michigan. Anderson worked as

a delivery driver for FedEx in Michigan from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle



                                               1499
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1500 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5475. Plaintiff Robert Ankney is an individual residing in Michigan. Ankney worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Ankney has been eligible to receive overtime pay

under the FLSA because Ankney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5476. Plaintiff Shawn Anthony is an individual residing in Michigan. Anthony worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Anthony has been

eligible to receive overtime pay under the FLSA because Anthony has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5477. Plaintiff Thomas Armetta is an individual residing in Michigan. Armetta worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Armetta has been eligible to receive overtime pay

under the FLSA because Armetta has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5478. Plaintiff Jody Armstrong is an individual residing in Michigan. Armstrong

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Armstrong has been eligible to receive overtime pay under the FLSA because Armstrong has




                                             1500
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1501 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5479. Plaintiff Anthony Arthmire is an individual residing in Michigan. Arthmire

worked as a delivery driver for FedEx in Michigan from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Arthmire

has been eligible to receive overtime pay under the FLSA because Arthmire has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5480. Plaintiff Lamont Ayers is an individual residing in Michigan. Ayers worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ayers has been

eligible to receive overtime pay under the FLSA because Ayers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5481. Plaintiff Robert Ayotte is an individual residing in Michigan. Ayotte worked as a

delivery driver for FedEx in Michigan from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ayotte has been

eligible to receive overtime pay under the FLSA because Ayotte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5482. Plaintiff Stuart Baker is an individual residing in Michigan. Baker worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been



                                              1501
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1502 of 3128




eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5483. Plaintiff Jason Banas is an individual residing in Michigan. Banas worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Banas has been

eligible to receive overtime pay under the FLSA because Banas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5484. Plaintiff Krissie Barnes is an individual residing in Michigan. Barnes worked as a

delivery driver for FedEx in Michigan from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been

eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5485. Plaintiff Mark Beauchamp is an individual residing in Wisconsin. Beauchamp

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Beauchamp has been eligible to receive overtime pay under the FLSA because Beauchamp has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5486. Plaintiff Paul Beck is an individual residing in Michigan. Beck worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed



                                              1502
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1503 of 3128




through intermediary entities that FedEx calls independent service providers. Beck has been

eligible to receive overtime pay under the FLSA because Beck has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5487. Plaintiff Jeffrey Bennett is an individual residing in Michigan. Bennett worked as

a delivery driver for FedEx in Michigan from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5488. Plaintiff Hussien Beydoun is an individual residing in Michigan. Beydoun worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Beydoun has been

eligible to receive overtime pay under the FLSA because Beydoun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5489. Plaintiff Richard Billin is an individual residing in Michigan. Billin worked as a

delivery driver for FedEx in Michigan from approximately 2003 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Billin has been

eligible to receive overtime pay under the FLSA because Billin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1503
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1504 of 3128




        5490. Plaintiff Deondra Blackmon is an individual residing in Michigan. Blackmon

worked as a delivery driver for FedEx in Michigan from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Blackmon has been eligible to receive overtime pay under the FLSA because Blackmon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5491. Plaintiff Matt Blank is an individual residing in Michigan. Blank worked as a

delivery driver for FedEx in Michigan from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Blank has been

eligible to receive overtime pay under the FLSA because Blank has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5492. Plaintiff Eric Bleecker is an individual residing in Michigan. Bleecker worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bleecker has been

eligible to receive overtime pay under the FLSA because Bleecker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5493. Plaintiff Steven Bottrell is an individual residing in Michigan. Bottrell worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Bottrell has been eligible to receive overtime pay

under the FLSA because Bottrell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1504
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1505 of 3128




        5494. Plaintiff Marcus Bradford is an individual residing in Michigan. Bradford worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bradford has been

eligible to receive overtime pay under the FLSA because Bradford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5495. Plaintiff Michael Bradley is an individual residing in Arizona. Bradley worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Bradley has been eligible to receive overtime pay

under the FLSA because Bradley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5496. Plaintiff David Brocklehurst is an individual residing in Michigan. Brocklehurst

worked as a delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Brocklehurst has been eligible to receive overtime pay under the FLSA because Brocklehurst has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5497. Plaintiff Cody Brown is an individual residing in Michigan. Brown worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1505
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1506 of 3128




        5498. Plaintiff Demario Brown is an individual residing in Michigan. Brown worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5499. Plaintiff William Brown is an individual residing in Florida. Brown worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5500. Plaintiff Christopher Brown is an individual residing in Michigan. Brown worked

as a delivery driver for FedEx in Michigan from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5501. Plaintiff Michael Brumley is an individual residing in Michigan. Brumley worked

as a delivery driver for FedEx in Michigan from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Brumley has been

eligible to receive overtime pay under the FLSA because Brumley has driven a vehicle weighing




                                             1506
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1507 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5502. Plaintiff Rayleon Bryson is an individual residing in Michigan. Bryson worked as

a delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bryson has been

eligible to receive overtime pay under the FLSA because Bryson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5503. Plaintiff Costantino Buffa is an individual residing in Michigan. Buffa worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Buffa has been

eligible to receive overtime pay under the FLSA because Buffa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5504. Plaintiff Trevis Bullock is an individual residing in Michigan. Bullock worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bullock has been

eligible to receive overtime pay under the FLSA because Bullock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5505. Plaintiff Roger Burgess is an individual residing in Michigan. Burgess worked as

a delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Burgess has been



                                              1507
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1508 of 3128




eligible to receive overtime pay under the FLSA because Burgess has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5506. Plaintiff Shawn Burhans is an individual residing in Michigan. Burhans worked as

a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Burhans has been

eligible to receive overtime pay under the FLSA because Burhans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5507. Plaintiff Crystal Bush is an individual residing in Michigan. Bush worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bush has been

eligible to receive overtime pay under the FLSA because Bush has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5508. Plaintiff Darious Bussell is an individual residing in Michigan. Bussell worked as

a delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bussell has been

eligible to receive overtime pay under the FLSA because Bussell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5509. Plaintiff Daniel Canafax is an individual residing in Alabama. Canafax worked as

a delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed



                                              1508
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1509 of 3128




through intermediary entities that FedEx calls independent service providers. Canafax has been

eligible to receive overtime pay under the FLSA because Canafax has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5510. Plaintiff Kyle Carbiener is an individual residing in Michigan. Carbiener worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Carbiener has been eligible to receive overtime pay

under the FLSA because Carbiener has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5511. Plaintiff Douglas Carver Jr. is an individual residing in Michigan. Carver Jr.

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Carver

Jr. has been eligible to receive overtime pay under the FLSA because Carver Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5512. Plaintiff David Cash is an individual residing in Michigan. Cash worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cash has been

eligible to receive overtime pay under the FLSA because Cash has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5513. Plaintiff Eric Casper is an individual residing in Michigan. Casper worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2024 but was employed



                                              1509
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1510 of 3128




through intermediary entities that FedEx calls independent service providers. Casper has been

eligible to receive overtime pay under the FLSA because Casper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5514. Plaintiff Johnathan Cator is an individual residing in Indiana. Cator worked as a

delivery driver for FedEx in Michigan and Utah from approximately 2010 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Cator

has been eligible to receive overtime pay under the FLSA because Cator has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5515. Plaintiff Jordan Chambers is an individual residing in Michigan. Chambers

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Chambers has been eligible to receive overtime pay under the FLSA because Chambers has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5516. Plaintiff Bryan Chambliss is an individual residing in Michigan. Chambliss

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Chambliss has been eligible to receive overtime pay under the FLSA because Chambliss has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              1510
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1511 of 3128




        5517. Plaintiff Ronald Cifolelli is an individual residing in Michigan. Cifolelli worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Cifolelli has been eligible to receive overtime pay

under the FLSA because Cifolelli has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5518. Plaintiff Gim Cipriano is an individual residing in Michigan. Cipriano worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cipriano has been

eligible to receive overtime pay under the FLSA because Cipriano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5519. Plaintiff Marvin Cischke is an individual residing in Michigan. Cischke worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cischke has been

eligible to receive overtime pay under the FLSA because Cischke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5520. Plaintiff Jeffrey Clemence is an individual residing in Michigan. Clemence

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Clemence has been eligible to receive

overtime pay under the FLSA because Clemence has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1511
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1512 of 3128




        5521. Plaintiff Troy Coley is an individual residing in Michigan. Coley worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Coley has been eligible to receive overtime pay under

the FLSA because Coley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5522. Plaintiff Jenna Schillman is an individual residing in Michigan. Collins worked as

a delivery driver for FedEx in Michigan from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5523. Plaintiff Marcellus Conner is an individual residing in Michigan. Conner worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Conner has been

eligible to receive overtime pay under the FLSA because Conner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5524. Plaintiff Kenneth Coombs is an individual residing in Michigan. Coombs worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Coombs has been eligible to receive overtime pay

under the FLSA because Coombs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1512
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 1513 of 3128




        5525. Plaintiff Jamel Cooper is an individual residing in Michigan. Cooper worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5526. Plaintiff Boyd Cottrell Jr is an individual residing in Michigan. Cottrell Jr

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Cottrell Jr has been eligible to receive

overtime pay under the FLSA because Cottrell Jr has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5527. Plaintiff Daniel Coulter is an individual residing in Michigan. Coulter worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coulter has been

eligible to receive overtime pay under the FLSA because Coulter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5528. Plaintiff Patricia Coy is an individual residing in Michigan. Coy worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Coy has been eligible to receive overtime pay under

the FLSA because Coy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               1513
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1514 of 3128




        5529. Plaintiff Ernest Crawford is an individual residing in Michigan. Crawford worked

as a delivery driver for FedEx in Michigan from approximately 1900 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Crawford has been

eligible to receive overtime pay under the FLSA because Crawford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5530. Plaintiff Kareem Crowley is an individual residing in Michigan. Crowley worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Crowley has been

eligible to receive overtime pay under the FLSA because Crowley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5531. Plaintiff James Crowther is an individual residing in Michigan. Crowther worked

as a delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Crowther has been

eligible to receive overtime pay under the FLSA because Crowther has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5532. Plaintiff Wayne Custer is an individual residing in Michigan. Custer worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Custer has been

eligible to receive overtime pay under the FLSA because Custer has driven a vehicle weighing




                                              1514
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1515 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5533. Plaintiff Jason Czenkus is an individual residing in Minnesota. Czenkus worked

as a delivery driver for FedEx in Michigan from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Czenkus has been

eligible to receive overtime pay under the FLSA because Czenkus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5534. Plaintiff Kassem Dabajeh is an individual residing in Michigan. Dabajeh worked

as a delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dabajeh has been

eligible to receive overtime pay under the FLSA because Dabajeh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5535. Plaintiff Deandre Davis is an individual residing in Michigan. Davis worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5536. Plaintiff Tiffinee Davis is an individual residing in Michigan. Davis worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been



                                              1515
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1516 of 3128




eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5537. Plaintiff Dylan Deatsman is an individual residing in Michigan. Deatsman worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Deatsman has been

eligible to receive overtime pay under the FLSA because Deatsman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5538. Plaintiff John Deeter is an individual residing in Michigan. Deeter worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Deeter has been

eligible to receive overtime pay under the FLSA because Deeter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5539. Plaintiff Caleb Derousse is an individual residing in Michigan. Derousse worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Derousse has been eligible to receive overtime pay

under the FLSA because Derousse has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5540. Plaintiff Derek Dibella is an individual residing in Michigan. Dibella worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dibella has been



                                              1516
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1517 of 3128




eligible to receive overtime pay under the FLSA because Dibella has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5541. Plaintiff Colton Dickerson is an individual residing in Texas. Dickerson worked

as a delivery driver for FedEx in Michigan from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dickerson has been

eligible to receive overtime pay under the FLSA because Dickerson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5542. Plaintiff Dameicos Dickson is an individual residing in Michigan. Dickson

worked as a delivery driver for FedEx in Michigan from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Dickson

has been eligible to receive overtime pay under the FLSA because Dickson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5543. Plaintiff David Diehl, Sr. is an individual residing in Michigan. Diehl worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Diehl has been

eligible to receive overtime pay under the FLSA because Diehl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5544. Plaintiff Fonda Dorsey is an individual residing in Michigan. Dorsey worked as a

delivery driver for FedEx in Michigan from approximately 2001 to 2019 but was employed



                                              1517
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1518 of 3128




through intermediary entities that FedEx calls independent service providers. Dorsey has been

eligible to receive overtime pay under the FLSA because Dorsey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5545. Plaintiff Jacob Draper is an individual residing in Michigan. Draper worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Draper has been

eligible to receive overtime pay under the FLSA because Draper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5546. Plaintiff Molloy Dumas is an individual residing in Michigan. Dumas worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dumas has been

eligible to receive overtime pay under the FLSA because Dumas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5547. Plaintiff Taurean Ealy is an individual residing in Michigan. Ealy worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ealy has been

eligible to receive overtime pay under the FLSA because Ealy has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1518
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1519 of 3128




        5548. Plaintiff Christopher Easley is an individual residing in Michigan. Easley worked

as a delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Easley has been

eligible to receive overtime pay under the FLSA because Easley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5549. Plaintiff James Edwards is an individual residing in Florida. Edwards worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Edwards has been

eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5550. Plaintiff Frederick Evans is an individual residing in Michigan. Evans worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5551. Plaintiff Robert Fabian is an individual residing in Michigan. Fabian worked as a

delivery driver for FedEx in Michigan from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Fabian has been

eligible to receive overtime pay under the FLSA because Fabian has driven a vehicle weighing




                                              1519
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1520 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5552. Plaintiff Kyle Fahler is an individual residing in Michigan. Fahler worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Fahler has been eligible to receive overtime pay

under the FLSA because Fahler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5553. Plaintiff Anna Fair is an individual residing in Michigan. Fair worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Fair has been

eligible to receive overtime pay under the FLSA because Fair has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5554. Plaintiff Bryce Fairchild- Clark is an individual residing in Michigan. Fairchild-

Clark worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Fairchild- Clark has been eligible to receive overtime pay under the FLSA because Fairchild-

Clark has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        5555. Plaintiff Patrick Feeney is an individual residing in Michigan. Feeney worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Feeney has been eligible to receive overtime pay




                                              1520
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1521 of 3128




under the FLSA because Feeney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5556. Plaintiff Katherine Fletcher is an individual residing in Michigan. Fletcher

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Fletcher

has been eligible to receive overtime pay under the FLSA because Fletcher has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5557. Plaintiff Benjamin Foreman is an individual residing in Michigan. Foreman

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Foreman

has been eligible to receive overtime pay under the FLSA because Foreman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5558. Plaintiff Christopher Foster is an individual residing in Michigan. Foster worked

as a delivery driver for FedEx in Michigan from approximately 2006 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Foster has been

eligible to receive overtime pay under the FLSA because Foster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5559. Plaintiff Maurice Frank is an individual residing in Michigan. Frank worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Frank has been



                                              1521
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1522 of 3128




eligible to receive overtime pay under the FLSA because Frank has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5560. Plaintiff Curtis Garland is an individual residing in Michigan. Garland worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Garland has been

eligible to receive overtime pay under the FLSA because Garland has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5561. Plaintiff Brandon Garrison is an individual residing in Michigan. Garrison worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Garrison has been

eligible to receive overtime pay under the FLSA because Garrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5562. Plaintiff Eric George Jr. is an individual residing in Michigan. George Jr. worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. George Jr. has been eligible to receive overtime pay

under the FLSA because George Jr. has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5563. Plaintiff Shaun Good is an individual residing in Michigan. Good worked as a

delivery driver for FedEx in Michigan from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Good has been



                                              1522
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1523 of 3128




eligible to receive overtime pay under the FLSA because Good has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5564. Plaintiff Alexander Goodson-Childs is an individual residing in Michigan.

Goodson-Childs worked as a delivery driver for FedEx in Michigan but was employed through

intermediary entities that FedEx calls independent service providers. Goodson-Childs has been

eligible to receive overtime pay under the FLSA because Goodson-Childs has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5565. Plaintiff Kyle Grant is an individual residing in Michigan. Grant worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5566. Plaintiff John Grawey is an individual residing in Michigan. Grawey worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Grawey has been

eligible to receive overtime pay under the FLSA because Grawey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5567. Plaintiff Edwin Gromek is an individual residing in Indiana. Gromek worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed



                                              1523
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1524 of 3128




through intermediary entities that FedEx calls independent service providers. Gromek has been

eligible to receive overtime pay under the FLSA because Gromek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5568. Plaintiff Jeffery Guethlein is an individual residing in Michigan. Guethlein

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Guethlein has been eligible to receive

overtime pay under the FLSA because Guethlein has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5569. Plaintiff Aaron Halstead is an individual residing in Michigan. Halstead worked

as a delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Halstead has been

eligible to receive overtime pay under the FLSA because Halstead has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5570. Plaintiff Timothy Hamden is an individual residing in Michigan. Hamden worked

as a delivery driver for FedEx in Michigan from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hamden has been

eligible to receive overtime pay under the FLSA because Hamden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5571. Plaintiff Charles Hammons is an individual residing in Michigan. Hammons

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was



                                              1524
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1525 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Hammons has been eligible to receive overtime pay under the FLSA because Hammons has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5572. Plaintiff Corey Hardy is an individual residing in Michigan. Hardy worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hardy has been

eligible to receive overtime pay under the FLSA because Hardy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5573. Plaintiff Andre Harris is an individual residing in Michigan. Harris worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5574. Plaintiff Preazell Harris is an individual residing in Michigan. Harris worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1525
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1526 of 3128




        5575. Plaintiff Michael Harrison is an individual residing in Michigan. Harrison worked

as a delivery driver for FedEx in Michigan from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5576. Plaintiff Rick Hart is an individual residing in Michigan. Hart worked as a

delivery driver for FedEx in Michigan from approximately 1986 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hart has been

eligible to receive overtime pay under the FLSA because Hart has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5577. Plaintiff Sheren Harvey is an individual residing in Michigan. Harvey worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Harvey has been

eligible to receive overtime pay under the FLSA because Harvey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5578. Plaintiff Brent Havard is an individual residing in Michigan. Havard worked as a

delivery driver for FedEx in Michigan from approximately 1996 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Havard has been

eligible to receive overtime pay under the FLSA because Havard has driven a vehicle weighing




                                              1526
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1527 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5579. Plaintiff Mark Havens is an individual residing in Michigan. Havens worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Havens has been eligible to receive overtime pay

under the FLSA because Havens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5580. Plaintiff Adrian Hawkins is an individual residing in Michigan. Hawkins worked

as a delivery driver for FedEx in Michigan from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5581. Plaintiff Dean Hawkins is an individual residing in Michigan. Hawkins worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hawkins has been

eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5582. Plaintiff Scott Hayes is an individual residing in Michigan. Hayes worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Hayes has been eligible to receive overtime pay




                                             1527
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1528 of 3128




under the FLSA because Hayes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5583. Plaintiff Tiffanie Head is an individual residing in Michigan. Head worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Head has been

eligible to receive overtime pay under the FLSA because Head has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5584. Plaintiff Steven Herrmann is an individual residing in Michigan. Herrmann

worked as a delivery driver for FedEx in Michigan from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Herrmann has been eligible to receive overtime pay under the FLSA because Herrmann has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5585. Plaintiff Thomas Heslin Iii is an individual residing in South Carolina. Heslin Iii

worked as a delivery driver for FedEx in Michigan from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Heslin Iii

has been eligible to receive overtime pay under the FLSA because Heslin Iii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5586. Plaintiff Robert Holler is an individual residing in Michigan. Holler worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Holler has been



                                               1528
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1529 of 3128




eligible to receive overtime pay under the FLSA because Holler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5587. Plaintiff Jacklyn Hopper is an individual residing in Louisiana. Hopper worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hopper has been

eligible to receive overtime pay under the FLSA because Hopper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5588. Plaintiff Jonathon Horne is an individual residing in Michigan. Horne worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Horne has been

eligible to receive overtime pay under the FLSA because Horne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5589. Plaintiff Ryan Hubbs is an individual residing in Michigan. Hubbs worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Hubbs has been eligible to receive overtime pay

under the FLSA because Hubbs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5590. Plaintiff Evan Huizar is an individual residing in Michigan. Huizar worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Huizar has been



                                             1529
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1530 of 3128




eligible to receive overtime pay under the FLSA because Huizar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5591. Plaintiff Art Hulme is an individual residing in Michigan. Hulme worked as a

delivery driver for FedEx in Michigan from approximately 1994 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hulme has been

eligible to receive overtime pay under the FLSA because Hulme has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5592. Plaintiff Ryan Hush is an individual residing in Michigan. Hush worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hush has been

eligible to receive overtime pay under the FLSA because Hush has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5593. Plaintiff Michael Irvine is an individual residing in Michigan. Irvine worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Irvine has been eligible to receive overtime pay under

the FLSA because Irvine has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5594. Plaintiff Chris Isaac is an individual residing in Michigan. Isaac worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Isaac has been



                                              1530
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1531 of 3128




eligible to receive overtime pay under the FLSA because Isaac has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5595. Plaintiff David James is an individual residing in Michigan. James worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. James has been eligible to receive overtime pay

under the FLSA because James has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5596. Plaintiff John Jefferson is an individual residing in Michigan. Jefferson worked as

a delivery driver for FedEx in Michigan from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jefferson has been

eligible to receive overtime pay under the FLSA because Jefferson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5597. Plaintiff Gaylon Jefferson is an individual residing in Michigan. Jefferson worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jefferson has been

eligible to receive overtime pay under the FLSA because Jefferson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5598. Plaintiff James Jenks is an individual residing in Michigan. Jenks worked as a

delivery driver for FedEx in Michigan from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Jenks has been



                                              1531
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1532 of 3128




eligible to receive overtime pay under the FLSA because Jenks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5599. Plaintiff Daniel Jenks is an individual residing in South Carolina. Jenks worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jenks has been

eligible to receive overtime pay under the FLSA because Jenks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5600. Plaintiff Paul Johnson is an individual residing in Michigan. Johnson worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5601. Plaintiff Daniel Jones is an individual residing in Michigan. Jones worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5602. Plaintiff Robert Jones is an individual residing in Michigan. Jones worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been



                                              1532
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1533 of 3128




eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5603. Plaintiff Myamika Jordan is an individual residing in Michigan. Jordan worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Jordan has been eligible to receive overtime pay

under the FLSA because Jordan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5604. Plaintiff Gerquinn Joshua is an individual residing in Michigan. Joshua worked as

a delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Joshua has been

eligible to receive overtime pay under the FLSA because Joshua has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5605. Plaintiff Karen Juillerat is an individual residing in North Carolina. Juillerat

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Juillerat

has been eligible to receive overtime pay under the FLSA because Juillerat has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5606. Plaintiff Joshua Kandal is an individual residing in Michigan. Kandal worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Kandal has been



                                               1533
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1534 of 3128




eligible to receive overtime pay under the FLSA because Kandal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5607. Plaintiff Andrew Kapusta is an individual residing in Michigan. Kapusta worked

as a delivery driver for FedEx in Michigan from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Kapusta has been

eligible to receive overtime pay under the FLSA because Kapusta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5608. Plaintiff Brian Keating is an individual residing in Michigan. Keating worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Keating has been

eligible to receive overtime pay under the FLSA because Keating has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5609. Plaintiff Christopher Keller is an individual residing in Michigan. Keller worked

as a delivery driver for FedEx in Michigan from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Keller has been

eligible to receive overtime pay under the FLSA because Keller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5610. Plaintiff Jawara Kenyatte is an individual residing in Georgia. Kenyatte worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed



                                              1534
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1535 of 3128




through intermediary entities that FedEx calls independent service providers. Kenyatte has been

eligible to receive overtime pay under the FLSA because Kenyatte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5611. Plaintiff Mark Kieffer is an individual residing in Michigan. Kieffer worked as a

delivery driver for FedEx in Michigan from approximately 2002 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kieffer has been

eligible to receive overtime pay under the FLSA because Kieffer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5612. Plaintiff Maurice King is an individual residing in Michigan. King worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. King has been

eligible to receive overtime pay under the FLSA because King has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5613. Plaintiff Timothy Koop is an individual residing in Michigan. Koop worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Koop has been

eligible to receive overtime pay under the FLSA because Koop has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1535
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1536 of 3128




        5614. Plaintiff Dawn Kowalske is an individual residing in Michigan. Kowalske worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Kowalske has been eligible to receive overtime pay

under the FLSA because Kowalske has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5615. Plaintiff James Kuzma is an individual residing in Michigan. Kuzma worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kuzma has been

eligible to receive overtime pay under the FLSA because Kuzma has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5616. Plaintiff Darrell Laford is an individual residing in Michigan. Laford worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Laford has been

eligible to receive overtime pay under the FLSA because Laford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5617. Plaintiff Steven Lalone is an individual residing in Michigan. Lalone worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lalone has been

eligible to receive overtime pay under the FLSA because Lalone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1536
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1537 of 3128




        5618. Plaintiff Christopher Lamphere is an individual residing in Michigan. Lamphere

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Lamphere has been eligible to receive overtime pay under the FLSA because Lamphere has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5619. Plaintiff Kenneth Lawless is an individual residing in Michigan. Lawless worked

as a delivery driver for FedEx in Michigan from approximately 2003 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lawless has been

eligible to receive overtime pay under the FLSA because Lawless has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5620. Plaintiff Tina Lawrence is an individual residing in Wisconsin. Lawrence worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Lawrence has been eligible to receive overtime pay

under the FLSA because Lawrence has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5621. Plaintiff Jason Lewis is an individual residing in Michigan. Lewis worked as a

delivery driver for FedEx in Michigan from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             1537
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1538 of 3128




        5622. Plaintiff Mark London is an individual residing in Michigan. London worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. London has been

eligible to receive overtime pay under the FLSA because London has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5623. Plaintiff Tate Lovely is an individual residing in Michigan. Lovely worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Lovely has been eligible to receive overtime pay

under the FLSA because Lovely has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5624. Plaintiff Matt Mance is an individual residing in Michigan. Mance worked as a

delivery driver for FedEx in Michigan from approximately 2002 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mance has been

eligible to receive overtime pay under the FLSA because Mance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5625. Plaintiff Michael Mance is an individual residing in Michigan. Mance worked as

a delivery driver for FedEx in Michigan from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mance has been

eligible to receive overtime pay under the FLSA because Mance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             1538
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1539 of 3128




        5626. Plaintiff Jonathen Mandycz is an individual residing in Arizona. Mandycz worked

as a delivery driver for FedEx in Michigan from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mandycz has been

eligible to receive overtime pay under the FLSA because Mandycz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5627. Plaintiff Anthony Marbury, Sr. is an individual residing in Michigan. Marbury

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Marbury has been eligible to receive

overtime pay under the FLSA because Marbury has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5628. Plaintiff Anthony Martin is an individual residing in Michigan. Martin worked as

a delivery driver for FedEx in Michigan from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5629. Plaintiff Michael Martin is an individual residing in Michigan. Martin worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1539
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1540 of 3128




        5630. Plaintiff Eric Martin is an individual residing in Michigan. Martin worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5631. Plaintiff Corey Mason is an individual residing in Michigan. Mason worked as a

delivery driver for FedEx in Michigan and Tennessee from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mason

has been eligible to receive overtime pay under the FLSA because Mason has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5632. Plaintiff Kevin Mcdonald is an individual residing in Michigan. Mcdonald

worked as a delivery driver for FedEx in Michigan from approximately 2013 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdonald has been eligible to receive overtime pay under the FLSA because Mcdonald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5633. Plaintiff Terry Mcdonnell is an individual residing in Michigan. Mcdonnell

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdonnell has been eligible to receive overtime pay under the FLSA because Mcdonnell has




                                              1540
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1541 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5634. Plaintiff Chad Mcfarlin is an individual residing in Michigan. Mcfarlin worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Mcfarlin has been eligible to receive overtime pay

under the FLSA because Mcfarlin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5635. Plaintiff Spenser Mckee is an individual residing in Michigan. Mckee worked as a

delivery driver for FedEx in Michigan from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mckee has been

eligible to receive overtime pay under the FLSA because Mckee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5636. Plaintiff Steven Mckenzie is an individual residing in Michigan. Mckenzie

worked as a delivery driver for FedEx in Michigan from approximately 2011 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckenzie has been eligible to receive overtime pay under the FLSA because Mckenzie has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5637. Plaintiff David Mclellan is an individual residing in Michigan. Mclellan worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mclellan has been

eligible to receive overtime pay under the FLSA because Mclellan has driven a vehicle weighing



                                             1541
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1542 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5638. Plaintiff Chad Mcnabb is an individual residing in Michigan. Mcnabb worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mcnabb has been

eligible to receive overtime pay under the FLSA because Mcnabb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5639. Plaintiff Chelsea Means is an individual residing in Tennessee. Means worked as

a delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Means has been

eligible to receive overtime pay under the FLSA because Means has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5640. Plaintiff Kenita Merriweather is an individual residing in Michigan. Merriweather

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Merriweather has been eligible to receive

overtime pay under the FLSA because Merriweather has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5641. Plaintiff Jay Micou is an individual residing in Michigan. Micou worked as a

delivery driver for FedEx in Michigan from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Micou has been

eligible to receive overtime pay under the FLSA because Micou has driven a vehicle weighing



                                              1542
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1543 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5642. Plaintiff Nathan Bemis is an individual residing in Michigan. Middleton worked

as a delivery driver for FedEx in Michigan from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Middleton has been

eligible to receive overtime pay under the FLSA because Middleton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5643. Plaintiff Gordon Miles is an individual residing in Michigan. Miles worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Miles has been eligible to receive overtime pay under

the FLSA because Miles has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5644. Plaintiff Nicholas Miller is an individual residing in Michigan. Miller worked as a

delivery driver for FedEx in Michigan from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5645. Plaintiff Christopher Mills is an individual residing in Michigan. Mills worked as

a delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mills has been

eligible to receive overtime pay under the FLSA because Mills has driven a vehicle weighing



                                              1543
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1544 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5646. Plaintiff Kyannda Mitchell is an individual residing in Michigan. Mitchell worked

as a delivery driver for FedEx in Michigan from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5647. Plaintiff Anthony Mitchell is an individual residing in Michigan. Mitchell worked

as a delivery driver for FedEx in Michigan from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5648. Plaintiff Kevin Moore is an individual residing in Michigan. Moore worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5649. Plaintiff Jajuan Moore is an individual residing in Michigan. Moore worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been



                                              1544
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1545 of 3128




eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5650. Plaintiff Jesse Moore is an individual residing in Michigan. Moore worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Moore has been eligible to receive overtime pay

under the FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5651. Plaintiff Roy Moreno is an individual residing in Texas. Moreno worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Moreno has been eligible to receive overtime pay

under the FLSA because Moreno has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5652. Plaintiff Travis Morris is an individual residing in Michigan. Morris worked as a

delivery driver for FedEx in Michigan from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5653. Plaintiff Ray Mosley is an individual residing in Michigan. Mosley worked as a

delivery driver for FedEx in Michigan from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mosley has been

eligible to receive overtime pay under the FLSA because Mosley has driven a vehicle weighing



                                              1545
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1546 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5654. Plaintiff Corey Mosley is an individual residing in Michigan. Mosley worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Mosley has been eligible to receive overtime pay

under the FLSA because Mosley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5655. Plaintiff Timothy Moss is an individual residing in Michigan. Moss worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moss has been

eligible to receive overtime pay under the FLSA because Moss has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5656. Plaintiff Kelly Mullins is an individual residing in Michigan. Mullins worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mullins has been

eligible to receive overtime pay under the FLSA because Mullins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5657. Plaintiff Sean Munson is an individual residing in Michigan. Munson worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Munson has been eligible to receive overtime pay




                                              1546
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1547 of 3128




under the FLSA because Munson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5658. Plaintiff Shaun Murphy is an individual residing in Michigan. Murphy worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Murphy has been eligible to receive overtime pay

under the FLSA because Murphy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5659. Plaintiff Chizia Mwila is an individual residing in Michigan. Mwila worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Mwila has been eligible to receive overtime pay

under the FLSA because Mwila has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5660. Plaintiff Marlon Nabors is an individual residing in Michigan. Nabors worked as

a delivery driver for FedEx in Michigan from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Nabors has been

eligible to receive overtime pay under the FLSA because Nabors has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5661. Plaintiff Mohamad Naura is an individual residing in Michigan. Naura worked as

a delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Naura has been

eligible to receive overtime pay under the FLSA because Naura has driven a vehicle weighing




                                             1547
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1548 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5662. Plaintiff Mark Near is an individual residing in Michigan. Near worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Near has been

eligible to receive overtime pay under the FLSA because Near has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5663. Plaintiff Wendy Neuhardt is an individual residing in Michigan. Neuhardt worked

as a delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Neuhardt has been

eligible to receive overtime pay under the FLSA because Neuhardt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5664. Plaintiff Patti Olivares is an individual residing in Michigan. Olivares worked as a

delivery driver for FedEx in Michigan from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Olivares has been

eligible to receive overtime pay under the FLSA because Olivares has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5665. Plaintiff Brandon Otto is an individual residing in Michigan. Otto worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Otto has been



                                              1548
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1549 of 3128




eligible to receive overtime pay under the FLSA because Otto has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5666. Plaintiff Adul Owens is an individual residing in Michigan. Owens worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5667. Plaintiff Juan Pabon is an individual residing in Michigan. Pabon worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pabon has been

eligible to receive overtime pay under the FLSA because Pabon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5668. Plaintiff Corey Padgett is an individual residing in Michigan. Padgett worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Padgett has been

eligible to receive overtime pay under the FLSA because Padgett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5669. Plaintiff Robin Papendik is an individual residing in Michigan. Papendik worked

as a delivery driver for FedEx in Michigan from approximately 2012 to 2019 but was employed



                                              1549
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1550 of 3128




through intermediary entities that FedEx calls independent service providers. Papendik has been

eligible to receive overtime pay under the FLSA because Papendik has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5670. Plaintiff Sheryl Parker is an individual residing in Michigan. Parker worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Parker has been eligible to receive overtime pay

under the FLSA because Parker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5671. Plaintiff Antonio Passalacqua is an individual residing in Michigan. Passalacqua

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Passalacqua has been eligible to receive overtime pay under the FLSA because Passalacqua has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5672. Plaintiff Harold Peagler is an individual residing in Michigan. Peagler worked as

a delivery driver for FedEx in Michigan from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Peagler has been

eligible to receive overtime pay under the FLSA because Peagler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5673. Plaintiff Joseph Perault is an individual residing in Michigan. Perault worked as a

delivery driver for FedEx in Michigan from approximately 2011 to 2020 but was employed



                                              1550
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1551 of 3128




through intermediary entities that FedEx calls independent service providers. Perault has been

eligible to receive overtime pay under the FLSA because Perault has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5674. Plaintiff Lisa Perry is an individual residing in Michigan. Perry worked as a

delivery driver for FedEx in Michigan from approximately 2009 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5675. Plaintiff Steve Phillips is an individual residing in Michigan. Phillips worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been

eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5676. Plaintiff Brian Phillips is an individual residing in Michigan. Phillips worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been

eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1551
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1552 of 3128




        5677. Plaintiff Jeffrey Piasecki is an individual residing in Michigan. Piasecki worked

as a delivery driver for FedEx in Michigan from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Piasecki has been

eligible to receive overtime pay under the FLSA because Piasecki has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5678. Plaintiff Joseph Swanson is an individual residing in Michigan. Pinkerman

worked as a delivery driver for FedEx in Michigan from approximately 2009 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Pinkerman has been eligible to receive overtime pay under the FLSA because Pinkerman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5679. Plaintiff Jeremy Poterek is an individual residing in Michigan. Poterek worked as

a delivery driver for FedEx in Michigan from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Poterek has been

eligible to receive overtime pay under the FLSA because Poterek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5680. Plaintiff David Pray is an individual residing in Tennessee. Pray worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Pray has been

eligible to receive overtime pay under the FLSA because Pray has driven a vehicle weighing less




                                              1552
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1553 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5681. Plaintiff Christian Pye is an individual residing in Michigan. Prichard worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Prichard has been

eligible to receive overtime pay under the FLSA because Prichard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5682. Plaintiff Bradley Pruzzo is an individual residing in Michigan. Pruzzo worked as

a delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pruzzo has been

eligible to receive overtime pay under the FLSA because Pruzzo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5683. Plaintiff Jesse Rae is an individual residing in Michigan. Rae worked as a delivery

driver for FedEx in Michigan from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Rae has been eligible to

receive overtime pay under the FLSA because Rae has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5684. Plaintiff Duane Mayfield is an individual residing in Michigan. Ramos worked as

a delivery driver for FedEx in Michigan from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing



                                              1553
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1554 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5685. Plaintiff James Ray is an individual residing in Michigan. Ray worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ray has been

eligible to receive overtime pay under the FLSA because Ray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5686. Plaintiff Eddie Render Jr. is an individual residing in Michigan. Render Jr.

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Render Jr. has been eligible to receive

overtime pay under the FLSA because Render Jr. has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5687. Plaintiff Brandon Rider is an individual residing in Michigan. Rider worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rider has been

eligible to receive overtime pay under the FLSA because Rider has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5688. Plaintiff Joseph Risek is an individual residing in Michigan. Risek worked as a

delivery driver for FedEx in Michigan from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Risek has been

eligible to receive overtime pay under the FLSA because Risek has driven a vehicle weighing



                                               1554
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1555 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5689. Plaintiff Jonathan Ritzler is an individual residing in Michigan. Ritzler worked as

a delivery driver for FedEx in Michigan from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ritzler has been

eligible to receive overtime pay under the FLSA because Ritzler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5690. Plaintiff Kyle Roark is an individual residing in Michigan. Roark worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Roark has been

eligible to receive overtime pay under the FLSA because Roark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5691. Plaintiff Ryan Roark is an individual residing in Michigan. Roark worked as a

delivery driver for FedEx in Michigan from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Roark has been

eligible to receive overtime pay under the FLSA because Roark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5692. Plaintiff Michele Robinson is an individual residing in Michigan. Robinson

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1555
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1556 of 3128




Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5693. Plaintiff William Rodriguez is an individual residing in Michigan. Rodriguez

worked as a delivery driver for FedEx in Michigan from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5694. Plaintiff Aaron Ross is an individual residing in Michigan. Ross worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ross has been

eligible to receive overtime pay under the FLSA because Ross has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5695. Plaintiff Joseph Sare is an individual residing in Michigan. Sare worked as a

delivery driver for FedEx in Michigan from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sare has been

eligible to receive overtime pay under the FLSA because Sare has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5696. Plaintiff Robert Saup is an individual residing in Michigan. Saup worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed



                                              1556
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1557 of 3128




through intermediary entities that FedEx calls independent service providers. Saup has been

eligible to receive overtime pay under the FLSA because Saup has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5697. Plaintiff Dennis Sawyer is an individual residing in Michigan. Sawyer worked as

a delivery driver for FedEx in Michigan from approximately 2007 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sawyer has been

eligible to receive overtime pay under the FLSA because Sawyer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5698. Plaintiff Justin Schatzer is an individual residing in Michigan. Schatzer worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Schatzer has been

eligible to receive overtime pay under the FLSA because Schatzer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5699. Plaintiff Susan Scheid is an individual residing in Michigan. Scheid worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Scheid has been

eligible to receive overtime pay under the FLSA because Scheid has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1557
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1558 of 3128




        5700. Plaintiff Peter Scheid is an individual residing in Michigan. Scheid worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Scheid has been

eligible to receive overtime pay under the FLSA because Scheid has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5701. Plaintiff Michael Schinco is an individual residing in Michigan. Schinco worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Schinco has been eligible to receive overtime pay

under the FLSA because Schinco has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5702. Plaintiff Adam Schuster is an individual residing in Michigan. Schuster worked as

a delivery driver for FedEx in Michigan from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Schuster has been

eligible to receive overtime pay under the FLSA because Schuster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5703. Plaintiff Larry Schutze is an individual residing in Michigan. Schutze worked as a

delivery driver for FedEx in Michigan from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Schutze has been

eligible to receive overtime pay under the FLSA because Schutze has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1558
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1559 of 3128




        5704. Plaintiff Melanie Sheldon is an individual residing in Michigan. Sheldon worked

as a delivery driver for FedEx in Michigan from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sheldon has been

eligible to receive overtime pay under the FLSA because Sheldon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5705. Plaintiff Gregory Shields is an individual residing in Michigan. Shields worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Shields has been

eligible to receive overtime pay under the FLSA because Shields has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5706. Plaintiff Timothy Shilling is an individual residing in Michigan. Shilling worked

as a delivery driver for FedEx in Michigan from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Shilling has been

eligible to receive overtime pay under the FLSA because Shilling has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5707. Plaintiff Willie Shorter is an individual residing in Michigan. Shorter worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Shorter has been

eligible to receive overtime pay under the FLSA because Shorter has driven a vehicle weighing




                                              1559
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1560 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5708. Plaintiff Melissa Siegel is an individual residing in Michigan. Siegel worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Siegel has been

eligible to receive overtime pay under the FLSA because Siegel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5709. Plaintiff Ronald Simpson is an individual residing in Michigan. Simpson worked

as a delivery driver for FedEx in Michigan from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Simpson has been

eligible to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5710. Plaintiff Johnathon Simpson is an individual residing in Michigan. Simpson

worked as a delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Simpson

has been eligible to receive overtime pay under the FLSA because Simpson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5711. Plaintiff Karl Sims is an individual residing in Michigan. Sims worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been



                                              1560
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1561 of 3128




eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5712. Plaintiff Robert Smagghe is an individual residing in Michigan. Smagghe worked

as a delivery driver for FedEx in Michigan from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smagghe has been

eligible to receive overtime pay under the FLSA because Smagghe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5713. Plaintiff Matthew Smith-Dougherty is an individual residing in Michigan. Smith-

Dougherty worked as a delivery driver for FedEx in Michigan but was employed through

intermediary entities that FedEx calls independent service providers. Smith-Dougherty has been

eligible to receive overtime pay under the FLSA because Smith-Dougherty has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5714. Plaintiff Alec Smythe is an individual residing in Michigan. Smythe worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smythe has been

eligible to receive overtime pay under the FLSA because Smythe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5715. Plaintiff Matthew Snarey is an individual residing in Michigan. Snarey worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed



                                             1561
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1562 of 3128




through intermediary entities that FedEx calls independent service providers. Snarey has been

eligible to receive overtime pay under the FLSA because Snarey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5716. Plaintiff Clayton Snider is an individual residing in Michigan. Snider worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Snider has been

eligible to receive overtime pay under the FLSA because Snider has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5717. Plaintiff George Spasovski is an individual residing in Michigan. Spasovski

worked as a delivery driver for FedEx in Michigan from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Spasovski has been eligible to receive overtime pay under the FLSA because Spasovski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5718. Plaintiff Christopher Spreeman is an individual residing in Michigan. Spreeman

worked as a delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Spreeman has been eligible to receive overtime pay under the FLSA because Spreeman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              1562
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1563 of 3128




        5719. Plaintiff Kathleen Steffens is an individual residing in Michigan. Steffens worked

as a delivery driver for FedEx in Michigan from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Steffens has been

eligible to receive overtime pay under the FLSA because Steffens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5720. Plaintiff Nicholas Stephens is an individual residing in Michigan. Stephens

worked as a delivery driver for FedEx in Michigan from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Stephens

has been eligible to receive overtime pay under the FLSA because Stephens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5721. Plaintiff Justin Stephenson is an individual residing in Michigan. Stephenson

worked as a delivery driver for FedEx in Michigan from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Stephenson has been eligible to receive overtime pay under the FLSA because Stephenson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5722. Plaintiff Charles Stewart is an individual residing in Michigan. Stewart worked as

a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Stewart has been eligible to receive overtime pay

under the FLSA because Stewart has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1563
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1564 of 3128




        5723. Plaintiff Dwain Stiers is an individual residing in Michigan. Stiers worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Stiers has been eligible to receive overtime pay under

the FLSA because Stiers has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5724. Plaintiff Joe Stiles is an individual residing in Michigan. Stiles worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Stiles has been

eligible to receive overtime pay under the FLSA because Stiles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5725. Plaintiff Frank Strickland is an individual residing in North Carolina. Strickland

worked as a delivery driver for FedEx in Michigan from approximately 2022 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Strickland has been eligible to receive overtime pay under the FLSA because Strickland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5726. Plaintiff Julian Suero is an individual residing in Michigan. Suero worked as a

delivery driver for FedEx in Michigan from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Suero has been

eligible to receive overtime pay under the FLSA because Suero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1564
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1565 of 3128




        5727. Plaintiff Romello Suiter is an individual residing in Michigan. Suiter worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Suiter has been

eligible to receive overtime pay under the FLSA because Suiter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5728. Plaintiff Jason Swart is an individual residing in Michigan. Swart worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Swart has been

eligible to receive overtime pay under the FLSA because Swart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5729. Plaintiff Simone Talton is an individual residing in Michigan. Talton worked as a

delivery driver for FedEx in Michigan and Georgia from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Talton

has been eligible to receive overtime pay under the FLSA because Talton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5730. Plaintiff Daniel Tavoularis is an individual residing in Michigan. Tavoularis

worked as a delivery driver for FedEx in Michigan from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Tavoularis has been eligible to receive overtime pay under the FLSA because Tavoularis has




                                              1565
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1566 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5731. Plaintiff Nathaniel Taylor is an individual residing in Michigan. Taylor worked as

a delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5732. Plaintiff Jasmine Taylor is an individual residing in Michigan. Taylor worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5733. Plaintiff Ashlee Thayer is an individual residing in Michigan. Thayer worked as a

delivery driver for FedEx in Michigan from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thayer has been

eligible to receive overtime pay under the FLSA because Thayer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5734. Plaintiff Brandon Thomas is an individual residing in Michigan. Thomas worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Thomas has been eligible to receive overtime pay




                                              1566
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1567 of 3128




under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       5735. Plaintiff Patrick Thompson is an individual residing in Michigan. Thompson

worked as a delivery driver for FedEx in Michigan from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       5736. Plaintiff Trevor Timmreck is an individual residing in Michigan. Timmreck

worked as a delivery driver for FedEx in Michigan but was employed through intermediary

entities that FedEx calls independent service providers. Timmreck has been eligible to receive

overtime pay under the FLSA because Timmreck has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5737. Plaintiff Joshua Tines is an individual residing in Michigan. Tines worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Tines has been eligible to receive overtime pay under

the FLSA because Tines has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       5738. Plaintiff Cole Tomlinson is an individual residing in Michigan. Tomlinson

worked as a delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Tomlinson has been eligible to receive overtime pay under the FLSA because Tomlinson has




                                              1567
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1568 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5739. Plaintiff Damarious Triplett is an individual residing in Michigan. Triplett worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Triplett has been eligible to receive overtime pay

under the FLSA because Triplett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5740. Plaintiff Brian Turner is an individual residing in Michigan. Turner worked as a

delivery driver for FedEx in Michigan from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5741. Plaintiff John Umfleet is an individual residing in Michigan. Umfleet worked as a

delivery driver for FedEx in Michigan from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Umfleet has been

eligible to receive overtime pay under the FLSA because Umfleet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5742. Plaintiff Lucas Valkema is an individual residing in Michigan. Valkema worked

as a delivery driver for FedEx in Michigan from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Valkema has been

eligible to receive overtime pay under the FLSA because Valkema has driven a vehicle weighing



                                              1568
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1569 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5743. Plaintiff David Vann is an individual residing in Michigan. Vann worked as a

delivery driver for FedEx in Michigan from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Vann has been

eligible to receive overtime pay under the FLSA because Vann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5744. Plaintiff Kelly Veenstra is an individual residing in Michigan. Veenstra worked as

a delivery driver for FedEx in Michigan from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Veenstra has been

eligible to receive overtime pay under the FLSA because Veenstra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5745. Plaintiff Christopher Walker is an individual residing in Michigan. Walker

worked as a delivery driver for FedEx in Michigan from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Walker

has been eligible to receive overtime pay under the FLSA because Walker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5746. Plaintiff Jason Warner is an individual residing in Michigan. Warner worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Warner has been



                                             1569
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1570 of 3128




eligible to receive overtime pay under the FLSA because Warner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5747. Plaintiff Joseph Warnock is an individual residing in Michigan. Warnock worked

as a delivery driver for FedEx in Michigan from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Warnock has been

eligible to receive overtime pay under the FLSA because Warnock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5748. Plaintiff David Washington is an individual residing in Michigan. Washington

worked as a delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5749. Plaintiff Lawrence Watkins is an individual residing in Michigan. Watkins

worked as a delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Watkins

has been eligible to receive overtime pay under the FLSA because Watkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5750. Plaintiff April Wells is an individual residing in Michigan. Wells worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2018 but was employed



                                              1570
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1571 of 3128




through intermediary entities that FedEx calls independent service providers. Wells has been

eligible to receive overtime pay under the FLSA because Wells has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5751. Plaintiff Shayne Wesley is an individual residing in Michigan. Wesley worked as

a delivery driver for FedEx in Michigan from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wesley has been

eligible to receive overtime pay under the FLSA because Wesley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5752. Plaintiff Tyler White is an individual residing in Michigan. White worked as a

delivery driver for FedEx in Michigan from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5753. Plaintiff Ricardo White is an individual residing in Michigan. White worked as a

delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5754. Plaintiff Steven Whitehead is an individual residing in Michigan. Whitehead

worked as a delivery driver for FedEx in Michigan from approximately 2015 to 2016 but was



                                             1571
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1572 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Whitehead has been eligible to receive overtime pay under the FLSA because Whitehead has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       5755. Plaintiff Jenifer Wiinamaki-Carver is an individual residing in Michigan.

Wiinamaki-Carver worked as a delivery driver for FedEx in Michigan from approximately 2016

to 2019 but was employed through intermediary entities that FedEx calls independent service

providers. Wiinamaki-Carver has been eligible to receive overtime pay under the FLSA because

Wiinamaki-Carver has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       5756. Plaintiff Maryeileen Wilkewitz is an individual residing in Michigan. Wilkewitz

worked as a delivery driver for FedEx in Michigan from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Wilkewitz has been eligible to receive overtime pay under the FLSA because Wilkewitz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       5757. Plaintiff Dave Williams is an individual residing in Michigan. Williams worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       5758. Plaintiff Larry Williams is an individual residing in Michigan. Williams worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that



                                             1572
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1573 of 3128




FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5759. Plaintiff Jay Williams is an individual residing in Michigan. Williams worked as a

delivery driver for FedEx in Michigan from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5760. Plaintiff Ricci Williams is an individual residing in Michigan. Williams worked

as a delivery driver for FedEx in Michigan but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5761. Plaintiff Mychal Williams is an individual residing in Michigan. Williams worked

as a delivery driver for FedEx in Michigan from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5762. Plaintiff Ray Williamson is an individual residing in Michigan. Williamson

worked as a delivery driver for FedEx in Michigan from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             1573
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1574 of 3128




Williamson has been eligible to receive overtime pay under the FLSA because Williamson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5763. Plaintiff Paul Wilson is an individual residing in Michigan. Wilson worked as a

delivery driver for FedEx in Michigan from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5764. Plaintiff Troy Winchel is an individual residing in Michigan. Winchel worked as

a delivery driver for FedEx in Michigan from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Winchel has been

eligible to receive overtime pay under the FLSA because Winchel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5765. Plaintiff Kevin Wright is an individual residing in Michigan. Wright worked as a

delivery driver for FedEx in Michigan from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5766. Plaintiff Christopher York is an individual residing in Michigan. York worked as

a delivery driver for FedEx in Michigan from approximately 2016 to 2017 but was employed



                                             1574
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1575 of 3128




through intermediary entities that FedEx calls independent service providers. York has been

eligible to receive overtime pay under the FLSA because York has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5767. Plaintiff Armando Zamora is an individual residing in Michigan. Zamora worked

as a delivery driver for FedEx in Michigan from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Zamora has been

eligible to receive overtime pay under the FLSA because Zamora has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5768. Plaintiff Michael Aase is an individual residing in Minnesota. Aase worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Aase has been

eligible to receive overtime pay under the FLSA because Aase has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5769. Plaintiff Amjad Ahmed is an individual residing in Minnesota. Ahmed worked as

a delivery driver for FedEx in Minnesota from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ahmed has been

eligible to receive overtime pay under the FLSA because Ahmed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1575
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1576 of 3128




        5770. Plaintiff Jose Amador is an individual residing in Minnesota. Amador worked as a

delivery driver for FedEx in Minnesota from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Amador has been

eligible to receive overtime pay under the FLSA because Amador has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5771. Plaintiff Josh Anderson is an individual residing in Minnesota. Anderson worked

as a delivery driver for FedEx in Minnesota from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5772. Plaintiff John Armendariz is an individual residing in Minnesota. Armendariz

worked as a delivery driver for FedEx in Minnesota from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Armendariz has been eligible to receive overtime pay under the FLSA because Armendariz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5773. Plaintiff Michael Austin is an individual residing in Minnesota. Austin worked as

a delivery driver for FedEx in Minnesota from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Austin has been

eligible to receive overtime pay under the FLSA because Austin has driven a vehicle weighing




                                             1576
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1577 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5774. Plaintiff Edmond Awaijane is an individual residing in Minnesota. Awaijane

worked as a delivery driver for FedEx in Minnesota from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Awaijane has been eligible to receive overtime pay under the FLSA because Awaijane has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5775. Plaintiff Ryan Bachand is an individual residing in Minnesota. Bachand worked

as a delivery driver for FedEx in Minnesota from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bachand has been

eligible to receive overtime pay under the FLSA because Bachand has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5776. Plaintiff Mark Barrows is an individual residing in Minnesota. Barrows worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Barrows has been eligible to receive overtime pay

under the FLSA because Barrows has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5777. Plaintiff Jason Blackford is an individual residing in Minnesota. Blackford

worked as a delivery driver for FedEx in Minnesota from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Blackford has been eligible to receive overtime pay under the FLSA because Blackford has



                                              1577
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1578 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5778. Plaintiff Ian Boyd is an individual residing in Kentucky. Boyd worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Boyd has been

eligible to receive overtime pay under the FLSA because Boyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5779. Plaintiff Anthony Bradley is an individual residing in Minnesota. Bradley worked

as a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Bradley has been eligible to receive overtime pay

under the FLSA because Bradley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5780. Plaintiff Tyler Brockway is an individual residing in Minnesota. Brockway

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Brockway has been eligible to receive

overtime pay under the FLSA because Brockway has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5781. Plaintiff Nuri Brytowski is an individual residing in Minnesota. Brytowski

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Brytowski has been eligible to receive

overtime pay under the FLSA because Brytowski has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1578
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1579 of 3128




        5782. Plaintiff Mark Bugni is an individual residing in Minnesota. Bugni worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bugni has been

eligible to receive overtime pay under the FLSA because Bugni has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5783. Plaintiff Hector Calvo Camacho is an individual residing in Minnesota. Calvo

Camacho worked as a delivery driver for FedEx in Minnesota from approximately 2015 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Calvo Camacho has been eligible to receive overtime pay under the FLSA because Calvo

Camacho has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        5784. Plaintiff Troy Carlson is an individual residing in Minnesota. Carlson worked as a

delivery driver for FedEx in Minnesota from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Carlson has been

eligible to receive overtime pay under the FLSA because Carlson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5785. Plaintiff Nathanial Caza is an individual residing in Minnesota. Caza worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Caza has been

eligible to receive overtime pay under the FLSA because Caza has driven a vehicle weighing less




                                              1579
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1580 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5786. Plaintiff Steven Cole is an individual residing in Missouri. Cole worked as a

delivery driver for FedEx in Minnesota and Missouri from approximately 2013 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Cole has

been eligible to receive overtime pay under the FLSA because Cole has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5787. Plaintiff Steven Collazo is an individual residing in Minnesota. Collazo worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Collazo has been eligible to receive overtime pay

under the FLSA because Collazo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5788. Plaintiff Antonio Collodoro is an individual residing in Minnesota. Collodoro

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Collodoro has been eligible to receive

overtime pay under the FLSA because Collodoro has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5789. Plaintiff Jay Cramer is an individual residing in Minnesota. Cramer worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Cramer has been eligible to receive overtime pay

under the FLSA because Cramer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1580
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1581 of 3128




        5790. Plaintiff Tyler Cullen is an individual residing in Minnesota. Cullen worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cullen has been

eligible to receive overtime pay under the FLSA because Cullen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5791. Plaintiff John Davis is an individual residing in North Carolina. Davis worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5792. Plaintiff Dustin Dorr is an individual residing in Minnesota. Dorr worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Dorr has been eligible to receive overtime pay under

the FLSA because Dorr has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5793. Plaintiff Joseph Duevel is an individual residing in Minnesota. Duevel worked as

a delivery driver for FedEx in Minnesota from approximately 1999 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Duevel has been

eligible to receive overtime pay under the FLSA because Duevel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1581
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1582 of 3128




        5794. Plaintiff Matthias Duevel is an individual residing in Minnesota. Duevel worked

as a delivery driver for FedEx in Minnesota from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Duevel has been

eligible to receive overtime pay under the FLSA because Duevel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5795. Plaintiff Eben Dundas is an individual residing in Minnesota. Dundas worked as a

delivery driver for FedEx in Minnesota from approximately 2002 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Dundas has been

eligible to receive overtime pay under the FLSA because Dundas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5796. Plaintiff Fahad Dunkal is an individual residing in Minnesota. Dunkal worked as

a delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dunkal has been

eligible to receive overtime pay under the FLSA because Dunkal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5797. Plaintiff Tamika Dyer is an individual residing in Minnesota. Dyer worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dyer has been

eligible to receive overtime pay under the FLSA because Dyer has driven a vehicle weighing less




                                             1582
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1583 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5798. Plaintiff Luther Ehlenz is an individual residing in Minnesota. Ehlenz worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ehlenz has been

eligible to receive overtime pay under the FLSA because Ehlenz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5799. Plaintiff Reda Elsayed is an individual residing in Minnesota. Elsayed worked as

a delivery driver for FedEx in Minnesota from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Elsayed has been

eligible to receive overtime pay under the FLSA because Elsayed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5800. Plaintiff Matthew Engebos is an individual residing in Minnesota. Engebos

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Engebos has been eligible to receive

overtime pay under the FLSA because Engebos has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5801. Plaintiff Tevin Fair is an individual residing in Minnesota. Fair worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fair has been

eligible to receive overtime pay under the FLSA because Fair has driven a vehicle weighing less



                                              1583
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1584 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5802. Plaintiff Rodrigo Fernandez is an individual residing in Minnesota. Fernandez

worked as a delivery driver for FedEx in Minnesota from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Fernandez has been eligible to receive overtime pay under the FLSA because Fernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5803. Plaintiff Anthony Frich is an individual residing in Minnesota. Frich worked as a

delivery driver for FedEx in Minnesota from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Frich has been

eligible to receive overtime pay under the FLSA because Frich has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5804. Plaintiff Ali Gibril is an individual residing in Minnesota. Gibril worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gibril has been

eligible to receive overtime pay under the FLSA because Gibril has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5805. Plaintiff Justin Golden is an individual residing in Minnesota. Golden worked as a

delivery driver for FedEx in Minnesota from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Golden has been



                                               1584
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1585 of 3128




eligible to receive overtime pay under the FLSA because Golden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5806. Plaintiff John Gonyea is an individual residing in Minnesota. Gonyea worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Gonyea has been eligible to receive overtime pay

under the FLSA because Gonyea has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5807. Plaintiff Eric Gordon is an individual residing in Minnesota. Gordon worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5808. Plaintiff Roger Gradine is an individual residing in Minnesota. Gradine worked as

a delivery driver for FedEx in Minnesota from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gradine has been

eligible to receive overtime pay under the FLSA because Gradine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5809. Plaintiff Jamie Graning is an individual residing in Minnesota. Graning worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Graning has been eligible to receive overtime pay



                                             1585
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1586 of 3128




under the FLSA because Graning has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       5810. Plaintiff Brett Guidry is an individual residing in Minnesota. Guidry worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Guidry has been eligible to receive overtime pay

under the FLSA because Guidry has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       5811. Plaintiff Andrew Hemmelgarn is an individual residing in Florida. Hemmelgarn

worked as a delivery driver for FedEx in Minnesota from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Hemmelgarn has been eligible to receive overtime pay under the FLSA because Hemmelgarn

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       5812. Plaintiff Dennis Hemminger is an individual residing in Texas. Hemminger

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Hemminger has been eligible to receive

overtime pay under the FLSA because Hemminger has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5813. Plaintiff Erik Hite is an individual residing in Minnesota. Hite worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hite has been

eligible to receive overtime pay under the FLSA because Hite has driven a vehicle weighing less




                                              1586
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1587 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5814. Plaintiff Todd Holmes is an individual residing in Minnesota. Holmes worked as

a delivery driver for FedEx in Minnesota from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Holmes has been

eligible to receive overtime pay under the FLSA because Holmes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5815. Plaintiff James Houlehan is an individual residing in Minnesota. Houlehan

worked as a delivery driver for FedEx in Minnesota from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Houlehan has been eligible to receive overtime pay under the FLSA because Houlehan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5816. Plaintiff Kenneth Houser is an individual residing in Minnesota. Houser worked

as a delivery driver for FedEx in Minnesota from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Houser has been

eligible to receive overtime pay under the FLSA because Houser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5817. Plaintiff Joshua Houston is an individual residing in Minnesota. Houston worked

as a delivery driver for FedEx in Minnesota from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Houston has been



                                             1587
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1588 of 3128




eligible to receive overtime pay under the FLSA because Houston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5818. Plaintiff Darris Howard is an individual residing in Minnesota. Howard worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Howard has been eligible to receive overtime pay

under the FLSA because Howard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5819. Plaintiff Ercan Intepe is an individual residing in Minnesota. Intepe worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Intepe has been eligible to receive overtime pay

under the FLSA because Intepe has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5820. Plaintiff Jessie Jacobson is an individual residing in Minnesota. Jacobson worked

as a delivery driver for FedEx in Minnesota from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jacobson has been

eligible to receive overtime pay under the FLSA because Jacobson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5821. Plaintiff Benjamin Johnson is an individual residing in Minnesota. Johnson

worked as a delivery driver for FedEx in Minnesota from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle



                                              1588
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1589 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5822. Plaintiff Laye Kaba is an individual residing in Minnesota. Kaba worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Kaba has been eligible to receive overtime pay under

the FLSA because Kaba has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5823. Plaintiff Curtis King-Jr is an individual residing in Wisconsin. King-Jr worked as

a delivery driver for FedEx in Minnesota and Wisconsin from approximately 2007 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

King-Jr has been eligible to receive overtime pay under the FLSA because King-Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5824. Plaintiff Andrew Kodet is an individual residing in Minnesota. Kodet worked as a

delivery driver for FedEx in Minnesota from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kodet has been

eligible to receive overtime pay under the FLSA because Kodet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5825. Plaintiff Nicholas Koskela is an individual residing in Minnesota. Koskela

worked as a delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Koskela

has been eligible to receive overtime pay under the FLSA because Koskela has driven a vehicle



                                              1589
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1590 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5826. Plaintiff William Krause is an individual residing in Minnesota. Krause worked as

a delivery driver for FedEx in Minnesota from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Krause has been

eligible to receive overtime pay under the FLSA because Krause has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5827. Plaintiff Ryan Kuepers is an individual residing in Minnesota. Kuepers worked as

a delivery driver for FedEx in Minnesota from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Kuepers has been

eligible to receive overtime pay under the FLSA because Kuepers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5828. Plaintiff Jerrett Lampley-Foster is an individual residing in Minnesota. Lampley-

Foster worked as a delivery driver for FedEx in Minnesota from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Lampley-Foster has been eligible to receive overtime pay under the FLSA because Lampley-

Foster has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        5829. Plaintiff Christopher Laposky is an individual residing in Minnesota. Laposky

worked as a delivery driver for FedEx in Minnesota from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Laposky



                                              1590
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1591 of 3128




has been eligible to receive overtime pay under the FLSA because Laposky has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5830. Plaintiff Andrew Larson is an individual residing in Colorado. Larson worked as a

delivery driver for FedEx in Minnesota from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Larson has been

eligible to receive overtime pay under the FLSA because Larson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5831. Plaintiff Andrew Leishman is an individual residing in Minnesota. Leishman

worked as a delivery driver for FedEx in Minnesota from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Leishman has been eligible to receive overtime pay under the FLSA because Leishman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5832. Plaintiff Margaret Lichy is an individual residing in Minnesota. Lichy worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Lichy has been eligible to receive overtime pay under

the FLSA because Lichy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5833. Plaintiff Curtis Louks is an individual residing in Minnesota. Louks worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Louks has been



                                             1591
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1592 of 3128




eligible to receive overtime pay under the FLSA because Louks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5834. Plaintiff Walter Lubinski is an individual residing in Minnesota. Lubinski worked

as a delivery driver for FedEx in Minnesota from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lubinski has been

eligible to receive overtime pay under the FLSA because Lubinski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5835. Plaintiff Ghetro Lucien is an individual residing in Florida. Lucien worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Lucien has been eligible to receive overtime pay

under the FLSA because Lucien has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5836. Plaintiff Mark Maccallum is an individual residing in Minnesota. Maccallum

worked as a delivery driver for FedEx in Minnesota from approximately 2003 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Maccallum has been eligible to receive overtime pay under the FLSA because Maccallum has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5837. Plaintiff Patrick Martin is an individual residing in Minnesota. Martin worked as a

delivery driver for FedEx in Minnesota from approximately 2005 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been



                                              1592
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1593 of 3128




eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5838. Plaintiff Rene Martinez is an individual residing in Minnesota. Martinez worked

as a delivery driver for FedEx in Minnesota from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5839. Plaintiff Darion Mcdowell is an individual residing in Washington. Mcdowell

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Mcdowell has been eligible to receive

overtime pay under the FLSA because Mcdowell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5840. Plaintiff Gerald Mckenna is an individual residing in Minnesota. Mckenna

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Mckenna has been eligible to receive

overtime pay under the FLSA because Mckenna has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5841. Plaintiff Jonatan Medina is an individual residing in Minnesota. Medina worked

as a delivery driver for FedEx in Minnesota from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Medina has been

eligible to receive overtime pay under the FLSA because Medina has driven a vehicle weighing



                                              1593
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1594 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5842. Plaintiff Daniel Michaud is an individual residing in Minnesota. Michaud worked

as a delivery driver for FedEx in Minnesota from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Michaud has been

eligible to receive overtime pay under the FLSA because Michaud has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5843. Plaintiff Rico Miles is an individual residing in Minnesota. Miles worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Miles has been

eligible to receive overtime pay under the FLSA because Miles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5844. Plaintiff Scott Moore is an individual residing in Wisconsin. Moore worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Moore has been eligible to receive overtime pay

under the FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5845. Plaintiff Matthew Moua is an individual residing in Minnesota. Moua worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Moua has been

eligible to receive overtime pay under the FLSA because Moua has driven a vehicle weighing



                                              1594
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1595 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5846. Plaintiff Benjamin Neibaur is an individual residing in Minnesota. Neibaur

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Neibaur has been eligible to receive

overtime pay under the FLSA because Neibaur has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5847. Plaintiff Chad Nelson is an individual residing in Minnesota. Nelson worked as a

delivery driver for FedEx in Minnesota from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5848. Plaintiff Aaron Nordby is an individual residing in Minnesota. Nordby worked as

a delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nordby has been

eligible to receive overtime pay under the FLSA because Nordby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5849. Plaintiff Apny Omol is an individual residing in Minnesota. Omol worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Omol has been

eligible to receive overtime pay under the FLSA because Omol has driven a vehicle weighing



                                              1595
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1596 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5850. Plaintiff James Pavel is an individual residing in Minnesota. Pavel worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pavel has been

eligible to receive overtime pay under the FLSA because Pavel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5851. Plaintiff Brek Perry is an individual residing in Minnesota. Perry worked as a

delivery driver for FedEx in Minnesota from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5852. Plaintiff Thonglith Phouthavongsay is an individual residing in Minnesota.

Phouthavongsay worked as a delivery driver for FedEx in Minnesota from approximately 2012

to 2017 but was employed through intermediary entities that FedEx calls independent service

providers. Phouthavongsay has been eligible to receive overtime pay under the FLSA because

Phouthavongsay has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5853. Plaintiff Bruce Pierson is an individual residing in Minnesota. Pierson worked as

a delivery driver for FedEx in Minnesota from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pierson has been



                                              1596
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1597 of 3128




eligible to receive overtime pay under the FLSA because Pierson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5854. Plaintiff Austin Pollock is an individual residing in Minnesota. Pollock worked as

a delivery driver for FedEx in Minnesota from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pollock has been

eligible to receive overtime pay under the FLSA because Pollock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5855. Plaintiff Christopher Powell is an individual residing in Louisiana. Powell worked

as a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Powell has been eligible to receive overtime pay

under the FLSA because Powell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5856. Plaintiff Randy Ramsdell is an individual residing in Minnesota. Ramsdell

worked as a delivery driver for FedEx in Minnesota from approximately 2007 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Ramsdell has been eligible to receive overtime pay under the FLSA because Ramsdell has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5857. Plaintiff David Regan is an individual residing in Minnesota. Regan worked as a

delivery driver for FedEx in Minnesota from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Regan has been



                                              1597
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1598 of 3128




eligible to receive overtime pay under the FLSA because Regan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5858. Plaintiff Ferdinand Rieck is an individual residing in Minnesota. Rieck worked as

a delivery driver for FedEx in Minnesota from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rieck has been

eligible to receive overtime pay under the FLSA because Rieck has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5859. Plaintiff Manuel Riera Velez Jr is an individual residing in Minnesota. Riera

Velez Jr worked as a delivery driver for FedEx in Minnesota from approximately 2017 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Riera Velez Jr has been eligible to receive overtime pay under the FLSA because Riera Velez Jr

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5860. Plaintiff Kent Roth is an individual residing in Minnesota. Roth worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Roth has been

eligible to receive overtime pay under the FLSA because Roth has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5861. Plaintiff Steven Sandtorf is an individual residing in Georgia. Sandtorf worked as

a delivery driver for FedEx in Minnesota from approximately 2019 to 2021 but was employed



                                              1598
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1599 of 3128




through intermediary entities that FedEx calls independent service providers. Sandtorf has been

eligible to receive overtime pay under the FLSA because Sandtorf has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5862. Plaintiff Jamie Sargent is an individual residing in Minnesota. Sargent worked as

a delivery driver for FedEx in Minnesota from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sargent has been

eligible to receive overtime pay under the FLSA because Sargent has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5863. Plaintiff Travis Scepaniak is an individual residing in Minnesota. Scepaniak

worked as a delivery driver for FedEx in Minnesota from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Scepaniak has been eligible to receive overtime pay under the FLSA because Scepaniak has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5864. Plaintiff Theodore Schotzko is an individual residing in Minnesota. Schotzko

worked as a delivery driver for FedEx in Minnesota from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Schotzko

has been eligible to receive overtime pay under the FLSA because Schotzko has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1599
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1600 of 3128




        5865. Plaintiff Shane Scott is an individual residing in Minnesota. Scott worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Scott has been eligible to receive overtime pay under

the FLSA because Scott has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5866. Plaintiff Paul Sistad is an individual residing in Utah. Sistad worked as a delivery

driver for FedEx in Minnesota but was employed through intermediary entities that FedEx calls

independent service providers. Sistad has been eligible to receive overtime pay under the FLSA

because Sistad has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5867. Plaintiff Barry Slagter is an individual residing in Minnesota. Slagter worked as a

delivery driver for FedEx in Minnesota from approximately 1996 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Slagter has been

eligible to receive overtime pay under the FLSA because Slagter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5868. Plaintiff Mohamed Soumah is an individual residing in Minnesota. Soumah

worked as a delivery driver for FedEx in Minnesota from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Soumah

has been eligible to receive overtime pay under the FLSA because Soumah has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               1600
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1601 of 3128




        5869. Plaintiff Donald Stafki is an individual residing in Minnesota. Stafki worked as a

delivery driver for FedEx in Minnesota from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stafki has been

eligible to receive overtime pay under the FLSA because Stafki has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5870. Plaintiff Shawn Stegner is an individual residing in Minnesota. Stegner worked as

a delivery driver for FedEx in Minnesota from approximately 2004 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Stegner has been

eligible to receive overtime pay under the FLSA because Stegner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5871. Plaintiff Paul Stewart is an individual residing in Florida. Stewart worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5872. Plaintiff Mike Stipe is an individual residing in Minnesota. Stipe worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Stipe has been eligible to receive overtime pay under

the FLSA because Stipe has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              1601
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1602 of 3128




        5873. Plaintiff Brock Stout is an individual residing in Missouri. Stout worked as a

delivery driver for FedEx in Minnesota from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Stout has been

eligible to receive overtime pay under the FLSA because Stout has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5874. Plaintiff Brian Swanson is an individual residing in Minnesota. Swanson worked

as a delivery driver for FedEx in Minnesota from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Swanson has been

eligible to receive overtime pay under the FLSA because Swanson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5875. Plaintiff Larry Thieman is an individual residing in Minnesota. Thieman worked

as a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Thieman has been eligible to receive overtime pay

under the FLSA because Thieman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5876. Plaintiff Patrick Tierney is an individual residing in Minnesota. Tierney worked

as a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Tierney has been eligible to receive overtime pay

under the FLSA because Tierney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1602
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1603 of 3128




        5877. Plaintiff Christopher Tikalsky is an individual residing in Minnesota. Tikalsky

worked as a delivery driver for FedEx in Minnesota from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Tikalsky

has been eligible to receive overtime pay under the FLSA because Tikalsky has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5878. Plaintiff Steven Triebernig is an individual residing in Minnesota. Triebernig

worked as a delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Triebernig has been eligible to receive overtime pay under the FLSA because Triebernig has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5879. Plaintiff Batsaikhan Usukh is an individual residing in Arizona. Usukh worked as

a delivery driver for FedEx in Minnesota from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Usukh has been

eligible to receive overtime pay under the FLSA because Usukh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5880. Plaintiff Meng Vang is an individual residing in Minnesota. Vang worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Vang has been

eligible to receive overtime pay under the FLSA because Vang has driven a vehicle weighing




                                              1603
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1604 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5881. Plaintiff Tina Varchminn is an individual residing in Minnesota. Varchminn

worked as a delivery driver for FedEx in Minnesota but was employed through intermediary

entities that FedEx calls independent service providers. Varchminn has been eligible to receive

overtime pay under the FLSA because Varchminn has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5882. Plaintiff Alexander Vasko is an individual residing in Minnesota. Vasko worked

as a delivery driver for FedEx in Minnesota from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vasko has been

eligible to receive overtime pay under the FLSA because Vasko has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5883. Plaintiff Jeffrey Vonasek is an individual residing in Minnesota. Vonasek worked

as a delivery driver for FedEx in Minnesota from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Vonasek has been

eligible to receive overtime pay under the FLSA because Vonasek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5884. Plaintiff Kerry Ward is an individual residing in Minnesota. Ward worked as a

delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing



                                              1604
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1605 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5885. Plaintiff Kyle Werner is an individual residing in Michigan. Werner worked as a

delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Werner has been

eligible to receive overtime pay under the FLSA because Werner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5886. Plaintiff Derek Wonsmos is an individual residing in Minnesota. Wonsmos

worked as a delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Wonsmos has been eligible to receive overtime pay under the FLSA because Wonsmos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5887. Plaintiff Aaron Wrobel is an individual residing in Minnesota. Wrobel worked as

a delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Wrobel has been eligible to receive overtime pay

under the FLSA because Wrobel has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5888. Plaintiff Chuefing Xiong is an individual residing in Minnesota. Xiong worked as

a delivery driver for FedEx in Minnesota from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Xiong has been

eligible to receive overtime pay under the FLSA because Xiong has driven a vehicle weighing



                                             1605
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1606 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5889. Plaintiff Lia Yang is an individual residing in Minnesota. Yang worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Yang has been eligible to receive overtime pay under

the FLSA because Yang has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5890. Plaintiff Arnold Yang is an individual residing in Minnesota. Yang worked as a

delivery driver for FedEx in Minnesota from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Yang has been

eligible to receive overtime pay under the FLSA because Yang has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5891. Plaintiff Xang Yang is an individual residing in Minnesota. Yang worked as a

delivery driver for FedEx in Minnesota from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Yang has been

eligible to receive overtime pay under the FLSA because Yang has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5892. Plaintiff Arola Yang is an individual residing in Minnesota. Yang worked as a

delivery driver for FedEx in Minnesota but was employed through intermediary entities that

FedEx calls independent service providers. Yang has been eligible to receive overtime pay under




                                             1606
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1607 of 3128




the FLSA because Yang has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5893. Plaintiff Dzmitryi Zimnitski is an individual residing in Minnesota. Zimnitski

worked as a delivery driver for FedEx in Minnesota from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Zimnitski has been eligible to receive overtime pay under the FLSA because Zimnitski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5894. Plaintiff Jamaal Adams is an individual residing in Mississippi. Adams worked as

a delivery driver for FedEx in Mississippi from approximately 2007 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5895. Plaintiff Richard Adams is an individual residing in Mississippi. Adams worked

as a delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Adams

has been eligible to receive overtime pay under the FLSA because Adams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5896. Plaintiff Raleigh Ainsworth is an individual residing in Mississippi. Ainsworth

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1607
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1608 of 3128




Ainsworth has been eligible to receive overtime pay under the FLSA because Ainsworth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5897. Plaintiff Jimmie Akins is an individual residing in Mississippi. Akins worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Akins has been eligible to receive overtime pay under

the FLSA because Akins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5898. Plaintiff Eric Alford is an individual residing in Mississippi. Alford worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Alford has been

eligible to receive overtime pay under the FLSA because Alford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5899. Plaintiff Shannita Allen is an individual residing in Mississippi. Allen worked as a

delivery driver for FedEx in Mississippi from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5900. Plaintiff Kourtknie Amillidreem is an individual residing in Mississippi.

Amillidreem worked as a delivery driver for FedEx in Mississippi from approximately 2016 to

2023 but was employed through intermediary entities that FedEx calls independent service



                                              1608
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1609 of 3128




providers. Amillidreem has been eligible to receive overtime pay under the FLSA because

Amillidreem has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5901. Plaintiff Sherman Amos is an individual residing in Mississippi. Amos worked as

a delivery driver for FedEx in Mississippi from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Amos has been

eligible to receive overtime pay under the FLSA because Amos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5902. Plaintiff Joseph Arabshahi is an individual residing in Mississippi. Arabshahi

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Arabshahi has been eligible to receive

overtime pay under the FLSA because Arabshahi has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5903. Plaintiff Jasmine Aytch is an individual residing in Mississippi. Aytch worked as

a delivery driver for FedEx in Mississippi from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Aytch has been

eligible to receive overtime pay under the FLSA because Aytch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5904. Plaintiff Deneice Bailey is an individual residing in Mississippi. Bailey worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Bailey has been eligible to receive overtime pay



                                              1609
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1610 of 3128




under the FLSA because Bailey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5905. Plaintiff Kevin Baker is an individual residing in Mississippi. Baker worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5906. Plaintiff Kimberlin Balthazar is an individual residing in Mississippi. Balthazar

worked as a delivery driver for FedEx in Mississippi from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Balthazar has been eligible to receive overtime pay under the FLSA because Balthazar has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5907. Plaintiff Jarvis Bardely is an individual residing in Mississippi. Bardely worked as

a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bardely has been

eligible to receive overtime pay under the FLSA because Bardely has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5908. Plaintiff Kendrick King is an individual residing in Mississippi. Barrero

Figueredo worked as a delivery driver for FedEx in Mississippi but was employed through

intermediary entities that FedEx calls independent service providers. Barrero Figueredo has been



                                              1610
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1611 of 3128




eligible to receive overtime pay under the FLSA because Barrero Figueredo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5909. Plaintiff Cary Hawkins is an individual residing in Mississippi. Barrero Figueredo

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Barrero

Figueredo has been eligible to receive overtime pay under the FLSA because Barrero Figueredo

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        5910. Plaintiff Frederick Barrett is an individual residing in Mississippi. Barrett worked

as a delivery driver for FedEx in Mississippi from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Barrett

has been eligible to receive overtime pay under the FLSA because Barrett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5911. Plaintiff Kedric Barron is an individual residing in Tennessee. Barron worked as a

delivery driver for FedEx in Mississippi from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Barron has been

eligible to receive overtime pay under the FLSA because Barron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5912. Plaintiff Tyreaccus Bateaste is an individual residing in Mississippi. Bateaste

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2024 but was



                                               1611
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1612 of 3128




employed through intermediary entities that FedEx calls independent service providers. Bateaste

has been eligible to receive overtime pay under the FLSA because Bateaste has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5913. Plaintiff Alexia Bates is an individual residing in Mississippi. Bates worked as a

delivery driver for FedEx in Mississippi from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bates has been

eligible to receive overtime pay under the FLSA because Bates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5914. Plaintiff Jaquita Benard is an individual residing in Mississippi. Benard worked as

a delivery driver for FedEx in Mississippi from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Benard has been

eligible to receive overtime pay under the FLSA because Benard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5915. Plaintiff Jason Bendall is an individual residing in Tennessee. Bendall worked as

a delivery driver for FedEx in Mississippi from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bendall has been

eligible to receive overtime pay under the FLSA because Bendall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1612
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1613 of 3128




        5916. Plaintiff Cedric Bennett is an individual residing in Mississippi. Bennett worked

as a delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bennett

has been eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5917. Plaintiff Evelyn Bethea is an individual residing in Mississippi. Bethea worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Bethea has been eligible to receive overtime pay

under the FLSA because Bethea has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5918. Plaintiff Willie Bishop is an individual residing in Mississippi. Bishop worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bishop has been

eligible to receive overtime pay under the FLSA because Bishop has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5919. Plaintiff Kristopher Bittle is an individual residing in Arkansas. Bittle worked as a

delivery driver for FedEx in Mississippi from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bittle has been

eligible to receive overtime pay under the FLSA because Bittle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1613
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1614 of 3128




        5920. Plaintiff Clemmie Bolton is an individual residing in Mississippi. Bolton worked

as a delivery driver for FedEx in Mississippi from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Bolton

has been eligible to receive overtime pay under the FLSA because Bolton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5921. Plaintiff Irishma Bowie is an individual residing in Mississippi. Bowie worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bowie has been

eligible to receive overtime pay under the FLSA because Bowie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5922. Plaintiff Tino Bowman is an individual residing in Mississippi. Bowman worked

as a delivery driver for FedEx in Mississippi from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Bowman

has been eligible to receive overtime pay under the FLSA because Bowman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5923. Plaintiff Antonia Box is an individual residing in Tennessee. Box worked as a

delivery driver for FedEx in Mississippi and Texas but was employed through intermediary

entities that FedEx calls independent service providers. Box has been eligible to receive overtime

pay under the FLSA because Box has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1614
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1615 of 3128




        5924. Plaintiff Frederick Boyd is an individual residing in Mississippi. Boyd worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Boyd has been eligible to receive overtime pay under

the FLSA because Boyd has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        5925. Plaintiff Kevin Boyd is an individual residing in Mississippi. Boyd worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Boyd has been

eligible to receive overtime pay under the FLSA because Boyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5926. Plaintiff Cari Brackett is an individual residing in Mississippi. Brackett worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Brackett has been eligible to receive overtime pay

under the FLSA because Brackett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5927. Plaintiff Gregory Bray is an individual residing in Mississippi. Bray worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bray has been

eligible to receive overtime pay under the FLSA because Bray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1615
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1616 of 3128




        5928. Plaintiff Kevin Brown is an individual residing in Mississippi. Brown worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5929. Plaintiff Kristy Brown is an individual residing in Mississippi. Brown worked as a

delivery driver for FedEx in Mississippi from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5930. Plaintiff Victoria Brown is an individual residing in Mississippi. Brown worked

as a delivery driver for FedEx in Mississippi from approximately 1900 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5931. Plaintiff Dvonyotto Brown is an individual residing in Mississippi. Brown worked

as a delivery driver for FedEx in Mississippi from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             1616
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1617 of 3128




       5932. Plaintiff Leonard Brown is an individual residing in Mississippi. Brown worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5933. Plaintiff Wendy Buckley is an individual residing in Mississippi. Buckley worked

as a delivery driver for FedEx in Mississippi from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Buckley

has been eligible to receive overtime pay under the FLSA because Buckley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5934. Plaintiff Mitchell Bullock is an individual residing in Mississippi. Bullock worked

as a delivery driver for FedEx in Mississippi from approximately 2005 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Bullock

has been eligible to receive overtime pay under the FLSA because Bullock has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5935. Plaintiff Matthew Burke is an individual residing in Mississippi. Burke worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Burke has been eligible to receive overtime pay

under the FLSA because Burke has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                             1617
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1618 of 3128




        5936. Plaintiff Ashley Burnett is an individual residing in Mississippi. Burnett worked

as a delivery driver for FedEx in Mississippi from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Burnett

has been eligible to receive overtime pay under the FLSA because Burnett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5937. Plaintiff Derrick Cain is an individual residing in Mississippi. Cain worked as a

delivery driver for FedEx in Mississippi from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cain has been

eligible to receive overtime pay under the FLSA because Cain has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5938. Plaintiff Lazarus Caldwell is an individual residing in Mississippi. Caldwell

worked as a delivery driver for FedEx in Mississippi from approximately 2008 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Caldwell

has been eligible to receive overtime pay under the FLSA because Caldwell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5939. Plaintiff Ranier Caldwell is an individual residing in Mississippi. Caldwell

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Caldwell

has been eligible to receive overtime pay under the FLSA because Caldwell has driven a vehicle




                                              1618
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1619 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5940. Plaintiff Darrion Caldwell is an individual residing in Mississippi. Caldwell

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Caldwell has been eligible to receive

overtime pay under the FLSA because Caldwell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5941. Plaintiff Jeremy Caldwell is an individual residing in Mississippi. Caldwell

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Caldwell

has been eligible to receive overtime pay under the FLSA because Caldwell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       5942. Plaintiff Anthony Caldwell is an individual residing in Mississippi. Caldwell

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Caldwell has been eligible to receive

overtime pay under the FLSA because Caldwell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       5943. Plaintiff Leroy Calvert is an individual residing in Mississippi. Calvert worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Calvert has been

eligible to receive overtime pay under the FLSA because Calvert has driven a vehicle weighing




                                              1619
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1620 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5944. Plaintiff Stephen Carlisle is an individual residing in Tennessee. Carlisle worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Carlisle has been eligible to receive overtime pay

under the FLSA because Carlisle has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5945. Plaintiff Roderick Willingham is an individual residing in Mississippi. Carter

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Carter

has been eligible to receive overtime pay under the FLSA because Carter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5946. Plaintiff Shameika Carter is an individual residing in Mississippi. Carter worked

as a delivery driver for FedEx in Mississippi from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Carter

has been eligible to receive overtime pay under the FLSA because Carter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5947. Plaintiff Derrick Chapman is an individual residing in Mississippi. Chapman

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Chapman has been eligible to receive




                                              1620
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1621 of 3128




overtime pay under the FLSA because Chapman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5948. Plaintiff Tyra Clardy/ Turner is an individual residing in Mississippi. Clardy/

Turner worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Clardy/ Turner has been eligible to receive overtime pay under the FLSA because Clardy/

Turner has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        5949. Plaintiff Cortney Clark is an individual residing in Tennessee. Clark worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5950. Plaintiff Carla Clark Mckenzie is an individual residing in Mississippi. Clark

Mckenzie worked as a delivery driver for FedEx in Mississippi from approximately 2016 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Clark Mckenzie has been eligible to receive overtime pay under the FLSA because

Clark Mckenzie has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        5951. Plaintiff Paul Clavet is an individual residing in Arkansas. Clavet worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Clavet has been eligible to receive overtime pay



                                              1621
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1622 of 3128




under the FLSA because Clavet has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5952. Plaintiff Joseph Clifton is an individual residing in Alabama. Clifton worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Clifton has been

eligible to receive overtime pay under the FLSA because Clifton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5953. Plaintiff Ronnie Collins is an individual residing in Mississippi. Collins worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Collins has been eligible to receive overtime pay

under the FLSA because Collins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5954. Plaintiff Robin Conner is an individual residing in Mississippi. Conner worked as

a delivery driver for FedEx in Mississippi from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Conner has been

eligible to receive overtime pay under the FLSA because Conner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5955. Plaintiff Shirley Crayton is an individual residing in Mississippi. Crayton worked

as a delivery driver for FedEx in Mississippi from approximately 2006 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Crayton

has been eligible to receive overtime pay under the FLSA because Crayton has driven a vehicle



                                              1622
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1623 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5956. Plaintiff Will Crenshaw is an individual residing in Tennessee. Crenshaw worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Crenshaw has been eligible to receive overtime pay

under the FLSA because Crenshaw has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5957. Plaintiff Jennifer Crews is an individual residing in Mississippi. Crews worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Crews has been eligible to receive overtime pay

under the FLSA because Crews has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5958. Plaintiff Sid Davis is an individual residing in Mississippi. Davis worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5959. Plaintiff James Dawson is an individual residing in Mississippi. Dawson worked

as a delivery driver for FedEx in Mississippi from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Dawson

has been eligible to receive overtime pay under the FLSA because Dawson has driven a vehicle




                                              1623
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1624 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5960. Plaintiff Tyson Seals is an individual residing in Mississippi. De Leon worked as

a delivery driver for FedEx in Mississippi from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. De Leon has been

eligible to receive overtime pay under the FLSA because De Leon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5961. Plaintiff Bryan Delong is an individual residing in Mississippi. Delong worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Delong has been eligible to receive overtime pay

under the FLSA because Delong has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5962. Plaintiff Joseph Dillard is an individual residing in Mississippi. Dillard worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Dillard has been eligible to receive overtime pay

under the FLSA because Dillard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5963. Plaintiff Heather Dillon is an individual residing in Mississippi. Dillon worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dillon has been

eligible to receive overtime pay under the FLSA because Dillon has driven a vehicle weighing




                                               1624
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1625 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5964. Plaintiff Maureen Dupre is an individual residing in Arizona. Dupre worked as a

delivery driver for FedEx in Mississippi from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dupre has been

eligible to receive overtime pay under the FLSA because Dupre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5965. Plaintiff Vashaun Dykes is an individual residing in Mississippi. Dykes worked as

a delivery driver for FedEx in Mississippi from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dykes has been

eligible to receive overtime pay under the FLSA because Dykes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5966. Plaintiff Joshua Easterling is an individual residing in Mississippi. Easterling

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Easterling has been eligible to receive overtime pay under the FLSA because Easterling has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5967. Plaintiff Antwin Edwards is an individual residing in Mississippi. Edwards

worked as a delivery driver for FedEx in Mississippi from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Edwards



                                               1625
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1626 of 3128




has been eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5968. Plaintiff Tambria Edwards is an individual residing in Tennessee. Edwards

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Edwards

has been eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5969. Plaintiff Gary Enis is an individual residing in Mississippi. Enis worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Enis has been

eligible to receive overtime pay under the FLSA because Enis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5970. Plaintiff Avery Evans is an individual residing in Alabama. Evans worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5971. Plaintiff Wiakila Ferguson is an individual residing in Mississippi. Ferguson

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2023 but was



                                              1626
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1627 of 3128




employed through intermediary entities that FedEx calls independent service providers. Ferguson

has been eligible to receive overtime pay under the FLSA because Ferguson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5972. Plaintiff Anita Fernandez is an individual residing in Mississippi. Fernandez

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Fernandez has been eligible to receive

overtime pay under the FLSA because Fernandez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5973. Plaintiff J Finley is an individual residing in Mississippi. Finley worked as a

delivery driver for FedEx in Mississippi from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Finley has been

eligible to receive overtime pay under the FLSA because Finley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5974. Plaintiff Tusha Floyd is an individual residing in Mississippi. Floyd worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Floyd has been

eligible to receive overtime pay under the FLSA because Floyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5975. Plaintiff Michael Flynt is an individual residing in Mississippi. Flynt worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2021 but was employed



                                               1627
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1628 of 3128




through intermediary entities that FedEx calls independent service providers. Flynt has been

eligible to receive overtime pay under the FLSA because Flynt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5976. Plaintiff Robin Ford is an individual residing in Mississippi. Ford worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been

eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5977. Plaintiff Natasha Foulks is an individual residing in Tennessee. Foulks worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Foulks has been

eligible to receive overtime pay under the FLSA because Foulks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5978. Plaintiff Jay Freemyer is an individual residing in Mississippi. Freemyer worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Freemyer has been eligible to receive overtime pay

under the FLSA because Freemyer has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        5979. Plaintiff Helen Gable is an individual residing in Mississippi. Gable worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2021 but was employed



                                              1628
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1629 of 3128




through intermediary entities that FedEx calls independent service providers. Gable has been

eligible to receive overtime pay under the FLSA because Gable has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5980. Plaintiff Cary Gaddy is an individual residing in Mississippi. Gaddy worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Gaddy has been eligible to receive overtime pay

under the FLSA because Gaddy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        5981. Plaintiff Lindsey Goolsby is an individual residing in Mississippi. Goolsby

worked as a delivery driver for FedEx in Mississippi from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Goolsby

has been eligible to receive overtime pay under the FLSA because Goolsby has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5982. Plaintiff Alfred Granger III is an individual residing in Mississippi. Granger

worked as a delivery driver for FedEx in Mississippi from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Granger

has been eligible to receive overtime pay under the FLSA because Granger has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5983. Plaintiff Justin Gray is an individual residing in Mississippi. Gray worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was employed



                                              1629
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1630 of 3128




through intermediary entities that FedEx calls independent service providers. Gray has been

eligible to receive overtime pay under the FLSA because Gray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5984. Plaintiff Darrio Green is an individual residing in Mississippi. Green worked as a

delivery driver for FedEx in Mississippi from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5985. Plaintiff M Griffith is an individual residing in Mississippi. Griffith worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Griffith has been

eligible to receive overtime pay under the FLSA because Griffith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5986. Plaintiff Allen Guidry is an individual residing in Louisiana. Guidry worked as a

delivery driver for FedEx in Mississippi from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Guidry has been

eligible to receive overtime pay under the FLSA because Guidry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1630
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1631 of 3128




        5987. Plaintiff David Hall is an individual residing in Mississippi. Hall worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5988. Plaintiff Kevin Hargrove is an individual residing in Mississippi. Hargrove

worked as a delivery driver for FedEx in Mississippi from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Hargrove has been eligible to receive overtime pay under the FLSA because Hargrove has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        5989. Plaintiff Brondon Harper is an individual residing in Mississippi. Harper worked

as a delivery driver for FedEx in Mississippi from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Harper

has been eligible to receive overtime pay under the FLSA because Harper has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5990. Plaintiff Jerald Harris is an individual residing in Tennessee. Harris worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing




                                              1631
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1632 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5991. Plaintiff Kenneth Harris is an individual residing in Ohio. Harris worked as a

delivery driver for FedEx in Mississippi from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5992. Plaintiff Yakimia Harris is an individual residing in Mississippi. Harris worked as

a delivery driver for FedEx in Mississippi from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5993. Plaintiff Devin Hawkins is an individual residing in Mississippi. Hawkins worked

as a delivery driver for FedEx in Mississippi from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hawkins

has been eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        5994. Plaintiff Tony Hawthorn is an individual residing in Mississippi. Hawthorn

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Hawthorn has been eligible to receive



                                              1632
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1633 of 3128




overtime pay under the FLSA because Hawthorn has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        5995. Plaintiff Leo Hayslett is an individual residing in Tennessee. Hayslett worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hayslett has been

eligible to receive overtime pay under the FLSA because Hayslett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5996. Plaintiff Roshell Henderson is an individual residing in Mississippi. Henderson

worked as a delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Henderson has been eligible to receive overtime pay under the FLSA because Henderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        5997. Plaintiff Sebrina Henry is an individual residing in Mississippi. Henry worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Henry has been

eligible to receive overtime pay under the FLSA because Henry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5998. Plaintiff Litisa Hill is an individual residing in Mississippi. Hill worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been



                                               1633
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1634 of 3128




eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        5999. Plaintiff Joshua Hill is an individual residing in Mississippi. Hill worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6000. Plaintiff Kenneth Hill is an individual residing in Mississippi. Hill worked as a

delivery driver for FedEx in Mississippi from approximately 1999 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6001. Plaintiff Nathan Hobson is an individual residing in Texas. Hobson worked as a

delivery driver for FedEx in Mississippi from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hobson has been

eligible to receive overtime pay under the FLSA because Hobson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6002. Plaintiff Eric Hodges is an individual residing in Mississippi. Hodges worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2019 but was employed



                                               1634
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1635 of 3128




through intermediary entities that FedEx calls independent service providers. Hodges has been

eligible to receive overtime pay under the FLSA because Hodges has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6003. Plaintiff Marcus Homan is an individual residing in Mississippi. Homan worked

as a delivery driver for FedEx in Mississippi from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Homan

has been eligible to receive overtime pay under the FLSA because Homan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6004. Plaintiff Clyde Hood is an individual residing in Florida. Hood worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Hood has been eligible to receive overtime pay under

the FLSA because Hood has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6005. Plaintiff Persephiney Hopkins is an individual residing in Mississippi. Hopkins

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Hopkins

has been eligible to receive overtime pay under the FLSA because Hopkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6006. Plaintiff Mark Houston is an individual residing in Tennessee. Houston worked as

a delivery driver for FedEx in Mississippi from approximately 2013 to 2018 but was employed



                                              1635
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1636 of 3128




through intermediary entities that FedEx calls independent service providers. Houston has been

eligible to receive overtime pay under the FLSA because Houston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6007. Plaintiff Austin Howell is an individual residing in Mississippi. Howell worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Howell has been

eligible to receive overtime pay under the FLSA because Howell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6008. Plaintiff Tyrone Jefferson is an individual residing in Mississippi. Jefferson

worked as a delivery driver for FedEx in Mississippi from approximately 2020 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Jefferson

has been eligible to receive overtime pay under the FLSA because Jefferson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6009. Plaintiff Cedrick Johnson is an individual residing in Mississippi. Johnson worked

as a delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               1636
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1637 of 3128




        6010. Plaintiff Lakendrick Jones is an individual residing in Mississippi. Jones worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under

the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6011. Plaintiff Larry Jones is an individual residing in Mississippi. Jones worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6012. Plaintiff Cotasha Jones is an individual residing in Mississippi. Jones worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6013. Plaintiff Bobbie Jones is an individual residing in Mississippi. Jones worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under

the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1637
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1638 of 3128




        6014. Plaintiff Lashonda Jordan is an individual residing in Mississippi. Jordan worked

as a delivery driver for FedEx in Mississippi from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Jordan

has been eligible to receive overtime pay under the FLSA because Jordan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6015. Plaintiff Allen Joynes is an individual residing in Mississippi. Joynes worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Joynes has been

eligible to receive overtime pay under the FLSA because Joynes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6016. Plaintiff Milton Kendrick is an individual residing in Texas. Kendrick worked as

a delivery driver for FedEx in Mississippi from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kendrick has been

eligible to receive overtime pay under the FLSA because Kendrick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6017. Plaintiff Kasey Kennedy is an individual residing in Mississippi. Kennedy worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Kennedy has been eligible to receive overtime pay

under the FLSA because Kennedy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1638
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1639 of 3128




        6018. Plaintiff Erwin Keys is an individual residing in Mississippi. Keys worked as a

delivery driver for FedEx in Mississippi from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Keys has been

eligible to receive overtime pay under the FLSA because Keys has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6019. Plaintiff George Lacey is an individual residing in Mississippi. Lacey worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lacey has been

eligible to receive overtime pay under the FLSA because Lacey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6020. Plaintiff Cynthia Lamaster is an individual residing in Tennessee. Lamaster

worked as a delivery driver for FedEx in Mississippi from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Lamaster

has been eligible to receive overtime pay under the FLSA because Lamaster has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6021. Plaintiff James Lawrence is an individual residing in Mississippi. Lawrence

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Lawrence has been eligible to receive

overtime pay under the FLSA because Lawrence has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1639
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1640 of 3128




        6022. Plaintiff Ricky Lee is an individual residing in Mississippi. Lee worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6023. Plaintiff Latunja Leflore-Davis is an individual residing in Mississippi. Leflore-

Davis worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Leflore-Davis has been eligible to receive overtime pay under the FLSA because Leflore-Davis

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        6024. Plaintiff Linda Lenoir is an individual residing in Mississippi. Lenoir worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Lenoir has been eligible to receive overtime pay

under the FLSA because Lenoir has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6025. Plaintiff Tommy Lester is an individual residing in Mississippi. Lester worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Lester has been eligible to receive overtime pay

under the FLSA because Lester has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1640
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1641 of 3128




        6026. Plaintiff Juwanna Lewis is an individual residing in Mississippi. Lewis worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6027. Plaintiff Ernest Logan is an individual residing in Mississippi. Logan worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Logan has been

eligible to receive overtime pay under the FLSA because Logan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6028. Plaintiff Antoine Lomax is an individual residing in Mississippi. Lomax worked

as a delivery driver for FedEx in Mississippi from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Lomax

has been eligible to receive overtime pay under the FLSA because Lomax has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6029. Plaintiff Quintarius Lovett is an individual residing in Texas. Lovett worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lovett has been

eligible to receive overtime pay under the FLSA because Lovett has driven a vehicle weighing




                                              1641
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1642 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6030. Plaintiff David Lyons is an individual residing in Mississippi. Lyons worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6031. Plaintiff Raheem Magee is an individual residing in Mississippi. Magee worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Magee has been eligible to receive overtime pay

under the FLSA because Magee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6032. Plaintiff Stephen Mangum is an individual residing in Mississippi. Mangum

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mangum

has been eligible to receive overtime pay under the FLSA because Mangum has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6033. Plaintiff Mary Marion is an individual residing in Mississippi. Marion worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Marion has been eligible to receive overtime pay




                                              1642
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1643 of 3128




under the FLSA because Marion has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6034. Plaintiff Cristy Marsalis is an individual residing in Mississippi. Marsalis worked

as a delivery driver for FedEx in Mississippi from approximately 2008 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Marsalis

has been eligible to receive overtime pay under the FLSA because Marsalis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6035. Plaintiff John Martin is an individual residing in Mississippi. Martin worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6036. Plaintiff Tanisha Martin is an individual residing in Mississippi. Martin worked as

a delivery driver for FedEx in Mississippi from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6037. Plaintiff Kenyatta Mayes is an individual residing in Mississippi. Mayes worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Mayes has been eligible to receive overtime pay



                                              1643
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1644 of 3128




under the FLSA because Mayes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6038. Plaintiff Norman Mccarty is an individual residing in Mississippi. Mccarty

worked as a delivery driver for FedEx in Mississippi from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mccarty

has been eligible to receive overtime pay under the FLSA because Mccarty has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6039. Plaintiff Steven Mcewen is an individual residing in Mississippi. Mcewen worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Mcewen has been eligible to receive overtime pay

under the FLSA because Mcewen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6040. Plaintiff Michael Mcintosh is an individual residing in Mississippi. Mcintosh

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcintosh has been eligible to receive overtime pay under the FLSA because Mcintosh has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6041. Plaintiff Kendrics Mckenzie is an individual residing in Mississippi. Mckenzie

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckenzie has been eligible to receive overtime pay under the FLSA because Mckenzie has



                                              1644
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1645 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6042. Plaintiff Brystan Mckinnis is an individual residing in Mississippi. Mckinnis

worked as a delivery driver for FedEx in Mississippi from approximately 2010 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckinnis has been eligible to receive overtime pay under the FLSA because Mckinnis has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6043. Plaintiff Sharnice Mclemore is an individual residing in Mississippi. Mclemore

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Mclemore has been eligible to receive overtime pay under the FLSA because Mclemore has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6044. Plaintiff Edgar Miller is an individual residing in Mississippi. Miller worked as a

delivery driver for FedEx in Mississippi from approximately 2003 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6045. Plaintiff Michael Miller is an individual residing in Mississippi. Miller worked as

a delivery driver for FedEx in Mississippi from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been



                                              1645
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1646 of 3128




eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6046. Plaintiff Adam Miller is an individual residing in Mississippi. Miller worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6047. Plaintiff Ricardo Mcdonald is an individual residing in Mississippi. Mitchell

worked as a delivery driver for FedEx in Mississippi from approximately 2014 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Mitchell

has been eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6048. Plaintiff Alicia Mitchell is an individual residing in Mississippi. Mitchell worked

as a delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mitchell

has been eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6049. Plaintiff Donovan Mitchell is an individual residing in Mississippi. Mitchell

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was



                                              1646
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1647 of 3128




employed through intermediary entities that FedEx calls independent service providers. Mitchell

has been eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6050. Plaintiff Jesse Morace is an individual residing in Mississippi. Morace worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Morace has been

eligible to receive overtime pay under the FLSA because Morace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6051. Plaintiff Matthew Morris is an individual residing in Arkansas. Morris worked as

a delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6052. Plaintiff Roger Morris is an individual residing in Mississippi. Morris worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1647
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1648 of 3128




        6053. Plaintiff Temeka Morris is an individual residing in Mississippi. Morris worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6054. Plaintiff Kentwain Mosley is an individual residing in Mississippi. Mosley

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Mosley has been eligible to receive

overtime pay under the FLSA because Mosley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6055. Plaintiff Leroy Murray is an individual residing in Tennessee. Murray worked as

a delivery driver for FedEx in Mississippi from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Murray has been

eligible to receive overtime pay under the FLSA because Murray has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6056. Plaintiff Valisha Neal is an individual residing in Mississippi. Neal worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Neal has been

eligible to receive overtime pay under the FLSA because Neal has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1648
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1649 of 3128




        6057. Plaintiff John Netterville is an individual residing in Mississippi. Netterville

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Netterville has been eligible to receive overtime pay under the FLSA because Netterville has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6058. Plaintiff Samuel Newton is an individual residing in Mississippi. Newton worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Newton

has been eligible to receive overtime pay under the FLSA because Newton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6059. Plaintiff Aprl Ormond is an individual residing in Mississippi. Ormond worked as

a delivery driver for FedEx in Mississippi from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ormond has been

eligible to receive overtime pay under the FLSA because Ormond has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6060. Plaintiff Darren Orr is an individual residing in Mississippi. Orr worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Orr has been

eligible to receive overtime pay under the FLSA because Orr has driven a vehicle weighing less




                                               1649
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1650 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6061. Plaintiff Howard Parish is an individual residing in Mississippi. Parish worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Parish has been eligible to receive overtime pay

under the FLSA because Parish has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6062. Plaintiff Matthew Parker is an individual residing in Mississippi. Parker worked

as a delivery driver for FedEx in Mississippi from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Parker

has been eligible to receive overtime pay under the FLSA because Parker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6063. Plaintiff Roderick Parker is an individual residing in Mississippi. Parker worked

as a delivery driver for FedEx in Mississippi from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Parker

has been eligible to receive overtime pay under the FLSA because Parker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6064. Plaintiff James Parker is an individual residing in Mississippi. Parker worked as a

delivery driver for FedEx in Mississippi from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing



                                              1650
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1651 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6065. Plaintiff Shunderrick Parker is an individual residing in Mississippi. Parker

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Parker

has been eligible to receive overtime pay under the FLSA because Parker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6066. Plaintiff Pacall Parks is an individual residing in Mississippi. Parks worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Parks has been eligible to receive overtime pay under

the FLSA because Parks has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6067. Plaintiff Deanthony Parrott is an individual residing in Mississippi. Parrott

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Parrott

has been eligible to receive overtime pay under the FLSA because Parrott has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6068. Plaintiff James Patterson is an individual residing in Mississippi. Patterson

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Patterson has been eligible to receive




                                               1651
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1652 of 3128




overtime pay under the FLSA because Patterson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6069. Plaintiff Fredrick Peete is an individual residing in Tennessee. Peete worked as a

delivery driver for FedEx in Mississippi and Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Peete has been eligible to receive

overtime pay under the FLSA because Peete has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6070. Plaintiff Maisha Pernell is an individual residing in Tennessee. Pernell worked as

a delivery driver for FedEx in Mississippi from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pernell has been

eligible to receive overtime pay under the FLSA because Pernell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6071. Plaintiff Melissa Petty is an individual residing in Mississippi. Petty worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Petty has been

eligible to receive overtime pay under the FLSA because Petty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6072. Plaintiff Joseph Phillips is an individual residing in Mississippi. Phillips worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Phillips

has been eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle



                                               1652
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1653 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6073. Plaintiff Justin Phillips is an individual residing in Mississippi. Phillips worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Phillips has been

eligible to receive overtime pay under the FLSA because Phillips has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6074. Plaintiff Douglas Pigford is an individual residing in Mississippi. Pigford worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Pigford has been eligible to receive overtime pay

under the FLSA because Pigford has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6075. Plaintiff Jamario Pippins is an individual residing in Mississippi. Pippins worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Pippins has been eligible to receive overtime pay

under the FLSA because Pippins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6076. Plaintiff Grant Pisani Jr is an individual residing in Florida. Pisani Jr worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Pisani Jr has been

eligible to receive overtime pay under the FLSA because Pisani Jr has driven a vehicle weighing




                                               1653
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1654 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6077. Plaintiff Sonya Poole is an individual residing in Mississippi. Poole worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Poole has been eligible to receive overtime pay under

the FLSA because Poole has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6078. Plaintiff Vierre Porter is an individual residing in Mississippi. Porter worked as a

delivery driver for FedEx in Mississippi from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Porter has been

eligible to receive overtime pay under the FLSA because Porter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6079. Plaintiff Cassandra Powell is an individual residing in Mississippi. Powell worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Powell has been eligible to receive overtime pay

under the FLSA because Powell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6080. Plaintiff Kenny Pratcher is an individual residing in Mississippi. Pratcher worked

as a delivery driver for FedEx in Mississippi from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Pratcher

has been eligible to receive overtime pay under the FLSA because Pratcher has driven a vehicle




                                               1654
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1655 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6081. Plaintiff Sharay Ransom is an individual residing in Mississippi. Ransom worked

as a delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ransom

has been eligible to receive overtime pay under the FLSA because Ransom has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6082. Plaintiff Kiran Rawal is an individual residing in Mississippi. Rawal worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rawal has been

eligible to receive overtime pay under the FLSA because Rawal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6083. Plaintiff Juan Reid is an individual residing in Mississippi. Reid worked as a

delivery driver for FedEx in Mississippi and Tennessee from approximately 2022 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers. Reid

has been eligible to receive overtime pay under the FLSA because Reid has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6084. Plaintiff Benjamin Rhodes is an individual residing in Tennessee. Rhodes worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rhodes



                                              1655
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1656 of 3128




has been eligible to receive overtime pay under the FLSA because Rhodes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6085. Plaintiff Lakiesha Rias is an individual residing in Mississippi. Rias worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rias has been

eligible to receive overtime pay under the FLSA because Rias has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6086. Plaintiff Christopher Rice is an individual residing in Mississippi. Rice worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rice has been

eligible to receive overtime pay under the FLSA because Rice has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6087. Plaintiff Angela Robinson is an individual residing in Mississippi. Robinson

worked as a delivery driver for FedEx in Mississippi from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6088. Plaintiff Sharita Rogers is an individual residing in Mississippi. Rogers worked as

a delivery driver for FedEx in Mississippi from approximately 2014 to 2022 but was employed



                                              1656
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1657 of 3128




through intermediary entities that FedEx calls independent service providers. Rogers has been

eligible to receive overtime pay under the FLSA because Rogers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6089. Plaintiff Craig Ross is an individual residing in Mississippi. Ross worked as a

delivery driver for FedEx in Mississippi from approximately 1961 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ross has been

eligible to receive overtime pay under the FLSA because Ross has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6090. Plaintiff Corey Rowell is an individual residing in Mississippi. Rowell worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rowell has been

eligible to receive overtime pay under the FLSA because Rowell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6091. Plaintiff Earnest Sanders is an individual residing in Mississippi. Sanders worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Sanders has been eligible to receive overtime pay

under the FLSA because Sanders has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6092. Plaintiff Marcus Scott is an individual residing in Mississippi. Scott worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed



                                              1657
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1658 of 3128




through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6093. Plaintiff Marquavious Seals is an individual residing in Mississippi. Seals worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Seals has been eligible to receive overtime pay under

the FLSA because Seals has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6094. Plaintiff Lorenzo Shead is an individual residing in Texas. Shead worked as a

delivery driver for FedEx in Mississippi from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Shead has been

eligible to receive overtime pay under the FLSA because Shead has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6095. Plaintiff Sheryl Shirley is an individual residing in Mississippi. Shirley worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shirley has been

eligible to receive overtime pay under the FLSA because Shirley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6096. Plaintiff Jasime Simeona Sloughter is an individual residing in Mississippi.

Simeona Sloughter worked as a delivery driver for FedEx in Mississippi from approximately



                                               1658
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1659 of 3128




2017 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Simeona Sloughter has been eligible to receive overtime pay under the FLSA

because Simeona Sloughter has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6097. Plaintiff Bobby Sims is an individual residing in Mississippi. Sims worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sims has been

eligible to receive overtime pay under the FLSA because Sims has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6098. Plaintiff Creighton Sistrunk is an individual residing in Mississippi. Sistrunk

worked as a delivery driver for FedEx in Mississippi from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Sistrunk

has been eligible to receive overtime pay under the FLSA because Sistrunk has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6099. Plaintiff Janice Slaughter is an individual residing in Mississippi. Slaughter

worked as a delivery driver for FedEx in Mississippi from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Slaughter has been eligible to receive overtime pay under the FLSA because Slaughter has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               1659
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1660 of 3128




        6100. Plaintiff Malcolm Slay is an individual residing in Mississippi. Slay worked as a

delivery driver for FedEx in Mississippi from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Slay has been

eligible to receive overtime pay under the FLSA because Slay has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6101. Plaintiff Jerome Smith is an individual residing in Mississippi. Smith worked as a

delivery driver for FedEx in Mississippi from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6102. Plaintiff Casey Smith is an individual residing in Mississippi. Smith worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6103. Plaintiff Rodrick Smith is an individual residing in Mississippi. Smith worked as

a delivery driver for FedEx in Mississippi from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1660
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1661 of 3128




        6104. Plaintiff Gary Smith is an individual residing in Mississippi. Smith worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6105. Plaintiff Lasandra Smith is an individual residing in Mississippi. Smith worked as

a delivery driver for FedEx in Mississippi from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6106. Plaintiff Robert Smith is an individual residing in Mississippi. Smith worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6107. Plaintiff Priscilla Smith is an individual residing in Mississippi. Smith worked as

a delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1661
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1662 of 3128




        6108. Plaintiff Isaac Smith Iii is an individual residing in Mississippi. Smith Iii worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Smith Iii has been eligible to receive overtime pay

under the FLSA because Smith Iii has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6109. Plaintiff Norberto Solis is an individual residing in Texas. Solis worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Solis has been eligible to receive overtime pay under

the FLSA because Solis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6110. Plaintiff Raneka Felder is an individual residing in Mississippi. Srey worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Srey has been

eligible to receive overtime pay under the FLSA because Srey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6111. Plaintiff Christopher Stevens is an individual residing in Mississippi. Stevens

worked as a delivery driver for FedEx in Mississippi from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Stevens

has been eligible to receive overtime pay under the FLSA because Stevens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               1662
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1663 of 3128




        6112. Plaintiff Ashley Stevens is an individual residing in Mississippi. Stevens worked

as a delivery driver for FedEx in Mississippi from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Stevens

has been eligible to receive overtime pay under the FLSA because Stevens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6113. Plaintiff Sierra Stokes is an individual residing in Mississippi. Stokes worked as a

delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been

eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6114. Plaintiff Rosa Tate is an individual residing in Louisiana. Tate worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Tate has been eligible to receive overtime pay under

the FLSA because Tate has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6115. Plaintiff Yolanda Tate is an individual residing in Mississippi. Tate worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tate has been

eligible to receive overtime pay under the FLSA because Tate has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1663
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1664 of 3128




        6116. Plaintiff Fernandas Taylor is an individual residing in Alabama. Taylor worked as

a delivery driver for FedEx in Mississippi from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6117. Plaintiff Bruce Taylor is an individual residing in Mississippi. Taylor worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6118. Plaintiff Jonathan Thigpen is an individual residing in Mississippi. Thigpen

worked as a delivery driver for FedEx in Mississippi from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Thigpen

has been eligible to receive overtime pay under the FLSA because Thigpen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6119. Plaintiff David Thigpen is an individual residing in Mississippi. Thigpen worked

as a delivery driver for FedEx in Mississippi from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Thigpen

has been eligible to receive overtime pay under the FLSA because Thigpen has driven a vehicle




                                              1664
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1665 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6120. Plaintiff Victor Thomas is an individual residing in Mississippi. Thomas worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Thomas has been eligible to receive overtime pay

under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6121. Plaintiff Tarnce Thomas is an individual residing in Illinois. Thomas worked as a

delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6122. Plaintiff Derek Thompson is an individual residing in Mississippi. Thompson

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Thompson has been eligible to receive

overtime pay under the FLSA because Thompson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6123. Plaintiff Parker Thornton is an individual residing in Mississippi. Thornton

worked as a delivery driver for FedEx in Mississippi from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Thornton

has been eligible to receive overtime pay under the FLSA because Thornton has driven a vehicle




                                              1665
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1666 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6124. Plaintiff Eric Tillman is an individual residing in Mississippi. Tillman worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Tillman has been eligible to receive overtime pay

under the FLSA because Tillman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6125. Plaintiff Tevin Tobias is an individual residing in Louisiana. Tobias worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Tobias has been eligible to receive overtime pay

under the FLSA because Tobias has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6126. Plaintiff Jarvis Townsend is an individual residing in Mississippi. Townsend

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Townsend has been eligible to receive overtime pay under the FLSA because Townsend has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6127. Plaintiff Douglas Triplett is an individual residing in Mississippi. Triplett worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Triplett has been eligible to receive overtime pay

under the FLSA because Triplett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1666
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1667 of 3128




       6128. Plaintiff James Triplett is an individual residing in Mississippi. Triplett worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Triplett has been eligible to receive overtime pay

under the FLSA because Triplett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6129. Plaintiff Kevin Tubbs is an individual residing in Tennessee. Tubbs worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Tubbs has been eligible to receive overtime pay

under the FLSA because Tubbs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6130. Plaintiff Cedrick Vance is an individual residing in Mississippi. Vance worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Vance has been eligible to receive overtime pay

under the FLSA because Vance has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6131. Plaintiff Katrena Varnado is an individual residing in Mississippi. Varnado

worked as a delivery driver for FedEx in Mississippi from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Varnado

has been eligible to receive overtime pay under the FLSA because Varnado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6132. Plaintiff Ternisha Walker is an individual residing in Mississippi. Walker worked

as a delivery driver for FedEx in Mississippi from approximately 2019 to 2022 but was



                                              1667
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1668 of 3128




employed through intermediary entities that FedEx calls independent service providers. Walker

has been eligible to receive overtime pay under the FLSA because Walker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6133. Plaintiff Jeffory Wallace is an individual residing in Mississippi. Wallace worked

as a delivery driver for FedEx in Mississippi from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Wallace

has been eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6134. Plaintiff Lawanda Walton Lane is an individual residing in Mississippi. Walton

Lane worked as a delivery driver for FedEx in Mississippi but was employed through

intermediary entities that FedEx calls independent service providers. Walton Lane has been

eligible to receive overtime pay under the FLSA because Walton Lane has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6135. Plaintiff Vernise Wansley is an individual residing in Mississippi. Wansley

worked as a delivery driver for FedEx in Mississippi from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Wansley

has been eligible to receive overtime pay under the FLSA because Wansley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             1668
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1669 of 3128




        6136. Plaintiff Dequinn Ward is an individual residing in Mississippi. Ward worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6137. Plaintiff Benson Warnsley is an individual residing in Mississippi. Warnsley

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Warnsley has been eligible to receive

overtime pay under the FLSA because Warnsley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6138. Plaintiff Harley Warren is an individual residing in Mississippi. Warren worked

as a delivery driver for FedEx in Mississippi from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Warren

has been eligible to receive overtime pay under the FLSA because Warren has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6139. Plaintiff Alicia Washington is an individual residing in Mississippi. Washington

worked as a delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1669
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1670 of 3128




        6140. Plaintiff Jameka Watkins is an individual residing in Mississippi. Watkins worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Watkins

has been eligible to receive overtime pay under the FLSA because Watkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6141. Plaintiff Jeremy Watts is an individual residing in Mississippi. Watts worked as a

delivery driver for FedEx in Mississippi from approximately 2008 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Watts has been

eligible to receive overtime pay under the FLSA because Watts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6142. Plaintiff Terry Watts is an individual residing in Tennessee. Watts worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Watts has been eligible to receive overtime pay under

the FLSA because Watts has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6143. Plaintiff Chandra Weathersby is an individual residing in Mississippi. Weathersby

worked as a delivery driver for FedEx in Mississippi from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Weathersby has been eligible to receive overtime pay under the FLSA because Weathersby has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1670
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1671 of 3128




        6144. Plaintiff Christopher Webb is an individual residing in Mississippi. Webb worked

as a delivery driver for FedEx in Mississippi from approximately 2000 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Webb

has been eligible to receive overtime pay under the FLSA because Webb has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6145. Plaintiff Hilary Wells is an individual residing in Mississippi. Wells worked as a

delivery driver for FedEx in Mississippi from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wells has been

eligible to receive overtime pay under the FLSA because Wells has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6146. Plaintiff Quincy West is an individual residing in Mississippi. West worked as a

delivery driver for FedEx in Mississippi from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6147. Plaintiff Chester White is an individual residing in Mississippi. White worked as a

delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1671
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1672 of 3128




       6148. Plaintiff Danny Williams is an individual residing in Mississippi. Williams

worked as a delivery driver for FedEx in Mississippi but was employed through intermediary

entities that FedEx calls independent service providers. Williams has been eligible to receive

overtime pay under the FLSA because Williams has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6149. Plaintiff Treveon Williams is an individual residing in Mississippi. Williams

worked as a delivery driver for FedEx in Mississippi from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6150. Plaintiff Christopher Williams is an individual residing in Mississippi. Williams

worked as a delivery driver for FedEx in Mississippi from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6151. Plaintiff Isaiah Williams is an individual residing in Mississippi. Williams worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              1672
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1673 of 3128




       6152. Plaintiff Shandel Williams is an individual residing in Mississippi. Williams

worked as a delivery driver for FedEx in Mississippi from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6153. Plaintiff Milton Williams is an individual residing in Mississippi. Williams

worked as a delivery driver for FedEx in Mississippi from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6154. Plaintiff Cody Williams is an individual residing in Mississippi. Williams worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6155. Plaintiff Lawrence Williams is an individual residing in Mississippi. Williams

worked as a delivery driver for FedEx in Mississippi from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle




                                             1673
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1674 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6156. Plaintiff Matthew Wilson is an individual residing in Mississippi. Wilson worked

as a delivery driver for FedEx in Mississippi from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Wilson

has been eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6157. Plaintiff Joseph Winters is an individual residing in Mississippi. Winters worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Winters has been eligible to receive overtime pay

under the FLSA because Winters has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6158. Plaintiff Ronald Winters is an individual residing in Mississippi. Winters worked

as a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Winters has been eligible to receive overtime pay

under the FLSA because Winters has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6159. Plaintiff Iranica Woodruff is an individual residing in Texas. Woodruff worked as

a delivery driver for FedEx in Mississippi from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Woodruff has been

eligible to receive overtime pay under the FLSA because Woodruff has driven a vehicle




                                              1674
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1675 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6160. Plaintiff William Wooten is an individual residing in Mississippi. Wooten worked

as a delivery driver for FedEx in Mississippi from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Wooten

has been eligible to receive overtime pay under the FLSA because Wooten has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6161. Plaintiff Charlie Wren is an individual residing in Mississippi. Wren worked as a

delivery driver for FedEx in Mississippi from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wren has been

eligible to receive overtime pay under the FLSA because Wren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6162. Plaintiff Danny Wright is an individual residing in Mississippi. Wright worked as

a delivery driver for FedEx in Mississippi but was employed through intermediary entities that

FedEx calls independent service providers. Wright has been eligible to receive overtime pay

under the FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6163. Plaintiff Robin York is an individual residing in Mississippi. York worked as a

delivery driver for FedEx in Mississippi from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. York has been

eligible to receive overtime pay under the FLSA because York has driven a vehicle weighing



                                              1675
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1676 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6164. Plaintiff Allen Young is an individual residing in Mississippi. Young worked as a

delivery driver for FedEx in Mississippi from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Young has been

eligible to receive overtime pay under the FLSA because Young has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6165. Plaintiff Joshua Adams is an individual residing in Kentucky. Adams worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6166. Plaintiff Fredrick Allen is an individual residing in Missouri. Allen worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6167. Plaintiff Lamarion Allen is an individual residing in Missouri. Allen worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been



                                              1676
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1677 of 3128




eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6168. Plaintiff Jayona Almon is an individual residing in Missouri. Almon worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Almon has been

eligible to receive overtime pay under the FLSA because Almon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6169. Plaintiff Camese Anderson is an individual residing in Missouri. Anderson

worked as a delivery driver for FedEx in Missouri from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6170. Plaintiff Derek Anderson is an individual residing in Missouri. Anderson worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6171. Plaintiff Jerold Arcisz is an individual residing in Missouri. Arcisz worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed



                                              1677
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1678 of 3128




through intermediary entities that FedEx calls independent service providers. Arcisz has been

eligible to receive overtime pay under the FLSA because Arcisz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6172. Plaintiff Brian Arguello is an individual residing in Oklahoma. Arguello worked

as a delivery driver for FedEx in Missouri from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Arguello has been

eligible to receive overtime pay under the FLSA because Arguello has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6173. Plaintiff Richard Armstrong is an individual residing in Missouri. Armstrong

worked as a delivery driver for FedEx in Missouri from approximately 2011 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Armstrong has been eligible to receive overtime pay under the FLSA because Armstrong has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6174. Plaintiff Kenneth Arthur is an individual residing in Missouri. Arthur worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Arthur has been

eligible to receive overtime pay under the FLSA because Arthur has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1678
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1679 of 3128




        6175. Plaintiff John Bangerter is an individual residing in Missouri. Bangerter worked

as a delivery driver for FedEx in Missouri from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bangerter has been

eligible to receive overtime pay under the FLSA because Bangerter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6176. Plaintiff William Banks is an individual residing in Missouri. Banks worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Banks has been

eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6177. Plaintiff Ryan Barber is an individual residing in Missouri. Barber worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Barber has been eligible to receive overtime pay

under the FLSA because Barber has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6178. Plaintiff Randall Barbour is an individual residing in Missouri. Barbour worked as

a delivery driver for FedEx in Missouri from approximately 2001 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Barbour has been

eligible to receive overtime pay under the FLSA because Barbour has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1679
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1680 of 3128




        6179. Plaintiff Kerri Barclay is an individual residing in Missouri. Barclay worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Barclay has been

eligible to receive overtime pay under the FLSA because Barclay has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6180. Plaintiff Raphael Bates is an individual residing in Missouri. Bates worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bates has been

eligible to receive overtime pay under the FLSA because Bates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6181. Plaintiff David Baty is an individual residing in Missouri. Baty worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Baty has been

eligible to receive overtime pay under the FLSA because Baty has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6182. Plaintiff James Beckett is an individual residing in Missouri. Beckett worked as a

delivery driver for FedEx in Missouri from approximately 1995 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Beckett has been

eligible to receive overtime pay under the FLSA because Beckett has driven a vehicle weighing




                                              1680
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1681 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6183. Plaintiff Glenn Beeks is an individual residing in Missouri. Beeks worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Beeks has been

eligible to receive overtime pay under the FLSA because Beeks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6184. Plaintiff Daniel Bennett is an individual residing in Missouri. Bennett worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Bennett has been eligible to receive overtime pay

under the FLSA because Bennett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6185. Plaintiff Travis Bennett is an individual residing in Missouri. Bennett worked as a

delivery driver for FedEx in Missouri from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6186. Plaintiff Kyle Besaw is an individual residing in Missouri. Besaw worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Besaw has been

eligible to receive overtime pay under the FLSA because Besaw has driven a vehicle weighing



                                              1681
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1682 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6187. Plaintiff Jeffery Beullens is an individual residing in Kansas. Beullens worked as

a delivery driver for FedEx in Missouri from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Beullens has been

eligible to receive overtime pay under the FLSA because Beullens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6188. Plaintiff John Bigelow is an individual residing in Missouri. Bigelow worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bigelow has been

eligible to receive overtime pay under the FLSA because Bigelow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6189. Plaintiff Vincent Binion-Moss is an individual residing in Missouri. Binion-Moss

worked as a delivery driver for FedEx in Missouri from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Binion-

Moss has been eligible to receive overtime pay under the FLSA because Binion-Moss has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6190. Plaintiff Connor Bloss is an individual residing in Missouri. Bloss worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bloss has been



                                              1682
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1683 of 3128




eligible to receive overtime pay under the FLSA because Bloss has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6191. Plaintiff Mark Bolin is an individual residing in Missouri. Bolin worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bolin has been

eligible to receive overtime pay under the FLSA because Bolin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6192. Plaintiff Crissy Boone is an individual residing in Missouri. Boone worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Boone has been

eligible to receive overtime pay under the FLSA because Boone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6193. Plaintiff Dwaine Boone is an individual residing in Missouri. Boone worked as a

delivery driver for FedEx in Missouri from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Boone has been

eligible to receive overtime pay under the FLSA because Boone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6194. Plaintiff Percy Bowman is an individual residing in Missouri. Bowman worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that



                                              1683
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1684 of 3128




FedEx calls independent service providers. Bowman has been eligible to receive overtime pay

under the FLSA because Bowman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6195. Plaintiff Robert Boyce is an individual residing in Missouri. Boyce worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Boyce has been

eligible to receive overtime pay under the FLSA because Boyce has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6196. Plaintiff Rodrick Branson is an individual residing in Missouri. Branson worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Branson has been eligible to receive overtime pay

under the FLSA because Branson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6197. Plaintiff Leonard Braton is an individual residing in Missouri. Braton worked as a

delivery driver for FedEx in Missouri from approximately 1998 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Braton has been

eligible to receive overtime pay under the FLSA because Braton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6198. Plaintiff Jerry Braun is an individual residing in Missouri. Braun worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Braun has been



                                              1684
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1685 of 3128




eligible to receive overtime pay under the FLSA because Braun has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6199. Plaintiff Billy Bresee is an individual residing in Missouri. Bresee worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Bresee has been eligible to receive overtime pay

under the FLSA because Bresee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6200. Plaintiff Rebecca Brooks is an individual residing in Illinois. Brooks worked as a

delivery driver for FedEx in Missouri and Illinois from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Brooks

has been eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6201. Plaintiff Gregory Brooks is an individual residing in Illinois. Brooks worked as a

delivery driver for FedEx in Missouri from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6202. Plaintiff Rickie Bryan is an individual residing in Missouri. Bryan worked as a

delivery driver for FedEx in Missouri from approximately 2008 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bryan has been



                                              1685
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1686 of 3128




eligible to receive overtime pay under the FLSA because Bryan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6203. Plaintiff Kyle Burbridge is an individual residing in Missouri. Burbridge worked

as a delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Burbridge has been

eligible to receive overtime pay under the FLSA because Burbridge has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6204. Plaintiff Joseph Burks is an individual residing in Missouri. Burks worked as a

delivery driver for FedEx in Missouri from approximately 2008 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Burks has been

eligible to receive overtime pay under the FLSA because Burks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6205. Plaintiff Dajuan Burnett is an individual residing in Missouri. Burnett worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Burnett has been

eligible to receive overtime pay under the FLSA because Burnett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6206. Plaintiff Patrick Burns Jr is an individual residing in Missouri. Burns Jr worked

as a delivery driver for FedEx in Missouri from approximately 2019 to 2024 but was employed



                                              1686
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1687 of 3128




through intermediary entities that FedEx calls independent service providers. Burns Jr has been

eligible to receive overtime pay under the FLSA because Burns Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6207. Plaintiff Mitchell Bushnell-Chamness is an individual residing in Illinois.

Bushnell-Chamness worked as a delivery driver for FedEx in Missouri from approximately 2017

to 2019 but was employed through intermediary entities that FedEx calls independent service

providers. Bushnell-Chamness has been eligible to receive overtime pay under the FLSA

because Bushnell-Chamness has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6208. Plaintiff Pamela Carey is an individual residing in Missouri. Carey worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carey has been

eligible to receive overtime pay under the FLSA because Carey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6209. Plaintiff Melissa Carlton is an individual residing in Missouri. Carlton worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Carlton has been

eligible to receive overtime pay under the FLSA because Carlton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1687
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1688 of 3128




        6210. Plaintiff Christopher Carr Ii is an individual residing in Missouri. Carr Ii worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Carr Ii has been eligible to receive overtime pay

under the FLSA because Carr Ii has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6211. Plaintiff Derrell Carruth is an individual residing in Missouri. Carruth worked as a

delivery driver for FedEx in Missouri from approximately 2022 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Carruth has been

eligible to receive overtime pay under the FLSA because Carruth has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6212. Plaintiff Joshua Carter is an individual residing in Illinois. Carter worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6213. Plaintiff Malcolm Chandler is an individual residing in Illinois. Chandler worked

as a delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chandler has been

eligible to receive overtime pay under the FLSA because Chandler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1688
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1689 of 3128




        6214. Plaintiff Jason Chastain is an individual residing in Missouri. Chastain worked as

a delivery driver for FedEx in Missouri from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chastain has been

eligible to receive overtime pay under the FLSA because Chastain has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6215. Plaintiff Darwin Chatman is an individual residing in Missouri. Chatman worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chatman has been

eligible to receive overtime pay under the FLSA because Chatman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6216. Plaintiff Rashad Cohns is an individual residing in Missouri. Cohns worked as a

delivery driver for FedEx in Missouri from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Cohns has been

eligible to receive overtime pay under the FLSA because Cohns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6217. Plaintiff Kortez Collins is an individual residing in Missouri. Collins worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing




                                              1689
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1690 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6218. Plaintiff Michael Conrad is an individual residing in Missouri. Conrad worked as

a delivery driver for FedEx in Missouri from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Conrad has been

eligible to receive overtime pay under the FLSA because Conrad has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6219. Plaintiff Nathan Cook is an individual residing in Missouri. Cook worked as a

delivery driver for FedEx in Missouri from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Cook has been

eligible to receive overtime pay under the FLSA because Cook has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6220. Plaintiff Caylah Copas is an individual residing in Missouri. Copas worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Copas has been eligible to receive overtime pay

under the FLSA because Copas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6221. Plaintiff Kevin Copeland is an individual residing in Illinois. Copeland worked as

a delivery driver for FedEx in Missouri from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Copeland has been

eligible to receive overtime pay under the FLSA because Copeland has driven a vehicle



                                              1690
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1691 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6222. Plaintiff Mark Copen is an individual residing in Missouri. Copen worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Copen has been

eligible to receive overtime pay under the FLSA because Copen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6223. Plaintiff Ted Cothran is an individual residing in Missouri. Cothran worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cothran has been

eligible to receive overtime pay under the FLSA because Cothran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6224. Plaintiff Mark Cox is an individual residing in Missouri. Cox worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Cox has been eligible to receive overtime pay under

the FLSA because Cox has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6225. Plaintiff Kenneth Cox is an individual residing in Texas. Cox worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cox has been

eligible to receive overtime pay under the FLSA because Cox has driven a vehicle weighing less



                                              1691
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1692 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6226. Plaintiff Sarah Craft is an individual residing in Missouri. Craft worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Craft has been

eligible to receive overtime pay under the FLSA because Craft has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6227. Plaintiff Rolf Crockett is an individual residing in Missouri. Crockett worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Crockett has been eligible to receive overtime pay

under the FLSA because Crockett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6228. Plaintiff Brent Cross is an individual residing in Missouri. Cross worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cross has been

eligible to receive overtime pay under the FLSA because Cross has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6229. Plaintiff Dustin Cruse is an individual residing in Missouri. Cruse worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cruse has been

eligible to receive overtime pay under the FLSA because Cruse has driven a vehicle weighing



                                              1692
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1693 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6230. Plaintiff Ethelind Cyprian is an individual residing in Louisiana. Cyprian worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Cyprian has been eligible to receive overtime pay

under the FLSA because Cyprian has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6231. Plaintiff Michael Davis is an individual residing in Missouri. Davis worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6232. Plaintiff Dennis Davis is an individual residing in Missouri. Davis worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6233. Plaintiff Andrew Davison is an individual residing in Missouri. Davison worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Davison has been eligible to receive overtime pay

under the FLSA because Davison has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1693
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1694 of 3128




        6234. Plaintiff Jason Deweese is an individual residing in Missouri. Deweese worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Deweese has been

eligible to receive overtime pay under the FLSA because Deweese has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6235. Plaintiff Thomas Diers is an individual residing in Missouri. Diers worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Diers has been

eligible to receive overtime pay under the FLSA because Diers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6236. Plaintiff Dan Donahue is an individual residing in Missouri. Donahue worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Donahue has been

eligible to receive overtime pay under the FLSA because Donahue has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6237. Plaintiff Gary Douglas is an individual residing in Missouri. Douglas worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Douglas has been eligible to receive overtime pay

under the FLSA because Douglas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1694
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1695 of 3128




        6238. Plaintiff Nathan Downes is an individual residing in Missouri. Downes worked as

a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Downes has been

eligible to receive overtime pay under the FLSA because Downes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6239. Plaintiff James Duncan is an individual residing in Missouri. Duncan worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Duncan has been

eligible to receive overtime pay under the FLSA because Duncan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6240. Plaintiff Latisha Earl is an individual residing in Missouri. Earl worked as a

delivery driver for FedEx in Missouri from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Earl has been

eligible to receive overtime pay under the FLSA because Earl has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6241. Plaintiff Roger Eggleston is an individual residing in Missouri. Eggleston worked

as a delivery driver for FedEx in Missouri from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Eggleston has been

eligible to receive overtime pay under the FLSA because Eggleston has driven a vehicle




                                               1695
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1696 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6242. Plaintiff Jon Elfrink is an individual residing in Missouri. Elfrink worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Elfrink has been

eligible to receive overtime pay under the FLSA because Elfrink has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6243. Plaintiff Larry Emory is an individual residing in Missouri. Emory worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Emory has been eligible to receive overtime pay

under the FLSA because Emory has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6244. Plaintiff Gregory Ennis is an individual residing in Missouri. Ennis worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Ennis has been eligible to receive overtime pay under

the FLSA because Ennis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6245. Plaintiff Justin Eslinger is an individual residing in Missouri. Eslinger worked as

a delivery driver for FedEx in Missouri from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Eslinger has been

eligible to receive overtime pay under the FLSA because Eslinger has driven a vehicle weighing




                                               1696
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1697 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6246. Plaintiff Heath Estes is an individual residing in Missouri. Estes worked as a

delivery driver for FedEx in Missouri from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Estes has been

eligible to receive overtime pay under the FLSA because Estes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6247. Plaintiff Chasity Estes is an individual residing in Missouri. Estes worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Estes has been

eligible to receive overtime pay under the FLSA because Estes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6248. Plaintiff Kenneth Ford is an individual residing in Missouri. Ford worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been

eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6249. Plaintiff Trinetta Franks is an individual residing in Missouri. Franks worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Franks has been



                                              1697
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1698 of 3128




eligible to receive overtime pay under the FLSA because Franks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6250. Plaintiff Sean Frye is an individual residing in Missouri. Frye worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Frye has been

eligible to receive overtime pay under the FLSA because Frye has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6251. Plaintiff Lemeshay Furlow is an individual residing in Missouri. Furlow worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Furlow has been eligible to receive overtime pay

under the FLSA because Furlow has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6252. Plaintiff Andy Gaume is an individual residing in Missouri. Gaume worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gaume has been

eligible to receive overtime pay under the FLSA because Gaume has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6253. Plaintiff Aric Gazaway is an individual residing in Missouri. Gazaway worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gazaway has been



                                              1698
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1699 of 3128




eligible to receive overtime pay under the FLSA because Gazaway has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6254. Plaintiff Brandon Gibbs is an individual residing in Virginia. Gibbs worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gibbs has been

eligible to receive overtime pay under the FLSA because Gibbs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6255. Plaintiff Gary Gieselman is an individual residing in Missouri. Gieselman worked

as a delivery driver for FedEx in Missouri from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gieselman has

been eligible to receive overtime pay under the FLSA because Gieselman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6256. Plaintiff Juliana Gilloti is an individual residing in Missouri. Gilloti worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gilloti has been

eligible to receive overtime pay under the FLSA because Gilloti has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6257. Plaintiff Royce Gilyard is an individual residing in Missouri. Gilyard worked as a

delivery driver for FedEx in Missouri from approximately 2003 to 2020 but was employed



                                               1699
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1700 of 3128




through intermediary entities that FedEx calls independent service providers. Gilyard has been

eligible to receive overtime pay under the FLSA because Gilyard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6258. Plaintiff Paul Gmoser is an individual residing in Missouri. Gmoser worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gmoser has been

eligible to receive overtime pay under the FLSA because Gmoser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6259. Plaintiff Alana Goodman is an individual residing in Missouri. Goodman worked

as a delivery driver for FedEx in Missouri from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Goodman has been

eligible to receive overtime pay under the FLSA because Goodman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6260. Plaintiff Kyle Goodno is an individual residing in Missouri. Goodno worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Goodno has been eligible to receive overtime pay

under the FLSA because Goodno has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6261. Plaintiff Joshua Gould is an individual residing in Illinois. Gould worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2019 but was employed



                                              1700
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1701 of 3128




through intermediary entities that FedEx calls independent service providers. Gould has been

eligible to receive overtime pay under the FLSA because Gould has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6262. Plaintiff Randy Grady is an individual residing in Missouri. Grady worked as a

delivery driver for FedEx in Missouri from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Grady has been

eligible to receive overtime pay under the FLSA because Grady has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6263. Plaintiff Brandon Graham is an individual residing in Missouri. Graham worked

as a delivery driver for FedEx in Missouri from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Graham has been

eligible to receive overtime pay under the FLSA because Graham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6264. Plaintiff Cheretta Grayer is an individual residing in Wisconsin. Grayer worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Grayer has been

eligible to receive overtime pay under the FLSA because Grayer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1701
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1702 of 3128




        6265. Plaintiff Ronald Green is an individual residing in Missouri. Green worked as a

delivery driver for FedEx in Missouri from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6266. Plaintiff George Green is an individual residing in Missouri. Green worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Green has been eligible to receive overtime pay

under the FLSA because Green has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6267. Plaintiff Richard Griffes is an individual residing in Missouri. Griffes worked as a

delivery driver for FedEx in Missouri from approximately 2022 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Griffes has been

eligible to receive overtime pay under the FLSA because Griffes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6268. Plaintiff Preston Hale is an individual residing in Missouri. Hale worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Hale has been eligible to receive overtime pay under

the FLSA because Hale has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1702
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1703 of 3128




        6269. Plaintiff William Hall is an individual residing in Missouri. Hall worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Hall has been eligible to receive overtime pay under

the FLSA because Hall has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6270. Plaintiff Crystal Harris is an individual residing in Missouri. Harris worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6271. Plaintiff Darryl Harris is an individual residing in Missouri. Harris worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6272. Plaintiff Nicholas Harrison is an individual residing in Missouri. Harrison worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Harrison has been eligible to receive overtime pay

under the FLSA because Harrison has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                               1703
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1704 of 3128




        6273. Plaintiff Walter Harrison is an individual residing in Missouri. Harrison worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been

eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6274. Plaintiff Cody Harter is an individual residing in Missouri. Harter worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Harter has been

eligible to receive overtime pay under the FLSA because Harter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6275. Plaintiff Floyd Harvill is an individual residing in Missouri. Harvill worked as a

delivery driver for FedEx in Missouri from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Harvill has been

eligible to receive overtime pay under the FLSA because Harvill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6276. Plaintiff Danny Hays is an individual residing in Missouri. Hays worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hays has been

eligible to receive overtime pay under the FLSA because Hays has driven a vehicle weighing




                                              1704
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1705 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6277. Plaintiff Peter Hazelton is an individual residing in Missouri. Hazelton worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Hazelton has been eligible to receive overtime pay

under the FLSA because Hazelton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6278. Plaintiff Roger Heart is an individual residing in Missouri. Heart worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Heart has been

eligible to receive overtime pay under the FLSA because Heart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6279. Plaintiff Thomas Hicks is an individual residing in Missouri. Hicks worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Hicks has been eligible to receive overtime pay under

the FLSA because Hicks has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6280. Plaintiff Ali Hill is an individual residing in Missouri. Hill worked as a delivery

driver for FedEx in Missouri from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               1705
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1706 of 3128




        6281. Plaintiff Sylvester Hill is an individual residing in Missouri. Hill worked as a

delivery driver for FedEx in Missouri from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6282. Plaintiff Michael Hilzer is an individual residing in Missouri. Hilzer worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hilzer has been

eligible to receive overtime pay under the FLSA because Hilzer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6283. Plaintiff Thomas Holley is an individual residing in Missouri. Holley worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Holley has been

eligible to receive overtime pay under the FLSA because Holley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6284. Plaintiff William Holley is an individual residing in Missouri. Holley worked as a

delivery driver for FedEx in Missouri from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Holley has been

eligible to receive overtime pay under the FLSA because Holley has driven a vehicle weighing




                                               1706
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1707 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6285. Plaintiff Trevion Holmes is an individual residing in Missouri. Holmes worked as

a delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Holmes has been

eligible to receive overtime pay under the FLSA because Holmes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6286. Plaintiff James Holt is an individual residing in Missouri. Holt worked as a

delivery driver for FedEx in Missouri from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Holt has been

eligible to receive overtime pay under the FLSA because Holt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6287. Plaintiff Brian Hubbard is an individual residing in Missouri. Hubbard worked as

a delivery driver for FedEx in Missouri from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hubbard has been

eligible to receive overtime pay under the FLSA because Hubbard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6288. Plaintiff Jerome Hudson is an individual residing in Missouri. Hudson worked as

a delivery driver for FedEx in Missouri from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been



                                              1707
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1708 of 3128




eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6289. Plaintiff Deserata Hughes-Harlan is an individual residing in Missouri. Hughes-

Harlan worked as a delivery driver for FedEx in Missouri from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Hughes-Harlan has been eligible to receive overtime pay under the FLSA because Hughes-

Harlan has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        6290. Plaintiff Keith Humphrey is an individual residing in Missouri. Humphrey

worked as a delivery driver for FedEx in Missouri but was employed through intermediary

entities that FedEx calls independent service providers. Humphrey has been eligible to receive

overtime pay under the FLSA because Humphrey has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6291. Plaintiff Christopher Jackson is an individual residing in Missouri. Jackson

worked as a delivery driver for FedEx in Missouri and Illinois but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6292. Plaintiff Michael Jackson is an individual residing in Missouri. Jackson worked as

a delivery driver for FedEx in Missouri from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing



                                              1708
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1709 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6293. Plaintiff Charles Jackson Iii is an individual residing in Missouri. Jackson Iii

worked as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Jackson

Iii has been eligible to receive overtime pay under the FLSA because Jackson Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6294. Plaintiff Errol Jefferson is an individual residing in Nevada. Jefferson worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Jefferson has been

eligible to receive overtime pay under the FLSA because Jefferson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6295. Plaintiff Quincy Jenkins is an individual residing in Arkansas. Jenkins worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Jenkins has been eligible to receive overtime pay

under the FLSA because Jenkins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6296. Plaintiff Karl Johnson is an individual residing in Missouri. Johnson worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing



                                               1709
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1710 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6297. Plaintiff John Johnson is an individual residing in Missouri. Johnson worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6298. Plaintiff Demetrius Johnson is an individual residing in Texas. Johnson worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6299. Plaintiff Aaron Johnson is an individual residing in Missouri. Johnson worked as

a delivery driver for FedEx in Missouri from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6300. Plaintiff Jasmine Johnson is an individual residing in Missouri. Johnson worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing



                                              1710
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1711 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6301. Plaintiff Ernest Jones is an individual residing in Kansas. Jones worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6302. Plaintiff Ashton Kell is an individual residing in Missouri. Kell worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kell has been

eligible to receive overtime pay under the FLSA because Kell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6303. Plaintiff James Kelly is an individual residing in Missouri. Kelly worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Kelly has been eligible to receive overtime pay under

the FLSA because Kelly has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6304. Plaintiff Justin Keys is an individual residing in Missouri. Keys worked as a

delivery driver for FedEx in Missouri from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Keys has been

eligible to receive overtime pay under the FLSA because Keys has driven a vehicle weighing



                                              1711
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1712 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6305. Plaintiff Michael Kremper is an individual residing in Missouri. Kremper worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kremper has been

eligible to receive overtime pay under the FLSA because Kremper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6306. Plaintiff Josh Krone is an individual residing in Missouri. Krone worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Krone has been

eligible to receive overtime pay under the FLSA because Krone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6307. Plaintiff David Kuelker is an individual residing in Missouri. Kuelker worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Kuelker has been

eligible to receive overtime pay under the FLSA because Kuelker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6308. Plaintiff Jason Laffler is an individual residing in Missouri. Laffler worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Laffler has been eligible to receive overtime pay



                                               1712
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1713 of 3128




under the FLSA because Laffler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6309. Plaintiff Kenneth Lambert is an individual residing in Missouri. Lambert worked

as a delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lambert has been

eligible to receive overtime pay under the FLSA because Lambert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6310. Plaintiff John Legano is an individual residing in Missouri. Legano worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Legano has been

eligible to receive overtime pay under the FLSA because Legano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6311. Plaintiff Adrian Levy is an individual residing in Missouri. Levy worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Levy has been

eligible to receive overtime pay under the FLSA because Levy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6312. Plaintiff Andrew Lewis is an individual residing in Missouri. Lewis worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been



                                             1713
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1714 of 3128




eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6313. Plaintiff Linda Little is an individual residing in Missouri. Little worked as a

delivery driver for FedEx in Missouri and Illinois but was employed through intermediary

entities that FedEx calls independent service providers. Little has been eligible to receive

overtime pay under the FLSA because Little has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6314. Plaintiff Jason Long is an individual residing in Missouri. Long worked as a

delivery driver for FedEx in Missouri from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Long has been

eligible to receive overtime pay under the FLSA because Long has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6315. Plaintiff Bridget Lovera is an individual residing in Texas. Lovera worked as a

delivery driver for FedEx in Missouri and Texas from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Lovera

has been eligible to receive overtime pay under the FLSA because Lovera has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6316. Plaintiff Dustin Lowe is an individual residing in Missouri. Lowe worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Lowe has been eligible to receive overtime pay under



                                               1714
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1715 of 3128




the FLSA because Lowe has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6317. Plaintiff Desmond Mabry is an individual residing in Missouri. Mabry worked as

a delivery driver for FedEx in Missouri from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mabry has been

eligible to receive overtime pay under the FLSA because Mabry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6318. Plaintiff Timothy Macnaughton is an individual residing in Colorado.

Macnaughton worked as a delivery driver for FedEx in Missouri from approximately 2013 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Macnaughton has been eligible to receive overtime pay under the FLSA because

Macnaughton has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6319. Plaintiff Robert Manuel Iii is an individual residing in Missouri. Manuel Iii

worked as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Manuel

Iii has been eligible to receive overtime pay under the FLSA because Manuel Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6320. Plaintiff Ryan March is an individual residing in Missouri. March worked as a

delivery driver for FedEx in Missouri from approximately 2023 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. March has been



                                              1715
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1716 of 3128




eligible to receive overtime pay under the FLSA because March has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6321. Plaintiff Charles Matthews Jr. is an individual residing in Missouri. Matthews Jr.

worked as a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Matthews Jr. has been eligible to receive overtime pay under the FLSA because Matthews Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6322. Plaintiff Brett Matzenbacher is an individual residing in Missouri. Matzenbacher

worked as a delivery driver for FedEx in Missouri from approximately 2002 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Matzenbacher has been eligible to receive overtime pay under the FLSA because Matzenbacher

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        6323. Plaintiff Fidel Maxwell is an individual residing in Missouri. Maxwell worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Maxwell has been

eligible to receive overtime pay under the FLSA because Maxwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6324. Plaintiff Lauren May is an individual residing in Missouri. May worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2021 but was employed



                                              1716
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1717 of 3128




through intermediary entities that FedEx calls independent service providers. May has been

eligible to receive overtime pay under the FLSA because May has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6325. Plaintiff Dena Mccarty is an individual residing in Missouri. Mccarty worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Mccarty has been eligible to receive overtime pay

under the FLSA because Mccarty has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6326. Plaintiff Cody Mccaslin is an individual residing in Missouri. Mccaslin worked as

a delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mccaslin has been

eligible to receive overtime pay under the FLSA because Mccaslin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6327. Plaintiff James Mcdaniel is an individual residing in Missouri. Mcdaniel worked

as a delivery driver for FedEx in Missouri from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mcdaniel has been

eligible to receive overtime pay under the FLSA because Mcdaniel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6328. Plaintiff Bryanna Mcdaniel-Bockes is an individual residing in Kansas. Mcdaniel-

Bockes worked as a delivery driver for FedEx in Missouri and Kansas but was employed through



                                             1717
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1718 of 3128




intermediary entities that FedEx calls independent service providers. Mcdaniel-Bockes has been

eligible to receive overtime pay under the FLSA because Mcdaniel-Bockes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6329. Plaintiff Gerald Mcdonald is an individual residing in Illinois. Mcdonald worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mcdonald has been

eligible to receive overtime pay under the FLSA because Mcdonald has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6330. Plaintiff Joseph Mckittrick is an individual residing in Missouri. Mckittrick

worked as a delivery driver for FedEx in Missouri from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckittrick has been eligible to receive overtime pay under the FLSA because Mckittrick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6331. Plaintiff Abrahan Medina is an individual residing in Missouri. Medina worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Medina has been eligible to receive overtime pay

under the FLSA because Medina has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6332. Plaintiff Darius Meeks is an individual residing in Texas. Meeks worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2024 but was employed



                                             1718
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1719 of 3128




through intermediary entities that FedEx calls independent service providers. Meeks has been

eligible to receive overtime pay under the FLSA because Meeks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6333. Plaintiff James Mester is an individual residing in Missouri. Mester worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Mester has been eligible to receive overtime pay

under the FLSA because Mester has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6334. Plaintiff Matthew Meyers is an individual residing in Missouri. Meyers worked as

a delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Meyers has been

eligible to receive overtime pay under the FLSA because Meyers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6335. Plaintiff Nick Tedrick is an individual residing in Illinois. Middleton worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Middleton has been

eligible to receive overtime pay under the FLSA because Middleton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6336. Plaintiff Christopher Miller is an individual residing in Missouri. Miller worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2024 but was employed



                                              1719
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1720 of 3128




through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6337. Plaintiff Jamison Miller-Hagler is an individual residing in Missouri. Miller-

Hagler worked as a delivery driver for FedEx in Missouri from approximately 2013 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Miller-Hagler has been eligible to receive overtime pay under the FLSA because Miller-Hagler

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        6338. Plaintiff Travis Milsap is an individual residing in Missouri. Milsap worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Milsap has been

eligible to receive overtime pay under the FLSA because Milsap has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6339. Plaintiff Jordan Mitchell is an individual residing in Missouri. Mitchell worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Mitchell has been eligible to receive overtime pay

under the FLSA because Mitchell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6340. Plaintiff Jeremy Moore is an individual residing in Missouri. Moore worked as a

delivery driver for FedEx in Missouri from approximately 2008 to 2022 but was employed



                                              1720
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1721 of 3128




through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6341. Plaintiff Lakedra Moore is an individual residing in Missouri. Moore worked as a

delivery driver for FedEx in Missouri from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6342. Plaintiff Robert Moore is an individual residing in Missouri. Moore worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6343. Plaintiff Reginald Moore is an individual residing in Missouri. Moore worked as a

delivery driver for FedEx in Missouri from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1721
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1722 of 3128




        6344. Plaintiff Dawn Moore is an individual residing in Missouri. Moore worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6345. Plaintiff Brian Morgan is an individual residing in Missouri. Morgan worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6346. Plaintiff Brian Naber is an individual residing in Missouri. Naber worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Naber has been

eligible to receive overtime pay under the FLSA because Naber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6347. Plaintiff Richard Nano is an individual residing in Florida. Nano worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nano has been

eligible to receive overtime pay under the FLSA because Nano has driven a vehicle weighing




                                              1722
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1723 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6348. Plaintiff Cornell Nichols is an individual residing in Missouri. Nichols worked as

a delivery driver for FedEx in Missouri from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Nichols has been

eligible to receive overtime pay under the FLSA because Nichols has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6349. Plaintiff Pamela Norman is an individual residing in Missouri. Norman worked as

a delivery driver for FedEx in Missouri from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Norman has been

eligible to receive overtime pay under the FLSA because Norman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6350. Plaintiff David Norman is an individual residing in Missouri. Norman worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Norman has been

eligible to receive overtime pay under the FLSA because Norman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6351. Plaintiff Rhett Norris is an individual residing in Missouri. Norris worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Norris has been



                                              1723
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1724 of 3128




eligible to receive overtime pay under the FLSA because Norris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6352. Plaintiff Kevin Novak is an individual residing in Missouri. Novak worked as a

delivery driver for FedEx in Missouri from approximately 2001 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Novak has been

eligible to receive overtime pay under the FLSA because Novak has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6353. Plaintiff Ryan Nunes is an individual residing in Oklahoma. Nunes worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Nunes has been

eligible to receive overtime pay under the FLSA because Nunes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6354. Plaintiff Deborah Oates is an individual residing in Missouri. Oates worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Oates has been eligible to receive overtime pay under

the FLSA because Oates has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6355. Plaintiff Daimen Owens is an individual residing in Missouri. Owens worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been



                                              1724
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1725 of 3128




eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6356. Plaintiff Antonio Parott is an individual residing in Missouri. Parott worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Parott has been

eligible to receive overtime pay under the FLSA because Parott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6357. Plaintiff Christian Pegues is an individual residing in Missouri. Pegues worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pegues has been

eligible to receive overtime pay under the FLSA because Pegues has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6358. Plaintiff Michael Perkins is an individual residing in Missouri. Perkins worked as

a delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Perkins has been

eligible to receive overtime pay under the FLSA because Perkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6359. Plaintiff Daniel Perricone is an individual residing in Kansas. Perricone worked as

a delivery driver for FedEx in Missouri from approximately 2019 to 2021 but was employed



                                              1725
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1726 of 3128




through intermediary entities that FedEx calls independent service providers. Perricone has been

eligible to receive overtime pay under the FLSA because Perricone has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6360. Plaintiff Jabar Perry is an individual residing in Missouri. Perry worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Perry has been eligible to receive overtime pay under

the FLSA because Perry has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6361. Plaintiff Shane Petty is an individual residing in Missouri. Petty worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Petty has been

eligible to receive overtime pay under the FLSA because Petty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6362. Plaintiff Stephen Piening is an individual residing in Missouri. Piening worked as

a delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Piening has been

eligible to receive overtime pay under the FLSA because Piening has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6363. Plaintiff James Pierce is an individual residing in Missouri. Pierce worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed



                                              1726
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1727 of 3128




through intermediary entities that FedEx calls independent service providers. Pierce has been

eligible to receive overtime pay under the FLSA because Pierce has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6364. Plaintiff Billy Porter is an individual residing in Missouri. Porter worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Porter has been

eligible to receive overtime pay under the FLSA because Porter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6365. Plaintiff Jimmy Randle is an individual residing in Missouri. Randle worked as a

delivery driver for FedEx in Missouri from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Randle has been

eligible to receive overtime pay under the FLSA because Randle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6366. Plaintiff Paul Reaves is an individual residing in Missouri. Reaves worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Reaves has been

eligible to receive overtime pay under the FLSA because Reaves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               1727
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1728 of 3128




        6367. Plaintiff Adam Reese is an individual residing in Missouri. Reese worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Reese has been eligible to receive overtime pay under

the FLSA because Reese has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6368. Plaintiff Kevin Reeves is an individual residing in Missouri. Reeves worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Reeves has been

eligible to receive overtime pay under the FLSA because Reeves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6369. Plaintiff Roger Renfro is an individual residing in Missouri. Renfro worked as a

delivery driver for FedEx in Missouri from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Renfro has been

eligible to receive overtime pay under the FLSA because Renfro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6370. Plaintiff Matthew Richards is an individual residing in Indiana. Richards worked

as a delivery driver for FedEx in Missouri from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Richards has been

eligible to receive overtime pay under the FLSA because Richards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1728
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1729 of 3128




        6371. Plaintiff Clint Riley is an individual residing in Missouri. Riley worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Riley has been

eligible to receive overtime pay under the FLSA because Riley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6372. Plaintiff Eugene Ritz is an individual residing in Missouri. Ritz worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ritz has been

eligible to receive overtime pay under the FLSA because Ritz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6373. Plaintiff Shannon Robertson is an individual residing in Missouri. Robertson

worked as a delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Robertson has been eligible to receive overtime pay under the FLSA because Robertson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6374. Plaintiff Michael Robinson is an individual residing in Missouri. Robinson

worked as a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has




                                               1729
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1730 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6375. Plaintiff Robert Robinson is an individual residing in Missouri. Robinson worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Robinson has been eligible to receive overtime pay

under the FLSA because Robinson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6376. Plaintiff Phillip Roybal is an individual residing in Missouri. Roybal worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Roybal has been eligible to receive overtime pay

under the FLSA because Roybal has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6377. Plaintiff Brandon Rudisill is an individual residing in Missouri. Rudisill worked

as a delivery driver for FedEx in Missouri from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rudisill has been

eligible to receive overtime pay under the FLSA because Rudisill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6378. Plaintiff Randol Russell is an individual residing in Missouri. Russell worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Russell has been eligible to receive overtime pay

under the FLSA because Russell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1730
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1731 of 3128




        6379. Plaintiff Roger Scott is an individual residing in Missouri. Scott worked as a

delivery driver for FedEx in Missouri from approximately 2008 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6380. Plaintiff Gervon Scott is an individual residing in Missouri. Scott worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6381. Plaintiff Kevin Sebourn is an individual residing in Missouri. Sebourn worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Sebourn has been eligible to receive overtime pay

under the FLSA because Sebourn has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6382. Plaintiff David Sharon is an individual residing in Missouri. Sharon worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Sharon has been eligible to receive overtime pay

under the FLSA because Sharon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1731
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1732 of 3128




        6383. Plaintiff Aaron Sheahan is an individual residing in Illinois. Sheahan worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sheahan has been

eligible to receive overtime pay under the FLSA because Sheahan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6384. Plaintiff Lakeisha Sherman is an individual residing in Missouri. Sherman worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Sherman has been eligible to receive overtime pay

under the FLSA because Sherman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6385. Plaintiff Gregory Sherry Ii is an individual residing in Missouri. Sherry Ii worked

as a delivery driver for FedEx in Missouri from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sherry Ii has been

eligible to receive overtime pay under the FLSA because Sherry Ii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6386. Plaintiff Keaton Siebenaler is an individual residing in Missouri. Siebenaler

worked as a delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Siebenaler has been eligible to receive overtime pay under the FLSA because Siebenaler has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1732
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1733 of 3128




        6387. Plaintiff Lavell Simington is an individual residing in Missouri. Simington

worked as a delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Simington has been eligible to receive overtime pay under the FLSA because Simington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6388. Plaintiff Kyle Simmons is an individual residing in Missouri. Simmons worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Simmons has been eligible to receive overtime pay

under the FLSA because Simmons has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6389. Plaintiff Thomas Skundrich is an individual residing in Illinois. Skundrich worked

as a delivery driver for FedEx in Missouri from approximately 2004 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Skundrich has been

eligible to receive overtime pay under the FLSA because Skundrich has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6390. Plaintiff Shawn Slaton is an individual residing in Illinois. Slaton worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Slaton has been

eligible to receive overtime pay under the FLSA because Slaton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1733
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1734 of 3128




        6391. Plaintiff Ian Smith is an individual residing in Missouri. Smith worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6392. Plaintiff Sabrina Smith is an individual residing in Missouri. Smith worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6393. Plaintiff Kelly Smith is an individual residing in Missouri. Smith worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6394. Plaintiff Roddrick Smith is an individual residing in Mississippi. Smith worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing




                                              1734
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1735 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6395. Plaintiff Clarissa Smith is an individual residing in Missouri. Smith worked as a

delivery driver for FedEx in Missouri from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6396. Plaintiff Eric Smith Ii Ii is an individual residing in Missouri. Smith Ii Ii worked

as a delivery driver for FedEx in Missouri from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith Ii Ii has been

eligible to receive overtime pay under the FLSA because Smith Ii Ii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6397. Plaintiff Jeremy Starkey is an individual residing in Missouri. Starkey worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Starkey has been

eligible to receive overtime pay under the FLSA because Starkey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6398. Plaintiff Christopher Stephens is an individual residing in Missouri. Stephens

worked as a delivery driver for FedEx in Missouri from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Stephens



                                               1735
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1736 of 3128




has been eligible to receive overtime pay under the FLSA because Stephens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6399. Plaintiff Pierre Steward is an individual residing in Missouri. Steward worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Steward has been

eligible to receive overtime pay under the FLSA because Steward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6400. Plaintiff Caneka Stewart is an individual residing in Missouri. Stewart worked as

a delivery driver for FedEx in Missouri from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6401. Plaintiff Carmen Straughn is an individual residing in Iowa. Straughn worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Straughn has been eligible to receive overtime pay

under the FLSA because Straughn has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6402. Plaintiff Casey Striblin is an individual residing in Missouri. Striblin worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Striblin has been



                                               1736
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1737 of 3128




eligible to receive overtime pay under the FLSA because Striblin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6403. Plaintiff Kevin Strong is an individual residing in Missouri. Strong worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Strong has been

eligible to receive overtime pay under the FLSA because Strong has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6404. Plaintiff Stephen Sturm is an individual residing in Missouri. Sturm worked as a

delivery driver for FedEx in Missouri and Illinois but was employed through intermediary

entities that FedEx calls independent service providers. Sturm has been eligible to receive

overtime pay under the FLSA because Sturm has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6405. Plaintiff Daniel Summers is an individual residing in Missouri. Summers worked

as a delivery driver for FedEx in Missouri from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Summers has been

eligible to receive overtime pay under the FLSA because Summers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6406. Plaintiff Brandon Suttles is an individual residing in Missouri. Suttles worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Suttles has been eligible to receive overtime pay



                                              1737
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1738 of 3128




under the FLSA because Suttles has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6407. Plaintiff Dustin Sykes is an individual residing in Missouri. Sykes worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Sykes has been

eligible to receive overtime pay under the FLSA because Sykes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6408. Plaintiff Kyra Tapp is an individual residing in Missouri. Tapp worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Tapp has been eligible to receive overtime pay under

the FLSA because Tapp has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6409. Plaintiff Krista Tarwaters is an individual residing in Missouri. Tarwaters worked

as a delivery driver for FedEx in Missouri from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tarwaters has been

eligible to receive overtime pay under the FLSA because Tarwaters has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6410. Plaintiff Lewis Taylor is an individual residing in Florida. Taylor worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing



                                              1738
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1739 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6411. Plaintiff Larry Taylor is an individual residing in Missouri. Taylor worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6412. Plaintiff Raymond Taylor is an individual residing in Missouri. Taylor worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6413. Plaintiff Joey Taylor is an individual residing in Missouri. Taylor worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6414. Plaintiff Steven Terrell is an individual residing in Missouri. Terrell worked as a

delivery driver for FedEx in Missouri and Kansas from approximately 2004 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Terrell

has been eligible to receive overtime pay under the FLSA because Terrell has driven a vehicle




                                               1739
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1740 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6415. Plaintiff Matthew Thiry is an individual residing in Missouri. Thiry worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Thiry has been eligible to receive overtime pay under

the FLSA because Thiry has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6416. Plaintiff James Thomas is an individual residing in Missouri. Thomas worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6417. Plaintiff Alicia Thomas is an individual residing in Missouri. Thomas worked as a

delivery driver for FedEx in Missouri from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6418. Plaintiff Ronald Thomas is an individual residing in Missouri. Thomas worked as

a delivery driver for FedEx in Missouri from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing



                                              1740
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1741 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6419. Plaintiff Elgin Thrower is an individual residing in Missouri. Thrower worked as

a delivery driver for FedEx in Missouri from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thrower has been

eligible to receive overtime pay under the FLSA because Thrower has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6420. Plaintiff Ronald Tillmon is an individual residing in Missouri. Tillmon worked as

a delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Tillmon has been

eligible to receive overtime pay under the FLSA because Tillmon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6421. Plaintiff David Tindall is an individual residing in Missouri. Tindall worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Tindall has been

eligible to receive overtime pay under the FLSA because Tindall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6422. Plaintiff Nathan Trussoni is an individual residing in Missouri. Trussoni worked

as a delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Trussoni has been



                                              1741
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1742 of 3128




eligible to receive overtime pay under the FLSA because Trussoni has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6423. Plaintiff Alicia Trustee is an individual residing in Missouri. Trustee worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Trustee has been

eligible to receive overtime pay under the FLSA because Trustee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6424. Plaintiff Sheila Tubbs is an individual residing in Missouri. Tubbs worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tubbs has been

eligible to receive overtime pay under the FLSA because Tubbs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6425. Plaintiff Reif Tucker is an individual residing in Arkansas. Tucker worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Tucker has been eligible to receive overtime pay

under the FLSA because Tucker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6426. Plaintiff Brian Ussery is an individual residing in Missouri. Ussery worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ussery has been



                                              1742
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1743 of 3128




eligible to receive overtime pay under the FLSA because Ussery has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6427. Plaintiff Evan Van Ostran is an individual residing in Missouri. Van Ostran

worked as a delivery driver for FedEx in Missouri but was employed through intermediary

entities that FedEx calls independent service providers. Van Ostran has been eligible to receive

overtime pay under the FLSA because Van Ostran has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6428. Plaintiff William Veit is an individual residing in Missouri. Veit worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Veit has been

eligible to receive overtime pay under the FLSA because Veit has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6429. Plaintiff Robert Vines is an individual residing in Missouri. Vines worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Vines has been eligible to receive overtime pay under

the FLSA because Vines has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6430. Plaintiff Shane Vladeff is an individual residing in Missouri. Vladeff worked as a

delivery driver for FedEx in Missouri from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Vladeff has been

eligible to receive overtime pay under the FLSA because Vladeff has driven a vehicle weighing



                                              1743
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1744 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6431. Plaintiff Ryan Wagener is an individual residing in Missouri. Wagener worked as

a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Wagener has been eligible to receive overtime pay

under the FLSA because Wagener has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6432. Plaintiff Brett Wallen is an individual residing in Missouri. Wallen worked as a

delivery driver for FedEx in Missouri from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wallen has been

eligible to receive overtime pay under the FLSA because Wallen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6433. Plaintiff Lamont Ward is an individual residing in Kansas. Ward worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6434. Plaintiff Timothy Ward is an individual residing in Missouri. Ward worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing



                                              1744
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1745 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6435. Plaintiff Marcel Washington is an individual residing in Missouri. Washington

worked as a delivery driver for FedEx in Missouri from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6436. Plaintiff Donovan Watson is an individual residing in Missouri. Watson worked

as a delivery driver for FedEx in Missouri from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6437. Plaintiff Dakota Welburn is an individual residing in Texas. Welburn worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Welburn has been eligible to receive overtime pay

under the FLSA because Welburn has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6438. Plaintiff Orlando Westbrook is an individual residing in Missouri. Westbrook

worked as a delivery driver for FedEx in Missouri from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Westbrook has been eligible to receive overtime pay under the FLSA because Westbrook has



                                             1745
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1746 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6439. Plaintiff Jason Whittingham is an individual residing in Missouri. Whittingham

worked as a delivery driver for FedEx in Missouri but was employed through intermediary

entities that FedEx calls independent service providers. Whittingham has been eligible to receive

overtime pay under the FLSA because Whittingham has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6440. Plaintiff Michael Wientge is an individual residing in Missouri. Wientge worked

as a delivery driver for FedEx in Missouri from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wientge has been

eligible to receive overtime pay under the FLSA because Wientge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6441. Plaintiff Leo Williams is an individual residing in Florida. Williams worked as a

delivery driver for FedEx in Missouri from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6442. Plaintiff Dawnielle Williamson is an individual residing in Missouri. Williamson

worked as a delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Williamson has been eligible to receive overtime pay under the FLSA because Williamson has



                                              1746
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1747 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6443. Plaintiff George Willis is an individual residing in Missouri. Willis worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Willis has been

eligible to receive overtime pay under the FLSA because Willis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6444. Plaintiff Lamont Wilson is an individual residing in Missouri. Wilson worked as a

delivery driver for FedEx in Missouri from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6445. Plaintiff Walter Wilson is an individual residing in Missouri. Wilson worked as a

delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Wilson has been eligible to receive overtime pay

under the FLSA because Wilson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6446. Plaintiff Joshua Wilson is an individual residing in Missouri. Wilson worked as a

delivery driver for FedEx in Missouri from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing



                                              1747
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1748 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6447. Plaintiff Scott Woods is an individual residing in Missouri. Woods worked as a

delivery driver for FedEx in Missouri from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6448. Plaintiff Zackary Yoakum is an individual residing in Missouri. Yoakum worked

as a delivery driver for FedEx in Missouri but was employed through intermediary entities that

FedEx calls independent service providers. Yoakum has been eligible to receive overtime pay

under the FLSA because Yoakum has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6449. Plaintiff Joe York is an individual residing in Missouri. York worked as a delivery

driver for FedEx in Missouri from approximately 2010 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. York has been eligible to

receive overtime pay under the FLSA because York has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6450. Plaintiff Nathan Young is an individual residing in Missouri. Young worked as a

delivery driver for FedEx in Missouri from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Young has been

eligible to receive overtime pay under the FLSA because Young has driven a vehicle weighing




                                              1748
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1749 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6451. Plaintiff Russell Barrows is an individual residing in Montana. Barrows worked

as a delivery driver for FedEx in Montana from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Barrows has been

eligible to receive overtime pay under the FLSA because Barrows has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6452. Plaintiff Michael Burmeister is an individual residing in Montana. Burmeister

worked as a delivery driver for FedEx in Montana from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Burmeister has been eligible to receive overtime pay under the FLSA because Burmeister has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6453. Plaintiff Jesse Chitty is an individual residing in Montana. Chitty worked as a

delivery driver for FedEx in Montana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chitty has been

eligible to receive overtime pay under the FLSA because Chitty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6454. Plaintiff Michael Cook is an individual residing in Montana. Cook worked as a

delivery driver for FedEx in Montana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cook has been



                                              1749
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1750 of 3128




eligible to receive overtime pay under the FLSA because Cook has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6455. Plaintiff Cody Cooper is an individual residing in Montana. Cooper worked as a

delivery driver for FedEx in Montana from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6456. Plaintiff Thomas Darko Jr is an individual residing in Montana. Darko Jr worked

as a delivery driver for FedEx in Montana but was employed through intermediary entities that

FedEx calls independent service providers. Darko Jr has been eligible to receive overtime pay

under the FLSA because Darko Jr has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6457. Plaintiff Joyce Esterby is an individual residing in Montana. Esterby worked as a

delivery driver for FedEx in Montana from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Esterby has been

eligible to receive overtime pay under the FLSA because Esterby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6458. Plaintiff Gary Foechterle is an individual residing in Montana. Foechterle worked

as a delivery driver for FedEx in Montana from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Foechterle has been



                                              1750
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1751 of 3128




eligible to receive overtime pay under the FLSA because Foechterle has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6459. Plaintiff Daniel Gomez is an individual residing in Montana. Gomez worked as a

delivery driver for FedEx in Montana from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6460. Plaintiff Tyler Hageman is an individual residing in Montana. Hageman worked

as a delivery driver for FedEx in Montana but was employed through intermediary entities that

FedEx calls independent service providers. Hageman has been eligible to receive overtime pay

under the FLSA because Hageman has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6461. Plaintiff Mary Hamilton is an individual residing in Montana. Hamilton worked

as a delivery driver for FedEx in Montana but was employed through intermediary entities that

FedEx calls independent service providers. Hamilton has been eligible to receive overtime pay

under the FLSA because Hamilton has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6462. Plaintiff Brittney Huff is an individual residing in Montana. Huff worked as a

delivery driver for FedEx in Montana from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Huff has been

eligible to receive overtime pay under the FLSA because Huff has driven a vehicle weighing less



                                              1751
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1752 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6463. Plaintiff Darrel Kramlich is an individual residing in Montana. Kramlich worked

as a delivery driver for FedEx in Montana from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kramlich has been

eligible to receive overtime pay under the FLSA because Kramlich has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6464. Plaintiff Conor Lynch is an individual residing in Washington. Lynch worked as a

delivery driver for FedEx in Montana from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lynch has been

eligible to receive overtime pay under the FLSA because Lynch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6465. Plaintiff Jason Miller is an individual residing in Montana. Miller worked as a

delivery driver for FedEx in Montana from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6466. Plaintiff Brant Palmer is an individual residing in Montana. Palmer worked as a

delivery driver for FedEx in Montana from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Palmer has been



                                              1752
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1753 of 3128




eligible to receive overtime pay under the FLSA because Palmer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6467. Plaintiff Morgan Rapp is an individual residing in Montana. Rapp worked as a

delivery driver for FedEx in Montana but was employed through intermediary entities that

FedEx calls independent service providers. Rapp has been eligible to receive overtime pay under

the FLSA because Rapp has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6468. Plaintiff Greg Roll is an individual residing in Montana. Roll worked as a delivery

driver for FedEx in Montana from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Roll has been eligible to

receive overtime pay under the FLSA because Roll has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6469. Plaintiff Steven Schaak is an individual residing in Washington. Schaak worked

as a delivery driver for FedEx in Montana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Schaak has been

eligible to receive overtime pay under the FLSA because Schaak has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6470. Plaintiff Ivan Vander Esch is an individual residing in Montana. Vander Esch

worked as a delivery driver for FedEx in Montana from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Vander

Esch has been eligible to receive overtime pay under the FLSA because Vander Esch has driven



                                              1753
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1754 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6471. Plaintiff Adam Vylasek is an individual residing in Montana. Vylasek worked as

a delivery driver for FedEx in Montana from approximately 2004 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Vylasek has been

eligible to receive overtime pay under the FLSA because Vylasek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6472. Plaintiff Brad Wagner is an individual residing in Montana. Wagner worked as a

delivery driver for FedEx in Montana from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wagner has been

eligible to receive overtime pay under the FLSA because Wagner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6473. Plaintiff David Wood is an individual residing in Montana. Wood worked as a

delivery driver for FedEx in Montana from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wood has been

eligible to receive overtime pay under the FLSA because Wood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6474. Plaintiff Terresa Barnes is an individual residing in Wyoming. Barnes worked as

a delivery driver for FedEx in Nebraska from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been



                                             1754
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 1755 of 3128




eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6475. Plaintiff James Batman is an individual residing in Oklahoma. Batman worked as

a delivery driver for FedEx in Nebraska from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Batman has been

eligible to receive overtime pay under the FLSA because Batman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6476. Plaintiff Kathy Cabbage is an individual residing in Nebraska. Cabbage worked as

a delivery driver for FedEx in Nebraska but was employed through intermediary entities that

FedEx calls independent service providers. Cabbage has been eligible to receive overtime pay

under the FLSA because Cabbage has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6477. Plaintiff Saul Caceres is an individual residing in Nebraska. Caceres worked as a

delivery driver for FedEx in Nebraska from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Caceres has been

eligible to receive overtime pay under the FLSA because Caceres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6478. Plaintiff Kent Fitzgerald is an individual residing in Illinois. Fitzgerald worked as

a delivery driver for FedEx in Nebraska from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fitzgerald has been



                                               1755
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1756 of 3128




eligible to receive overtime pay under the FLSA because Fitzgerald has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6479. Plaintiff Deanna Galvan is an individual residing in Nebraska. Galvan worked as

a delivery driver for FedEx in Nebraska from approximately 2007 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Galvan has been

eligible to receive overtime pay under the FLSA because Galvan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6480. Plaintiff Charles Hardin is an individual residing in Nebraska. Hardin worked as a

delivery driver for FedEx in Nebraska from approximately 2008 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hardin has been

eligible to receive overtime pay under the FLSA because Hardin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6481. Plaintiff Timothy Haughton is an individual residing in Nebraska. Haughton

worked as a delivery driver for FedEx in Nebraska from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Haughton has been eligible to receive overtime pay under the FLSA because Haughton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6482. Plaintiff Kenneth Johnson is an individual residing in Nebraska. Johnson worked

as a delivery driver for FedEx in Nebraska from approximately 2015 to 2016 but was employed



                                              1756
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1757 of 3128




through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6483. Plaintiff William Kouma is an individual residing in Nebraska. Kouma worked as

a delivery driver for FedEx in Nebraska from approximately 2000 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Kouma has been

eligible to receive overtime pay under the FLSA because Kouma has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6484. Plaintiff Kodi Leslie is an individual residing in Iowa. Leslie worked as a delivery

driver for FedEx in Nebraska but was employed through intermediary entities that FedEx calls

independent service providers. Leslie has been eligible to receive overtime pay under the FLSA

because Leslie has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6485. Plaintiff Jeffery Loschen is an individual residing in Nebraska. Loschen worked

as a delivery driver for FedEx in Nebraska from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Loschen has been

eligible to receive overtime pay under the FLSA because Loschen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6486. Plaintiff Jeff Luschen is an individual residing in Nebraska. Luschen worked as a

delivery driver for FedEx in Nebraska but was employed through intermediary entities that



                                              1757
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1758 of 3128




FedEx calls independent service providers. Luschen has been eligible to receive overtime pay

under the FLSA because Luschen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6487. Plaintiff Dustin Maul is an individual residing in Nebraska. Maul worked as a

delivery driver for FedEx in Nebraska from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Maul has been

eligible to receive overtime pay under the FLSA because Maul has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6488. Plaintiff Douglas Morris is an individual residing in Nebraska. Morris worked as

a delivery driver for FedEx in Nebraska but was employed through intermediary entities that

FedEx calls independent service providers. Morris has been eligible to receive overtime pay

under the FLSA because Morris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6489. Plaintiff Kasey Nachtman is an individual residing in Nebraska. Nachtman

worked as a delivery driver for FedEx in Nebraska from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Nachtman has been eligible to receive overtime pay under the FLSA because Nachtman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6490. Plaintiff Sam Nuncio is an individual residing in Nebraska. Nuncio worked as a

delivery driver for FedEx in Nebraska but was employed through intermediary entities that

FedEx calls independent service providers. Nuncio has been eligible to receive overtime pay



                                             1758
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1759 of 3128




under the FLSA because Nuncio has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6491. Plaintiff Monte Oman is an individual residing in Nebraska. Oman worked as a

delivery driver for FedEx in Nebraska from approximately 2003 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Oman has been

eligible to receive overtime pay under the FLSA because Oman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6492. Plaintiff Alexander Ortiz is an individual residing in Nebraska. Ortiz worked as a

delivery driver for FedEx in Nebraska from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ortiz has been

eligible to receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6493. Plaintiff Daniel Robison is an individual residing in Nebraska. Robison worked as

a delivery driver for FedEx in Nebraska but was employed through intermediary entities that

FedEx calls independent service providers. Robison has been eligible to receive overtime pay

under the FLSA because Robison has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6494. Plaintiff Sam Rystrom is an individual residing in Nebraska. Rystrom worked as a

delivery driver for FedEx in Nebraska from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rystrom has been

eligible to receive overtime pay under the FLSA because Rystrom has driven a vehicle weighing



                                              1759
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1760 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6495. Plaintiff Tina Spradley is an individual residing in Nebraska. Spradley worked as

a delivery driver for FedEx in Nebraska but was employed through intermediary entities that

FedEx calls independent service providers. Spradley has been eligible to receive overtime pay

under the FLSA because Spradley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6496. Plaintiff Roger Stander is an individual residing in Nebraska. Stander worked as a

delivery driver for FedEx in Nebraska from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Stander has been

eligible to receive overtime pay under the FLSA because Stander has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6497. Plaintiff Eric Svik is an individual residing in Nebraska. Svik worked as a

delivery driver for FedEx in Nebraska from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Svik has been

eligible to receive overtime pay under the FLSA because Svik has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6498. Plaintiff Katelyn Tobiasson is an individual residing in Oklahoma. Tobiasson

worked as a delivery driver for FedEx in Nebraska from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Tobiasson has been eligible to receive overtime pay under the FLSA because Tobiasson has



                                              1760
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1761 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6499. Plaintiff Dustin Vetrovsky is an individual residing in Nebraska. Vetrovsky

worked as a delivery driver for FedEx in Nebraska from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Vetrovsky has been eligible to receive overtime pay under the FLSA because Vetrovsky has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6500. Plaintiff Danny Wallace is an individual residing in Nebraska. Wallace worked as

a delivery driver for FedEx in Nebraska from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6501. Plaintiff Kenneth Winter is an individual residing in Nebraska. Winter worked as

a delivery driver for FedEx in Nebraska but was employed through intermediary entities that

FedEx calls independent service providers. Winter has been eligible to receive overtime pay

under the FLSA because Winter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6502. Plaintiff Stefan Alger is an individual residing in Nevada. Alger worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Alger has been eligible to receive overtime pay under the




                                              1761
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1762 of 3128




FLSA because Alger has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6503. Plaintiff Angelo Ancheta is an individual residing in Nevada. Ancheta worked as

a delivery driver for FedEx in Nevada from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ancheta has been

eligible to receive overtime pay under the FLSA because Ancheta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6504. Plaintiff Joshua Andrade is an individual residing in Nevada. Andrade worked as

a delivery driver for FedEx in Nevada from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Andrade has been

eligible to receive overtime pay under the FLSA because Andrade has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6505. Plaintiff Brandi Barneyrodriguez is an individual residing in Nevada.

Barneyrodriguez worked as a delivery driver for FedEx in Nevada from approximately 2017 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Barneyrodriguez has been eligible to receive overtime pay under the FLSA because

Barneyrodriguez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6506. Plaintiff Tony Bass is an individual residing in Nevada. Bass worked as a delivery

driver for FedEx in Nevada from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Bass has been eligible to



                                              1762
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1763 of 3128




receive overtime pay under the FLSA because Bass has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6507. Plaintiff Juan Bautista is an individual residing in Nevada. Bautista worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Bautista has been eligible to receive overtime pay under the

FLSA because Bautista has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6508. Plaintiff Christopher Burdette is an individual residing in Nevada. Burdette

worked as a delivery driver for FedEx in Nevada from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Burdette

has been eligible to receive overtime pay under the FLSA because Burdette has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6509. Plaintiff Dante Cash is an individual residing in Nevada. Cash worked as a

delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cash has been

eligible to receive overtime pay under the FLSA because Cash has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6510. Plaintiff Gabriel Chandler is an individual residing in Nevada. Chandler worked

as a delivery driver for FedEx in Nevada from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chandler has been

eligible to receive overtime pay under the FLSA because Chandler has driven a vehicle weighing



                                              1763
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1764 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6511. Plaintiff Michael Deale is an individual residing in Nevada. Deale worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Deale has been eligible to receive overtime pay under the

FLSA because Deale has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6512. Plaintiff Richard Del Toro is an individual residing in Nevada. Del Toro worked

as a delivery driver for FedEx in Nevada from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Del Toro has been

eligible to receive overtime pay under the FLSA because Del Toro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6513. Plaintiff Damion Dickens is an individual residing in Minnesota. Dickens worked

as a delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dickens has been

eligible to receive overtime pay under the FLSA because Dickens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6514. Plaintiff Oscar Duran is an individual residing in Nevada. Duran worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Duran has been eligible to receive overtime pay under the




                                              1764
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1765 of 3128




FLSA because Duran has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6515. Plaintiff Jason Elwell is an individual residing in Nevada. Elwell worked as a

delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Elwell has been

eligible to receive overtime pay under the FLSA because Elwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6516. Plaintiff Sergio Enriquez is an individual residing in Nevada. Enriquez worked as

a delivery driver for FedEx in Nevada from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Enriquez has been

eligible to receive overtime pay under the FLSA because Enriquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6517. Plaintiff John Felix is an individual residing in Nevada. Felix worked as a

delivery driver for FedEx in Nevada from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Felix has been

eligible to receive overtime pay under the FLSA because Felix has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6518. Plaintiff Derek Fierro is an individual residing in Nevada. Fierro worked as a

delivery driver for FedEx in Nevada from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fierro has been



                                              1765
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1766 of 3128




eligible to receive overtime pay under the FLSA because Fierro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6519. Plaintiff William Fisher is an individual residing in Nevada. Fisher worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Fisher has been eligible to receive overtime pay under the

FLSA because Fisher has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6520. Plaintiff Allen Flom is an individual residing in Idaho. Flom worked as a delivery

driver for FedEx in Nevada from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Flom has been eligible to

receive overtime pay under the FLSA because Flom has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6521. Plaintiff Steven Flores is an individual residing in Nevada. Flores worked as a

delivery driver for FedEx in Nevada from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6522. Plaintiff Karri Floud is an individual residing in Idaho. Floud worked as a

delivery driver for FedEx in Nevada from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Floud has been

eligible to receive overtime pay under the FLSA because Floud has driven a vehicle weighing



                                              1766
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1767 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6523. Plaintiff Victor Gaxiola is an individual residing in Nevada. Gaxiola worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Gaxiola has been eligible to receive overtime pay under the

FLSA because Gaxiola has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6524. Plaintiff Jonathan Goepner is an individual residing in Nevada. Goepner worked

as a delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Goepner has been

eligible to receive overtime pay under the FLSA because Goepner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6525. Plaintiff Phillip Griego is an individual residing in Nevada. Griego worked as a

delivery driver for FedEx in Nevada from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Griego has been

eligible to receive overtime pay under the FLSA because Griego has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6526. Plaintiff Alex Gutierrez is an individual residing in Nevada. Gutierrez worked as

a delivery driver for FedEx in Nevada from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gutierrez has been

eligible to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing



                                              1767
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1768 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6527. Plaintiff Torry Hall is an individual residing in Nevada. Hall worked as a delivery

driver for FedEx in Nevada but was employed through intermediary entities that FedEx calls

independent service providers. Hall has been eligible to receive overtime pay under the FLSA

because Hall has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6528. Plaintiff Teresa Harrell is an individual residing in Nevada. Harrell worked as a

delivery driver for FedEx in Nevada from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harrell has been

eligible to receive overtime pay under the FLSA because Harrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6529. Plaintiff Eddie Haywood is an individual residing in Nevada. Haywood worked as

a delivery driver for FedEx in Nevada from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Haywood has been

eligible to receive overtime pay under the FLSA because Haywood has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6530. Plaintiff Andre Hood is an individual residing in Nevada. Hood worked as a

delivery driver for FedEx in Nevada from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hood has been

eligible to receive overtime pay under the FLSA because Hood has driven a vehicle weighing



                                              1768
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1769 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6531. Plaintiff Loi Ieremia is an individual residing in Nevada. Ieremia worked as a

delivery driver for FedEx in Nevada from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ieremia has been

eligible to receive overtime pay under the FLSA because Ieremia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6532. Plaintiff Matthew Irland is an individual residing in Nevada. Irland worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Irland has been eligible to receive overtime pay under the

FLSA because Irland has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6533. Plaintiff Ruben Jeronimo is an individual residing in Nevada. Jeronimo worked as

a delivery driver for FedEx in Nevada from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jeronimo has been

eligible to receive overtime pay under the FLSA because Jeronimo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6534. Plaintiff James Jones Jr. is an individual residing in Nevada. Jones Jr. worked as a

delivery driver for FedEx in Nevada from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones Jr. has been

eligible to receive overtime pay under the FLSA because Jones Jr. has driven a vehicle weighing



                                              1769
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1770 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6535. Plaintiff Dallas Kester is an individual residing in Nevada. Kester worked as a

delivery driver for FedEx in Nevada from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kester has been

eligible to receive overtime pay under the FLSA because Kester has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6536. Plaintiff Jacob Leonard is an individual residing in Washington. Leonard worked

as a delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Leonard has been

eligible to receive overtime pay under the FLSA because Leonard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6537. Plaintiff Robert Levene is an individual residing in New Jersey. Levene worked

as a delivery driver for FedEx in Nevada from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Levene has been

eligible to receive overtime pay under the FLSA because Levene has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6538. Plaintiff Erin Looney is an individual residing in Nevada. Looney worked as a

delivery driver for FedEx in Nevada from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Looney has been



                                              1770
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 1771 of 3128




eligible to receive overtime pay under the FLSA because Looney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6539. Plaintiff Angel Lopez is an individual residing in Nevada. Lopez worked as a

delivery driver for FedEx in Nevada from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6540. Plaintiff Daniel Maffei is an individual residing in California. Maffei worked as a

delivery driver for FedEx in Nevada from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Maffei has been

eligible to receive overtime pay under the FLSA because Maffei has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6541. Plaintiff Julius Miller is an individual residing in Florida. Miller worked as a

delivery driver for FedEx in Nevada from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6542. Plaintiff Joseph Miner is an individual residing in Nevada. Miner worked as a

delivery driver for FedEx in Nevada from approximately 2015 to 2020 but was employed



                                               1771
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1772 of 3128




through intermediary entities that FedEx calls independent service providers. Miner has been

eligible to receive overtime pay under the FLSA because Miner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6543. Plaintiff Aaron Moreno is an individual residing in Nevada. Moreno worked as a

delivery driver for FedEx in Nevada from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6544. Plaintiff Mark Moullet is an individual residing in Nevada. Moullet worked as a

delivery driver for FedEx in Nevada from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moullet has been

eligible to receive overtime pay under the FLSA because Moullet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6545. Plaintiff Lucas Mudloff is an individual residing in Nevada. Mudloff worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Mudloff has been eligible to receive overtime pay under the

FLSA because Mudloff has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6546. Plaintiff Noah Munoz is an individual residing in Nevada. Munoz worked as a

delivery driver for FedEx in Nevada from approximately 2013 to 2024 but was employed



                                              1772
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1773 of 3128




through intermediary entities that FedEx calls independent service providers. Munoz has been

eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6547. Plaintiff Anthony Munoz is an individual residing in Nevada. Munoz worked as a

delivery driver for FedEx in Nevada from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Munoz has been

eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6548. Plaintiff Barry Nelson is an individual residing in Idaho. Nelson worked as a

delivery driver for FedEx in Nevada from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6549. Plaintiff Vincent Nelson is an individual residing in Nevada. Nelson worked as a

delivery driver for FedEx in Nevada from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1773
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1774 of 3128




        6550. Plaintiff David Nielson is an individual residing in Arizona. Nielson worked as a

delivery driver for FedEx in Nevada from approximately 2004 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Nielson has been

eligible to receive overtime pay under the FLSA because Nielson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6551. Plaintiff Vontoria Norwood is an individual residing in Nevada. Norwood worked

as a delivery driver for FedEx in Nevada from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Norwood has been

eligible to receive overtime pay under the FLSA because Norwood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6552. Plaintiff Alex O Heidelberg is an individual residing in Nevada. O Heidelberg

worked as a delivery driver for FedEx in Nevada from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. O

Heidelberg has been eligible to receive overtime pay under the FLSA because O Heidelberg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6553. Plaintiff Ruben Pangilinan is an individual residing in Nevada. Pangilinan worked

as a delivery driver for FedEx in Nevada from approximately 2003 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pangilinan has

been eligible to receive overtime pay under the FLSA because Pangilinan has driven a vehicle




                                              1774
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1775 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6554. Plaintiff Antwan Patterson is an individual residing in Nevada. Patterson worked

as a delivery driver for FedEx in Nevada from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Patterson has been

eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6555. Plaintiff Raymond Patterson is an individual residing in Arizona. Patterson

worked as a delivery driver for FedEx in Nevada from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Patterson

has been eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6556. Plaintiff Brian Powell is an individual residing in Arizona. Powell worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Powell has been eligible to receive overtime pay under the

FLSA because Powell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6557. Plaintiff Rene Quintero is an individual residing in Nevada. Quintero worked as a

delivery driver for FedEx in Nevada from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Quintero has been

eligible to receive overtime pay under the FLSA because Quintero has driven a vehicle weighing



                                              1775
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1776 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6558. Plaintiff Tyler Racine is an individual residing in Nevada. Racine worked as a

delivery driver for FedEx in Nevada from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Racine has been

eligible to receive overtime pay under the FLSA because Racine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6559. Plaintiff Juan Ramirez is an individual residing in Nevada. Ramirez worked as a

delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ramirez has been

eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6560. Plaintiff Jason Rand is an individual residing in Nevada. Rand worked as a

delivery driver for FedEx in Nevada from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rand has been

eligible to receive overtime pay under the FLSA because Rand has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6561. Plaintiff Dustin Robinson is an individual residing in Nevada. Robinson worked

as a delivery driver for FedEx in Nevada from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been



                                              1776
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1777 of 3128




eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6562. Plaintiff Matthew Robinson is an individual residing in Nevada. Robinson worked

as a delivery driver for FedEx in Nevada from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6563. Plaintiff Aaron Romero is an individual residing in Nevada. Romero worked as a

delivery driver for FedEx in Nevada from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Romero has been

eligible to receive overtime pay under the FLSA because Romero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6564. Plaintiff Marc Schiff is an individual residing in Nevada. Schiff worked as a

delivery driver for FedEx in Nevada but was employed through intermediary entities that FedEx

calls independent service providers. Schiff has been eligible to receive overtime pay under the

FLSA because Schiff has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6565. Plaintiff Johnnie Severson is an individual residing in Nevada. Severson worked

as a delivery driver for FedEx in Nevada from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Severson has been



                                              1777
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1778 of 3128




eligible to receive overtime pay under the FLSA because Severson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6566. Plaintiff Christian Shearer is an individual residing in Nevada. Shearer worked as

a delivery driver for FedEx in Nevada from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shearer has been

eligible to receive overtime pay under the FLSA because Shearer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6567. Plaintiff James Snyder is an individual residing in Nevada. Snyder worked as a

delivery driver for FedEx in Nevada from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Snyder has been

eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6568. Plaintiff Jefferson Stacy Duane is an individual residing in Nevada. Stacy Duane

worked as a delivery driver for FedEx in Nevada from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Stacy

Duane has been eligible to receive overtime pay under the FLSA because Stacy Duane has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6569. Plaintiff Oshalyee Thomas is an individual residing in Nevada. Thomas worked as

a delivery driver for FedEx in Nevada but was employed through intermediary entities that



                                              1778
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1779 of 3128




FedEx calls independent service providers. Thomas has been eligible to receive overtime pay

under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6570. Plaintiff Damon Thomas is an individual residing in Maryland. Thomas worked

as a delivery driver for FedEx in Nevada from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6571. Plaintiff Thomas Turenne is an individual residing in New York. Turenne worked

as a delivery driver for FedEx in Nevada but was employed through intermediary entities that

FedEx calls independent service providers. Turenne has been eligible to receive overtime pay

under the FLSA because Turenne has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6572. Plaintiff Tony Valdez is an individual residing in Nevada. Valdez worked as a

delivery driver for FedEx in Nevada from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Valdez has been

eligible to receive overtime pay under the FLSA because Valdez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6573. Plaintiff Yolanda Valdez is an individual residing in Nevada. Valdez worked as a

delivery driver for FedEx in Nevada from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Valdez has been



                                             1779
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1780 of 3128




eligible to receive overtime pay under the FLSA because Valdez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6574. Plaintiff Dmarshae Vann is an individual residing in Nevada. Vann worked as a

delivery driver for FedEx in Nevada from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vann has been

eligible to receive overtime pay under the FLSA because Vann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6575. Plaintiff Mike Rodriguez is an individual residing in Nevada. Wilder worked as a

delivery driver for FedEx in Nevada from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wilder has been

eligible to receive overtime pay under the FLSA because Wilder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6576. Plaintiff Russell Adams is an individual residing in Massachusetts. Adams

worked as a delivery driver for FedEx in New Hampshire from approximately 2012 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Adams has been eligible to receive overtime pay under the FLSA because Adams has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6577. Plaintiff David Ballou is an individual residing in New Hampshire. Ballou worked

as a delivery driver for FedEx in New Hampshire from approximately 2011 to 2016 but was



                                             1780
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1781 of 3128




employed through intermediary entities that FedEx calls independent service providers. Ballou

has been eligible to receive overtime pay under the FLSA because Ballou has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6578. Plaintiff Benjamin Boisvert is an individual residing in New Hampshire. Boisvert

worked as a delivery driver for FedEx in New Hampshire from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Boisvert has been eligible to receive overtime pay under the FLSA because Boisvert has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6579. Plaintiff Derrick Boumil is an individual residing in New Hampshire. Boumil

worked as a delivery driver for FedEx in New Hampshire from approximately 2013 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Boumil has been eligible to receive overtime pay under the FLSA because Boumil has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6580. Plaintiff Michael Carnes is an individual residing in Virginia. Carnes worked as a

delivery driver for FedEx in New Hampshire from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Carnes

has been eligible to receive overtime pay under the FLSA because Carnes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             1781
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1782 of 3128




       6581. Plaintiff Makayla Coleman is an individual residing in New Hampshire. Coleman

worked as a delivery driver for FedEx in New Hampshire from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Coleman has been eligible to receive overtime pay under the FLSA because Coleman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6582. Plaintiff Sean Coughlin is an individual residing in New Hampshire. Coughlin

worked as a delivery driver for FedEx in New Hampshire from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Coughlin has been eligible to receive overtime pay under the FLSA because Coughlin has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6583. Plaintiff Kevin Della Grotte is an individual residing in New Hampshire. Della

Grotte worked as a delivery driver for FedEx in New Hampshire from approximately 2016 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Della Grotte has been eligible to receive overtime pay under the FLSA because Della

Grotte has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       6584. Plaintiff Anthony Delmasto is an individual residing in New Hampshire.

Delmasto worked as a delivery driver for FedEx in New Hampshire but was employed through

intermediary entities that FedEx calls independent service providers. Delmasto has been eligible

to receive overtime pay under the FLSA because Delmasto has driven a vehicle weighing less




                                              1782
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1783 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6585. Plaintiff Alex Drew is an individual residing in Vermont. Drew worked as a

delivery driver for FedEx in New Hampshire from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Drew

has been eligible to receive overtime pay under the FLSA because Drew has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6586. Plaintiff Trevor Drew is an individual residing in Vermont. Drew worked as a

delivery driver for FedEx in New Hampshire from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Drew

has been eligible to receive overtime pay under the FLSA because Drew has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6587. Plaintiff David Duato is an individual residing in Nevada. Duato worked as a

delivery driver for FedEx in New Hampshire from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Duato

has been eligible to receive overtime pay under the FLSA because Duato has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6588. Plaintiff Frank English is an individual residing in New Hampshire. English

worked as a delivery driver for FedEx in New Hampshire from approximately 2000 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             1783
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1784 of 3128




English has been eligible to receive overtime pay under the FLSA because English has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6589. Plaintiff Gary Fuller is an individual residing in Florida. Fuller worked as a

delivery driver for FedEx in New Hampshire but was employed through intermediary entities

that FedEx calls independent service providers. Fuller has been eligible to receive overtime pay

under the FLSA because Fuller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6590. Plaintiff German Goldus is an individual residing in New Hampshire. Goldus

worked as a delivery driver for FedEx in New Hampshire from approximately 2010 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Goldus has been eligible to receive overtime pay under the FLSA because Goldus has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6591. Plaintiff John Gonyer is an individual residing in New Hampshire. Gonyer

worked as a delivery driver for FedEx in New Hampshire from approximately 2011 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Gonyer has been eligible to receive overtime pay under the FLSA because Gonyer has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6592. Plaintiff Adam Grijalva is an individual residing in South Carolina. Grijalva

worked as a delivery driver for FedEx in New Hampshire from approximately 2000 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              1784
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1785 of 3128




Grijalva has been eligible to receive overtime pay under the FLSA because Grijalva has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6593. Plaintiff James Hafford is an individual residing in Vermont. Hafford worked as a

delivery driver for FedEx in New Hampshire but was employed through intermediary entities

that FedEx calls independent service providers. Hafford has been eligible to receive overtime pay

under the FLSA because Hafford has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6594. Plaintiff Michael Haigler is an individual residing in New Hampshire. Haigler

worked as a delivery driver for FedEx in New Hampshire from approximately 2011 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Haigler has been eligible to receive overtime pay under the FLSA because Haigler has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6595. Plaintiff Quintin Hunter is an individual residing in New Hampshire. Hunter

worked as a delivery driver for FedEx in New Hampshire but was employed through

intermediary entities that FedEx calls independent service providers. Hunter has been eligible to

receive overtime pay under the FLSA because Hunter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6596. Plaintiff Robert Jantti is an individual residing in Vermont. Jantti worked as a

delivery driver for FedEx in New Hampshire from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Jantti has

been eligible to receive overtime pay under the FLSA because Jantti has driven a vehicle



                                              1785
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1786 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6597. Plaintiff Barry Jones is an individual residing in New Hampshire. Jones worked

as a delivery driver for FedEx in New Hampshire from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6598. Plaintiff William Kelly is an individual residing in New Hampshire. Kelly worked

as a delivery driver for FedEx in New Hampshire from approximately 2009 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Kelly

has been eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6599. Plaintiff Arseniy Klimov is an individual residing in New Hampshire. Klimov

worked as a delivery driver for FedEx in New Hampshire from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Klimov has been eligible to receive overtime pay under the FLSA because Klimov has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6600. Plaintiff Willard Laraway is an individual residing in New Hampshire. Laraway

worked as a delivery driver for FedEx in New Hampshire from approximately 2020 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             1786
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1787 of 3128




Laraway has been eligible to receive overtime pay under the FLSA because Laraway has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6601. Plaintiff Leonard Lebrun is an individual residing in Vermont. Lebrun worked as

a delivery driver for FedEx in New Hampshire from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Lebrun

has been eligible to receive overtime pay under the FLSA because Lebrun has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6602. Plaintiff Wayne Lombardo is an individual residing in New Hampshire.

Lombardo worked as a delivery driver for FedEx in New Hampshire from approximately 2015 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Lombardo has been eligible to receive overtime pay under the FLSA because

Lombardo has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       6603. Plaintiff Steven Lornitzo is an individual residing in New Hampshire. Lornitzo

worked as a delivery driver for FedEx in New Hampshire from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Lornitzo has been eligible to receive overtime pay under the FLSA because Lornitzo has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6604. Plaintiff Karyne Maines is an individual residing in New Hampshire. Maines

worked as a delivery driver for FedEx in New Hampshire from approximately 2009 to 2017 but



                                             1787
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1788 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Maines has been eligible to receive overtime pay under the FLSA because Maines has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6605. Plaintiff Thomas Manfredi is an individual residing in New Hampshire. Manfredi

worked as a delivery driver for FedEx in New Hampshire from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Manfredi has been eligible to receive overtime pay under the FLSA because Manfredi has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6606. Plaintiff James Manoukian is an individual residing in New Hampshire.

Manoukian worked as a delivery driver for FedEx in New Hampshire from approximately 2010

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Manoukian has been eligible to receive overtime pay under the FLSA because

Manoukian has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       6607. Plaintiff Michael Mendes is an individual residing in New Hampshire. Mendes

worked as a delivery driver for FedEx in New Hampshire but was employed through

intermediary entities that FedEx calls independent service providers. Mendes has been eligible to

receive overtime pay under the FLSA because Mendes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6608. Plaintiff Edward Morley is an individual residing in Massachusetts. Morley

worked as a delivery driver for FedEx in New Hampshire from approximately 2018 to 2024 but



                                              1788
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1789 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Morley has been eligible to receive overtime pay under the FLSA because Morley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6609. Plaintiff Erik Moyer is an individual residing in New Hampshire. Moyer worked

as a delivery driver for FedEx in New Hampshire from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Moyer

has been eligible to receive overtime pay under the FLSA because Moyer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6610. Plaintiff Angelo Navarro is an individual residing in New Hampshire. Navarro

worked as a delivery driver for FedEx in New Hampshire but was employed through

intermediary entities that FedEx calls independent service providers. Navarro has been eligible to

receive overtime pay under the FLSA because Navarro has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6611. Plaintiff Justin Nicholas is an individual residing in New Hampshire. Nicholas

worked as a delivery driver for FedEx in New Hampshire from approximately 2009 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Nicholas has been eligible to receive overtime pay under the FLSA because Nicholas has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6612. Plaintiff Diana Ouellette is an individual residing in New Hampshire. Ouellette

worked as a delivery driver for FedEx in New Hampshire from approximately 2017 to 2023 but



                                              1789
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1790 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Ouellette has been eligible to receive overtime pay under the FLSA because Ouellette has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6613. Plaintiff Laurence Ouellette is an individual residing in North Carolina. Ouellette

worked as a delivery driver for FedEx in New Hampshire but was employed through

intermediary entities that FedEx calls independent service providers. Ouellette has been eligible

to receive overtime pay under the FLSA because Ouellette has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6614. Plaintiff Brian Peace is an individual residing in New Hampshire. Peace worked

as a delivery driver for FedEx in New Hampshire from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Peace

has been eligible to receive overtime pay under the FLSA because Peace has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6615. Plaintiff Steven Piscitelli is an individual residing in New Hampshire. Piscitelli

worked as a delivery driver for FedEx in New Hampshire from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Piscitelli has been eligible to receive overtime pay under the FLSA because Piscitelli has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                               1790
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1791 of 3128




       6616. Plaintiff Dylan Richardson is an individual residing in New Hampshire.

Richardson worked as a delivery driver for FedEx in New Hampshire from approximately 2017

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Richardson has been eligible to receive overtime pay under the FLSA because

Richardson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       6617. Plaintiff Jonathan Roberts is an individual residing in Massachusetts. Roberts

worked as a delivery driver for FedEx in New Hampshire from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Roberts has been eligible to receive overtime pay under the FLSA because Roberts has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6618. Plaintiff Bruce Rodman is an individual residing in Texas. Rodman worked as a

delivery driver for FedEx in New Hampshire from approximately 2002 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rodman

has been eligible to receive overtime pay under the FLSA because Rodman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6619. Plaintiff Michael Speck is an individual residing in New Hampshire. Speck

worked as a delivery driver for FedEx in New Hampshire from approximately 2007 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Speck has been eligible to receive overtime pay under the FLSA because Speck has driven a




                                             1791
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1792 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6620. Plaintiff Thomas Surridge is an individual residing in New Hampshire. Surridge

worked as a delivery driver for FedEx in New Hampshire from approximately 2014 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Surridge has been eligible to receive overtime pay under the FLSA because Surridge has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6621. Plaintiff Lynn Vaillancourt is an individual residing in New Hampshire.

Vaillancourt worked as a delivery driver for FedEx in New Hampshire from approximately 2002

to 2021 but was employed through intermediary entities that FedEx calls independent service

providers. Vaillancourt has been eligible to receive overtime pay under the FLSA because

Vaillancourt has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       6622. Plaintiff David Widner is an individual residing in Maine. Widner worked as a

delivery driver for FedEx in New Hampshire but was employed through intermediary entities

that FedEx calls independent service providers. Widner has been eligible to receive overtime pay

under the FLSA because Widner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6623. Plaintiff Howard Williams is an individual residing in Wyoming. Williams

worked as a delivery driver for FedEx in New Hampshire from approximately 2008 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Williams has been eligible to receive overtime pay under the FLSA because Williams has driven



                                             1792
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1793 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6624. Plaintiff Ronald Willis is an individual residing in Louisiana. Willis worked as a

delivery driver for FedEx in New Hampshire but was employed through intermediary entities

that FedEx calls independent service providers. Willis has been eligible to receive overtime pay

under the FLSA because Willis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6625. Plaintiff Ihab Abdou is an individual residing in New Jersey. Abdou worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Abdou has been

eligible to receive overtime pay under the FLSA because Abdou has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6626. Plaintiff Alim Afrooz is an individual residing in Michigan. Afrooz worked as a

delivery driver for FedEx in New Jersey from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Afrooz has been

eligible to receive overtime pay under the FLSA because Afrooz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6627. Plaintiff Orlin Aguilar Sandoval V is an individual residing in New Jersey.

Aguilar Sandoval V worked as a delivery driver for FedEx in New Jersey from approximately

2021 to 2022 but was employed through intermediary entities that FedEx calls independent

service providers. Aguilar Sandoval V has been eligible to receive overtime pay under the FLSA



                                              1793
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1794 of 3128




because Aguilar Sandoval V has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6628. Plaintiff Darwin Alba is an individual residing in New Jersey. Alba worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Alba has been

eligible to receive overtime pay under the FLSA because Alba has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6629. Plaintiff Daimon Allen is an individual residing in New Jersey. Allen worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6630. Plaintiff John Almodovar is an individual residing in New Jersey. Almodovar

worked as a delivery driver for FedEx in New Jersey from approximately 2011 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Almodovar has been eligible to receive overtime pay under the FLSA because Almodovar has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6631. Plaintiff Yoely Almonte is an individual residing in New Jersey. Almonte worked

as a delivery driver for FedEx in New Jersey from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Almonte



                                              1794
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1795 of 3128




has been eligible to receive overtime pay under the FLSA because Almonte has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6632. Plaintiff Aaron Anderson is an individual residing in New Jersey. Anderson

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Anderson has been eligible to receive

overtime pay under the FLSA because Anderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6633. Plaintiff Terry Anderson is an individual residing in New Jersey. Anderson

worked as a delivery driver for FedEx in New Jersey from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6634. Plaintiff Demarco Anthony is an individual residing in New Jersey. Anthony

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Anthony has been eligible to receive

overtime pay under the FLSA because Anthony has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6635. Plaintiff Francisco Arias is an individual residing in New Jersey. Arias worked as

a delivery driver for FedEx in New Jersey from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Arias has been

eligible to receive overtime pay under the FLSA because Arias has driven a vehicle weighing



                                              1795
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1796 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6636. Plaintiff Richard Arrowood is an individual residing in New Jersey. Arrowood

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Arrowood has been eligible to receive

overtime pay under the FLSA because Arrowood has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6637. Plaintiff John Arshed is an individual residing in New York. Arshed worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Arshed has been

eligible to receive overtime pay under the FLSA because Arshed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6638. Plaintiff Anthony Attanasio is an individual residing in New Jersey. Attanasio

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Attanasio has been eligible to receive overtime pay under the FLSA because Attanasio has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6639. Plaintiff Mohamed Badr is an individual residing in New Jersey. Badr worked as

a delivery driver for FedEx in New Jersey from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Badr has been

eligible to receive overtime pay under the FLSA because Badr has driven a vehicle weighing less



                                              1796
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1797 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6640. Plaintiff William Baldwin is an individual residing in New Jersey. Baldwin

worked as a delivery driver for FedEx in New Jersey from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Baldwin

has been eligible to receive overtime pay under the FLSA because Baldwin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6641. Plaintiff Victor Barrera-Alvarez is an individual residing in New Jersey. Barrera-

Alvarez worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Barrera-Alvarez has been eligible to receive overtime pay under the FLSA because Barrera-

Alvarez has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        6642. Plaintiff Dionte Beckett is an individual residing in New Jersey. Beckett worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Beckett

has been eligible to receive overtime pay under the FLSA because Beckett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6643. Plaintiff Richard Bednarski is an individual residing in New Jersey. Bednarski

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1797
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1798 of 3128




Bednarski has been eligible to receive overtime pay under the FLSA because Bednarski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6644. Plaintiff Harry Benanchietti is an individual residing in New Jersey. Benanchietti

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Benanchietti has been eligible to receive overtime pay under the FLSA because Benanchietti has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6645. Plaintiff Simranjit Bhullar is an individual residing in New Jersey. Bhullar

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bhullar

has been eligible to receive overtime pay under the FLSA because Bhullar has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6646. Plaintiff Jarred Bianchini is an individual residing in Massachusetts. Bianchini

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Bianchini has been eligible to receive overtime pay under the FLSA because Bianchini has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6647. Plaintiff Willie Billingsley is an individual residing in New Jersey. Billingsley

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2016 but was



                                              1798
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1799 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Billingsley has been eligible to receive overtime pay under the FLSA because Billingsley has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6648. Plaintiff Anthony Boggiano is an individual residing in New Jersey. Boggiano

worked as a delivery driver for FedEx in New Jersey from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Boggiano has been eligible to receive overtime pay under the FLSA because Boggiano has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6649. Plaintiff Walter Boria is an individual residing in New Jersey. Boria worked as a

delivery driver for FedEx in New Jersey from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Boria has been

eligible to receive overtime pay under the FLSA because Boria has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6650. Plaintiff Ian Bromfield is an individual residing in New York. Bromfield worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Bromfield has been eligible to receive overtime pay under the FLSA because Bromfield has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              1799
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1800 of 3128




        6651. Plaintiff Joseph Brooks is an individual residing in New Jersey. Brooks worked as

a delivery driver for FedEx in New Jersey from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6652. Plaintiff Duncan Brown is an individual residing in New Jersey. Brown worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6653. Plaintiff Charles Bynum is an individual residing in New Jersey. Bynum worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bynum

has been eligible to receive overtime pay under the FLSA because Bynum has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6654. Plaintiff Godfry Campbell is an individual residing in New Jersey. Campbell

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Campbell has been eligible to receive

overtime pay under the FLSA because Campbell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1800
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1801 of 3128




        6655. Plaintiff Edward Caraballo is an individual residing in New Jersey. Caraballo

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Caraballo has been eligible to receive overtime pay under the FLSA because Caraballo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6656. Plaintiff John Carpio is an individual residing in New Jersey. Carpio worked as a

delivery driver for FedEx in New Jersey from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Carpio has been

eligible to receive overtime pay under the FLSA because Carpio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6657. Plaintiff Richard Carter is an individual residing in New Jersey. Carter worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Carter has been eligible to receive overtime pay

under the FLSA because Carter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6658. Plaintiff Carlemito Carvalho is an individual residing in New Jersey. Carvalho

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Carvalho has been eligible to receive

overtime pay under the FLSA because Carvalho has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1801
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1802 of 3128




        6659. Plaintiff Anthony Casiano is an individual residing in New Jersey. Casiano

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Casiano has been eligible to receive

overtime pay under the FLSA because Casiano has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6660. Plaintiff Jorge Cedres is an individual residing in New Jersey. Cedres worked as a

delivery driver for FedEx in New Jersey from approximately 2010 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Cedres has been

eligible to receive overtime pay under the FLSA because Cedres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6661. Plaintiff Sanvius Celamy is an individual residing in New Jersey. Celamy worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Celamy has been eligible to receive overtime pay

under the FLSA because Celamy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6662. Plaintiff Dominic Cerrone Jr is an individual residing in New Jersey. Cerrone Jr

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Cerrone

Jr has been eligible to receive overtime pay under the FLSA because Cerrone Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              1802
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1803 of 3128




       6663. Plaintiff Miroslaw Chelchowski is an individual residing in New Jersey.

Chelchowski worked as a delivery driver for FedEx in New Jersey from approximately 2015 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Chelchowski has been eligible to receive overtime pay under the FLSA because

Chelchowski has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       6664. Plaintiff Vladislav Chernov is an individual residing in New Jersey. Chernov

worked as a delivery driver for FedEx in New Jersey from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Chernov

has been eligible to receive overtime pay under the FLSA because Chernov has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6665. Plaintiff Stefano Chiariza is an individual residing in New York. Chiariza worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Chiariza has been eligible to receive overtime

pay under the FLSA because Chiariza has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       6666. Plaintiff Kenneth Clark is an individual residing in Pennsylvania. Clark worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Clark has been eligible to receive overtime pay under

the FLSA because Clark has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1803
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1804 of 3128




       6667. Plaintiff Anthony Cocciolone is an individual residing in New Jersey. Cocciolone

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Cocciolone has been eligible to receive overtime pay under the FLSA because Cocciolone has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6668. Plaintiff Olynthea Colvin is an individual residing in New Jersey. Colvin worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Colvin has been eligible to receive overtime pay

under the FLSA because Colvin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6669. Plaintiff Shawn Concannon is an individual residing in New Jersey. Concannon

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Concannon has been eligible to receive overtime pay under the FLSA because Concannon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6670. Plaintiff Luis Concepcion is an individual residing in New Jersey. Concepcion

worked as a delivery driver for FedEx in New Jersey from approximately 2011 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Concepcion has been eligible to receive overtime pay under the FLSA because Concepcion has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1804
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1805 of 3128




        6671. Plaintiff Eoin Connelly is an individual residing in New Jersey. Connelly worked

as a delivery driver for FedEx in New Jersey from approximately 2002 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Connelly

has been eligible to receive overtime pay under the FLSA because Connelly has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6672. Plaintiff Delvis Consuegra is an individual residing in New Jersey. Consuegra

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Consuegra has been eligible to receive overtime pay under the FLSA because Consuegra has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6673. Plaintiff Gary Cordi is an individual residing in Florida. Cordi worked as a

delivery driver for FedEx in New Jersey from approximately 2001 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cordi has been

eligible to receive overtime pay under the FLSA because Cordi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6674. Plaintiff Antonio Coria is an individual residing in New Jersey. Coria worked as a

delivery driver for FedEx in New Jersey from approximately 2005 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Coria has been

eligible to receive overtime pay under the FLSA because Coria has driven a vehicle weighing




                                              1805
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1806 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6675. Plaintiff Lafayette Crawford is an individual residing in New Jersey. Crawford

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Crawford has been eligible to receive overtime pay under the FLSA because Crawford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6676. Plaintiff Leonardo Cuevas is an individual residing in New Jersey. Cuevas

worked as a delivery driver for FedEx in New Jersey from approximately 2008 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Cuevas

has been eligible to receive overtime pay under the FLSA because Cuevas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6677. Plaintiff Kristian Cullins is an individual residing in New Jersey. Cullins worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Cullins

has been eligible to receive overtime pay under the FLSA because Cullins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6678. Plaintiff Vincent Cutro is an individual residing in New Jersey. Cutro worked as a

delivery driver for FedEx in New Jersey from approximately 2000 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cutro has been



                                              1806
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1807 of 3128




eligible to receive overtime pay under the FLSA because Cutro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6679. Plaintiff John Daidone is an individual residing in New Jersey. Daidone worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Daidone

has been eligible to receive overtime pay under the FLSA because Daidone has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6680. Plaintiff Darryl Dambrosio is an individual residing in Florida. Dambrosio

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Dambrosio has been eligible to receive overtime pay under the FLSA because Dambrosio has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6681. Plaintiff Michael Dante is an individual residing in New Jersey. Dante worked as

a delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dante has been

eligible to receive overtime pay under the FLSA because Dante has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6682. Plaintiff Franklin De La Cruz Bueno is an individual residing in New Jersey. De

La Cruz Bueno worked as a delivery driver for FedEx in New Jersey from approximately 2016 to



                                             1807
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1808 of 3128




2017 but was employed through intermediary entities that FedEx calls independent service

providers. De La Cruz Bueno has been eligible to receive overtime pay under the FLSA because

De La Cruz Bueno has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       6683. Plaintiff Juan Dela Cruz is an individual residing in New Jersey. Dela Cruz

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Dela

Cruz has been eligible to receive overtime pay under the FLSA because Dela Cruz has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6684. Plaintiff Eusebio Delacruz is an individual residing in New Jersey. Delacruz

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Delacruz

has been eligible to receive overtime pay under the FLSA because Delacruz has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6685. Plaintiff Gerard Delon is an individual residing in New Jersey. Delon worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Delon has been eligible to receive overtime pay

under the FLSA because Delon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6686. Plaintiff Vincent Deluca is an individual residing in New Jersey. Deluca worked

as a delivery driver for FedEx in New Jersey from approximately 2006 to 2017 but was



                                             1808
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1809 of 3128




employed through intermediary entities that FedEx calls independent service providers. Deluca

has been eligible to receive overtime pay under the FLSA because Deluca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6687. Plaintiff Michael Demato is an individual residing in New Jersey. Demato worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Demato has been eligible to receive overtime pay

under the FLSA because Demato has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6688. Plaintiff Carmine Velez is an individual residing in Indiana. Desrosier worked as

a delivery driver for FedEx in New Jersey from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Desrosier has been

eligible to receive overtime pay under the FLSA because Desrosier has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6689. Plaintiff Jose Diaz is an individual residing in Florida. Diaz worked as a delivery

driver for FedEx in New Jersey from approximately 2007 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Diaz has been eligible to

receive overtime pay under the FLSA because Diaz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6690. Plaintiff Tyler Dill is an individual residing in New Jersey. Dill worked as a

delivery driver for FedEx in New Jersey from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dill has been



                                              1809
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1810 of 3128




eligible to receive overtime pay under the FLSA because Dill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6691. Plaintiff James Doan is an individual residing in Pennsylvania. Doan worked as a

delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Doan has been

eligible to receive overtime pay under the FLSA because Doan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6692. Plaintiff Chanelle Dokes is an individual residing in New Jersey. Dokes worked

as a delivery driver for FedEx in New Jersey from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Dokes

has been eligible to receive overtime pay under the FLSA because Dokes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6693. Plaintiff Moustapha Doumbia is an individual residing in New Jersey. Doumbia

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Doumbia

has been eligible to receive overtime pay under the FLSA because Doumbia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6694. Plaintiff Lakisha Doyle is an individual residing in New Jersey. Doyle worked as

a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was employed



                                             1810
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1811 of 3128




through intermediary entities that FedEx calls independent service providers. Doyle has been

eligible to receive overtime pay under the FLSA because Doyle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6695. Plaintiff Alexandria Drake is an individual residing in New Jersey. Drake worked

as a delivery driver for FedEx in New Jersey from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Drake

has been eligible to receive overtime pay under the FLSA because Drake has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6696. Plaintiff Jalen Dunn is an individual residing in New Jersey. Dunn worked as a

delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dunn has been

eligible to receive overtime pay under the FLSA because Dunn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6697. Plaintiff Tarel Dunn is an individual residing in New Jersey. Dunn worked as a

delivery driver for FedEx in New Jersey from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Dunn has been

eligible to receive overtime pay under the FLSA because Dunn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1811
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1812 of 3128




        6698. Plaintiff Steven Dunne is an individual residing in New Jersey. Dunne worked as

a delivery driver for FedEx in New Jersey from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Dunne has been

eligible to receive overtime pay under the FLSA because Dunne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6699. Plaintiff Brian Dunster is an individual residing in New Jersey. Dunster worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Dunster has been eligible to receive overtime pay

under the FLSA because Dunster has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6700. Plaintiff Tomasz Dzienisik is an individual residing in New Jersey. Dzienisik

worked as a delivery driver for FedEx in New Jersey from approximately 2012 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Dzienisik has been eligible to receive overtime pay under the FLSA because Dzienisik has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6701. Plaintiff Shannicua Edward is an individual residing in New Jersey. Edward

worked as a delivery driver for FedEx in New Jersey from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Edward

has been eligible to receive overtime pay under the FLSA because Edward has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             1812
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1813 of 3128




        6702. Plaintiff Sarah Edwards is an individual residing in New Jersey. Edwards worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Edwards

has been eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6703. Plaintiff Robert Ekness is an individual residing in Arizona. Ekness worked as a

delivery driver for FedEx in New Jersey from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ekness has been

eligible to receive overtime pay under the FLSA because Ekness has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6704. Plaintiff Dale English is an individual residing in New Jersey. English worked as

a delivery driver for FedEx in New Jersey from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. English has been

eligible to receive overtime pay under the FLSA because English has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6705. Plaintiff Paul Ferrandino is an individual residing in New Jersey. Ferrandino

worked as a delivery driver for FedEx in New Jersey from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Ferrandino has been eligible to receive overtime pay under the FLSA because Ferrandino has




                                              1813
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1814 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6706. Plaintiff Taylor Ford is an individual residing in New Jersey. Ford worked as a

delivery driver for FedEx in New Jersey from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been

eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6707. Plaintiff Steven Forman is an individual residing in New Jersey. Forman worked

as a delivery driver for FedEx in New Jersey from approximately 2001 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Forman

has been eligible to receive overtime pay under the FLSA because Forman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6708. Plaintiff Arthur Foster is an individual residing in New Jersey. Foster worked as a

delivery driver for FedEx in New Jersey from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Foster has been

eligible to receive overtime pay under the FLSA because Foster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6709. Plaintiff Kevin Frankliln is an individual residing in New Jersey. Frankliln

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Frankliln



                                              1814
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1815 of 3128




has been eligible to receive overtime pay under the FLSA because Frankliln has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6710. Plaintiff Edgar Garcia is an individual residing in New Jersey. Garcia worked as a

delivery driver for FedEx in New Jersey from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6711. Plaintiff Randix Garcia is an individual residing in New Jersey. Garcia worked as

a delivery driver for FedEx in New Jersey from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6712. Plaintiff Mark Gencarelli is an individual residing in New Jersey. Gencarelli

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Gencarelli has been eligible to receive overtime pay under the FLSA because Gencarelli has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6713. Plaintiff Kwadwo Genfi is an individual residing in New Jersey. Genfi worked as

a delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was employed



                                              1815
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1816 of 3128




through intermediary entities that FedEx calls independent service providers. Genfi has been

eligible to receive overtime pay under the FLSA because Genfi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6714. Plaintiff Thomas Givens is an individual residing in New Jersey. Givens worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Givens has been eligible to receive overtime pay

under the FLSA because Givens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6715. Plaintiff Dominic Gliottone is an individual residing in New Jersey. Gliottone

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Gliottone has been eligible to receive overtime pay under the FLSA because Gliottone has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6716. Plaintiff Benito Gonzalez is an individual residing in New Jersey. Gonzalez

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6717. Plaintiff Jaime Gonzalez is an individual residing in New York. Gonzalez worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2020 but was



                                              1816
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1817 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6718. Plaintiff Anthony Goodwyn is an individual residing in New Jersey. Goodwyn

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Goodwyn has been eligible to receive

overtime pay under the FLSA because Goodwyn has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6719. Plaintiff Joel Gordon is an individual residing in New Jersey. Gordon worked as a

delivery driver for FedEx in New Jersey from approximately 2009 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6720. Plaintiff Keith Goresh is an individual residing in New York. Goresh worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Goresh has been eligible to receive overtime pay

under the FLSA because Goresh has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6721. Plaintiff Mike Gorga is an individual residing in New Jersey. Gorga worked as a

delivery driver for FedEx in New Jersey from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gorga has been



                                              1817
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1818 of 3128




eligible to receive overtime pay under the FLSA because Gorga has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6722. Plaintiff James Grant is an individual residing in Florida. Grant worked as a

delivery driver for FedEx in New Jersey from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6723. Plaintiff Gerald Green is an individual residing in New Jersey. Green worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Green has been eligible to receive overtime pay

under the FLSA because Green has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6724. Plaintiff John Grey is an individual residing in New Jersey. Grey worked as a

delivery driver for FedEx in New Jersey from approximately 2004 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Grey has been

eligible to receive overtime pay under the FLSA because Grey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6725. Plaintiff Thomas Grillo is an individual residing in New Jersey. Grillo worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Grillo has been eligible to receive overtime pay under



                                              1818
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1819 of 3128




the FLSA because Grillo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       6726. Plaintiff Vincent Guardiola is an individual residing in New York. Guardiola

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Guardiola has been eligible to receive

overtime pay under the FLSA because Guardiola has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6727. Plaintiff Stephane Guillaume is an individual residing in New Jersey. Guillaume

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Guillaume has been eligible to receive

overtime pay under the FLSA because Guillaume has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6728. Plaintiff Jerry Gutierrez is an individual residing in New Jersey. Gutierrez worked

as a delivery driver for FedEx in New Jersey from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Gutierrez has been eligible to receive overtime pay under the FLSA because Gutierrez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       6729. Plaintiff Derek Harden is an individual residing in New Jersey. Harden worked as

a delivery driver for FedEx in New Jersey from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Harden has been

eligible to receive overtime pay under the FLSA because Harden has driven a vehicle weighing




                                              1819
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1820 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6730. Plaintiff Saiquan Harris is an individual residing in New Jersey. Harris worked as

a delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6731. Plaintiff Timothy Hawkins is an individual residing in New Jersey. Hawkins

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Hawkins

has been eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6732. Plaintiff Larry Henderson is an individual residing in Pennsylvania. Henderson

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Henderson has been eligible to receive

overtime pay under the FLSA because Henderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6733. Plaintiff Jose Hernandez is an individual residing in New Jersey. Hernandez

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has



                                              1820
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1821 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6734. Plaintiff Teodoro Herrera is an individual residing in Ohio. Herrera worked as a

delivery driver for FedEx in New Jersey from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Herrera has been

eligible to receive overtime pay under the FLSA because Herrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6735. Plaintiff Keith Hinton is an individual residing in New Jersey. Hinton worked as a

delivery driver for FedEx in New Jersey from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hinton has been

eligible to receive overtime pay under the FLSA because Hinton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6736. Plaintiff Howard Hoagland is an individual residing in North Carolina. Hoagland

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Hoagland has been eligible to receive overtime pay under the FLSA because Hoagland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6737. Plaintiff Clifton Hogue is an individual residing in New Jersey. Hogue worked as

a delivery driver for FedEx in New Jersey from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hogue has been



                                              1821
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1822 of 3128




eligible to receive overtime pay under the FLSA because Hogue has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6738. Plaintiff Lawrence Iannuzzi is an individual residing in New Jersey. Iannuzzi

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Iannuzzi has been eligible to receive

overtime pay under the FLSA because Iannuzzi has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6739. Plaintiff Chuvano Irizarry is an individual residing in Florida. Irizarry worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Irizarry has been

eligible to receive overtime pay under the FLSA because Irizarry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6740. Plaintiff Brenton Irvine is an individual residing in New Jersey. Irvine worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Irvine has been eligible to receive overtime pay under

the FLSA because Irvine has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6741. Plaintiff Subanie Jaikaran is an individual residing in New Jersey. Jaikaran

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Jaikaran has been eligible to receive




                                               1822
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1823 of 3128




overtime pay under the FLSA because Jaikaran has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6742. Plaintiff Mantironi Jean is an individual residing in New Jersey. Jean worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Jean has been

eligible to receive overtime pay under the FLSA because Jean has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6743. Plaintiff Kinson Jean is an individual residing in New Jersey. Jean worked as a

delivery driver for FedEx in New Jersey from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jean has been

eligible to receive overtime pay under the FLSA because Jean has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6744. Plaintiff Jean Jerome is an individual residing in New Jersey. Jerome worked as a

delivery driver for FedEx in New Jersey from approximately 2006 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jerome has been

eligible to receive overtime pay under the FLSA because Jerome has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6745. Plaintiff Yolanda Johnson is an individual residing in New Jersey. Johnson

worked as a delivery driver for FedEx in New Jersey from approximately 2011 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson



                                              1823
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1824 of 3128




has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6746. Plaintiff Carl Joseph is an individual residing in New Jersey. Joseph worked as a

delivery driver for FedEx in New Jersey from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Joseph has been

eligible to receive overtime pay under the FLSA because Joseph has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6747. Plaintiff David Joseph is an individual residing in New Jersey. Joseph worked as a

delivery driver for FedEx in New Jersey from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Joseph has been

eligible to receive overtime pay under the FLSA because Joseph has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6748. Plaintiff Andrew Julia is an individual residing in New Jersey. Julia worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Julia has been

eligible to receive overtime pay under the FLSA because Julia has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6749. Plaintiff Kelly Kane is an individual residing in New Jersey. Kane worked as a

delivery driver for FedEx in New Jersey from approximately 2012 to 2016 but was employed



                                              1824
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1825 of 3128




through intermediary entities that FedEx calls independent service providers. Kane has been

eligible to receive overtime pay under the FLSA because Kane has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6750. Plaintiff Serge Kanga is an individual residing in New Jersey. Kanga worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kanga has been

eligible to receive overtime pay under the FLSA because Kanga has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6751. Plaintiff Yevgeniy Karpenko is an individual residing in New Jersey. Karpenko

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Karpenko has been eligible to receive

overtime pay under the FLSA because Karpenko has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6752. Plaintiff George Klesh is an individual residing in New Jersey. Klesh worked as a

delivery driver for FedEx in New Jersey from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Klesh has been

eligible to receive overtime pay under the FLSA because Klesh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6753. Plaintiff Zbigniew Kozlowski is an individual residing in New Jersey. Kozlowski

worked as a delivery driver for FedEx in New Jersey from approximately 2020 to 2021 but was



                                              1825
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1826 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Kozlowski has been eligible to receive overtime pay under the FLSA because Kozlowski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6754. Plaintiff Ronald Landy is an individual residing in Florida. Landy worked as a

delivery driver for FedEx in New Jersey from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Landy has been

eligible to receive overtime pay under the FLSA because Landy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6755. Plaintiff Steven Larsen is an individual residing in New Jersey. Larsen worked as

a delivery driver for FedEx in New Jersey from approximately 2009 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Larsen has been

eligible to receive overtime pay under the FLSA because Larsen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6756. Plaintiff David Lascio is an individual residing in New Jersey. Lascio worked as a

delivery driver for FedEx in New Jersey from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lascio has been

eligible to receive overtime pay under the FLSA because Lascio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1826
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1827 of 3128




       6757. Plaintiff Michael Lassiter is an individual residing in New Jersey. Lassiter worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Lassiter

has been eligible to receive overtime pay under the FLSA because Lassiter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6758. Plaintiff Korey Laws is an individual residing in New Jersey. Laws worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Laws has been eligible to receive overtime pay under

the FLSA because Laws has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       6759. Plaintiff Zoran Lazoroski is an individual residing in New Jersey. Lazoroski

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Lazoroski has been eligible to receive

overtime pay under the FLSA because Lazoroski has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6760. Plaintiff Raydolph Leary is an individual residing in New Jersey. Leary worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Leary has been eligible to receive overtime pay under

the FLSA because Leary has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       6761. Plaintiff Michael Leckow is an individual residing in New York. Leckow worked

as a delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was



                                              1827
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1828 of 3128




employed through intermediary entities that FedEx calls independent service providers. Leckow

has been eligible to receive overtime pay under the FLSA because Leckow has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6762. Plaintiff John Letts is an individual residing in New Jersey. Letts worked as a

delivery driver for FedEx in New Jersey from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Letts has been

eligible to receive overtime pay under the FLSA because Letts has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6763. Plaintiff Andrew Lockman is an individual residing in Pennsylvania. Lockman

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Lockman has been eligible to receive

overtime pay under the FLSA because Lockman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6764. Plaintiff Pablo Lopez is an individual residing in New Jersey. Lopez worked as a

delivery driver for FedEx in New Jersey from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6765. Plaintiff Michael Loscalzo Jr is an individual residing in New Jersey. Loscalzo Jr

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2016 but was



                                              1828
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1829 of 3128




employed through intermediary entities that FedEx calls independent service providers. Loscalzo

Jr has been eligible to receive overtime pay under the FLSA because Loscalzo Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6766. Plaintiff Michael Loschiavo is an individual residing in New Jersey. Loschiavo

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Loschiavo has been eligible to receive overtime pay under the FLSA because Loschiavo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6767. Plaintiff Eric Lozada is an individual residing in New Jersey. Lozada worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lozada has been

eligible to receive overtime pay under the FLSA because Lozada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6768. Plaintiff Armond Lucas is an individual residing in New Jersey. Lucas worked as

a delivery driver for FedEx in New Jersey from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lucas has been

eligible to receive overtime pay under the FLSA because Lucas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1829
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1830 of 3128




       6769. Plaintiff Joseph Macenat is an individual residing in Maryland. Macenat worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Macenat

has been eligible to receive overtime pay under the FLSA because Macenat has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6770. Plaintiff Tomasz Makowski is an individual residing in New Jersey. Makowski

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Makowski has been eligible to receive

overtime pay under the FLSA because Makowski has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6771. Plaintiff Dustin Marrone is an individual residing in New Jersey. Marrone worked

as a delivery driver for FedEx in New Jersey from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Marrone

has been eligible to receive overtime pay under the FLSA because Marrone has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6772. Plaintiff Thomas Marshall is an individual residing in New Jersey. Marshall

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Marshall has been eligible to receive

overtime pay under the FLSA because Marshall has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              1830
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1831 of 3128




        6773. Plaintiff James Martin is an individual residing in Maryland. Martin worked as a

delivery driver for FedEx in New Jersey from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6774. Plaintiff Ralph Mastrangeli is an individual residing in New Jersey. Mastrangeli

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mastrangeli has been eligible to receive overtime pay under the FLSA because Mastrangeli has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6775. Plaintiff Juan Cardenas is an individual residing in New Jersey. Mcallister worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcallister has been eligible to receive overtime pay under the FLSA because Mcallister has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6776. Plaintiff Peter Mccaffrey is an individual residing in New Jersey. Mccaffrey

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Mccaffrey has been eligible to receive

overtime pay under the FLSA because Mccaffrey has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1831
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1832 of 3128




       6777. Plaintiff Eric Mcclain is an individual residing in New Jersey. Mcclain worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Mcclain has been eligible to receive overtime pay

under the FLSA because Mcclain has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6778. Plaintiff Troy Mcclinton is an individual residing in New Jersey. Mcclinton

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcclinton has been eligible to receive overtime pay under the FLSA because Mcclinton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6779. Plaintiff Roderick Mcdougal is an individual residing in New Jersey. Mcdougal

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdougal has been eligible to receive overtime pay under the FLSA because Mcdougal has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6780. Plaintiff Tamika Mcgriff is an individual residing in Pennsylvania. Mcgriff

worked as a delivery driver for FedEx in New Jersey and Pennsylvania from approximately 2000

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Mcgriff has been eligible to receive overtime pay under the FLSA because Mcgriff

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.



                                             1832
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1833 of 3128




       6781. Plaintiff Kent Mcrae is an individual residing in New Jersey. Mcrae worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Mcrae has been eligible to receive overtime pay

under the FLSA because Mcrae has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6782. Plaintiff Philip Meany is an individual residing in New Jersey. Meany worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Meany has been eligible to receive overtime pay

under the FLSA because Meany has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6783. Plaintiff Anthony Mendez is an individual residing in New Jersey. Mendez

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mendez

has been eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6784. Plaintiff Anthony Middleton is an individual residing in New Jersey. Middleton

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Middleton has been eligible to receive overtime pay under the FLSA because Middleton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             1833
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1834 of 3128




        6785. Plaintiff Shawn Miller is an individual residing in New Jersey. Miller worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6786. Plaintiff Francesco Mongelli is an individual residing in New Jersey. Mongelli

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mongelli

has been eligible to receive overtime pay under the FLSA because Mongelli has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6787. Plaintiff Franklyn Mora is an individual residing in New Jersey. Mora worked as

a delivery driver for FedEx in New Jersey from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mora has been

eligible to receive overtime pay under the FLSA because Mora has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6788. Plaintiff Joseph Spells is an individual residing in New Jersey. Morales worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Morales has been eligible to receive overtime pay

under the FLSA because Morales has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1834
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1835 of 3128




        6789. Plaintiff Luis Moran Galvez is an individual residing in New Jersey. Moran

Galvez worked as a delivery driver for FedEx in New Jersey from approximately 2013 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Moran Galvez has been eligible to receive overtime pay under the FLSA because Moran Galvez

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        6790. Plaintiff Yohanna Moreno is an individual residing in New Jersey. Moreno

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Moreno

has been eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6791. Plaintiff Luciano Muniz is an individual residing in New Jersey. Muniz worked as

a delivery driver for FedEx in New Jersey from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Muniz has been

eligible to receive overtime pay under the FLSA because Muniz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6792. Plaintiff Wilfredo Navarro is an individual residing in New Jersey. Navarro

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Navarro has been eligible to receive

overtime pay under the FLSA because Navarro has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1835
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1836 of 3128




        6793. Plaintiff Leshawn Neal is an individual residing in Virginia. Neal worked as a

delivery driver for FedEx in New Jersey from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Neal has been

eligible to receive overtime pay under the FLSA because Neal has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6794. Plaintiff Brian Negrey is an individual residing in New Jersey. Negrey worked as

a delivery driver for FedEx in New Jersey from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Negrey has been

eligible to receive overtime pay under the FLSA because Negrey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6795. Plaintiff Robert Nelson is an individual residing in New Jersey. Nelson worked as

a delivery driver for FedEx in New Jersey from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6796. Plaintiff Stephanie Nicholas is an individual residing in New Jersey. Nicholas

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Nicholas has been eligible to receive

overtime pay under the FLSA because Nicholas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1836
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1837 of 3128




        6797. Plaintiff Doris Novak is an individual residing in North Carolina. Novak worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Novak

has been eligible to receive overtime pay under the FLSA because Novak has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6798. Plaintiff Mike Novak is an individual residing in New Jersey. Novak worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Novak has been eligible to receive overtime pay

under the FLSA because Novak has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6799. Plaintiff Jose Nunez Ventura is an individual residing in New Jersey. Nunez

Ventura worked as a delivery driver for FedEx in New Jersey from approximately 2019 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Nunez Ventura has been eligible to receive overtime pay under the FLSA because Nunez

Ventura has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        6800. Plaintiff Nelson Olivas is an individual residing in New Jersey. Olivas worked as

a delivery driver for FedEx in New Jersey from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Olivas has been

eligible to receive overtime pay under the FLSA because Olivas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1837
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1838 of 3128




        6801. Plaintiff Mikelin Oliver is an individual residing in New Jersey. Oliver worked as

a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Oliver has been

eligible to receive overtime pay under the FLSA because Oliver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6802. Plaintiff Jorge Ormeno is an individual residing in New Jersey. Ormeno worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Ormeno has been eligible to receive overtime

pay under the FLSA because Ormeno has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6803. Plaintiff Kenneth Orner is an individual residing in Pennsylvania. Orner worked

as a delivery driver for FedEx in New Jersey from approximately 2007 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Orner

has been eligible to receive overtime pay under the FLSA because Orner has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6804. Plaintiff Luis Ortiz is an individual residing in New Jersey. Ortiz worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ortiz has been

eligible to receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1838
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1839 of 3128




        6805. Plaintiff Jose Osorio is an individual residing in New Jersey. Osorio worked as a

delivery driver for FedEx in New Jersey from approximately 2000 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Osorio has been

eligible to receive overtime pay under the FLSA because Osorio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6806. Plaintiff Tony Outerbridge is an individual residing in New Jersey. Outerbridge

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Outerbridge has been eligible to receive overtime pay under the FLSA because Outerbridge has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6807. Plaintiff Kwane Outram is an individual residing in New York. Outram worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Outram has been eligible to receive overtime pay

under the FLSA because Outram has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6808. Plaintiff Anthony Palovick is an individual residing in New Jersey. Palovick

worked as a delivery driver for FedEx in New Jersey from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Palovick

has been eligible to receive overtime pay under the FLSA because Palovick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              1839
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1840 of 3128




        6809. Plaintiff Christopher Panelli is an individual residing in Florida. Panelli worked as

a delivery driver for FedEx in New Jersey from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Panelli has been

eligible to receive overtime pay under the FLSA because Panelli has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6810. Plaintiff Jarmar Parker is an individual residing in New Jersey. Parker worked as

a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6811. Plaintiff Nelson Pena is an individual residing in Pennsylvania. Pena worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Pena has been eligible to receive overtime pay under

the FLSA because Pena has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6812. Plaintiff Christina Pender is an individual residing in New Jersey. Pender worked

as a delivery driver for FedEx in New Jersey from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Pender

has been eligible to receive overtime pay under the FLSA because Pender has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               1840
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1841 of 3128




        6813. Plaintiff Jaime Perero is an individual residing in Florida. Perero worked as a

delivery driver for FedEx in New Jersey from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perero has been

eligible to receive overtime pay under the FLSA because Perero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6814. Plaintiff Serafin Perez is an individual residing in New Jersey. Perez worked as a

delivery driver for FedEx in New Jersey from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6815. Plaintiff Isaac Perez is an individual residing in New Jersey. Perez worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Perez has been eligible to receive overtime pay under

the FLSA because Perez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6816. Plaintiff Juan Pineda-Torres is an individual residing in New Jersey. Pineda-

Torres worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Pineda-Torres has been eligible to receive overtime pay under the FLSA because Pineda-Torres

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.



                                              1841
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1842 of 3128




        6817. Plaintiff James Pinney is an individual residing in New Jersey. Pinney worked as

a delivery driver for FedEx in New Jersey from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pinney has been

eligible to receive overtime pay under the FLSA because Pinney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6818. Plaintiff Darryl Pipes is an individual residing in New Jersey. Pipes worked as a

delivery driver for FedEx in New Jersey from approximately 2001 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pipes has been

eligible to receive overtime pay under the FLSA because Pipes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6819. Plaintiff Sandy Placencia is an individual residing in New Jersey. Placencia

worked as a delivery driver for FedEx in New Jersey from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Placencia has been eligible to receive overtime pay under the FLSA because Placencia has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6820. Plaintiff William Plummer is an individual residing in New Jersey. Plummer

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Plummer

has been eligible to receive overtime pay under the FLSA because Plummer has driven a vehicle




                                              1842
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1843 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6821. Plaintiff Thomas Polera is an individual residing in New Jersey. Polera worked as

a delivery driver for FedEx in New Jersey from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Polera has been

eligible to receive overtime pay under the FLSA because Polera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6822. Plaintiff Jamar Porter is an individual residing in New Jersey. Porter worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Porter has been eligible to receive overtime pay

under the FLSA because Porter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6823. Plaintiff Brian Price is an individual residing in New Jersey. Price worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Price has been eligible to receive overtime pay under

the FLSA because Price has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6824. Plaintiff Ragy Radwan is an individual residing in New Jersey. Radwan worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Radwan

has been eligible to receive overtime pay under the FLSA because Radwan has driven a vehicle




                                              1843
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1844 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6825. Plaintiff Theresa Rakebrandt is an individual residing in New Jersey. Rakebrandt

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Rakebrandt has been eligible to receive overtime pay under the FLSA because Rakebrandt has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6826. Plaintiff Francisco Ramirez is an individual residing in New Jersey. Ramirez

worked as a delivery driver for FedEx in New Jersey from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Ramirez

has been eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6827. Plaintiff Jose Ramos is an individual residing in New Jersey. Ramos worked as a

delivery driver for FedEx in New Jersey from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6828. Plaintiff Steven Ramos is an individual residing in Pennsylvania. Ramos worked

as a delivery driver for FedEx in New Jersey from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Ramos



                                             1844
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1845 of 3128




has been eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6829. Plaintiff Pastor Ramos Iii is an individual residing in New Jersey. Ramos Iii

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Ramos Iii has been eligible to receive

overtime pay under the FLSA because Ramos Iii has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6830. Plaintiff Jerome Rivera is an individual residing in New Jersey. Rivera worked as

a delivery driver for FedEx in New Jersey from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been

eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6831. Plaintiff Joseph Rizzo is an individual residing in Florida. Rizzo worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Rizzo has been eligible to receive overtime pay under

the FLSA because Rizzo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6832. Plaintiff Antonio Roman is an individual residing in New Jersey. Roman worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Roman has been eligible to receive overtime pay




                                               1845
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1846 of 3128




under the FLSA because Roman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6833. Plaintiff Brandon Roman is an individual residing in New Jersey. Roman worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Roman

has been eligible to receive overtime pay under the FLSA because Roman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6834. Plaintiff Amelvin Rosario is an individual residing in New Jersey. Rosario

worked as a delivery driver for FedEx in New Jersey from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rosario

has been eligible to receive overtime pay under the FLSA because Rosario has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6835. Plaintiff Elvis Rosario is an individual residing in New Jersey. Rosario worked as

a delivery driver for FedEx in New Jersey from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Rosario has been

eligible to receive overtime pay under the FLSA because Rosario has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6836. Plaintiff Alexis Rosario is an individual residing in New Jersey. Rosario worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rosario



                                              1846
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1847 of 3128




has been eligible to receive overtime pay under the FLSA because Rosario has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6837. Plaintiff Victoria Roscoe is an individual residing in New Jersey. Roscoe worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Roscoe

has been eligible to receive overtime pay under the FLSA because Roscoe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6838. Plaintiff Brian Ruiz is an individual residing in Idaho. Ruiz worked as a delivery

driver for FedEx in New Jersey from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ruiz has been eligible to

receive overtime pay under the FLSA because Ruiz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6839. Plaintiff Verdell Russell is an individual residing in New Jersey. Russell worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Russell has been eligible to receive overtime pay

under the FLSA because Russell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6840. Plaintiff Paul Sabia is an individual residing in New Jersey. Sabia worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Sabia has been eligible to receive overtime pay under




                                              1847
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1848 of 3128




the FLSA because Sabia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       6841. Plaintiff Wedner Saintelmy is an individual residing in New Jersey. Saintelmy

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Saintelmy has been eligible to receive

overtime pay under the FLSA because Saintelmy has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6842. Plaintiff Nickolaos Sakalis is an individual residing in New Jersey. Sakalis

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Sakalis

has been eligible to receive overtime pay under the FLSA because Sakalis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6843. Plaintiff Santos Salaman is an individual residing in New Jersey. Salaman worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Salaman

has been eligible to receive overtime pay under the FLSA because Salaman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6844. Plaintiff Milton Salgado is an individual residing in New Jersey. Salgado worked

as a delivery driver for FedEx in New Jersey from approximately 2005 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Salgado

has been eligible to receive overtime pay under the FLSA because Salgado has driven a vehicle



                                              1848
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1849 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6845. Plaintiff Elcid Saljooki is an individual residing in New Jersey. Saljooki worked

as a delivery driver for FedEx in New Jersey from approximately 2011 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Saljooki

has been eligible to receive overtime pay under the FLSA because Saljooki has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6846. Plaintiff Henry Sanchez is an individual residing in New Jersey. Sanchez worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Sanchez has been eligible to receive overtime

pay under the FLSA because Sanchez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6847. Plaintiff Wanda Sanchez is an individual residing in Florida. Sanchez worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6848. Plaintiff Danielle Sanchez is an individual residing in Florida. Sanchez worked as

a delivery driver for FedEx in New Jersey from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing



                                              1849
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1850 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6849. Plaintiff Leonardo Santiago is an individual residing in Pennsylvania. Santiago

worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Santiago

has been eligible to receive overtime pay under the FLSA because Santiago has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6850. Plaintiff Raphael Santos is an individual residing in Massachusetts. Santos

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Santos

has been eligible to receive overtime pay under the FLSA because Santos has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6851. Plaintiff Richard Savar is an individual residing in New Jersey. Savar worked as a

delivery driver for FedEx in New Jersey from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Savar has been

eligible to receive overtime pay under the FLSA because Savar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6852. Plaintiff Carlon Schaffer is an individual residing in Florida. Schaffer worked as a

delivery driver for FedEx in New Jersey from approximately 2003 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Schaffer has been



                                              1850
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1851 of 3128




eligible to receive overtime pay under the FLSA because Schaffer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6853. Plaintiff Michael Schoettler is an individual residing in New Jersey. Schoettler

worked as a delivery driver for FedEx in New Jersey from approximately 1999 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Schoettler has been eligible to receive overtime pay under the FLSA because Schoettler has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6854. Plaintiff Vincenzo Scotto Dabusco is an individual residing in New York. Scotto

Dabusco worked as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Scotto Dabusco has been eligible to receive overtime pay under the FLSA because Scotto

Dabusco has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        6855. Plaintiff John Seidito is an individual residing in New York. Seidito worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Seidito has been eligible to receive overtime pay

under the FLSA because Seidito has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6856. Plaintiff Jason Shaver is an individual residing in Pennsylvania. Shaver worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Shaver has been eligible to receive overtime pay



                                              1851
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1852 of 3128




under the FLSA because Shaver has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6857. Plaintiff Robert Sherwood is an individual residing in New Jersey. Sherwood

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Sherwood has been eligible to receive overtime pay under the FLSA because Sherwood has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6858. Plaintiff John Siaw is an individual residing in New Jersey. Siaw worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Siaw has been eligible to receive overtime pay under

the FLSA because Siaw has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       6859. Plaintiff Antonio Sierra Jr. is an individual residing in New Jersey. Sierra Jr.

worked as a delivery driver for FedEx in New Jersey from approximately 2000 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Sierra Jr.

has been eligible to receive overtime pay under the FLSA because Sierra Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6860. Plaintiff Robert Six is an individual residing in New Jersey. Six worked as a

delivery driver for FedEx in New Jersey from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Six has been

eligible to receive overtime pay under the FLSA because Six has driven a vehicle weighing less



                                              1852
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1853 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6861. Plaintiff Frank Smith is an individual residing in Pennsylvania. Smith worked as a

delivery driver for FedEx in New Jersey from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6862. Plaintiff Tristan Smith is an individual residing in Virginia. Smith worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6863. Plaintiff Richard Snyder is an individual residing in New Jersey. Snyder worked

as a delivery driver for FedEx in New Jersey from approximately 2001 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Snyder

has been eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6864. Plaintiff Nabil Srouji is an individual residing in New Jersey. Srouji worked as a

delivery driver for FedEx in New Jersey from approximately 1999 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Srouji has been

eligible to receive overtime pay under the FLSA because Srouji has driven a vehicle weighing



                                              1853
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1854 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6865. Plaintiff Jamal St Louis is an individual residing in New York. St Louis worked

as a delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. St Louis

has been eligible to receive overtime pay under the FLSA because St Louis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6866. Plaintiff Craig Stanaway is an individual residing in New Jersey. Stanaway

worked as a delivery driver for FedEx in New Jersey from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Stanaway has been eligible to receive overtime pay under the FLSA because Stanaway has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6867. Plaintiff Derek Staples is an individual residing in Georgia. Staples worked as a

delivery driver for FedEx in New Jersey but was employed through intermediary entities that

FedEx calls independent service providers. Staples has been eligible to receive overtime pay

under the FLSA because Staples has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6868. Plaintiff Oliver Stevanoski is an individual residing in New Jersey. Stevanoski

worked as a delivery driver for FedEx in New Jersey from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Stevanoski has been eligible to receive overtime pay under the FLSA because Stevanoski has



                                              1854
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1855 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6869. Plaintiff Kevin Stokes is an individual residing in New Jersey. Stokes worked as a

delivery driver for FedEx in New Jersey from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been

eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6870. Plaintiff Christopher Stosko is an individual residing in New Jersey. Stosko

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Stosko

has been eligible to receive overtime pay under the FLSA because Stosko has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6871. Plaintiff Clifford Streater is an individual residing in Delaware. Streater worked

as a delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Streater

has been eligible to receive overtime pay under the FLSA because Streater has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6872. Plaintiff Larenz Suggs is an individual residing in Pennsylvania. Suggs worked as

a delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Suggs has been



                                               1855
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1856 of 3128




eligible to receive overtime pay under the FLSA because Suggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6873. Plaintiff Frank Suglia is an individual residing in New Jersey. Suglia worked as a

delivery driver for FedEx in New Jersey from approximately 2002 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Suglia has been

eligible to receive overtime pay under the FLSA because Suglia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6874. Plaintiff Mohammed Swaray is an individual residing in New Jersey. Swaray

worked as a delivery driver for FedEx in New Jersey from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Swaray

has been eligible to receive overtime pay under the FLSA because Swaray has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6875. Plaintiff Joseph Sweat is an individual residing in New Jersey. Sweat worked as a

delivery driver for FedEx in New Jersey from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Sweat has been

eligible to receive overtime pay under the FLSA because Sweat has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6876. Plaintiff Wayne Tally is an individual residing in New Jersey. Tally worked as a

delivery driver for FedEx in New Jersey from approximately 2018 to 2024 but was employed



                                              1856
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1857 of 3128




through intermediary entities that FedEx calls independent service providers. Tally has been

eligible to receive overtime pay under the FLSA because Tally has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6877. Plaintiff Sonny Telemaque is an individual residing in New Jersey. Telemaque

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Telemaque has been eligible to receive overtime pay under the FLSA because Telemaque has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6878. Plaintiff Vincent Tenpenny is an individual residing in New Jersey. Tenpenny

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Tenpenny has been eligible to receive

overtime pay under the FLSA because Tenpenny has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6879. Plaintiff Wayne Thomas is an individual residing in New Jersey. Thomas worked

as a delivery driver for FedEx in New Jersey from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Thomas

has been eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6880. Plaintiff India Thomas is an individual residing in New Jersey. Thomas worked as

a delivery driver for FedEx in New Jersey but was employed through intermediary entities that



                                              1857
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1858 of 3128




FedEx calls independent service providers. Thomas has been eligible to receive overtime pay

under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6881. Plaintiff Randolph Thompson is an individual residing in North Carolina.

Thompson worked as a delivery driver for FedEx in New Jersey but was employed through

intermediary entities that FedEx calls independent service providers. Thompson has been eligible

to receive overtime pay under the FLSA because Thompson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6882. Plaintiff Ramon Tiburcio is an individual residing in New Jersey. Tiburcio

worked as a delivery driver for FedEx in New Jersey from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Tiburcio

has been eligible to receive overtime pay under the FLSA because Tiburcio has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6883. Plaintiff Ryan Tomaszewicz is an individual residing in New Jersey.

Tomaszewicz worked as a delivery driver for FedEx in New Jersey from approximately 2006 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Tomaszewicz has been eligible to receive overtime pay under the FLSA because

Tomaszewicz has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6884. Plaintiff Nelson Torres is an individual residing in Pennsylvania. Torres worked

as a delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was



                                              1858
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1859 of 3128




employed through intermediary entities that FedEx calls independent service providers. Torres

has been eligible to receive overtime pay under the FLSA because Torres has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6885. Plaintiff Placido Torres-Rodriguez is an individual residing in New Jersey.

Torres-Rodriguez worked as a delivery driver for FedEx in New Jersey from approximately 2018

to 2019 but was employed through intermediary entities that FedEx calls independent service

providers. Torres-Rodriguez has been eligible to receive overtime pay under the FLSA because

Torres-Rodriguez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6886. Plaintiff Philip Tosti is an individual residing in New Jersey. Tosti worked as a

delivery driver for FedEx in New Jersey from approximately 2000 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Tosti has been

eligible to receive overtime pay under the FLSA because Tosti has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6887. Plaintiff Stephen Tucker is an individual residing in New Jersey. Tucker worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Tucker has been eligible to receive overtime pay

under the FLSA because Tucker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6888. Plaintiff Javier Urrego is an individual residing in New Jersey. Urrego worked as

a delivery driver for FedEx in New Jersey from approximately 2001 to 2017 but was employed



                                              1859
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1860 of 3128




through intermediary entities that FedEx calls independent service providers. Urrego has been

eligible to receive overtime pay under the FLSA because Urrego has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6889. Plaintiff Moses Valentin is an individual residing in New Jersey. Valentin worked

as a delivery driver for FedEx in New Jersey but was employed through intermediary entities

that FedEx calls independent service providers. Valentin has been eligible to receive overtime

pay under the FLSA because Valentin has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        6890. Plaintiff Peter Van Name is an individual residing in New Jersey. Van Name

worked as a delivery driver for FedEx in New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Van Name has been eligible to receive

overtime pay under the FLSA because Van Name has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6891. Plaintiff Vahan Varjabedian is an individual residing in New Jersey. Varjabedian

worked as a delivery driver for FedEx in New Jersey from approximately 2001 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Varjabedian has been eligible to receive overtime pay under the FLSA because Varjabedian has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6892. Plaintiff Gregorey Vazquez is an individual residing in New Jersey. Vazquez

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Vazquez



                                              1860
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1861 of 3128




has been eligible to receive overtime pay under the FLSA because Vazquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6893. Plaintiff John Venditti is an individual residing in New Jersey. Venditti worked as

a delivery driver for FedEx in New Jersey from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Venditti has been

eligible to receive overtime pay under the FLSA because Venditti has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6894. Plaintiff Angel Vidal is an individual residing in New Jersey. Vidal worked as a

delivery driver for FedEx in New Jersey from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Vidal has been

eligible to receive overtime pay under the FLSA because Vidal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6895. Plaintiff Maurice Walker is an individual residing in New Jersey. Walker worked

as a delivery driver for FedEx in New Jersey from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Walker

has been eligible to receive overtime pay under the FLSA because Walker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6896. Plaintiff Richard Wilkins is an individual residing in Pennsylvania. Wilkins

worked as a delivery driver for FedEx in New Jersey from approximately 2016 to 2017 but was



                                              1861
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1862 of 3128




employed through intermediary entities that FedEx calls independent service providers. Wilkins

has been eligible to receive overtime pay under the FLSA because Wilkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6897. Plaintiff Marco Zambonino is an individual residing in New Jersey. Zambonino

worked as a delivery driver for FedEx in New Jersey from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Zambonino has been eligible to receive overtime pay under the FLSA because Zambonino has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6898. Plaintiff Omar Acosta is an individual residing in New Mexico. Acosta worked as

a delivery driver for FedEx in New Mexico from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Acosta has been

eligible to receive overtime pay under the FLSA because Acosta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6899. Plaintiff Travis Anderson is an individual residing in New Mexico. Anderson

worked as a delivery driver for FedEx in New Mexico but was employed through intermediary

entities that FedEx calls independent service providers. Anderson has been eligible to receive

overtime pay under the FLSA because Anderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6900. Plaintiff Ramon Andrade is an individual residing in New Mexico. Andrade

worked as a delivery driver for FedEx in New Mexico from approximately 2018 to 2019 but was



                                              1862
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1863 of 3128




employed through intermediary entities that FedEx calls independent service providers. Andrade

has been eligible to receive overtime pay under the FLSA because Andrade has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6901. Plaintiff Carlos Apodaca is an individual residing in New Mexico. Apodaca

worked as a delivery driver for FedEx in New Mexico from approximately 2009 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Apodaca

has been eligible to receive overtime pay under the FLSA because Apodaca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6902. Plaintiff Max Archibeque is an individual residing in New Mexico. Archibeque

worked as a delivery driver for FedEx in New Mexico from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Archibeque has been eligible to receive overtime pay under the FLSA because Archibeque has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       6903. Plaintiff Dominique Archuleta is an individual residing in New Mexico.

Archuleta worked as a delivery driver for FedEx in New Mexico from approximately 2018 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Archuleta has been eligible to receive overtime pay under the FLSA because

Archuleta has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.




                                             1863
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1864 of 3128




        6904. Plaintiff Brenton Baker is an individual residing in Texas. Baker worked as a

delivery driver for FedEx in New Mexico but was employed through intermediary entities that

FedEx calls independent service providers. Baker has been eligible to receive overtime pay under

the FLSA because Baker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6905. Plaintiff Chance Barnes is an individual residing in New Mexico. Barnes worked

as a delivery driver for FedEx in New Mexico from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Barnes

has been eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6906. Plaintiff Matthew Barranca is an individual residing in New Mexico. Barranca

worked as a delivery driver for FedEx in New Mexico from approximately 2009 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Barranca

has been eligible to receive overtime pay under the FLSA because Barranca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6907. Plaintiff Kylie Caraher is an individual residing in Colorado. Caraher worked as a

delivery driver for FedEx in New Mexico from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Caraher has been

eligible to receive overtime pay under the FLSA because Caraher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1864
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1865 of 3128




       6908. Plaintiff Chris Carrasco New Mexico is an individual residing in New Mexico.

Carrasco New Mexico worked as a delivery driver for FedEx in New Mexico from

approximately 2019 to 2023 but was employed through intermediary entities that FedEx calls

independent service providers. Carrasco New Mexico has been eligible to receive overtime pay

under the FLSA because Carrasco New Mexico has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       6909. Plaintiff Joshua Chavez is an individual residing in New Mexico. Chavez worked

as a delivery driver for FedEx in New Mexico but was employed through intermediary entities

that FedEx calls independent service providers. Chavez has been eligible to receive overtime pay

under the FLSA because Chavez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       6910. Plaintiff Johnathon Cordova is an individual residing in New Mexico. Cordova

worked as a delivery driver for FedEx in New Mexico from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Cordova

has been eligible to receive overtime pay under the FLSA because Cordova has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6911. Plaintiff Michael Cordova is an individual residing in New Mexico. Cordova

worked as a delivery driver for FedEx in New Mexico from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Cordova

has been eligible to receive overtime pay under the FLSA because Cordova has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             1865
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1866 of 3128




        6912. Plaintiff Mykel Dorsey is an individual residing in Arizona. Dorsey worked as a

delivery driver for FedEx in New Mexico from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Dorsey has been

eligible to receive overtime pay under the FLSA because Dorsey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6913. Plaintiff Craig Duran is an individual residing in New Mexico. Duran worked as a

delivery driver for FedEx in New Mexico from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Duran has been

eligible to receive overtime pay under the FLSA because Duran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6914. Plaintiff Vincent Garcia is an individual residing in New Mexico. Garcia worked

as a delivery driver for FedEx in New Mexico but was employed through intermediary entities

that FedEx calls independent service providers. Garcia has been eligible to receive overtime pay

under the FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6915. Plaintiff Abad Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in New Mexico from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1866
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1867 of 3128




        6916. Plaintiff Michael Garcia is an individual residing in New Mexico. Garcia worked

as a delivery driver for FedEx in New Mexico from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Garcia

has been eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6917. Plaintiff Eric Garcia is an individual residing in New Mexico. Garcia worked as a

delivery driver for FedEx in New Mexico from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6918. Plaintiff Martin Garcilazo is an individual residing in New Mexico. Garcilazo

worked as a delivery driver for FedEx in New Mexico from approximately 2007 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Garcilazo has been eligible to receive overtime pay under the FLSA because Garcilazo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6919. Plaintiff Cecilio Gonzales is an individual residing in New Mexico. Gonzales

worked as a delivery driver for FedEx in New Mexico but was employed through intermediary

entities that FedEx calls independent service providers. Gonzales has been eligible to receive

overtime pay under the FLSA because Gonzales has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              1867
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1868 of 3128




       6920. Plaintiff George Graham is an individual residing in New Mexico. Graham

worked as a delivery driver for FedEx in New Mexico from approximately 2008 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Graham

has been eligible to receive overtime pay under the FLSA because Graham has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6921. Plaintiff Milagros Guzman is an individual residing in New Mexico. Guzman

worked as a delivery driver for FedEx in New Mexico from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Guzman

has been eligible to receive overtime pay under the FLSA because Guzman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6922. Plaintiff Keegan Hayes is an individual residing in New Mexico. Hayes worked

as a delivery driver for FedEx in New Mexico from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Hayes

has been eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       6923. Plaintiff Lucas Hernandez is an individual residing in New Mexico. Hernandez

worked as a delivery driver for FedEx in New Mexico from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has




                                             1868
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1869 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6924. Plaintiff Anastasia Iverson is an individual residing in New Mexico. Iverson

worked as a delivery driver for FedEx in New Mexico but was employed through intermediary

entities that FedEx calls independent service providers. Iverson has been eligible to receive

overtime pay under the FLSA because Iverson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6925. Plaintiff Michael Jaramillo is an individual residing in Texas. Jaramillo worked as

a delivery driver for FedEx in New Mexico from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jaramillo has been

eligible to receive overtime pay under the FLSA because Jaramillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6926. Plaintiff Christopher Jeantete is an individual residing in New Mexico. Jeantete

worked as a delivery driver for FedEx in New Mexico from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Jeantete

has been eligible to receive overtime pay under the FLSA because Jeantete has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6927. Plaintiff Joshua Ledesma is an individual residing in New Mexico. Ledesma

worked as a delivery driver for FedEx in New Mexico but was employed through intermediary

entities that FedEx calls independent service providers. Ledesma has been eligible to receive




                                               1869
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1870 of 3128




overtime pay under the FLSA because Ledesma has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6928. Plaintiff Jose Marco is an individual residing in Texas. Marco worked as a

delivery driver for FedEx in New Mexico from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Marco has been

eligible to receive overtime pay under the FLSA because Marco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6929. Plaintiff Alexandria Marks is an individual residing in New Mexico. Marks

worked as a delivery driver for FedEx in New Mexico from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Marks

has been eligible to receive overtime pay under the FLSA because Marks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6930. Plaintiff Michael Martinez is an individual residing in New Mexico. Martinez

worked as a delivery driver for FedEx in New Mexico from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Martinez

has been eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6931. Plaintiff Jose Mercado is an individual residing in Texas. Mercado worked as a

delivery driver for FedEx in New Mexico and Texas from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Mercado



                                             1870
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1871 of 3128




has been eligible to receive overtime pay under the FLSA because Mercado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6932. Plaintiff Michael Nava is an individual residing in New Mexico. Nava worked as

a delivery driver for FedEx in New Mexico from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nava has been

eligible to receive overtime pay under the FLSA because Nava has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6933. Plaintiff Estevan Ortega is an individual residing in New Mexico. Ortega worked

as a delivery driver for FedEx in New Mexico from approximately 2007 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Ortega

has been eligible to receive overtime pay under the FLSA because Ortega has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6934. Plaintiff Jorge Perez Salazar is an individual residing in New Mexico. Perez

Salazar worked as a delivery driver for FedEx in New Mexico from approximately 2019 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.

Perez Salazar has been eligible to receive overtime pay under the FLSA because Perez Salazar

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        6935. Plaintiff Antonio Quezada Jr. is an individual residing in New Mexico. Quezada

Jr. worked as a delivery driver for FedEx in New Mexico from approximately 2020 to 2022 but



                                              1871
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1872 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Quezada Jr. has been eligible to receive overtime pay under the FLSA because Quezada Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6936. Plaintiff Mateo Rael is an individual residing in New Mexico. Rael worked as a

delivery driver for FedEx in New Mexico from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rael has been

eligible to receive overtime pay under the FLSA because Rael has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6937. Plaintiff Chris Raetz is an individual residing in Vermont. Raetz worked as a

delivery driver for FedEx in New Mexico but was employed through intermediary entities that

FedEx calls independent service providers. Raetz has been eligible to receive overtime pay under

the FLSA because Raetz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6938. Plaintiff Francisco Saiz is an individual residing in New Mexico. Saiz worked as a

delivery driver for FedEx in New Mexico from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Saiz has been

eligible to receive overtime pay under the FLSA because Saiz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6939. Plaintiff Hector Santos is an individual residing in Arizona. Santos worked as a

delivery driver for FedEx in New Mexico from approximately 2014 to 2017 but was employed



                                              1872
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1873 of 3128




through intermediary entities that FedEx calls independent service providers. Santos has been

eligible to receive overtime pay under the FLSA because Santos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6940. Plaintiff Donovan Sikes is an individual residing in New Mexico. Sikes worked as

a delivery driver for FedEx in New Mexico from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sikes has been

eligible to receive overtime pay under the FLSA because Sikes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6941. Plaintiff Domenica Smith is an individual residing in New Mexico. Smith worked

as a delivery driver for FedEx in New Mexico from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6942. Plaintiff Gregory Stover is an individual residing in New Mexico. Stover worked

as a delivery driver for FedEx in New Mexico from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Stover

has been eligible to receive overtime pay under the FLSA because Stover has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              1873
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1874 of 3128




        6943. Plaintiff Heather Telkamp is an individual residing in New Mexico. Telkamp

worked as a delivery driver for FedEx in New Mexico from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Telkamp

has been eligible to receive overtime pay under the FLSA because Telkamp has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6944. Plaintiff Kyle Thompson is an individual residing in New Mexico. Thompson

worked as a delivery driver for FedEx in New Mexico from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6945. Plaintiff Steven Tomasello is an individual residing in New Mexico. Tomasello

worked as a delivery driver for FedEx in New Mexico but was employed through intermediary

entities that FedEx calls independent service providers. Tomasello has been eligible to receive

overtime pay under the FLSA because Tomasello has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6946. Plaintiff Jeffery Tsosie is an individual residing in Arizona. Tsosie worked as a

delivery driver for FedEx in New Mexico from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Tsosie has been

eligible to receive overtime pay under the FLSA because Tsosie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1874
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1875 of 3128




        6947. Plaintiff Anthony Valdez is an individual residing in New Mexico. Valdez

worked as a delivery driver for FedEx in New Mexico from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Valdez

has been eligible to receive overtime pay under the FLSA because Valdez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6948. Plaintiff Kevin Watson is an individual residing in New Mexico. Watson worked

as a delivery driver for FedEx in New Mexico from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Watson

has been eligible to receive overtime pay under the FLSA because Watson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6949. Plaintiff Peter Abee is an individual residing in New York. Abee worked as a

delivery driver for FedEx in New York from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Abee has been

eligible to receive overtime pay under the FLSA because Abee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6950. Plaintiff Anthony Abreu is an individual residing in New York. Abreu worked as

a delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Abreu has been

eligible to receive overtime pay under the FLSA because Abreu has driven a vehicle weighing




                                             1875
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1876 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6951. Plaintiff Ramon Abreu is an individual residing in New York. Abreu worked as a

delivery driver for FedEx in New York from approximately 2004 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Abreu has been

eligible to receive overtime pay under the FLSA because Abreu has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6952. Plaintiff Irving Acevedo is an individual residing in New York. Acevedo worked

as a delivery driver for FedEx in New York from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Acevedo has been

eligible to receive overtime pay under the FLSA because Acevedo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6953. Plaintiff Kenneth Adsit is an individual residing in New York. Adsit worked as a

delivery driver for FedEx in New York from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Adsit has been

eligible to receive overtime pay under the FLSA because Adsit has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6954. Plaintiff Eghosa Agho is an individual residing in New York. Agho worked as a

delivery driver for FedEx in New York from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Agho has been



                                              1876
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1877 of 3128




eligible to receive overtime pay under the FLSA because Agho has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6955. Plaintiff Faiz Ahmed is an individual residing in New York. Ahmed worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ahmed has been

eligible to receive overtime pay under the FLSA because Ahmed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6956. Plaintiff Nuradin Alamin is an individual residing in New York. Alamin worked

as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alamin has been

eligible to receive overtime pay under the FLSA because Alamin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6957. Plaintiff Joseph Alba is an individual residing in New York. Alba worked as a

delivery driver for FedEx in New York from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Alba has been

eligible to receive overtime pay under the FLSA because Alba has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6958. Plaintiff Enrique Aldaba is an individual residing in New York. Aldaba worked as

a delivery driver for FedEx in New York from approximately 2008 to 2016 but was employed



                                             1877
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1878 of 3128




through intermediary entities that FedEx calls independent service providers. Aldaba has been

eligible to receive overtime pay under the FLSA because Aldaba has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6959. Plaintiff Edward Aldridge is an individual residing in New York. Aldridge

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Aldridge has been eligible to receive

overtime pay under the FLSA because Aldridge has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6960. Plaintiff Steven Aldridge is an individual residing in New York. Aldridge worked

as a delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Aldridge has been

eligible to receive overtime pay under the FLSA because Aldridge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6961. Plaintiff Che Alexander is an individual residing in New York. Alexander worked

as a delivery driver for FedEx in New York from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alexander has been

eligible to receive overtime pay under the FLSA because Alexander has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6962. Plaintiff Lionel Alexis is an individual residing in New York. Alexis worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                               1878
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1879 of 3128




FedEx calls independent service providers. Alexis has been eligible to receive overtime pay

under the FLSA because Alexis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6963. Plaintiff Kevin Allen is an individual residing in New York. Allen worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6964. Plaintiff Myles Alleyne is an individual residing in New Jersey. Alleyne worked

as a delivery driver for FedEx in New York and New Jersey from approximately 2018 to 2023

but was employed through intermediary entities that FedEx calls independent service providers.

Alleyne has been eligible to receive overtime pay under the FLSA because Alleyne has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6965. Plaintiff Estevan Almonte is an individual residing in New York. Almonte

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Almonte has been eligible to receive

overtime pay under the FLSA because Almonte has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6966. Plaintiff William Althausen is an individual residing in Florida. Althausen worked

as a delivery driver for FedEx in New York from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Althausen has been



                                              1879
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1880 of 3128




eligible to receive overtime pay under the FLSA because Althausen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6967. Plaintiff Jose Alvarez is an individual residing in New York. Alvarez worked as a

delivery driver for FedEx in New York from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Alvarez has been

eligible to receive overtime pay under the FLSA because Alvarez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6968. Plaintiff Francisco Alvarez is an individual residing in Florida. Alvarez worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Alvarez has been eligible to receive overtime pay

under the FLSA because Alvarez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6969. Plaintiff Antonio Alves is an individual residing in New York. Alves worked as a

delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Alves has been

eligible to receive overtime pay under the FLSA because Alves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6970. Plaintiff Victor Alvia is an individual residing in Connecticut. Alvia worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Alvia has been eligible to receive overtime pay under



                                              1880
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1881 of 3128




the FLSA because Alvia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6971. Plaintiff Juan Amaya Riviera is an individual residing in New York. Amaya

Riviera worked as a delivery driver for FedEx in New York from approximately 2019 to 2021

but was employed through intermediary entities that FedEx calls independent service providers.

Amaya Riviera has been eligible to receive overtime pay under the FLSA because Amaya

Riviera has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        6972. Plaintiff Craig Anderson is an individual residing in South Carolina. Anderson

worked as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        6973. Plaintiff Henry Angeles is an individual residing in New York. Angeles worked

as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Angeles has been

eligible to receive overtime pay under the FLSA because Angeles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6974. Plaintiff Dave Angelico is an individual residing in New York. Angelico worked

as a delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Angelico has been



                                             1881
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1882 of 3128




eligible to receive overtime pay under the FLSA because Angelico has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6975. Plaintiff Joseph Antoine is an individual residing in New York. Antoine worked

as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Antoine has been

eligible to receive overtime pay under the FLSA because Antoine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6976. Plaintiff Chris Antoine Joseph is an individual residing in New York. Antoine

Joseph worked as a delivery driver for FedEx in New York from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Antoine Joseph has been eligible to receive overtime pay under the FLSA because Antoine

Joseph has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        6977. Plaintiff Juan Aracena Jr. is an individual residing in New York. Aracena Jr.

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Aracena

Jr. has been eligible to receive overtime pay under the FLSA because Aracena Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        6978. Plaintiff Jorge Aragonez is an individual residing in New York. Aragonez worked

as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was employed



                                              1882
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1883 of 3128




through intermediary entities that FedEx calls independent service providers. Aragonez has been

eligible to receive overtime pay under the FLSA because Aragonez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6979. Plaintiff Christopher Arber is an individual residing in New York. Arber worked

as a delivery driver for FedEx in New York from approximately 2006 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Arber has been

eligible to receive overtime pay under the FLSA because Arber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6980. Plaintiff Frank Arduini is an individual residing in New York. Arduini worked as

a delivery driver for FedEx in New York from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Arduini has been

eligible to receive overtime pay under the FLSA because Arduini has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6981. Plaintiff Edwin Arias is an individual residing in New York. Arias worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Arias has been eligible to receive overtime pay under

the FLSA because Arias has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        6982. Plaintiff Michael Armstrong is an individual residing in New York. Armstrong

worked as a delivery driver for FedEx in New York but was employed through intermediary



                                             1883
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1884 of 3128




entities that FedEx calls independent service providers. Armstrong has been eligible to receive

overtime pay under the FLSA because Armstrong has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6983. Plaintiff Victor Arroyo is an individual residing in New York. Arroyo worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Arroyo has been

eligible to receive overtime pay under the FLSA because Arroyo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6984. Plaintiff Dixon Asencio is an individual residing in New York. Asencio worked

as a delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Asencio has been

eligible to receive overtime pay under the FLSA because Asencio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6985. Plaintiff Konstantinos Atherinis is an individual residing in New York. Atherinis

worked as a delivery driver for FedEx in New York from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Atherinis

has been eligible to receive overtime pay under the FLSA because Atherinis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        6986. Plaintiff Darryl Atkins is an individual residing in New York. Atkins worked as a

delivery driver for FedEx in New York from approximately 2014 to 2018 but was employed



                                              1884
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1885 of 3128




through intermediary entities that FedEx calls independent service providers. Atkins has been

eligible to receive overtime pay under the FLSA because Atkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6987. Plaintiff Obnere Augustin is an individual residing in New York. Augustin

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Augustin has been eligible to receive

overtime pay under the FLSA because Augustin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        6988. Plaintiff Jean Avin is an individual residing in New York. Avin worked as a

delivery driver for FedEx in New York from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Avin has been

eligible to receive overtime pay under the FLSA because Avin has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6989. Plaintiff David Ayala is an individual residing in New York. Ayala worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ayala has been

eligible to receive overtime pay under the FLSA because Ayala has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6990. Plaintiff Kevin Ayoub is an individual residing in New York. Ayoub worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1885
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1886 of 3128




FedEx calls independent service providers. Ayoub has been eligible to receive overtime pay

under the FLSA because Ayoub has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6991. Plaintiff Howard Ayres is an individual residing in New York. Ayres worked as a

delivery driver for FedEx in New York from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ayres has been

eligible to receive overtime pay under the FLSA because Ayres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6992. Plaintiff John Bagnara is an individual residing in New York. Bagnara worked as

a delivery driver for FedEx in New York from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bagnara has been

eligible to receive overtime pay under the FLSA because Bagnara has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6993. Plaintiff Kenneth Bailey is an individual residing in New Jersey. Bailey worked

as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6994. Plaintiff Jessica Baker-Macmillen is an individual residing in New York. Baker-

Macmillen worked as a delivery driver for FedEx in New York from approximately 2016 to



                                              1886
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1887 of 3128




2017 but was employed through intermediary entities that FedEx calls independent service

providers. Baker-Macmillen has been eligible to receive overtime pay under the FLSA because

Baker-Macmillen has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        6995. Plaintiff Joanna Baldwin is an individual residing in New York. Baldwin worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Baldwin has been eligible to receive overtime pay

under the FLSA because Baldwin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        6996. Plaintiff James Balkam is an individual residing in New York. Balkam worked as

a delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Balkam has been

eligible to receive overtime pay under the FLSA because Balkam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6997. Plaintiff Angus Baptiste is an individual residing in New York. Baptiste worked

as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baptiste has been

eligible to receive overtime pay under the FLSA because Baptiste has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6998. Plaintiff Sterson Baptiste is an individual residing in New York. Baptiste worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed



                                              1887
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1888 of 3128




through intermediary entities that FedEx calls independent service providers. Baptiste has been

eligible to receive overtime pay under the FLSA because Baptiste has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        6999. Plaintiff Mitchel Barber is an individual residing in New York. Barber worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Barber has been eligible to receive overtime pay

under the FLSA because Barber has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7000. Plaintiff Jeffery Barnett is an individual residing in New York. Barnett worked as

a delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Barnett has been

eligible to receive overtime pay under the FLSA because Barnett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7001. Plaintiff Yenifer Barreto Rivas is an individual residing in New York. Barreto

Rivas worked as a delivery driver for FedEx in New York from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Barreto Rivas has been eligible to receive overtime pay under the FLSA because Barreto Rivas

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7002. Plaintiff Isabelle Bartter is an individual residing in Oregon. Bartter worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed



                                               1888
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1889 of 3128




through intermediary entities that FedEx calls independent service providers. Bartter has been

eligible to receive overtime pay under the FLSA because Bartter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7003. Plaintiff William Bauman is an individual residing in New York. Bauman worked

as a delivery driver for FedEx in New York from approximately 2008 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bauman has been

eligible to receive overtime pay under the FLSA because Bauman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7004. Plaintiff Jason Beaudrot is an individual residing in New York. Beaudrot worked

as a delivery driver for FedEx in New York from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Beaudrot has been

eligible to receive overtime pay under the FLSA because Beaudrot has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7005. Plaintiff James Beaver is an individual residing in New York. Beaver worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Beaver has been

eligible to receive overtime pay under the FLSA because Beaver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1889
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1890 of 3128




        7006. Plaintiff John Bedard is an individual residing in New York. Bedard worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bedard has been

eligible to receive overtime pay under the FLSA because Bedard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7007. Plaintiff Lester Bell is an individual residing in New York. Bell worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bell has been

eligible to receive overtime pay under the FLSA because Bell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7008. Plaintiff Stefhon Benjamin is an individual residing in New York. Benjamin

worked as a delivery driver for FedEx in New York from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Benjamin has been eligible to receive overtime pay under the FLSA because Benjamin has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7009. Plaintiff Kelly Bennett is an individual residing in New York. Bennett worked as

a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing




                                              1890
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1891 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7010. Plaintiff Spencer Bennett is an individual residing in New York. Bennett worked

as a delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7011. Plaintiff Wayne Bennett is an individual residing in New York. Bennett worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Bennett has been eligible to receive overtime pay

under the FLSA because Bennett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7012. Plaintiff Randy Bennett is an individual residing in New York. Bennett worked as

a delivery driver for FedEx in New York from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7013. Plaintiff Shavonna Bentley is an individual residing in New York. Bentley

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bentley

has been eligible to receive overtime pay under the FLSA because Bentley has driven a vehicle



                                             1891
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1892 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7014. Plaintiff Frank Berdine Iii is an individual residing in New York. Berdine Iii

worked as a delivery driver for FedEx in New York from approximately 2005 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Berdine

Iii has been eligible to receive overtime pay under the FLSA because Berdine Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7015. Plaintiff Christopher Berg is an individual residing in New York. Berg worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Berg has been eligible to receive overtime pay under

the FLSA because Berg has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7016. Plaintiff Brandon Bianchi is an individual residing in New York. Bianchi worked

as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bianchi has been

eligible to receive overtime pay under the FLSA because Bianchi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7017. Plaintiff Dana Bidwell is an individual residing in New York. Bidwell worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Bidwell has been eligible to receive overtime pay




                                              1892
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1893 of 3128




under the FLSA because Bidwell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7018. Plaintiff Orhan Biler is an individual residing in Maryland. Biler worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Biler has been eligible to receive overtime pay under

the FLSA because Biler has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7019. Plaintiff Amanda Billips is an individual residing in South Carolina. Billips

worked as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Billips

has been eligible to receive overtime pay under the FLSA because Billips has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7020. Plaintiff Amanda Birmingham is an individual residing in New York.

Birmingham worked as a delivery driver for FedEx in New York but was employed through

intermediary entities that FedEx calls independent service providers. Birmingham has been

eligible to receive overtime pay under the FLSA because Birmingham has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7021. Plaintiff Kevin Blair is an individual residing in Florida. Blair worked as a

delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Blair has been

eligible to receive overtime pay under the FLSA because Blair has driven a vehicle weighing less



                                              1893
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1894 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7022. Plaintiff Joshua Blaise is an individual residing in New York. Blaise worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Blaise has been eligible to receive overtime pay

under the FLSA because Blaise has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7023. Plaintiff Collin Blake is an individual residing in New York. Blake worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Blake has been

eligible to receive overtime pay under the FLSA because Blake has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7024. Plaintiff John Bloom is an individual residing in New York. Bloom worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bloom has been

eligible to receive overtime pay under the FLSA because Bloom has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7025. Plaintiff Luis Bolanos is an individual residing in New York. Bolanos worked as a

delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bolanos has been

eligible to receive overtime pay under the FLSA because Bolanos has driven a vehicle weighing



                                              1894
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1895 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7026. Plaintiff John Boll Iii is an individual residing in New York. Boll Iii worked as a

delivery driver for FedEx in New York from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Boll Iii has been

eligible to receive overtime pay under the FLSA because Boll Iii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7027. Plaintiff Antoine Bolton is an individual residing in New York. Bolton worked as

a delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bolton has been

eligible to receive overtime pay under the FLSA because Bolton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7028. Plaintiff Jason Bond is an individual residing in New York. Bond worked as a

delivery driver for FedEx in New York from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bond has been

eligible to receive overtime pay under the FLSA because Bond has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7029. Plaintiff Jorge Bonilla is an individual residing in New York. Bonilla worked as a

delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bonilla has been



                                               1895
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1896 of 3128




eligible to receive overtime pay under the FLSA because Bonilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7030. Plaintiff Anthony Booker is an individual residing in New York. Booker worked

as a delivery driver for FedEx in New York from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Booker has been

eligible to receive overtime pay under the FLSA because Booker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7031. Plaintiff Michael Bosso is an individual residing in New York. Bosso worked as a

delivery driver for FedEx in New York from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bosso has been

eligible to receive overtime pay under the FLSA because Bosso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7032. Plaintiff Roberto Bou is an individual residing in New York. Bou worked as a

delivery driver for FedEx in New York and Connecticut but was employed through intermediary

entities that FedEx calls independent service providers. Bou has been eligible to receive overtime

pay under the FLSA because Bou has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7033. Plaintiff Jennifer Bouzidane is an individual residing in New York. Bouzidane

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1896
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1897 of 3128




Bouzidane has been eligible to receive overtime pay under the FLSA because Bouzidane has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7034. Plaintiff Terrence Bowen is an individual residing in Florida. Bowen worked as a

delivery driver for FedEx in New York from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bowen has been

eligible to receive overtime pay under the FLSA because Bowen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7035. Plaintiff Akeem Bowen is an individual residing in New York. Bowen worked as

a delivery driver for FedEx in New York from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bowen has been

eligible to receive overtime pay under the FLSA because Bowen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7036. Plaintiff Michael Boyd is an individual residing in New York. Boyd worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Boyd has been

eligible to receive overtime pay under the FLSA because Boyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7037. Plaintiff Adam Boyer is an individual residing in New York. Boyer worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed



                                             1897
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1898 of 3128




through intermediary entities that FedEx calls independent service providers. Boyer has been

eligible to receive overtime pay under the FLSA because Boyer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7038. Plaintiff Kyle Brackett is an individual residing in New York. Brackett worked as

a delivery driver for FedEx in New York from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brackett has been

eligible to receive overtime pay under the FLSA because Brackett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7039. Plaintiff Vince Bradley is an individual residing in New York. Bradley worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Bradley has been eligible to receive overtime pay

under the FLSA because Bradley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7040. Plaintiff Eric Brennan is an individual residing in New York. Brennan worked as

a delivery driver for FedEx in New York from approximately 2008 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brennan has been

eligible to receive overtime pay under the FLSA because Brennan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7041. Plaintiff Ryan Brilliant is an individual residing in New York. Brilliant worked as

a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed



                                              1898
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1899 of 3128




through intermediary entities that FedEx calls independent service providers. Brilliant has been

eligible to receive overtime pay under the FLSA because Brilliant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7042. Plaintiff Robert Briscoe is an individual residing in New York. Briscoe worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Briscoe has been

eligible to receive overtime pay under the FLSA because Briscoe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7043. Plaintiff Malkeyah Broadus is an individual residing in New York. Broadus

worked as a delivery driver for FedEx in New York from approximately 2007 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Broadus

has been eligible to receive overtime pay under the FLSA because Broadus has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7044. Plaintiff Onica Brooks is an individual residing in New York. Brooks worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Brooks has been eligible to receive overtime pay

under the FLSA because Brooks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7045. Plaintiff George Brooks, Sr. is an individual residing in New York. Brooks

worked as a delivery driver for FedEx in New York from approximately 2010 to 2022 but was



                                              1899
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1900 of 3128




employed through intermediary entities that FedEx calls independent service providers. Brooks

has been eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7046. Plaintiff Shaun Brown is an individual residing in New York. Brown worked as a

delivery driver for FedEx in New York from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7047. Plaintiff Arden Brown is an individual residing in New York. Brown worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7048. Plaintiff Richard Brown is an individual residing in New York. Brown worked as

a delivery driver for FedEx in New York from approximately 2011 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1900
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1901 of 3128




        7049. Plaintiff Abdur Brown is an individual residing in New York. Brown worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7050. Plaintiff Angela Brunelle is an individual residing in New York. Brunelle worked

as a delivery driver for FedEx in New York from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brunelle has been

eligible to receive overtime pay under the FLSA because Brunelle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7051. Plaintiff Tayron Bryant is an individual residing in New York. Bryant worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7052. Plaintiff Amber Bundy is an individual residing in New York. Bundy worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bundy has been

eligible to receive overtime pay under the FLSA because Bundy has driven a vehicle weighing




                                              1901
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1902 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7053. Plaintiff Donald Burdek is an individual residing in New York. Burdek worked as

a delivery driver for FedEx in New York from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Burdek has been

eligible to receive overtime pay under the FLSA because Burdek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7054. Plaintiff Anthony Burghezi is an individual residing in New York. Burghezi

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Burghezi

has been eligible to receive overtime pay under the FLSA because Burghezi has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7055. Plaintiff Joe Burke is an individual residing in New York. Burke worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Burke has been

eligible to receive overtime pay under the FLSA because Burke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7056. Plaintiff Alexander Burrows is an individual residing in New York. Burrows

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Burrows has been eligible to receive



                                              1902
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1903 of 3128




overtime pay under the FLSA because Burrows has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7057. Plaintiff Darin Bynum is an individual residing in New York. Bynum worked as a

delivery driver for FedEx in New York from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bynum has been

eligible to receive overtime pay under the FLSA because Bynum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7058. Plaintiff Edwardt Cabral is an individual residing in New York. Cabral worked as

a delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cabral has been

eligible to receive overtime pay under the FLSA because Cabral has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7059. Plaintiff Jonathan Cabrera is an individual residing in New York. Cabrera worked

as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cabrera has been

eligible to receive overtime pay under the FLSA because Cabrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7060. Plaintiff Rafael Cabrera is an individual residing in Rhode Island. Cabrera worked

as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cabrera has been



                                             1903
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1904 of 3128




eligible to receive overtime pay under the FLSA because Cabrera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7061. Plaintiff Francisco Caceres Jr. is an individual residing in New York. Caceres Jr.

worked as a delivery driver for FedEx in New York from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Caceres

Jr. has been eligible to receive overtime pay under the FLSA because Caceres Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7062. Plaintiff Angelo Caggiano is an individual residing in Florida. Caggiano worked

as a delivery driver for FedEx in New York from approximately 1995 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Caggiano has been

eligible to receive overtime pay under the FLSA because Caggiano has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7063. Plaintiff Eli Calero is an individual residing in New York. Calero worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Calero has been eligible to receive overtime pay

under the FLSA because Calero has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7064. Plaintiff Branden Cameron is an individual residing in Kentucky. Cameron

worked as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Cameron



                                              1904
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1905 of 3128




has been eligible to receive overtime pay under the FLSA because Cameron has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7065. Plaintiff Vincenzo Campanella is an individual residing in New York.

Campanella worked as a delivery driver for FedEx in New York but was employed through

intermediary entities that FedEx calls independent service providers. Campanella has been

eligible to receive overtime pay under the FLSA because Campanella has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7066. Plaintiff Orville Campbell is an individual residing in New Jersey. Campbell

worked as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Campbell has been eligible to receive overtime pay under the FLSA because Campbell has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7067. Plaintiff Robenson Candio is an individual residing in New Jersey. Candio

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Candio

has been eligible to receive overtime pay under the FLSA because Candio has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7068. Plaintiff Steve Caraballo is an individual residing in New York. Caraballo worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that



                                             1905
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1906 of 3128




FedEx calls independent service providers. Caraballo has been eligible to receive overtime pay

under the FLSA because Caraballo has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        7069. Plaintiff Richard Carballo is an individual residing in New York. Carballo worked

as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Carballo has been

eligible to receive overtime pay under the FLSA because Carballo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7070. Plaintiff Joseph Carlino is an individual residing in New York. Carlino worked as

a delivery driver for FedEx in New York from approximately 2009 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Carlino has been

eligible to receive overtime pay under the FLSA because Carlino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7071. Plaintiff James Carrig is an individual residing in New York. Carrig worked as a

delivery driver for FedEx in New York from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carrig has been

eligible to receive overtime pay under the FLSA because Carrig has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7072. Plaintiff Richard Carroll is an individual residing in New York. Carroll worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1906
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1907 of 3128




FedEx calls independent service providers. Carroll has been eligible to receive overtime pay

under the FLSA because Carroll has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7073. Plaintiff Zachary Collins is an individual residing in Pennsylvania. Carter worked

as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7074. Plaintiff Oneja Caruth is an individual residing in New York. Caruth worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Caruth has been eligible to receive overtime pay

under the FLSA because Caruth has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7075. Plaintiff Juan Casanova is an individual residing in New York. Casanova worked

as a delivery driver for FedEx in New York from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Casanova has been

eligible to receive overtime pay under the FLSA because Casanova has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7076. Plaintiff Anthony Cassisi is an individual residing in Florida. Cassisi worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Cassisi has been eligible to receive overtime pay



                                              1907
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1908 of 3128




under the FLSA because Cassisi has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7077. Plaintiff Michael Castillo is an individual residing in New York. Castillo worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Castillo has been eligible to receive overtime pay

under the FLSA because Castillo has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7078. Plaintiff Ivan Castillo is an individual residing in New York. Castillo worked as a

delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Castillo has been

eligible to receive overtime pay under the FLSA because Castillo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7079. Plaintiff Kevin Castoire is an individual residing in New York. Castoire worked

as a delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Castoire has been

eligible to receive overtime pay under the FLSA because Castoire has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7080. Plaintiff Johanan Castro is an individual residing in New York. Castro worked as

a delivery driver for FedEx in New York from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Castro has been

eligible to receive overtime pay under the FLSA because Castro has driven a vehicle weighing



                                              1908
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1909 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7081. Plaintiff Samuel Cephas is an individual residing in Florida. Cephas worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cephas has been

eligible to receive overtime pay under the FLSA because Cephas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7082. Plaintiff Walter Chamorro is an individual residing in Connecticut. Chamorro

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Chamorro has been eligible to receive

overtime pay under the FLSA because Chamorro has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7083. Plaintiff Bartholomew Charles is an individual residing in New York. Charles

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Charles has been eligible to receive

overtime pay under the FLSA because Charles has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7084. Plaintiff Spenser Charles is an individual residing in New York. Charles worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Charles has been

eligible to receive overtime pay under the FLSA because Charles has driven a vehicle weighing




                                               1909
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1910 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7085. Plaintiff Craig Chenaille is an individual residing in Mississippi. Chenaille

worked as a delivery driver for FedEx in New York from approximately 1996 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Chenaille has been eligible to receive overtime pay under the FLSA because Chenaille has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7086. Plaintiff Sylwester Chochorek is an individual residing in New York. Chochorek

worked as a delivery driver for FedEx in New York from approximately 2023 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Chochorek has been eligible to receive overtime pay under the FLSA because Chochorek has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7087. Plaintiff Hyon Chung is an individual residing in New York. Chung worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chung has been

eligible to receive overtime pay under the FLSA because Chung has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7088. Plaintiff Joony Cinto is an individual residing in New York. Cinto worked as a

delivery driver for FedEx in New York from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Cinto has been



                                               1910
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1911 of 3128




eligible to receive overtime pay under the FLSA because Cinto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7089. Plaintiff Miguel Ciprian is an individual residing in New York. Ciprian worked as

a delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ciprian has been

eligible to receive overtime pay under the FLSA because Ciprian has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7090. Plaintiff Mario Clarke is an individual residing in New York. Clarke worked as a

delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Clarke has been

eligible to receive overtime pay under the FLSA because Clarke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7091. Plaintiff Uriah Clarke is an individual residing in New York. Clarke worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Clarke has been eligible to receive overtime pay

under the FLSA because Clarke has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7092. Plaintiff Jonathan Claudio is an individual residing in New York. Claudio worked

as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Claudio has been



                                              1911
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1912 of 3128




eligible to receive overtime pay under the FLSA because Claudio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7093. Plaintiff Jose Clausell is an individual residing in New York. Clausell worked as a

delivery driver for FedEx in New York from approximately 2007 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Clausell has been

eligible to receive overtime pay under the FLSA because Clausell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7094. Plaintiff Chester Cobb is an individual residing in New York. Cobb worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Cobb has been eligible to receive overtime pay under

the FLSA because Cobb has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7095. Plaintiff Cole Coghill is an individual residing in New York. Coghill worked as a

delivery driver for FedEx in New York from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Coghill has been

eligible to receive overtime pay under the FLSA because Coghill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7096. Plaintiff Alexander Cole is an individual residing in New York. Cole worked as a

delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been



                                              1912
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1913 of 3128




eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7097. Plaintiff Kasey Coleman is an individual residing in New York. Coleman worked

as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7098. Plaintiff Frank Coleman is an individual residing in New York. Coleman worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7099. Plaintiff Yovan Collado is an individual residing in New York. Collado worked as

a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Collado has been

eligible to receive overtime pay under the FLSA because Collado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7100. Plaintiff Eric Collins is an individual residing in New York. Collins worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1913
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1914 of 3128




FedEx calls independent service providers. Collins has been eligible to receive overtime pay

under the FLSA because Collins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7101. Plaintiff Ronald Collison is an individual residing in New York. Collison worked

as a delivery driver for FedEx in New York from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Collison has been

eligible to receive overtime pay under the FLSA because Collison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7102. Plaintiff David Collver is an individual residing in New York. Collver worked as

a delivery driver for FedEx in New York from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Collver has been

eligible to receive overtime pay under the FLSA because Collver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7103. Plaintiff Dane Colmenares is an individual residing in New York. Colmenares

worked as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Colmenares has been eligible to receive overtime pay under the FLSA because Colmenares has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7104. Plaintiff Andrew Colombos is an individual residing in New York. Colombos

worked as a delivery driver for FedEx in New York from approximately 2005 to 2016 but was



                                              1914
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1915 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Colombos has been eligible to receive overtime pay under the FLSA because Colombos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7105. Plaintiff Julian Colon is an individual residing in New York. Colon worked as a

delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Colon has been

eligible to receive overtime pay under the FLSA because Colon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7106. Plaintiff Sean Conde is an individual residing in New York. Conde worked as a

delivery driver for FedEx in New York from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Conde has been

eligible to receive overtime pay under the FLSA because Conde has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7107. Plaintiff Donald Congdon is an individual residing in New York. Congdon

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Congdon has been eligible to receive

overtime pay under the FLSA because Congdon has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7108. Plaintiff James Conklin is an individual residing in New York. Conklin worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1915
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1916 of 3128




FedEx calls independent service providers. Conklin has been eligible to receive overtime pay

under the FLSA because Conklin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7109. Plaintiff Jesse Conklin is an individual residing in New York. Conklin worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Conklin has been eligible to receive overtime pay

under the FLSA because Conklin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7110. Plaintiff Leonard Corazza is an individual residing in New York. Corazza worked

as a delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Corazza has been

eligible to receive overtime pay under the FLSA because Corazza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7111. Plaintiff Luis Cordero is an individual residing in New York. Cordero worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Cordero has been eligible to receive overtime pay

under the FLSA because Cordero has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7112. Plaintiff Marvin Cordova is an individual residing in New York. Cordova worked

as a delivery driver for FedEx in New York from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cordova has been

eligible to receive overtime pay under the FLSA because Cordova has driven a vehicle weighing



                                             1916
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1917 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7113. Plaintiff Samuel Cornish is an individual residing in New York. Cornish worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Cornish has been eligible to receive overtime pay

under the FLSA because Cornish has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7114. Plaintiff Juan Cortes is an individual residing in New York. Cortes worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Cortes has been eligible to receive overtime pay

under the FLSA because Cortes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7115. Plaintiff David Cosme is an individual residing in New York. Cosme worked as a

delivery driver for FedEx in New York from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cosme has been

eligible to receive overtime pay under the FLSA because Cosme has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7116. Plaintiff Joel Coss is an individual residing in New York. Coss worked as a

delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Coss has been

eligible to receive overtime pay under the FLSA because Coss has driven a vehicle weighing less




                                             1917
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1918 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7117. Plaintiff Robert Couball is an individual residing in New York. Couball worked

as a delivery driver for FedEx in New York from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Couball has been

eligible to receive overtime pay under the FLSA because Couball has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7118. Plaintiff Harold Cousar is an individual residing in New York. Cousar worked as

a delivery driver for FedEx in New York from approximately 2006 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cousar has been

eligible to receive overtime pay under the FLSA because Cousar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7119. Plaintiff Christina Covington is an individual residing in New Jersey. Covington

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Covington has been eligible to receive

overtime pay under the FLSA because Covington has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7120. Plaintiff Philip Cronin is an individual residing in Massachusetts. Cronin worked

as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cronin has been

eligible to receive overtime pay under the FLSA because Cronin has driven a vehicle weighing



                                              1918
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1919 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7121. Plaintiff Taron Crute is an individual residing in New York. Crute worked as a

delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Crute has been

eligible to receive overtime pay under the FLSA because Crute has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7122. Plaintiff Juan Cruz is an individual residing in New York. Cruz worked as a

delivery driver for FedEx in New York from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cruz has been

eligible to receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7123. Plaintiff Jose Cruz is an individual residing in New York. Cruz worked as a

delivery driver for FedEx in New York from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cruz has been

eligible to receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7124. Plaintiff Yecson Cruz Reyes is an individual residing in Arkansas. Cruz Reyes

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Cruz



                                              1919
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1920 of 3128




Reyes has been eligible to receive overtime pay under the FLSA because Cruz Reyes has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7125. Plaintiff Joseph Cucci is an individual residing in New York. Cucci worked as a

delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cucci has been

eligible to receive overtime pay under the FLSA because Cucci has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7126. Plaintiff Yonatan Cuevas is an individual residing in New York. Cuevas worked

as a delivery driver for FedEx in New York from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Cuevas has been

eligible to receive overtime pay under the FLSA because Cuevas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7127. Plaintiff Anthony Curci is an individual residing in New York. Curci worked as a

delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Curci has been

eligible to receive overtime pay under the FLSA because Curci has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7128. Plaintiff David Cuza is an individual residing in New York. Cuza worked as a

delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed



                                              1920
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1921 of 3128




through intermediary entities that FedEx calls independent service providers. Cuza has been

eligible to receive overtime pay under the FLSA because Cuza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7129. Plaintiff Rockensy Dauphin is an individual residing in New York. Dauphin

worked as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Dauphin

has been eligible to receive overtime pay under the FLSA because Dauphin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7130. Plaintiff Ricky Davies is an individual residing in New York. Davies worked as a

delivery driver for FedEx in New York from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Davies has been

eligible to receive overtime pay under the FLSA because Davies has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7131. Plaintiff Andre Davis is an individual residing in New York. Davis worked as a

delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1921
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1922 of 3128




        7132. Plaintiff Michael Davis is an individual residing in New York. Davis worked as a

delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7133. Plaintiff Tavaun Davis is an individual residing in New York. Davis worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7134. Plaintiff Richard Dawes is an individual residing in New York. Dawes worked as

a delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dawes has been

eligible to receive overtime pay under the FLSA because Dawes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7135. Plaintiff Manuel De La Cruz Iii is an individual residing in New York. De La

Cruz Iii worked as a delivery driver for FedEx in New York but was employed through

intermediary entities that FedEx calls independent service providers. De La Cruz Iii has been

eligible to receive overtime pay under the FLSA because De La Cruz Iii has driven a vehicle




                                              1922
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1923 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7136. Plaintiff Misael De La Paz Soler is an individual residing in New York. De La

Paz Soler worked as a delivery driver for FedEx in New York from approximately 2014 to 2018

but was employed through intermediary entities that FedEx calls independent service providers.

De La Paz Soler has been eligible to receive overtime pay under the FLSA because De La Paz

Soler has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        7137. Plaintiff Alex Martinez is an individual residing in New York. De Leon worked as

a delivery driver for FedEx in New York from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. De Leon has been

eligible to receive overtime pay under the FLSA because De Leon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7138. Plaintiff Luiggi De Leon, Sr. is an individual residing in New York. De Leon

worked as a delivery driver for FedEx in New York from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. De Leon

has been eligible to receive overtime pay under the FLSA because De Leon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7139. Plaintiff Thomas December is an individual residing in New York. December

worked as a delivery driver for FedEx in New York from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             1923
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1924 of 3128




December has been eligible to receive overtime pay under the FLSA because December has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7140. Plaintiff Maria Degiorgio is an individual residing in New York. Degiorgio

worked as a delivery driver for FedEx in New York from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Degiorgio has been eligible to receive overtime pay under the FLSA because Degiorgio has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7141. Plaintiff Jonathan Dejesus is an individual residing in New York. Dejesus worked

as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dejesus has been

eligible to receive overtime pay under the FLSA because Dejesus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7142. Plaintiff Sean Delaney is an individual residing in New York. Delaney worked as

a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Delaney has been

eligible to receive overtime pay under the FLSA because Delaney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7143. Plaintiff Andrew Delcastillo is an individual residing in Texas. Delcastillo worked

as a delivery driver for FedEx in New York from approximately 2013 to 2018 but was employed



                                              1924
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1925 of 3128




through intermediary entities that FedEx calls independent service providers. Delcastillo has

been eligible to receive overtime pay under the FLSA because Delcastillo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7144. Plaintiff Alexander Deleon is an individual residing in New York. Deleon worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Deleon has been eligible to receive overtime pay

under the FLSA because Deleon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7145. Plaintiff Joseph Dellaripa Iii is an individual residing in New York. Dellaripa Iii

worked as a delivery driver for FedEx in New York from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Dellaripa

Iii has been eligible to receive overtime pay under the FLSA because Dellaripa Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7146. Plaintiff Michael Delo is an individual residing in New York. Delo worked as a

delivery driver for FedEx in New York from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Delo has been

eligible to receive overtime pay under the FLSA because Delo has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7147. Plaintiff Sigmund Derkowski is an individual residing in New York. Derkowski

worked as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was



                                               1925
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1926 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Derkowski has been eligible to receive overtime pay under the FLSA because Derkowski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7148. Plaintiff John Deruscio is an individual residing in New York. Deruscio worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Deruscio has been eligible to receive overtime pay

under the FLSA because Deruscio has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7149. Plaintiff Tiffany Desouza is an individual residing in New York. Desouza worked

as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Desouza has been

eligible to receive overtime pay under the FLSA because Desouza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7150. Plaintiff Rubens Destra is an individual residing in New Jersey. Destra worked as

a delivery driver for FedEx in New York from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Destra has been

eligible to receive overtime pay under the FLSA because Destra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7151. Plaintiff Damaso Diaz is an individual residing in Florida. Diaz worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1926
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1927 of 3128




FedEx calls independent service providers. Diaz has been eligible to receive overtime pay under

the FLSA because Diaz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7152. Plaintiff Michael Dicanio is an individual residing in New York. Dicanio worked

as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dicanio has been

eligible to receive overtime pay under the FLSA because Dicanio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7153. Plaintiff Michael Diegelman is an individual residing in New York. Diegelman

worked as a delivery driver for FedEx in New York from approximately 2004 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Diegelman has been eligible to receive overtime pay under the FLSA because Diegelman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7154. Plaintiff Ivaylo Dimitrov is an individual residing in New York. Dimitrov worked

as a delivery driver for FedEx in New York from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dimitrov has been

eligible to receive overtime pay under the FLSA because Dimitrov has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7155. Plaintiff Scott Disbrow is an individual residing in New York. Disbrow worked as

a delivery driver for FedEx in New York from approximately 2015 to 2018 but was employed



                                             1927
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1928 of 3128




through intermediary entities that FedEx calls independent service providers. Disbrow has been

eligible to receive overtime pay under the FLSA because Disbrow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7156. Plaintiff Kevin Dobson is an individual residing in New York. Dobson worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dobson has been

eligible to receive overtime pay under the FLSA because Dobson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7157. Plaintiff Anthony Dominguez is an individual residing in New York. Dominguez

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Dominguez has been eligible to receive overtime pay under the FLSA because Dominguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7158. Plaintiff Mark Donholt is an individual residing in New York. Donholt worked as

a delivery driver for FedEx in New York from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Donholt has been

eligible to receive overtime pay under the FLSA because Donholt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1928
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1929 of 3128




        7159. Plaintiff Markcson Dorisma is an individual residing in New York. Dorisma

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Dorisma has been eligible to receive

overtime pay under the FLSA because Dorisma has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7160. Plaintiff Manoach Dorisme is an individual residing in Connecticut. Dorisme

worked as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Dorisme

has been eligible to receive overtime pay under the FLSA because Dorisme has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7161. Plaintiff John Dorozynski is an individual residing in New York. Dorozynski

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Dorozynski has been eligible to receive overtime pay under the FLSA because Dorozynski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7162. Plaintiff Marc-Henry Dorsainvil is an individual residing in New York.

Dorsainvil worked as a delivery driver for FedEx in New York but was employed through

intermediary entities that FedEx calls independent service providers. Dorsainvil has been eligible

to receive overtime pay under the FLSA because Dorsainvil has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1929
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1930 of 3128




        7163. Plaintiff Jonathan Dougherty is an individual residing in Connecticut. Dougherty

worked as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Dougherty has been eligible to receive overtime pay under the FLSA because Dougherty has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7164. Plaintiff Jesse Doyle is an individual residing in New York. Doyle worked as a

delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Doyle has been

eligible to receive overtime pay under the FLSA because Doyle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7165. Plaintiff Everton Drakes is an individual residing in New York. Drakes worked as

a delivery driver for FedEx in New York from approximately 2007 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Drakes has been

eligible to receive overtime pay under the FLSA because Drakes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7166. Plaintiff Gregory Dunn is an individual residing in New York. Dunn worked as a

delivery driver for FedEx in New York from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dunn has been

eligible to receive overtime pay under the FLSA because Dunn has driven a vehicle weighing




                                             1930
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1931 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7167. Plaintiff Cory Duquette is an individual residing in New York. Duquette worked

as a delivery driver for FedEx in New York from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Duquette has been

eligible to receive overtime pay under the FLSA because Duquette has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7168. Plaintiff Scott E Samsoe is an individual residing in Florida. E Samsoe worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. E Samsoe has been eligible to receive overtime pay

under the FLSA because E Samsoe has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        7169. Plaintiff Jonathan Earl is an individual residing in New York. Earl worked as a

delivery driver for FedEx in New York from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Earl has been

eligible to receive overtime pay under the FLSA because Earl has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7170. Plaintiff Antoine Easton is an individual residing in New Jersey. Easton worked

as a delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Easton has been

eligible to receive overtime pay under the FLSA because Easton has driven a vehicle weighing



                                              1931
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1932 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7171. Plaintiff Paul Eggleston is an individual residing in New York. Eggleston worked

as a delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Eggleston has been

eligible to receive overtime pay under the FLSA because Eggleston has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7172. Plaintiff Paul Ehnle is an individual residing in New York. Ehnle worked as a

delivery driver for FedEx in New York from approximately 2009 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ehnle has been

eligible to receive overtime pay under the FLSA because Ehnle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7173. Plaintiff Mohamed Elagami is an individual residing in New York. Elagami

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Elagami

has been eligible to receive overtime pay under the FLSA because Elagami has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7174. Plaintiff Marquise Ellis is an individual residing in New York. Ellis worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ellis has been



                                              1932
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1933 of 3128




eligible to receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7175. Plaintiff Patrick Ellis is an individual residing in New York. Ellis worked as a

delivery driver for FedEx in New York from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ellis has been

eligible to receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7176. Plaintiff Daniel Emma is an individual residing in New York. Emma worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Emma has been eligible to receive overtime pay

under the FLSA because Emma has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7177. Plaintiff Robert Emmanuel-Lynch is an individual residing in New York.

Emmanuel-Lynch worked as a delivery driver for FedEx in New York but was employed

through intermediary entities that FedEx calls independent service providers. Emmanuel-Lynch

has been eligible to receive overtime pay under the FLSA because Emmanuel-Lynch has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7178. Plaintiff Wilber Espinal is an individual residing in New York. Espinal worked as

a delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Espinal has been



                                               1933
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1934 of 3128




eligible to receive overtime pay under the FLSA because Espinal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7179. Plaintiff Edwin Espinal is an individual residing in New York. Espinal worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Espinal has been eligible to receive overtime pay

under the FLSA because Espinal has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7180. Plaintiff Ronnie Espinal is an individual residing in Pennsylvania. Espinal worked

as a delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Espinal has been

eligible to receive overtime pay under the FLSA because Espinal has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7181. Plaintiff Andrio Estrada is an individual residing in New York. Estrada worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Estrada has been

eligible to receive overtime pay under the FLSA because Estrada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7182. Plaintiff Devon Estrada is an individual residing in New York. Estrada worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Estrada has been eligible to receive overtime pay



                                              1934
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1935 of 3128




under the FLSA because Estrada has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7183. Plaintiff Addison Estrella is an individual residing in North Carolina. Estrella

worked as a delivery driver for FedEx in New York from approximately 2009 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Estrella

has been eligible to receive overtime pay under the FLSA because Estrella has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7184. Plaintiff Patrick Eveillard is an individual residing in New York. Eveillard

worked as a delivery driver for FedEx in New York from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Eveillard

has been eligible to receive overtime pay under the FLSA because Eveillard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7185. Plaintiff Chris Fabrizi is an individual residing in New York. Fabrizi worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Fabrizi has been eligible to receive overtime pay

under the FLSA because Fabrizi has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7186. Plaintiff Jaime Fana Aponte is an individual residing in New York. Fana Aponte

worked as a delivery driver for FedEx in New York from approximately 2020 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Fana

Aponte has been eligible to receive overtime pay under the FLSA because Fana Aponte has



                                              1935
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1936 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7187. Plaintiff Thomas Fanizzi is an individual residing in New York. Fanizzi worked

as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Fanizzi has been

eligible to receive overtime pay under the FLSA because Fanizzi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7188. Plaintiff Jesse Faxas is an individual residing in New York. Faxas worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Faxas has been

eligible to receive overtime pay under the FLSA because Faxas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7189. Plaintiff Ramon Fernandez is an individual residing in New York. Fernandez

worked as a delivery driver for FedEx in New York from approximately 2004 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Fernandez has been eligible to receive overtime pay under the FLSA because Fernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7190. Plaintiff Beyerliz Fernandez is an individual residing in New York. Fernandez

worked as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              1936
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1937 of 3128




Fernandez has been eligible to receive overtime pay under the FLSA because Fernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7191. Plaintiff Leonardo Fernandez is an individual residing in New York. Fernandez

worked as a delivery driver for FedEx in New York from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Fernandez has been eligible to receive overtime pay under the FLSA because Fernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7192. Plaintiff Christian Fico is an individual residing in Florida. Fico worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fico has been

eligible to receive overtime pay under the FLSA because Fico has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7193. Plaintiff Jason Figueiredo is an individual residing in New York. Figueiredo

worked as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Figueiredo has been eligible to receive overtime pay under the FLSA because Figueiredo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7194. Plaintiff Ulson Filocsaint is an individual residing in New Jersey. Filocsaint

worked as a delivery driver for FedEx in New York from approximately 2011 to 2024 but was



                                               1937
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1938 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Filocsaint has been eligible to receive overtime pay under the FLSA because Filocsaint has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7195. Plaintiff Nicholas Finn is an individual residing in New York. Finn worked as a

delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Finn has been

eligible to receive overtime pay under the FLSA because Finn has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7196. Plaintiff Mark Fischer is an individual residing in New York. Fischer worked as a

delivery driver for FedEx in New York from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Fischer has been

eligible to receive overtime pay under the FLSA because Fischer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7197. Plaintiff Alonzo Fitch is an individual residing in New York. Fitch worked as a

delivery driver for FedEx in New York from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fitch has been

eligible to receive overtime pay under the FLSA because Fitch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1938
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1939 of 3128




       7198. Plaintiff Edmond Flanagan is an individual residing in New York. Flanagan

worked as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Flanagan

has been eligible to receive overtime pay under the FLSA because Flanagan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7199. Plaintiff Curtis Floyd is an individual residing in New York. Floyd worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Floyd has been eligible to receive overtime pay under

the FLSA because Floyd has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7200. Plaintiff Jacqueline Fontaine is an individual residing in New York. Fontaine

worked as a delivery driver for FedEx in New York from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Fontaine

has been eligible to receive overtime pay under the FLSA because Fontaine has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7201. Plaintiff Alberto Fontanez is an individual residing in New York. Fontanez

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Fontanez

has been eligible to receive overtime pay under the FLSA because Fontanez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             1939
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1940 of 3128




        7202. Plaintiff Mark Foran is an individual residing in New York. Foran worked as a

delivery driver for FedEx in New York from approximately 2006 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Foran has been

eligible to receive overtime pay under the FLSA because Foran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7203. Plaintiff Brandon Fox is an individual residing in New York. Fox worked as a

delivery driver for FedEx in New York from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Fox has been

eligible to receive overtime pay under the FLSA because Fox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7204. Plaintiff Darion Francis is an individual residing in New York. Francis worked as

a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Francis has been

eligible to receive overtime pay under the FLSA because Francis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7205. Plaintiff Kevin Frank is an individual residing in New York. Frank worked as a

delivery driver for FedEx in New York from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Frank has been

eligible to receive overtime pay under the FLSA because Frank has driven a vehicle weighing




                                              1940
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1941 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7206. Plaintiff Hakeem Franklin is an individual residing in New York. Franklin worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Franklin has been eligible to receive overtime pay

under the FLSA because Franklin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7207. Plaintiff Kiaron Frazier is an individual residing in New York. Frazier worked as

a delivery driver for FedEx in New York from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Frazier has been

eligible to receive overtime pay under the FLSA because Frazier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7208. Plaintiff Marlon Frederick is an individual residing in New York. Frederick

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Frederick has been eligible to receive overtime pay under the FLSA because Frederick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7209. Plaintiff Jordan Friedlander is an individual residing in New York. Friedlander

worked as a delivery driver for FedEx in New York from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Friedlander has been eligible to receive overtime pay under the FLSA because Friedlander has



                                              1941
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1942 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7210. Plaintiff Juan Fuentes-Martinez is an individual residing in New York. Fuentes-

Martinez worked as a delivery driver for FedEx in New York from approximately 2014 to 2018

but was employed through intermediary entities that FedEx calls independent service providers.

Fuentes-Martinez has been eligible to receive overtime pay under the FLSA because Fuentes-

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7211. Plaintiff Marquise Fulmore is an individual residing in New York. Fulmore

worked as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Fulmore

has been eligible to receive overtime pay under the FLSA because Fulmore has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7212. Plaintiff Monique Gadley is an individual residing in New York. Gadley worked

as a delivery driver for FedEx in New York from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Gadley has been

eligible to receive overtime pay under the FLSA because Gadley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7213. Plaintiff Frank Gallo is an individual residing in New York. Gallo worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gallo has been



                                              1942
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1943 of 3128




eligible to receive overtime pay under the FLSA because Gallo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7214. Plaintiff Edward Garcia is an individual residing in New York. Garcia worked as

a delivery driver for FedEx in New York from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7215. Plaintiff Eric Garcia is an individual residing in New York. Garcia worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7216. Plaintiff Mark Garcia is an individual residing in New York. Garcia worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Garcia has been eligible to receive overtime pay

under the FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7217. Plaintiff Raymond Garcia is an individual residing in New York. Garcia worked

as a delivery driver for FedEx in New York from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been



                                              1943
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1944 of 3128




eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7218. Plaintiff Kelvin Garcia is an individual residing in New York. Garcia worked as a

delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been

eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7219. Plaintiff Berny Garcia - Ortiz is an individual residing in New York. Garcia -

Ortiz worked as a delivery driver for FedEx in New York from approximately 2015 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Garcia - Ortiz has been eligible to receive overtime pay under the FLSA because Garcia - Ortiz

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7220. Plaintiff James Garrow is an individual residing in New York. Garrow worked as

a delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Garrow has been

eligible to receive overtime pay under the FLSA because Garrow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7221. Plaintiff Carlemile Gay is an individual residing in New York. Gay worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1944
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1945 of 3128




FedEx calls independent service providers. Gay has been eligible to receive overtime pay under

the FLSA because Gay has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7222. Plaintiff Michael Gee is an individual residing in New York. Gee worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gee has been

eligible to receive overtime pay under the FLSA because Gee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7223. Plaintiff Eladio Gil Jr I is an individual residing in New York. Gil Jr I worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Gil Jr I has been eligible to receive overtime pay

under the FLSA because Gil Jr I has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7224. Plaintiff Angel Gil Montesino is an individual residing in New York. Gil

Montesino worked as a delivery driver for FedEx in New York from approximately 2016 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Gil Montesino has been eligible to receive overtime pay under the FLSA because Gil Montesino

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7225. Plaintiff Wayne Gill is an individual residing in New York. Gill worked as a

delivery driver for FedEx in New York from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gill has been



                                               1945
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1946 of 3128




eligible to receive overtime pay under the FLSA because Gill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7226. Plaintiff Anthony Gilmore is an individual residing in New York. Gilmore

worked as a delivery driver for FedEx in New York from approximately 2004 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Gilmore

has been eligible to receive overtime pay under the FLSA because Gilmore has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7227. Plaintiff Michael Gledhill is an individual residing in New York. Gledhill worked

as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gledhill has been

eligible to receive overtime pay under the FLSA because Gledhill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7228. Plaintiff Wayne Gleeson is an individual residing in New York. Gleeson worked

as a delivery driver for FedEx in New York from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gleeson has been

eligible to receive overtime pay under the FLSA because Gleeson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7229. Plaintiff Nicholas Goban is an individual residing in New York. Goban worked as

a delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed



                                              1946
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1947 of 3128




through intermediary entities that FedEx calls independent service providers. Goban has been

eligible to receive overtime pay under the FLSA because Goban has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7230. Plaintiff Carlos Gomez is an individual residing in Connecticut. Gomez worked as

a delivery driver for FedEx in New York from approximately 1989 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7231. Plaintiff Michael Gonzalez is an individual residing in Connecticut. Gonzalez

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7232. Plaintiff Anibal Gonzalez is an individual residing in New York. Gonzalez

worked as a delivery driver for FedEx in New York from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                             1947
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1948 of 3128




        7233. Plaintiff Timothy Good is an individual residing in New York. Good worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Good has been

eligible to receive overtime pay under the FLSA because Good has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7234. Plaintiff Richard Goodwin is an individual residing in New York. Goodwin

worked as a delivery driver for FedEx in New York from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Goodwin

has been eligible to receive overtime pay under the FLSA because Goodwin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7235. Plaintiff Vincent Gordon is an individual residing in New Jersey. Gordon worked

as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7236. Plaintiff Shanda Gordon is an individual residing in New York. Gordon worked

as a delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing




                                             1948
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1949 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7237. Plaintiff Kevin Gordon is an individual residing in New York. Gordon worked as

a delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7238. Plaintiff Jason Gordon is an individual residing in New York. Gordon worked as a

delivery driver for FedEx in New York from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7239. Plaintiff Stephen Gorzynski is an individual residing in New York. Gorzynski

worked as a delivery driver for FedEx in New York from approximately 2000 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Gorzynski has been eligible to receive overtime pay under the FLSA because Gorzynski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7240. Plaintiff Stephen Graham is an individual residing in New York. Graham worked

as a delivery driver for FedEx in New York from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Graham has been



                                             1949
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1950 of 3128




eligible to receive overtime pay under the FLSA because Graham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7241. Plaintiff Ryan Gratton is an individual residing in New York. Gratton worked as a

delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gratton has been

eligible to receive overtime pay under the FLSA because Gratton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7242. Plaintiff Darik Greaves is an individual residing in New York. Greaves worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Greaves has been

eligible to receive overtime pay under the FLSA because Greaves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7243. Plaintiff Brandy Green is an individual residing in New York. Green worked as a

delivery driver for FedEx in New York from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7244. Plaintiff Brad Green is an individual residing in New York. Green worked as a

delivery driver for FedEx in New York from approximately 2019 to 2022 but was employed



                                             1950
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1951 of 3128




through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7245. Plaintiff George Green is an individual residing in New York. Green worked as a

delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7246. Plaintiff Piotr Gregorczuk is an individual residing in New York. Gregorczuk

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Gregorczuk has been eligible to receive overtime pay under the FLSA because Gregorczuk has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7247. Plaintiff Geuseppe Grimaldi is an individual residing in Texas. Grimaldi worked

as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Grimaldi has been

eligible to receive overtime pay under the FLSA because Grimaldi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             1951
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1952 of 3128




        7248. Plaintiff Collin Grogan is an individual residing in New York. Grogan worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Grogan has been

eligible to receive overtime pay under the FLSA because Grogan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7249. Plaintiff Michael Groover is an individual residing in Pennsylvania. Groover

worked as a delivery driver for FedEx in New York from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Groover

has been eligible to receive overtime pay under the FLSA because Groover has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7250. Plaintiff Andrew Grosso is an individual residing in New York. Grosso worked as

a delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Grosso has been

eligible to receive overtime pay under the FLSA because Grosso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7251. Plaintiff Bryan Grounds is an individual residing in New York. Grounds worked

as a delivery driver for FedEx in New York from approximately 2005 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Grounds has been

eligible to receive overtime pay under the FLSA because Grounds has driven a vehicle weighing




                                             1952
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1953 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7252. Plaintiff Mario Guerrero is an individual residing in New York. Guerrero worked

as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Guerrero has been

eligible to receive overtime pay under the FLSA because Guerrero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7253. Plaintiff Brandon Guest is an individual residing in New York. Guest worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Guest has been

eligible to receive overtime pay under the FLSA because Guest has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7254. Plaintiff Charles Guiliano is an individual residing in New York. Guiliano worked

as a delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Guiliano has been

eligible to receive overtime pay under the FLSA because Guiliano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7255. Plaintiff Mosely Guity is an individual residing in New York. Guity worked as a

delivery driver for FedEx in New York from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Guity has been



                                             1953
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1954 of 3128




eligible to receive overtime pay under the FLSA because Guity has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7256. Plaintiff Brett Gurnick is an individual residing in New York. Gurnick worked as

a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gurnick has been

eligible to receive overtime pay under the FLSA because Gurnick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7257. Plaintiff Anthony Gutierrez is an individual residing in New York. Gutierrez

worked as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Gutierrez has been eligible to receive overtime pay under the FLSA because Gutierrez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7258. Plaintiff Jose Guzman is an individual residing in Pennsylvania. Guzman worked

as a delivery driver for FedEx in New York and Pennsylvania from approximately 2021 to 2022

but was employed through intermediary entities that FedEx calls independent service providers.

Guzman has been eligible to receive overtime pay under the FLSA because Guzman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7259. Plaintiff Jerry Guzman is an individual residing in New York. Guzman worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed



                                             1954
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1955 of 3128




through intermediary entities that FedEx calls independent service providers. Guzman has been

eligible to receive overtime pay under the FLSA because Guzman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7260. Plaintiff Mazen Hamdan is an individual residing in Florida. Hamdan worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hamdan has been

eligible to receive overtime pay under the FLSA because Hamdan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7261. Plaintiff Antoine Hanberry is an individual residing in New York. Hanberry

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Hanberry has been eligible to receive

overtime pay under the FLSA because Hanberry has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7262. Plaintiff Forest Hancock is an individual residing in California. Hancock worked

as a delivery driver for FedEx in New York and North Carolina from approximately 2014 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Hancock has been eligible to receive overtime pay under the FLSA because Hancock

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7263. Plaintiff Barbara Hargrove is an individual residing in Virginia. Hargrove worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1955
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1956 of 3128




FedEx calls independent service providers. Hargrove has been eligible to receive overtime pay

under the FLSA because Hargrove has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       7264. Plaintiff Hosea Harris is an individual residing in New York. Harris worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Harris has been eligible to receive overtime pay

under the FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7265. Plaintiff Ryan Harris is an individual residing in New York. Harris worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Harris has been eligible to receive overtime pay

under the FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7266. Plaintiff Jerry Harrison is an individual residing in Wyoming. Harrison worked as

a delivery driver for FedEx in New York and Wyoming but was employed through intermediary

entities that FedEx calls independent service providers. Harrison has been eligible to receive

overtime pay under the FLSA because Harrison has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7267. Plaintiff Stephen Harry is an individual residing in New York. Harry worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harry has been

eligible to receive overtime pay under the FLSA because Harry has driven a vehicle weighing




                                               1956
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1957 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7268. Plaintiff Khalif Hart is an individual residing in New York. Hart worked as a

delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hart has been

eligible to receive overtime pay under the FLSA because Hart has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7269. Plaintiff Anthony Hartwell is an individual residing in Georgia. Hartwell worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hartwell has been eligible to receive overtime pay

under the FLSA because Hartwell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7270. Plaintiff Eric Hawley is an individual residing in New York. Hawley worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hawley has been eligible to receive overtime pay

under the FLSA because Hawley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7271. Plaintiff Aurelia Hayduke is an individual residing in New York. Hayduke

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hayduke

has been eligible to receive overtime pay under the FLSA because Hayduke has driven a vehicle




                                              1957
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1958 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7272. Plaintiff Jackson Hayes is an individual residing in New York. Hayes worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hayes has been eligible to receive overtime pay

under the FLSA because Hayes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7273. Plaintiff Joseph Hayes is an individual residing in New York. Hayes worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hayes has been eligible to receive overtime pay

under the FLSA because Hayes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7274. Plaintiff Willis Hayslett is an individual residing in New York. Hayslett worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hayslett has been eligible to receive overtime pay

under the FLSA because Hayslett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7275. Plaintiff Moshe Hazan is an individual residing in New York. Hazan worked as a

delivery driver for FedEx in New York from approximately 2000 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hazan has been

eligible to receive overtime pay under the FLSA because Hazan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1958
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1959 of 3128




        7276. Plaintiff Michael Helwig is an individual residing in New York. Helwig worked

as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Helwig has been

eligible to receive overtime pay under the FLSA because Helwig has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7277. Plaintiff John Hemmy is an individual residing in New York. Hemmy worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hemmy has been

eligible to receive overtime pay under the FLSA because Hemmy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7278. Plaintiff Jonathan Henderson is an individual residing in South Carolina.

Henderson worked as a delivery driver for FedEx in New York from approximately 2017 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Henderson has been eligible to receive overtime pay under the FLSA because

Henderson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7279. Plaintiff Jason Hennig is an individual residing in New York. Hennig worked as a

delivery driver for FedEx in New York from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hennig has been

eligible to receive overtime pay under the FLSA because Hennig has driven a vehicle weighing




                                              1959
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1960 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7280. Plaintiff Yomibel Hererra Silvestre is an individual residing in Illinois. Hererra

Silvestre worked as a delivery driver for FedEx in New York but was employed through

intermediary entities that FedEx calls independent service providers. Hererra Silvestre has been

eligible to receive overtime pay under the FLSA because Hererra Silvestre has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7281. Plaintiff Shane Herr is an individual residing in New York. Herr worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Herr has been

eligible to receive overtime pay under the FLSA because Herr has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7282. Plaintiff Kaddier Herrans Pagab is an individual residing in New York. Herrans

Pagab worked as a delivery driver for FedEx in New York from approximately 2020 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Herrans Pagab has been eligible to receive overtime pay under the FLSA because Herrans Pagab

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7283. Plaintiff Barrington Hhunter is an individual residing in New York. Hhunter

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hhunter



                                               1960
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1961 of 3128




has been eligible to receive overtime pay under the FLSA because Hhunter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7284. Plaintiff Arkem Hicks is an individual residing in New York. Hicks worked as a

delivery driver for FedEx in New York from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hicks has been

eligible to receive overtime pay under the FLSA because Hicks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7285. Plaintiff Anthony Hidalgo is an individual residing in New York. Hidalgo worked

as a delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hidalgo has been

eligible to receive overtime pay under the FLSA because Hidalgo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7286. Plaintiff Jonathan Hill is an individual residing in Florida. Hill worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7287. Plaintiff Scott Hines is an individual residing in New York. Hines worked as a

delivery driver for FedEx in New York from approximately 2013 to 2021 but was employed



                                               1961
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1962 of 3128




through intermediary entities that FedEx calls independent service providers. Hines has been

eligible to receive overtime pay under the FLSA because Hines has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7288. Plaintiff Brett Hoffay is an individual residing in New York. Hoffay worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hoffay has been eligible to receive overtime pay

under the FLSA because Hoffay has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7289. Plaintiff David Hogan is an individual residing in New York. Hogan worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hogan has been eligible to receive overtime pay

under the FLSA because Hogan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7290. Plaintiff Craig Horzempa is an individual residing in New York. Horzempa

worked as a delivery driver for FedEx in New York from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Horzempa has been eligible to receive overtime pay under the FLSA because Horzempa has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7291. Plaintiff Michelle Hough is an individual residing in Georgia. Hough worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Hough has been eligible to receive overtime pay



                                             1962
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1963 of 3128




under the FLSA because Hough has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7292. Plaintiff Christopher Howard is an individual residing in Georgia. Howard

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Howard

has been eligible to receive overtime pay under the FLSA because Howard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7293. Plaintiff Yasmine Howell is an individual residing in New York. Howell worked

as a delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Howell has been

eligible to receive overtime pay under the FLSA because Howell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7294. Plaintiff Dexter Hoyte is an individual residing in New York. Hoyte worked as a

delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hoyte has been

eligible to receive overtime pay under the FLSA because Hoyte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7295. Plaintiff Brendan Hubbard is an individual residing in New York. Hubbard

worked as a delivery driver for FedEx in New York from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Hubbard



                                             1963
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1964 of 3128




has been eligible to receive overtime pay under the FLSA because Hubbard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7296. Plaintiff Ronald Hubbell is an individual residing in New York. Hubbell worked

as a delivery driver for FedEx in New York from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hubbell has been

eligible to receive overtime pay under the FLSA because Hubbell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7297. Plaintiff Calvin Hudson is an individual residing in New York. Hudson worked as

a delivery driver for FedEx in New York from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hudson has been

eligible to receive overtime pay under the FLSA because Hudson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7298. Plaintiff James Hughes is an individual residing in New York. Hughes worked as

a delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7299. Plaintiff Eugene Huguens is an individual residing in New York. Huguens worked

as a delivery driver for FedEx in New York from approximately 2011 to 2016 but was employed



                                             1964
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1965 of 3128




through intermediary entities that FedEx calls independent service providers. Huguens has been

eligible to receive overtime pay under the FLSA because Huguens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7300. Plaintiff Nichol Iacobazzi is an individual residing in New York. Iacobazzi

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Iacobazzi has been eligible to receive overtime pay under the FLSA because Iacobazzi has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7301. Plaintiff Spencer Ingram is an individual residing in New York. Ingram worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ingram has been

eligible to receive overtime pay under the FLSA because Ingram has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7302. Plaintiff Bryan Isbell is an individual residing in New York. Isbell worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Isbell has been

eligible to receive overtime pay under the FLSA because Isbell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1965
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1966 of 3128




        7303. Plaintiff Shawn Jarrett is an individual residing in Virginia. Jarrett worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Jarrett has been eligible to receive overtime pay

under the FLSA because Jarrett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7304. Plaintiff Wendy Jean-Louis is an individual residing in New York. Jean-Louis

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Jean-

Louis has been eligible to receive overtime pay under the FLSA because Jean-Louis has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7305. Plaintiff Reginald Jenkins is an individual residing in New York. Jenkins worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7306. Plaintiff Paul Jimenez is an individual residing in New York. Jimenez worked as a

delivery driver for FedEx in New York from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jimenez has been

eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               1966
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1967 of 3128




        7307. Plaintiff Jeremy Jock is an individual residing in New York. Jock worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jock has been

eligible to receive overtime pay under the FLSA because Jock has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7308. Plaintiff Richie Jodharam is an individual residing in Indiana. Jodharam worked

as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jodharam has been

eligible to receive overtime pay under the FLSA because Jodharam has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7309. Plaintiff John Johnson is an individual residing in New York. Johnson worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7310. Plaintiff Ezra Johnson is an individual residing in New York. Johnson worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Johnson has been eligible to receive overtime pay

under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              1967
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1968 of 3128




        7311. Plaintiff Danny Johnson is an individual residing in Maryland. Johnson worked as

a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7312. Plaintiff Keith Johnson Ii is an individual residing in New York. Johnson Ii

worked as a delivery driver for FedEx in New York from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

Ii has been eligible to receive overtime pay under the FLSA because Johnson Ii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7313. Plaintiff Scott Johntry is an individual residing in New York. Johntry worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Johntry has been eligible to receive overtime pay

under the FLSA because Johntry has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7314. Plaintiff Vinson Jones is an individual residing in New York. Jones worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under

the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              1968
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1969 of 3128




        7315. Plaintiff Equan Jones is an individual residing in New York. Jones worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7316. Plaintiff Allan Joseph is an individual residing in New York. Joseph worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Joseph has been

eligible to receive overtime pay under the FLSA because Joseph has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7317. Plaintiff Kehvyn Joslyn is an individual residing in New York. Joslyn worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Joslyn has been eligible to receive overtime pay

under the FLSA because Joslyn has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7318. Plaintiff Robert Jurbala is an individual residing in New York. Jurbala worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Jurbala has been eligible to receive overtime pay

under the FLSA because Jurbala has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              1969
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1970 of 3128




        7319. Plaintiff Daniel Kant is an individual residing in New York. Kant worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kant has been

eligible to receive overtime pay under the FLSA because Kant has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7320. Plaintiff Shyrene Kashmerick is an individual residing in New York. Kashmerick

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Kashmerick has been eligible to receive

overtime pay under the FLSA because Kashmerick has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7321. Plaintiff Robert Kassel is an individual residing in New York. Kassel worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kassel has been

eligible to receive overtime pay under the FLSA because Kassel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7322. Plaintiff Alfred Kelley is an individual residing in New York. Kelley worked as a

delivery driver for FedEx in New York from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kelley has been

eligible to receive overtime pay under the FLSA because Kelley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1970
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1971 of 3128




        7323. Plaintiff Christopher Kelly is an individual residing in New York. Kelly worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Kelly has been eligible to receive overtime pay under

the FLSA because Kelly has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7324. Plaintiff Edward Kelly is an individual residing in New York. Kelly worked as a

delivery driver for FedEx in New York from approximately 1998 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Kelly has been

eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7325. Plaintiff Seung Kim is an individual residing in New Jersey. Kim worked as a

delivery driver for FedEx in New York from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Kim has been

eligible to receive overtime pay under the FLSA because Kim has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7326. Plaintiff Johancy King is an individual residing in New York. King worked as a

delivery driver for FedEx in New York from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. King has been

eligible to receive overtime pay under the FLSA because King has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1971
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 1972 of 3128




        7327. Plaintiff Michael Kirkland is an individual residing in New York. Kirkland

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Kirkland has been eligible to receive

overtime pay under the FLSA because Kirkland has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7328. Plaintiff Boris Kitaychik is an individual residing in New York. Kitaychik worked

as a delivery driver for FedEx in New York from approximately 2004 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Kitaychik has been

eligible to receive overtime pay under the FLSA because Kitaychik has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7329. Plaintiff Jacob Klein is an individual residing in New York. Klein worked as a

delivery driver for FedEx in New York from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Klein has been

eligible to receive overtime pay under the FLSA because Klein has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7330. Plaintiff Kristina Knapp is an individual residing in New York. Knapp worked as

a delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Knapp has been

eligible to receive overtime pay under the FLSA because Knapp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1972
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1973 of 3128




        7331. Plaintiff Kenneth Knickerbocker is an individual residing in New York.

Knickerbocker worked as a delivery driver for FedEx in New York from approximately 2008 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Knickerbocker has been eligible to receive overtime pay under the FLSA because

Knickerbocker has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7332. Plaintiff Matthew Knowles is an individual residing in New York. Knowles

worked as a delivery driver for FedEx in New York from approximately 2011 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Knowles

has been eligible to receive overtime pay under the FLSA because Knowles has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7333. Plaintiff James Kontak is an individual residing in New York. Kontak worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Kontak has been eligible to receive overtime pay

under the FLSA because Kontak has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7334. Plaintiff John Kosinsky is an individual residing in New York. Kosinsky worked

as a delivery driver for FedEx in New York from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kosinsky has been

eligible to receive overtime pay under the FLSA because Kosinsky has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             1973
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1974 of 3128




        7335. Plaintiff Derek Koszuta is an individual residing in New York. Koszuta worked as

a delivery driver for FedEx in New York from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Koszuta has been

eligible to receive overtime pay under the FLSA because Koszuta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7336. Plaintiff Jeremy Krauss is an individual residing in New Jersey. Krauss worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Krauss has been

eligible to receive overtime pay under the FLSA because Krauss has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7337. Plaintiff Yuriy Kupetskyy is an individual residing in New York. Kupetskyy

worked as a delivery driver for FedEx in New York from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Kupetskyy has been eligible to receive overtime pay under the FLSA because Kupetskyy has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7338. Plaintiff Tomas Kuzma is an individual residing in Illinois. Kuzma worked as a

delivery driver for FedEx in New York from approximately 2002 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kuzma has been

eligible to receive overtime pay under the FLSA because Kuzma has driven a vehicle weighing




                                             1974
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1975 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7339. Plaintiff Bodwin Kwanda is an individual residing in New York. Kwanda worked

as a delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kwanda has been

eligible to receive overtime pay under the FLSA because Kwanda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7340. Plaintiff Shane Lafountain is an individual residing in New York. Lafountain

worked as a delivery driver for FedEx in New York from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Lafountain has been eligible to receive overtime pay under the FLSA because Lafountain has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7341. Plaintiff Jamie Lafountain is an individual residing in New York. Lafountain

worked as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Lafountain has been eligible to receive overtime pay under the FLSA because Lafountain has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7342. Plaintiff Adrian Lamberty is an individual residing in New York. Lamberty

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Lamberty has been eligible to receive



                                              1975
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1976 of 3128




overtime pay under the FLSA because Lamberty has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7343. Plaintiff John Lambrose is an individual residing in Florida. Lambrose worked as

a delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lambrose has been

eligible to receive overtime pay under the FLSA because Lambrose has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7344. Plaintiff Anthony Lamonica is an individual residing in New York. Lamonica

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Lamonica has been eligible to receive overtime pay under the FLSA because Lamonica has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7345. Plaintiff Joshua Lana is an individual residing in Michigan. Lana worked as a

delivery driver for FedEx in New York and Ohio but was employed through intermediary entities

that FedEx calls independent service providers. Lana has been eligible to receive overtime pay

under the FLSA because Lana has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7346. Plaintiff Lamont Lanham is an individual residing in New Jersey. Lanham worked

as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lanham has been

eligible to receive overtime pay under the FLSA because Lanham has driven a vehicle weighing



                                             1976
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1977 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7347. Plaintiff Mardochee Lavalas is an individual residing in Massachusetts. Lavalas

worked as a delivery driver for FedEx in New York from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Lavalas

has been eligible to receive overtime pay under the FLSA because Lavalas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7348. Plaintiff Kareem Lawrence is an individual residing in New York. Lawrence

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Lawrence has been eligible to receive

overtime pay under the FLSA because Lawrence has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7349. Plaintiff Allan Leandre is an individual residing in New York. Leandre worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Leandre has been

eligible to receive overtime pay under the FLSA because Leandre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7350. Plaintiff Jamie Leblanc is an individual residing in Virginia. Leblanc worked as a

delivery driver for FedEx in New York from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Leblanc has been

eligible to receive overtime pay under the FLSA because Leblanc has driven a vehicle weighing



                                              1977
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1978 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7351. Plaintiff Kelvin Lee is an individual residing in New York. Lee worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7352. Plaintiff Brandon Lee is an individual residing in New York. Lee worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7353. Plaintiff Randolph Leidl is an individual residing in New York. Leidl worked as a

delivery driver for FedEx in New York from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Leidl has been

eligible to receive overtime pay under the FLSA because Leidl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7354. Plaintiff Tamika Lemonious Campbell is an individual residing in New York.

Lemonious Campbell worked as a delivery driver for FedEx in New York from approximately

2017 to 2020 but was employed through intermediary entities that FedEx calls independent



                                              1978
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1979 of 3128




service providers. Lemonious Campbell has been eligible to receive overtime pay under the

FLSA because Lemonious Campbell has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        7355. Plaintiff Sharieff Lenihan is an individual residing in New York. Lenihan worked

as a delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lenihan has been

eligible to receive overtime pay under the FLSA because Lenihan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7356. Plaintiff Kyle Lent is an individual residing in South Carolina. Lent worked as a

delivery driver for FedEx in New York from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lent has been

eligible to receive overtime pay under the FLSA because Lent has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7357. Plaintiff William Leonick is an individual residing in Delaware. Leonick worked

as a delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Leonick has been

eligible to receive overtime pay under the FLSA because Leonick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7358. Plaintiff Louis Lercara is an individual residing in New York. Lercara worked as

a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed



                                              1979
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1980 of 3128




through intermediary entities that FedEx calls independent service providers. Lercara has been

eligible to receive overtime pay under the FLSA because Lercara has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7359. Plaintiff Quan-Tez Lewis is an individual residing in New York. Lewis worked as

a delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7360. Plaintiff Mike Licata is an individual residing in New York. Licata worked as a

delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Licata has been

eligible to receive overtime pay under the FLSA because Licata has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7361. Plaintiff Daniel Lindsey is an individual residing in Georgia. Lindsey worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lindsey has been

eligible to receive overtime pay under the FLSA because Lindsey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1980
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1981 of 3128




        7362. Plaintiff Jesus Liriano Guzman is an individual residing in New York. Liriano

Guzman worked as a delivery driver for FedEx in New York from approximately 2015 to 2016

but was employed through intermediary entities that FedEx calls independent service providers.

Liriano Guzman has been eligible to receive overtime pay under the FLSA because Liriano

Guzman has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7363. Plaintiff Jamel Lloyd is an individual residing in New York. Lloyd worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lloyd has been

eligible to receive overtime pay under the FLSA because Lloyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7364. Plaintiff Gavin Lloyd is an individual residing in New York. Lloyd worked as a

delivery driver for FedEx in New York from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lloyd has been

eligible to receive overtime pay under the FLSA because Lloyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7365. Plaintiff Joseph Logan is an individual residing in New York. Logan worked as a

delivery driver for FedEx in New York from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Logan has been

eligible to receive overtime pay under the FLSA because Logan has driven a vehicle weighing




                                             1981
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1982 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7366. Plaintiff John Logan is an individual residing in New York. Logan worked as a

delivery driver for FedEx in New York from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Logan has been

eligible to receive overtime pay under the FLSA because Logan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7367. Plaintiff Carlos Londono is an individual residing in New York. Londono worked

as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Londono has been

eligible to receive overtime pay under the FLSA because Londono has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7368. Plaintiff Freddie Lopez is an individual residing in New York. Lopez worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7369. Plaintiff Julian Lopez Coronel is an individual residing in New York. Lopez

Coronel worked as a delivery driver for FedEx in New York from approximately 2016 to 2020

but was employed through intermediary entities that FedEx calls independent service providers.



                                             1982
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 1983 of 3128




Lopez Coronel has been eligible to receive overtime pay under the FLSA because Lopez Coronel

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7370. Plaintiff Robert Lorini is an individual residing in New York. Lorini worked as a

delivery driver for FedEx in New York from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Lorini has been

eligible to receive overtime pay under the FLSA because Lorini has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7371. Plaintiff Lance Losapio is an individual residing in New York. Losapio worked as

a delivery driver for FedEx in New York from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Losapio has been

eligible to receive overtime pay under the FLSA because Losapio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7372. Plaintiff Kevin Lovell is an individual residing in New York. Lovell worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lovell has been

eligible to receive overtime pay under the FLSA because Lovell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7373. Plaintiff Spenchelle Lowery is an individual residing in New York. Lowery

worked as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was



                                              1983
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 1984 of 3128




employed through intermediary entities that FedEx calls independent service providers. Lowery

has been eligible to receive overtime pay under the FLSA because Lowery has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7374. Plaintiff Luis Lozano Padierna is an individual residing in Florida. Lozano

Padierna worked as a delivery driver for FedEx in New York from approximately 2008 to 2018

but was employed through intermediary entities that FedEx calls independent service providers.

Lozano Padierna has been eligible to receive overtime pay under the FLSA because Lozano

Padierna has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7375. Plaintiff Richard Lubecki is an individual residing in New York. Lubecki worked

as a delivery driver for FedEx in New York from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lubecki has been

eligible to receive overtime pay under the FLSA because Lubecki has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7376. Plaintiff Victor Lum is an individual residing in New York. Lum worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Lum has been eligible to receive overtime pay under

the FLSA because Lum has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7377. Plaintiff Luis Luna is an individual residing in New York. Luna worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1984
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1985 of 3128




FedEx calls independent service providers. Luna has been eligible to receive overtime pay under

the FLSA because Luna has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7378. Plaintiff Alex Luna-Garcia is an individual residing in New York. Luna-Garcia

worked as a delivery driver for FedEx in New York from approximately 2010 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Luna-

Garcia has been eligible to receive overtime pay under the FLSA because Luna-Garcia has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7379. Plaintiff Valentin Luzon is an individual residing in New Jersey. Luzon worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Luzon has been eligible to receive overtime pay

under the FLSA because Luzon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7380. Plaintiff Dalton Lyons is an individual residing in New York. Lyons worked as a

delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7381. Plaintiff John Lyons is an individual residing in New York. Lyons worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been



                                             1985
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 1986 of 3128




eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7382. Plaintiff Shawn Maclorrain is an individual residing in New York. Maclorrain

worked as a delivery driver for FedEx in New York from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Maclorrain has been eligible to receive overtime pay under the FLSA because Maclorrain has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7383. Plaintiff Anthony Maggio Jr is an individual residing in New York. Maggio Jr

worked as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Maggio

Jr has been eligible to receive overtime pay under the FLSA because Maggio Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7384. Plaintiff Rajendra Mahadeo is an individual residing in New York. Mahadeo

worked as a delivery driver for FedEx in New York from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mahadeo

has been eligible to receive overtime pay under the FLSA because Mahadeo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7385. Plaintiff Lisa Mahoney is an individual residing in New York. Mahoney worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that



                                             1986
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1987 of 3128




FedEx calls independent service providers. Mahoney has been eligible to receive overtime pay

under the FLSA because Mahoney has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        7386. Plaintiff Kenneth Mailhot is an individual residing in Vermont. Mailhot worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mailhot has been

eligible to receive overtime pay under the FLSA because Mailhot has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7387. Plaintiff Larry Mallett is an individual residing in New York. Mallett worked as a

delivery driver for FedEx in New York from approximately 1989 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mallett has been

eligible to receive overtime pay under the FLSA because Mallett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7388. Plaintiff Patrick Malone is an individual residing in New York. Malone worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Malone has been eligible to receive overtime pay

under the FLSA because Malone has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7389. Plaintiff Derek Maltese is an individual residing in Pennsylvania. Maltese worked

as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Maltese has been



                                              1987
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1988 of 3128




eligible to receive overtime pay under the FLSA because Maltese has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7390. Plaintiff Leonard Manginelli is an individual residing in New York. Manginelli

worked as a delivery driver for FedEx in New York from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Manginelli has been eligible to receive overtime pay under the FLSA because Manginelli has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7391. Plaintiff Vinny Manno is an individual residing in New York. Manno worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Manno has been

eligible to receive overtime pay under the FLSA because Manno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7392. Plaintiff Juan Manon is an individual residing in New York. Manon worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Manon has been

eligible to receive overtime pay under the FLSA because Manon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7393. Plaintiff Douglas Marchelos is an individual residing in Florida. Marchelos

worked as a delivery driver for FedEx in New York from approximately 2012 to 2020 but was



                                             1988
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1989 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Marchelos has been eligible to receive overtime pay under the FLSA because Marchelos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7394. Plaintiff Kevin Marquez is an individual residing in New York. Marquez worked

as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Marquez has been

eligible to receive overtime pay under the FLSA because Marquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7395. Plaintiff Clayton Marte is an individual residing in New York. Marte worked as a

delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Marte has been

eligible to receive overtime pay under the FLSA because Marte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7396. Plaintiff Franyerd Marti is an individual residing in Florida. Marti worked as a

delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Marti has been

eligible to receive overtime pay under the FLSA because Marti has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1989
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1990 of 3128




        7397. Plaintiff Eduardo Martiinez is an individual residing in New York. Martiinez

worked as a delivery driver for FedEx in New York from approximately 2004 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Martiinez has been eligible to receive overtime pay under the FLSA because Martiinez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7398. Plaintiff Jason Martinez is an individual residing in New York. Martinez worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Martinez has been eligible to receive overtime pay

under the FLSA because Martinez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7399. Plaintiff Diomedes Martinez is an individual residing in New York. Martinez

worked as a delivery driver for FedEx in New York from approximately 2004 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Martinez

has been eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7400. Plaintiff Silvio Martinez is an individual residing in New York. Martinez worked

as a delivery driver for FedEx in New York from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             1990
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1991 of 3128




        7401. Plaintiff Joseph Martins is an individual residing in New York. Martins worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Martins has been eligible to receive overtime pay

under the FLSA because Martins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7402. Plaintiff Ashley Marvin is an individual residing in New York. Marvin worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Marvin has been eligible to receive overtime pay

under the FLSA because Marvin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7403. Plaintiff Jonathan Mata is an individual residing in New York. Mata worked as a

delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mata has been

eligible to receive overtime pay under the FLSA because Mata has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7404. Plaintiff Geraldo Mateo is an individual residing in Florida. Mateo worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mateo has been

eligible to receive overtime pay under the FLSA because Mateo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              1991
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1992 of 3128




        7405. Plaintiff Manuel Mateo is an individual residing in New York. Mateo worked as a

delivery driver for FedEx in New York from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mateo has been

eligible to receive overtime pay under the FLSA because Mateo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7406. Plaintiff Tristan Matthews is an individual residing in New York. Matthews

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Matthews has been eligible to receive

overtime pay under the FLSA because Matthews has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7407. Plaintiff David Maurer is an individual residing in New York. Maurer worked as a

delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Maurer has been

eligible to receive overtime pay under the FLSA because Maurer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7408. Plaintiff Edgar Mays is an individual residing in Nevada. Mays worked as a

delivery driver for FedEx in New York from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mays has been

eligible to receive overtime pay under the FLSA because Mays has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              1992
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 1993 of 3128




        7409. Plaintiff Ali Mazeh is an individual residing in New York. Mazeh worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mazeh has been

eligible to receive overtime pay under the FLSA because Mazeh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7410. Plaintiff Robert Mccaffrey is an individual residing in New York. Mccaffrey

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Mccaffrey has been eligible to receive

overtime pay under the FLSA because Mccaffrey has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7411. Plaintiff Penny Mccarthy is an individual residing in New York. Mccarthy

worked as a delivery driver for FedEx in New York from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mccarthy has been eligible to receive overtime pay under the FLSA because Mccarthy has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7412. Plaintiff John Mccormick is an individual residing in New York. Mccormick

worked as a delivery driver for FedEx in New York from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mccormick has been eligible to receive overtime pay under the FLSA because Mccormick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              1993
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1994 of 3128




       7413. Plaintiff Denise Mcdonald is an individual residing in New York. Mcdonald

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcdonald has been eligible to receive overtime pay under the FLSA because Mcdonald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7414. Plaintiff George Mcelroy is an individual residing in New York. Mcelroy worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Mcelroy has been eligible to receive overtime pay

under the FLSA because Mcelroy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7415. Plaintiff Nicholas Mcgovern is an individual residing in New York. Mcgovern

worked as a delivery driver for FedEx in New York from approximately 2012 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcgovern has been eligible to receive overtime pay under the FLSA because Mcgovern has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7416. Plaintiff John Mcgraw is an individual residing in New York. Mcgraw worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Mcgraw has been eligible to receive overtime pay

under the FLSA because Mcgraw has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                             1994
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1995 of 3128




        7417. Plaintiff Ryan Mckinney is an individual residing in New York. Mckinney

worked as a delivery driver for FedEx in New York from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckinney has been eligible to receive overtime pay under the FLSA because Mckinney has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7418. Plaintiff Kenneth Mcnally is an individual residing in New York. Mcnally worked

as a delivery driver for FedEx in New York from approximately 2011 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mcnally has been

eligible to receive overtime pay under the FLSA because Mcnally has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7419. Plaintiff Charlene Mehnert is an individual residing in New York. Mehnert

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mehnert

has been eligible to receive overtime pay under the FLSA because Mehnert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7420. Plaintiff Paul Meikle is an individual residing in New York. Meikle worked as a

delivery driver for FedEx in New York from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Meikle has been

eligible to receive overtime pay under the FLSA because Meikle has driven a vehicle weighing




                                             1995
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1996 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7421. Plaintiff Gabriel Mejias is an individual residing in New York. Mejias worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Mejias has been eligible to receive overtime pay

under the FLSA because Mejias has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7422. Plaintiff Damian Melendez is an individual residing in Connecticut. Melendez

worked as a delivery driver for FedEx in New York from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Melendez has been eligible to receive overtime pay under the FLSA because Melendez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7423. Plaintiff Martin Mena is an individual residing in New York. Mena worked as a

delivery driver for FedEx in New York from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mena has been

eligible to receive overtime pay under the FLSA because Mena has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7424. Plaintiff Hector Mendez is an individual residing in New York. Mendez worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Mendez has been eligible to receive overtime pay




                                             1996
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 1997 of 3128




under the FLSA because Mendez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7425. Plaintiff Rafael Mendez is an individual residing in New York. Mendez worked

as a delivery driver for FedEx in New York from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mendez has been

eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7426. Plaintiff Starlin Mendez Nunez is an individual residing in New York. Mendez

Nunez worked as a delivery driver for FedEx in New York but was employed through

intermediary entities that FedEx calls independent service providers. Mendez Nunez has been

eligible to receive overtime pay under the FLSA because Mendez Nunez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7427. Plaintiff Christian Mercado is an individual residing in New York. Mercado

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mercado

has been eligible to receive overtime pay under the FLSA because Mercado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7428. Plaintiff Roberto Merino is an individual residing in North Carolina. Merino

worked as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Merino



                                             1997
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 1998 of 3128




has been eligible to receive overtime pay under the FLSA because Merino has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7429. Plaintiff Marc Merrill is an individual residing in Florida. Merrill worked as a

delivery driver for FedEx in New York from approximately 2008 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Merrill has been

eligible to receive overtime pay under the FLSA because Merrill has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7430. Plaintiff Marat Mesh is an individual residing in New Jersey. Mesh worked as a

delivery driver for FedEx in New York from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mesh has been

eligible to receive overtime pay under the FLSA because Mesh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7431. Plaintiff William Meyer is an individual residing in New York. Meyer worked as

a delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Meyer has been

eligible to receive overtime pay under the FLSA because Meyer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7432. Plaintiff Kyle Mickens is an individual residing in New York. Mickens worked as

a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed



                                               1998
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 1999 of 3128




through intermediary entities that FedEx calls independent service providers. Mickens has been

eligible to receive overtime pay under the FLSA because Mickens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7433. Plaintiff Richard Mikulski is an individual residing in New York. Mikulski

worked as a delivery driver for FedEx in New York from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mikulski

has been eligible to receive overtime pay under the FLSA because Mikulski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7434. Plaintiff Matthew Milde is an individual residing in New York. Milde worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Milde has been

eligible to receive overtime pay under the FLSA because Milde has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7435. Plaintiff John Miller is an individual residing in New York. Miller worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7436. Plaintiff Tim Miller is an individual residing in New York. Miller worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that



                                              1999
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2000 of 3128




FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7437. Plaintiff Stanley Miller is an individual residing in Florida. Miller worked as a

delivery driver for FedEx in New York from approximately 1997 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7438. Plaintiff Mark Minasi is an individual residing in New York. Minasi worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Minasi has been eligible to receive overtime pay

under the FLSA because Minasi has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7439. Plaintiff Josue Minaya is an individual residing in New York. Minaya worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Minaya has been eligible to receive overtime pay

under the FLSA because Minaya has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7440. Plaintiff John Miner is an individual residing in New York. Miner worked as a

delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Miner has been

eligible to receive overtime pay under the FLSA because Miner has driven a vehicle weighing



                                               2000
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2001 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7441. Plaintiff James Miner is an individual residing in New York. Miner worked as a

delivery driver for FedEx in New York from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Miner has been

eligible to receive overtime pay under the FLSA because Miner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7442. Plaintiff Jerome Miner Ii is an individual residing in New York. Miner Ii worked

as a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Miner Ii has been

eligible to receive overtime pay under the FLSA because Miner Ii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7443. Plaintiff Carl Miosi is an individual residing in New York. Miosi worked as a

delivery driver for FedEx in New York from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Miosi has been

eligible to receive overtime pay under the FLSA because Miosi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7444. Plaintiff Charles Missoh is an individual residing in New York. Missoh worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Missoh has been



                                              2001
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2002 of 3128




eligible to receive overtime pay under the FLSA because Missoh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7445. Plaintiff Mike Mobus is an individual residing in New York. Mobus worked as a

delivery driver for FedEx in New York from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mobus has been

eligible to receive overtime pay under the FLSA because Mobus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7446. Plaintiff Frank Monson is an individual residing in New York. Monson worked as

a delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Monson has been

eligible to receive overtime pay under the FLSA because Monson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7447. Plaintiff Cristian Montano is an individual residing in New York. Montano

worked as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Montano

has been eligible to receive overtime pay under the FLSA because Montano has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7448. Plaintiff Andrew Monteverde is an individual residing in New York. Monteverde

worked as a delivery driver for FedEx in New York from approximately 2015 to 2019 but was



                                             2002
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2003 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Monteverde has been eligible to receive overtime pay under the FLSA because Monteverde has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7449. Plaintiff Du-Wayne Moody is an individual residing in New York. Moody

worked as a delivery driver for FedEx in New York from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Moody

has been eligible to receive overtime pay under the FLSA because Moody has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7450. Plaintiff Scott Moon is an individual residing in New York. Moon worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moon has been

eligible to receive overtime pay under the FLSA because Moon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7451. Plaintiff Thomas Morabito is an individual residing in New York. Morabito

worked as a delivery driver for FedEx in New York from approximately 1990 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Morabito

has been eligible to receive overtime pay under the FLSA because Morabito has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2003
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2004 of 3128




        7452. Plaintiff Kenneth Moran is an individual residing in New York. Moran worked as

a delivery driver for FedEx in New York from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Moran has been

eligible to receive overtime pay under the FLSA because Moran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7453. Plaintiff Emanuel Moreno is an individual residing in New York. Moreno worked

as a delivery driver for FedEx in New York from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moreno has been

eligible to receive overtime pay under the FLSA because Moreno has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7454. Plaintiff Marcus Morgan is an individual residing in New York. Morgan worked

as a delivery driver for FedEx in New York from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7455. Plaintiff Rohon Morgan is an individual residing in New York. Morgan worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Morgan has been eligible to receive overtime pay

under the FLSA because Morgan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                             2004
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2005 of 3128




        7456. Plaintiff Nakita Morgan is an individual residing in New York. Morgan worked as

a delivery driver for FedEx in New York from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7457. Plaintiff Joseph Morris is an individual residing in New York. Morris worked as a

delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been

eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7458. Plaintiff Charles Moss is an individual residing in New York. Moss worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Moss has been

eligible to receive overtime pay under the FLSA because Moss has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7459. Plaintiff James Mueller is an individual residing in New York. Mueller worked as

a delivery driver for FedEx in New York from approximately 2001 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mueller has been

eligible to receive overtime pay under the FLSA because Mueller has driven a vehicle weighing




                                             2005
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2006 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7460. Plaintiff Akiel Mulgrave is an individual residing in Georgia. Mulgrave worked as

a delivery driver for FedEx in New York from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mulgrave has been

eligible to receive overtime pay under the FLSA because Mulgrave has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7461. Plaintiff Alexandria Muro is an individual residing in New York. Muro worked as

a delivery driver for FedEx in New York from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Muro has been

eligible to receive overtime pay under the FLSA because Muro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7462. Plaintiff George Murphy is an individual residing in New York. Murphy worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Murphy has been eligible to receive overtime pay

under the FLSA because Murphy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7463. Plaintiff Steven Myrick is an individual residing in New York. Myrick worked as

a delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Myrick has been

eligible to receive overtime pay under the FLSA because Myrick has driven a vehicle weighing



                                             2006
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2007 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7464. Plaintiff Joseph Myrtil is an individual residing in New York. Myrtil worked as a

delivery driver for FedEx in New York from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Myrtil has been

eligible to receive overtime pay under the FLSA because Myrtil has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7465. Plaintiff Vladimir Nebrat is an individual residing in New York. Nebrat worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Nebrat has been eligible to receive overtime pay

under the FLSA because Nebrat has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7466. Plaintiff Martin Nobles is an individual residing in New York. Nobles worked as

a delivery driver for FedEx in New York from approximately 2001 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Nobles has been

eligible to receive overtime pay under the FLSA because Nobles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7467. Plaintiff William Norman is an individual residing in New York. Norman worked

as a delivery driver for FedEx in New York from approximately 1992 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Norman has been

eligible to receive overtime pay under the FLSA because Norman has driven a vehicle weighing



                                              2007
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2008 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7468. Plaintiff Luis Nunez is an individual residing in New York. Nunez worked as a

delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Nunez has been

eligible to receive overtime pay under the FLSA because Nunez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7469. Plaintiff Okechukwu Nwofor is an individual residing in New York. Nwofor

worked as a delivery driver for FedEx in New York from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Nwofor

has been eligible to receive overtime pay under the FLSA because Nwofor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7470. Plaintiff Johnny Ocasio is an individual residing in New York. Ocasio worked as

a delivery driver for FedEx in New York from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ocasio has been

eligible to receive overtime pay under the FLSA because Ocasio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7471. Plaintiff Jeffri Olivo is an individual residing in New Jersey. Olivo worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Olivo has been



                                              2008
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2009 of 3128




eligible to receive overtime pay under the FLSA because Olivo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7472. Plaintiff Garfield Olliver is an individual residing in New York. Olliver worked as

a delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Olliver has been

eligible to receive overtime pay under the FLSA because Olliver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7473. Plaintiff Daniel Olmo is an individual residing in New York. Olmo worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Olmo has been eligible to receive overtime pay under

the FLSA because Olmo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7474. Plaintiff John Olsen is an individual residing in New York. Olsen worked as a

delivery driver for FedEx in New York from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Olsen has been

eligible to receive overtime pay under the FLSA because Olsen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7475. Plaintiff Julio Onofre is an individual residing in New York. Onofre worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Onofre has been



                                              2009
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2010 of 3128




eligible to receive overtime pay under the FLSA because Onofre has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7476. Plaintiff Vadym Onyshchenko is an individual residing in Pennsylvania.

Onyshchenko worked as a delivery driver for FedEx in New York from approximately 2016 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Onyshchenko has been eligible to receive overtime pay under the FLSA because

Onyshchenko has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7477. Plaintiff Jean Orisma is an individual residing in New Jersey. Orisma worked as a

delivery driver for FedEx in New York from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Orisma has been

eligible to receive overtime pay under the FLSA because Orisma has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7478. Plaintiff Jeleal Osbourne is an individual residing in New York. Osbourne worked

as a delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Osbourne has been

eligible to receive overtime pay under the FLSA because Osbourne has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7479. Plaintiff John Ostune is an individual residing in New York. Ostune worked as a

delivery driver for FedEx in New York from approximately 2012 to 2023 but was employed



                                             2010
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2011 of 3128




through intermediary entities that FedEx calls independent service providers. Ostune has been

eligible to receive overtime pay under the FLSA because Ostune has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7480. Plaintiff Dale Outtrim is an individual residing in New York. Outtrim worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Outtrim has been

eligible to receive overtime pay under the FLSA because Outtrim has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7481. Plaintiff George Pacheco is an individual residing in New York. Pacheco worked

as a delivery driver for FedEx in New York from approximately 2008 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pacheco has been

eligible to receive overtime pay under the FLSA because Pacheco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7482. Plaintiff Jason Chisholm is an individual residing in New York. Packwood

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Packwood has been eligible to receive overtime pay under the FLSA because Packwood has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             2011
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2012 of 3128




        7483. Plaintiff Pedro Padovani is an individual residing in New York. Padovani worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Padovani has been

eligible to receive overtime pay under the FLSA because Padovani has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7484. Plaintiff Jorge Paez is an individual residing in New York. Paez worked as a

delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Paez has been

eligible to receive overtime pay under the FLSA because Paez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7485. Plaintiff Erny Pagan is an individual residing in New York. Pagan worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pagan has been

eligible to receive overtime pay under the FLSA because Pagan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7486. Plaintiff Kaddier Pagan is an individual residing in New York. Pagan worked as a

delivery driver for FedEx in New York from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pagan has been

eligible to receive overtime pay under the FLSA because Pagan has driven a vehicle weighing




                                             2012
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2013 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7487. Plaintiff James Paigo Jr. is an individual residing in New York. Paigo Jr. worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Paigo Jr. has been eligible to receive overtime pay

under the FLSA because Paigo Jr. has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7488. Plaintiff Ricky Palmer is an individual residing in New York. Palmer worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Palmer has been eligible to receive overtime pay

under the FLSA because Palmer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7489. Plaintiff Craig Panzica is an individual residing in New York. Panzica worked as

a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Panzica has been

eligible to receive overtime pay under the FLSA because Panzica has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7490. Plaintiff Alexander Paredes is an individual residing in New York. Paredes

worked as a delivery driver for FedEx in New York from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Paredes

has been eligible to receive overtime pay under the FLSA because Paredes has driven a vehicle




                                              2013
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2014 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7491. Plaintiff Alban Parllaku is an individual residing in New York. Parllaku worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Parllaku has been eligible to receive overtime pay

under the FLSA because Parllaku has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7492. Plaintiff Cheryl Parton is an individual residing in New York. Parton worked as a

delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Parton has been

eligible to receive overtime pay under the FLSA because Parton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7493. Plaintiff Angel Pascasio is an individual residing in North Carolina. Pascasio

worked as a delivery driver for FedEx in New York from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Pascasio

has been eligible to receive overtime pay under the FLSA because Pascasio has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7494. Plaintiff Christopher Paulino is an individual residing in New York. Paulino

worked as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Paulino

has been eligible to receive overtime pay under the FLSA because Paulino has driven a vehicle



                                              2014
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2015 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7495. Plaintiff Jeritson Paulino is an individual residing in New York. Paulino worked

as a delivery driver for FedEx in New York from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Paulino has been

eligible to receive overtime pay under the FLSA because Paulino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7496. Plaintiff Carlos Pedrosa is an individual residing in New York. Pedrosa worked as

a delivery driver for FedEx in New York from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pedrosa has been

eligible to receive overtime pay under the FLSA because Pedrosa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7497. Plaintiff Johnny Peguero is an individual residing in New York. Peguero worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Peguero has been eligible to receive overtime pay

under the FLSA because Peguero has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7498. Plaintiff Kurt Peltier is an individual residing in New York. Peltier worked as a

delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Peltier has been

eligible to receive overtime pay under the FLSA because Peltier has driven a vehicle weighing



                                              2015
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2016 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7499. Plaintiff Eduard Pena Santana is an individual residing in New York. Pena

Santana worked as a delivery driver for FedEx in New York from approximately 2014 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Pena Santana has been eligible to receive overtime pay under the FLSA because Pena Santana

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7500. Plaintiff Justin Peralta is an individual residing in New York. Peralta worked as a

delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Peralta has been

eligible to receive overtime pay under the FLSA because Peralta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7501. Plaintiff Markus Perez is an individual residing in New York. Perez worked as a

delivery driver for FedEx in New York from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7502. Plaintiff Jose Perez is an individual residing in New York. Perez worked as a

delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been



                                              2016
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2017 of 3128




eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7503. Plaintiff Ferdinand Perez is an individual residing in New York. Perez worked as

a delivery driver for FedEx in New York from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7504. Plaintiff Fabian Perlaza Balgazar is an individual residing in New York. Perlaza

Balgazar worked as a delivery driver for FedEx in New York from approximately 2016 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Perlaza Balgazar has been eligible to receive overtime pay under the FLSA because Perlaza

Balgazar has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7505. Plaintiff Vincent Perri is an individual residing in New York. Perri worked as a

delivery driver for FedEx in New York from approximately 2002 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perri has been

eligible to receive overtime pay under the FLSA because Perri has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7506. Plaintiff Christopher Peterson is an individual residing in New York. Peterson

worked as a delivery driver for FedEx in New York from approximately 2015 to 2024 but was



                                              2017
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2018 of 3128




employed through intermediary entities that FedEx calls independent service providers. Peterson

has been eligible to receive overtime pay under the FLSA because Peterson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7507. Plaintiff Dmitri Petreanu is an individual residing in New York. Petreanu worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Petreanu has been eligible to receive overtime pay

under the FLSA because Petreanu has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7508. Plaintiff Kyle Pettit is an individual residing in Pennsylvania. Pettit worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Pettit has been eligible to receive overtime pay under

the FLSA because Pettit has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7509. Plaintiff Josh Pickreign is an individual residing in New York. Pickreign worked

as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pickreign has been

eligible to receive overtime pay under the FLSA because Pickreign has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7510. Plaintiff William Piechocki is an individual residing in New York. Piechocki

worked as a delivery driver for FedEx in New York from approximately 2003 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2018
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2019 of 3128




Piechocki has been eligible to receive overtime pay under the FLSA because Piechocki has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7511. Plaintiff Fred Piperata is an individual residing in New York. Piperata worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Piperata has been eligible to receive overtime pay

under the FLSA because Piperata has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7512. Plaintiff Shawn Pitts is an individual residing in New York. Pitts worked as a

delivery driver for FedEx in New York from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pitts has been

eligible to receive overtime pay under the FLSA because Pitts has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7513. Plaintiff Paul Pizzo is an individual residing in New York. Pizzo worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Pizzo has been eligible to receive overtime pay under

the FLSA because Pizzo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7514. Plaintiff Philip Plunkett is an individual residing in New York. Plunkett worked

as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Plunkett has been

eligible to receive overtime pay under the FLSA because Plunkett has driven a vehicle weighing



                                              2019
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2020 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7515. Plaintiff Franklin Polanco is an individual residing in New Jersey. Polanco

worked as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Polanco

has been eligible to receive overtime pay under the FLSA because Polanco has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7516. Plaintiff Felix Polanco, Sr. is an individual residing in New York. Polanco

worked as a delivery driver for FedEx in New York from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Polanco

has been eligible to receive overtime pay under the FLSA because Polanco has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7517. Plaintiff Noelfi Polanco Bonilla, Sr. is an individual residing in New York.

Polanco Bonilla worked as a delivery driver for FedEx in New York from approximately 2019 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Polanco Bonilla has been eligible to receive overtime pay under the FLSA because

Polanco Bonilla has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7518. Plaintiff Daniel Poreda is an individual residing in New York. Poreda worked as a

delivery driver for FedEx in New York from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Poreda has been



                                              2020
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2021 of 3128




eligible to receive overtime pay under the FLSA because Poreda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7519. Plaintiff Jamarl Poulson is an individual residing in New York. Poulson worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Poulson has been eligible to receive overtime pay

under the FLSA because Poulson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7520. Plaintiff Christopher Powell is an individual residing in New York. Powell

worked as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Powell

has been eligible to receive overtime pay under the FLSA because Powell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7521. Plaintiff Brian Powers is an individual residing in New York. Powers worked as a

delivery driver for FedEx in New York from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Powers has been

eligible to receive overtime pay under the FLSA because Powers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7522. Plaintiff Barry Powers is an individual residing in New Jersey. Powers worked as

a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Powers has been



                                             2021
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2022 of 3128




eligible to receive overtime pay under the FLSA because Powers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7523. Plaintiff Anthony Prentice is an individual residing in New York. Prentice worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Prentice has been eligible to receive overtime pay

under the FLSA because Prentice has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7524. Plaintiff Dennis Profitt is an individual residing in New York. Profitt worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Profitt has been

eligible to receive overtime pay under the FLSA because Profitt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7525. Plaintiff Wesley Pucci is an individual residing in New York. Pucci worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Pucci has been eligible to receive overtime pay under

the FLSA because Pucci has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7526. Plaintiff Robert Putman is an individual residing in New York. Putman worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Putman has been eligible to receive overtime pay




                                              2022
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2023 of 3128




under the FLSA because Putman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7527. Plaintiff Dirk Radnai is an individual residing in New York. Radnai worked as a

delivery driver for FedEx in New York from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Radnai has been

eligible to receive overtime pay under the FLSA because Radnai has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7528. Plaintiff Kevin Ragnauth is an individual residing in New York. Ragnauth worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Ragnauth has been eligible to receive overtime pay

under the FLSA because Ragnauth has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        7529. Plaintiff Ariel Ramirez is an individual residing in New York. Ramirez worked as

a delivery driver for FedEx in New York from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ramirez has been

eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7530. Plaintiff Thomas Starro is an individual residing in New York. Ramos worked as

a delivery driver for FedEx in New York from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing



                                             2023
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2024 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7531. Plaintiff Rafael Ramos is an individual residing in New York. Ramos worked as a

delivery driver for FedEx in New York from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7532. Plaintiff Ricardo Ramos is an individual residing in New York. Ramos worked as

a delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ramos has been

eligible to receive overtime pay under the FLSA because Ramos has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7533. Plaintiff Roberto Ramos is an individual residing in New York. Ramos worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Ramos has been eligible to receive overtime pay

under the FLSA because Ramos has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7534. Plaintiff Justin Randt is an individual residing in New York. Randt worked as a

delivery driver for FedEx in New York from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Randt has been

eligible to receive overtime pay under the FLSA because Randt has driven a vehicle weighing



                                             2024
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2025 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7535. Plaintiff Franklin Rauch is an individual residing in New York. Rauch worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rauch has been

eligible to receive overtime pay under the FLSA because Rauch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7536. Plaintiff Corey Ravenel is an individual residing in New York. Ravenel worked as

a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ravenel has been

eligible to receive overtime pay under the FLSA because Ravenel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7537. Plaintiff Fayyad Reda is an individual residing in Florida. Reda worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Reda has been eligible to receive overtime pay under

the FLSA because Reda has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7538. Plaintiff Ramel Reed is an individual residing in New York. Reed worked as a

delivery driver for FedEx in New York from approximately 2014 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Reed has been

eligible to receive overtime pay under the FLSA because Reed has driven a vehicle weighing



                                              2025
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2026 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7539. Plaintiff Zachary Reese is an individual residing in New York. Reese worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Reese has been

eligible to receive overtime pay under the FLSA because Reese has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7540. Plaintiff Mark Reeves is an individual residing in New York. Reeves worked as a

delivery driver for FedEx in New York from approximately 1992 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Reeves has been

eligible to receive overtime pay under the FLSA because Reeves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7541. Plaintiff Crystal Reid is an individual residing in New York. Reid worked as a

delivery driver for FedEx in New York from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Reid has been

eligible to receive overtime pay under the FLSA because Reid has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7542. Plaintiff Kevin Reitz is an individual residing in New York. Reitz worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Reitz has been eligible to receive overtime pay under



                                             2026
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2027 of 3128




the FLSA because Reitz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7543. Plaintiff Raymond Rennie is an individual residing in New York. Rennie worked

as a delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rennie has been

eligible to receive overtime pay under the FLSA because Rennie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7544. Plaintiff Thomas Reynolds is an individual residing in New York. Reynolds

worked as a delivery driver for FedEx in New York from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Reynolds has been eligible to receive overtime pay under the FLSA because Reynolds has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7545. Plaintiff Amaury Reynoso is an individual residing in New York. Reynoso

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Reynoso has been eligible to receive

overtime pay under the FLSA because Reynoso has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7546. Plaintiff Pierre Richard is an individual residing in New York. Richard worked as

a delivery driver for FedEx in New York from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Richard has been

eligible to receive overtime pay under the FLSA because Richard has driven a vehicle weighing



                                              2027
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2028 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7547. Plaintiff Thomas Riley is an individual residing in New York. Riley worked as a

delivery driver for FedEx in New York from approximately 1999 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Riley has been

eligible to receive overtime pay under the FLSA because Riley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7548. Plaintiff Mario Rincon is an individual residing in New York. Rincon worked as a

delivery driver for FedEx in New York from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Rincon has been

eligible to receive overtime pay under the FLSA because Rincon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7549. Plaintiff Kevin Rios is an individual residing in New York. Rios worked as a

delivery driver for FedEx in New York from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Rios has been

eligible to receive overtime pay under the FLSA because Rios has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7550. Plaintiff Sandra Rios is an individual residing in New York. Rios worked as a

delivery driver for FedEx in New York from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rios has been



                                              2028
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2029 of 3128




eligible to receive overtime pay under the FLSA because Rios has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7551. Plaintiff David Schiff is an individual residing in New York. Ritter worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Ritter has been eligible to receive overtime pay under

the FLSA because Ritter has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7552. Plaintiff Alberto Rivera is an individual residing in New York. Rivera worked as

a delivery driver for FedEx in New York from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been

eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7553. Plaintiff Carlos Rivera is an individual residing in New York. Rivera worked as a

delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been

eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7554. Plaintiff Jose Riveras is an individual residing in New York. Riveras worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Riveras has been eligible to receive overtime pay



                                              2029
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2030 of 3128




under the FLSA because Riveras has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7555. Plaintiff Ronald Rizzo is an individual residing in New York. Rizzo worked as a

delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rizzo has been

eligible to receive overtime pay under the FLSA because Rizzo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7556. Plaintiff Paul Roach is an individual residing in New York. Roach worked as a

delivery driver for FedEx in New York from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Roach has been

eligible to receive overtime pay under the FLSA because Roach has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7557. Plaintiff Albert Roberts is an individual residing in New York. Roberts worked as

a delivery driver for FedEx in New York from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Roberts has been

eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7558. Plaintiff Joseph Robertson is an individual residing in New Mexico. Robertson

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Robertson has been eligible to receive



                                              2030
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2031 of 3128




overtime pay under the FLSA because Robertson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7559. Plaintiff Keith Robinson is an individual residing in New York. Robinson worked

as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7560. Plaintiff Andre Robles is an individual residing in North Carolina. Robles worked

as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robles has been

eligible to receive overtime pay under the FLSA because Robles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7561. Plaintiff Richard Rodriguez is an individual residing in New York. Rodriguez

worked as a delivery driver for FedEx in New York from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7562. Plaintiff Yadelis Rodriguez is an individual residing in Arizona. Rodriguez

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Rodriguez has been eligible to receive



                                              2031
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2032 of 3128




overtime pay under the FLSA because Rodriguez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7563. Plaintiff Michael Rodriguez is an individual residing in New York. Rodriguez

worked as a delivery driver for FedEx in New York from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7564. Plaintiff Joel Rodriguez is an individual residing in New York. Rodriguez worked

as a delivery driver for FedEx in New York from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7565. Plaintiff Jose Rodriguez is an individual residing in New York. Rodriguez worked

as a delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7566. Plaintiff Anwar Rodriguez is an individual residing in New York. Rodriguez

worked as a delivery driver for FedEx in New York from approximately 2003 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             2032
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2033 of 3128




Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7567. Plaintiff Paul Rodriguez is an individual residing in New York. Rodriguez worked

as a delivery driver for FedEx in New York from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7568. Plaintiff Stevens Rodriguez Iv is an individual residing in New York. Rodriguez

Iv worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez Iv has been eligible to receive overtime pay under the FLSA because Rodriguez Iv

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        7569. Plaintiff Daniel Rogers is an individual residing in New York. Rogers worked as a

delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rogers has been

eligible to receive overtime pay under the FLSA because Rogers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7570. Plaintiff Joe Roman is an individual residing in New York. Roman worked as a

delivery driver for FedEx in New York from approximately 2013 to 2024 but was employed



                                             2033
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2034 of 3128




through intermediary entities that FedEx calls independent service providers. Roman has been

eligible to receive overtime pay under the FLSA because Roman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7571. Plaintiff Jonathan Rosado Feliciano is an individual residing in New York.

Rosado Feliciano worked as a delivery driver for FedEx in New York from approximately 2017

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Rosado Feliciano has been eligible to receive overtime pay under the FLSA because

Rosado Feliciano has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7572. Plaintiff John Rosario is an individual residing in Connecticut. Rosario worked as

a delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rosario has been

eligible to receive overtime pay under the FLSA because Rosario has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7573. Plaintiff Tyler Rosler is an individual residing in New York. Rosler worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Rosler has been eligible to receive overtime pay

under the FLSA because Rosler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7574. Plaintiff Michael Royster is an individual residing in New York. Royster worked

as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed



                                              2034
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2035 of 3128




through intermediary entities that FedEx calls independent service providers. Royster has been

eligible to receive overtime pay under the FLSA because Royster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7575. Plaintiff Jarrett Royster is an individual residing in New York. Royster worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Royster has been

eligible to receive overtime pay under the FLSA because Royster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7576. Plaintiff Brian Rudow is an individual residing in North Carolina. Rudow worked

as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rudow has been

eligible to receive overtime pay under the FLSA because Rudow has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7577. Plaintiff Miguel Rueda is an individual residing in New Jersey. Rueda worked as

a delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rueda has been

eligible to receive overtime pay under the FLSA because Rueda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2035
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2036 of 3128




       7578. Plaintiff Brandon Ruggiero is an individual residing in New York. Ruggiero

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ruggiero

has been eligible to receive overtime pay under the FLSA because Ruggiero has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7579. Plaintiff Michael Rusciano is an individual residing in Connecticut. Rusciano

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Rusciano

has been eligible to receive overtime pay under the FLSA because Rusciano has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7580. Plaintiff Francisco Salinas Cazares is an individual residing in New York. Salinas

Cazares worked as a delivery driver for FedEx in New York from approximately 2021 to 2023

but was employed through intermediary entities that FedEx calls independent service providers.

Salinas Cazares has been eligible to receive overtime pay under the FLSA because Salinas

Cazares has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       7581. Plaintiff Cody Sanford is an individual residing in New York. Sanford worked as

a delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sanford has been

eligible to receive overtime pay under the FLSA because Sanford has driven a vehicle weighing




                                             2036
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2037 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7582. Plaintiff Salvatore Sangeniti is an individual residing in New York. Sangeniti

worked as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Sangeniti has been eligible to receive overtime pay under the FLSA because Sangeniti has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7583. Plaintiff Rob Santa Ines is an individual residing in Pennsylvania. Santa Ines

worked as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Santa

Ines has been eligible to receive overtime pay under the FLSA because Santa Ines has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7584. Plaintiff Jose Santana is an individual residing in Georgia. Santana worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Santana has been eligible to receive overtime pay

under the FLSA because Santana has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7585. Plaintiff Ryan Santelli is an individual residing in South Carolina. Santelli worked

as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Santelli has been

eligible to receive overtime pay under the FLSA because Santelli has driven a vehicle weighing



                                              2037
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2038 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7586. Plaintiff Jeancarlo Santi is an individual residing in New York. Santi worked as a

delivery driver for FedEx in New York from approximately 2010 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Santi has been

eligible to receive overtime pay under the FLSA because Santi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7587. Plaintiff Martin Santiago is an individual residing in New York. Santiago worked

as a delivery driver for FedEx in New York from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Santiago has been

eligible to receive overtime pay under the FLSA because Santiago has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7588. Plaintiff J Santiagocastillo is an individual residing in New York. Santiagocastillo

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Santiagocastillo has been eligible to receive overtime pay under the FLSA because

Santiagocastillo has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7589. Plaintiff Robert Santini is an individual residing in Pennsylvania. Santini worked

as a delivery driver for FedEx in New York from approximately 2000 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Santini has been



                                              2038
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2039 of 3128




eligible to receive overtime pay under the FLSA because Santini has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7590. Plaintiff Hector Saravia is an individual residing in New York. Saravia worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Saravia has been

eligible to receive overtime pay under the FLSA because Saravia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7591. Plaintiff Ronald Saravia is an individual residing in New York. Saravia worked as

a delivery driver for FedEx in New York from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Saravia has been

eligible to receive overtime pay under the FLSA because Saravia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7592. Plaintiff Maya Sauberman is an individual residing in New York. Sauberman

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Sauberman has been eligible to receive

overtime pay under the FLSA because Sauberman has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7593. Plaintiff Anthony Saunders is an individual residing in New York. Saunders

worked as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Saunders



                                              2039
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2040 of 3128




has been eligible to receive overtime pay under the FLSA because Saunders has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7594. Plaintiff Scott Savage is an individual residing in South Carolina. Savage worked

as a delivery driver for FedEx in New York from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Savage has been

eligible to receive overtime pay under the FLSA because Savage has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7595. Plaintiff Ryan Scarisbrick is an individual residing in New York. Scarisbrick

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Scarisbrick has been eligible to receive overtime pay under the FLSA because Scarisbrick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7596. Plaintiff William Scharp is an individual residing in New York. Scharp worked as

a delivery driver for FedEx in New York from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Scharp has been

eligible to receive overtime pay under the FLSA because Scharp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7597. Plaintiff Bryan Schefferine is an individual residing in New York. Schefferine

worked as a delivery driver for FedEx in New York from approximately 2016 to 2018 but was



                                              2040
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2041 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Schefferine has been eligible to receive overtime pay under the FLSA because Schefferine has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7598. Plaintiff Anthony Schmidt is an individual residing in Florida. Schmidt worked as

a delivery driver for FedEx in New York from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Schmidt has been

eligible to receive overtime pay under the FLSA because Schmidt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7599. Plaintiff Brian Semler is an individual residing in Massachusetts. Semler worked

as a delivery driver for FedEx in New York and Massachusetts from approximately 2022 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Semler has been eligible to receive overtime pay under the FLSA because Semler has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7600. Plaintiff Scott Sender is an individual residing in New York. Sender worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sender has been

eligible to receive overtime pay under the FLSA because Sender has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             2041
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2042 of 3128




        7601. Plaintiff Jonathan Sessa is an individual residing in New York. Sessa worked as a

delivery driver for FedEx in New York from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sessa has been

eligible to receive overtime pay under the FLSA because Sessa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7602. Plaintiff James Sharkey is an individual residing in New York. Sharkey worked as

a delivery driver for FedEx in New York from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sharkey has been

eligible to receive overtime pay under the FLSA because Sharkey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7603. Plaintiff Brandon Shaver is an individual residing in New York. Shaver worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Shaver has been

eligible to receive overtime pay under the FLSA because Shaver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7604. Plaintiff Rashawn Shaw is an individual residing in New York. Shaw worked as a

delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shaw has been

eligible to receive overtime pay under the FLSA because Shaw has driven a vehicle weighing




                                              2042
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2043 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7605. Plaintiff Avery Shelmidine is an individual residing in Florida. Shelmidine

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Shelmidine has been eligible to receive overtime pay under the FLSA because Shelmidine has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7606. Plaintiff Tony Shelton is an individual residing in New York. Shelton worked as a

delivery driver for FedEx in New York from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shelton has been

eligible to receive overtime pay under the FLSA because Shelton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7607. Plaintiff Joseph Sheppard is an individual residing in New York. Sheppard

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Sheppard has been eligible to receive overtime pay under the FLSA because Sheppard has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7608. Plaintiff Julio Shicay is an individual residing in Connecticut. Shicay worked as a

delivery driver for FedEx in New York from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shicay has been



                                              2043
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2044 of 3128




eligible to receive overtime pay under the FLSA because Shicay has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7609. Plaintiff Dakota Shultis is an individual residing in New York. Shultis worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Shultis has been eligible to receive overtime pay

under the FLSA because Shultis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7610. Plaintiff Michael Siciliano is an individual residing in New York. Siciliano

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Siciliano has been eligible to receive

overtime pay under the FLSA because Siciliano has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7611. Plaintiff Andres Silva is an individual residing in New York. Silva worked as a

delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Silva has been

eligible to receive overtime pay under the FLSA because Silva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7612. Plaintiff Charles Simmons is an individual residing in New York. Simmons

worked as a delivery driver for FedEx in New York from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Simmons has been eligible to receive overtime pay under the FLSA because Simmons has driven



                                               2044
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2045 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7613. Plaintiff Gaoussou Sissoko is an individual residing in New Jersey. Sissoko

worked as a delivery driver for FedEx in New York from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Sissoko

has been eligible to receive overtime pay under the FLSA because Sissoko has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7614. Plaintiff Corey Smith is an individual residing in New York. Smith worked as a

delivery driver for FedEx in New York from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7615. Plaintiff Cedain Smith is an individual residing in New York. Smith worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7616. Plaintiff Adriene Smith is an individual residing in New York. Smith worked as a

delivery driver for FedEx in New York from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                             2045
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2046 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7617. Plaintiff Cody Smith is an individual residing in New York. Smith worked as a

delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7618. Plaintiff Ronald Snell is an individual residing in New York. Snell worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Snell has been eligible to receive overtime pay under

the FLSA because Snell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7619. Plaintiff Nicole Snyder is an individual residing in New York. Snyder worked as a

delivery driver for FedEx in New York from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Snyder has been

eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7620. Plaintiff James Snyder is an individual residing in New York. Snyder worked as a

delivery driver for FedEx in New York from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Snyder has been

eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle weighing



                                              2046
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2047 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7621. Plaintiff Steven Soderstrom is an individual residing in New York. Soderstrom

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Soderstrom has been eligible to receive

overtime pay under the FLSA because Soderstrom has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7622. Plaintiff Alejandro Solis is an individual residing in New York. Solis worked as a

delivery driver for FedEx in New York from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Solis has been

eligible to receive overtime pay under the FLSA because Solis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7623. Plaintiff Diamonds Sommerville is an individual residing in New York.

Sommerville worked as a delivery driver for FedEx in New York from approximately 2016 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Sommerville has been eligible to receive overtime pay under the FLSA because

Sommerville has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7624. Plaintiff Joshua Soto is an individual residing in New York. Soto worked as a

delivery driver for FedEx in New York from approximately 1996 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Soto has been

eligible to receive overtime pay under the FLSA because Soto has driven a vehicle weighing less



                                              2047
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2048 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7625. Plaintiff Princelli Soto is an individual residing in New York. Soto worked as a

delivery driver for FedEx in New York from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Soto has been

eligible to receive overtime pay under the FLSA because Soto has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7626. Plaintiff Princelli Soto is an individual residing in New York. Soto worked as a

delivery driver for FedEx in New York from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Soto has been

eligible to receive overtime pay under the FLSA because Soto has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7627. Plaintiff Tammy Sparling is an individual residing in New York. Sparling worked

as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sparling has been

eligible to receive overtime pay under the FLSA because Sparling has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7628. Plaintiff Jabneel Springer is an individual residing in Virginia. Springer worked as

a delivery driver for FedEx in New York from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Springer has been



                                              2048
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2049 of 3128




eligible to receive overtime pay under the FLSA because Springer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7629. Plaintiff John Stafford is an individual residing in New York. Stafford worked as

a delivery driver for FedEx in New York from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Stafford has been

eligible to receive overtime pay under the FLSA because Stafford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7630. Plaintiff Robert Stahl is an individual residing in New York. Stahl worked as a

delivery driver for FedEx in New York from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Stahl has been

eligible to receive overtime pay under the FLSA because Stahl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7631. Plaintiff Daniel Stankovskiy is an individual residing in New York. Stankovskiy

worked as a delivery driver for FedEx in New York from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Stankovskiy has been eligible to receive overtime pay under the FLSA because Stankovskiy has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7632. Plaintiff Nicolas Stassi is an individual residing in New York. Stassi worked as a

delivery driver for FedEx in New York from approximately 2013 to 2020 but was employed



                                              2049
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2050 of 3128




through intermediary entities that FedEx calls independent service providers. Stassi has been

eligible to receive overtime pay under the FLSA because Stassi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7633. Plaintiff James Staudle is an individual residing in New York. Staudle worked as

a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Staudle has been

eligible to receive overtime pay under the FLSA because Staudle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7634. Plaintiff Emmanuel Stewart is an individual residing in New York. Stewart

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Stewart has been eligible to receive

overtime pay under the FLSA because Stewart has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7635. Plaintiff Carlos Stewart is an individual residing in New York. Stewart worked as

a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7636. Plaintiff Adan Suero is an individual residing in New York. Suero worked as a

delivery driver for FedEx in New York from approximately 2009 to 2016 but was employed



                                               2050
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2051 of 3128




through intermediary entities that FedEx calls independent service providers. Suero has been

eligible to receive overtime pay under the FLSA because Suero has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7637. Plaintiff Dereck Sukhu is an individual residing in New York. Sukhu worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Sukhu has been eligible to receive overtime pay

under the FLSA because Sukhu has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7638. Plaintiff Symon Sumner is an individual residing in New York. Sumner worked

as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sumner has been

eligible to receive overtime pay under the FLSA because Sumner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7639. Plaintiff Julio Suriel is an individual residing in New York. Suriel worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Suriel has been eligible to receive overtime pay under

the FLSA because Suriel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7640. Plaintiff Shawn Sweet is an individual residing in New York. Sweet worked as a

delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sweet has been



                                              2051
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2052 of 3128




eligible to receive overtime pay under the FLSA because Sweet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7641. Plaintiff John Swift is an individual residing in New York. Swift worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Swift has been eligible to receive overtime pay under

the FLSA because Swift has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7642. Plaintiff Begzod Takhirdjanov is an individual residing in New York.

Takhirdjanov worked as a delivery driver for FedEx in New York from approximately 2008 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Takhirdjanov has been eligible to receive overtime pay under the FLSA because

Takhirdjanov has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7643. Plaintiff Norman Talmadge is an individual residing in New York. Talmadge

worked as a delivery driver for FedEx in New York from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Talmadge has been eligible to receive overtime pay under the FLSA because Talmadge has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7644. Plaintiff Burak Tavacioglu is an individual residing in New York. Tavacioglu

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Tavacioglu has been eligible to receive



                                              2052
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2053 of 3128




overtime pay under the FLSA because Tavacioglu has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7645. Plaintiff Rafael Taveras is an individual residing in New York. Taveras worked as

a delivery driver for FedEx in New York from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Taveras has been

eligible to receive overtime pay under the FLSA because Taveras has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7646. Plaintiff Ross Taylor is an individual residing in New York. Taylor worked as a

delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7647. Plaintiff Patrick Taylor is an individual residing in Connecticut. Taylor worked as

a delivery driver for FedEx in New York from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7648. Plaintiff Robert Taylor is an individual residing in New York. Taylor worked as a

delivery driver for FedEx in New York from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been



                                              2053
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2054 of 3128




eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7649. Plaintiff Chris Taylor is an individual residing in Florida. Taylor worked as a

delivery driver for FedEx in New York from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7650. Plaintiff Joel Taylor is an individual residing in New York. Taylor worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7651. Plaintiff George Taylor is an individual residing in New York. Taylor worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7652. Plaintiff Steven Taylor is an individual residing in New York. Taylor worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing



                                              2054
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2055 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7653. Plaintiff Christian Tejada is an individual residing in New York. Tejada worked

as a delivery driver for FedEx in New York from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Tejada has been

eligible to receive overtime pay under the FLSA because Tejada has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7654. Plaintiff Jimmyjimmy Tejada is an individual residing in New York. Tejada

worked as a delivery driver for FedEx in New York from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Tejada

has been eligible to receive overtime pay under the FLSA because Tejada has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7655. Plaintiff Delroy Thomas is an individual residing in Florida. Thomas worked as a

delivery driver for FedEx in New York from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7656. Plaintiff Johnathan Thompson is an individual residing in New York. Thompson

worked as a delivery driver for FedEx in New York from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             2055
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2056 of 3128




Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7657. Plaintiff Joseph Thompson is an individual residing in New York. Thompson

worked as a delivery driver for FedEx in New York from approximately 2014 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7658. Plaintiff James Thornton is an individual residing in North Carolina. Thornton

worked as a delivery driver for FedEx in New York from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Thornton

has been eligible to receive overtime pay under the FLSA because Thornton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7659. Plaintiff Azell Thrasher is an individual residing in New York. Thrasher worked

as a delivery driver for FedEx in New York from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Thrasher has been

eligible to receive overtime pay under the FLSA because Thrasher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7660. Plaintiff Jerome Thrasher is an individual residing in New York. Thrasher worked

as a delivery driver for FedEx in New York but was employed through intermediary entities that



                                             2056
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2057 of 3128




FedEx calls independent service providers. Thrasher has been eligible to receive overtime pay

under the FLSA because Thrasher has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7661. Plaintiff Ronald Tinney is an individual residing in New York. Tinney worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Tinney has been eligible to receive overtime pay

under the FLSA because Tinney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7662. Plaintiff Darrick Tisdale is an individual residing in New York. Tisdale worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Tisdale has been eligible to receive overtime pay

under the FLSA because Tisdale has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7663. Plaintiff Graydon Tokke is an individual residing in New York. Tokke worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Tokke has been eligible to receive overtime pay

under the FLSA because Tokke has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7664. Plaintiff Andrew Tolpa is an individual residing in New York. Tolpa worked as a

delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tolpa has been

eligible to receive overtime pay under the FLSA because Tolpa has driven a vehicle weighing




                                              2057
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2058 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7665. Plaintiff Mark Tompkins is an individual residing in New York. Tompkins

worked as a delivery driver for FedEx in New York from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Tompkins has been eligible to receive overtime pay under the FLSA because Tompkins has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7666. Plaintiff John Trapp is an individual residing in New York. Trapp worked as a

delivery driver for FedEx in New York from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Trapp has been

eligible to receive overtime pay under the FLSA because Trapp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7667. Plaintiff Rachelle Treat is an individual residing in New York. Treat worked as a

delivery driver for FedEx in New York from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Treat has been

eligible to receive overtime pay under the FLSA because Treat has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7668. Plaintiff Haliegh Trescott-Harrington is an individual residing in New York.

Trescott-Harrington worked as a delivery driver for FedEx in New York from approximately

2017 to 2018 but was employed through intermediary entities that FedEx calls independent



                                              2058
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2059 of 3128




service providers. Trescott-Harrington has been eligible to receive overtime pay under the FLSA

because Trescott-Harrington has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7669. Plaintiff Javier Troche is an individual residing in New York. Troche worked as a

delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Troche has been

eligible to receive overtime pay under the FLSA because Troche has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7670. Plaintiff Patrick Tullis is an individual residing in Texas. Tullis worked as a

delivery driver for FedEx in New York from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tullis has been

eligible to receive overtime pay under the FLSA because Tullis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7671. Plaintiff Serhiy Tyshyk is an individual residing in New York. Tyshyk worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Tyshyk has been eligible to receive overtime pay

under the FLSA because Tyshyk has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7672. Plaintiff Michael Ules is an individual residing in New York. Ules worked as a

delivery driver for FedEx in New York from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ules has been



                                               2059
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2060 of 3128




eligible to receive overtime pay under the FLSA because Ules has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7673. Plaintiff Dariel Urena is an individual residing in New York. Urena worked as a

delivery driver for FedEx in New York from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Urena has been

eligible to receive overtime pay under the FLSA because Urena has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7674. Plaintiff Emanuel Vargas is an individual residing in New York. Vargas worked

as a delivery driver for FedEx in New York from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7675. Plaintiff Michael Vargas is an individual residing in New York. Vargas worked as

a delivery driver for FedEx in New York from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7676. Plaintiff Hector Vargas is an individual residing in New York. Vargas worked as

a delivery driver for FedEx in New York from approximately 2016 to 2017 but was employed



                                             2060
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2061 of 3128




through intermediary entities that FedEx calls independent service providers. Vargas has been

eligible to receive overtime pay under the FLSA because Vargas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7677. Plaintiff Javon Vassel is an individual residing in New York. Vassel worked as a

delivery driver for FedEx in New York from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Vassel has been

eligible to receive overtime pay under the FLSA because Vassel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7678. Plaintiff Edwin Vega Jr. is an individual residing in New York. Vega Jr. worked

as a delivery driver for FedEx in New York from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Vega Jr. has been

eligible to receive overtime pay under the FLSA because Vega Jr. has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7679. Plaintiff Joseph Verney is an individual residing in New York. Verney worked as

a delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Verney has been eligible to receive overtime pay

under the FLSA because Verney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7680. Plaintiff Michael Vetrino is an individual residing in New York. Vetrino worked

as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was employed



                                              2061
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2062 of 3128




through intermediary entities that FedEx calls independent service providers. Vetrino has been

eligible to receive overtime pay under the FLSA because Vetrino has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7681. Plaintiff Jeffrey Vorholzer is an individual residing in New York. Vorholzer

worked as a delivery driver for FedEx in New York from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Vorholzer has been eligible to receive overtime pay under the FLSA because Vorholzer has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7682. Plaintiff Brandon Waddel is an individual residing in New York. Waddel worked

as a delivery driver for FedEx in New York from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Waddel has been

eligible to receive overtime pay under the FLSA because Waddel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7683. Plaintiff Lance Waithe is an individual residing in New York. Waithe worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Waithe has been

eligible to receive overtime pay under the FLSA because Waithe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             2062
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2063 of 3128




        7684. Plaintiff Norris Walker is an individual residing in New York. Walker worked as

a delivery driver for FedEx in New York from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7685. Plaintiff Derron Walters is an individual residing in New York. Walters worked

as a delivery driver for FedEx in New York from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Walters has been

eligible to receive overtime pay under the FLSA because Walters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7686. Plaintiff Dalton Walters is an individual residing in New York. Walters worked as

a delivery driver for FedEx in New York from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Walters has been

eligible to receive overtime pay under the FLSA because Walters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7687. Plaintiff James Ward is an individual residing in New York. Ward worked as a

delivery driver for FedEx in New York from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing




                                             2063
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2064 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7688. Plaintiff Edward Ward is an individual residing in New York. Ward worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Ward has been eligible to receive overtime pay under

the FLSA because Ward has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7689. Plaintiff Edward Warner is an individual residing in Pennsylvania. Warner

worked as a delivery driver for FedEx in New York from approximately 2013 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Warner

has been eligible to receive overtime pay under the FLSA because Warner has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7690. Plaintiff Louis Washington is an individual residing in New York. Washington

worked as a delivery driver for FedEx in New York but was employed through intermediary

entities that FedEx calls independent service providers. Washington has been eligible to receive

overtime pay under the FLSA because Washington has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7691. Plaintiff Jaret Washington is an individual residing in New York. Washington

worked as a delivery driver for FedEx in New York from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has




                                              2064
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2065 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7692. Plaintiff Steven Weatherly is an individual residing in Florida. Weatherly worked

as a delivery driver for FedEx in New York from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Weatherly has been

eligible to receive overtime pay under the FLSA because Weatherly has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7693. Plaintiff Ashley Weatherwalks is an individual residing in Massachusetts.

Weatherwalks worked as a delivery driver for FedEx in New York from approximately 2017 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Weatherwalks has been eligible to receive overtime pay under the FLSA because

Weatherwalks has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        7694. Plaintiff Samuel Weaver is an individual residing in New York. Weaver worked

as a delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Weaver has been

eligible to receive overtime pay under the FLSA because Weaver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7695. Plaintiff Bryan Weber is an individual residing in New York. Weber worked as a

delivery driver for FedEx in New York but was employed through intermediary entities that

FedEx calls independent service providers. Weber has been eligible to receive overtime pay



                                             2065
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2066 of 3128




under the FLSA because Weber has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7696. Plaintiff Kershma Webster is an individual residing in New York. Webster

worked as a delivery driver for FedEx in New York from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Webster

has been eligible to receive overtime pay under the FLSA because Webster has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7697. Plaintiff Brandon Webster is an individual residing in New York. Webster worked

as a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Webster has been

eligible to receive overtime pay under the FLSA because Webster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7698. Plaintiff John Weidner is an individual residing in New York. Weidner worked as

a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Weidner has been

eligible to receive overtime pay under the FLSA because Weidner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7699. Plaintiff Colleen West is an individual residing in New York. West worked as a

delivery driver for FedEx in New York from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. West has been



                                             2066
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2067 of 3128




eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7700. Plaintiff Francis Wheeler is an individual residing in Florida. Wheeler worked as

a delivery driver for FedEx in New York from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wheeler has been

eligible to receive overtime pay under the FLSA because Wheeler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7701. Plaintiff Alexander Espinal Checo is an individual residing in Pennsylvania. Wise

worked as a delivery driver for FedEx in New York from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Wise has

been eligible to receive overtime pay under the FLSA because Wise has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7702. Plaintiff Marianne Woodbrey is an individual residing in Utah. Woodbrey worked

as a delivery driver for FedEx in New York from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Woodbrey has been

eligible to receive overtime pay under the FLSA because Woodbrey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7703. Plaintiff Justin Worrell is an individual residing in New York. Worrell worked as

a delivery driver for FedEx in New York from approximately 2016 to 2019 but was employed



                                              2067
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2068 of 3128




through intermediary entities that FedEx calls independent service providers. Worrell has been

eligible to receive overtime pay under the FLSA because Worrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7704. Plaintiff George Yancey is an individual residing in New York. Yancey worked

as a delivery driver for FedEx in New York from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Yancey has been

eligible to receive overtime pay under the FLSA because Yancey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7705. Plaintiff William Yetto is an individual residing in South Carolina. Yetto worked

as a delivery driver for FedEx in New York from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Yetto has been

eligible to receive overtime pay under the FLSA because Yetto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7706. Plaintiff Mussie Abraha is an individual residing in North Carolina. Abraha

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Abraha has been eligible to receive overtime pay under the FLSA because Abraha has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              2068
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2069 of 3128




       7707. Plaintiff Aaliyah Adams is an individual residing in North Carolina. Adams

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Adams has been eligible to receive overtime pay under the FLSA because Adams has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7708. Plaintiff Brian Aguilar is an individual residing in North Carolina. Aguilar

worked as a delivery driver for FedEx in North Carolina from approximately 2009 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Aguilar has been eligible to receive overtime pay under the FLSA because Aguilar has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7709. Plaintiff Travis Agurs is an individual residing in South Carolina. Agurs worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Agurs has been eligible to receive overtime pay

under the FLSA because Agurs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7710. Plaintiff Laura Anderson is an individual residing in South Carolina. Anderson

worked as a delivery driver for FedEx in North Carolina and South Carolina from approximately

2007 to 2017 but was employed through intermediary entities that FedEx calls independent

service providers. Anderson has been eligible to receive overtime pay under the FLSA because

Anderson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.



                                             2069
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2070 of 3128




        7711. Plaintiff Alan Anderson is an individual residing in North Carolina. Anderson

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Anderson has been eligible to receive

overtime pay under the FLSA because Anderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7712. Plaintiff Philip Annas is an individual residing in North Carolina. Annas worked

as a delivery driver for FedEx in North Carolina from approximately 2011 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Annas

has been eligible to receive overtime pay under the FLSA because Annas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7713. Plaintiff Nicholas Archible is an individual residing in North Carolina. Archible

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Archible has been eligible to receive

overtime pay under the FLSA because Archible has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7714. Plaintiff Brint Argall is an individual residing in Tennessee. Argall worked as a

delivery driver for FedEx in North Carolina from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Argall has been

eligible to receive overtime pay under the FLSA because Argall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2070
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2071 of 3128




        7715. Plaintiff Cyrelle Armstrong is an individual residing in North Carolina.

Armstrong worked as a delivery driver for FedEx in North Carolina from approximately 2016 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Armstrong has been eligible to receive overtime pay under the FLSA because

Armstrong has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7716. Plaintiff Cornell Artis is an individual residing in North Carolina. Artis worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Artis has

been eligible to receive overtime pay under the FLSA because Artis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7717. Plaintiff Beth Ash is an individual residing in North Carolina. Ash worked as a

delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ash has been

eligible to receive overtime pay under the FLSA because Ash has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7718. Plaintiff Neamia Baker is an individual residing in North Carolina. Baker worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Baker has been eligible to receive overtime pay

under the FLSA because Baker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              2071
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2072 of 3128




       7719. Plaintiff Benjamin Ballard is an individual residing in North Carolina. Ballard

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Ballard has been eligible to receive

overtime pay under the FLSA because Ballard has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7720. Plaintiff Leonard Barber Iii is an individual residing in North Carolina. Barber Iii

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Barber Iii has been eligible to receive overtime pay under the FLSA because Barber Iii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7721. Plaintiff Larry Barnes is an individual residing in North Carolina. Barnes worked

as a delivery driver for FedEx in North Carolina from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Barnes

has been eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7722. Plaintiff Bethany Barnes is an individual residing in North Carolina. Barnes

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Barnes has been eligible to receive overtime pay under the FLSA because Barnes has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                               2072
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2073 of 3128




        7723. Plaintiff Olive Barrett is an individual residing in North Carolina. Barrett worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Barrett has been eligible to receive overtime pay

under the FLSA because Barrett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7724. Plaintiff Joey Barton is an individual residing in North Carolina. Barton worked

as a delivery driver for FedEx in North Carolina from approximately 2000 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Barton

has been eligible to receive overtime pay under the FLSA because Barton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7725. Plaintiff Karan Bates is an individual residing in North Carolina. Bates worked as

a delivery driver for FedEx in North Carolina from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Bates

has been eligible to receive overtime pay under the FLSA because Bates has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7726. Plaintiff Larry Beardin is an individual residing in Texas. Beardin worked as a

delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Beardin has been

eligible to receive overtime pay under the FLSA because Beardin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2073
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2074 of 3128




       7727. Plaintiff James Beck is an individual residing in North Carolina. Beck worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Beck has

been eligible to receive overtime pay under the FLSA because Beck has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7728. Plaintiff Andrew Beeman is an individual residing in Arizona. Beeman worked as

a delivery driver for FedEx in North Carolina and Arizona from approximately 2013 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Beeman has been eligible to receive overtime pay under the FLSA because Beeman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7729. Plaintiff Eric Belk is an individual residing in North Carolina. Belk worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Belk has been eligible to receive overtime pay under

the FLSA because Belk has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7730. Plaintiff Gabrielle Benitez is an individual residing in North Carolina. Benitez

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Benitez has been eligible to receive overtime pay under the FLSA because Benitez has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                             2074
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2075 of 3128




       7731. Plaintiff Nicholas Bennett is an individual residing in North Carolina. Bennett

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Bennett has been eligible to receive

overtime pay under the FLSA because Bennett has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7732. Plaintiff Jenny Bennett is an individual residing in North Carolina. Bennett

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Bennett has been eligible to receive overtime pay under the FLSA because Bennett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7733. Plaintiff Hicham Berraho is an individual residing in North Carolina. Berraho

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Berraho has been eligible to receive overtime pay under the FLSA because Berraho has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7734. Plaintiff Jerry Bethea is an individual residing in North Carolina. Bethea worked

as a delivery driver for FedEx in North Carolina from approximately 2007 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Bethea

has been eligible to receive overtime pay under the FLSA because Bethea has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               2075
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2076 of 3128




       7735. Plaintiff Denise Bishop is an individual residing in North Carolina. Bishop

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Bishop has been eligible to receive overtime pay under the FLSA because Bishop has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7736. Plaintiff Lisa Bissett - Leviner is an individual residing in North Carolina. Bissett

- Leviner worked as a delivery driver for FedEx in North Carolina from approximately 2021 to

2023 but was employed through intermediary entities that FedEx calls independent service

providers. Bissett - Leviner has been eligible to receive overtime pay under the FLSA because

Bissett - Leviner has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       7737. Plaintiff Christian Blackmire is an individual residing in North Carolina.

Blackmire worked as a delivery driver for FedEx in North Carolina from approximately 2018 to

2021 but was employed through intermediary entities that FedEx calls independent service

providers. Blackmire has been eligible to receive overtime pay under the FLSA because

Blackmire has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       7738. Plaintiff Juan Bloomfield is an individual residing in North Carolina. Bloomfield

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Bloomfield has been eligible to receive overtime pay under the FLSA because Bloomfield has




                                              2076
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2077 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7739. Plaintiff Terry Blount is an individual residing in Delaware. Blount worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Blount has been eligible to receive overtime pay

under the FLSA because Blount has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7740. Plaintiff Eric Bond is an individual residing in North Carolina. Bond worked as a

delivery driver for FedEx in North Carolina from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bond has been

eligible to receive overtime pay under the FLSA because Bond has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7741. Plaintiff Jonathan Boone is an individual residing in North Carolina. Boone

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Boone has been eligible to receive overtime pay under the FLSA because Boone has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7742. Plaintiff Marquis Boston is an individual residing in North Carolina. Boston

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Boston has been eligible to receive overtime pay under the FLSA because Boston has driven a



                                              2077
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2078 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7743. Plaintiff Dustin Bowers is an individual residing in North Carolina. Bowers

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Bowers has been eligible to receive overtime pay under the FLSA because Bowers has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7744. Plaintiff Ronyel Boyd is an individual residing in North Carolina. Boyd worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Boyd has

been eligible to receive overtime pay under the FLSA because Boyd has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7745. Plaintiff Gerald Bozarth is an individual residing in North Carolina. Bozarth

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Bozarth has been eligible to receive overtime pay under the FLSA because Bozarth has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7746. Plaintiff Richard Brady is an individual residing in North Carolina. Brady worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Brady



                                             2078
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2079 of 3128




has been eligible to receive overtime pay under the FLSA because Brady has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7747. Plaintiff Markeshia Branch is an individual residing in North Carolina. Branch

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Branch has been eligible to receive overtime pay under the FLSA because Branch has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7748. Plaintiff Dakota Brewer is an individual residing in North Carolina. Brewer

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Brewer has been eligible to receive overtime pay under the FLSA because Brewer has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7749. Plaintiff Melaney Bridges is an individual residing in North Carolina. Bridges

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Bridges has been eligible to receive overtime pay under the FLSA because Bridges has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7750. Plaintiff Janelle Bright is an individual residing in North Carolina. Bright worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2022 but was



                                             2079
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2080 of 3128




employed through intermediary entities that FedEx calls independent service providers. Bright

has been eligible to receive overtime pay under the FLSA because Bright has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7751. Plaintiff David Bril is an individual residing in North Carolina. Bril worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Bril has been eligible to receive overtime pay under

the FLSA because Bril has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7752. Plaintiff Don Brooks is an individual residing in North Carolina. Brooks worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Brooks

has been eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7753. Plaintiff Maya Brooks is an individual residing in North Carolina. Brooks worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Brooks

has been eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7754. Plaintiff Donald Brown is an individual residing in North Carolina. Brown

worked as a delivery driver for FedEx in North Carolina and South Carolina from approximately



                                              2080
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2081 of 3128




2007 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Brown has been eligible to receive overtime pay under the FLSA because

Brown has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       7755. Plaintiff Anthony Brown is an individual residing in North Carolina. Brown

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Brown has been eligible to receive overtime pay under the FLSA because Brown has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7756. Plaintiff Vashti Brown is an individual residing in North Carolina. Brown worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7757. Plaintiff Travis Brown is an individual residing in North Carolina. Brown worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7758. Plaintiff Yvette Brown is an individual residing in North Carolina. Brown worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities



                                             2081
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2082 of 3128




that FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7759. Plaintiff Nicole Bryant is an individual residing in North Carolina. Bryant worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bryant

has been eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7760. Plaintiff Anthony Bryant is an individual residing in North Carolina. Bryant

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Bryant has been eligible to receive overtime pay under the FLSA because Bryant has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7761. Plaintiff Richard Buffalo is an individual residing in North Carolina. Buffalo

worked as a delivery driver for FedEx in North Carolina from approximately 2020 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Buffalo has been eligible to receive overtime pay under the FLSA because Buffalo has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7762. Plaintiff Teira Bullock is an individual residing in North Carolina. Bullock

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but



                                             2082
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2083 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Bullock has been eligible to receive overtime pay under the FLSA because Bullock has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7763. Plaintiff Cathy Buntic is an individual residing in North Carolina. Buntic worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Buntic has been eligible to receive overtime pay

under the FLSA because Buntic has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7764. Plaintiff Robert Burnett is an individual residing in North Carolina. Burnett

worked as a delivery driver for FedEx in North Carolina from approximately 2004 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Burnett has been eligible to receive overtime pay under the FLSA because Burnett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7765. Plaintiff Marvel Burton is an individual residing in North Carolina. Burton

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Burton has been eligible to receive overtime pay under the FLSA because Burton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7766. Plaintiff Jeffrey Byrd is an individual residing in North Carolina. Byrd worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities



                                              2083
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2084 of 3128




that FedEx calls independent service providers. Byrd has been eligible to receive overtime pay

under the FLSA because Byrd has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7767. Plaintiff Robert Caggiano is an individual residing in North Carolina. Caggiano

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Caggiano has been eligible to receive overtime pay under the FLSA because Caggiano has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7768. Plaintiff Alicia Cagle is an individual residing in North Carolina. Cagle worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Cagle has been eligible to receive overtime pay

under the FLSA because Cagle has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7769. Plaintiff Dakota Cagle is an individual residing in North Carolina. Cagle worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Cagle

has been eligible to receive overtime pay under the FLSA because Cagle has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7770. Plaintiff Justin Caldwell is an individual residing in North Carolina. Caldwell

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2084
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2085 of 3128




Caldwell has been eligible to receive overtime pay under the FLSA because Caldwell has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7771. Plaintiff Marc Campbell is an individual residing in North Carolina. Campbell

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Campbell has been eligible to receive overtime pay under the FLSA because Campbell has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7772. Plaintiff Matthew Carpenter is an individual residing in North Carolina. Carpenter

worked as a delivery driver for FedEx in North Carolina from approximately 2006 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Carpenter has been eligible to receive overtime pay under the FLSA because Carpenter has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7773. Plaintiff Terrence Carr is an individual residing in North Carolina. Carr worked as

a delivery driver for FedEx in North Carolina from approximately 2005 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Carr has

been eligible to receive overtime pay under the FLSA because Carr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7774. Plaintiff Darren Carroll is an individual residing in North Carolina. Carroll

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2016 but



                                              2085
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2086 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Carroll has been eligible to receive overtime pay under the FLSA because Carroll has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7775. Plaintiff Edward Carugno is an individual residing in Florida. Carugno worked as

a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Carugno

has been eligible to receive overtime pay under the FLSA because Carugno has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7776. Plaintiff Terry Carver is an individual residing in North Carolina. Carver worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Carver has been eligible to receive overtime pay

under the FLSA because Carver has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7777. Plaintiff Azael Castaneda is an individual residing in North Carolina. Castaneda

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Castaneda has been eligible to receive overtime pay under the FLSA because Castaneda has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7778. Plaintiff Brian Cencere is an individual residing in Texas. Cencere worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that



                                              2086
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2087 of 3128




FedEx calls independent service providers. Cencere has been eligible to receive overtime pay

under the FLSA because Cencere has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7779. Plaintiff Christopher Chamberlain is an individual residing in North Carolina.

Chamberlain worked as a delivery driver for FedEx in North Carolina from approximately 2011

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Chamberlain has been eligible to receive overtime pay under the FLSA because

Chamberlain has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       7780. Plaintiff Donterio Cherry is an individual residing in South Carolina. Cherry

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Cherry has been eligible to receive overtime pay under the FLSA because Cherry has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7781. Plaintiff Patrick Chia is an individual residing in North Carolina. Chia worked as

a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Chia has

been eligible to receive overtime pay under the FLSA because Chia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7782. Plaintiff Giovonni Christian is an individual residing in North Carolina. Christian

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2020 but



                                             2087
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2088 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Christian has been eligible to receive overtime pay under the FLSA because Christian has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7783. Plaintiff Nathan Clark is an individual residing in North Carolina. Clark worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Clark

has been eligible to receive overtime pay under the FLSA because Clark has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7784. Plaintiff Mcdayne Clay is an individual residing in North Carolina. Clay worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Clay has

been eligible to receive overtime pay under the FLSA because Clay has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7785. Plaintiff Noah Clayton is an individual residing in North Carolina. Clayton

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Clayton has been eligible to receive overtime pay under the FLSA because Clayton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                             2088
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2089 of 3128




       7786. Plaintiff Christopher Cleaver is an individual residing in North Carolina. Cleaver

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Cleaver has been eligible to receive overtime pay under the FLSA because Cleaver has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7787. Plaintiff Thomas Cochran is an individual residing in California. Cochran worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Cochran

has been eligible to receive overtime pay under the FLSA because Cochran has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7788. Plaintiff Donald Cofield is an individual residing in North Carolina. Cofield

worked as a delivery driver for FedEx in North Carolina from approximately 2001 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Cofield has been eligible to receive overtime pay under the FLSA because Cofield has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7789. Plaintiff Maria Cofield is an individual residing in North Carolina. Cofield

worked as a delivery driver for FedEx in North Carolina from approximately 2007 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Cofield has been eligible to receive overtime pay under the FLSA because Cofield has driven a




                                             2089
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2090 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7790. Plaintiff Jamaal Coleman is an individual residing in North Carolina. Coleman

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Coleman has been eligible to receive overtime pay under the FLSA because Coleman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7791. Plaintiff Mitica Coleman is an individual residing in North Carolina. Coleman

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Coleman has been eligible to receive overtime pay under the FLSA because Coleman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7792. Plaintiff Emory Coleman is an individual residing in North Carolina. Coleman

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Coleman has been eligible to receive overtime pay under the FLSA because Coleman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7793. Plaintiff Christopher Coley is an individual residing in North Carolina. Coley

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2090
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2091 of 3128




Coley has been eligible to receive overtime pay under the FLSA because Coley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7794. Plaintiff Robert Conselyea is an individual residing in North Carolina. Conselyea

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Conselyea has been eligible to receive

overtime pay under the FLSA because Conselyea has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7795. Plaintiff Lawanda Cooper is an individual residing in Georgia. Cooper worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Cooper has been eligible to receive overtime pay

under the FLSA because Cooper has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7796. Plaintiff Shannise Corbett is an individual residing in North Carolina. Corbett

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Corbett has been eligible to receive overtime pay under the FLSA because Corbett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7797. Plaintiff Tyrone Corpening is an individual residing in North Carolina. Corpening

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Corpening has been eligible to receive




                                              2091
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2092 of 3128




overtime pay under the FLSA because Corpening has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7798. Plaintiff Daniel Costner is an individual residing in North Carolina. Costner

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Costner has been eligible to receive overtime pay under the FLSA because Costner has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7799. Plaintiff Albert Craddock is an individual residing in North Carolina. Craddock

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Craddock has been eligible to receive overtime pay under the FLSA because Craddock has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7800. Plaintiff Janee Craig is an individual residing in North Carolina. Craig worked as

a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Craig

has been eligible to receive overtime pay under the FLSA because Craig has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7801. Plaintiff Brent Crockett is an individual residing in North Carolina. Crockett

worked as a delivery driver for FedEx in North Carolina from approximately 2005 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2092
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2093 of 3128




Crockett has been eligible to receive overtime pay under the FLSA because Crockett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7802. Plaintiff Frederick Crooms is an individual residing in North Carolina. Crooms

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Crooms has been eligible to receive overtime pay under the FLSA because Crooms has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7803. Plaintiff Fred Crowell is an individual residing in North Carolina. Crowell worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Crowell

has been eligible to receive overtime pay under the FLSA because Crowell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7804. Plaintiff James Cruse Ii is an individual residing in North Carolina. Cruse Ii

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Cruse Ii has been eligible to receive overtime pay under the FLSA because Cruse Ii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7805. Plaintiff Kejuan Cummings is an individual residing in North Carolina.

Cummings worked as a delivery driver for FedEx in North Carolina but was employed through



                                              2093
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2094 of 3128




intermediary entities that FedEx calls independent service providers. Cummings has been

eligible to receive overtime pay under the FLSA because Cummings has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7806. Plaintiff Nieves Cunningham is an individual residing in Virginia. Cunningham

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Cunningham has been eligible to receive

overtime pay under the FLSA because Cunningham has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7807. Plaintiff Billy Currie is an individual residing in North Carolina. Currie worked as

a delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Currie

has been eligible to receive overtime pay under the FLSA because Currie has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7808. Plaintiff Antoine Davis is an individual residing in North Carolina. Davis worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Davis

has been eligible to receive overtime pay under the FLSA because Davis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7809. Plaintiff Eric Mcduffife is an individual residing in North Carolina. De Leon

worked as a delivery driver for FedEx in North Carolina from approximately 2005 to 2016 but



                                             2094
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2095 of 3128




was employed through intermediary entities that FedEx calls independent service providers. De

Leon has been eligible to receive overtime pay under the FLSA because De Leon has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7810. Plaintiff George Deon is an individual residing in North Carolina. Deon worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Deon has been eligible to receive overtime pay

under the FLSA because Deon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7811. Plaintiff Connor Dill is an individual residing in North Carolina. Dill worked as a

delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dill has been

eligible to receive overtime pay under the FLSA because Dill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7812. Plaintiff Derrick Dobbins is an individual residing in North Carolina. Dobbins

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Dobbins has been eligible to receive overtime pay under the FLSA because Dobbins has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7813. Plaintiff Bradley Dolce is an individual residing in North Carolina. Dolce worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities



                                              2095
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2096 of 3128




that FedEx calls independent service providers. Dolce has been eligible to receive overtime pay

under the FLSA because Dolce has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7814. Plaintiff Dallas Domagala is an individual residing in North Carolina. Domagala

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Domagala has been eligible to receive overtime pay under the FLSA because Domagala has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7815. Plaintiff Tyrone Douglas is an individual residing in North Carolina. Douglas

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Douglas has been eligible to receive

overtime pay under the FLSA because Douglas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7816. Plaintiff Anthony Drake is an individual residing in North Carolina. Drake

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Drake has been eligible to receive overtime pay under the FLSA because Drake has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7817. Plaintiff Clay Driessen is an individual residing in North Carolina. Driessen

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2096
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2097 of 3128




Driessen has been eligible to receive overtime pay under the FLSA because Driessen has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7818. Plaintiff Latasha Dublin is an individual residing in North Carolina. Dublin

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Dublin has been eligible to receive

overtime pay under the FLSA because Dublin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7819. Plaintiff Charlton Eason is an individual residing in North Carolina. Eason

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Eason has been eligible to receive

overtime pay under the FLSA because Eason has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7820. Plaintiff Erica Easterling is an individual residing in North Carolina. Easterling

worked as a delivery driver for FedEx in North Carolina from approximately 2020 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Easterling has been eligible to receive overtime pay under the FLSA because Easterling has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7821. Plaintiff Richard Eaton is an individual residing in North Carolina. Eaton worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Eaton has been eligible to receive overtime pay




                                              2097
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2098 of 3128




under the FLSA because Eaton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7822. Plaintiff Jamie Ebert is an individual residing in North Carolina. Ebert worked as

a delivery driver for FedEx in North Carolina from approximately 2008 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ebert has

been eligible to receive overtime pay under the FLSA because Ebert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7823. Plaintiff James Edmond Iii is an individual residing in North Carolina. Edmond Iii

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Edmond Iii has been eligible to receive overtime pay under the FLSA because Edmond Iii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7824. Plaintiff Kenneth Elkie is an individual residing in North Carolina. Elkie worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Elkie has

been eligible to receive overtime pay under the FLSA because Elkie has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7825. Plaintiff Christy Ellinger is an individual residing in North Carolina. Ellinger

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2098
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2099 of 3128




Ellinger has been eligible to receive overtime pay under the FLSA because Ellinger has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7826. Plaintiff Rita Elliott is an individual residing in North Carolina. Elliott worked as

a delivery driver for FedEx in North Carolina from approximately 2002 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Elliott

has been eligible to receive overtime pay under the FLSA because Elliott has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7827. Plaintiff Jimmy Ellis is an individual residing in North Carolina. Ellis worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Ellis has been eligible to receive overtime pay under

the FLSA because Ellis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7828. Plaintiff Langston Fair is an individual residing in North Carolina. Fair worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Fair has

been eligible to receive overtime pay under the FLSA because Fair has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7829. Plaintiff Nick Farmer is an individual residing in North Carolina. Farmer worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Farmer



                                               2099
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2100 of 3128




has been eligible to receive overtime pay under the FLSA because Farmer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7830. Plaintiff Alicia Farrior is an individual residing in North Carolina. Farrior worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Farrior

has been eligible to receive overtime pay under the FLSA because Farrior has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7831. Plaintiff Marty Farthing is an individual residing in North Carolina. Farthing

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Farthing has been eligible to receive overtime pay under the FLSA because Farthing has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7832. Plaintiff Luis Ferrara is an individual residing in North Carolina. Ferrara worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Ferrara

has been eligible to receive overtime pay under the FLSA because Ferrara has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7833. Plaintiff Ernest Fields is an individual residing in North Carolina. Fields worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2020 but was



                                              2100
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2101 of 3128




employed through intermediary entities that FedEx calls independent service providers. Fields

has been eligible to receive overtime pay under the FLSA because Fields has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7834. Plaintiff Angela Ford is an individual residing in North Carolina. Ford worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Ford has been eligible to receive overtime pay

under the FLSA because Ford has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7835. Plaintiff Blake Frenette is an individual residing in North Carolina. Frenette

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Frenette has been eligible to receive overtime pay under the FLSA because Frenette has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7836. Plaintiff Johnny Fuller is an individual residing in North Carolina. Fuller worked

as a delivery driver for FedEx in North Carolina from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Fuller

has been eligible to receive overtime pay under the FLSA because Fuller has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7837. Plaintiff Rodney Gaither is an individual residing in North Carolina. Gaither

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2018 but



                                              2101
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2102 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Gaither has been eligible to receive overtime pay under the FLSA because Gaither has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7838. Plaintiff Paul Gaither is an individual residing in North Carolina. Gaither worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Gaither

has been eligible to receive overtime pay under the FLSA because Gaither has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7839. Plaintiff Alexander Galluzzo is an individual residing in North Carolina. Galluzzo

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Galluzzo has been eligible to receive

overtime pay under the FLSA because Galluzzo has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7840. Plaintiff Theorpheus Gamble is an individual residing in North Carolina. Gamble

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Gamble has been eligible to receive

overtime pay under the FLSA because Gamble has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7841. Plaintiff Kenneth Gamboa is an individual residing in North Carolina. Gamboa

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Gamboa has been eligible to receive



                                              2102
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2103 of 3128




overtime pay under the FLSA because Gamboa has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7842. Plaintiff Anthony Garrett is an individual residing in North Carolina. Garrett

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Garrett has been eligible to receive

overtime pay under the FLSA because Garrett has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7843. Plaintiff Aaron Garrow is an individual residing in North Carolina. Garrow

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Garrow has been eligible to receive overtime pay under the FLSA because Garrow has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7844. Plaintiff Lloyd Gatling is an individual residing in North Carolina. Gatling

worked as a delivery driver for FedEx in North Carolina from approximately 2008 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Gatling has been eligible to receive overtime pay under the FLSA because Gatling has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7845. Plaintiff Matthew Gattis is an individual residing in North Carolina. Gattis

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Gattis has been eligible to receive overtime pay under the FLSA because Gattis has driven a



                                               2103
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2104 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7846. Plaintiff Mitchell Gaulden is an individual residing in North Carolina. Gaulden

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Gaulden has been eligible to receive

overtime pay under the FLSA because Gaulden has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7847. Plaintiff Shakeda Gibbs is an individual residing in North Carolina. Gibbs worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Gibbs

has been eligible to receive overtime pay under the FLSA because Gibbs has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7848. Plaintiff Brian Gillentine is an individual residing in North Carolina. Gillentine

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Gillentine has been eligible to receive overtime pay under the FLSA because Gillentine has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7849. Plaintiff Sharon Gillespie is an individual residing in North Carolina. Gillespie

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Gillespie has been eligible to receive overtime pay under the FLSA because Gillespie has driven



                                              2104
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2105 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7850. Plaintiff John Gilliam is an individual residing in North Carolina. Gilliam worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Gilliam

has been eligible to receive overtime pay under the FLSA because Gilliam has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7851. Plaintiff Peter Glenn is an individual residing in North Carolina. Glenn worked as

a delivery driver for FedEx in North Carolina from approximately 2010 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Glenn

has been eligible to receive overtime pay under the FLSA because Glenn has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7852. Plaintiff Wendell Glover is an individual residing in North Carolina. Glover

worked as a delivery driver for FedEx in North Carolina from approximately 2004 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Glover has been eligible to receive overtime pay under the FLSA because Glover has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7853. Plaintiff Nathaniel Glover is an individual residing in North Carolina. Glover

worked as a delivery driver for FedEx in North Carolina from approximately 1985 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2105
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2106 of 3128




Glover has been eligible to receive overtime pay under the FLSA because Glover has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7854. Plaintiff Vickie Godley is an individual residing in North Carolina. Godley

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Godley has been eligible to receive overtime pay under the FLSA because Godley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7855. Plaintiff Jeffrey Godwin is an individual residing in North Carolina. Godwin

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Godwin has been eligible to receive overtime pay under the FLSA because Godwin has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7856. Plaintiff Rachael Graham is an individual residing in North Carolina. Graham

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Graham has been eligible to receive

overtime pay under the FLSA because Graham has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7857. Plaintiff Erick Grant is an individual residing in North Carolina. Grant worked as

a delivery driver for FedEx in North Carolina from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Grant



                                              2106
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2107 of 3128




has been eligible to receive overtime pay under the FLSA because Grant has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7858. Plaintiff James Graves is an individual residing in North Carolina. Graves worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Graves

has been eligible to receive overtime pay under the FLSA because Graves has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7859. Plaintiff Charles Green is an individual residing in North Carolina. Green worked

as a delivery driver for FedEx in North Carolina from approximately 2005 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Green

has been eligible to receive overtime pay under the FLSA because Green has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7860. Plaintiff Kristfer Gregory is an individual residing in Colorado. Gregory worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Gregory

has been eligible to receive overtime pay under the FLSA because Gregory has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7861. Plaintiff Rakeem Grimes is an individual residing in North Carolina. Grimes

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary



                                             2107
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2108 of 3128




entities that FedEx calls independent service providers. Grimes has been eligible to receive

overtime pay under the FLSA because Grimes has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7862. Plaintiff John Grissom Iii is an individual residing in North Carolina. Grissom Iii

worked as a delivery driver for FedEx in North Carolina from approximately 2011 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Grissom Iii has been eligible to receive overtime pay under the FLSA because Grissom Iii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7863. Plaintiff Keith Guarino is an individual residing in North Carolina. Guarino

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Guarino has been eligible to receive

overtime pay under the FLSA because Guarino has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7864. Plaintiff Bryon Guilford is an individual residing in North Carolina. Guilford

worked as a delivery driver for FedEx in North Carolina from approximately 2008 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Guilford has been eligible to receive overtime pay under the FLSA because Guilford has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7865. Plaintiff Daphne Guillory is an individual residing in Kansas. Guillory worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Guillory



                                              2108
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2109 of 3128




has been eligible to receive overtime pay under the FLSA because Guillory has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7866. Plaintiff Travarus Gunter is an individual residing in North Carolina. Gunter

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Gunter has been eligible to receive overtime pay under the FLSA because Gunter has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7867. Plaintiff Donald Haddock is an individual residing in North Carolina. Haddock

worked as a delivery driver for FedEx in North Carolina from approximately 2004 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Haddock has been eligible to receive overtime pay under the FLSA because Haddock has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7868. Plaintiff Robert Hager is an individual residing in North Carolina. Hager worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hager

has been eligible to receive overtime pay under the FLSA because Hager has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7869. Plaintiff Franz Haidegger is an individual residing in North Carolina. Haidegger

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary



                                             2109
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2110 of 3128




entities that FedEx calls independent service providers. Haidegger has been eligible to receive

overtime pay under the FLSA because Haidegger has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7870. Plaintiff Jeffery Hall is an individual residing in North Carolina. Hall worked as a

delivery driver for FedEx in North Carolina from approximately 2010 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7871. Plaintiff Kayla Hall is an individual residing in North Carolina. Hall worked as a

delivery driver for FedEx in North Carolina from approximately 2021 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7872. Plaintiff Karen Hall is an individual residing in North Carolina. Hall worked as a

delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7873. Plaintiff Harold Hall is an individual residing in North Carolina. Hall worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was employed



                                               2110
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2111 of 3128




through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7874. Plaintiff Christopher Hall is an individual residing in North Carolina. Hall worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Hall has been eligible to receive overtime pay

under the FLSA because Hall has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7875. Plaintiff Xavier Hambrick is an individual residing in North Carolina. Hambrick

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Hambrick has been eligible to receive overtime pay under the FLSA because Hambrick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7876. Plaintiff Dario Hamilton is an individual residing in North Carolina. Hamilton

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Hamilton has been eligible to receive overtime pay under the FLSA because Hamilton has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7877. Plaintiff Jessica Hardin is an individual residing in North Carolina. Hardin

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but



                                              2111
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2112 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Hardin has been eligible to receive overtime pay under the FLSA because Hardin has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7878. Plaintiff Ricky Hardin is an individual residing in North Carolina. Hardin worked

as a delivery driver for FedEx in North Carolina from approximately 2006 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Hardin

has been eligible to receive overtime pay under the FLSA because Hardin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7879. Plaintiff Bobby Hare is an individual residing in North Carolina. Hare worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Hare has been eligible to receive overtime pay

under the FLSA because Hare has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7880. Plaintiff William Harrington is an individual residing in North Carolina.

Harrington worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Harrington has been

eligible to receive overtime pay under the FLSA because Harrington has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7881. Plaintiff Kia Harris is an individual residing in North Carolina. Harris worked as a

delivery driver for FedEx in North Carolina from approximately 2022 to 2023 but was employed



                                              2112
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2113 of 3128




through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7882. Plaintiff Dequann Harris is an individual residing in North Carolina. Harris

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Harris has been eligible to receive overtime pay under the FLSA because Harris has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7883. Plaintiff Jason Harris is an individual residing in North Carolina. Harris worked

as a delivery driver for FedEx in North Carolina from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Harris

has been eligible to receive overtime pay under the FLSA because Harris has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7884. Plaintiff Raymond Harrison is an individual residing in North Carolina. Harrison

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Harrison has been eligible to receive overtime pay under the FLSA because Harrison has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              2113
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2114 of 3128




       7885. Plaintiff Tyrone Hawkins is an individual residing in North Carolina. Hawkins

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Hawkins has been eligible to receive overtime pay under the FLSA because Hawkins has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7886. Plaintiff Cuberate Hawkins is an individual residing in North Carolina. Hawkins

worked as a delivery driver for FedEx in North Carolina from approximately 2008 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Hawkins has been eligible to receive overtime pay under the FLSA because Hawkins has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7887. Plaintiff Mitchell Hayden is an individual residing in North Carolina. Hayden

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Hayden has been eligible to receive

overtime pay under the FLSA because Hayden has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7888. Plaintiff Joan Hayes is an individual residing in North Carolina. Hayes worked as

a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Hayes

has been eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2114
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2115 of 3128




       7889. Plaintiff Michael Heath is an individual residing in Maine. Heath worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Heath has been eligible to receive overtime pay under

the FLSA because Heath has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7890. Plaintiff James Henderson Jr. is an individual residing in North Carolina.

Henderson Jr. worked as a delivery driver for FedEx in North Carolina from approximately 2018

to 2020 but was employed through intermediary entities that FedEx calls independent service

providers. Henderson Jr. has been eligible to receive overtime pay under the FLSA because

Henderson Jr. has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       7891. Plaintiff Andrew Henley is an individual residing in North Carolina. Henley

worked as a delivery driver for FedEx in North Carolina from approximately 2002 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Henley has been eligible to receive overtime pay under the FLSA because Henley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7892. Plaintiff Aldrin Hernandez is an individual residing in North Carolina. Hernandez

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                             2115
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2116 of 3128




        7893. Plaintiff Gregory Herring is an individual residing in North Carolina. Herring

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Herring has been eligible to receive overtime pay under the FLSA because Herring has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7894. Plaintiff David Hildebrandt is an individual residing in North Carolina.

Hildebrandt worked as a delivery driver for FedEx in North Carolina from approximately 2017

to 2022 but was employed through intermediary entities that FedEx calls independent service

providers. Hildebrandt has been eligible to receive overtime pay under the FLSA because

Hildebrandt has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        7895. Plaintiff Dametri Hill is an individual residing in North Carolina. Hill worked as a

delivery driver for FedEx in North Carolina from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hill has been

eligible to receive overtime pay under the FLSA because Hill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7896. Plaintiff James Hines is an individual residing in North Carolina. Hines worked as

a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Hines

has been eligible to receive overtime pay under the FLSA because Hines has driven a vehicle




                                              2116
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2117 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7897. Plaintiff Sarah Hines is an individual residing in North Carolina. Hines worked as

a delivery driver for FedEx in North Carolina from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Hines

has been eligible to receive overtime pay under the FLSA because Hines has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7898. Plaintiff Anthony Hogan is an individual residing in North Carolina. Hogan

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Hogan has been eligible to receive

overtime pay under the FLSA because Hogan has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7899. Plaintiff Richard Hollar is an individual residing in North Carolina. Hollar worked

as a delivery driver for FedEx in North Carolina from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Hollar

has been eligible to receive overtime pay under the FLSA because Hollar has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7900. Plaintiff Darlene Holley is an individual residing in North Carolina. Holley

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Holley has been eligible to receive overtime pay under the FLSA because Holley has driven a



                                              2117
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2118 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7901. Plaintiff Jermaine Holley is an individual residing in North Carolina. Holley

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Holley has been eligible to receive overtime pay under the FLSA because Holley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7902. Plaintiff Denise Hollingsworth is an individual residing in North Carolina.

Hollingsworth worked as a delivery driver for FedEx in North Carolina from approximately

2016 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Hollingsworth has been eligible to receive overtime pay under the FLSA

because Hollingsworth has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7903. Plaintiff Tommy Hollingsworth is an individual residing in North Carolina.

Hollingsworth worked as a delivery driver for FedEx in North Carolina from approximately

2016 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Hollingsworth has been eligible to receive overtime pay under the FLSA

because Hollingsworth has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7904. Plaintiff Patrick Hollis is an individual residing in North Carolina. Hollis worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hollis



                                             2118
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2119 of 3128




has been eligible to receive overtime pay under the FLSA because Hollis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7905. Plaintiff Charles Holloway is an individual residing in North Carolina. Holloway

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Holloway has been eligible to receive overtime pay under the FLSA because Holloway has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       7906. Plaintiff Shawn Hoodye is an individual residing in California. Hoodye worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hoodye

has been eligible to receive overtime pay under the FLSA because Hoodye has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7907. Plaintiff Malik Horton is an individual residing in North Carolina. Horton worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Horton

has been eligible to receive overtime pay under the FLSA because Horton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7908. Plaintiff Ami House is an individual residing in North Carolina. House worked as

a delivery driver for FedEx in North Carolina from approximately 2007 to 2024 but was



                                             2119
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2120 of 3128




employed through intermediary entities that FedEx calls independent service providers. House

has been eligible to receive overtime pay under the FLSA because House has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7909. Plaintiff Kedrick Houston is an individual residing in North Carolina. Houston

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Houston has been eligible to receive overtime pay under the FLSA because Houston has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7910. Plaintiff Ron Howard is an individual residing in North Carolina. Howard worked

as a delivery driver for FedEx in North Carolina from approximately 1996 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Howard

has been eligible to receive overtime pay under the FLSA because Howard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7911. Plaintiff Dwayne Hyman is an individual residing in North Carolina. Hyman

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Hyman has been eligible to receive

overtime pay under the FLSA because Hyman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7912. Plaintiff Carlos Irving is an individual residing in North Carolina. Irving worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was



                                              2120
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2121 of 3128




employed through intermediary entities that FedEx calls independent service providers. Irving

has been eligible to receive overtime pay under the FLSA because Irving has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7913. Plaintiff Steven Jackson is an individual residing in North Carolina. Jackson

worked as a delivery driver for FedEx in North Carolina from approximately 2011 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Jackson has been eligible to receive overtime pay under the FLSA because Jackson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7914. Plaintiff Crystal Jackson Formerly Hickman is an individual residing in

Maryland. Jackson Formerly Hickman worked as a delivery driver for FedEx in North Carolina

from approximately 2014 to 2018 but was employed through intermediary entities that FedEx

calls independent service providers. Jackson Formerly Hickman has been eligible to receive

overtime pay under the FLSA because Jackson Formerly Hickman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7915. Plaintiff Richard James is an individual residing in South Carolina. James worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. James

has been eligible to receive overtime pay under the FLSA because James has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             2121
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2122 of 3128




        7916. Plaintiff Joel Jarvis is an individual residing in North Carolina. Jarvis worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Jarvis has been eligible to receive overtime pay under

the FLSA because Jarvis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7917. Plaintiff Amanda Jenkins is an individual residing in North Carolina. Jenkins

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Jenkins has been eligible to receive overtime pay under the FLSA because Jenkins has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7918. Plaintiff Kevin Jennings is an individual residing in North Carolina. Jennings

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Jennings has been eligible to receive overtime pay under the FLSA because Jennings has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7919. Plaintiff Dustin Jett is an individual residing in North Carolina. Jett worked as a

delivery driver for FedEx in North Carolina from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jett has been

eligible to receive overtime pay under the FLSA because Jett has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2122
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2123 of 3128




       7920. Plaintiff James Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Johnson has been eligible to receive

overtime pay under the FLSA because Johnson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7921. Plaintiff Andera Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina from approximately 2002 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7922. Plaintiff Kiszy Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7923. Plaintiff Ricky Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina from approximately 2002 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                              2123
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2124 of 3128




       7924. Plaintiff Lucius Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7925. Plaintiff Christopher Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7926. Plaintiff Cameron Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7927. Plaintiff Kameron Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Johnson has been eligible to receive

overtime pay under the FLSA because Johnson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2124
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2125 of 3128




       7928. Plaintiff Kevin Jones is an individual residing in North Carolina. Jones worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Jones has been eligible to receive overtime pay

under the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7929. Plaintiff Latesha Jones is an individual residing in North Carolina. Jones worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7930. Plaintiff Jermey Jones is an individual residing in North Carolina. Jones worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7931. Plaintiff Tracy Joseph is an individual residing in North Carolina. Joseph worked

as a delivery driver for FedEx in North Carolina from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Joseph

has been eligible to receive overtime pay under the FLSA because Joseph has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2125
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2126 of 3128




       7932. Plaintiff Dickie Kallam is an individual residing in North Carolina. Kallam

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Kallam has been eligible to receive overtime pay under the FLSA because Kallam has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7933. Plaintiff Melissa Kelly is an individual residing in North Carolina. Kelly worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Kelly has been eligible to receive overtime pay

under the FLSA because Kelly has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7934. Plaintiff Jason Kincaid is an individual residing in North Carolina. Kincaid

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Kincaid has been eligible to receive overtime pay under the FLSA because Kincaid has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7935. Plaintiff Danielle King is an individual residing in North Carolina. King worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. King has

been eligible to receive overtime pay under the FLSA because King has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2126
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2127 of 3128




        7936. Plaintiff Richard King is an individual residing in North Carolina. King worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. King has

been eligible to receive overtime pay under the FLSA because King has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7937. Plaintiff Joshua Kirk is an individual residing in North Carolina. Kirk worked as a

delivery driver for FedEx in North Carolina from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Kirk has been

eligible to receive overtime pay under the FLSA because Kirk has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7938. Plaintiff Jarred Knight is an individual residing in North Carolina. Knight worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Knight

has been eligible to receive overtime pay under the FLSA because Knight has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7939. Plaintiff Thomas Knott is an individual residing in South Carolina. Knott worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Knott

has been eligible to receive overtime pay under the FLSA because Knott has driven a vehicle




                                              2127
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 2128 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7940. Plaintiff Gabriel Kuel is an individual residing in North Carolina. Kuel worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Kuel has been eligible to receive overtime pay

under the FLSA because Kuel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        7941. Plaintiff Justin Lackey is an individual residing in North Carolina. Lackey worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Lackey

has been eligible to receive overtime pay under the FLSA because Lackey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7942. Plaintiff Eric Larue is an individual residing in Kansas. Larue worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Larue has been

eligible to receive overtime pay under the FLSA because Larue has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7943. Plaintiff Jarrious Lassiter Iii is an individual residing in North Carolina. Lassiter

Iii worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Lassiter Iii has been eligible

to receive overtime pay under the FLSA because Lassiter Iii has driven a vehicle weighing less



                                                2128
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2129 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7944. Plaintiff Derrick Lawrence is an individual residing in North Carolina. Lawrence

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Lawrence has been eligible to receive overtime pay under the FLSA because Lawrence has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        7945. Plaintiff Sandra Laxton is an individual residing in North Carolina. Laxton

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Laxton has been eligible to receive

overtime pay under the FLSA because Laxton has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        7946. Plaintiff Jerry Leathers is an individual residing in North Carolina. Leathers

worked as a delivery driver for FedEx in North Carolina from approximately 2002 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Leathers has been eligible to receive overtime pay under the FLSA because Leathers has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7947. Plaintiff James Ledford is an individual residing in North Carolina. Ledford

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Ledford has been eligible to receive overtime pay under the FLSA because Ledford has driven a



                                               2129
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2130 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7948. Plaintiff Justin Lee is an individual residing in North Carolina. Lee worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7949. Plaintiff Sean Lee is an individual residing in North Carolina. Lee worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7950. Plaintiff Bonita Lewis is an individual residing in North Carolina. Lewis worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Lewis

has been eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        7951. Plaintiff Jerry Lewis is an individual residing in North Carolina. Lewis worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Lewis has been eligible to receive overtime pay



                                              2130
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2131 of 3128




under the FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7952. Plaintiff David Lewis is an individual residing in North Carolina. Lewis worked

as a delivery driver for FedEx in North Carolina from approximately 2003 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Lewis

has been eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7953. Plaintiff James Lewis Jr. is an individual residing in North Carolina. Lewis Jr.

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Lewis Jr. has been eligible to receive overtime pay under the FLSA because Lewis Jr. has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7954. Plaintiff Darrell Liles is an individual residing in North Carolina. Liles worked as

a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Liles has

been eligible to receive overtime pay under the FLSA because Liles has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7955. Plaintiff Steve Lizak is an individual residing in North Carolina. Lizak worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Lizak has been eligible to receive overtime pay



                                              2131
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2132 of 3128




under the FLSA because Lizak has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7956. Plaintiff Talmadge Locke is an individual residing in North Carolina. Locke

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Locke has been eligible to receive overtime pay under the FLSA because Locke has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7957. Plaintiff Darris Long is an individual residing in North Carolina. Long worked as

a delivery driver for FedEx in North Carolina from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Long has

been eligible to receive overtime pay under the FLSA because Long has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7958. Plaintiff Sarah Loria is an individual residing in North Carolina. Loria worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Loria has been eligible to receive overtime pay

under the FLSA because Loria has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       7959. Plaintiff Michael Loughlin is an individual residing in North Carolina. Loughlin

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Loughlin has been eligible to receive




                                              2132
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2133 of 3128




overtime pay under the FLSA because Loughlin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7960. Plaintiff Innocent Loukoutou is an individual residing in North Carolina.

Loukoutou worked as a delivery driver for FedEx in North Carolina from approximately 2017 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Loukoutou has been eligible to receive overtime pay under the FLSA because

Loukoutou has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       7961. Plaintiff Charles Lowe is an individual residing in North Carolina. Lowe worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Lowe has been eligible to receive overtime pay

under the FLSA because Lowe has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7962. Plaintiff Michael Lowe is an individual residing in North Carolina. Lowe worked

as a delivery driver for FedEx in North Carolina from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Lowe

has been eligible to receive overtime pay under the FLSA because Lowe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7963. Plaintiff Cynthia Lowery is an individual residing in North Carolina. Lowery

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Lowery has been eligible to receive overtime pay under the FLSA because Lowery has driven a



                                             2133
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2134 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7964. Plaintiff Anuar Luna Tavera is an individual residing in North Carolina. Luna

Tavera worked as a delivery driver for FedEx in North Carolina from approximately 2019 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Luna Tavera has been eligible to receive overtime pay under the FLSA because Luna

Tavera has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       7965. Plaintiff Joseph Lunnerman is an individual residing in North Carolina.

Lunnerman worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Lunnerman has been

eligible to receive overtime pay under the FLSA because Lunnerman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7966. Plaintiff Risharda Lyles is an individual residing in North Carolina. Lyles worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Lyles

has been eligible to receive overtime pay under the FLSA because Lyles has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7967. Plaintiff Ian Mack is an individual residing in North Carolina. Mack worked as a

delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mack has been



                                             2134
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2135 of 3128




eligible to receive overtime pay under the FLSA because Mack has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7968. Plaintiff Ryan Maki is an individual residing in North Carolina. Maki worked as a

delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Maki has been

eligible to receive overtime pay under the FLSA because Maki has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7969. Plaintiff James Malloy is an individual residing in North Carolina. Malloy worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Malloy has been eligible to receive overtime pay

under the FLSA because Malloy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7970. Plaintiff Andres Mangual is an individual residing in Connecticut. Mangual

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Mangual has been eligible to receive overtime pay under the FLSA because Mangual has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7971. Plaintiff Herman Manley is an individual residing in North Carolina. Manley

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2135
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2136 of 3128




Manley has been eligible to receive overtime pay under the FLSA because Manley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7972. Plaintiff Ferrell Marcus is an individual residing in North Carolina. Marcus

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Marcus has been eligible to receive overtime pay under the FLSA because Marcus has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        7973. Plaintiff John Martin is an individual residing in North Carolina. Martin worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Martin has been eligible to receive overtime pay

under the FLSA because Martin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        7974. Plaintiff Kari Martin is an individual residing in California. Martin worked as a

delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        7975. Plaintiff Donna Martin is an individual residing in North Carolina. Martin worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Martin



                                              2136
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2137 of 3128




has been eligible to receive overtime pay under the FLSA because Martin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7976. Plaintiff Juancarlos Martinez is an individual residing in North Carolina. Martinez

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Martinez has been eligible to receive overtime pay under the FLSA because Martinez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7977. Plaintiff Melvin Mayo is an individual residing in North Carolina. Mayo worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Mayo

has been eligible to receive overtime pay under the FLSA because Mayo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7978. Plaintiff Brandon Mays is an individual residing in North Carolina. Mays worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mays

has been eligible to receive overtime pay under the FLSA because Mays has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7979. Plaintiff Momodou Mbye is an individual residing in North Carolina. Mbye

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2021 but



                                             2137
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2138 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Mbye has been eligible to receive overtime pay under the FLSA because Mbye has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7980. Plaintiff Jawon Mcbryde is an individual residing in North Carolina. Mcbryde

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Mcbryde has been eligible to receive overtime pay under the FLSA because Mcbryde has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7981. Plaintiff Bronson Mccain is an individual residing in North Carolina. Mccain

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Mccain has been eligible to receive overtime pay under the FLSA because Mccain has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7982. Plaintiff Tabitha Mccarthy is an individual residing in North Carolina. Mccarthy

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Mccarthy has been eligible to receive overtime pay under the FLSA because Mccarthy has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             2138
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2139 of 3128




       7983. Plaintiff Eddie Mccoy is an individual residing in North Carolina. Mccoy worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mccoy

has been eligible to receive overtime pay under the FLSA because Mccoy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7984. Plaintiff Joshua Mcgrew is an individual residing in North Carolina. Mcgrew

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Mcgrew has been eligible to receive overtime pay under the FLSA because Mcgrew has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7985. Plaintiff Glennis Mcilwain is an individual residing in North Carolina. Mcilwain

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Mcilwain has been eligible to receive

overtime pay under the FLSA because Mcilwain has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7986. Plaintiff Patrick Mckeithan is an individual residing in North Carolina. Mckeithan

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Mckeithan has been eligible to receive overtime pay under the FLSA because Mckeithan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              2139
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2140 of 3128




       7987. Plaintiff Garry Mcmillan is an individual residing in North Carolina. Mcmillan

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Mcmillan has been eligible to receive

overtime pay under the FLSA because Mcmillan has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       7988. Plaintiff Cheryl Measmer is an individual residing in North Carolina. Measmer

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Measmer has been eligible to receive overtime pay under the FLSA because Measmer has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7989. Plaintiff Danny Medlin is an individual residing in North Carolina. Medlin

worked as a delivery driver for FedEx in North Carolina from approximately 2008 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Medlin has been eligible to receive overtime pay under the FLSA because Medlin has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7990. Plaintiff Bernard Mensah is an individual residing in North Carolina. Mensah

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Mensah has been eligible to receive overtime pay under the FLSA because Mensah has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                              2140
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2141 of 3128




       7991. Plaintiff Brandon Metcalf is an individual residing in North Carolina. Metcalf

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Metcalf has been eligible to receive overtime pay under the FLSA because Metcalf has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7992. Plaintiff Keith Miller is an individual residing in North Carolina. Miller worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7993. Plaintiff Antonio Miller is an individual residing in North Carolina. Miller worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       7994. Plaintiff Manekia Miller is an individual residing in North Carolina. Miller

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Miller has been eligible to receive overtime pay under the FLSA because Miller has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              2141
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2142 of 3128




       7995. Plaintiff Darius Miller is an individual residing in North Carolina. Miller worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Miller

has been eligible to receive overtime pay under the FLSA because Miller has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7996. Plaintiff Joseph Miller is an individual residing in North Carolina. Miller worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Miller

has been eligible to receive overtime pay under the FLSA because Miller has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       7997. Plaintiff Jacob Mingus is an individual residing in North Carolina. Mingus

worked as a delivery driver for FedEx in North Carolina from approximately 2020 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Mingus has been eligible to receive overtime pay under the FLSA because Mingus has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7998. Plaintiff Brian Mitchell is an individual residing in North Carolina. Mitchell

worked as a delivery driver for FedEx in North Carolina from approximately 2008 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Mitchell has been eligible to receive overtime pay under the FLSA because Mitchell has driven a




                                             2142
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2143 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       7999. Plaintiff Gary Mitchell is an individual residing in North Carolina. Mitchell

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Mitchell has been eligible to receive overtime pay under the FLSA because Mitchell has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8000. Plaintiff Antonio Mitchell is an individual residing in North Carolina. Mitchell

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Mitchell has been eligible to receive overtime pay under the FLSA because Mitchell has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8001. Plaintiff Ahmed Mohamed is an individual residing in North Carolina. Mohamed

worked as a delivery driver for FedEx in North Carolina from approximately 2012 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Mohamed has been eligible to receive overtime pay under the FLSA because Mohamed has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8002. Plaintiff Candace Montgomery is an individual residing in North Carolina.

Montgomery worked as a delivery driver for FedEx in North Carolina from approximately 2018

to 2020 but was employed through intermediary entities that FedEx calls independent service



                                             2143
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2144 of 3128




providers. Montgomery has been eligible to receive overtime pay under the FLSA because

Montgomery has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8003. Plaintiff Ramiel Moore is an individual residing in North Carolina. Moore worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Moore

has been eligible to receive overtime pay under the FLSA because Moore has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8004. Plaintiff Darece Moore is an individual residing in North Carolina. Moore worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Moore has been eligible to receive overtime pay

under the FLSA because Moore has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8005. Plaintiff Malcolm Moore is an individual residing in North Carolina. Moore

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Moore has been eligible to receive overtime pay under the FLSA because Moore has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8006. Plaintiff Shirley Moreau is an individual residing in North Carolina. Moreau

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2144
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2145 of 3128




Moreau has been eligible to receive overtime pay under the FLSA because Moreau has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8007. Plaintiff George Morgan is an individual residing in North Carolina. Morgan

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Morgan has been eligible to receive overtime pay under the FLSA because Morgan has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8008. Plaintiff Carlos Morris is an individual residing in North Carolina. Morris worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Morris has been eligible to receive overtime pay

under the FLSA because Morris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8009. Plaintiff Kenya Morris is an individual residing in North Carolina. Morris worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Morris

has been eligible to receive overtime pay under the FLSA because Morris has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8010. Plaintiff Robert Morris is an individual residing in Arizona. Morris worked as a

delivery driver for FedEx in North Carolina from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Morris has been



                                              2145
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2146 of 3128




eligible to receive overtime pay under the FLSA because Morris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8011. Plaintiff Keisha Murphy is an individual residing in North Carolina. Murphy

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Murphy has been eligible to receive overtime pay under the FLSA because Murphy has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8012. Plaintiff Joseph Murphy is an individual residing in North Carolina. Murphy

worked as a delivery driver for FedEx in North Carolina from approximately 2001 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Murphy has been eligible to receive overtime pay under the FLSA because Murphy has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8013. Plaintiff Gary Murphy is an individual residing in North Carolina. Murphy

worked as a delivery driver for FedEx in North Carolina from approximately 2005 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Murphy has been eligible to receive overtime pay under the FLSA because Murphy has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8014. Plaintiff Donald Murry is an individual residing in North Carolina. Murry worked

as a delivery driver for FedEx in North Carolina from approximately 1999 to 2018 but was



                                             2146
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2147 of 3128




employed through intermediary entities that FedEx calls independent service providers. Murry

has been eligible to receive overtime pay under the FLSA because Murry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8015. Plaintiff Anthony Muscarella is an individual residing in North Carolina.

Muscarella worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Muscarella has been

eligible to receive overtime pay under the FLSA because Muscarella has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8016. Plaintiff Matthew Nagle is an individual residing in North Carolina. Nagle

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Nagle has been eligible to receive overtime pay under the FLSA because Nagle has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8017. Plaintiff Kenneth Nelson is an individual residing in North Carolina. Nelson

worked as a delivery driver for FedEx in North Carolina and Virginia from approximately 2001

to 2016 but was employed through intermediary entities that FedEx calls independent service

providers. Nelson has been eligible to receive overtime pay under the FLSA because Nelson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             2147
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2148 of 3128




       8018. Plaintiff Terry Nichols is an individual residing in North Carolina. Nichols

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Nichols has been eligible to receive

overtime pay under the FLSA because Nichols has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8019. Plaintiff Keenan Norman is an individual residing in North Carolina. Norman

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Norman has been eligible to receive overtime pay under the FLSA because Norman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8020. Plaintiff Benjamin Oakley is an individual residing in North Carolina. Oakley

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Oakley has been eligible to receive

overtime pay under the FLSA because Oakley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8021. Plaintiff Jimmy Oates is an individual residing in North Carolina. Oates worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Oates has been eligible to receive overtime pay

under the FLSA because Oates has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8022. Plaintiff Quaowu Ohin is an individual residing in North Carolina. Ohin worked

as a delivery driver for FedEx in North Carolina from approximately 2007 to 2019 but was



                                               2148
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2149 of 3128




employed through intermediary entities that FedEx calls independent service providers. Ohin has

been eligible to receive overtime pay under the FLSA because Ohin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8023. Plaintiff Rahsaan Oneal is an individual residing in North Carolina. Oneal worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Oneal

has been eligible to receive overtime pay under the FLSA because Oneal has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8024. Plaintiff Orlando Ortega is an individual residing in North Carolina. Ortega

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Ortega has been eligible to receive overtime pay under the FLSA because Ortega has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8025. Plaintiff Darleen Outlaw is an individual residing in North Carolina. Outlaw

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Outlaw has been eligible to receive

overtime pay under the FLSA because Outlaw has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8026. Plaintiff Baron Owens is an individual residing in North Carolina. Owens worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but was



                                              2149
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2150 of 3128




employed through intermediary entities that FedEx calls independent service providers. Owens

has been eligible to receive overtime pay under the FLSA because Owens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8027. Plaintiff Jonathan Booker is an individual residing in North Carolina. Packwood

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Packwood has been eligible to receive

overtime pay under the FLSA because Packwood has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8028. Plaintiff Jose Padilla is an individual residing in North Carolina. Padilla worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Padilla

has been eligible to receive overtime pay under the FLSA because Padilla has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8029. Plaintiff Rishaun Page is an individual residing in North Carolina. Page worked as

a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Page has

been eligible to receive overtime pay under the FLSA because Page has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8030. Plaintiff Michael Parker is an individual residing in Georgia. Parker worked as a

delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but was employed



                                              2150
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2151 of 3128




through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8031. Plaintiff Brittany Parsons is an individual residing in North Carolina. Parsons

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Parsons has been eligible to receive

overtime pay under the FLSA because Parsons has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8032. Plaintiff Shawn Patillo is an individual residing in North Carolina. Patillo worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Patillo

has been eligible to receive overtime pay under the FLSA because Patillo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8033. Plaintiff Charles Patteson is an individual residing in North Carolina. Patteson

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Patteson has been eligible to receive

overtime pay under the FLSA because Patteson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8034. Plaintiff Nathan Pegram is an individual residing in North Carolina. Pegram

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               2151
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2152 of 3128




Pegram has been eligible to receive overtime pay under the FLSA because Pegram has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8035. Plaintiff Scott Pemberton is an individual residing in Florida. Pemberton worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Pemberton has been eligible to receive overtime

pay under the FLSA because Pemberton has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       8036. Plaintiff Alona Pepper is an individual residing in North Carolina. Pepper worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Pepper

has been eligible to receive overtime pay under the FLSA because Pepper has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8037. Plaintiff Lucero Perdomo is an individual residing in North Carolina. Perdomo

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Perdomo has been eligible to receive overtime pay under the FLSA because Perdomo has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8038. Plaintiff Randie Perry is an individual residing in North Carolina. Perry worked as

a delivery driver for FedEx in North Carolina from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Perry has



                                             2152
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2153 of 3128




been eligible to receive overtime pay under the FLSA because Perry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8039. Plaintiff Major Perry is an individual residing in North Carolina. Perry worked as

a delivery driver for FedEx in North Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Perry has

been eligible to receive overtime pay under the FLSA because Perry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8040. Plaintiff Reginald Piper is an individual residing in North Carolina. Piper worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Piper has

been eligible to receive overtime pay under the FLSA because Piper has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8041. Plaintiff Christopher Pippa is an individual residing in North Carolina. Pippa

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Pippa has been eligible to receive overtime pay under the FLSA because Pippa has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8042. Plaintiff William Pittman is an individual residing in North Carolina. Pittman

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but



                                             2153
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2154 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Pittman has been eligible to receive overtime pay under the FLSA because Pittman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8043. Plaintiff Charisma Pittman is an individual residing in North Carolina. Pittman

worked as a delivery driver for FedEx in North Carolina from approximately 2020 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Pittman has been eligible to receive overtime pay under the FLSA because Pittman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8044. Plaintiff Steven Chisholm is an individual residing in North Carolina. Polanco

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Polanco has been eligible to receive overtime pay under the FLSA because Polanco has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8045. Plaintiff Russell Poppe is an individual residing in North Carolina. Poppe worked

as a delivery driver for FedEx in North Carolina from approximately 2004 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Poppe

has been eligible to receive overtime pay under the FLSA because Poppe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2154
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2155 of 3128




       8046. Plaintiff Malik Powell is an individual residing in North Carolina. Powell worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Powell

has been eligible to receive overtime pay under the FLSA because Powell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8047. Plaintiff Virginia Powell is an individual residing in North Carolina. Powell

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Powell has been eligible to receive overtime pay under the FLSA because Powell has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8048. Plaintiff Lakisha Powell is an individual residing in North Carolina. Powell

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Powell has been eligible to receive overtime pay under the FLSA because Powell has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8049. Plaintiff David Powers is an individual residing in South Carolina. Powers

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Powers has been eligible to receive overtime pay under the FLSA because Powers has driven a




                                             2155
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2156 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8050. Plaintiff Jeffery Prichard, Sr is an individual residing in North Carolina. Prichard

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Prichard has been eligible to receive overtime pay under the FLSA because Prichard has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8051. Plaintiff Scott Prime is an individual residing in South Carolina. Prime worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Prime has been eligible to receive overtime pay

under the FLSA because Prime has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8052. Plaintiff Kevin Prince is an individual residing in North Carolina. Prince worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Prince

has been eligible to receive overtime pay under the FLSA because Prince has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8053. Plaintiff Matthew Pruitt is an individual residing in North Carolina. Pruitt worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Pruitt

has been eligible to receive overtime pay under the FLSA because Pruitt has driven a vehicle



                                              2156
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2157 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8054. Plaintiff Carl Purvis is an individual residing in Colorado. Purvis worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Purvis has been

eligible to receive overtime pay under the FLSA because Purvis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8055. Plaintiff Jodi Purvis is an individual residing in North Carolina. Purvis worked as

a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Purvis

has been eligible to receive overtime pay under the FLSA because Purvis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8056. Plaintiff Anthony Quattlebaum is an individual residing in North Carolina.

Quattlebaum worked as a delivery driver for FedEx in North Carolina from approximately 2018

to 2019 but was employed through intermediary entities that FedEx calls independent service

providers. Quattlebaum has been eligible to receive overtime pay under the FLSA because

Quattlebaum has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8057. Plaintiff Douglas Raiford is an individual residing in North Carolina. Raiford

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2157
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2158 of 3128




Raiford has been eligible to receive overtime pay under the FLSA because Raiford has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8058. Plaintiff Charles Rainey is an individual residing in North Carolina. Rainey

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Rainey has been eligible to receive overtime pay under the FLSA because Rainey has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8059. Plaintiff Nathan Rains is an individual residing in North Carolina. Rains worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rains

has been eligible to receive overtime pay under the FLSA because Rains has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8060. Plaintiff Pamela Storey is an individual residing in North Carolina. Ramos

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Ramos has been eligible to receive overtime pay under the FLSA because Ramos has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8061. Plaintiff Anthony Reagan is an individual residing in North Carolina. Reagan

worked as a delivery driver for FedEx in North Carolina from approximately 2011 to 2016 but



                                             2158
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2159 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Reagan has been eligible to receive overtime pay under the FLSA because Reagan has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8062. Plaintiff Terry Reaves is an individual residing in North Carolina. Reaves worked

as a delivery driver for FedEx in North Carolina from approximately 1997 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Reaves

has been eligible to receive overtime pay under the FLSA because Reaves has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8063. Plaintiff Adam Reebel is an individual residing in North Carolina. Reebel worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Reebel

has been eligible to receive overtime pay under the FLSA because Reebel has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8064. Plaintiff Derrick Reed is an individual residing in North Carolina. Reed worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Reed has been eligible to receive overtime pay

under the FLSA because Reed has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8065. Plaintiff Robert Reid is an individual residing in North Carolina. Reid worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was employed



                                             2159
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2160 of 3128




through intermediary entities that FedEx calls independent service providers. Reid has been

eligible to receive overtime pay under the FLSA because Reid has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8066. Plaintiff Walter Reid is an individual residing in North Carolina. Reid worked as a

delivery driver for FedEx in North Carolina from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Reid has been

eligible to receive overtime pay under the FLSA because Reid has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8067. Plaintiff Michael Reives is an individual residing in North Carolina. Reives

worked as a delivery driver for FedEx in North Carolina from approximately 2006 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Reives has been eligible to receive overtime pay under the FLSA because Reives has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8068. Plaintiff Patrick Retort is an individual residing in North Carolina. Retort worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Retort

has been eligible to receive overtime pay under the FLSA because Retort has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2160
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2161 of 3128




       8069. Plaintiff Anthony Rhodes is an individual residing in North Carolina. Rhodes

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Rhodes has been eligible to receive overtime pay under the FLSA because Rhodes has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8070. Plaintiff Ronald Ricks is an individual residing in North Carolina. Ricks worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Ricks has been eligible to receive overtime pay

under the FLSA because Ricks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8071. Plaintiff Phillip Riggs is an individual residing in North Carolina. Riggs worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Riggs

has been eligible to receive overtime pay under the FLSA because Riggs has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8072. Plaintiff James Roberson is an individual residing in North Carolina. Roberson

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Roberson has been eligible to receive overtime pay under the FLSA because Roberson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              2161
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2162 of 3128




        8073. Plaintiff Lajameia Roberson is an individual residing in North Carolina. Roberson

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Roberson has been eligible to receive

overtime pay under the FLSA because Roberson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8074. Plaintiff Jennifer Roberts is an individual residing in North Carolina. Roberts

worked as a delivery driver for FedEx in North Carolina from approximately 2011 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Roberts has been eligible to receive overtime pay under the FLSA because Roberts has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8075. Plaintiff Glenwood Robinson is an individual residing in North Carolina.

Robinson worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Robinson has been eligible

to receive overtime pay under the FLSA because Robinson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8076. Plaintiff Ruben Robles is an individual residing in California. Robles worked as a

delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Robles has been

eligible to receive overtime pay under the FLSA because Robles has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2162
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2163 of 3128




        8077. Plaintiff Delrio Rogers-Davis is an individual residing in North Carolina. Rogers-

Davis worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Rogers-Davis has been

eligible to receive overtime pay under the FLSA because Rogers-Davis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8078. Plaintiff David Roman is an individual residing in North Carolina. Roman worked

as a delivery driver for FedEx in North Carolina from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Roman

has been eligible to receive overtime pay under the FLSA because Roman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8079. Plaintiff Antonio Roundtree is an individual residing in North Carolina.

Roundtree worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Roundtree has been eligible

to receive overtime pay under the FLSA because Roundtree has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8080. Plaintiff Aaron Runion is an individual residing in North Carolina. Runion

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Runion has been eligible to receive

overtime pay under the FLSA because Runion has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2163
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2164 of 3128




       8081. Plaintiff Israel Salazar is an individual residing in North Carolina. Salazar worked

as a delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Salazar

has been eligible to receive overtime pay under the FLSA because Salazar has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8082. Plaintiff Walter Salisbury Ii is an individual residing in North Carolina. Salisbury

Ii worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Salisbury Ii has been eligible to receive overtime pay under the FLSA because Salisbury Ii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8083. Plaintiff Andrez Samuels is an individual residing in South Dakota. Samuels

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Samuels has been eligible to receive overtime pay under the FLSA because Samuels has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8084. Plaintiff Nelson Sanchez is an individual residing in North Carolina. Sanchez

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Sanchez has been eligible to receive overtime pay under the FLSA because Sanchez has driven a




                                              2164
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2165 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8085. Plaintiff Paris Saunders is an individual residing in North Carolina. Saunders

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Saunders has been eligible to receive overtime pay under the FLSA because Saunders has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8086. Plaintiff Tanya Savage is an individual residing in North Carolina. Savage worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Savage

has been eligible to receive overtime pay under the FLSA because Savage has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8087. Plaintiff Jackie Saye is an individual residing in North Carolina. Saye worked as a

delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Saye has been

eligible to receive overtime pay under the FLSA because Saye has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8088. Plaintiff Steven Scarlett is an individual residing in North Carolina. Scarlett

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               2165
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2166 of 3128




Scarlett has been eligible to receive overtime pay under the FLSA because Scarlett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8089. Plaintiff Ken Schliewe is an individual residing in North Carolina. Schliewe

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Schliewe has been eligible to receive overtime pay under the FLSA because Schliewe has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8090. Plaintiff Brent Scott is an individual residing in North Carolina. Scott worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Scott has been

eligible to receive overtime pay under the FLSA because Scott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8091. Plaintiff Jymell Scott is an individual residing in North Carolina. Scott worked as

a delivery driver for FedEx in North Carolina from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Scott has

been eligible to receive overtime pay under the FLSA because Scott has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8092. Plaintiff Pavel Sedlak is an individual residing in North Carolina. Sedlak worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but was



                                              2166
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2167 of 3128




employed through intermediary entities that FedEx calls independent service providers. Sedlak

has been eligible to receive overtime pay under the FLSA because Sedlak has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8093. Plaintiff Shaunda Shane is an individual residing in North Carolina. Shane

worked as a delivery driver for FedEx in North Carolina from approximately 2011 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Shane has been eligible to receive overtime pay under the FLSA because Shane has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8094. Plaintiff Alberta Sharpe is an individual residing in North Carolina. Sharpe

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Sharpe has been eligible to receive overtime pay under the FLSA because Sharpe has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8095. Plaintiff Ronald Shaub is an individual residing in North Carolina. Shaub worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Shaub has been eligible to receive overtime pay

under the FLSA because Shaub has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8096. Plaintiff David Sigler is an individual residing in North Carolina. Sigler worked

as a delivery driver for FedEx in North Carolina from approximately 2014 to 2017 but was



                                             2167
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2168 of 3128




employed through intermediary entities that FedEx calls independent service providers. Sigler

has been eligible to receive overtime pay under the FLSA because Sigler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8097. Plaintiff Richard Sinclair is an individual residing in North Carolina. Sinclair

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Sinclair has been eligible to receive overtime pay under the FLSA because Sinclair has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8098. Plaintiff Donald Sisk is an individual residing in North Carolina. Sisk worked as a

delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sisk has been

eligible to receive overtime pay under the FLSA because Sisk has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8099. Plaintiff Micheal Sistare is an individual residing in South Carolina. Sistare

worked as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Sistare has been eligible to receive overtime pay under the FLSA because Sistare has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                               2168
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2169 of 3128




       8100. Plaintiff Braxton Smith is an individual residing in North Carolina. Smith worked

as a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8101. Plaintiff Thomas Smith is an individual residing in North Carolina. Smith worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8102. Plaintiff Willis Smith is an individual residing in North Carolina. Smith worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Smith has been eligible to receive overtime pay

under the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8103. Plaintiff Bronwyn Smith is an individual residing in North Carolina. Smith

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Smith has been eligible to receive overtime pay under the FLSA because Smith has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                              2169
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2170 of 3128




       8104. Plaintiff Quinton Smith is an individual residing in North Carolina. Smith worked

as a delivery driver for FedEx in North Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8105. Plaintiff Brewster Smith is an individual residing in North Carolina. Smith

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Smith has been eligible to receive overtime pay under the FLSA because Smith has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8106. Plaintiff Jalisa Smith is an individual residing in North Carolina. Smith worked as

a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8107. Plaintiff Antoinio Smith is an individual residing in North Carolina. Smith

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Smith has been eligible to receive overtime pay under the FLSA because Smith has driven a




                                             2170
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2171 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8108. Plaintiff Jan Snipes is an individual residing in North Carolina. Snipes worked as

a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Snipes has been eligible to receive overtime pay

under the FLSA because Snipes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8109. Plaintiff Harold Sockriter Jr. is an individual residing in North Carolina. Sockriter

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Sockriter has been eligible to receive overtime pay under the FLSA because Sockriter has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8110. Plaintiff Franklin Soto is an individual residing in New Jersey. Soto worked as a

delivery driver for FedEx in North Carolina from approximately 2022 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Soto has been

eligible to receive overtime pay under the FLSA because Soto has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8111. Plaintiff Gregory Spencer Jr is an individual residing in North Carolina. Spencer

Jr worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Spencer Jr has been eligible to receive overtime pay under the FLSA because Spencer Jr has



                                               2171
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2172 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8112. Plaintiff Frederick Stanford is an individual residing in North Carolina. Stanford

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Stanford has been eligible to receive

overtime pay under the FLSA because Stanford has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8113. Plaintiff Joshua Stephens is an individual residing in North Carolina. Stephens

worked as a delivery driver for FedEx in North Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Stephens has been eligible to receive overtime pay under the FLSA because Stephens has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8114. Plaintiff Gregory Stomierosky is an individual residing in North Carolina.

Stomierosky worked as a delivery driver for FedEx in North Carolina from approximately 1990

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Stomierosky has been eligible to receive overtime pay under the FLSA because

Stomierosky has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8115. Plaintiff Gerald Stubbs is an individual residing in New York. Stubbs worked as a

delivery driver for FedEx in North Carolina from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Stubbs has been

eligible to receive overtime pay under the FLSA because Stubbs has driven a vehicle weighing



                                               2172
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2173 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8116. Plaintiff Monica Sullins is an individual residing in North Carolina. Sullins

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Sullins has been eligible to receive

overtime pay under the FLSA because Sullins has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8117. Plaintiff Richard Summers is an individual residing in North Carolina. Summers

worked as a delivery driver for FedEx in North Carolina from approximately 2008 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Summers has been eligible to receive overtime pay under the FLSA because Summers has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8118. Plaintiff Greg Svedek is an individual residing in North Carolina. Svedek worked

as a delivery driver for FedEx in North Carolina from approximately 2011 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Svedek

has been eligible to receive overtime pay under the FLSA because Svedek has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8119. Plaintiff Perry Tankard is an individual residing in North Carolina. Tankard

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Tankard has been eligible to receive overtime pay under the FLSA because Tankard has driven a



                                               2173
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2174 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8120. Plaintiff Christine Tarlton is an individual residing in North Carolina. Tarlton

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Tarlton has been eligible to receive overtime pay under the FLSA because Tarlton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8121. Plaintiff Michael Taylor is an individual residing in North Carolina. Taylor

worked as a delivery driver for FedEx in North Carolina from approximately 2021 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Taylor has been eligible to receive overtime pay under the FLSA because Taylor has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8122. Plaintiff Jeffrey Taylor is an individual residing in North Carolina. Taylor worked

as a delivery driver for FedEx in North Carolina from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Taylor

has been eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8123. Plaintiff William Taylor is an individual residing in North Carolina. Taylor

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2174
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2175 of 3128




Taylor has been eligible to receive overtime pay under the FLSA because Taylor has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8124. Plaintiff Charles Thomas is an individual residing in North Carolina. Thomas

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Thomas has been eligible to receive

overtime pay under the FLSA because Thomas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8125. Plaintiff Jermaine Thompson is an individual residing in South Carolina.

Thompson worked as a delivery driver for FedEx in North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Thompson has been eligible

to receive overtime pay under the FLSA because Thompson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8126. Plaintiff Benjamin Thompson is an individual residing in North Carolina.

Thompson worked as a delivery driver for FedEx in North Carolina from approximately 2016 to

2021 but was employed through intermediary entities that FedEx calls independent service

providers. Thompson has been eligible to receive overtime pay under the FLSA because

Thompson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        8127. Plaintiff Joseph Thorley is an individual residing in North Carolina. Thorley

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Thorley has been eligible to receive



                                              2175
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2176 of 3128




overtime pay under the FLSA because Thorley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8128. Plaintiff Parker Tighe is an individual residing in North Carolina. Tighe worked

as a delivery driver for FedEx in North Carolina from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Tighe

has been eligible to receive overtime pay under the FLSA because Tighe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8129. Plaintiff Stephen Tillman is an individual residing in North Carolina. Tillman

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Tillman has been eligible to receive

overtime pay under the FLSA because Tillman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8130. Plaintiff Michael Trollinger is an individual residing in North Carolina. Trollinger

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Trollinger has been eligible to receive overtime pay under the FLSA because Trollinger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8131. Plaintiff Tracy Truett is an individual residing in North Carolina. Truett worked

as a delivery driver for FedEx in North Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Truett has been eligible to receive overtime pay




                                              2176
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2177 of 3128




under the FLSA because Truett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8132. Plaintiff Chris Turner is an individual residing in North Carolina. Turner worked

as a delivery driver for FedEx in North Carolina from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Turner

has been eligible to receive overtime pay under the FLSA because Turner has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8133. Plaintiff Chonsetta Tyler is an individual residing in North Carolina. Tyler

worked as a delivery driver for FedEx in North Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Tyler has been eligible to receive overtime pay under the FLSA because Tyler has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8134. Plaintiff Carla Tyner is an individual residing in North Carolina. Tyner worked as

a delivery driver for FedEx in North Carolina from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Tyner

has been eligible to receive overtime pay under the FLSA because Tyner has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8135. Plaintiff Kendrick Tyson is an individual residing in North Carolina. Tyson

worked as a delivery driver for FedEx in North Carolina from approximately 2015 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2177
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2178 of 3128




Tyson has been eligible to receive overtime pay under the FLSA because Tyson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8136. Plaintiff Rudolf Ulrich Iii is an individual residing in North Carolina. Ulrich Iii

worked as a delivery driver for FedEx in North Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Ulrich Iii has been eligible to receive overtime pay under the FLSA because Ulrich Iii has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8137. Plaintiff Steven Vanover is an individual residing in North Carolina. Vanover

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Vanover has been eligible to receive

overtime pay under the FLSA because Vanover has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8138. Plaintiff Edwin Vivas is an individual residing in North Carolina. Vivas worked

as a delivery driver for FedEx in North Carolina from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Vivas

has been eligible to receive overtime pay under the FLSA because Vivas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8139. Plaintiff Ronald Waldroup is an individual residing in North Carolina. Waldroup

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Waldroup has been eligible to receive



                                              2178
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2179 of 3128




overtime pay under the FLSA because Waldroup has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8140. Plaintiff Michael Walker is an individual residing in North Carolina. Walker

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Walker has been eligible to receive overtime pay under the FLSA because Walker has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8141. Plaintiff Sandor Walkup is an individual residing in North Carolina. Walkup

worked as a delivery driver for FedEx in North Carolina from approximately 2010 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Walkup has been eligible to receive overtime pay under the FLSA because Walkup has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8142. Plaintiff Anita Wallace is an individual residing in North Carolina. Wallace

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Wallace has been eligible to receive

overtime pay under the FLSA because Wallace has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8143. Plaintiff Taresa Walton is an individual residing in North Carolina. Walton

worked as a delivery driver for FedEx in North Carolina from approximately 2013 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Walton has been eligible to receive overtime pay under the FLSA because Walton has driven a



                                              2179
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2180 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8144. Plaintiff Daniel Ward is an individual residing in North Carolina. Ward worked as

a delivery driver for FedEx in North Carolina from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Ward

has been eligible to receive overtime pay under the FLSA because Ward has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8145. Plaintiff Michael Weathersbe is an individual residing in North Carolina.

Weathersbe worked as a delivery driver for FedEx in North Carolina from approximately 1990 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Weathersbe has been eligible to receive overtime pay under the FLSA because

Weathersbe has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       8146. Plaintiff Karl Wells is an individual residing in North Carolina. Wells worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Wells has been eligible to receive overtime pay under

the FLSA because Wells has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8147. Plaintiff Sean Wheeler is an individual residing in North Carolina. Wheeler

worked as a delivery driver for FedEx in North Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Wheeler has been eligible to receive




                                              2180
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2181 of 3128




overtime pay under the FLSA because Wheeler has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8148. Plaintiff Antonio Worrells is an individual residing in South Carolina. Worrells

worked as a delivery driver for FedEx in North Carolina from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Worrells has been eligible to receive overtime pay under the FLSA because Worrells has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8149. Plaintiff Chad Wright is an individual residing in Florida. Wright worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Wright has been eligible to receive overtime pay

under the FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8150. Plaintiff Donquel Yancy is an individual residing in Arizona. Yancy worked as a

delivery driver for FedEx in North Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Yancy has been eligible to receive overtime pay

under the FLSA because Yancy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8151. Plaintiff David Baumgart is an individual residing in North Dakota. Baumgart

worked as a delivery driver for FedEx in North Dakota from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Baumgart has been eligible to receive overtime pay under the FLSA because Baumgart has




                                             2181
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2182 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8152. Plaintiff Ronald Bodine is an individual residing in North Dakota. Bodine worked

as a delivery driver for FedEx in North Dakota from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Bodine

has been eligible to receive overtime pay under the FLSA because Bodine has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8153. Plaintiff Peggi Bork is an individual residing in North Dakota. Bork worked as a

delivery driver for FedEx in North Dakota from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bork has been

eligible to receive overtime pay under the FLSA because Bork has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8154. Plaintiff Floyd Cmela is an individual residing in Minnesota. Cmela worked as a

delivery driver for FedEx in North Dakota but was employed through intermediary entities that

FedEx calls independent service providers. Cmela has been eligible to receive overtime pay

under the FLSA because Cmela has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8155. Plaintiff Christian Creech is an individual residing in North Dakota. Creech

worked as a delivery driver for FedEx in North Dakota from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Creech has been eligible to receive overtime pay under the FLSA because Creech has driven a



                                              2182
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2183 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8156. Plaintiff Robert Dickson is an individual residing in Minnesota. Dickson worked

as a delivery driver for FedEx in North Dakota from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Dickson

has been eligible to receive overtime pay under the FLSA because Dickson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8157. Plaintiff Aaron Dye is an individual residing in South Dakota. Dye worked as a

delivery driver for FedEx in North Dakota from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Dye has been

eligible to receive overtime pay under the FLSA because Dye has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8158. Plaintiff Amanda Eberly is an individual residing in South Dakota. Eberly worked

as a delivery driver for FedEx in North Dakota but was employed through intermediary entities

that FedEx calls independent service providers. Eberly has been eligible to receive overtime pay

under the FLSA because Eberly has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8159. Plaintiff Quennon Echols is an individual residing in North Dakota. Echols

worked as a delivery driver for FedEx in North Dakota but was employed through intermediary

entities that FedEx calls independent service providers. Echols has been eligible to receive




                                               2183
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2184 of 3128




overtime pay under the FLSA because Echols has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8160. Plaintiff Mark Enders is an individual residing in North Dakota. Enders worked as

a delivery driver for FedEx in North Dakota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Enders has been

eligible to receive overtime pay under the FLSA because Enders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8161. Plaintiff Tony Erickson is an individual residing in Minnesota. Erickson worked

as a delivery driver for FedEx in North Dakota from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Erickson

has been eligible to receive overtime pay under the FLSA because Erickson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8162. Plaintiff Alexander Fischer is an individual residing in North Dakota. Fischer

worked as a delivery driver for FedEx in North Dakota from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Fischer has been eligible to receive overtime pay under the FLSA because Fischer has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8163. Plaintiff Jessica Gores is an individual residing in North Dakota. Gores worked as

a delivery driver for FedEx in North Dakota from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gores has been



                                              2184
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2185 of 3128




eligible to receive overtime pay under the FLSA because Gores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8164. Plaintiff Roger Gullickson is an individual residing in North Dakota. Gullickson

worked as a delivery driver for FedEx in North Dakota from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Gullickson has been eligible to receive overtime pay under the FLSA because Gullickson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8165. Plaintiff Abdikarim Hassan is an individual residing in Minnesota. Hassan

worked as a delivery driver for FedEx in North Dakota but was employed through intermediary

entities that FedEx calls independent service providers. Hassan has been eligible to receive

overtime pay under the FLSA because Hassan has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8166. Plaintiff Benjamin Hilsen is an individual residing in North Dakota. Hilsen

worked as a delivery driver for FedEx in North Dakota from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Hilsen has been eligible to receive overtime pay under the FLSA because Hilsen has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8167. Plaintiff Alexander Kauffman is an individual residing in North Dakota.

Kauffman worked as a delivery driver for FedEx in North Dakota from approximately 2013 to

2018 but was employed through intermediary entities that FedEx calls independent service



                                              2185
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2186 of 3128




providers. Kauffman has been eligible to receive overtime pay under the FLSA because

Kauffman has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        8168. Plaintiff Steven Knudson is an individual residing in North Dakota. Knudson

worked as a delivery driver for FedEx in North Dakota from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Knudson has been eligible to receive overtime pay under the FLSA because Knudson has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8169. Plaintiff Nick Kraft is an individual residing in North Dakota. Kraft worked as a

delivery driver for FedEx in North Dakota from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Kraft has been

eligible to receive overtime pay under the FLSA because Kraft has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8170. Plaintiff Jerry Lantz is an individual residing in North Dakota. Lantz worked as a

delivery driver for FedEx in North Dakota from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lantz has been

eligible to receive overtime pay under the FLSA because Lantz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8171. Plaintiff Bruce Leiss is an individual residing in North Dakota. Leiss worked as a

delivery driver for FedEx in North Dakota from approximately 2015 to 2018 but was employed



                                              2186
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2187 of 3128




through intermediary entities that FedEx calls independent service providers. Leiss has been

eligible to receive overtime pay under the FLSA because Leiss has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8172. Plaintiff Randell Martin is an individual residing in North Dakota. Martin worked

as a delivery driver for FedEx in North Dakota from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Martin

has been eligible to receive overtime pay under the FLSA because Martin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8173. Plaintiff Jeffrey Mattern is an individual residing in North Dakota. Mattern

worked as a delivery driver for FedEx in North Dakota from approximately 2013 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Mattern has been eligible to receive overtime pay under the FLSA because Mattern has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8174. Plaintiff Aaron Mccann is an individual residing in Pennsylvania. Mccann worked

as a delivery driver for FedEx in North Dakota from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Mccann

has been eligible to receive overtime pay under the FLSA because Mccann has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2187
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2188 of 3128




        8175. Plaintiff Mambu Momo is an individual residing in North Dakota. Momo worked

as a delivery driver for FedEx in North Dakota from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Momo

has been eligible to receive overtime pay under the FLSA because Momo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8176. Plaintiff Justin Mondry is an individual residing in North Dakota. Mondry worked

as a delivery driver for FedEx in North Dakota but was employed through intermediary entities

that FedEx calls independent service providers. Mondry has been eligible to receive overtime

pay under the FLSA because Mondry has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        8177. Plaintiff Greg Moser is an individual residing in North Dakota. Moser worked as

a delivery driver for FedEx in North Dakota from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Moser has been

eligible to receive overtime pay under the FLSA because Moser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8178. Plaintiff Nathaniel Moses is an individual residing in Minnesota. Moses worked

as a delivery driver for FedEx in North Dakota from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Moses

has been eligible to receive overtime pay under the FLSA because Moses has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             2188
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2189 of 3128




        8179. Plaintiff Matthew Quiggle is an individual residing in Minnesota. Quiggle worked

as a delivery driver for FedEx in North Dakota from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Quiggle

has been eligible to receive overtime pay under the FLSA because Quiggle has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8180. Plaintiff Nathanial Seifert is an individual residing in Wisconsin. Seifert worked

as a delivery driver for FedEx in North Dakota from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Seifert

has been eligible to receive overtime pay under the FLSA because Seifert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8181. Plaintiff Kyle Sheldrew is an individual residing in Colorado. Sheldrew worked as

a delivery driver for FedEx in North Dakota from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Sheldrew has been

eligible to receive overtime pay under the FLSA because Sheldrew has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8182. Plaintiff Tanya Silver is an individual residing in North Carolina. Silver worked

as a delivery driver for FedEx in North Dakota from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Silver

has been eligible to receive overtime pay under the FLSA because Silver has driven a vehicle




                                              2189
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2190 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8183. Plaintiff Jamey Summers is an individual residing in North Dakota. Summers

worked as a delivery driver for FedEx in North Dakota from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Summers has been eligible to receive overtime pay under the FLSA because Summers has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8184. Plaintiff Shane Tahran is an individual residing in Minnesota. Tahran worked as a

delivery driver for FedEx in North Dakota from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Tahran has been

eligible to receive overtime pay under the FLSA because Tahran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8185. Plaintiff Jason Thacker is an individual residing in North Carolina. Thacker

worked as a delivery driver for FedEx in North Dakota from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Thacker has been eligible to receive overtime pay under the FLSA because Thacker has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8186. Plaintiff Christopher Thielke is an individual residing in North Dakota. Thielke

worked as a delivery driver for FedEx in North Dakota from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2190
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2191 of 3128




Thielke has been eligible to receive overtime pay under the FLSA because Thielke has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8187. Plaintiff Tom Trehus is an individual residing in North Dakota. Trehus worked as

a delivery driver for FedEx in North Dakota from approximately 2004 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Trehus has been

eligible to receive overtime pay under the FLSA because Trehus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8188. Plaintiff Julie Ulberg is an individual residing in North Dakota. Ulberg worked as

a delivery driver for FedEx in North Dakota from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ulberg has been

eligible to receive overtime pay under the FLSA because Ulberg has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8189. Plaintiff Marlon Walters is an individual residing in North Dakota. Walters

worked as a delivery driver for FedEx in North Dakota from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Walters has been eligible to receive overtime pay under the FLSA because Walters has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8190. Plaintiff Dale Weiler is an individual residing in North Dakota. Weiler worked as

a delivery driver for FedEx in North Dakota from approximately 2019 to 2022 but was employed



                                              2191
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2192 of 3128




through intermediary entities that FedEx calls independent service providers. Weiler has been

eligible to receive overtime pay under the FLSA because Weiler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8191. Plaintiff Darlene Signoracci is an individual residing in Ohio. Signoracci worked

as a delivery driver for FedEx in Northern Mariana Islands from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Signoracci has been eligible to receive overtime pay under the FLSA because Signoracci has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8192. Plaintiff Mahmoud Abueid is an individual residing in Ohio. Abueid worked as a

delivery driver for FedEx in Ohio from approximately 2011 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Abueid has been eligible to

receive overtime pay under the FLSA because Abueid has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8193. Plaintiff John Adams is an individual residing in Ohio. Adams worked as a

delivery driver for FedEx in Ohio from approximately 2001 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Adams has been eligible to

receive overtime pay under the FLSA because Adams has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8194. Plaintiff Shelia Adkins is an individual residing in Ohio. Adkins worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Adkins has been eligible to



                                              2192
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2193 of 3128




receive overtime pay under the FLSA because Adkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8195. Plaintiff Akiley Agambilla is an individual residing in Ohio. Agambilla worked as

a delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Agambilla has been eligible

to receive overtime pay under the FLSA because Agambilla has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8196. Plaintiff Sameh Ahmad is an individual residing in Ohio. Ahmad worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ahmad has been eligible to

receive overtime pay under the FLSA because Ahmad has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8197. Plaintiff Thomas Allen is an individual residing in Kentucky. Allen worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Allen has been eligible to

receive overtime pay under the FLSA because Allen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8198. Plaintiff Wendell Allen Jr. is an individual residing in Ohio. Allen Jr. worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Allen Jr. has been eligible to receive overtime pay under the

FLSA because Allen Jr. has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                               2193
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2194 of 3128




        8199. Plaintiff Meghan Allwine is an individual residing in Ohio. Allwine worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Allwine has been eligible to

receive overtime pay under the FLSA because Allwine has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8200. Plaintiff Jeffrey Ally is an individual residing in Ohio. Ally worked as a delivery

driver for FedEx in Ohio from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ally has been eligible to

receive overtime pay under the FLSA because Ally has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8201. Plaintiff Bill Anderson is an individual residing in Ohio. Anderson worked as a

delivery driver for FedEx in Ohio from approximately 1995 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Anderson has been eligible

to receive overtime pay under the FLSA because Anderson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8202. Plaintiff Sellick Anderson is an individual residing in Ohio. Anderson worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Anderson has been eligible

to receive overtime pay under the FLSA because Anderson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2194
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2195 of 3128




        8203. Plaintiff Bob Anderson is an individual residing in Ohio. Anderson worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Anderson has been eligible

to receive overtime pay under the FLSA because Anderson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8204. Plaintiff Nicolas Appelhans is an individual residing in Ohio. Appelhans worked

as a delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Appelhans has

been eligible to receive overtime pay under the FLSA because Appelhans has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8205. Plaintiff Jimmy Aragon is an individual residing in Ohio. Aragon worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Aragon has been eligible to

receive overtime pay under the FLSA because Aragon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8206. Plaintiff Justin Argo is an individual residing in Ohio. Argo worked as a delivery

driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Argo has been eligible to

receive overtime pay under the FLSA because Argo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2195
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2196 of 3128




       8207. Plaintiff Philip Ayers is an individual residing in Ohio. Ayers worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ayers has been eligible to

receive overtime pay under the FLSA because Ayers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8208. Plaintiff Timothy Baker is an individual residing in Ohio. Baker worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8209. Plaintiff Jason Baker is an individual residing in Ohio. Baker worked as a delivery

driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8210. Plaintiff Ricky Ball is an individual residing in Ohio. Ball worked as a delivery

driver for FedEx in Ohio from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ball has been eligible to

receive overtime pay under the FLSA because Ball has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8211. Plaintiff Christopher Bargainer is an individual residing in Ohio. Bargainer

worked as a delivery driver for FedEx in Ohio from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               2196
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2197 of 3128




Bargainer has been eligible to receive overtime pay under the FLSA because Bargainer has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8212. Plaintiff Talmadge Barker is an individual residing in Ohio. Barker worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Barker has been eligible to

receive overtime pay under the FLSA because Barker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8213. Plaintiff Eric Baumgart is an individual residing in Ohio. Baumgart worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Baumgart has been eligible

to receive overtime pay under the FLSA because Baumgart has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8214. Plaintiff Paul Baumhauer is an individual residing in Ohio. Baumhauer worked as

a delivery driver for FedEx in Ohio from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Baumhauer has been

eligible to receive overtime pay under the FLSA because Baumhauer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8215. Plaintiff Timothy Beam is an individual residing in Kentucky. Beam worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Beam has been eligible to



                                              2197
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2198 of 3128




receive overtime pay under the FLSA because Beam has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8216. Plaintiff Carlos Beasley is an individual residing in Ohio. Beasley worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Beasley has been eligible to

receive overtime pay under the FLSA because Beasley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8217. Plaintiff Marshall Benson is an individual residing in Ohio. Benson worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Benson has been eligible to receive overtime pay under the

FLSA because Benson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8218. Plaintiff Diondre Berry is an individual residing in Ohio. Berry worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Berry has been eligible to

receive overtime pay under the FLSA because Berry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8219. Plaintiff Jeff Bicknell is an individual residing in Ohio. Bicknell worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Bicknell has been eligible

to receive overtime pay under the FLSA because Bicknell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2198
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2199 of 3128




        8220. Plaintiff Anthony Bicknell is an individual residing in Ohio. Bicknell worked as a

delivery driver for FedEx in Ohio from approximately 2005 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bicknell has been eligible

to receive overtime pay under the FLSA because Bicknell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8221. Plaintiff Daniel Bitner is an individual residing in Ohio. Bitner worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bitner has been eligible to

receive overtime pay under the FLSA because Bitner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8222. Plaintiff Tammy Black is an individual residing in Ohio. Black worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Black has been eligible to receive overtime pay under the

FLSA because Black has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8223. Plaintiff Joseph Blaede is an individual residing in Ohio. Blaede worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Blaede has been eligible to

receive overtime pay under the FLSA because Blaede has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8224. Plaintiff Cerano Blasingame is an individual residing in Ohio. Blasingame

worked as a delivery driver for FedEx in Ohio but was employed through intermediary entities



                                               2199
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2200 of 3128




that FedEx calls independent service providers. Blasingame has been eligible to receive overtime

pay under the FLSA because Blasingame has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       8225. Plaintiff Matthew Blaugrund is an individual residing in Ohio. Blaugrund worked

as a delivery driver for FedEx in Ohio from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Blaugrund has been

eligible to receive overtime pay under the FLSA because Blaugrund has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8226. Plaintiff Randin Bolin is an individual residing in Ohio. Bolin worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Bolin has been eligible to receive overtime pay under the

FLSA because Bolin has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8227. Plaintiff Scott Booso is an individual residing in Ohio. Booso worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Booso has been eligible to

receive overtime pay under the FLSA because Booso has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8228. Plaintiff Robert Bourne is an individual residing in Ohio. Bourne worked as a

delivery driver for FedEx in Ohio from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Bourne has been eligible to




                                              2200
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2201 of 3128




receive overtime pay under the FLSA because Bourne has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8229. Plaintiff John Bowman is an individual residing in Ohio. Bowman worked as a

delivery driver for FedEx in Ohio from approximately 1992 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Bowman has been eligible

to receive overtime pay under the FLSA because Bowman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8230. Plaintiff Robert Bowman is an individual residing in Ohio. Bowman worked as a

delivery driver for FedEx in Ohio from approximately 1993 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Bowman has been eligible

to receive overtime pay under the FLSA because Bowman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8231. Plaintiff Angela Bowman is an individual residing in Ohio. Bowman worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Bowman has been eligible

to receive overtime pay under the FLSA because Bowman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8232. Plaintiff Shawn Boyd is an individual residing in Ohio. Boyd worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Boyd has been eligible to



                                              2201
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2202 of 3128




receive overtime pay under the FLSA because Boyd has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8233. Plaintiff Brett Braden is an individual residing in Ohio. Braden worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Braden has been eligible to

receive overtime pay under the FLSA because Braden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8234. Plaintiff Bruce Brent is an individual residing in Ohio. Brent worked as a delivery

driver for FedEx in Ohio but was employed through intermediary entities that FedEx calls

independent service providers. Brent has been eligible to receive overtime pay under the FLSA

because Brent has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8235. Plaintiff Justin Brown is an individual residing in Ohio. Brown worked as a

delivery driver for FedEx in Ohio from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8236. Plaintiff Frederick Brown is an individual residing in Pennsylvania. Brown

worked as a delivery driver for FedEx in Ohio from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2202
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2203 of 3128




       8237. Plaintiff Amyere Brown is an individual residing in Ohio. Brown worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8238. Plaintiff John Brunner is an individual residing in Ohio. Brunner worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Brunner has been eligible to

receive overtime pay under the FLSA because Brunner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8239. Plaintiff Jordan Burnett is an individual residing in Ohio. Burnett worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Burnett has been eligible to

receive overtime pay under the FLSA because Burnett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8240. Plaintiff Robert Cairo is an individual residing in Ohio. Cairo worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Cairo has been eligible to

receive overtime pay under the FLSA because Cairo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8241. Plaintiff Brenda Canady is an individual residing in Ohio. Canady worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Canady has been eligible to



                                              2203
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2204 of 3128




receive overtime pay under the FLSA because Canady has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8242. Plaintiff Jacob Carey is an individual residing in Kentucky. Carey worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Carey has been eligible to receive overtime pay under the

FLSA because Carey has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8243. Plaintiff Matthew Chambers is an individual residing in Ohio. Chambers worked

as a delivery driver for FedEx in Ohio from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Chambers has been

eligible to receive overtime pay under the FLSA because Chambers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8244. Plaintiff Robert Chapline is an individual residing in Ohio. Chapline worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Chapline has been eligible

to receive overtime pay under the FLSA because Chapline has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8245. Plaintiff Anthony Chinn is an individual residing in Ohio. Chinn worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Chinn has been eligible to receive overtime pay under the




                                              2204
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2205 of 3128




FLSA because Chinn has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8246. Plaintiff Andrew Chrisman is an individual residing in Ohio. Chrisman worked as

a delivery driver for FedEx in Ohio from approximately 2003 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Chrisman has been eligible

to receive overtime pay under the FLSA because Chrisman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8247. Plaintiff Jarvis Christian is an individual residing in South Carolina. Christian

worked as a delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Christian

has been eligible to receive overtime pay under the FLSA because Christian has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8248. Plaintiff Kai Clark is an individual residing in Ohio. Clark worked as a delivery

driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8249. Plaintiff Kim Clarke is an individual residing in Pennsylvania. Clarke worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Clarke has been eligible to receive overtime pay under the




                                               2205
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2206 of 3128




FLSA because Clarke has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8250. Plaintiff Dustin Claypool is an individual residing in Florida. Claypool worked as

a delivery driver for FedEx in Ohio from approximately 2006 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Claypool has been eligible

to receive overtime pay under the FLSA because Claypool has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8251. Plaintiff David Clemons is an individual residing in Ohio. Clemons worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Clemons has been eligible

to receive overtime pay under the FLSA because Clemons has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8252. Plaintiff Robin Cline is an individual residing in Ohio. Cline worked as a delivery

driver for FedEx in Ohio from approximately 1900 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Cline has been eligible to

receive overtime pay under the FLSA because Cline has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8253. Plaintiff Christopher Cloud is an individual residing in Ohio. Cloud worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Cloud has been eligible to




                                              2206
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2207 of 3128




receive overtime pay under the FLSA because Cloud has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8254. Plaintiff Jeffery Cobb is an individual residing in Ohio. Cobb worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Cobb has been eligible to

receive overtime pay under the FLSA because Cobb has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8255. Plaintiff Antoine Collins, Sr. is an individual residing in Ohio. Collins worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Collins has been eligible to receive overtime pay under the

FLSA because Collins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8256. Plaintiff Pierre Conley is an individual residing in Ohio. Conley worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Conley has been eligible to

receive overtime pay under the FLSA because Conley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8257. Plaintiff Megan Conley is an individual residing in Ohio. Conley worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Conley has been eligible to receive overtime pay under the

FLSA because Conley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              2207
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2208 of 3128




       8258. Plaintiff Kevin Conti is an individual residing in Ohio. Conti worked as a delivery

driver for FedEx in Ohio from approximately 2008 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Conti has been eligible to

receive overtime pay under the FLSA because Conti has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8259. Plaintiff Beverly Cook is an individual residing in Ohio. Cook worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Cook has been eligible to

receive overtime pay under the FLSA because Cook has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8260. Plaintiff Daniel Cooper is an individual residing in Ohio. Cooper worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Cooper has been eligible to

receive overtime pay under the FLSA because Cooper has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8261. Plaintiff Bruce Cordy is an individual residing in Ohio. Cordy worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Cordy has been eligible to

receive overtime pay under the FLSA because Cordy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8262. Plaintiff Jared Cox is an individual residing in Ohio. Cox worked as a delivery

driver for FedEx in Ohio from approximately 2012 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Cox has been eligible to



                                              2208
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2209 of 3128




receive overtime pay under the FLSA because Cox has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8263. Plaintiff Robert Criswell is an individual residing in Ohio. Criswell worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Criswell has been eligible

to receive overtime pay under the FLSA because Criswell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8264. Plaintiff Michael Crockett is an individual residing in Ohio. Crockett worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Crockett has been eligible to receive overtime pay under the

FLSA because Crockett has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8265. Plaintiff Steven Cross is an individual residing in Ohio. Cross worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cross has been eligible to

receive overtime pay under the FLSA because Cross has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8266. Plaintiff Joshua Culbertson is an individual residing in Ohio. Culbertson worked

as a delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Culbertson has

been eligible to receive overtime pay under the FLSA because Culbertson has driven a vehicle




                                              2209
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2210 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8267. Plaintiff Daniel Cunningham is an individual residing in Ohio. Cunningham

worked as a delivery driver for FedEx in Ohio from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Cunningham has been eligible to receive overtime pay under the FLSA because Cunningham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8268. Plaintiff Michael Cunningham is an individual residing in Ohio. Cunningham

worked as a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Cunningham has been eligible to receive overtime pay under the FLSA because Cunningham has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8269. Plaintiff Joshua Cusick is an individual residing in Ohio. Cusick worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Cusick has been eligible to receive overtime pay under the

FLSA because Cusick has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8270. Plaintiff Walter Czarnecki is an individual residing in Ohio. Czarnecki worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Czarnecki has been eligible to receive overtime pay under




                                              2210
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2211 of 3128




the FLSA because Czarnecki has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8271. Plaintiff Craig Daniels is an individual residing in Florida. Daniels worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Daniels has been eligible to

receive overtime pay under the FLSA because Daniels has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8272. Plaintiff Deandre Daniels is an individual residing in Michigan. Daniels worked

as a delivery driver for FedEx in Ohio from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Daniels has been

eligible to receive overtime pay under the FLSA because Daniels has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8273. Plaintiff Sayvon Daniels is an individual residing in Ohio. Daniels worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Daniels has been eligible to receive overtime pay under the

FLSA because Daniels has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8274. Plaintiff David Dario is an individual residing in Ohio. Dario worked as a delivery

driver for FedEx in Ohio from approximately 2003 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dario has been eligible to

receive overtime pay under the FLSA because Dario has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2211
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2212 of 3128




        8275. Plaintiff Adam Davis is an individual residing in Ohio. Davis worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8276. Plaintiff Katrina Davis is an individual residing in Ohio. Davis worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8277. Plaintiff Mitchell Deaton is an individual residing in Ohio. Deaton worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Deaton has been eligible to receive overtime pay under the

FLSA because Deaton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8278. Plaintiff Kevin Demarco is an individual residing in Ohio. Demarco worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Demarco has been eligible

to receive overtime pay under the FLSA because Demarco has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8279. Plaintiff Cy Jeter is an individual residing in Ohio. Desrosier worked as a delivery

driver for FedEx in Ohio but was employed through intermediary entities that FedEx calls



                                              2212
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2213 of 3128




independent service providers. Desrosier has been eligible to receive overtime pay under the

FLSA because Desrosier has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8280. Plaintiff Victoria Dews is an individual residing in Ohio. Dews worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Dews has been eligible to

receive overtime pay under the FLSA because Dews has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8281. Plaintiff Brandon Lewis is an individual residing in Ohio. Diehl worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Diehl has been eligible to

receive overtime pay under the FLSA because Diehl has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8282. Plaintiff Joshua Dobbins is an individual residing in Pennsylvania. Dobbins

worked as a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Dobbins

has been eligible to receive overtime pay under the FLSA because Dobbins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8283. Plaintiff Timberly Dolan is an individual residing in Ohio. Dolan worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Dolan has been eligible to




                                              2213
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2214 of 3128




receive overtime pay under the FLSA because Dolan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8284. Plaintiff Paul Dotson is an individual residing in Ohio. Dotson worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Dotson has been eligible to receive overtime pay under the

FLSA because Dotson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8285. Plaintiff Dion Drakeford is an individual residing in Ohio. Drakeford worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Drakeford has been eligible

to receive overtime pay under the FLSA because Drakeford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8286. Plaintiff Chana Drayton is an individual residing in Ohio. Drayton worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Drayton has been eligible to receive overtime pay under the

FLSA because Drayton has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8287. Plaintiff John Dunning is an individual residing in Ohio. Dunning worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dunning has been eligible

to receive overtime pay under the FLSA because Dunning has driven a vehicle weighing less




                                              2214
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2215 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8288. Plaintiff Brandon Durio is an individual residing in Ohio. Durio worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Durio has been eligible to

receive overtime pay under the FLSA because Durio has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8289. Plaintiff Taurean Earle is an individual residing in Ohio. Earle worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Earle has been eligible to

receive overtime pay under the FLSA because Earle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8290. Plaintiff Judy Eiland-Stapleton is an individual residing in Ohio. Eiland-Stapleton

worked as a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Eiland-

Stapleton has been eligible to receive overtime pay under the FLSA because Eiland-Stapleton

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        8291. Plaintiff Bethrand Ekeanyanwu is an individual residing in Ohio. Ekeanyanwu

worked as a delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Ekeanyanwu has been eligible to receive overtime pay under the FLSA because Ekeanyanwu has




                                              2215
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2216 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8292. Plaintiff Ahmed El Hamss is an individual residing in Ohio. El Hamss worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. El Hamss has been eligible

to receive overtime pay under the FLSA because El Hamss has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8293. Plaintiff Rachel Ellison is an individual residing in Ohio. Ellison worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ellison has been eligible to

receive overtime pay under the FLSA because Ellison has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8294. Plaintiff Leslie Elston is an individual residing in Ohio. Elston worked as a

delivery driver for FedEx in Ohio from approximately 2007 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Elston has been eligible to

receive overtime pay under the FLSA because Elston has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8295. Plaintiff David Emerson is an individual residing in Ohio. Emerson worked as a

delivery driver for FedEx in Ohio from approximately 2002 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Emerson has been eligible

to receive overtime pay under the FLSA because Emerson has driven a vehicle weighing less




                                               2216
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2217 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8296. Plaintiff Raymond Engram is an individual residing in Ohio. Engram worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Engram has been eligible to

receive overtime pay under the FLSA because Engram has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8297. Plaintiff Peter Fancher is an individual residing in Ohio. Fancher worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Fancher has been eligible to

receive overtime pay under the FLSA because Fancher has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8298. Plaintiff Dakota Fannin is an individual residing in Ohio. Fannin worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Fannin has been eligible to

receive overtime pay under the FLSA because Fannin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8299. Plaintiff Tariq Fares is an individual residing in Illinois. Fares worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Fares has been eligible to

receive overtime pay under the FLSA because Fares has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2217
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2218 of 3128




        8300. Plaintiff Eric Farmer is an individual residing in New York. Farmer worked as a

delivery driver for FedEx in Ohio from approximately 2011 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Farmer has been eligible to

receive overtime pay under the FLSA because Farmer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8301. Plaintiff Fayyad Faroonea is an individual residing in Ohio. Faroonea worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Faroonea has been eligible

to receive overtime pay under the FLSA because Faroonea has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8302. Plaintiff Andre Favors is an individual residing in Ohio. Favors worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Favors has been eligible to receive overtime pay under the

FLSA because Favors has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8303. Plaintiff Chris Fay is an individual residing in Ohio. Fay worked as a delivery

driver for FedEx in Ohio from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Fay has been eligible to

receive overtime pay under the FLSA because Fay has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8304. Plaintiff Chad Ferguson is an individual residing in Ohio. Ferguson worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2017 but was employed through



                                              2218
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2219 of 3128




intermediary entities that FedEx calls independent service providers. Ferguson has been eligible

to receive overtime pay under the FLSA because Ferguson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8305. Plaintiff Matthew Fielding is an individual residing in Ohio. Fielding worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Fielding has been eligible to receive overtime pay under the

FLSA because Fielding has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8306. Plaintiff Kevin Finfrock is an individual residing in Ohio. Finfrock worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Finfrock has been eligible

to receive overtime pay under the FLSA because Finfrock has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8307. Plaintiff Michael Fletcher is an individual residing in Ohio. Fletcher worked as a

delivery driver for FedEx in Ohio from approximately 2003 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Fletcher has been eligible to

receive overtime pay under the FLSA because Fletcher has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8308. Plaintiff Xavier Ford is an individual residing in North Carolina. Ford worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ford has been eligible to



                                               2219
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2220 of 3128




receive overtime pay under the FLSA because Ford has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8309. Plaintiff Kenneth Fortunato is an individual residing in Ohio. Fortunato worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Fortunato has been eligible to receive overtime pay under

the FLSA because Fortunato has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8310. Plaintiff Rickie Foster is an individual residing in Ohio. Foster worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Foster has been eligible to

receive overtime pay under the FLSA because Foster has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8311. Plaintiff Thomas Freppon is an individual residing in Ohio. Freppon worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Freppon has been eligible

to receive overtime pay under the FLSA because Freppon has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8312. Plaintiff Justin Fryer is an individual residing in Ohio. Fryer worked as a delivery

driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Fryer has been eligible to

receive overtime pay under the FLSA because Fryer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2220
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2221 of 3128




       8313. Plaintiff Dustin Fultz is an individual residing in Ohio. Fultz worked as a delivery

driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fultz has been eligible to

receive overtime pay under the FLSA because Fultz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8314. Plaintiff Pietro Gandra is an individual residing in Ohio. Gandra worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gandra has been eligible to

receive overtime pay under the FLSA because Gandra has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8315. Plaintiff Gregory Garland is an individual residing in Ohio. Garland worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Garland has been eligible to

receive overtime pay under the FLSA because Garland has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8316. Plaintiff Mary Garlick is an individual residing in Ohio. Garlick worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Garlick has been eligible to

receive overtime pay under the FLSA because Garlick has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8317. Plaintiff Nataiya Garner is an individual residing in Ohio. Garner worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Garner has been eligible to



                                               2221
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2222 of 3128




receive overtime pay under the FLSA because Garner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8318. Plaintiff Tim Gaston is an individual residing in Ohio. Gaston worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Gaston has been eligible to receive overtime pay under the

FLSA because Gaston has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8319. Plaintiff Kyle Gibbs is an individual residing in Ohio. Gibbs worked as a delivery

driver for FedEx in Ohio from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gibbs has been eligible to

receive overtime pay under the FLSA because Gibbs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8320. Plaintiff Baretta Gilliam is an individual residing in Ohio. Gilliam worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gilliam has been eligible to

receive overtime pay under the FLSA because Gilliam has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8321. Plaintiff Samantha Gillison is an individual residing in Ohio. Gillison worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gillison has been eligible to

receive overtime pay under the FLSA because Gillison has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2222
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2223 of 3128




        8322. Plaintiff Jennifer Glaub is an individual residing in West Virginia. Glaub worked

as a delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Glaub has been

eligible to receive overtime pay under the FLSA because Glaub has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8323. Plaintiff Kyle Glomb is an individual residing in Ohio. Glomb worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Glomb has been eligible to

receive overtime pay under the FLSA because Glomb has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8324. Plaintiff Darnell Glover is an individual residing in Ohio. Glover worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Glover has been eligible to

receive overtime pay under the FLSA because Glover has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8325. Plaintiff Cedric Goode is an individual residing in Ohio. Goode worked as a

delivery driver for FedEx in Ohio from approximately 2004 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Goode has been eligible to

receive overtime pay under the FLSA because Goode has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8326. Plaintiff Tyler Gordon is an individual residing in Ohio. Gordon worked as a

delivery driver for FedEx in Ohio from approximately 2021 to 2022 but was employed through



                                              2223
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2224 of 3128




intermediary entities that FedEx calls independent service providers. Gordon has been eligible to

receive overtime pay under the FLSA because Gordon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8327. Plaintiff Michael Green Jr. is an individual residing in Ohio. Green Jr. worked as

a delivery driver for FedEx in Ohio from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Green Jr. has been eligible

to receive overtime pay under the FLSA because Green Jr. has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8328. Plaintiff Paul Greene is an individual residing in Ohio. Greene worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Greene has been eligible to

receive overtime pay under the FLSA because Greene has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8329. Plaintiff Jason Griffin is an individual residing in Ohio. Griffin worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Griffin has been eligible to

receive overtime pay under the FLSA because Griffin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8330. Plaintiff Raymond Griffin is an individual residing in Ohio. Griffin worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Griffin has been eligible to




                                               2224
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2225 of 3128




receive overtime pay under the FLSA because Griffin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8331. Plaintiff Uless Grimes is an individual residing in Ohio. Grimes worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Grimes has been eligible to

receive overtime pay under the FLSA because Grimes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8332. Plaintiff Jordon Hafner is an individual residing in Ohio. Hafner worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hafner has been eligible to

receive overtime pay under the FLSA because Hafner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8333. Plaintiff Seth Hahlen is an individual residing in Arizona. Hahlen worked as a

delivery driver for FedEx in Ohio from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hahlen has been eligible to

receive overtime pay under the FLSA because Hahlen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8334. Plaintiff Alonzo Hairston is an individual residing in Ohio. Hairston worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Hairston has been eligible

to receive overtime pay under the FLSA because Hairston has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2225
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2226 of 3128




        8335. Plaintiff Anthony Hall-Jones is an individual residing in Ohio. Hall-Jones worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Hall-Jones has been eligible to receive overtime pay

under the FLSA because Hall-Jones has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        8336. Plaintiff Zackery Hamerick is an individual residing in Ohio. Hamerick worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Hamerick has been eligible to receive overtime pay under

the FLSA because Hamerick has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8337. Plaintiff Michael Hamons is an individual residing in Ohio. Hamons worked as a

delivery driver for FedEx in Ohio from approximately 2004 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hamons has been eligible

to receive overtime pay under the FLSA because Hamons has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8338. Plaintiff Aaron Hanes is an individual residing in Ohio. Hanes worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Hanes has been eligible to receive overtime pay under the

FLSA because Hanes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8339. Plaintiff Michael Harper is an individual residing in Ohio. Harper worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2017 but was employed through



                                              2226
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2227 of 3128




intermediary entities that FedEx calls independent service providers. Harper has been eligible to

receive overtime pay under the FLSA because Harper has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8340. Plaintiff Brittney Harrison is an individual residing in Missouri. Harrison worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Harrison has been eligible to receive overtime pay

under the FLSA because Harrison has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8341. Plaintiff Nathan Hartley is an individual residing in Ohio. Hartley worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hartley has been eligible to

receive overtime pay under the FLSA because Hartley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8342. Plaintiff Batrudin Hassan is an individual residing in Ohio. Hassan worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hassan has been eligible to

receive overtime pay under the FLSA because Hassan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8343. Plaintiff Thomas Hasty is an individual residing in Ohio. Hasty worked as a

delivery driver for FedEx in Ohio from approximately 1999 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hasty has been eligible to

receive overtime pay under the FLSA because Hasty has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2227
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2228 of 3128




        8344. Plaintiff Shahidah Hawkins is an individual residing in Ohio. Hawkins worked as

a delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hawkins has been eligible

to receive overtime pay under the FLSA because Hawkins has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8345. Plaintiff Steven Hayden Jr. is an individual residing in Ohio. Hayden Jr. worked

as a delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hayden Jr. has

been eligible to receive overtime pay under the FLSA because Hayden Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8346. Plaintiff Andre Haygood is an individual residing in Ohio. Haygood worked as a

delivery driver for FedEx in Ohio from approximately 2008 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Haygood has been eligible

to receive overtime pay under the FLSA because Haygood has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8347. Plaintiff Lisa Hazelwood is an individual residing in Ohio. Hazelwood worked as

a delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hazelwood has been

eligible to receive overtime pay under the FLSA because Hazelwood has driven a vehicle




                                              2228
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2229 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8348. Plaintiff Matthew Hedges is an individual residing in Florida. Hedges worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hedges has been eligible to

receive overtime pay under the FLSA because Hedges has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8349. Plaintiff Rick Hendricks is an individual residing in Ohio. Hendricks worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Hendricks has been eligible to receive overtime pay under

the FLSA because Hendricks has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8350. Plaintiff Frank Henry is an individual residing in Ohio. Henry worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Henry has been eligible to

receive overtime pay under the FLSA because Henry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8351. Plaintiff Leroy Hicks is an individual residing in Ohio. Hicks worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Hicks has been eligible to receive overtime pay under the

FLSA because Hicks has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                              2229
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2230 of 3128




        8352. Plaintiff Chris Hill is an individual residing in Ohio. Hill worked as a delivery

driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8353. Plaintiff Richard Hinerman is an individual residing in Ohio. Hinerman worked as

a delivery driver for FedEx in Ohio from approximately 2008 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Hinerman has been eligible

to receive overtime pay under the FLSA because Hinerman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8354. Plaintiff Ayramis Hobbs is an individual residing in Ohio. Hobbs worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hobbs has been eligible to

receive overtime pay under the FLSA because Hobbs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8355. Plaintiff Andrew Hoffman is an individual residing in Ohio. Hoffman worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hoffman has been eligible

to receive overtime pay under the FLSA because Hoffman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2230
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2231 of 3128




        8356. Plaintiff Cedric Holloway is an individual residing in Ohio. Holloway worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Holloway has been eligible

to receive overtime pay under the FLSA because Holloway has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8357. Plaintiff Michael Hollowniczky is an individual residing in Ohio. Hollowniczky

worked as a delivery driver for FedEx in Ohio from approximately 1991 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Hollowniczky has been eligible to receive overtime pay under the FLSA because Hollowniczky

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        8358. Plaintiff Malissa Hopkins is an individual residing in Ohio. Hopkins worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Hopkins has been eligible

to receive overtime pay under the FLSA because Hopkins has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8359. Plaintiff Jarrod Horton is an individual residing in Ohio. Horton worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Horton has been eligible to

receive overtime pay under the FLSA because Horton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2231
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2232 of 3128




        8360. Plaintiff Chad Hougland is an individual residing in Ohio. Hougland worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hougland has been eligible

to receive overtime pay under the FLSA because Hougland has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8361. Plaintiff Shawn Houpt is an individual residing in Ohio. Houpt worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Houpt has been eligible to

receive overtime pay under the FLSA because Houpt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8362. Plaintiff Cornell Howard is an individual residing in Ohio. Howard worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Howard has been eligible to

receive overtime pay under the FLSA because Howard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8363. Plaintiff Nathan Howard is an individual residing in Ohio. Howard worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Howard has been eligible to

receive overtime pay under the FLSA because Howard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8364. Plaintiff Matthew Howes is an individual residing in Ohio. Howes worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through



                                              2232
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2233 of 3128




intermediary entities that FedEx calls independent service providers. Howes has been eligible to

receive overtime pay under the FLSA because Howes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8365. Plaintiff Deanna Howes is an individual residing in Ohio. Howes worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Howes has been eligible to receive overtime pay under the

FLSA because Howes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8366. Plaintiff Thomas Hughes is an individual residing in Ohio. Hughes worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hughes has been eligible to

receive overtime pay under the FLSA because Hughes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8367. Plaintiff Brandon Hutchinson is an individual residing in Ohio. Hutchinson

worked as a delivery driver for FedEx in Ohio but was employed through intermediary entities

that FedEx calls independent service providers. Hutchinson has been eligible to receive overtime

pay under the FLSA because Hutchinson has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       8368. Plaintiff Gregory Huth is an individual residing in Ohio. Huth worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Huth has been eligible to

receive overtime pay under the FLSA because Huth has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2233
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2234 of 3128




       8369. Plaintiff Louise Ingram is an individual residing in Ohio. Ingram worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ingram has been eligible to

receive overtime pay under the FLSA because Ingram has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8370. Plaintiff Tyler Ish is an individual residing in Ohio. Ish worked as a delivery

driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ish has been eligible to

receive overtime pay under the FLSA because Ish has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8371. Plaintiff Troy Janashak is an individual residing in North Carolina. Janashak

worked as a delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Janashak

has been eligible to receive overtime pay under the FLSA because Janashak has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8372. Plaintiff Jeffery Jarvis is an individual residing in Ohio. Jarvis worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Jarvis has been eligible to

receive overtime pay under the FLSA because Jarvis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8373. Plaintiff Brendan Jefferson is an individual residing in Ohio. Jefferson worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2023 but was employed through



                                               2234
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2235 of 3128




intermediary entities that FedEx calls independent service providers. Jefferson has been eligible

to receive overtime pay under the FLSA because Jefferson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8374. Plaintiff Joshua Jenkins is an individual residing in Ohio. Jenkins worked as a

delivery driver for FedEx in Ohio from approximately 2008 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Jenkins has been eligible to

receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8375. Plaintiff Scott Jennings is an individual residing in Ohio. Jennings worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Jennings has been eligible

to receive overtime pay under the FLSA because Jennings has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8376. Plaintiff Jeremiah Johnson is an individual residing in Indiana. Johnson worked as

a delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8377. Plaintiff Lee Johnson is an individual residing in Ohio. Johnson worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to



                                              2235
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2236 of 3128




receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8378. Plaintiff Daryl Johnson is an individual residing in Ohio. Johnson worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8379. Plaintiff Christopher Johnson is an individual residing in Ohio. Johnson worked

as a delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8380. Plaintiff Adrian Johnson is an individual residing in Georgia. Johnson worked as

a delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8381. Plaintiff Kyle Johnson is an individual residing in Ohio. Johnson worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2236
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2237 of 3128




       8382. Plaintiff Terrence Johnson is an individual residing in Ohio. Johnson worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8383. Plaintiff Shawn Johnson is an individual residing in Ohio. Johnson worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8384. Plaintiff Brandon Jones is an individual residing in Ohio. Jones worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8385. Plaintiff Deonandre Jones is an individual residing in Ohio. Jones worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8386. Plaintiff Travonte Junius is an individual residing in Ohio. Junius worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Junius has been eligible to



                                              2237
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2238 of 3128




receive overtime pay under the FLSA because Junius has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8387. Plaintiff Patrick Jurasin is an individual residing in Ohio. Jurasin worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Jurasin has been eligible to receive overtime pay under the

FLSA because Jurasin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8388. Plaintiff Keith Kage is an individual residing in Ohio. Kage worked as a delivery

driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kage has been eligible to

receive overtime pay under the FLSA because Kage has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8389. Plaintiff Michael Keating is an individual residing in Ohio. Keating worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Keating has been eligible to

receive overtime pay under the FLSA because Keating has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8390. Plaintiff Chaz Keeling is an individual residing in Ohio. Keeling worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Keeling has been eligible to

receive overtime pay under the FLSA because Keeling has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2238
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2239 of 3128




       8391. Plaintiff Jamal Keller is an individual residing in Ohio. Keller worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Keller has been eligible to

receive overtime pay under the FLSA because Keller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8392. Plaintiff Everett Kerns is an individual residing in Ohio. Kerns worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Kerns has been eligible to receive overtime pay under the

FLSA because Kerns has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8393. Plaintiff Joe Kersey is an individual residing in Ohio. Kersey worked as a delivery

driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Kersey has been eligible to

receive overtime pay under the FLSA because Kersey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8394. Plaintiff Jovon Kimbrough is an individual residing in Ohio. Kimbrough worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Kimbrough has been eligible to receive overtime pay

under the FLSA because Kimbrough has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       8395. Plaintiff Kennic Kirk is an individual residing in Ohio. Kirk worked as a delivery

driver for FedEx in Ohio from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Kirk has been eligible to



                                              2239
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2240 of 3128




receive overtime pay under the FLSA because Kirk has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8396. Plaintiff Jason Kistler is an individual residing in Ohio. Kistler worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Kistler has been eligible to receive overtime pay under the

FLSA because Kistler has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8397. Plaintiff Anarose Knight is an individual residing in California. Knight worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Knight has been eligible to receive overtime pay under the

FLSA because Knight has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8398. Plaintiff Steven Knight is an individual residing in Ohio. Knight worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Knight has been eligible to

receive overtime pay under the FLSA because Knight has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8399. Plaintiff Joseph Knipp is an individual residing in Ohio. Knipp worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Knipp has been eligible to receive overtime pay under the

FLSA because Knipp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                              2240
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2241 of 3128




       8400. Plaintiff Carl Koger is an individual residing in Ohio. Koger worked as a delivery

driver for FedEx in Ohio from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Koger has been eligible to

receive overtime pay under the FLSA because Koger has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8401. Plaintiff Roberta Krise is an individual residing in Ohio. Krise worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Krise has been eligible to

receive overtime pay under the FLSA because Krise has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8402. Plaintiff Michael Kronick is an individual residing in Ohio. Kronick worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kronick has been eligible to

receive overtime pay under the FLSA because Kronick has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8403. Plaintiff Kurtis Krueger is an individual residing in Ohio. Krueger worked as a

delivery driver for FedEx in Ohio from approximately 2007 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Krueger has been eligible to

receive overtime pay under the FLSA because Krueger has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8404. Plaintiff Matson Lance is an individual residing in Ohio. Lance worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Lance has been eligible to receive overtime pay under the



                                              2241
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2242 of 3128




FLSA because Lance has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8405. Plaintiff James Lane is an individual residing in Ohio. Lane worked as a delivery

driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Lane has been eligible to

receive overtime pay under the FLSA because Lane has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8406. Plaintiff Jonathan Law is an individual residing in Ohio. Law worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Law has been eligible to

receive overtime pay under the FLSA because Law has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8407. Plaintiff Timothy Lawson is an individual residing in Florida. Lawson worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Lawson has been eligible to

receive overtime pay under the FLSA because Lawson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8408. Plaintiff Justin Lay is an individual residing in Ohio. Lay worked as a delivery

driver for FedEx in Ohio from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Lay has been eligible to

receive overtime pay under the FLSA because Lay has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2242
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2243 of 3128




       8409. Plaintiff Teresa Layne is an individual residing in Ohio. Layne worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Layne has been eligible to

receive overtime pay under the FLSA because Layne has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8410. Plaintiff Eric Lee is an individual residing in Ohio. Lee worked as a delivery

driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lee has been eligible to

receive overtime pay under the FLSA because Lee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8411. Plaintiff Mizell Lee is an individual residing in Ohio. Lee worked as a delivery

driver for FedEx in Ohio but was employed through intermediary entities that FedEx calls

independent service providers. Lee has been eligible to receive overtime pay under the FLSA

because Lee has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8412. Plaintiff Shallah Lentz is an individual residing in Ohio. Lentz worked as a

delivery driver for FedEx in Ohio from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lentz has been eligible to

receive overtime pay under the FLSA because Lentz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8413. Plaintiff Richard Leonti is an individual residing in Ohio. Leonti worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Leonti has been eligible to



                                              2243
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2244 of 3128




receive overtime pay under the FLSA because Leonti has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8414. Plaintiff Richard Lepore is an individual residing in Ohio. Lepore worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Lepore has been eligible to receive overtime pay under the

FLSA because Lepore has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8415. Plaintiff Kaleb Lewis is an individual residing in Indiana. Lewis worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8416. Plaintiff Barry Lieghley is an individual residing in Ohio. Lieghley worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lieghley has been eligible

to receive overtime pay under the FLSA because Lieghley has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8417. Plaintiff Steven Linton is an individual residing in Ohio. Linton worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Linton has been eligible to

receive overtime pay under the FLSA because Linton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2244
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2245 of 3128




       8418. Plaintiff Brian Long is an individual residing in West Virginia. Long worked as a

delivery driver for FedEx in Ohio from approximately 2011 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Long has been eligible to

receive overtime pay under the FLSA because Long has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8419. Plaintiff Denis Lopez is an individual residing in Ohio. Lopez worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lopez has been eligible to

receive overtime pay under the FLSA because Lopez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8420. Plaintiff Darrell Lore is an individual residing in Ohio. Lore worked as a delivery

driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lore has been eligible to

receive overtime pay under the FLSA because Lore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8421. Plaintiff Jason Luff is an individual residing in Ohio. Luff worked as a delivery

driver for FedEx in Ohio from approximately 2004 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Luff has been eligible to

receive overtime pay under the FLSA because Luff has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8422. Plaintiff Timothy Luginbuhl is an individual residing in Ohio. Luginbuhl worked

as a delivery driver for FedEx in Ohio from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Luginbuhl has been



                                              2245
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2246 of 3128




eligible to receive overtime pay under the FLSA because Luginbuhl has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8423. Plaintiff Vincent George is an individual residing in Ohio. Lyons worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lyons has been eligible to

receive overtime pay under the FLSA because Lyons has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8424. Plaintiff Kennedy Madison is an individual residing in Ohio. Madison worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Madison has been eligible

to receive overtime pay under the FLSA because Madison has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8425. Plaintiff Matt Madunicky is an individual residing in Ohio. Madunicky worked as

a delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Madunicky has been

eligible to receive overtime pay under the FLSA because Madunicky has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8426. Plaintiff Daniel Mahoney is an individual residing in Kentucky. Mahoney worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Mahoney has been eligible to receive overtime pay



                                              2246
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2247 of 3128




under the FLSA because Mahoney has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        8427. Plaintiff Jeremy Malaney is an individual residing in Ohio. Malaney worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Malaney has been eligible

to receive overtime pay under the FLSA because Malaney has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8428. Plaintiff Christopher Martin is an individual residing in Ohio. Martin worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8429. Plaintiff Nicholas Martini is an individual residing in Ohio. Martini worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Martini has been eligible to

receive overtime pay under the FLSA because Martini has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8430. Plaintiff Karen Masluk is an individual residing in Ohio. Masluk worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Masluk has been eligible to

receive overtime pay under the FLSA because Masluk has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2247
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2248 of 3128




        8431. Plaintiff Thomas Massari is an individual residing in Ohio. Massari worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Massari has been eligible to receive overtime pay under the

FLSA because Massari has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8432. Plaintiff Clinton Masters is an individual residing in Ohio. Masters worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Masters has been eligible to

receive overtime pay under the FLSA because Masters has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8433. Plaintiff Davin Mcalpine is an individual residing in Ohio. Mcalpine worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Mcalpine has been eligible

to receive overtime pay under the FLSA because Mcalpine has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8434. Plaintiff Nathaniel Mccalley is an individual residing in Ohio. Mccalley worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Mccalley has been eligible to receive overtime pay

under the FLSA because Mccalley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8435. Plaintiff Phil Mccarty is an individual residing in Ohio. Mccarty worked as a

delivery driver for FedEx in Ohio from approximately 2000 to 2024 but was employed through



                                              2248
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2249 of 3128




intermediary entities that FedEx calls independent service providers. Mccarty has been eligible

to receive overtime pay under the FLSA because Mccarty has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8436. Plaintiff James Mcconkey is an individual residing in Ohio. Mcconkey worked as

a delivery driver for FedEx in Ohio from approximately 2003 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mcconkey has been eligible

to receive overtime pay under the FLSA because Mcconkey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8437. Plaintiff Katlynn Mcgaffick is an individual residing in Ohio. Mcgaffick worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Mcgaffick has been eligible to receive overtime pay

under the FLSA because Mcgaffick has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        8438. Plaintiff Johnnie Mckinney is an individual residing in Ohio. Mckinney worked as

a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mckinney has been eligible

to receive overtime pay under the FLSA because Mckinney has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8439. Plaintiff Dennis Mcmillen is an individual residing in Ohio. Mcmillen worked as

a delivery driver for FedEx in Ohio from approximately 2005 to 2019 but was employed through



                                              2249
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2250 of 3128




intermediary entities that FedEx calls independent service providers. Mcmillen has been eligible

to receive overtime pay under the FLSA because Mcmillen has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8440. Plaintiff Michael Messiah is an individual residing in Ohio. Messiah worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Messiah has been eligible to receive overtime pay under the

FLSA because Messiah has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8441. Plaintiff Jerry Miley is an individual residing in Ohio. Miley worked as a delivery

driver for FedEx in Ohio from approximately 2006 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miley has been eligible to

receive overtime pay under the FLSA because Miley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8442. Plaintiff Augustus Miller is an individual residing in Ohio. Miller worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8443. Plaintiff Holley Miller is an individual residing in Ohio. Miller worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Miller has been eligible to receive overtime pay under the




                                               2250
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2251 of 3128




FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8444. Plaintiff Derrick Miller is an individual residing in Ohio. Miller worked as a

delivery driver for FedEx in Ohio from approximately 2007 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8445. Plaintiff Kayla Miller is an individual residing in Ohio. Miller worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8446. Plaintiff Maxine Milner is an individual residing in Ohio. Milner worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Milner has been eligible to

receive overtime pay under the FLSA because Milner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8447. Plaintiff Dana Mitchell is an individual residing in Ohio. Mitchell worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Mitchell has been eligible to receive overtime pay under the

FLSA because Mitchell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               2251
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2252 of 3128




        8448. Plaintiff Tyler Mitchell is an individual residing in Ohio. Mitchell worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mitchell has been eligible

to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8449. Plaintiff Lisa Moore is an individual residing in Ohio. Moore worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8450. Plaintiff Robert Moore is an individual residing in Ohio. Moore worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8451. Plaintiff Colin Moran is an individual residing in Ohio. Moran worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Moran has been eligible to

receive overtime pay under the FLSA because Moran has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8452. Plaintiff Carmella Morgan is an individual residing in Ohio. Morgan worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2017 but was employed through



                                              2252
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2253 of 3128




intermediary entities that FedEx calls independent service providers. Morgan has been eligible to

receive overtime pay under the FLSA because Morgan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8453. Plaintiff Loren Morgan is an individual residing in Ohio. Morgan worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Morgan has been eligible to receive overtime pay under the

FLSA because Morgan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8454. Plaintiff Dustin Morris is an individual residing in Ohio. Morris worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Morris has been eligible to

receive overtime pay under the FLSA because Morris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8455. Plaintiff Douglas Mugler is an individual residing in Ohio. Mugler worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Mugler has been eligible to

receive overtime pay under the FLSA because Mugler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8456. Plaintiff Troy Mulhall is an individual residing in Ohio. Mulhall worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Mulhall has been eligible to

receive overtime pay under the FLSA because Mulhall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2253
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2254 of 3128




       8457. Plaintiff Gaylord Murray is an individual residing in Ohio. Murray worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Murray has been eligible to

receive overtime pay under the FLSA because Murray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8458. Plaintiff Edward Murray is an individual residing in Ohio. Murray worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Murray has been eligible to

receive overtime pay under the FLSA because Murray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8459. Plaintiff Nikolas Natali is an individual residing in Indiana. Natali worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Natali has been eligible to

receive overtime pay under the FLSA because Natali has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8460. Plaintiff Barbie Neff is an individual residing in Ohio. Neff worked as a delivery

driver for FedEx in Ohio from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Neff has been eligible to

receive overtime pay under the FLSA because Neff has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8461. Plaintiff Jaxon Newsome is an individual residing in Ohio. Newsome worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Newsome has been eligible



                                               2254
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2255 of 3128




to receive overtime pay under the FLSA because Newsome has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8462. Plaintiff Jason Nickle is an individual residing in Ohio. Nickle worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Nickle has been eligible to

receive overtime pay under the FLSA because Nickle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8463. Plaintiff Daniel Niezgoda is an individual residing in Ohio. Niezgoda worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Niezgoda has been eligible

to receive overtime pay under the FLSA because Niezgoda has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8464. Plaintiff Dan Oblinger is an individual residing in Ohio. Oblinger worked as a

delivery driver for FedEx in Ohio from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Oblinger has been eligible

to receive overtime pay under the FLSA because Oblinger has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8465. Plaintiff Michael Offord is an individual residing in Ohio. Offord worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Offord has been eligible to



                                              2255
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2256 of 3128




receive overtime pay under the FLSA because Offord has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8466. Plaintiff Marianne Ohara is an individual residing in Ohio. Ohara worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Ohara has been eligible to receive overtime pay under the

FLSA because Ohara has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8467. Plaintiff Christin Oneil is an individual residing in Ohio. Oneil worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Oneil has been eligible to

receive overtime pay under the FLSA because Oneil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8468. Plaintiff Jason Owen is an individual residing in Ohio. Owen worked as a delivery

driver for FedEx in Ohio but was employed through intermediary entities that FedEx calls

independent service providers. Owen has been eligible to receive overtime pay under the FLSA

because Owen has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8469. Plaintiff Daniel Owens is an individual residing in Ohio. Owens worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Owens has been eligible to

receive overtime pay under the FLSA because Owens has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2256
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2257 of 3128




        8470. Plaintiff Dashan Pace is an individual residing in Ohio. Pace worked as a delivery

driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Pace has been eligible to

receive overtime pay under the FLSA because Pace has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8471. Plaintiff Michael Pacholec is an individual residing in Ohio. Pacholec worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Pacholec has been eligible

to receive overtime pay under the FLSA because Pacholec has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8472. Plaintiff Timothy Parker is an individual residing in Washington. Parker worked

as a delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8473. Plaintiff Justin Parker is an individual residing in Ohio. Parker worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Parker has been eligible to

receive overtime pay under the FLSA because Parker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2257
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2258 of 3128




       8474. Plaintiff Marcia Parsons is an individual residing in Ohio. Parsons worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Parsons has been eligible to

receive overtime pay under the FLSA because Parsons has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8475. Plaintiff Antonio Peeples is an individual residing in Ohio. Peeples worked as a

delivery driver for FedEx in Ohio from approximately 2021 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Peeples has been eligible to

receive overtime pay under the FLSA because Peeples has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8476. Plaintiff Ruben Perez is an individual residing in Michigan. Perez worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8477. Plaintiff Leslie Perry-Fyffe is an individual residing in Ohio. Perry-Fyffe worked

as a delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perry-Fyffe has

been eligible to receive overtime pay under the FLSA because Perry-Fyffe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8478. Plaintiff Amber Peterson is an individual residing in Ohio. Peterson worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2021 but was employed through



                                              2258
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2259 of 3128




intermediary entities that FedEx calls independent service providers. Peterson has been eligible

to receive overtime pay under the FLSA because Peterson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8479. Plaintiff Travis Phillips is an individual residing in Ohio. Phillips worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Phillips has been eligible to receive overtime pay under the

FLSA because Phillips has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8480. Plaintiff Jeffrey Phillips is an individual residing in Ohio. Phillips worked as a

delivery driver for FedEx in Ohio from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Phillips has been eligible to

receive overtime pay under the FLSA because Phillips has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8481. Plaintiff Joel Piciacchio is an individual residing in Ohio. Piciacchio worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Piciacchio has been eligible

to receive overtime pay under the FLSA because Piciacchio has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8482. Plaintiff Robert Pinkerman, Sr. is an individual residing in Kentucky. Pinkerman

worked as a delivery driver for FedEx in Ohio from approximately 2000 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               2259
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2260 of 3128




Pinkerman has been eligible to receive overtime pay under the FLSA because Pinkerman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8483. Plaintiff Kevin Poindexter is an individual residing in Ohio. Poindexter worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Poindexter has been eligible to receive overtime pay under

the FLSA because Poindexter has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8484. Plaintiff Sabrina Porter is an individual residing in Ohio. Porter worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Porter has been eligible to

receive overtime pay under the FLSA because Porter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8485. Plaintiff Darain Porter-Race Ii is an individual residing in Ohio. Porter-Race

worked as a delivery driver for FedEx in Ohio from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Porter-

Race has been eligible to receive overtime pay under the FLSA because Porter-Race has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8486. Plaintiff Joel Preisler is an individual residing in Ohio. Preisler worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Preisler has been eligible to




                                               2260
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2261 of 3128




receive overtime pay under the FLSA because Preisler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8487. Plaintiff James Daniels is an individual residing in West Virginia. Prichard

worked as a delivery driver for FedEx in Ohio from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Prichard

has been eligible to receive overtime pay under the FLSA because Prichard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8488. Plaintiff Navarro Rafaell Evans is an individual residing in Ohio. Rafaell Evans

worked as a delivery driver for FedEx in Ohio from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Rafaell

Evans has been eligible to receive overtime pay under the FLSA because Rafaell Evans has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8489. Plaintiff Sarah Ramon is an individual residing in Ohio. Ramon worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Ramon has been eligible to receive overtime pay under the

FLSA because Ramon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8490. Plaintiff Justine Ramsey is an individual residing in Ohio. Ramsey worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Ramsey has been eligible to receive overtime pay under the




                                             2261
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2262 of 3128




FLSA because Ramsey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8491. Plaintiff David Repko Ii is an individual residing in Ohio. Repko Ii worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Repko Ii has been eligible

to receive overtime pay under the FLSA because Repko Ii has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8492. Plaintiff Clay Rhinehart, Sr. is an individual residing in Ohio. Rhinehart worked

as a delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rhinehart has been

eligible to receive overtime pay under the FLSA because Rhinehart has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8493. Plaintiff David Rhoades is an individual residing in Ohio. Rhoades worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rhoades has been eligible

to receive overtime pay under the FLSA because Rhoades has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8494. Plaintiff Darin Rinicella is an individual residing in Ohio. Rinicella worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Rinicella has been eligible



                                               2262
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2263 of 3128




to receive overtime pay under the FLSA because Rinicella has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8495. Plaintiff Annelise Riser is an individual residing in Ohio. Riser worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Riser has been eligible to

receive overtime pay under the FLSA because Riser has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8496. Plaintiff Sarah Robinson is an individual residing in Ohio. Robinson worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Robinson has been eligible

to receive overtime pay under the FLSA because Robinson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8497. Plaintiff Travus Rolland is an individual residing in Ohio. Rolland worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Rolland has been eligible to receive overtime pay under the

FLSA because Rolland has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8498. Plaintiff Joshua Roller is an individual residing in Ohio. Roller worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Roller has been eligible to receive overtime pay under the




                                              2263
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2264 of 3128




FLSA because Roller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8499. Plaintiff Roman Roman C Givens is an individual residing in Ohio. Roman C

Givens worked as a delivery driver for FedEx in Ohio from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Roman

C Givens has been eligible to receive overtime pay under the FLSA because Roman C Givens

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        8500. Plaintiff Lawrence Rose is an individual residing in Ohio. Rose worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Rose has been eligible to

receive overtime pay under the FLSA because Rose has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8501. Plaintiff Chris Sackrider is an individual residing in Ohio. Sackrider worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Sackrider has been eligible

to receive overtime pay under the FLSA because Sackrider has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8502. Plaintiff Donald Sager is an individual residing in Ohio. Sager worked as a

delivery driver for FedEx in Ohio from approximately 2000 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sager has been eligible to




                                              2264
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2265 of 3128




receive overtime pay under the FLSA because Sager has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8503. Plaintiff James Sagstetter is an individual residing in Ohio. Sagstetter worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Sagstetter has been eligible

to receive overtime pay under the FLSA because Sagstetter has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8504. Plaintiff Gary Sandler is an individual residing in Ohio. Sandler worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Sandler has been eligible to receive overtime pay under the

FLSA because Sandler has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8505. Plaintiff Justin Schaeffer is an individual residing in Ohio. Schaeffer worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Schaeffer has been eligible

to receive overtime pay under the FLSA because Schaeffer has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8506. Plaintiff Darlene Schenck is an individual residing in Tennessee. Schenck worked

as a delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Schenck has been

eligible to receive overtime pay under the FLSA because Schenck has driven a vehicle weighing



                                              2265
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2266 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8507. Plaintiff Robert Schieber is an individual residing in Ohio. Schieber worked as a

delivery driver for FedEx in Ohio from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Schieber has been eligible

to receive overtime pay under the FLSA because Schieber has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8508. Plaintiff Jessica Schindler is an individual residing in Ohio. Schindler worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Schindler has been eligible

to receive overtime pay under the FLSA because Schindler has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8509. Plaintiff Peter Schutz is an individual residing in Ohio. Schutz worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Schutz has been eligible to

receive overtime pay under the FLSA because Schutz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8510. Plaintiff Chereen Scott is an individual residing in Ohio. Scott worked as a

delivery driver for FedEx in Ohio from approximately 2008 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to




                                               2266
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2267 of 3128




receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8511. Plaintiff Brandon Scott is an individual residing in Ohio. Scott worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to

receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8512. Plaintiff Michael Scott is an individual residing in Ohio. Scott worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to

receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8513. Plaintiff Pamlette Scott is an individual residing in Ohio. Scott worked as a

delivery driver for FedEx in Ohio from approximately 2008 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to

receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8514. Plaintiff Rose Shalosky is an individual residing in Ohio. Shalosky worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Shalosky has been eligible to receive overtime pay under the

FLSA because Shalosky has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                               2267
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2268 of 3128




        8515. Plaintiff Jared Shank is an individual residing in Ohio. Shank worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Shank has been eligible to

receive overtime pay under the FLSA because Shank has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8516. Plaintiff Walid Shehadeh is an individual residing in Ohio. Shehadeh worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Shehadeh has been eligible

to receive overtime pay under the FLSA because Shehadeh has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8517. Plaintiff Elisa Shufelt is an individual residing in Michigan. Shufelt worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Shufelt has been eligible to

receive overtime pay under the FLSA because Shufelt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8518. Plaintiff Troy Singer is an individual residing in Ohio. Singer worked as a

delivery driver for FedEx in Ohio from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Singer has been eligible to

receive overtime pay under the FLSA because Singer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8519. Plaintiff Vito Sinisgalli is an individual residing in Ohio. Sinisgalli worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2021 but was employed through



                                               2268
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2269 of 3128




intermediary entities that FedEx calls independent service providers. Sinisgalli has been eligible

to receive overtime pay under the FLSA because Sinisgalli has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8520. Plaintiff Brad Smith is an individual residing in Ohio. Smith worked as a delivery

driver for FedEx in Ohio from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8521. Plaintiff Ryan Smith is an individual residing in Ohio. Smith worked as a delivery

driver for FedEx in Ohio but was employed through intermediary entities that FedEx calls

independent service providers. Smith has been eligible to receive overtime pay under the FLSA

because Smith has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8522. Plaintiff Kenneth Smith is an individual residing in Ohio. Smith worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8523. Plaintiff Karen Smith is an individual residing in Ohio. Smith worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to




                                               2269
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2270 of 3128




receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8524. Plaintiff Stephen Smith is an individual residing in Ohio. Smith worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8525. Plaintiff Adam Smith is an individual residing in Ohio. Smith worked as a

delivery driver for FedEx in Ohio from approximately 2002 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8526. Plaintiff Ja0Cob Smith is an individual residing in Ohio. Smith worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8527. Plaintiff Marley Smock is an individual residing in Ohio. Smock worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Smock has been eligible to

receive overtime pay under the FLSA because Smock has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2270
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2271 of 3128




       8528. Plaintiff Scott Snyder is an individual residing in Ohio. Snyder worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Snyder has been eligible to

receive overtime pay under the FLSA because Snyder has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8529. Plaintiff Tonia Sorrell is an individual residing in Ohio. Sorrell worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Sorrell has been eligible to

receive overtime pay under the FLSA because Sorrell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8530. Plaintiff Terrence Spencer is an individual residing in Ohio. Spencer worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Spencer has been eligible to receive overtime pay under the

FLSA because Spencer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8531. Plaintiff Ryan Spencer is an individual residing in Ohio. Spencer worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Spencer has been eligible to

receive overtime pay under the FLSA because Spencer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8532. Plaintiff Richard Spicer is an individual residing in Ohio. Spicer worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Spicer has been eligible to



                                               2271
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2272 of 3128




receive overtime pay under the FLSA because Spicer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8533. Plaintiff Anthony Spirito is an individual residing in Ohio. Spirito worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Spirito has been eligible to receive overtime pay under the

FLSA because Spirito has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8534. Plaintiff Joseph Spitzer is an individual residing in South Carolina. Spitzer

worked as a delivery driver for FedEx in Ohio from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Spitzer

has been eligible to receive overtime pay under the FLSA because Spitzer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8535. Plaintiff Jason Springer is an individual residing in Ohio. Springer worked as a

delivery driver for FedEx in Ohio from approximately 2014 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Springer has been eligible

to receive overtime pay under the FLSA because Springer has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8536. Plaintiff Daniel Staimpel is an individual residing in Ohio. Staimpel worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Staimpel has been eligible

to receive overtime pay under the FLSA because Staimpel has driven a vehicle weighing less



                                               2272
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2273 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8537. Plaintiff Daniel Stamm is an individual residing in Ohio. Stamm worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Stamm has been eligible to

receive overtime pay under the FLSA because Stamm has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8538. Plaintiff Justin Starkey is an individual residing in Ohio. Starkey worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Starkey has been eligible to

receive overtime pay under the FLSA because Starkey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8539. Plaintiff Timothy Stephens is an individual residing in Ohio. Stephens worked as

a delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Stephens has been eligible

to receive overtime pay under the FLSA because Stephens has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8540. Plaintiff Brian Sterling is an individual residing in Ohio. Sterling worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Sterling has been eligible to

receive overtime pay under the FLSA because Sterling has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2273
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2274 of 3128




       8541. Plaintiff James Stevens is an individual residing in Ohio. Stevens worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Stevens has been eligible to

receive overtime pay under the FLSA because Stevens has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8542. Plaintiff Krystal Stevens is an individual residing in Ohio. Stevens worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Stevens has been eligible to

receive overtime pay under the FLSA because Stevens has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8543. Plaintiff Thomas Stupi is an individual residing in Ohio. Stupi worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Stupi has been eligible to

receive overtime pay under the FLSA because Stupi has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8544. Plaintiff Danielle Sutton is an individual residing in Ohio. Sutton worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sutton has been eligible to

receive overtime pay under the FLSA because Sutton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8545. Plaintiff Scott Swisshelm is an individual residing in Ohio. Swisshelm worked as

a delivery driver for FedEx in Ohio from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Swisshelm has been eligible



                                              2274
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2275 of 3128




to receive overtime pay under the FLSA because Swisshelm has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8546. Plaintiff Denes Szabo is an individual residing in Ohio. Szabo worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Szabo has been eligible to receive overtime pay under the

FLSA because Szabo has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8547. Plaintiff Cynthia Taylor is an individual residing in Ohio. Taylor worked as a

delivery driver for FedEx in Ohio and West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Taylor has been eligible to receive

overtime pay under the FLSA because Taylor has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8548. Plaintiff Joseph Theibert is an individual residing in Ohio. Theibert worked as a

delivery driver for FedEx in Ohio from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Theibert has been eligible

to receive overtime pay under the FLSA because Theibert has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8549. Plaintiff Robert Theil is an individual residing in Ohio. Theil worked as a delivery

driver for FedEx in Ohio from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Theil has been eligible to




                                               2275
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2276 of 3128




receive overtime pay under the FLSA because Theil has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8550. Plaintiff Danny Thomas is an individual residing in Ohio. Thomas worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8551. Plaintiff Joshua Thomas is an individual residing in Ohio. Thomas worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8552. Plaintiff Melissa Thomas-Recker is an individual residing in Florida. Thomas-

Recker worked as a delivery driver for FedEx in Ohio from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Thomas-

Recker has been eligible to receive overtime pay under the FLSA because Thomas-Recker has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8553. Plaintiff Gregory Thompson is an individual residing in Ohio. Thompson worked

as a delivery driver for FedEx in Ohio but was employed through intermediary entities that

FedEx calls independent service providers. Thompson has been eligible to receive overtime pay

under the FLSA because Thompson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.



                                              2276
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2277 of 3128




        8554. Plaintiff Martin Thompson is an individual residing in Ohio. Thompson worked

as a delivery driver for FedEx in Ohio from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thompson has

been eligible to receive overtime pay under the FLSA because Thompson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8555. Plaintiff Anthony Tippett is an individual residing in Ohio. Tippett worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Tippett has been eligible to receive overtime pay under the

FLSA because Tippett has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8556. Plaintiff Patrick Tournoux is an individual residing in Ohio. Tournoux worked as

a delivery driver for FedEx in Ohio from approximately 2010 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Tournoux has been eligible

to receive overtime pay under the FLSA because Tournoux has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8557. Plaintiff Robert Trent is an individual residing in Ohio. Trent worked as a

delivery driver for FedEx in Ohio from approximately 2019 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Trent has been eligible to

receive overtime pay under the FLSA because Trent has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2277
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2278 of 3128




        8558. Plaintiff Richard Turner is an individual residing in Ohio. Turner worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Turner has been eligible to

receive overtime pay under the FLSA because Turner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8559. Plaintiff Gary Turner is an individual residing in Ohio. Turner worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Turner has been eligible to receive overtime pay under the

FLSA because Turner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8560. Plaintiff Carl Uher is an individual residing in Ohio. Uher worked as a delivery

driver for FedEx in Ohio from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Uher has been eligible to

receive overtime pay under the FLSA because Uher has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8561. Plaintiff Daria Venable is an individual residing in Ohio. Venable worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Venable has been eligible

to receive overtime pay under the FLSA because Venable has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8562. Plaintiff Robert Vokac is an individual residing in Ohio. Vokac worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through



                                              2278
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2279 of 3128




intermediary entities that FedEx calls independent service providers. Vokac has been eligible to

receive overtime pay under the FLSA because Vokac has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8563. Plaintiff Duane Wagner is an individual residing in Ohio. Wagner worked as a

delivery driver for FedEx in Ohio from approximately 1999 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Wagner has been eligible to

receive overtime pay under the FLSA because Wagner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8564. Plaintiff Whit Walker is an individual residing in Ohio. Walker worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Walker has been eligible to receive overtime pay under the

FLSA because Walker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8565. Plaintiff Mario Wardell is an individual residing in Ohio. Wardell worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Wardell has been eligible to

receive overtime pay under the FLSA because Wardell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8566. Plaintiff Nathaniel Washington is an individual residing in Ohio. Washington

worked as a delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has




                                              2279
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2280 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8567. Plaintiff Theodore Watkins is an individual residing in Ohio. Watkins worked as a

delivery driver for FedEx in Ohio from approximately 2009 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Watkins has been eligible

to receive overtime pay under the FLSA because Watkins has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8568. Plaintiff Janay Webb is an individual residing in Ohio. Webb worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Webb has been eligible to

receive overtime pay under the FLSA because Webb has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8569. Plaintiff Matthew Weissenberger is an individual residing in Ohio. Weissenberger

worked as a delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Weissenberger has been eligible to receive overtime pay under the FLSA because Weissenberger

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        8570. Plaintiff Thomas Wenzlick is an individual residing in Ohio. Wenzlick worked as

a delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Wenzlick has been eligible to receive overtime pay under




                                              2280
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2281 of 3128




the FLSA because Wenzlick has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8571. Plaintiff Jesse Wesolowski is an individual residing in Ohio. Wesolowski worked

as a delivery driver for FedEx in Ohio from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Wesolowski has

been eligible to receive overtime pay under the FLSA because Wesolowski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8572. Plaintiff Jeremy Wheeler is an individual residing in Ohio. Wheeler worked as a

delivery driver for FedEx in Ohio from approximately 2007 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wheeler has been eligible

to receive overtime pay under the FLSA because Wheeler has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8573. Plaintiff Jeromy White is an individual residing in Ohio. White worked as a

delivery driver for FedEx in Ohio from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. White has been eligible to

receive overtime pay under the FLSA because White has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8574. Plaintiff Sarenda Whitted is an individual residing in Ohio. Whitted worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Whitted has been eligible to




                                              2281
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2282 of 3128




receive overtime pay under the FLSA because Whitted has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8575. Plaintiff Patrick Wilburn is an individual residing in Ohio. Wilburn worked as a

delivery driver for FedEx in Ohio from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Wilburn has been eligible

to receive overtime pay under the FLSA because Wilburn has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8576. Plaintiff Demitrius Williams is an individual residing in Ohio. Williams worked

as a delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8577. Plaintiff Martez Williams is an individual residing in Ohio. Williams worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Williams has been eligible

to receive overtime pay under the FLSA because Williams has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8578. Plaintiff Chester Wilson is an individual residing in Florida. Wilson worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to



                                              2282
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2283 of 3128




receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8579. Plaintiff Dale Wilson is an individual residing in Ohio. Wilson worked as a

delivery driver for FedEx in Ohio from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to

receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8580. Plaintiff Nicholas Wojcik is an individual residing in Ohio. Wojcik worked as a

delivery driver for FedEx in Ohio from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Wojcik has been eligible to

receive overtime pay under the FLSA because Wojcik has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8581. Plaintiff Lander Woods is an individual residing in Ohio. Woods worked as a

delivery driver for FedEx in Ohio from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Woods has been eligible to

receive overtime pay under the FLSA because Woods has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8582. Plaintiff Rebecca Workman is an individual residing in Ohio. Workman worked

as a delivery driver for FedEx in Ohio from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Workman has been

eligible to receive overtime pay under the FLSA because Workman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2283
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2284 of 3128




       8583. Plaintiff Jonathan Worthington is an individual residing in Ohio. Worthington

worked as a delivery driver for FedEx in Ohio from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Worthington has been eligible to receive overtime pay under the FLSA because Worthington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8584. Plaintiff Jordan Wright is an individual residing in Ohio. Wright worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Wright has been eligible to receive overtime pay under the

FLSA because Wright has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8585. Plaintiff Thomas Yoho is an individual residing in Ohio. Yoho worked as a

delivery driver for FedEx in Ohio but was employed through intermediary entities that FedEx

calls independent service providers. Yoho has been eligible to receive overtime pay under the

FLSA because Yoho has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       8586. Plaintiff Anthony Young is an individual residing in Ohio. Young worked as a

delivery driver for FedEx in Ohio from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8587. Plaintiff Aleesha Adkins is an individual residing in Oklahoma. Adkins worked as

a delivery driver for FedEx in Oklahoma from approximately 2018 to 2021 but was employed



                                              2284
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2285 of 3128




through intermediary entities that FedEx calls independent service providers. Adkins has been

eligible to receive overtime pay under the FLSA because Adkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8588. Plaintiff Brian Alford is an individual residing in Oklahoma. Alford worked as a

delivery driver for FedEx in Oklahoma from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Alford has been

eligible to receive overtime pay under the FLSA because Alford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8589. Plaintiff Erik Allen is an individual residing in Oklahoma. Allen worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8590. Plaintiff Candice Almeida is an individual residing in Oklahoma. Almeida

worked as a delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Almeida

has been eligible to receive overtime pay under the FLSA because Almeida has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2285
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2286 of 3128




        8591. Plaintiff Dustin Ayers is an individual residing in Oklahoma. Ayers worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Ayers has been eligible to receive overtime pay under

the FLSA because Ayers has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8592. Plaintiff Jaret Baker is an individual residing in Oklahoma. Baker worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8593. Plaintiff Marcelo Baldeon is an individual residing in Oklahoma. Baldeon worked

as a delivery driver for FedEx in Oklahoma from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Baldeon has been

eligible to receive overtime pay under the FLSA because Baldeon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8594. Plaintiff Dimarco Barnes is an individual residing in Oklahoma. Barnes worked as

a delivery driver for FedEx in Oklahoma from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Barnes has been

eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             2286
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2287 of 3128




        8595. Plaintiff Jwan Barnhardt is an individual residing in Oklahoma. Barnhardt worked

as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Barnhardt has been

eligible to receive overtime pay under the FLSA because Barnhardt has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8596. Plaintiff Gary Beckett is an individual residing in Oklahoma. Beckett worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Beckett has been eligible to receive overtime pay

under the FLSA because Beckett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8597. Plaintiff Stephen Billingslea is an individual residing in Oklahoma. Billingslea

worked as a delivery driver for FedEx in Oklahoma from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Billingslea has been eligible to receive overtime pay under the FLSA because Billingslea has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8598. Plaintiff Michael Blair is an individual residing in Oklahoma. Blair worked as a

delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Blair has been

eligible to receive overtime pay under the FLSA because Blair has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2287
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2288 of 3128




        8599. Plaintiff Phillip Bruce is an individual residing in Oklahoma. Bruce worked as a

delivery driver for FedEx in Oklahoma from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bruce has been

eligible to receive overtime pay under the FLSA because Bruce has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8600. Plaintiff Courtney Buchanan is an individual residing in Oklahoma. Buchanan

worked as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Buchanan has been eligible to receive overtime pay under the FLSA because Buchanan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8601. Plaintiff John Burns Ii is an individual residing in Oklahoma. Burns Ii worked as

a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Burns Ii has been eligible to receive overtime pay

under the FLSA because Burns Ii has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8602. Plaintiff Dani Butcher is an individual residing in Oklahoma. Butcher worked as a

delivery driver for FedEx in Oklahoma from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Butcher has been

eligible to receive overtime pay under the FLSA because Butcher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2288
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2289 of 3128




        8603. Plaintiff Lucas Cable is an individual residing in Oklahoma. Cable worked as a

delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cable has been

eligible to receive overtime pay under the FLSA because Cable has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8604. Plaintiff Basil Campbell is an individual residing in Oklahoma. Campbell worked

as a delivery driver for FedEx in Oklahoma from approximately 2003 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Campbell has been

eligible to receive overtime pay under the FLSA because Campbell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8605. Plaintiff Benjamin Canby is an individual residing in Oklahoma. Canby worked

as a delivery driver for FedEx in Oklahoma from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Canby has been

eligible to receive overtime pay under the FLSA because Canby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8606. Plaintiff Richard Carr is an individual residing in Oklahoma. Carr worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Carr has been eligible to receive overtime pay under

the FLSA because Carr has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                             2289
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2290 of 3128




        8607. Plaintiff Tanara Cherry is an individual residing in Oklahoma. Cherry worked as a

delivery driver for FedEx in Oklahoma from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cherry has been

eligible to receive overtime pay under the FLSA because Cherry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8608. Plaintiff William Cheuvront is an individual residing in Oklahoma. Cheuvront

worked as a delivery driver for FedEx in Oklahoma from approximately 2008 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Cheuvront has been eligible to receive overtime pay under the FLSA because Cheuvront has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8609. Plaintiff Rane Christensen Peterson is an individual residing in Oklahoma.

Christensen Peterson worked as a delivery driver for FedEx in Oklahoma from approximately

2015 to 2016 but was employed through intermediary entities that FedEx calls independent

service providers. Christensen Peterson has been eligible to receive overtime pay under the

FLSA because Christensen Peterson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        8610. Plaintiff Clifton Cochran is an individual residing in Oklahoma. Cochran worked

as a delivery driver for FedEx in Oklahoma from approximately 1999 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cochran has been

eligible to receive overtime pay under the FLSA because Cochran has driven a vehicle weighing




                                              2290
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2291 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8611. Plaintiff Donald Coffman is an individual residing in Oklahoma. Coffman worked

as a delivery driver for FedEx in Oklahoma from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coffman has been

eligible to receive overtime pay under the FLSA because Coffman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8612. Plaintiff Donald Coffman is an individual residing in Oklahoma. Coffman worked

as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Coffman has been

eligible to receive overtime pay under the FLSA because Coffman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8613. Plaintiff Jonathan Cooper is an individual residing in Oklahoma. Cooper worked

as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8614. Plaintiff Clayton Coppin is an individual residing in Oklahoma. Coppin worked as

a delivery driver for FedEx in Oklahoma from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Coppin has been



                                             2291
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2292 of 3128




eligible to receive overtime pay under the FLSA because Coppin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8615. Plaintiff Trevor Cox is an individual residing in Oklahoma. Cox worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Cox has been eligible to receive overtime pay under

the FLSA because Cox has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8616. Plaintiff Javaris Davis is an individual residing in Oklahoma. Davis worked as a

delivery driver for FedEx in Oklahoma from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8617. Plaintiff Dana Deloney is an individual residing in Oklahoma. Deloney worked as

a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Deloney has been eligible to receive overtime pay

under the FLSA because Deloney has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8618. Plaintiff Camron Denson is an individual residing in Oklahoma. Denson worked

as a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Denson has been eligible to receive overtime pay




                                              2292
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2293 of 3128




under the FLSA because Denson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8619. Plaintiff Steven Dodd is an individual residing in Oklahoma. Dodd worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dodd has been

eligible to receive overtime pay under the FLSA because Dodd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8620. Plaintiff Lloyd Dowler is an individual residing in Oklahoma. Dowler worked as

a delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dowler has been

eligible to receive overtime pay under the FLSA because Dowler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8621. Plaintiff Chauncey Dumas is an individual residing in Oklahoma. Dumas worked

as a delivery driver for FedEx in Oklahoma from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dumas has been

eligible to receive overtime pay under the FLSA because Dumas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8622. Plaintiff Jowanna Echols is an individual residing in Oklahoma. Echols worked as

a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Echols has been eligible to receive overtime pay



                                             2293
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2294 of 3128




under the FLSA because Echols has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8623. Plaintiff Samantha Ford is an individual residing in Oklahoma. Ford worked as a

delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been

eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8624. Plaintiff Brianna Galipeau is an individual residing in California. Galipeau

worked as a delivery driver for FedEx in Oklahoma from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Galipeau

has been eligible to receive overtime pay under the FLSA because Galipeau has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8625. Plaintiff Garcia-Sigala Gamaliel is an individual residing in Oklahoma. Gamaliel

worked as a delivery driver for FedEx in Oklahoma from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Gamaliel

has been eligible to receive overtime pay under the FLSA because Gamaliel has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8626. Plaintiff Jimmy Garcia is an individual residing in Oklahoma. Garcia worked as a

delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Garcia has been



                                              2294
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2295 of 3128




eligible to receive overtime pay under the FLSA because Garcia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8627. Plaintiff Wendell Glisson is an individual residing in Oklahoma. Glisson worked

as a delivery driver for FedEx in Oklahoma from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Glisson has been

eligible to receive overtime pay under the FLSA because Glisson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8628. Plaintiff Scott Godwin is an individual residing in Oklahoma. Godwin worked as

a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Godwin has been eligible to receive overtime pay

under the FLSA because Godwin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8629. Plaintiff Hollis Griffin is an individual residing in Oklahoma. Griffin worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8630. Plaintiff Henry Guzman is an individual residing in Oklahoma. Guzman worked

as a delivery driver for FedEx in Oklahoma from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Guzman has been



                                              2295
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2296 of 3128




eligible to receive overtime pay under the FLSA because Guzman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8631. Plaintiff Travis Haney is an individual residing in Oklahoma. Haney worked as a

delivery driver for FedEx in Oklahoma from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Haney has been

eligible to receive overtime pay under the FLSA because Haney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8632. Plaintiff Stephon Hawthorne is an individual residing in Oklahoma. Hawthorne

worked as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hawthorne has been eligible to receive overtime pay under the FLSA because Hawthorne has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8633. Plaintiff Stephen Henry is an individual residing in Oklahoma. Henry worked as a

delivery driver for FedEx in Oklahoma from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Henry has been

eligible to receive overtime pay under the FLSA because Henry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8634. Plaintiff Michelle Hibbetts is an individual residing in Arizona. Hibbetts worked

as a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that



                                              2296
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2297 of 3128




FedEx calls independent service providers. Hibbetts has been eligible to receive overtime pay

under the FLSA because Hibbetts has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8635. Plaintiff Gabriel Hight is an individual residing in Missouri. Hight worked as a

delivery driver for FedEx in Oklahoma from approximately 2021 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hight has been

eligible to receive overtime pay under the FLSA because Hight has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8636. Plaintiff Jessica Hilton is an individual residing in Oklahoma. Hilton worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Hilton has been eligible to receive overtime pay

under the FLSA because Hilton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8637. Plaintiff Christina Holt is an individual residing in Oklahoma. Holt worked as a

delivery driver for FedEx in Oklahoma from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Holt has been

eligible to receive overtime pay under the FLSA because Holt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8638. Plaintiff Kevin Hopper is an individual residing in Oklahoma. Hopper worked as

a delivery driver for FedEx in Oklahoma from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hopper has been



                                              2297
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2298 of 3128




eligible to receive overtime pay under the FLSA because Hopper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8639. Plaintiff Michael Jackson is an individual residing in Oklahoma. Jackson worked

as a delivery driver for FedEx in Oklahoma from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8640. Plaintiff Kenneth Jackson is an individual residing in Oklahoma. Jackson worked

as a delivery driver for FedEx in Oklahoma from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8641. Plaintiff Kendell Janes is an individual residing in Oklahoma. Janes worked as a

delivery driver for FedEx in Oklahoma from approximately 2007 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Janes has been

eligible to receive overtime pay under the FLSA because Janes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8642. Plaintiff Tyler Jezik is an individual residing in Oklahoma. Jezik worked as a

delivery driver for FedEx in Oklahoma from approximately 2017 to 2020 but was employed



                                              2298
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2299 of 3128




through intermediary entities that FedEx calls independent service providers. Jezik has been

eligible to receive overtime pay under the FLSA because Jezik has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8643. Plaintiff Wayne Jones is an individual residing in Oklahoma. Jones worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Jones has been eligible to receive overtime pay under

the FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8644. Plaintiff Jerry Kahn is an individual residing in Oklahoma. Kahn worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Kahn has been eligible to receive overtime pay under

the FLSA because Kahn has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8645. Plaintiff John Keel is an individual residing in Oklahoma. Keel worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Keel has been eligible to receive overtime pay under

the FLSA because Keel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8646. Plaintiff Sabrina Lee is an individual residing in Oklahoma. Lee worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Lee has been eligible to receive overtime pay under




                                              2299
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2300 of 3128




the FLSA because Lee has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8647. Plaintiff John Levonitis is an individual residing in Oklahoma. Levonitis worked

as a delivery driver for FedEx in Oklahoma from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Levonitis has been

eligible to receive overtime pay under the FLSA because Levonitis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8648. Plaintiff Deantwon Lewis is an individual residing in Oklahoma. Lewis worked as

a delivery driver for FedEx in Oklahoma from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8649. Plaintiff David Lewis is an individual residing in Oklahoma. Lewis worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8650. Plaintiff Billy Maddox is an individual residing in Oklahoma. Maddox worked as

a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Maddox has been eligible to receive overtime pay



                                              2300
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2301 of 3128




under the FLSA because Maddox has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8651. Plaintiff Matthew Martin is an individual residing in Oklahoma. Martin worked as

a delivery driver for FedEx in Oklahoma from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8652. Plaintiff Taylor Mcbride is an individual residing in Oklahoma. Mcbride worked

as a delivery driver for FedEx in Oklahoma from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mcbride has been

eligible to receive overtime pay under the FLSA because Mcbride has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8653. Plaintiff Diamonte Mcclellan is an individual residing in Oklahoma. Mcclellan

worked as a delivery driver for FedEx in Oklahoma from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcclellan has been eligible to receive overtime pay under the FLSA because Mcclellan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8654. Plaintiff Joshua Mcgill is an individual residing in Colorado. Mcgill worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Mcgill has been eligible to receive overtime pay



                                              2301
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2302 of 3128




under the FLSA because Mcgill has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8655. Plaintiff Kendall Mckernan is an individual residing in Oklahoma. Mckernan

worked as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckernan has been eligible to receive overtime pay under the FLSA because Mckernan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8656. Plaintiff Richard Mendoza is an individual residing in Oklahoma. Mendoza

worked as a delivery driver for FedEx in Oklahoma from approximately 2009 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mendoza

has been eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8657. Plaintiff Robert Molina is an individual residing in Oklahoma. Molina worked as

a delivery driver for FedEx in Oklahoma from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Molina has been

eligible to receive overtime pay under the FLSA because Molina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8658. Plaintiff Michael Morgan is an individual residing in Oklahoma. Morgan worked

as a delivery driver for FedEx in Oklahoma from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been



                                             2302
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2303 of 3128




eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8659. Plaintiff Charles Novey is an individual residing in Oklahoma. Novey worked as

a delivery driver for FedEx in Oklahoma from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Novey has been

eligible to receive overtime pay under the FLSA because Novey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8660. Plaintiff Nery Ortiz is an individual residing in Oklahoma. Ortiz worked as a

delivery driver for FedEx in Oklahoma from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ortiz has been

eligible to receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8661. Plaintiff Joe Owens is an individual residing in Arkansas. Owens worked as a

delivery driver for FedEx in Oklahoma from approximately 2001 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8662. Plaintiff Devun Parker is an individual residing in Oklahoma. Parker worked as a

delivery driver for FedEx in Oklahoma from approximately 2019 to 2023 but was employed



                                              2303
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2304 of 3128




through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8663. Plaintiff Derrick Regan is an individual residing in Oklahoma. Regan worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Regan has been

eligible to receive overtime pay under the FLSA because Regan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8664. Plaintiff Michael Rubalcava is an individual residing in Oklahoma. Rubalcava

worked as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Rubalcava has been eligible to receive overtime pay under the FLSA because Rubalcava has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8665. Plaintiff Evan Rubright is an individual residing in Oklahoma. Rubright worked

as a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Rubright has been eligible to receive overtime pay

under the FLSA because Rubright has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8666. Plaintiff Juanita Seals is an individual residing in Oklahoma. Seals worked as a

delivery driver for FedEx in Oklahoma from approximately 2018 to 2021 but was employed



                                              2304
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2305 of 3128




through intermediary entities that FedEx calls independent service providers. Seals has been

eligible to receive overtime pay under the FLSA because Seals has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8667. Plaintiff James Shaw is an individual residing in Oklahoma. Shaw worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Shaw has been

eligible to receive overtime pay under the FLSA because Shaw has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8668. Plaintiff Brandon Shelton is an individual residing in Oklahoma. Shelton worked

as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Shelton has been

eligible to receive overtime pay under the FLSA because Shelton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8669. Plaintiff Jimmy Shipley is an individual residing in Oklahoma. Shipley worked as

a delivery driver for FedEx in Oklahoma from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shipley has been

eligible to receive overtime pay under the FLSA because Shipley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2305
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2306 of 3128




        8670. Plaintiff Russell Shipley is an individual residing in Oklahoma. Shipley worked as

a delivery driver for FedEx in Oklahoma from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Shipley has been

eligible to receive overtime pay under the FLSA because Shipley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8671. Plaintiff Julia Silva is an individual residing in Oklahoma. Silva worked as a

delivery driver for FedEx in Oklahoma from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Silva has been

eligible to receive overtime pay under the FLSA because Silva has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8672. Plaintiff Joshua Smith is an individual residing in Oklahoma. Smith worked as a

delivery driver for FedEx in Oklahoma from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8673. Plaintiff Seth Smith is an individual residing in Oklahoma. Smith worked as a

delivery driver for FedEx in Oklahoma from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing




                                              2306
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2307 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8674. Plaintiff Jimmy Sparks is an individual residing in Oklahoma. Sparks worked as a

delivery driver for FedEx in Oklahoma from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sparks has been

eligible to receive overtime pay under the FLSA because Sparks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8675. Plaintiff Cassie Spence is an individual residing in Oklahoma. Spence worked as

a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Spence has been eligible to receive overtime pay

under the FLSA because Spence has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8676. Plaintiff Roger Stokes is an individual residing in Oklahoma. Stokes worked as a

delivery driver for FedEx in Oklahoma from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been

eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8677. Plaintiff Delbert Swisher is an individual residing in Oklahoma. Swisher worked

as a delivery driver for FedEx in Oklahoma from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Swisher has been

eligible to receive overtime pay under the FLSA because Swisher has driven a vehicle weighing



                                             2307
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2308 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8678. Plaintiff Jeffrey Treagesser is an individual residing in Oklahoma. Treagesser

worked as a delivery driver for FedEx in Oklahoma from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Treagesser has been eligible to receive overtime pay under the FLSA because Treagesser has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8679. Plaintiff Jacob Washington is an individual residing in Oklahoma. Washington

worked as a delivery driver for FedEx in Oklahoma from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8680. Plaintiff Tricia Watts-Koch is an individual residing in Oklahoma. Watts-Koch

worked as a delivery driver for FedEx in Oklahoma from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Watts-

Koch has been eligible to receive overtime pay under the FLSA because Watts-Koch has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8681. Plaintiff Tricia Webb is an individual residing in Oklahoma. Webb worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Webb has been eligible to receive overtime pay under



                                              2308
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2309 of 3128




the FLSA because Webb has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8682. Plaintiff Steven West is an individual residing in Oklahoma. West worked as a

delivery driver for FedEx in Oklahoma from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8683. Plaintiff Paul White is an individual residing in Oklahoma. White worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8684. Plaintiff Harold Willard is an individual residing in Oklahoma. Willard worked as

a delivery driver for FedEx in Oklahoma from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Willard has been

eligible to receive overtime pay under the FLSA because Willard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8685. Plaintiff Justin Williams is an individual residing in Oklahoma. Williams worked

as a delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay




                                             2309
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2310 of 3128




under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8686. Plaintiff Billy Wilson is an individual residing in Oklahoma. Wilson worked as a

delivery driver for FedEx in Oklahoma but was employed through intermediary entities that

FedEx calls independent service providers. Wilson has been eligible to receive overtime pay

under the FLSA because Wilson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8687. Plaintiff Roy Wilson Jr. is an individual residing in Texas. Wilson Jr. worked as a

delivery driver for FedEx in Oklahoma from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson Jr. has been

eligible to receive overtime pay under the FLSA because Wilson Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8688. Plaintiff Carissa Wyble is an individual residing in Texas. Wyble worked as a

delivery driver for FedEx in Oklahoma from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wyble has been

eligible to receive overtime pay under the FLSA because Wyble has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8689. Plaintiff Jake Adams is an individual residing in Georgia. Adams worked as a

delivery driver for FedEx in Oregon from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing



                                              2310
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2311 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8690. Plaintiff Cameron Alex is an individual residing in Oregon. Alex worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alex has been

eligible to receive overtime pay under the FLSA because Alex has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8691. Plaintiff Clyde Anderson is an individual residing in Oregon. Anderson worked as

a delivery driver for FedEx in Oregon from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8692. Plaintiff Jon Anderson is an individual residing in Oregon. Anderson worked as a

delivery driver for FedEx in Oregon from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8693. Plaintiff Aj Andrews is an individual residing in Washington. Andrews worked as

a delivery driver for FedEx in Oregon from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Andrews has been



                                             2311
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2312 of 3128




eligible to receive overtime pay under the FLSA because Andrews has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8694. Plaintiff Jason Arnold is an individual residing in Washington. Arnold worked as

a delivery driver for FedEx in Oregon but was employed through intermediary entities that

FedEx calls independent service providers. Arnold has been eligible to receive overtime pay

under the FLSA because Arnold has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8695. Plaintiff Jon Baker is an individual residing in Washington. Baker worked as a

delivery driver for FedEx in Oregon from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Baker has been

eligible to receive overtime pay under the FLSA because Baker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8696. Plaintiff Jorge Barocio is an individual residing in Oregon. Barocio worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Barocio has been

eligible to receive overtime pay under the FLSA because Barocio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8697. Plaintiff Dale Bell is an individual residing in Oregon. Bell worked as a delivery

driver for FedEx in Oregon from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Bell has been eligible to



                                               2312
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2313 of 3128




receive overtime pay under the FLSA because Bell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8698. Plaintiff Trevor Bennett is an individual residing in California. Bennett worked as

a delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8699. Plaintiff Crystal Bingenheimer is an individual residing in Oregon. Bingenheimer

worked as a delivery driver for FedEx in Oregon from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Bingenheimer has been eligible to receive overtime pay under the FLSA because Bingenheimer

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        8700. Plaintiff Shane Bisbing is an individual residing in Oregon. Bisbing worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bisbing has been

eligible to receive overtime pay under the FLSA because Bisbing has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8701. Plaintiff Joie Bodda is an individual residing in Idaho. Bodda worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Bodda has been eligible to receive overtime pay under the



                                              2313
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2314 of 3128




FLSA because Bodda has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8702. Plaintiff Michelle Bromagem is an individual residing in Iowa. Bromagem

worked as a delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Bromagem has been eligible to receive overtime pay under the FLSA because Bromagem has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8703. Plaintiff Kailen Bronson is an individual residing in Oregon. Bronson worked as a

delivery driver for FedEx in Oregon from approximately 2004 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bronson has been

eligible to receive overtime pay under the FLSA because Bronson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8704. Plaintiff Matthew Bruhns is an individual residing in Oregon. Bruhns worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bruhns has been

eligible to receive overtime pay under the FLSA because Bruhns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8705. Plaintiff Nicholas Buren is an individual residing in California. Buren worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Buren has been



                                              2314
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2315 of 3128




eligible to receive overtime pay under the FLSA because Buren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8706. Plaintiff Samantha Calderon is an individual residing in Oregon. Calderon worked

as a delivery driver for FedEx in Oregon from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Calderon has been

eligible to receive overtime pay under the FLSA because Calderon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8707. Plaintiff Scott Carpenter is an individual residing in Oregon. Carpenter worked as

a delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carpenter has been

eligible to receive overtime pay under the FLSA because Carpenter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8708. Plaintiff Andy Chase is an individual residing in Oregon. Chase worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Chase has been

eligible to receive overtime pay under the FLSA because Chase has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8709. Plaintiff Christoffer Christensen is an individual residing in Oregon. Christensen

worked as a delivery driver for FedEx in Oregon from approximately 2019 to 2021 but was



                                              2315
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2316 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Christensen has been eligible to receive overtime pay under the FLSA because Christensen has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8710. Plaintiff Gavin Christenson is an individual residing in Oregon. Christenson

worked as a delivery driver for FedEx in Oregon from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Christenson has been eligible to receive overtime pay under the FLSA because Christenson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8711. Plaintiff Brian Christie is an individual residing in Oregon. Christie worked as a

delivery driver for FedEx in Oregon from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Christie has been

eligible to receive overtime pay under the FLSA because Christie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8712. Plaintiff Cody Clough is an individual residing in Washington. Clough worked as

a delivery driver for FedEx in Oregon from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Clough has been

eligible to receive overtime pay under the FLSA because Clough has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2316
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2317 of 3128




        8713. Plaintiff Eric Cole is an individual residing in California. Cole worked as a

delivery driver for FedEx in Oregon from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8714. Plaintiff Nenad Curcin is an individual residing in Oregon. Curcin worked as a

delivery driver for FedEx in Oregon from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Curcin has been

eligible to receive overtime pay under the FLSA because Curcin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8715. Plaintiff Ryan Dalke is an individual residing in Oregon. Dalke worked as a

delivery driver for FedEx in Oregon from approximately 1999 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dalke has been

eligible to receive overtime pay under the FLSA because Dalke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8716. Plaintiff Lance Deal is an individual residing in Oregon. Deal worked as a

delivery driver for FedEx in Oregon from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Deal has been

eligible to receive overtime pay under the FLSA because Deal has driven a vehicle weighing less




                                               2317
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2318 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8717. Plaintiff Hank Derka is an individual residing in Oregon. Derka worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Derka has been

eligible to receive overtime pay under the FLSA because Derka has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8718. Plaintiff Drew Duffy is an individual residing in Vermont. Duffy worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Duffy has been eligible to receive overtime pay under the

FLSA because Duffy has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8719. Plaintiff Donald Dunham is an individual residing in Oregon. Dunham worked as

a delivery driver for FedEx in Oregon from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Dunham has been

eligible to receive overtime pay under the FLSA because Dunham has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8720. Plaintiff Carlton Dupree is an individual residing in Oregon. Dupree worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Dupree has been

eligible to receive overtime pay under the FLSA because Dupree has driven a vehicle weighing



                                              2318
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2319 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8721. Plaintiff Earl Edgell is an individual residing in Washington. Edgell worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Edgell has been eligible to receive overtime pay under the

FLSA because Edgell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8722. Plaintiff Alexander Eggleston is an individual residing in Oregon. Eggleston

worked as a delivery driver for FedEx in Oregon from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Eggleston has been eligible to receive overtime pay under the FLSA because Eggleston has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8723. Plaintiff Michael Ehlert is an individual residing in Oregon. Ehlert worked as a

delivery driver for FedEx in Oregon from approximately 2007 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ehlert has been

eligible to receive overtime pay under the FLSA because Ehlert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8724. Plaintiff Gary Ehlert is an individual residing in Oregon. Ehlert worked as a

delivery driver for FedEx in Oregon from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ehlert has been

eligible to receive overtime pay under the FLSA because Ehlert has driven a vehicle weighing



                                              2319
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2320 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8725. Plaintiff Patricia Elliott is an individual residing in Oregon. Elliott worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Elliott has been

eligible to receive overtime pay under the FLSA because Elliott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8726. Plaintiff Miguel Escalona is an individual residing in Oregon. Escalona worked as

a delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Escalona has been

eligible to receive overtime pay under the FLSA because Escalona has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8727. Plaintiff Michael Estep is an individual residing in Oregon. Estep worked as a

delivery driver for FedEx in Oregon from approximately 2009 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Estep has been

eligible to receive overtime pay under the FLSA because Estep has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8728. Plaintiff Bob Eyman is an individual residing in Oregon. Eyman worked as a

delivery driver for FedEx in Oregon from approximately 2012 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Eyman has been



                                               2320
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2321 of 3128




eligible to receive overtime pay under the FLSA because Eyman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8729. Plaintiff Brayden Eyman is an individual residing in Oregon. Eyman worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Eyman has been

eligible to receive overtime pay under the FLSA because Eyman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8730. Plaintiff Lamar Fairley-Minthorn is an individual residing in Oregon. Fairley-

Minthorn worked as a delivery driver for FedEx in Oregon from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Fairley-Minthorn has been eligible to receive overtime pay under the FLSA because Fairley-

Minthorn has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        8731. Plaintiff Alton Faletoi is an individual residing in Oregon. Faletoi worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Faletoi has been eligible to receive overtime pay under the

FLSA because Faletoi has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8732. Plaintiff William Farnsworth is an individual residing in Oregon. Farnsworth

worked as a delivery driver for FedEx in Oregon from approximately 2008 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2321
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2322 of 3128




Farnsworth has been eligible to receive overtime pay under the FLSA because Farnsworth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8733. Plaintiff Jeremy Figueroa is an individual residing in Oregon. Figueroa worked as

a delivery driver for FedEx in Oregon but was employed through intermediary entities that

FedEx calls independent service providers. Figueroa has been eligible to receive overtime pay

under the FLSA because Figueroa has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8734. Plaintiff Robert Flores is an individual residing in Oregon. Flores worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8735. Plaintiff Ryan Foss is an individual residing in Oregon. Foss worked as a delivery

driver for FedEx in Oregon from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Foss has been eligible to

receive overtime pay under the FLSA because Foss has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8736. Plaintiff Anissa Foster is an individual residing in Oregon. Foster worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Foster has been

eligible to receive overtime pay under the FLSA because Foster has driven a vehicle weighing



                                              2322
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2323 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8737. Plaintiff Gregory Fraser is an individual residing in Oregon. Fraser worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Fraser has been eligible to receive overtime pay under the

FLSA because Fraser has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8738. Plaintiff Teodulo Garcia is an individual residing in Oregon. Garcia worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Garcia has been eligible to receive overtime pay under the

FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8739. Plaintiff Sergii Golovnov is an individual residing in Washington. Golovnov

worked as a delivery driver for FedEx in Oregon from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Golovnov has been eligible to receive overtime pay under the FLSA because Golovnov has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8740. Plaintiff Scott Gray is an individual residing in Oregon. Gray worked as a

delivery driver for FedEx in Oregon from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gray has been

eligible to receive overtime pay under the FLSA because Gray has driven a vehicle weighing less




                                              2323
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2324 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8741. Plaintiff Corey Haggard is an individual residing in Oregon. Haggard worked as a

delivery driver for FedEx in Oregon from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Haggard has been

eligible to receive overtime pay under the FLSA because Haggard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8742. Plaintiff Steven Hall is an individual residing in Oregon. Hall worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8743. Plaintiff Andrew Hansen is an individual residing in Missouri. Hansen worked as

a delivery driver for FedEx in Oregon from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hansen has been

eligible to receive overtime pay under the FLSA because Hansen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8744. Plaintiff Kim Harrison is an individual residing in Oregon. Harrison worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harrison has been



                                              2324
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2325 of 3128




eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8745. Plaintiff Daniel Hawkins is an individual residing in Oregon. Hawkins worked as

a delivery driver for FedEx in Oregon but was employed through intermediary entities that

FedEx calls independent service providers. Hawkins has been eligible to receive overtime pay

under the FLSA because Hawkins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8746. Plaintiff Enrique Hernandez is an individual residing in Oregon. Hernandez

worked as a delivery driver for FedEx in Oregon from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Hernandez has been eligible to receive overtime pay under the FLSA because Hernandez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8747. Plaintiff Nathan Hinkle is an individual residing in Oregon. Hinkle worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hinkle has been

eligible to receive overtime pay under the FLSA because Hinkle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8748. Plaintiff Loren Hromek is an individual residing in Oregon. Hromek worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hromek has been



                                             2325
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2326 of 3128




eligible to receive overtime pay under the FLSA because Hromek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8749. Plaintiff Thomas Hubenthal is an individual residing in Oregon. Hubenthal

worked as a delivery driver for FedEx in Oregon but was employed through intermediary entities

that FedEx calls independent service providers. Hubenthal has been eligible to receive overtime

pay under the FLSA because Hubenthal has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        8750. Plaintiff Stephanie Huff is an individual residing in Oregon. Huff worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Huff has been

eligible to receive overtime pay under the FLSA because Huff has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8751. Plaintiff David Hunt is an individual residing in Oregon. Hunt worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Hunt has been eligible to receive overtime pay under the

FLSA because Hunt has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8752. Plaintiff Morgan Hutchens is an individual residing in Oregon. Hutchens worked

as a delivery driver for FedEx in Oregon from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hutchens has been

eligible to receive overtime pay under the FLSA because Hutchens has driven a vehicle weighing



                                              2326
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2327 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8753. Plaintiff Gilbert Iverson is an individual residing in Washington. Iverson worked

as a delivery driver for FedEx in Oregon from approximately 2003 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Iverson has been

eligible to receive overtime pay under the FLSA because Iverson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8754. Plaintiff Stacy Jaycox is an individual residing in Oregon. Jaycox worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Jaycox has been

eligible to receive overtime pay under the FLSA because Jaycox has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8755. Plaintiff Kalavina Johnson is an individual residing in Oregon. Johnson worked as

a delivery driver for FedEx in Oregon from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8756. Plaintiff Robert Johnson is an individual residing in Oregon. Johnson worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been



                                              2327
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2328 of 3128




eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8757. Plaintiff Chad Keebler is an individual residing in Oregon. Keebler worked as a

delivery driver for FedEx in Oregon from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Keebler has been

eligible to receive overtime pay under the FLSA because Keebler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8758. Plaintiff Jill Kent is an individual residing in Oregon. Kent worked as a delivery

driver for FedEx in Oregon but was employed through intermediary entities that FedEx calls

independent service providers. Kent has been eligible to receive overtime pay under the FLSA

because Kent has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8759. Plaintiff Tonya Krizman is an individual residing in California. Krizman worked

as a delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Krizman has been

eligible to receive overtime pay under the FLSA because Krizman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8760. Plaintiff Joshuah Lassen is an individual residing in Oregon. Lassen worked as a

delivery driver for FedEx in Oregon from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lassen has been



                                              2328
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2329 of 3128




eligible to receive overtime pay under the FLSA because Lassen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8761. Plaintiff Robert Laurie is an individual residing in Oregon. Laurie worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Laurie has been

eligible to receive overtime pay under the FLSA because Laurie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8762. Plaintiff Gregory Ledet is an individual residing in Idaho. Ledet worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ledet has been

eligible to receive overtime pay under the FLSA because Ledet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8763. Plaintiff David Lee is an individual residing in Oregon. Lee worked as a delivery

driver for FedEx in Oregon but was employed through intermediary entities that FedEx calls

independent service providers. Lee has been eligible to receive overtime pay under the FLSA

because Lee has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8764. Plaintiff Scott Lewis is an individual residing in Oregon. Lewis worked as a

delivery driver for FedEx in Oregon from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been



                                              2329
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2330 of 3128




eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8765. Plaintiff Leondre Lincoln is an individual residing in Oregon. Lincoln worked as

a delivery driver for FedEx in Oregon but was employed through intermediary entities that

FedEx calls independent service providers. Lincoln has been eligible to receive overtime pay

under the FLSA because Lincoln has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8766. Plaintiff Joshua Lopez is an individual residing in Hawaii. Lopez worked as a

delivery driver for FedEx in Oregon from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8767. Plaintiff Andre Magana is an individual residing in Washington. Magana worked

as a delivery driver for FedEx in Oregon from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Magana has been

eligible to receive overtime pay under the FLSA because Magana has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8768. Plaintiff Brent Marr is an individual residing in Oregon. Marr worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Marr has been



                                             2330
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2331 of 3128




eligible to receive overtime pay under the FLSA because Marr has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8769. Plaintiff Danielle Mccalmon is an individual residing in Oregon. Mccalmon

worked as a delivery driver for FedEx in Oregon from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Mccalmon has been eligible to receive overtime pay under the FLSA because Mccalmon has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8770. Plaintiff Kris Mccalmon is an individual residing in Oregon. Mccalmon worked

as a delivery driver for FedEx in Oregon from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mccalmon has

been eligible to receive overtime pay under the FLSA because Mccalmon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8771. Plaintiff Joshua Mccarty is an individual residing in Washington. Mccarty worked

as a delivery driver for FedEx in Oregon from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mccarty has been

eligible to receive overtime pay under the FLSA because Mccarty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8772. Plaintiff Marcelino Mendoza is an individual residing in Oregon. Mendoza

worked as a delivery driver for FedEx in Oregon from approximately 2015 to 2018 but was



                                             2331
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2332 of 3128




employed through intermediary entities that FedEx calls independent service providers. Mendoza

has been eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8773. Plaintiff Lynn Midkiff is an individual residing in Oregon. Midkiff worked as a

delivery driver for FedEx in Oregon from approximately 2005 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Midkiff has been

eligible to receive overtime pay under the FLSA because Midkiff has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8774. Plaintiff Adam Miller is an individual residing in Oregon. Miller worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Miller has been eligible to receive overtime pay under the

FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8775. Plaintiff Eric Minney is an individual residing in Oregon. Minney worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Minney has been

eligible to receive overtime pay under the FLSA because Minney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8776. Plaintiff Gabriel Mischke is an individual residing in Washington. Mischke

worked as a delivery driver for FedEx in Oregon from approximately 2018 to 2024 but was



                                              2332
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2333 of 3128




employed through intermediary entities that FedEx calls independent service providers. Mischke

has been eligible to receive overtime pay under the FLSA because Mischke has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8777. Plaintiff Jerin Ratledge is an individual residing in Oregon. Mitchell worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Mitchell has been eligible to receive overtime pay under the

FLSA because Mitchell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8778. Plaintiff Bradley Monson is an individual residing in Oregon. Monson worked as

a delivery driver for FedEx in Oregon from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Monson has been

eligible to receive overtime pay under the FLSA because Monson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8779. Plaintiff Elizabeth Montague is an individual residing in Oregon. Montague

worked as a delivery driver for FedEx in Oregon from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Montague has been eligible to receive overtime pay under the FLSA because Montague has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8780. Plaintiff Ricci Montogmery is an individual residing in Washington. Montogmery

worked as a delivery driver for FedEx in Oregon from approximately 2015 to 2018 but was



                                              2333
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2334 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Montogmery has been eligible to receive overtime pay under the FLSA because Montogmery

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        8781. Plaintiff Trey Morgan is an individual residing in Oregon. Morgan worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8782. Plaintiff David Morris is an individual residing in Oregon. Morris worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Morris has been eligible to receive overtime pay under the

FLSA because Morris has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8783. Plaintiff Kelly Morrison is an individual residing in Washington. Morrison

worked as a delivery driver for FedEx in Oregon from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Morrison

has been eligible to receive overtime pay under the FLSA because Morrison has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8784. Plaintiff Fernando Nolasco Jr. is an individual residing in Oregon. Nolasco Jr.

worked as a delivery driver for FedEx in Oregon from approximately 2015 to 2018 but was



                                              2334
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2335 of 3128




employed through intermediary entities that FedEx calls independent service providers. Nolasco

Jr. has been eligible to receive overtime pay under the FLSA because Nolasco Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8785. Plaintiff Kevin North is an individual residing in Oregon. North worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. North has been

eligible to receive overtime pay under the FLSA because North has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8786. Plaintiff Steven Nybroten is an individual residing in Washington. Nybroten

worked as a delivery driver for FedEx in Oregon from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Nybroten has been eligible to receive overtime pay under the FLSA because Nybroten has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8787. Plaintiff Nicole Palumbo is an individual residing in Oregon. Palumbo worked as

a delivery driver for FedEx in Oregon from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Palumbo has been

eligible to receive overtime pay under the FLSA because Palumbo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             2335
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2336 of 3128




        8788. Plaintiff Kristi Patterson is an individual residing in Oregon. Patterson worked as

a delivery driver for FedEx in Oregon but was employed through intermediary entities that

FedEx calls independent service providers. Patterson has been eligible to receive overtime pay

under the FLSA because Patterson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8789. Plaintiff J. Peralta is an individual residing in Oregon. Peralta worked as a

delivery driver for FedEx in Oregon from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Peralta has been

eligible to receive overtime pay under the FLSA because Peralta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8790. Plaintiff Rhonda Pierson is an individual residing in Oregon. Pierson worked as a

delivery driver for FedEx in Oregon from approximately 1900 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pierson has been

eligible to receive overtime pay under the FLSA because Pierson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8791. Plaintiff Alan Roche is an individual residing in Oregon. Roche worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Roche has been

eligible to receive overtime pay under the FLSA because Roche has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2336
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2337 of 3128




        8792. Plaintiff Felix Roldan is an individual residing in Oregon. Roldan worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Roldan has been eligible to receive overtime pay under the

FLSA because Roldan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8793. Plaintiff James Roswell is an individual residing in Oregon. Roswell worked as a

delivery driver for FedEx in Oregon from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Roswell has been

eligible to receive overtime pay under the FLSA because Roswell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8794. Plaintiff Brian Salvey is an individual residing in Oregon. Salvey worked as a

delivery driver for FedEx in Oregon from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Salvey has been

eligible to receive overtime pay under the FLSA because Salvey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8795. Plaintiff Francisco Sanchez is an individual residing in Oregon. Sanchez worked

as a delivery driver for FedEx in Oregon from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2337
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2338 of 3128




        8796. Plaintiff Santiago Sanchez is an individual residing in Oregon. Sanchez worked as

a delivery driver for FedEx in Oregon from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8797. Plaintiff Jesus Sapien is an individual residing in Oregon. Sapien worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Sapien has been eligible to receive overtime pay under the

FLSA because Sapien has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8798. Plaintiff Ryan Schmutzer is an individual residing in Arizona. Schmutzer worked

as a delivery driver for FedEx in Oregon from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Schmutzer has

been eligible to receive overtime pay under the FLSA because Schmutzer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8799. Plaintiff Roscoe Shorey is an individual residing in Washington. Shorey worked

as a delivery driver for FedEx in Oregon from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Shorey has been

eligible to receive overtime pay under the FLSA because Shorey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2338
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2339 of 3128




        8800. Plaintiff Chris Simms is an individual residing in Washington. Simms worked as

a delivery driver for FedEx in Oregon from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Simms has been

eligible to receive overtime pay under the FLSA because Simms has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8801. Plaintiff Paul Smith is an individual residing in Oregon. Smith worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Smith has been eligible to receive overtime pay under the

FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8802. Plaintiff Russell Smith is an individual residing in Oregon. Smith worked as a

delivery driver for FedEx in Oregon from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8803. Plaintiff Cody Smith is an individual residing in Oregon. Smith worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2339
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2340 of 3128




        8804. Plaintiff Ernesto Diaz is an individual residing in Oregon. Srey worked as a

delivery driver for FedEx in Oregon from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Srey has been

eligible to receive overtime pay under the FLSA because Srey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8805. Plaintiff Wesley Stanley is an individual residing in Oregon. Stanley worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Stanley has been eligible to receive overtime pay under the

FLSA because Stanley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8806. Plaintiff Mikale Stewart is an individual residing in Texas. Stewart worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Stewart has been eligible to receive overtime pay under the

FLSA because Stewart has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8807. Plaintiff Zachery Stobel is an individual residing in Washington. Stobel worked as

a delivery driver for FedEx in Oregon from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stobel has been

eligible to receive overtime pay under the FLSA because Stobel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2340
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2341 of 3128




        8808. Plaintiff Curtis Larson is an individual residing in Oregon. Stokes worked as a

delivery driver for FedEx in Oregon from approximately 2005 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been

eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8809. Plaintiff Randall Strub is an individual residing in Oregon. Strub worked as a

delivery driver for FedEx in Oregon from approximately 1996 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Strub has been

eligible to receive overtime pay under the FLSA because Strub has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8810. Plaintiff Richard Surrey is an individual residing in Oregon. Surrey worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Surrey has been eligible to receive overtime pay under the

FLSA because Surrey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8811. Plaintiff Keyvan Tahmaseb is an individual residing in Oregon. Tahmaseb

worked as a delivery driver for FedEx in Oregon from approximately 2008 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Tahmaseb has been eligible to receive overtime pay under the FLSA because Tahmaseb has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              2341
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2342 of 3128




        8812. Plaintiff Jason Tavernia is an individual residing in Oregon. Tavernia worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Tavernia has been

eligible to receive overtime pay under the FLSA because Tavernia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8813. Plaintiff Matthew Taylor is an individual residing in Washington. Taylor worked

as a delivery driver for FedEx in Oregon from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8814. Plaintiff Joseph Terry is an individual residing in Oregon. Terry worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Terry has been eligible to receive overtime pay under the

FLSA because Terry has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8815. Plaintiff Andrew Tkach is an individual residing in Washington. Tkach worked as

a delivery driver for FedEx in Oregon but was employed through intermediary entities that

FedEx calls independent service providers. Tkach has been eligible to receive overtime pay

under the FLSA because Tkach has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              2342
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2343 of 3128




        8816. Plaintiff Keith Vega is an individual residing in Oregon. Vega worked as a

delivery driver for FedEx in Oregon from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Vega has been

eligible to receive overtime pay under the FLSA because Vega has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8817. Plaintiff Brandy Vicari is an individual residing in Oregon. Vicari worked as a

delivery driver for FedEx in Oregon from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vicari has been

eligible to receive overtime pay under the FLSA because Vicari has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8818. Plaintiff Jordan Villamor is an individual residing in Oregon. Villamor worked as

a delivery driver for FedEx in Oregon from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Villamor has been

eligible to receive overtime pay under the FLSA because Villamor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8819. Plaintiff Erick Warren is an individual residing in Oregon. Warren worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Warren has been

eligible to receive overtime pay under the FLSA because Warren has driven a vehicle weighing




                                              2343
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2344 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8820. Plaintiff Timothy Warren is an individual residing in Oregon. Warren worked as a

delivery driver for FedEx in Oregon from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Warren has been

eligible to receive overtime pay under the FLSA because Warren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8821. Plaintiff Edward West is an individual residing in Oregon. West worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. West has been eligible to receive overtime pay under the

FLSA because West has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8822. Plaintiff Rene Wiffin is an individual residing in Oregon. Wiffin worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Wiffin has been eligible to receive overtime pay under the

FLSA because Wiffin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8823. Plaintiff Bryan Wiley is an individual residing in Oregon. Wiley worked as a

delivery driver for FedEx in Oregon from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wiley has been

eligible to receive overtime pay under the FLSA because Wiley has driven a vehicle weighing




                                              2344
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2345 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8824. Plaintiff Robert Wilson is an individual residing in Oregon. Wilson worked as a

delivery driver for FedEx in Oregon but was employed through intermediary entities that FedEx

calls independent service providers. Wilson has been eligible to receive overtime pay under the

FLSA because Wilson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8825. Plaintiff Darin Woods is an individual residing in Oregon. Woods worked as a

delivery driver for FedEx in Oregon from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8826. Plaintiff Ian Woods is an individual residing in Oregon. Woods worked as a

delivery driver for FedEx in Oregon from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8827. Plaintiff Hani Abdel-Karim is an individual residing in Pennsylvania. Abdel-

Karim worked as a delivery driver for FedEx in Pennsylvania from approximately 2002 to 2016

but was employed through intermediary entities that FedEx calls independent service providers.

Abdel-Karim has been eligible to receive overtime pay under the FLSA because Abdel-Karim



                                              2345
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2346 of 3128




has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       8828. Plaintiff Hussein Abdul-Wahhab is an individual residing in Maryland. Abdul-

Wahhab worked as a delivery driver for FedEx in Pennsylvania but was employed through

intermediary entities that FedEx calls independent service providers. Abdul-Wahhab has been

eligible to receive overtime pay under the FLSA because Abdul-Wahhab has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8829. Plaintiff Som Acharya is an individual residing in Pennsylvania. Acharya worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Acharya has been eligible to receive overtime

pay under the FLSA because Acharya has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       8830. Plaintiff Benjamin Acors is an individual residing in West Virginia. Acors worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Acors

has been eligible to receive overtime pay under the FLSA because Acors has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8831. Plaintiff Donovan Adamson is an individual residing in Pennsylvania. Adamson

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Adamson has been eligible to receive




                                              2346
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2347 of 3128




overtime pay under the FLSA because Adamson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8832. Plaintiff Steven Aloia is an individual residing in Pennsylvania. Aloia worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Aloia has been

eligible to receive overtime pay under the FLSA because Aloia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8833. Plaintiff Shakeera Alston is an individual residing in Pennsylvania. Alston

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Alston

has been eligible to receive overtime pay under the FLSA because Alston has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8834. Plaintiff Prince Alston is an individual residing in Pennsylvania. Alston worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Alston has been

eligible to receive overtime pay under the FLSA because Alston has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8835. Plaintiff Esteban Alvarez is an individual residing in Pennsylvania. Alvarez

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Alvarez



                                              2347
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2348 of 3128




has been eligible to receive overtime pay under the FLSA because Alvarez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8836. Plaintiff Joshua Anthony is an individual residing in Pennsylvania. Anthony

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Anthony

has been eligible to receive overtime pay under the FLSA because Anthony has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8837. Plaintiff Thomas Anton is an individual residing in Pennsylvania. Anton worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Anton

has been eligible to receive overtime pay under the FLSA because Anton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8838. Plaintiff Lisa Arndt is an individual residing in Pennsylvania. Arndt worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Arndt has been eligible to receive overtime pay under

the FLSA because Arndt has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8839. Plaintiff Bernie Ashenfelter is an individual residing in Pennsylvania. Ashenfelter

worked as a delivery driver for FedEx in Pennsylvania from approximately 2008 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             2348
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2349 of 3128




Ashenfelter has been eligible to receive overtime pay under the FLSA because Ashenfelter has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8840. Plaintiff Joevan Atwood is an individual residing in Pennsylvania. Atwood

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Atwood

has been eligible to receive overtime pay under the FLSA because Atwood has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8841. Plaintiff Jose Aviles Jr. is an individual residing in Pennsylvania. Aviles Jr.

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Aviles

Jr. has been eligible to receive overtime pay under the FLSA because Aviles Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       8842. Plaintiff Derrek Ayers is an individual residing in Pennsylvania. Ayers worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Ayers has been eligible to receive overtime pay under

the FLSA because Ayers has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8843. Plaintiff Christopher Babcock is an individual residing in Pennsylvania. Babcock

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Babcock has been eligible to receive



                                              2349
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2350 of 3128




overtime pay under the FLSA because Babcock has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8844. Plaintiff Christopher Bailey is an individual residing in Pennsylvania. Bailey

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Bailey

has been eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8845. Plaintiff Erica Bailey is an individual residing in Pennsylvania. Bailey worked as

a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8846. Plaintiff Asif Baksh is an individual residing in Pennsylvania. Baksh worked as a

delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Baksh has been

eligible to receive overtime pay under the FLSA because Baksh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8847. Plaintiff Mark Balcerzak is an individual residing in Pennsylvania. Balcerzak

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2350
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2351 of 3128




Balcerzak has been eligible to receive overtime pay under the FLSA because Balcerzak has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8848. Plaintiff Travis Ballard is an individual residing in Pennsylvania. Ballard worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Ballard has been eligible to receive overtime pay

under the FLSA because Ballard has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8849. Plaintiff Tyree Ballard is an individual residing in Pennsylvania. Ballard worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Ballard

has been eligible to receive overtime pay under the FLSA because Ballard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8850. Plaintiff David Ballew is an individual residing in Pennsylvania. Ballew worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Ballew

has been eligible to receive overtime pay under the FLSA because Ballew has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8851. Plaintiff Eugene Banks is an individual residing in Pennsylvania. Banks worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Banks



                                              2351
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24      Page 2352 of 3128




has been eligible to receive overtime pay under the FLSA because Banks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8852. Plaintiff Robert Barnes is an individual residing in Pennsylvania. Barnes worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Barnes

has been eligible to receive overtime pay under the FLSA because Barnes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8853. Plaintiff Ralph Bartlett is an individual residing in Pennsylvania. Bartlett worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Bartlett

has been eligible to receive overtime pay under the FLSA because Bartlett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8854. Plaintiff Matthew Beavers is an individual residing in Pennsylvania. Beavers

worked as a delivery driver for FedEx in Pennsylvania from approximately 2011 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Beavers

has been eligible to receive overtime pay under the FLSA because Beavers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8855. Plaintiff Evan Beeson is an individual residing in Delaware. Beeson worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2022 but was employed



                                             2352
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2353 of 3128




through intermediary entities that FedEx calls independent service providers. Beeson has been

eligible to receive overtime pay under the FLSA because Beeson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8856. Plaintiff Thomas Berardi is an individual residing in Pennsylvania. Berardi

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Berardi

has been eligible to receive overtime pay under the FLSA because Berardi has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8857. Plaintiff Richard Bernard is an individual residing in Pennsylvania. Bernard

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Bernard has been eligible to receive

overtime pay under the FLSA because Bernard has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8858. Plaintiff Scotty Bernard is an individual residing in Pennsylvania. Bernard

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bernard

has been eligible to receive overtime pay under the FLSA because Bernard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8859. Plaintiff Steven Biggs is an individual residing in Pennsylvania. Biggs worked as

a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was employed



                                              2353
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2354 of 3128




through intermediary entities that FedEx calls independent service providers. Biggs has been

eligible to receive overtime pay under the FLSA because Biggs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8860. Plaintiff Kevin Booker is an individual residing in Pennsylvania. Booker worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Booker

has been eligible to receive overtime pay under the FLSA because Booker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8861. Plaintiff Salahu Bouraima is an individual residing in Pennsylvania. Bouraima

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Bouraima has been eligible to receive overtime pay under the FLSA because Bouraima has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8862. Plaintiff Pamela Bouvy is an individual residing in Pennsylvania. Bouvy worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Bouvy

has been eligible to receive overtime pay under the FLSA because Bouvy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2354
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2355 of 3128




       8863. Plaintiff Billie Bowery is an individual residing in Pennsylvania. Bowery worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Bowery has been eligible to receive overtime pay

under the FLSA because Bowery has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8864. Plaintiff Stewart Boyes is an individual residing in Pennsylvania. Boyes worked

as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Boyes

has been eligible to receive overtime pay under the FLSA because Boyes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8865. Plaintiff Beth Brady is an individual residing in Pennsylvania. Brady worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Brady has been eligible to receive overtime pay

under the FLSA because Brady has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8866. Plaintiff Steven Brandstatter is an individual residing in Pennsylvania.

Brandstatter worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Brandstatter has been eligible to receive overtime pay under the FLSA because

Brandstatter has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                             2355
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2356 of 3128




        8867. Plaintiff Robert Bretz is an individual residing in Pennsylvania. Bretz worked as a

delivery driver for FedEx in Pennsylvania from approximately 2007 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Bretz has been

eligible to receive overtime pay under the FLSA because Bretz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8868. Plaintiff Joshua Briancesco is an individual residing in Pennsylvania. Briancesco

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Briancesco has been eligible to receive overtime pay under the FLSA because Briancesco has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8869. Plaintiff Theodore Brocious is an individual residing in Pennsylvania. Brocious

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Brocious

has been eligible to receive overtime pay under the FLSA because Brocious has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8870. Plaintiff Sherine Brown is an individual residing in Pennsylvania. Brown worked

as a delivery driver for FedEx in Pennsylvania from approximately 2009 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle




                                              2356
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2357 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8871. Plaintiff Jerrod Brown is an individual residing in Pennsylvania. Brown worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8872. Plaintiff Zackery Brown is an individual residing in Pennsylvania. Brown worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8873. Plaintiff Niya Brown is an individual residing in Pennsylvania. Brown worked as

a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8874. Plaintiff Brian Brown is an individual residing in Pennsylvania. Brown worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been



                                             2357
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2358 of 3128




eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8875. Plaintiff Chanel Brummell is an individual residing in Pennsylvania. Brummell

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Brummell has been eligible to receive overtime pay under the FLSA because Brummell has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8876. Plaintiff Michael Burke is an individual residing in Pennsylvania. Burke worked

as a delivery driver for FedEx in Pennsylvania from approximately 2006 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Burke

has been eligible to receive overtime pay under the FLSA because Burke has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8877. Plaintiff Stephen Burkhardt is an individual residing in New Hampshire.

Burkhardt worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Burkhardt has been eligible to receive overtime pay under the FLSA because

Burkhardt has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        8878. Plaintiff Keith Burrell is an individual residing in Pennsylvania. Burrell worked as

a delivery driver for FedEx in Pennsylvania from approximately 2007 to 2024 but was employed



                                              2358
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2359 of 3128




through intermediary entities that FedEx calls independent service providers. Burrell has been

eligible to receive overtime pay under the FLSA because Burrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8879. Plaintiff Sean Byrne is an individual residing in Pennsylvania. Byrne worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Byrne has been

eligible to receive overtime pay under the FLSA because Byrne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8880. Plaintiff Jose Caba Colon is an individual residing in Pennsylvania. Caba Colon

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Caba

Colon has been eligible to receive overtime pay under the FLSA because Caba Colon has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8881. Plaintiff Daniel Cabrera is an individual residing in Pennsylvania. Cabrera

worked as a delivery driver for FedEx in Pennsylvania from approximately 2007 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Cabrera

has been eligible to receive overtime pay under the FLSA because Cabrera has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2359
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2360 of 3128




       8882. Plaintiff Lindon Caesar is an individual residing in Pennsylvania. Caesar worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Caesar

has been eligible to receive overtime pay under the FLSA because Caesar has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8883. Plaintiff Brandon Cagey is an individual residing in Pennsylvania. Cagey worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Cagey

has been eligible to receive overtime pay under the FLSA because Cagey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8884. Plaintiff James Callahan is an individual residing in Pennsylvania. Callahan

worked as a delivery driver for FedEx in Pennsylvania from approximately 2002 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Callahan

has been eligible to receive overtime pay under the FLSA because Callahan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8885. Plaintiff David Campbell is an individual residing in Pennsylvania. Campbell

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Campbell has been eligible to receive

overtime pay under the FLSA because Campbell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2360
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2361 of 3128




        8886. Plaintiff Robert Cancel is an individual residing in Pennsylvania. Cancel worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Cancel

has been eligible to receive overtime pay under the FLSA because Cancel has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8887. Plaintiff Phillip Carey is an individual residing in Pennsylvania. Carey worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carey has been

eligible to receive overtime pay under the FLSA because Carey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8888. Plaintiff Dennis Caridi is an individual residing in Pennsylvania. Caridi worked as

a delivery driver for FedEx in Pennsylvania from approximately 2008 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Caridi has been

eligible to receive overtime pay under the FLSA because Caridi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8889. Plaintiff Chimar Carlisle-Rodgers is an individual residing in Pennsylvania.

Carlisle-Rodgers worked as a delivery driver for FedEx in Pennsylvania from approximately

2014 to 2024 but was employed through intermediary entities that FedEx calls independent

service providers. Carlisle-Rodgers has been eligible to receive overtime pay under the FLSA




                                              2361
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2362 of 3128




because Carlisle-Rodgers has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8890. Plaintiff Mitch Cassata is an individual residing in Pennsylvania. Cassata worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Cassata has been eligible to receive overtime pay

under the FLSA because Cassata has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8891. Plaintiff Leonardo Castillo is an individual residing in Pennsylvania. Castillo

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Castillo has been eligible to receive

overtime pay under the FLSA because Castillo has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8892. Plaintiff Paul Cavaliere is an individual residing in Pennsylvania. Cavaliere

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Cavaliere has been eligible to receive overtime pay under the FLSA because Cavaliere has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8893. Plaintiff Craig Ceccacci is an individual residing in Pennsylvania. Ceccacci

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ceccacci

has been eligible to receive overtime pay under the FLSA because Ceccacci has driven a vehicle




                                               2362
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2363 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8894. Plaintiff Joshua Chambers is an individual residing in Pennsylvania. Chambers

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Chambers has been eligible to receive overtime pay under the FLSA because Chambers has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8895. Plaintiff Sirena Chaplin is an individual residing in Pennsylvania. Chaplin worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Chaplin

has been eligible to receive overtime pay under the FLSA because Chaplin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8896. Plaintiff Timothy Cherry is an individual residing in Pennsylvania. Cherry

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Cherry

has been eligible to receive overtime pay under the FLSA because Cherry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8897. Plaintiff Matthew Chesson is an individual residing in Pennsylvania. Chesson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Chesson



                                             2363
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2364 of 3128




has been eligible to receive overtime pay under the FLSA because Chesson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8898. Plaintiff George Chinchay is an individual residing in New Jersey. Chinchay

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Chinchay has been eligible to receive

overtime pay under the FLSA because Chinchay has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8899. Plaintiff Jim-Var Churchville is an individual residing in Delaware. Churchville

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Churchville has been eligible to receive overtime pay under the FLSA because Churchville has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8900. Plaintiff Keegan Ciccozzi is an individual residing in Pennsylvania. Ciccozzi

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Ciccozzi

has been eligible to receive overtime pay under the FLSA because Ciccozzi has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8901. Plaintiff David Cid is an individual residing in Pennsylvania. Cid worked as a

delivery driver for FedEx in Pennsylvania from approximately 2004 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Cid has been



                                              2364
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2365 of 3128




eligible to receive overtime pay under the FLSA because Cid has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8902. Plaintiff Bruce Clark is an individual residing in Pennsylvania. Clark worked as a

delivery driver for FedEx in Pennsylvania from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8903. Plaintiff Tameka Cleveland is an individual residing in Pennsylvania. Cleveland

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Cleveland has been eligible to receive overtime pay under the FLSA because Cleveland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8904. Plaintiff Daniel Clohessey is an individual residing in Pennsylvania. Clohessey

worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Clohessey has been eligible to receive overtime pay under the FLSA because Clohessey has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8905. Plaintiff Amir Colder is an individual residing in Delaware. Colder worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2020 but was employed



                                              2365
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2366 of 3128




through intermediary entities that FedEx calls independent service providers. Colder has been

eligible to receive overtime pay under the FLSA because Colder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8906. Plaintiff Matthew Cole is an individual residing in Pennsylvania. Cole worked as

a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8907. Plaintiff James Collins is an individual residing in South Carolina. Collins worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Collins has been eligible to receive overtime pay

under the FLSA because Collins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8908. Plaintiff Philip Conrad is an individual residing in Pennsylvania. Conrad worked

as a delivery driver for FedEx in Pennsylvania from approximately 2007 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Conrad

has been eligible to receive overtime pay under the FLSA because Conrad has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8909. Plaintiff Marian Conti is an individual residing in Pennsylvania. Conti worked as

a delivery driver for FedEx in Pennsylvania from approximately 2007 to 2017 but was employed



                                              2366
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2367 of 3128




through intermediary entities that FedEx calls independent service providers. Conti has been

eligible to receive overtime pay under the FLSA because Conti has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8910. Plaintiff Nicholas Corcoran is an individual residing in Pennsylvania. Corcoran

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Corcoran

has been eligible to receive overtime pay under the FLSA because Corcoran has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8911. Plaintiff Christopher Cordovano is an individual residing in Pennsylvania.

Cordovano worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Cordovano has been eligible to receive overtime pay under the FLSA because

Cordovano has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        8912. Plaintiff Bryon Cosentine is an individual residing in Pennsylvania. Cosentine

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Cosentine has been eligible to receive overtime pay under the FLSA because Cosentine has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              2367
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2368 of 3128




       8913. Plaintiff Jesse Crawford is an individual residing in Pennsylvania. Crawford

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Crawford has been eligible to receive overtime pay under the FLSA because Crawford has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8914. Plaintiff Tracy Culbert is an individual residing in Delaware. Culbert worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Culbert has been eligible to receive overtime pay

under the FLSA because Culbert has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8915. Plaintiff Eric Cullins is an individual residing in Pennsylvania. Cullins worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Cullins has been eligible to receive overtime pay

under the FLSA because Cullins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8916. Plaintiff Jamal Cummings is an individual residing in Pennsylvania. Cummings

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Cummings has been eligible to receive

overtime pay under the FLSA because Cummings has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       8917. Plaintiff Kenneth Cunningham is an individual residing in Pennsylvania.

Cunningham worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to



                                              2368
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2369 of 3128




2018 but was employed through intermediary entities that FedEx calls independent service

providers. Cunningham has been eligible to receive overtime pay under the FLSA because

Cunningham has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        8918. Plaintiff Dennis Cupp is an individual residing in Pennsylvania. Cupp worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cupp has been

eligible to receive overtime pay under the FLSA because Cupp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8919. Plaintiff Tyrone Dale is an individual residing in Pennsylvania. Dale worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Dale has been eligible to receive overtime pay under

the FLSA because Dale has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8920. Plaintiff William Dankwa is an individual residing in Pennsylvania. Dankwa

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Dankwa

has been eligible to receive overtime pay under the FLSA because Dankwa has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8921. Plaintiff Donald Davies is an individual residing in Pennsylvania. Davies worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities



                                              2369
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2370 of 3128




that FedEx calls independent service providers. Davies has been eligible to receive overtime pay

under the FLSA because Davies has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8922. Plaintiff Erick Davila is an individual residing in New Jersey. Davila worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Davila has been

eligible to receive overtime pay under the FLSA because Davila has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8923. Plaintiff Jason Davis is an individual residing in Pennsylvania. Davis worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8924. Plaintiff Jared Davis is an individual residing in Pennsylvania. Davis worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under

the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8925. Plaintiff Terrell Davis is an individual residing in Pennsylvania. Davis worked as

a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing



                                              2370
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2371 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8926. Plaintiff Mark Davis is an individual residing in Pennsylvania. Davis worked as a

delivery driver for FedEx in Pennsylvania from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8927. Plaintiff Kevin Dawson is an individual residing in Pennsylvania. Dawson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Dawson

has been eligible to receive overtime pay under the FLSA because Dawson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8928. Plaintiff Michael Day is an individual residing in Pennsylvania. Day worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Day has been

eligible to receive overtime pay under the FLSA because Day has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8929. Plaintiff Brian Decker is an individual residing in Pennsylvania. Decker worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Decker



                                             2371
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2372 of 3128




has been eligible to receive overtime pay under the FLSA because Decker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8930. Plaintiff Scott Delaney is an individual residing in Pennsylvania. Delaney worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Delaney

has been eligible to receive overtime pay under the FLSA because Delaney has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8931. Plaintiff Manuel Delvalle is an individual residing in Pennsylvania. Delvalle

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Delvalle

has been eligible to receive overtime pay under the FLSA because Delvalle has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8932. Plaintiff Jason Deramo is an individual residing in Pennsylvania. Deramo worked

as a delivery driver for FedEx in Pennsylvania from approximately 2009 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Deramo

has been eligible to receive overtime pay under the FLSA because Deramo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8933. Plaintiff De Devine is an individual residing in Pennsylvania. Devine worked as a

delivery driver for FedEx in Pennsylvania from approximately 2010 to 2016 but was employed



                                             2372
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2373 of 3128




through intermediary entities that FedEx calls independent service providers. Devine has been

eligible to receive overtime pay under the FLSA because Devine has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8934. Plaintiff Robert Didomenico is an individual residing in Pennsylvania.

Didomenico worked as a delivery driver for FedEx in Pennsylvania but was employed through

intermediary entities that FedEx calls independent service providers. Didomenico has been

eligible to receive overtime pay under the FLSA because Didomenico has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8935. Plaintiff Matthew Dietz is an individual residing in Pennsylvania. Dietz worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Dietz has been

eligible to receive overtime pay under the FLSA because Dietz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8936. Plaintiff William Dillon is an individual residing in Pennsylvania. Dillon worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Dillon

has been eligible to receive overtime pay under the FLSA because Dillon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2373
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2374 of 3128




        8937. Plaintiff Sarina Dixon is an individual residing in Pennsylvania. Dixon worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dixon has been

eligible to receive overtime pay under the FLSA because Dixon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8938. Plaintiff Gregory Dixon is an individual residing in Pennsylvania. Dixon worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Dixon has been eligible to receive overtime pay

under the FLSA because Dixon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8939. Plaintiff Douglas Dolan is an individual residing in Pennsylvania. Dolan worked

as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Dolan

has been eligible to receive overtime pay under the FLSA because Dolan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8940. Plaintiff Mark Dombeck is an individual residing in Pennsylvania. Dombeck

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Dombeck has been eligible to receive

overtime pay under the FLSA because Dombeck has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2374
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2375 of 3128




       8941. Plaintiff Colin Dougherty is an individual residing in Pennsylvania. Dougherty

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Dougherty has been eligible to receive overtime pay under the FLSA because Dougherty has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8942. Plaintiff William Driscoll is an individual residing in Pennsylvania. Driscoll

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Driscoll

has been eligible to receive overtime pay under the FLSA because Driscoll has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8943. Plaintiff Douglas Drwal is an individual residing in Pennsylvania. Drwal worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Drwal

has been eligible to receive overtime pay under the FLSA because Drwal has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8944. Plaintiff Brandon Duncan is an individual residing in Georgia. Duncan worked as

a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Duncan has been

eligible to receive overtime pay under the FLSA because Duncan has driven a vehicle weighing




                                             2375
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2376 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8945. Plaintiff James Dundas is an individual residing in Pennsylvania. Dundas worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Dundas

has been eligible to receive overtime pay under the FLSA because Dundas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8946. Plaintiff Anderson Duran is an individual residing in Pennsylvania. Duran worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Duran

has been eligible to receive overtime pay under the FLSA because Duran has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8947. Plaintiff Jenderson Duran is an individual residing in Pennsylvania. Duran

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Duran

has been eligible to receive overtime pay under the FLSA because Duran has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8948. Plaintiff Renee Durante is an individual residing in Pennsylvania. Durante worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Durante



                                             2376
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2377 of 3128




has been eligible to receive overtime pay under the FLSA because Durante has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8949. Plaintiff Daniel Durso is an individual residing in Pennsylvania. Durso worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Durso has been

eligible to receive overtime pay under the FLSA because Durso has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8950. Plaintiff Erica Duvall is an individual residing in Pennsylvania. Duvall worked as

a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Duvall has been

eligible to receive overtime pay under the FLSA because Duvall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8951. Plaintiff Jaleel Edwards is an individual residing in Pennsylvania. Edwards

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Edwards

has been eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8952. Plaintiff Dennis Egan is an individual residing in Pennsylvania. Egan worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that



                                              2377
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2378 of 3128




FedEx calls independent service providers. Egan has been eligible to receive overtime pay under

the FLSA because Egan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8953. Plaintiff James Egglinger is an individual residing in Pennsylvania. Egglinger

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Egglinger has been eligible to receive overtime pay under the FLSA because Egglinger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       8954. Plaintiff Kenneth Eleam is an individual residing in Pennsylvania. Eleam worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Eleam

has been eligible to receive overtime pay under the FLSA because Eleam has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8955. Plaintiff Prince Ellis is an individual residing in Pennsylvania. Ellis worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Ellis has been eligible to receive overtime pay under

the FLSA because Ellis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       8956. Plaintiff Deen Ersin is an individual residing in Pennsylvania. Ersin worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Ersin has been eligible to receive overtime pay under



                                              2378
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2379 of 3128




the FLSA because Ersin has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8957. Plaintiff Mina Essa is an individual residing in Pennsylvania. Essa worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Essa has been

eligible to receive overtime pay under the FLSA because Essa has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8958. Plaintiff Paige Evans is an individual residing in Pennsylvania. Evans worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8959. Plaintiff Johanan Fabian Vicioso is an individual residing in Pennsylvania. Fabian

Vicioso worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018

but was employed through intermediary entities that FedEx calls independent service providers.

Fabian Vicioso has been eligible to receive overtime pay under the FLSA because Fabian

Vicioso has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        8960. Plaintiff Marc Falco is an individual residing in Pennsylvania. Falco worked as a

delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Falco has been



                                              2379
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2380 of 3128




eligible to receive overtime pay under the FLSA because Falco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8961. Plaintiff Duwayne Farrar is an individual residing in Virginia. Farrar worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Farrar has been

eligible to receive overtime pay under the FLSA because Farrar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8962. Plaintiff Brian Feinberg is an individual residing in Pennsylvania. Feinberg

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Feinberg

has been eligible to receive overtime pay under the FLSA because Feinberg has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8963. Plaintiff Manuel Feliz is an individual residing in Pennsylvania. Feliz worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Feliz has been eligible to receive overtime pay under

the FLSA because Feliz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8964. Plaintiff Michael Feltman is an individual residing in Pennsylvania. Feltman

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Feltman



                                              2380
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2381 of 3128




has been eligible to receive overtime pay under the FLSA because Feltman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8965. Plaintiff Irvin Ferebee is an individual residing in Pennsylvania. Ferebee worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ferebee

has been eligible to receive overtime pay under the FLSA because Ferebee has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8966. Plaintiff Dillon Foringer is an individual residing in Pennsylvania. Foringer

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Foringer has been eligible to receive

overtime pay under the FLSA because Foringer has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8967. Plaintiff Erik Fortson is an individual residing in Florida. Fortson worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fortson has been

eligible to receive overtime pay under the FLSA because Fortson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8968. Plaintiff Robert Fowler is an individual residing in Pennsylvania. Fowler worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Fowler has been eligible to receive overtime pay



                                               2381
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2382 of 3128




under the FLSA because Fowler has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8969. Plaintiff Rita Fox is an individual residing in Pennsylvania. Fox worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Fox has been

eligible to receive overtime pay under the FLSA because Fox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8970. Plaintiff Todd Frey is an individual residing in Pennsylvania. Frey worked as a

delivery driver for FedEx in Pennsylvania from approximately 1990 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Frey has been

eligible to receive overtime pay under the FLSA because Frey has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8971. Plaintiff James Fuller is an individual residing in Pennsylvania. Fuller worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Fuller has been eligible to receive overtime pay under

the FLSA because Fuller has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8972. Plaintiff Brynn Gable is an individual residing in Pennsylvania. Gable worked as

a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gable has been

eligible to receive overtime pay under the FLSA because Gable has driven a vehicle weighing



                                              2382
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2383 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8973. Plaintiff Stephen Gafford is an individual residing in Pennsylvania. Gafford

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Gafford

has been eligible to receive overtime pay under the FLSA because Gafford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8974. Plaintiff Thomas Galonsky is an individual residing in Florida. Galonsky worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Galonsky has been eligible to receive overtime

pay under the FLSA because Galonsky has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        8975. Plaintiff William Gardner is an individual residing in Pennsylvania. Gardner

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Gardner

has been eligible to receive overtime pay under the FLSA because Gardner has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8976. Plaintiff Michael Gazica is an individual residing in Pennsylvania. Gazica worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Gazica has been eligible to receive overtime pay




                                              2383
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2384 of 3128




under the FLSA because Gazica has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8977. Plaintiff Matt Gearhart is an individual residing in Pennsylvania. Gearhart worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Gearhart has been eligible to receive overtime

pay under the FLSA because Gearhart has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       8978. Plaintiff Alina Gerlicz is an individual residing in Pennsylvania. Gerlicz worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Gerlicz has been eligible to receive overtime pay

under the FLSA because Gerlicz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       8979. Plaintiff Matthew Gibbons is an individual residing in Pennsylvania. Gibbons

worked as a delivery driver for FedEx in Pennsylvania from approximately 2004 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Gibbons

has been eligible to receive overtime pay under the FLSA because Gibbons has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       8980. Plaintiff Joshua Gibbs is an individual residing in Pennsylvania. Gibbs worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gibbs has been

eligible to receive overtime pay under the FLSA because Gibbs has driven a vehicle weighing




                                              2384
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2385 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8981. Plaintiff Frank Goldcamp is an individual residing in Pennsylvania. Goldcamp

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Goldcamp has been eligible to receive overtime pay under the FLSA because Goldcamp has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8982. Plaintiff Nehemias Gonzalez is an individual residing in Pennsylvania. Gonzalez

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Gonzalez has been eligible to receive

overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8983. Plaintiff Nicholes Gonzalez is an individual residing in Pennsylvania. Gonzalez

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez has been eligible to receive overtime pay under the FLSA because Gonzalez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        8984. Plaintiff Douglas Goodwin is an individual residing in Pennsylvania. Goodwin

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Goodwin has been eligible to receive




                                              2385
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2386 of 3128




overtime pay under the FLSA because Goodwin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8985. Plaintiff Dashan Gordon is an individual residing in Pennsylvania. Gordon

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Gordon

has been eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8986. Plaintiff Andrew Gorzynski is an individual residing in Pennsylvania. Gorzynski

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Gorzynski has been eligible to receive overtime pay under the FLSA because Gorzynski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        8987. Plaintiff Jairius Grant is an individual residing in Pennsylvania. Grant worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been

eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8988. Plaintiff Cuan Grant is an individual residing in Pennsylvania. Grant worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Grant has been



                                              2386
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2387 of 3128




eligible to receive overtime pay under the FLSA because Grant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8989. Plaintiff Mike Gressley is an individual residing in Pennsylvania. Gressley

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Gressley has been eligible to receive

overtime pay under the FLSA because Gressley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        8990. Plaintiff Effon Wilson Jr. is an individual residing in Pennsylvania. Griffin

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Griffin

has been eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8991. Plaintiff Brendan Griffin is an individual residing in Pennsylvania. Griffin worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Griffin

has been eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8992. Plaintiff Ed Grim is an individual residing in Pennsylvania. Grim worked as a

delivery driver for FedEx in Pennsylvania from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Grim has been



                                               2387
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2388 of 3128




eligible to receive overtime pay under the FLSA because Grim has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8993. Plaintiff Edward Guy is an individual residing in Pennsylvania. Guy worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Guy has been eligible to receive overtime pay under

the FLSA because Guy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        8994. Plaintiff H Hall is an individual residing in Pennsylvania. Hall worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        8995. Plaintiff George Hammer is an individual residing in Pennsylvania. Hammer

worked as a delivery driver for FedEx in Pennsylvania from approximately 2002 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hammer

has been eligible to receive overtime pay under the FLSA because Hammer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8996. Plaintiff John Hanna is an individual residing in Pennsylvania. Hanna worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Hanna has been eligible to receive overtime pay



                                              2388
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2389 of 3128




under the FLSA because Hanna has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        8997. Plaintiff Kevin Hannahs is an individual residing in Pennsylvania. Hannahs

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Hannahs

has been eligible to receive overtime pay under the FLSA because Hannahs has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8998. Plaintiff William Hanzely is an individual residing in Pennsylvania. Hanzely

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Hanzely

has been eligible to receive overtime pay under the FLSA because Hanzely has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        8999. Plaintiff Robert Harris is an individual residing in Pennsylvania. Harris worked as

a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9000. Plaintiff Rich Harrison is an individual residing in Pennsylvania. Harrison worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Harrison



                                              2389
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2390 of 3128




has been eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9001. Plaintiff Ryan Hartung is an individual residing in Pennsylvania. Hartung worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hartung

has been eligible to receive overtime pay under the FLSA because Hartung has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9002. Plaintiff Evan Hasley is an individual residing in Mississippi. Hasley worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hasley has been

eligible to receive overtime pay under the FLSA because Hasley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9003. Plaintiff Leighton Hawkins is an individual residing in Pennsylvania. Hawkins

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Hawkins has been eligible to receive

overtime pay under the FLSA because Hawkins has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9004. Plaintiff Lisa Heeter is an individual residing in Pennsylvania. Heeter worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Heeter has been



                                              2390
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2391 of 3128




eligible to receive overtime pay under the FLSA because Heeter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9005. Plaintiff Timothy Heil is an individual residing in Pennsylvania. Heil worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Heil has been eligible to receive overtime pay under

the FLSA because Heil has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9006. Plaintiff Troy Heitzenrater is an individual residing in Ohio. Heitzenrater worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Heitzenrater has been eligible to receive overtime pay under the FLSA because Heitzenrater has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9007. Plaintiff Brandon Hemelgarn is an individual residing in Pennsylvania.

Hemelgarn worked as a delivery driver for FedEx in Pennsylvania but was employed through

intermediary entities that FedEx calls independent service providers. Hemelgarn has been

eligible to receive overtime pay under the FLSA because Hemelgarn has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9008. Plaintiff Andrew Henderson is an individual residing in Pennsylvania. Henderson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2391
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2392 of 3128




Henderson has been eligible to receive overtime pay under the FLSA because Henderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9009. Plaintiff Robert Henry is an individual residing in Pennsylvania. Henry worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Henry has been

eligible to receive overtime pay under the FLSA because Henry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9010. Plaintiff Michael Henry is an individual residing in Pennsylvania. Henry worked

as a delivery driver for FedEx in Pennsylvania from approximately 2000 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Henry

has been eligible to receive overtime pay under the FLSA because Henry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9011. Plaintiff Andre Henry is an individual residing in Pennsylvania. Henry worked as

a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Henry has been

eligible to receive overtime pay under the FLSA because Henry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9012. Plaintiff Michael Henry is an individual residing in Pennsylvania. Henry worked

as a delivery driver for FedEx in Pennsylvania from approximately 2004 to 2017 but was



                                             2392
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2393 of 3128




employed through intermediary entities that FedEx calls independent service providers. Henry

has been eligible to receive overtime pay under the FLSA because Henry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9013. Plaintiff Austin High is an individual residing in Pennsylvania. High worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. High has been

eligible to receive overtime pay under the FLSA because High has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9014. Plaintiff Robert Hillegas is an individual residing in Pennsylvania. Hillegas

worked as a delivery driver for FedEx in Pennsylvania from approximately 1993 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Hillegas

has been eligible to receive overtime pay under the FLSA because Hillegas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9015. Plaintiff Richard Hoag is an individual residing in Pennsylvania. Hoag worked as

a delivery driver for FedEx in Pennsylvania from approximately 1999 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hoag has been

eligible to receive overtime pay under the FLSA because Hoag has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2393
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2394 of 3128




        9016. Plaintiff Caitlin Hoban is an individual residing in Pennsylvania. Hoban worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Hoban

has been eligible to receive overtime pay under the FLSA because Hoban has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9017. Plaintiff Johnathan Hodges is an individual residing in Pennsylvania. Hodges

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Hodges

has been eligible to receive overtime pay under the FLSA because Hodges has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9018. Plaintiff Cody Holtz is an individual residing in Pennsylvania. Holtz worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Holtz has been

eligible to receive overtime pay under the FLSA because Holtz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9019. Plaintiff Timothy Howley is an individual residing in New Jersey. Howley

worked as a delivery driver for FedEx in Pennsylvania from approximately 2006 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Howley

has been eligible to receive overtime pay under the FLSA because Howley has driven a vehicle




                                              2394
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2395 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9020. Plaintiff Stephen Hricik is an individual residing in Colorado. Hricik worked as a

delivery driver for FedEx in Pennsylvania from approximately 2004 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Hricik has been

eligible to receive overtime pay under the FLSA because Hricik has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9021. Plaintiff Duane Huckstep is an individual residing in Pennsylvania. Huckstep

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Huckstep has been eligible to receive

overtime pay under the FLSA because Huckstep has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9022. Plaintiff Christopher Hudy is an individual residing in Pennsylvania. Hudy

worked as a delivery driver for FedEx in Pennsylvania from approximately 2011 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hudy

has been eligible to receive overtime pay under the FLSA because Hudy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9023. Plaintiff Lonnie Hunsicker is an individual residing in Pennsylvania. Hunsicker

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Hunsicker has been eligible to receive overtime pay under the FLSA because Hunsicker has



                                              2395
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2396 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9024. Plaintiff Christopher Hunter is an individual residing in Tennessee. Hunter

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Hunter

has been eligible to receive overtime pay under the FLSA because Hunter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9025. Plaintiff Thomas Hurley is an individual residing in Pennsylvania. Hurley worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Hurley

has been eligible to receive overtime pay under the FLSA because Hurley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9026. Plaintiff Gregory Hurley is an individual residing in Pennsylvania. Hurley worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Hurley

has been eligible to receive overtime pay under the FLSA because Hurley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9027. Plaintiff Dana Huskins is an individual residing in Pennsylvania. Huskins worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Huskins has been eligible to receive overtime



                                              2396
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2397 of 3128




pay under the FLSA because Huskins has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        9028. Plaintiff Edward Hyatt Jr is an individual residing in Pennsylvania. Hyatt Jr

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Hyatt Jr has been eligible to receive

overtime pay under the FLSA because Hyatt Jr has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9029. Plaintiff Yousef Ifraiwan is an individual residing in Pennsylvania. Ifraiwan

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Ifraiwan

has been eligible to receive overtime pay under the FLSA because Ifraiwan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9030. Plaintiff Daniel Isajiw is an individual residing in Pennsylvania. Isajiw worked as

a delivery driver for FedEx in Pennsylvania from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Isajiw has been

eligible to receive overtime pay under the FLSA because Isajiw has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9031. Plaintiff Roman Isayev is an individual residing in Pennsylvania. Isayev worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Isayev has been eligible to receive overtime pay




                                               2397
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2398 of 3128




under the FLSA because Isayev has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9032. Plaintiff Robert Jackson is an individual residing in Pennsylvania. Jackson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Jackson

has been eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9033. Plaintiff Timothy Jackson is an individual residing in Pennsylvania. Jackson

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Jackson has been eligible to receive

overtime pay under the FLSA because Jackson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9034. Plaintiff James Jackson is an individual residing in Pennsylvania. Jackson worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Jackson has been eligible to receive overtime pay

under the FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9035. Plaintiff Christopher Jacques is an individual residing in Pennsylvania. Jacques

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Jacques

has been eligible to receive overtime pay under the FLSA because Jacques has driven a vehicle




                                              2398
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2399 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9036. Plaintiff Ryan Jagel is an individual residing in Pennsylvania. Jagel worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jagel has been

eligible to receive overtime pay under the FLSA because Jagel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9037. Plaintiff Michael James is an individual residing in Pennsylvania. James worked

as a delivery driver for FedEx in Pennsylvania from approximately 2021 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. James

has been eligible to receive overtime pay under the FLSA because James has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9038. Plaintiff Anthony Jaskulski is an individual residing in Pennsylvania. Jaskulski

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Jaskulski

has been eligible to receive overtime pay under the FLSA because Jaskulski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9039. Plaintiff Raymond Jelley is an individual residing in Pennsylvania. Jelley worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Jelley



                                              2399
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2400 of 3128




has been eligible to receive overtime pay under the FLSA because Jelley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9040. Plaintiff Robin Jenkins is an individual residing in Virginia. Jenkins worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9041. Plaintiff Jermel Jenkins is an individual residing in New Jersey. Jenkins worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Jenkins

has been eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9042. Plaintiff Juan Jimenez is an individual residing in Pennsylvania. Jimenez worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Jimenez

has been eligible to receive overtime pay under the FLSA because Jimenez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9043. Plaintiff Kevin Johns is an individual residing in Pennsylvania. Johns worked as a

delivery driver for FedEx in Pennsylvania from approximately 2010 to 2017 but was employed



                                              2400
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2401 of 3128




through intermediary entities that FedEx calls independent service providers. Johns has been

eligible to receive overtime pay under the FLSA because Johns has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9044. Plaintiff Dana Johnson, Sr. is an individual residing in Pennsylvania. Johnson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9045. Plaintiff Eric Johnson is an individual residing in Pennsylvania. Johnson worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Johnson has been eligible to receive overtime

pay under the FLSA because Johnson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        9046. Plaintiff Danielle Johnson is an individual residing in Pennsylvania. Johnson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9047. Plaintiff Adam Johnston is an individual residing in Pennsylvania. Johnston

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was



                                              2401
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2402 of 3128




employed through intermediary entities that FedEx calls independent service providers. Johnston

has been eligible to receive overtime pay under the FLSA because Johnston has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9048. Plaintiff Donovan Jones is an individual residing in Pennsylvania. Jones worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9049. Plaintiff Robert Jones is an individual residing in Pennsylvania. Jones worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9050. Plaintiff Shaborn Jones-Wingate is an individual residing in Pennsylvania. Jones-

Wingate worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Jones-Wingate has been eligible to receive overtime pay under the FLSA because

Jones-Wingate has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                              2402
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2403 of 3128




        9051. Plaintiff Frank Kamine is an individual residing in Pennsylvania. Kamine worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Kamine has been eligible to receive overtime pay

under the FLSA because Kamine has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9052. Plaintiff Eric Kane is an individual residing in Pennsylvania. Kane worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Kane has been eligible to receive overtime pay under

the FLSA because Kane has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9053. Plaintiff Kenneth Kanouff is an individual residing in Pennsylvania. Kanouff

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Kanouff has been eligible to receive

overtime pay under the FLSA because Kanouff has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9054. Plaintiff Eiad Kassis is an individual residing in Pennsylvania. Kassis worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Kassis has been

eligible to receive overtime pay under the FLSA because Kassis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9055. Plaintiff Thomas Kelly is an individual residing in Pennsylvania. Kelly worked as

a delivery driver for FedEx in Pennsylvania from approximately 2005 to 2017 but was employed



                                              2403
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2404 of 3128




through intermediary entities that FedEx calls independent service providers. Kelly has been

eligible to receive overtime pay under the FLSA because Kelly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9056. Plaintiff Donald Kemmerling is an individual residing in Pennsylvania.

Kemmerling worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Kemmerling has been eligible to receive overtime pay under the FLSA because

Kemmerling has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        9057. Plaintiff Richard Kennedy is an individual residing in Pennsylvania. Kennedy

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Kennedy has been eligible to receive

overtime pay under the FLSA because Kennedy has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9058. Plaintiff Bradley Ketterman is an individual residing in Pennsylvania. Ketterman

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Ketterman has been eligible to receive overtime pay under the FLSA because Ketterman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9059. Plaintiff Kumar Kharel is an individual residing in Pennsylvania. Kharel worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was



                                              2404
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2405 of 3128




employed through intermediary entities that FedEx calls independent service providers. Kharel

has been eligible to receive overtime pay under the FLSA because Kharel has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9060. Plaintiff Justin Kimbrough is an individual residing in Pennsylvania. Kimbrough

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Kimbrough has been eligible to receive

overtime pay under the FLSA because Kimbrough has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9061. Plaintiff Gordon King is an individual residing in Pennsylvania. King worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. King has been eligible to receive overtime pay under

the FLSA because King has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9062. Plaintiff Donald King is an individual residing in Florida. King worked as a

delivery driver for FedEx in Pennsylvania from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. King has been

eligible to receive overtime pay under the FLSA because King has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9063. Plaintiff John Kircher is an individual residing in Pennsylvania. Kircher worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Kircher has been eligible to receive overtime pay



                                              2405
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2406 of 3128




under the FLSA because Kircher has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9064. Plaintiff John Kitchin Jr. is an individual residing in Pennsylvania. Kitchin Jr.

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Kitchin

Jr. has been eligible to receive overtime pay under the FLSA because Kitchin Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9065. Plaintiff Anthony Klemunes is an individual residing in Pennsylvania. Klemunes

worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Klemunes has been eligible to receive overtime pay under the FLSA because Klemunes has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9066. Plaintiff Joel Klinedinst is an individual residing in Pennsylvania. Klinedinst

worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Klinedinst has been eligible to receive overtime pay under the FLSA because Klinedinst has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9067. Plaintiff Ryan Knowlton is an individual residing in New York. Knowlton worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2406
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2407 of 3128




Knowlton has been eligible to receive overtime pay under the FLSA because Knowlton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9068. Plaintiff William Knuth is an individual residing in Pennsylvania. Knuth worked

as a delivery driver for FedEx in Pennsylvania from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Knuth

has been eligible to receive overtime pay under the FLSA because Knuth has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9069. Plaintiff Barry Koehler is an individual residing in Pennsylvania. Koehler worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Koehler

has been eligible to receive overtime pay under the FLSA because Koehler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9070. Plaintiff Edis Kostic is an individual residing in Pennsylvania. Kostic worked as a

delivery driver for FedEx in Pennsylvania from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Kostic has been

eligible to receive overtime pay under the FLSA because Kostic has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9071. Plaintiff Almalik Laboo is an individual residing in New Jersey. Laboo worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed



                                              2407
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2408 of 3128




through intermediary entities that FedEx calls independent service providers. Laboo has been

eligible to receive overtime pay under the FLSA because Laboo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9072. Plaintiff Michael Lambert is an individual residing in Pennsylvania. Lambert

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Lambert

has been eligible to receive overtime pay under the FLSA because Lambert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9073. Plaintiff Ronald Landon is an individual residing in Pennsylvania. Landon

worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Landon

has been eligible to receive overtime pay under the FLSA because Landon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9074. Plaintiff Joseph Lassick is an individual residing in Pennsylvania. Lassick worked

as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Lassick

has been eligible to receive overtime pay under the FLSA because Lassick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2408
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2409 of 3128




       9075. Plaintiff Brandon Latham is an individual residing in Tennessee. Latham worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Latham has been eligible to receive overtime pay

under the FLSA because Latham has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9076. Plaintiff Nicole Lavery is an individual residing in Pennsylvania. Lavery worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Lavery

has been eligible to receive overtime pay under the FLSA because Lavery has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9077. Plaintiff Daryl Lawrence is an individual residing in Pennsylvania. Lawrence

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Lawrence has been eligible to receive overtime pay under the FLSA because Lawrence has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9078. Plaintiff Lawrence Laws is an individual residing in Pennsylvania. Laws worked

as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Laws has

been eligible to receive overtime pay under the FLSA because Laws has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                             2409
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2410 of 3128




        9079. Plaintiff Patricia Laws is an individual residing in Pennsylvania. Laws worked as

a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Laws has been

eligible to receive overtime pay under the FLSA because Laws has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9080. Plaintiff Timothy Leach is an individual residing in Pennsylvania. Leach worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Leach has been eligible to receive overtime pay

under the FLSA because Leach has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9081. Plaintiff Takara Leath is an individual residing in Pennsylvania. Leath worked as

a delivery driver for FedEx in Pennsylvania from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Leath has been

eligible to receive overtime pay under the FLSA because Leath has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9082. Plaintiff Roseanne Lee is an individual residing in Pennsylvania. Lee worked as a

delivery driver for FedEx in Pennsylvania from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2410
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2411 of 3128




        9083. Plaintiff Mary Leicher is an individual residing in Pennsylvania. Leicher worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Leicher

has been eligible to receive overtime pay under the FLSA because Leicher has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9084. Plaintiff Ruddy Leonor Severino is an individual residing in Pennsylvania.

Leonor Severino worked as a delivery driver for FedEx in Pennsylvania from approximately

2017 to 2019 but was employed through intermediary entities that FedEx calls independent

service providers. Leonor Severino has been eligible to receive overtime pay under the FLSA

because Leonor Severino has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9085. Plaintiff Anna Levier is an individual residing in Pennsylvania. Levier worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Levier has been

eligible to receive overtime pay under the FLSA because Levier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9086. Plaintiff Mary Lewis is an individual residing in Pennsylvania. Lewis worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing




                                              2411
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2412 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9087. Plaintiff James Liney is an individual residing in Pennsylvania. Liney worked as a

delivery driver for FedEx in Pennsylvania from approximately 1997 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Liney has been

eligible to receive overtime pay under the FLSA because Liney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9088. Plaintiff George Liptak Jr. is an individual residing in Pennsylvania. Liptak Jr.

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Liptak

Jr. has been eligible to receive overtime pay under the FLSA because Liptak Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9089. Plaintiff Brian Lombardi is an individual residing in Pennsylvania. Lombardi

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Lombardi has been eligible to receive overtime pay under the FLSA because Lombardi has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9090. Plaintiff Orlando Lopez is an individual residing in New Jersey. Lopez worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been



                                               2412
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2413 of 3128




eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9091. Plaintiff Rosana Lopez is an individual residing in Pennsylvania. Lopez worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Lopez

has been eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9092. Plaintiff Robert Lopez is an individual residing in Pennsylvania. Lopez worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9093. Plaintiff Andrew Lucas is an individual residing in Pennsylvania. Lucas worked

as a delivery driver for FedEx in Pennsylvania from approximately 1994 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Lucas

has been eligible to receive overtime pay under the FLSA because Lucas has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9094. Plaintiff Richard Luce is an individual residing in Pennsylvania. Luce worked as a

delivery driver for FedEx in Pennsylvania from approximately 2003 to 2023 but was employed



                                             2413
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2414 of 3128




through intermediary entities that FedEx calls independent service providers. Luce has been

eligible to receive overtime pay under the FLSA because Luce has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9095. Plaintiff Daniel Lugo Dejesus is an individual residing in Pennsylvania. Lugo

Dejesus worked as a delivery driver for FedEx in Pennsylvania from approximately 2020 to 2023

but was employed through intermediary entities that FedEx calls independent service providers.

Lugo Dejesus has been eligible to receive overtime pay under the FLSA because Lugo Dejesus

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        9096. Plaintiff Elizabeth Lynott is an individual residing in Pennsylvania. Lynott

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Lynott

has been eligible to receive overtime pay under the FLSA because Lynott has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9097. Plaintiff Iouri Lyssenko is an individual residing in Pennsylvania. Lyssenko

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Lyssenko has been eligible to receive

overtime pay under the FLSA because Lyssenko has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9098. Plaintiff Dennis Machuca is an individual residing in Pennsylvania. Machuca

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2016 but was



                                              2414
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2415 of 3128




employed through intermediary entities that FedEx calls independent service providers. Machuca

has been eligible to receive overtime pay under the FLSA because Machuca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9099. Plaintiff Tim Mackowski is an individual residing in Pennsylvania. Mackowski

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Mackowski has been eligible to receive

overtime pay under the FLSA because Mackowski has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9100. Plaintiff Gerardo Maldonado Perez is an individual residing in Pennsylvania.

Maldonado Perez worked as a delivery driver for FedEx in Pennsylvania from approximately

2018 to 2020 but was employed through intermediary entities that FedEx calls independent

service providers. Maldonado Perez has been eligible to receive overtime pay under the FLSA

because Maldonado Perez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9101. Plaintiff David Malickson is an individual residing in New Jersey. Malickson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2005 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Malickson has been eligible to receive overtime pay under the FLSA because Malickson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9102. Plaintiff Patrick Malloy is an individual residing in Pennsylvania. Malloy worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was



                                              2415
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2416 of 3128




employed through intermediary entities that FedEx calls independent service providers. Malloy

has been eligible to receive overtime pay under the FLSA because Malloy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9103. Plaintiff Stephen Malone is an individual residing in Pennsylvania. Malone

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Malone

has been eligible to receive overtime pay under the FLSA because Malone has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9104. Plaintiff Anthony Manganaro is an individual residing in Pennsylvania.

Manganaro worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Manganaro has been eligible to receive overtime pay under the FLSA because

Manganaro has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9105. Plaintiff David Mankey is an individual residing in Pennsylvania. Mankey

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Mankey

has been eligible to receive overtime pay under the FLSA because Mankey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2416
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2417 of 3128




        9106. Plaintiff Tyler Miller is an individual residing in Virginia. Marbury worked as a

delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Marbury has been

eligible to receive overtime pay under the FLSA because Marbury has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9107. Plaintiff Danielle Marinakies is an individual residing in Delaware. Marinakies

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Marinakies has been eligible to receive overtime pay under the FLSA because Marinakies has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9108. Plaintiff Miljan Markovic is an individual residing in Pennsylvania. Markovic

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Markovic has been eligible to receive

overtime pay under the FLSA because Markovic has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9109. Plaintiff Jason Martin is an individual residing in Pennsylvania. Martin worked as

a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2417
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2418 of 3128




        9110. Plaintiff Kyle Mayan is an individual residing in Pennsylvania. Mayan worked as

a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mayan has been

eligible to receive overtime pay under the FLSA because Mayan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9111. Plaintiff Michael Mcclain is an individual residing in Pennsylvania. Mcclain

worked as a delivery driver for FedEx in Pennsylvania from approximately 2001 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Mcclain

has been eligible to receive overtime pay under the FLSA because Mcclain has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9112. Plaintiff Dale Mccoy is an individual residing in Pennsylvania. Mccoy worked as

a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mccoy has been

eligible to receive overtime pay under the FLSA because Mccoy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9113. Plaintiff Kareem Mcfarlane is an individual residing in Pennsylvania. Mcfarlane

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcfarlane has been eligible to receive overtime pay under the FLSA because Mcfarlane has




                                             2418
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2419 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9114. Plaintiff John Mclean is an individual residing in Pennsylvania. Mclean worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Mclean has been eligible to receive overtime pay

under the FLSA because Mclean has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9115. Plaintiff John Mcnutt is an individual residing in Pennsylvania. Mcnutt worked as

a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mcnutt has been

eligible to receive overtime pay under the FLSA because Mcnutt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9116. Plaintiff Mark Meas is an individual residing in Pennsylvania. Meas worked as a

delivery driver for FedEx in Pennsylvania from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Meas has been

eligible to receive overtime pay under the FLSA because Meas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9117. Plaintiff Ronald Mehalco is an individual residing in Pennsylvania. Mehalco

worked as a delivery driver for FedEx in Pennsylvania from approximately 2001 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Mehalco

has been eligible to receive overtime pay under the FLSA because Mehalco has driven a vehicle



                                             2419
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2420 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9118. Plaintiff Jesus Mendez is an individual residing in Pennsylvania. Mendez worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Mendez

has been eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9119. Plaintiff Nathan Michaels is an individual residing in Pennsylvania. Michaels

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Michaels has been eligible to receive

overtime pay under the FLSA because Michaels has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9120. Plaintiff Gary Mielnik is an individual residing in Pennsylvania. Mielnik worked

as a delivery driver for FedEx in Pennsylvania from approximately 2002 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Mielnik

has been eligible to receive overtime pay under the FLSA because Mielnik has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9121. Plaintiff Dale Mikolaczyk is an individual residing in Pennsylvania. Mikolaczyk

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Mikolaczyk has been eligible to receive overtime pay under the FLSA because Mikolaczyk has



                                              2420
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2421 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9122. Plaintiff Duane Miller is an individual residing in Pennsylvania. Miller worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9123. Plaintiff Shawn Miller is an individual residing in Pennsylvania. Miller worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9124. Plaintiff Mark Miller is an individual residing in Pennsylvania. Miller worked as a

delivery driver for FedEx in Pennsylvania from approximately 2000 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9125. Plaintiff Tyler Miller is an individual residing in Pennsylvania. Miller worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing




                                              2421
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2422 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9126. Plaintiff Steven Miner is an individual residing in Pennsylvania. Miner worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Miner has been

eligible to receive overtime pay under the FLSA because Miner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9127. Plaintiff Souod Mohammad-Hammad is an individual residing in Pennsylvania.

Mohammad-Hammad worked as a delivery driver for FedEx in Pennsylvania but was employed

through intermediary entities that FedEx calls independent service providers. Mohammad-

Hammad has been eligible to receive overtime pay under the FLSA because Mohammad-

Hammad has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        9128. Plaintiff Daniel Moletz is an individual residing in Pennsylvania. Moletz worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Moletz

has been eligible to receive overtime pay under the FLSA because Moletz has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9129. Plaintiff Robert Montgomery is an individual residing in Pennsylvania.

Montgomery worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to

2023 but was employed through intermediary entities that FedEx calls independent service



                                             2422
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2423 of 3128




providers. Montgomery has been eligible to receive overtime pay under the FLSA because

Montgomery has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9130. Plaintiff Patrick Suszynski is an individual residing in Pennsylvania. Morales

worked as a delivery driver for FedEx in Pennsylvania from approximately 1999 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Morales

has been eligible to receive overtime pay under the FLSA because Morales has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9131. Plaintiff Dennis Morgan is an individual residing in Pennsylvania. Morgan

worked as a delivery driver for FedEx in Pennsylvania from approximately 2004 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Morgan

has been eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9132. Plaintiff Richard Moskola is an individual residing in Florida. Moskola worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Moskola has been eligible to receive overtime pay

under the FLSA because Moskola has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9133. Plaintiff Jabril Motes is an individual residing in Pennsylvania. Motes worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Motes has been



                                             2423
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2424 of 3128




eligible to receive overtime pay under the FLSA because Motes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9134. Plaintiff Robert Muldowney Jr. is an individual residing in Pennsylvania.

Muldowney Jr. worked as a delivery driver for FedEx in Pennsylvania but was employed

through intermediary entities that FedEx calls independent service providers. Muldowney Jr. has

been eligible to receive overtime pay under the FLSA because Muldowney Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9135. Plaintiff William Mulhern is an individual residing in Pennsylvania. Mulhern

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Mulhern has been eligible to receive

overtime pay under the FLSA because Mulhern has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9136. Plaintiff Jerome Mullen is an individual residing in Pennsylvania. Mullen worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Mullen

has been eligible to receive overtime pay under the FLSA because Mullen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9137. Plaintiff Robert Nagy is an individual residing in Pennsylvania. Nagy worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Nagy has been eligible to receive overtime pay under



                                              2424
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2425 of 3128




the FLSA because Nagy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9138. Plaintiff Jahne Nangle is an individual residing in Pennsylvania. Nangle worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Nangle

has been eligible to receive overtime pay under the FLSA because Nangle has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9139. Plaintiff Julio Navarro is an individual residing in Pennsylvania. Navarro worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Navarro has been eligible to receive overtime

pay under the FLSA because Navarro has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       9140. Plaintiff Katelyn Navarro is an individual residing in Pennsylvania. Navarro

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Navarro

has been eligible to receive overtime pay under the FLSA because Navarro has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9141. Plaintiff Joseph Nelligan is an individual residing in Pennsylvania. Nelligan

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Nelligan

has been eligible to receive overtime pay under the FLSA because Nelligan has driven a vehicle



                                              2425
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2426 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9142. Plaintiff Daniel Nelson is an individual residing in Virginia. Nelson worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nelson has been

eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9143. Plaintiff Darko Nikolic is an individual residing in Pennsylvania. Nikolic worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Nikolic

has been eligible to receive overtime pay under the FLSA because Nikolic has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9144. Plaintiff Wyatt Niper is an individual residing in Pennsylvania. Niper worked as a

delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Niper has been

eligible to receive overtime pay under the FLSA because Niper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9145. Plaintiff Joshua Nolan is an individual residing in Pennsylvania. Nolan worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nolan has been



                                              2426
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2427 of 3128




eligible to receive overtime pay under the FLSA because Nolan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9146. Plaintiff Tyrese Norris is an individual residing in Pennsylvania. Norris worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Norris has been

eligible to receive overtime pay under the FLSA because Norris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9147. Plaintiff Christopher Novak is an individual residing in Pennsylvania. Novak

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Novak

has been eligible to receive overtime pay under the FLSA because Novak has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9148. Plaintiff Sue Oberg is an individual residing in Pennsylvania. Oberg worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Oberg has been eligible to receive overtime pay

under the FLSA because Oberg has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9149. Plaintiff Randy Orlando is an individual residing in Pennsylvania. Orlando

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Orlando



                                              2427
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2428 of 3128




has been eligible to receive overtime pay under the FLSA because Orlando has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9150. Plaintiff Barry Orourke is an individual residing in Tennessee. Orourke worked as

a delivery driver for FedEx in Pennsylvania from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Orourke has been

eligible to receive overtime pay under the FLSA because Orourke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9151. Plaintiff Shawn Oshea is an individual residing in Pennsylvania. Oshea worked as

a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Oshea has been

eligible to receive overtime pay under the FLSA because Oshea has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9152. Plaintiff Billy Overton is an individual residing in Pennsylvania. Overton worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Overton

has been eligible to receive overtime pay under the FLSA because Overton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9153. Plaintiff Robert Owens is an individual residing in Pennsylvania. Owens worked

as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2018 but was



                                             2428
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2429 of 3128




employed through intermediary entities that FedEx calls independent service providers. Owens

has been eligible to receive overtime pay under the FLSA because Owens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9154. Plaintiff James Owens is an individual residing in Pennsylvania. Owens worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Owens has been eligible to receive overtime pay

under the FLSA because Owens has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9155. Plaintiff Tony Pace is an individual residing in Ohio. Pace worked as a delivery

driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Pace has been eligible to

receive overtime pay under the FLSA because Pace has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9156. Plaintiff Karen Pallist is an individual residing in Illinois. Pallist worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Pallist has been eligible to receive overtime pay

under the FLSA because Pallist has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9157. Plaintiff Joe Palombi is an individual residing in Pennsylvania. Palombi worked

as a delivery driver for FedEx in Pennsylvania from approximately 1990 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Palombi

has been eligible to receive overtime pay under the FLSA because Palombi has driven a vehicle



                                               2429
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2430 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9158. Plaintiff Melanie Pappasergi is an individual residing in Pennsylvania. Pappasergi

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Pappasergi has been eligible to receive

overtime pay under the FLSA because Pappasergi has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9159. Plaintiff Gerald Parnell is an individual residing in Pennsylvania. Parnell worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Parnell

has been eligible to receive overtime pay under the FLSA because Parnell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9160. Plaintiff Richard Pasqualle is an individual residing in Pennsylvania. Pasqualle

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Pasqualle has been eligible to receive overtime pay under the FLSA because Pasqualle has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9161. Plaintiff Patrick Patrick is an individual residing in Pennsylvania. Patrick worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Patrick

has been eligible to receive overtime pay under the FLSA because Patrick has driven a vehicle



                                              2430
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2431 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9162. Plaintiff Christopher Patton is an individual residing in West Virginia. Patton

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Patton has been eligible to receive

overtime pay under the FLSA because Patton has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9163. Plaintiff Daniel Paulton is an individual residing in Florida. Paulton worked as a

delivery driver for FedEx in Pennsylvania from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Paulton has been

eligible to receive overtime pay under the FLSA because Paulton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9164. Plaintiff Corey Pentz is an individual residing in Pennsylvania. Pentz worked as a

delivery driver for FedEx in Pennsylvania from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pentz has been

eligible to receive overtime pay under the FLSA because Pentz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9165. Plaintiff Neftaly Perales is an individual residing in Pennsylvania. Perales worked

as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Perales

has been eligible to receive overtime pay under the FLSA because Perales has driven a vehicle



                                               2431
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2432 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9166. Plaintiff David Perez is an individual residing in Pennsylvania. Perez worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9167. Plaintiff Christopher Pesotine is an individual residing in Pennsylvania. Pesotine

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Pesotine

has been eligible to receive overtime pay under the FLSA because Pesotine has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9168. Plaintiff Joseph Peterman is an individual residing in Pennsylvania. Peterman

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Peterman has been eligible to receive overtime pay under the FLSA because Peterman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9169. Plaintiff David Peters is an individual residing in Pennsylvania. Peters worked as

a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Peters has been



                                              2432
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2433 of 3128




eligible to receive overtime pay under the FLSA because Peters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9170. Plaintiff Jacklinn Peters is an individual residing in Pennsylvania. Peters worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Peters

has been eligible to receive overtime pay under the FLSA because Peters has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9171. Plaintiff Thomas Petersen is an individual residing in Pennsylvania. Petersen

worked as a delivery driver for FedEx in Pennsylvania from approximately 2005 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Petersen

has been eligible to receive overtime pay under the FLSA because Petersen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9172. Plaintiff Glenn Pew is an individual residing in Florida. Pew worked as a delivery

driver for FedEx in Pennsylvania but was employed through intermediary entities that FedEx

calls independent service providers. Pew has been eligible to receive overtime pay under the

FLSA because Pew has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        9173. Plaintiff Kelly Pharr is an individual residing in Pennsylvania. Pharr worked as a

delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pharr has been



                                              2433
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2434 of 3128




eligible to receive overtime pay under the FLSA because Pharr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9174. Plaintiff Eric Pierce is an individual residing in Pennsylvania. Pierce worked as a

delivery driver for FedEx in Pennsylvania from approximately 2022 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pierce has been

eligible to receive overtime pay under the FLSA because Pierce has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9175. Plaintiff Daevon Pinnix is an individual residing in Pennsylvania. Pinnix worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Pinnix

has been eligible to receive overtime pay under the FLSA because Pinnix has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9176. Plaintiff Kevin Pletz is an individual residing in Pennsylvania. Pletz worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pletz has been

eligible to receive overtime pay under the FLSA because Pletz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9177. Plaintiff Jared Podroskey is an individual residing in Pennsylvania. Podroskey

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was



                                              2434
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2435 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Podroskey has been eligible to receive overtime pay under the FLSA because Podroskey has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9178. Plaintiff Brian Agosto is an individual residing in Pennsylvania. Prichard worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Prichard has been eligible to receive overtime

pay under the FLSA because Prichard has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        9179. Plaintiff Donovan Purcell is an individual residing in Pennsylvania. Purcell

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Purcell

has been eligible to receive overtime pay under the FLSA because Purcell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9180. Plaintiff Patricia Quarato is an individual residing in Virginia. Quarato worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Quarato has been

eligible to receive overtime pay under the FLSA because Quarato has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9181. Plaintiff Philip Quinlan is an individual residing in Pennsylvania. Quinlan worked

as a delivery driver for FedEx in Pennsylvania from approximately 2009 to 2017 but was



                                              2435
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2436 of 3128




employed through intermediary entities that FedEx calls independent service providers. Quinlan

has been eligible to receive overtime pay under the FLSA because Quinlan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9182. Plaintiff Carlos Quinones is an individual residing in Pennsylvania. Quinones

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Quinones has been eligible to receive overtime pay under the FLSA because Quinones has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9183. Plaintiff Chastity Quinones-Veanus is an individual residing in Pennsylvania.

Quinones-Veanus worked as a delivery driver for FedEx in Pennsylvania from approximately

2008 to 2023 but was employed through intermediary entities that FedEx calls independent

service providers. Quinones-Veanus has been eligible to receive overtime pay under the FLSA

because Quinones-Veanus has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9184. Plaintiff Rosemary Ransom is an individual residing in Pennsylvania. Ransom

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Ransom

has been eligible to receive overtime pay under the FLSA because Ransom has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2436
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2437 of 3128




       9185. Plaintiff Brian Rathosky is an individual residing in Pennsylvania. Rathosky

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Rathosky has been eligible to receive overtime pay under the FLSA because Rathosky has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9186. Plaintiff Nathan Raudabaugh is an individual residing in Pennsylvania.

Raudabaugh worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Raudabaugh has been eligible to receive overtime pay under the FLSA because

Raudabaugh has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9187. Plaintiff Thomas Rearick is an individual residing in Pennsylvania. Rearick

worked as a delivery driver for FedEx in Pennsylvania from approximately 2008 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Rearick

has been eligible to receive overtime pay under the FLSA because Rearick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9188. Plaintiff Zach Reichl is an individual residing in Pennsylvania. Reichl worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Reichl has been

eligible to receive overtime pay under the FLSA because Reichl has driven a vehicle weighing




                                              2437
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2438 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9189. Plaintiff Stephen Rice is an individual residing in Pennsylvania. Rice worked as a

delivery driver for FedEx in Pennsylvania from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rice has been

eligible to receive overtime pay under the FLSA because Rice has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9190. Plaintiff Chad Richards is an individual residing in New Jersey. Richards worked

as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Richards

has been eligible to receive overtime pay under the FLSA because Richards has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9191. Plaintiff Quincy Richardson is an individual residing in Pennsylvania. Richardson

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Richardson has been eligible to receive

overtime pay under the FLSA because Richardson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9192. Plaintiff Ronald Richburg is an individual residing in Pennsylvania. Richburg

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Richburg has been eligible to receive




                                              2438
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2439 of 3128




overtime pay under the FLSA because Richburg has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9193. Plaintiff Kevin Richie is an individual residing in Pennsylvania. Richie worked as

a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Richie has been

eligible to receive overtime pay under the FLSA because Richie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9194. Plaintiff Alexis Rider is an individual residing in Pennsylvania. Rider worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Rider has been eligible to receive overtime pay under

the FLSA because Rider has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9195. Plaintiff Randall Riggs is an individual residing in West Virginia. Riggs worked

as a delivery driver for FedEx in Pennsylvania from approximately 2011 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Riggs

has been eligible to receive overtime pay under the FLSA because Riggs has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9196. Plaintiff William Cox is an individual residing in Pennsylvania. Ritter worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ritter has been

eligible to receive overtime pay under the FLSA because Ritter has driven a vehicle weighing



                                              2439
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2440 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9197. Plaintiff Nathan Ritter is an individual residing in Pennsylvania. Ritter worked as

a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ritter has been

eligible to receive overtime pay under the FLSA because Ritter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9198. Plaintiff David Roberson is an individual residing in Delaware. Roberson worked

as a delivery driver for FedEx in Pennsylvania from approximately 2011 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Roberson has been eligible to receive overtime pay under the FLSA because Roberson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9199. Plaintiff George Roberts is an individual residing in Pennsylvania. Roberts

worked as a delivery driver for FedEx in Pennsylvania from approximately 2003 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Roberts

has been eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9200. Plaintiff Shawn Robinson is an individual residing in Pennsylvania. Robinson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2440
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2441 of 3128




Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9201. Plaintiff Tyler Robinson is an individual residing in Pennsylvania. Robinson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9202. Plaintiff Alvin Rodgers is an individual residing in Ohio. Rodgers worked as a

delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rodgers has been

eligible to receive overtime pay under the FLSA because Rodgers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9203. Plaintiff Christopher Rodrigues is an individual residing in Pennsylvania.

Rodrigues worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Rodrigues has been eligible to receive overtime pay under the FLSA because

Rodrigues has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        9204. Plaintiff Nicholas Rodrigues is an individual residing in Pennsylvania. Rodrigues

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was



                                              2441
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2442 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Rodrigues has been eligible to receive overtime pay under the FLSA because Rodrigues has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9205. Plaintiff Michael Rodriguez is an individual residing in Florida. Rodriguez

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Rodriguez has been eligible to receive

overtime pay under the FLSA because Rodriguez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9206. Plaintiff Luis Rodriguez is an individual residing in Pennsylvania. Rodriguez

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9207. Plaintiff Leon Rohrmann is an individual residing in Pennsylvania. Rohrmann

worked as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Rohrmann has been eligible to receive overtime pay under the FLSA because Rohrmann has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9208. Plaintiff Alexander Root is an individual residing in Pennsylvania. Root worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities



                                              2442
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2443 of 3128




that FedEx calls independent service providers. Root has been eligible to receive overtime pay

under the FLSA because Root has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9209. Plaintiff Ryan Ropraz is an individual residing in Pennsylvania. Ropraz worked as

a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ropraz has been

eligible to receive overtime pay under the FLSA because Ropraz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9210. Plaintiff Luis Rosado is an individual residing in Pennsylvania. Rosado worked as

a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Rosado has been

eligible to receive overtime pay under the FLSA because Rosado has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9211. Plaintiff Victoria Rosario is an individual residing in Pennsylvania. Rosario

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Rosario

has been eligible to receive overtime pay under the FLSA because Rosario has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9212. Plaintiff Jim Rouda is an individual residing in Pennsylvania. Rouda worked as a

delivery driver for FedEx in Pennsylvania from approximately 2012 to 2017 but was employed



                                              2443
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2444 of 3128




through intermediary entities that FedEx calls independent service providers. Rouda has been

eligible to receive overtime pay under the FLSA because Rouda has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9213. Plaintiff Michael Roy is an individual residing in Pennsylvania. Roy worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Roy has been eligible to receive overtime pay under

the FLSA because Roy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9214. Plaintiff Utkir Rozikov is an individual residing in Pennsylvania. Rozikov worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Rozikov has been eligible to receive overtime

pay under the FLSA because Rozikov has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        9215. Plaintiff Robert Rozniata is an individual residing in Pennsylvania. Rozniata

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Rozniata

has been eligible to receive overtime pay under the FLSA because Rozniata has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9216. Plaintiff Justin Rupp is an individual residing in Pennsylvania. Rupp worked as a

delivery driver for FedEx in Pennsylvania from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rupp has been



                                              2444
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2445 of 3128




eligible to receive overtime pay under the FLSA because Rupp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9217. Plaintiff Reece Ruscella is an individual residing in Florida. Ruscella worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ruscella has been

eligible to receive overtime pay under the FLSA because Ruscella has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9218. Plaintiff Dauda Saccoh is an individual residing in Pennsylvania. Saccoh worked

as a delivery driver for FedEx in Pennsylvania from approximately 2022 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Saccoh

has been eligible to receive overtime pay under the FLSA because Saccoh has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9219. Plaintiff Richard Sakosky is an individual residing in Pennsylvania. Sakosky

worked as a delivery driver for FedEx in Pennsylvania from approximately 2004 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Sakosky

has been eligible to receive overtime pay under the FLSA because Sakosky has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9220. Plaintiff Anthony Salvio is an individual residing in Pennsylvania. Salvio worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities



                                              2445
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2446 of 3128




that FedEx calls independent service providers. Salvio has been eligible to receive overtime pay

under the FLSA because Salvio has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9221. Plaintiff Nikola Samardzija is an individual residing in New Hampshire.

Samardzija worked as a delivery driver for FedEx in Pennsylvania but was employed through

intermediary entities that FedEx calls independent service providers. Samardzija has been

eligible to receive overtime pay under the FLSA because Samardzija has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9222. Plaintiff Virginia Sanderson is an individual residing in Pennsylvania. Sanderson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Sanderson has been eligible to receive overtime pay under the FLSA because Sanderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9223. Plaintiff Edward Sanford is an individual residing in Pennsylvania. Sanford

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Sanford

has been eligible to receive overtime pay under the FLSA because Sanford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9224. Plaintiff Raymond Sanford is an individual residing in Pennsylvania. Sanford

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2024 but was



                                              2446
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2447 of 3128




employed through intermediary entities that FedEx calls independent service providers. Sanford

has been eligible to receive overtime pay under the FLSA because Sanford has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9225. Plaintiff Mohammad Sarwar is an individual residing in Pennsylvania. Sarwar

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Sarwar

has been eligible to receive overtime pay under the FLSA because Sarwar has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9226. Plaintiff Donald Savic is an individual residing in Nevada. Savic worked as a

delivery driver for FedEx in Pennsylvania from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Savic has been

eligible to receive overtime pay under the FLSA because Savic has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9227. Plaintiff Anthony Sawh is an individual residing in Pennsylvania. Sawh worked

as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Sawh

has been eligible to receive overtime pay under the FLSA because Sawh has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2447
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2448 of 3128




       9228. Plaintiff Oliver Sayre is an individual residing in Pennsylvania. Sayre worked as a

delivery driver for FedEx in Pennsylvania and Maryland from approximately 2005 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Sayre has been eligible to receive overtime pay under the FLSA because Sayre has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9229. Plaintiff Christopher Schibler is an individual residing in Pennsylvania. Schibler

worked as a delivery driver for FedEx in Pennsylvania from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Schibler

has been eligible to receive overtime pay under the FLSA because Schibler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9230. Plaintiff Drew Schifino is an individual residing in Pennsylvania. Schifino

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Schifino

has been eligible to receive overtime pay under the FLSA because Schifino has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9231. Plaintiff Anthony Scipione is an individual residing in Pennsylvania. Scipione

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Scipione

has been eligible to receive overtime pay under the FLSA because Scipione has driven a vehicle




                                             2448
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2449 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9232. Plaintiff Craig Scott is an individual residing in Pennsylvania. Scott worked as a

delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Scott has been eligible to receive overtime pay under

the FLSA because Scott has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9233. Plaintiff Eddy Shafer is an individual residing in Pennsylvania. Shafer worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Shafer has been

eligible to receive overtime pay under the FLSA because Shafer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9234. Plaintiff Pierre Shakif is an individual residing in Pennsylvania. Shakif worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Shakif has been

eligible to receive overtime pay under the FLSA because Shakif has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9235. Plaintiff Brady Sheffer is an individual residing in Pennsylvania. Sheffer worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Sheffer

has been eligible to receive overtime pay under the FLSA because Sheffer has driven a vehicle



                                              2449
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2450 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9236. Plaintiff Ashlee Shirley is an individual residing in New York. Shirley worked as

a delivery driver for FedEx in Pennsylvania from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Shirley has been

eligible to receive overtime pay under the FLSA because Shirley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9237. Plaintiff Jeffrey Shotts is an individual residing in Pennsylvania. Shotts worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Shotts has been eligible to receive overtime pay

under the FLSA because Shotts has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9238. Plaintiff Brian Shreve is an individual residing in Pennsylvania. Shreve worked as

a delivery driver for FedEx in Pennsylvania from approximately 1900 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Shreve has been

eligible to receive overtime pay under the FLSA because Shreve has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9239. Plaintiff Brian Shunk is an individual residing in Pennsylvania. Shunk worked as

a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Shunk has been

eligible to receive overtime pay under the FLSA because Shunk has driven a vehicle weighing



                                              2450
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2451 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9240. Plaintiff David Shuster is an individual residing in Pennsylvania. Shuster worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Shuster

has been eligible to receive overtime pay under the FLSA because Shuster has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9241. Plaintiff Bryce Simmons is an individual residing in Pennsylvania. Simmons

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Simmons has been eligible to receive

overtime pay under the FLSA because Simmons has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9242. Plaintiff Andrew Simon is an individual residing in Pennsylvania. Simon worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Simon has been eligible to receive overtime pay

under the FLSA because Simon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9243. Plaintiff Damon Sisco is an individual residing in North Carolina. Sisco worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Sisco has been eligible to receive overtime pay

under the FLSA because Sisco has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              2451
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2452 of 3128




        9244. Plaintiff Gary Slaboda is an individual residing in Pennsylvania. Slaboda worked

as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Slaboda

has been eligible to receive overtime pay under the FLSA because Slaboda has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9245. Plaintiff Brian Slaboda is an individual residing in Pennsylvania. Slaboda worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Slaboda has been eligible to receive overtime

pay under the FLSA because Slaboda has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        9246. Plaintiff Zachery Smith is an individual residing in Pennsylvania. Smith worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Smith has been eligible to receive overtime pay

under the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9247. Plaintiff Khalil Smith is an individual residing in Pennsylvania. Smith worked as

a delivery driver for FedEx in Pennsylvania from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2452
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2453 of 3128




        9248. Plaintiff Jessica Smith is an individual residing in Pennsylvania. Smith worked as

a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9249. Plaintiff Alexander Smith is an individual residing in Delaware. Smith worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9250. Plaintiff Jacob Smith is an individual residing in Pennsylvania. Smith worked as a

delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9251. Plaintiff Jason Smith Jr. is an individual residing in Pennsylvania. Smith Jr.

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Smith Jr.

has been eligible to receive overtime pay under the FLSA because Smith Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               2453
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2454 of 3128




        9252. Plaintiff Shane Snowden is an individual residing in Pennsylvania. Snowden

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Snowden

has been eligible to receive overtime pay under the FLSA because Snowden has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9253. Plaintiff Eric Snyder is an individual residing in Pennsylvania. Snyder worked as

a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Snyder has been

eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9254. Plaintiff Douglas Snyder is an individual residing in Pennsylvania. Snyder

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Snyder

has been eligible to receive overtime pay under the FLSA because Snyder has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9255. Plaintiff Christopher Sofia is an individual residing in Pennsylvania. Sofia worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Sofia has

been eligible to receive overtime pay under the FLSA because Sofia has driven a vehicle




                                              2454
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2455 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9256. Plaintiff Rick Soulliard is an individual residing in Georgia. Soulliard worked as a

delivery driver for FedEx in Pennsylvania from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Soulliard has been

eligible to receive overtime pay under the FLSA because Soulliard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9257. Plaintiff Alicia Spangler is an individual residing in Pennsylvania. Spangler

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Spangler

has been eligible to receive overtime pay under the FLSA because Spangler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9258. Plaintiff Marvin Sparks Jr is an individual residing in Pennsylvania. Sparks Jr

worked as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Sparks Jr

has been eligible to receive overtime pay under the FLSA because Sparks Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9259. Plaintiff Joseph Spivey is an individual residing in Pennsylvania. Spivey worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Spivey



                                              2455
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2456 of 3128




has been eligible to receive overtime pay under the FLSA because Spivey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9260. Plaintiff Joshua Springer is an individual residing in Pennsylvania. Springer

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Springer has been eligible to receive

overtime pay under the FLSA because Springer has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9261. Plaintiff James Staggers is an individual residing in Pennsylvania. Staggers

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Staggers has been eligible to receive

overtime pay under the FLSA because Staggers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9262. Plaintiff David Stampo is an individual residing in Pennsylvania. Stampo worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Stampo

has been eligible to receive overtime pay under the FLSA because Stampo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9263. Plaintiff Steven Stead is an individual residing in Pennsylvania. Stead worked as a

delivery driver for FedEx in Pennsylvania from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stead has been

eligible to receive overtime pay under the FLSA because Stead has driven a vehicle weighing



                                               2456
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2457 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9264. Plaintiff Timothy Stevens is an individual residing in Georgia. Stevens worked as

a delivery driver for FedEx in Pennsylvania from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Stevens has been

eligible to receive overtime pay under the FLSA because Stevens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9265. Plaintiff Dominic Stinnett is an individual residing in Pennsylvania. Stinnett

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Stinnett

has been eligible to receive overtime pay under the FLSA because Stinnett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9266. Plaintiff Alfred Stoddard is an individual residing in Pennsylvania. Stoddard

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Stoddard

has been eligible to receive overtime pay under the FLSA because Stoddard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9267. Plaintiff Antonio Stone is an individual residing in Pennsylvania. Stone worked as

a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Stone has been



                                              2457
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2458 of 3128




eligible to receive overtime pay under the FLSA because Stone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9268. Plaintiff Daniel Stone is an individual residing in Pennsylvania. Stone worked as

a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Stone has been

eligible to receive overtime pay under the FLSA because Stone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9269. Plaintiff Jamil Strickland is an individual residing in Pennsylvania. Strickland

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Strickland has been eligible to receive overtime pay under the FLSA because Strickland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9270. Plaintiff Timothy Stritzinger is an individual residing in Pennsylvania. Stritzinger

worked as a delivery driver for FedEx in Pennsylvania and New York from approximately 2015

to 2022 but was employed through intermediary entities that FedEx calls independent service

providers. Stritzinger has been eligible to receive overtime pay under the FLSA because

Stritzinger has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        9271. Plaintiff Tyasia Striver is an individual residing in Pennsylvania. Striver worked

as a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2016 but was



                                               2458
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2459 of 3128




employed through intermediary entities that FedEx calls independent service providers. Striver

has been eligible to receive overtime pay under the FLSA because Striver has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9272. Plaintiff Scott Summers is an individual residing in Pennsylvania. Summers

worked as a delivery driver for FedEx in Pennsylvania from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Summers has been eligible to receive overtime pay under the FLSA because Summers has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9273. Plaintiff Nicholas Surfield is an individual residing in Pennsylvania. Surfield

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Surfield

has been eligible to receive overtime pay under the FLSA because Surfield has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9274. Plaintiff Shawn Suter is an individual residing in Pennsylvania. Suter worked as a

delivery driver for FedEx in Pennsylvania from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Suter has been

eligible to receive overtime pay under the FLSA because Suter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2459
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2460 of 3128




       9275. Plaintiff Malikah Sutton is an individual residing in Pennsylvania. Sutton worked

as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Sutton

has been eligible to receive overtime pay under the FLSA because Sutton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9276. Plaintiff Liam Swanson is an individual residing in Pennsylvania. Swanson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Swanson

has been eligible to receive overtime pay under the FLSA because Swanson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9277. Plaintiff James Takacs is an individual residing in Pennsylvania. Takacs worked

as a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Takacs

has been eligible to receive overtime pay under the FLSA because Takacs has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9278. Plaintiff Daniel Tassone is an individual residing in Pennsylvania. Tassone

worked as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Tassone

has been eligible to receive overtime pay under the FLSA because Tassone has driven a vehicle




                                             2460
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2461 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9279. Plaintiff Kelvin Tavarez Gonzalez, Sr. is an individual residing in Pennsylvania.

Tavarez Gonzalez worked as a delivery driver for FedEx in Pennsylvania from approximately

2016 to 2024 but was employed through intermediary entities that FedEx calls independent

service providers. Tavarez Gonzalez has been eligible to receive overtime pay under the FLSA

because Tavarez Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9280. Plaintiff Ralphie Temarantz is an individual residing in Pennsylvania. Temarantz

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Temarantz has been eligible to receive overtime pay under the FLSA because Temarantz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9281. Plaintiff Jeffrey Thomas is an individual residing in Pennsylvania. Thomas

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Thomas has been eligible to receive

overtime pay under the FLSA because Thomas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9282. Plaintiff Jeremy Mcdonald is an individual residing in Pennsylvania. Thompson

worked as a delivery driver for FedEx in Pennsylvania from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has



                                              2461
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2462 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9283. Plaintiff Denisha Todd is an individual residing in Pennsylvania. Todd worked as

a delivery driver for FedEx in Pennsylvania from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Todd has been

eligible to receive overtime pay under the FLSA because Todd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9284. Plaintiff Cory Tomsic is an individual residing in Pennsylvania. Tomsic worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Tomsic has been eligible to receive overtime pay

under the FLSA because Tomsic has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9285. Plaintiff Thomas Torrance is an individual residing in Pennsylvania. Torrance

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Torrance

has been eligible to receive overtime pay under the FLSA because Torrance has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9286. Plaintiff Jeffrey Trainor is an individual residing in Pennsylvania. Trainor worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Trainor has been eligible to receive overtime pay




                                              2462
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2463 of 3128




under the FLSA because Trainor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9287. Plaintiff Joshua Travitz is an individual residing in Maryland. Travitz worked as a

delivery driver for FedEx in Pennsylvania from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Travitz has been

eligible to receive overtime pay under the FLSA because Travitz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9288. Plaintiff Daniel Trout is an individual residing in Pennsylvania. Trout worked as a

delivery driver for FedEx in Pennsylvania from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Trout has been

eligible to receive overtime pay under the FLSA because Trout has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9289. Plaintiff Brian Tuohy is an individual residing in Pennsylvania. Tuohy worked as

a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Tuohy has been

eligible to receive overtime pay under the FLSA because Tuohy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9290. Plaintiff John Turner is an individual residing in Pennsylvania. Turner worked as

a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been



                                              2463
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2464 of 3128




eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9291. Plaintiff Lester Van Horn is an individual residing in Pennsylvania. Van Horn

worked as a delivery driver for FedEx in Pennsylvania from approximately 2008 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Van

Horn has been eligible to receive overtime pay under the FLSA because Van Horn has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9292. Plaintiff Daniel Vest is an individual residing in South Carolina. Vest worked as a

delivery driver for FedEx in Pennsylvania from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Vest has been

eligible to receive overtime pay under the FLSA because Vest has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9293. Plaintiff Lesley Vineyard is an individual residing in Pennsylvania. Vineyard

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Vineyard

has been eligible to receive overtime pay under the FLSA because Vineyard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9294. Plaintiff Cameron Ward is an individual residing in Pennsylvania. Ward worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was



                                              2464
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2465 of 3128




employed through intermediary entities that FedEx calls independent service providers. Ward

has been eligible to receive overtime pay under the FLSA because Ward has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9295. Plaintiff Deric Ware is an individual residing in Pennsylvania. Ware worked as a

delivery driver for FedEx in Pennsylvania from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ware has been

eligible to receive overtime pay under the FLSA because Ware has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9296. Plaintiff Francis Warner Iv is an individual residing in Pennsylvania. Warner Iv

worked as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Warner

Iv has been eligible to receive overtime pay under the FLSA because Warner Iv has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9297. Plaintiff Gregory Warren is an individual residing in New Jersey. Warren worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Warren

has been eligible to receive overtime pay under the FLSA because Warren has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2465
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2466 of 3128




       9298. Plaintiff Lateef Watson is an individual residing in Pennsylvania. Watson worked

as a delivery driver for FedEx in Pennsylvania from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Watson

has been eligible to receive overtime pay under the FLSA because Watson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9299. Plaintiff Kenneth Weaver is an individual residing in Pennsylvania. Weaver

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Weaver

has been eligible to receive overtime pay under the FLSA because Weaver has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9300. Plaintiff Kimberly Weaver is an individual residing in Pennsylvania. Weaver

worked as a delivery driver for FedEx in Pennsylvania from approximately 2006 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Weaver

has been eligible to receive overtime pay under the FLSA because Weaver has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9301. Plaintiff Kyle Webb is an individual residing in Pennsylvania. Webb worked as a

delivery driver for FedEx in Pennsylvania from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing




                                             2466
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2467 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9302. Plaintiff Leonard Webb Ii is an individual residing in Pennsylvania. Webb Ii

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Webb Ii

has been eligible to receive overtime pay under the FLSA because Webb Ii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9303. Plaintiff Ryan Wellman is an individual residing in Pennsylvania. Wellman

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Wellman

has been eligible to receive overtime pay under the FLSA because Wellman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9304. Plaintiff Nathan Wenrich is an individual residing in Pennsylvania. Wenrich

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Wenrich

has been eligible to receive overtime pay under the FLSA because Wenrich has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9305. Plaintiff Stephen Wertz is an individual residing in Pennsylvania. Wertz worked

as a delivery driver for FedEx in Pennsylvania but was employed through intermediary entities

that FedEx calls independent service providers. Wertz has been eligible to receive overtime pay



                                             2467
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2468 of 3128




under the FLSA because Wertz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9306. Plaintiff Edward West is an individual residing in Pennsylvania. West worked as

a delivery driver for FedEx in Pennsylvania from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9307. Plaintiff Sherri Whitman is an individual residing in Pennsylvania. Whitman

worked as a delivery driver for FedEx in Pennsylvania from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Whitman

has been eligible to receive overtime pay under the FLSA because Whitman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9308. Plaintiff James Whitten is an individual residing in Pennsylvania. Whitten worked

as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Whitten

has been eligible to receive overtime pay under the FLSA because Whitten has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9309. Plaintiff Mark Horst is an individual residing in Pennsylvania. Wilder worked as a

delivery driver for FedEx in Pennsylvania from approximately 2006 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wilder has been



                                             2468
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2469 of 3128




eligible to receive overtime pay under the FLSA because Wilder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9310. Plaintiff Benjamin Wilk is an individual residing in Pennsylvania. Wilk worked as

a delivery driver for FedEx in Pennsylvania from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wilk has been

eligible to receive overtime pay under the FLSA because Wilk has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9311. Plaintiff Nicholas Wilkins is an individual residing in Pennsylvania. Wilkins

worked as a delivery driver for FedEx in Pennsylvania from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Wilkins

has been eligible to receive overtime pay under the FLSA because Wilkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9312. Plaintiff David Williams is an individual residing in Pennsylvania. Williams

worked as a delivery driver for FedEx in Pennsylvania from approximately 2007 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9313. Plaintiff Clint Wilt is an individual residing in Pennsylvania. Wilt worked as a

delivery driver for FedEx in Pennsylvania from approximately 2011 to 2018 but was employed



                                              2469
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2470 of 3128




through intermediary entities that FedEx calls independent service providers. Wilt has been

eligible to receive overtime pay under the FLSA because Wilt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9314. Plaintiff Jonathan Wiltraut is an individual residing in Pennsylvania. Wiltraut

worked as a delivery driver for FedEx in Pennsylvania but was employed through intermediary

entities that FedEx calls independent service providers. Wiltraut has been eligible to receive

overtime pay under the FLSA because Wiltraut has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9315. Plaintiff Charles Wolfe is an individual residing in Pennsylvania. Wolfe worked

as a delivery driver for FedEx in Pennsylvania from approximately 2000 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Wolfe

has been eligible to receive overtime pay under the FLSA because Wolfe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9316. Plaintiff Donald Wombacker Jr. is an individual residing in Pennsylvania.

Wombacker Jr. worked as a delivery driver for FedEx in Pennsylvania from approximately 2016

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Wombacker Jr. has been eligible to receive overtime pay under the FLSA because

Wombacker Jr. has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        9317. Plaintiff Levi Worthington is an individual residing in Pennsylvania. Worthington

worked as a delivery driver for FedEx in Pennsylvania from approximately 2001 to 2019 but was



                                               2470
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2471 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Worthington has been eligible to receive overtime pay under the FLSA because Worthington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9318. Plaintiff Jamir Wright is an individual residing in Pennsylvania. Wright worked as

a delivery driver for FedEx in Pennsylvania from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9319. Plaintiff Justin Wright is an individual residing in Pennsylvania. Wright worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Wright

has been eligible to receive overtime pay under the FLSA because Wright has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9320. Plaintiff Molly Yeager is an individual residing in Pennsylvania. Yeager worked

as a delivery driver for FedEx in Pennsylvania from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Yeager

has been eligible to receive overtime pay under the FLSA because Yeager has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2471
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2472 of 3128




        9321. Plaintiff Jeffrey Yearick is an individual residing in Pennsylvania. Yearick

worked as a delivery driver for FedEx in Pennsylvania from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Yearick

has been eligible to receive overtime pay under the FLSA because Yearick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9322. Plaintiff Matt Zech is an individual residing in Pennsylvania. Zech worked as a

delivery driver for FedEx in Pennsylvania from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Zech has been

eligible to receive overtime pay under the FLSA because Zech has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9323. Plaintiff George Zoeckler is an individual residing in Pennsylvania. Zoeckler

worked as a delivery driver for FedEx in Pennsylvania from approximately 1995 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Zoeckler

has been eligible to receive overtime pay under the FLSA because Zoeckler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9324. Plaintiff Nickolas Abrantes is an individual residing in Rhode Island. Abrantes

worked as a delivery driver for FedEx in Rhode Island from approximately 2012 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Abrantes

has been eligible to receive overtime pay under the FLSA because Abrantes has driven a vehicle




                                              2472
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2473 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9325. Plaintiff Keith Andrews is an individual residing in Rhode Island. Andrews

worked as a delivery driver for FedEx in Rhode Island from approximately 2021 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Andrews

has been eligible to receive overtime pay under the FLSA because Andrews has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9326. Plaintiff Antonio Baptista is an individual residing in Rhode Island. Baptista

worked as a delivery driver for FedEx in Rhode Island from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Baptista

has been eligible to receive overtime pay under the FLSA because Baptista has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9327. Plaintiff Luis Batista is an individual residing in Rhode Island. Batista worked as

a delivery driver for FedEx in Rhode Island but was employed through intermediary entities that

FedEx calls independent service providers. Batista has been eligible to receive overtime pay

under the FLSA because Batista has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9328. Plaintiff Kenny Borges is an individual residing in Massachusetts. Borges worked

as a delivery driver for FedEx in Rhode Island but was employed through intermediary entities

that FedEx calls independent service providers. Borges has been eligible to receive overtime pay




                                              2473
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2474 of 3128




under the FLSA because Borges has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9329. Plaintiff Abrahan Canario is an individual residing in Rhode Island. Canario

worked as a delivery driver for FedEx in Rhode Island from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Canario

has been eligible to receive overtime pay under the FLSA because Canario has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9330. Plaintiff Adonis Collado is an individual residing in Rhode Island. Collado

worked as a delivery driver for FedEx in Rhode Island from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Collado

has been eligible to receive overtime pay under the FLSA because Collado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9331. Plaintiff Nelson Costa is an individual residing in Rhode Island. Costa worked as

a delivery driver for FedEx in Rhode Island from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Costa has been

eligible to receive overtime pay under the FLSA because Costa has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9332. Plaintiff Kevin Demello is an individual residing in Massachusetts. Demello

worked as a delivery driver for FedEx in Rhode Island from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Demello



                                              2474
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2475 of 3128




has been eligible to receive overtime pay under the FLSA because Demello has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9333. Plaintiff Roger Dominguez is an individual residing in Rhode Island. Dominguez

worked as a delivery driver for FedEx in Rhode Island from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Dominguez has been eligible to receive overtime pay under the FLSA because Dominguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9334. Plaintiff Joseph Esposito is an individual residing in Rhode Island. Esposito

worked as a delivery driver for FedEx in Rhode Island but was employed through intermediary

entities that FedEx calls independent service providers. Esposito has been eligible to receive

overtime pay under the FLSA because Esposito has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9335. Plaintiff Varlindo Estrela is an individual residing in Rhode Island. Estrela

worked as a delivery driver for FedEx in Rhode Island from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Estrela

has been eligible to receive overtime pay under the FLSA because Estrela has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9336. Plaintiff Anibal Fonseca is an individual residing in Rhode Island. Fonseca

worked as a delivery driver for FedEx in Rhode Island from approximately 2003 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Fonseca



                                               2475
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2476 of 3128




has been eligible to receive overtime pay under the FLSA because Fonseca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9337. Plaintiff Shane Gilbert is an individual residing in Rhode Island. Gilbert worked

as a delivery driver for FedEx in Rhode Island from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Gilbert

has been eligible to receive overtime pay under the FLSA because Gilbert has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9338. Plaintiff Jonathan Gill is an individual residing in Rhode Island. Gill worked as a

delivery driver for FedEx in Rhode Island from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gill has been

eligible to receive overtime pay under the FLSA because Gill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9339. Plaintiff Ronald Gilliard is an individual residing in Rhode Island. Gilliard

worked as a delivery driver for FedEx in Rhode Island from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Gilliard

has been eligible to receive overtime pay under the FLSA because Gilliard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9340. Plaintiff Dmartinious Gooden is an individual residing in Rhode Island. Gooden

worked as a delivery driver for FedEx in Rhode Island from approximately 2017 to 2024 but was



                                               2476
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2477 of 3128




employed through intermediary entities that FedEx calls independent service providers. Gooden

has been eligible to receive overtime pay under the FLSA because Gooden has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9341. Plaintiff Nathan Grandchamp is an individual residing in Rhode Island.

Grandchamp worked as a delivery driver for FedEx in Rhode Island from approximately 2018 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Grandchamp has been eligible to receive overtime pay under the FLSA because

Grandchamp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9342. Plaintiff William Harpin is an individual residing in Rhode Island. Harpin worked

as a delivery driver for FedEx in Rhode Island from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Harpin

has been eligible to receive overtime pay under the FLSA because Harpin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9343. Plaintiff Robert Manchester is an individual residing in Rhode Island. Manchester

worked as a delivery driver for FedEx in Rhode Island but was employed through intermediary

entities that FedEx calls independent service providers. Manchester has been eligible to receive

overtime pay under the FLSA because Manchester has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9344. Plaintiff Andrew Obrion is an individual residing in Rhode Island. Obrion worked

as a delivery driver for FedEx in Rhode Island from approximately 2017 to 2018 but was



                                              2477
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2478 of 3128




employed through intermediary entities that FedEx calls independent service providers. Obrion

has been eligible to receive overtime pay under the FLSA because Obrion has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9345. Plaintiff Edson Reyes is an individual residing in New Jersey. Reyes worked as a

delivery driver for FedEx in Rhode Island from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Reyes has been

eligible to receive overtime pay under the FLSA because Reyes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9346. Plaintiff Jonathan Robertson is an individual residing in Rhode Island. Robertson

worked as a delivery driver for FedEx in Rhode Island from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Robertson has been eligible to receive overtime pay under the FLSA because Robertson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9347. Plaintiff Craig Sewall is an individual residing in Rhode Island. Sewall worked as

a delivery driver for FedEx in Rhode Island from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sewall has been

eligible to receive overtime pay under the FLSA because Sewall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2478
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2479 of 3128




       9348. Plaintiff Sandra Smith is an individual residing in Rhode Island. Smith worked as

a delivery driver for FedEx in Rhode Island but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9349. Plaintiff Arthur St. Pierre is an individual residing in Massachusetts. St. Pierre

worked as a delivery driver for FedEx in Rhode Island from approximately 2010 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. St. Pierre

has been eligible to receive overtime pay under the FLSA because St. Pierre has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9350. Plaintiff Antonio Torres is an individual residing in Rhode Island. Torres worked

as a delivery driver for FedEx in Rhode Island from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Torres

has been eligible to receive overtime pay under the FLSA because Torres has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9351. Plaintiff Kelly Wilson is an individual residing in Rhode Island. Wilson worked

as a delivery driver for FedEx in Rhode Island from approximately 2013 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Wilson

has been eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2479
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2480 of 3128




       9352. Plaintiff Eugene A Viruet is an individual residing in South Carolina. Viruet

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Viruet has been eligible to receive overtime pay under the FLSA because Viruet has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9353. Plaintiff Andre Adams is an individual residing in South Carolina. Adams worked

as a delivery driver for FedEx in South Carolina from approximately 2007 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Adams

has been eligible to receive overtime pay under the FLSA because Adams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9354. Plaintiff Kelly Adams is an individual residing in South Carolina. Adams worked

as a delivery driver for FedEx in South Carolina and North Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Adams has been eligible to

receive overtime pay under the FLSA because Adams has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9355. Plaintiff Jacob Allen is an individual residing in South Carolina. Allen worked as

a delivery driver for FedEx in South Carolina from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Allen

has been eligible to receive overtime pay under the FLSA because Allen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2480
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2481 of 3128




       9356. Plaintiff Elizabeth Allen is an individual residing in South Carolina. Allen worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Allen has been eligible to receive overtime pay

under the FLSA because Allen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9357. Plaintiff Daerol Ancrum is an individual residing in South Carolina. Ancrum

worked as a delivery driver for FedEx in South Carolina from approximately 2012 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Ancrum has been eligible to receive overtime pay under the FLSA because Ancrum has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9358. Plaintiff Takisha Anderson is an individual residing in South Carolina. Anderson

worked as a delivery driver for FedEx in South Carolina from approximately 2003 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9359. Plaintiff Darius Anderson is an individual residing in North Carolina. Anderson

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              2481
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2482 of 3128




       9360. Plaintiff Joseph Armoogam is an individual residing in South Carolina.

Armoogam worked as a delivery driver for FedEx in South Carolina from approximately 2016 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Armoogam has been eligible to receive overtime pay under the FLSA because

Armoogam has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9361. Plaintiff Kouassi Assie is an individual residing in North Carolina. Assie worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Assie

has been eligible to receive overtime pay under the FLSA because Assie has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9362. Plaintiff Lee Azevedo is an individual residing in South Carolina. Azevedo

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Azevedo has been eligible to receive overtime pay under the FLSA because Azevedo has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9363. Plaintiff Raymond Bagnato is an individual residing in South Carolina. Bagnato

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Bagnato has been eligible to receive overtime pay under the FLSA because Bagnato has driven a




                                             2482
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2483 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9364. Plaintiff Anthony Ballenger is an individual residing in South Carolina. Ballenger

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Ballenger has been eligible to receive overtime pay under the FLSA because Ballenger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9365. Plaintiff Wendell Ballew is an individual residing in South Carolina. Ballew

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Ballew has been eligible to receive

overtime pay under the FLSA because Ballew has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9366. Plaintiff Brett Banchero is an individual residing in South Carolina. Banchero

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Banchero has been eligible to receive overtime pay under the FLSA because Banchero has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9367. Plaintiff Cory Barrow is an individual residing in South Carolina. Barrow worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Barrow

has been eligible to receive overtime pay under the FLSA because Barrow has driven a vehicle



                                              2483
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2484 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9368. Plaintiff Todd Bastian is an individual residing in North Carolina. Bastian worked

as a delivery driver for FedEx in South Carolina from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bastian

has been eligible to receive overtime pay under the FLSA because Bastian has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9369. Plaintiff Robert Beers is an individual residing in South Carolina. Beers worked

as a delivery driver for FedEx in South Carolina from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Beers

has been eligible to receive overtime pay under the FLSA because Beers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9370. Plaintiff Luther Bells is an individual residing in South Carolina. Bells worked as

a delivery driver for FedEx in South Carolina from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bells has

been eligible to receive overtime pay under the FLSA because Bells has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9371. Plaintiff Santonia Bennett is an individual residing in South Carolina. Bennett

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2484
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2485 of 3128




Bennett has been eligible to receive overtime pay under the FLSA because Bennett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9372. Plaintiff Nathan Bennett is an individual residing in South Carolina. Bennett

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Bennett has been eligible to receive overtime pay under the FLSA because Bennett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9373. Plaintiff Shawn Bethea is an individual residing in South Carolina. Bethea worked

as a delivery driver for FedEx in South Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bethea

has been eligible to receive overtime pay under the FLSA because Bethea has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9374. Plaintiff Bi Bia is an individual residing in North Carolina. Bia worked as a

delivery driver for FedEx in South Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Bia has been eligible to receive overtime pay under

the FLSA because Bia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9375. Plaintiff Recardo Blakney is an individual residing in South Carolina. Blakney

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2485
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2486 of 3128




Blakney has been eligible to receive overtime pay under the FLSA because Blakney has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9376. Plaintiff Marcus Bland is an individual residing in South Carolina. Bland worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bland

has been eligible to receive overtime pay under the FLSA because Bland has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9377. Plaintiff Transon Bookert is an individual residing in South Carolina. Bookert

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Bookert has been eligible to receive overtime pay under the FLSA because Bookert has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9378. Plaintiff Michael Boozer is an individual residing in South Carolina. Boozer

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Boozer has been eligible to receive

overtime pay under the FLSA because Boozer has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9379. Plaintiff Vendie Borden is an individual residing in South Carolina. Borden

worked as a delivery driver for FedEx in South Carolina from approximately 2007 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2486
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2487 of 3128




Borden has been eligible to receive overtime pay under the FLSA because Borden has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9380. Plaintiff Brent Bouton is an individual residing in South Carolina. Bouton worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Bouton has been eligible to receive overtime pay

under the FLSA because Bouton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9381. Plaintiff Christopher Boyd is an individual residing in North Carolina. Boyd

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Boyd has been eligible to receive overtime pay under the FLSA because Boyd has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9382. Plaintiff Jeffrey Bradberry is an individual residing in South Carolina. Bradberry

worked as a delivery driver for FedEx in South Carolina from approximately 2011 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Bradberry has been eligible to receive overtime pay under the FLSA because Bradberry has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9383. Plaintiff Chiquita Brannon is an individual residing in South Carolina. Brannon

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2487
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2488 of 3128




Brannon has been eligible to receive overtime pay under the FLSA because Brannon has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9384. Plaintiff Debra Brigman is an individual residing in South Carolina. Brigman

worked as a delivery driver for FedEx in South Carolina from approximately 2012 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Brigman has been eligible to receive overtime pay under the FLSA because Brigman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9385. Plaintiff Trarhonda Britt is an individual residing in South Carolina. Britt worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Britt has been eligible to receive overtime pay

under the FLSA because Britt has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9386. Plaintiff Walter Brock is an individual residing in South Carolina. Brock worked

as a delivery driver for FedEx in South Carolina from approximately 2003 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Brock

has been eligible to receive overtime pay under the FLSA because Brock has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9387. Plaintiff Tio Brooks is an individual residing in Virginia. Brooks worked as a

delivery driver for FedEx in South Carolina from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been



                                              2488
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2489 of 3128




eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9388. Plaintiff Aric Brown is an individual residing in South Carolina. Brown worked

as a delivery driver for FedEx in South Carolina from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Brown

has been eligible to receive overtime pay under the FLSA because Brown has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9389. Plaintiff Christian Brown is an individual residing in South Carolina. Brown

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Brown has been eligible to receive

overtime pay under the FLSA because Brown has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9390. Plaintiff Jermaine Brown-Young is an individual residing in South Carolina.

Brown-Young worked as a delivery driver for FedEx in South Carolina from approximately

2017 to 2018 but was employed through intermediary entities that FedEx calls independent

service providers. Brown-Young has been eligible to receive overtime pay under the FLSA

because Brown-Young has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9391. Plaintiff Roxie Burts is an individual residing in South Carolina. Burts worked as

a delivery driver for FedEx in South Carolina from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Burts has



                                              2489
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2490 of 3128




been eligible to receive overtime pay under the FLSA because Burts has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9392. Plaintiff Jalesa Byrd is an individual residing in North Carolina. Byrd worked as a

delivery driver for FedEx in South Carolina from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Byrd has been

eligible to receive overtime pay under the FLSA because Byrd has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9393. Plaintiff Shalana Camp is an individual residing in South Carolina. Camp worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Camp

has been eligible to receive overtime pay under the FLSA because Camp has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9394. Plaintiff Malcolm Cantey is an individual residing in South Carolina. Cantey

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Cantey has been eligible to receive overtime pay under the FLSA because Cantey has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9395. Plaintiff Kevin Canty is an individual residing in South Carolina. Canty worked

as a delivery driver for FedEx in South Carolina from approximately 2018 to 2022 but was



                                              2490
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2491 of 3128




employed through intermediary entities that FedEx calls independent service providers. Canty

has been eligible to receive overtime pay under the FLSA because Canty has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9396. Plaintiff Trevor Carman is an individual residing in South Carolina. Carman

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Carman has been eligible to receive

overtime pay under the FLSA because Carman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9397. Plaintiff David Chacon is an individual residing in Texas. Chacon worked as a

delivery driver for FedEx in South Carolina from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Chacon has been

eligible to receive overtime pay under the FLSA because Chacon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9398. Plaintiff William Chavis is an individual residing in Florida. Chavis worked as a

delivery driver for FedEx in South Carolina from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Chavis has been

eligible to receive overtime pay under the FLSA because Chavis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9399. Plaintiff Kelli Chavis is an individual residing in South Carolina. Chavis worked

as a delivery driver for FedEx in South Carolina from approximately 2013 to 2019 but was



                                              2491
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2492 of 3128




employed through intermediary entities that FedEx calls independent service providers. Chavis

has been eligible to receive overtime pay under the FLSA because Chavis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9400. Plaintiff Felicia Cherry is an individual residing in South Carolina. Cherry worked

as a delivery driver for FedEx in South Carolina from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Cherry

has been eligible to receive overtime pay under the FLSA because Cherry has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9401. Plaintiff Brian Clark is an individual residing in South Carolina. Clark worked as

a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Clark

has been eligible to receive overtime pay under the FLSA because Clark has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9402. Plaintiff Mae Clemmons is an individual residing in South Carolina. Clemmons

worked as a delivery driver for FedEx in South Carolina from approximately 2006 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Clemmons has been eligible to receive overtime pay under the FLSA because Clemmons has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             2492
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2493 of 3128




       9403. Plaintiff Walker Cobb is an individual residing in South Carolina. Cobb worked

as a delivery driver for FedEx in South Carolina from approximately 2012 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Cobb has

been eligible to receive overtime pay under the FLSA because Cobb has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9404. Plaintiff Joseph Cobbs is an individual residing in South Carolina. Cobbs worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Cobbs has been eligible to receive overtime pay

under the FLSA because Cobbs has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9405. Plaintiff Tilman Cole is an individual residing in South Carolina. Cole worked as

a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Cole has been eligible to receive overtime pay

under the FLSA because Cole has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9406. Plaintiff Cavin Coleman is an individual residing in South Carolina. Coleman

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Coleman has been eligible to receive overtime pay under the FLSA because Coleman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              2493
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2494 of 3128




       9407. Plaintiff Adrian Conyers is an individual residing in South Carolina. Conyers

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Conyers has been eligible to receive

overtime pay under the FLSA because Conyers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9408. Plaintiff Kevin Conyers is an individual residing in South Carolina. Conyers

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Conyers has been eligible to receive overtime pay under the FLSA because Conyers has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9409. Plaintiff Brandon Cox is an individual residing in South Carolina. Cox worked as

a delivery driver for FedEx in South Carolina from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Cox has

been eligible to receive overtime pay under the FLSA because Cox has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9410. Plaintiff Onezean Crawford is an individual residing in South Carolina. Crawford

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Crawford has been eligible to receive

overtime pay under the FLSA because Crawford has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2494
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2495 of 3128




       9411. Plaintiff Millicent Crockett is an individual residing in South Carolina. Crockett

worked as a delivery driver for FedEx in South Carolina from approximately 2008 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Crockett has been eligible to receive overtime pay under the FLSA because Crockett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9412. Plaintiff Lisa Crosby is an individual residing in South Carolina. Crosby worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Crosby has been eligible to receive overtime pay

under the FLSA because Crosby has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9413. Plaintiff Alexis Crowder is an individual residing in Alabama. Crowder worked as

a delivery driver for FedEx in South Carolina from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Crowder

has been eligible to receive overtime pay under the FLSA because Crowder has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9414. Plaintiff Jackson Curtis is an individual residing in South Carolina. Curtis worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Curtis has been eligible to receive overtime pay

under the FLSA because Curtis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              2495
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2496 of 3128




       9415. Plaintiff Ronald Davis is an individual residing in South Carolina. Davis worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Davis has been eligible to receive overtime pay

under the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9416. Plaintiff Clarence Davis is an individual residing in South Carolina. Davis worked

as a delivery driver for FedEx in South Carolina from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Davis

has been eligible to receive overtime pay under the FLSA because Davis has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9417. Plaintiff Marcus Dawkins is an individual residing in South Carolina. Dawkins

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Dawkins has been eligible to receive overtime pay under the FLSA because Dawkins has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9418. Plaintiff Patrick Deaton is an individual residing in South Carolina. Deaton

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Deaton has been eligible to receive overtime pay under the FLSA because Deaton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                              2496
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2497 of 3128




       9419. Plaintiff Brandon Deese is an individual residing in North Carolina. Deese

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Deese has been eligible to receive

overtime pay under the FLSA because Deese has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9420. Plaintiff Demetrius Dennis is an individual residing in North Carolina. Dennis

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Dennis has been eligible to receive

overtime pay under the FLSA because Dennis has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9421. Plaintiff Christopher Devito is an individual residing in South Carolina. Devito

worked as a delivery driver for FedEx in South Carolina from approximately 2002 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Devito has been eligible to receive overtime pay under the FLSA because Devito has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9422. Plaintiff Matthew Difilippo is an individual residing in South Carolina. Difilippo

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Difilippo has been eligible to receive overtime pay under the FLSA because Difilippo has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              2497
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2498 of 3128




       9423. Plaintiff Courtney Dix is an individual residing in South Carolina. Dix worked as

a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Dix has been eligible to receive overtime pay

under the FLSA because Dix has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9424. Plaintiff Doreen Dollison is an individual residing in North Carolina. Dollison

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Dollison has been eligible to receive

overtime pay under the FLSA because Dollison has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9425. Plaintiff Artis Dozier is an individual residing in South Carolina. Dozier worked

as a delivery driver for FedEx in South Carolina from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Dozier

has been eligible to receive overtime pay under the FLSA because Dozier has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9426. Plaintiff Deaqualin Drayton is an individual residing in South Carolina. Drayton

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Drayton has been eligible to receive overtime pay under the FLSA because Drayton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                               2498
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2499 of 3128




       9427. Plaintiff Jeffrey Driggers is an individual residing in South Carolina. Driggers

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Driggers has been eligible to receive overtime pay under the FLSA because Driggers has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9428. Plaintiff Reeshema Eaddy is an individual residing in South Carolina. Eaddy

worked as a delivery driver for FedEx in South Carolina from approximately 2011 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Eaddy has been eligible to receive overtime pay under the FLSA because Eaddy has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9429. Plaintiff Gwendolyn Easternwashington is an individual residing in South

Carolina. Easternwashington worked as a delivery driver for FedEx in South Carolina from

approximately 2008 to 2024 but was employed through intermediary entities that FedEx calls

independent service providers. Easternwashington has been eligible to receive overtime pay

under the FLSA because Easternwashington has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9430. Plaintiff Bryant Edwards is an individual residing in South Carolina. Edwards

worked as a delivery driver for FedEx in South Carolina from approximately 2015 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Edwards has been eligible to receive overtime pay under the FLSA because Edwards has driven




                                             2499
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2500 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9431. Plaintiff William Elm is an individual residing in South Carolina. Elm worked as

a delivery driver for FedEx in South Carolina from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Elm has

been eligible to receive overtime pay under the FLSA because Elm has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9432. Plaintiff Ronald Evins is an individual residing in North Carolina. Evins worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Evins has been eligible to receive overtime pay

under the FLSA because Evins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9433. Plaintiff Patrice Felder is an individual residing in South Carolina. Felder worked

as a delivery driver for FedEx in South Carolina from approximately 1999 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Felder

has been eligible to receive overtime pay under the FLSA because Felder has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9434. Plaintiff Charles Fields is an individual residing in South Carolina. Fields worked

as a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Fields

has been eligible to receive overtime pay under the FLSA because Fields has driven a vehicle



                                              2500
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2501 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9435. Plaintiff Danielle Fiorillo is an individual residing in South Carolina. Fiorillo

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Fiorillo has been eligible to receive overtime pay under the FLSA because Fiorillo has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9436. Plaintiff Shaun Fitch is an individual residing in South Carolina. Fitch worked as

a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Fitch has

been eligible to receive overtime pay under the FLSA because Fitch has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9437. Plaintiff Todd Floyd is an individual residing in South Carolina. Floyd worked as

a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Floyd

has been eligible to receive overtime pay under the FLSA because Floyd has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9438. Plaintiff Joe Ford is an individual residing in South Carolina. Ford worked as a

delivery driver for FedEx in South Carolina from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been



                                              2501
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2502 of 3128




eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9439. Plaintiff Joe Ford Iii is an individual residing in South Carolina. Ford Iii worked

as a delivery driver for FedEx in South Carolina from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Ford Iii

has been eligible to receive overtime pay under the FLSA because Ford Iii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9440. Plaintiff Mark Foster is an individual residing in South Carolina. Foster worked as

a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Foster

has been eligible to receive overtime pay under the FLSA because Foster has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9441. Plaintiff Leavitrix Frayer is an individual residing in South Carolina. Frayer

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Frayer has been eligible to receive

overtime pay under the FLSA because Frayer has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9442. Plaintiff Michael Frazier is an individual residing in South Carolina. Frazier

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               2502
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2503 of 3128




Frazier has been eligible to receive overtime pay under the FLSA because Frazier has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9443. Plaintiff Ernestine Gabe is an individual residing in South Carolina. Gabe worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Gabe has

been eligible to receive overtime pay under the FLSA because Gabe has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9444. Plaintiff Demetrius Gamble is an individual residing in South Carolina. Gamble

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Gamble has been eligible to receive overtime pay under the FLSA because Gamble has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9445. Plaintiff Jeffrey Gecek is an individual residing in Florida. Gecek worked as a

delivery driver for FedEx in South Carolina from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gecek has been

eligible to receive overtime pay under the FLSA because Gecek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9446. Plaintiff Jon Gibson is an individual residing in South Carolina. Gibson worked as

a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but was



                                              2503
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2504 of 3128




employed through intermediary entities that FedEx calls independent service providers. Gibson

has been eligible to receive overtime pay under the FLSA because Gibson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9447. Plaintiff Michael Glover is an individual residing in South Carolina. Glover

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Glover has been eligible to receive

overtime pay under the FLSA because Glover has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9448. Plaintiff Karen Godwin is an individual residing in South Carolina. Godwin

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Godwin has been eligible to receive

overtime pay under the FLSA because Godwin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9449. Plaintiff Dustin Goodman is an individual residing in North Carolina. Goodman

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Goodman has been eligible to receive overtime pay under the FLSA because Goodman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9450. Plaintiff Marquis Gyant is an individual residing in South Carolina. Gyant worked

as a delivery driver for FedEx in South Carolina from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Gyant



                                              2504
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2505 of 3128




has been eligible to receive overtime pay under the FLSA because Gyant has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9451. Plaintiff Michael Hair is an individual residing in North Carolina. Hair worked as

a delivery driver for FedEx in South Carolina from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Hair has

been eligible to receive overtime pay under the FLSA because Hair has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9452. Plaintiff Jonathon Hamlet is an individual residing in North Carolina. Hamlet

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Hamlet has been eligible to receive overtime pay under the FLSA because Hamlet has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9453. Plaintiff Jessica Hannaalston is an individual residing in South Carolina.

Hannaalston worked as a delivery driver for FedEx in South Carolina from approximately 2010

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Hannaalston has been eligible to receive overtime pay under the FLSA because

Hannaalston has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9454. Plaintiff Sheila Hannah is an individual residing in South Carolina. Hannah

worked as a delivery driver for FedEx in South Carolina from approximately 2005 to 2024 but



                                             2505
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2506 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Hannah has been eligible to receive overtime pay under the FLSA because Hannah has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9455. Plaintiff Tyeisha Harmon is an individual residing in Texas. Harmon worked as a

delivery driver for FedEx in South Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Harmon has been eligible to receive overtime pay

under the FLSA because Harmon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9456. Plaintiff Stanley Harper is an individual residing in North Carolina. Harper

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Harper has been eligible to receive

overtime pay under the FLSA because Harper has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9457. Plaintiff Shannon Harris is an individual residing in South Carolina. Harris

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Harris has been eligible to receive overtime pay under the FLSA because Harris has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9458. Plaintiff Michael Harris is an individual residing in South Carolina. Harris worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Harris



                                              2506
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2507 of 3128




has been eligible to receive overtime pay under the FLSA because Harris has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9459. Plaintiff Dante Hatfield is an individual residing in South Carolina. Hatfield

worked as a delivery driver for FedEx in South Carolina from approximately 2012 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Hatfield has been eligible to receive overtime pay under the FLSA because Hatfield has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9460. Plaintiff Jamie Headen is an individual residing in South Carolina. Headen

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Headen has been eligible to receive

overtime pay under the FLSA because Headen has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9461. Plaintiff Christopher Hinton is an individual residing in South Carolina. Hinton

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Hinton has been eligible to receive overtime pay under the FLSA because Hinton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9462. Plaintiff Bobby Holbrooks is an individual residing in South Carolina. Holbrooks

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Holbrooks has been eligible to receive



                                              2507
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2508 of 3128




overtime pay under the FLSA because Holbrooks has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9463. Plaintiff Charlessa Holley is an individual residing in South Carolina. Holley

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Holley has been eligible to receive overtime pay under the FLSA because Holley has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9464. Plaintiff Antonio Hollis is an individual residing in South Carolina. Hollis worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Hollis has been eligible to receive overtime pay

under the FLSA because Hollis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9465. Plaintiff Tony House is an individual residing in South Carolina. House worked

as a delivery driver for FedEx in South Carolina from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. House

has been eligible to receive overtime pay under the FLSA because House has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9466. Plaintiff Clarence Howard is an individual residing in South Carolina. Howard

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Howard has been eligible to receive overtime pay under the FLSA because Howard has driven a



                                              2508
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2509 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9467. Plaintiff Patrick Huff is an individual residing in South Carolina. Huff worked as

a delivery driver for FedEx in South Carolina from approximately 2010 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Huff has

been eligible to receive overtime pay under the FLSA because Huff has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9468. Plaintiff Christopher Huseonica is an individual residing in Georgia. Huseonica

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Huseonica has been eligible to receive overtime pay under the FLSA because Huseonica has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9469. Plaintiff James Hutchinson is an individual residing in South Carolina.

Hutchinson worked as a delivery driver for FedEx in South Carolina from approximately 2013 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Hutchinson has been eligible to receive overtime pay under the FLSA because

Hutchinson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9470. Plaintiff Shakeniah Irby is an individual residing in South Carolina. Irby worked

as a delivery driver for FedEx in South Carolina from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Irby has



                                             2509
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2510 of 3128




been eligible to receive overtime pay under the FLSA because Irby has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9471. Plaintiff Samuel Isaac is an individual residing in South Carolina. Isaac worked as

a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Isaac has been eligible to receive overtime pay

under the FLSA because Isaac has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9472. Plaintiff Kimberlie Isom is an individual residing in South Carolina. Isom worked

as a delivery driver for FedEx in South Carolina from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Isom has

been eligible to receive overtime pay under the FLSA because Isom has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9473. Plaintiff Antquon Jackson is an individual residing in South Carolina. Jackson

worked as a delivery driver for FedEx in South Carolina from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Jackson has been eligible to receive overtime pay under the FLSA because Jackson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9474. Plaintiff Christopher Jackson is an individual residing in South Carolina. Jackson

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Jackson has been eligible to receive



                                              2510
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2511 of 3128




overtime pay under the FLSA because Jackson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9475. Plaintiff Kayla Jackson is an individual residing in South Carolina. Jackson

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Jackson has been eligible to receive

overtime pay under the FLSA because Jackson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9476. Plaintiff Nikki James is an individual residing in South Carolina. James worked as

a delivery driver for FedEx in South Carolina from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. James

has been eligible to receive overtime pay under the FLSA because James has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9477. Plaintiff Andrea James is an individual residing in South Carolina. James worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. James

has been eligible to receive overtime pay under the FLSA because James has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9478. Plaintiff Brandon Jerry is an individual residing in North Carolina. Jerry worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Jerry has

been eligible to receive overtime pay under the FLSA because Jerry has driven a vehicle



                                              2511
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2512 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9479. Plaintiff Jordan Jinks is an individual residing in South Carolina. Jinks worked as

a delivery driver for FedEx in South Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Jinks has

been eligible to receive overtime pay under the FLSA because Jinks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9480. Plaintiff James Johnson Jr. is an individual residing in South Carolina. Johnson Jr.

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson Jr. has been eligible to receive overtime pay under the FLSA because Johnson Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9481. Plaintiff Tarrance Jones is an individual residing in South Carolina. Jones worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9482. Plaintiff Marvin Jones is an individual residing in South Carolina. Jones worked

as a delivery driver for FedEx in South Carolina from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Jones



                                             2512
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2513 of 3128




has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9483. Plaintiff Herbert Jones is an individual residing in North Carolina. Jones worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9484. Plaintiff Charles Jones is an individual residing in South Carolina. Jones worked

as a delivery driver for FedEx in South Carolina from approximately 1998 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Jones

has been eligible to receive overtime pay under the FLSA because Jones has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9485. Plaintiff Ryan Kaczmarz is an individual residing in New York. Kaczmarz

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Kaczmarz has been eligible to receive overtime pay under the FLSA because Kaczmarz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9486. Plaintiff Shakail Keith is an individual residing in South Carolina. Keith worked

as a delivery driver for FedEx in South Carolina from approximately 2018 to 2021 but was



                                             2513
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2514 of 3128




employed through intermediary entities that FedEx calls independent service providers. Keith

has been eligible to receive overtime pay under the FLSA because Keith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9487. Plaintiff Jeremiah Kennedy is an individual residing in South Carolina. Kennedy

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Kennedy has been eligible to receive overtime pay under the FLSA because Kennedy has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9488. Plaintiff Austin Keverett is an individual residing in South Carolina. Keverett

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Keverett has been eligible to receive overtime pay under the FLSA because Keverett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9489. Plaintiff Richard Lambert is an individual residing in South Carolina. Lambert

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Lambert has been eligible to receive overtime pay under the FLSA because Lambert has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                             2514
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2515 of 3128




        9490. Plaintiff Chanell Lasane Canty is an individual residing in South Carolina.

Lasane Canty worked as a delivery driver for FedEx in South Carolina from approximately 2019

to 2020 but was employed through intermediary entities that FedEx calls independent service

providers. Lasane Canty has been eligible to receive overtime pay under the FLSA because

Lasane Canty has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        9491. Plaintiff Rodrigues Leverette is an individual residing in South Carolina.

Leverette worked as a delivery driver for FedEx in South Carolina from approximately 2013 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Leverette has been eligible to receive overtime pay under the FLSA because Leverette

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        9492. Plaintiff Richard Lewis is an individual residing in Virginia. Lewis worked as a

delivery driver for FedEx in South Carolina from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lewis has been

eligible to receive overtime pay under the FLSA because Lewis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9493. Plaintiff Edward Lewis is an individual residing in South Carolina. Lewis worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Lewis has been eligible to receive overtime pay

under the FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              2515
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2516 of 3128




        9494. Plaintiff Travis Lipscomb is an individual residing in North Carolina. Lipscomb

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Lipscomb has been eligible to receive

overtime pay under the FLSA because Lipscomb has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9495. Plaintiff Sherry Little is an individual residing in North Carolina. Little worked as

a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Little has been eligible to receive overtime pay

under the FLSA because Little has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9496. Plaintiff Lionel Luckett is an individual residing in South Carolina. Luckett

worked as a delivery driver for FedEx in South Carolina from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Luckett has been eligible to receive overtime pay under the FLSA because Luckett has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9497. Plaintiff John Lutz is an individual residing in South Carolina. Lutz worked as a

delivery driver for FedEx in South Carolina from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lutz has been

eligible to receive overtime pay under the FLSA because Lutz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2516
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2517 of 3128




       9498. Plaintiff Erica Martin is an individual residing in South Carolina. Lyons worked

as a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Lyons

has been eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9499. Plaintiff Jason M Ross is an individual residing in South Carolina. M Ross

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers. M

Ross has been eligible to receive overtime pay under the FLSA because M Ross has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9500. Plaintiff Kendall Madison is an individual residing in South Carolina. Madison

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Madison has been eligible to receive overtime pay under the FLSA because Madison has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9501. Plaintiff Jamie Norton is an individual residing in South Carolina. Marbury

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Marbury has been eligible to receive

overtime pay under the FLSA because Marbury has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2517
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2518 of 3128




       9502. Plaintiff Christopher Markey is an individual residing in South Carolina. Markey

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Markey has been eligible to receive overtime pay under the FLSA because Markey has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9503. Plaintiff Matthew Martinez is an individual residing in South Carolina. Martinez

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Martinez has been eligible to receive overtime pay under the FLSA because Martinez has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9504. Plaintiff Christopher Matthews is an individual residing in South Carolina.

Matthews worked as a delivery driver for FedEx in South Carolina from approximately 2017 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Matthews has been eligible to receive overtime pay under the FLSA because

Matthews has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9505. Plaintiff Garrett Mcafee is an individual residing in Missouri. Mcafee worked as a

delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mcafee has been

eligible to receive overtime pay under the FLSA because Mcafee has driven a vehicle weighing




                                             2518
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2519 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9506. Plaintiff Paul Mcclellan is an individual residing in South Carolina. Mcclellan

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Mcclellan has been eligible to receive

overtime pay under the FLSA because Mcclellan has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9507. Plaintiff E. Mcgregor is an individual residing in South Carolina. Mcgregor

worked as a delivery driver for FedEx in South Carolina from approximately 1999 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Mcgregor has been eligible to receive overtime pay under the FLSA because Mcgregor has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9508. Plaintiff Adrian Mclellan is an individual residing in South Carolina. Mclellan

worked as a delivery driver for FedEx in South Carolina from approximately 2009 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Mclellan has been eligible to receive overtime pay under the FLSA because Mclellan has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9509. Plaintiff Kieran Mcleod is an individual residing in Georgia. Mcleod worked as a

delivery driver for FedEx in South Carolina from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mcleod has been

eligible to receive overtime pay under the FLSA because Mcleod has driven a vehicle weighing



                                              2519
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2520 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9510. Plaintiff George Mcnealy Ii is an individual residing in North Carolina. Mcnealy

Ii worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Mcnealy Ii has been eligible to receive overtime pay under the FLSA because Mcnealy Ii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9511. Plaintiff Anthony Mcneil is an individual residing in South Carolina. Mcneil

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Mcneil has been eligible to receive overtime pay under the FLSA because Mcneil has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9512. Plaintiff Thomas Meilinger is an individual residing in North Carolina. Meilinger

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Meilinger has been eligible to receive overtime pay under the FLSA because Meilinger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9513. Plaintiff Roger Metze is an individual residing in South Carolina. Metze worked

as a delivery driver for FedEx in South Carolina from approximately 2012 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Metze



                                             2520
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2521 of 3128




has been eligible to receive overtime pay under the FLSA because Metze has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9514. Plaintiff Reginald Middleton is an individual residing in South Carolina.

Middleton worked as a delivery driver for FedEx in South Carolina from approximately 1990 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Middleton has been eligible to receive overtime pay under the FLSA because

Middleton has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9515. Plaintiff Sean Miller is an individual residing in North Carolina. Miller worked as

a delivery driver for FedEx in South Carolina from approximately 2010 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Miller

has been eligible to receive overtime pay under the FLSA because Miller has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9516. Plaintiff Benjamin Miller is an individual residing in South Carolina. Miller

worked as a delivery driver for FedEx in South Carolina from approximately 2004 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Miller has been eligible to receive overtime pay under the FLSA because Miller has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9517. Plaintiff Robert Mills is an individual residing in Puerto Rico. Mills worked as a

delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but was employed



                                             2521
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2522 of 3128




through intermediary entities that FedEx calls independent service providers. Mills has been

eligible to receive overtime pay under the FLSA because Mills has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9518. Plaintiff Kevin Mills is an individual residing in South Carolina. Mills worked as

a delivery driver for FedEx in South Carolina from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Mills has

been eligible to receive overtime pay under the FLSA because Mills has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9519. Plaintiff William Milton is an individual residing in South Carolina. Milton

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Milton has been eligible to receive overtime pay under the FLSA because Milton has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9520. Plaintiff Shannon Mithcell is an individual residing in South Carolina. Mithcell

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Mithcell has been eligible to receive overtime pay under the FLSA because Mithcell has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                              2522
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2523 of 3128




       9521. Plaintiff Robert Morris is an individual residing in South Carolina. Morris worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Morris has been eligible to receive overtime pay

under the FLSA because Morris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9522. Plaintiff Michelle Morton is an individual residing in South Carolina. Morton

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Morton has been eligible to receive

overtime pay under the FLSA because Morton has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9523. Plaintiff Ryan Mumper is an individual residing in South Carolina. Mumper

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Mumper has been eligible to receive

overtime pay under the FLSA because Mumper has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9524. Plaintiff Kwasi Munufie is an individual residing in North Carolina. Munufie

worked as a delivery driver for FedEx in South Carolina from approximately 2015 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Munufie has been eligible to receive overtime pay under the FLSA because Munufie has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9525. Plaintiff William Myers is an individual residing in South Carolina. Myers

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary



                                              2523
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2524 of 3128




entities that FedEx calls independent service providers. Myers has been eligible to receive

overtime pay under the FLSA because Myers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9526. Plaintiff Porshia Nash is an individual residing in North Carolina. Nash worked as

a delivery driver for FedEx in South Carolina from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Nash has

been eligible to receive overtime pay under the FLSA because Nash has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9527. Plaintiff Tyiesha Nathaniel is an individual residing in South Carolina. Nathaniel

worked as a delivery driver for FedEx in South Carolina from approximately 2015 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Nathaniel has been eligible to receive overtime pay under the FLSA because Nathaniel has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9528. Plaintiff Donta Pack is an individual residing in South Carolina. Pack worked as a

delivery driver for FedEx in South Carolina from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Pack has been

eligible to receive overtime pay under the FLSA because Pack has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9529. Plaintiff Shana Paige is an individual residing in South Carolina. Paige worked as

a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but was



                                              2524
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2525 of 3128




employed through intermediary entities that FedEx calls independent service providers. Paige

has been eligible to receive overtime pay under the FLSA because Paige has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9530. Plaintiff Derrick Pappas is an individual residing in South Carolina. Pappas

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Pappas has been eligible to receive overtime pay under the FLSA because Pappas has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9531. Plaintiff Robyn Pavlakovich is an individual residing in South Carolina.

Pavlakovich worked as a delivery driver for FedEx in South Carolina from approximately 2013

to 2018 but was employed through intermediary entities that FedEx calls independent service

providers. Pavlakovich has been eligible to receive overtime pay under the FLSA because

Pavlakovich has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9532. Plaintiff Erica Pendergrass is an individual residing in South Carolina.

Pendergrass worked as a delivery driver for FedEx in South Carolina from approximately 2023

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Pendergrass has been eligible to receive overtime pay under the FLSA because

Pendergrass has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.




                                             2525
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2526 of 3128




       9533. Plaintiff Jeromie Phillips is an individual residing in South Carolina. Phillips

worked as a delivery driver for FedEx in South Carolina from approximately 2006 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Phillips has been eligible to receive overtime pay under the FLSA because Phillips has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9534. Plaintiff Ronald Pietramala is an individual residing in South Carolina. Pietramala

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Pietramala has been eligible to receive overtime pay under the FLSA because Pietramala has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9535. Plaintiff Marcus Polite is an individual residing in South Carolina. Polite worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Polite

has been eligible to receive overtime pay under the FLSA because Polite has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9536. Plaintiff Timothy Ponds is an individual residing in South Carolina. Ponds

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Ponds has been eligible to receive overtime pay under the FLSA because Ponds has driven a




                                              2526
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2527 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9537. Plaintiff Jackie Profit is an individual residing in South Carolina. Profit worked as

a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Profit

has been eligible to receive overtime pay under the FLSA because Profit has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9538. Plaintiff Andrew Rambo is an individual residing in South Carolina. Rambo

worked as a delivery driver for FedEx in South Carolina from approximately 2012 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Rambo has been eligible to receive overtime pay under the FLSA because Rambo has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9539. Plaintiff Lula Ramsey is an individual residing in South Carolina. Ramsey worked

as a delivery driver for FedEx in South Carolina from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ramsey

has been eligible to receive overtime pay under the FLSA because Ramsey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9540. Plaintiff Thomas Ratliff is an individual residing in South Carolina. Ratliff

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Ratliff has been eligible to receive



                                               2527
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2528 of 3128




overtime pay under the FLSA because Ratliff has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9541. Plaintiff James Rennick is an individual residing in Florida. Rennick worked as a

delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rennick has been

eligible to receive overtime pay under the FLSA because Rennick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9542. Plaintiff Paul Reynolds is an individual residing in South Carolina. Reynolds

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Reynolds has been eligible to receive

overtime pay under the FLSA because Reynolds has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9543. Plaintiff Larry Rhodes is an individual residing in South Carolina. Rhodes worked

as a delivery driver for FedEx in South Carolina from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Rhodes

has been eligible to receive overtime pay under the FLSA because Rhodes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9544. Plaintiff Willie Richardson is an individual residing in South Carolina.

Richardson worked as a delivery driver for FedEx in South Carolina from approximately 2015 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Richardson has been eligible to receive overtime pay under the FLSA because



                                              2528
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2529 of 3128




Richardson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9545. Plaintiff Dashawn Ricks is an individual residing in South Carolina. Ricks worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Ricks

has been eligible to receive overtime pay under the FLSA because Ricks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9546. Plaintiff Curtis Roach is an individual residing in South Carolina. Roach worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Roach has been eligible to receive overtime pay

under the FLSA because Roach has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9547. Plaintiff Cleve Roberts is an individual residing in North Carolina. Roberts

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Roberts has been eligible to receive overtime pay under the FLSA because Roberts has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9548. Plaintiff Ayannah Robinson is an individual residing in South Carolina. Robinson

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Robinson has been eligible to receive




                                              2529
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2530 of 3128




overtime pay under the FLSA because Robinson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9549. Plaintiff Juan Rosado is an individual residing in South Carolina. Rosado worked

as a delivery driver for FedEx in South Carolina from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Rosado

has been eligible to receive overtime pay under the FLSA because Rosado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9550. Plaintiff Tonya Rowland is an individual residing in South Carolina. Rowland

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Rowland has been eligible to receive overtime pay under the FLSA because Rowland has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9551. Plaintiff Shacoria Russell is an individual residing in South Carolina. Russell

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Russell has been eligible to receive

overtime pay under the FLSA because Russell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9552. Plaintiff Omegatron Samuel is an individual residing in South Carolina. Samuel

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Samuel has been eligible to receive overtime pay under the FLSA because Samuel has driven a



                                               2530
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2531 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9553. Plaintiff Christopher Samuel is an individual residing in South Carolina. Samuel

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Samuel has been eligible to receive overtime pay under the FLSA because Samuel has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9554. Plaintiff Ruth Sanchez is an individual residing in Utah. Sanchez worked as a

delivery driver for FedEx in South Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Sanchez has been eligible to receive overtime pay

under the FLSA because Sanchez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9555. Plaintiff Tyler Schumacher is an individual residing in South Carolina.

Schumacher worked as a delivery driver for FedEx in South Carolina from approximately 2018

to 2019 but was employed through intermediary entities that FedEx calls independent service

providers. Schumacher has been eligible to receive overtime pay under the FLSA because

Schumacher has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9556. Plaintiff Sean Sellars is an individual residing in South Carolina. Sellars worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Sellars

has been eligible to receive overtime pay under the FLSA because Sellars has driven a vehicle



                                             2531
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2532 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9557. Plaintiff Jamie Sherman is an individual residing in South Carolina. Sherman

worked as a delivery driver for FedEx in South Carolina from approximately 2003 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Sherman has been eligible to receive overtime pay under the FLSA because Sherman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9558. Plaintiff Dameion Simon is an individual residing in South Carolina. Simon

worked as a delivery driver for FedEx in South Carolina from approximately 2014 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Simon has been eligible to receive overtime pay under the FLSA because Simon has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9559. Plaintiff Robert Singletary is an individual residing in South Carolina. Singletary

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Singletary has been eligible to receive

overtime pay under the FLSA because Singletary has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9560. Plaintiff Lavonda Singletary is an individual residing in North Carolina.

Singletary worked as a delivery driver for FedEx in South Carolina from approximately 2000 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Singletary has been eligible to receive overtime pay under the FLSA because



                                               2532
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2533 of 3128




Singletary has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9561. Plaintiff Damont Slay is an individual residing in South Carolina. Slay worked as

a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Slay has been eligible to receive overtime pay

under the FLSA because Slay has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9562. Plaintiff Cicely Smalls is an individual residing in South Carolina. Smalls worked

as a delivery driver for FedEx in South Carolina from approximately 2021 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Smalls

has been eligible to receive overtime pay under the FLSA because Smalls has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9563. Plaintiff Daniel Smith is an individual residing in South Carolina. Smith worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Smith has been eligible to receive overtime pay

under the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9564. Plaintiff Christopher Smith is an individual residing in South Carolina. Smith

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Smith has been eligible to receive

overtime pay under the FLSA because Smith has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2533
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2534 of 3128




       9565. Plaintiff Charles Smith is an individual residing in South Carolina. Smith worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

has been eligible to receive overtime pay under the FLSA because Smith has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9566. Plaintiff Rhonda Stapleton-Martin is an individual residing in Georgia. Stapleton-

Martin worked as a delivery driver for FedEx in South Carolina from approximately 2011 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Stapleton-Martin has been eligible to receive overtime pay under the FLSA because

Stapleton-Martin has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       9567. Plaintiff Willie Steed is an individual residing in South Carolina. Steed worked as

a delivery driver for FedEx in South Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Steed

has been eligible to receive overtime pay under the FLSA because Steed has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9568. Plaintiff Layman Stephens is an individual residing in North Carolina. Stephens

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Stephens has been eligible to receive

overtime pay under the FLSA because Stephens has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2534
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2535 of 3128




       9569. Plaintiff Jimmy Stevens is an individual residing in South Carolina. Stevens

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Stevens has been eligible to receive overtime pay under the FLSA because Stevens has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9570. Plaintiff Casey Stone is an individual residing in South Carolina. Stone worked as

a delivery driver for FedEx in South Carolina from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Stone

has been eligible to receive overtime pay under the FLSA because Stone has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9571. Plaintiff Daniel Strickland is an individual residing in South Carolina. Strickland

worked as a delivery driver for FedEx in South Carolina from approximately 2005 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Strickland has been eligible to receive overtime pay under the FLSA because Strickland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9572. Plaintiff Jerome Swinton is an individual residing in South Carolina. Swinton

worked as a delivery driver for FedEx in South Carolina from approximately 2010 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Swinton has been eligible to receive overtime pay under the FLSA because Swinton has driven a




                                              2535
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2536 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9573. Plaintiff Larry Tate is an individual residing in North Carolina. Tate worked as a

delivery driver for FedEx in South Carolina but was employed through intermediary entities that

FedEx calls independent service providers. Tate has been eligible to receive overtime pay under

the FLSA because Tate has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9574. Plaintiff Stefanie Taylor is an individual residing in South Carolina. Taylor

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Taylor has been eligible to receive overtime pay under the FLSA because Taylor has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9575. Plaintiff Anna Tellman is an individual residing in South Carolina. Tellman

worked as a delivery driver for FedEx in South Carolina from approximately 2010 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Tellman has been eligible to receive overtime pay under the FLSA because Tellman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9576. Plaintiff Bryan Terry is an individual residing in South Carolina. Terry worked as

a delivery driver for FedEx in South Carolina from approximately 2011 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Terry

has been eligible to receive overtime pay under the FLSA because Terry has driven a vehicle



                                             2536
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2537 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9577. Plaintiff Joshua Thomas is an individual residing in South Carolina. Thomas

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Thomas has been eligible to receive overtime pay under the FLSA because Thomas has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9578. Plaintiff Karel Thomas is an individual residing in South Carolina. Thomas

worked as a delivery driver for FedEx in South Carolina from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Thomas has been eligible to receive overtime pay under the FLSA because Thomas has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9579. Plaintiff Robert Thomas is an individual residing in South Carolina. Thomas

worked as a delivery driver for FedEx in South Carolina from approximately 2001 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Thomas has been eligible to receive overtime pay under the FLSA because Thomas has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9580. Plaintiff Robby Timmons is an individual residing in South Carolina. Timmons

worked as a delivery driver for FedEx in South Carolina from approximately 2010 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.



                                             2537
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2538 of 3128




Timmons has been eligible to receive overtime pay under the FLSA because Timmons has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9581. Plaintiff David Timmons is an individual residing in South Carolina. Timmons

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Timmons has been eligible to receive overtime pay under the FLSA because Timmons has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9582. Plaintiff Kathryn Tindal is an individual residing in South Carolina. Tindal

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Tindal has been eligible to receive overtime pay under the FLSA because Tindal has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9583. Plaintiff Allie Torongeau is an individual residing in Wyoming. Torongeau

worked as a delivery driver for FedEx in South Carolina from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Torongeau has been eligible to receive overtime pay under the FLSA because Torongeau has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9584. Plaintiff Hector Trujillo-Esparza is an individual residing in South Carolina.

Trujillo-Esparza worked as a delivery driver for FedEx in South Carolina from approximately



                                             2538
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2539 of 3128




2015 to 2017 but was employed through intermediary entities that FedEx calls independent

service providers. Trujillo-Esparza has been eligible to receive overtime pay under the FLSA

because Trujillo-Esparza has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       9585. Plaintiff Teresa Vanderhall is an individual residing in South Carolina.

Vanderhall worked as a delivery driver for FedEx in South Carolina from approximately 2016 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Vanderhall has been eligible to receive overtime pay under the FLSA because

Vanderhall has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       9586. Plaintiff Renee Walker is an individual residing in South Carolina. Walker

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Walker has been eligible to receive overtime pay under the FLSA because Walker has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9587. Plaintiff Travis Ward is an individual residing in North Carolina. Ward worked as

a delivery driver for FedEx in South Carolina from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ward

has been eligible to receive overtime pay under the FLSA because Ward has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2539
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2540 of 3128




        9588. Plaintiff Brianne Washington is an individual residing in North Carolina.

Washington worked as a delivery driver for FedEx in South Carolina from approximately 2017

to 2019 but was employed through intermediary entities that FedEx calls independent service

providers. Washington has been eligible to receive overtime pay under the FLSA because

Washington has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        9589. Plaintiff Timmy Watkins is an individual residing in North Carolina. Watkins

worked as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Watkins has been eligible to receive overtime pay under the FLSA because Watkins has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9590. Plaintiff Tina Way is an individual residing in South Carolina. Way worked as a

delivery driver for FedEx in South Carolina from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Way has been

eligible to receive overtime pay under the FLSA because Way has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9591. Plaintiff Edward Weber is an individual residing in South Carolina. Weber

worked as a delivery driver for FedEx in South Carolina from approximately 2023 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Weber has been eligible to receive overtime pay under the FLSA because Weber has driven a




                                              2540
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2541 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9592. Plaintiff Jeremiah Weston is an individual residing in South Carolina. Weston

worked as a delivery driver for FedEx in South Carolina from approximately 2011 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Weston has been eligible to receive overtime pay under the FLSA because Weston has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9593. Plaintiff Keenan White is an individual residing in South Carolina. White worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. White has been eligible to receive overtime pay

under the FLSA because White has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9594. Plaintiff Veronda White is an individual residing in South Carolina. White

worked as a delivery driver for FedEx in South Carolina from approximately 2009 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

White has been eligible to receive overtime pay under the FLSA because White has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9595. Plaintiff Carol White is an individual residing in South Carolina. White worked as

a delivery driver for FedEx in South Carolina from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. White

has been eligible to receive overtime pay under the FLSA because White has driven a vehicle



                                             2541
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2542 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9596. Plaintiff Jeree Wilder is an individual residing in South Carolina. Wilder worked

as a delivery driver for FedEx in South Carolina from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Wilder

has been eligible to receive overtime pay under the FLSA because Wilder has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9597. Plaintiff Kathy Wilkie is an individual residing in South Carolina. Wilkie worked

as a delivery driver for FedEx in South Carolina but was employed through intermediary entities

that FedEx calls independent service providers. Wilkie has been eligible to receive overtime pay

under the FLSA because Wilkie has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       9598. Plaintiff Gregory Williams is an individual residing in South Carolina. Williams

worked as a delivery driver for FedEx in South Carolina from approximately 2015 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Williams has been eligible to receive overtime pay under the FLSA because Williams has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9599. Plaintiff Jonathan Williams is an individual residing in South Carolina. Williams

worked as a delivery driver for FedEx in South Carolina from approximately 2016 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Williams has been eligible to receive overtime pay under the FLSA because Williams has driven



                                              2542
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2543 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9600. Plaintiff Harold Williams is an individual residing in South Carolina. Williams

worked as a delivery driver for FedEx in South Carolina but was employed through intermediary

entities that FedEx calls independent service providers. Williams has been eligible to receive

overtime pay under the FLSA because Williams has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9601. Plaintiff Gerald Woods is an individual residing in Florida. Woods worked as a

delivery driver for FedEx in South Carolina from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9602. Plaintiff Willie Wright is an individual residing in South Carolina. Wright worked

as a delivery driver for FedEx in South Carolina from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Wright

has been eligible to receive overtime pay under the FLSA because Wright has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9603. Plaintiff Jeffery Young is an individual residing in South Carolina. Young worked

as a delivery driver for FedEx in South Carolina from approximately 2004 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Young

has been eligible to receive overtime pay under the FLSA because Young has driven a vehicle



                                              2543
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24    Page 2544 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9604. Plaintiff Keetra Young is an individual residing in South Carolina. Young worked

as a delivery driver for FedEx in South Carolina from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Young

has been eligible to receive overtime pay under the FLSA because Young has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9605. Plaintiff Stephen Zadrozny is an individual residing in Connecticut. Zadrozny

worked as a delivery driver for FedEx in South Carolina from approximately 2019 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Zadrozny has been eligible to receive overtime pay under the FLSA because Zadrozny has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9606. Plaintiff Telis Zecopoulos is an individual residing in South Carolina. Zecopoulos

worked as a delivery driver for FedEx in South Carolina from approximately 2001 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Zecopoulos has been eligible to receive overtime pay under the FLSA because Zecopoulos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9607. Plaintiff Stacy Zimmerman is an individual residing in South Carolina.

Zimmerman worked as a delivery driver for FedEx in South Carolina but was employed through

intermediary entities that FedEx calls independent service providers. Zimmerman has been



                                             2544
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2545 of 3128




eligible to receive overtime pay under the FLSA because Zimmerman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9608. Plaintiff Byron Carter is an individual residing in South Dakota. Carter worked as

a delivery driver for FedEx in South Dakota but was employed through intermediary entities that

FedEx calls independent service providers. Carter has been eligible to receive overtime pay

under the FLSA because Carter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9609. Plaintiff Brian Custer is an individual residing in South Dakota. Custer worked as

a delivery driver for FedEx in South Dakota from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Custer has been

eligible to receive overtime pay under the FLSA because Custer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9610. Plaintiff Sheldon Dickson is an individual residing in South Dakota. Dickson

worked as a delivery driver for FedEx in South Dakota from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Dickson has been eligible to receive overtime pay under the FLSA because Dickson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9611. Plaintiff Austin Elmore is an individual residing in Colorado. Elmore worked as a

delivery driver for FedEx in South Dakota from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Elmore has been



                                              2545
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2546 of 3128




eligible to receive overtime pay under the FLSA because Elmore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9612. Plaintiff Michael Fetter is an individual residing in South Dakota. Fetter worked

as a delivery driver for FedEx in South Dakota from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Fetter

has been eligible to receive overtime pay under the FLSA because Fetter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9613. Plaintiff Rick Fornwald is an individual residing in South Dakota. Fornwald

worked as a delivery driver for FedEx in South Dakota from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Fornwald has been eligible to receive overtime pay under the FLSA because Fornwald has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9614. Plaintiff Michael Fox is an individual residing in South Dakota. Fox worked as a

delivery driver for FedEx in South Dakota but was employed through intermediary entities that

FedEx calls independent service providers. Fox has been eligible to receive overtime pay under

the FLSA because Fox has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9615. Plaintiff Jordan Fuller is an individual residing in South Dakota. Fuller worked as

a delivery driver for FedEx in South Dakota from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Fuller has been



                                              2546
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2547 of 3128




eligible to receive overtime pay under the FLSA because Fuller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9616. Plaintiff James Godfrey is an individual residing in South Dakota. Godfrey

worked as a delivery driver for FedEx in South Dakota from approximately 2005 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Godfrey has been eligible to receive overtime pay under the FLSA because Godfrey has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9617. Plaintiff Gregory Hansmann is an individual residing in South Dakota. Hansmann

worked as a delivery driver for FedEx in South Dakota from approximately 2010 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Hansmann has been eligible to receive overtime pay under the FLSA because Hansmann has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9618. Plaintiff Jeffrey Hart is an individual residing in South Dakota. Hart worked as a

delivery driver for FedEx in South Dakota but was employed through intermediary entities that

FedEx calls independent service providers. Hart has been eligible to receive overtime pay under

the FLSA because Hart has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9619. Plaintiff Brian Lee is an individual residing in South Dakota. Lee worked as a

delivery driver for FedEx in South Dakota from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been



                                              2547
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2548 of 3128




eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9620. Plaintiff Jay Martin is an individual residing in South Dakota. Martin worked as a

delivery driver for FedEx in South Dakota from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9621. Plaintiff Jacob Miller is an individual residing in South Dakota. Miller worked as

a delivery driver for FedEx in South Dakota from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9622. Plaintiff Chelsea Olson is an individual residing in Florida. Olson worked as a

delivery driver for FedEx in South Dakota from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Olson has been

eligible to receive overtime pay under the FLSA because Olson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9623. Plaintiff Susan Oslund is an individual residing in South Dakota. Oslund worked

as a delivery driver for FedEx in South Dakota from approximately 2016 to 2018 but was



                                              2548
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2549 of 3128




employed through intermediary entities that FedEx calls independent service providers. Oslund

has been eligible to receive overtime pay under the FLSA because Oslund has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9624. Plaintiff Dustin Parmley is an individual residing in Wisconsin. Parmley worked

as a delivery driver for FedEx in South Dakota from approximately 2011 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Parmley

has been eligible to receive overtime pay under the FLSA because Parmley has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9625. Plaintiff Terry Plimpton is an individual residing in South Dakota. Plimpton

worked as a delivery driver for FedEx in South Dakota from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Plimpton has been eligible to receive overtime pay under the FLSA because Plimpton has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       9626. Plaintiff Kenneth Rusten is an individual residing in South Dakota. Rusten

worked as a delivery driver for FedEx in South Dakota but was employed through intermediary

entities that FedEx calls independent service providers. Rusten has been eligible to receive

overtime pay under the FLSA because Rusten has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9627. Plaintiff Cameron Stutesman is an individual residing in South Dakota. Stutesman

worked as a delivery driver for FedEx in South Dakota from approximately 2014 to 2020 but



                                              2549
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2550 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Stutesman has been eligible to receive overtime pay under the FLSA because Stutesman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9628. Plaintiff Aaron Townsend is an individual residing in South Dakota. Townsend

worked as a delivery driver for FedEx in South Dakota from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Townsend has been eligible to receive overtime pay under the FLSA because Townsend has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9629. Plaintiff Tyrone Warne is an individual residing in South Dakota. Warne worked

as a delivery driver for FedEx in South Dakota from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Warne

has been eligible to receive overtime pay under the FLSA because Warne has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9630. Plaintiff Randy Zaske is an individual residing in South Dakota. Zaske worked as

a delivery driver for FedEx in South Dakota from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Zaske has been

eligible to receive overtime pay under the FLSA because Zaske has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             2550
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2551 of 3128




        9631. Plaintiff Marcus Adams is an individual residing in Tennessee. Adams worked as

a delivery driver for FedEx in Tennessee from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Adams has been

eligible to receive overtime pay under the FLSA because Adams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9632. Plaintiff Tyeshia Allen is an individual residing in Tennessee. Allen worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Allen has been eligible to receive overtime pay under

the FLSA because Allen has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9633. Plaintiff Rodney Allison is an individual residing in Tennessee. Allison worked as

a delivery driver for FedEx in Tennessee from approximately 2001 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Allison has been

eligible to receive overtime pay under the FLSA because Allison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9634. Plaintiff Andrew Ambuhl is an individual residing in Tennessee. Ambuhl worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Ambuhl has been eligible to receive overtime pay

under the FLSA because Ambuhl has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              2551
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2552 of 3128




       9635. Plaintiff Glenn Anderson is an individual residing in Tennessee. Anderson

worked as a delivery driver for FedEx in Tennessee from approximately 2005 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson has been eligible to receive overtime pay under the FLSA because Anderson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       9636. Plaintiff Kevin Anderson is an individual residing in Tennessee. Anderson

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Anderson has been eligible to receive

overtime pay under the FLSA because Anderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       9637. Plaintiff James Anderson is an individual residing in Alabama. Anderson worked

as a delivery driver for FedEx in Tennessee from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       9638. Plaintiff Julius Anderson is an individual residing in Tennessee. Anderson worked

as a delivery driver for FedEx in Tennessee from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2552
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2553 of 3128




        9639. Plaintiff Gary Anderson Jr. is an individual residing in Tennessee. Anderson Jr.

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Anderson Jr. has been eligible to receive

overtime pay under the FLSA because Anderson Jr. has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9640. Plaintiff Bufffy Andies is an individual residing in Tennessee. Andies worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Andies has been

eligible to receive overtime pay under the FLSA because Andies has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9641. Plaintiff John Anglin is an individual residing in Tennessee. Anglin worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Anglin has been

eligible to receive overtime pay under the FLSA because Anglin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9642. Plaintiff Andrew Appleton is an individual residing in Tennessee. Appleton

worked as a delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Appleton

has been eligible to receive overtime pay under the FLSA because Appleton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               2553
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2554 of 3128




        9643. Plaintiff Ahmed Arkawazi is an individual residing in Tennessee. Arkawazi

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Arkawazi has been eligible to receive overtime pay under the FLSA because Arkawazi has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9644. Plaintiff Vicki Arnold is an individual residing in Tennessee. Arnold worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Arnold has been eligible to receive overtime pay

under the FLSA because Arnold has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9645. Plaintiff Devin Arthur is an individual residing in Tennessee. Arthur worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Arthur has been eligible to receive overtime pay

under the FLSA because Arthur has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9646. Plaintiff Harrison Ashley is an individual residing in Tennessee. Ashley worked

as a delivery driver for FedEx in Tennessee from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Ashley has been

eligible to receive overtime pay under the FLSA because Ashley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2554
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2555 of 3128




        9647. Plaintiff Devin Atha is an individual residing in Tennessee. Atha worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Atha has been

eligible to receive overtime pay under the FLSA because Atha has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9648. Plaintiff Grady Austin is an individual residing in Arkansas. Austin worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Austin has been

eligible to receive overtime pay under the FLSA because Austin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9649. Plaintiff Teresa Autry is an individual residing in Texas. Autry worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Autry has been eligible to receive overtime pay under

the FLSA because Autry has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9650. Plaintiff Kyle Axley is an individual residing in Tennessee. Axley worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Axley has been

eligible to receive overtime pay under the FLSA because Axley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2555
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2556 of 3128




        9651. Plaintiff Lori Bailey is an individual residing in Tennessee. Bailey worked as a

delivery driver for FedEx in Tennessee from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9652. Plaintiff Alan Balko is an individual residing in Michigan. Balko worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Balko has been

eligible to receive overtime pay under the FLSA because Balko has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9653. Plaintiff Susan Bankhead is an individual residing in Tennessee. Bankhead

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Bankhead has been eligible to receive overtime pay under the FLSA because Bankhead has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9654. Plaintiff Timothy Barfield is an individual residing in Tennessee. Barfield worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Barfield has been eligible to receive overtime pay

under the FLSA because Barfield has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              2556
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2557 of 3128




        9655. Plaintiff Danielle Bates is an individual residing in Tennessee. Bates worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bates has been

eligible to receive overtime pay under the FLSA because Bates has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9656. Plaintiff Harrison Batson is an individual residing in Tennessee. Batson worked as

a delivery driver for FedEx in Tennessee from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Batson has been

eligible to receive overtime pay under the FLSA because Batson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9657. Plaintiff Lacy Beard is an individual residing in Tennessee. Beard worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Beard has been eligible to receive overtime pay under

the FLSA because Beard has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9658. Plaintiff Michael Becton is an individual residing in Florida. Becton worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Becton has been

eligible to receive overtime pay under the FLSA because Becton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2557
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2558 of 3128




        9659. Plaintiff Chase Begue is an individual residing in Tennessee. Begue worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Begue has been eligible to receive overtime pay

under the FLSA because Begue has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9660. Plaintiff Kevin Bergmann is an individual residing in Tennessee. Bergmann

worked as a delivery driver for FedEx in Tennessee from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Bergmann has been eligible to receive overtime pay under the FLSA because Bergmann has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9661. Plaintiff Brian Berkon is an individual residing in Tennessee. Berkon worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Berkon has been

eligible to receive overtime pay under the FLSA because Berkon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9662. Plaintiff Roger Bernard is an individual residing in Tennessee. Bernard worked as

a delivery driver for FedEx in Tennessee from approximately 1993 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bernard has been

eligible to receive overtime pay under the FLSA because Bernard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                             2558
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2559 of 3128




        9663. Plaintiff Zackary Billenstein is an individual residing in Tennessee. Billenstein

worked as a delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Billenstein has been eligible to receive overtime pay under the FLSA because Billenstein has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9664. Plaintiff Cassie Birdwell is an individual residing in Tennessee. Birdwell worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Birdwell has been

eligible to receive overtime pay under the FLSA because Birdwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9665. Plaintiff Louwanna Blake is an individual residing in Tennessee. Blake worked as

a delivery driver for FedEx in Tennessee from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Blake has been

eligible to receive overtime pay under the FLSA because Blake has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9666. Plaintiff Johnathon Blankenship is an individual residing in Tennessee.

Blankenship worked as a delivery driver for FedEx in Tennessee from approximately 2014 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Blankenship has been eligible to receive overtime pay under the FLSA because




                                               2559
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2560 of 3128




Blankenship has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        9667. Plaintiff Christopher Blodgett is an individual residing in Tennessee. Blodgett

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Blodgett

has been eligible to receive overtime pay under the FLSA because Blodgett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9668. Plaintiff Cynthia Boldin is an individual residing in Georgia. Boldin worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Boldin has been

eligible to receive overtime pay under the FLSA because Boldin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9669. Plaintiff Ryan Bonner is an individual residing in Tennessee. Bonner worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Bonner has been eligible to receive overtime pay

under the FLSA because Bonner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9670. Plaintiff James Boone is an individual residing in Tennessee. Boone worked as a

delivery driver for FedEx in Tennessee and Missouri from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Boone

has been eligible to receive overtime pay under the FLSA because Boone has driven a vehicle



                                              2560
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2561 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9671. Plaintiff Ptosha Borner is an individual residing in Tennessee. Borner worked as a

delivery driver for FedEx in Tennessee from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Borner has been

eligible to receive overtime pay under the FLSA because Borner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9672. Plaintiff Derrick Bowers is an individual residing in Tennessee. Bowers worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Bowers has been eligible to receive overtime pay

under the FLSA because Bowers has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9673. Plaintiff Tracy Branner is an individual residing in Tennessee. Branner worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Branner has been eligible to receive overtime pay

under the FLSA because Branner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9674. Plaintiff David Brasfield is an individual residing in Tennessee. Brasfield worked

as a delivery driver for FedEx in Tennessee from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brasfield has been

eligible to receive overtime pay under the FLSA because Brasfield has driven a vehicle weighing




                                              2561
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2562 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9675. Plaintiff Dustin Breedlove is an individual residing in Tennessee. Breedlove

worked as a delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Breedlove has been eligible to receive overtime pay under the FLSA because Breedlove has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9676. Plaintiff Jeffrey Bright is an individual residing in Tennessee. Bright worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bright has been

eligible to receive overtime pay under the FLSA because Bright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9677. Plaintiff Ronnie Brock is an individual residing in Tennessee. Brock worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brock has been

eligible to receive overtime pay under the FLSA because Brock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9678. Plaintiff Sherry Brooks is an individual residing in Tennessee. Brooks worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Brooks has been eligible to receive overtime pay



                                              2562
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2563 of 3128




under the FLSA because Brooks has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9679. Plaintiff Sherry Brooksher is an individual residing in Tennessee. Brooksher

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Brooksher has been eligible to receive overtime pay under the FLSA because Brooksher has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9680. Plaintiff Joseph Brown is an individual residing in Tennessee. Brown worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9681. Plaintiff Robert Brown is an individual residing in Kentucky. Brown worked as a

delivery driver for FedEx in Tennessee from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9682. Plaintiff Tammy Brundige is an individual residing in Tennessee. Brundige

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Brundige has been eligible to receive



                                              2563
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2564 of 3128




overtime pay under the FLSA because Brundige has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9683. Plaintiff Austin Buhl is an individual residing in Tennessee. Buhl worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Buhl has been eligible to receive overtime pay under

the FLSA because Buhl has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9684. Plaintiff Gordon Burnam is an individual residing in Tennessee. Burnam worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Burnam has been

eligible to receive overtime pay under the FLSA because Burnam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9685. Plaintiff Michael Butts is an individual residing in Illinois. Butts worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Butts has been

eligible to receive overtime pay under the FLSA because Butts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9686. Plaintiff James Cable is an individual residing in Tennessee. Cable worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Cable has been eligible to receive overtime pay under




                                               2564
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2565 of 3128




the FLSA because Cable has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9687. Plaintiff Jonathan Campbell is an individual residing in Tennessee. Campbell

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Campbell has been eligible to receive

overtime pay under the FLSA because Campbell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9688. Plaintiff Gregory Carr is an individual residing in Tennessee. Carr worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Carr has been

eligible to receive overtime pay under the FLSA because Carr has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9689. Plaintiff John Carroll is an individual residing in Tennessee. Carroll worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Carroll has been

eligible to receive overtime pay under the FLSA because Carroll has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9690. Plaintiff Elliot Carter is an individual residing in Tennessee. Carter worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing



                                               2565
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2566 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9691. Plaintiff Mark Carter is an individual residing in Tennessee. Carter worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Carter has been

eligible to receive overtime pay under the FLSA because Carter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9692. Plaintiff Derek Cartozzo is an individual residing in Tennessee. Cartozzo worked

as a delivery driver for FedEx in Tennessee from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Cartozzo has been

eligible to receive overtime pay under the FLSA because Cartozzo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9693. Plaintiff Tc Cassidy is an individual residing in Tennessee. Cassidy worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cassidy has been

eligible to receive overtime pay under the FLSA because Cassidy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9694. Plaintiff Stephen Castle is an individual residing in Tennessee. Castle worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Castle has been



                                              2566
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2567 of 3128




eligible to receive overtime pay under the FLSA because Castle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9695. Plaintiff Kevin Castro is an individual residing in Tennessee. Castro worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Castro has been

eligible to receive overtime pay under the FLSA because Castro has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9696. Plaintiff Matthew Chalmers is an individual residing in California. Chalmers

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Chalmers has been eligible to receive

overtime pay under the FLSA because Chalmers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9697. Plaintiff Devonte Chamberlain is an individual residing in Tennessee.

Chamberlain worked as a delivery driver for FedEx in Tennessee from approximately 2018 to

2022 but was employed through intermediary entities that FedEx calls independent service

providers. Chamberlain has been eligible to receive overtime pay under the FLSA because

Chamberlain has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        9698. Plaintiff Larry Chan is an individual residing in Tennessee. Chan worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chan has been



                                              2567
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2568 of 3128




eligible to receive overtime pay under the FLSA because Chan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9699. Plaintiff Cory Cheesman is an individual residing in Ohio. Cheesman worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Cheesman has been

eligible to receive overtime pay under the FLSA because Cheesman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9700. Plaintiff Chaz Chupp is an individual residing in Tennessee. Chupp worked as a

delivery driver for FedEx in Tennessee from approximately 2006 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Chupp has been

eligible to receive overtime pay under the FLSA because Chupp has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9701. Plaintiff Gladys Clark is an individual residing in Tennessee. Clark worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Clark has been eligible to receive overtime pay under

the FLSA because Clark has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9702. Plaintiff William Clark is an individual residing in New York. Clark worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been



                                              2568
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2569 of 3128




eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9703. Plaintiff Amy Clark is an individual residing in Georgia. Clark worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9704. Plaintiff Candace Clarke is an individual residing in Florida. Clarke worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Clarke has been

eligible to receive overtime pay under the FLSA because Clarke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9705. Plaintiff Charles Close is an individual residing in Tennessee. Close worked as a

delivery driver for FedEx in Tennessee from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Close has been

eligible to receive overtime pay under the FLSA because Close has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9706. Plaintiff William Coffman is an individual residing in Tennessee. Coffman

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary



                                              2569
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2570 of 3128




entities that FedEx calls independent service providers. Coffman has been eligible to receive

overtime pay under the FLSA because Coffman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9707. Plaintiff Brandon Coffman is an individual residing in Tennessee. Coffman

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Coffman

has been eligible to receive overtime pay under the FLSA because Coffman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9708. Plaintiff James Coffman is an individual residing in Tennessee. Coffman worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Coffman has been

eligible to receive overtime pay under the FLSA because Coffman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9709. Plaintiff Sharee Cole is an individual residing in Tennessee. Cole worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9710. Plaintiff Bryan Coleman is an individual residing in Tennessee. Coleman worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2020 but was employed



                                              2570
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2571 of 3128




through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9711. Plaintiff William Coleman is an individual residing in Tennessee. Coleman

worked as a delivery driver for FedEx in Tennessee from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Coleman

has been eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9712. Plaintiff Ronald Coleman is an individual residing in Tennessee. Coleman worked

as a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Coleman has been

eligible to receive overtime pay under the FLSA because Coleman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9713. Plaintiff Graham Collins is an individual residing in Tennessee. Collins worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2571
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2572 of 3128




        9714. Plaintiff Naomi Collins is an individual residing in Tennessee. Collins worked as

a delivery driver for FedEx in Tennessee from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Collins has been

eligible to receive overtime pay under the FLSA because Collins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9715. Plaintiff Matt Colwell is an individual residing in Tennessee. Colwell worked as a

delivery driver for FedEx in Tennessee from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Colwell has been

eligible to receive overtime pay under the FLSA because Colwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9716. Plaintiff Roxanne Condon-Lodewegen is an individual residing in Tennessee.

Condon-Lodewegen worked as a delivery driver for FedEx in Tennessee from approximately

2018 to 2021 but was employed through intermediary entities that FedEx calls independent

service providers. Condon-Lodewegen has been eligible to receive overtime pay under the FLSA

because Condon-Lodewegen has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9717. Plaintiff Demario Conner is an individual residing in Mississippi. Conner worked

as a delivery driver for FedEx in Tennessee from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Conner has been

eligible to receive overtime pay under the FLSA because Conner has driven a vehicle weighing




                                              2572
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2573 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9718. Plaintiff Cassandra Cravens is an individual residing in Tennessee. Cravens

worked as a delivery driver for FedEx in Tennessee from approximately 1997 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Cravens

has been eligible to receive overtime pay under the FLSA because Cravens has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9719. Plaintiff Michael Crayton is an individual residing in Mississippi. Crayton worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Crayton has been eligible to receive overtime pay

under the FLSA because Crayton has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9720. Plaintiff Darian Crisp is an individual residing in Tennessee. Crisp worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Crisp has been eligible to receive overtime pay under

the FLSA because Crisp has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9721. Plaintiff Andrew Cumberbatch is an individual residing in Florida. Cumberbatch

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Cumberbatch has been eligible to receive overtime pay under the FLSA because Cumberbatch




                                              2573
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2574 of 3128




has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        9722. Plaintiff Crystal Daugherty is an individual residing in Tennessee. Daugherty

worked as a delivery driver for FedEx in Tennessee from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Daugherty has been eligible to receive overtime pay under the FLSA because Daugherty has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9723. Plaintiff Jon Davis is an individual residing in Tennessee. Davis worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9724. Plaintiff Venus Davis is an individual residing in Arkansas. Davis worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9725. Plaintiff Charles Davis is an individual residing in Tennessee. Davis worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Davis has been eligible to receive overtime pay under



                                              2574
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2575 of 3128




the FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9726. Plaintiff Leonora Dawson is an individual residing in Tennessee. Dawson worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dawson has been

eligible to receive overtime pay under the FLSA because Dawson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9727. Plaintiff Austin Deaton is an individual residing in Tennessee. Deaton worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Deaton has been

eligible to receive overtime pay under the FLSA because Deaton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9728. Plaintiff Delores Degraw is an individual residing in Tennessee. Degraw worked

as a delivery driver for FedEx in Tennessee from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Degraw has been

eligible to receive overtime pay under the FLSA because Degraw has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9729. Plaintiff Richard Despain is an individual residing in Tennessee. Despain worked

as a delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Despain has been



                                             2575
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2576 of 3128




eligible to receive overtime pay under the FLSA because Despain has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9730. Plaintiff Dennis Dieckhoff is an individual residing in Tennessee. Dieckhoff

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Dieckhoff has been eligible to receive

overtime pay under the FLSA because Dieckhoff has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9731. Plaintiff Homer Dinkins is an individual residing in Tennessee. Dinkins worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dinkins has been

eligible to receive overtime pay under the FLSA because Dinkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9732. Plaintiff Karlton Dixon is an individual residing in Tennessee. Dixon worked as a

delivery driver for FedEx in Tennessee from approximately 2003 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dixon has been

eligible to receive overtime pay under the FLSA because Dixon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9733. Plaintiff Ashley Dokes is an individual residing in Tennessee. Dokes worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dokes has been



                                              2576
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2577 of 3128




eligible to receive overtime pay under the FLSA because Dokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9734. Plaintiff Tyler Doney is an individual residing in Tennessee. Doney worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Doney has been

eligible to receive overtime pay under the FLSA because Doney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9735. Plaintiff Charles Doss is an individual residing in Tennessee. Doss worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Doss has been

eligible to receive overtime pay under the FLSA because Doss has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9736. Plaintiff Joshua Douglas is an individual residing in Tennessee. Douglas worked

as a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Douglas has been

eligible to receive overtime pay under the FLSA because Douglas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9737. Plaintiff Timothy Douglas is an individual residing in Tennessee. Douglas worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2019 but was employed



                                              2577
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2578 of 3128




through intermediary entities that FedEx calls independent service providers. Douglas has been

eligible to receive overtime pay under the FLSA because Douglas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9738. Plaintiff Tavarus Douglas is an individual residing in Tennessee. Douglas worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Douglas has been eligible to receive overtime pay

under the FLSA because Douglas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9739. Plaintiff Carren Downey is an individual residing in Tennessee. Downey worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Downey has been

eligible to receive overtime pay under the FLSA because Downey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9740. Plaintiff Justin Dreher is an individual residing in Tennessee. Dreher worked as a

delivery driver for FedEx in Tennessee from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dreher has been

eligible to receive overtime pay under the FLSA because Dreher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9741. Plaintiff Andrea Elder is an individual residing in Tennessee. Elder worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2020 but was employed



                                              2578
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2579 of 3128




through intermediary entities that FedEx calls independent service providers. Elder has been

eligible to receive overtime pay under the FLSA because Elder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9742. Plaintiff Carl Estep is an individual residing in Tennessee. Estep worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Estep has been

eligible to receive overtime pay under the FLSA because Estep has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9743. Plaintiff Joshua Etters is an individual residing in Tennessee. Etters worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Etters has been

eligible to receive overtime pay under the FLSA because Etters has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9744. Plaintiff Nina Evans is an individual residing in Tennessee. Evans worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2579
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2580 of 3128




        9745. Plaintiff Stephen Ferguson is an individual residing in Tennessee. Ferguson

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Ferguson has been eligible to receive

overtime pay under the FLSA because Ferguson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9746. Plaintiff Cassandra Fisher is an individual residing in Tennessee. Fisher worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Fisher has been eligible to receive overtime pay

under the FLSA because Fisher has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9747. Plaintiff Cary Flatt is an individual residing in Tennessee. Flatt worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Flatt has been

eligible to receive overtime pay under the FLSA because Flatt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9748. Plaintiff Anthony Foister is an individual residing in Tennessee. Foister worked as

a delivery driver for FedEx in Tennessee from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Foister has been

eligible to receive overtime pay under the FLSA because Foister has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2580
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2581 of 3128




        9749. Plaintiff Lance Ford is an individual residing in Tennessee. Ford worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ford has been

eligible to receive overtime pay under the FLSA because Ford has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9750. Plaintiff James Ford is an individual residing in Tennessee. Ford worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Ford has been eligible to receive overtime pay under

the FLSA because Ford has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9751. Plaintiff Timothy Ford Jr is an individual residing in Tennessee. Ford Jr worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ford Jr has been

eligible to receive overtime pay under the FLSA because Ford Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9752. Plaintiff Greg Foulks is an individual residing in Tennessee. Foulks worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Foulks has been

eligible to receive overtime pay under the FLSA because Foulks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2581
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2582 of 3128




        9753. Plaintiff Adam Fountain is an individual residing in Tennessee. Fountain worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fountain has been

eligible to receive overtime pay under the FLSA because Fountain has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9754. Plaintiff Lydale Foutch is an individual residing in Indiana. Foutch worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Foutch has been eligible to receive overtime pay

under the FLSA because Foutch has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9755. Plaintiff Tedd French is an individual residing in Florida. French worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. French has been

eligible to receive overtime pay under the FLSA because French has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9756. Plaintiff Matthew Frentzel is an individual residing in Tennessee. Frentzel worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Frentzel has been

eligible to receive overtime pay under the FLSA because Frentzel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2582
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2583 of 3128




        9757. Plaintiff Stevie Frierson is an individual residing in Tennessee. Frierson worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Frierson has been eligible to receive overtime pay

under the FLSA because Frierson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9758. Plaintiff Raleigh Gardner is an individual residing in Alabama. Gardner worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Gardner has been eligible to receive overtime pay

under the FLSA because Gardner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9759. Plaintiff Grant Garrett is an individual residing in Tennessee. Garrett worked as a

delivery driver for FedEx in Tennessee from approximately 2020 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Garrett has been

eligible to receive overtime pay under the FLSA because Garrett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9760. Plaintiff Dave Gilliam is an individual residing in Tennessee. Gilliam worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Gilliam has been

eligible to receive overtime pay under the FLSA because Gilliam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2583
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2584 of 3128




        9761. Plaintiff Josh Glass is an individual residing in Tennessee. Glass worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Glass has been

eligible to receive overtime pay under the FLSA because Glass has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9762. Plaintiff Derrick Gleaves is an individual residing in Tennessee. Gleaves worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gleaves has been

eligible to receive overtime pay under the FLSA because Gleaves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9763. Plaintiff Lisa Glover is an individual residing in Tennessee. Glover worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Glover has been

eligible to receive overtime pay under the FLSA because Glover has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9764. Plaintiff Steven Goins is an individual residing in Georgia. Goins worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Goins has been

eligible to receive overtime pay under the FLSA because Goins has driven a vehicle weighing




                                              2584
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2585 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9765. Plaintiff Amber Goley is an individual residing in Georgia. Goley worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Goley has been

eligible to receive overtime pay under the FLSA because Goley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9766. Plaintiff Sharon Gooch is an individual residing in Tennessee. Gooch worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gooch has been

eligible to receive overtime pay under the FLSA because Gooch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9767. Plaintiff Richard Goodyear is an individual residing in Tennessee. Goodyear

worked as a delivery driver for FedEx in Tennessee from approximately 2012 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Goodyear has been eligible to receive overtime pay under the FLSA because Goodyear has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9768. Plaintiff Patty Gray is an individual residing in Tennessee. Gray worked as a

delivery driver for FedEx in Tennessee from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Gray has been



                                              2585
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2586 of 3128




eligible to receive overtime pay under the FLSA because Gray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9769. Plaintiff Steven Green is an individual residing in Tennessee. Green worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9770. Plaintiff Antonio Greer is an individual residing in Tennessee. Greer worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Greer has been eligible to receive overtime pay under

the FLSA because Greer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9771. Plaintiff Amanda Gregory is an individual residing in Tennessee. Gregory worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gregory has been

eligible to receive overtime pay under the FLSA because Gregory has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9772. Plaintiff Mitchell Greub is an individual residing in Tennessee. Greub worked as

a delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Greub has been



                                              2586
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2587 of 3128




eligible to receive overtime pay under the FLSA because Greub has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9773. Plaintiff Dawn Griffin is an individual residing in Tennessee. Griffin worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9774. Plaintiff Angela Griffin is an individual residing in Tennessee. Griffin worked as

a delivery driver for FedEx in Tennessee from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9775. Plaintiff Travis Griffin is an individual residing in Tennessee. Griffin worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Griffin has been

eligible to receive overtime pay under the FLSA because Griffin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9776. Plaintiff James Grigsby is an individual residing in Tennessee. Grigsby worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed



                                               2587
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2588 of 3128




through intermediary entities that FedEx calls independent service providers. Grigsby has been

eligible to receive overtime pay under the FLSA because Grigsby has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9777. Plaintiff Joy Groves is an individual residing in Tennessee. Groves worked as a

delivery driver for FedEx in Tennessee from approximately 2023 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Groves has been

eligible to receive overtime pay under the FLSA because Groves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9778. Plaintiff Robert Gryl is an individual residing in Tennessee. Gryl worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gryl has been

eligible to receive overtime pay under the FLSA because Gryl has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9779. Plaintiff Luke Gulczynski is an individual residing in Tennessee. Gulczynski

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Gulczynski has been eligible to receive overtime pay under the FLSA because Gulczynski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              2588
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2589 of 3128




        9780. Plaintiff Neonila Gusar is an individual residing in Tennessee. Gusar worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gusar has been

eligible to receive overtime pay under the FLSA because Gusar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9781. Plaintiff Kiya Guye is an individual residing in Tennessee. Guye worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Guye has been

eligible to receive overtime pay under the FLSA because Guye has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9782. Plaintiff Kory Haley is an individual residing in Tennessee. Haley worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Haley has been eligible to receive overtime pay under

the FLSA because Haley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9783. Plaintiff Charles Hall is an individual residing in Alabama. Hall worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2589
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2590 of 3128




        9784. Plaintiff Terry Hall is an individual residing in Florida. Hall worked as a delivery

driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9785. Plaintiff Matthew Hammond is an individual residing in Tennessee. Hammond

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hammond has been eligible to receive overtime pay under the FLSA because Hammond has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9786. Plaintiff Johnathan Hardin is an individual residing in Tennessee. Hardin worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hardin has been

eligible to receive overtime pay under the FLSA because Hardin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9787. Plaintiff Antonio Harper is an individual residing in Georgia. Harper worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harper has been

eligible to receive overtime pay under the FLSA because Harper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2590
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2591 of 3128




        9788. Plaintiff Joshua Harper is an individual residing in Tennessee. Harper worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Harper has been eligible to receive overtime pay

under the FLSA because Harper has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9789. Plaintiff Sam Harris is an individual residing in Tennessee. Harris worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Harris has been eligible to receive overtime pay

under the FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9790. Plaintiff John Harris is an individual residing in Tennessee. Harris worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9791. Plaintiff Jeffrey Harris is an individual residing in Tennessee. Harris worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Harris has been eligible to receive overtime pay

under the FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9792. Plaintiff Shannon Harrison is an individual residing in Tennessee. Harrison

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was



                                              2591
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2592 of 3128




employed through intermediary entities that FedEx calls independent service providers. Harrison

has been eligible to receive overtime pay under the FLSA because Harrison has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9793. Plaintiff Kristi Hayes is an individual residing in Tennessee. Hayes worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hayes has been

eligible to receive overtime pay under the FLSA because Hayes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9794. Plaintiff Richard Haynes is an individual residing in Alabama. Haynes worked as

a delivery driver for FedEx in Tennessee from approximately 2003 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Haynes has been

eligible to receive overtime pay under the FLSA because Haynes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9795. Plaintiff John Heathington is an individual residing in Tennessee. Heathington

worked as a delivery driver for FedEx in Tennessee from approximately 2012 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Heathington has been eligible to receive overtime pay under the FLSA because Heathington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              2592
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2593 of 3128




        9796. Plaintiff John Helm is an individual residing in Tennessee. Helm worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Helm has been eligible to receive overtime pay under

the FLSA because Helm has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9797. Plaintiff Rick Hendrix is an individual residing in Tennessee. Hendrix worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Hendrix has been eligible to receive overtime pay

under the FLSA because Hendrix has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9798. Plaintiff Ervin Herron is an individual residing in Tennessee. Herron worked as a

delivery driver for FedEx in Tennessee from approximately 2023 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Herron has been

eligible to receive overtime pay under the FLSA because Herron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9799. Plaintiff Ricky Hewitt is an individual residing in Tennessee. Hewitt worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hewitt has been

eligible to receive overtime pay under the FLSA because Hewitt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2593
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2594 of 3128




        9800. Plaintiff Donald Hicks is an individual residing in Tennessee. Hicks worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hicks has been

eligible to receive overtime pay under the FLSA because Hicks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9801. Plaintiff Matthew Hoag is an individual residing in Tennessee. Hoag worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hoag has been

eligible to receive overtime pay under the FLSA because Hoag has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9802. Plaintiff Thomas Hoffman is an individual residing in Tennessee. Hoffman

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Hoffman

has been eligible to receive overtime pay under the FLSA because Hoffman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9803. Plaintiff Ryan Holloway is an individual residing in Tennessee. Holloway worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Holloway has been eligible to receive overtime pay

under the FLSA because Holloway has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.



                                             2594
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2595 of 3128




        9804. Plaintiff Isaac Hopkins is an individual residing in Tennessee. Hopkins worked as

a delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hopkins has been

eligible to receive overtime pay under the FLSA because Hopkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9805. Plaintiff Jacqueline Hopkins is an individual residing in Tennessee. Hopkins

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Hopkins has been eligible to receive

overtime pay under the FLSA because Hopkins has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9806. Plaintiff William Horinek is an individual residing in Kentucky. Horinek worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Horinek has been

eligible to receive overtime pay under the FLSA because Horinek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9807. Plaintiff Randy Hughes is an individual residing in Tennessee. Hughes worked as

a delivery driver for FedEx in Tennessee from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2595
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2596 of 3128




        9808. Plaintiff Delano Hughley is an individual residing in Tennessee. Hughley worked

as a delivery driver for FedEx in Tennessee from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hughley has been

eligible to receive overtime pay under the FLSA because Hughley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9809. Plaintiff Christopher Hunt is an individual residing in Tennessee. Hunt worked as

a delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hunt has been

eligible to receive overtime pay under the FLSA because Hunt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9810. Plaintiff Jason Hunter is an individual residing in Tennessee. Hunter worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hunter has been

eligible to receive overtime pay under the FLSA because Hunter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9811. Plaintiff Thomas Hurst Jr. is an individual residing in Tennessee. Hurst Jr. worked

as a delivery driver for FedEx in Tennessee from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hurst Jr. has been

eligible to receive overtime pay under the FLSA because Hurst Jr. has driven a vehicle weighing




                                              2596
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2597 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9812. Plaintiff Nicholas Ingle is an individual residing in Tennessee. Ingle worked as a

delivery driver for FedEx in Tennessee from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ingle has been

eligible to receive overtime pay under the FLSA because Ingle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9813. Plaintiff Jamie Irwin is an individual residing in Tennessee. Irwin worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Irwin has been

eligible to receive overtime pay under the FLSA because Irwin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9814. Plaintiff Kamal Rai is an individual residing in Tennessee. Israel worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Israel has been eligible to receive overtime pay under

the FLSA because Israel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9815. Plaintiff Marvin Jones is an individual residing in Tennessee. Israel worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Israel has been

eligible to receive overtime pay under the FLSA because Israel has driven a vehicle weighing



                                              2597
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2598 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9816. Plaintiff Marcell Jackson is an individual residing in Illinois. Jackson worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9817. Plaintiff Anthony Jackson is an individual residing in Idaho. Jackson worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9818. Plaintiff Tony Jackson is an individual residing in Tennessee. Jackson worked as

a delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9819. Plaintiff Steven Jamison is an individual residing in Tennessee. Jamison worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jamison has been



                                               2598
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2599 of 3128




eligible to receive overtime pay under the FLSA because Jamison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9820. Plaintiff Milton Jennings is an individual residing in Arkansas. Jennings worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jennings has been

eligible to receive overtime pay under the FLSA because Jennings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9821. Plaintiff Emily Jobe is an individual residing in Tennessee. Jobe worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Jobe has been eligible to receive overtime pay under

the FLSA because Jobe has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9822. Plaintiff Felix Johnson is an individual residing in Tennessee. Johnson worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9823. Plaintiff Mitch Johnson is an individual residing in Tennessee. Johnson worked as

a delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been



                                              2599
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2600 of 3128




eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9824. Plaintiff Zachary Johnson is an individual residing in Tennessee. Johnson worked

as a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9825. Plaintiff Kyanna Johnson is an individual residing in Illinois. Johnson worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9826. Plaintiff Rokwesha Jones is an individual residing in Tennessee. Jones worked as

a delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9827. Plaintiff Lance Jones is an individual residing in Arizona. Jones worked as a

delivery driver for FedEx in Tennessee from approximately 2004 to 2019 but was employed



                                              2600
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2601 of 3128




through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9828. Plaintiff Tom Jones is an individual residing in Tennessee. Jones worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9829. Plaintiff Jacob Jordan is an individual residing in Tennessee. Jordan worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Jordan has been eligible to receive overtime pay

under the FLSA because Jordan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9830. Plaintiff Timothy Joy is an individual residing in Alabama. Joy worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Joy has been eligible to receive overtime pay under

the FLSA because Joy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9831. Plaintiff Drew Kairot is an individual residing in Tennessee. Kairot worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Kairot has been eligible to receive overtime pay



                                              2601
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2602 of 3128




under the FLSA because Kairot has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9832. Plaintiff Brianna Kayler is an individual residing in Tennessee. Kayler worked as

a delivery driver for FedEx in Tennessee from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Kayler has been

eligible to receive overtime pay under the FLSA because Kayler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9833. Plaintiff Kelly Keebler is an individual residing in Tennessee. Keebler worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Keebler has been

eligible to receive overtime pay under the FLSA because Keebler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9834. Plaintiff Todd Keeling is an individual residing in Kentucky. Keeling worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Keeling has been

eligible to receive overtime pay under the FLSA because Keeling has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9835. Plaintiff Trevonn Keller is an individual residing in Mississippi. Keller worked as

a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Keller has been



                                              2602
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2603 of 3128




eligible to receive overtime pay under the FLSA because Keller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9836. Plaintiff Craig Keller is an individual residing in New York. Keller worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Keller has been

eligible to receive overtime pay under the FLSA because Keller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9837. Plaintiff Will Kennedy is an individual residing in Tennessee. Kennedy worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Kennedy has been eligible to receive overtime pay

under the FLSA because Kennedy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9838. Plaintiff Richard Kennedy is an individual residing in Arkansas. Kennedy worked

as a delivery driver for FedEx in Tennessee from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kennedy has been

eligible to receive overtime pay under the FLSA because Kennedy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9839. Plaintiff Cynthia Ketron is an individual residing in Tennessee. Ketron worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Ketron has been



                                              2603
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2604 of 3128




eligible to receive overtime pay under the FLSA because Ketron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9840. Plaintiff Jeremy Kilpatrick is an individual residing in Tennessee. Kilpatrick

worked as a delivery driver for FedEx in Tennessee from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Kilpatrick has been eligible to receive overtime pay under the FLSA because Kilpatrick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9841. Plaintiff Christian Kimble is an individual residing in Kansas. Kimble worked as

a delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kimble has been

eligible to receive overtime pay under the FLSA because Kimble has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9842. Plaintiff Renaldo Kinnard is an individual residing in Tennessee. Kinnard worked

as a delivery driver for FedEx in Tennessee from approximately 2009 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Kinnard has been

eligible to receive overtime pay under the FLSA because Kinnard has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9843. Plaintiff Halley Knott is an individual residing in Nebraska. Knott worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed



                                              2604
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2605 of 3128




through intermediary entities that FedEx calls independent service providers. Knott has been

eligible to receive overtime pay under the FLSA because Knott has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9844. Plaintiff Michael Knowles is an individual residing in Tennessee. Knowles

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Knowles has been eligible to receive

overtime pay under the FLSA because Knowles has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9845. Plaintiff Charon Kramer is an individual residing in Tennessee. Kramer worked as

a delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Kramer has been

eligible to receive overtime pay under the FLSA because Kramer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9846. Plaintiff David Lafever is an individual residing in Tennessee. Lafever worked as

a delivery driver for FedEx in Tennessee from approximately 2000 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lafever has been

eligible to receive overtime pay under the FLSA because Lafever has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9847. Plaintiff Joel Lawrence is an individual residing in Tennessee. Lawrence worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that



                                              2605
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2606 of 3128




FedEx calls independent service providers. Lawrence has been eligible to receive overtime pay

under the FLSA because Lawrence has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        9848. Plaintiff Timothy Lawson is an individual residing in Tennessee. Lawson worked

as a delivery driver for FedEx in Tennessee from approximately 1998 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lawson has been

eligible to receive overtime pay under the FLSA because Lawson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9849. Plaintiff Rickey Lawson is an individual residing in Tennessee. Lawson worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lawson has been

eligible to receive overtime pay under the FLSA because Lawson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9850. Plaintiff William Layne is an individual residing in Tennessee. Layne worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Layne has been

eligible to receive overtime pay under the FLSA because Layne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9851. Plaintiff Daniel Lehmkuhl is an individual residing in Tennessee. Lehmkuhl

worked as a delivery driver for FedEx in Tennessee from approximately 2015 to 2019 but was



                                             2606
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2607 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Lehmkuhl has been eligible to receive overtime pay under the FLSA because Lehmkuhl has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9852. Plaintiff Charity Lester is an individual residing in Tennessee. Lester worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lester has been

eligible to receive overtime pay under the FLSA because Lester has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9853. Plaintiff Mark Levasseur is an individual residing in Tennessee. Levasseur

worked as a delivery driver for FedEx in Tennessee from approximately 2013 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Levasseur has been eligible to receive overtime pay under the FLSA because Levasseur has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9854. Plaintiff Ebony Levelston is an individual residing in Mississippi. Levelston

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Levelston has been eligible to receive overtime pay under the FLSA because Levelston has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              2607
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2608 of 3128




        9855. Plaintiff Billy Lewallen is an individual residing in Tennessee. Lewallen worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lewallen has been

eligible to receive overtime pay under the FLSA because Lewallen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9856. Plaintiff Dewey Lewis is an individual residing in Tennessee. Lewis worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Lewis has been eligible to receive overtime pay

under the FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9857. Plaintiff Chris Lieber is an individual residing in Tennessee. Lieber worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Lieber has been

eligible to receive overtime pay under the FLSA because Lieber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9858. Plaintiff Chad Long is an individual residing in Tennessee. Long worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Long has been

eligible to receive overtime pay under the FLSA because Long has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2608
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2609 of 3128




        9859. Plaintiff Dylan Long is an individual residing in Tennessee. Long worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Long has been

eligible to receive overtime pay under the FLSA because Long has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9860. Plaintiff Terrell Lowdermilk is an individual residing in Tennessee. Lowdermilk

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Lowdermilk has been eligible to receive overtime pay under the FLSA because Lowdermilk has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9861. Plaintiff Ashley Lowe is an individual residing in Tennessee. Lowe worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lowe has been

eligible to receive overtime pay under the FLSA because Lowe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9862. Plaintiff Max Luegge is an individual residing in Tennessee. Luegge worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Luegge has been

eligible to receive overtime pay under the FLSA because Luegge has driven a vehicle weighing




                                             2609
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2610 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9863. Plaintiff Darrell Lyons is an individual residing in Arizona. Lyons worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9864. Plaintiff Ryan Malicoat is an individual residing in Tennessee. Malicoat worked

as a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Malicoat has been

eligible to receive overtime pay under the FLSA because Malicoat has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9865. Plaintiff Joshua Mann is an individual residing in Tennessee. Mann worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mann has been

eligible to receive overtime pay under the FLSA because Mann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9866. Plaintiff Michael Mann is an individual residing in Tennessee. Mann worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mann has been



                                              2610
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2611 of 3128




eligible to receive overtime pay under the FLSA because Mann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9867. Plaintiff Dajuan Manning is an individual residing in South Carolina. Manning

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Manning

has been eligible to receive overtime pay under the FLSA because Manning has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9868. Plaintiff Guy Martin is an individual residing in Tennessee. Martin worked as a

delivery driver for FedEx in Tennessee from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9869. Plaintiff Charles Martin is an individual residing in Georgia. Martin worked as a

delivery driver for FedEx in Tennessee from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9870. Plaintiff Matt Mason is an individual residing in Tennessee. Mason worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that



                                              2611
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2612 of 3128




FedEx calls independent service providers. Mason has been eligible to receive overtime pay

under the FLSA because Mason has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9871. Plaintiff Jeff Maxwell is an individual residing in Tennessee. Maxwell worked as

a delivery driver for FedEx in Tennessee from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Maxwell has been

eligible to receive overtime pay under the FLSA because Maxwell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9872. Plaintiff Dana Mayes is an individual residing in Tennessee. Mayes worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Mayes has been eligible to receive overtime pay

under the FLSA because Mayes has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9873. Plaintiff Roshawn Mays is an individual residing in Tennessee. Mays worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mays has been

eligible to receive overtime pay under the FLSA because Mays has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9874. Plaintiff Caleb Fuson is an individual residing in Tennessee. Mcallister worked as

a delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mcallister has been



                                              2612
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2613 of 3128




eligible to receive overtime pay under the FLSA because Mcallister has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9875. Plaintiff Cindy Mccann is an individual residing in Kentucky. Mccann worked as

a delivery driver for FedEx in Tennessee and Kentucky from approximately 2011 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Mccann has been eligible to receive overtime pay under the FLSA because Mccann has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9876. Plaintiff Dustin Mccarley is an individual residing in Tennessee. Mccarley

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Mccarley has been eligible to receive

overtime pay under the FLSA because Mccarley has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9877. Plaintiff Jeffrey Mccarter is an individual residing in Tennessee. Mccarter worked

as a delivery driver for FedEx in Tennessee from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mccarter has been

eligible to receive overtime pay under the FLSA because Mccarter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9878. Plaintiff Tracy Mccoy is an individual residing in Tennessee. Mccoy worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mccoy has been



                                              2613
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2614 of 3128




eligible to receive overtime pay under the FLSA because Mccoy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9879. Plaintiff Martin Mclemore is an individual residing in Tennessee. Mclemore

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mclemore has been eligible to receive overtime pay under the FLSA because Mclemore has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9880. Plaintiff Cecil Mclerran is an individual residing in Tennessee. Mclerran worked

as a delivery driver for FedEx in Tennessee from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mclerran has been

eligible to receive overtime pay under the FLSA because Mclerran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9881. Plaintiff Robert Mcmahon Iii is an individual residing in Tennessee. Mcmahon Iii

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcmahon Iii has been eligible to receive overtime pay under the FLSA because Mcmahon Iii has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9882. Plaintiff Randi Mcneely is an individual residing in Tennessee. Mcneely worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed



                                             2614
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2615 of 3128




through intermediary entities that FedEx calls independent service providers. Mcneely has been

eligible to receive overtime pay under the FLSA because Mcneely has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9883. Plaintiff Raymond Meadows is an individual residing in Tennessee. Meadows

worked as a delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Meadows has been eligible to receive overtime pay under the FLSA because Meadows has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9884. Plaintiff Francisco Meyer is an individual residing in Tennessee. Meyer worked

as a delivery driver for FedEx in Tennessee from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Meyer has been

eligible to receive overtime pay under the FLSA because Meyer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9885. Plaintiff Brian Miller is an individual residing in Tennessee. Miller worked as a

delivery driver for FedEx in Tennessee from approximately 2006 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2615
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2616 of 3128




        9886. Plaintiff Jason Miller is an individual residing in Tennessee. Miller worked as a

delivery driver for FedEx in Tennessee from approximately 2009 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9887. Plaintiff Emily Minnick is an individual residing in Tennessee. Minnick worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Minnick has been

eligible to receive overtime pay under the FLSA because Minnick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9888. Plaintiff Michael Mixson is an individual residing in Tennessee. Mixson worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Mixson has been eligible to receive overtime pay

under the FLSA because Mixson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9889. Plaintiff Lejerrith Mooney is an individual residing in Arkansas. Mooney worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mooney has been

eligible to receive overtime pay under the FLSA because Mooney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2616
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2617 of 3128




        9890. Plaintiff Barry Moore is an individual residing in Tennessee. Moore worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9891. Plaintiff Aubery Moore is an individual residing in Tennessee. Moore worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9892. Plaintiff Britni Morgan is an individual residing in Tennessee. Morgan worked as

a delivery driver for FedEx in Tennessee from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9893. Plaintiff Janice Morgan is an individual residing in Tennessee. Morgan worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Morgan has been eligible to receive overtime pay

under the FLSA because Morgan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                             2617
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2618 of 3128




        9894. Plaintiff Michael Morrow is an individual residing in Tennessee. Morrow worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Morrow has been eligible to receive overtime pay

under the FLSA because Morrow has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9895. Plaintiff Kendra Murphy is an individual residing in Tennessee. Murphy worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Murphy has been

eligible to receive overtime pay under the FLSA because Murphy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9896. Plaintiff Adam Muse is an individual residing in Tennessee. Muse worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Muse has been eligible to receive overtime pay under

the FLSA because Muse has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9897. Plaintiff Jack Myers is an individual residing in Tennessee. Myers worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Myers has been

eligible to receive overtime pay under the FLSA because Myers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                             2618
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2619 of 3128




        9898. Plaintiff Evan Needham is an individual residing in Illinois. Needham worked as

a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Needham has been

eligible to receive overtime pay under the FLSA because Needham has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9899. Plaintiff Frank Neely is an individual residing in Tennessee. Neely worked as a

delivery driver for FedEx in Tennessee from approximately 2005 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Neely has been

eligible to receive overtime pay under the FLSA because Neely has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9900. Plaintiff Michael Newbern is an individual residing in Kentucky. Newbern

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Newbern

has been eligible to receive overtime pay under the FLSA because Newbern has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9901. Plaintiff Quaneal Nixon is an individual residing in Louisiana. Nixon worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Nixon has been

eligible to receive overtime pay under the FLSA because Nixon has driven a vehicle weighing




                                             2619
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2620 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9902. Plaintiff Christopher Nolen is an individual residing in Tennessee. Nolen worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Nolen has been eligible to receive overtime pay

under the FLSA because Nolen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9903. Plaintiff Casey Norris is an individual residing in Tennessee. Norris worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Norris has been

eligible to receive overtime pay under the FLSA because Norris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9904. Plaintiff Kristen Obie is an individual residing in Tennessee. Obie worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Obie has been eligible to receive overtime pay under

the FLSA because Obie has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9905. Plaintiff Ledarius Osborne is an individual residing in Tennessee. Osborne

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Osborne has been eligible to receive

overtime pay under the FLSA because Osborne has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2620
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2621 of 3128




        9906. Plaintiff Mark Ouellette is an individual residing in Tennessee. Ouellette worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ouellette has been

eligible to receive overtime pay under the FLSA because Ouellette has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9907. Plaintiff Wesly Owens is an individual residing in Tennessee. Owens worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9908. Plaintiff Stephen Owens is an individual residing in Tennessee. Owens worked as

a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9909. Plaintiff Mitchell Painter is an individual residing in Tennessee. Painter worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Painter has been eligible to receive overtime pay

under the FLSA because Painter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              2621
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2622 of 3128




        9910. Plaintiff Tony Palmer is an individual residing in Virginia. Palmer worked as a

delivery driver for FedEx in Tennessee from approximately 2004 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Palmer has been

eligible to receive overtime pay under the FLSA because Palmer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9911. Plaintiff Keri Parker-Lee is an individual residing in Tennessee. Parker-Lee

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Parker-

Lee has been eligible to receive overtime pay under the FLSA because Parker-Lee has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9912. Plaintiff Douglas Patterson is an individual residing in Tennessee. Patterson

worked as a delivery driver for FedEx in Tennessee from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Patterson

has been eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9913. Plaintiff James Patton is an individual residing in Tennessee. Patton worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Patton has been

eligible to receive overtime pay under the FLSA because Patton has driven a vehicle weighing




                                              2622
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2623 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9914. Plaintiff Philip Patton is an individual residing in Tennessee. Patton worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Patton has been

eligible to receive overtime pay under the FLSA because Patton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9915. Plaintiff Amanda Peavley is an individual residing in Tennessee. Peavley worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Peavley has been

eligible to receive overtime pay under the FLSA because Peavley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9916. Plaintiff Jeffrey Peele is an individual residing in Tennessee. Peele worked as a

delivery driver for FedEx in Tennessee from approximately 2002 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Peele has been

eligible to receive overtime pay under the FLSA because Peele has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9917. Plaintiff Chris Perdue is an individual residing in Kentucky. Perdue worked as a

delivery driver for FedEx in Tennessee from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Perdue has been



                                              2623
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2624 of 3128




eligible to receive overtime pay under the FLSA because Perdue has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9918. Plaintiff Carlos Perry is an individual residing in Tennessee. Perry worked as a

delivery driver for FedEx in Tennessee from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9919. Plaintiff Kenneth Petty is an individual residing in Indiana. Petty worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Petty has been

eligible to receive overtime pay under the FLSA because Petty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9920. Plaintiff Robert Phaneuf is an individual residing in Tennessee. Phaneuf worked

as a delivery driver for FedEx in Tennessee from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Phaneuf has been

eligible to receive overtime pay under the FLSA because Phaneuf has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9921. Plaintiff Sean Pharris is an individual residing in Tennessee. Pharris worked as a

delivery driver for FedEx in Tennessee from approximately 2013 to 2017 but was employed



                                              2624
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 2625 of 3128




through intermediary entities that FedEx calls independent service providers. Pharris has been

eligible to receive overtime pay under the FLSA because Pharris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9922. Plaintiff John Phillips Jr. is an individual residing in Tennessee. Phillips Jr.

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Phillips Jr. has been eligible to receive

overtime pay under the FLSA because Phillips Jr. has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9923. Plaintiff Edward Ervin is an individual residing in Tennessee. Polanco Bonilla

worked as a delivery driver for FedEx in Tennessee from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Polanco

Bonilla has been eligible to receive overtime pay under the FLSA because Polanco Bonilla has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9924. Plaintiff Robert Pope is an individual residing in Tennessee. Pope worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Pope has been

eligible to receive overtime pay under the FLSA because Pope has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9925. Plaintiff Kenneth Porter is an individual residing in Tennessee. Porter worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that



                                                2625
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2626 of 3128




FedEx calls independent service providers. Porter has been eligible to receive overtime pay

under the FLSA because Porter has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9926. Plaintiff Andrew Poteete is an individual residing in Tennessee. Poteete worked

as a delivery driver for FedEx in Tennessee from approximately 1986 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Poteete has been

eligible to receive overtime pay under the FLSA because Poteete has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9927. Plaintiff Brandon Potter is an individual residing in Tennessee. Potter worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Potter has been

eligible to receive overtime pay under the FLSA because Potter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9928. Plaintiff Marcus Price is an individual residing in Tennessee. Price worked as a

delivery driver for FedEx in Tennessee from approximately 2009 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Price has been

eligible to receive overtime pay under the FLSA because Price has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9929. Plaintiff Tennisha Puckett is an individual residing in Tennessee. Puckett worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that



                                              2626
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2627 of 3128




FedEx calls independent service providers. Puckett has been eligible to receive overtime pay

under the FLSA because Puckett has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9930. Plaintiff Adram Puckett is an individual residing in Tennessee. Puckett worked as

a delivery driver for FedEx in Tennessee from approximately 2011 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Puckett has been

eligible to receive overtime pay under the FLSA because Puckett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9931. Plaintiff Cory Pulaski is an individual residing in Georgia. Pulaski worked as a

delivery driver for FedEx in Tennessee from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Pulaski has been

eligible to receive overtime pay under the FLSA because Pulaski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9932. Plaintiff Jacob Pulford is an individual residing in Tennessee. Pulford worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Pulford has been

eligible to receive overtime pay under the FLSA because Pulford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9933. Plaintiff Kristie Putnam is an individual residing in Tennessee. Putnam worked as

a delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed



                                              2627
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2628 of 3128




through intermediary entities that FedEx calls independent service providers. Putnam has been

eligible to receive overtime pay under the FLSA because Putnam has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9934. Plaintiff Bryan Qualls is an individual residing in Tennessee. Qualls worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Qualls has been

eligible to receive overtime pay under the FLSA because Qualls has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9935. Plaintiff Andrew Quinn is an individual residing in Tennessee. Quinn worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Quinn has been

eligible to receive overtime pay under the FLSA because Quinn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9936. Plaintiff Nicholas Rainey is an individual residing in Tennessee. Rainey worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Rainey has been eligible to receive overtime pay

under the FLSA because Rainey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9937. Plaintiff James Ransom is an individual residing in Tennessee. Ransom worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that



                                              2628
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2629 of 3128




FedEx calls independent service providers. Ransom has been eligible to receive overtime pay

under the FLSA because Ransom has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9938. Plaintiff Ernest Rayfield is an individual residing in Tennessee. Rayfield worked

as a delivery driver for FedEx in Tennessee from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rayfield has been

eligible to receive overtime pay under the FLSA because Rayfield has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9939. Plaintiff Mark Reagan is an individual residing in Florida. Reagan worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Reagan has been

eligible to receive overtime pay under the FLSA because Reagan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9940. Plaintiff Michael Reece is an individual residing in Tennessee. Reece worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Reece has been

eligible to receive overtime pay under the FLSA because Reece has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9941. Plaintiff Joseph Reed is an individual residing in Tennessee. Reed worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2016 but was employed



                                              2629
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2630 of 3128




through intermediary entities that FedEx calls independent service providers. Reed has been

eligible to receive overtime pay under the FLSA because Reed has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9942. Plaintiff Darnell Reel is an individual residing in Arkansas. Reel worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Reel has been

eligible to receive overtime pay under the FLSA because Reel has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9943. Plaintiff Kimberly Reid is an individual residing in Tennessee. Reid worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Reid has been eligible to receive overtime pay under

the FLSA because Reid has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9944. Plaintiff Jason Reszka is an individual residing in Tennessee. Reszka worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Reszka has been

eligible to receive overtime pay under the FLSA because Reszka has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9945. Plaintiff Santiago Reyna Jr. is an individual residing in Tennessee. Reyna Jr.

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was



                                              2630
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2631 of 3128




employed through intermediary entities that FedEx calls independent service providers. Reyna

Jr. has been eligible to receive overtime pay under the FLSA because Reyna Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9946. Plaintiff John Reynolds is an individual residing in Tennessee. Reynolds worked

as a delivery driver for FedEx in Tennessee from approximately 2010 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Reynolds has been

eligible to receive overtime pay under the FLSA because Reynolds has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9947. Plaintiff Nathan Reynolds is an individual residing in Tennessee. Reynolds

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Reynolds has been eligible to receive overtime pay under the FLSA because Reynolds has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9948. Plaintiff Latonya Richardson is an individual residing in Tennessee. Richardson

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                             2631
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2632 of 3128




        9949. Plaintiff Chris Roberson is an individual residing in Tennessee. Roberson worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Roberson has been

eligible to receive overtime pay under the FLSA because Roberson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9950. Plaintiff Daniel Roberts is an individual residing in Tennessee. Roberts worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Roberts has been eligible to receive overtime pay

under the FLSA because Roberts has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9951. Plaintiff Sherrie Ross is an individual residing in Tennessee. Ross worked as a

delivery driver for FedEx in Tennessee from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ross has been

eligible to receive overtime pay under the FLSA because Ross has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9952. Plaintiff Daniel Rutledge is an individual residing in Tennessee. Rutledge worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rutledge has been

eligible to receive overtime pay under the FLSA because Rutledge has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2632
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2633 of 3128




        9953. Plaintiff William Sampson is an individual residing in Tennessee. Sampson

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Sampson

has been eligible to receive overtime pay under the FLSA because Sampson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        9954. Plaintiff Hope Sanders is an individual residing in Tennessee. Sanders worked as

a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9955. Plaintiff Kendrick Sanders is an individual residing in Tennessee. Sanders worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9956. Plaintiff William Scarberry is an individual residing in Virginia. Scarberry

worked as a delivery driver for FedEx in Tennessee from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Scarberry has been eligible to receive overtime pay under the FLSA because Scarberry has




                                              2633
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2634 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9957. Plaintiff Thomas Schubert is an individual residing in Tennessee. Schubert

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Schubert has been eligible to receive

overtime pay under the FLSA because Schubert has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9958. Plaintiff Stephen Sheehan is an individual residing in Louisiana. Sheehan worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sheehan has been

eligible to receive overtime pay under the FLSA because Sheehan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9959. Plaintiff Tylor Sheridan is an individual residing in Tennessee. Sheridan worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Sheridan has been

eligible to receive overtime pay under the FLSA because Sheridan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9960. Plaintiff Thomas Silk is an individual residing in Tennessee. Silk worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Silk has been eligible to receive overtime pay under




                                              2634
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2635 of 3128




the FLSA because Silk has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9961. Plaintiff Jason Simmons is an individual residing in Tennessee. Simmons worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Simmons has been

eligible to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9962. Plaintiff David Smiley is an individual residing in Tennessee. Smiley worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smiley has been

eligible to receive overtime pay under the FLSA because Smiley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9963. Plaintiff Amber Smiley is an individual residing in Tennessee. Smiley worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Smiley has been eligible to receive overtime pay

under the FLSA because Smiley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9964. Plaintiff Rachel Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                             2635
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2636 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9965. Plaintiff Charles Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9966. Plaintiff Ashley Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9967. Plaintiff Zach Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9968. Plaintiff Quinten Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                              2636
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2637 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9969. Plaintiff Charles Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9970. Plaintiff Gregory Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Smith has been eligible to receive overtime pay under

the FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9971. Plaintiff Brandon Smith is an individual residing in Tennessee. Smith worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9972. Plaintiff Ronnie Smith Jr. is an individual residing in Tennessee. Smith Jr. worked

as a delivery driver for FedEx in Tennessee from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith Jr. has been

eligible to receive overtime pay under the FLSA because Smith Jr. has driven a vehicle weighing




                                              2637
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2638 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9973. Plaintiff Jason Spann is an individual residing in Tennessee. Spann worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Spann has been

eligible to receive overtime pay under the FLSA because Spann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9974. Plaintiff Jeffrey Spicer is an individual residing in Virginia. Spicer worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Spicer has been eligible to receive overtime pay

under the FLSA because Spicer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9975. Plaintiff Porter Stadaker is an individual residing in Washington. Stadaker worked

as a delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stadaker has been

eligible to receive overtime pay under the FLSA because Stadaker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9976. Plaintiff Branden Stafford is an individual residing in Tennessee. Stafford worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Stafford has been

eligible to receive overtime pay under the FLSA because Stafford has driven a vehicle weighing



                                               2638
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2639 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9977. Plaintiff Chad Steelman is an individual residing in Missouri. Steelman worked as

a delivery driver for FedEx in Tennessee from approximately 2000 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Steelman has been

eligible to receive overtime pay under the FLSA because Steelman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9978. Plaintiff Jacob Stephens is an individual residing in Tennessee. Stephens worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Stephens has been

eligible to receive overtime pay under the FLSA because Stephens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9979. Plaintiff Todd Stephens is an individual residing in Tennessee. Stephens worked

as a delivery driver for FedEx in Tennessee from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Stephens has been

eligible to receive overtime pay under the FLSA because Stephens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9980. Plaintiff Dandra Stephenson is an individual residing in Tennessee. Stephenson

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Stephenson has been eligible to receive



                                              2639
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2640 of 3128




overtime pay under the FLSA because Stephenson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        9981. Plaintiff Tabitha Stock is an individual residing in Tennessee. Stock worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Stock has been

eligible to receive overtime pay under the FLSA because Stock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9982. Plaintiff Jeffrey Summers is an individual residing in Tennessee. Summers

worked as a delivery driver for FedEx in Tennessee from approximately 2000 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Summers has been eligible to receive overtime pay under the FLSA because Summers has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        9983. Plaintiff Terry Sumner is an individual residing in Tennessee. Sumner worked as

a delivery driver for FedEx in Tennessee from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Sumner has been

eligible to receive overtime pay under the FLSA because Sumner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9984. Plaintiff Trenton Sweatman is an individual residing in South Carolina. Sweatman

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2640
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2641 of 3128




Sweatman has been eligible to receive overtime pay under the FLSA because Sweatman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9985. Plaintiff Mindy Sweatman is an individual residing in South Carolina. Sweatman

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Sweatman has been eligible to receive overtime pay under the FLSA because Sweatman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9986. Plaintiff Terry Sykes is an individual residing in Tennessee. Sykes worked as a

delivery driver for FedEx in Tennessee from approximately 1993 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Sykes has been

eligible to receive overtime pay under the FLSA because Sykes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9987. Plaintiff Martha Tanner is an individual residing in Alabama. Tanner worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Tanner has been eligible to receive overtime pay

under the FLSA because Tanner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9988. Plaintiff Nathan Taylor is an individual residing in Tennessee. Taylor worked as a

delivery driver for FedEx in Tennessee from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been



                                              2641
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2642 of 3128




eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9989. Plaintiff Joyce Taylor is an individual residing in Tennessee. Taylor worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9990. Plaintiff Dana Teeple is an individual residing in Tennessee. Teeple worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Teeple has been eligible to receive overtime pay

under the FLSA because Teeple has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9991. Plaintiff Juanita Terry is an individual residing in Tennessee. Terry worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Terry has been eligible to receive overtime pay under

the FLSA because Terry has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        9992. Plaintiff Robert Thomas is an individual residing in Tennessee. Thomas worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Thomas has been eligible to receive overtime pay




                                              2642
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2643 of 3128




under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        9993. Plaintiff Shelton Thomas is an individual residing in Tennessee. Thomas worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9994. Plaintiff Marvin Thomas is an individual residing in Tennessee. Thomas worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9995. Plaintiff Anglius Thompson is an individual residing in Tennessee. Thompson

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9996. Plaintiff Matt Thompson is an individual residing in Tennessee. Thompson

worked as a delivery driver for FedEx in Tennessee from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                             2643
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2644 of 3128




Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        9997. Plaintiff Calan Tinch is an individual residing in Tennessee. Tinch worked as a

delivery driver for FedEx in Tennessee from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tinch has been

eligible to receive overtime pay under the FLSA because Tinch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9998. Plaintiff Gary Titington is an individual residing in Tennessee. Titington worked

as a delivery driver for FedEx in Tennessee from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Titington has been

eligible to receive overtime pay under the FLSA because Titington has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        9999. Plaintiff Will Tomb is an individual residing in South Carolina. Tomb worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Tomb has been eligible to receive overtime pay under

the FLSA because Tomb has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10000. Plaintiff Jessica Townsend is an individual residing in Kentucky. Townsend

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2644
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2645 of 3128




Townsend has been eligible to receive overtime pay under the FLSA because Townsend has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10001. Plaintiff Thomas Triplett is an individual residing in Mississippi. Triplett worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Triplett has been

eligible to receive overtime pay under the FLSA because Triplett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10002. Plaintiff Harold Turpin is an individual residing in Tennessee. Turpin worked as a

delivery driver for FedEx in Tennessee from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Turpin has been

eligible to receive overtime pay under the FLSA because Turpin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10003. Plaintiff Logan Underhill is an individual residing in Tennessee. Underhill

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Underhill has been eligible to receive

overtime pay under the FLSA because Underhill has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10004. Plaintiff Shane Vaughn is an individual residing in Tennessee. Vaughn worked as

a delivery driver for FedEx in Tennessee from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vaughn has been



                                               2645
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2646 of 3128




eligible to receive overtime pay under the FLSA because Vaughn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10005. Plaintiff Kevin Vaughn is an individual residing in Tennessee. Vaughn worked as

a delivery driver for FedEx in Tennessee from approximately 2011 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Vaughn has been

eligible to receive overtime pay under the FLSA because Vaughn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10006. Plaintiff Bryant Volz is an individual residing in Georgia. Volz worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Volz has been

eligible to receive overtime pay under the FLSA because Volz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10007. Plaintiff Brandi Wade is an individual residing in Tennessee. Wade worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Wade has been eligible to receive overtime pay under

the FLSA because Wade has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10008. Plaintiff Brandon Wald is an individual residing in Tennessee. Wald worked as a

delivery driver for FedEx in Tennessee from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wald has been



                                              2646
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2647 of 3128




eligible to receive overtime pay under the FLSA because Wald has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10009. Plaintiff Michaela Walker is an individual residing in Tennessee. Walker worked

as a delivery driver for FedEx in Tennessee from approximately 2007 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10010. Plaintiff Rhonda Walker is an individual residing in Tennessee. Walker worked as

a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Walker has been eligible to receive overtime pay

under the FLSA because Walker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10011. Plaintiff Joe Walker is an individual residing in Florida. Walker worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Walker has been eligible to receive overtime pay

under the FLSA because Walker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10012. Plaintiff Aridth Ward is an individual residing in Arkansas. Ward worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing



                                              2647
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2648 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10013. Plaintiff Frankie Warrington is an individual residing in Tennessee. Warrington

worked as a delivery driver for FedEx in Tennessee from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Warrington has been eligible to receive overtime pay under the FLSA because Warrington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10014. Plaintiff Shawn Warta is an individual residing in Tennessee. Warta worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Warta has been

eligible to receive overtime pay under the FLSA because Warta has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10015. Plaintiff Juan Washington is an individual residing in Tennessee. Washington

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10016. Plaintiff Marketta Watkins is an individual residing in Tennessee. Watkins

worked as a delivery driver for FedEx in Tennessee from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Watkins



                                              2648
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2649 of 3128




has been eligible to receive overtime pay under the FLSA because Watkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10017. Plaintiff Josh Watson is an individual residing in Tennessee. Watson worked as a

delivery driver for FedEx in Tennessee from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Watson has been

eligible to receive overtime pay under the FLSA because Watson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10018. Plaintiff Quinton Watson is an individual residing in Tennessee. Watson worked

as a delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Watson has been eligible to receive overtime pay

under the FLSA because Watson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10019. Plaintiff Derrick Webb is an individual residing in Kentucky. Webb worked as a

delivery driver for FedEx in Tennessee from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Webb has been

eligible to receive overtime pay under the FLSA because Webb has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10020. Plaintiff Carl Wehner is an individual residing in Tennessee. Wehner worked as a

delivery driver for FedEx in Tennessee and New Jersey but was employed through intermediary

entities that FedEx calls independent service providers. Wehner has been eligible to receive



                                              2649
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2650 of 3128




overtime pay under the FLSA because Wehner has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10021. Plaintiff Richard Welch is an individual residing in Tennessee. Welch worked as

a delivery driver for FedEx in Tennessee from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Welch has been

eligible to receive overtime pay under the FLSA because Welch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10022. Plaintiff Jeffrey West is an individual residing in Tennessee. West worked as a

delivery driver for FedEx in Tennessee from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10023. Plaintiff Lamardo Westerfield is an individual residing in Tennessee. Westerfield

worked as a delivery driver for FedEx in Tennessee but was employed through intermediary

entities that FedEx calls independent service providers. Westerfield has been eligible to receive

overtime pay under the FLSA because Westerfield has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10024. Plaintiff David White is an individual residing in Georgia. White worked as a

delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing



                                               2650
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2651 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10025. Plaintiff Brittany Whittington is an individual residing in Tennessee. Whittington

worked as a delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Whittington has been eligible to receive overtime pay under the FLSA because Whittington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10026. Plaintiff Matthew Widner is an individual residing in Tennessee. Widner worked

as a delivery driver for FedEx in Tennessee from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Widner has been

eligible to receive overtime pay under the FLSA because Widner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10027. Plaintiff Mark Williams is an individual residing in Tennessee. Williams worked

as a delivery driver for FedEx in Tennessee from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10028. Plaintiff Tyeisha Williams is an individual residing in Tennessee. Williams

worked as a delivery driver for FedEx in Tennessee from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Williams



                                              2651
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2652 of 3128




has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10029. Plaintiff Jon Williams is an individual residing in Tennessee. Williams worked as

a delivery driver for FedEx in Tennessee from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10030. Plaintiff Larry Williford is an individual residing in Tennessee. Williford worked

as a delivery driver for FedEx in Tennessee from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Williford has been

eligible to receive overtime pay under the FLSA because Williford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10031. Plaintiff Teresa Windum is an individual residing in Tennessee. Windum worked

as a delivery driver for FedEx in Tennessee from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Windum has been

eligible to receive overtime pay under the FLSA because Windum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10032. Plaintiff Kenyatta Woodard is an individual residing in Tennessee. Woodard

worked as a delivery driver for FedEx in Tennessee from approximately 2010 to 2018 but was



                                              2652
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2653 of 3128




employed through intermediary entities that FedEx calls independent service providers. Woodard

has been eligible to receive overtime pay under the FLSA because Woodard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10033. Plaintiff Dante Woods is an individual residing in Tennessee. Woods worked as a

delivery driver for FedEx in Tennessee from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Woods has been

eligible to receive overtime pay under the FLSA because Woods has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10034. Plaintiff John Yost is an individual residing in Tennessee. Yost worked as a

delivery driver for FedEx in Tennessee but was employed through intermediary entities that

FedEx calls independent service providers. Yost has been eligible to receive overtime pay under

the FLSA because Yost has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10035. Plaintiff Dawn Yount is an individual residing in Tennessee. Yount worked as a

delivery driver for FedEx in Tennessee from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Yount has been

eligible to receive overtime pay under the FLSA because Yount has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10036. Plaintiff Richard Zack is an individual residing in Tennessee. Zack worked as a

delivery driver for FedEx in Tennessee from approximately 2017 to 2018 but was employed



                                              2653
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2654 of 3128




through intermediary entities that FedEx calls independent service providers. Zack has been

eligible to receive overtime pay under the FLSA because Zack has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10037. Plaintiff Larry Zipler Ii is an individual residing in Tennessee. Zipler Ii worked as

a delivery driver for FedEx in Tennessee from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Zipler Ii has been

eligible to receive overtime pay under the FLSA because Zipler Ii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10038. Plaintiff Oscar Abrego is an individual residing in Texas. Abrego worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Abrego has been eligible to

receive overtime pay under the FLSA because Abrego has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10039. Plaintiff Otis Adams is an individual residing in Texas. Adams worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Adams has been eligible to

receive overtime pay under the FLSA because Adams has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10040. Plaintiff Kennard Adams is an individual residing in Texas. Adams worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Adams has been eligible to



                                               2654
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2655 of 3128




receive overtime pay under the FLSA because Adams has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10041. Plaintiff Jeffrey Adcock is an individual residing in Texas. Adcock worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Adcock has been eligible to

receive overtime pay under the FLSA because Adcock has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10042. Plaintiff Broderick Addison is an individual residing in Texas. Addison worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Addison has been

eligible to receive overtime pay under the FLSA because Addison has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10043. Plaintiff Moshood Adekola is an individual residing in Indiana. Adekola worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Adekola has been

eligible to receive overtime pay under the FLSA because Adekola has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10044. Plaintiff Oluwafemi Adekunle is an individual residing in Texas. Adekunle

worked as a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Adekunle has been eligible to receive overtime pay under the FLSA because Adekunle has



                                              2655
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2656 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10045. Plaintiff Marwan Al Nasser is an individual residing in Texas. Al Nasser worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Al Nasser has been

eligible to receive overtime pay under the FLSA because Al Nasser has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10046. Plaintiff Gina Albert is an individual residing in Texas. Albert worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Albert has been eligible to

receive overtime pay under the FLSA because Albert has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10047. Plaintiff Charles Albert is an individual residing in Texas. Albert worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Albert has been eligible to

receive overtime pay under the FLSA because Albert has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10048. Plaintiff Kendall Alexander is an individual residing in Texas. Alexander worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Alexander has been

eligible to receive overtime pay under the FLSA because Alexander has driven a vehicle




                                              2656
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2657 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10049. Plaintiff Jerry Alexander is an individual residing in Texas. Alexander worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Alexander has been

eligible to receive overtime pay under the FLSA because Alexander has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10050. Plaintiff Devante Allen is an individual residing in Texas. Allen worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Allen has been eligible to receive overtime pay under the

FLSA because Allen has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10051. Plaintiff Erwin Allen is an individual residing in Texas. Allen worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Allen has been eligible to

receive overtime pay under the FLSA because Allen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10052. Plaintiff Emilio Almanza is an individual residing in Texas. Almanza worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Almanza has been eligible

to receive overtime pay under the FLSA because Almanza has driven a vehicle weighing less




                                              2657
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2658 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10053. Plaintiff Peter Alsing is an individual residing in Texas. Alsing worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Alsing has been eligible to

receive overtime pay under the FLSA because Alsing has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10054. Plaintiff Jose Alvarado is an individual residing in Texas. Alvarado worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Alvarado has been eligible to receive overtime pay under the

FLSA because Alvarado has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10055. Plaintiff Juan Alvarado is an individual residing in Texas. Alvarado worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Alvarado has been eligible

to receive overtime pay under the FLSA because Alvarado has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10056. Plaintiff Jakeist Ambrose is an individual residing in Texas. Ambrose worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ambrose has been eligible

to receive overtime pay under the FLSA because Ambrose has driven a vehicle weighing less




                                               2658
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2659 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10057. Plaintiff Muhammad Amin is an individual residing in Texas. Amin worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Amin has been eligible to receive overtime pay under the

FLSA because Amin has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10058. Plaintiff Jimmy Anderson is an individual residing in Texas. Anderson worked as

a delivery driver for FedEx in Texas from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10059. Plaintiff Robin Anderson is an individual residing in Texas. Anderson worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Anderson has been

eligible to receive overtime pay under the FLSA because Anderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10060. Plaintiff Ursula Andres is an individual residing in Texas. Andres worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Andres has been eligible to receive overtime pay under the




                                              2659
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2660 of 3128




FLSA because Andres has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10061. Plaintiff Anthony Annino is an individual residing in Texas. Annino worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Annino has been eligible to

receive overtime pay under the FLSA because Annino has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10062. Plaintiff Innocent Anye is an individual residing in Texas. Anye worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Anye has been eligible to

receive overtime pay under the FLSA because Anye has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10063. Plaintiff Clarence Appling is an individual residing in Texas. Appling worked as a

delivery driver for FedEx in Texas from approximately 2000 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Appling has been eligible to

receive overtime pay under the FLSA because Appling has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10064. Plaintiff Eduardo Arana is an individual residing in Texas. Arana worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Arana has been eligible to

receive overtime pay under the FLSA because Arana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2660
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2661 of 3128




        10065. Plaintiff Tevin Archangel is an individual residing in Texas. Archangel worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Archangel has been

eligible to receive overtime pay under the FLSA because Archangel has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10066. Plaintiff Victor Arciva is an individual residing in Texas. Arciva worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Arciva has been eligible to receive overtime pay under the

FLSA because Arciva has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10067. Plaintiff Stephanie Arellano is an individual residing in Texas. Arellano worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Arellano has been

eligible to receive overtime pay under the FLSA because Arellano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10068. Plaintiff Mayra Arellano is an individual residing in Texas. Arellano worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Arellano has been eligible to receive overtime pay under the

FLSA because Arellano has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              2661
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2662 of 3128




       10069. Plaintiff Julian Armendariz is an individual residing in Texas. Armendariz

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Armendariz has been eligible to receive overtime

pay under the FLSA because Armendariz has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       10070. Plaintiff Courtney Armstrong is an individual residing in Texas. Armstrong

worked as a delivery driver for FedEx in Texas from approximately 2014 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Armstrong has been eligible to receive overtime pay under the FLSA because Armstrong has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10071. Plaintiff Dominic Armstrong is an individual residing in Texas. Armstrong

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Armstrong has been eligible to receive overtime pay under the FLSA because Armstrong has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10072. Plaintiff Joshua Arnold is an individual residing in Texas. Arnold worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Arnold has been eligible to receive overtime pay under the

FLSA because Arnold has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              2662
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2663 of 3128




       10073. Plaintiff Precious Aron is an individual residing in Texas. Aron worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Aron has been eligible to

receive overtime pay under the FLSA because Aron has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10074. Plaintiff Paul Arredondo is an individual residing in Texas. Arredondo worked as

a delivery driver for FedEx in Texas from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Arredondo has

been eligible to receive overtime pay under the FLSA because Arredondo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10075. Plaintiff Juan Avila is an individual residing in Texas. Avila worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Avila has been eligible to

receive overtime pay under the FLSA because Avila has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10076. Plaintiff Tamika Awel is an individual residing in Texas. Awel worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Awel has been eligible to

receive overtime pay under the FLSA because Awel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10077. Plaintiff Michael Bailey is an individual residing in Texas. Bailey worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through



                                              2663
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2664 of 3128




intermediary entities that FedEx calls independent service providers. Bailey has been eligible to

receive overtime pay under the FLSA because Bailey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10078. Plaintiff Alonzo Bailey is an individual residing in Texas. Bailey worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bailey has been eligible to

receive overtime pay under the FLSA because Bailey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10079. Plaintiff Anthony Bailey is an individual residing in Texas. Bailey worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Bailey has been eligible to receive overtime pay under the

FLSA because Bailey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10080. Plaintiff Roderick Baker is an individual residing in Texas. Baker worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10081. Plaintiff Jennifer Baker is an individual residing in Texas. Baker worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Baker has been eligible to

receive overtime pay under the FLSA because Baker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2664
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2665 of 3128




        10082. Plaintiff Ron Bakken is an individual residing in Texas. Bakken worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bakken has been eligible to

receive overtime pay under the FLSA because Bakken has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10083. Plaintiff Ubaldo Bakluda is an individual residing in Texas. Bakluda worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bakluda has been eligible

to receive overtime pay under the FLSA because Bakluda has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10084. Plaintiff Anthony Bale is an individual residing in Texas. Bale worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Bale has been eligible to

receive overtime pay under the FLSA because Bale has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10085. Plaintiff Dennashi Ball is an individual residing in Texas. Ball worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ball has been eligible to

receive overtime pay under the FLSA because Ball has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10086. Plaintiff Tonya Ballard is an individual residing in Florida. Ballard worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2021 but was employed through



                                               2665
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2666 of 3128




intermediary entities that FedEx calls independent service providers. Ballard has been eligible to

receive overtime pay under the FLSA because Ballard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10087. Plaintiff Hollis Ballom is an individual residing in Texas. Ballom worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Ballom has been eligible to receive overtime pay under the

FLSA because Ballom has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10088. Plaintiff Alexandra Banda is an individual residing in Texas. Banda worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Banda has been eligible to

receive overtime pay under the FLSA because Banda has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10089. Plaintiff Calvin Banks is an individual residing in Texas. Banks worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Banks has been eligible to receive overtime pay under the

FLSA because Banks has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10090. Plaintiff Sammy Barakat is an individual residing in Texas. Barakat worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Barakat has been eligible to

receive overtime pay under the FLSA because Barakat has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2666
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2667 of 3128




       10091. Plaintiff Brandon Barnes is an individual residing in Texas. Barnes worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Barnes has been eligible to

receive overtime pay under the FLSA because Barnes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10092. Plaintiff Dustin Barnett is an individual residing in Texas. Barnett worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Barnett has been eligible to

receive overtime pay under the FLSA because Barnett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10093. Plaintiff Jose Barrera Ramos is an individual residing in Texas. Barrera Ramos

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Barrera

Ramos has been eligible to receive overtime pay under the FLSA because Barrera Ramos has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10094. Plaintiff Amanda Barrett is an individual residing in Texas. Barrett worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Barrett has been eligible to

receive overtime pay under the FLSA because Barrett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10095. Plaintiff Timmarick Bates is an individual residing in Texas. Bates worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx



                                               2667
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2668 of 3128




calls independent service providers. Bates has been eligible to receive overtime pay under the

FLSA because Bates has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10096. Plaintiff Derron Battle is an individual residing in Texas. Battle worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Battle has been eligible to

receive overtime pay under the FLSA because Battle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10097. Plaintiff Alfred Bautista is an individual residing in Texas. Bautista worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Bautista has been eligible to

receive overtime pay under the FLSA because Bautista has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10098. Plaintiff Faustino Bautista is an individual residing in Texas. Bautista worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bautista has been eligible to

receive overtime pay under the FLSA because Bautista has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10099. Plaintiff William Beaudoin is an individual residing in Texas. Beaudoin worked

as a delivery driver for FedEx in Texas and Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Beaudoin has been eligible to receive

overtime pay under the FLSA because Beaudoin has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2668
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2669 of 3128




        10100. Plaintiff Phillip Beaver Ii is an individual residing in Texas. Beaver Ii worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Beaver Ii has been eligible

to receive overtime pay under the FLSA because Beaver Ii has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10101. Plaintiff Dalton Beck is an individual residing in Georgia. Beck worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Beck has been eligible to

receive overtime pay under the FLSA because Beck has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10102. Plaintiff Roderick Bell is an individual residing in Texas. Bell worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Bell has been eligible to receive overtime pay under the

FLSA because Bell has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10103. Plaintiff Corey Bell is an individual residing in Texas. Bell worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Bell has been eligible to receive overtime pay under the FLSA

because Bell has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10104. Plaintiff Jesse Belmarez is an individual residing in Texas. Belmarez worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through



                                               2669
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2670 of 3128




intermediary entities that FedEx calls independent service providers. Belmarez has been eligible

to receive overtime pay under the FLSA because Belmarez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10105. Plaintiff Juan Benavides is an individual residing in Texas. Benavides worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Benavides has been

eligible to receive overtime pay under the FLSA because Benavides has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10106. Plaintiff Robert Benavides is an individual residing in Texas. Benavides worked

as a delivery driver for FedEx in Texas from approximately 1995 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Benavides has been

eligible to receive overtime pay under the FLSA because Benavides has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10107. Plaintiff Dominique Bennett is an individual residing in Texas. Bennett worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bennett has been

eligible to receive overtime pay under the FLSA because Bennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2670
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2671 of 3128




       10108. Plaintiff Alexus Bennett is an individual residing in Texas. Bennett worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Bennett has been eligible to receive overtime pay under the

FLSA because Bennett has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10109. Plaintiff Howard Bentley is an individual residing in Texas. Bentley worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bentley has been eligible to

receive overtime pay under the FLSA because Bentley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10110. Plaintiff Mark Bentley is an individual residing in Texas. Bentley worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Bentley has been eligible to

receive overtime pay under the FLSA because Bentley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10111. Plaintiff Donna Berry-Davis is an individual residing in Texas. Berry-Davis

worked as a delivery driver for FedEx in Texas from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Berry-

Davis has been eligible to receive overtime pay under the FLSA because Berry-Davis has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       10112. Plaintiff Joseph Birton is an individual residing in Texas. Birton worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed through



                                              2671
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2672 of 3128




intermediary entities that FedEx calls independent service providers. Birton has been eligible to

receive overtime pay under the FLSA because Birton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10113. Plaintiff Jamie Bisor-Bacon is an individual residing in Texas. Bisor-Bacon

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Bisor-Bacon has been eligible to receive

overtime pay under the FLSA because Bisor-Bacon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10114. Plaintiff Eric Black is an individual residing in Texas. Black worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Black has been eligible to

receive overtime pay under the FLSA because Black has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10115. Plaintiff Dabryan Blanton is an individual residing in Texas. Blanton worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Blanton has been eligible to

receive overtime pay under the FLSA because Blanton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10116. Plaintiff David Blasquez is an individual residing in Texas. Blasquez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Blasquez has been eligible

to receive overtime pay under the FLSA because Blasquez has driven a vehicle weighing less




                                              2672
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2673 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10117. Plaintiff Michael Blassingame is an individual residing in Texas. Blassingame

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Blassingame has been eligible to receive overtime pay under the FLSA because Blassingame has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10118. Plaintiff Ashlea Blumenberg is an individual residing in Texas. Blumenberg

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Blumenberg has been eligible to receive overtime pay under the FLSA because Blumenberg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10119. Plaintiff Randall Bohannan is an individual residing in Texas. Bohannan worked

as a delivery driver for FedEx in Texas from approximately 2007 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bohannan has been

eligible to receive overtime pay under the FLSA because Bohannan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10120. Plaintiff Jared Bonner is an individual residing in Texas. Bonner worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bonner has been eligible to



                                              2673
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2674 of 3128




receive overtime pay under the FLSA because Bonner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10121. Plaintiff Gary Bonner is an individual residing in Texas. Bonner worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Bonner has been eligible to receive overtime pay under the

FLSA because Bonner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10122. Plaintiff Gerardo Botello is an individual residing in Texas. Botello worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Botello has been eligible to

receive overtime pay under the FLSA because Botello has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10123. Plaintiff Lakendra Boutte is an individual residing in Texas. Boutte worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Boutte has been eligible to

receive overtime pay under the FLSA because Boutte has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10124. Plaintiff Jeffrey Boyd is an individual residing in Texas. Boyd worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Boyd has been eligible to

receive overtime pay under the FLSA because Boyd has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2674
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2675 of 3128




       10125. Plaintiff Daren Bradford is an individual residing in Texas. Bradford worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Bradford has been eligible to receive overtime pay under the

FLSA because Bradford has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10126. Plaintiff Adrein Bradley is an individual residing in Texas. Bradley worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Bradley has been eligible to

receive overtime pay under the FLSA because Bradley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10127. Plaintiff Kenya Bradley is an individual residing in Texas. Bradley worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bradley has been eligible to

receive overtime pay under the FLSA because Bradley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10128. Plaintiff Cameron Breaux is an individual residing in Texas. Breaux worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Breaux has been eligible to

receive overtime pay under the FLSA because Breaux has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10129. Plaintiff Andrew Brennan is an individual residing in Texas. Brennan worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Brennan has been eligible



                                              2675
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2676 of 3128




to receive overtime pay under the FLSA because Brennan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10130. Plaintiff Archie Brewer is an individual residing in Texas. Brewer worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Brewer has been eligible to receive overtime pay under the

FLSA because Brewer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10131. Plaintiff Miguel Brieva is an individual residing in Texas. Brieva worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Brieva has been eligible to

receive overtime pay under the FLSA because Brieva has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10132. Plaintiff Christini Briggs is an individual residing in Texas. Briggs worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Briggs has been eligible to

receive overtime pay under the FLSA because Briggs has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10133. Plaintiff Shelby Brittain is an individual residing in Texas. Brittain worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Brittain has been eligible to

receive overtime pay under the FLSA because Brittain has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2676
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2677 of 3128




       10134. Plaintiff Jon Brooks is an individual residing in Texas. Brooks worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10135. Plaintiff Nicholas Brooks is an individual residing in Texas. Brooks worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Brooks has been eligible to

receive overtime pay under the FLSA because Brooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10136. Plaintiff Jeffery Brown is an individual residing in Texas. Brown worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10137. Plaintiff Arthaviea Brown is an individual residing in Texas. Brown worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10138. Plaintiff Travon Brown is an individual residing in Texas. Brown worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to



                                              2677
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2678 of 3128




receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10139. Plaintiff Curtis Brown is an individual residing in Texas. Brown worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10140. Plaintiff Karl Brown is an individual residing in Texas. Brown worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Brown has been eligible to receive overtime pay under the

FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10141. Plaintiff Jaque Brown is an individual residing in Texas. Brown worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Brown has been eligible to

receive overtime pay under the FLSA because Brown has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10142. Plaintiff Riley Brunson Jr. is an individual residing in Texas. Brunson Jr. worked

as a delivery driver for FedEx in Texas and Arkansas from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Brunson

Jr. has been eligible to receive overtime pay under the FLSA because Brunson Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.



                                              2678
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2679 of 3128




       10143. Plaintiff David Burgess is an individual residing in Texas. Burgess worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Burgess has been eligible to receive overtime pay under the

FLSA because Burgess has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10144. Plaintiff Beverly Burke is an individual residing in Texas. Burke worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Burke has been eligible to

receive overtime pay under the FLSA because Burke has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10145. Plaintiff Mykeshia Burrell is an individual residing in Texas. Burrell worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Burrell has been eligible to

receive overtime pay under the FLSA because Burrell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10146. Plaintiff Joe Bustos is an individual residing in Texas. Bustos worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Bustos has been eligible to

receive overtime pay under the FLSA because Bustos has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10147. Plaintiff Anthony Calderon is an individual residing in Texas. Calderon worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Calderon has been eligible to receive overtime pay under the



                                               2679
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2680 of 3128




FLSA because Calderon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10148. Plaintiff Javier Calderon is an individual residing in Texas. Calderon worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Calderon has been eligible

to receive overtime pay under the FLSA because Calderon has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10149. Plaintiff Honest Calligan is an individual residing in Texas. Calligan worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Calligan has been eligible

to receive overtime pay under the FLSA because Calligan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10150. Plaintiff Tam Cao is an individual residing in Texas. Cao worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cao has been eligible to

receive overtime pay under the FLSA because Cao has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10151. Plaintiff Hung Cao is an individual residing in Texas. Cao worked as a delivery

driver for FedEx in Texas from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Cao has been eligible to




                                              2680
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2681 of 3128




receive overtime pay under the FLSA because Cao has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10152. Plaintiff Chasen Capehart is an individual residing in Texas. Capehart worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Capehart has been eligible to receive overtime pay under the

FLSA because Capehart has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10153. Plaintiff Robert Carpenter is an individual residing in Texas. Carpenter worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carpenter has been

eligible to receive overtime pay under the FLSA because Carpenter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10154. Plaintiff Brian Carr is an individual residing in Texas. Carr worked as a delivery

driver for FedEx in Texas from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Carr has been eligible to

receive overtime pay under the FLSA because Carr has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10155. Plaintiff Jonathan Carradine is an individual residing in Texas. Carradine worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Carradine has been

eligible to receive overtime pay under the FLSA because Carradine has driven a vehicle




                                              2681
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2682 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10156. Plaintiff Alfonso Carranza is an individual residing in Texas. Carranza worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Carranza has been

eligible to receive overtime pay under the FLSA because Carranza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10157. Plaintiff Rodrigo Carrasco is an individual residing in Texas. Carrasco worked as

a delivery driver for FedEx in Texas from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Carrasco has been

eligible to receive overtime pay under the FLSA because Carrasco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10158. Plaintiff David Carrasco, Sr. is an individual residing in Texas. Carrasco worked

as a delivery driver for FedEx in Texas from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Carrasco has been

eligible to receive overtime pay under the FLSA because Carrasco has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10159. Plaintiff Luis Carrasco is an individual residing in Texas. Carrasco worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Carrasco has been eligible



                                              2682
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2683 of 3128




to receive overtime pay under the FLSA because Carrasco has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10160. Plaintiff Nina Carter is an individual residing in Texas. Carter worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Carter has been eligible to

receive overtime pay under the FLSA because Carter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10161. Plaintiff Najee Carter is an individual residing in Texas. Carter worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Carter has been eligible to

receive overtime pay under the FLSA because Carter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10162. Plaintiff Patrick Carter, Sr. is an individual residing in Texas. Carter worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Carter has been eligible to

receive overtime pay under the FLSA because Carter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10163. Plaintiff Aurtha Carter is an individual residing in Texas. Carter worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Carter has been eligible to

receive overtime pay under the FLSA because Carter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2683
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2684 of 3128




       10164. Plaintiff Xavier Cary is an individual residing in Texas. Cary worked as a delivery

driver for FedEx in Texas from approximately 2011 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Cary has been eligible to

receive overtime pay under the FLSA because Cary has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10165. Plaintiff Edward Newell is an individual residing in Texas. Casmier worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Casmier has been eligible to receive overtime pay under the

FLSA because Casmier has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10166. Plaintiff Francisco Castaneda is an individual residing in Texas. Castaneda

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Castaneda has been eligible to receive overtime pay under the FLSA because Castaneda has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10167. Plaintiff David Castillo is an individual residing in Texas. Castillo worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Castillo has been eligible to

receive overtime pay under the FLSA because Castillo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10168. Plaintiff Raul Castillo is an individual residing in Texas. Castillo worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through



                                               2684
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2685 of 3128




intermediary entities that FedEx calls independent service providers. Castillo has been eligible to

receive overtime pay under the FLSA because Castillo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10169. Plaintiff Anthony Castloo is an individual residing in Texas. Castloo worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Castloo has been eligible to

receive overtime pay under the FLSA because Castloo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10170. Plaintiff Ivan Castro is an individual residing in Texas. Castro worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Castro has been eligible to

receive overtime pay under the FLSA because Castro has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10171. Plaintiff Craig Catapano is an individual residing in Texas. Catapano worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Catapano has been eligible

to receive overtime pay under the FLSA because Catapano has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10172. Plaintiff Layce Cates is an individual residing in Texas. Cates worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Cates has been eligible to receive overtime pay under the




                                               2685
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2686 of 3128




FLSA because Cates has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10173. Plaintiff Raul Cedillo Jr. is an individual residing in Texas. Cedillo Jr. worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cedillo Jr. has been

eligible to receive overtime pay under the FLSA because Cedillo Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10174. Plaintiff Jason Chagoya is an individual residing in Texas. Chagoya worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Chagoya has been eligible

to receive overtime pay under the FLSA because Chagoya has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10175. Plaintiff Lavonda Chambers is an individual residing in Texas. Chambers worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Chambers has been eligible to receive overtime pay

under the FLSA because Chambers has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10176. Plaintiff Robert Chancellor is an individual residing in Texas. Chancellor worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Chancellor has

been eligible to receive overtime pay under the FLSA because Chancellor has driven a vehicle



                                               2686
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2687 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10177. Plaintiff Juan Chavez is an individual residing in Texas. Chavez worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Chavez has been eligible to

receive overtime pay under the FLSA because Chavez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10178. Plaintiff Sara Chavez is an individual residing in Texas. Chavez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Chavez has been eligible to

receive overtime pay under the FLSA because Chavez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10179. Plaintiff John Christner is an individual residing in Texas. Christner worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Christner has been eligible to receive overtime pay under the

FLSA because Christner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10180. Plaintiff Raul Cisneros is an individual residing in Texas. Cisneros worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Cisneros has been eligible

to receive overtime pay under the FLSA because Cisneros has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2687
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2688 of 3128




       10181. Plaintiff Albert Clark is an individual residing in Texas. Clark worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10182. Plaintiff Sheila Clark is an individual residing in Texas. Clark worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10183. Plaintiff Joe Clark is an individual residing in Texas. Clark worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Clark has been eligible to

receive overtime pay under the FLSA because Clark has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10184. Plaintiff Ish Clement is an individual residing in Texas. Clement worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Clement has been eligible to receive overtime pay under the

FLSA because Clement has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10185. Plaintiff Mario Cmet is an individual residing in Texas. Cmet worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Cmet has been eligible to



                                              2688
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2689 of 3128




receive overtime pay under the FLSA because Cmet has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10186. Plaintiff Dennis Cole is an individual residing in Texas. Cole worked as a delivery

driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Cole has been eligible to

receive overtime pay under the FLSA because Cole has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10187. Plaintiff Jeffery Coleman is an individual residing in Texas. Coleman worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Coleman has been eligible to receive overtime pay under the

FLSA because Coleman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10188. Plaintiff David Collier is an individual residing in Texas. Collier worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Collier has been eligible to

receive overtime pay under the FLSA because Collier has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10189. Plaintiff Kenneth Collinsworth is an individual residing in Texas. Collinsworth

worked as a delivery driver for FedEx in Texas from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Collinsworth has been eligible to receive overtime pay under the FLSA because Collinsworth

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.



                                               2689
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2690 of 3128




        10190. Plaintiff Cory Colston is an individual residing in Texas. Colston worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Colston has been eligible to

receive overtime pay under the FLSA because Colston has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10191. Plaintiff Frank Conde Iii is an individual residing in Texas. Conde Iii worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Conde Iii has been eligible

to receive overtime pay under the FLSA because Conde Iii has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10192. Plaintiff Derek Conley is an individual residing in Texas. Conley worked as a

delivery driver for FedEx in Texas from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Conley has been eligible to

receive overtime pay under the FLSA because Conley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10193. Plaintiff Darian Conner is an individual residing in Texas. Conner worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Conner has been eligible to receive overtime pay under the

FLSA because Conner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10194. Plaintiff Jessica Contreras is an individual residing in Texas. Contreras worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed



                                               2690
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2691 of 3128




through intermediary entities that FedEx calls independent service providers. Contreras has been

eligible to receive overtime pay under the FLSA because Contreras has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10195. Plaintiff Linda Cooks is an individual residing in Texas. Cooks worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Cooks has been eligible to

receive overtime pay under the FLSA because Cooks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10196. Plaintiff Holly Copeland is an individual residing in Texas. Copeland worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Copeland has been eligible

to receive overtime pay under the FLSA because Copeland has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10197. Plaintiff Vlad Corneanu is an individual residing in Texas. Corneanu worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Corneanu has been eligible

to receive overtime pay under the FLSA because Corneanu has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10198. Plaintiff Hector Coronado is an individual residing in Texas. Coronado worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed



                                              2691
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2692 of 3128




through intermediary entities that FedEx calls independent service providers. Coronado has been

eligible to receive overtime pay under the FLSA because Coronado has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10199. Plaintiff Miguel Coronado Jr is an individual residing in Texas. Coronado Jr

worked as a delivery driver for FedEx in Texas from approximately 1999 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Coronado Jr has been eligible to receive overtime pay under the FLSA because Coronado Jr has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10200. Plaintiff Jorge Cortes is an individual residing in Texas. Cortes worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Cortes has been eligible to receive overtime pay under the

FLSA because Cortes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10201. Plaintiff Isaias Covarrubias is an individual residing in Texas. Covarrubias

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Covarrubias has been eligible to receive overtime pay under the FLSA because Covarrubias has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10202. Plaintiff Kevin Cox is an individual residing in Texas. Cox worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls



                                              2692
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2693 of 3128




independent service providers. Cox has been eligible to receive overtime pay under the FLSA

because Cox has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10203. Plaintiff Jason Crider is an individual residing in Texas. Crider worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Crider has been eligible to

receive overtime pay under the FLSA because Crider has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10204. Plaintiff Tiffany Croff is an individual residing in Texas. Croff worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Croff has been eligible to

receive overtime pay under the FLSA because Croff has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10205. Plaintiff Leeroy Cruz is an individual residing in Texas. Cruz worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Cruz has been eligible to

receive overtime pay under the FLSA because Cruz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10206. Plaintiff Sean Cunningham is an individual residing in Texas. Cunningham

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Cunningham has been eligible to receive overtime pay under the FLSA because Cunningham has




                                              2693
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2694 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10207. Plaintiff Richard Da Rosa is an individual residing in Texas. Da Rosa worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Da Rosa has been eligible

to receive overtime pay under the FLSA because Da Rosa has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10208. Plaintiff Dondrico Dade is an individual residing in Arkansas. Dade worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Dade has been eligible to

receive overtime pay under the FLSA because Dade has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10209. Plaintiff Sandi Dailey is an individual residing in Texas. Dailey worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dailey has been eligible to

receive overtime pay under the FLSA because Dailey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10210. Plaintiff Christina Dalfrey is an individual residing in Texas. Dalfrey worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dalfrey has been eligible to

receive overtime pay under the FLSA because Dalfrey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2694
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2695 of 3128




       10211. Plaintiff Kisha Dancy is an individual residing in Texas. Dancy worked as a

delivery driver for FedEx in Texas from approximately 2002 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Dancy has been eligible to

receive overtime pay under the FLSA because Dancy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10212. Plaintiff Carlos Daniel is an individual residing in Texas. Daniel worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Daniel has been eligible to

receive overtime pay under the FLSA because Daniel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10213. Plaintiff Tevin Daniels is an individual residing in Texas. Daniels worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Daniels has been eligible to receive overtime pay under the

FLSA because Daniels has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10214. Plaintiff Joseph Daniels is an individual residing in Texas. Daniels worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Daniels has been eligible to

receive overtime pay under the FLSA because Daniels has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10215. Plaintiff Joyneshia Darby is an individual residing in Texas. Darby worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Darby has been eligible to



                                              2695
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2696 of 3128




receive overtime pay under the FLSA because Darby has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10216. Plaintiff Melissa Davidson is an individual residing in Texas. Davidson worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Davidson has been

eligible to receive overtime pay under the FLSA because Davidson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10217. Plaintiff Sammy Davila is an individual residing in Texas. Davila worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Davila has been eligible to

receive overtime pay under the FLSA because Davila has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10218. Plaintiff Leonard Davis is an individual residing in Texas. Davis worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10219. Plaintiff Ericka Davis is an individual residing in Texas. Davis worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2696
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2697 of 3128




       10220. Plaintiff Craig Davis is an individual residing in Texas. Davis worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10221. Plaintiff Latonya Davis is an individual residing in Texas. Davis worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10222. Plaintiff Xavier Davis is an individual residing in Texas. Davis worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Davis has been eligible to

receive overtime pay under the FLSA because Davis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10223. Plaintiff Larnette Davis-Leblanc is an individual residing in Texas. Davis-Leblanc

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Davis-Leblanc has been eligible to receive

overtime pay under the FLSA because Davis-Leblanc has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10224. Plaintiff Shaundrelle Daw is an individual residing in Texas. Daw worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Daw has been eligible to



                                              2697
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2698 of 3128




receive overtime pay under the FLSA because Daw has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10225. Plaintiff Sebastian De Jesus is an individual residing in Texas. De Jesus worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. De Jesus has been

eligible to receive overtime pay under the FLSA because De Jesus has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10226. Plaintiff Candace Connolly is an individual residing in Texas. De Leon worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. De Leon has been

eligible to receive overtime pay under the FLSA because De Leon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10227. Plaintiff Virginia Deanda is an individual residing in Texas. Deanda worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Deanda has been eligible to receive overtime pay under the

FLSA because Deanda has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10228. Plaintiff Kai Debaun is an individual residing in Texas. Debaun worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Debaun has been eligible to




                                              2698
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2699 of 3128




receive overtime pay under the FLSA because Debaun has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10229. Plaintiff Savaughna Deere is an individual residing in Texas. Deere worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Deere has been eligible to

receive overtime pay under the FLSA because Deere has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10230. Plaintiff Emilio Deleon is an individual residing in Texas. Deleon worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Deleon has been eligible to

receive overtime pay under the FLSA because Deleon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10231. Plaintiff Samuel Deleon is an individual residing in Texas. Deleon worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Deleon has been eligible to

receive overtime pay under the FLSA because Deleon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10232. Plaintiff Jeremy Demps is an individual residing in Texas. Demps worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Demps has been eligible to

receive overtime pay under the FLSA because Demps has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2699
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2700 of 3128




       10233. Plaintiff Phillip Demps is an individual residing in Texas. Demps worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Demps has been eligible to

receive overtime pay under the FLSA because Demps has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10234. Plaintiff Bruce Dennis is an individual residing in Texas. Dennis worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Dennis has been eligible to

receive overtime pay under the FLSA because Dennis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10235. Plaintiff Scott Dibble is an individual residing in Texas. Dibble worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Dibble has been eligible to

receive overtime pay under the FLSA because Dibble has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10236. Plaintiff Silvain Domen is an individual residing in Texas. Domen worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Domen has been eligible to

receive overtime pay under the FLSA because Domen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10237. Plaintiff Lewis Dominguez is an individual residing in Texas. Dominguez worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Dominguez has



                                              2700
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2701 of 3128




been eligible to receive overtime pay under the FLSA because Dominguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10238. Plaintiff Nicholas Donnell is an individual residing in Oklahoma. Donnell worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Donnell has been

eligible to receive overtime pay under the FLSA because Donnell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10239. Plaintiff Jordan Doremus is an individual residing in Texas. Doremus worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Doremus has been eligible to receive overtime pay under the

FLSA because Doremus has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10240. Plaintiff Quentin Douglas is an individual residing in Texas. Douglas worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Douglas has been eligible

to receive overtime pay under the FLSA because Douglas has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10241. Plaintiff Jessica Doyel is an individual residing in Texas. Doyel worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Doyel has been eligible to



                                              2701
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2702 of 3128




receive overtime pay under the FLSA because Doyel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10242. Plaintiff Elroy Dozier is an individual residing in Texas. Dozier worked as a

delivery driver for FedEx in Texas from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Dozier has been eligible to

receive overtime pay under the FLSA because Dozier has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10243. Plaintiff Anthony Drumgoole is an individual residing in Texas. Drumgoole

worked as a delivery driver for FedEx in Texas from approximately 2004 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Drumgoole has been eligible to receive overtime pay under the FLSA because Drumgoole has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10244. Plaintiff Sonny Duckworth is an individual residing in Texas. Duckworth worked

as a delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Duckworth has

been eligible to receive overtime pay under the FLSA because Duckworth has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10245. Plaintiff Ashlynne Duckworth is an individual residing in Texas. Duckworth

worked as a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Duckworth has been eligible to receive overtime pay under the FLSA because Duckworth has



                                              2702
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2703 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10246. Plaintiff Larry Dukes is an individual residing in Texas. Dukes worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Dukes has been eligible to

receive overtime pay under the FLSA because Dukes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10247. Plaintiff Robby Duncan is an individual residing in Texas. Duncan worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Duncan has been eligible to

receive overtime pay under the FLSA because Duncan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10248. Plaintiff Desmond Dupree is an individual residing in Texas. Dupree worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Dupree has been eligible to

receive overtime pay under the FLSA because Dupree has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10249. Plaintiff Roman Duran is an individual residing in Texas. Duran worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Duran has been eligible to

receive overtime pay under the FLSA because Duran has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2703
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2704 of 3128




       10250. Plaintiff Angel Earvin is an individual residing in Texas. Earvin worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Earvin has been eligible to

receive overtime pay under the FLSA because Earvin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10251. Plaintiff Adam Edington is an individual residing in Texas. Edington worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Edington has been eligible to receive overtime pay under the

FLSA because Edington has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10252. Plaintiff Rudolfo Elizondo is an individual residing in Texas. Elizondo worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Elizondo has been eligible to receive overtime pay under the

FLSA because Elizondo has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10253. Plaintiff Lynnet Elliott-White is an individual residing in Texas. Elliott-White

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Elliott-

White has been eligible to receive overtime pay under the FLSA because Elliott-White has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10254. Plaintiff Demarcus Emanuel is an individual residing in Texas. Emanuel worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed



                                              2704
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2705 of 3128




through intermediary entities that FedEx calls independent service providers. Emanuel has been

eligible to receive overtime pay under the FLSA because Emanuel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10255. Plaintiff Marvin English is an individual residing in Texas. English worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. English has been eligible to

receive overtime pay under the FLSA because English has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10256. Plaintiff Luis Enriquez is an individual residing in Texas. Enriquez worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Enriquez has been eligible

to receive overtime pay under the FLSA because Enriquez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10257. Plaintiff Jonathan Erling is an individual residing in Texas. Erling worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Erling has been eligible to

receive overtime pay under the FLSA because Erling has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10258. Plaintiff Jonathan Ervin is an individual residing in Texas. Ervin worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ervin has been eligible to



                                               2705
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2706 of 3128




receive overtime pay under the FLSA because Ervin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10259. Plaintiff Joseph Esparza is an individual residing in Texas. Esparza worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Esparza has been eligible to receive overtime pay under the

FLSA because Esparza has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10260. Plaintiff Manuel Espitia is an individual residing in Texas. Espitia worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Espitia has been eligible to receive overtime pay under the

FLSA because Espitia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10261. Plaintiff Darian Eubanks is an individual residing in Texas. Eubanks worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Eubanks has been eligible to receive overtime pay under the

FLSA because Eubanks has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10262. Plaintiff Michael Evans is an individual residing in Texas. Evans worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Evans has been eligible to receive overtime pay under the

FLSA because Evans has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                              2706
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2707 of 3128




       10263. Plaintiff Christopher Faison Jr. is an individual residing in Texas. Faison Jr.

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Faison

Jr. has been eligible to receive overtime pay under the FLSA because Faison Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       10264. Plaintiff Daniel Falcon is an individual residing in Texas. Falcon worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Falcon has been eligible to

receive overtime pay under the FLSA because Falcon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10265. Plaintiff Angel Farias is an individual residing in Texas. Farias worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Farias has been eligible to receive overtime pay under the

FLSA because Farias has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10266. Plaintiff Marvin Faz is an individual residing in Texas. Faz worked as a delivery

driver for FedEx in Texas from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Faz has been eligible to

receive overtime pay under the FLSA because Faz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10267. Plaintiff Robert Fernandez is an individual residing in Texas. Fernandez worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed



                                               2707
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2708 of 3128




through intermediary entities that FedEx calls independent service providers. Fernandez has been

eligible to receive overtime pay under the FLSA because Fernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10268. Plaintiff Marcia Ferrer is an individual residing in Texas. Ferrer worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ferrer has been eligible to

receive overtime pay under the FLSA because Ferrer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10269. Plaintiff Jasmine Fisher is an individual residing in Texas. Fisher worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fisher has been eligible to

receive overtime pay under the FLSA because Fisher has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10270. Plaintiff Shawn Fisher is an individual residing in Oklahoma. Fisher worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Fisher has been eligible to

receive overtime pay under the FLSA because Fisher has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10271. Plaintiff Dimitri Fisher is an individual residing in Texas. Fisher worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Fisher has been eligible to receive overtime pay under the




                                               2708
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2709 of 3128




FLSA because Fisher has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10272. Plaintiff Sharonda Fisher is an individual residing in Texas. Fisher worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Fisher has been eligible to receive overtime pay under the

FLSA because Fisher has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10273. Plaintiff Michael Fitch is an individual residing in Alabama. Fitch worked as a

delivery driver for FedEx in Texas from approximately 1995 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fitch has been eligible to

receive overtime pay under the FLSA because Fitch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10274. Plaintiff John Fleming is an individual residing in Texas. Fleming worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fleming has been eligible

to receive overtime pay under the FLSA because Fleming has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10275. Plaintiff Rafael Flores is an individual residing in Texas. Flores worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Flores has been eligible to receive overtime pay under the

FLSA because Flores has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                               2709
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2710 of 3128




       10276. Plaintiff Juan Flores is an individual residing in Texas. Flores worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Flores has been eligible to

receive overtime pay under the FLSA because Flores has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10277. Plaintiff Justin Flores is an individual residing in Texas. Flores worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Flores has been eligible to

receive overtime pay under the FLSA because Flores has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10278. Plaintiff Joe Flores is an individual residing in Texas. Flores worked as a delivery

driver for FedEx in Texas from approximately 1993 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Flores has been eligible to

receive overtime pay under the FLSA because Flores has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10279. Plaintiff Ruben Flores is an individual residing in Texas. Flores worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Flores has been eligible to

receive overtime pay under the FLSA because Flores has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10280. Plaintiff Ricky Florez is an individual residing in Texas. Florez worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Florez has been eligible to



                                               2710
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2711 of 3128




receive overtime pay under the FLSA because Florez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10281. Plaintiff Jamal Fofanah is an individual residing in Texas. Fofanah worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Fofanah has been eligible to

receive overtime pay under the FLSA because Fofanah has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10282. Plaintiff Anthony Fontenot is an individual residing in Louisiana. Fontenot

worked as a delivery driver for FedEx in Texas and Louisiana from approximately 2015 to 2019

but was employed through intermediary entities that FedEx calls independent service providers.

Fontenot has been eligible to receive overtime pay under the FLSA because Fontenot has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       10283. Plaintiff Kevon Fore is an individual residing in Texas. Fore worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Fore has been eligible to

receive overtime pay under the FLSA because Fore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10284. Plaintiff Tynisha Forrest is an individual residing in Nebraska. Forrest worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Forrest has been

eligible to receive overtime pay under the FLSA because Forrest has driven a vehicle weighing




                                              2711
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2712 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10285. Plaintiff Brandon Forster is an individual residing in Texas. Forster worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Forster has been eligible to receive overtime pay under the

FLSA because Forster has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10286. Plaintiff Amanda Fortin-Eisemann is an individual residing in Pennsylvania.

Fortin-Eisemann worked as a delivery driver for FedEx in Texas but was employed through

intermediary entities that FedEx calls independent service providers. Fortin-Eisemann has been

eligible to receive overtime pay under the FLSA because Fortin-Eisemann has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10287. Plaintiff Tina Foster is an individual residing in Texas. Foster worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Foster has been eligible to

receive overtime pay under the FLSA because Foster has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10288. Plaintiff Preston Frakes is an individual residing in Texas. Frakes worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Frakes has been eligible to

receive overtime pay under the FLSA because Frakes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2712
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2713 of 3128




       10289. Plaintiff Michael Francis is an individual residing in Texas. Francis worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Francis has been eligible to receive overtime pay under the

FLSA because Francis has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10290. Plaintiff Derek Francis Jr is an individual residing in Texas. Francis Jr worked as

a delivery driver for FedEx in Texas from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Francis Jr has been

eligible to receive overtime pay under the FLSA because Francis Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10291. Plaintiff Kamille Francisco is an individual residing in Texas. Francisco worked

as a delivery driver for FedEx in Texas from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Francisco has been

eligible to receive overtime pay under the FLSA because Francisco has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10292. Plaintiff Larry Friday is an individual residing in Texas. Friday worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Friday has been eligible to

receive overtime pay under the FLSA because Friday has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2713
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2714 of 3128




       10293. Plaintiff Marcial Fuentes is an individual residing in Texas. Fuentes worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Fuentes has been eligible to

receive overtime pay under the FLSA because Fuentes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10294. Plaintiff Oscar Fuentes is an individual residing in Texas. Fuentes worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Fuentes has been eligible to

receive overtime pay under the FLSA because Fuentes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10295. Plaintiff Irineo Fuentes is an individual residing in Texas. Fuentes worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Fuentes has been eligible to

receive overtime pay under the FLSA because Fuentes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10296. Plaintiff Vincent Gabriel is an individual residing in Texas. Gabriel worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gabriel has been eligible to

receive overtime pay under the FLSA because Gabriel has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10297. Plaintiff Germarlin Gaines is an individual residing in Texas. Gaines worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gaines has been eligible to



                                              2714
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2715 of 3128




receive overtime pay under the FLSA because Gaines has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10298. Plaintiff Orvin Ganesh is an individual residing in Texas. Ganesh worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Ganesh has been eligible to

receive overtime pay under the FLSA because Ganesh has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10299. Plaintiff Javier Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2003 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10300. Plaintiff Santana Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Garcia has been eligible to receive overtime pay under the

FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10301. Plaintiff Alfonso Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2715
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2716 of 3128




       10302. Plaintiff Raul Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Garcia has been eligible to receive overtime pay under the

FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10303. Plaintiff David Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10304. Plaintiff Jacob Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10305. Plaintiff Marty Garcia is an individual residing in New Mexico. Garcia worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Garcia has been eligible to receive overtime pay under the

FLSA because Garcia has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10306. Plaintiff Hipolito Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to



                                              2716
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2717 of 3128




receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10307. Plaintiff Efrain Garcia is an individual residing in Nevada. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10308. Plaintiff Richard Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10309. Plaintiff Jerry Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10310. Plaintiff Jason Garcia is an individual residing in Texas. Garcia worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Garcia has been eligible to

receive overtime pay under the FLSA because Garcia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2717
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2718 of 3128




        10311. Plaintiff Rommel Garcia-Arroliga is an individual residing in Texas. Garcia-

Arroliga worked as a delivery driver for FedEx in Texas but was employed through intermediary

entities that FedEx calls independent service providers. Garcia-Arroliga has been eligible to

receive overtime pay under the FLSA because Garcia-Arroliga has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10312. Plaintiff Raul Garcia-Ogando is an individual residing in Texas. Garcia-Ogando

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Garcia-Ogando has been eligible to receive

overtime pay under the FLSA because Garcia-Ogando has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10313. Plaintiff Oscar Garza is an individual residing in Texas. Garza worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Garza has been eligible to receive overtime pay under the

FLSA because Garza has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10314. Plaintiff Valarie Garza is an individual residing in Texas. Garza worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Garza has been eligible to

receive overtime pay under the FLSA because Garza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10315. Plaintiff James Garza is an individual residing in Texas. Garza worked as a

delivery driver for FedEx in Texas from approximately 1998 to 2020 but was employed through



                                              2718
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2719 of 3128




intermediary entities that FedEx calls independent service providers. Garza has been eligible to

receive overtime pay under the FLSA because Garza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10316. Plaintiff Lisa Gegner is an individual residing in Texas. Gegner worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Gegner has been eligible to receive overtime pay under the

FLSA because Gegner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10317. Plaintiff Gage Gernentz is an individual residing in Texas. Gernentz worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Gernentz has been eligible

to receive overtime pay under the FLSA because Gernentz has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10318. Plaintiff Garrison Gershon is an individual residing in Texas. Gershon worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Gershon has been eligible to receive overtime pay under the

FLSA because Gershon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10319. Plaintiff Timothy Gibson is an individual residing in Illinois. Gibson worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gibson has been eligible to




                                              2719
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2720 of 3128




receive overtime pay under the FLSA because Gibson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10320. Plaintiff Ausby Gilbert is an individual residing in Texas. Gilbert worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Gilbert has been eligible to

receive overtime pay under the FLSA because Gilbert has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10321. Plaintiff Anthony Gilbert is an individual residing in Texas. Gilbert worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gilbert has been eligible to

receive overtime pay under the FLSA because Gilbert has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10322. Plaintiff Robert Giles is an individual residing in Texas. Giles worked as a

delivery driver for FedEx in Texas from approximately 2005 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Giles has been eligible to

receive overtime pay under the FLSA because Giles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10323. Plaintiff Jalen Gilford is an individual residing in Texas. Gilford worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Gilford has been eligible to

receive overtime pay under the FLSA because Gilford has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2720
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2721 of 3128




        10324. Plaintiff Tiffany Gilmore is an individual residing in Texas. Gilmore worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Gilmore has been eligible

to receive overtime pay under the FLSA because Gilmore has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10325. Plaintiff Ashley Gilmore is an individual residing in Texas. Gilmore worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Gilmore has been eligible

to receive overtime pay under the FLSA because Gilmore has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10326. Plaintiff Yarann Glenn is an individual residing in Texas. Glenn worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Glenn has been eligible to

receive overtime pay under the FLSA because Glenn has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10327. Plaintiff Anthony Godfrey is an individual residing in Texas. Godfrey worked as

a delivery driver for FedEx in Texas from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Godfrey has been

eligible to receive overtime pay under the FLSA because Godfrey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2721
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2722 of 3128




        10328. Plaintiff Joe-Anthony Godina is an individual residing in Texas. Godina worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Godina has been

eligible to receive overtime pay under the FLSA because Godina has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10329. Plaintiff Chadwick Godine is an individual residing in Texas. Godine worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Godine has been eligible to receive overtime pay under the

FLSA because Godine has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10330. Plaintiff Ashley Goffney is an individual residing in Texas. Goffney worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Goffney has been eligible

to receive overtime pay under the FLSA because Goffney has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10331. Plaintiff Paula Goldsby is an individual residing in Texas. Goldsby worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Goldsby has been eligible

to receive overtime pay under the FLSA because Goldsby has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2722
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2723 of 3128




        10332. Plaintiff Guadalupe Gomez is an individual residing in Texas. Gomez worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Gomez has been eligible to

receive overtime pay under the FLSA because Gomez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10333. Plaintiff Juan Gonzales is an individual residing in Texas. Gonzales worked as a

delivery driver for FedEx in Texas from approximately 2003 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Gonzales has been eligible

to receive overtime pay under the FLSA because Gonzales has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10334. Plaintiff Marcelina Gonzalez is an individual residing in Texas. Gonzalez worked

as a delivery driver for FedEx in Texas from approximately 2008 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10335. Plaintiff Shareefah Gonzalez is an individual residing in Texas. Gonzalez worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Gonzalez has been eligible to receive overtime pay

under the FLSA because Gonzalez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.




                                              2723
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2724 of 3128




        10336. Plaintiff Damian Gonzalez is an individual residing in Texas. Gonzalez worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10337. Plaintiff Gloria Gonzalez is an individual residing in Texas. Gonzalez worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Gonzalez has been eligible

to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10338. Plaintiff Jose Gonzalez is an individual residing in Texas. Gonzalez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gonzalez has been eligible

to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10339. Plaintiff Justin Gonzalez is an individual residing in Texas. Gonzalez worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Gonzalez has been eligible

to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less




                                              2724
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2725 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10340. Plaintiff Ramon Gonzalez is an individual residing in Texas. Gonzalez worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gonzalez has been

eligible to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10341. Plaintiff Mario Gonzalez is an individual residing in Texas. Gonzalez worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Gonzalez has been eligible

to receive overtime pay under the FLSA because Gonzalez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10342. Plaintiff Daniel Gonzalez-Lopez is an individual residing in Texas. Gonzalez-

Lopez worked as a delivery driver for FedEx in Texas from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Gonzalez-Lopez has been eligible to receive overtime pay under the FLSA because Gonzalez-

Lopez has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        10343. Plaintiff Dorothy Goodjoint is an individual residing in Texas. Goodjoint worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Goodjoint has been eligible to receive overtime pay



                                              2725
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2726 of 3128




under the FLSA because Goodjoint has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       10344. Plaintiff Dorothy Goodjoint is an individual residing in Texas. Goodjoint worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Goodjoint has been

eligible to receive overtime pay under the FLSA because Goodjoint has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10345. Plaintiff Jamarcus Green is an individual residing in Texas. Green worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Green has been eligible to

receive overtime pay under the FLSA because Green has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10346. Plaintiff Anthony Green is an individual residing in Texas. Green worked as a

delivery driver for FedEx in Texas from approximately 2004 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Green has been eligible to

receive overtime pay under the FLSA because Green has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10347. Plaintiff Willia-Mae Green-Jones is an individual residing in Texas. Green-Jones

worked as a delivery driver for FedEx in Texas from approximately 2014 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Green-

Jones has been eligible to receive overtime pay under the FLSA because Green-Jones has driven




                                              2726
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2727 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        10348. Plaintiff Damon Greer is an individual residing in Texas. Greer worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Greer has been eligible to

receive overtime pay under the FLSA because Greer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10349. Plaintiff Richard Grissom is an individual residing in Texas. Grissom worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Grissom has been eligible

to receive overtime pay under the FLSA because Grissom has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10350. Plaintiff Richard Gruwell is an individual residing in Texas. Gruwell worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Gruwell has been eligible to

receive overtime pay under the FLSA because Gruwell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10351. Plaintiff Frances Guerra is an individual residing in Texas. Guerra worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Guerra has been eligible to

receive overtime pay under the FLSA because Guerra has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2727
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2728 of 3128




       10352. Plaintiff Thomas Guerra is an individual residing in Texas. Guerra worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Guerra has been eligible to receive overtime pay under the

FLSA because Guerra has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10353. Plaintiff Gabriel Guerrero is an individual residing in Texas. Guerrero worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Guerrero has been eligible to receive overtime pay under the

FLSA because Guerrero has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10354. Plaintiff Rodriguez Guillermo is an individual residing in Texas. Guillermo

worked as a delivery driver for FedEx in Texas from approximately 2008 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Guillermo has been eligible to receive overtime pay under the FLSA because Guillermo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10355. Plaintiff Matthew Gurule is an individual residing in Texas. Gurule worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Gurule has been eligible to

receive overtime pay under the FLSA because Gurule has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10356. Plaintiff Luis Gutierrez is an individual residing in Texas. Gutierrez worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2020 but was employed through



                                              2728
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2729 of 3128




intermediary entities that FedEx calls independent service providers. Gutierrez has been eligible

to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10357. Plaintiff Brandon Gutierrez is an individual residing in Texas. Gutierrez worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Gutierrez has been eligible to receive overtime pay

under the FLSA because Gutierrez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10358. Plaintiff Juan Gutierrez is an individual residing in Texas. Gutierrez worked as a

delivery driver for FedEx in Texas from approximately 1900 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Gutierrez has been eligible

to receive overtime pay under the FLSA because Gutierrez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10359. Plaintiff Freddy Guzman is an individual residing in Texas. Guzman worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Guzman has been eligible

to receive overtime pay under the FLSA because Guzman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10360. Plaintiff Kimberley Guzman-Garza is an individual residing in Texas. Guzman-

Garza worked as a delivery driver for FedEx in Texas from approximately 2009 to 2017 but was



                                               2729
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2730 of 3128




employed through intermediary entities that FedEx calls independent service providers. Guzman-

Garza has been eligible to receive overtime pay under the FLSA because Guzman-Garza has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10361. Plaintiff Derus Haggerty is an individual residing in Texas. Haggerty worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Haggerty has been eligible

to receive overtime pay under the FLSA because Haggerty has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10362. Plaintiff Derrick Hailey is an individual residing in Texas. Hailey worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hailey has been eligible to

receive overtime pay under the FLSA because Hailey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10363. Plaintiff Anthony Hall is an individual residing in Texas. Hall worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10364. Plaintiff Gerald Hall is an individual residing in Texas. Hall worked as a delivery

driver for FedEx in Texas from approximately 2005 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to



                                               2730
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2731 of 3128




receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10365. Plaintiff Corree Hall is an individual residing in Texas. Hall worked as a delivery

driver for FedEx in Texas from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hall has been eligible to

receive overtime pay under the FLSA because Hall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10366. Plaintiff Effie Hallman is an individual residing in Texas. Hallman worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Hallman has been eligible to receive overtime pay under the

FLSA because Hallman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10367. Plaintiff Spurgeon Ham is an individual residing in Texas. Ham worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Ham has been eligible to receive overtime pay under the

FLSA because Ham has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10368. Plaintiff Joe Hamilton is an individual residing in Texas. Hamilton worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hamilton has been eligible

to receive overtime pay under the FLSA because Hamilton has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2731
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2732 of 3128




        10369. Plaintiff David Hamilton is an individual residing in Colorado. Hamilton worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hamilton has been

eligible to receive overtime pay under the FLSA because Hamilton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10370. Plaintiff Marlin Hammons is an individual residing in Texas. Hammons worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Hammons has been eligible to receive overtime pay

under the FLSA because Hammons has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10371. Plaintiff Clinton Hanby is an individual residing in Texas. Hanby worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Hanby has been eligible to receive overtime pay under the

FLSA because Hanby has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10372. Plaintiff Willieb Hardeman is an individual residing in Texas. Hardeman worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hardeman has been

eligible to receive overtime pay under the FLSA because Hardeman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2732
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2733 of 3128




        10373. Plaintiff Danielle Hardeman is an individual residing in Texas. Hardeman worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hardeman has been

eligible to receive overtime pay under the FLSA because Hardeman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10374. Plaintiff Maurice Harper is an individual residing in Oklahoma. Harper worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Harper has been

eligible to receive overtime pay under the FLSA because Harper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10375. Plaintiff Adrien Harris is an individual residing in Texas. Harris worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10376. Plaintiff Desidre Harris is an individual residing in Texas. Harris worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2733
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2734 of 3128




        10377. Plaintiff Steven Harris is an individual residing in Texas. Harris worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Harris has been eligible to receive overtime pay under the

FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10378. Plaintiff Bobby Harris is an individual residing in Texas. Harris worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Harris has been eligible to

receive overtime pay under the FLSA because Harris has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10379. Plaintiff Walter Harrison is an individual residing in Texas. Harrison worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Harrison has been eligible

to receive overtime pay under the FLSA because Harrison has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10380. Plaintiff James Harvey is an individual residing in Texas. Harvey worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Harvey has been eligible to

receive overtime pay under the FLSA because Harvey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10381. Plaintiff Ahmed Hassan is an individual residing in Texas. Hassan worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through



                                               2734
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2735 of 3128




intermediary entities that FedEx calls independent service providers. Hassan has been eligible to

receive overtime pay under the FLSA because Hassan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10382. Plaintiff Lorie Hayes is an individual residing in Texas. Hayes worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hayes has been eligible to

receive overtime pay under the FLSA because Hayes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10383. Plaintiff Robert Hayes is an individual residing in Texas. Hayes worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Hayes has been eligible to

receive overtime pay under the FLSA because Hayes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10384. Plaintiff Anthony Hayes is an individual residing in Texas. Hayes worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Hayes has been eligible to receive overtime pay under the

FLSA because Hayes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10385. Plaintiff Damon Hayes is an individual residing in Texas. Hayes worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hayes has been eligible to

receive overtime pay under the FLSA because Hayes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2735
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2736 of 3128




        10386. Plaintiff Tammie Haynes is an individual residing in Mississippi. Haynes worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Haynes has been

eligible to receive overtime pay under the FLSA because Haynes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10387. Plaintiff Thaddeus Heade is an individual residing in Texas. Heade worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Heade has been eligible to

receive overtime pay under the FLSA because Heade has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10388. Plaintiff Tywanna Heard is an individual residing in Texas. Heard worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Heard has been eligible to

receive overtime pay under the FLSA because Heard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10389. Plaintiff Sandon Helm is an individual residing in Texas. Helm worked as a

delivery driver for FedEx in Texas and Colorado from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Helm

has been eligible to receive overtime pay under the FLSA because Helm has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2736
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2737 of 3128




        10390. Plaintiff Derrick Henderson is an individual residing in Texas. Henderson worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Henderson has

been eligible to receive overtime pay under the FLSA because Henderson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10391. Plaintiff L Henry, Jr. is an individual residing in Texas. Henry, Jr. worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Henry, Jr. has been eligible

to receive overtime pay under the FLSA because Henry, Jr. has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10392. Plaintiff Robert Herer is an individual residing in New Jersey. Herer worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Herer has been eligible to receive overtime pay under the

FLSA because Herer has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10393. Plaintiff Eliseo Hernandez is an individual residing in Texas. Hernandez worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hernandez has

been eligible to receive overtime pay under the FLSA because Hernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               2737
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2738 of 3128




       10394. Plaintiff Simon Hernandez is an individual residing in Texas. Hernandez worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hernandez has

been eligible to receive overtime pay under the FLSA because Hernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10395. Plaintiff Buddy Hernandez is an individual residing in Texas. Hernandez worked

as a delivery driver for FedEx in Texas from approximately 2011 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hernandez has

been eligible to receive overtime pay under the FLSA because Hernandez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10396. Plaintiff Eduardo Herrera is an individual residing in Texas. Herrera worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Herrera has been eligible to

receive overtime pay under the FLSA because Herrera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10397. Plaintiff George Herrera is an individual residing in Texas. Herrera worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Herrera has been eligible to

receive overtime pay under the FLSA because Herrera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2738
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2739 of 3128




       10398. Plaintiff Matthew Herrera is an individual residing in Texas. Herrera worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Herrera has been eligible to

receive overtime pay under the FLSA because Herrera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10399. Plaintiff George Herrers is an individual residing in Texas. Herrers worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Herrers has been eligible to

receive overtime pay under the FLSA because Herrers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10400. Plaintiff Jordan Hess is an individual residing in Texas. Hess worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Hess has been eligible to receive overtime pay under the FLSA

because Hess has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10401. Plaintiff Shynitra Hicks is an individual residing in Texas. Hicks worked as a

delivery driver for FedEx in Texas from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hicks has been eligible to

receive overtime pay under the FLSA because Hicks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10402. Plaintiff Felton Hicks is an individual residing in Texas. Hicks worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hicks has been eligible to



                                              2739
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2740 of 3128




receive overtime pay under the FLSA because Hicks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10403. Plaintiff Stephen Hicks is an individual residing in Texas. Hicks worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hicks has been eligible to

receive overtime pay under the FLSA because Hicks has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10404. Plaintiff Kimbley Hill is an individual residing in Texas. Hill worked as a delivery

driver for FedEx in Texas from approximately 2007 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10405. Plaintiff Emma Hill is an individual residing in Texas. Hill worked as a delivery

driver for FedEx in Texas from approximately 2011 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hill has been eligible to

receive overtime pay under the FLSA because Hill has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10406. Plaintiff David Hilliard is an individual residing in Texas. Hilliard worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hilliard has been eligible to

receive overtime pay under the FLSA because Hilliard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2740
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2741 of 3128




       10407. Plaintiff Anthony Hines is an individual residing in Texas. Hines worked as a

delivery driver for FedEx in Texas from approximately 1900 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Hines has been eligible to

receive overtime pay under the FLSA because Hines has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10408. Plaintiff Brandon Hodges is an individual residing in Texas. Hodges worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hodges has been eligible to

receive overtime pay under the FLSA because Hodges has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10409. Plaintiff Kenneth Holden is an individual residing in Texas. Holden worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Holden has been eligible to

receive overtime pay under the FLSA because Holden has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10410. Plaintiff John Holguin is an individual residing in Texas. Holguin worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Holguin has been eligible to

receive overtime pay under the FLSA because Holguin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10411. Plaintiff Ryan Hollerman is an individual residing in Louisiana. Hollerman

worked as a delivery driver for FedEx in Texas from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2741
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2742 of 3128




Hollerman has been eligible to receive overtime pay under the FLSA because Hollerman has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10412. Plaintiff Charles Hollie is an individual residing in Texas. Hollie worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Hollie has been eligible to

receive overtime pay under the FLSA because Hollie has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10413. Plaintiff Calvin Holmes is an individual residing in Texas. Holmes worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Holmes has been eligible to

receive overtime pay under the FLSA because Holmes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10414. Plaintiff Darrin Home is an individual residing in Texas. Home worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Home has been eligible to

receive overtime pay under the FLSA because Home has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10415. Plaintiff Steven Howard is an individual residing in Texas. Howard worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Howard has been eligible to

receive overtime pay under the FLSA because Howard has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2742
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2743 of 3128




        10416. Plaintiff Tom Howland is an individual residing in Texas. Howland worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Howland has been eligible to receive overtime pay under the

FLSA because Howland has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10417. Plaintiff Tevin Hubbard is an individual residing in Texas. Hubbard worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Hubbard has been eligible

to receive overtime pay under the FLSA because Hubbard has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10418. Plaintiff Donald Hubbard is an individual residing in Texas. Hubbard worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Hubbard has been eligible

to receive overtime pay under the FLSA because Hubbard has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10419. Plaintiff Christopher Hudek is an individual residing in Texas. Hudek worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Hudek has been eligible to receive overtime pay under the

FLSA because Hudek has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              2743
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2744 of 3128




       10420. Plaintiff Lacy Hudson is an individual residing in Texas. Hudson worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hudson has been eligible to

receive overtime pay under the FLSA because Hudson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10421. Plaintiff Corey Hughes is an individual residing in Texas. Hughes worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Hughes has been eligible to

receive overtime pay under the FLSA because Hughes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10422. Plaintiff Heather Hunt is an individual residing in Texas. Hunt worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hunt has been eligible to

receive overtime pay under the FLSA because Hunt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10423. Plaintiff Delphine Hunt is an individual residing in Texas. Hunt worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Hunt has been eligible to

receive overtime pay under the FLSA because Hunt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10424. Plaintiff Rashad Hurd is an individual residing in Texas. Hurd worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hurd has been eligible to



                                              2744
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2745 of 3128




receive overtime pay under the FLSA because Hurd has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10425. Plaintiff Syed Hussain is an individual residing in Texas. Hussain worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hussain has been eligible to

receive overtime pay under the FLSA because Hussain has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10426. Plaintiff Aleksandar Ilic is an individual residing in Texas. Ilic worked as a

delivery driver for FedEx in Texas from approximately 2006 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ilic has been eligible to

receive overtime pay under the FLSA because Ilic has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10427. Plaintiff Warren Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas from approximately 2006 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10428. Plaintiff Damain Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2745
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2746 of 3128




       10429. Plaintiff Gregory Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10430. Plaintiff Johnny Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10431. Plaintiff Candice Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10432. Plaintiff Eric Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jackson has been eligible to

receive overtime pay under the FLSA because Jackson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10433. Plaintiff Jerome Jackson is an individual residing in Texas. Jackson worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Jackson has been eligible to receive overtime pay under the



                                              2746
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2747 of 3128




FLSA because Jackson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10434. Plaintiff Wanessa Jackson-Banks is an individual residing in Texas. Jackson-

Banks worked as a delivery driver for FedEx in Texas from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Jackson-

Banks has been eligible to receive overtime pay under the FLSA because Jackson-Banks has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10435. Plaintiff Mary Jeffries is an individual residing in Texas. Jeffries worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jeffries has been eligible to

receive overtime pay under the FLSA because Jeffries has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10436. Plaintiff Michael Jennings is an individual residing in Texas. Jennings worked as

a delivery driver for FedEx in Texas from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jennings has been

eligible to receive overtime pay under the FLSA because Jennings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10437. Plaintiff Dusty Johansen is an individual residing in Texas. Johansen worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Johansen has been eligible

to receive overtime pay under the FLSA because Johansen has driven a vehicle weighing less



                                               2747
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2748 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10438. Plaintiff Donya Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10439. Plaintiff Gwyndolyn Johnson is an individual residing in Texas. Johnson worked

as a delivery driver for FedEx in Texas from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10440. Plaintiff Jill Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10441. Plaintiff Jarred Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2748
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2749 of 3128




        10442. Plaintiff Reginald Johnson is an individual residing in Texas. Johnson worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10443. Plaintiff Reginald Johnson is an individual residing in Texas. Johnson worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10444. Plaintiff Valencia Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10445. Plaintiff Eldent Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2749
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2750 of 3128




        10446. Plaintiff Chaka Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10447. Plaintiff Randy Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10448. Plaintiff Bobby Johnson is an individual residing in Texas. Johnson worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Johnson has been eligible to

receive overtime pay under the FLSA because Johnson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10449. Plaintiff Tremendous Johnson is an individual residing in Texas. Johnson worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10450. Plaintiff Calvin Johnson Iii is an individual residing in Texas. Johnson Iii worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2022 but was employed



                                               2750
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2751 of 3128




through intermediary entities that FedEx calls independent service providers. Johnson Iii has

been eligible to receive overtime pay under the FLSA because Johnson Iii has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10451. Plaintiff Anthony Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10452. Plaintiff Javon Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10453. Plaintiff Tywon Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Jones has been eligible to receive overtime pay under the

FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10454. Plaintiff Alicia Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to




                                              2751
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2752 of 3128




receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10455. Plaintiff Brandon Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Jones has been eligible to receive overtime pay under the

FLSA because Jones has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10456. Plaintiff Sharon Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10457. Plaintiff Steven Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10458. Plaintiff Antonio Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2752
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2753 of 3128




       10459. Plaintiff Michael Jones is an individual residing in Texas. Jones worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Jones has been eligible to

receive overtime pay under the FLSA because Jones has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10460. Plaintiff Tony Joseph is an individual residing in Texas. Joseph worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Joseph has been eligible to

receive overtime pay under the FLSA because Joseph has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10461. Plaintiff Michael Joyce is an individual residing in Texas. Joyce worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Joyce has been eligible to

receive overtime pay under the FLSA because Joyce has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10462. Plaintiff Michelle Juarez is an individual residing in Texas. Juarez worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Juarez has been eligible to receive overtime pay under the

FLSA because Juarez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10463. Plaintiff Troy Jupiter is an individual residing in Texas. Jupiter worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Jupiter has been eligible to



                                               2753
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2754 of 3128




receive overtime pay under the FLSA because Jupiter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10464. Plaintiff Nikolas Jurado is an individual residing in Texas. Jurado worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Jurado has been eligible to

receive overtime pay under the FLSA because Jurado has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10465. Plaintiff Geoffrey Karcher is an individual residing in Texas. Karcher worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Karcher has been eligible to receive overtime pay under the

FLSA because Karcher has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10466. Plaintiff Quendon Keels is an individual residing in Texas. Keels worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Keels has been eligible to

receive overtime pay under the FLSA because Keels has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10467. Plaintiff Freda Kelley is an individual residing in Texas. Kelley worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Kelley has been eligible to

receive overtime pay under the FLSA because Kelley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2754
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2755 of 3128




       10468. Plaintiff Sharon Kelly is an individual residing in Texas. Kelly worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Kelly has been eligible to receive overtime pay under the

FLSA because Kelly has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10469. Plaintiff Oneal Kennon is an individual residing in Texas. Kennon worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Kennon has been eligible to

receive overtime pay under the FLSA because Kennon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10470. Plaintiff Tibor Keya is an individual residing in Texas. Keya worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Keya has been eligible to receive overtime pay under the FLSA

because Keya has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10471. Plaintiff Keydreprince Keydreprince Luna is an individual residing in Texas.

Keydreprince Luna worked as a delivery driver for FedEx in Texas but was employed through

intermediary entities that FedEx calls independent service providers. Keydreprince Luna has

been eligible to receive overtime pay under the FLSA because Keydreprince Luna has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       10472. Plaintiff Daniel Kim is an individual residing in Texas. Kim worked as a delivery

driver for FedEx in Texas from approximately 2015 to 2019 but was employed through



                                              2755
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2756 of 3128




intermediary entities that FedEx calls independent service providers. Kim has been eligible to

receive overtime pay under the FLSA because Kim has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10473. Plaintiff Ladonna Kimsey is an individual residing in Texas. Kimsey worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Kimsey has been eligible to receive overtime pay under the

FLSA because Kimsey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10474. Plaintiff Rebecca Kiphen-Newsome is an individual residing in Minnesota.

Kiphen-Newsome worked as a delivery driver for FedEx in Texas from approximately 2012 to

2017 but was employed through intermediary entities that FedEx calls independent service

providers. Kiphen-Newsome has been eligible to receive overtime pay under the FLSA because

Kiphen-Newsome has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10475. Plaintiff Shandrea Kirby is an individual residing in Texas. Kirby worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Kirby has been eligible to

receive overtime pay under the FLSA because Kirby has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10476. Plaintiff Kristian Kleinert is an individual residing in Texas. Kleinert worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Kleinert has been eligible to




                                               2756
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2757 of 3128




receive overtime pay under the FLSA because Kleinert has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10477. Plaintiff Harold Knightshed is an individual residing in Texas. Knightshed

worked as a delivery driver for FedEx in Texas from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Knightshed has been eligible to receive overtime pay under the FLSA because Knightshed has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10478. Plaintiff Darryl Kowalski is an individual residing in Texas. Kowalski worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Kowalski has been eligible to receive overtime pay under

the FLSA because Kowalski has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10479. Plaintiff Kary Krafve is an individual residing in Texas. Krafve worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Krafve has been eligible to

receive overtime pay under the FLSA because Krafve has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10480. Plaintiff Oliver Lacosta is an individual residing in California. Lacosta worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Lacosta has been eligible to receive overtime pay under the

FLSA because Lacosta has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              2757
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2758 of 3128




        10481. Plaintiff Karron Lalande is an individual residing in Louisiana. Lalande worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lalande has been

eligible to receive overtime pay under the FLSA because Lalande has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10482. Plaintiff Evan Lange is an individual residing in Arizona. Lange worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Lange has been eligible to

receive overtime pay under the FLSA because Lange has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10483. Plaintiff Jolanca Lasalle is an individual residing in Louisiana. Lasalle worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lasalle has been

eligible to receive overtime pay under the FLSA because Lasalle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10484. Plaintiff Titus Lathen is an individual residing in Texas. Lathen worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Lathen has been eligible to

receive overtime pay under the FLSA because Lathen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2758
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2759 of 3128




        10485. Plaintiff April Lattimore is an individual residing in Texas. Lattimore worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lattimore has been eligible

to receive overtime pay under the FLSA because Lattimore has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10486. Plaintiff Juan Leal is an individual residing in Texas. Leal worked as a delivery

driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Leal has been eligible to

receive overtime pay under the FLSA because Leal has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10487. Plaintiff Alfredo Leblanc is an individual residing in Texas. Leblanc worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Leblanc has been eligible to

receive overtime pay under the FLSA because Leblanc has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10488. Plaintiff Devon Lecompte is an individual residing in Texas. Lecompte worked as

a delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lecompte has been

eligible to receive overtime pay under the FLSA because Lecompte has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               2759
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2760 of 3128




       10489. Plaintiff Christopher Ledesma is an individual residing in Texas. Ledesma

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Ledesma

has been eligible to receive overtime pay under the FLSA because Ledesma has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10490. Plaintiff Lawhalen Lee is an individual residing in Texas. Lee worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Lee has been eligible to

receive overtime pay under the FLSA because Lee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10491. Plaintiff Labridgett Lewis is an individual residing in Texas. Lewis worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10492. Plaintiff Shearon Lewis is an individual residing in Texas. Lewis worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lewis has been eligible to

receive overtime pay under the FLSA because Lewis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10493. Plaintiff Le Lindsey is an individual residing in Texas. Lindsey worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2018 but was employed through



                                              2760
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2761 of 3128




intermediary entities that FedEx calls independent service providers. Lindsey has been eligible to

receive overtime pay under the FLSA because Lindsey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10494. Plaintiff Steve Liomnes is an individual residing in Texas. Liomnes worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Liomnes has been eligible to receive overtime pay under the

FLSA because Liomnes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10495. Plaintiff Bryant Livingston is an individual residing in Texas. Livingston worked

as a delivery driver for FedEx in Texas from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Livingston has

been eligible to receive overtime pay under the FLSA because Livingston has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10496. Plaintiff Nikeyia Locke is an individual residing in Texas. Locke worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Locke has been eligible to receive overtime pay under the

FLSA because Locke has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10497. Plaintiff Edward Loredo is an individual residing in Texas. Loredo worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Loredo has been eligible to




                                              2761
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2762 of 3128




receive overtime pay under the FLSA because Loredo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10498. Plaintiff Emile Lowe is an individual residing in Texas. Lowe worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Lowe has been eligible to

receive overtime pay under the FLSA because Lowe has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10499. Plaintiff Luis Loza is an individual residing in Texas. Loza worked as a delivery

driver for FedEx in Texas from approximately 2021 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Loza has been eligible to

receive overtime pay under the FLSA because Loza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10500. Plaintiff Juan Lozada Gonzalez is an individual residing in Texas. Lozada

Gonzalez worked as a delivery driver for FedEx in Texas from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Lozada Gonzalez has been eligible to receive overtime pay under the FLSA because Lozada

Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       10501. Plaintiff Malachi Luevano is an individual residing in Missouri. Luevano worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Luevano has been

eligible to receive overtime pay under the FLSA because Luevano has driven a vehicle weighing




                                              2762
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2763 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10502. Plaintiff Eric Lugo is an individual residing in Texas. Lugo worked as a delivery

driver for FedEx in Texas from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Lugo has been eligible to

receive overtime pay under the FLSA because Lugo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10503. Plaintiff Clayton Lundell is an individual residing in Texas. Lundell worked as a

delivery driver for FedEx in Texas from approximately 2006 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Lundell has been eligible to

receive overtime pay under the FLSA because Lundell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10504. Plaintiff Dasi Lynch is an individual residing in Texas. Lynch worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Lynch has been eligible to

receive overtime pay under the FLSA because Lynch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10505. Plaintiff Kyle Lynch is an individual residing in Texas. Lynch worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lynch has been eligible to

receive overtime pay under the FLSA because Lynch has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2763
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2764 of 3128




       10506. Plaintiff Kimberly Lynch is an individual residing in Texas. Lynch worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Lynch has been eligible to receive overtime pay under the

FLSA because Lynch has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10507. Plaintiff Donny Lyons is an individual residing in Texas. Lyons worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Lyons has been eligible to

receive overtime pay under the FLSA because Lyons has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10508. Plaintiff Komlan M Agbalevon is an individual residing in Texas. M Agbalevon

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. M Agbalevon has been eligible to receive

overtime pay under the FLSA because M Agbalevon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10509. Plaintiff Allyson Mackey is an individual residing in Texas. Mackey worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Mackey has been eligible to

receive overtime pay under the FLSA because Mackey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10510. Plaintiff Edward Madigan is an individual residing in Texas. Madigan worked as

a delivery driver for FedEx in Texas from approximately 2000 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Madigan has been



                                              2764
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2765 of 3128




eligible to receive overtime pay under the FLSA because Madigan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10511. Plaintiff John Maina is an individual residing in Texas. Maina worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Maina has been eligible to

receive overtime pay under the FLSA because Maina has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10512. Plaintiff Jacob Marin is an individual residing in Texas. Marin worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Marin has been eligible to

receive overtime pay under the FLSA because Marin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10513. Plaintiff Kearsten Marion is an individual residing in Texas. Marion worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Marion has been eligible to

receive overtime pay under the FLSA because Marion has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10514. Plaintiff Ivan Marte is an individual residing in Texas. Marte worked as a delivery

driver for FedEx in Texas and New Jersey from approximately 2012 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Marte has been

eligible to receive overtime pay under the FLSA because Marte has driven a vehicle weighing




                                              2765
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2766 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10515. Plaintiff Shemica Martin is an individual residing in Texas. Martin worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10516. Plaintiff Steven Martin is an individual residing in Texas. Martin worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Martin has been eligible to

receive overtime pay under the FLSA because Martin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10517. Plaintiff Jose Martinez is an individual residing in Texas. Martinez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Martinez has been eligible

to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10518. Plaintiff Derek Martinez is an individual residing in Texas. Martinez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Martinez has been eligible

to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing less




                                              2766
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2767 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10519. Plaintiff Oziel Martinez is an individual residing in Texas. Martinez worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Martinez has been eligible

to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10520. Plaintiff Samuel Martinez is an individual residing in Texas. Martinez worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Martinez has been

eligible to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10521. Plaintiff Francisco Martinez is an individual residing in Texas. Martinez worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Martinez has been eligible to receive overtime pay

under the FLSA because Martinez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10522. Plaintiff Juan Martnez is an individual residing in Texas. Martnez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Martnez has been eligible

to receive overtime pay under the FLSA because Martnez has driven a vehicle weighing less



                                              2767
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2768 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10523. Plaintiff Crystal Mascorro is an individual residing in Texas. Mascorro worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mascorro has been

eligible to receive overtime pay under the FLSA because Mascorro has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10524. Plaintiff Jonathan Mason is an individual residing in Texas. Mason worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Mason has been eligible to

receive overtime pay under the FLSA because Mason has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10525. Plaintiff Robert Mattes is an individual residing in Texas. Mattes worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Mattes has been eligible to

receive overtime pay under the FLSA because Mattes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10526. Plaintiff Jack Maupin Jr is an individual residing in Texas. Maupin Jr worked as

a delivery driver for FedEx in Texas from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Maupin Jr has

been eligible to receive overtime pay under the FLSA because Maupin Jr has driven a vehicle




                                              2768
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2769 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10527. Plaintiff David Maynard is an individual residing in Texas. Maynard worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Maynard has been eligible

to receive overtime pay under the FLSA because Maynard has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10528. Plaintiff Arthur Mayo is an individual residing in Texas. Mayo worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mayo has been eligible to

receive overtime pay under the FLSA because Mayo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10529. Plaintiff Noel Mc Cue is an individual residing in Texas. Mc Cue worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Mc Cue has been eligible to

receive overtime pay under the FLSA because Mc Cue has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10530. Plaintiff Rodney Reyes is an individual residing in Texas. Mcallister worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Mcallister has been eligible

to receive overtime pay under the FLSA because Mcallister has driven a vehicle weighing less




                                              2769
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2770 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10531. Plaintiff Geturemae Mcbride/Nwarisi is an individual residing in Texas.

Mcbride-Nwarisi worked as a delivery driver for FedEx in Texas from approximately 2018 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Mcbride-Nwarisi has been eligible to receive overtime pay under the FLSA because

Mcbride-Nwarisi has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10532. Plaintiff Ethan Mcclung is an individual residing in Texas. Mcclung worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Mcclung has been eligible

to receive overtime pay under the FLSA because Mcclung has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10533. Plaintiff Chavis Mccollister is an individual residing in Texas. Mccollister worked

as a delivery driver for FedEx in Texas from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mccollister has

been eligible to receive overtime pay under the FLSA because Mccollister has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10534. Plaintiff Larry Mccowin is an individual residing in Texas. Mccowin worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Mccowin has been eligible



                                              2770
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2771 of 3128




to receive overtime pay under the FLSA because Mccowin has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10535. Plaintiff Dale Mccraw is an individual residing in Texas. Mccraw worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Mccraw has been eligible to

receive overtime pay under the FLSA because Mccraw has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10536. Plaintiff Charles Mccray is an individual residing in Texas. Mccray worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Mccray has been eligible to receive overtime pay under the

FLSA because Mccray has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10537. Plaintiff Hendric Mcdaniel is an individual residing in Texas. Mcdaniel worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mcdaniel has been

eligible to receive overtime pay under the FLSA because Mcdaniel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10538. Plaintiff Omar Mcdowell is an individual residing in Texas. Mcdowell worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Mcdowell has been

eligible to receive overtime pay under the FLSA because Mcdowell has driven a vehicle



                                              2771
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2772 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10539. Plaintiff Keith Mcfarland is an individual residing in Texas. Mcfarland worked as

a delivery driver for FedEx in Texas from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Mcfarland has been

eligible to receive overtime pay under the FLSA because Mcfarland has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10540. Plaintiff Robert Mcfarland is an individual residing in Texas. Mcfarland worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mcfarland has been

eligible to receive overtime pay under the FLSA because Mcfarland has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10541. Plaintiff Arthur Mcgowen is an individual residing in Texas. Mcgowen worked as

a delivery driver for FedEx in Texas from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mcgowen has been

eligible to receive overtime pay under the FLSA because Mcgowen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10542. Plaintiff Andre Mcmillon is an individual residing in Texas. Mcmillon worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mcmillon has been



                                             2772
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2773 of 3128




eligible to receive overtime pay under the FLSA because Mcmillon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10543. Plaintiff Julie Mcmullen is an individual residing in Texas. Mcmullen worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Mcmullen has been eligible

to receive overtime pay under the FLSA because Mcmullen has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10544. Plaintiff Lance Medina is an individual residing in Texas. Medina worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Medina has been eligible to

receive overtime pay under the FLSA because Medina has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10545. Plaintiff Arquimedes Melendez is an individual residing in Texas. Melendez

worked as a delivery driver for FedEx in Texas from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Melendez has been eligible to receive overtime pay under the FLSA because Melendez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10546. Plaintiff Javier Menchaca is an individual residing in Texas. Menchaca worked as

a delivery driver for FedEx in Texas from approximately 2002 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Menchaca has been



                                              2773
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2774 of 3128




eligible to receive overtime pay under the FLSA because Menchaca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10547. Plaintiff Andrea Mendoza is an individual residing in Texas. Mendoza worked as

a delivery driver for FedEx in Texas from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mendoza has been

eligible to receive overtime pay under the FLSA because Mendoza has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10548. Plaintiff Antonio Menefee is an individual residing in Texas. Menefee worked as

a delivery driver for FedEx in Texas from approximately 2002 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Menefee has been

eligible to receive overtime pay under the FLSA because Menefee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10549. Plaintiff Corderro Menfield is an individual residing in Texas. Menfield worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Menfield has been

eligible to receive overtime pay under the FLSA because Menfield has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10550. Plaintiff Antonio Mercardo is an individual residing in Texas. Mercardo worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed



                                              2774
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2775 of 3128




through intermediary entities that FedEx calls independent service providers. Mercardo has been

eligible to receive overtime pay under the FLSA because Mercardo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10551. Plaintiff Anthony Mesa is an individual residing in Texas. Mesa worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Mesa has been eligible to receive overtime pay under the

FLSA because Mesa has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10552. Plaintiff Adam Meza is an individual residing in Texas. Meza worked as a

delivery driver for FedEx in Texas from approximately 2006 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Meza has been eligible to

receive overtime pay under the FLSA because Meza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10553. Plaintiff Ermont Miles is an individual residing in Texas. Miles worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Miles has been eligible to

receive overtime pay under the FLSA because Miles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10554. Plaintiff Hayli Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to




                                               2775
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2776 of 3128




receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10555. Plaintiff Meagan Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10556. Plaintiff Jeremy Miller is an individual residing in Indiana. Miller worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10557. Plaintiff Allen Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Miller has been eligible to receive overtime pay under the

FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10558. Plaintiff Joshua Miller is an individual residing in Texas. Miller worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Miller has been eligible to

receive overtime pay under the FLSA because Miller has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2776
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2777 of 3128




        10559. Plaintiff Marian Mitchell is an individual residing in Texas. Mitchell worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Mitchell has been eligible

to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10560. Plaintiff Shane Mitchell is an individual residing in Tennessee. Mitchell worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Mitchell has been

eligible to receive overtime pay under the FLSA because Mitchell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10561. Plaintiff Jarrett Mobley is an individual residing in Texas. Mobley worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Mobley has been eligible to

receive overtime pay under the FLSA because Mobley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10562. Plaintiff Daniel Monjaraz is an individual residing in Texas. Monjaraz worked as

a delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Monjaraz has been

eligible to receive overtime pay under the FLSA because Monjaraz has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2777
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2778 of 3128




       10563. Plaintiff Javier Montanez is an individual residing in Texas. Montanez worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Montanez has been eligible to receive overtime pay under

the FLSA because Montanez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10564. Plaintiff Jackson Montilla Altamar is an individual residing in Texas. Montilla

Altamar worked as a delivery driver for FedEx in Texas from approximately 2018 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Montilla Altamar has been eligible to receive overtime pay under the FLSA because Montilla

Altamar has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       10565. Plaintiff Ronald Moore is an individual residing in Texas. Moore worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Moore has been eligible to

receive overtime pay under the FLSA because Moore has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10566. Plaintiff Denise Moore Walton is an individual residing in Texas. Moore Walton

worked as a delivery driver for FedEx in Texas from approximately 2011 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Moore

Walton has been eligible to receive overtime pay under the FLSA because Moore Walton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                              2778
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2779 of 3128




       10567. Plaintiff Romeo Moorej is an individual residing in Texas. Moorej worked as a

delivery driver for FedEx in Texas from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Moorej has been eligible to

receive overtime pay under the FLSA because Moorej has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10568. Plaintiff Reynaldo Mora is an individual residing in Texas. Mora worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mora has been eligible to

receive overtime pay under the FLSA because Mora has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10569. Plaintiff Paula Morales is an individual residing in Texas. Morales worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Morales has been eligible to

receive overtime pay under the FLSA because Morales has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10570. Plaintiff Carlos Morales is an individual residing in Texas. Morales worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Morales has been eligible to

receive overtime pay under the FLSA because Morales has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10571. Plaintiff Remington Hughes is an individual residing in Mississippi. Morales

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Morales



                                              2779
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2780 of 3128




has been eligible to receive overtime pay under the FLSA because Morales has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10572. Plaintiff Hendrik Morales, Sr. is an individual residing in Texas. Morales worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been

eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10573. Plaintiff Troy Morgan is an individual residing in Texas. Morgan worked as a

delivery driver for FedEx in Texas from approximately 2002 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Morgan has been eligible to

receive overtime pay under the FLSA because Morgan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10574. Plaintiff Lakermit Morgan is an individual residing in Texas. Morgan worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Morgan has been eligible to

receive overtime pay under the FLSA because Morgan has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10575. Plaintiff Alec Morman is an individual residing in Texas. Morman worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Morman has been eligible

to receive overtime pay under the FLSA because Morman has driven a vehicle weighing less



                                              2780
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2781 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10576. Plaintiff Raquel Morton is an individual residing in Texas. Morton worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Morton has been eligible to

receive overtime pay under the FLSA because Morton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10577. Plaintiff Haile Moses is an individual residing in Texas. Moses worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Moses has been eligible to

receive overtime pay under the FLSA because Moses has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10578. Plaintiff Edward Mota is an individual residing in Texas. Mota worked as a

delivery driver for FedEx in Texas from approximately 1900 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Mota has been eligible to

receive overtime pay under the FLSA because Mota has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10579. Plaintiff Romell Mouton is an individual residing in Texas. Mouton worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mouton has been eligible to

receive overtime pay under the FLSA because Mouton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2781
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2782 of 3128




       10580. Plaintiff Kevin Muhammad is an individual residing in Texas. Muhammad

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Muhammad has been eligible to receive overtime

pay under the FLSA because Muhammad has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

       10581. Plaintiff Manuel Mukes is an individual residing in Texas. Mukes worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Mukes has been eligible to

receive overtime pay under the FLSA because Mukes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10582. Plaintiff Annette Mumphrey is an individual residing in Texas. Mumphrey

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mumphrey has been eligible to receive overtime pay under the FLSA because Mumphrey has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10583. Plaintiff Adrian Munos is an individual residing in Texas. Munos worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Munos has been eligible to

receive overtime pay under the FLSA because Munos has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10584. Plaintiff Edward Munoz is an individual residing in Texas. Munoz worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2023 but was employed through



                                              2782
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2783 of 3128




intermediary entities that FedEx calls independent service providers. Munoz has been eligible to

receive overtime pay under the FLSA because Munoz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10585. Plaintiff Gerardo Munoz is an individual residing in Missouri. Munoz worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Munoz has been eligible to receive overtime pay under the

FLSA because Munoz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10586. Plaintiff Laquisha Murphy is an individual residing in Texas. Murphy worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Murphy has been eligible to

receive overtime pay under the FLSA because Murphy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10587. Plaintiff Lee Murphy Iii is an individual residing in Texas. Murphy Iii worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Murphy Iii has been eligible to receive overtime pay under

the FLSA because Murphy Iii has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10588. Plaintiff Laurence Murtagh is an individual residing in Texas. Murtagh worked as

a delivery driver for FedEx in Texas from approximately 2007 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Murtagh has been

eligible to receive overtime pay under the FLSA because Murtagh has driven a vehicle weighing




                                              2783
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2784 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10589. Plaintiff Rashad Myers is an individual residing in Texas. Myers worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Myers has been eligible to

receive overtime pay under the FLSA because Myers has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10590. Plaintiff Lalita Myrick is an individual residing in Texas. Myrick worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Myrick has been eligible to

receive overtime pay under the FLSA because Myrick has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10591. Plaintiff Guadalupe Naranjo Iii is an individual residing in Texas. Naranjo Iii

worked as a delivery driver for FedEx in Texas from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Naranjo

Iii has been eligible to receive overtime pay under the FLSA because Naranjo Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        10592. Plaintiff Raquel Navarrete is an individual residing in Texas. Navarrete worked as

a delivery driver for FedEx in Texas from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Navarrete has been

eligible to receive overtime pay under the FLSA because Navarrete has driven a vehicle




                                               2784
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2785 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10593. Plaintiff Brenden Neidhart is an individual residing in Texas. Neidhart worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Neidhart has been

eligible to receive overtime pay under the FLSA because Neidhart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10594. Plaintiff Jamal Newton is an individual residing in Texas. Newton worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Newton has been eligible to

receive overtime pay under the FLSA because Newton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10595. Plaintiff Ruby Nieto is an individual residing in Texas. Nieto worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Nieto has been eligible to

receive overtime pay under the FLSA because Nieto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10596. Plaintiff Dawn Nobles is an individual residing in Texas. Nobles worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Nobles has been eligible to

receive overtime pay under the FLSA because Nobles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2785
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2786 of 3128




       10597. Plaintiff Jana Notley is an individual residing in Louisiana. Notley worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Notley has been eligible to

receive overtime pay under the FLSA because Notley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10598. Plaintiff Victor Nunez is an individual residing in Texas. Nunez worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Nunez has been eligible to

receive overtime pay under the FLSA because Nunez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10599. Plaintiff Nathan Nunn is an individual residing in Texas. Nunn worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Nunn has been eligible to

receive overtime pay under the FLSA because Nunn has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10600. Plaintiff Kevin Odoms is an individual residing in Texas. Odoms worked as a

delivery driver for FedEx in Texas from approximately 1991 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Odoms has been eligible to

receive overtime pay under the FLSA because Odoms has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10601. Plaintiff Ademola Oladeru is an individual residing in Texas. Oladeru worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Oladeru has been eligible to receive overtime pay under the



                                              2786
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2787 of 3128




FLSA because Oladeru has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10602. Plaintiff Franky Olivarez is an individual residing in Texas. Olivarez worked as a

delivery driver for FedEx in Texas from approximately 2002 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Olivarez has been eligible

to receive overtime pay under the FLSA because Olivarez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10603. Plaintiff Carlos Oller Tamayo is an individual residing in Texas. Oller Tamayo

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Oller Tamayo has been eligible to receive

overtime pay under the FLSA because Oller Tamayo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10604. Plaintiff Larry Omdahl is an individual residing in Texas. Omdahl worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Omdahl has been eligible to receive overtime pay under the

FLSA because Omdahl has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10605. Plaintiff Conor Oreilly is an individual residing in Massachusetts. Oreilly worked

as a delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Oreilly has been

eligible to receive overtime pay under the FLSA because Oreilly has driven a vehicle weighing




                                              2787
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2788 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10606. Plaintiff Luis Ortiz is an individual residing in Texas. Ortiz worked as a delivery

driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ortiz has been eligible to

receive overtime pay under the FLSA because Ortiz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10607. Plaintiff Katanya Osborne is an individual residing in Texas. Osborne worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Osborne has been eligible

to receive overtime pay under the FLSA because Osborne has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10608. Plaintiff Kamelia Osborne is an individual residing in Texas. Osborne worked as

a delivery driver for FedEx in Texas from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Osborne has been

eligible to receive overtime pay under the FLSA because Osborne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10609. Plaintiff Adedayo Otokiti is an individual residing in Texas. Otokiti worked as a

delivery driver for FedEx in Texas from approximately 2020 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Otokiti has been eligible to




                                               2788
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2789 of 3128




receive overtime pay under the FLSA because Otokiti has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10610. Plaintiff Arturo Ovalle is an individual residing in Texas. Ovalle worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ovalle has been eligible to

receive overtime pay under the FLSA because Ovalle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10611. Plaintiff Jaclynne Ozuna is an individual residing in Texas. Ozuna worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Ozuna has been eligible to

receive overtime pay under the FLSA because Ozuna has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10612. Plaintiff John Padgett is an individual residing in Oklahoma. Padgett worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Padgett has been eligible to

receive overtime pay under the FLSA because Padgett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10613. Plaintiff Rudy Padilla is an individual residing in Texas. Padilla worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Padilla has been eligible to

receive overtime pay under the FLSA because Padilla has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2789
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2790 of 3128




        10614. Plaintiff Adrian Padilla is an individual residing in Texas. Padilla worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Padilla has been eligible to

receive overtime pay under the FLSA because Padilla has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10615. Plaintiff Laurie Padron is an individual residing in Texas. Padron worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Padron has been eligible to

receive overtime pay under the FLSA because Padron has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10616. Plaintiff Eddy Palmer is an individual residing in Texas. Palmer worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Palmer has been eligible to

receive overtime pay under the FLSA because Palmer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10617. Plaintiff Jason Pantohan is an individual residing in Texas. Pantohan worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pantohan has been eligible

to receive overtime pay under the FLSA because Pantohan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10618. Plaintiff Latresel Patterson / Johnson is an individual residing in Texas. Patterson

/ Johnson worked as a delivery driver for FedEx in Texas from approximately 2015 to 2024 but



                                               2790
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2791 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Patterson / Johnson has been eligible to receive overtime pay under the FLSA because Patterson

/ Johnson has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       10619. Plaintiff Carl Pearson is an individual residing in Texas. Pearson worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Pearson has been eligible to

receive overtime pay under the FLSA because Pearson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10620. Plaintiff Barry Pearson is an individual residing in Texas. Pearson worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Pearson has been eligible to

receive overtime pay under the FLSA because Pearson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10621. Plaintiff Javier Pedroza is an individual residing in Texas. Pedroza worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pedroza has been eligible to

receive overtime pay under the FLSA because Pedroza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10622. Plaintiff Marquis Pellam is an individual residing in Texas. Pellam worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Pellam has been eligible to




                                              2791
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2792 of 3128




receive overtime pay under the FLSA because Pellam has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10623. Plaintiff Norman Pelletier is an individual residing in Arizona. Pelletier worked as

a delivery driver for FedEx in Texas from approximately 2020 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pelletier has been

eligible to receive overtime pay under the FLSA because Pelletier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10624. Plaintiff Tevin Pelzer is an individual residing in Georgia. Pelzer worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Pelzer has been eligible to

receive overtime pay under the FLSA because Pelzer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10625. Plaintiff Hector Pena is an individual residing in Texas. Pena worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pena has been eligible to

receive overtime pay under the FLSA because Pena has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10626. Plaintiff Eduardo Percia is an individual residing in Texas. Percia worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Percia has been eligible to

receive overtime pay under the FLSA because Percia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2792
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2793 of 3128




       10627. Plaintiff Diego Perez is an individual residing in Texas. Perez worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Perez has been eligible to receive overtime pay under the

FLSA because Perez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10628. Plaintiff Joseph Perez is an individual residing in Texas. Perez worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10629. Plaintiff Steven Perez is an individual residing in Texas. Perez worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Perez has been eligible to

receive overtime pay under the FLSA because Perez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10630. Plaintiff Abimelec Perez Kuilan is an individual residing in Texas. Perez Kuilan

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Perez

Kuilan has been eligible to receive overtime pay under the FLSA because Perez Kuilan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10631. Plaintiff Quinton Perkins is an individual residing in Texas. Perkins worked as a

delivery driver for FedEx in Texas from approximately 2002 to 2023 but was employed through



                                              2793
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2794 of 3128




intermediary entities that FedEx calls independent service providers. Perkins has been eligible to

receive overtime pay under the FLSA because Perkins has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10632. Plaintiff Shaunte Perry is an individual residing in Texas. Perry worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Perry has been eligible to

receive overtime pay under the FLSA because Perry has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10633. Plaintiff Dusty Phipps is an individual residing in Texas. Phipps worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Phipps has been eligible to

receive overtime pay under the FLSA because Phipps has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10634. Plaintiff Miguel Piccolo is an individual residing in Texas. Piccolo worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Piccolo has been eligible to

receive overtime pay under the FLSA because Piccolo has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10635. Plaintiff Gerald Pickett is an individual residing in Texas. Pickett worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pickett has been eligible to

receive overtime pay under the FLSA because Pickett has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2794
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2795 of 3128




       10636. Plaintiff Adrian Pierre is an individual residing in Texas. Pierre worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pierre has been eligible to

receive overtime pay under the FLSA because Pierre has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10637. Plaintiff Eugene Pike is an individual residing in Texas. Pike worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Pike has been eligible to receive overtime pay under the FLSA

because Pike has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10638. Plaintiff Warren Poile is an individual residing in Texas. Poile worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Poile has been eligible to receive overtime pay under the

FLSA because Poile has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10639. Plaintiff Giancarlo Pomar is an individual residing in North Carolina. Pomar

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Pomar has been eligible to receive overtime pay

under the FLSA because Pomar has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       10640. Plaintiff David Pool is an individual residing in Texas. Pool worked as a delivery

driver for FedEx in Texas from approximately 2014 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Pool has been eligible to



                                               2795
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2796 of 3128




receive overtime pay under the FLSA because Pool has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10641. Plaintiff Darious Porter is an individual residing in California. Porter worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Porter has been eligible to

receive overtime pay under the FLSA because Porter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10642. Plaintiff Geromey Porter is an individual residing in Texas. Porter worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Porter has been eligible to receive overtime pay under the

FLSA because Porter has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10643. Plaintiff Chris Portwood is an individual residing in Texas. Portwood worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Portwood has been eligible

to receive overtime pay under the FLSA because Portwood has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10644. Plaintiff Shiann Postell is an individual residing in Texas. Postell worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Postell has been eligible to

receive overtime pay under the FLSA because Postell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2796
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2797 of 3128




       10645. Plaintiff David Pouncy is an individual residing in Texas. Pouncy worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Pouncy has been eligible to

receive overtime pay under the FLSA because Pouncy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10646. Plaintiff Christopher Pouncy is an individual residing in Texas. Pouncy worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Pouncy has been eligible to receive overtime pay under the

FLSA because Pouncy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10647. Plaintiff Jonathan Powell is an individual residing in Texas. Powell worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Powell has been eligible to receive overtime pay under the

FLSA because Powell has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10648. Plaintiff Billy Pradia is an individual residing in Texas. Pradia worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Pradia has been eligible to

receive overtime pay under the FLSA because Pradia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10649. Plaintiff Daniel Prado is an individual residing in Texas. Prado worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Prado has been eligible to



                                              2797
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 2798 of 3128




receive overtime pay under the FLSA because Prado has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10650. Plaintiff Eric Prendez is an individual residing in Texas. Prendez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Prendez has been eligible to

receive overtime pay under the FLSA because Prendez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10651. Plaintiff Derek Price is an individual residing in Texas. Price worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Price has been eligible to

receive overtime pay under the FLSA because Price has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10652. Plaintiff Crystal Priestly is an individual residing in Texas. Priestly worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Priestly has been eligible to receive overtime pay under the

FLSA because Priestly has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10653. Plaintiff Timothy Prince is an individual residing in New Jersey. Prince worked as

a delivery driver for FedEx in Texas from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Prince has been

eligible to receive overtime pay under the FLSA because Prince has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                                2798
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2799 of 3128




        10654. Plaintiff Laura Pruitt is an individual residing in Texas. Pruitt worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Pruitt has been eligible to

receive overtime pay under the FLSA because Pruitt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10655. Plaintiff Heather Pues is an individual residing in Texas. Pues worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Pues has been eligible to receive overtime pay under the

FLSA because Pues has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10656. Plaintiff Demarrio Pyatt is an individual residing in California. Pyatt worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Pyatt has been eligible to

receive overtime pay under the FLSA because Pyatt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10657. Plaintiff Abel Quezada is an individual residing in Texas. Quezada worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Quezada has been eligible

to receive overtime pay under the FLSA because Quezada has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10658. Plaintiff Tracy Radley is an individual residing in Texas. Radley worked as a

delivery driver for FedEx in Texas from approximately 2000 to 2024 but was employed through



                                               2799
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2800 of 3128




intermediary entities that FedEx calls independent service providers. Radley has been eligible to

receive overtime pay under the FLSA because Radley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10659. Plaintiff Jacob Ramirez is an individual residing in Texas. Ramirez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ramirez has been eligible

to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10660. Plaintiff Joel Ramirez is an individual residing in Texas. Ramirez worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Ramirez has been eligible to receive overtime pay under the

FLSA because Ramirez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10661. Plaintiff Alexis Ramirez is an individual residing in Texas. Ramirez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Ramirez has been eligible

to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10662. Plaintiff Anderson Ramirez is an individual residing in Texas. Ramirez worked as

a delivery driver for FedEx in Texas from approximately 2013 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Ramirez has been



                                              2800
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2801 of 3128




eligible to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10663. Plaintiff Jordan Ramirez is an individual residing in Texas. Ramirez worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Ramirez has been eligible

to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10664. Plaintiff Jake Ramirez is an individual residing in Texas. Ramirez worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ramirez has been eligible

to receive overtime pay under the FLSA because Ramirez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10665. Plaintiff Bobby Ramon is an individual residing in Texas. Ramon worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Ramon has been eligible to receive overtime pay under the

FLSA because Ramon has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10666. Plaintiff Scott Ramos is an individual residing in Texas. Ramos worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Ramos has been eligible to



                                              2801
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2802 of 3128




receive overtime pay under the FLSA because Ramos has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10667. Plaintiff Carlton Rand is an individual residing in Texas. Rand worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Rand has been eligible to receive overtime pay under the

FLSA because Rand has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10668. Plaintiff Shane Randall is an individual residing in Texas. Randall worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Randall has been eligible to

receive overtime pay under the FLSA because Randall has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10669. Plaintiff Timothy Randle is an individual residing in Texas. Randle worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Randle has been eligible to receive overtime pay under the

FLSA because Randle has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10670. Plaintiff Jon Rangel is an individual residing in Texas. Rangel worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Rangel has been eligible to receive overtime pay under the

FLSA because Rangel has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              2802
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2803 of 3128




       10671. Plaintiff Aaron Ray is an individual residing in Texas. Ray worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Ray has been eligible to receive overtime pay under the FLSA

because Ray has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10672. Plaintiff Stephen Recchia is an individual residing in Texas. Recchia worked as a

delivery driver for FedEx in Texas from approximately 2004 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Recchia has been eligible to

receive overtime pay under the FLSA because Recchia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10673. Plaintiff Russell Reed is an individual residing in Texas. Reed worked as a

delivery driver for FedEx in Texas from approximately 2011 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Reed has been eligible to

receive overtime pay under the FLSA because Reed has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10674. Plaintiff Kadarius Reeder is an individual residing in Texas. Reeder worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Reeder has been eligible to receive overtime pay under the

FLSA because Reeder has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10675. Plaintiff Eltonte Reese is an individual residing in Texas. Reese worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Reese has been eligible to



                                              2803
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2804 of 3128




receive overtime pay under the FLSA because Reese has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10676. Plaintiff Jorge Regalado is an individual residing in Texas. Regalado worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Regalado has been eligible to receive overtime pay under the

FLSA because Regalado has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10677. Plaintiff Thierry Rene is an individual residing in Texas. Rene worked as a

delivery driver for FedEx in Texas from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Rene has been eligible to

receive overtime pay under the FLSA because Rene has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10678. Plaintiff Pete Reyes is an individual residing in Texas. Reyes worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Reyes has been eligible to receive overtime pay under the FLSA

because Reyes has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10679. Plaintiff Jason Reyna is an individual residing in Texas. Reyna worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Reyna has been eligible to

receive overtime pay under the FLSA because Reyna has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2804
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2805 of 3128




        10680. Plaintiff Latisha Bellvin is an individual residing in Texas. Rhinehart worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Rhinehart has been eligible

to receive overtime pay under the FLSA because Rhinehart has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10681. Plaintiff Eddie Rhone is an individual residing in Texas. Rhone worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Rhone has been eligible to

receive overtime pay under the FLSA because Rhone has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10682. Plaintiff Giovanni Ricciardi is an individual residing in Texas. Ricciardi worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ricciardi has been

eligible to receive overtime pay under the FLSA because Ricciardi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10683. Plaintiff Amy Rich is an individual residing in Texas. Rich worked as a delivery

driver for FedEx in Texas from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Rich has been eligible to

receive overtime pay under the FLSA because Rich has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2805
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2806 of 3128




       10684. Plaintiff Troy Richardson is an individual residing in Texas. Richardson worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Richardson has

been eligible to receive overtime pay under the FLSA because Richardson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10685. Plaintiff Nicole Richardson is an individual residing in Texas. Richardson worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Richardson has

been eligible to receive overtime pay under the FLSA because Richardson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10686. Plaintiff Vernon Richardson is an individual residing in Texas. Richardson

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10687. Plaintiff Clement Richardson is an individual residing in Texas. Richardson

worked as a delivery driver for FedEx in Texas from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Richardson has been eligible to receive overtime pay under the FLSA because Richardson has




                                             2806
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2807 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10688. Plaintiff Isaac Richardson is an individual residing in Texas. Richardson worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Richardson has

been eligible to receive overtime pay under the FLSA because Richardson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10689. Plaintiff Angel Rico is an individual residing in Texas. Rico worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Rico has been eligible to receive overtime pay under the FLSA

because Rico has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10690. Plaintiff Kevin Rios is an individual residing in Texas. Rios worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Rios has been eligible to

receive overtime pay under the FLSA because Rios has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10691. Plaintiff Adam Rios is an individual residing in Texas. Rios worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rios has been eligible to

receive overtime pay under the FLSA because Rios has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2807
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2808 of 3128




       10692. Plaintiff Kevin Rios Rivera is an individual residing in Texas. Rios Rivera

worked as a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Rios

Rivera has been eligible to receive overtime pay under the FLSA because Rios Rivera has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       10693. Plaintiff Christopher Rivas is an individual residing in Texas. Rivas worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Rivas has been eligible to

receive overtime pay under the FLSA because Rivas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10694. Plaintiff Luis Rivera is an individual residing in Texas. Rivera worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Rivera has been eligible to

receive overtime pay under the FLSA because Rivera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10695. Plaintiff Antonio Rivera is an individual residing in Texas. Rivera worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Rivera has been eligible to

receive overtime pay under the FLSA because Rivera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10696. Plaintiff Ramon Rivera Cruz is an individual residing in Texas. Rivera Cruz

worked as a delivery driver for FedEx in Texas from approximately 2019 to 2022 but was



                                              2808
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2809 of 3128




employed through intermediary entities that FedEx calls independent service providers. Rivera

Cruz has been eligible to receive overtime pay under the FLSA because Rivera Cruz has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       10697. Plaintiff Ricardo Rivera Jr. is an individual residing in Texas. Rivera Jr. worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera Jr. has been

eligible to receive overtime pay under the FLSA because Rivera Jr. has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10698. Plaintiff William Robertson is an individual residing in Texas. Robertson worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Robertson has been eligible to receive overtime pay

under the FLSA because Robertson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       10699. Plaintiff Shannon Robinson is an individual residing in Texas. Robinson worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10700. Plaintiff Natasha Robinson is an individual residing in Georgia. Robinson worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that



                                              2809
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2810 of 3128




FedEx calls independent service providers. Robinson has been eligible to receive overtime pay

under the FLSA because Robinson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10701. Plaintiff Julius Robinson is an individual residing in Texas. Robinson worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Robinson has been eligible

to receive overtime pay under the FLSA because Robinson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10702. Plaintiff Richard Rocha is an individual residing in Texas. Rocha worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Rocha has been eligible to receive overtime pay under the

FLSA because Rocha has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10703. Plaintiff Jorge Rodriguez is an individual residing in Texas. Rodriguez worked as

a delivery driver for FedEx in Texas from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10704. Plaintiff Erik Rodriguez is an individual residing in Texas. Rodriguez worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Rodriguez has been eligible to receive overtime pay under



                                              2810
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2811 of 3128




the FLSA because Rodriguez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10705. Plaintiff Gerardo Rodriguez is an individual residing in Texas. Rodriguez worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rodriguez has been

eligible to receive overtime pay under the FLSA because Rodriguez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10706. Plaintiff Denise Rodriguez is an individual residing in Texas. Rodriguez worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Rodriguez has been eligible to receive overtime pay

under the FLSA because Rodriguez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       10707. Plaintiff Danielle Rodriguez-Chavez is an individual residing in Texas.

Rodriguez-Chavez worked as a delivery driver for FedEx in Texas but was employed through

intermediary entities that FedEx calls independent service providers. Rodriguez-Chavez has been

eligible to receive overtime pay under the FLSA because Rodriguez-Chavez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10708. Plaintiff Luis Rodriguezruiz is an individual residing in Texas. Rodriguezruiz

worked as a delivery driver for FedEx in Texas from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguezruiz has been eligible to receive overtime pay under the FLSA because Rodriguezruiz



                                             2811
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2812 of 3128




has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        10709. Plaintiff Isaac Romanko is an individual residing in Texas. Romanko worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Romanko has been eligible

to receive overtime pay under the FLSA because Romanko has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10710. Plaintiff Johnny Romero is an individual residing in Texas. Romero worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Romero has been eligible to

receive overtime pay under the FLSA because Romero has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10711. Plaintiff Samuel Rosa is an individual residing in Texas. Rosa worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Rosa has been eligible to

receive overtime pay under the FLSA because Rosa has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10712. Plaintiff Aurelio Rosales is an individual residing in Texas. Rosales worked as a

delivery driver for FedEx in Texas from approximately 2023 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Rosales has been eligible to

receive overtime pay under the FLSA because Rosales has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2812
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2813 of 3128




       10713. Plaintiff Gregory Rose is an individual residing in Texas. Rose worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Rose has been eligible to receive overtime pay under the

FLSA because Rose has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10714. Plaintiff Jason Roy is an individual residing in Texas. Roy worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Roy has been eligible to

receive overtime pay under the FLSA because Roy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10715. Plaintiff Joshua Rubio is an individual residing in Texas. Rubio worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Rubio has been eligible to

receive overtime pay under the FLSA because Rubio has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10716. Plaintiff Charles Walker is an individual residing in Texas. Ruggles worked as a

delivery driver for FedEx in Texas from approximately 2005 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ruggles has been eligible to

receive overtime pay under the FLSA because Ruggles has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10717. Plaintiff Christopher Ruggles, Sr is an individual residing in Kansas. Ruggles

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Ruggles



                                              2813
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2814 of 3128




has been eligible to receive overtime pay under the FLSA because Ruggles has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10718. Plaintiff Marquel Russell is an individual residing in Texas. Russell worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Russell has been eligible to

receive overtime pay under the FLSA because Russell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10719. Plaintiff Miguel Salas is an individual residing in Texas. Salas worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Salas has been eligible to receive overtime pay under the

FLSA because Salas has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10720. Plaintiff Pedro Salas is an individual residing in Texas. Salas worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Salas has been eligible to

receive overtime pay under the FLSA because Salas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10721. Plaintiff Juan Salas is an individual residing in Texas. Salas worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Salas has been eligible to receive overtime pay under the FLSA

because Salas has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              2814
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2815 of 3128




        10722. Plaintiff Adam Salazar is an individual residing in Texas. Salazar worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Salazar has been eligible to

receive overtime pay under the FLSA because Salazar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10723. Plaintiff Robert Salazar is an individual residing in Texas. Salazar worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Salazar has been eligible to

receive overtime pay under the FLSA because Salazar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10724. Plaintiff Christopher Salazar is an individual residing in Texas. Salazar worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Salazar has been

eligible to receive overtime pay under the FLSA because Salazar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10725. Plaintiff Jorge Salazar is an individual residing in Texas. Salazar worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Salazar has been eligible to

receive overtime pay under the FLSA because Salazar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10726. Plaintiff Dave Saldana is an individual residing in Texas. Saldana worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx



                                               2815
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2816 of 3128




calls independent service providers. Saldana has been eligible to receive overtime pay under the

FLSA because Saldana has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10727. Plaintiff Anthony Saldivar is an individual residing in Texas. Saldivar worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Saldivar has been eligible to receive overtime pay under the

FLSA because Saldivar has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10728. Plaintiff Robert Salgado is an individual residing in Texas. Salgado worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Salgado has been eligible to

receive overtime pay under the FLSA because Salgado has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10729. Plaintiff Jose Salinas is an individual residing in Texas. Salinas worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Salinas has been eligible to

receive overtime pay under the FLSA because Salinas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10730. Plaintiff Jerry Sallee is an individual residing in Texas. Sallee worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Sallee has been eligible to

receive overtime pay under the FLSA because Sallee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2816
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2817 of 3128




        10731. Plaintiff Jeremiah Sam-Kpakra is an individual residing in Texas. Sam-Kpakra

worked as a delivery driver for FedEx in Texas from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Sam-

Kpakra has been eligible to receive overtime pay under the FLSA because Sam-Kpakra has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10732. Plaintiff Michael Samuels is an individual residing in Texas. Samuels worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Samuels has been eligible to receive overtime pay under the

FLSA because Samuels has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10733. Plaintiff Andrew Sanchez is an individual residing in Texas. Sanchez worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Sanchez has been eligible to receive overtime pay under the

FLSA because Sanchez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10734. Plaintiff Nathaniel Sanchez is an individual residing in Texas. Sanchez worked as

a delivery driver for FedEx in Texas from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Sanchez has been

eligible to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2817
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2818 of 3128




        10735. Plaintiff Frederick Sanders is an individual residing in Texas. Sanders worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sanders has been

eligible to receive overtime pay under the FLSA because Sanders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10736. Plaintiff Agustin Sandoval is an individual residing in Texas. Sandoval worked as

a delivery driver for FedEx in Texas from approximately 2006 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Sandoval has been

eligible to receive overtime pay under the FLSA because Sandoval has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10737. Plaintiff Eduardo Santana is an individual residing in Texas. Santana worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Santana has been eligible to

receive overtime pay under the FLSA because Santana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10738. Plaintiff Victor Saracho is an individual residing in Texas. Saracho worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Saracho has been eligible to

receive overtime pay under the FLSA because Saracho has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2818
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2819 of 3128




       10739. Plaintiff Alek Schott is an individual residing in Texas. Schott worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Schott has been eligible to

receive overtime pay under the FLSA because Schott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10740. Plaintiff Randy Scott is an individual residing in Texas. Scott worked as a

delivery driver for FedEx in Texas from approximately 2005 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Scott has been eligible to

receive overtime pay under the FLSA because Scott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10741. Plaintiff Glenn Scott Jr. is an individual residing in Texas. Scott Jr. worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Scott Jr. has been eligible to receive overtime pay under the

FLSA because Scott Jr. has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10742. Plaintiff Marco Segoviano is an individual residing in Texas. Segoviano worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Segoviano has been

eligible to receive overtime pay under the FLSA because Segoviano has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10743. Plaintiff Robert Segura is an individual residing in Texas. Segura worked as a

delivery driver for FedEx in Texas from approximately 1998 to 2016 but was employed through



                                               2819
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2820 of 3128




intermediary entities that FedEx calls independent service providers. Segura has been eligible to

receive overtime pay under the FLSA because Segura has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10744. Plaintiff Dequince Sells is an individual residing in Texas. Sells worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Sells has been eligible to

receive overtime pay under the FLSA because Sells has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10745. Plaintiff Marco Serrato is an individual residing in Texas. Serrato worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Serrato has been eligible to

receive overtime pay under the FLSA because Serrato has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10746. Plaintiff Matt Sethi is an individual residing in Texas. Sethi worked as a delivery

driver for FedEx in Texas from approximately 2002 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Sethi has been eligible to

receive overtime pay under the FLSA because Sethi has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10747. Plaintiff John Sheridan is an individual residing in Texas. Sheridan worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Sheridan has been eligible

to receive overtime pay under the FLSA because Sheridan has driven a vehicle weighing less




                                               2820
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2821 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10748. Plaintiff Gwendelyn Sherman is an individual residing in Texas. Sherman worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sherman has been

eligible to receive overtime pay under the FLSA because Sherman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10749. Plaintiff Misti Showalter is an individual residing in Texas. Showalter worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Showalter has been

eligible to receive overtime pay under the FLSA because Showalter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10750. Plaintiff Jordanis Sierra Martinez is an individual residing in Texas. Sierra

Martinez worked as a delivery driver for FedEx in Texas from approximately 2020 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Sierra Martinez has been eligible to receive overtime pay under the FLSA because Sierra

Martinez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        10751. Plaintiff Andrew Sifuentes is an individual residing in Texas. Sifuentes worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Sifuentes has been eligible to receive overtime pay under the



                                               2821
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2822 of 3128




FLSA because Sifuentes has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10752. Plaintiff Theodore Simmons is an individual residing in Texas. Simmons worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Simmons has been

eligible to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10753. Plaintiff Ninedavone Simpraseuth is an individual residing in Texas. Simpraseuth

worked as a delivery driver for FedEx in Texas from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Simpraseuth has been eligible to receive overtime pay under the FLSA because Simpraseuth has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10754. Plaintiff Rokette Simpson is an individual residing in Texas. Simpson worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Simpson has been eligible

to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10755. Plaintiff Colby Simpson is an individual residing in Texas. Simpson worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Simpson has been eligible



                                              2822
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 2823 of 3128




to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10756. Plaintiff Timothy Sims is an individual residing in Texas. Sims worked as a

delivery driver for FedEx in Texas from approximately 2013 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sims has been eligible to

receive overtime pay under the FLSA because Sims has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10757. Plaintiff Karambir Singh is an individual residing in Texas. Singh worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Singh has been eligible to receive overtime pay under the

FLSA because Singh has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10758. Plaintiff Kaikham Sisomphane is an individual residing in Texas. Sisomphane

worked as a delivery driver for FedEx in Texas from approximately 2001 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Sisomphane has been eligible to receive overtime pay under the FLSA because Sisomphane has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10759. Plaintiff Joey Sital is an individual residing in Texas. Sital worked as a delivery

driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Sital has been eligible to




                                                2823
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2824 of 3128




receive overtime pay under the FLSA because Sital has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10760. Plaintiff Lee Small is an individual residing in Texas. Small worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Small has been eligible to

receive overtime pay under the FLSA because Small has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10761. Plaintiff Richard Smart is an individual residing in Texas. Smart worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smart has been eligible to

receive overtime pay under the FLSA because Smart has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10762. Plaintiff Jerry Smart Jr is an individual residing in Texas. Smart Jr worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smart Jr has been eligible

to receive overtime pay under the FLSA because Smart Jr has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10763. Plaintiff Rodwick Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2824
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2825 of 3128




       10764. Plaintiff David Smith is an individual residing in Florida. Smith worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10765. Plaintiff Lynn Smith is an individual residing in Oklahoma. Smith worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10766. Plaintiff Tyler Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10767. Plaintiff John Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10768. Plaintiff Luke Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Smith has been eligible to receive overtime pay under the



                                              2825
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2826 of 3128




FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10769. Plaintiff Donald Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10770. Plaintiff Damareon Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10771. Plaintiff Freda Smith Baker is an individual residing in Texas. Smith Baker

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Smith

Baker has been eligible to receive overtime pay under the FLSA because Smith Baker has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10772. Plaintiff Randy Son is an individual residing in Texas. Son worked as a delivery

driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Son has been eligible to

receive overtime pay under the FLSA because Son has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2826
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2827 of 3128




       10773. Plaintiff Osman Soriano is an individual residing in Texas. Soriano worked as a

delivery driver for FedEx in Texas from approximately 2006 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Soriano has been eligible to

receive overtime pay under the FLSA because Soriano has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10774. Plaintiff Xavier Soto is an individual residing in Texas. Soto worked as a delivery

driver for FedEx in Texas from approximately 2007 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to

receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10775. Plaintiff Louciano Soto is an individual residing in Texas. Soto worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to

receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10776. Plaintiff Joriah Soto is an individual residing in Texas. Soto worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Soto has been eligible to receive overtime pay under the FLSA

because Soto has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10777. Plaintiff Sergio Soto is an individual residing in Texas. Soto worked as a delivery

driver for FedEx in Texas from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Soto has been eligible to



                                              2827
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2828 of 3128




receive overtime pay under the FLSA because Soto has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10778. Plaintiff Robyn Sowash is an individual residing in Missouri. Sowash worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sowash has been eligible to

receive overtime pay under the FLSA because Sowash has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10779. Plaintiff Evelyn Soza is an individual residing in Texas. Soza worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Soza has been eligible to receive overtime pay under the

FLSA because Soza has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10780. Plaintiff Andrew Spencer is an individual residing in Texas. Spencer worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Spencer has been eligible to

receive overtime pay under the FLSA because Spencer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10781. Plaintiff Corey Wright is an individual residing in Georgia. Srey worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Srey has been eligible to

receive overtime pay under the FLSA because Srey has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2828
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2829 of 3128




       10782. Plaintiff Carl Staley is an individual residing in Texas. Staley worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Staley has been eligible to

receive overtime pay under the FLSA because Staley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10783. Plaintiff Darius Starkes is an individual residing in Texas. Starkes worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Starkes has been eligible to

receive overtime pay under the FLSA because Starkes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10784. Plaintiff Tracie Steans is an individual residing in Texas. Steans worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Steans has been eligible to receive overtime pay under the

FLSA because Steans has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10785. Plaintiff Khrystalle Steber is an individual residing in Texas. Steber worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Steber has been eligible to

receive overtime pay under the FLSA because Steber has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10786. Plaintiff Michael Sterling is an individual residing in Texas. Sterling worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Sterling has been eligible to receive overtime pay under the



                                               2829
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2830 of 3128




FLSA because Sterling has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10787. Plaintiff Michael Stewart is an individual residing in Texas. Stewart worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Stewart has been eligible to

receive overtime pay under the FLSA because Stewart has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10788. Plaintiff Brandon Stewart is an individual residing in Texas. Stewart worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Stewart has been eligible to

receive overtime pay under the FLSA because Stewart has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10789. Plaintiff Justin Nunn is an individual residing in Texas. Stokes worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Stokes has been eligible to

receive overtime pay under the FLSA because Stokes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10790. Plaintiff Laronda Stokes is an individual residing in Texas. Stokes worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Stokes has been eligible to

receive overtime pay under the FLSA because Stokes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2830
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2831 of 3128




       10791. Plaintiff Hans Storsberg is an individual residing in New Mexico. Storsberg

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Storsberg has been eligible to receive overtime pay under the FLSA because Storsberg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10792. Plaintiff Lyndi Stout is an individual residing in Oklahoma. Stout worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Stout has been eligible to

receive overtime pay under the FLSA because Stout has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10793. Plaintiff Jeramee Strain is an individual residing in Texas. Strain worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Strain has been eligible to

receive overtime pay under the FLSA because Strain has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10794. Plaintiff Luis Suaza is an individual residing in Texas. Suaza worked as a delivery

driver for FedEx in Texas from approximately 2012 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Suaza has been eligible to

receive overtime pay under the FLSA because Suaza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10795. Plaintiff Lawrence Suiters is an individual residing in Texas. Suiters worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx



                                               2831
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2832 of 3128




calls independent service providers. Suiters has been eligible to receive overtime pay under the

FLSA because Suiters has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10796. Plaintiff Sena Sullivan is an individual residing in Texas. Sullivan worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Sullivan has been eligible

to receive overtime pay under the FLSA because Sullivan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10797. Plaintiff Michael Sumlar is an individual residing in Texas. Sumlar worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Sumlar has been eligible to

receive overtime pay under the FLSA because Sumlar has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10798. Plaintiff Randy Suratt is an individual residing in Texas. Suratt worked as a

delivery driver for FedEx in Texas from approximately 2012 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Suratt has been eligible to

receive overtime pay under the FLSA because Suratt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10799. Plaintiff Don Swiney is an individual residing in Texas. Swiney worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Swiney has been eligible to




                                               2832
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2833 of 3128




receive overtime pay under the FLSA because Swiney has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10800. Plaintiff Pingaphong Sykingkeo is an individual residing in Texas. Sykingkeo

worked as a delivery driver for FedEx in Texas from approximately 2001 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Sykingkeo has been eligible to receive overtime pay under the FLSA because Sykingkeo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10801. Plaintiff Nickara Talbert is an individual residing in Louisiana. Talbert worked as

a delivery driver for FedEx in Texas from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Talbert has been

eligible to receive overtime pay under the FLSA because Talbert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10802. Plaintiff Dylan Tamburro is an individual residing in Texas. Tamburro worked as

a delivery driver for FedEx in Texas from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Tamburro has been

eligible to receive overtime pay under the FLSA because Tamburro has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10803. Plaintiff Andre Tate is an individual residing in Texas. Tate worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Tate has been eligible to



                                               2833
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2834 of 3128




receive overtime pay under the FLSA because Tate has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10804. Plaintiff Juan Tavarez is an individual residing in Texas. Tavarez worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Tavarez has been eligible to

receive overtime pay under the FLSA because Tavarez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10805. Plaintiff Laporsche Taylor is an individual residing in Texas. Taylor worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Taylor has been eligible to receive overtime pay under the

FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10806. Plaintiff Candice Taylor is an individual residing in Texas. Taylor worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Taylor has been eligible to

receive overtime pay under the FLSA because Taylor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10807. Plaintiff Jechonias Taylor is an individual residing in Texas. Taylor worked as a

delivery driver for FedEx in Texas from approximately 2005 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Taylor has been eligible to

receive overtime pay under the FLSA because Taylor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2834
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2835 of 3128




       10808. Plaintiff Sorie Tejan is an individual residing in Texas. Tejan worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Tejan has been eligible to receive overtime pay under the

FLSA because Tejan has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10809. Plaintiff Ruben Tellez is an individual residing in Texas. Tellez worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Tellez has been eligible to

receive overtime pay under the FLSA because Tellez has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10810. Plaintiff David Tello is an individual residing in Texas. Tello worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Tello has been eligible to

receive overtime pay under the FLSA because Tello has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10811. Plaintiff Ben Templeton is an individual residing in Texas. Templeton worked as

a delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Templeton has

been eligible to receive overtime pay under the FLSA because Templeton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10812. Plaintiff Andre Tennard is an individual residing in Texas. Tennard worked as a

delivery driver for FedEx in Texas from approximately 2000 to 2024 but was employed through



                                               2835
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2836 of 3128




intermediary entities that FedEx calls independent service providers. Tennard has been eligible

to receive overtime pay under the FLSA because Tennard has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10813. Plaintiff Amanuel Tesfay is an individual residing in Texas. Tesfay worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Tesfay has been eligible to receive overtime pay under the

FLSA because Tesfay has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10814. Plaintiff Christopher Thomas is an individual residing in Texas. Thomas worked

as a delivery driver for FedEx in Texas from approximately 1998 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10815. Plaintiff Emanuel Thomas is an individual residing in Texas. Thomas worked as a

delivery driver for FedEx in Texas from approximately 2008 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10816. Plaintiff Calvin Thomas is an individual residing in California. Thomas worked as

a delivery driver for FedEx in Texas from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been



                                              2836
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2837 of 3128




eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10817. Plaintiff Latoya Thomas is an individual residing in Texas. Thomas worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Thomas has been eligible to receive overtime pay under the

FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10818. Plaintiff Jeffrey Thomas is an individual residing in Texas. Thomas worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Thomas has been eligible to

receive overtime pay under the FLSA because Thomas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10819. Plaintiff Darius Thompson is an individual residing in Texas. Thompson worked

as a delivery driver for FedEx in Texas from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Thompson has

been eligible to receive overtime pay under the FLSA because Thompson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10820. Plaintiff Curry Thompson is an individual residing in Texas. Thompson worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thompson has

been eligible to receive overtime pay under the FLSA because Thompson has driven a vehicle



                                              2837
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2838 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10821. Plaintiff Kenneth Thorne is an individual residing in Texas. Thorne worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Thorne has been eligible to

receive overtime pay under the FLSA because Thorne has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10822. Plaintiff Wesley Thornsberry is an individual residing in Texas. Thornsberry

worked as a delivery driver for FedEx in Texas from approximately 2012 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Thornsberry has been eligible to receive overtime pay under the FLSA because Thornsberry has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10823. Plaintiff Carl Tindle is an individual residing in Georgia. Tindle worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tindle has been eligible to

receive overtime pay under the FLSA because Tindle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10824. Plaintiff Erin Tobin is an individual residing in Texas. Tobin worked as a delivery

driver for FedEx in Texas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tobin has been eligible to

receive overtime pay under the FLSA because Tobin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2838
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2839 of 3128




       10825. Plaintiff Mark Torres is an individual residing in Texas. Torres worked as a

delivery driver for FedEx in Texas from approximately 2021 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Torres has been eligible to

receive overtime pay under the FLSA because Torres has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10826. Plaintiff Eric Torres is an individual residing in Texas. Torres worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Torres has been eligible to receive overtime pay under the

FLSA because Torres has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10827. Plaintiff Jaimell Torres Gonzalez is an individual residing in Texas. Torres

Gonzalez worked as a delivery driver for FedEx in Texas from approximately 2016 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Torres Gonzalez has been eligible to receive overtime pay under the FLSA because Torres

Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       10828. Plaintiff Kevin Truong is an individual residing in Texas. Truong worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Truong has been eligible to receive overtime pay under the

FLSA because Truong has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10829. Plaintiff Matthew Tucker is an individual residing in Texas. Tucker worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx



                                              2839
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2840 of 3128




calls independent service providers. Tucker has been eligible to receive overtime pay under the

FLSA because Tucker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10830. Plaintiff Darryl Tucker is an individual residing in Texas. Tucker worked as a

delivery driver for FedEx in Texas from approximately 2001 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Tucker has been eligible to

receive overtime pay under the FLSA because Tucker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10831. Plaintiff Van Turner is an individual residing in Texas. Turner worked as a

delivery driver for FedEx in Texas from approximately 2002 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Turner has been eligible to

receive overtime pay under the FLSA because Turner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10832. Plaintiff Derek Tutson is an individual residing in Texas. Tutson worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Tutson has been eligible to

receive overtime pay under the FLSA because Tutson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10833. Plaintiff Reginald Tutt is an individual residing in Texas. Tutt worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Tutt has been eligible to

receive overtime pay under the FLSA because Tutt has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2840
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2841 of 3128




        10834. Plaintiff Glen Tyler is an individual residing in Texas. Tyler worked as a delivery

driver for FedEx in Texas from approximately 2011 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Tyler has been eligible to

receive overtime pay under the FLSA because Tyler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10835. Plaintiff Emerson Umana is an individual residing in Texas. Umana worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Umana has been eligible to

receive overtime pay under the FLSA because Umana has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10836. Plaintiff Patrick Vanegas is an individual residing in Texas. Vanegas worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Vanegas has been eligible

to receive overtime pay under the FLSA because Vanegas has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10837. Plaintiff Gonzalo Vargas is an individual residing in Texas. Vargas worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Vargas has been eligible to

receive overtime pay under the FLSA because Vargas has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10838. Plaintiff Gabriel Veazia is an individual residing in Texas. Veazia worked as a

delivery driver for FedEx in Texas from approximately 2010 to 2017 but was employed through



                                               2841
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2842 of 3128




intermediary entities that FedEx calls independent service providers. Veazia has been eligible to

receive overtime pay under the FLSA because Veazia has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10839. Plaintiff Rogelio Velasquez is an individual residing in Texas. Velasquez worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Velasquez has been eligible to receive overtime pay

under the FLSA because Velasquez has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10840. Plaintiff Jose Velasquez is an individual residing in Texas. Velasquez worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Velasquez has been eligible

to receive overtime pay under the FLSA because Velasquez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10841. Plaintiff Micaelo Velasquez is an individual residing in Texas. Velasquez worked

as a delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Velasquez has been

eligible to receive overtime pay under the FLSA because Velasquez has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10842. Plaintiff Larry Vess is an individual residing in Texas. Vess worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Vess has been eligible to



                                              2842
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2843 of 3128




receive overtime pay under the FLSA because Vess has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10843. Plaintiff Nethaneel Viera is an individual residing in Texas. Viera worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Viera has been eligible to

receive overtime pay under the FLSA because Viera has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10844. Plaintiff Beatriz Vilchis is an individual residing in Texas. Vilchis worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Vilchis has been eligible to

receive overtime pay under the FLSA because Vilchis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10845. Plaintiff Jessica Villanueva is an individual residing in Texas. Villanueva worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Villanueva has been eligible to receive overtime pay

under the FLSA because Villanueva has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       10846. Plaintiff Richard Villarreal is an individual residing in Texas. Villarreal worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Villarreal has been

eligible to receive overtime pay under the FLSA because Villarreal has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               2843
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2844 of 3128




        10847. Plaintiff Andre Villasana is an individual residing in Texas. Villasana worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Villasana has been eligible

to receive overtime pay under the FLSA because Villasana has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10848. Plaintiff Orlando Vincente is an individual residing in Texas. Vincente worked as

a delivery driver for FedEx in Texas from approximately 2001 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Vincente has been

eligible to receive overtime pay under the FLSA because Vincente has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10849. Plaintiff James Vinovrski is an individual residing in Texas. Vinovrski worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Vinovrski has been eligible to receive overtime pay under

the FLSA because Vinovrski has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10850. Plaintiff James Viverette is an individual residing in Texas. Viverette worked as a

delivery driver for FedEx in Texas from approximately 2007 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Viverette has been eligible

to receive overtime pay under the FLSA because Viverette has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2844
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2845 of 3128




        10851. Plaintiff Tung Vo is an individual residing in Texas. Vo worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Vo has been eligible to receive overtime pay under the FLSA

because Vo has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        10852. Plaintiff Camille Wakefield is an individual residing in Texas. Wakefield worked

as a delivery driver for FedEx in Texas from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wakefield has been

eligible to receive overtime pay under the FLSA because Wakefield has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10853. Plaintiff Damarcus Waldrup is an individual residing in Texas. Waldrup worked

as a delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Waldrup has been

eligible to receive overtime pay under the FLSA because Waldrup has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10854. Plaintiff Omar Walker is an individual residing in Texas. Walker worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Walker has been eligible to receive overtime pay under the

FLSA because Walker has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.




                                              2845
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2846 of 3128




       10855. Plaintiff Cornelius Walker is an individual residing in Texas. Walker worked as a

delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Walker has been eligible to

receive overtime pay under the FLSA because Walker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10856. Plaintiff Johnetta Walker is an individual residing in Texas. Walker worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Walker has been eligible to

receive overtime pay under the FLSA because Walker has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10857. Plaintiff Kenetra Wallace is an individual residing in Texas. Wallace worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Wallace has been eligible to receive overtime pay under the

FLSA because Wallace has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10858. Plaintiff Broderick Walton is an individual residing in Texas. Walton worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Walton has been eligible to

receive overtime pay under the FLSA because Walton has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10859. Plaintiff Waqueenna Walton is an individual residing in Texas. Walton worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Walton has been



                                              2846
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2847 of 3128




eligible to receive overtime pay under the FLSA because Walton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10860. Plaintiff Shawn Warfield is an individual residing in Texas. Warfield worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Warfield has been eligible to receive overtime pay under the

FLSA because Warfield has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10861. Plaintiff Shawnta Washington is an individual residing in Texas. Washington

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10862. Plaintiff Monterrell Washington is an individual residing in Texas. Washington

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10863. Plaintiff Jarrett Washington is an individual residing in Texas. Washington

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2847
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2848 of 3128




Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       10864. Plaintiff Michael Watkins is an individual residing in Texas. Watkins worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Watkins has been eligible to receive overtime pay under the

FLSA because Watkins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10865. Plaintiff Jonathan Watson is an individual residing in Maine. Watson worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Watson has been eligible to

receive overtime pay under the FLSA because Watson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10866. Plaintiff Duchess Watts is an individual residing in Texas. Watts worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Watts has been eligible to

receive overtime pay under the FLSA because Watts has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10867. Plaintiff James Weis is an individual residing in Texas. Weis worked as a delivery

driver for FedEx in Texas but was employed through intermediary entities that FedEx calls

independent service providers. Weis has been eligible to receive overtime pay under the FLSA

because Weis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.



                                              2848
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2849 of 3128




        10868. Plaintiff James Weldon is an individual residing in Oklahoma. Weldon worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Weldon has been

eligible to receive overtime pay under the FLSA because Weldon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10869. Plaintiff Desmond Wells is an individual residing in Florida. Wells worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wells has been eligible to

receive overtime pay under the FLSA because Wells has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10870. Plaintiff Susan Wenninger is an individual residing in South Dakota. Wenninger

worked as a delivery driver for FedEx in Texas from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Wenninger has been eligible to receive overtime pay under the FLSA because Wenninger has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10871. Plaintiff Waylon Wernette is an individual residing in Texas. Wernette worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wernette has been

eligible to receive overtime pay under the FLSA because Wernette has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2849
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2850 of 3128




        10872. Plaintiff Darin Wesley is an individual residing in Texas. Wesley worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wesley has been eligible to

receive overtime pay under the FLSA because Wesley has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10873. Plaintiff Demarcus Westbrook is an individual residing in Texas. Westbrook

worked as a delivery driver for FedEx in Texas from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Westbrook has been eligible to receive overtime pay under the FLSA because Westbrook has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        10874. Plaintiff Johnathan Whitaker is an individual residing in Texas. Whitaker worked

as a delivery driver for FedEx in Texas from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Whitaker has been

eligible to receive overtime pay under the FLSA because Whitaker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10875. Plaintiff Carl White is an individual residing in Texas. White worked as a delivery

driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. White has been eligible to

receive overtime pay under the FLSA because White has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2850
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2851 of 3128




        10876. Plaintiff Daiven Whitemon is an individual residing in Texas. Whitemon worked

as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Whitemon has been

eligible to receive overtime pay under the FLSA because Whitemon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10877. Plaintiff James Whitfield is an individual residing in Texas. Whitfield worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Whitfield has been eligible

to receive overtime pay under the FLSA because Whitfield has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10878. Plaintiff Wade Wiggins is an individual residing in Texas. Wiggins worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wiggins has been eligible

to receive overtime pay under the FLSA because Wiggins has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10879. Plaintiff George Williams is an individual residing in Texas. Williams worked as

a delivery driver for FedEx in Texas from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing




                                              2851
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2852 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10880. Plaintiff Anthony Williams is an individual residing in Texas. Williams worked as

a delivery driver for FedEx in Texas from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10881. Plaintiff Kenyatta Williams is an individual residing in Louisiana. Williams

worked as a delivery driver for FedEx in Texas but was employed through intermediary entities

that FedEx calls independent service providers. Williams has been eligible to receive overtime

pay under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        10882. Plaintiff James Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Williams has been eligible to receive overtime pay under the

FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10883. Plaintiff Sierra Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Williams has been eligible

to receive overtime pay under the FLSA because Williams has driven a vehicle weighing less




                                              2852
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2853 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10884. Plaintiff Sherwon Williams is an individual residing in Texas. Williams worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10885. Plaintiff Tahisha Williams is an individual residing in Texas. Williams worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Williams has been eligible to receive overtime pay under the

FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10886. Plaintiff Jontel Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Williams has been eligible

to receive overtime pay under the FLSA because Williams has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10887. Plaintiff Kyle Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Williams has been eligible to receive overtime pay under the

FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.



                                              2853
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2854 of 3128




        10888. Plaintiff Curtis Williams is an individual residing in Washington. Williams

worked as a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10889. Plaintiff Donyiel Williams is an individual residing in Texas. Williams worked as

a delivery driver for FedEx in Texas from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10890. Plaintiff Emery Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Williams has been eligible to receive overtime pay under the

FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10891. Plaintiff Marshall Williams is an individual residing in Texas. Williams worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              2854
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2855 of 3128




        10892. Plaintiff Taza Williams is an individual residing in Texas. Williams worked as a

delivery driver for FedEx in Texas from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Williams has been eligible

to receive overtime pay under the FLSA because Williams has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10893. Plaintiff Arthur Williams Iii is an individual residing in Texas. Williams Iii

worked as a delivery driver for FedEx in Texas from approximately 2010 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

Iii has been eligible to receive overtime pay under the FLSA because Williams Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        10894. Plaintiff Todd Wilson is an individual residing in Texas. Wilson worked as a

delivery driver for FedEx in Texas from approximately 2009 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Wilson has been eligible to

receive overtime pay under the FLSA because Wilson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10895. Plaintiff Jenita Wise is an individual residing in Texas. Wise worked as a delivery

driver for FedEx in Texas from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wise has been eligible to

receive overtime pay under the FLSA because Wise has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2855
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2856 of 3128




        10896. Plaintiff Ronald Wiseman is an individual residing in Texas. Wiseman worked as

a delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Wiseman has been eligible to receive overtime pay under the

FLSA because Wiseman has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10897. Plaintiff Marc Wissman is an individual residing in Texas. Wissman worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Wissman has been eligible

to receive overtime pay under the FLSA because Wissman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10898. Plaintiff Jasmine Woods is an individual residing in Texas. Woods worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Woods has been eligible to receive overtime pay under the

FLSA because Woods has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10899. Plaintiff Philbrick Woodson is an individual residing in Texas. Woodson worked

as a delivery driver for FedEx in Texas from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Woodson has been

eligible to receive overtime pay under the FLSA because Woodson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                             2856
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2857 of 3128




       10900. Plaintiff Stuart Wright is an individual residing in Texas. Wright worked as a

delivery driver for FedEx in Texas from approximately 2015 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Wright has been eligible to

receive overtime pay under the FLSA because Wright has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10901. Plaintiff Erik Yarborough is an individual residing in Texas. Yarborough worked

as a delivery driver for FedEx in Texas but was employed through intermediary entities that

FedEx calls independent service providers. Yarborough has been eligible to receive overtime pay

under the FLSA because Yarborough has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       10902. Plaintiff Anthony Young is an individual residing in Texas. Young worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10903. Plaintiff Jessica Young is an individual residing in Texas. Young worked as a

delivery driver for FedEx in Texas from approximately 2014 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10904. Plaintiff Angela Young is an individual residing in Oklahoma. Young worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Young has been eligible to receive overtime pay under the



                                              2857
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2858 of 3128




FLSA because Young has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10905. Plaintiff Demeiron Young is an individual residing in Texas. Young worked as a

delivery driver for FedEx in Texas from approximately 2005 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10906. Plaintiff Raymond Young is an individual residing in Texas. Young worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Young has been eligible to

receive overtime pay under the FLSA because Young has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10907. Plaintiff Patsy Young is an individual residing in Texas. Young worked as a

delivery driver for FedEx in Texas but was employed through intermediary entities that FedEx

calls independent service providers. Young has been eligible to receive overtime pay under the

FLSA because Young has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10908. Plaintiff Adrian Zamora is an individual residing in Texas. Zamora worked as a

delivery driver for FedEx in Texas from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Zamora has been eligible to

receive overtime pay under the FLSA because Zamora has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                              2858
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2859 of 3128




       10909. Plaintiff Bobby Zamora is an individual residing in Texas. Zamora worked as a

delivery driver for FedEx in Texas from approximately 2016 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Zamora has been eligible to

receive overtime pay under the FLSA because Zamora has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10910. Plaintiff Jose Zavala is an individual residing in Texas. Zavala worked as a

delivery driver for FedEx in Texas from approximately 2003 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Zavala has been eligible to

receive overtime pay under the FLSA because Zavala has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10911. Plaintiff Tristan Adams is an individual residing in Utah. Adams worked as a

delivery driver for FedEx in Utah but was employed through intermediary entities that FedEx

calls independent service providers. Adams has been eligible to receive overtime pay under the

FLSA because Adams has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       10912. Plaintiff Pehrson Allen is an individual residing in Utah. Allen worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Allen has been eligible to

receive overtime pay under the FLSA because Allen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10913. Plaintiff James Austreng is an individual residing in Utah. Austreng worked as a

delivery driver for FedEx in Utah but was employed through intermediary entities that FedEx

calls independent service providers. Austreng has been eligible to receive overtime pay under the



                                              2859
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2860 of 3128




FLSA because Austreng has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10914. Plaintiff Charles Bernal is an individual residing in Utah. Bernal worked as a

delivery driver for FedEx in Utah but was employed through intermediary entities that FedEx

calls independent service providers. Bernal has been eligible to receive overtime pay under the

FLSA because Bernal has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10915. Plaintiff Adam Billings is an individual residing in Utah. Billings worked as a

delivery driver for FedEx in Utah from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Billings has been eligible to

receive overtime pay under the FLSA because Billings has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10916. Plaintiff Cory Bowman is an individual residing in Utah. Bowman worked as a

delivery driver for FedEx in Utah from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Bowman has been eligible

to receive overtime pay under the FLSA because Bowman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10917. Plaintiff Anthony Brinkley is an individual residing in Utah. Brinkley worked as a

delivery driver for FedEx in Utah from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Brinkley has been eligible

to receive overtime pay under the FLSA because Brinkley has driven a vehicle weighing less




                                               2860
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2861 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10918. Plaintiff Oleg Broadbent is an individual residing in Utah. Broadbent worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Broadbent has been eligible

to receive overtime pay under the FLSA because Broadbent has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10919. Plaintiff Paul Bukoski is an individual residing in Michigan. Bukoski worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Bukoski has been eligible

to receive overtime pay under the FLSA because Bukoski has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10920. Plaintiff Randy Carstensen is an individual residing in Utah. Carstensen worked

as a delivery driver for FedEx in Utah from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Carstensen has

been eligible to receive overtime pay under the FLSA because Carstensen has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10921. Plaintiff Brad Carter is an individual residing in Utah. Carter worked as a delivery

driver for FedEx in Utah from approximately 2015 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Carter has been eligible to



                                               2861
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2862 of 3128




receive overtime pay under the FLSA because Carter has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10922. Plaintiff Tyler Chapman is an individual residing in Utah. Chapman worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Chapman has been eligible

to receive overtime pay under the FLSA because Chapman has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10923. Plaintiff Isryel Cook is an individual residing in Utah. Cook worked as a delivery

driver for FedEx in Utah from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Cook has been eligible to

receive overtime pay under the FLSA because Cook has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10924. Plaintiff Joseph Degolyer is an individual residing in Utah. Degolyer worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Degolyer has been eligible

to receive overtime pay under the FLSA because Degolyer has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10925. Plaintiff Robert Dyer is an individual residing in Utah. Dyer worked as a delivery

driver for FedEx in Utah from approximately 2014 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Dyer has been eligible to




                                              2862
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 2863 of 3128




receive overtime pay under the FLSA because Dyer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10926. Plaintiff Julie Earl is an individual residing in Utah. Earl worked as a delivery

driver for FedEx in Utah but was employed through intermediary entities that FedEx calls

independent service providers. Earl has been eligible to receive overtime pay under the FLSA

because Earl has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       10927. Plaintiff Steve Echavarria is an individual residing in Florida. Echavarria worked

as a delivery driver for FedEx in Utah from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Echavarria has

been eligible to receive overtime pay under the FLSA because Echavarria has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10928. Plaintiff Byron Elliott is an individual residing in Utah. Elliott worked as a

delivery driver for FedEx in Utah from approximately 2022 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Elliott has been eligible to

receive overtime pay under the FLSA because Elliott has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10929. Plaintiff Krystal Etsitty is an individual residing in Utah. Etsitty worked as a

delivery driver for FedEx in Utah from approximately 2010 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Etsitty has been eligible to

receive overtime pay under the FLSA because Etsitty has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2863
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2864 of 3128




       10930. Plaintiff Russell Evans is an individual residing in Utah. Evans worked as a

delivery driver for FedEx in Utah from approximately 2013 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Evans has been eligible to

receive overtime pay under the FLSA because Evans has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10931. Plaintiff Abraham Falatea is an individual residing in Utah. Falatea worked as a

delivery driver for FedEx in Utah from approximately 2008 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Falatea has been eligible to

receive overtime pay under the FLSA because Falatea has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10932. Plaintiff Cameron Farnes is an individual residing in Arizona. Farnes worked as a

delivery driver for FedEx in Utah from approximately 2011 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Farnes has been eligible to

receive overtime pay under the FLSA because Farnes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10933. Plaintiff Eric Fry is an individual residing in Utah. Fry worked as a delivery

driver for FedEx in Utah but was employed through intermediary entities that FedEx calls

independent service providers. Fry has been eligible to receive overtime pay under the FLSA

because Fry has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       10934. Plaintiff Steven Garza is an individual residing in Utah. Garza worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Garza has been eligible to



                                               2864
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2865 of 3128




receive overtime pay under the FLSA because Garza has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10935. Plaintiff Austin Graybill is an individual residing in Utah. Graybill worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Graybill has been eligible

to receive overtime pay under the FLSA because Graybill has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10936. Plaintiff Brandon Guymon is an individual residing in Utah. Guymon worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Guymon has been eligible

to receive overtime pay under the FLSA because Guymon has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10937. Plaintiff Wyatt Hart is an individual residing in Utah. Hart worked as a delivery

driver for FedEx in Utah from approximately 2019 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Hart has been eligible to

receive overtime pay under the FLSA because Hart has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10938. Plaintiff Joshua Higbee is an individual residing in Utah. Higbee worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Higbee has been eligible to




                                               2865
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2866 of 3128




receive overtime pay under the FLSA because Higbee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10939. Plaintiff Jonathan Huerta is an individual residing in Utah. Huerta worked as a

delivery driver for FedEx in Utah from approximately 2020 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Huerta has been eligible to

receive overtime pay under the FLSA because Huerta has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10940. Plaintiff Ronald Hughes is an individual residing in Utah. Hughes worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Hughes has been eligible to

receive overtime pay under the FLSA because Hughes has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10941. Plaintiff Jared Hull is an individual residing in California. Hull worked as a

delivery driver for FedEx in Utah from approximately 2020 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Hull has been eligible to

receive overtime pay under the FLSA because Hull has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10942. Plaintiff Christopher Jackson is an individual residing in Montana. Jackson

worked as a delivery driver for FedEx in Utah from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Jackson

has been eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              2866
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2867 of 3128




        10943. Plaintiff Crayton Johnson is an individual residing in Montana. Johnson worked

as a delivery driver for FedEx in Utah from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10944. Plaintiff Roy Kingsbury is an individual residing in Utah. Kingsbury worked as a

delivery driver for FedEx in Utah but was employed through intermediary entities that FedEx

calls independent service providers. Kingsbury has been eligible to receive overtime pay under

the FLSA because Kingsbury has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10945. Plaintiff Tiotala Leiataua is an individual residing in Utah. Leiataua worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Leiataua has been eligible

to receive overtime pay under the FLSA because Leiataua has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10946. Plaintiff Austin Lesueur is an individual residing in Utah. Lesueur worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Lesueur has been eligible to

receive overtime pay under the FLSA because Lesueur has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               2867
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2868 of 3128




        10947. Plaintiff Zach Loftin is an individual residing in Utah. Loftin worked as a delivery

driver for FedEx in Utah but was employed through intermediary entities that FedEx calls

independent service providers. Loftin has been eligible to receive overtime pay under the FLSA

because Loftin has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        10948. Plaintiff Gabriel Tor is an individual residing in Utah. Marbury worked as a

delivery driver for FedEx in Utah but was employed through intermediary entities that FedEx

calls independent service providers. Marbury has been eligible to receive overtime pay under the

FLSA because Marbury has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        10949. Plaintiff Alejandro Martinez is an individual residing in Utah. Martinez worked as

a delivery driver for FedEx in Utah from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Martinez has been eligible

to receive overtime pay under the FLSA because Martinez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10950. Plaintiff Christopher Mcindoe is an individual residing in Oregon. Mcindoe

worked as a delivery driver for FedEx in Utah but was employed through intermediary entities

that FedEx calls independent service providers. Mcindoe has been eligible to receive overtime

pay under the FLSA because Mcindoe has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10951. Plaintiff James Montgomery is an individual residing in Utah. Montgomery

worked as a delivery driver for FedEx in Utah from approximately 2014 to 2016 but was



                                               2868
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2869 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Montgomery has been eligible to receive overtime pay under the FLSA because Montgomery

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        10952. Plaintiff Mitchell Oliphant is an individual residing in Utah. Oliphant worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Oliphant has been eligible

to receive overtime pay under the FLSA because Oliphant has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10953. Plaintiff Nathan Olsen is an individual residing in Utah. Olsen worked as a

delivery driver for FedEx in Utah from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Olsen has been eligible to

receive overtime pay under the FLSA because Olsen has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10954. Plaintiff Roy Pearson is an individual residing in Utah. Pearson worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Pearson has been eligible to

receive overtime pay under the FLSA because Pearson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10955. Plaintiff James Prior is an individual residing in Utah. Prior worked as a delivery

driver for FedEx in Utah from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Prior has been eligible to



                                               2869
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2870 of 3128




receive overtime pay under the FLSA because Prior has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10956. Plaintiff Tracy Pymm is an individual residing in Utah. Pymm worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Pymm has been eligible to

receive overtime pay under the FLSA because Pymm has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10957. Plaintiff Heather Pyper is an individual residing in Utah. Pyper worked as a

delivery driver for FedEx in Utah from approximately 2015 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Pyper has been eligible to

receive overtime pay under the FLSA because Pyper has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10958. Plaintiff Juan Ramos, Sr. is an individual residing in Utah. Ramos worked as a

delivery driver for FedEx in Utah from approximately 2015 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Ramos has been eligible to

receive overtime pay under the FLSA because Ramos has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10959. Plaintiff Justin Randolph is an individual residing in Utah. Randolph worked as a

delivery driver for FedEx in Utah from approximately 2018 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Randolph has been eligible

to receive overtime pay under the FLSA because Randolph has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2870
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2871 of 3128




       10960. Plaintiff Lance Reed is an individual residing in Utah. Reed worked as a delivery

driver for FedEx in Utah from approximately 2004 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Reed has been eligible to

receive overtime pay under the FLSA because Reed has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10961. Plaintiff Jackson Rich is an individual residing in Utah. Rich worked as a delivery

driver for FedEx in Utah from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Rich has been eligible to

receive overtime pay under the FLSA because Rich has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10962. Plaintiff Trevor Romijn is an individual residing in Utah. Romijn worked as a

delivery driver for FedEx in Utah from approximately 2012 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Romijn has been eligible to

receive overtime pay under the FLSA because Romijn has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10963. Plaintiff Trent Rosenkrantz is an individual residing in Utah. Rosenkrantz worked

as a delivery driver for FedEx in Utah from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Rosenkrantz has

been eligible to receive overtime pay under the FLSA because Rosenkrantz has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       10964. Plaintiff James Ruybal is an individual residing in Utah. Ruybal worked as a

delivery driver for FedEx in Utah from approximately 2007 to 2019 but was employed through



                                              2871
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2872 of 3128




intermediary entities that FedEx calls independent service providers. Ruybal has been eligible to

receive overtime pay under the FLSA because Ruybal has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10965. Plaintiff William Sabin is an individual residing in Utah. Sabin worked as a

delivery driver for FedEx in Utah from approximately 2006 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Sabin has been eligible to

receive overtime pay under the FLSA because Sabin has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10966. Plaintiff Daniel Sadler is an individual residing in New York. Sadler worked as a

delivery driver for FedEx in Utah from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Sadler has been eligible to

receive overtime pay under the FLSA because Sadler has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10967. Plaintiff Phillip Sanchez is an individual residing in Utah. Sanchez worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Sanchez has been eligible

to receive overtime pay under the FLSA because Sanchez has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10968. Plaintiff Chris Saville is an individual residing in Utah. Saville worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Saville has been eligible to




                                               2872
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2873 of 3128




receive overtime pay under the FLSA because Saville has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10969. Plaintiff Ryan Shaw is an individual residing in Utah. Shaw worked as a delivery

driver for FedEx in Utah from approximately 2015 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Shaw has been eligible to

receive overtime pay under the FLSA because Shaw has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10970. Plaintiff Tyler Shearer is an individual residing in Utah. Shearer worked as a

delivery driver for FedEx in Utah from approximately 2015 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Shearer has been eligible to

receive overtime pay under the FLSA because Shearer has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10971. Plaintiff Charles Simmons is an individual residing in Utah. Simmons worked as

a delivery driver for FedEx in Utah from approximately 2007 to 2023 but was employed through

intermediary entities that FedEx calls independent service providers. Simmons has been eligible

to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10972. Plaintiff Zachary Simpson is an individual residing in Arkansas. Simpson worked

as a delivery driver for FedEx in Utah from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Simpson has been

eligible to receive overtime pay under the FLSA because Simpson has driven a vehicle weighing




                                               2873
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2874 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10973. Plaintiff Micheal Slama is an individual residing in Utah. Slama worked as a

delivery driver for FedEx in Utah from approximately 2008 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Slama has been eligible to

receive overtime pay under the FLSA because Slama has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10974. Plaintiff Zach Smith is an individual residing in Texas. Smith worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Smith has been eligible to

receive overtime pay under the FLSA because Smith has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10975. Plaintiff Thomas Steggell is an individual residing in Utah. Steggell worked as a

delivery driver for FedEx in Utah from approximately 2018 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Steggell has been eligible to

receive overtime pay under the FLSA because Steggell has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10976. Plaintiff Robert Stephenson is an individual residing in Florida. Stephenson

worked as a delivery driver for FedEx in Utah from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Stephenson has been eligible to receive overtime pay under the FLSA because Stephenson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                               2874
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2875 of 3128




       10977. Plaintiff David Stewart is an individual residing in Utah. Stewart worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Stewart has been eligible to

receive overtime pay under the FLSA because Stewart has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10978. Plaintiff Billy Takai is an individual residing in Utah. Takai worked as a delivery

driver for FedEx in Utah from approximately 2012 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Takai has been eligible to

receive overtime pay under the FLSA because Takai has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10979. Plaintiff Ben Tanner is an individual residing in Utah. Tanner worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Tanner has been eligible to

receive overtime pay under the FLSA because Tanner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10980. Plaintiff Wendy Taylor is an individual residing in Arizona. Taylor worked as a

delivery driver for FedEx in Utah from approximately 2017 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Taylor has been eligible to

receive overtime pay under the FLSA because Taylor has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10981. Plaintiff Chad Thompson is an individual residing in Utah. Thompson worked as

a delivery driver for FedEx in Utah from approximately 2016 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Thompson has been eligible



                                              2875
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2876 of 3128




to receive overtime pay under the FLSA because Thompson has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10982. Plaintiff Tomy Tiburcio is an individual residing in Utah. Tiburcio worked as a

delivery driver for FedEx in Utah from approximately 2019 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Tiburcio has been eligible

to receive overtime pay under the FLSA because Tiburcio has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10983. Plaintiff Sosaia Tuuhetaufa is an individual residing in Utah. Tuuhetaufa worked

as a delivery driver for FedEx in Utah from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tuuhetaufa has

been eligible to receive overtime pay under the FLSA because Tuuhetaufa has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10984. Plaintiff Eduardo Umana Alvarado is an individual residing in Utah. Umana

Alvarado worked as a delivery driver for FedEx in Utah from approximately 2017 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Umana Alvarado has been eligible to receive overtime pay under the FLSA because Umana

Alvarado has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        10985. Plaintiff Michael Vaidulas is an individual residing in Utah. Vaidulas worked as a

delivery driver for FedEx in Utah from approximately 2019 to 2021 but was employed through



                                              2876
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2877 of 3128




intermediary entities that FedEx calls independent service providers. Vaidulas has been eligible

to receive overtime pay under the FLSA because Vaidulas has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10986. Plaintiff Luis Valenzuela is an individual residing in Utah. Valenzuela worked as

a delivery driver for FedEx in Utah from approximately 2019 to 2024 but was employed through

intermediary entities that FedEx calls independent service providers. Valenzuela has been

eligible to receive overtime pay under the FLSA because Valenzuela has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        10987. Plaintiff Nicholas Warner is an individual residing in Utah. Warner worked as a

delivery driver for FedEx in Utah from approximately 2009 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Warner has been eligible to

receive overtime pay under the FLSA because Warner has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10988. Plaintiff James Webb is an individual residing in Utah. Webb worked as a

delivery driver for FedEx in Utah from approximately 2013 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Webb has been eligible to

receive overtime pay under the FLSA because Webb has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        10989. Plaintiff Troy Wies is an individual residing in Utah. Wies worked as a delivery

driver for FedEx in Utah from approximately 2017 to 2019 but was employed through

intermediary entities that FedEx calls independent service providers. Wies has been eligible to



                                              2877
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2878 of 3128




receive overtime pay under the FLSA because Wies has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10990. Plaintiff Steve Zippro is an individual residing in Utah. Zippro worked as a

delivery driver for FedEx in Utah from approximately 2016 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Zippro has been eligible to

receive overtime pay under the FLSA because Zippro has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       10991. Plaintiff Shannon Brown is an individual residing in Vermont. Brown worked as a

delivery driver for FedEx in Vermont but was employed through intermediary entities that

FedEx calls independent service providers. Brown has been eligible to receive overtime pay

under the FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       10992. Plaintiff Sean Couch is an individual residing in Vermont. Couch worked as a

delivery driver for FedEx in Vermont but was employed through intermediary entities that

FedEx calls independent service providers. Couch has been eligible to receive overtime pay

under the FLSA because Couch has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       10993. Plaintiff Robert Friend is an individual residing in Vermont. Friend worked as a

delivery driver for FedEx in Vermont but was employed through intermediary entities that

FedEx calls independent service providers. Friend has been eligible to receive overtime pay

under the FLSA because Friend has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                              2878
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2879 of 3128




        10994. Plaintiff Thomas Heather is an individual residing in Vermont. Heather worked as

a delivery driver for FedEx in Vermont but was employed through intermediary entities that

FedEx calls independent service providers. Heather has been eligible to receive overtime pay

under the FLSA because Heather has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10995. Plaintiff Tyson Huntley is an individual residing in Vermont. Huntley worked as a

delivery driver for FedEx in Vermont but was employed through intermediary entities that

FedEx calls independent service providers. Huntley has been eligible to receive overtime pay

under the FLSA because Huntley has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        10996. Plaintiff Anthony King is an individual residing in New York. King worked as a

delivery driver for FedEx in Vermont from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. King has been

eligible to receive overtime pay under the FLSA because King has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10997. Plaintiff Alex Scialdone is an individual residing in Vermont. Scialdone worked

as a delivery driver for FedEx in Vermont but was employed through intermediary entities that

FedEx calls independent service providers. Scialdone has been eligible to receive overtime pay

under the FLSA because Scialdone has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        10998. Plaintiff Ryan Selleck is an individual residing in Vermont. Selleck worked as a

delivery driver for FedEx in Vermont from approximately 2015 to 2019 but was employed



                                              2879
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2880 of 3128




through intermediary entities that FedEx calls independent service providers. Selleck has been

eligible to receive overtime pay under the FLSA because Selleck has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        10999. Plaintiff Jessica Sturtevant is an individual residing in Vermont. Sturtevant

worked as a delivery driver for FedEx in Vermont from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Sturtevant has been eligible to receive overtime pay under the FLSA because Sturtevant has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11000. Plaintiff Ronald Swenor is an individual residing in Virginia. Swenor worked as a

delivery driver for FedEx in Vermont from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Swenor has been

eligible to receive overtime pay under the FLSA because Swenor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11001. Plaintiff John Tanis is an individual residing in Vermont. Tanis worked as a

delivery driver for FedEx in Vermont from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Tanis has been

eligible to receive overtime pay under the FLSA because Tanis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2880
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2881 of 3128




        11002. Plaintiff Derek Thuraiaiyah is an individual residing in Vermont. Thuraiaiyah

worked as a delivery driver for FedEx in Vermont from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Thuraiaiyah has been eligible to receive overtime pay under the FLSA because Thuraiaiyah has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11003. Plaintiff Vladimir Tiron is an individual residing in Vermont. Tiron worked as a

delivery driver for FedEx in Vermont from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Tiron has been

eligible to receive overtime pay under the FLSA because Tiron has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11004. Plaintiff Benjamin Trudell is an individual residing in Vermont. Trudell worked

as a delivery driver for FedEx in Vermont from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Trudell has been

eligible to receive overtime pay under the FLSA because Trudell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11005. Plaintiff Sheperd Ward is an individual residing in Vermont. Ward worked as a

delivery driver for FedEx in Vermont from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Ward has been

eligible to receive overtime pay under the FLSA because Ward has driven a vehicle weighing




                                              2881
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2882 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11006. Plaintiff Timothy Wheelock is an individual residing in Vermont. Wheelock

worked as a delivery driver for FedEx in Vermont from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Wheelock has been eligible to receive overtime pay under the FLSA because Wheelock has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11007. Plaintiff Larry Abney is an individual residing in Virginia. Abney worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Abney has been

eligible to receive overtime pay under the FLSA because Abney has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11008. Plaintiff Howard Adkins is an individual residing in Virginia. Adkins worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Adkins has been eligible to receive overtime pay under the

FLSA because Adkins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11009. Plaintiff David Aldridge is an individual residing in Virginia. Aldridge worked as

a delivery driver for FedEx in Virginia from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Aldridge has been

eligible to receive overtime pay under the FLSA because Aldridge has driven a vehicle weighing



                                              2882
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2883 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11010. Plaintiff Larhonda Alexcee is an individual residing in Virginia. Alexcee worked

as a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Alexcee has been

eligible to receive overtime pay under the FLSA because Alexcee has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11011. Plaintiff Terry Allamong is an individual residing in Virginia. Allamong worked

as a delivery driver for FedEx in Virginia from approximately 1997 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Allamong has been

eligible to receive overtime pay under the FLSA because Allamong has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11012. Plaintiff Feshone Allen is an individual residing in Virginia. Allen worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11013. Plaintiff Daniel Alston is an individual residing in Maryland. Alston worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Alston has been eligible to receive overtime pay under the



                                               2883
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2884 of 3128




FLSA because Alston has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11014. Plaintiff Stanley Ansell is an individual residing in Virginia. Ansell worked as a

delivery driver for FedEx in Virginia from approximately 1900 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Ansell has been

eligible to receive overtime pay under the FLSA because Ansell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11015. Plaintiff Christian Antwi is an individual residing in Virginia. Antwi worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Antwi has been eligible to receive overtime pay under the

FLSA because Antwi has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11016. Plaintiff Mohammed Arkawi is an individual residing in Virginia. Arkawi worked

as a delivery driver for FedEx in Virginia from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Arkawi has been

eligible to receive overtime pay under the FLSA because Arkawi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11017. Plaintiff Isaiah Arnold is an individual residing in Virginia. Arnold worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Arnold has been

eligible to receive overtime pay under the FLSA because Arnold has driven a vehicle weighing



                                               2884
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2885 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11018. Plaintiff Timothy Asbell is an individual residing in Virginia. Asbell worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Asbell has been

eligible to receive overtime pay under the FLSA because Asbell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11019. Plaintiff Byron Augustine is an individual residing in Virginia. Augustine worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Augustine has been

eligible to receive overtime pay under the FLSA because Augustine has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11020. Plaintiff Ruth Austin is an individual residing in Virginia. Austin worked as a

delivery driver for FedEx in Virginia from approximately 2010 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Austin has been

eligible to receive overtime pay under the FLSA because Austin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11021. Plaintiff Abdulsami Azimi is an individual residing in Virginia. Azimi worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Azimi has been



                                               2885
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2886 of 3128




eligible to receive overtime pay under the FLSA because Azimi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11022. Plaintiff Michael Bailey is an individual residing in Virginia. Bailey worked as a

delivery driver for FedEx in Virginia from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bailey has been

eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11023. Plaintiff Lynnelle Banks is an individual residing in Virginia. Banks worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Banks has been

eligible to receive overtime pay under the FLSA because Banks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11024. Plaintiff Felton Banks Ii is an individual residing in Virginia. Banks Ii worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Banks Ii has been

eligible to receive overtime pay under the FLSA because Banks Ii has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11025. Plaintiff Tabitha Barber is an individual residing in Virginia. Barber worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed



                                               2886
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2887 of 3128




through intermediary entities that FedEx calls independent service providers. Barber has been

eligible to receive overtime pay under the FLSA because Barber has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11026. Plaintiff Sean Barentine is an individual residing in Virginia. Barentine worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Barentine has been eligible to receive overtime pay

under the FLSA because Barentine has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11027. Plaintiff Adam Beahm is an individual residing in Virginia. Beahm worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Beahm has been eligible to receive overtime pay under the

FLSA because Beahm has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11028. Plaintiff Daphne Bell is an individual residing in Virginia. Bell worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Bell has been eligible to receive overtime pay under the

FLSA because Bell has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11029. Plaintiff Mia Bennington is an individual residing in Virginia. Bennington worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Bennington has

been eligible to receive overtime pay under the FLSA because Bennington has driven a vehicle



                                               2887
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2888 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11030. Plaintiff Dondell Best is an individual residing in North Carolina. Best worked as

a delivery driver for FedEx in Virginia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Best has been

eligible to receive overtime pay under the FLSA because Best has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11031. Plaintiff Richard Beurer is an individual residing in Virginia. Beurer worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Beurer has been eligible to receive overtime pay under the

FLSA because Beurer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11032. Plaintiff Tiya Bibbs is an individual residing in Virginia. Bibbs worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Bibbs has been

eligible to receive overtime pay under the FLSA because Bibbs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11033. Plaintiff Alexander Billups is an individual residing in Virginia. Billups worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Billups has been eligible to receive overtime pay




                                               2888
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2889 of 3128




under the FLSA because Billups has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11034. Plaintiff Robert Blanch is an individual residing in Virginia. Blanch worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Blanch has been eligible to receive overtime pay under the

FLSA because Blanch has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11035. Plaintiff William Blocker is an individual residing in Virginia. Blocker worked as

a delivery driver for FedEx in Virginia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Blocker has been

eligible to receive overtime pay under the FLSA because Blocker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11036. Plaintiff Patrick Boakye is an individual residing in Virginia. Boakye worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Boakye has been

eligible to receive overtime pay under the FLSA because Boakye has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11037. Plaintiff Tonney Boan is an individual residing in Virginia. Boan worked as a

delivery driver for FedEx in Virginia from approximately 2010 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Boan has been

eligible to receive overtime pay under the FLSA because Boan has driven a vehicle weighing



                                              2889
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2890 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11038. Plaintiff Jermaine Boatner is an individual residing in Virginia. Boatner worked

as a delivery driver for FedEx in Virginia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Boatner has been

eligible to receive overtime pay under the FLSA because Boatner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11039. Plaintiff John Boise is an individual residing in Virginia. Boise worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Boise has been

eligible to receive overtime pay under the FLSA because Boise has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11040. Plaintiff Brandon Bond is an individual residing in Virginia. Bond worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Bond has been eligible to receive overtime pay under the

FLSA because Bond has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11041. Plaintiff Marvin Booker is an individual residing in Virginia. Booker worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Booker has been

eligible to receive overtime pay under the FLSA because Booker has driven a vehicle weighing



                                               2890
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2891 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11042. Plaintiff Christopher Boone is an individual residing in Virginia. Boone worked

as a delivery driver for FedEx in Virginia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Boone has been

eligible to receive overtime pay under the FLSA because Boone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11043. Plaintiff Brian Boyce is an individual residing in West Virginia. Boyce worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Boyce has been eligible to receive overtime pay

under the FLSA because Boyce has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11044. Plaintiff Wayne Brann is an individual residing in North Carolina. Brann worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brann has been

eligible to receive overtime pay under the FLSA because Brann has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11045. Plaintiff Sabrina Brill is an individual residing in West Virginia. Brill worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brill has been

eligible to receive overtime pay under the FLSA because Brill has driven a vehicle weighing less



                                               2891
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2892 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11046. Plaintiff Monica Broadnax is an individual residing in Virginia. Broadnax worked

as a delivery driver for FedEx in Virginia from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Broadnax has been

eligible to receive overtime pay under the FLSA because Broadnax has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11047. Plaintiff Jeffery Brooks is an individual residing in Virginia. Brooks worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11048. Plaintiff Michael Ferguson is an individual residing in Virginia. Brooks worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Brooks has been

eligible to receive overtime pay under the FLSA because Brooks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11049. Plaintiff Renado Brown is an individual residing in Virginia. Brown worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Brown has been eligible to receive overtime pay under the



                                               2892
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2893 of 3128




FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11050. Plaintiff Jameze Brown is an individual residing in Maryland. Brown worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Brown has been eligible to receive overtime pay under the

FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11051. Plaintiff Kenneth Brown is an individual residing in Virginia. Brown worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Brown has been eligible to receive overtime pay under the

FLSA because Brown has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11052. Plaintiff Terrence Brown is an individual residing in Virginia. Brown worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brown has been

eligible to receive overtime pay under the FLSA because Brown has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11053. Plaintiff Jayvon Brownlee is an individual residing in Virginia. Brownlee worked

as a delivery driver for FedEx in Virginia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Brownlee has been

eligible to receive overtime pay under the FLSA because Brownlee has driven a vehicle




                                              2893
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2894 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11054. Plaintiff Derek Brumfield is an individual residing in Virginia. Brumfield worked

as a delivery driver for FedEx in Virginia from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Brumfield has been

eligible to receive overtime pay under the FLSA because Brumfield has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11055. Plaintiff Anthony Bryant is an individual residing in Virginia. Bryant worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11056. Plaintiff Michael Buchanan is an individual residing in Virginia. Buchanan

worked as a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Buchanan has been eligible to receive overtime pay under the FLSA because Buchanan has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11057. Plaintiff David Bullock is an individual residing in Virginia. Bullock worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Bullock has been eligible to receive overtime pay under the



                                              2894
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2895 of 3128




FLSA because Bullock has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11058. Plaintiff Levar Butler is an individual residing in Florida. Butler worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Butler has been

eligible to receive overtime pay under the FLSA because Butler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11059. Plaintiff Mark Calano is an individual residing in Virginia. Calano worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Calano has been eligible to receive overtime pay under the

FLSA because Calano has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11060. Plaintiff Jacob Casas is an individual residing in Virginia. Casas worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Casas has been eligible to receive overtime pay under the

FLSA because Casas has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11061. Plaintiff Robert Chandler is an individual residing in Virginia. Chandler worked

as a delivery driver for FedEx in Virginia from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Chandler has been

eligible to receive overtime pay under the FLSA because Chandler has driven a vehicle weighing




                                               2895
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2896 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11062. Plaintiff Bounlay Chanyay is an individual residing in Virginia. Chanyay worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Chanyay has been eligible to receive overtime pay

under the FLSA because Chanyay has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11063. Plaintiff Rebekah Childs is an individual residing in Virginia. Childs worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Childs has been

eligible to receive overtime pay under the FLSA because Childs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11064. Plaintiff Derek Cicheskie is an individual residing in Virginia. Cicheskie worked

as a delivery driver for FedEx in Virginia from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cicheskie has been

eligible to receive overtime pay under the FLSA because Cicheskie has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11065. Plaintiff Robert Clark is an individual residing in South Carolina. Clark worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Clark has been

eligible to receive overtime pay under the FLSA because Clark has driven a vehicle weighing



                                              2896
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2897 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11066. Plaintiff John Clendenin is an individual residing in Virginia. Clendenin worked

as a delivery driver for FedEx in Virginia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Clendenin has been

eligible to receive overtime pay under the FLSA because Clendenin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11067. Plaintiff Cassandra Cleveland is an individual residing in Virginia. Cleveland

worked as a delivery driver for FedEx in Virginia from approximately 2009 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Cleveland has been eligible to receive overtime pay under the FLSA because Cleveland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11068. Plaintiff Alicia Clinton is an individual residing in Virginia. Clinton worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Clinton has been

eligible to receive overtime pay under the FLSA because Clinton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11069. Plaintiff Travis Collins is an individual residing in Virginia. Collins worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Collins has been eligible to receive overtime pay under the



                                               2897
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2898 of 3128




FLSA because Collins has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11070. Plaintiff Reed Cook is an individual residing in Virginia. Cook worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Cook has been

eligible to receive overtime pay under the FLSA because Cook has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11071. Plaintiff Cory Cooper is an individual residing in Virginia. Cooper worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cooper has been

eligible to receive overtime pay under the FLSA because Cooper has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11072. Plaintiff Theodore Cox Jr is an individual residing in Virginia. Cox Jr worked as a

delivery driver for FedEx in Virginia from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cox Jr has been

eligible to receive overtime pay under the FLSA because Cox Jr has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11073. Plaintiff Markell Credle is an individual residing in Virginia. Credle worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Credle has been eligible to receive overtime pay under the



                                               2898
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2899 of 3128




FLSA because Credle has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11074. Plaintiff John Criner is an individual residing in Virginia. Criner worked as a

delivery driver for FedEx in Virginia from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Criner has been

eligible to receive overtime pay under the FLSA because Criner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11075. Plaintiff Nathan Crosby is an individual residing in Virginia. Crosby worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Crosby has been eligible to receive overtime pay under the

FLSA because Crosby has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11076. Plaintiff Dennis Croson is an individual residing in Virginia. Croson worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Croson has been eligible to receive overtime pay under the

FLSA because Croson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11077. Plaintiff Daniel Cunnane is an individual residing in Virginia. Cunnane worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Cunnane has been eligible to receive overtime pay

under the FLSA because Cunnane has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               2899
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2900 of 3128




        11078. Plaintiff Daron Cureton is an individual residing in Virginia. Cureton worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Cureton has been

eligible to receive overtime pay under the FLSA because Cureton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11079. Plaintiff William Dailey is an individual residing in Virginia. Dailey worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Dailey has been eligible to receive overtime pay under the

FLSA because Dailey has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11080. Plaintiff Irvin Davis is an individual residing in Virginia. Davis worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11081. Plaintiff Bradley Davis is an individual residing in Virginia. Davis worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Davis has been eligible to receive overtime pay under the

FLSA because Davis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11082. Plaintiff Aaron Davis is an individual residing in Virginia. Davis worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2021 but was employed



                                               2900
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2901 of 3128




through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11083. Plaintiff Robert Dawkins is an individual residing in Virginia. Dawkins worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dawkins has been

eligible to receive overtime pay under the FLSA because Dawkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11084. Plaintiff Craig Campbell is an individual residing in Virginia. Desrosier worked

as a delivery driver for FedEx in Virginia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Desrosier has been

eligible to receive overtime pay under the FLSA because Desrosier has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11085. Plaintiff David Dickerson is an individual residing in Virginia. Dickerson worked

as a delivery driver for FedEx in Virginia from approximately 2010 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dickerson has been

eligible to receive overtime pay under the FLSA because Dickerson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2901
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2902 of 3128




        11086. Plaintiff Shavon Thomas is an individual residing in Virginia. Diehl worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Diehl has been

eligible to receive overtime pay under the FLSA because Diehl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11087. Plaintiff Kimberly Dixon is an individual residing in Virginia. Dixon worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dixon has been

eligible to receive overtime pay under the FLSA because Dixon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11088. Plaintiff Robert Donald is an individual residing in Florida. Donald worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Donald has been eligible to receive overtime pay under the

FLSA because Donald has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11089. Plaintiff Billy Donley is an individual residing in Virginia. Donley worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Donley has been

eligible to receive overtime pay under the FLSA because Donley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2902
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2903 of 3128




        11090. Plaintiff Jonathan Douchette is an individual residing in Virginia. Douchette

worked as a delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Douchette has been eligible to receive overtime pay under the FLSA because Douchette has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11091. Plaintiff Donnell Douglas is an individual residing in Virginia. Douglas worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Douglas has been eligible to receive overtime pay

under the FLSA because Douglas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11092. Plaintiff Ryan Driskell is an individual residing in Virginia. Driskell worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Driskell has been

eligible to receive overtime pay under the FLSA because Driskell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11093. Plaintiff Darrel Duggins is an individual residing in Virginia. Duggins worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Duggins has been

eligible to receive overtime pay under the FLSA because Duggins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2903
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 2904 of 3128




        11094. Plaintiff Kenneth Dyson is an individual residing in Virginia. Dyson worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Dyson has been eligible to receive overtime pay under the

FLSA because Dyson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11095. Plaintiff Jamal Ebanks Smith is an individual residing in Virginia. Ebanks Smith

worked as a delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Ebanks

Smith has been eligible to receive overtime pay under the FLSA because Ebanks Smith has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11096. Plaintiff Lawanda Edwards is an individual residing in Virginia. Edwards worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Edwards has been

eligible to receive overtime pay under the FLSA because Edwards has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11097. Plaintiff Adrian Ellis is an individual residing in Virginia. Ellis worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ellis has been

eligible to receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                                2904
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 2905 of 3128




        11098. Plaintiff John Ellis is an individual residing in Virginia. Ellis worked as a delivery

driver for FedEx in Virginia from approximately 2014 to 2017 but was employed through

intermediary entities that FedEx calls independent service providers. Ellis has been eligible to

receive overtime pay under the FLSA because Ellis has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11099. Plaintiff Scott Engelke is an individual residing in Virginia. Engelke worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Engelke has been

eligible to receive overtime pay under the FLSA because Engelke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11100. Plaintiff Nikia Evans is an individual residing in Virginia. Evans worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Evans has been

eligible to receive overtime pay under the FLSA because Evans has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11101. Plaintiff Valentine Farland is an individual residing in North Carolina. Farland

worked as a delivery driver for FedEx in Virginia from approximately 2009 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Farland

has been eligible to receive overtime pay under the FLSA because Farland has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                                2905
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2906 of 3128




        11102. Plaintiff Jarrid Fauntleroy is an individual residing in Virginia. Fauntleroy worked

as a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Fauntleroy has

been eligible to receive overtime pay under the FLSA because Fauntleroy has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11103. Plaintiff Lynn Faxon-Goss is an individual residing in Virginia. Faxon-Goss

worked as a delivery driver for FedEx in Virginia from approximately 2012 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Faxon-

Goss has been eligible to receive overtime pay under the FLSA because Faxon-Goss has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11104. Plaintiff Michael Fenwick is an individual residing in Virginia. Fenwick worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Fenwick has been

eligible to receive overtime pay under the FLSA because Fenwick has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11105. Plaintiff Brandy Fitzgerald is an individual residing in Virginia. Fitzgerald

worked as a delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Fitzgerald has been eligible to receive overtime pay under the FLSA because Fitzgerald has




                                               2906
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2907 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11106. Plaintiff Nicole Flowers is an individual residing in Virginia. Flowers worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Flowers has been

eligible to receive overtime pay under the FLSA because Flowers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11107. Plaintiff Eugene Frimpong is an individual residing in Virginia. Frimpong worked

as a delivery driver for FedEx in Virginia from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Frimpong has been

eligible to receive overtime pay under the FLSA because Frimpong has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11108. Plaintiff Wesley Gadson is an individual residing in Virginia. Gadson worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Gadson has been

eligible to receive overtime pay under the FLSA because Gadson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11109. Plaintiff Joseph Gangi-Schmidt is an individual residing in Virginia. Gangi-

Schmidt worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.



                                              2907
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2908 of 3128




Gangi-Schmidt has been eligible to receive overtime pay under the FLSA because Gangi-

Schmidt has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        11110. Plaintiff Patrick Gannon is an individual residing in Virginia. Gannon worked as a

delivery driver for FedEx in Virginia from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gannon has been

eligible to receive overtime pay under the FLSA because Gannon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11111. Plaintiff John Gant is an individual residing in Virginia. Gant worked as a

delivery driver for FedEx in Virginia from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gant has been

eligible to receive overtime pay under the FLSA because Gant has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11112. Plaintiff Taylor Garlick is an individual residing in Virginia. Garlick worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Garlick has been eligible to receive overtime pay under the

FLSA because Garlick has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11113. Plaintiff Andre Garner is an individual residing in Virginia. Garner worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Garner has been



                                               2908
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 2909 of 3128




eligible to receive overtime pay under the FLSA because Garner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11114. Plaintiff Paul Gauthier is an individual residing in Florida. Gauthier worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gauthier has been

eligible to receive overtime pay under the FLSA because Gauthier has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11115. Plaintiff Walter Gavidia is an individual residing in Virginia. Gavidia worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Gavidia has been

eligible to receive overtime pay under the FLSA because Gavidia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11116. Plaintiff Christopher Gillespie is an individual residing in West Virginia.

Gillespie worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Gillespie has been eligible to receive overtime pay under the FLSA because Gillespie has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11117. Plaintiff Javonte Gillis is an individual residing in Virginia. Gillis worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was employed



                                                2909
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2910 of 3128




through intermediary entities that FedEx calls independent service providers. Gillis has been

eligible to receive overtime pay under the FLSA because Gillis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11118. Plaintiff Margaret Gillus is an individual residing in Virginia. Gillus worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Gillus has been eligible to receive overtime pay under the

FLSA because Gillus has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11119. Plaintiff Sergio Gomez is an individual residing in West Virginia. Gomez worked

as a delivery driver for FedEx in Virginia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Gomez has been

eligible to receive overtime pay under the FLSA because Gomez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11120. Plaintiff Darian Goode is an individual residing in Virginia. Goode worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Goode has been

eligible to receive overtime pay under the FLSA because Goode has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11121. Plaintiff Tyre Goodman is an individual residing in Virginia. Goodman worked as

a delivery driver for FedEx in Virginia from approximately 2018 to 2024 but was employed



                                               2910
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2911 of 3128




through intermediary entities that FedEx calls independent service providers. Goodman has been

eligible to receive overtime pay under the FLSA because Goodman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11122. Plaintiff Willie Goodwyn is an individual residing in Virginia. Goodwyn worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Goodwyn has been eligible to receive overtime pay

under the FLSA because Goodwyn has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11123. Plaintiff Chanice Gordon is an individual residing in Virginia. Gordon worked as

a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Gordon has been

eligible to receive overtime pay under the FLSA because Gordon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11124. Plaintiff Jarleshia Govan is an individual residing in North Carolina. Govan

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Govan

has been eligible to receive overtime pay under the FLSA because Govan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11125. Plaintiff Jeremy Gowers is an individual residing in Virginia. Gowers worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2016 but was employed



                                              2911
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2912 of 3128




through intermediary entities that FedEx calls independent service providers. Gowers has been

eligible to receive overtime pay under the FLSA because Gowers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11126. Plaintiff Roy Graves is an individual residing in Virginia. Graves worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Graves has been

eligible to receive overtime pay under the FLSA because Graves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11127. Plaintiff Devita Graves is an individual residing in Virginia. Graves worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Graves has been

eligible to receive overtime pay under the FLSA because Graves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11128. Plaintiff Michael Gray is an individual residing in Virginia. Gray worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gray has been

eligible to receive overtime pay under the FLSA because Gray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2912
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2913 of 3128




        11129. Plaintiff Joseph Green is an individual residing in Virginia. Green worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Green has been

eligible to receive overtime pay under the FLSA because Green has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11130. Plaintiff Tawana Greene is an individual residing in Virginia. Greene worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Greene has been

eligible to receive overtime pay under the FLSA because Greene has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11131. Plaintiff Kurt Greer is an individual residing in Virginia. Greer worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Greer has been

eligible to receive overtime pay under the FLSA because Greer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11132. Plaintiff Daniel Grinnell is an individual residing in Virginia. Grinnell worked as

a delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Grinnell has been

eligible to receive overtime pay under the FLSA because Grinnell has driven a vehicle weighing




                                               2913
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2914 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11133. Plaintiff John Guinn is an individual residing in Virginia. Guinn worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Guinn has been

eligible to receive overtime pay under the FLSA because Guinn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11134. Plaintiff Ross Haith is an individual residing in Virginia. Haith worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Haith has been

eligible to receive overtime pay under the FLSA because Haith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11135. Plaintiff William Hallums is an individual residing in Virginia. Hallums worked

as a delivery driver for FedEx in Virginia from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hallums has been

eligible to receive overtime pay under the FLSA because Hallums has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11136. Plaintiff Eric Hamill is an individual residing in West Virginia. Hamill worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Hamill has been eligible to receive overtime pay



                                               2914
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2915 of 3128




under the FLSA because Hamill has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11137. Plaintiff Paul Hamilton is an individual residing in Virginia. Hamilton worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hamilton has been

eligible to receive overtime pay under the FLSA because Hamilton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11138. Plaintiff Robert Hampton is an individual residing in Virginia. Hampton worked

as a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hampton has been

eligible to receive overtime pay under the FLSA because Hampton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11139. Plaintiff Miquitta Hargrove is an individual residing in Virginia. Hargrove

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Hargrove has been eligible to receive

overtime pay under the FLSA because Hargrove has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11140. Plaintiff Tina Hargrove is an individual residing in Virginia. Hargrove worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hargrove has been

eligible to receive overtime pay under the FLSA because Hargrove has driven a vehicle weighing



                                              2915
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2916 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11141. Plaintiff Christopher Harris is an individual residing in Virginia. Harris worked as

a delivery driver for FedEx in Virginia from approximately 1999 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11142. Plaintiff Ronee Harris is an individual residing in Virginia. Harris worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Harris has been eligible to receive overtime pay under the

FLSA because Harris has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11143. Plaintiff Donnell Harris is an individual residing in Virginia. Harris worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11144. Plaintiff Damien Harris is an individual residing in Virginia. Harris worked as a

delivery driver for FedEx in Virginia from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing



                                               2916
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2917 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11145. Plaintiff Malcom Harwood is an individual residing in Maryland. Harwood

worked as a delivery driver for FedEx in Virginia and Maryland but was employed through

intermediary entities that FedEx calls independent service providers. Harwood has been eligible

to receive overtime pay under the FLSA because Harwood has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11146. Plaintiff Diana Hawkins is an individual residing in North Carolina. Hawkins

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Hawkins

has been eligible to receive overtime pay under the FLSA because Hawkins has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11147. Plaintiff Perry Hawley is an individual residing in Virginia. Hawley worked as a

delivery driver for FedEx in Virginia from approximately 2005 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hawley has been

eligible to receive overtime pay under the FLSA because Hawley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11148. Plaintiff Gregory Heaster is an individual residing in Virginia. Heaster worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Heaster has been



                                              2917
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2918 of 3128




eligible to receive overtime pay under the FLSA because Heaster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11149. Plaintiff Sharilyn Hendershot is an individual residing in Virginia. Hendershot

worked as a delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Hendershot has been eligible to receive overtime pay under the FLSA because Hendershot has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11150. Plaintiff Scott Hendricks is an individual residing in Virginia. Hendricks worked

as a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hendricks has been

eligible to receive overtime pay under the FLSA because Hendricks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11151. Plaintiff Derek Hennett is an individual residing in Colorado. Hennett worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hennett has been

eligible to receive overtime pay under the FLSA because Hennett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11152. Plaintiff Dyrell Hewlett is an individual residing in Virginia. Hewlett worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed



                                               2918
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2919 of 3128




through intermediary entities that FedEx calls independent service providers. Hewlett has been

eligible to receive overtime pay under the FLSA because Hewlett has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11153. Plaintiff Anthony Hicks is an individual residing in Virginia. Hicks worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hicks has been

eligible to receive overtime pay under the FLSA because Hicks has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11154. Plaintiff Daniel Hite is an individual residing in Virginia. Hite worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hite has been

eligible to receive overtime pay under the FLSA because Hite has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11155. Plaintiff Redzo Hodzic is an individual residing in Virginia. Hodzic worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Hodzic has been eligible to receive overtime pay under the

FLSA because Hodzic has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11156. Plaintiff Robert Hoffman is an individual residing in Virginia. Hoffman worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that



                                               2919
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2920 of 3128




FedEx calls independent service providers. Hoffman has been eligible to receive overtime pay

under the FLSA because Hoffman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11157. Plaintiff Deborah Hollins is an individual residing in Virginia. Hollins worked as

a delivery driver for FedEx in Virginia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hollins has been

eligible to receive overtime pay under the FLSA because Hollins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11158. Plaintiff Donald Holmes Iii is an individual residing in Virginia. Holmes Iii

worked as a delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Holmes

Iii has been eligible to receive overtime pay under the FLSA because Holmes Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11159. Plaintiff Gregory Hood is an individual residing in Virginia. Hood worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hood has been

eligible to receive overtime pay under the FLSA because Hood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11160. Plaintiff Richard Hood is an individual residing in Virginia. Hood worked as a

delivery driver for FedEx in Virginia from approximately 2003 to 2021 but was employed



                                               2920
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2921 of 3128




through intermediary entities that FedEx calls independent service providers. Hood has been

eligible to receive overtime pay under the FLSA because Hood has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11161. Plaintiff Kevin Hooghkirk is an individual residing in Virginia. Hooghkirk

worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Hooghkirk has been eligible to receive overtime pay under the FLSA because Hooghkirk has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11162. Plaintiff Kendrick Hopson is an individual residing in Virginia. Hopson worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Hopson has been eligible to receive overtime pay

under the FLSA because Hopson has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11163. Plaintiff Harry Howery is an individual residing in Virginia. Howery worked as a

delivery driver for FedEx in Virginia from approximately 2002 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Howery has been

eligible to receive overtime pay under the FLSA because Howery has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11164. Plaintiff James Hribar is an individual residing in Virginia. Hribar worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx



                                               2921
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 2922 of 3128




calls independent service providers. Hribar has been eligible to receive overtime pay under the

FLSA because Hribar has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11165. Plaintiff Corey Hyman is an individual residing in Virginia. Hyman worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Hyman has been

eligible to receive overtime pay under the FLSA because Hyman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11166. Plaintiff Mohammed Ibrahim is an individual residing in Virginia. Ibrahim

worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Ibrahim

has been eligible to receive overtime pay under the FLSA because Ibrahim has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11167. Plaintiff Eddie Irizarry is an individual residing in Virginia. Irizarry worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Irizarry has been

eligible to receive overtime pay under the FLSA because Irizarry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11168. Plaintiff Larry Jackson is an individual residing in Virginia. Jackson worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed



                                                2922
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2923 of 3128




through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11169. Plaintiff Dakota Jackson is an individual residing in Virginia. Jackson worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11170. Plaintiff Renee Jackson is an individual residing in Virginia. Jackson worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Jackson has been

eligible to receive overtime pay under the FLSA because Jackson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11171. Plaintiff Leonard Jackson Iv is an individual residing in West Virginia. Jackson Iv

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Jackson Iv has been eligible to receive

overtime pay under the FLSA because Jackson Iv has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11172. Plaintiff Albert Jacobs is an individual residing in Virginia. Jacobs worked as a

delivery driver for FedEx in Virginia from approximately 2020 to 2022 but was employed



                                               2923
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2924 of 3128




through intermediary entities that FedEx calls independent service providers. Jacobs has been

eligible to receive overtime pay under the FLSA because Jacobs has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11173. Plaintiff Marcel James is an individual residing in Virginia. James worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. James has been

eligible to receive overtime pay under the FLSA because James has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11174. Plaintiff Dennis Jemison is an individual residing in Virginia. Jemison worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Jemison has been eligible to receive overtime pay

under the FLSA because Jemison has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11175. Plaintiff Carl Jenkins is an individual residing in Virginia. Jenkins worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Jenkins has been

eligible to receive overtime pay under the FLSA because Jenkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11176. Plaintiff James Johnson is an individual residing in Virginia. Johnson worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2017 but was employed



                                               2924
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2925 of 3128




through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11177. Plaintiff Ralph Jones is an individual residing in Virginia. Jones worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11178. Plaintiff Michael Jones is an individual residing in Virginia. Jones worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11179. Plaintiff Corey Jones is an individual residing in Virginia. Jones worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2925
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2926 of 3128




        11180. Plaintiff Gail Jones is an individual residing in Virginia. Jones worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11181. Plaintiff Tywan Keene is an individual residing in Virginia. Keene worked as a

delivery driver for FedEx in Virginia from approximately 2008 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Keene has been

eligible to receive overtime pay under the FLSA because Keene has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11182. Plaintiff Hawoong Kim is an individual residing in Virginia. Kim worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kim has been

eligible to receive overtime pay under the FLSA because Kim has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11183. Plaintiff Stanley Kirkwood is an individual residing in Virginia. Kirkwood

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Kirkwood has been eligible to receive

overtime pay under the FLSA because Kirkwood has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                               2926
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2927 of 3128




        11184. Plaintiff Tierra Knox is an individual residing in Virginia. Knox worked as a

delivery driver for FedEx in Virginia from approximately 2006 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Knox has been

eligible to receive overtime pay under the FLSA because Knox has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11185. Plaintiff Shawn Lambert is an individual residing in Virginia. Lambert worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lambert has been

eligible to receive overtime pay under the FLSA because Lambert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11186. Plaintiff Marvin Lassiter is an individual residing in North Carolina. Lassiter

worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Lassiter

has been eligible to receive overtime pay under the FLSA because Lassiter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11187. Plaintiff Brent Lease is an individual residing in Virginia. Lease worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lease has been

eligible to receive overtime pay under the FLSA because Lease has driven a vehicle weighing




                                               2927
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2928 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11188. Plaintiff Coco Leemkuil is an individual residing in Virginia. Leemkuil worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Leemkuil has been eligible to receive overtime pay

under the FLSA because Leemkuil has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11189. Plaintiff Demario Lewis is an individual residing in Virginia. Lewis worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11190. Plaintiff Richard Lewis is an individual residing in Virginia. Lewis worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Lewis has been eligible to receive overtime pay under the

FLSA because Lewis has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11191. Plaintiff Thomas Lloyd is an individual residing in Virginia. Lloyd worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lloyd has been

eligible to receive overtime pay under the FLSA because Lloyd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2928
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2929 of 3128




        11192. Plaintiff Sidney Logan is an individual residing in Virginia. Logan worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Logan has been

eligible to receive overtime pay under the FLSA because Logan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11193. Plaintiff Marcus Logan is an individual residing in Virginia. Logan worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Logan has been

eligible to receive overtime pay under the FLSA because Logan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11194. Plaintiff Donatello Lucas is an individual residing in Virginia. Lucas worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Lucas has been

eligible to receive overtime pay under the FLSA because Lucas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11195. Plaintiff Michael Lyday is an individual residing in Virginia. Lyday worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lyday has been

eligible to receive overtime pay under the FLSA because Lyday has driven a vehicle weighing




                                              2929
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2930 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11196. Plaintiff La-Antwoinette Lynch is an individual residing in North Carolina. Lynch

worked as a delivery driver for FedEx in Virginia and North Carolina from approximately 2012

to 2024 but was employed through intermediary entities that FedEx calls independent service

providers. Lynch has been eligible to receive overtime pay under the FLSA because Lynch has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11197. Plaintiff Felix Maoga is an individual residing in Virginia. Maoga worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Maoga has been eligible to receive overtime pay under the

FLSA because Maoga has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11198. Plaintiff Bradley Martin is an individual residing in Virginia. Martin worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Martin has been

eligible to receive overtime pay under the FLSA because Martin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11199. Plaintiff Ricardo Martinez is an individual residing in Virginia. Martinez worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Martinez has been eligible to receive overtime pay




                                              2930
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2931 of 3128




under the FLSA because Martinez has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11200. Plaintiff Duane Matthews is an individual residing in Virginia. Matthews worked

as a delivery driver for FedEx in Virginia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Matthews has been

eligible to receive overtime pay under the FLSA because Matthews has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11201. Plaintiff Kayla Matthews is an individual residing in Virginia. Matthews worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Matthews has been

eligible to receive overtime pay under the FLSA because Matthews has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11202. Plaintiff Sylvia Mayfield-Jackson is an individual residing in Virginia. Mayfield-

Jackson worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Mayfield-Jackson has been eligible to receive overtime pay under the FLSA because Mayfield-

Jackson has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       11203. Plaintiff Cartias Mazonge is an individual residing in Maryland. Mazonge worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Mazonge has been eligible to receive overtime pay



                                              2931
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2932 of 3128




under the FLSA because Mazonge has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11204. Plaintiff David Mcbride is an individual residing in Virginia. Mcbride worked as

a delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Mcbride has been

eligible to receive overtime pay under the FLSA because Mcbride has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11205. Plaintiff Leroy Mcbride is an individual residing in Virginia. Mcbride worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Mcbride has been eligible to receive overtime pay under the

FLSA because Mcbride has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11206. Plaintiff Irene Mccabe is an individual residing in Virginia. Mccabe worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mccabe has been

eligible to receive overtime pay under the FLSA because Mccabe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11207. Plaintiff Frank Mcclain is an individual residing in Virginia. Mcclain worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mcclain has been

eligible to receive overtime pay under the FLSA because Mcclain has driven a vehicle weighing



                                              2932
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2933 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11208. Plaintiff Adam Mcclenney is an individual residing in Virginia. Mcclenney

worked as a delivery driver for FedEx in Virginia from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcclenney has been eligible to receive overtime pay under the FLSA because Mcclenney has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11209. Plaintiff David Mccormick is an individual residing in Virginia. Mccormick

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Mccormick has been eligible to receive overtime pay under the FLSA because Mccormick has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11210. Plaintiff Teresa Mclellan is an individual residing in Virginia. Mclellan worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Mclellan has been eligible to receive overtime pay

under the FLSA because Mclellan has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11211. Plaintiff Mario Mcmorris is an individual residing in Virginia. Mcmorris worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mcmorris has been

eligible to receive overtime pay under the FLSA because Mcmorris has driven a vehicle



                                              2933
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2934 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11212. Plaintiff Natasha Meadows is an individual residing in Virginia. Meadows

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Meadows has been eligible to receive

overtime pay under the FLSA because Meadows has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11213. Plaintiff Victor Meadows is an individual residing in Virginia. Meadows worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Meadows has been

eligible to receive overtime pay under the FLSA because Meadows has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11214. Plaintiff Joyce Melton is an individual residing in Virginia. Melton worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Melton has been

eligible to receive overtime pay under the FLSA because Melton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11215. Plaintiff James Meredith is an individual residing in Virginia. Meredith worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Meredith has been eligible to receive overtime pay




                                              2934
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2935 of 3128




under the FLSA because Meredith has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11216. Plaintiff Paul Milberry is an individual residing in Virginia. Milberry worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Milberry has been eligible to receive overtime pay under the

FLSA because Milberry has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11217. Plaintiff Santino Miles is an individual residing in Virginia. Miles worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Miles has been eligible to receive overtime pay under the

FLSA because Miles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11218. Plaintiff David Miles is an individual residing in Virginia. Miles worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Miles has been eligible to receive overtime pay under the

FLSA because Miles has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11219. Plaintiff Steven Miller is an individual residing in Virginia. Miller worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2935
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2936 of 3128




        11220. Plaintiff Tyson Miller is an individual residing in Virginia. Miller worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11221. Plaintiff Jerry Mobley is an individual residing in Virginia. Mobley worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Mobley has been

eligible to receive overtime pay under the FLSA because Mobley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11222. Plaintiff Kevin Moffatt is an individual residing in California. Moffatt worked as

a delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Moffatt has been

eligible to receive overtime pay under the FLSA because Moffatt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11223. Plaintiff Michael Monroe is an individual residing in Virginia. Monroe worked as

a delivery driver for FedEx in Virginia from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Monroe has been

eligible to receive overtime pay under the FLSA because Monroe has driven a vehicle weighing




                                               2936
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2937 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11224. Plaintiff William Monroe Iv is an individual residing in Virginia. Monroe Iv

worked as a delivery driver for FedEx in Virginia from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Monroe

Iv has been eligible to receive overtime pay under the FLSA because Monroe Iv has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11225. Plaintiff Nicholas Moody is an individual residing in Virginia. Moody worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Moody has been

eligible to receive overtime pay under the FLSA because Moody has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11226. Plaintiff Kelcey Moore is an individual residing in Virginia. Moore worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Moore has been

eligible to receive overtime pay under the FLSA because Moore has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11227. Plaintiff Ronald Shough is an individual residing in Virginia. Morales worked as

a delivery driver for FedEx in Virginia from approximately 2008 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Morales has been



                                              2937
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2938 of 3128




eligible to receive overtime pay under the FLSA because Morales has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11228. Plaintiff Jay Morgan is an individual residing in Virginia. Morgan worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Morgan has been eligible to receive overtime pay under the

FLSA because Morgan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11229. Plaintiff Michael Morgan is an individual residing in Virginia. Morgan worked as

a delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Morgan has been

eligible to receive overtime pay under the FLSA because Morgan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11230. Plaintiff Tyrone Mosley is an individual residing in Virginia. Mosley worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Mosley has been eligible to receive overtime pay under the

FLSA because Mosley has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11231. Plaintiff Kenneth Mullens is an individual residing in Virginia. Mullens worked

as a delivery driver for FedEx in Virginia from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Mullens has been

eligible to receive overtime pay under the FLSA because Mullens has driven a vehicle weighing



                                              2938
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2939 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11232. Plaintiff Roger Munford is an individual residing in Virginia. Munford worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Munford has been

eligible to receive overtime pay under the FLSA because Munford has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11233. Plaintiff Stephen Munro is an individual residing in Virginia. Munro worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Munro has been eligible to receive overtime pay under the

FLSA because Munro has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11234. Plaintiff Liridon Musliu is an individual residing in Virginia. Musliu worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Musliu has been

eligible to receive overtime pay under the FLSA because Musliu has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11235. Plaintiff Matthew Myers is an individual residing in West Virginia. Myers worked

as a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Myers has been

eligible to receive overtime pay under the FLSA because Myers has driven a vehicle weighing



                                              2939
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2940 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11236. Plaintiff Rolando Nash is an individual residing in Virginia. Nash worked as a

delivery driver for FedEx in Virginia from approximately 2022 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Nash has been

eligible to receive overtime pay under the FLSA because Nash has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11237. Plaintiff Bryant New is an individual residing in North Carolina. New worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. New has been eligible to receive overtime pay under the

FLSA because New has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11238. Plaintiff William Newby Jr is an individual residing in Virginia. Newby Jr

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Newby Jr has been eligible to receive

overtime pay under the FLSA because Newby Jr has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11239. Plaintiff Aaryn Newcomb is an individual residing in Virginia. Newcomb worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Newcomb has been

eligible to receive overtime pay under the FLSA because Newcomb has driven a vehicle




                                              2940
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 2941 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11240. Plaintiff David Nichols Jr. is an individual residing in Virginia. Nichols Jr.

worked as a delivery driver for FedEx in Virginia from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Nichols

Jr. has been eligible to receive overtime pay under the FLSA because Nichols Jr. has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11241. Plaintiff Peter Nugent is an individual residing in Virginia. Nugent worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Nugent has been

eligible to receive overtime pay under the FLSA because Nugent has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11242. Plaintiff Bobby Oquinn is an individual residing in Tennessee. Oquinn worked as

a delivery driver for FedEx in Virginia from approximately 1989 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Oquinn has been

eligible to receive overtime pay under the FLSA because Oquinn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11243. Plaintiff Rangel Otero is an individual residing in Virginia. Otero worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Otero has been eligible to receive overtime pay under the



                                                2941
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2942 of 3128




FLSA because Otero has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11244. Plaintiff James Otwchey is an individual residing in Virginia. Otwchey worked as

a delivery driver for FedEx in Virginia from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Otwchey has been

eligible to receive overtime pay under the FLSA because Otwchey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11245. Plaintiff Phillip Owens is an individual residing in Virginia. Owens worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11246. Plaintiff Mignon Parker is an individual residing in Virginia. Parker worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11247. Plaintiff Lindsey Parsons is an individual residing in Virginia. Parsons worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Parsons has been eligible to receive overtime pay



                                              2942
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2943 of 3128




under the FLSA because Parsons has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11248. Plaintiff Ian Patterson is an individual residing in South Carolina. Patterson

worked as a delivery driver for FedEx in Virginia from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Patterson

has been eligible to receive overtime pay under the FLSA because Patterson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11249. Plaintiff Ronald Payne is an individual residing in Virginia. Payne worked as a

delivery driver for FedEx in Virginia from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Payne has been

eligible to receive overtime pay under the FLSA because Payne has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11250. Plaintiff Mark Pearson is an individual residing in Virginia. Pearson worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pearson has been

eligible to receive overtime pay under the FLSA because Pearson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11251. Plaintiff Michael Peggs is an individual residing in West Virginia. Peggs worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Peggs has been eligible to receive overtime pay under



                                               2943
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 2944 of 3128




the FLSA because Peggs has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11252. Plaintiff Tameisha Pennington is an individual residing in Virginia. Pennington

worked as a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Pennington has been eligible to receive overtime pay under the FLSA because Pennington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11253. Plaintiff Michael Perry is an individual residing in Maryland. Perry worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11254. Plaintiff Travis Phillips is an individual residing in Virginia. Phillips worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Phillips has been eligible to receive overtime pay under the

FLSA because Phillips has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11255. Plaintiff Mika Pomales is an individual residing in Pennsylvania. Pomales worked

as a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Pomales has been

eligible to receive overtime pay under the FLSA because Pomales has driven a vehicle weighing



                                                2944
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24      Page 2945 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11256. Plaintiff Anthony Powers is an individual residing in Maryland. Powers worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Powers has been

eligible to receive overtime pay under the FLSA because Powers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11257. Plaintiff Paul Profit is an individual residing in Virginia. Profit worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Profit has been eligible to receive overtime pay under the

FLSA because Profit has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11258. Plaintiff Andrea Rahall is an individual residing in Florida. Rahall worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Rahall has been eligible to receive overtime pay under the

FLSA because Rahall has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11259. Plaintiff Mohammad Rahman is an individual residing in Pennsylvania. Rahman

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Rahman has been eligible to receive

overtime pay under the FLSA because Rahman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                                2945
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2946 of 3128




        11260. Plaintiff Rodger Ramsey is an individual residing in Virginia. Ramsey worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Ramsey has been eligible to receive overtime pay

under the FLSA because Ramsey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11261. Plaintiff Archie Randall is an individual residing in Virginia. Randall worked as a

delivery driver for FedEx in Virginia from approximately 2008 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Randall has been

eligible to receive overtime pay under the FLSA because Randall has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11262. Plaintiff Jovan Ray is an individual residing in Virginia. Ray worked as a delivery

driver for FedEx in Virginia from approximately 2011 to 2021 but was employed through

intermediary entities that FedEx calls independent service providers. Ray has been eligible to

receive overtime pay under the FLSA because Ray has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11263. Plaintiff Usman Razzaq is an individual residing in Virginia. Razzaq worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Razzaq has been eligible to receive overtime pay under the

FLSA because Razzaq has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11264. Plaintiff Jordan Reid is an individual residing in Pennsylvania. Reid worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx



                                               2946
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2947 of 3128




calls independent service providers. Reid has been eligible to receive overtime pay under the

FLSA because Reid has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11265. Plaintiff Keandre Jett is an individual residing in Virginia. Rhinehart worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Rhinehart has been

eligible to receive overtime pay under the FLSA because Rhinehart has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11266. Plaintiff Andre Ricketts is an individual residing in Florida. Ricketts worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ricketts has been

eligible to receive overtime pay under the FLSA because Ricketts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11267. Plaintiff Marcus Riley is an individual residing in Virginia. Riley worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Riley has been

eligible to receive overtime pay under the FLSA because Riley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11268. Plaintiff Carolyn Riley is an individual residing in Virginia. Riley worked as a

delivery driver for FedEx in Virginia from approximately 2011 to 2020 but was employed



                                               2947
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2948 of 3128




through intermediary entities that FedEx calls independent service providers. Riley has been

eligible to receive overtime pay under the FLSA because Riley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11269. Plaintiff Shanekqua Rivera is an individual residing in Virginia. Rivera worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rivera has been

eligible to receive overtime pay under the FLSA because Rivera has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11270. Plaintiff Zachariah Robertson is an individual residing in Virginia. Robertson

worked as a delivery driver for FedEx in Virginia from approximately 2014 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Robertson has been eligible to receive overtime pay under the FLSA because Robertson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11271. Plaintiff Michael Robinson is an individual residing in Virginia. Robinson worked

as a delivery driver for FedEx in Virginia from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Robinson has been

eligible to receive overtime pay under the FLSA because Robinson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              2948
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2949 of 3128




        11272. Plaintiff Dominick Rodolis is an individual residing in Virginia. Rodolis worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Rodolis has been eligible to receive overtime pay

under the FLSA because Rodolis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11273. Plaintiff Zachary Rogers is an individual residing in North Carolina. Rogers

worked as a delivery driver for FedEx in Virginia from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Rogers

has been eligible to receive overtime pay under the FLSA because Rogers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11274. Plaintiff Robert Rootes is an individual residing in Virginia. Rootes worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Rootes has been

eligible to receive overtime pay under the FLSA because Rootes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11275. Plaintiff Gina Rowe is an individual residing in Virginia. Rowe worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Rowe has been

eligible to receive overtime pay under the FLSA because Rowe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              2949
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2950 of 3128




        11276. Plaintiff Vincent Russo is an individual residing in Virginia. Russo worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Russo has been eligible to receive overtime pay under the

FLSA because Russo has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11277. Plaintiff Mohammed Sadek is an individual residing in Virginia. Sadek worked as

a delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sadek has been

eligible to receive overtime pay under the FLSA because Sadek has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11278. Plaintiff Gerald Samuels Iv is an individual residing in Virginia. Samuels Iv

worked as a delivery driver for FedEx in Virginia from approximately 2009 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Samuels

Iv has been eligible to receive overtime pay under the FLSA because Samuels Iv has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11279. Plaintiff Adolph Satoski is an individual residing in Virginia. Satoski worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Satoski has been

eligible to receive overtime pay under the FLSA because Satoski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               2950
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2951 of 3128




        11280. Plaintiff Christopher Saum is an individual residing in Virginia. Saum worked as

a delivery driver for FedEx in Virginia from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Saum has been

eligible to receive overtime pay under the FLSA because Saum has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11281. Plaintiff Samuel Seward is an individual residing in Virginia. Seward worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Seward has been

eligible to receive overtime pay under the FLSA because Seward has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11282. Plaintiff Jon Shannon is an individual residing in Virginia. Shannon worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shannon has been

eligible to receive overtime pay under the FLSA because Shannon has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11283. Plaintiff Tahib Shelton is an individual residing in Virginia. Shelton worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Shelton has been

eligible to receive overtime pay under the FLSA because Shelton has driven a vehicle weighing




                                               2951
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2952 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11284. Plaintiff Christopher Shelton is an individual residing in Virginia. Shelton worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Shelton has been

eligible to receive overtime pay under the FLSA because Shelton has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11285. Plaintiff Larry Shilling is an individual residing in Virginia. Shilling worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Shilling has been

eligible to receive overtime pay under the FLSA because Shilling has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11286. Plaintiff Michael Shipp is an individual residing in Virginia. Shipp worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Shipp has been eligible to receive overtime pay under the

FLSA because Shipp has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11287. Plaintiff Marie Short is an individual residing in Virginia. Short worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Short has been

eligible to receive overtime pay under the FLSA because Short has driven a vehicle weighing



                                               2952
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2953 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11288. Plaintiff Justin Simmons is an individual residing in Virginia. Simmons worked as

a delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Simmons has been

eligible to receive overtime pay under the FLSA because Simmons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11289. Plaintiff Geoffrey Smith is an individual residing in Virginia. Smith worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11290. Plaintiff Lenise Smith is an individual residing in Virginia. Smith worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11291. Plaintiff Brad Smith is an individual residing in Virginia. Smith worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been



                                              2953
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2954 of 3128




eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11292. Plaintiff Terrence Smith is an individual residing in Virginia. Smith worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11293. Plaintiff Joshua Smith is an individual residing in Virginia. Smith worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Smith has been eligible to receive overtime pay under the

FLSA because Smith has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11294. Plaintiff Sandy Snellings is an individual residing in Virginia. Snellings worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Snellings has been

eligible to receive overtime pay under the FLSA because Snellings has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11295. Plaintiff Brian Snoddy is an individual residing in Virginia. Snoddy worked as a

delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Snoddy has been



                                               2954
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2955 of 3128




eligible to receive overtime pay under the FLSA because Snoddy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11296. Plaintiff Carlos Soliz is an individual residing in Virginia. Soliz worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Soliz has been

eligible to receive overtime pay under the FLSA because Soliz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11297. Plaintiff Charlena Somerville is an individual residing in Virginia. Somerville

worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Somerville has been eligible to receive overtime pay under the FLSA because Somerville has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11298. Plaintiff Anthony Sowan is an individual residing in Virginia. Sowan worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Sowan has been

eligible to receive overtime pay under the FLSA because Sowan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11299. Plaintiff Daniel Spellman is an individual residing in North Carolina. Spellman

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2024 but was



                                               2955
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 2956 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Spellman has been eligible to receive overtime pay under the FLSA because Spellman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11300. Plaintiff Jovon Spurlock is an individual residing in Virginia. Spurlock worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Spurlock has been

eligible to receive overtime pay under the FLSA because Spurlock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11301. Plaintiff Tisha Stahl is an individual residing in Virginia. Stahl worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Stahl has been

eligible to receive overtime pay under the FLSA because Stahl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11302. Plaintiff Gary Stansbury is an individual residing in Virginia. Stansbury worked

as a delivery driver for FedEx in Virginia and Indiana from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Stansbury has been eligible to receive overtime pay under the FLSA because Stansbury has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               2956
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24       Page 2957 of 3128




       11303. Plaintiff Brian Stevens is an individual residing in Virginia. Stevens worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Stevens has been eligible to receive overtime pay under the

FLSA because Stevens has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       11304. Plaintiff Sean Stevenson is an individual residing in Virginia. Stevenson worked

as a delivery driver for FedEx in Virginia from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stevenson has been

eligible to receive overtime pay under the FLSA because Stevenson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11305. Plaintiff Johnnie Stout is an individual residing in Virginia. Stout worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Stout has been eligible to receive overtime pay under the

FLSA because Stout has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       11306. Plaintiff Russell Strickler Iii is an individual residing in Virginia. Strickler Iii

worked as a delivery driver for FedEx in Virginia from approximately 2017 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Strickler

Iii has been eligible to receive overtime pay under the FLSA because Strickler Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                                2957
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2958 of 3128




        11307. Plaintiff Shawna Sullivan is an individual residing in Virginia. Sullivan worked as

a delivery driver for FedEx in Virginia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sullivan has been

eligible to receive overtime pay under the FLSA because Sullivan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11308. Plaintiff Cedric Swan is an individual residing in Virginia. Swan worked as a

delivery driver for FedEx in Virginia from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Swan has been

eligible to receive overtime pay under the FLSA because Swan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11309. Plaintiff Glenn Talbert is an individual residing in Virginia. Talbert worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Talbert has been

eligible to receive overtime pay under the FLSA because Talbert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11310. Plaintiff Jacob Taylor is an individual residing in West Virginia. Taylor worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Taylor has been eligible to receive overtime pay

under the FLSA because Taylor has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               2958
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2959 of 3128




        11311. Plaintiff Trevon Taylor is an individual residing in Virginia. Taylor worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11312. Plaintiff Brandy Taylor is an individual residing in North Carolina. Taylor worked

as a delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11313. Plaintiff Marquis Taylor is an individual residing in North Carolina. Taylor

worked as a delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Taylor

has been eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11314. Plaintiff Shonica Terry is an individual residing in Virginia. Terry worked as a

delivery driver for FedEx in Virginia from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Terry has been

eligible to receive overtime pay under the FLSA because Terry has driven a vehicle weighing




                                               2959
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2960 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11315. Plaintiff Gregory Thomas is an individual residing in Virginia. Thomas worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Thomas has been eligible to receive overtime pay

under the FLSA because Thomas has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11316. Plaintiff Edward Roberts is an individual residing in Virginia. Thompson worked

as a delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Thompson has

been eligible to receive overtime pay under the FLSA because Thompson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11317. Plaintiff Brad Thompson is an individual residing in Virginia. Thompson worked

as a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Thompson has

been eligible to receive overtime pay under the FLSA because Thompson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11318. Plaintiff Kristin Thrasher is an individual residing in Virginia. Thrasher worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Thrasher has been

eligible to receive overtime pay under the FLSA because Thrasher has driven a vehicle weighing



                                               2960
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2961 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11319. Plaintiff Terry Tomlin-Vaughan is an individual residing in Virginia. Tomlin-

Vaughan worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Tomlin-Vaughan has been eligible to receive overtime pay under the FLSA because Tomlin-

Vaughan has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        11320. Plaintiff Antonio Toussaint is an individual residing in Virginia. Toussaint

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Toussaint has been eligible to receive overtime pay under the FLSA because Toussaint has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11321. Plaintiff Darrell Towles Jr is an individual residing in Virginia. Towles Jr worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Towles Jr has been

eligible to receive overtime pay under the FLSA because Towles Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11322. Plaintiff Stanley Townes is an individual residing in Virginia. Townes worked as

a delivery driver for FedEx in Virginia from approximately 2004 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Townes has been



                                               2961
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2962 of 3128




eligible to receive overtime pay under the FLSA because Townes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11323. Plaintiff Kelley Turner is an individual residing in Virginia. Turner worked as a

delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11324. Plaintiff Andre Turner is an individual residing in Virginia. Turner worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Turner has been

eligible to receive overtime pay under the FLSA because Turner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11325. Plaintiff Michael Tweedy is an individual residing in Virginia. Tweedy worked as

a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tweedy has been

eligible to receive overtime pay under the FLSA because Tweedy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11326. Plaintiff Edward Ugarte is an individual residing in Virginia. Ugarte worked as a

delivery driver for FedEx in Virginia from approximately 2019 to 2020 but was employed



                                               2962
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2963 of 3128




through intermediary entities that FedEx calls independent service providers. Ugarte has been

eligible to receive overtime pay under the FLSA because Ugarte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11327. Plaintiff Steven Valentine is an individual residing in Virginia. Valentine worked

as a delivery driver for FedEx in Virginia from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Valentine has been

eligible to receive overtime pay under the FLSA because Valentine has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11328. Plaintiff Jeremy Vance is an individual residing in Pennsylvania. Vance worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Vance has been

eligible to receive overtime pay under the FLSA because Vance has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11329. Plaintiff Joshua Vazquez is an individual residing in Virginia. Vazquez worked as

a delivery driver for FedEx in Virginia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Vazquez has been

eligible to receive overtime pay under the FLSA because Vazquez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2963
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2964 of 3128




        11330. Plaintiff Thomas Ver Schneider is an individual residing in Virginia. Ver

Schneider worked as a delivery driver for FedEx in Virginia from approximately 2005 to 2017

but was employed through intermediary entities that FedEx calls independent service providers.

Ver Schneider has been eligible to receive overtime pay under the FLSA because Ver Schneider

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        11331. Plaintiff Daron Waddy is an individual residing in Virginia. Waddy worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Waddy has been eligible to receive overtime pay under the

FLSA because Waddy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11332. Plaintiff Joseph Wainwright is an individual residing in Virginia. Wainwright

worked as a delivery driver for FedEx in Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Wainwright has been eligible to receive

overtime pay under the FLSA because Wainwright has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11333. Plaintiff Ravan Walker is an individual residing in Virginia. Walker worked as a

delivery driver for FedEx in Virginia from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Walker has been

eligible to receive overtime pay under the FLSA because Walker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2964
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2965 of 3128




        11334. Plaintiff Patricia Wallace is an individual residing in West Virginia. Wallace

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Wallace

has been eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11335. Plaintiff Rashaun Wallace is an individual residing in Maryland. Wallace worked

as a delivery driver for FedEx in Virginia from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11336. Plaintiff Charmaine Wallace is an individual residing in Virginia. Wallace worked

as a delivery driver for FedEx in Virginia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11337. Plaintiff Solomon Waller is an individual residing in Massachusetts. Waller

worked as a delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Waller

has been eligible to receive overtime pay under the FLSA because Waller has driven a vehicle




                                               2965
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2966 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11338. Plaintiff David Walls is an individual residing in Maryland. Walls worked as a

delivery driver for FedEx in Virginia from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Walls has been

eligible to receive overtime pay under the FLSA because Walls has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11339. Plaintiff Lamar Walters is an individual residing in Virginia. Walters worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Walters has been eligible to receive overtime pay under the

FLSA because Walters has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11340. Plaintiff Lori Washington is an individual residing in Maryland. Washington

worked as a delivery driver for FedEx in Virginia from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11341. Plaintiff Jesse Washington is an individual residing in Virginia. Washington

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has



                                              2966
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2967 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11342. Plaintiff Christine Washington is an individual residing in Maryland. Washington

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11343. Plaintiff Rhaphel Watkins is an individual residing in Virginia. Watkins worked

as a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Watkins has been eligible to receive overtime pay

under the FLSA because Watkins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11344. Plaintiff David Weatherly is an individual residing in Virginia. Weatherly worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Weatherly has been

eligible to receive overtime pay under the FLSA because Weatherly has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11345. Plaintiff Travis Whetzel is an individual residing in Virginia. Whetzel worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Whetzel has been eligible to receive overtime pay




                                              2967
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 2968 of 3128




under the FLSA because Whetzel has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11346. Plaintiff Guy Whisner is an individual residing in Virginia. Whisner worked as a

delivery driver for FedEx in Virginia from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Whisner has been

eligible to receive overtime pay under the FLSA because Whisner has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11347. Plaintiff April White is an individual residing in Virginia. White worked as a

delivery driver for FedEx in Virginia from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11348. Plaintiff James White is an individual residing in Virginia. White worked as a

delivery driver for FedEx in Virginia from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11349. Plaintiff Michael White is an individual residing in Virginia. White worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. White has been



                                              2968
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 2969 of 3128




eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11350. Plaintiff Travis Williams is an individual residing in Virginia. Williams worked as

a delivery driver for FedEx in Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Williams has been eligible to receive overtime pay

under the FLSA because Williams has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11351. Plaintiff Crystal Williams is an individual residing in Virginia. Williams worked

as a delivery driver for FedEx in Virginia from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Williams has been

eligible to receive overtime pay under the FLSA because Williams has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11352. Plaintiff Bernard Williams, Jr. is an individual residing in Virginia. Williams, Jr.

worked as a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Williams, Jr. has been eligible to receive overtime pay under the FLSA because Williams, Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11353. Plaintiff Eric Willoughby is an individual residing in Virginia. Willoughby

worked as a delivery driver for FedEx in Virginia from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.



                                                2969
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2970 of 3128




Willoughby has been eligible to receive overtime pay under the FLSA because Willoughby has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11354. Plaintiff Edward Wilson is an individual residing in Virginia. Wilson worked as a

delivery driver for FedEx in Virginia but was employed through intermediary entities that FedEx

calls independent service providers. Wilson has been eligible to receive overtime pay under the

FLSA because Wilson has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11355. Plaintiff Loretta Wilson is an individual residing in Virginia. Wilson worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11356. Plaintiff Erik Wilson is an individual residing in Virginia. Wilson worked as a

delivery driver for FedEx in Virginia from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11357. Plaintiff Kirk Wilson is an individual residing in Virginia. Wilson worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been



                                              2970
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2971 of 3128




eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11358. Plaintiff Deandre Wimley is an individual residing in Virginia. Wimley worked as

a delivery driver for FedEx in Virginia from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wimley has been

eligible to receive overtime pay under the FLSA because Wimley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11359. Plaintiff Kenneth Wix is an individual residing in Virginia. Wix worked as a

delivery driver for FedEx in Virginia from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wix has been

eligible to receive overtime pay under the FLSA because Wix has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11360. Plaintiff Jonathan Womack is an individual residing in Virginia. Womack worked

as a delivery driver for FedEx in Virginia from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Womack has been

eligible to receive overtime pay under the FLSA because Womack has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11361. Plaintiff Yvette Woodley is an individual residing in Virginia. Woodley worked

as a delivery driver for FedEx in Virginia from approximately 2016 to 2024 but was employed



                                              2971
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2972 of 3128




through intermediary entities that FedEx calls independent service providers. Woodley has been

eligible to receive overtime pay under the FLSA because Woodley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11362. Plaintiff Terry Woods Jr is an individual residing in Georgia. Woods Jr worked as

a delivery driver for FedEx in Virginia from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Woods Jr has been

eligible to receive overtime pay under the FLSA because Woods Jr has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11363. Plaintiff Andre Wright is an individual residing in Virginia. Wright worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11364. Plaintiff Clara Wright is an individual residing in Virginia. Wright worked as a

delivery driver for FedEx in Virginia from approximately 2014 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2972
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2973 of 3128




        11365. Plaintiff Nathaniel Adams is an individual residing in Washington. Adams

worked as a delivery driver for FedEx in Washington from approximately 2019 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Adams

has been eligible to receive overtime pay under the FLSA because Adams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11366. Plaintiff Corey Akers is an individual residing in Washington. Akers worked as a

delivery driver for FedEx in Washington from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Akers has been

eligible to receive overtime pay under the FLSA because Akers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11367. Plaintiff Haydir Al Robayi is an individual residing in Texas. Al Robayi worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Al

Robayi has been eligible to receive overtime pay under the FLSA because Al Robayi has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11368. Plaintiff Mickie Allen is an individual residing in Washington. Allen worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Allen has been

eligible to receive overtime pay under the FLSA because Allen has driven a vehicle weighing




                                              2973
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2974 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11369. Plaintiff Aubrey Allen is an individual residing in Washington. Allen worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Allen has been eligible to receive overtime pay under

the FLSA because Allen has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11370. Plaintiff Perry Alofoe is an individual residing in Washington. Alofoe worked as

a delivery driver for FedEx in Washington from approximately 2012 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Alofoe has been

eligible to receive overtime pay under the FLSA because Alofoe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11371. Plaintiff Michael Altenburg is an individual residing in Washington. Altenburg

worked as a delivery driver for FedEx in Washington from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Altenburg has been eligible to receive overtime pay under the FLSA because Altenburg has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11372. Plaintiff John Amundsen is an individual residing in Washington. Amundsen

worked as a delivery driver for FedEx in Washington from approximately 2017 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Amundsen has been eligible to receive overtime pay under the FLSA because Amundsen has



                                              2974
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2975 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11373. Plaintiff Calvin Anderson is an individual residing in Washington. Anderson

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Anderson has been eligible to receive

overtime pay under the FLSA because Anderson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11374. Plaintiff Craig Apfelbeck is an individual residing in Washington. Apfelbeck

worked as a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Apfelbeck has been eligible to receive overtime pay under the FLSA because Apfelbeck has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11375. Plaintiff Andres Ayala is an individual residing in Washington. Ayala worked as a

delivery driver for FedEx in Washington from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Ayala has been

eligible to receive overtime pay under the FLSA because Ayala has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11376. Plaintiff Hamed Azad is an individual residing in Washington. Azad worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Azad has been eligible to receive overtime pay under




                                              2975
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2976 of 3128




the FLSA because Azad has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11377. Plaintiff Jerry Ballinger is an individual residing in Washington. Ballinger worked

as a delivery driver for FedEx in Washington from approximately 2008 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Ballinger

has been eligible to receive overtime pay under the FLSA because Ballinger has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11378. Plaintiff Juan Barreto is an individual residing in Washington. Barreto worked as

a delivery driver for FedEx in Washington from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Barreto has been

eligible to receive overtime pay under the FLSA because Barreto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11379. Plaintiff Michael Baxter is an individual residing in Washington. Baxter worked

as a delivery driver for FedEx in Washington from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Baxter

has been eligible to receive overtime pay under the FLSA because Baxter has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11380. Plaintiff Mark Becklund is an individual residing in Washington. Becklund

worked as a delivery driver for FedEx in Washington from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              2976
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2977 of 3128




Becklund has been eligible to receive overtime pay under the FLSA because Becklund has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11381. Plaintiff Jeramy Bedard is an individual residing in Washington. Bedard worked

as a delivery driver for FedEx in Washington from approximately 2009 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bedard

has been eligible to receive overtime pay under the FLSA because Bedard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11382. Plaintiff Thomas Bieber is an individual residing in Washington. Bieber worked

as a delivery driver for FedEx in Washington from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Bieber

has been eligible to receive overtime pay under the FLSA because Bieber has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11383. Plaintiff Richard Birnel is an individual residing in Washington. Birnel worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Birnel has been

eligible to receive overtime pay under the FLSA because Birnel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11384. Plaintiff Johann Bisbing is an individual residing in Washington. Bisbing worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities



                                              2977
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2978 of 3128




that FedEx calls independent service providers. Bisbing has been eligible to receive overtime pay

under the FLSA because Bisbing has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11385. Plaintiff Alreace Bolar is an individual residing in Washington. Bolar worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Bolar has been eligible to receive overtime pay under

the FLSA because Bolar has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11386. Plaintiff Nicole Bond is an individual residing in Washington. Bond worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Bond has been eligible to receive overtime pay under

the FLSA because Bond has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11387. Plaintiff Matthew Bonds is an individual residing in Arizona. Bonds worked as a

delivery driver for FedEx in Washington from approximately 2009 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bonds has been

eligible to receive overtime pay under the FLSA because Bonds has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11388. Plaintiff Christopher Bou is an individual residing in Washington. Bou worked as

a delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Bou has been eligible to receive overtime pay under




                                              2978
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2979 of 3128




the FLSA because Bou has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11389. Plaintiff Curtis Boyd is an individual residing in Washington. Boyd worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Boyd has been eligible to receive overtime pay under

the FLSA because Boyd has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11390. Plaintiff Steven Braun is an individual residing in Washington. Braun worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Braun has been eligible to receive overtime pay

under the FLSA because Braun has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11391. Plaintiff Nicole Bridges is an individual residing in California. Bridges worked as

a delivery driver for FedEx in Washington from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Bridges has been

eligible to receive overtime pay under the FLSA because Bridges has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11392. Plaintiff Daniel Browning is an individual residing in Idaho. Browning worked as

a delivery driver for FedEx in Washington from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Browning has been

eligible to receive overtime pay under the FLSA because Browning has driven a vehicle




                                               2979
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2980 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11393. Plaintiff Glendoria Brumidge is an individual residing in Washington. Brumidge

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Brumidge has been eligible to receive

overtime pay under the FLSA because Brumidge has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11394. Plaintiff Joshua Bryant is an individual residing in Colorado. Bryant worked as a

delivery driver for FedEx in Washington from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Bryant has been

eligible to receive overtime pay under the FLSA because Bryant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11395. Plaintiff Valentin Budimir is an individual residing in Washington. Budimir

worked as a delivery driver for FedEx in Washington from approximately 2012 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Budimir

has been eligible to receive overtime pay under the FLSA because Budimir has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11396. Plaintiff Francois Bukasa is an individual residing in Washington. Bukasa worked

as a delivery driver for FedEx in Washington from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Bukasa

has been eligible to receive overtime pay under the FLSA because Bukasa has driven a vehicle



                                              2980
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2981 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11397. Plaintiff Clinton Burnham is an individual residing in Washington. Burnham

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Burnham has been eligible to receive

overtime pay under the FLSA because Burnham has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11398. Plaintiff Joshua Burress is an individual residing in Washington. Burress worked

as a delivery driver for FedEx in Washington from approximately 2012 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Burress

has been eligible to receive overtime pay under the FLSA because Burress has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11399. Plaintiff John Burritt is an individual residing in Washington. Burritt worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Burritt has been

eligible to receive overtime pay under the FLSA because Burritt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11400. Plaintiff Kevin Butler is an individual residing in Washington. Butler worked as a

delivery driver for FedEx in Washington from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Butler has been

eligible to receive overtime pay under the FLSA because Butler has driven a vehicle weighing



                                               2981
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2982 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11401. Plaintiff Tserendagva Byambadaa is an individual residing in Washington.

Byambadaa worked as a delivery driver for FedEx in Washington from approximately 2018 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Byambadaa has been eligible to receive overtime pay under the FLSA because

Byambadaa has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        11402. Plaintiff Justin Cabrera is an individual residing in Washington. Cabrera worked

as a delivery driver for FedEx in Washington from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Cabrera

has been eligible to receive overtime pay under the FLSA because Cabrera has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11403. Plaintiff James Calder is an individual residing in Washington. Calder worked as

a delivery driver for FedEx in Washington from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Calder has been

eligible to receive overtime pay under the FLSA because Calder has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11404. Plaintiff Rodrigo Carson is an individual residing in Washington. Carson worked

as a delivery driver for FedEx in Washington from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Carson



                                              2982
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2983 of 3128




has been eligible to receive overtime pay under the FLSA because Carson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11405. Plaintiff Rodolfo Castaneda is an individual residing in Washington. Castaneda

worked as a delivery driver for FedEx in Washington from approximately 2020 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Castaneda has been eligible to receive overtime pay under the FLSA because Castaneda has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11406. Plaintiff Celina Castillo is an individual residing in Washington. Castillo worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Castillo

has been eligible to receive overtime pay under the FLSA because Castillo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11407. Plaintiff Daniel Catalan is an individual residing in Washington. Catalan worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Catalan

has been eligible to receive overtime pay under the FLSA because Catalan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11408. Plaintiff Juan Cevallos Robletto is an individual residing in Florida. Cevallos

Robletto worked as a delivery driver for FedEx in Washington from approximately 2015 to 2017



                                              2983
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 2984 of 3128




but was employed through intermediary entities that FedEx calls independent service providers.

Cevallos Robletto has been eligible to receive overtime pay under the FLSA because Cevallos

Robletto has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

        11409. Plaintiff Terrance Chan is an individual residing in Washington. Chan worked as

a delivery driver for FedEx in Washington from approximately 2008 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Chan has been

eligible to receive overtime pay under the FLSA because Chan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11410. Plaintiff Samoeun Chan is an individual residing in Washington. Chan worked as

a delivery driver for FedEx in Washington from approximately 2007 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chan has been

eligible to receive overtime pay under the FLSA because Chan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11411. Plaintiff Philip Chan is an individual residing in Nevada. Chan worked as a

delivery driver for FedEx in Washington from approximately 2008 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Chan has been

eligible to receive overtime pay under the FLSA because Chan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2984
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 2985 of 3128




        11412. Plaintiff Ryan Chase is an individual residing in Washington. Chase worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Chase has been

eligible to receive overtime pay under the FLSA because Chase has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11413. Plaintiff Tuan Chau is an individual residing in Washington. Chau worked as a

delivery driver for FedEx in Washington from approximately 2003 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chau has been

eligible to receive overtime pay under the FLSA because Chau has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11414. Plaintiff Oscar Chavez is an individual residing in Washington. Chavez worked as

a delivery driver for FedEx in Washington from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Chavez has been

eligible to receive overtime pay under the FLSA because Chavez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11415. Plaintiff Saroeun Chea is an individual residing in Washington. Chea worked as a

delivery driver for FedEx in Washington from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Chea has been

eligible to receive overtime pay under the FLSA because Chea has driven a vehicle weighing




                                             2985
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2986 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11416. Plaintiff Kevin Childress is an individual residing in Washington. Childress

worked as a delivery driver for FedEx in Washington from approximately 2010 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Childress has been eligible to receive overtime pay under the FLSA because Childress has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11417. Plaintiff Joseph Chiocca is an individual residing in Washington. Chiocca worked

as a delivery driver for FedEx in Washington from approximately 2014 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Chiocca

has been eligible to receive overtime pay under the FLSA because Chiocca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11418. Plaintiff Yong Choe is an individual residing in Washington. Choe worked as a

delivery driver for FedEx in Washington from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Choe has been

eligible to receive overtime pay under the FLSA because Choe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11419. Plaintiff William Clay is an individual residing in Washington. Clay worked as a

delivery driver for FedEx in Washington from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Clay has been



                                              2986
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2987 of 3128




eligible to receive overtime pay under the FLSA because Clay has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11420. Plaintiff Matthew Clines is an individual residing in Washington. Clines worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Clines

has been eligible to receive overtime pay under the FLSA because Clines has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11421. Plaintiff Marlin Cloy is an individual residing in Washington. Cloy worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cloy has been

eligible to receive overtime pay under the FLSA because Cloy has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11422. Plaintiff Bruce Coffey is an individual residing in Washington. Coffey worked as

a delivery driver for FedEx in Washington from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Coffey has been

eligible to receive overtime pay under the FLSA because Coffey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11423. Plaintiff Anthony Coffman is an individual residing in Washington. Coffman

worked as a delivery driver for FedEx in Washington from approximately 2009 to 2019 but was



                                              2987
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2988 of 3128




employed through intermediary entities that FedEx calls independent service providers. Coffman

has been eligible to receive overtime pay under the FLSA because Coffman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11424. Plaintiff Gregory Coots is an individual residing in Washington. Coots worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Coots has been

eligible to receive overtime pay under the FLSA because Coots has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11425. Plaintiff Trevor Corcoran is an individual residing in Illinois. Corcoran worked as

a delivery driver for FedEx in Washington from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Corcoran has been

eligible to receive overtime pay under the FLSA because Corcoran has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11426. Plaintiff Ronald Cox is an individual residing in Washington. Cox worked as a

delivery driver for FedEx in Washington from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cox has been

eligible to receive overtime pay under the FLSA because Cox has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               2988
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2989 of 3128




       11427. Plaintiff Dawn Cozzolino is an individual residing in Washington. Cozzolino

worked as a delivery driver for FedEx in Washington from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers.

Cozzolino has been eligible to receive overtime pay under the FLSA because Cozzolino has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11428. Plaintiff Walter Cruz Caro is an individual residing in Washington. Cruz Caro

worked as a delivery driver for FedEx in Washington from approximately 2008 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Cruz

Caro has been eligible to receive overtime pay under the FLSA because Cruz Caro has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11429. Plaintiff Rhonda Dagais is an individual residing in Washington. Dagais worked

as a delivery driver for FedEx in Washington from approximately 2008 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Dagais

has been eligible to receive overtime pay under the FLSA because Dagais has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11430. Plaintiff Randy Davidson is an individual residing in Washington. Davidson

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Davidson has been eligible to receive

overtime pay under the FLSA because Davidson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2989
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2990 of 3128




        11431. Plaintiff Dwayne Davis is an individual residing in Washington. Davis worked as

a delivery driver for FedEx in Washington from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Davis has been

eligible to receive overtime pay under the FLSA because Davis has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11432. Plaintiff Terry Day is an individual residing in Washington. Day worked as a

delivery driver for FedEx in Washington from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Day has been

eligible to receive overtime pay under the FLSA because Day has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11433. Plaintiff Kevin Dean is an individual residing in Washington. Dean worked as a

delivery driver for FedEx in Washington from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dean has been

eligible to receive overtime pay under the FLSA because Dean has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11434. Plaintiff Keenan Demello is an individual residing in Washington. Demello

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Demello has been eligible to receive

overtime pay under the FLSA because Demello has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              2990
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2991 of 3128




        11435. Plaintiff Brandon Dolquist is an individual residing in Washington. Dolquist

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Dolquist has been eligible to receive

overtime pay under the FLSA because Dolquist has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11436. Plaintiff Michael Dove is an individual residing in Washington. Dove worked as a

delivery driver for FedEx in Washington from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Dove has been

eligible to receive overtime pay under the FLSA because Dove has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11437. Plaintiff Paul Doyle is an individual residing in Washington. Doyle worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Doyle has been eligible to receive overtime pay

under the FLSA because Doyle has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11438. Plaintiff Charles Dungan is an individual residing in Washington. Dungan worked

as a delivery driver for FedEx in Washington from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Dungan

has been eligible to receive overtime pay under the FLSA because Dungan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                               2991
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2992 of 3128




        11439. Plaintiff John Eastwood is an individual residing in Washington. Eastwood

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Eastwood has been eligible to receive

overtime pay under the FLSA because Eastwood has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11440. Plaintiff Scott Eller is an individual residing in Washington. Eller worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Eller has been eligible to receive overtime pay under

the FLSA because Eller has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11441. Plaintiff Daniel Esget is an individual residing in Washington. Esget worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Esget has been

eligible to receive overtime pay under the FLSA because Esget has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11442. Plaintiff Isidro Espinoza Jr. is an individual residing in Washington. Espinoza Jr.

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Espinoza Jr. has been eligible to receive

overtime pay under the FLSA because Espinoza Jr. has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11443. Plaintiff Michael Excell is an individual residing in Washington. Excell worked as

a delivery driver for FedEx in Washington from approximately 2016 to 2020 but was employed



                                               2992
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2993 of 3128




through intermediary entities that FedEx calls independent service providers. Excell has been

eligible to receive overtime pay under the FLSA because Excell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11444. Plaintiff Annette Faletogo is an individual residing in Washington. Faletogo

worked as a delivery driver for FedEx in Washington from approximately 2007 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Faletogo

has been eligible to receive overtime pay under the FLSA because Faletogo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11445. Plaintiff Daniel Farage is an individual residing in Washington. Farage worked as

a delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Farage has been eligible to receive overtime pay

under the FLSA because Farage has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11446. Plaintiff Ted Feenstra is an individual residing in Washington. Feenstra worked as

a delivery driver for FedEx in Washington from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Feenstra has been

eligible to receive overtime pay under the FLSA because Feenstra has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11447. Plaintiff Abraham Ferrell-Logan is an individual residing in Washington. Ferrell-

Logan worked as a delivery driver for FedEx in Washington from approximately 2017 to 2018



                                              2993
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2994 of 3128




but was employed through intermediary entities that FedEx calls independent service providers.

Ferrell-Logan has been eligible to receive overtime pay under the FLSA because Ferrell-Logan

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        11448. Plaintiff Ami Filimaua is an individual residing in Washington. Filimaua worked

as a delivery driver for FedEx in Washington from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Filimaua

has been eligible to receive overtime pay under the FLSA because Filimaua has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11449. Plaintiff Dennis Fischer is an individual residing in Washington. Fischer worked

as a delivery driver for FedEx in Washington from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Fischer

has been eligible to receive overtime pay under the FLSA because Fischer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11450. Plaintiff Shane Fisher is an individual residing in Washington. Fisher worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fisher has been

eligible to receive overtime pay under the FLSA because Fisher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              2994
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2995 of 3128




        11451. Plaintiff Miguel Flores is an individual residing in Washington. Flores worked as

a delivery driver for FedEx in Washington from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Flores has been

eligible to receive overtime pay under the FLSA because Flores has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11452. Plaintiff Devin Fludd is an individual residing in Washington. Fludd worked as a

delivery driver for FedEx in Washington from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Fludd has been

eligible to receive overtime pay under the FLSA because Fludd has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11453. Plaintiff Jasmine Foster is an individual residing in Washington. Foster worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Foster has been

eligible to receive overtime pay under the FLSA because Foster has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11454. Plaintiff Joshua Freeman is an individual residing in Washington. Freeman

worked as a delivery driver for FedEx in Washington from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Freeman

has been eligible to receive overtime pay under the FLSA because Freeman has driven a vehicle




                                              2995
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 2996 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11455. Plaintiff Shannon Freeman is an individual residing in Washington. Freeman

worked as a delivery driver for FedEx in Washington from approximately 2013 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Freeman

has been eligible to receive overtime pay under the FLSA because Freeman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11456. Plaintiff Kelly Fritz is an individual residing in Idaho. Fritz worked as a delivery

driver for FedEx in Washington from approximately 2015 to 2016 but was employed through

intermediary entities that FedEx calls independent service providers. Fritz has been eligible to

receive overtime pay under the FLSA because Fritz has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11457. Plaintiff Hubert Fulmer Iii is an individual residing in Alabama. Fulmer Iii

worked as a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Fulmer

Iii has been eligible to receive overtime pay under the FLSA because Fulmer Iii has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11458. Plaintiff Nicholas Galasso-Munoz is an individual residing in Arizona. Galasso-

Munoz worked as a delivery driver for FedEx in Washington from approximately 2016 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Galasso-Munoz has been eligible to receive overtime pay under the FLSA because Galasso-



                                               2996
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 2997 of 3128




Munoz has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        11459. Plaintiff Todd Gamache is an individual residing in Washington. Gamache

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Gamache has been eligible to receive

overtime pay under the FLSA because Gamache has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11460. Plaintiff Gary Gano is an individual residing in Washington. Gano worked as a

delivery driver for FedEx in Washington from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gano has been

eligible to receive overtime pay under the FLSA because Gano has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11461. Plaintiff Breylon Garland is an individual residing in Texas. Garland worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Garland has been

eligible to receive overtime pay under the FLSA because Garland has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11462. Plaintiff Lenny Garrison is an individual residing in Washington. Garrison

worked as a delivery driver for FedEx in Washington from approximately 2013 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Garrison

has been eligible to receive overtime pay under the FLSA because Garrison has driven a vehicle



                                              2997
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 2998 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11463. Plaintiff Steven Gartner is an individual residing in Washington. Gartner worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Gartner has been eligible to receive overtime pay

under the FLSA because Gartner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11464. Plaintiff Cory Goetz is an individual residing in Washington. Goetz worked as a

delivery driver for FedEx in Washington from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Goetz has been

eligible to receive overtime pay under the FLSA because Goetz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11465. Plaintiff Darrin Graham is an individual residing in Washington. Graham worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Graham

has been eligible to receive overtime pay under the FLSA because Graham has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11466. Plaintiff Noah Gross is an individual residing in Washington. Gross worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Gross has been

eligible to receive overtime pay under the FLSA because Gross has driven a vehicle weighing



                                              2998
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 2999 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11467. Plaintiff Rafael Guajardo is an individual residing in Washington. Guajardo

worked as a delivery driver for FedEx in Washington from approximately 2016 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Guajardo

has been eligible to receive overtime pay under the FLSA because Guajardo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11468. Plaintiff Jovy Guan is an individual residing in Washington. Guan worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Guan has been eligible to receive overtime pay under

the FLSA because Guan has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11469. Plaintiff Samantha Guthrie is an individual residing in Washington. Guthrie

worked as a delivery driver for FedEx in Washington from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Guthrie

has been eligible to receive overtime pay under the FLSA because Guthrie has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11470. Plaintiff Kavik Hahn is an individual residing in Washington. Hahn worked as a

delivery driver for FedEx in Washington from approximately 2010 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Hahn has been

eligible to receive overtime pay under the FLSA because Hahn has driven a vehicle weighing



                                              2999
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3000 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11471. Plaintiff Andrew Haley is an individual residing in Washington. Haley worked as

a delivery driver for FedEx in Washington from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Haley has been

eligible to receive overtime pay under the FLSA because Haley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11472. Plaintiff James Hallberg is an individual residing in Washington. Hallberg worked

as a delivery driver for FedEx in Washington from approximately 2019 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Hallberg

has been eligible to receive overtime pay under the FLSA because Hallberg has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11473. Plaintiff Jerry Harai is an individual residing in Washington. Harai worked as a

delivery driver for FedEx in Washington from approximately 2007 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Harai has been

eligible to receive overtime pay under the FLSA because Harai has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11474. Plaintiff Steven Harrington is an individual residing in Washington. Harrington

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              3000
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3001 of 3128




Harrington has been eligible to receive overtime pay under the FLSA because Harrington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11475. Plaintiff Sharman Hassan is an individual residing in Washington. Hassan worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Hassan

has been eligible to receive overtime pay under the FLSA because Hassan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11476. Plaintiff Jennifer Hebert is an individual residing in Washington. Hebert worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Hebert has been eligible to receive overtime pay

under the FLSA because Hebert has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11477. Plaintiff Donald Hedglin is an individual residing in Washington. Hedglin worked

as a delivery driver for FedEx in Washington from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hedglin

has been eligible to receive overtime pay under the FLSA because Hedglin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11478. Plaintiff Tiffanie Hedman is an individual residing in Washington. Hedman

worked as a delivery driver for FedEx in Washington from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hedman



                                              3001
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3002 of 3128




has been eligible to receive overtime pay under the FLSA because Hedman has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11479. Plaintiff Yuria Hernandez is an individual residing in Washington. Hernandez

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Hernandez has been eligible to receive

overtime pay under the FLSA because Hernandez has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11480. Plaintiff Kyle Higman is an individual residing in Washington. Higman worked as

a delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Higman has been eligible to receive overtime pay

under the FLSA because Higman has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11481. Plaintiff Youngwoon Hills is an individual residing in Washington. Hills worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Hills has

been eligible to receive overtime pay under the FLSA because Hills has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11482. Plaintiff Lazerrick Holiday is an individual residing in Washington. Holiday

worked as a delivery driver for FedEx in Washington from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Holiday

has been eligible to receive overtime pay under the FLSA because Holiday has driven a vehicle



                                              3002
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3003 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11483. Plaintiff John Holl is an individual residing in Washington. Holl worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Holl has been

eligible to receive overtime pay under the FLSA because Holl has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11484. Plaintiff Sun Hong is an individual residing in Washington. Hong worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Hong has been

eligible to receive overtime pay under the FLSA because Hong has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11485. Plaintiff Karl Horn is an individual residing in Washington. Horn worked as a

delivery driver for FedEx in Washington from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Horn has been

eligible to receive overtime pay under the FLSA because Horn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11486. Plaintiff Wendell Horton is an individual residing in Washington. Horton worked

as a delivery driver for FedEx in Washington from approximately 2010 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Horton



                                              3003
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3004 of 3128




has been eligible to receive overtime pay under the FLSA because Horton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11487. Plaintiff Jared Howe is an individual residing in Washington. Howe worked as a

delivery driver for FedEx in Washington from approximately 2012 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Howe has been

eligible to receive overtime pay under the FLSA because Howe has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11488. Plaintiff Matthew Huck is an individual residing in Washington. Huck worked as

a delivery driver for FedEx in Washington from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Huck has been

eligible to receive overtime pay under the FLSA because Huck has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11489. Plaintiff Steven Hunt is an individual residing in Washington. Hunt worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hunt has been

eligible to receive overtime pay under the FLSA because Hunt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11490. Plaintiff Marvin Im is an individual residing in Washington. Im worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2021 but was employed



                                              3004
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24     Page 3005 of 3128




through intermediary entities that FedEx calls independent service providers. Im has been

eligible to receive overtime pay under the FLSA because Im has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11491. Plaintiff Bonnie Janssen is an individual residing in Idaho. Janssen worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Janssen has been

eligible to receive overtime pay under the FLSA because Janssen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11492. Plaintiff Paulry Jean Francois is an individual residing in Florida. Jean Francois

worked as a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Jean

Francois has been eligible to receive overtime pay under the FLSA because Jean Francois has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11493. Plaintiff Vladimyr Jean-Rosemond is an individual residing in Washington. Jean-

Rosemond worked as a delivery driver for FedEx in Washington from approximately 2015 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Jean-Rosemond has been eligible to receive overtime pay under the FLSA because

Jean-Rosemond has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.




                                               3005
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3006 of 3128




        11494. Plaintiff Brenda Johnson is an individual residing in Florida. Johnson worked as a

delivery driver for FedEx in Washington from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11495. Plaintiff Kevin Jones is an individual residing in Washington. Jones worked as a

delivery driver for FedEx in Washington from approximately 2011 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11496. Plaintiff Allen Jones is an individual residing in Washington. Jones worked as a

delivery driver for FedEx in Washington from approximately 2011 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11497. Plaintiff Joshua Jones is an individual residing in Washington. Jones worked as a

delivery driver for FedEx in Washington from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing




                                              3006
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3007 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11498. Plaintiff Brian Jorn is an individual residing in Washington. Jorn worked as a

delivery driver for FedEx in Washington from approximately 2019 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Jorn has been

eligible to receive overtime pay under the FLSA because Jorn has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11499. Plaintiff Sheila Joy is an individual residing in Washington. Joy worked as a

delivery driver for FedEx in Washington and Oregon from approximately 2015 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Joy has

been eligible to receive overtime pay under the FLSA because Joy has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11500. Plaintiff Timothy Kallam is an individual residing in Washington. Kallam worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Kallam has been eligible to receive overtime pay

under the FLSA because Kallam has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11501. Plaintiff Nicholas Kent is an individual residing in Washington. Kent worked as a

delivery driver for FedEx in Washington from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Kent has been

eligible to receive overtime pay under the FLSA because Kent has driven a vehicle weighing less



                                              3007
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3008 of 3128




than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11502. Plaintiff Jason Keosian is an individual residing in Washington. Keosian worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Keosian

has been eligible to receive overtime pay under the FLSA because Keosian has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11503. Plaintiff Min Kim is an individual residing in Washington. Kim worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Kim has been

eligible to receive overtime pay under the FLSA because Kim has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11504. Plaintiff Eung Kim is an individual residing in Washington. Kim worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kim has been

eligible to receive overtime pay under the FLSA because Kim has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11505. Plaintiff Michael Kirwan is an individual residing in Washington. Kirwan worked

as a delivery driver for FedEx in Washington from approximately 2001 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Kirwan



                                             3008
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3009 of 3128




has been eligible to receive overtime pay under the FLSA because Kirwan has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11506. Plaintiff Brett Kite is an individual residing in Washington. Kite worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kite has been

eligible to receive overtime pay under the FLSA because Kite has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11507. Plaintiff Eric Kolb is an individual residing in Washington. Kolb worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Kolb has been

eligible to receive overtime pay under the FLSA because Kolb has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11508. Plaintiff Stephen Kononovich is an individual residing in Washington.

Kononovich worked as a delivery driver for FedEx in Washington from approximately 2019 to

2020 but was employed through intermediary entities that FedEx calls independent service

providers. Kononovich has been eligible to receive overtime pay under the FLSA because

Kononovich has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11509. Plaintiff Charles Lamaire is an individual residing in Washington. Lamaire

worked as a delivery driver for FedEx in Washington from approximately 2013 to 2019 but was



                                               3009
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3010 of 3128




employed through intermediary entities that FedEx calls independent service providers. Lamaire

has been eligible to receive overtime pay under the FLSA because Lamaire has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11510. Plaintiff Jeromy Lawson is an individual residing in Washington. Lawson worked

as a delivery driver for FedEx in Washington from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Lawson

has been eligible to receive overtime pay under the FLSA because Lawson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11511. Plaintiff Miguel Laygo is an individual residing in Washington. Laygo worked as

a delivery driver for FedEx in Washington from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Laygo has been

eligible to receive overtime pay under the FLSA because Laygo has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11512. Plaintiff Jongsang Lee is an individual residing in Washington. Lee worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              3010
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3011 of 3128




        11513. Plaintiff Jitu Leech is an individual residing in Washington. Leech worked as a

delivery driver for FedEx in Washington from approximately 2010 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Leech has been

eligible to receive overtime pay under the FLSA because Leech has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11514. Plaintiff Ryan Leffman is an individual residing in Washington. Leffman worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Leffman has been eligible to receive overtime

pay under the FLSA because Leffman has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11515. Plaintiff Todd Leiser is an individual residing in Washington. Leiser worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Leiser has been eligible to receive overtime pay

under the FLSA because Leiser has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11516. Plaintiff Jose Leon is an individual residing in Idaho. Leon worked as a delivery

driver for FedEx in Washington from approximately 2014 to 2018 but was employed through

intermediary entities that FedEx calls independent service providers. Leon has been eligible to

receive overtime pay under the FLSA because Leon has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11517. Plaintiff Eduardo Lezama is an individual residing in Washington. Lezama

worked as a delivery driver for FedEx in Washington from approximately 2016 to 2019 but was



                                              3011
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3012 of 3128




employed through intermediary entities that FedEx calls independent service providers. Lezama

has been eligible to receive overtime pay under the FLSA because Lezama has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11518. Plaintiff Brandon Lindgren is an individual residing in Washington. Lindgren

worked as a delivery driver for FedEx in Washington from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Lindgren

has been eligible to receive overtime pay under the FLSA because Lindgren has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11519. Plaintiff Zachary Long is an individual residing in Florida. Long worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Long has been

eligible to receive overtime pay under the FLSA because Long has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11520. Plaintiff Travis Longenecker is an individual residing in Washington.

Longenecker worked as a delivery driver for FedEx in Washington but was employed through

intermediary entities that FedEx calls independent service providers. Longenecker has been

eligible to receive overtime pay under the FLSA because Longenecker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              3012
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3013 of 3128




        11521. Plaintiff Harry Love Iv is an individual residing in North Carolina. Love Iv

worked as a delivery driver for FedEx in Washington from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Love Iv

has been eligible to receive overtime pay under the FLSA because Love Iv has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11522. Plaintiff Vincent Luke is an individual residing in Washington. Luke worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Luke has been

eligible to receive overtime pay under the FLSA because Luke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11523. Plaintiff Carie Lustig is an individual residing in Washington. Lustig worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lustig has been

eligible to receive overtime pay under the FLSA because Lustig has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11524. Plaintiff Rochelle M Bass is an individual residing in Texas. M Bass worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. M Bass has been eligible to receive overtime pay

under the FLSA because M Bass has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                              3013
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3014 of 3128




        11525. Plaintiff Efren Marfil is an individual residing in Washington. Marfil worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Marfil has been

eligible to receive overtime pay under the FLSA because Marfil has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11526. Plaintiff Eric Martin is an individual residing in Arizona. Martin worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Martin has been eligible to receive overtime pay

under the FLSA because Martin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11527. Plaintiff Pavlo Marusetskyy is an individual residing in Washington. Marusetskyy

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Marusetskyy has been eligible to receive

overtime pay under the FLSA because Marusetskyy has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11528. Plaintiff Jamie Mason is an individual residing in Washington. Mason worked as

a delivery driver for FedEx in Washington from approximately 2010 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Mason has been

eligible to receive overtime pay under the FLSA because Mason has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              3014
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3015 of 3128




        11529. Plaintiff Eric Mathews is an individual residing in Washington. Mathews worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Mathews has been eligible to receive overtime

pay under the FLSA because Mathews has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        11530. Plaintiff Luke Maves is an individual residing in Washington. Maves worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Maves has been

eligible to receive overtime pay under the FLSA because Maves has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11531. Plaintiff Jorell Mcauliffe is an individual residing in Washington. Mcauliffe

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Mcauliffe has been eligible to receive

overtime pay under the FLSA because Mcauliffe has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11532. Plaintiff Gabriel Mcfarland is an individual residing in Washington. Mcfarland

worked as a delivery driver for FedEx in Washington from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcfarland has been eligible to receive overtime pay under the FLSA because Mcfarland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.




                                               3015
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3016 of 3128




       11533. Plaintiff Kristen Mckenzie is an individual residing in Washington. Mckenzie

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Mckenzie has been eligible to receive overtime pay under the FLSA because Mckenzie has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11534. Plaintiff Darrell Mclaurin is an individual residing in Washington. Mclaurin

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mclaurin

has been eligible to receive overtime pay under the FLSA because Mclaurin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11535. Plaintiff Terry Mcnamara is an individual residing in Washington. Mcnamara

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mcnamara has been eligible to receive overtime pay under the FLSA because Mcnamara has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11536. Plaintiff Jeremy Mendez is an individual residing in Washington. Mendez worked

as a delivery driver for FedEx in Washington from approximately 2008 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Mendez

has been eligible to receive overtime pay under the FLSA because Mendez has driven a vehicle




                                             3016
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3017 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11537. Plaintiff Kelly Metzler is an individual residing in Washington. Metzler worked

as a delivery driver for FedEx in Washington from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Metzler

has been eligible to receive overtime pay under the FLSA because Metzler has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11538. Plaintiff Terrance Miller, Sr. is an individual residing in Washington. Miller

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Miller has been eligible to receive

overtime pay under the FLSA because Miller has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11539. Plaintiff Elvester Miller is an individual residing in Washington. Miller worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11540. Plaintiff Clayton Mincey is an individual residing in Washington. Mincey worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Mincey

has been eligible to receive overtime pay under the FLSA because Mincey has driven a vehicle



                                               3017
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3018 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11541. Plaintiff Raymond Mingming is an individual residing in Washington. Mingming

worked as a delivery driver for FedEx in Washington from approximately 2008 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Mingming has been eligible to receive overtime pay under the FLSA because Mingming has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11542. Plaintiff James Miraglia is an individual residing in California. Miraglia worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Miraglia

has been eligible to receive overtime pay under the FLSA because Miraglia has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11543. Plaintiff Jack Moline Jr is an individual residing in Washington. Moline Jr

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Moline

Jr has been eligible to receive overtime pay under the FLSA because Moline Jr has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11544. Plaintiff Juan Moreno Gomez Jr is an individual residing in Washington. Moreno

Gomez Jr worked as a delivery driver for FedEx in Washington from approximately 2013 to

2024 but was employed through intermediary entities that FedEx calls independent service



                                             3018
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3019 of 3128




providers. Moreno Gomez Jr has been eligible to receive overtime pay under the FLSA because

Moreno Gomez Jr has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11545. Plaintiff Javier Munoz is an individual residing in Washington. Munoz worked as

a delivery driver for FedEx in Washington from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Munoz has been

eligible to receive overtime pay under the FLSA because Munoz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11546. Plaintiff Mohammad Nabizada is an individual residing in Washington. Nabizada

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Nabizada has been eligible to receive

overtime pay under the FLSA because Nabizada has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11547. Plaintiff Rommel Nateras is an individual residing in Pennsylvania. Nateras

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Nateras has been eligible to receive

overtime pay under the FLSA because Nateras has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11548. Plaintiff Vitaliy Nazarchuk is an individual residing in Washington. Nazarchuk

worked as a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Nazarchuk has been eligible to receive overtime pay under the FLSA because Nazarchuk has



                                               3019
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3020 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11549. Plaintiff Christopher Nelson is an individual residing in Washington. Nelson

worked as a delivery driver for FedEx in Washington from approximately 2014 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Nelson

has been eligible to receive overtime pay under the FLSA because Nelson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11550. Plaintiff Phuong Nguyen is an individual residing in Washington. Nguyen worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Nguyen has been eligible to receive overtime pay

under the FLSA because Nguyen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11551. Plaintiff Kyle Norris is an individual residing in Washington. Norris worked as a

delivery driver for FedEx in Washington from approximately 2011 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Norris has been

eligible to receive overtime pay under the FLSA because Norris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11552. Plaintiff Mark Nuzum is an individual residing in Washington. Nuzum worked as

a delivery driver for FedEx in Washington from approximately 2018 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Nuzum has been

eligible to receive overtime pay under the FLSA because Nuzum has driven a vehicle weighing



                                              3020
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 3021 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11553. Plaintiff Kristoffer Ocampo is an individual residing in Washington. Ocampo

worked as a delivery driver for FedEx in Washington from approximately 2011 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Ocampo

has been eligible to receive overtime pay under the FLSA because Ocampo has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11554. Plaintiff Tommy Oliver is an individual residing in Washington. Oliver worked as

a delivery driver for FedEx in Washington from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Oliver has been

eligible to receive overtime pay under the FLSA because Oliver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11555. Plaintiff Brian Olson is an individual residing in Washington. Olson worked as a

delivery driver for FedEx in Washington from approximately 2005 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Olson has been

eligible to receive overtime pay under the FLSA because Olson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11556. Plaintiff Paige Omalley is an individual residing in Washington. Omalley worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Omalley has been eligible to receive overtime



                                              3021
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3022 of 3128




pay under the FLSA because Omalley has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11557. Plaintiff Jason Owens is an individual residing in Washington. Owens worked as

a delivery driver for FedEx in Washington from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Owens has been

eligible to receive overtime pay under the FLSA because Owens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11558. Plaintiff Alex Padilla is an individual residing in Washington. Padilla worked as a

delivery driver for FedEx in Washington from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Padilla has been

eligible to receive overtime pay under the FLSA because Padilla has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11559. Plaintiff Salina Parker is an individual residing in Washington. Parker worked as

a delivery driver for FedEx in Washington from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Parker has been

eligible to receive overtime pay under the FLSA because Parker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11560. Plaintiff Ryan Pawloski is an individual residing in Washington. Pawloski worked

as a delivery driver for FedEx in Washington from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Pawloski



                                              3022
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3023 of 3128




has been eligible to receive overtime pay under the FLSA because Pawloski has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11561. Plaintiff Angel Paz is an individual residing in Washington. Paz worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Paz has been eligible to receive overtime pay under

the FLSA because Paz has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11562. Plaintiff Steven Peckham is an individual residing in Kentucky. Peckham worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Peckham has been eligible to receive overtime

pay under the FLSA because Peckham has driven a vehicle weighing less than 10,001 pounds

but has not received overtime pay for hours worked beyond 40 hours per week.

        11563. Plaintiff Sequita Pegram is an individual residing in Virginia. Pegram worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Pegram has been

eligible to receive overtime pay under the FLSA because Pegram has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11564. Plaintiff Karen Perez is an individual residing in Idaho. Perez worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Perez has been eligible to receive overtime pay under




                                              3023
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3024 of 3128




the FLSA because Perez has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11565. Plaintiff Christian Perfecto is an individual residing in Washington. Perfecto

worked as a delivery driver for FedEx in Washington from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Perfecto

has been eligible to receive overtime pay under the FLSA because Perfecto has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11566. Plaintiff Anthony Perry is an individual residing in Washington. Perry worked as

a delivery driver for FedEx in Washington from approximately 2018 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Perry has been

eligible to receive overtime pay under the FLSA because Perry has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11567. Plaintiff Clint Klevesahl is an individual residing in Washington. Polanco Bonilla

worked as a delivery driver for FedEx in Washington from approximately 2017 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Polanco

Bonilla has been eligible to receive overtime pay under the FLSA because Polanco Bonilla has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11568. Plaintiff Svetlana Polishchuk is an individual residing in Washington. Polishchuk

worked as a delivery driver for FedEx in Washington from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.



                                               3024
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3025 of 3128




Polishchuk has been eligible to receive overtime pay under the FLSA because Polishchuk has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11569. Plaintiff Jabriel Pumarejo is an individual residing in Washington. Pumarejo

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Pumarejo has been eligible to receive overtime pay under the FLSA because Pumarejo has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11570. Plaintiff James Quayle is an individual residing in Montana. Quayle worked as a

delivery driver for FedEx in Washington from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Quayle has been

eligible to receive overtime pay under the FLSA because Quayle has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11571. Plaintiff Laura Rand is an individual residing in Washington. Rand worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Rand has been eligible to receive overtime pay under

the FLSA because Rand has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11572. Plaintiff Andres Reyes Soto is an individual residing in Florida. Reyes Soto

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Reyes



                                              3025
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3026 of 3128




Soto has been eligible to receive overtime pay under the FLSA because Reyes Soto has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11573. Plaintiff Anthony Rhodes is an individual residing in California. Rhodes worked

as a delivery driver for FedEx in Washington from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Rhodes

has been eligible to receive overtime pay under the FLSA because Rhodes has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11574. Plaintiff Ray Rhone is an individual residing in Washington. Rhone worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Rhone has been

eligible to receive overtime pay under the FLSA because Rhone has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11575. Plaintiff Amber Rice is an individual residing in Idaho. Rice worked as a delivery

driver for FedEx in Washington from approximately 2018 to 2020 but was employed through

intermediary entities that FedEx calls independent service providers. Rice has been eligible to

receive overtime pay under the FLSA because Rice has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11576. Plaintiff Daniel Richardson is an individual residing in Washington. Richardson

worked as a delivery driver for FedEx in Washington from approximately 2012 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              3026
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3027 of 3128




Richardson has been eligible to receive overtime pay under the FLSA because Richardson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11577. Plaintiff Nicholas Rios is an individual residing in Washington. Rios worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Rios has been eligible to receive overtime pay under

the FLSA because Rios has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11578. Plaintiff Rodney Robbins is an individual residing in Washington. Robbins

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Robbins has been eligible to receive

overtime pay under the FLSA because Robbins has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11579. Plaintiff Lake Roberts is an individual residing in Washington. Roberts worked as

a delivery driver for FedEx in Washington from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Roberts has been

eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11580. Plaintiff Donte Roberts is an individual residing in Oregon. Roberts worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Roberts has been

eligible to receive overtime pay under the FLSA because Roberts has driven a vehicle weighing



                                              3027
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3028 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11581. Plaintiff Yuriria Rodriguez is an individual residing in Washington. Rodriguez

worked as a delivery driver for FedEx in Washington from approximately 2011 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Rodriguez has been eligible to receive overtime pay under the FLSA because Rodriguez has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11582. Plaintiff John Rogers Jr is an individual residing in Washington. Rogers Jr

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Rogers Jr has been eligible to receive

overtime pay under the FLSA because Rogers Jr has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11583. Plaintiff Heriberto Rosado is an individual residing in Washington. Rosado

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Rosado has been eligible to receive

overtime pay under the FLSA because Rosado has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11584. Plaintiff Michelle Rowe is an individual residing in Washington. Rowe worked as

a delivery driver for FedEx in Washington from approximately 2020 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Rowe has been

eligible to receive overtime pay under the FLSA because Rowe has driven a vehicle weighing




                                               3028
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3029 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11585. Plaintiff Mahyar Sajadi is an individual residing in Washington. Sajadi worked as

a delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Sajadi has been eligible to receive overtime pay

under the FLSA because Sajadi has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11586. Plaintiff Rafael Santoyo Cortes is an individual residing in Washington. Santoyo

Cortes worked as a delivery driver for FedEx in Washington from approximately 2019 to 2024

but was employed through intermediary entities that FedEx calls independent service providers.

Santoyo Cortes has been eligible to receive overtime pay under the FLSA because Santoyo

Cortes has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

        11587. Plaintiff Jean Schaaf is an individual residing in Washington. Schaaf worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Schaaf has been

eligible to receive overtime pay under the FLSA because Schaaf has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11588. Plaintiff Zack Schafer is an individual residing in Washington. Schafer worked as

a delivery driver for FedEx in Washington from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Schafer has been

eligible to receive overtime pay under the FLSA because Schafer has driven a vehicle weighing



                                              3029
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3030 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11589. Plaintiff Kevin Schlewitz is an individual residing in Washington. Schlewitz

worked as a delivery driver for FedEx in Washington from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Schlewitz has been eligible to receive overtime pay under the FLSA because Schlewitz has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11590. Plaintiff Samuel Schuller is an individual residing in Washington. Schuller

worked as a delivery driver for FedEx in Washington from approximately 2009 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Schuller

has been eligible to receive overtime pay under the FLSA because Schuller has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11591. Plaintiff Adi Seniloli is an individual residing in Washington. Seniloli worked as

a delivery driver for FedEx in Washington from approximately 2012 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Seniloli has been

eligible to receive overtime pay under the FLSA because Seniloli has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11592. Plaintiff Gary Shafer is an individual residing in Washington. Shafer worked as a

delivery driver for FedEx in Washington from approximately 2009 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Shafer has been



                                               3030
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3031 of 3128




eligible to receive overtime pay under the FLSA because Shafer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11593. Plaintiff Andrey Shvets is an individual residing in Washington. Shvets worked as

a delivery driver for FedEx in Washington from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Shvets has been

eligible to receive overtime pay under the FLSA because Shvets has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11594. Plaintiff Renee Simpkins is an individual residing in Nevada. Simpkins worked as

a delivery driver for FedEx in Washington from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Simpkins has been

eligible to receive overtime pay under the FLSA because Simpkins has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11595. Plaintiff Nathaniel Slattery is an individual residing in Tennessee. Slattery worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Slattery

has been eligible to receive overtime pay under the FLSA because Slattery has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11596. Plaintiff Joshua Slaughter is an individual residing in Washington. Slaughter

worked as a delivery driver for FedEx in Washington from approximately 2006 to 2017 but was



                                               3031
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3032 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Slaughter has been eligible to receive overtime pay under the FLSA because Slaughter has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11597. Plaintiff Donald Sly is an individual residing in Washington. Sly worked as a

delivery driver for FedEx in Washington from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Sly has been

eligible to receive overtime pay under the FLSA because Sly has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11598. Plaintiff Mike Snellgrove is an individual residing in Arizona. Snellgrove worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Snellgrove has been eligible to receive overtime pay under the FLSA because Snellgrove has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11599. Plaintiff Lilian Sochirca is an individual residing in Washington. Sochirca worked

as a delivery driver for FedEx in Washington from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Sochirca

has been eligible to receive overtime pay under the FLSA because Sochirca has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              3032
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3033 of 3128




        11600. Plaintiff Makenna Solberg is an individual residing in Washington. Solberg

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Solberg

has been eligible to receive overtime pay under the FLSA because Solberg has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11601. Plaintiff Peggy Solver is an individual residing in Washington. Solver worked as

a delivery driver for FedEx in Washington from approximately 2009 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Solver has been

eligible to receive overtime pay under the FLSA because Solver has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11602. Plaintiff Brandy Solver is an individual residing in Washington. Solver worked as

a delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Solver has been eligible to receive overtime pay

under the FLSA because Solver has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11603. Plaintiff Christopher Souers is an individual residing in Washington. Souers

worked as a delivery driver for FedEx in Washington but was employed through intermediary

entities that FedEx calls independent service providers. Souers has been eligible to receive

overtime pay under the FLSA because Souers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.




                                               3033
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3034 of 3128




        11604. Plaintiff Brian Stanley is an individual residing in Washington. Stanley worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stanley has been

eligible to receive overtime pay under the FLSA because Stanley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11605. Plaintiff April Steele is an individual residing in Washington. Steele worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Steele has been eligible to receive overtime pay

under the FLSA because Steele has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11606. Plaintiff Retten Steincipher is an individual residing in Washington. Steincipher

worked as a delivery driver for FedEx in Washington from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Steincipher has been eligible to receive overtime pay under the FLSA because Steincipher has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11607. Plaintiff Cole Stephen is an individual residing in Washington. Stephen worked as

a delivery driver for FedEx in Washington from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stephen has been

eligible to receive overtime pay under the FLSA because Stephen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              3034
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3035 of 3128




        11608. Plaintiff Seth Stewart is an individual residing in Washington. Stewart worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Stewart has been

eligible to receive overtime pay under the FLSA because Stewart has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11609. Plaintiff Blake Stokes is an individual residing in Washington. Stokes worked as a

delivery driver for FedEx in Washington from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Stokes has been

eligible to receive overtime pay under the FLSA because Stokes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11610. Plaintiff John Strobel is an individual residing in Louisiana. Strobel worked as a

delivery driver for FedEx in Washington from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Strobel has been

eligible to receive overtime pay under the FLSA because Strobel has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11611. Plaintiff Alexandru Tabunscic is an individual residing in Washington. Tabunscic

worked as a delivery driver for FedEx in Washington from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Tabunscic has been eligible to receive overtime pay under the FLSA because Tabunscic has




                                               3035
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3036 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11612. Plaintiff Solialofi Tali is an individual residing in Washington. Tali worked as a

delivery driver for FedEx in Washington from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tali has been

eligible to receive overtime pay under the FLSA because Tali has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11613. Plaintiff Binyam Tilahun is an individual residing in Washington. Tavarez

Gonzalez worked as a delivery driver for FedEx in Washington from approximately 2018 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Tavarez Gonzalez has been eligible to receive overtime pay under the FLSA because

Tavarez Gonzalez has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11614. Plaintiff Nian Taylor is an individual residing in Washington. Taylor worked as a

delivery driver for FedEx in Washington from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11615. Plaintiff Terry Taylor is an individual residing in North Carolina. Taylor worked

as a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Taylor



                                               3036
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3037 of 3128




has been eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11616. Plaintiff Joe Telmetang is an individual residing in Washington. Telmetang

worked as a delivery driver for FedEx in Washington from approximately 2008 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Telmetang has been eligible to receive overtime pay under the FLSA because Telmetang has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11617. Plaintiff Sara Templeton-Kintner is an individual residing in Washington.

Templeton-Kintner worked as a delivery driver for FedEx in Washington from approximately

2017 to 2024 but was employed through intermediary entities that FedEx calls independent

service providers. Templeton-Kintner has been eligible to receive overtime pay under the FLSA

because Templeton-Kintner has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

       11618. Plaintiff David Tjulander is an individual residing in Washington. Tjulander

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Tjulander has been eligible to receive overtime pay under the FLSA because Tjulander has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11619. Plaintiff Darin Tognazzini is an individual residing in Washington. Tognazzini

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2016 but was



                                             3037
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3038 of 3128




employed through intermediary entities that FedEx calls independent service providers.

Tognazzini has been eligible to receive overtime pay under the FLSA because Tognazzini has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11620. Plaintiff Steven Towle is an individual residing in Washington. Towle worked as

a delivery driver for FedEx in Washington but was employed through intermediary entities that

FedEx calls independent service providers. Towle has been eligible to receive overtime pay

under the FLSA because Towle has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11621. Plaintiff Nghia Tran is an individual residing in Washington. Tran worked as a

delivery driver for FedEx in Washington from approximately 2004 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tran has been

eligible to receive overtime pay under the FLSA because Tran has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11622. Plaintiff Duyet Trinh is an individual residing in Washington. Trinh worked as a

delivery driver for FedEx in Washington from approximately 2001 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Trinh has been

eligible to receive overtime pay under the FLSA because Trinh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11623. Plaintiff Timber Turner is an individual residing in Idaho. Turner worked as a

delivery driver for FedEx in Washington but was employed through intermediary entities that



                                              3038
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3039 of 3128




FedEx calls independent service providers. Turner has been eligible to receive overtime pay

under the FLSA because Turner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11624. Plaintiff Ashley Twitty is an individual residing in Washington. Twitty worked as

a delivery driver for FedEx in Washington from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Twitty has been

eligible to receive overtime pay under the FLSA because Twitty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11625. Plaintiff Marques Tyson is an individual residing in Washington. Tyson worked

as a delivery driver for FedEx in Washington from approximately 2014 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Tyson

has been eligible to receive overtime pay under the FLSA because Tyson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11626. Plaintiff Khatanbaatar Ugtakhbayar is an individual residing in Washington.

Ugtakhbayar worked as a delivery driver for FedEx in Washington from approximately 2023 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Ugtakhbayar has been eligible to receive overtime pay under the FLSA because

Ugtakhbayar has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11627. Plaintiff Jesse Urbina Salazar is an individual residing in Washington. Urbina

Salazar worked as a delivery driver for FedEx in Washington but was employed through



                                              3039
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3040 of 3128




intermediary entities that FedEx calls independent service providers. Urbina Salazar has been

eligible to receive overtime pay under the FLSA because Urbina Salazar has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11628. Plaintiff Jonathan Utu is an individual residing in Washington. Utu worked as a

delivery driver for FedEx in Washington from approximately 2013 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Utu has been

eligible to receive overtime pay under the FLSA because Utu has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11629. Plaintiff Oscar Villasana is an individual residing in Washington. Villasana

worked as a delivery driver for FedEx in Washington from approximately 2008 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Villasana has been eligible to receive overtime pay under the FLSA because Villasana has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11630. Plaintiff Derek Von Ahn is an individual residing in Washington. Von Ahn

worked as a delivery driver for FedEx in Washington from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Von Ahn

has been eligible to receive overtime pay under the FLSA because Von Ahn has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              3040
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3041 of 3128




        11631. Plaintiff Robert Watts is an individual residing in Pennsylvania. Watts worked as

a delivery driver for FedEx in Washington from approximately 2010 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Watts has been

eligible to receive overtime pay under the FLSA because Watts has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11632. Plaintiff Keith Welch is an individual residing in Washington. Welch worked as a

delivery driver for FedEx in Washington from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Welch has been

eligible to receive overtime pay under the FLSA because Welch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11633. Plaintiff Brennen West is an individual residing in Washington. West worked as a

delivery driver for FedEx in Washington from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11634. Plaintiff Brian West is an individual residing in Washington. West worked as a

delivery driver for FedEx in Washington from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. West has been

eligible to receive overtime pay under the FLSA because West has driven a vehicle weighing




                                              3041
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3042 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11635. Plaintiff Kyle Wichern is an individual residing in Washington. Wichern worked

as a delivery driver for FedEx in Washington from approximately 2018 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Wichern

has been eligible to receive overtime pay under the FLSA because Wichern has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11636. Plaintiff Eddie Williams is an individual residing in Washington. Williams

worked as a delivery driver for FedEx in Washington from approximately 2014 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11637. Plaintiff Larry Wilmey is an individual residing in Idaho. Wilmey worked as a

delivery driver for FedEx in Washington from approximately 2004 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Wilmey has been

eligible to receive overtime pay under the FLSA because Wilmey has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11638. Plaintiff Jamalh Wilson is an individual residing in Washington. Wilson worked

as a delivery driver for FedEx in Washington from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Wilson



                                              3042
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 3043 of 3128




has been eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11639. Plaintiff Charles Wittner is an individual residing in Washington. Wittner worked

as a delivery driver for FedEx in Washington but was employed through intermediary entities

that FedEx calls independent service providers. Wittner has been eligible to receive overtime pay

under the FLSA because Wittner has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11640. Plaintiff Anthony Wright is an individual residing in Washington. Wright worked

as a delivery driver for FedEx in Washington from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Wright

has been eligible to receive overtime pay under the FLSA because Wright has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11641. Plaintiff Changhyun Yum is an individual residing in Washington. Yum worked

as a delivery driver for FedEx in Washington from approximately 2020 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Yum has

been eligible to receive overtime pay under the FLSA because Yum has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11642. Plaintiff Jerry Zan is an individual residing in Washington. Zan worked as a

delivery driver for FedEx in Washington from approximately 2001 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Zan has been



                                              3043
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3044 of 3128




eligible to receive overtime pay under the FLSA because Zan has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11643. Plaintiff Kaleb Zavala is an individual residing in Washington. Zavala worked as

a delivery driver for FedEx in Washington from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Zavala has been

eligible to receive overtime pay under the FLSA because Zavala has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11644. Plaintiff Scott A Akers is an individual residing in Ohio. Akers worked as a

delivery driver for FedEx in West Virginia from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Akers has been

eligible to receive overtime pay under the FLSA because Akers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11645. Plaintiff Timothy Adkins is an individual residing in West Virginia. Adkins

worked as a delivery driver for FedEx in West Virginia from approximately 2013 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Adkins has been eligible to receive overtime pay under the FLSA because Adkins has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11646. Plaintiff Jessica Bailey is an individual residing in West Virginia. Bailey worked

as a delivery driver for FedEx in West Virginia from approximately 2015 to 2019 but was



                                               3044
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3045 of 3128




employed through intermediary entities that FedEx calls independent service providers. Bailey

has been eligible to receive overtime pay under the FLSA because Bailey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11647. Plaintiff Bobby Brock is an individual residing in West Virginia. Brock worked as

a delivery driver for FedEx in West Virginia from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Brock

has been eligible to receive overtime pay under the FLSA because Brock has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11648. Plaintiff James Burgess is an individual residing in West Virginia. Burgess

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Burgess has been eligible to receive

overtime pay under the FLSA because Burgess has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11649. Plaintiff Michael Cain is an individual residing in West Virginia. Cain worked as

a delivery driver for FedEx in West Virginia from approximately 2008 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers. Cain has

been eligible to receive overtime pay under the FLSA because Cain has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11650. Plaintiff Christopher Calvert is an individual residing in West Virginia. Calvert

worked as a delivery driver for FedEx in West Virginia from approximately 2018 to 2019 but



                                              3045
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3046 of 3128




was employed through intermediary entities that FedEx calls independent service providers.

Calvert has been eligible to receive overtime pay under the FLSA because Calvert has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11651. Plaintiff Randy Campbell is an individual residing in West Virginia. Campbell

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Campbell has been eligible to receive

overtime pay under the FLSA because Campbell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11652. Plaintiff Jerry Chasteen is an individual residing in West Virginia. Chasteen

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Chasteen has been eligible to receive

overtime pay under the FLSA because Chasteen has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11653. Plaintiff Justin Cole is an individual residing in West Virginia. Cole worked as a

delivery driver for FedEx in West Virginia from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Cole has been

eligible to receive overtime pay under the FLSA because Cole has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11654. Plaintiff Ronald Coleman is an individual residing in West Virginia. Coleman

worked as a delivery driver for FedEx in West Virginia from approximately 2014 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               3046
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3047 of 3128




Coleman has been eligible to receive overtime pay under the FLSA because Coleman has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11655. Plaintiff Tyson Colvin is an individual residing in West Virginia. Colvin worked

as a delivery driver for FedEx in West Virginia from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Colvin

has been eligible to receive overtime pay under the FLSA because Colvin has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11656. Plaintiff Steven Cress is an individual residing in West Virginia. Cress worked as

a delivery driver for FedEx in West Virginia from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Cress

has been eligible to receive overtime pay under the FLSA because Cress has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11657. Plaintiff Rick Cutlip is an individual residing in Virginia. Cutlip worked as a

delivery driver for FedEx in West Virginia from approximately 2008 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Cutlip has been

eligible to receive overtime pay under the FLSA because Cutlip has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11658. Plaintiff Larry Daniels is an individual residing in Ohio. Daniels worked as a

delivery driver for FedEx in West Virginia from approximately 2018 to 2022 but was employed



                                               3047
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3048 of 3128




through intermediary entities that FedEx calls independent service providers. Daniels has been

eligible to receive overtime pay under the FLSA because Daniels has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11659. Plaintiff Stephen Dawson is an individual residing in West Virginia. Dawson

worked as a delivery driver for FedEx in West Virginia from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Dawson has been eligible to receive overtime pay under the FLSA because Dawson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11660. Plaintiff Paul Dingess is an individual residing in West Virginia. Dingess worked

as a delivery driver for FedEx in West Virginia but was employed through intermediary entities

that FedEx calls independent service providers. Dingess has been eligible to receive overtime

pay under the FLSA because Dingess has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11661. Plaintiff Richard Eastman is an individual residing in West Virginia. Eastman

worked as a delivery driver for FedEx in West Virginia from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Eastman has been eligible to receive overtime pay under the FLSA because Eastman has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11662. Plaintiff Randy Eaton is an individual residing in West Virginia. Eaton worked as

a delivery driver for FedEx in West Virginia from approximately 2011 to 2018 but was



                                              3048
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3049 of 3128




employed through intermediary entities that FedEx calls independent service providers. Eaton

has been eligible to receive overtime pay under the FLSA because Eaton has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11663. Plaintiff Matthew Ferrell is an individual residing in Missouri. Ferrell worked as a

delivery driver for FedEx in West Virginia from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ferrell has been

eligible to receive overtime pay under the FLSA because Ferrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11664. Plaintiff Herman Gibson is an individual residing in West Virginia. Gibson

worked as a delivery driver for FedEx in West Virginia from approximately 2010 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Gibson has been eligible to receive overtime pay under the FLSA because Gibson has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11665. Plaintiff Luke Gommer is an individual residing in West Virginia. Gommer

worked as a delivery driver for FedEx in West Virginia from approximately 2019 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Gommer has been eligible to receive overtime pay under the FLSA because Gommer has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.




                                               3049
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3050 of 3128




        11666. Plaintiff Rudolph Griffiths is an individual residing in West Virginia. Griffiths

worked as a delivery driver for FedEx in West Virginia from approximately 2015 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Griffiths has been eligible to receive overtime pay under the FLSA because Griffiths has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11667. Plaintiff Jessica Haden is an individual residing in West Virginia. Haden worked

as a delivery driver for FedEx in West Virginia from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Haden

has been eligible to receive overtime pay under the FLSA because Haden has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11668. Plaintiff Brian Hall is an individual residing in West Virginia. Hall worked as a

delivery driver for FedEx in West Virginia from approximately 2019 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hall has been

eligible to receive overtime pay under the FLSA because Hall has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11669. Plaintiff Gerald Handschumacher is an individual residing in West Virginia.

Handschumacher worked as a delivery driver for FedEx in West Virginia but was employed

through intermediary entities that FedEx calls independent service providers. Handschumacher

has been eligible to receive overtime pay under the FLSA because Handschumacher has driven a




                                               3050
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3051 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11670. Plaintiff Anthony Helms is an individual residing in West Virginia. Helms

worked as a delivery driver for FedEx in West Virginia from approximately 2018 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Helms has been eligible to receive overtime pay under the FLSA because Helms has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11671. Plaintiff Jessica Helms is an individual residing in West Virginia. Helms worked

as a delivery driver for FedEx in West Virginia but was employed through intermediary entities

that FedEx calls independent service providers. Helms has been eligible to receive overtime pay

under the FLSA because Helms has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11672. Plaintiff Robert Hixon is an individual residing in West Virginia. Hixon worked

as a delivery driver for FedEx in West Virginia from approximately 2014 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Hixon

has been eligible to receive overtime pay under the FLSA because Hixon has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11673. Plaintiff Christopher Hollobaugh is an individual residing in West Virginia.

Hollobaugh worked as a delivery driver for FedEx in West Virginia from approximately 2016 to

2024 but was employed through intermediary entities that FedEx calls independent service

providers. Hollobaugh has been eligible to receive overtime pay under the FLSA because



                                             3051
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3052 of 3128




Hollobaugh has driven a vehicle weighing less than 10,001 pounds but has not received overtime

pay for hours worked beyond 40 hours per week.

       11674. Plaintiff Shane Holstine is an individual residing in West Virginia. Holstine

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Holstine has been eligible to receive

overtime pay under the FLSA because Holstine has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11675. Plaintiff Robert Jeffrey Jr. is an individual residing in Michigan. Jeffrey worked

as a delivery driver for FedEx in West Virginia but was employed through intermediary entities

that FedEx calls independent service providers. Jeffrey has been eligible to receive overtime pay

under the FLSA because Jeffrey has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11676. Plaintiff Alan Johnson is an individual residing in West Virginia. Johnson worked

as a delivery driver for FedEx in West Virginia from approximately 2013 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11677. Plaintiff Rachael Johnson is an individual residing in West Virginia. Johnson

worked as a delivery driver for FedEx in West Virginia from approximately 2019 to 2023 but

was employed through intermediary entities that FedEx calls independent service providers.

Johnson has been eligible to receive overtime pay under the FLSA because Johnson has driven a




                                               3052
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3053 of 3128




vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11678. Plaintiff Kenneth Kayser is an individual residing in West Virginia. Kayser

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Kayser has been eligible to receive

overtime pay under the FLSA because Kayser has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11679. Plaintiff Jimmy Kirby is an individual residing in West Virginia. Kirby worked as

a delivery driver for FedEx in West Virginia from approximately 2009 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Kirby

has been eligible to receive overtime pay under the FLSA because Kirby has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11680. Plaintiff Patricia Kyer is an individual residing in West Virginia. Kyer worked as

a delivery driver for FedEx in West Virginia from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Kyer has

been eligible to receive overtime pay under the FLSA because Kyer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11681. Plaintiff John Leftwich is an individual residing in West Virginia. Leftwich

worked as a delivery driver for FedEx in West Virginia from approximately 2013 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.

Leftwich has been eligible to receive overtime pay under the FLSA because Leftwich has driven



                                              3053
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3054 of 3128




a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11682. Plaintiff Andrew Martin is an individual residing in West Virginia. Martin worked

as a delivery driver for FedEx in West Virginia but was employed through intermediary entities

that FedEx calls independent service providers. Martin has been eligible to receive overtime pay

under the FLSA because Martin has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11683. Plaintiff Heather Mcdaniel is an individual residing in West Virginia. Mcdaniel

worked as a delivery driver for FedEx in West Virginia from approximately 2013 to 2017 but

was employed through intermediary entities that FedEx calls independent service providers.

Mcdaniel has been eligible to receive overtime pay under the FLSA because Mcdaniel has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11684. Plaintiff James Miller is an individual residing in West Virginia. Miller worked as

a delivery driver for FedEx in West Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Miller has been eligible to receive overtime pay

under the FLSA because Miller has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11685. Plaintiff Joshua Murray is an individual residing in Virginia. Murray worked as a

delivery driver for FedEx in West Virginia from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Murray has been

eligible to receive overtime pay under the FLSA because Murray has driven a vehicle weighing




                                              3054
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3055 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11686. Plaintiff Seth Nestor is an individual residing in West Virginia. Nestor worked as

a delivery driver for FedEx in West Virginia from approximately 2014 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Nestor

has been eligible to receive overtime pay under the FLSA because Nestor has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11687. Plaintiff Eric Oden is an individual residing in West Virginia. Oden worked as a

delivery driver for FedEx in West Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Oden has been eligible to receive overtime pay under

the FLSA because Oden has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11688. Plaintiff Christopher Parker is an individual residing in West Virginia. Parker

worked as a delivery driver for FedEx in West Virginia from approximately 2015 to 2018 but

was employed through intermediary entities that FedEx calls independent service providers.

Parker has been eligible to receive overtime pay under the FLSA because Parker has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11689. Plaintiff Dennis Pennington is an individual residing in West Virginia.

Pennington worked as a delivery driver for FedEx in West Virginia but was employed through

intermediary entities that FedEx calls independent service providers. Pennington has been

eligible to receive overtime pay under the FLSA because Pennington has driven a vehicle



                                               3055
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3056 of 3128




weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11690. Plaintiff John Putman is an individual residing in West Virginia. Polanco Bonilla

worked as a delivery driver for FedEx in West Virginia from approximately 2015 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Polanco Bonilla has been eligible to receive overtime pay under the FLSA because Polanco

Bonilla has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay

for hours worked beyond 40 hours per week.

       11691. Plaintiff Mark Raschella is an individual residing in West Virginia. Raschella

worked as a delivery driver for FedEx in West Virginia from approximately 2012 to 2016 but

was employed through intermediary entities that FedEx calls independent service providers.

Raschella has been eligible to receive overtime pay under the FLSA because Raschella has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11692. Plaintiff Johnathon Rife is an individual residing in West Virginia. Rife worked as

a delivery driver for FedEx in West Virginia from approximately 2020 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Rife has

been eligible to receive overtime pay under the FLSA because Rife has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11693. Plaintiff Larry Rowan Ii is an individual residing in West Virginia. Rowan Ii

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Rowan Ii has been eligible to receive



                                              3056
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3057 of 3128




overtime pay under the FLSA because Rowan Ii has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11694. Plaintiff Thomas Sastram Jr. is an individual residing in West Virginia. Sastram

Jr. worked as a delivery driver for FedEx in West Virginia from approximately 2012 to 2022 but

was employed through intermediary entities that FedEx calls independent service providers.

Sastram Jr. has been eligible to receive overtime pay under the FLSA because Sastram Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11695. Plaintiff Rondal Shingleton is an individual residing in West Virginia. Shingleton

worked as a delivery driver for FedEx in West Virginia from approximately 2016 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Shingleton has been eligible to receive overtime pay under the FLSA because Shingleton has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11696. Plaintiff Bill Shreve is an individual residing in West Virginia. Shreve worked as

a delivery driver for FedEx in West Virginia but was employed through intermediary entities that

FedEx calls independent service providers. Shreve has been eligible to receive overtime pay

under the FLSA because Shreve has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

       11697. Plaintiff Faith Smith is an individual residing in West Virginia. Smith worked as a

delivery driver for FedEx in West Virginia from approximately 2018 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing



                                             3057
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3058 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11698. Plaintiff Krystion Stover is an individual residing in West Virginia. Stover

worked as a delivery driver for FedEx in West Virginia from approximately 2017 to 2021 but

was employed through intermediary entities that FedEx calls independent service providers.

Stover has been eligible to receive overtime pay under the FLSA because Stover has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11699. Plaintiff Cherie Summers is an individual residing in West Virginia. Summers

worked as a delivery driver for FedEx in West Virginia from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Summers has been eligible to receive overtime pay under the FLSA because Summers has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

        11700. Plaintiff James Sutherland is an individual residing in West Virginia. Sutherland

worked as a delivery driver for FedEx in West Virginia from approximately 2014 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Sutherland has been eligible to receive overtime pay under the FLSA because Sutherland has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11701. Plaintiff Cameron Towles is an individual residing in North Carolina. Towles

worked as a delivery driver for FedEx in West Virginia from approximately 2011 to 2024 but

was employed through intermediary entities that FedEx calls independent service providers.



                                               3058
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3059 of 3128




Towles has been eligible to receive overtime pay under the FLSA because Towles has driven a

vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11702. Plaintiff Dustin Udell is an individual residing in West Virginia. Udell worked as

a delivery driver for FedEx in West Virginia from approximately 2015 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Udell

has been eligible to receive overtime pay under the FLSA because Udell has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11703. Plaintiff Duane Vickers is an individual residing in West Virginia. Vickers

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Vickers has been eligible to receive

overtime pay under the FLSA because Vickers has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11704. Plaintiff Amy Vinson/Creasy is an individual residing in Kentucky.

Vinson/Creasy worked as a delivery driver for FedEx in West Virginia from approximately 2014

to 2017 but was employed through intermediary entities that FedEx calls independent service

providers. Vinson/Creasy has been eligible to receive overtime pay under the FLSA because

Vinson/Creasy has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       11705. Plaintiff Sherri Webb is an individual residing in West Virginia. Webb worked as

a delivery driver for FedEx in West Virginia from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Webb



                                               3059
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3060 of 3128




has been eligible to receive overtime pay under the FLSA because Webb has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11706. Plaintiff Jeremy Williams is an individual residing in West Virginia. Williams

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Williams has been eligible to receive

overtime pay under the FLSA because Williams has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11707. Plaintiff Chad Williams is an individual residing in West Virginia. Williams

worked as a delivery driver for FedEx in West Virginia from approximately 2017 to 2019 but

was employed through intermediary entities that FedEx calls independent service providers.

Williams has been eligible to receive overtime pay under the FLSA because Williams has driven

a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours worked

beyond 40 hours per week.

       11708. Plaintiff Christopher Williams is an individual residing in West Virginia.

Williams worked as a delivery driver for FedEx in West Virginia from approximately 2015 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Williams has been eligible to receive overtime pay under the FLSA because Williams

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

       11709. Plaintiff Brant Workman is an individual residing in West Virginia. Workman

worked as a delivery driver for FedEx in West Virginia but was employed through intermediary

entities that FedEx calls independent service providers. Workman has been eligible to receive



                                              3060
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3061 of 3128




overtime pay under the FLSA because Workman has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11710. Plaintiff Jason Yankie is an individual residing in West Virginia. Yankie worked

as a delivery driver for FedEx in West Virginia from approximately 2011 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Yankie

has been eligible to receive overtime pay under the FLSA because Yankie has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11711. Plaintiff Dennis Ahola is an individual residing in Wisconsin. Ahola worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Ahola has been

eligible to receive overtime pay under the FLSA because Ahola has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11712. Plaintiff John Anderson Jr. is an individual residing in Wisconsin. Anderson Jr.

worked as a delivery driver for FedEx in Wisconsin from approximately 2011 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Anderson Jr. has been eligible to receive overtime pay under the FLSA because Anderson Jr. has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11713. Plaintiff Michelle Anglemyer is an individual residing in Wisconsin. Anglemyer

worked as a delivery driver for FedEx in Wisconsin from approximately 2005 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.



                                              3061
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3062 of 3128




Anglemyer has been eligible to receive overtime pay under the FLSA because Anglemyer has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11714. Plaintiff Nicholas Bancroft is an individual residing in Wisconsin. Bancroft

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers. Bancroft

has been eligible to receive overtime pay under the FLSA because Bancroft has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11715. Plaintiff Bradford Barr is an individual residing in Wisconsin. Barr worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Barr has been eligible to receive overtime pay under

the FLSA because Barr has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11716. Plaintiff David Basacker is an individual residing in Wisconsin. Basacker worked

as a delivery driver for FedEx in Wisconsin from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Basacker has been

eligible to receive overtime pay under the FLSA because Basacker has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11717. Plaintiff Nathaniel Beaman is an individual residing in Texas. Beaman worked as

a delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Beaman has been



                                              3062
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3063 of 3128




eligible to receive overtime pay under the FLSA because Beaman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11718. Plaintiff Kenneth Bittorf is an individual residing in Wisconsin. Bittorf worked as

a delivery driver for FedEx in Wisconsin from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Bittorf has been

eligible to receive overtime pay under the FLSA because Bittorf has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11719. Plaintiff Brett Blindauer is an individual residing in Minnesota. Blindauer worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Blindauer has been eligible to receive overtime pay

under the FLSA because Blindauer has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11720. Plaintiff Jordan Bloy is an individual residing in Wisconsin. Bloy worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Bloy has been eligible to receive overtime pay under

the FLSA because Bloy has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11721. Plaintiff Cardell Bonslater is an individual residing in Wisconsin. Bonslater

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Bonslater has been eligible to receive overtime pay under the FLSA because Bonslater has



                                               3063
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3064 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11722. Plaintiff Eric Bowers is an individual residing in Wisconsin. Bowers worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Bowers has been

eligible to receive overtime pay under the FLSA because Bowers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11723. Plaintiff Wayne Boyles is an individual residing in Wisconsin. Boyles worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Boyles has been eligible to receive overtime pay

under the FLSA because Boyles has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11724. Plaintiff Brian Bremer is an individual residing in Wisconsin. Bremer worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Bremer has been eligible to receive overtime pay

under the FLSA because Bremer has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11725. Plaintiff James Britton is an individual residing in Wisconsin. Britton worked as a

delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Britton has been

eligible to receive overtime pay under the FLSA because Britton has driven a vehicle weighing




                                              3064
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3065 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11726. Plaintiff Roman Bundy is an individual residing in Wisconsin. Bundy worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Bundy has been eligible to receive overtime pay

under the FLSA because Bundy has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11727. Plaintiff Cassandra Burgen Now St. John is an individual residing in Missouri.

Burgen Now St. John worked as a delivery driver for FedEx in Wisconsin from approximately

2016 to 2017 but was employed through intermediary entities that FedEx calls independent

service providers. Burgen Now St. John has been eligible to receive overtime pay under the

FLSA because Burgen Now St. John has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11728. Plaintiff John Cantrell is an individual residing in Wisconsin. Cantrell worked as

a delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Cantrell has been

eligible to receive overtime pay under the FLSA because Cantrell has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11729. Plaintiff Vandola Chambers is an individual residing in Wisconsin. Chambers

worked as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Chambers has been eligible to receive overtime pay under the FLSA because Chambers has



                                               3065
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3066 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11730. Plaintiff Jeremy Chapman is an individual residing in Iowa. Chapman worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Chapman has been eligible to receive overtime pay

under the FLSA because Chapman has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11731. Plaintiff Sheila Chester is an individual residing in Wisconsin. Chester worked as

a delivery driver for FedEx in Wisconsin from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Chester has been

eligible to receive overtime pay under the FLSA because Chester has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11732. Plaintiff Anthony Christianson is an individual residing in Minnesota.

Christianson worked as a delivery driver for FedEx in Wisconsin from approximately 2015 to

2018 but was employed through intermediary entities that FedEx calls independent service

providers. Christianson has been eligible to receive overtime pay under the FLSA because

Christianson has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11733. Plaintiff Ty Clinton is an individual residing in Wisconsin. Clinton worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Clinton has been

eligible to receive overtime pay under the FLSA because Clinton has driven a vehicle weighing



                                              3066
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 3067 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11734. Plaintiff Lisa Conn is an individual residing in Wisconsin. Conn worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Conn has been

eligible to receive overtime pay under the FLSA because Conn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11735. Plaintiff Ronald Corn is an individual residing in Wisconsin. Corn worked as a

delivery driver for FedEx in Wisconsin from approximately 2009 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Corn has been

eligible to receive overtime pay under the FLSA because Corn has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11736. Plaintiff Carolyn Crenshaw is an individual residing in Wisconsin. Crenshaw

worked as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Crenshaw has been eligible to receive overtime pay under the FLSA because Crenshaw has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11737. Plaintiff Preston Crook is an individual residing in Wisconsin. Crook worked as a

delivery driver for FedEx in Wisconsin from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Crook has been



                                              3067
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3068 of 3128




eligible to receive overtime pay under the FLSA because Crook has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11738. Plaintiff Setric Curtis is an individual residing in Wisconsin. Curtis worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Curtis has been eligible to receive overtime pay

under the FLSA because Curtis has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11739. Plaintiff Nicole Dahlvig is an individual residing in Wisconsin. Dahlvig worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Dahlvig has been eligible to receive overtime pay

under the FLSA because Dahlvig has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11740. Plaintiff Bridget Daniels is an individual residing in Wisconsin. Daniels worked

as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Daniels has been

eligible to receive overtime pay under the FLSA because Daniels has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11741. Plaintiff Scott Dawson is an individual residing in Minnesota. Dawson worked as

a delivery driver for FedEx in Wisconsin from approximately 2004 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Dawson has been

eligible to receive overtime pay under the FLSA because Dawson has driven a vehicle weighing



                                               3068
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3069 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11742. Plaintiff Tyrel Desrosier is an individual residing in Wisconsin. Desrosier worked

as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Desrosier has been

eligible to receive overtime pay under the FLSA because Desrosier has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11743. Plaintiff Daniel Dewitt is an individual residing in Wisconsin. Dewitt worked as a

delivery driver for FedEx in Wisconsin from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Dewitt has been

eligible to receive overtime pay under the FLSA because Dewitt has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11744. Plaintiff Daniel Doedens is an individual residing in Wisconsin. Doedens worked

as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Doedens has been

eligible to receive overtime pay under the FLSA because Doedens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11745. Plaintiff Jair Dosser is an individual residing in Minnesota. Dosser worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Dosser has been



                                              3069
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3070 of 3128




eligible to receive overtime pay under the FLSA because Dosser has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11746. Plaintiff Timothy Drinka is an individual residing in Tennessee. Drinka worked as

a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Drinka has been

eligible to receive overtime pay under the FLSA because Drinka has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11747. Plaintiff Tammy Dvorak is an individual residing in Wisconsin. Dvorak worked

as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Dvorak has been

eligible to receive overtime pay under the FLSA because Dvorak has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11748. Plaintiff Jessica Eberl is an individual residing in Wisconsin. Eberl worked as a

delivery driver for FedEx in Wisconsin from approximately 2018 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Eberl has been

eligible to receive overtime pay under the FLSA because Eberl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11749. Plaintiff Andrew Eisler is an individual residing in Wisconsin. Eisler worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was employed



                                               3070
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3071 of 3128




through intermediary entities that FedEx calls independent service providers. Eisler has been

eligible to receive overtime pay under the FLSA because Eisler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11750. Plaintiff Loren Ekern is an individual residing in Colorado. Ekern worked as a

delivery driver for FedEx in Wisconsin and Colorado from approximately 2007 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Ekern

has been eligible to receive overtime pay under the FLSA because Ekern has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11751. Plaintiff David Ellious is an individual residing in Wisconsin. Ellious worked as a

delivery driver for FedEx in Wisconsin from approximately 2019 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Ellious has been

eligible to receive overtime pay under the FLSA because Ellious has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11752. Plaintiff Gerald Erickson is an individual residing in Wisconsin. Erickson worked

as a delivery driver for FedEx in Wisconsin from approximately 2006 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Erickson has been

eligible to receive overtime pay under the FLSA because Erickson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              3071
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3072 of 3128




        11753. Plaintiff Sterling Evert is an individual residing in Wisconsin. Evert worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Evert has been

eligible to receive overtime pay under the FLSA because Evert has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11754. Plaintiff Christopher Fahrbach is an individual residing in Wisconsin. Fahrbach

worked as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Fahrbach

has been eligible to receive overtime pay under the FLSA because Fahrbach has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11755. Plaintiff Mark Feldkamp is an individual residing in Wisconsin. Feldkamp

worked as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2023 but was

employed through intermediary entities that FedEx calls independent service providers.

Feldkamp has been eligible to receive overtime pay under the FLSA because Feldkamp has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11756. Plaintiff Jesse Ferkingstad is an individual residing in Minnesota. Ferkingstad

worked as a delivery driver for FedEx in Wisconsin from approximately 2013 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Ferkingstad has been eligible to receive overtime pay under the FLSA because Ferkingstad has




                                               3072
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3073 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11757. Plaintiff Tami Fisher is an individual residing in Wisconsin. Fisher worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Fisher has been

eligible to receive overtime pay under the FLSA because Fisher has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11758. Plaintiff Andre Fleming is an individual residing in Mississippi. Fleming worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Fleming has been eligible to receive overtime pay

under the FLSA because Fleming has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11759. Plaintiff Seth Freeman is an individual residing in Wisconsin. Freeman worked as

a delivery driver for FedEx in Wisconsin from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Freeman has been

eligible to receive overtime pay under the FLSA because Freeman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11760. Plaintiff Donald Gallenberger is an individual residing in Florida. Gallenberger

worked as a delivery driver for FedEx in Wisconsin from approximately 2015 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Gallenberger has been eligible to receive overtime pay under the FLSA because Gallenberger



                                              3073
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3074 of 3128




has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        11761. Plaintiff Gregory Givens is an individual residing in Michigan. Givens worked as

a delivery driver for FedEx in Wisconsin from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Givens has been

eligible to receive overtime pay under the FLSA because Givens has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11762. Plaintiff Keanna Gochet is an individual residing in Wisconsin. Gochet worked as

a delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Gochet has been

eligible to receive overtime pay under the FLSA because Gochet has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11763. Plaintiff Tyler Gollakner is an individual residing in Wisconsin. Gollakner

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Gollakner has been eligible to receive overtime pay under the FLSA because Gollakner has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11764. Plaintiff Drew Goode is an individual residing in Wisconsin. Goode worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Goode has been eligible to receive overtime pay



                                              3074
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3075 of 3128




under the FLSA because Goode has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11765. Plaintiff Sara Grandi is an individual residing in Minnesota. Grandi worked as a

delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Grandi has been

eligible to receive overtime pay under the FLSA because Grandi has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11766. Plaintiff Stephen Gray is an individual residing in Wisconsin. Gray worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Gray has been

eligible to receive overtime pay under the FLSA because Gray has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11767. Plaintiff Brett Haggerty is an individual residing in Wisconsin. Haggerty worked

as a delivery driver for FedEx in Wisconsin from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Haggerty has been

eligible to receive overtime pay under the FLSA because Haggerty has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11768. Plaintiff Angela Hansen is an individual residing in Wisconsin. Hansen worked as

a delivery driver for FedEx in Wisconsin from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Hansen has been



                                              3075
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3076 of 3128




eligible to receive overtime pay under the FLSA because Hansen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11769. Plaintiff Brian Hanson is an individual residing in Wisconsin. Hanson worked as

a delivery driver for FedEx in Wisconsin from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Hanson has been

eligible to receive overtime pay under the FLSA because Hanson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11770. Plaintiff Sharlissa Harris is an individual residing in Wisconsin. Harris worked as

a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Harris has been

eligible to receive overtime pay under the FLSA because Harris has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11771. Plaintiff Randall Hass is an individual residing in Wisconsin. Hass worked as a

delivery driver for FedEx in Wisconsin from approximately 2012 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hass has been

eligible to receive overtime pay under the FLSA because Hass has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11772. Plaintiff James Hassell is an individual residing in Wisconsin. Hassell worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that



                                               3076
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3077 of 3128




FedEx calls independent service providers. Hassell has been eligible to receive overtime pay

under the FLSA because Hassell has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11773. Plaintiff Paul Hassler is an individual residing in Wisconsin. Hassler worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hassler has been

eligible to receive overtime pay under the FLSA because Hassler has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11774. Plaintiff Ty Hauden is an individual residing in Wisconsin. Hauden worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Hauden has been eligible to receive overtime pay

under the FLSA because Hauden has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11775. Plaintiff Andrew Hauke is an individual residing in Wisconsin. Hauke worked as

a delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hauke has been

eligible to receive overtime pay under the FLSA because Hauke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11776. Plaintiff Tyler Hendrickson is an individual residing in Wisconsin. Hendrickson

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Hendrickson has been eligible to receive



                                              3077
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3078 of 3128




overtime pay under the FLSA because Hendrickson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11777. Plaintiff Darrell Hester is an individual residing in Wisconsin. Hester worked as a

delivery driver for FedEx in Wisconsin from approximately 2021 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Hester has been

eligible to receive overtime pay under the FLSA because Hester has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11778. Plaintiff James Higgins is an individual residing in Wisconsin. Higgins worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Higgins has been eligible to receive overtime pay

under the FLSA because Higgins has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11779. Plaintiff Terrance Hilson is an individual residing in Wisconsin. Hilson worked as

a delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Hilson has been

eligible to receive overtime pay under the FLSA because Hilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11780. Plaintiff Mickey Holland is an individual residing in Mississippi. Holland worked

as a delivery driver for FedEx in Wisconsin and Mississippi but was employed through

intermediary entities that FedEx calls independent service providers. Holland has been eligible to




                                               3078
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3079 of 3128




receive overtime pay under the FLSA because Holland has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11781. Plaintiff Devonte Hubbard is an individual residing in Wisconsin. Hubbard

worked as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Hubbard

has been eligible to receive overtime pay under the FLSA because Hubbard has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11782. Plaintiff Scott Huffman is an individual residing in Wisconsin. Huffman worked

as a delivery driver for FedEx in Wisconsin from approximately 2014 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Huffman has been

eligible to receive overtime pay under the FLSA because Huffman has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11783. Plaintiff Troy Hughes is an individual residing in Vermont. Hughes worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Hughes has been

eligible to receive overtime pay under the FLSA because Hughes has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11784. Plaintiff Angelita Ingram is an individual residing in Wisconsin. Ingram worked

as a delivery driver for FedEx in Wisconsin from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Ingram has been



                                             3079
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3080 of 3128




eligible to receive overtime pay under the FLSA because Ingram has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11785. Plaintiff Brian Insteness is an individual residing in Wisconsin. Insteness worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Insteness has been eligible to receive overtime pay

under the FLSA because Insteness has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11786. Plaintiff Amanda Jaeger is an individual residing in Wisconsin. Jaeger worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Jaeger has been eligible to receive overtime pay

under the FLSA because Jaeger has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11787. Plaintiff Terese Janssen is an individual residing in Wisconsin. Janssen worked as

a delivery driver for FedEx in Wisconsin from approximately 2013 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Janssen has been

eligible to receive overtime pay under the FLSA because Janssen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11788. Plaintiff Ilyas Jeelani is an individual residing in Wisconsin. Jeelani worked as a

delivery driver for FedEx in Wisconsin from approximately 2006 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Jeelani has been

eligible to receive overtime pay under the FLSA because Jeelani has driven a vehicle weighing



                                               3080
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3081 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11789. Plaintiff Don Jensen is an individual residing in Wisconsin. Jensen worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Jensen has been

eligible to receive overtime pay under the FLSA because Jensen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11790. Plaintiff Phillip Johnson is an individual residing in Wisconsin. Johnson worked

as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been

eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11791. Plaintiff Nicholas Johnson is an individual residing in Minnesota. Johnson

worked as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11792. Plaintiff Trekiel Johnson is an individual residing in Wisconsin. Johnson worked

as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Johnson has been



                                              3081
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3082 of 3128




eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11793. Plaintiff Tyisha Jones is an individual residing in Wisconsin. Jones worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Jones has been

eligible to receive overtime pay under the FLSA because Jones has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11794. Plaintiff Daniel Joski is an individual residing in Wisconsin. Joski worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Joski has been eligible to receive overtime pay under

the FLSA because Joski has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11795. Plaintiff Joshua Juranitch is an individual residing in Wisconsin. Juranitch worked

as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Juranitch has been

eligible to receive overtime pay under the FLSA because Juranitch has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11796. Plaintiff Greg Kane is an individual residing in Wisconsin. Kane worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Kane has been



                                               3082
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3083 of 3128




eligible to receive overtime pay under the FLSA because Kane has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11797. Plaintiff Allison Karau is an individual residing in Wisconsin. Karau worked as a

delivery driver for FedEx in Wisconsin from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Karau has been

eligible to receive overtime pay under the FLSA because Karau has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11798. Plaintiff Rodney Keenan is an individual residing in Wisconsin. Keenan worked

as a delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Keenan has been

eligible to receive overtime pay under the FLSA because Keenan has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11799. Plaintiff Mark Keepers is an individual residing in Wisconsin. Keepers worked as

a delivery driver for FedEx in Wisconsin from approximately 2006 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Keepers has been

eligible to receive overtime pay under the FLSA because Keepers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11800. Plaintiff Amy Keepers is an individual residing in Wisconsin. Keepers worked as

a delivery driver for FedEx in Wisconsin from approximately 2018 to 2020 but was employed



                                              3083
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3084 of 3128




through intermediary entities that FedEx calls independent service providers. Keepers has been

eligible to receive overtime pay under the FLSA because Keepers has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11801. Plaintiff David Kluth is an individual residing in Wisconsin. Kluth worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Kluth has been

eligible to receive overtime pay under the FLSA because Kluth has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11802. Plaintiff Vasilis Kolintzas is an individual residing in Wisconsin. Kolintzas

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Kolintzas has been eligible to receive

overtime pay under the FLSA because Kolintzas has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11803. Plaintiff Christopher Komorowski is an individual residing in Wisconsin.

Komorowski worked as a delivery driver for FedEx in Wisconsin from approximately 2001 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Komorowski has been eligible to receive overtime pay under the FLSA because

Komorowski has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11804. Plaintiff Heather Labrec is an individual residing in Missouri. Labrec worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that



                                               3084
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3085 of 3128




FedEx calls independent service providers. Labrec has been eligible to receive overtime pay

under the FLSA because Labrec has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11805. Plaintiff Nadia Laid is an individual residing in Wisconsin. Laid worked as a

delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Laid has been

eligible to receive overtime pay under the FLSA because Laid has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11806. Plaintiff Catherine Landers is an individual residing in Wisconsin. Landers

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Landers

has been eligible to receive overtime pay under the FLSA because Landers has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11807. Plaintiff Blia Lee is an individual residing in Wisconsin. Lee worked as a delivery

driver for FedEx in Wisconsin from approximately 2018 to 2022 but was employed through

intermediary entities that FedEx calls independent service providers. Lee has been eligible to

receive overtime pay under the FLSA because Lee has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11808. Plaintiff Richard Lee is an individual residing in Wisconsin. Lee worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been



                                              3085
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3086 of 3128




eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11809. Plaintiff Brandon Lee is an individual residing in Wisconsin. Lee worked as a

delivery driver for FedEx in Wisconsin from approximately 2007 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Lee has been

eligible to receive overtime pay under the FLSA because Lee has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11810. Plaintiff Renee Leisgang is an individual residing in Wisconsin. Leisgang worked

as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Leisgang has been

eligible to receive overtime pay under the FLSA because Leisgang has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11811. Plaintiff Dustin Lentz is an individual residing in Wisconsin. Lentz worked as a

delivery driver for FedEx in Wisconsin from approximately 2008 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Lentz has been

eligible to receive overtime pay under the FLSA because Lentz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11812. Plaintiff Jeffrey Lepinski is an individual residing in Minnesota. Lepinski worked

as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was employed



                                              3086
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3087 of 3128




through intermediary entities that FedEx calls independent service providers. Lepinski has been

eligible to receive overtime pay under the FLSA because Lepinski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11813. Plaintiff Pablo Lira is an individual residing in Wisconsin. Lira worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Lira has been

eligible to receive overtime pay under the FLSA because Lira has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11814. Plaintiff Nicholas Lopez is an individual residing in Wisconsin. Lopez worked as

a delivery driver for FedEx in Wisconsin from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Lopez has been

eligible to receive overtime pay under the FLSA because Lopez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11815. Plaintiff Scott Ludwig is an individual residing in Wisconsin. Ludwig worked as a

delivery driver for FedEx in Wisconsin from approximately 2006 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ludwig has been

eligible to receive overtime pay under the FLSA because Ludwig has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               3087
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3088 of 3128




        11816. Plaintiff Paul Lundquist is an individual residing in Wisconsin. Lundquist worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Lundquist has been eligible to receive overtime pay

under the FLSA because Lundquist has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11817. Plaintiff Christopher Kiel is an individual residing in Wisconsin. Lyons worked as

a delivery driver for FedEx in Wisconsin from approximately 2017 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Lyons has been

eligible to receive overtime pay under the FLSA because Lyons has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11818. Plaintiff Matthew Marchinowski is an individual residing in Wisconsin.

Marchinowski worked as a delivery driver for FedEx in Wisconsin from approximately 2014 to

2016 but was employed through intermediary entities that FedEx calls independent service

providers. Marchinowski has been eligible to receive overtime pay under the FLSA because

Marchinowski has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

        11819. Plaintiff Kathleen Bembenek is an individual residing in Wisconsin. Marks

worked as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers. Marks

has been eligible to receive overtime pay under the FLSA because Marks has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                              3088
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24     Page 3089 of 3128




       11820. Plaintiff Patrick Matuszewski is an individual residing in Wisconsin.

Matuszewski worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to

2019 but was employed through intermediary entities that FedEx calls independent service

providers. Matuszewski has been eligible to receive overtime pay under the FLSA because

Matuszewski has driven a vehicle weighing less than 10,001 pounds but has not received

overtime pay for hours worked beyond 40 hours per week.

       11821. Plaintiff Michael Matyshak is an individual residing in Wisconsin. Matyshak

worked as a delivery driver for FedEx in Wisconsin from approximately 2015 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Matyshak has been eligible to receive overtime pay under the FLSA because Matyshak has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11822. Plaintiff James Meomartino is an individual residing in Wisconsin. Meomartino

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Meomartino has been eligible to receive

overtime pay under the FLSA because Meomartino has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11823. Plaintiff Justin Merriwether is an individual residing in Wisconsin. Merriwether

worked as a delivery driver for FedEx in Wisconsin from approximately 2008 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Merriwether has been eligible to receive overtime pay under the FLSA because Merriwether has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.



                                              3089
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3090 of 3128




        11824. Plaintiff Zachery Mielke is an individual residing in Wisconsin. Mielke worked as

a delivery driver for FedEx in Wisconsin from approximately 2013 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Mielke has been

eligible to receive overtime pay under the FLSA because Mielke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11825. Plaintiff Martin Mildren is an individual residing in Illinois. Mildren worked as a

delivery driver for FedEx in Wisconsin from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Mildren has been

eligible to receive overtime pay under the FLSA because Mildren has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11826. Plaintiff Tracy Miles is an individual residing in Wisconsin. Miles worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Miles has been eligible to receive overtime pay under

the FLSA because Miles has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11827. Plaintiff Dragan Milisav is an individual residing in Wisconsin. Milisav worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Milisav has been eligible to receive overtime pay

under the FLSA because Milisav has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.




                                               3090
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3091 of 3128




        11828. Plaintiff Michele Miller is an individual residing in Wisconsin. Miller worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Miller has been

eligible to receive overtime pay under the FLSA because Miller has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11829. Plaintiff Rolvaungha Molett is an individual residing in Wisconsin. Molett

worked as a delivery driver for FedEx in Wisconsin from approximately 2013 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Molett

has been eligible to receive overtime pay under the FLSA because Molett has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11830. Plaintiff Jose Munguia is an individual residing in Wisconsin. Munguia worked as

a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Munguia has been

eligible to receive overtime pay under the FLSA because Munguia has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11831. Plaintiff Jermaine Napper is an individual residing in Wisconsin. Napper worked

as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Napper has been

eligible to receive overtime pay under the FLSA because Napper has driven a vehicle weighing




                                              3091
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3092 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11832. Plaintiff Arnold Naqellari is an individual residing in Wisconsin. Naqellari

worked as a delivery driver for FedEx in Wisconsin from approximately 2012 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers. Naqellari

has been eligible to receive overtime pay under the FLSA because Naqellari has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11833. Plaintiff Jeremiah Neumann is an individual residing in Wisconsin. Neumann

worked as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers.

Neumann has been eligible to receive overtime pay under the FLSA because Neumann has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11834. Plaintiff Shannon Nufer is an individual residing in Wisconsin. Nufer worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Nufer has been eligible to receive overtime pay under

the FLSA because Nufer has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11835. Plaintiff Mike Obrien is an individual residing in Wisconsin. Obrien worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Obrien has been

eligible to receive overtime pay under the FLSA because Obrien has driven a vehicle weighing



                                               3092
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3093 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11836. Plaintiff Michael Oconnell is an individual residing in Wisconsin. Oconnell

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Oconnell has been eligible to receive

overtime pay under the FLSA because Oconnell has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11837. Plaintiff Kevin Oimoen is an individual residing in Wisconsin. Oimoen worked as

a delivery driver for FedEx in Wisconsin from approximately 2014 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Oimoen has been

eligible to receive overtime pay under the FLSA because Oimoen has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11838. Plaintiff Paul Ojanen is an individual residing in Minnesota. Ojanen worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Ojanen has been eligible to receive overtime pay

under the FLSA because Ojanen has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11839. Plaintiff Eric Payette is an individual residing in Wisconsin. Payette worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Payette has been eligible to receive overtime pay

under the FLSA because Payette has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.



                                               3093
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3094 of 3128




        11840. Plaintiff Adrian Payne is an individual residing in Wisconsin. Payne worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Payne has been eligible to receive overtime pay

under the FLSA because Payne has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11841. Plaintiff Gerald Pelt is an individual residing in Wisconsin. Pelt worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pelt has been

eligible to receive overtime pay under the FLSA because Pelt has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11842. Plaintiff Robert Penigar is an individual residing in Wisconsin. Penigar worked as

a delivery driver for FedEx in Wisconsin from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Penigar has been

eligible to receive overtime pay under the FLSA because Penigar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11843. Plaintiff Bryan Perez is an individual residing in Wisconsin. Perez worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Perez has been

eligible to receive overtime pay under the FLSA because Perez has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               3094
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3095 of 3128




        11844. Plaintiff Scott Pergolski is an individual residing in Wisconsin. Pergolski worked

as a delivery driver for FedEx in Wisconsin from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pergolski has been

eligible to receive overtime pay under the FLSA because Pergolski has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11845. Plaintiff Clayton Perzinski is an individual residing in Wisconsin. Perzinski

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Perzinski has been eligible to receive

overtime pay under the FLSA because Perzinski has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11846. Plaintiff James Peters is an individual residing in Wisconsin. Peters worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Peters has been eligible to receive overtime pay

under the FLSA because Peters has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11847. Plaintiff Kenneth Peterson is an individual residing in Minnesota. Peterson

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Peterson has been eligible to receive

overtime pay under the FLSA because Peterson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11848. Plaintiff Donald Plant is an individual residing in Wisconsin. Plant worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2016 but was employed



                                               3095
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3096 of 3128




through intermediary entities that FedEx calls independent service providers. Plant has been

eligible to receive overtime pay under the FLSA because Plant has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11849. Plaintiff Adam Polden is an individual residing in Wisconsin. Polden worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Polden has been

eligible to receive overtime pay under the FLSA because Polden has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11850. Plaintiff Vernoe Pope is an individual residing in Wisconsin. Pope worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Pope has been

eligible to receive overtime pay under the FLSA because Pope has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11851. Plaintiff Sean Porter is an individual residing in Wisconsin. Porter worked as a

delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Porter has been

eligible to receive overtime pay under the FLSA because Porter has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                               3096
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3097 of 3128




        11852. Plaintiff Brian Pritula is an individual residing in Wisconsin. Pritula worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Pritula has been eligible to receive overtime pay

under the FLSA because Pritula has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11853. Plaintiff Michael Przlomski is an individual residing in Wisconsin. Przlomski

worked as a delivery driver for FedEx in Wisconsin from approximately 1998 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Przlomski has been eligible to receive overtime pay under the FLSA because Przlomski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11854. Plaintiff Raymond Pugh is an individual residing in Wisconsin. Pugh worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Pugh has been

eligible to receive overtime pay under the FLSA because Pugh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11855. Plaintiff Timothy Radatz is an individual residing in Wisconsin. Radatz worked as

a delivery driver for FedEx in Wisconsin from approximately 2012 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Radatz has been

eligible to receive overtime pay under the FLSA because Radatz has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               3097
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3098 of 3128




        11856. Plaintiff Steven Radosevic is an individual residing in Wisconsin. Radosevic

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Radosevic has been eligible to receive overtime pay under the FLSA because Radosevic has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11857. Plaintiff William Ramos Jr. is an individual residing in Wisconsin. Ramos Jr.

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Ramos Jr. has been eligible to receive

overtime pay under the FLSA because Ramos Jr. has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11858. Plaintiff Daren Redlin is an individual residing in Wisconsin. Redlin worked as a

delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Redlin has been

eligible to receive overtime pay under the FLSA because Redlin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11859. Plaintiff Jason Reiger is an individual residing in Illinois. Reiger worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Reiger has been

eligible to receive overtime pay under the FLSA because Reiger has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                               3098
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3099 of 3128




        11860. Plaintiff Lynne Reilly is an individual residing in Minnesota. Reilly worked as a

delivery driver for FedEx in Wisconsin from approximately 2005 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Reilly has been

eligible to receive overtime pay under the FLSA because Reilly has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11861. Plaintiff Diane Reinders is an individual residing in Wisconsin. Reinders worked

as a delivery driver for FedEx in Wisconsin from approximately 2013 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Reinders has been

eligible to receive overtime pay under the FLSA because Reinders has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11862. Plaintiff Paul Ricchio is an individual residing in Wisconsin. Ricchio worked as a

delivery driver for FedEx in Wisconsin from approximately 2002 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Ricchio has been

eligible to receive overtime pay under the FLSA because Ricchio has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11863. Plaintiff Alonte Richardson is an individual residing in Wisconsin. Richardson

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Richardson has been eligible to receive

overtime pay under the FLSA because Richardson has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.



                                              3099
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3100 of 3128




        11864. Plaintiff Jason Ripp is an individual residing in Wisconsin. Ripp worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Ripp has been

eligible to receive overtime pay under the FLSA because Ripp has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11865. Plaintiff Christopher Robinson is an individual residing in Wisconsin. Robinson

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2024 but was

employed through intermediary entities that FedEx calls independent service providers.

Robinson has been eligible to receive overtime pay under the FLSA because Robinson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11866. Plaintiff Chad Roelke is an individual residing in Wisconsin. Roelke worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Roelke has been

eligible to receive overtime pay under the FLSA because Roelke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11867. Plaintiff Kevin Rothmeyer is an individual residing in Wisconsin. Rothmeyer

worked as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers.

Rothmeyer has been eligible to receive overtime pay under the FLSA because Rothmeyer has




                                              3100
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3101 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11868. Plaintiff Kip Rubenzer is an individual residing in Wisconsin. Rubenzer worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Rubenzer has been eligible to receive overtime pay

under the FLSA because Rubenzer has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11869. Plaintiff Miranda Rude is an individual residing in Wisconsin. Rude worked as a

delivery driver for FedEx in Wisconsin from approximately 2004 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Rude has been

eligible to receive overtime pay under the FLSA because Rude has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11870. Plaintiff James Bolger is an individual residing in Wisconsin. Ruggles worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Ruggles has been eligible to receive overtime pay

under the FLSA because Ruggles has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11871. Plaintiff Randolph Sarnowski is an individual residing in Wisconsin. Sarnowski

worked as a delivery driver for FedEx in Wisconsin from approximately 2013 to 2016 but was

employed through intermediary entities that FedEx calls independent service providers.

Sarnowski has been eligible to receive overtime pay under the FLSA because Sarnowski has




                                              3101
    Case 2:24-cv-01129-RJC         Document 1       Filed 08/06/24     Page 3102 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11872. Plaintiff Cory Schaefer is an individual residing in South Carolina. Schaefer

worked as a delivery driver for FedEx in Wisconsin from approximately 2011 to 2017 but was

employed through intermediary entities that FedEx calls independent service providers. Schaefer

has been eligible to receive overtime pay under the FLSA because Schaefer has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

       11873. Plaintiff Valinda Schmalfeldt is an individual residing in Wisconsin. Schmalfeldt

worked as a delivery driver for FedEx in Wisconsin from approximately 2015 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Schmalfeldt has been eligible to receive overtime pay under the FLSA because Schmalfeldt has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

       11874. Plaintiff Ian Schneider is an individual residing in Wisconsin. Schneider worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Schneider has been eligible to receive overtime pay

under the FLSA because Schneider has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       11875. Plaintiff Kenneth Schroeder is an individual residing in Wisconsin. Schroeder

worked as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Schroeder has been eligible to receive overtime pay under the FLSA because Schroeder has



                                             3102
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3103 of 3128




driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11876. Plaintiff Dean Schroeder is an individual residing in Wisconsin. Schroeder

worked as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Schroeder has been eligible to receive overtime pay under the FLSA because Schroeder has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11877. Plaintiff Danette Schutte is an individual residing in Wisconsin. Schutte worked

as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Schutte has been

eligible to receive overtime pay under the FLSA because Schutte has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11878. Plaintiff Anthony Sciuto is an individual residing in California. Sciuto worked as

a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Sciuto has been

eligible to receive overtime pay under the FLSA because Sciuto has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11879. Plaintiff Robert Sell is an individual residing in Wisconsin. Sell worked as a

delivery driver for FedEx in Wisconsin from approximately 2014 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Sell has been



                                               3103
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3104 of 3128




eligible to receive overtime pay under the FLSA because Sell has driven a vehicle weighing less

than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11880. Plaintiff Scott Shill is an individual residing in Wisconsin. Shill worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Shill has been eligible to receive overtime pay under

the FLSA because Shill has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11881. Plaintiff Douglas Shinker is an individual residing in Wisconsin. Shinker worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Shinker has been eligible to receive overtime pay

under the FLSA because Shinker has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11882. Plaintiff Marchon Skillom-Tate is an individual residing in Wisconsin. Skillom-

Tate worked as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but

was employed through intermediary entities that FedEx calls independent service providers.

Skillom-Tate has been eligible to receive overtime pay under the FLSA because Skillom-Tate

has driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for

hours worked beyond 40 hours per week.

        11883. Plaintiff James Skinner is an individual residing in Wisconsin. Skinner worked as

a delivery driver for FedEx in Wisconsin from approximately 2021 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Skinner has been

eligible to receive overtime pay under the FLSA because Skinner has driven a vehicle weighing



                                               3104
    Case 2:24-cv-01129-RJC           Document 1       Filed 08/06/24      Page 3105 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11884. Plaintiff Taylor Slaback is an individual residing in Wisconsin. Slaback worked as

a delivery driver for FedEx in Wisconsin from approximately 2014 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Slaback has been

eligible to receive overtime pay under the FLSA because Slaback has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11885. Plaintiff Christopher Sorenson is an individual residing in Wisconsin. Sorenson

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2021 but was

employed through intermediary entities that FedEx calls independent service providers. Sorenson

has been eligible to receive overtime pay under the FLSA because Sorenson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11886. Plaintiff David Spencer is an individual residing in Minnesota. Spencer worked as

a delivery driver for FedEx in Wisconsin from approximately 2020 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Spencer has been

eligible to receive overtime pay under the FLSA because Spencer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11887. Plaintiff Lori Stellar is an individual residing in Wisconsin. Stellar worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Stellar has been



                                               3105
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3106 of 3128




eligible to receive overtime pay under the FLSA because Stellar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11888. Plaintiff Keith Stelloh is an individual residing in Wisconsin. Stelloh worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Stelloh has been

eligible to receive overtime pay under the FLSA because Stelloh has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11889. Plaintiff Richard Sundstrom is an individual residing in Minnesota. Sundstrom

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Sundstrom has been eligible to receive overtime pay under the FLSA because Sundstrom has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11890. Plaintiff Maurkes Swarn is an individual residing in Florida. Swarn worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Swarn has been eligible to receive overtime pay

under the FLSA because Swarn has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11891. Plaintiff Jason Tank is an individual residing in Wisconsin. Tank worked as a

delivery driver for FedEx in Wisconsin from approximately 2013 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Tank has been



                                               3106
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3107 of 3128




eligible to receive overtime pay under the FLSA because Tank has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11892. Plaintiff Edgar Taylor is an individual residing in Wisconsin. Taylor worked as a

delivery driver for FedEx in Wisconsin from approximately 2003 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Taylor has been

eligible to receive overtime pay under the FLSA because Taylor has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11893. Plaintiff Travis Tenkley is an individual residing in Minnesota. Tenkley worked

as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Tenkley has been

eligible to receive overtime pay under the FLSA because Tenkley has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11894. Plaintiff Brandon Thomas is an individual residing in Wisconsin. Thomas worked

as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Thomas has been

eligible to receive overtime pay under the FLSA because Thomas has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11895. Plaintiff Ryan Thompson is an individual residing in Minnesota. Thompson

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary



                                              3107
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3108 of 3128




entities that FedEx calls independent service providers. Thompson has been eligible to receive

overtime pay under the FLSA because Thompson has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11896. Plaintiff Jeremiah Thompson is an individual residing in Wisconsin. Thompson

worked as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11897. Plaintiff Reggie Thompson is an individual residing in Wisconsin. Thompson

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2022 but was

employed through intermediary entities that FedEx calls independent service providers.

Thompson has been eligible to receive overtime pay under the FLSA because Thompson has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11898. Plaintiff Bambi Tischer is an individual residing in Wisconsin. Tischer worked as

a delivery driver for FedEx in Wisconsin from approximately 2007 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Tischer has been

eligible to receive overtime pay under the FLSA because Tischer has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11899. Plaintiff Joseph Tjader is an individual residing in Wisconsin. Tjader worked as a

delivery driver for FedEx in Wisconsin from approximately 2019 to 2022 but was employed



                                              3108
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3109 of 3128




through intermediary entities that FedEx calls independent service providers. Tjader has been

eligible to receive overtime pay under the FLSA because Tjader has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11900. Plaintiff Sean Tobin is an individual residing in Wisconsin. Tobin worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Tobin has been

eligible to receive overtime pay under the FLSA because Tobin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11901. Plaintiff Russell Tock is an individual residing in Wisconsin. Tock worked as a

delivery driver for FedEx in Wisconsin from approximately 2015 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Tock has been

eligible to receive overtime pay under the FLSA because Tock has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11902. Plaintiff Ross Tollgaard is an individual residing in Minnesota. Tollgaard worked

as a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Tollgaard has been eligible to receive overtime pay

under the FLSA because Tollgaard has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11903. Plaintiff Justin Torres is an individual residing in Wisconsin. Torres worked as a

delivery driver for FedEx in Wisconsin from approximately 2016 to 2018 but was employed



                                               3109
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3110 of 3128




through intermediary entities that FedEx calls independent service providers. Torres has been

eligible to receive overtime pay under the FLSA because Torres has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11904. Plaintiff Anthony Torruella is an individual residing in Wisconsin. Torruella

worked as a delivery driver for FedEx in Wisconsin from approximately 2007 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Torruella

has been eligible to receive overtime pay under the FLSA because Torruella has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11905. Plaintiff Tamicka Trawick is an individual residing in Wisconsin. Trawick

worked as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was

employed through intermediary entities that FedEx calls independent service providers. Trawick

has been eligible to receive overtime pay under the FLSA because Trawick has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11906. Plaintiff Justin Trethewey is an individual residing in Florida. Trethewey worked

as a delivery driver for FedEx in Wisconsin from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Trethewey has

been eligible to receive overtime pay under the FLSA because Trethewey has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.




                                              3110
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3111 of 3128




       11907. Plaintiff Patrick Tschimperle is an individual residing in Wisconsin. Tschimperle

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Tschimperle has been eligible to receive

overtime pay under the FLSA because Tschimperle has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11908. Plaintiff William Vandehei is an individual residing in Wisconsin. Vandehei

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Vandehei has been eligible to receive

overtime pay under the FLSA because Vandehei has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11909. Plaintiff Lucas Vandendries is an individual residing in Arizona. Vandendries

worked as a delivery driver for FedEx in Wisconsin but was employed through intermediary

entities that FedEx calls independent service providers. Vandendries has been eligible to receive

overtime pay under the FLSA because Vandendries has driven a vehicle weighing less than

10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per week.

       11910. Plaintiff Lia Villarreal is an individual residing in Wisconsin. Villarreal worked as

a delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Villarreal has been eligible to receive overtime pay

under the FLSA because Villarreal has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

       11911. Plaintiff Paul Vind is an individual residing in Wisconsin. Vind worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Vind has been eligible to receive overtime pay under



                                              3111
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3112 of 3128




the FLSA because Vind has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11912. Plaintiff James Vogel is an individual residing in Minnesota. Vogel worked as a

delivery driver for FedEx in Wisconsin but was employed through intermediary entities that

FedEx calls independent service providers. Vogel has been eligible to receive overtime pay

under the FLSA because Vogel has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11913. Plaintiff Kamauri Wallace is an individual residing in Wisconsin. Wallace worked

as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wallace has been

eligible to receive overtime pay under the FLSA because Wallace has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11914. Plaintiff Anthony Washington is an individual residing in Wisconsin. Washington

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Washington has been eligible to receive overtime pay under the FLSA because Washington has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11915. Plaintiff Anthony White is an individual residing in Wisconsin. White worked as

a delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. White has been

eligible to receive overtime pay under the FLSA because White has driven a vehicle weighing



                                              3112
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24     Page 3113 of 3128




less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11916. Plaintiff Mark Widmar is an individual residing in Wisconsin. Widmar worked as

a delivery driver for FedEx in Wisconsin from approximately 2016 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Widmar has been

eligible to receive overtime pay under the FLSA because Widmar has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11917. Plaintiff Amani Wilborn is an individual residing in Wisconsin. Wilborn worked

as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Wilborn has been

eligible to receive overtime pay under the FLSA because Wilborn has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11918. Plaintiff Joseph Wilke is an individual residing in Wisconsin. Wilke worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2019 but was employed

through intermediary entities that FedEx calls independent service providers. Wilke has been

eligible to receive overtime pay under the FLSA because Wilke has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11919. Plaintiff Lori Willacker is an individual residing in Wisconsin. Willacker worked

as a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Willacker has been



                                              3113
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 3114 of 3128




eligible to receive overtime pay under the FLSA because Willacker has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11920. Plaintiff Heather Williams is an individual residing in Wisconsin. Williams

worked as a delivery driver for FedEx in Wisconsin from approximately 2018 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers. Williams

has been eligible to receive overtime pay under the FLSA because Williams has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.

        11921. Plaintiff Morris Wilson is an individual residing in Wisconsin. Wilson worked as

a delivery driver for FedEx in Wisconsin from approximately 2013 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Wilson has been

eligible to receive overtime pay under the FLSA because Wilson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11922. Plaintiff Lavonne Winger is an individual residing in Wisconsin. Winger worked

as a delivery driver for FedEx in Wisconsin from approximately 2004 to 2018 but was employed

through intermediary entities that FedEx calls independent service providers. Winger has been

eligible to receive overtime pay under the FLSA because Winger has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11923. Plaintiff Jami Wozniak is an individual residing in Wisconsin. Wozniak worked

as a delivery driver for FedEx in Wisconsin from approximately 2008 to 2024 but was employed



                                              3114
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3115 of 3128




through intermediary entities that FedEx calls independent service providers. Wozniak has been

eligible to receive overtime pay under the FLSA because Wozniak has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11924. Plaintiff Anthony Wright is an individual residing in Wisconsin. Wright worked

as a delivery driver for FedEx in Wisconsin from approximately 2017 to 2023 but was employed

through intermediary entities that FedEx calls independent service providers. Wright has been

eligible to receive overtime pay under the FLSA because Wright has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11925. Plaintiff James Wuerl is an individual residing in Wisconsin. Wuerl worked as a

delivery driver for FedEx in Wisconsin from approximately 2017 to 2022 but was employed

through intermediary entities that FedEx calls independent service providers. Wuerl has been

eligible to receive overtime pay under the FLSA because Wuerl has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11926. Plaintiff Jonathon Wylie is an individual residing in Minnesota. Wylie worked as

a delivery driver for FedEx in Wisconsin from approximately 2019 to 2020 but was employed

through intermediary entities that FedEx calls independent service providers. Wylie has been

eligible to receive overtime pay under the FLSA because Wylie has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.




                                              3115
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 3116 of 3128




        11927. Plaintiff Sean Zeznanski is an individual residing in Wisconsin. Zeznanski

worked as a delivery driver for FedEx in Wisconsin from approximately 2016 to 2019 but was

employed through intermediary entities that FedEx calls independent service providers.

Zeznanski has been eligible to receive overtime pay under the FLSA because Zeznanski has

driven a vehicle weighing less than 10,001 pounds but has not received overtime pay for hours

worked beyond 40 hours per week.

        11928. Plaintiff David Anderson is an individual residing in Wyoming. Anderson worked

as a delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Anderson has been eligible to receive overtime pay

under the FLSA because Anderson has driven a vehicle weighing less than 10,001 pounds but

has not received overtime pay for hours worked beyond 40 hours per week.

        11929. Plaintiff Timothy Benson is an individual residing in Colorado. Benson worked as

a delivery driver for FedEx in Wyoming from approximately 2019 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Benson has been

eligible to receive overtime pay under the FLSA because Benson has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11930. Plaintiff Eric Childress is an individual residing in Wyoming. Childress worked as

a delivery driver for FedEx in Wyoming from approximately 2015 to 2021 but was employed

through intermediary entities that FedEx calls independent service providers. Childress has been

eligible to receive overtime pay under the FLSA because Childress has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.



                                              3116
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3117 of 3128




        11931. Plaintiff Chris Cordova is an individual residing in Wyoming. Cordova worked as

a delivery driver for FedEx in Wyoming from approximately 2007 to 2017 but was employed

through intermediary entities that FedEx calls independent service providers. Cordova has been

eligible to receive overtime pay under the FLSA because Cordova has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11932. Plaintiff Carmi Deparasis is an individual residing in Pennsylvania. Deparasis

worked as a delivery driver for FedEx in Wyoming but was employed through intermediary

entities that FedEx calls independent service providers. Deparasis has been eligible to receive

overtime pay under the FLSA because Deparasis has driven a vehicle weighing less than 10,001

pounds but has not received overtime pay for hours worked beyond 40 hours per week.

        11933. Plaintiff Jerry Herbin is an individual residing in Wyoming. Herbin worked as a

delivery driver for FedEx in Wyoming from approximately 2000 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Herbin has been

eligible to receive overtime pay under the FLSA because Herbin has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11934. Plaintiff Julius Johnson is an individual residing in North Carolina. Johnson

worked as a delivery driver for FedEx in Wyoming from approximately 2016 to 2018 but was

employed through intermediary entities that FedEx calls independent service providers. Johnson

has been eligible to receive overtime pay under the FLSA because Johnson has driven a vehicle

weighing less than 10,001 pounds but has not received overtime pay for hours worked beyond 40

hours per week.



                                               3117
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24    Page 3118 of 3128




        11935. Plaintiff Earl Keith is an individual residing in Wyoming. Keith worked as a

delivery driver for FedEx in Wyoming from approximately 2011 to 2016 but was employed

through intermediary entities that FedEx calls independent service providers. Keith has been

eligible to receive overtime pay under the FLSA because Keith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11936. Plaintiff Sean Matoon is an individual residing in Pennsylvania. Matoon worked

as a delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Matoon has been eligible to receive overtime pay

under the FLSA because Matoon has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11937. Plaintiff Jason Meinz is an individual residing in Wyoming. Meinz worked as a

delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Meinz has been eligible to receive overtime pay

under the FLSA because Meinz has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11938. Plaintiff Jeffrey Merry is an individual residing in Wyoming. Merry worked as a

delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Merry has been eligible to receive overtime pay

under the FLSA because Merry has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11939. Plaintiff Dale Sheets is an individual residing in Wyoming. Sheets worked as a

delivery driver for FedEx in Wyoming from approximately 2016 to 2017 but was employed



                                              3118
    Case 2:24-cv-01129-RJC         Document 1        Filed 08/06/24    Page 3119 of 3128




through intermediary entities that FedEx calls independent service providers. Sheets has been

eligible to receive overtime pay under the FLSA because Sheets has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11940. Plaintiff Michael Smith is an individual residing in Wyoming. Smith worked as a

delivery driver for FedEx in Wyoming from approximately 2015 to 2024 but was employed

through intermediary entities that FedEx calls independent service providers. Smith has been

eligible to receive overtime pay under the FLSA because Smith has driven a vehicle weighing

less than 10,001 pounds but has not received overtime pay for hours worked beyond 40 hours per

week.

        11941. Plaintiff James Tolle is an individual residing in Wyoming. Tolle worked as a

delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Tolle has been eligible to receive overtime pay under

the FLSA because Tolle has driven a vehicle weighing less than 10,001 pounds but has not

received overtime pay for hours worked beyond 40 hours per week.

        11942. Plaintiff Chelsea Vallee is an individual residing in Wyoming. Vallee worked as a

delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Vallee has been eligible to receive overtime pay

under the FLSA because Vallee has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week.

        11943. Plaintiff Larry Young is an individual residing in Nevada. Young worked as a

delivery driver for FedEx in Wyoming but was employed through intermediary entities that

FedEx calls independent service providers. Young has been eligible to receive overtime pay



                                              3119
    Case 2:24-cv-01129-RJC          Document 1          Filed 08/06/24   Page 3120 of 3128




under the FLSA because Young has driven a vehicle weighing less than 10,001 pounds but has

not received overtime pay for hours worked beyond 40 hours per week..

       11944. At all relevant times, Plaintiffs worked for FedEx.

       11945. FedEx Ground Package System, Inc. is a Delaware corporation with its principal

place of business in Pittsburgh, Pennsylvania.

       11946. FedEx Corporation, formerly known as Federal Express Corporation, is a

Delaware corporation with its principal place of business in Memphis, Tennessee.

       11947. FedEx Corporation is the successor, by merger, to FedEx Ground Package

System, Inc.

       11948. FedEx Ground Package System, Inc. and FedEx Corporation are referred to

herein collectively as “FedEx.”

       11949. At all relevant times, FedEx has engaged in the business of the delivery of

packages nationwide and within the state of Pennsylvania.

       11950. FedEx employs thousands of individuals across the country, including Plaintiffs,

who have engaged in interstate commerce.

       11951. FedEx is an employer under the FLSA and applicable state laws.

                                            FACTS

       11952. FedEx operates a package pickup and delivery business servicing customers

throughout the United States.

       11953. FedEx employs thousands of package delivery drivers within the United States,

including the named Plaintiffs, who: (a) work for FedEx through intermediary employers called

“independent service providers” (ISPs); (b) are classified as “employees” of the FedEx ISPs; (c)

have worked more than forty hours per week delivering packages for FedEx but are not paid



                                                 3120
    Case 2:24-cv-01129-RJC           Document 1        Filed 08/06/24     Page 3121 of 3128




time-and-a-half compensation for hours worked beyond forty each week; and (d) drive, in whole

or in part, vehicles with a gross vehicle weight rating of 10,001 pounds or less. These individuals

are referred to herein as “delivery drivers.”

        11954. Before instituting the ISP model of employing its delivery drivers through

intermediary entities, FedEx relied entirely on delivery drivers that it hired directly and purported

to classify as “independent contractors”, pursuant to standard operating agreements that FedEx

required its drivers to sign. After years of defending litigation challenging the employment status

of these drivers around the country – during which time multiple courts around the country held

that FedEx misclassified its delivery drivers as independent contractors when they were actually

FedEx’s employees under various state wage laws1 – FedEx shifted its method of hiring drivers

in many states by contracting with ISPs in an effort to continue to avoid liability under the wage

laws for its delivery drivers.

        11955. FedEx ISPs are typically responsible for three or more FedEx delivery routes.

FedEx requires its ISPs to hire FedEx’s workforce of delivery drivers, and FedEx further

requires the ISPs to classify these delivery drivers as the ISPs’ employees.

        11956. However, based on the economic realities of the relationship between FedEx and

these drivers, it is clear that the delivery drivers working under the intermediary ISPs are also

FedEx employees under the FLSA.




1
        See, e.g., Craig et al. v. FedEx Ground Package System, Inc., 335 P.3d 66 (Kan. 2014)
(FedEx drivers in Kansas were misclassified as independent contractors when they were
employees as a matter of law); Alexander, et al. v. FedEx Ground Package System, Inc., 765
F.3d 981, 997 (9th Cir. 2014) (same, for FedEx delivery drivers in California); Slayman, et al. v.
FedEx Ground Package System, Inc., 765 F.3d 1033, 1046-47 (9th Cir. 2014) (FedEx delivery
drivers in Oregon were FedEx’s employees under Oregon’s economic reality test and Oregon’s
right to control test). FedEx ultimately settled these and other pending cases challenging its
misclassification of drivers as independent contractors.

                                                3121
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24    Page 3122 of 3128




       11957. FedEx operates a nationwide network of package handling terminals to serve its

customers’ package pickup and delivery needs around the country. FedEx advertises its delivery

service and negotiates with its customers to provide the package pick-ups and deliveries that are

performed by the Plaintiffs and other delivery drivers.

       11958. Plaintiffs and other delivery drivers working under ISPs have typically worked

full-time and exclusively as FedEx drivers, delivering FedEx’s packages to FedEx customers

while wearing FedEx uniforms and driving vehicles bearing FedEx’s logos and color scheme.

       11959. Plaintiffs and other delivery drivers working under ISPs have worked out of

FedEx-owned and managed terminals throughout the country, where FedEx managers, package

handlers, and other FedEx employees oversee and manage the package delivery operations.

       11960. The services rendered by Plaintiffs and other delivery drivers working under ISPs

are an integral part of FedEx’s business because FedEx is in the business of package delivery,

and Plaintiffs and these other delivery drivers physically deliver packages to FedEx’s customers

on FedEx’s behalf.

       11961. Plaintiffs and other delivery drivers working under ISPs have performed their

delivery work on strict and predictable schedules pursuant to FedEx’s same-day delivery

requirements. The drivers’ schedules are dictated by the volume of packages that FedEx requires

be delivered each day on their routes. Neither these drivers, nor the intermediary ISPs who they

work under, have any control over the volume of package pickup and delivery work that FedEx

assigns the drivers.

       11962. FedEx micromanages how Plaintiffs and other delivery drivers working under

ISPs perform their work. Some of this micromanaging is performed directly by FedEx managers,




                                               3122
    Case 2:24-cv-01129-RJC          Document 1       Filed 08/06/24      Page 3123 of 3128




and some is performed by the ISPs, pursuant to standards and requirements established by FedEx

(and enforced by FedEx). For example:

               a.     FedEx requires that the delivery drivers have specific equipment on their

van when they perform deliveries for FedEx;

               b.     FedEx requires the delivery drivers to wear a uniform bearing FedEx’s

logos and color scheme and to maintain personal appearance standards established by FedEx;

               c.     FedEx requires the delivery drivers to place specific signage on their vans

bearing FedEx’s name and logo;

               d.     FedEx assigns the specific packages that the delivery drivers must deliver

and when the packages must be delivered;

               e.     FedEx requires the drivers to scan all assigned packages with a specific

scanner designated by FedEx upon loading each morning and upon delivery;

               f.     FedEx requires the drivers to begin and end each day at a designated

terminal operated by FedEx;

               g.     Customer comments and complaints regarding the drivers’ job

performance are made directly to FedEx, who uses its own discretion on what action to take;

               h.     FedEx has the authority to require its ISPs to terminate the drivers

working under them if FedEx believes they should be terminated; and

               i.     FedEx closely monitors the job performance of the drivers, tracking

whether each delivery is “successful” based on FedEx’s own standards.

       11963. Some FedEx drivers working under ISPs have worked for different ISPs at times,

and even at times directly for FedEx, but their work responsibilities, and procedures they have




                                              3123
    Case 2:24-cv-01129-RJC            Document 1         Filed 08/06/24   Page 3124 of 3128




been required to follow, have not differed in any material way regardless of which ISP they have

worked under or whether they have worked directly for FedEx.

          11964. For example, many FedEx drivers were initially hired directly by FedEx to

perform its deliveries, until FedEx told drivers they had to work under an ISP. These drivers’

responsibilities and the procedures they were required to follow did not change in any material

way following the conversion to drivers working under ISPs. Drivers continued to report to

FedEx terminals each morning, drove a vehicle with a FedEx logo on it, and followed FedEx

procedures to complete their assigned deliveries.

          11965. FedEx drivers, including drivers such as the Plaintiffs who have worked under

intermediary ISPs, have routinely worked more than forty hours per week.

          11966. Plaintiffs have driven trucks weighing less than 10,001 pounds. They are thus

eligible for overtime pay under the FLSA and state law.

          11967. However, Plaintiffs have not received all overtime pay for their work beyond 40

hours per week.

          11968. Because FedEx is Plaintiffs’ employer under the FLSA and applicable state laws,

FedEx is liable to Plaintiffs for the unpaid overtime.

          11969. FedEx has avoided its responsibilities under the FLSA and applicable state laws

by establishing a system through which FedEx employes Plaintiffs and other drivers through

intermediary ISPs. FedEx knew, or should have known, that Plaintiffs and other drivers were not

paid overtime that they were owed. FedEx has thus acted with reckless disregard for Plaintiffs’

rights.

          11970. However, regardless of FedEx’s actual or constructive knowledge of this fact,

FedEx is Plaintiffs’ “employer,” as defined by the FLSA and applicable state laws. FedEx is



                                                3124
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3125 of 3128




therefore liable for any overtime payments that are due to Plaintiffs other delivery drivers who

have worked under ISPs.

                                        COUNT I
                             (Unpaid Overtime Under the FLSA)

        11971. The FLSA, 29 U.S.C. § 207(a)(1), requires that employees receive overtime

premium pay of “not less than one and one-half times” their regular pay rate for hours worked

beyond 40 per workweek. FedEx is liable under the FLSA for unpaid overtime owed to

Plaintiffs. FedEx’s violation of the FLSA has been willful and in reckless disregard of these

drivers’ rights.

                                        COUNT II
                            (Unpaid Overtime Under Alaska Law)

        11972. Alaska law entitles employees to overtime premium compensation “at the rate of

one and one-half times the regular rate of pay shall be paid” for hours worked beyond eight

hours per day or hours worked beyond 40 per week. Alaska Stat. § 23.10.060. FedEx is liable

under Alaska law for unpaid overtime owed to drivers who worked in Alaska.

                                        COUNT III
                           (Unpaid Overtime under California Law)

        11973. California entitles employees to overtime premium compensation “at the rate of

no less than one and one-half times the regular rate of pay” for hours worked beyond eight hours

per day or 40 hours per week. Cal. Lab. Code § 510; see also Cal. Lab. Code §§ 1194, 1198.

California law also entitles employees to overtime premium “at the rate of no less than twice the

regular rate of pay for an employee” for hours beyond 12 hours in one day. Cal. Lab. Code §

510. FedEx is liable under California law for unpaid overtime owed to the Plaintiffs who worked

in California.




                                               3125
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24     Page 3126 of 3128




                                        COUNT IV
                           (Unpaid Overtime Under Colorado Law)

       11974. Colorado law entitles employees to overtime premium compensation “at time and

one-half of the regular rate of pay” for hours worked beyond 40 per week, 12 hours per day, or

12 consecutive hours. 7 Colo. Code Regs. § 1103-1:4. FedEx is liable under Colorado law for

unpaid overtime owed to drivers who worked in Colorado.


                                       COUNT V
                     (Unpaid Overtime under District of Columbia Law)

       11975. District of Columbia law entitles employees to overtime premium compensation

“at a rate not less than 1 1/2 times the regular rate at which the employee is employed” for hours

worked beyond 40 per week. D.C. Code Ann. § 32-1003. FedEx is liable under District of

Columbia law for unpaid overtime owed to the Plaintiffs who worked in the District of

Columbia.

                                        COUNT VI
                            (Unpaid Overtime Under Hawaii Law)

       11976. Hawaii law entitles employees to overtime premium compensation “at a rate not

less than one and one-half times the regular rate at which the employee is employed” for hours

worked beyond 40 per week. Haw. Rev. Stat. Ann. § 387-3. FedEx is liable under Hawaii law for

unpaid overtime owed to the Plaintiffs who worked in Hawaii.

                                       COUNT VII
                         (Unpaid Overtime Under New Mexico Law)

       11977. New Mexico law entitles employees to overtime premium compensation at “one

and one-half times the employee’s regular hourly rate of pay” for hours worked beyond 40 per

week. N.M. Stat. Ann. § 50-4-22. FedEx is liable under New Mexico law for unpaid overtime

owed to drivers who worked in New Mexico.


                                               3126
    Case 2:24-cv-01129-RJC          Document 1        Filed 08/06/24      Page 3127 of 3128




                                      COUNT VIII
                          (Unpaid Overtime Under New York Law)

       11978. New York law entitles employees to overtime premium compensation “one and

one-half times the employee’s regular rate” for hours worked beyond 40 per week. N.Y. Comp.

Codes R. & Regs. tit. 12, § 142-2.2. FedEx is liable under New York law for unpaid overtime

owed to drivers who worked in New York.

                                       COUNT IX
                         (Unpaid Overtime Under Washington Law)

       11979. Washington law entitles employees to overtime premium compensation “at a rate

not less than one and one-half times the regular rate at which he or she is employed” for hours

worked beyond 40 per week. Wash. Rev. Code Ann. § 49.46.130. FedEx is liable under

Washington law for unpaid overtime owed to the Plaintiffs who worked in Washington.

                                          COUNT X
                                    (Declaratory Judgment)

       11980. Pursuant to Federal Rule of Civil Procedure 57 and 28 U.S.C. §§ 2201 and 2202,

Plaintiffs request a declaration that they were FedEx’s employees within the meaning of the

FLSA and applicable state laws.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs seek the following relief:

       A.      Restitution for all unpaid overtime owed to the drivers;

       B.      Liquidated damages and prejudgment interest, pursuant to the FLSA and

               applicable state laws;

       C.      All remedies provided by applicable state laws;

       D.      Litigation costs, expenses, and attorneys’ fees;




                                               3127
   Case 2:24-cv-01129-RJC          Document 1           Filed 08/06/24   Page 3128 of 3128




      E.     Judgment declaring that Plaintiffs were FedEx’s employees within the meaning

             of the FLSA and applicable state laws; and

      F.     Such other and further relief as this Court deems just and proper.

                                   JURY TRIAL DEMAND

      Plaintiffs demand a jury trial on their claims.


Dated: August 6, 2024                        Respectfully submitted,

                                             Sarah Schalman-Bergen
                                             Shannon Liss-Riordan (pro hac vice forthcoming)
                                             Harold Lichten (pro hac vice forthcoming)
                                             Sarah Schalman-Bergen (PA Bar No. 206211)
                                             Matthew Carrieri (pro hac vice forthcoming)
                                             LICHTEN & LISS-RIORDAN, P.C.
                                             729 Boylston Street, Suite 2000
                                             Boston, Massachusetts 02116
                                             (617) 994-5800
                                             sliss@llrlaw.com
                                             hlichten@llrlaw.com
                                             ssb@llrlaw.com
                                             mcarrieri@llrlaw.com

                                             Jeremy Abay (PA Bar No. 316730)
                                             LICHTEN & LISS-RIORDAN, P.C.
                                             76 E. Euclid Avenue, Suite 101
                                             Haddonfield, New Jersey 08035
                                             (856) 509-5346
                                             jabay@llrlaw.com

                                             Attorneys for Plaintiffs




                                              3128
